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    MOTION FOR LEAVE TO FILE SETTLING DISTRIBUTORS’
   MOTION TO DISMISS CLAIMS FILED BY NON-PARTICIPATING
       INDIANA SUBDIVISIONS AS BARRED BY STATUTE




                         EXHIBIT 1
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



 IN RE: NATIONAL PRESCRIPTION
       OPIATE LITIGATION

        This document relates to:
                                                   MDL No. 2804
        Case No. 1:21-op-45080
                                                Hon. Dan Aaron Polster




   SETTLING DISTRIBUTORS’ MOTION TO DISMISS CLAIMS FILED BY NON-
      PARTICIPATING INDIANA SUBDIVISIONS AS BARRED BY STATUTE
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                                        INTRODUCTION

       Settling Distributor Defendants (“Settling Distributors”)1 move this Court to dismiss all

claims against Settling Distributors filed by Indiana political subdivisions School City of

Mishawaka, South Bend Community School Corporation, Penn-Harris-Madison School

Corporation, Fort Wayne Community Schools, and Smith-Green Community Schools (the “Non-

Participating Entities”), and consolidated in this MDL proceeding, on the ground that such

claims are barred by Indiana statute. In furtherance of statewide opioid settlement agreements

entered into by the Indiana Attorney General, the Indiana legislature enacted Indiana Code § 4-6-

15 et seq., which precludes by operation of law claims brought by Indiana “political

subdivisions” after January 1, 2021. As discussed further below, the statewide opioid settlement,

the Non-Participating Entities, and the claims they filed against Settling Distributors all fall

within the scope of the statute.

       Because the Non-Participating Entities’ claims are barred under the statute, Settling

Distributors request that the Court enter an order and final judgment, pursuant to Fed. R. Civ. P.

54(b), dismissing the claims against the Settling Distributors in the Complaint.

                                        BACKGROUND

       To facilitate settlements between the Indiana Attorney General and defendants in the

opioid litigation, the Indiana State Legislature passed Indiana Code § 4-6-15 et seq., added by

P.L. 165-2021, eff. April 29, 2021 and amended in part by P.L. 72-2022 et seq., eff. March 10,




1
  The Settling Distributors are AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation
Inc., McKesson Corporation, McKesson Medical-Surgical, Inc., Cardinal Health, Inc., and Cardinal
Health 110, LLC, as well as any other Released Entities, as that term is defined in the Settlement
Agreement, that have been named as defendants in the Complaint. See Texarkana Independent School
District et al v. Abbvie, Inc et al., MDL Case No. 1:21-op-45080 (May 24, 2021) (Dkt. No. 1)
(“Compl.”); Final Consent Judgment and Dismissal with Prejudice, State of Indiana v. Cardinal Health,
                                                              Continued on following page

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2022, to create a statewide opioid settlement fund comprised of specified proceeds from the

statewide settlements. See generally id. The statute provides that “all political subdivisions shall

be considered a party to any settlement, including a settlement in lieu of litigation, in opioid

litigation by the attorney general with an opioid party that is finalized with court approval after

March 1, 2021.” See id. § 4-6-15-2(a). The statutory definition of “political subdivision” includes

state educational institutions and school corporations. Id. § 4-6-15-1(4) (“‘Political subdivision’

has the meaning set forth in IC 34-6-2-110.”); id. § 34-6-2-110 (defining “political subdivision”

to include a “state educational institution” or a “school corporation”). “‘Opioid party’ means any

manufacturer, consultant, marketer, distributor, prescriber, or dispenser of an opioid product.” Id.

§ 4-6-15-1(3).

       Of critical relevance, the provision provides that “[a]fter January 1, 2021, no political

subdivision shall initiate or file opioid litigation in any court.” Id. § 4-6-15-3. “Opioid litigation”

is defined as “any civil lawsuit, demand, or settlement, including any settlement in lieu of

litigation, filed against any opioid party for any cause of action filed for the purpose of

redressing the impact of the opioid epidemic to the state or any political subdivision.” Id. § 4-6-

15-1(2). To the extent subdivisions preferred to opt out of the settlement, such subdivisions must

have initiated litigation on or before January 1, 2021, adopted a resolution to opt out, and

notified the attorney general in writing by June 30, 2021. See id. § 4-6-15-2(b)-(c). Any

subdivision that did not opt out of a settlement as set forth in § 4-6-15-2(b)-(c) is “considered a

party to [the] settlement” and “bound by [the settlement’s] terms.” See id. § 4-6-15-2(a).




Continued from previous page
Inc., et al., Cause No. 49D07-1910PL-044323 (Mar. 30, 2022) (attached as Exhibit A); Distributor
Settlement Agreement at 8 & Ex. J thereto (attached as Exhibit B).



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       On May 24, 2021, Non-Participating Entities2 filed a Complaint in the United States

District Court for the Eastern District of Texas. See Texarkana Independent School District et al

v. Abbvie, Inc et al., Dkt. No. 1:21-cv-00250 (E.D.Tex May 24, 2021) (“Compl.”). On June 11,

2021, the case was transferred to this MDL under CTO-197. Dkt. No. 3757; see also MDL Case

No. 1:21-op-45080.

       On July 21, 2021, the Attorney General for the State of Indiana announced its

participation in the Distributor Settlement Agreement, which resolves the myriad lawsuits

brought by states, territories, and local governmental entities against the Settling Distributors

(“Distributor Settlement”).3 The settlement was subsequently finalized by Final Consent

Judgment and Order of Dismissal on March 30, 2022 in the Marion County Superior Court. See

Exhibit A. The Distributor Settlement includes a broad release of all opioid-related claims. See

Exhibit B at 7-8 (definition of “Released Claims”); id. at 44-49 (Release provision).

                                            ARGUMENT

       As outlined below, dismissal of Non-Participating Entities’ claims is appropriate under

the plain language of the statute where (1) the attorney general and an “opioid party” have

entered into a qualifying settlement; (2) the Non-Participating Entities are political subdivisions;

and (3) the Non-Participating Entities have filed claims after January 1, 2021. Here, all these

elements have been met.




2
 The Complaint includes other Plaintiffs, including from other states, which are not the subject of this
Motion.
3
 Press Release, Office of the Indiana Attorney General, Attorney General Todd Rokita announces $507
million agreement with opioid distributors, manufacturer (July 21, 2021), https://events.in.gov/
event/attorney_general_todd_rokita_announces_507_million_agreement_with_opioid_distributors_manuf
acturer.




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I.        Settling Distributors and Attorney General Have Entered Into a Qualifying
          Settlement

          Indiana Code § 4-6-15 provides that “all political subdivisions shall be considered a party

to any settlement, including a settlement in lieu of litigation, in opioid litigation by the attorney

general with an opioid party that is finalized with court approval after March 1, 2021.” See

Indiana Code § 4-6-15-2(a) (emphasis added). “Opioid party” is defined as “any manufacturer,

consultant, marketer, distributor, prescriber, or dispenser of an opioid product.” Id. § 4-6-15-1.

          The State of Indiana and Settling Distributors announced they had agreed to a settlement

on July 21, 2021.4 The Distributor Settlement with Indiana was subsequently finalized by Final

Consent Judgment and Order of Dismissal on March 30, 2022 in the Marion County Superior

Court. See Exhibit A. Accordingly, the Distributor Settlement falls within the timeframe

specified in the statute and is, therefore, a qualifying settlement.

II.       The Non-Participating Entities Are “Political Subdivisions”

          “Political subdivision” is broadly defined under the statute to include state educational

institutions and school corporations. See Indiana Code § 4-6-15-1(4) (providing that “political

subdivision” “has the meaning set forth in IC 34-6-2-110”); id. § 34-6-2-110 (defining “political

subdivision” to include a “state educational institution” or a “school corporation”). A review of

the Complaint reveals that all of the Non-Participating Entities are state educational institutions

or school corporations.5 Given the foregoing, the Non-Participating Entities all fall within the



4
    See supra n.3.
5
  See Compl. ⁋ 16 (“Plaintiff South Bend Community School Corporation is a school district located in
South Bend, Indiana, . . . .”); id. ¶ 19 (“Plaintiff Smith-Green Community Schools is a public school
district serving the town of Churubusco, Indiana . . . .”); id. ¶ 20 (“Plaintiff School City of Mishawaka is a
school district located in Mishawaka, Indiana. . . ..”); id. ¶ 25 (“Plaintiff Penn-Harris-Madison School
Corporation is a school district located in Mishawaka, . . . .”); id. ¶ 26 (“Plaintiff Fort Wayne Community
Schools corporation is a school district located in Fort Wayne, Indiana . . . .”).




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scope of “political subdivisions” that are statutorily precluded from maintaining suits against

Settling Distributors.

III.   The Non-Participating Entities’ Claims Were Filed After January 1, 2021.

       Finally, Indiana Code § 4-6-15 further precludes political subdivisions from filing any

opioid litigation after January 1, 2021. See Indiana Code § 4-6-15-3. The statute expressly

provides, “[a]fter January 1, 2021, no political subdivision shall initiate or file opioid litigation in

any court.” Id. § 4-6-15-3. The Complaint in this action was filed on May 24, 2021. See Compl.

Although the statute did allow subdivisions to opt out of the settlement, subdivisions seeking to

do so must have initiated litigation on or before January 1, 2021, adopted a resolution to opt out,

and notified the attorney general in writing by June 30, 2021. See id. § 4-6-15-2(b)-(c). Any

subdivision that did not opt out of a settlement as set forth in § 4-6-15-2(b)-(c) is “considered a

party to [the] settlement” and “bound by [the settlement’s] terms.” See id. § 4-6-15-2(a). The

Non-Participating Entities did not initiate litigation until May 24, 2021. Accordingly, pursuant

to the express language of the statute and the terms of the Distributor Settlement, including the

Release provided therein, the Non-Participating Entities’ lawsuit should be dismissed.

                                          CONCLUSION

       For the foregoing reasons, Settling Distributors respectfully request that this Court

dismiss all claims by the Non-Participating Entities against Settling Distributors.




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Dated: ________, 2022
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            SETTLING DISTRIBUTORS’ MOTION TO DISMISS
            CLAIMS FILED BY NON-PARTICIPATING INDIANA
                SUBDIVISIONS AS BARRED BY STATUTE




                         EXHIBIT A
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                                                                            Filed: 3/29/2022 9:33 AM
                                                                                                                 Clerk
                                                                                                Marion County, Indiana




  STATE OF INDIANA                          IN THE MARION SUPERIOR COURT 7

  COUNTY OF MARION                          CAUSE NO.: 49D07-1910-PL-044323


  STATE OF INDIANA,

                 Plaintiff,

         v.

  CARDINAL HEALTH, INC.,
  MCKESSON CORPORATION, and
  AMERISOURCEBERGAN DRUG
  CORPORATION,

                 Defendants.



          FINAL CONSENT JUDGMENT AND DISMISSAL WITH PREJUDICE
        The State of Indiana (“State”) and McKesson Corporation, Cardinal Health, Inc., and

 AmerisourceBergen Corporation and AmerisourceBergen Drug Corporation, together with the

 subsidiaries thereof (collectively, the “Settling Distributors,” and each a “Settling Distributor”)

 (together with the State, the “Parties,” and each a “Party”) have entered into a consensual

 resolution of the above-captioned litigation (the “Action”) pursuant to a settlement agreement

 entitled Distributor Settlement Agreement, dated as of July 21, 2021 (as subsequently updated)

 (the “Agreement”), a copy of which is attached hereto as Exhibit A. The Agreement shall become

 effective by its terms upon the entry of this Final Consent Judgment (the “Judgment”) by the Court

 without trial or adjudication of any contested issue of fact or law, and without finding or admission

 of wrongdoing or liability of any kind.
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RECITALS:

        1.      Each Party warrants and represents that it engaged in arm’s-length negotiations in

good faith. In hereby executing the Agreement, the Parties intend to effect a good-faith settlement.

        2.      The State has determined that the Agreement is in the public interest.

        3.      The Settling Distributors deny the allegations against them and that they have any

liability whatsoever to the State, its Subdivisions, and/or (a) any of the State’s or Subdivisions’

departments, agencies, divisions, boards, commissions, districts, instrumentalities of any kind and

attorneys, including its Attorney General, and any person in his or her official capacity whether

elected or appointed to serve any of the foregoing and any agency, person, or other entity claiming

by or through any of the foregoing, (b) any public entities, public instrumentalities, public

educational institutions, unincorporated districts, fire districts, irrigation districts, and other

Special Districts, and (c) any person or entity acting in a parens patriae, sovereign, quasi-

sovereign, private attorney general, qui tam, taxpayer, or other capacity seeking relief on behalf of

or generally applicable to the general public.

        4.      The Parties recognize that the outcome of the Action is uncertain and a final

resolution through the adversarial process likely will require protracted litigation.

        5.      The Parties agree to the entry of the injunctive relief terms pursuant to Exhibit P of

the Agreement.

        6.      Therefore, without any admission of liability or wrongdoing by the Settling

Distributors or any other Released Entities (as defined in the Agreement), the Parties now mutually

consent to the entry of this Judgment and agree to dismissal of the claims with prejudice pursuant

to the terms of the Agreement to avoid the delay, expense, inconvenience, and uncertainty of

protracted litigation.



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NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       In consideration of the mutual promises, terms, and conditions set forth in the Agreement,

the adequacy of which is hereby acknowledged by all Parties, it is agreed by and between the

Settling Distributors and the State, and adjudicated by the Court, as follows:

       1.        The foregoing Recitals are incorporated herein and constitute an express term of

this Judgment.

       2.        The Parties have entered into a full and final settlement of all Released Claims of

Releasors against the Settling Distributors (including but not limited to the State) and the Released

Entities pursuant to the terms and conditions set forth in the Agreement.

       3.        The “Definitions” set forth in Section I of the Agreement are incorporated by

reference into this Judgment. The State is a “Settling State” within the meaning of the Agreement.

Unless otherwise defined herein, capitalized terms in this Judgment shall have the same meaning

given to them in the Agreement.

       4.        The Parties agree that the Court has jurisdiction over the subject matter of the

Action and over the Parties with respect to the Action and this Judgment. This Judgment shall not

be construed or used as a waiver of any jurisdictional defense the Settling Distributors or any other

Released Entity may raise in any other proceeding.

       5.        The Court finds that the Agreement was entered into in good faith.

       6.        The Court finds that entry of this Judgment is in the public interest and reflects a

negotiated settlement agreed to by the Parties.

       7.        By this Judgment, the Agreement is hereby approved by the Court, and the Court

hereby adopts the Agreement’s terms as its own determination of this matter and the Parties’

respective rights and obligations.



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       8.      The Court shall have authority to resolve disputes identified in Section VI.F.1 of

the Agreement, governed by the rules and procedures of the Court.

       9.      The Court hereby recognizes Indiana Code § 4-6-15 et seq., as amended by P.L.

72-2022 et seq., eff. March 10, 2022, as the statutory authority directing the means by which

relevant funds paid pursuant to the Agreement will be divided within the State, subject to the full

acceptance by any Subdivision receiving such funds of the terms of the Agreement, including the

releases provided therein. Under the terms of Indiana Code § 4-6-15-2, a Subdivision entitled to

receive funds is a Subdivision that did not file opioid litigation on or before January 1, 2021; that

did file opioid litigation on or before January 1, 2021 but did not opt out of the State’s settlement;

or did file opioid litigation on or before January 1, 2021, did opt out of the State’s settlement but

thereafter, exercised its right to timely opt in to the State’s settlement memorialized in the

Agreement.

       10.     The Parties have satisfied the Condition to Effectiveness of Agreement set forth in

Section VIII of the Agreement and the Release set forth in Sections XI.A, F, and G of the

Agreement, as follows:

       a.      The Attorney General of the State exercised the fullest extent of his or her powers
               to release the Settling Distributors and all other Released Entities from all Released
               Claims pursuant to the release attached hereto as Exhibit B (the “AG Release”).

       b.      The Settling Distributors have determined that there is sufficient State participation
               and sufficient resolution of the Claims of the Litigating Subdivisions in the Settling
               States to proceed with the Agreement.

       c.      The Participation Form for each Initial Participating Subdivision in the State has
               been delivered to the Settling Distributors. As stated in the Participation Form, and
               for the avoidance of doubt, nothing in the Participation Form executed by the
               Participating Subdivisions is intended to modify in any way the terms of the
               Agreement to which the Participating Subdivisions agree. As stated in the
               Participation Form, to the extent the executed version of the Participation Form
               differs from the Agreement in any respect, the Agreement controls. Also, pursuant
               to Indiana Code § 4-6-15-2, all Subdivisions, except for those Subdivisions entitled
               to opt out of the Settlement and that have, in fact, opted out of the Settlement, “shall

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               be bound by the terms of any opioid litigation settlement imposed by … any other
               court of competent jurisdiction as accepted by the attorney general.”

       d.      Pursuant to Section VIII.B of the Agreement, each Participating Subdivision in the
               State is dismissing with prejudice any Released Claims that it has filed against the
               Settling Distributors and the Released Entities.

       11.     Release. The Parties acknowledge that the AG Release, which is incorporated by

reference herein, is an integral part of this Judgment. Pursuant to the Agreement and the AG

Release and without limitation and to the maximum extent of the power of the State’s Attorney

General, the Settling Distributors and the other Released Entities are, as of the Effective Date,

hereby released from any and all Released Claims of (a) the State and its Participating Subdivisions

and any of their departments, agencies, divisions, boards, commissions, Subdivisions, districts,

instrumentalities of any kind and attorneys, including the State’s Attorney General, and any person

in his or her official capacity whether elected or appointed to serve any of the foregoing, and any

agency, person, or other entity claiming by or through any of the foregoing, (b) any public entities,

public instrumentalities, public educational institutions, unincorporated districts, fire districts,

irrigation districts, and other Special Districts in the State, and (c) any person or entity acting in a

parens patriae, sovereign, quasi-sovereign, private attorney general, qui tam, taxpayer, or other

capacity seeking relief on behalf of or generally applicable to the general public with respect to

the State or any Subdivision in the State, whether or not any of them participate in the Agreement.

Pursuant to the Agreement and the AG Release and to the maximum extent of the State’s power,

the Settling Distributors and the other Released Entities are, as of the Effective Date, hereby

released from any and all Released Claims of (1) the State, (2) all past and present executive

departments, state agencies, divisions, boards, commissions and instrumentalities with the

regulatory authority to enforce state and federal controlled substances acts, and (3) any of the

State’s past and present executive departments, agencies, divisions, boards, commissions and


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instrumentalities that have the authority to bring Claims related to Covered Conduct seeking

money (including abatement and/or remediation) or revocation of a pharmaceutical distribution

license. For the purposes of clause (3) above, executive departments, agencies, divisions, boards,

commissions, and instrumentalities are those that are under the executive authority or direct control

of the State’s Governor. Further, the provisions set forth in Section XI of the Agreement are

incorporated by reference into this Judgment as if fully set forth herein. The Parties acknowledge,

and the Court finds, that those provisions are an integral part of the Agreement and this Judgment,

and shall govern the rights and obligations of all participants in the settlement. Any modification

of those rights and obligations may be made based only on a writing signed by all affected parties

and approved by the Court.

       12.      Release of Unknown Claims. The State expressly waives, releases, and forever

discharges any and all provisions, rights, and benefits conferred by any law of any state or territory

of the United States or other jurisdiction, or principle of common law, which is similar,

comparable, or equivalent to § 1542 of the California Civil Code, which reads:

               General Release; extent. A general release does not extend to
               claims that the creditor or releasing party does not know or suspect
               to exist in his or her favor at the time of executing the release that,
               if known by him or her, would have materially affected his or her
               settlement with the debtor or released party.

13.    The State may hereafter discover facts other than or different from those which it knows,

believes, or assumes to be true with respect to the Released Claims, but the State expressly waived

and fully, finally, and forever settled, released and discharged, through the Agreement and AG

Release, any and all Released Claims that may exist as of the Effective Date but which the State

does not know or suspect to exist, whether through ignorance, oversight, error, negligence or

through no fault whatsoever, and which, if known, would have materially affected the State’s

decision to enter into the Agreement.
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       14.      Statutory Bar of Subdivision Litigation. Indiana Code § 4-6-15-3 provides “[a]fter

January 1, 2021, no political subdivision shall initiate or file opioid litigation in any court.” The

Parties agree this authority operates as a bar to the initiation of opioid litigation, as defined by

statute, by any Subdivision occurring on or after January 1, 2021.

       15.     Costs and Fees. The Parties will bear their own costs and attorneys’ fees except as

otherwise provided in the Agreement.

       16.     No Admission of Liability.       The Settling Distributors are consenting to this

Judgment solely for the purpose of effectuating the Agreement, and nothing contained herein may

be taken as or construed to be an admission or concession of any violation of law, rule, or

regulation, or of any other matter of fact or law, or of any liability or wrongdoing, all of which the

Settling Distributors expressly deny. None of the Settling Distributors or any other Released Entity

admits that it caused or contributed to any public nuisance, and none of the Settling Distributors

or any other Released Entity admits any wrongdoing that was or could have been alleged by the

State, its Participating Subdivisions, or any other person or entity. No part of this Judgment shall

constitute evidence of any liability, fault, or wrongdoing by the Settling Distributors or any other

Released Entity. The Parties acknowledge that payments made under the Agreement are not a

fine, penalty, or payment in lieu thereof and are properly characterized as described in Section V.F

of the Agreement.

       17.     No Waiver. This Judgment is entered based on the Agreement without trial or

adjudication of any contested issue of fact or law or finding of liability of any kind. This Judgment

shall not be construed or used as a waiver of any Settling Distributor’s right, or any other Released

Entity’s right, to defend itself from, or make any arguments in, any other regulatory, governmental,

private individual, or class claims or suits relating to the subject matter or terms of this Judgment.



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Notwithstanding the foregoing, the State may enforce the terms of this Judgment as expressly

provided in the Agreement.

       18.     No Private Right of Action. This Judgment is not intended for use by any third

party for any purpose, including submission to any court for any purpose, except pursuant to

Section VI.A of the Agreement. Except as expressly provided in the Agreement, no portion of the

Agreement or this Judgment shall provide any rights to, or be enforceable by, any person or entity

that is not a Settling State or Released Entity. The State shall allow Participating Subdivisions in

the State to notify it of any perceived violations of the Agreement or this Judgment. No Settling

State, including the State, may assign or otherwise convey any right to enforce any provision of

the Agreement.

       19.     Admissibility. It is the intent of the Parties that this Judgment not be admissible in

other cases against the Settling Distributors or binding on the Settling Distributors in any respect

other than in connection with the enforcement of this Judgment or the Agreement. For the

avoidance of doubt, nothing herein shall prohibit a Settling Distributor from entering this Judgment

or the Agreement into evidence in any litigation or arbitration concerning (1) a Settling

Distributor’s right to coverage under an insurance contract or (2) the enforcement of the releases

provided for by the Agreement and this Judgment.

       20.     Preservation of Privilege. Nothing contained in the Agreement or this Judgment,

and no act required to be performed pursuant to the Agreement or this Judgment, is intended to

constitute, cause, or effect any waiver (in whole or in part) of any attorney-client privilege, work

product protection, or common interest/joint defense privilege, and each Party agrees that it shall

not make or cause to be made in any forum any assertion to the contrary.




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       21.     Mutual Interpretation. The Parties agree and stipulate that the Agreement was

negotiated on an arm’s-length basis between parties of equal bargaining power and was drafted

jointly by counsel for each Party. Accordingly, the Agreement is incorporated herein by reference

and shall be mutually interpreted and not construed in favor of or against any Party, except as

expressly provided for in the Agreement.

       22.     Retention of Jurisdiction. The Court shall retain jurisdiction of the Parties for the

limited purpose of the resolution of disputes identified in Section VI.F.1 of the Agreement. The

Court shall have jurisdiction over Participating Subdivisions in the State for the limited purposes

identified in the Agreement.

       23.     Successors and Assigns.      This Judgment is binding on each of the Settling

Distributor’s successors and assigns.

       24.     Modification. This Judgment shall not be modified (by the Court, by any other

court, or by any other means) without the consent of the State and the Settling Distributors, or as

provided for in Section XIV.U of the Agreement.

       25.     Dismissal with Prejudice. The Action is dismissed with prejudice, subject to a

retention of jurisdiction by the Court as provided herein and in the Agreement, and all pending

dates are hereby vacated.




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         So ORDERED this _____ day of                            , 2022.




Enter:                                               By Order:


_____________________________                        _____________________________


INSPECTED, APPROVED, AGREED TO AND PRESENTED BY:


By:      /s/ Cory C. Voight
         Cory C. Voight
         Attorney No. 23180-49
         Director of Complex Litigation
         Counsel for Plaintiff


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DISTRIBUTION:
All Counsel of Record




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            SETTLING DISTRIBUTORS’ MOTION TO DISMISS
            CLAIMS FILED BY NON-PARTICIPATING INDIANA
                SUBDIVISIONS AS BARRED BY STATUTE




                         EXHIBIT B
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  DISTRIBUTOR SETTLEMENT
         AGREEMENT
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                       DISTRIBUTOR SETTLEMENT AGREEMENT

This Settlement Agreement, dated as of July 21, 2021 (the “Agreement”), sets forth the terms of
settlement between and among the Settling States, the Settling Distributors, and the Participating
Subdivisions (as those terms are defined below). Upon satisfaction of the conditions set forth in
Section II and Section VIII, this Agreement will be binding on all Settling States, Settling
Distributors, and Participating Subdivisions. This Agreement will then be filed as part of
Consent Judgments in the respective courts of each of the Settling States, pursuant to the terms
set forth in Section VIII.

I.     Definitions

        For all sections of this Agreement except Exhibit E and Exhibit P, the following
definitions apply:

       A.          “Abatement Accounts Fund.” The component of the Settlement Fund
described in Section V.E.

        B.         “Additional Restitution Amount.” The amount available to Settling States
listed on Exhibit N totaling $282,692,307.70.

       C.          “Agreement.” This agreement, as set forth above. For the avoidance of doubt,
this Agreement is inclusive of all exhibits.

        D.         “Alleged Harms.” The alleged past, present, and future financial, societal, and
public nuisance harms and related expenditures arising out of the alleged misuse and abuse of
Products, non-exclusive examples of which are described in the documents listed on Exhibit A,
that have allegedly arisen as a result of the physical and bodily injuries sustained by individuals
suffering from opioid-related addiction, abuse, death, and other related diseases and disorders,
and that have allegedly been caused by the Settling Distributors.

        E.          “Allocation Statute.” A state law that governs allocation, distribution, and/or
use of some or all of the Settlement Fund amounts allocated to that State and/or its Subdivisions.
In addition to modifying the allocation set forth in Section V.D.2, an Allocation Statute may,
without limitation, contain a Statutory Trust, further restrict expenditures of funds, form an
advisory committee, establish oversight and reporting requirements, or address other default
provisions and other matters related to the funds. An Allocation Statute is not required to
address all three (3) types of funds comprising the Settlement Fund or all default provisions.

       F.          “Annual Payment.” The total amount payable to the Settlement Fund
Administrator by the Settling Distributors on the Payment Date each year, as calculated by the
Settlement Fund Administrator pursuant to Section IV.B.1.e. For the avoidance of doubt, this
term does not include the Additional Restitution Amount or amounts paid pursuant to Section X.

       G.          “Appropriate Official.” As defined in Section XIV.F.3.

       H.          “Bankruptcy Code.” Title 11 of the United States Code, 11 U.S.C. § 101, et
seq.


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        I.          “Bar.” Either: (1) a law barring Subdivisions in a State from maintaining
Released Claims against Released Entities (either through a direct bar or through a grant of
authority to release claims and the exercise of such authority in full) or (2) a ruling by the highest
court of the State (or, in a State with a single intermediate court of appeals, the intermediate
court of appeals when not subject to further review by the highest court of the State) setting forth
the general principle that Subdivisions in the State may not maintain any Released Claims
against Released Entities, whether on the ground of this Agreement (or the release in it) or
otherwise. For the avoidance of doubt, a law or ruling that is conditioned or predicated upon
payment by a Released Entity (apart from the Annual Payments by Settling Distributors under
this Agreement) shall not constitute a Bar.

        J.          “Case-Specific Resolution.” Either: (1) a law barring the Subdivision at issue
from maintaining any Released Claims against any Released Entities (either through a direct bar
or through a grant of authority to release claims and the exercise of such authority in full); or (2)
a ruling by a court of competent jurisdiction over the Subdivision at issue that the Subdivision
may not maintain any Released Claims at issue against any Released Entities, whether on the
ground of this Agreement (or the release in it) or otherwise. For the avoidance of doubt, a law or
ruling that is conditioned or predicated upon payment by a Released Entity (apart from the
Annual Payments by Settling Distributors under this Agreement) shall not constitute a Case-
Specific Resolution.

        K.          “Claim.” Any past, present or future cause of action, claim for relief, cross-
claim or counterclaim, theory of liability, demand, derivative claim, request, assessment, charge,
covenant, damage, debt, lien, loss, penalty, judgment, right, obligation, dispute, suit, contract,
controversy, agreement, parens patriae claim, promise, performance, warranty, omission, or
grievance of any nature whatsoever, whether legal, equitable, statutory, regulatory or
administrative, whether arising under federal, state or local common law, statute, regulation,
guidance, ordinance or principles of equity, whether filed or unfiled, whether asserted or
unasserted, whether known or unknown, whether accrued or unaccrued, whether foreseen,
unforeseen or unforeseeable, whether discovered or undiscovered, whether suspected or
unsuspected, whether fixed or contingent, and whether existing or hereafter arising, in all such
cases, including, but not limited to, any request for declaratory, injunctive, or equitable relief,
compensatory, punitive, or statutory damages, absolute liability, strict liability, restitution,
abatement, subrogation, contribution, indemnity, apportionment, disgorgement, reimbursement,
attorney fees, expert fees, consultant fees, fines, penalties, expenses, costs or any other legal,
equitable, civil, administrative, or regulatory remedy whatsoever.

        L.         “Claim-Over.” A Claim asserted by a Non-Released Entity against a Released
Entity on the basis of contribution, indemnity, or other claim-over on any theory relating to a
Non-Party Covered Conduct Claim asserted by a Releasor.

         M.        “Compensatory Restitution Amount.” The aggregate amount paid or incurred
by the Settling Distributors hereunder other than amounts paid as attorneys’ fees and costs or
identified pursuant to Section V.B.2 as being used to pay attorneys’ fees, investigation costs or
litigation costs.




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        N.         “Consent Judgment.” A state-specific consent judgment in a form to be
agreed by the Settling States and the Settling Distributors prior to the Initial Participation Date
that, among other things, (1) approves this Agreement and (2) provides for the release set forth in
Section XI.A, including the dismissal with prejudice of any Released Claims that the Settling
State has brought against Released Entities.

         O.          “Covered Conduct.” Any actual or alleged act, failure to act, negligence,
statement, error, omission, breach of any duty, conduct, event, transaction, agreement,
misstatement, misleading statement or other activity of any kind whatsoever from the beginning
of time through the Reference Date (and any past, present, or future consequence of any such act,
failure to act, negligence, statement, error, omission, breach of duty, conduct, event, transaction,
agreement, misstatement, misleading statement or other activity) relating in any way to (1) the
discovery, development, manufacture, packaging, repackaging, marketing, promotion,
advertising, labeling, recall, withdrawal, distribution, delivery, monitoring, reporting, supply,
sale, prescribing, dispensing, physical security, warehousing, use or abuse of, or operating
procedures relating to, any Product, or any system, plan, policy or advocacy relating to any
Product or class of Products, including, but not limited to, any unbranded promotion, marketing,
programs, or campaigns relating to any Product or class of Products; (2) the characteristics,
properties, risks, or benefits of any Product; (3) the reporting, disclosure, non-reporting or non-
disclosure to federal, state or other regulators of orders placed with any Released Entity; or (4)
diversion control programs or suspicious order monitoring; provided, however, that as to any
Claim that a Releasor has brought or could bring, Covered Conduct does not include non-
compliance with statutory or administrative supply security standards concerning cleanliness of
facilities or stopping counterfeit products, so long as such standards apply to the storage and
distribution of both controlled and non-controlled pharmaceuticals.

       P.          “Designated State.” New York.

       Q.          “Effective Date.” The date sixty (60) calendar days after the Reference Date.

        R.          “Enforcement Committee.” A committee consisting of representatives of the
Settling States and of the Participating Subdivisions. Exhibit B contains the organizational
bylaws of the Enforcement Committee. Notice pursuant to Section XIV.Q shall be provided
when there are changes in membership or contact information.

        S.          “Final Order.” An order or judgment of a court of competent jurisdiction
with respect to the applicable subject matter (1) which has not been reversed or superseded by a
modified or amended order, is not currently stayed, and as to which any right to appeal or seek
certiorari, review, reargument, stay, or rehearing has expired, and as to which no appeal or
petition for certiorari, review, reargument, stay, or rehearing is pending, or (2) as to which an
appeal has been taken or petition for certiorari, review, reargument, stay, or rehearing has been
filed and (a) such appeal or petition for certiorari, review, reargument, stay, or rehearing has
been resolved by the highest court to which the order or judgment was appealed or from which
certiorari, review, reargument, stay, or rehearing was sought, or (b) the time to appeal further or
seek certiorari, review, reargument, stay, or rehearing has expired and no such further appeal or
petition for certiorari, review, reargument, stay, or rehearing is pending.



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       T.        “Global Settlement Abatement Amount.” The abatement amount of
$19,045,384,616.

       U.          “Global Settlement Amount.” The Global Settlement Amount is $21 billion,
which shall be divided into the Global Settlement Abatement Amount, the Additional Restitution
Amount, and the Global Settlement Attorney Fee Amount.

       V.          “Global Settlement Attorney Fee Amount.” The attorney fee amount of
$1,671,923,077.

       W.          “Incentive Payment A.” The incentive payment described in Section IV.F.1.

       X.          “Incentive Payment B.” The incentive payment described in Section IV.F.2.

       Y.          “Incentive Payment C.” The incentive payment described in Section IV.F.3.

       Z.          “Incentive Payment D.” The incentive payment described in Section IV.F.4.

         AA.         “Incentive Payment Final Eligibility Date.” With respect to a Settling State,
the date that is the earlier of (1) the fifth Payment Date, (2) the date of completion of opening
statements in a trial of any action brought by a Subdivision in that State that includes a Released
Claim against a Released Entity when such date is more than two (2) years after the Effective
Date, or (3) two (2) years after the Effective Date in the event a trial of an action brought by a
Subdivision in that State that includes a Released Claim against a Released Entity began after the
Initial Participation Date but before two (2) years after the Effective Date.

       BB.         “Initial Participating Subdivision.” A Subdivision that meets the
requirements set forth in Section VII.D.

      CC.         “Initial Participation Date.” January 26, 2022, as extended by written
agreement of the Settling Distributors and the Enforcement Committee on December 22, 2021.

       DD.         “Injunctive Relief Terms.” The terms described in Section III and set forth in
Exhibit P.

        EE.          “Later Litigating Subdivision.” A Subdivision (or Subdivision official
asserting the right of or for the Subdivision to recover for alleged harms to the Subdivision
and/or the people thereof) that: (1) first files a lawsuit bringing a Released Claim against a
Released Entity after the Trigger Date; or (2) adds a Released Claim against a Released Entity
after the Trigger Date to a lawsuit brought before the Trigger Date that, prior to the Trigger Date,
did not include any Released Claims against a Released Entity; or (3) (a) was a Litigating
Subdivision whose Released Claims against Released Entities were resolved by a legislative Bar
or legislative Case-Specific Resolution as of the Trigger Date, (b) such legislative Bar or
legislative Case-Specific Resolution is subject to a Revocation Event after the Trigger Date, and
(c) the earlier of the date of completion of opening statements in a trial in an action brought by a
Subdivision in that State that includes a Released Claim against a Released Entity or one
hundred eighty (180) days from the Revocation Event passes without a Bar or Case-Specific
Resolution being implemented as to that Litigating Subdivision or the Litigating Subdivision’s


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Released Claims being dismissed; or (4) (a) was a Litigating Subdivision whose Released Claims
against Released Entities were resolved by a judicial Bar or judicial Case-Specific Resolution as
of the Trigger Date, (b) such judicial Bar or judicial Case-Specific Resolution is subject to a
Revocation Event after the Trigger Date, and (c) such Litigating Subdivision takes any action in
its lawsuit asserting a Released Claim against a Released Entity other than seeking a stay or
dismissal.

         FF.         “Later Participating Subdivision.” A Participating Subdivision that is not an
Initial Participating Subdivision, but meets the requirements set forth in Section VII.E.

        GG.        “Litigating Subdivision.” A Subdivision (or Subdivision official) that brought
any Released Claim against any Released Entity prior to the Trigger Date; provided, however,
that a Subdivision (or Subdivision official) that is a Prior Litigating Subdivision shall not be
considered a Litigating Subdivision. Exhibit C is an agreed list of all Litigating Subdivisions.
Exhibit C will be updated (including with any corrections) periodically, and a final version of
Exhibit C will be attached hereto as of the Reference Date.

       HH.         “National Arbitration Panel.” The panel comprised as described in Section
VI.F.2.b.

       II.         “National Disputes.” As defined in Section VI.F.2.a.

       JJ.        “Net Abatement Amount.” The Global Settlement Abatement Amount as
reduced by the Tribal/W. Va. Subdivision Credit.

       KK.         “Net Settlement Prepayment Amount.” As defined in Section IV.J.1.

       LL.        “Non-Litigating Subdivision.” Any Subdivision that is neither a Litigating
Subdivision nor a Later Litigating Subdivision.

       MM.         “Non-Participating Subdivision.” Any Subdivision that is not a Participating
Subdivision.

        NN.        “Non-Party Covered Conduct Claim.” A Claim against any Non-Released
Entity involving, arising out of, or related to Covered Conduct (or conduct that would be
Covered Conduct if engaged in by a Released Entity).

       OO.       “Non-Party Settlement.” A settlement by any Releasor that settles any Non-
Party Covered Conduct Claim and includes a release of any Non-Released Entity.

       PP.          “Non-Released Entity.” An entity that is not a Released Entity.

       QQ.         “Non-Settling State.” Any State that is not a Settling State.

       RR.         “Offset Cap.” The per-State dollar amount which the dollar-for-dollar offset
described in Section XII.A cannot exceed in a Payment Year, to be calculated by multiplying the
amount of the relevant Annual Payment apportioned to the State and to its Subdivisions for that
Payment Year by the percentage for the applicable Participation Tier as set forth in Exhibit D.


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         SS.         “Opioid Remediation.” Care, treatment, and other programs and expenditures
(including reimbursement for past such programs or expenditures 1 except where this Agreement
restricts the use of funds solely to future Opioid Remediation) designed to (1) address the misuse
and abuse of opioid products, (2) treat or mitigate opioid use or related disorders, or (3) mitigate
other alleged effects of, including on those injured as a result of, the opioid epidemic. Exhibit E
provides a non-exhaustive list of expenditures that qualify as being paid for Opioid Remediation.
Qualifying expenditures may include reasonable related administrative expenses.

        TT.    “Opioid Tax.” Any tax, assessment, license fee, surcharge or any other fee (other
than a fixed prospective excise tax or similar tax or fee that has no restriction on pass-through)
imposed by a State on a Settling Distributor on the sale, transfer or distribution of opioid
products; provided, however, that neither the Excise Tax on sale of Opioids, Article 20-D of New
York’s Tax Law nor the Opioid Stewardship Act, Article 33, Title 2-A of New York’s Public
Health Law shall be considered an Opioid Tax for purposes of this Agreement.

       UU.        “Overall Allocation Percentage.” A Settling State’s percentage as set forth in
Exhibit F. The aggregate Overall Allocation Percentages of all States (including Settling States
and Non-Settling States) shall equal one hundred percent (100%).

       VV.        “Participating Subdivision.” Any Subdivision that meets the requirements for
becoming a Participating Subdivision under Section VII.B and Section VII.C. Participating
Subdivisions include both Initial Participating Subdivisions and Later Participating Subdivisions.

       WW.       “Participation Tier.” The level of participation in this Agreement as
determined pursuant to Section VIII.C using the criteria set forth in Exhibit H.

           XX.          “Parties.” The Settling Distributors and the Settling States (each, a “Party”).

      YY.       “Payment Date.” The date on which the Settling Distributors make the
Annual Payment pursuant to Section IV.B.

        ZZ.       “Payment Year.” The calendar year during which the applicable Annual
Payment is due pursuant to Section IV.B. Payment Year 1 is 2021, Payment Year 2 is 2022 and
so forth. References to payment “for a Payment Year” mean the Annual Payment due during
that year. References to eligibility “for a Payment Year” mean eligibility in connection with the
Annual Payment due during that year.

        AAA.       “Preliminary Agreement Date.” The date on which the Settling Distributors
are to inform the Settling States of their determination whether the condition in Section II.B has
been satisfied. The Preliminary Agreement Date shall be no more than fourteen (14) calendar
days after the end of the notice period to States, unless it is extended by written agreement of the
Settling Distributors and the Enforcement Committee.

           BBB.         “Prepayment Notice.” As defined in Section IV.J.1.



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    Reimbursement includes amounts paid to any governmental entities for past expenditures or programs.


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        CCC.        “Primary Subdivision.” A Subdivision that is a General Purpose Government
(including, but not limited to, a municipality, county, county subdivision, city, town, township,
parish, village, borough, gore, or any other entities that provide municipal-type government) with
population over 10,000; provided, however, that as used in connection with Incentive Payment
C, the population threshold is 30,000. Attached as Exhibit I is an agreed list of the Primary
Subdivisions in each State.

       DDD.        “Prior Litigating Subdivision” A Subdivision (or Subdivision official) that
brought any Released Claim against any Released Entity prior to the Trigger Date and all such
Released Claims were separately settled or finally adjudicated prior to the Trigger Date;
provided, however, that if the final adjudication was pursuant to a Bar, such Subdivision shall not
be considered a Prior Litigating Subdivision. Notwithstanding the prior sentence, the Settling
Distributors and the Settling State of the relevant Subdivision may agree in writing that the
Subdivision shall not be considered a Prior Litigating Subdivision.

        EEE.        “Product.” Any chemical substance, whether used for medicinal or non-
medicinal purposes, and whether natural, synthetic, or semi-synthetic, or any finished
pharmaceutical product made from or with such substance, that is: (1) an opioid or opiate, as
well as any product containing any such substance; or (2) benzodiazepine, carisoprodol, or
gabapentin; or (3) a combination or “cocktail” of chemical substances prescribed, sold, bought,
or dispensed to be used together that includes opioids or opiates. “Product” shall include, but is
not limited to, any substance consisting of or containing buprenorphine, codeine, fentanyl,
hydrocodone, hydromorphone, meperidine, methadone, morphine, oxycodone, oxymorphone,
tapentadol, tramadol, opium, heroin, carfentanil, diazepam, estazolam, quazepam, alprazolam,
clonazepam, oxazepam, flurazepam, triozolam, temazepam, midazolam, carisoprodol,
gabapentin, or any variant of these substances or any similar substance. Notwithstanding the
foregoing, nothing in this section prohibits a Settling State from taking administrative or
regulatory action related to benzodiazepine (including, but not limited to, diazepam, estazolam,
quazepam, alprazolam, clonazepam, oxazepam, flurazepam, triozolam, temazepam, and
midazolam), carisoprodol, or gabapentin that is wholly independent from the use of such drugs in
combination with opioids, provided such action does not seek money (including abatement
and/or remediation) for conduct prior to the Effective Date.

        FFF.        “Reference Date.” The date on which the Settling Distributors are to inform
the Settling States of their determination whether the condition in Section VIII has been satisfied.
The Reference Date shall be no later than thirty (30) calendar days after the Initial Participation
Date, unless it is extended by written agreement of the Settling Distributors and the Enforcement
Committee.

        GGG.         “Released Claims.” Any and all Claims that directly or indirectly are based
on, arise out of, or in any way relate to or concern the Covered Conduct occurring prior to the
Reference Date. Without limiting the foregoing, Released Claims include any Claims that have
been asserted against a Settling Distributor by any Settling State or Litigating Subdivision in any
federal, state, or local action or proceeding (whether judicial, arbitral, or administrative) based
on, arising out of, or relating to, in whole or in part, the Covered Conduct, or any such Claims
that could be or could have been asserted now or in the future in those actions or in any
comparable action or proceeding brought by a State, Subdivision, or Releasor (whether or not


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such State, Subdivision, or Releasor has brought such action or proceeding). Released Claims
also include all Claims asserted in any proceeding to be dismissed pursuant to this Agreement,
whether or not such claims relate to Covered Conduct. The Parties intend that this term,
“Released Claims,” be interpreted broadly. This Agreement does not release Claims by private
individuals. It is the intent of the Parties that Claims by private individuals be treated in
accordance with applicable law. Released Claims is also used herein to describe claims brought
by a Later Litigating Subdivision or other non-party Subdivision that would have been Released
Claims if they had been brought by a Releasor against a Released Entity.

         HHH.        “Released Entities.” With respect to Released Claims, the Settling
Distributors and (1) all past and present subsidiaries, divisions, predecessors, successors, and
assigns (in each case, whether direct or indirect) of each Settling Distributor; (2) all past and
present subsidiaries and divisions (in each case, whether direct or indirect) of any entity
described in subsection (1); (3) the respective past and present officers, directors, members,
trustees, and employees of any of the foregoing (each for actions that occurred during and related
to their work for, or employment with, any of the Settling Distributors or the foregoing entities);
(4) all past and present joint ventures (whether direct or indirect) of each Settling Distributor or
its subsidiaries, including in any Settling Distributor or subsidiary’s capacity as a participating
member in such joint venture; (5) all direct or indirect parents and shareholders of the Settling
Distributors (solely in their capacity as parents or shareholders of the applicable Settling
Distributor with respect to Covered Conduct); and (6) any insurer of any Settling Distributor or
any person or entity otherwise described in subsections (1)-(5) (solely in its role as insurer of
such person or entity and subject to the last sentence of Section XI.C). Any person or entity
described in subsections (3)-(6) shall be a Released Entity solely in the capacity described in
such clause and shall not be a Released Entity with respect to its conduct in any other capacity.
For the avoidance of doubt, CVS Health Corp., Walgreens Boots Alliance, Inc., and Walmart
Inc. (collectively, the “Pharmacies”) are not Released Entities, nor are their direct or indirect
past or present subsidiaries, divisions, predecessors, successors, assigns, joint ventures,
shareholders, officers, directors, members, trustees, or employees (shareholders, officers,
directors, members, trustees, and employees for actions related to their work for, employment
with, or involvement with the Pharmacies) Released Entities. Notwithstanding the prior
sentence, any joint venture or past or present subsidiary of a Settling Distributor is a Released
Entity, including any joint venture between a Settling Distributor or any Settling Distributor’s
subsidiary and a Pharmacy (or any subsidiary of a Pharmacy); provided, however, that any joint
venture partner of a Settling Distributor or a Settling Distributor’s subsidiary is not a Released
Entity unless it falls within subsections (1)-(6) above. Lists of Settling Distributors’ subsidiaries,
joint ventures, and predecessor entities are appended to this Agreement as Exhibit J. With
respect to joint ventures (including predecessor entities), only entities listed on Exhibit J are
Released Entities. With respect to wholly-owned subsidiaries (including predecessor entities),
Exhibit J represents a good faith effort by the Settling Distributors to list all such entities, but any
and all wholly-owned subsidiaries (including predecessor entities) of any Settling Distributor are
Released Entities, whether or not they are listed on Exhibit J. For the avoidance of doubt, any
entity acquired, or joint venture entered into, by a Settling Distributor after the Reference Date is
not a Released Entity.

       III.         “Releasors.” With respect to Released Claims, (1) each Settling State;
(2) each Participating Subdivision; and (3) without limitation and to the maximum extent of the


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power of each Settling State’s Attorney General and/or Participating Subdivision to release
Claims, (a) the Settling State’s and Participating Subdivision’s departments, agencies, divisions,
boards, commissions, Subdivisions, districts, instrumentalities of any kind and attorneys,
including its Attorney General, and any person in his or her official capacity whether elected or
appointed to serve any of the foregoing and any agency, person, or other entity claiming by or
through any of the foregoing, (b) any public entities, public instrumentalities, public educational
institutions, unincorporated districts, fire districts, irrigation districts, and other Special Districts
in a Settling State, and (c) any person or entity acting in a parens patriae, sovereign, quasi-
sovereign, private attorney general, qui tam, taxpayer, or other capacity seeking relief on behalf
of or generally applicable to the general public with respect to a Settling State or Subdivision in a
Settling State, whether or not any of them participate in this Agreement. The inclusion of a
specific reference to a type of entity in this definition shall not be construed as meaning that the
entity is not a Subdivision. Each Settling State’s Attorney General represents that he or she has
or has obtained (or will obtain no later than the Initial Participation Date) the authority set forth
in Section XI.G. In addition to being a Releasor as provided herein, a Participating Subdivision
shall also provide the Subdivision Settlement Participation Form referenced in Section VII
providing for a release to the fullest extent of the Participating Subdivision’s authority.

       JJJ.        “Revocation Event.” With respect to a Bar, Settlement Class Resolution, or
Case-Specific Resolution, a revocation, rescission, reversal, overruling, or interpretation that in
any way limits the effect of such Bar, Settlement Class Resolution, or Case-Specific Resolution
on Released Claims, or any other action or event that otherwise deprives the Bar, Settlement
Class Resolution, or Case-Specific Resolution of force or effect in any material respect.

        KKK.        “Settlement Class Resolution.” A class action resolution in a court of
competent jurisdiction in a Settling State (that is not successfully removed to federal court) with
respect to a class of Subdivisions in that State that (1) conforms with that Settling State’s
statutes, case law, and rules of procedure regarding class actions; (2) is approved and entered as
an order of a court of competent jurisdiction in that State and such order has become a Final
Order; (3) is binding on all Non-Participating Subdivisions in that State (other than opt outs as
permitted under the next sentence); (4) provides that all such Non-Participating Subdivisions
may not bring any Released Claims against any Released Entities, whether on the ground of this
Agreement (or the releases herein) or otherwise; and (5) does not impose any costs or obligations
on Settling Distributors other than those provided for in this Agreement, or contain any provision
inconsistent with any provision of this Agreement. If applicable state law requires that opt-out
rights be afforded to members of the class, a class action resolution otherwise meeting the
foregoing requirements shall qualify as a Settlement Class Resolution unless Subdivisions
collectively representing more than one percent (1%) of the total population of that State opt out.
In seeking certification of any Settlement Class, the applicable State and Participating
Subdivisions shall make clear that certification is sought solely for settlement purposes and shall
have no applicability beyond approval of the settlement for which certification is sought.
Nothing in this Agreement constitutes an admission by any Party that class certification would be
appropriate for litigation purposes in any case or for purposes unrelated to this Agreement.

      LLL.       “Settlement Fund.” The interest-bearing fund established pursuant to this
Agreement into which the Annual Payments are made under Section IV.



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        MMM.       “Settlement Fund Administrator.” The entity that annually determines the
Annual Payment (including calculating Incentive Payments pursuant to Section IV and any
amounts subject to suspension, offset, or reduction pursuant to Section XII and Section XIII),
annually determines the Participation Tier pursuant to Section VIII.C, administers the Settlement
Fund, and distributes amounts into the Abatement Accounts Fund, State Fund, and Subdivision
Fund pursuant to this Agreement. The duties of the Settlement Fund Administrator shall be
governed by this Agreement. Prior to the Initial Participation Date, the Settling Distributors and
the Enforcement Committee shall agree to selection and removal processes for and the identity of
the Settlement Fund Administrator, and a detailed description of the Settlement Fund
Administrator’s duties and responsibilities, including a detailed mechanism for paying the
Settlement Fund Administrator’s fees and costs, all of which shall be appended to the Agreement
as Exhibit L.

        NNN.        “Settlement Fund Escrow.” The interest-bearing escrow fund established
pursuant to this Agreement to hold disputed or suspended payments made under this Agreement,
and to hold the first Annual Payment until the Effective Date.

       OOO.        “Settlement Payment Schedule.” The schedule attached to this Agreement as
Exhibit M.

       PPP.        “Settlement Prepayment.” As defined in Section IV.J.1.

       QQQ.        “Settlement Prepayment Reduction Schedule.” As defined in Section IV.J.1.

      RRR.      “Settling Distributors.” McKesson Corporation, Cardinal Health, Inc., and
AmerisourceBergen Corporation (each, a “Settling Distributor”).

       SSS.        “Settling State.” A State that has entered into this Agreement with all Settling
Distributors and delivers executed releases in accordance with Section VIII.A.

         TTT.       “State.” With the exception of West Virginia, which has addressed its claims
separately and is excluded from participation in this Agreement, the states, commonwealths, and
territories of the United States of America, as well as the District of Columbia. The 55 States are
listed in Exhibit F. Additionally, the use of non-capitalized “state” to describe something (e.g.,
“state court”) shall also be read to include parallel entities in commonwealths, territories, and the
District of Columbia (e.g., “territorial court”).

       UUU.        “State Fund.” The component of the Settlement Fund described in
Section V.C.

        VVV.        “State-Subdivision Agreement.” An agreement that a Settling State reaches
with the Subdivisions in that State regarding the allocation, distribution, and/or use of funds
allocated to that State and to its Subdivisions. A State-Subdivision Agreement shall be effective
if approved pursuant to the provisions of Exhibit O or if adopted by statute. Preexisting
agreements addressing funds other than those allocated pursuant to this Agreement shall qualify
if the approval requirements of Exhibit O are met. A State and its Subdivisions may revise a
State-Subdivision Agreement if approved pursuant to the provisions of Exhibit O, or if such
revision is adopted by statute.


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        WWW. “Statutory Trust.” A trust fund established by state law to receive funds
allocated to a Settling State’s Abatement Accounts Fund and restrict any expenditures made
using funds from such Settling State’s Abatement Accounts Fund to Opioid Remediation, subject
to reasonable administrative expenses. A State may give a Statutory Trust authority to allocate
one (1) or more of the three (3) types of funds comprising such State’s Settlement Fund, but this
is not required.

        XXX.        “Subdivision.” Any (1) General Purpose Government (including, but not
limited to, a municipality, county, county subdivision, city, town, township, parish, village,
borough, gore, or any other entities that provide municipal-type government), School District, or
Special District within a State, and (2) any other subdivision or subdivision official or sub-entity
of or located within a State (whether political, geographical or otherwise, whether functioning or
non-functioning, regardless of population overlap, and including, but not limited to,
Nonfunctioning Governmental Units and public institutions) that has filed a lawsuit that includes
a Released Claim against a Released Entity in a direct, parens patriae, or any other capacity.
“General Purpose Government,” “School District,” and “Special District” shall correspond to the
“five basic types of local governments” recognized by the U.S. Census Bureau and match the
2017 list of Governmental Units. 2 The three (3) General Purpose Governments are county,
municipal, and township governments; the two (2) special purpose governments are School
Districts and Special Districts. 3 “Fire District,” “Health District,” “Hospital District,” and
“Library District” shall correspond to categories of Special Districts recognized by the U.S.
Census Bureau. 4 References to a State’s Subdivisions or to a Subdivision “in,” “of,” or “within”
a State include Subdivisions located within the State even if they are not formally or legally a
sub-entity of the State; provided, however, that a “Health District” that includes any of the
following words or phrases in its name shall not be considered a Subdivision: mosquito, pest,
insect, spray, vector, animal, air quality, air pollution, clean air, coastal water, tuberculosis, and
sanitary.

        YYY.       “Subdivision Allocation Percentage.” The portion of a Settling State’s
Subdivision Fund set forth in Exhibit G that a Subdivision will receive pursuant to Section V.C
or Section V.D if it becomes a Participating Subdivision. The aggregate Subdivision Allocation
Percentage of all Subdivisions receiving a Subdivision Allocation Percentage in each State shall
equal one hundred percent (100%). Immediately upon the effectiveness of any State-Subdivision
Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution allowed by Section
V.D.3 (or upon the effectiveness of an amendment to any State-Subdivision Agreement,

2
  https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html
3
  E.g., U.S. Census Bureau, “Technical Documentation: 2017 Public Use Files for State and Local Government
Organization” at 7 (noting that “the Census Bureau recognizes five basic types of local governments,” that three of
those are “general purpose governments” (county governments, municipal governments, and township
governments), and that the other two are “school district and special district governments”),
https://www2.census.gov/programs-surveys/gus/datasets/2017/2017_gov_org_meth_tech_doc.pdf.
4
  A list of 2017 Government Units provided by the Census Bureau identifies 38,542 Special Districts and
categorizes them by “FUNCTION_NAME.” “Govt_Units_2017_Final” spreadsheet, “Special District” sheet,
included in “Independent Governments - list of governments with reference information,”
https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html. As used herein, “Fire District”
corresponds to Special District function name “24 – Local Fire Protection,” “Health District” corresponds to Special
District function name “32 – Health,” “Hospital District” corresponds to Special District function name “40 –
Hospitals,” and “Library District” corresponds to Special District function name “52 – Libraries.” See id.


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Allocation Statute, Statutory Trust, or voluntary redistribution allowed by Section V.D.3) that
addresses allocation from the Subdivision Fund, or upon any, whether before or after the Initial
Participation Date, Exhibit G will automatically be amended to reflect the allocation from the
Subdivision Fund pursuant to the State-Subdivision Agreement, Allocation Statute, Statutory
Trust, or voluntary redistribution allowed by Section V.D.3. The Subdivision Allocation
Percentages contained in Exhibit G may not change once notice is distributed pursuant to Section
VII.A, except upon the effectiveness of any State-Subdivision Agreement, Allocation Statute,
Statutory Trust, or voluntary redistribution allowed by Section V.D.3 (or upon the effectiveness
of an amendment to any State-Subdivision Agreement, Allocation Statute, Statutory Trust, or
voluntary redistribution allowed by Section V.D.3) that addresses allocation from the
Subdivision Fund. For the avoidance of doubt, no Subdivision not listed on Exhibit G shall
receive an allocation from the Subdivision Fund and no provision of this Agreement shall be
interpreted to create such an entitlement.

       ZZZ.        “Subdivision Fund.” The component of the Settlement Fund described in
Section V.C.

        AAAA. “Subdivision Settlement Participation Form.” The form attached as Exhibit K
that Participating Subdivisions must execute and return to the Settlement Fund Administrator.

       BBBB.       “Suspension Amount.” The amount calculated as follows: the per capita
amount corresponding to the applicable Participation Tier as set forth in Exhibit D multiplied by
the population of the Later Litigating Subdivision.

        CCCC.     “Suspension Cap.” The amount calculated as follows: the suspension
percentage corresponding to the applicable Participation Tier as set forth in Exhibit D multiplied
by the amount of the relevant Annual Payment apportioned to the State of the Later Litigating
Subdivision and to Subdivisions in that State in each year of the suspension.

       DDDD. “Suspension Deadline.” With respect to a lawsuit filed by a Later Litigating
Subdivision asserting a Released Claim, the deadline set forth in Exhibit D corresponding to the
applicable Participation Tier.

        EEEE.      “Threshold Motion.” A motion to dismiss or equivalent dispositive motion
made at the outset of litigation under applicable procedure. A Threshold Motion must include as
potential grounds for dismissal any applicable Bar or the relevant release by a Settling State or
Participating Subdivision provided under this Agreement and, where appropriate under
applicable law, any applicable limitations defense.

        FFFF.     “Tribal/W. Va. Subdivision Credit.” The Tribal/W. Va. Subdivision Credit
shall equal 2.58% of the Global Settlement Abatement Amount.

        GGGG. “Trigger Date.” In the case of a Primary Subdivision, the Reference Date. In
the case of all other Subdivisions, the Preliminary Agreement Date.




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II.    Participation by States and Condition to Preliminary Agreement

        A.     Notice to States. On July 22, 2021 this Agreement shall be distributed to all
States. The States’ Attorneys General shall then have a period of thirty (30) calendar days to
decide whether to become Settling States. States that determine to become Settling States shall
so notify the National Association of Attorneys General and Settling Distributors and shall
further commit to obtaining any necessary additional State releases prior to the Reference Date.
This notice period may be extended by written agreement of the Settling Distributors and the
Enforcement Committee.

        B.      Condition to Preliminary Agreement. Following the notice period set forth in
Section II.A above, the Settling Distributors shall determine on or before the Preliminary
Agreement Date whether, in their sole discretion, enough States have agreed to become Settling
States to proceed with notice to Subdivisions as set forth in Section VII below. If the Settling
Distributors determine that this condition has been satisfied, and that notice to the Litigating
Subdivisions should proceed, they will so notify the Settling States by providing notice to the
Enforcement Committee and Settlement Fund Administrator on the Preliminary Agreement
Date. If the Settling Distributors determine that this condition has not been satisfied, they will so
notify the Settling States by providing notice to the Enforcement Committee and Settlement
Fund Administrator, and this Agreement will have no further effect and all releases and other
commitments or obligations contained herein will be void.

        C.      Later Joinder by States. After the Preliminary Agreement Date, a State may only
become a Settling State with the consent of the Settling Distributors, in their sole discretion. If a
State becomes a Settling State more than sixty (60) calendar days after the Preliminary
Agreement Date, but on or before January 1, 2022, the Subdivisions in that State that become
Participating Subdivisions within ninety (90) calendar days of the State becoming a Settling
State shall be considered Initial Participating Subdvisions. A State may not become a Settling
State after January 1, 2022.

        D.      Litigation Activity. Following the Preliminary Agreement Date, States that
determine to become Settling States shall make best efforts to cease litigation activity against
Settling Distributors, including by jointly seeking stays or severance of claim against the Settling
Distributors, where feasible, and otherwise to minimize such activity by means of agreed
deadline extensions and agreed postponement of depositions, document productions, and motion
practice if a motion to stay or sever is not feasible or is denied.

III.   Injunctive Relief

        A.      Injunctive Relief. As part of the Consent Judgment, the Parties agree to the entry
of the injunctive relief terms attached in Exhibit P.

IV.    Settlement Payments

       A.     Settlement Fund. All payments under this Section IV shall be made into the
Settlement Fund, except that, where specified, they shall be made into the Settlement Fund
Escrow. The Settlement Fund shall be allocated and used only as specified in Section V.



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         B.     Annual Payments. The Settling Distributors shall make eighteen (18) Annual
Payments, each comprised of base and incentive payments as provided in this Section IV, as well
as fifty percent (50%) of the amount of any Settlement Fund Administrator costs and fees that
exceed the available interest accrued in the Settlement Fund as provided in Section V.C.5, and as
determined by the Settlement Fund Administrator as set forth in this Agreement.

               1.      All data relevant to the determination of the Annual Payment and
       allocations to Settling States and their Participating Subdivisions listed on Exhibit G shall
       be submitted to the Settlement Fund Administrator no later than sixty (60) calendar days
       prior to the Payment Date for each Annual Payment. The Settlement Fund Administrator
       shall then determine the Annual Payment, the amount to be paid to each Settling State
       and its Participating Subdivisions included on Exhibit G, and the amount of any
       Settlement Fund Administrator costs and fees, all consistent with the provisions in
       Exhibit L, by:

                      a.    determining, for each Settling State, the amount of base and
              incentive payments to which the State is entitled by applying the criteria under
              Section IV.D, Section IV.E, and Section IV.F;

                     b.     applying any suspensions, offsets, or reductions as specified under
              Section IV, Section XII, and Section XIII;

                      c.      applying any adjustment required as a result of prepayment or
              significant financial constraint, as specified under Section IV.J and Section IV.K;

                      d.      determining the amount of any Settlement Fund Administrator
              costs and fees that exceed the available interest accrued in the Settlement Fund, as
              well as the amounts, if any, of such costs and fees owed by Settling Distributors
              and out of the Settlement Fund pursuant to Section V.C.5;

                      e.       determining the total amount owed by Settling Distributors
              (including any amounts to be held in the Settlement Fund Escrow pending
              resolution of a case by a Later Litigating Subdivision as described in Section XII)
              to all Settling States and the Participating Subdivisions listed on Exhibit G; and

                      f.     the Settlement Fund Administrator shall then allocate, after
              subtracting the portion of any Settlement Fund Administrator costs and fees owed
              out of funds from the Settlement Fund pursuant to Section V.C.5, the Annual
              Payment pursuant to Section V.C and Section V.D among the Settling States,
              among the separate types of funds for each Settling State (if applicable), and
              among the Participating Subdivisions listed on Exhibit G.

               2.      The Settlement Fund Administrator shall also apply the allocation
       percentages set forth in Section IV.I and determine for each Settling Distributor the
       amount of its allocable share of the Annual Payment. For the avoidance of doubt, each
       Settling Distributor’s liability for its share of the Annual Payment is several, and not
       joint.



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               3.      As soon as possible, but no later than fifty (50) calendar days prior to the
       Payment Date for each Annual Payment and following the determination described in
       Section IV.B.1 and Section IV.B.2, the Settlement Fund Administrator shall give notice
       to the Settling Distributors, the Settling States, and the Enforcement Committee of the
       amount of the Annual Payment (including the amount of the Settlement Fund to be
       allocated to the Settlement Fund Administrator in costs and fees pursuant to Section
       V.C.5), the amount to be received by each Settling State, the amount to be received by
       the separate types of funds for each Settling State (if applicable), and the amount to be
       received by each Settling State’s Participating Subdivisions listed on Exhibit G. The
       Settlement Fund Administrator shall also give notice to each Settling Distributor of the
       amount of its allocable share of the Annual Payment, including its allocable share of the
       amount of any Settlement Fund Administrator costs and fees that exceed the available
       interest accrued in the Settlement Fund pursuant to Section V.C.5.

               4.      Within twenty-one (21) calendar days of the notice provided by the
       Settlement Fund Administrator, any party may dispute, in writing, the calculation of the
       Annual Payment (including the amount allocated for Settlement Fund Administrator costs
       and fees), or the amount to be received by a Settling State and/or its Participating
       Subdivisions listed on Exhibit G. Such disputing party must provide a written notice of
       dispute to the Settlement Fund Administrator, the Enforcement Committee, any affected
       Settling State, and the Settling Distributors identifying the nature of the dispute, the
       amount of money that is disputed, and the Settling State(s) affected.

              5.      Within twenty-one (21) calendar days of the sending of a written notice of
       dispute, any affected party may submit a response, in writing, to the Settlement Fund
       Administrator, the Enforcement Committee, any affected Settling State, and the Settling
       Distributors identifying the basis for disagreement with the notice of dispute.

               6.      If no response is filed, the Settlement Fund Administrator shall adjust the
       amount calculated consistent with the written notice of dispute, and each Settling
       Distributor shall pay its allocable share of the adjusted amount, collectively totaling that
       year’s Annual Payment, on the Payment Date. If a written response to the written notice
       of dispute is timely sent to the Settlement Fund Administrator, the Settlement Fund
       Administrator shall notify the Settling Distributors of the preliminary amount to be paid,
       which shall be the greater of the amount originally calculated by the Settling
       Administrator or the amount that would be consistent with the notice of dispute,
       provided, however, that in no circumstances shall the preliminary amount to be paid be
       higher than the maximum amount of Base and Incentive Payments A and D for that
       Payment Year as set forth on Exhibit M. For the avoidance of doubt, a transfer of
       suspended payments from the Settlement Fund Escrow pursuant to Section XII.A.2 does
       not count toward determining whether the amount to be paid is higher than the maximum
       amount of Base and Incentive Payments A and D for that Payment Year as set forth on
       Exhibit M.

              7.      The Settlement Fund Administrator shall place any disputed amount of the
       preliminary amount paid by the Settling Distributors into the Settlement Fund Escrow
       and shall disburse any undisputed amount to each Settling State and its Participating


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       Subdivisions listed on Exhibit G within fifteen (15) calendar days of the Payment Date or
       at such later time as directed by each Settling State.

               8.     Disputes described in this subsection shall be resolved in accordance with
       the terms of Section VI.F.

               9.      For the avoidance of doubt, no Subdivision not listed on Exhibit G shall
       receive an allocation from the Subdivision Fund and no provision of this Agreement shall
       be interpreted to create such an entitlement.

        C.     Procedure for Annual Payment in Payment Years 1 and 2. The process described
in Section IV.B shall not apply to Payment Years 1 and 2. The procedure in lieu of Section
IV.B.1 for Payment Years 1 and 2 is as set forth below:

               1.       The Payment Date for Payment Year 1 is September 30, 2021. Provided
       that the condition set forth in Section II.B has been satisfied, on or before such date, the
       Settling Distributors shall pay into the Settlement Fund Escrow the total amount of the
       base payment, Incentive Payment A for the Settling States (the amount specified in
       Exhibit M for Payment Year 1 reduced by the allocable share of any Non-Settling States),
       and the Settling Distributors’ allocable share of the amount of any Settlement Fund
       Administrator costs and fees that exceed the available interest accrued in the Settlement
       Fund pursuant to Section V.C.5. In the event that, in accordance with the terms of
       Section VIII.A, the Settling Distributors determine not to proceed with the Settlement, or
       the Settlement does not become effective for any other reason, the funds held in the
       Settlement Fund Escrow shall immediately revert to the Settling Distributors. If the
       condition set forth in Section VIII.A is met, the Settlement Fund Administrator shall
       allocate the Annual Payment, after subtracting the portion of Settlement Fund
       Administrator costs and fees owed out of funds from the Settlement Fund pursuant to
       Section V.C.5, pursuant to Section V.C and Section V.D among the Settling States and
       their Participating Subdivisions listed on Exhibit G. The portion of any Settlement Fund
       Administrator costs and fees owed out of funds from the Settlement Fund pursuant to
       Section V.C.5 shall be available to the Settlement Fund Administrator for the payment of
       such costs and fees immediately. The remainder of the Annual Payment for Payment
       Year 1 shall be transferred by the Settlement Fund Administrator on the Effective Date
       from the Settlement Fund Escrow to the Settlement Fund and then to each Settling State
       and to its Initial Participating Subdivisions included on Exhibit G; provided, however,
       that for any Settling State where the Consent Judgment has not been entered as of the
       Effective Date, the funds allocable to that Settling State and its Participating Subdivisions
       included on Exhibit G shall not be transferred from the Settlement Fund Escrow or
       disbursed until ten (10) calendar days after the entry of the Consent Judgment in that
       State; and, provided, further, the Settlement Fund Administrator shall leave in the
       Settlement Fund Escrow funds allocated to Subdivisions included on Exhibit G that are
       not Initial Participating Subdivisions. Should such a Subdivision become a Participating
       Subdivision between the Initial Participation Date and the Effective Date, the allocation
       for such Participating Subdivision shall be transferred to the Settlement Fund and paid to
       the Participating Subdivision at the same time as Initial Participating Subdivisions in that
       State are paid.


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               2.      The Payment Date for Payment Year 2 is July 15, 2022. On or before
       such date, the Settling Distributors shall pay into the Settlement Fund the total amount of
       the base payment, Incentive Payment A for the Settling States (the amount specified in
       Exhibit M for Payment Year 2 reduced by the allocable share of any Non-Settling States),
       and the Settling Distributors’ allocable share of the amount of any Settlement Fund
       Administrator costs and fees that exceed the available interest accrued in the Settlement
       Fund pursuant to Section V.C.5. The portion of any Settlement Fund Administrator costs
       and fees owed out of funds from the Settlement Fund pursuant to Section V.C.5 shall be
       available to the Settlement Fund Administrator for the payment of such costs and fees
       immediately. The Settlement Fund Administrator shall disburse the remaining amounts
       to each Settling State and to its Participating Subdivisions included on Exhibit G within
       fifteen (15) calendar days of the Payment Date or at such later time as directed by each
       Settling State. If a Settling State enacts a legislative Bar after the Initial Participation
       Date, but before July 15, 2022, a Subdivision that meets the requirements for becoming a
       Participating Subdivision under Section VII prior to July 15, 2022 (but was not an Initial
       Participating Subdivision) shall be eligible to receive its allocated share (if any) for
       Payment Year 2, and it shall also receive any amounts allocated to it for Payment Year 1
       from the Settlement Fund Escrow.

              3.      Any amounts remaining in the Settlement Fund Escrow for allocations to
       Subdivisions listed on Exhibit G that have not become Participating Subdivisions after all
       payments for Payment Year 2 are disbursed shall be transferred to the Settlement Fund
       and disbursed to the appropriate sub-funds in each Settling State pursuant to Section
       V.D.5.

               4.      Any disputes as to the allocation of the Annual Payments in Payment
       Years 1 and 2 shall be resolved pursuant to the process set forth in Section IV.B.3
       through Section IV.B.8, except that in Payment Year 1, the Settlement Fund
       Administrator shall have until ten (10) calendar days after the Initial Participation Date to
       give notice of the amount to be received by each Settling State, the amount to be received
       by the separate types of funds for each Settling State (if applicable), and the amount to be
       received by each Initial Participating Subdivision in the Settling States that is listed on
       Exhibit G.

        D.     Payment Date for Subsequent Payment Years. The Payment Date for Payment
Year 3 and successive Payment Years is July 15 of the third and successive years and the Annual
Payment shall be made pursuant to the process set forth in Section IV.B, except that, with respect
to Payment Year 3, Settling States shall have up to the Payment Date to become eligible for
Incentive Payment A and thus avoid the reductions set forth in Section XIII. If a Settling State
enacts a Bar less than sixty (60) calendar days before the Payment Date for Payment Year 3,
each Settling Distributor shall pay, within thirty (30) calendar days of the Payment Year 3
Payment Date, its allocable share, pursuant to Section IV.I, of the difference between the Annual
Payment as calculated by the Settlement Fund Administrator and the amount that would have
been owed had the Settlement Fund Administrator taken the Bar into account.

        E.      Base Payments. Subject to the suspension, reduction, and offset provisions set
forth in Section XII and Section XIII, the Settling Distributors shall collectively make base


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payments equal to fifty-five percent (55%) of the Net Abatement Amount multiplied by the
aggregate Overall Allocation Percentage of the Settling States. These payments will be due in
installments consistent with Exhibit M over the eighteen (18) Payment Years and as adjusted by
the Settlement Fund Administrator pursuant to the provisions in Section IV, Section XII, and
Section XIII.

         F.      Incentive Payments. Subject to the suspension, offset, and reduction provisions
set forth in Section XII and Section XIII, the Settling Distributors shall collectively make
potential additional incentive payments totaling up to a maximum of forty-five percent (45%) of
the Net Abatement Amount multiplied by the aggregate Overall Allocation Percentage of the
Settling States, with the actual amount depending on whether and the extent to which the criteria
set forth below are met in each Settling State. The incentive payments shall be divided among
four (4) categories, referred to as Incentive Payments A-D. Incentive Payments A-C will be due
in installments over the eighteen (18) Payment Years, and Incentive Payment D will be due in
installments over thirteen (13) years beginning with Payment Year 6. The total amount of
incentive payments in an Annual Payment shall be the sum of the incentive payments for which
individual Settling States are eligible for that Payment Year under the criteria set forth below.
The incentive payments shall be made with respect to a specific Settling State based on its
eligibility for that year under the criteria set forth below.

                1.      Incentive Payment A. Incentive Payment A shall be equal to forty percent
       (40%) of the Net Abatement Amount multiplied by the aggregate Overall Allocation
       Percentage of the Settling States, provided all Settling States satisfy the requirements of
       Incentive Payment A. Incentive Payment A will be due to a Settling State as part of the
       Annual Payment in each of the eighteen (18) Payment Years that a Settling State is
       eligible for Incentive Payment A and shall equal a total potential maximum of
       $7,421,605,477 if all States are eligible for all eighteen (18) Payment Years. Each
       Settling State’s share of Incentive Payment A in a given year, provided that Settling State
       is eligible, shall equal the total maximum amount available for Incentive Payment A for
       that year as reflected in Exhibit M times the Settling State’s Overall Allocation
       Percentage. Eligibility for Incentive Payment A is as follows:

                       a.      For the Payment Years 1 and 2, all Settling States are deemed
               eligible for Incentive Payment A.

                       b.      For each Payment Year other than Payment Years 1 and 2, a
               Settling State is eligible for Incentive Payment A if, as of sixty (60) calendar days
               prior to the Payment Date (except that in Payment Year 3, this date is as of the
               Payment Date), (i) there is a Bar in that State in full force and effect, (ii) there is a
               Settlement Class Resolution in that State in full force and effect, (iii) the Released
               Claims of all of the following entities are released through the execution of
               Subdivision Settlement Participation Forms, or there is a Case-Specific
               Resolution against such entities: all Primary Subdivisions, Litigating
               Subdivisions, School Districts with a K-12 student enrollment of at least 25,000
               or .10% of a State’s population, whichever is greater, and Health Districts and
               Hospital Districts that have at least one hundred twenty-five (125) hospital beds in
               one or more hospitals rendering services in that district; or (iv) a combination of


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              the actions in clauses (i)-(iii) has achieved the same level of resolution of Claims
              by Subdivisions (e.g., a Bar against future litigation combined with full joinder by
              Litigating Subdivisions). For the avoidance of doubt, subsection (iv) cannot be
              satisfied unless all Litigating Subdivisions are Participating Subdivisions or there
              is a Case-Specific Resolution against any such Subdivisions that are not
              Participating Subdivisions. The Settling Distributors and the Enforcement
              Committee shall meet and confer in order to agree on data sources for purposes of
              this Section prior to the Preliminary Agreement Date.

                      c.     Notwithstanding Section IV.F.1.b, for each Payment Year other
              than Payment Years 1 and 2, a Settling State that is not eligible for Incentive
              Payment A as of the Incentive Payment Final Eligibility Date shall not be eligible
              for Incentive Payment A for that Payment Year or any subsequent Payment
              Years.

                      d.      If the Settling Distributors made a payment under Incentive
              Payment A solely on the basis of a Bar or Settlement Class Resolution in a
              Settling State and that Bar or Settlement Class Resolution is subsequently
              removed, revoked, rescinded, reversed, overruled, interpreted in a manner to limit
              the scope of the release, or otherwise deprived of force or effect in any material
              respect, that Settling State shall not be eligible for Incentive Payment A thereafter,
              unless the State requalifies for Incentive Payment A through any method pursuant
              to Section IV.F.1.b, in which case the Settling State shall be eligible for Incentive
              Payment A less any litigation fees and costs incurred by Settling Distributor in the
              interim, except that, if the re-imposition occurs after the completion of opening
              statements in a trial involving a Released Claim, the Settling State shall not be
              eligible for Incentive Payment A (unless this exception is waived by the Settling
              Distributors).

                      e.      In determining the amount of Incentive Payment A that Settling
              Distributors will pay in a Payment Year and each Settling State’s share, if any, of
              Incentive Payment A for that Payment Year, the Settlement Fund Administrator
              shall: (i) identify all Settling States that are eligible for Incentive Payment A; (ii)
              multiply the Overall Allocation Percentage for each such eligible Settling State by
              the maximum amount that Settling Distributors could owe with respect to
              Incentive Payment A for that Payment Year as listed on Exhibit M. The amount
              calculated in (ii) shall be the amount allocated to a Settling State eligible for
              Incentive Payment A for that Payment Year and the aggregate of each such
              amount for Settling States eligible for Incentive Payment A shall be the amount of
              Incentive Payment A Settling Distributors are obligated to pay in that Payment
              Year, all such amounts subject to the suspension, offset, and reduction provisions
              in Section XII and Section XIII.

               2.      Incentive Payment B. Incentive Payment B shall be available to Settling
       States that are not eligible for Incentive Payment A for the applicable Payment Year.
       Incentive Payment B shall be equal to up to twenty-five percent (25%) of the Net
       Abatement Amount multiplied by the aggregate Overall Allocation Percentage of the


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         Settling States. Incentive Payment B will be due to a Settling State as part of the Annual
         Payment in each of the eighteen (18) Payment Years that a Settling State is eligible for
         Incentive Payment B and equal a total potential maximum of $4,638,503,423 if all States
         are eligible for all eighteen (18) Payment Years. Each Settling State’s maximum share of
         Incentive Payment B in a given year shall equal the total maximum amount available for
         Incentive Payment B for that year as reflected in Exhibit M times the Settling State’s
         Overall Allocation Percentage. Eligibility for Incentive Payment B is as follows:

                        a.     A Settling State is not eligible for Incentive Payment B for a
                  Payment Year for which it is eligible for Incentive Payment A.

                          b.      Subject to Section IV.F.2.a, the amount of Incentive Payment B for
                  which a Settling State is eligible in a Payment Year shall be a percentage of that
                  State’s maximum share of Incentive Payment B based on the extent to which
                  (A) Litigating Subdivisions in the State are Participating Subdivisions or (B) there
                  is a Case-Specific Resolution against Litigating Subdivisions in the State,
                  collectively, “Incentive B Eligible Subdivisions.” The percentage of the State’s
                  maximum share of Incentive Payment B that the State is eligible for in a Payment
                  Year shall be determined according to the table below:

                              Percentage of Litigating
                              Subdivision Population
                                 that is Incentive B
                                Eligible Subdivision                  Incentive Payment B
                                    Population 5                      Eligibility Percentage
                                     Up to 85%                                   0%
                                        85%+                                    30%
                                          86+                                   40%
                                          91+                                   50%
                                          95+                                   60%
                                        99%+                                    95%
                                        100%                                   100%

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  The “Percentage of Litigating Subdivision Population that is Incentive B Eligible Subdivision Population” shall be
determined by the aggregate population of the Settling State’s Litigating Subdivisions that are Incentive B Eligible
Subdivisions divided by the aggregate population of the Settling State’s Litigating Subdivisions. In calculating the
Settling State’s population that resides in Litigating Subdivisions, (a) the population of the Settling State’s Litigating
Subdivisions shall be the sum of the population of all Litigating Subdivisions in the Settling State, notwithstanding
that persons may be included within the population of more than one Litigating Subdivision, and (b) the population
that resides in Incentive B Eligible Subdivisions shall be the sum of the population of the Incentive B Eligible
Subdivisions, notwithstanding that persons may be included within the population of more than one Incentive B
Eligible Subdivision. An individual Litigating Subdivision shall not be included more than once in the numerator,
and shall not be included more than once in the denominator, of the calculation regardless if it (or any of its
officials) is named as multiple plaintiffs in the same lawsuit; provided, however, that for the avoidance of doubt, no
Litigating Subdivision will be excluded from the numerator or denominator under this sentence unless a Litigating
Subdivision otherwise counted in the denominator has the authority to release the Claims (consistent with Section
XI) of the Litigating Subdivision to be excluded. For the avoidance of doubt, a Settling State in which the
population that resides in Incentive B Eligible Subdivisions is less than eighty-five percent (85%) of the population
of Litigating Subdivisions shall not be eligible for any portion of Incentive Payment B.


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                       c.     In determining the amount that Settling Distributors will pay in a
              Payment Year under Incentive Payment B and each Settling State’s share of
              Incentive Payment B for that Payment Year, the Settlement Fund Administrator
              shall: (i) identify all States that are eligible for Incentive Payment B because they
              are ineligible for Incentive Payment A; (ii) determine the Incentive Payment B
              eligibility percentage for each such Settling State; (iii) multiply the Incentive
              Payment B eligibility percentage for each such State by the Overall Allocation
              Percentage of that State; (iv) multiply the product from (iii) by the maximum
              amount that Settling Distributors could owe under Incentive Payment B for that
              Payment Year from Exhibit M. The amount calculated in (iv) shall be the amount
              allocated to a Settling State eligible for Incentive Payment B for that Payment
              Year, and the aggregate of such amounts for Settling States eligible for Incentive
              Payment B shall be the amount paid for that Payment Year by Settling
              Distributors with respect to Incentive Payment B, all such amounts subject to the
              suspension, offset, and reduction provisions in Section XII and Section XIII. If
              there are no Litigating Subdivisions in a Settling State, and that Settling State is
              otherwise eligible for Incentive Payment B, that Settling State will receive its full
              allocable share of Incentive Payment B.

                      d.      A Settling State’s eligibility for Incentive Payment B for a
              Payment Year shall be determined as of sixty (60) calendar days prior to the
              Payment Date for that Payment Year; provided that the percentage of Incentive
              Payment B for which a Settling State is eligible as of the Incentive Payment Final
              Eligibility Date shall cap its eligibility for that Payment Year and all subsequent
              Payment Years.

               3.      Incentive Payment C. Incentive Payment C shall be available to Settling
       States that are not eligible for Incentive Payment A for a Payment Year, including to
       Settling States that are also eligible for Incentive Payment B. Incentive Payment C shall
       be equal to up to fifteen percent (15%) of the Net Abatement Amount multiplied by the
       aggregate Overall Allocation Percentage of the Settling States. Incentive Payment C will
       be due to a Settling State as part of the Annual Payment in each of the eighteen (18)
       Payment Years that a Settling State is eligible for Incentive Payment C and equal a total
       potential maximum of $2,783,102,054 if all States are eligible for all eighteen (18)
       Payment Years. Each Settling State’s maximum share of Incentive Payment C in a given
       year shall equal the total maximum amount available for Incentive Payment C for that
       year as reflected in Exhibit M multiplied by the Settling State’s Overall Allocation
       Percentage. Eligibility for Incentive Payment C is as follows:

                    a.     A Settling State is not eligible for Incentive Payment C for a
              Payment Year in which it is eligible for Incentive Payment A.

                      b.     Subject to Section IV.F.3.a, the amount of Incentive Payment C for
              which a Settling State is eligible in a Payment Year shall be a percentage of the
              State’s maximum share of Incentive Payment C based on the extent to which
              (A) Non-Litigating Subdivisions that are Primary Subdivisions with a population


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                  over 30,000 and Litigating Subdivisions in the State are Participating
                  Subdivisions or (B) there is a Case-Specific Resolution against Non-Litigating
                  Subdivisions that are Primary Subdivisions with a population over 30,000 and
                  Litigating Subdivisions in the State, collectively, “Incentive C Eligible
                  Subdivisions.” The percentage of the State’s maximum share of Incentive
                  Payment C that the State is eligible for in a Payment Year shall be determined
                  according to the table below:

                            Percentage of Relevant
                            Subdivision Population
                              that is Incentive C              Incentive Payment C
                             Eligible Population 6             Eligibility Percentage
                                  Up to 60%                               0%
                                     60%+                                25%
                                     70%+                                35%
                                     75%+                                40%
                                     80%+                                45%
                                     85%+                                55%
                                     90%+                                60%
                                     93%+                                65%
                                     94%+                                75%
                                       95+                               90%
                                       98+                               95%
                                     100%                               100%

                           c.     In determining the amount that Settling Distributors will pay in a
                  Payment Year under Incentive Payment C and each Settling State’s share of
                  Incentive Payment C for that Payment Year, the Settlement Fund Administrator
                  shall: (i) identify all States that are eligible for Incentive Payment C because they
                  are ineligible for Incentive Payment A; (ii) determine the Incentive Payment C
                  eligibility percentage for each such Settling State; (iii) multiply the Incentive
                  Payment C eligibility percentage for each such State by the Overall Allocation
                  Percentage of that State; (iv) multiply the product from (iii) by the maximum
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  The “Percentage of Relevant Subdivision Population that is Incentive C Eligible Population” shall be determined
by the aggregate population of the Settling State’s Incentive C Eligible Subdivisions divided by the aggregate
population of the Settling State’s Non-Litigating Primary Subdivisions with a population over 30,000 and Litigating
Subdivisions (“Incentive Payment C Subdivisions”). None of the population figures shall include Prior Litigating
Subdivisions. In calculating the Settling State’s population that resides in Incentive Payment C Subdivisions, (a) the
population shall be the sum of the population of all Incentive Payment C Subdivisions in the Settling State,
notwithstanding that persons may be included within the population of more than one Incentive Payment C
Subdivision, and (b) the population that resides in Incentive C Eligible Subdivisions shall be the sum of the
population of the Incentive C Eligible Subdivisions, notwithstanding that persons may be included within the
population of more than one Incentive C Eligible Subdivision. An individual Incentive Payment C Subdivision shall
not be included more than once in the numerator, and shall not be included more than once in the denominator, of
the calculation regardless if it (or any of its officials) is named as multiple plaintiffs in the same lawsuit. For the
avoidance of doubt, a Settling State in which the population that resides in Incentive C Eligible Subdivisions is less
than sixty percent (60%) of the population of Incentive Payment C Subdivisions shall not be eligible for any portion
of Incentive Payment C.


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              amount that Settling Distributors could owe under Incentive Payment C for that
              Payment Year from Exhibit M. The amount calculated in (iv) shall be the amount
              allocated to a Settling State eligible for Incentive Payment C for that Payment
              Year and the aggregate of such amounts for Settling States eligible for Incentive
              Payment C shall be the amount paid for that Payment Year by Settling
              Distributors with respect to Incentive Payment C, all such amounts subject to the
              suspension, offset, and reduction provisions in Section XII and Section XIII. If
              there are no Litigating Subdivisions or Non-Litigating Subdivisions that are
              Primary Subdivisions with a population of more than 30,000 in a Settling State,
              and that Settling State is otherwise eligible for Incentive Payment C, that Settling
              State will receive its full allocable share of Incentive Payment C.

                      d.      A Settling State’s eligibility for Incentive Payment C for a
              Payment Year shall be determined as of sixty (60) calendar days prior to the
              Payment Date for that Payment Year; provided that the percentage of Incentive
              Payment C for which a Settling State is eligible as of the Incentive Payment Final
              Eligibility Date shall cap its eligibility for that Payment Year and all subsequent
              Payment Years.

               4.      Incentive Payment D. Incentive Payment D shall be applied at Payment
       Year 6. Incentive Payment D shall be equal to five percent (5%) of the Net Abatement
       Amount multiplied by the aggregate Overall Allocation Percentage of the Settling States.
       Incentive Payment D will be due to a Settling State as part of the Annual Payment for
       each of thirteen (13) Payment Years (from Payment Year 6 to Payment Year 18) that any
       Settling State is eligible for Incentive Payment D and equal a total potential maximum of
       $927,700,685 if all States are eligible for all thirteen (13) Payment Years. Each Settling
       State’s share of Incentive Payment D in a given year shall equal the total maximum
       amount available for Incentive Payment D for that year as reflected in Exhibit M times
       the Settling State’s Overall Allocation Percentage. Eligibility for Incentive Payment D is
       as follows:

                     a.      A Settling State is eligible for Incentive Payment D if there has
              been no Later Litigating Subdivision in that State that has had a Claim against a
              Released Entity survive more than six (6) months after denial in whole or in part
              of a Threshold Motion.

                      b.      A Settling State’s eligibility for Incentive Payment D shall be
              determined as of sixty (60) calendar days prior to the Payment Date. If a Later
              Litigating Subdivision’s lawsuit in that State survives more than six (6) months
              after denial in whole or in part of a Threshold Motion after that date, that State
              shall not be eligible for Incentive Payment D for the Payment Year in which that
              occurs and any subsequent Payment Year.

                      c.      Notwithstanding Section IV.F.4, a Settling State can become re-
              eligible for Incentive Payment D if the lawsuit that survived a Threshold Motion
              is dismissed pursuant to a later motion on grounds included in the Threshold
              Motion, in which case the Settling State shall be eligible for Incentive Payment D


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               less any litigation fees and costs incurred by Settling Distributor in the interim,
               except that if the dismissal motion occurs after the completion of opening
               statements in such action, the Settling State shall not be eligible for Incentive
               Payment D.

                      d.     For the avoidance of doubt, a Settling State may be eligible for
               Incentive Payment D whether or not it is eligible for Incentive Payments A-C.

                       e.      In determining the amount of Incentive Payment D that Settling
               Distributors will pay in a Payment Year and each Settling State’s share, if any, of
               Incentive Payment D for that Payment Year, the Settlement Fund Administrator
               shall: (i) identify all Settling States that are eligible for Incentive Payment D; (ii)
               multiply the Overall Allocation Percentage for each such eligible Settling State by
               the maximum amount that Settling Distributors could owe with respect to
               Incentive Payment D for that Payment Year listed on Exhibit M; and (iii) subtract
               any litigation fees and costs allowed to be deducted pursuant to Section IV.F.4.c.
               The amount calculated in (iii) shall be the amount allocated to a Settling State
               eligible for Incentive Payment D for that Payment Year and the aggregate of each
               such amount for Settling States eligible for Incentive Payment D shall be the
               amount of Incentive Payment D Settling Distributors are obligated to pay in that
               Payment Year, all such amounts subject to the suspension, reduction, and offset
               provisions in Section XII and Section XIII.

         G.     Reductions/Offsets. The base and incentive payments are subject to suspension,
offset, and reduction as provided in Section XII and Section XIII.

        H.     State-Specific Agreements. Notwithstanding any other provision of this
Agreement or any other agreement, in the event that: (1) the Settling Distributors enter into an
agreement with any Settling State that resolves with finality such Settling State’s Claims
consistent with Section XI of this Agreement and such agreement has an effective date prior to
the Effective Date of this Agreement (such agreement, a “State-Specific Agreement”) and (2)
pursuant to the terms of the State-Specific Agreement, any payments, or any portion thereof,
made by the Settling Distributors thereunder are made in lieu of any payments (for the avoidance
of doubt, including the Additional Restitution Amount), or any portion thereof, to be made under
this Agreement and the Settling Distributors make such a payment pursuant to the State-Specific
Agreement, then the Settling Distributors will reduce any payments allocable to such Settling
State (whether made to the Settlement Fund Escrow or the Settlement Fund) made pursuant to
this Agreement to the extent such amount was already paid pursuant to the terms of the State-
Specific Agreement.

        I.      Allocation of Payments among Settling Distributors. Payments due from the
Settling Distributors under this Section IV, Section IX, and Section X will be allocated among
the Settling Distributors as follows: McKesson – 38.1%; Amerisource – 31.0%; Cardinal –
30.9%. A Settling Distributor’s sole responsibility for payments under this Agreement shall be
to make its share of each payment. The obligations of the Settling Distributors in this Agreement
are several and not joint. No Settling Distributor shall be responsible for any portion of another
Settling Distributor’s share.


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       J.     Pre-payment Option.

               1.      Any Settling Distributor shall have the right, subject to the limitations set
       forth in Section IV.J.3, to prepay any base payment or incentive payment in whole or in
       part, without premium or penalty (a “Settlement Prepayment”) by providing at least
       fourteen (14) calendar days prior written notice to the Settlement Fund Administrator and
       Enforcement Committee (a “Prepayment Notice”). Any Prepayment Notice shall
       specify: (a) the gross amount of the Settlement Prepayment (the “Gross Settlement
       Amount”), (b) the manner in which such Settlement Prepayment shall be applied to
       reduce such Settling Distributor’s future share of Annual Payments (i.e., to which future
       year(s) the allocable portion of an Annual Payment owed by such Settling Distributor the
       Settlement Prepayment should be applied) (such manner of application, a “Settlement
       Prepayment Reduction Schedule”), (c) the net present value of the Settlement Prepayment
       as of the Prepayment Date based on the Settlement Prepayment Reduction Schedule
       using a discount rate equal to the prime rate as published by the Wall Street Journal on
       the date of the Prepayment Notice plus 1.75% (such net present value amount, the “Net
       Settlement Prepayment Amount”), and (d) the date on which the prepayment will be
       made, which shall be no more than fifteen (15) calendar days after the date of the
       Prepayment Notice (the “Prepayment Date”).

               2.     On the Prepayment Date the Settling Distributor shall pay the Net
       Settlement Prepayment Amount to the Settlement Fund and such amount shall be used
       only as specified in Section V. Following such payment, all future portions of the
       Annual Payments allocated to the applicable Settling Distributor under Section IV.E and
       Section IV.F shall be reduced pursuant to the Settlement Prepayment Reduction
       Schedule, and the Exhibit M will be updated to give effect to such reduction, and going
       forward such updated schedule will be Exhibit M.

              3.      A Settling Distributor’s right to make prepayments shall be subject to the
       following limitations:

                      a.    Prepayments may apply to base payments or to both base and
              incentive payments. If the prepayment applies to both base and incentive
              payments, the prepayments will apply proportionately across base and incentive
              payments.

                      b.      A Settling Distributor shall make no more than three (3)
              prepayments over the eighteen (18) year payment term. A Settling Distributor
              shall not make more than one (1) prepayment in a five (5) year period and there
              shall not be prepayments made in the first two (2) Payment Years.

                     c.    Prepayments shall only be applied to one (1) or more of the three
              (3) Payment Years following the prepayment.

                     d.      The total amount of a prepayment of base payments after
              discounting calculations shall not be larger than the base payment for the Payment
              Year with the lowest Annual Payment amount affected by the prepayment. The



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              total amount of a prepayment for both base payments and incentive payments
              shall not be larger than the base payment and anticipated incentive payment for
              the lowest Payment Year affected by the prepayment. The “anticipated incentive
              payment” for a future Payment Year shall reflect the incentives earned by each
              Settling State as of the time of the prepayment and any offsets or adjustments
              known at that time.

                      e.      In a Payment Year against which there has been a prepayment, if
              the amount a Settling State is calculated to receive is greater than the amount
              prepaid prior to discounting calculations, the Settling Distributor shall pay the
              difference. If, in a Payment Year for which there has been a prepayment, the
              amount that a Settling State is calculated to receive is less than the amount
              calculated at the time of the prepayment, there shall be a credit for the difference
              to the Settling Distributor to be applied in the subsequent Payment Year(s), if any.

                      f.      Prepayments shall be applied proportionately to all Settling States.

                4.     The Settling States may agree to a prepayment that does not apply these
       restrictions. Such a prepayment would need approval of Settling States representing at
       least ninety-five percent (95%) allocable share as measured by the allocations in Exhibit
       F; provided, however, that this provision does not limit or restrict any Settling State from
       negotiating its own prepayment with a Settling Distributor.

               5.     For illustrative purposes only, attached as Exhibit Q are examples showing
       a Settlement Prepayment, the related calculation of the Net Settlement Prepayment
       Amount, and the related adjustment to the Settlement Payment Schedule.

       K.     Significant Financial Constraint.

                1.      A Settling Distributor’s allocable share of the Annual Payment for a
       Payment Year may, at the election of such Settling Distributor, be deferred either (a) up
       to the amount by which that share plus such Settling Distributor’s share of amounts
       payable under Section IX and Section X would exceed twenty percent (20%) of such
       Settling Distributor’s total operating cash flow (as determined pursuant to United States
       generally accepted accounting principles) for its fiscal year that concluded most recently
       prior to the due date for that payment or (b) (i) up to twenty-five percent (25%) if, as of
       thirty (30) calendar days preceding that payment date, the company’s credit rating from
       one or more of the three nationally recognized rating agencies is below BBB or Baa2 or
       (ii) up to one hundred percent (100%) if, as of thirty (30) calendar days preceding that
       payment date, the company’s credit rating from one or more of the three nationally
       recognized rating agencies is below BBB- or Baa3. If the reason for exceeding twenty
       percent (20%) of a Settling Distributor’s total operating cash flow or the decrease in
       credit rating is substantially attributable to the incurrence of debt to fund post-settlement
       acquisitions or to the payment of dividends and/or share repurchases that together are of
       an amount that exceeds the total amount of those two items for the prior fiscal year, no
       deferral is available. A Settling Distributor shall not be allowed to defer payment for a




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       Payment Year if that Settling Distributor engaged in any share repurchases in the three
       fiscal quarters prior to the Payment Date for that Payment Year.

               2.      If a Settling Distributor has reason to believe that it will not be able to pay
       some or all of its allocable share of the Annual Payment for a Payment Year, it shall
       provide at least ninety (90) calendar days’ prior written notice to the Settlement Fund
       Administrator and Enforcement Committee (a “Deferred Payment Notice”). Any
       Deferred Payment Notice shall specify and include: (a) the gross amount of the payments
       owed (including the estimated allocable portion of the Annual Payment, and amounts
       owed under Section IX and Section X, by the relevant Settling Distributor), (b) the
       amount that the Settling Distributor believes it will be unable to pay, (c) the accounting
       and audited financial documents upon which the Settling Distributor relied for making
       this determination, and (d) any other relevant information for the Enforcement
       Committee to consider.

               3.      A Settling Distributor shall not utilize this provision during the first three
       (3) Payment Years. If a Settling Distributor defers some or all of the payments due in a
       Payment Year pursuant to this Section IV.K, it shall not repurchase any shares, or fund
       new acquisitions with an acquisition price greater than $250 million, during the deferral
       period until the deferred amount is fully repaid with interest. Any amounts deferred shall
       bear interest at an interest rate equal to the prime rate as published by the Wall Street
       Journal on the date of the Deferral Payment Notice plus 0.5%.

               4.     The Settling Distributor shall pay all deferred amounts, including
       applicable interest on the next Payment Date. If the amounts previously deferred
       (including interest) together with the Settling Distributor’s share of all payments due for a
       Payment Year would allow for a deferral under Section IV.K.1, the Settling Distributor
       shall pay as much of the previously deferred amounts (including interest) as it can pay
       without triggering the ability to defer payment and may defer the remainder as permitted
       under (and subject to the restrictions of) this Section IV.K.

               5.        Deferrals will apply proportionally across base payments and incentive
       payments. For the avoidance of doubt, this Section IV.K applies fully to Payment Years
       after the first three (3) Payment Years, including the base payments and all incentive
       payments due pursuant to this Agreement during the Payment Year at issue.

               6.      If a Settling Distributor could pay a portion of its allocable share of the
       Annual Payments due pursuant to this Agreement during a Payment Year without
       triggering this Section IV.K, the Settling Distributor shall be required to pay that portion
       as scheduled and only the excess would be subject to deferral at the election of the
       Settling Distributor (in whole or in part) as provided herein.

              7.      The Settling Distributor shall pay any deferred amounts, including
       applicable interest on or before the date on which the payment is due for Payment Year
       18.




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V.     Allocation and Use of Settlement Payments

        A.      Components of Settlement Fund. The Settlement Fund shall be comprised of an
Abatement Accounts Fund, a State Fund, and a Subdivision Fund for each Settling State. The
payments made under Section IV into the Settlement Fund shall be initially allocated among
those three (3) sub-funds and distributed and used as provided below. Payments placed into the
Settlement Fund do not revert back to the Settling Distributors.

       B.      Use of Settlement Payments.

               1.     It is the intent of the Parties that the payments disbursed from the
       Settlement Fund to Settling States and Participating Subdivisions be for Opioid
       Remediation, subject to exceptions that must be documented in accordance with Section
       V.B.2. In no event may less than eighty-five percent (85%) of the Settling Distributors’
       maximum amount of payments pursuant to Section IV, Section IX, and Section X as set
       forth on Exhibit M over the entirety of all Payments Years (but not any single Payment
       Year) be spent on Opioid Remediation.

               2.      While disfavored by the Parties, a Settling State or a Participating
       Subdivision set forth on Exhibit G may use monies from the Settlement Fund (that have
       not been restricted by this Agreement solely to future Opioid Remediation) for purposes
       that do not qualify as Opioid Remediation. If, at any time, a Settling State or a
       Participating Subdivision set forth on Exhibit G uses any monies from the Settlement
       Fund for a purpose that does not qualify as Opioid Remediation, such Settling State or
       Participating Subdivision set forth on Exhibit G shall identify such amounts and report to
       the Settlement Fund Administrator and the Settling Distributors how such funds were
       used, including if used to pay attorneys’ fees, investigation costs, litigation costs, or costs
       related to the operation and enforcement of this Agreement, respectively. It is the intent
       of the Parties that the reporting under this Section V.B.2 shall be available to the public.
       For the avoidance of doubt, (a) any amounts not identified under this Section V.B.2 as
       used to pay attorneys’ fees, investigation costs, or litigation costs shall be included in the
       “Compensatory Restitution Amount” for purposes of Section VI.F and (b) Participating
       Subdivisions not listed on Exhibit G may only use monies from the Settlement Fund for
       purposes that qualify as Opioid Remediation.

       C.      Allocation of Settlement Fund.

         The allocation of the Settlement Fund allows for different approaches to be taken in
different states, such as through a State-Subdivision Agreement. Given the uniqueness of States
and their Subdivisions, Settling States and their Subdivisions are encouraged to enter into State-
Subdivision Agreements in order to direct the allocation of their portion of the Settlement Fund.
As set out below, the Settlement Fund Administrator will make an initial allocation to three (3)
state-level sub-funds. The Settlement Fund Administrator will then, for each Settling State and
its Participating Subdivisions, apply the terms of this Agreement and any relevant State-
Subdivision Agreement, Statutory Trust, Allocation Statute, or voluntary redistribution of funds
as set out below before disbursing the funds.




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               1.      Base Payments. The Settlement Fund Administrator will allocate base
       payments under Section IV.D among the Settling States in proportion to their respective
       Overall Allocation Percentages. Base payments for each Settling State will then be
       allocated fifteen percent (15%) to its State Fund, seventy percent (70%) to its Abatement
       Accounts Fund, and fifteen percent (15%) to its Subdivision Fund. Amounts may be
       reallocated and will be distributed as provided in Section V.D.

               2.      Incentive Payments. The Settlement Fund Administrator will treat
       incentive payments under Section IV.F on a State-specific basis. Incentive payments for
       which a Settling State is eligible under Section IV.F will be allocated fifteen percent
       (15%) to its State Fund, seventy percent (70%) to its Abatement Accounts Fund, and
       fifteen percent (15%) to its Subdivision Fund. Amounts may be reallocated and will be
       distributed as provided in Section V.D.

              3.      Application of Adjustments. If a suspension, offset, or reduction under
       Section XII or Section XIII applies with respect to a Settling State, the suspension, offset,
       or reduction shall be applied proportionally to all amounts that would otherwise be
       apportioned and distributed to the State Fund, the Abatement Accounts Fund, and the
       Subdivision Fund for that State.

               4.      Settlement Fund Administrator. Prior to the Initial Participation Date, the
       Settling Distributors and the Enforcement Committee will agree to a detailed mechanism
       consistent with the foregoing for the Settlement Fund Administrator to follow in
       allocating, apportioning, and distributing payments, which shall then be appended hereto
       as Exhibit L.

               5.      Settlement Fund Administrator Costs. Any costs and fees associated with
       or arising out of the duties of the Settlement Fund Administrator as described in Exhibit
       L shall be paid from the interest accrued in the Settlement Fund Escrow and the
       Settlement Fund; provided, however, that if such accrued interest is insufficient to pay the
       entirety of any such costs and fees, Settling Distributors shall pay fifty percent (50%) of
       the additional amount and fifty percent (50%) shall be paid out of the Settlement Fund.

       D.      Settlement Fund Reallocation and Distribution.

       As set forth below, within a particular Settling State’s account, amounts contained in the
Settlement Fund sub-funds may be reallocated and distributed per a State-Subdivision
Agreement or other means. If the apportionment of amounts is not addressed and controlled
under Section V.D.1 and Section V.D.2, then the default provisions of Section V.D.4 apply. It is
not necessary that a State-Subdivision Agreement or other means of allocating funds pursuant to
Section V.D.1 and Section V.D.2 address all of the Settlement Fund sub-funds. For example, a
Statutory Trust might only address disbursements from a Settling State’s Abatement Accounts
Fund.

              1.      Distribution by State-Subdivision Agreement. If a Settling State has a
       State-Subdivision Agreement, amounts apportioned to that State’s State Fund, Abatement
       Accounts Fund, and Subdivision Fund under Section V.C shall be reallocated and



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        distributed as provided by that agreement. Any State-Subdivision Agreement entered
        into after the Preliminary Agreement Date shall be applied only if it requires: (a) that all
        amounts be used for Opioid Remediation, except as allowed by Section V.B.2, and (b)
        that at least seventy percent (70%) of amounts be used solely for future Opioid
        Remediation. 7 For a State-Subdivision Agreement to be applied to the relevant portion of
        an Annual Payment, notice must be provided to the Settling Distributors and the
        Settlement Fund Administrator at least sixty (60) calendar days prior to the Payment
        Date.

                 2.     Distribution by Allocation Statute. If a Settling State has an Allocation
        Statute and/or a Statutory Trust that addresses allocation or distribution of amounts
        apportioned to such State’s State Fund, Abatement Accounts Fund, and/or Subdivision
        Fund and that, to the extent any or all such sub-funds are addressed, requires (1) all
        amounts to be used for Opioid Remediation, except as allowed by Section V.B.2, and (2)
        at least seventy percent (70%) of all amounts to be used solely for future Opioid
        Remediation, 8 then, to the extent allocation or distribution is addressed, the amounts
        apportioned to that State’s State Fund, Abatement Accounts Fund, and Subdivision Fund
        under Section V.C shall be allocated and distributed as addressed and provided by the
        applicable Allocation Statute or Statutory Trust. For the avoidance of doubt, an
        Allocation Statute or Statutory Trust need not address all three (3) sub-funds that
        comprise the Settlement Fund, and if the applicable Allocation Statute or Statutory Trust
        does not address distribution of all or some of these three (3) sub-funds, the applicable
        Allocation Statute or Statutory Trust does not replace the default provisions described in
        Section V.D.4 of any such unaddressed fund. For example, if an Allocation Statute or
        Statutory Trust that meets the requirements of this Section V.D.2 only addresses funds
        restricted to abatement, then the default provisions in this Agreement concerning
        allocation among the three (3) sub-funds comprising the Settlement Fund and the
        distribution of the State Fund and Subdivision Fund for that State would still apply, while
        the distribution of the applicable State’s Abatement Accounts Fund would be governed
        by the qualifying Allocation Statute or Statutory Trust.

                3.       Voluntary Redistribution. A Settling State may choose to reallocate all or
        a portion of its State Fund to its Abatement Accounts Fund. A Participating Subdivision
        included on Exhibit G may choose to reallocate all or a portion of its allocation from the
        Subdivision Fund to the State’s Abatement Accounts Fund or to another Participating
        Subdivision. For a voluntary redistribution to be applied to the relevant portion of an
        Annual Payment, notice must be provided to the Settling Distributors and the Settlement
        Fund Administrator at least sixty (60) calendar days prior to the Payment Date.

                4.      Distribution in the Absence of a State-Subdivision Agreement, Allocation
        Statute, or Statutory Trust. If Section V.D.1 and Section V.D.2 do not apply, amounts

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  Future Opioid Remediation includes amounts paid to satisfy any future demand by another governmental entity to
make a required reimbursement in connection with the past care and treatment of a person related to the Alleged
Harms.
8
  Future Opioid Remediation includes amounts paid to satisfy any future demand by another governmental entity to
make a required reimbursement in connection with the past care and treatment of a person related to the Alleged
Harms.


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       apportioned to that State’s State Fund, Abatement Accounts Fund, and Subdivision Fund
       under Section V.C shall be distributed as follows:

                      a.     Amounts apportioned to that State’s State Fund shall be distributed
              to that State.

                      b.      Amounts apportioned to that State’s Abatement Accounts Fund
              shall be distributed consistent with Section V.E. Each Settling State shall submit
              to the Settlement Fund Administrator a designation of a lead state agency or other
              entity to serve as the single point of contact for that Settling State’s funding
              requests from the Abatement Accounts Fund and other communications with the
              Settlement Fund Administrator. The designation of an individual entity is for
              administrative purposes only and such designation shall not limit funding to such
              entity or even require that such entity receive funds from this Agreement. The
              designated entity shall be the only entity authorized to request funds from the
              Settlement Fund Administrator to be disbursed from that Settling State’s
              Abatement Accounts Fund. If a Settling State has established a Statutory Trust
              then that Settling State’s single point of contact may direct the Settlement Fund
              Administrator to release the State’s Abatement Accounts Fund to the Statutory
              Trust.

                      c.      Amounts apportioned to that State’s Subdivision Fund shall be
              distributed to Participating Subdivisions in that State included on Exhibit G per
              the Subdivision Allocation Percentage listed in Exhibit G. Section VII.I shall
              govern amounts that would otherwise be distributed to Non-Participating
              Subdivisions listed in Exhibit G. For the avoidance of doubt and notwithstanding
              any other provision in this Agreement, no Non-Participating Subdivision will
              receive any amount from the Settlement Fund, regardless of whether such
              Subdivision is included on Exhibit G.

                      d.      Special Districts shall not be allocated funds from the Subdivision
              Fund, except through a voluntary redistribution allowed by Section V.D.3. A
              Settling State may allocate funds from its State Fund or Abatement Accounts
              Fund for Special Districts.

               5.      Restrictions on Distribution. No amounts may be distributed from the
       Subdivision Fund contrary to Section VII, i.e., no amounts may be distributed directly to
       Non-Participating Subdivisions or to Later Participating Subdivisions to the extent such a
       distribution would violate Section VII.E through Section VII.H. Amounts allocated to
       the Subdivision Fund that cannot be distributed by virtue of the preceding sentence shall
       be distributed into the sub-account in the Abatement Accounts Fund for the Settling State
       in which the Subdivision is located, unless those payments are redirected elsewhere by a
       State-Subdivision Agreement described in Section V.D.1 or by an Allocation Statute or a
       Statutory Trust described in Section V.D.2.

       E.     Provisions Regarding the Abatement Accounts Fund.




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               1.       State-Subdivision Agreement, Allocation Statute, and Statutory Trust
        Fund Provisions. A State-Subdivision Agreement, Allocation Statute, or Statutory Trust
        may govern the operation and use of amounts in that State’s Abatement Accounts Fund
        so long as it complies with the requirements of Section V.D.1 or Section V.D.2, as
        applicable, and all direct payments to Subdivisions comply with Section VII.E through
        Section VII.H.

                2.      Absence of a State-Subdivision Agreement, Allocation Statute, or
        Statutory Trust. In the absence of a State-Subdivision Agreement, Allocation Statute, or
        Statutory Trust that addresses distribution, the Abatement Accounts Fund will be used
        solely for future Opioid Remediation 9 and the following shall apply with respect to a
        Settling State:

                         a.       Regional Remediation.

                                  (i)    At least fifty percent (50%) of distributions for remediation
                         from a State’s Abatement Accounts Fund shall be annually allocated and
                         tracked to the regional level. A Settling State may allow the Advisory
                         Committee established pursuant to Section V.E.2.d to define its regions
                         and assign regional allocations percentages. Otherwise, a Settling State
                         shall (A) define its initial regions, which shall consist of one (1) or more
                         General Purpose Subdivisions and which shall be designated by the state
                         agency with primary responsibility for substance abuse disorder services
                         employing, to the maximum extent practical, existing regions established
                         in that State for opioid abuse treatment or other public health purposes;
                         (B) assign initial regional allocation percentages to the regions based on
                         the Subdivision Allocation Percentages in Exhibit G and an assumption
                         that all Subdivisions included on Exhibit G will become Participating
                         Subdivisions.

                                 (ii)    This minimum regional expenditure percentage is
                         calculated on the Settling State’s initial Abatement Accounts Fund
                         allocation and does not include any additional amounts a Settling State has
                         directed to its Abatement Accounts Fund from its State Fund, or any other
                         amounts directed to the fund. A Settling State may dedicate more than
                         fifty percent (50%) of its Abatement Accounts Fund to the regional
                         expenditure and may annually adjust the percentage of its Abatement
                         Accounts Fund dedicated to regional expenditures as long as the
                         percentage remains above the minimum amount.

                                 (iii) The Settling State (A) has the authority to adjust the
                         definition of the regions, and (B) may annually revise the percentages



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 Future Opioid Remediation includes amounts paid to satisfy any future demand by another governmental entity to
make a required reimbursement in connection with the past care and treatment of a person related to the Alleged
Harms.


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                    allocated to each region to reflect the number of General Purpose
                    Subdivisions in each region that are Non-Participating Subdivisions.

                     b.      Subdivision Block Grants. Certain Subdivisions shall be eligible to
             receive regional allocation funds in the form of a block grant for future Opioid
             Remediation. A Participating Subdivision eligible for block grants is a county or
             parish (or in the case of States that do not have counties or parishes that function
             as political subdivisions, a city) that (1) does not contain a Litigating Subdivision
             or a Later Litigating Subdivision for which it has the authority to end the litigation
             through a release, bar or other action, (2) either (i) has a population of 400,000 or
             more or (ii) in the case of California has a population of 750,000 or more, and
             (3) has funded or otherwise managed an established health care or treatment
             infrastructure (e.g., health department or similar agency). Each Subdivision
             eligible to receive block grants shall be assigned its own region.

                     c.      Small States. Notwithstanding the provisions of Section V.E.2.a,
             Settling States with populations under four (4) million that do not have existing
             regions described in Section V.E.2.a shall not be required to establish regions.
             However, such a Settling State that contains one (1) or more Subdivisions eligible
             for block grants under Section V.E.2.c shall be divided regionally so that each
             block-grant eligible Subdivision is a region and the remainder of the state is a
             region.

                     d.      Advisory Committee. The Settling State shall designate an Opioid
             Settlement Remediation Advisory Committee (the “Advisory Committee”) to
             provide input and recommendations regarding remediation spending from that
             Settling State’s Abatement Accounts Fund. A Settling State may elect to use an
             existing advisory committee or similar entity (created outside of a State-
             Subdivision Agreement or Allocation Statute); provided, however, the Advisory
             Committee or similar entity shall meet the following requirements:

                           (i)    Written guidelines that establish the formation and
                    composition of the Advisory Committee, terms of service for members,
                    contingency for removal or resignation of members, a schedule of
                    meetings, and any other administrative details;

                           (ii)    Composition that includes at least an equal number of local
                    representatives as state representatives;

                            (iii) A process for receiving input from Subdivisions and other
                    communities regarding how the opioid crisis is affecting their
                    communities, their abatement needs, and proposals for abatement
                    strategies and responses; and

                            (iv)   A process by which Advisory Committee recommendations
                    for expenditures for Opioid Remediation will be made to and considered
                    by the appropriate state agencies.



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                3.     Abatement Accounts Fund Reporting. The Settlement Fund Administrator
       shall track and assist in the report of remediation disbursements as agreed to among the
       Settling Distributors and the Enforcement Committee.

        F.      Nature of Payment. Each of the Settling Distributors, the Settling States, and the
Participating Subdivisions acknowledges and agrees that notwithstanding anything to the
contrary in this Agreement, including, but not limited to, the scope of the Released Claims:

              1.     It has entered into this Agreement to avoid the delay, expense,
       inconvenience, and uncertainty of further litigation;

               2.     (a) The Settling States and Participating Subdivisions sought
       compensatory restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A)) as damages
       for the Alleged Harms allegedly suffered by the Settling States and Participating
       Subdivisions; (b) the Compensatory Restitution Amount is no greater than the amount, in
       the aggregate, of the Alleged Harms allegedly suffered by the Settling States and
       Participating Subdivisions; and (c) the portion of the Compensatory Restitution Amount
       received by each Settling State or Participating Subdivision is no greater than the amount
       of the Alleged Harms allegedly suffered by such Settling State or Participating
       Subdivision;

              3.      The payment of the Compensatory Restitution Amount by the Settling
       Distributors constitutes, and is paid for, compensatory restitution (within the meaning of
       26 U.S.C. § 162(f)(2)(A)) for alleged damage or harm (as compensation for alleged
       damage or harm arising out of alleged bodily injury) allegedly caused by the Settling
       Distributors;

                4.      The Compensatory Restitution Amount is being paid as compensatory
       restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A)) in order to restore, in whole
       or in part, the Settling States and Participating Subdivisions to the same position or
       condition that they would be in had the Settling States and Participating Subdivisions not
       suffered the Alleged Harms; and

               5.      For the avoidance of doubt: (a) no portion of the Compensatory
       Restitution Amount represents reimbursement to any Settling State or Participating
       Subdivision or other person or entity for the costs of any investigation or litigation,
       (b) the entire Compensatory Restitution Amount is properly characterized as described in
       Section V.F, and (c) no portion of the Compensatory Restitution Amount constitutes
       disgorgement or is properly characterized as the payment of statutory or other fines,
       penalties, punitive damages, or other punitive assessments.

VI.    Enforcement

        A.      Enforceability. This Agreement is enforceable only by the Settling States and the
Settling Distributors; provided, however, that Released Entities may enforce Section XI and
Participating Subdivisions listed on Exhibit G have the enforcement rights described in Section
VI.D. Except to the extent allowed by the Injunctive Relief Terms, Settling States and
Participating Subdivisions shall not have enforcement rights with respect to either the terms of


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this Agreement that apply only to or in other States or any Consent Judgment entered into by
another Settling State. Participating Subdivisions shall not have enforcement rights against the
Settling Distributors with respect to this Agreement or any Consent Judgment except that
Participating Subdivisions listed on Exhibit G shall have enforcement rights as set forth herein as
to payments that would be allocated to the Subdivision Fund or Abatement Accounts Fund
pursuant to Section V; provided, however, that each Settling State shall allow Participating
Subdivisions in such Settling State to notify it of any perceived violations of this Agreement or
the applicable Consent Judgment.

        B.     Jurisdiction. The Settling Distributors consent to the jurisdiction of the court in
which each Settling State files its Consent Judgment, limited to resolution of disputes identified
in Section VI.F.1 for resolution in that court.

       C.      Specific Terms Dispute Resolution.

              1.     Any dispute that is addressed by the provisions set forth in the Injunctive
       Relief Terms shall be resolved as provided therein.

               2.       In the event that Settling Distributors believe that the eighty-five percent
       (85%) threshold established in Section V.B.1 is not being satisfied, any Party may request
       that the Settling Distributors and Enforcement Committee meet and confer regarding the
       use of funds to implement Section V.B.1. The completion of such meet-and-confer
       process is a precondition to further action regarding any such dispute. Further action
       concerning Section V.B.1 shall: (i) be limited to the Settling Distributors seeking to
       reduce their Annual Payments by no more than five percent (5%) of the difference
       between the actual amount of Opioid Remediation and the eighty-five percent (85%)
       threshold established in Section V.B.1; (ii) only reduce Annual Payments to those
       Settling States and their Participating Subdivisions that are below the eighty-five percent
       (85%) threshold established in Section V.B.1; and (iii) not reduce Annual Payments
       restricted to future Opioid Remediation.

       D.      State-Subdivision Enforcement.

               1.      A Subdivision shall not have enforcement rights against a Settling State in
       which it is located with respect to this Agreement or any Consent Judgment except that a
       Participating Subdivision listed on Exhibit G shall have enforcement rights (a) as
       provided for in a State-Subdivision Agreement, Allocation Statute, or Statutory Trust
       with respect to intrastate allocation or (b) in the absence of a State-Subdivision
       Agreement, Allocation Statute, or Statutory Trust, to allegations that (i) the Settling
       State’s use of Abatement Accounts Fund monies were not used for uses similar to or in
       the nature of those uses contained in Exhibit E; or (ii) a Settling State failed to pay funds
       directly from the Abatement Accounts Fund to a Participating Subdivision eligible to
       receive a block grant pursuant to Section V.E.2.b.

              2.      A Settling State shall have enforcement rights against a Participating
       Subdivision located in its territory (a) as provided for in a State-Subdivision Agreement,
       Allocation Statute, or Statutory Trust; or (b) in the absence of a State-Subdivision



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       Agreement, Allocation Statute, or Statutory Trust, to allegations that the Participating
       Subdivisions’ uses of Abatement Accounts Fund monies were not used for purposes
       similar to or in the nature of those uses contained in Exhibit E.

               3.      As between Settling States and Participating Subdivisions, the above
       rights are contractual in nature and nothing herein is intended to limit, restrict, change or
       alter any other existing rights under law.

        E.     Subdivision Distributor Payment Enforcement. A Participating Subdivision listed
on Exhibit G shall have the same right as a Settling State pursuant to Section VI.F.2.a(v) to seek
resolution regarding the failure by a Settling Distributor to make its allocable share of an Annual
Payment in a Payment Year.

       F.      Other Terms Regarding Dispute Resolution.

                1.     Except to the extent provided by Section VI.C or Section VI.F.2, all
       disputes shall be resolved in either the court that entered the relevant Consent Judgment
       or, if no such Consent Judgment was entered, a state or territorial court with jurisdiction
       located wherever the seat of the relevant state government is located.

                      a.      State court proceedings shall be governed by the rules and
               procedures of the relevant forum.

                      b.       For the avoidance of doubt, disputes to be resolved in state court
               include, but are not limited to, the following:

                            (i)    disputes concerning whether expenditures qualify as Opioid
                      Remediation;

                              (ii)   disputes between a Settling State and its Participating
                      Subdivisions as provided by Section VI.D, except to the extent the State-
                      Subdivision Agreement provides for other dispute resolution mechanisms.
                      For the avoidance of doubt, disputes between a Settling State and any
                      Participating Subdivision shall not be considered National Disputes;

                             (iii) whether this Agreement and relevant Consent Judgment are
                      binding under state law;

                              (iv)    the extent of the Attorney General’s or other participating
                      entity’s authority under state law, including the extent of the authority to
                      release claims;

                              (v)    whether the definition of a Bar, a Case-Specific Resolution,
                      Final Order, lead state agency as described in Section V.D.4.b, Later
                      Litigating Subdivision, Litigating Subdivision, or Threshold Motion have
                      been met; and




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                              (vi)   all other disputes not specifically identified in Section VI.C
                      or Section VI.F.2.

                      c.       Any Party may request that the National Arbitration Panel provide
              an interpretation of any provision of the settlement that is relevant to the state
              court determination, and the National Arbitration Panel shall make reasonable
              best efforts to supply such interpretation within the earlier of thirty (30) calendar
              days or the time period required by the state court proceedings. Any Party may
              submit that interpretation to the state court to the extent permitted by, and for such
              weight provided by, the state court’s rules and procedures. If requested by a
              Party, the National Arbitration Panel shall request that its interpretation be
              accepted in the form of an amicus curiae brief, and any attorneys’ fees and costs
              for preparing any such filing shall be paid for by the requesting Party.

               2.     National Disputes involving a Settling State, a Participating Subdivision
       that has enforcement rights pursuant to Section VI.A, and/or a Settling Distributor shall
       be resolved by the National Arbitration Panel.

                      a.      National Disputes are disputes that are not addressed by
              Section VI.C, and which are exceptions to Section VI.F.1’s presumption of
              resolution in state courts because they involve issues of interpretation of terms
              contained in this Agreement applicable to all Settling States without reference to a
              particular State’s law. Disputes between a Settling State and any Participating
              Subdivision shall not be considered National Disputes. National Disputes are
              limited to the following:

                              (i)     the amount of offset and/or credit attributable to Non-
                      Settling States or the Tribal/W. Va. Subdivision Credit;

                             (ii)    issues involving the scope and definition of Product;

                            (iii) interpretation and application of the terms “Covered
                      Conduct,” “Released Entities,” and “Released Claims”;

                             (iv)    the allocation of payments among Settling Distributors as
                      described in Section IV.I;

                              (v)     the failure by a Settling Distributor to pay its allocable
                      share of the Annual Payment or of the Additional Restitution Amount in a
                      Payment Year, but for the avoidance of doubt, disputes between a Settling
                      Distributor and a Settling State over the amounts owed only to that state
                      that do not affect any other Settling State shall not be considered National
                      Disputes;

                              (vi)    the interpretation and application of the significant
                      financial constraint provision in Section IV.K, including, without
                      limitation, eligibility for and amount of deferrals for any given year, time
                      for repayment, and compliance with restrictions during deferral term;


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                           (vii) the interpretation and application of the prepayment
                    provisions as described in Section IV.J;

                           (viii) the interpretation and application of any most-favored-
                    nation provision in Section XIV.E;

                           (ix)   questions regarding the performance and/or removal of the
                    Settlement Fund Administrator;

                           (x)    replacement of the Monitor, as provided in the Injunctive
                    Relief Terms;

                            (xi)    disputes involving liability of successor entities;

                            (xii) disputes that require a determination of the sufficiency of
                    participation in order to qualify for Incentive Payments A, B, or C, as well
                    as disputes over qualification for Participation Tiers;

                           (xiii) disputes involving a Releasor’s compliance with, and the
                    appropriate remedy under, Section XI.B.I.A.3;

                            (xiv) disputes requiring the interpretation of Agreement terms
                    that are national in scope or impact, which shall mean disputes requiring
                    the interpretation of Agreement terms that (i) concretely affect four (4) or
                    more Settling States; and (ii) do not turn on unique definitions and
                    interpretations under state law; and

                           (xv) any dispute subject to resolution under Section VI.F.1 but
                    for which all parties to the dispute agree to arbitration before the National
                    Arbitration Panel under the provisions of this Section VI.F.2.

                     b.       The National Arbitration Panel shall be comprised of three (3)
             arbitrators. One (1) arbitrator shall be chosen by the Settling Distributors, one (1)
             arbitrator shall be chosen by the Enforcement Committee with due input from
             Participating Subdivisions listed on Exhibit G, and the third arbitrator shall be
             agreed upon by the first two (2) arbitrators. The membership of the National
             Arbitration Panel is intended to remain constant throughout the term of this
             Agreement, but in the event that replacements are required, the retiring arbitrator
             shall be replaced by the party that selected him/her.

                     c.     The National Arbitration Panel shall make reasonable best efforts
             to decide all matters within one hundred eighty (180) calendar days of filing, and
             in no event shall it take longer than one (1) year.

                    d.      The National Arbitration Panel shall conduct all proceedings in a
             reasonably streamlined process consistent with an opportunity for the parties to be
             heard. Issues shall be resolved without the need for live witnesses where feasible,



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              and with a presumption in favor of remote participation to minimize the burdens
              on the parties.

                      e.      To the extent allowed under state law, a Settling State, a
              Participating Subdivision that has enforcement rights pursuant to Section VI.A,
              and (at any party’s request) the National Arbitration Panel may certify to an
              appropriate state court any question of state law. The National Arbitration Panel
              shall be bound by a final state court determination of such a certified question.
              The time period for the arbitration shall be tolled during the course of the
              certification process.

                      f.      The arbitrators will give due deference to any authoritative
              interpretation of state law, including any declaratory judgment or similar relief
              obtained by a Settling State, a Participating Subdivision that has enforcement
              rights pursuant to Section VI.A, or Settling Distributor on a state law issue.

                      g.      The decisions of the National Arbitration Panel shall be binding on
              Settling States, Participating Subdivisions, Settling Distributors, and the
              Settlement Fund Administrator. In any proceeding before the National
              Arbitration Panel involving a dispute between a Settling State and one or more
              Settling Distributors whose resolution could prejudice the rights of a Participating
              Subdivision(s) in that Settling State, such Participating Subdivision(s) shall be
              allowed to file a statement of view in the proceeding.

                       h.      Nothing herein shall be construed so as to limit or otherwise
              restrict a State from seeking injunctive or other equitable relief in state court to
              protect the health, safety, or welfare of its citizens.

                       i.      Each party shall bear its own costs in any arbitration or court
              proceeding arising under this Section VI. The costs for the arbitrators on the
              National Arbitration Panel shall be divided and paid equally by the disputing sides
              for each individual dispute, e.g., a dispute between a Settling Distributor and
              Settling States/Participating Subdivisions shall be split fifty percent (50%) by the
              Settling Distributor and fifty percent (50%) by the Settling States/Participating
              Subdivisions that are parties to the dispute; a dispute between a Settling State and
              a Participating Subdivision shall be split fifty percent (50%) by the Settling State
              that is party to the dispute and fifty percent (50%) by any Participating
              Subdivisions that are parties to the dispute.

             3.      Prior to initiating an action to enforce pursuant to this Section VI.F, the
       complaining party must:

                      a.      Provide written notice to the Enforcement Committee of its
              complaint, including the provision of the Consent Judgment and/or Agreement
              that the practice appears to violate, as well as the basis for its interpretation of the
              disputed provision. The Enforcement Committee shall establish a reasonable
              process and timeline for obtaining additional information from the involved



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               parties; provided, however, that the date the Enforcement Committee establishes
               for obtaining additional information from the parties shall not be more than forty-
               five (45) calendar days following the notice. The Enforcement Committee may
               advise the involved parties of its views on the complaint and/or seek to resolve the
               complaint informally.

                      b.      Wait to commence any enforcement action until thirty (30)
               calendar days after the date that the Enforcement Committee establishes for
               obtaining additional information from the involved parties.

               4.      If the parties to a dispute cannot agree on the proper forum for resolution
       of the dispute under the provisions of Section VI.F.1 or Section VI.F.2, a committee
       comprising the Enforcement Committee and sufficient representatives of the Settling
       Distributors such that the members of the Enforcement Committee have a majority of one
       (1) member will determine the forum where the dispute will be initiated within twenty-
       eight (28) calendar days of receiving notification of the dispute relating to the proper
       forum. The forum identified by such committee shall be the sole forum for litigating the
       issue of which forum will hear the substantive dispute, and the committee’s identification
       of such forum in the first instance shall not be entitled to deference by the forum selected.

        G.      No Effect. Nothing in this Agreement shall be interpreted to limit the Settling
State’s Civil Investigative Demand (“CID”) or investigative subpoena authority, to the extent
such authority exists under applicable state law and the CID or investigative subpoena is issued
pursuant to such authority, and Settling Distributors reserve all of their rights in connection with
a CID or investigative subpoena issued pursuant to such authority.

VII.   Participation by Subdivisions

        A.       Notice. No later than fifteen (15) calendar days after the Preliminary Agreement
Date, the Settling States, with the cooperation of the Settling Distributors, shall send individual
written notice of the opportunity to participate in this Agreement and the requirements of
participation to all Subdivisions in the Settling States that are (1) Litigating Subdivisions or (2)
Non-Litigating Subdivisions listed on Exhibit G. The costs of the written notice to such
Subdivisions shall be paid for by the Settling Distributors. The Settling States, with the
cooperation of the Settling Distributors, may also provide general notice reasonably calculated to
alert Non-Litigating Subdivisions in the Settling States to this Agreement, the opportunity to
participate in it, and the requirements for participation. Such notice may include publication and
other standard forms of notification, as well as notice to national state and county organizations
such as the National Association of Counties and the National League of Cities. The notice will
include that the deadline for becoming an Initial Participating Subdivision is the Initial
Participation Date. Nothing contained herein shall preclude a Settling State from providing
further notice to or otherwise contacting any of its Subdivisions about becoming a Participating
Subdivision, including beginning any of the activities described in this paragraph prior to the
Preliminary Agreement Date.

       B.     Requirements for Becoming a Participating Subdivision⸺Non-Litigating
Subdivisions. A Non-Litigating Subdivision in a Settling State may become a Participating


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Subdivision by returning an executed Subdivision Settlement Participation Form to the
Settlement Fund Administrator specifying (1) that the Subdivision agrees to the terms of this
Agreement pertaining to Subdivisions, (2) that the Subdivision releases all Released Claims
against all Released Entities, (3) that the Subdivision agrees to use monies it receives, if any,
from the Settlement Fund pursuant to the applicable requirements of Section V; provided,
however, that Non-Litigating Subdivisions may only use monies originating from the Settlement
Fund for purposes that qualify as Opioid Remediation, and (4) that the Subdivision submits to
the jurisdiction of the court where the applicable Consent Judgment is filed for purposes limited
to that court’s role under this Agreement. The required Subdivision Settlement Participation
Form is attached as Exhibit K.

        C.      Requirements for Becoming a Participating Subdivision⸺Litigating
Subdivisions/Later Litigating Subdivisions. A Litigating Subdivision or Later Litigating
Subdivision in a Settling State may become a Participating Subdivision by returning an executed
Subdivision Settlement Participation Form to the Settlement Fund Administrator and upon
prompt dismissal with prejudice of its lawsuit. A Settling State may require each Litigating
Subdivision in that State to specify on the Subdivision Settlement Participation Form whether its
counsel has waived any contingency fee contract with that Participating Subdivision and
whether, if eligible, it intends to seek fees pursuant to Exhibit R. The Settlement Fund
Administrator shall provide quarterly reports of this information to the parties organized by
Settling State. A Litigating Subdivision or Later Litigating Subdivision may not become a
Participating Subdivision after the completion of opening statements in a trial of the lawsuit it
brought that includes a Released Claim against a Released Entity.

        D.     Initial Participating Subdivisions. A Subdivision qualifies as an Initial
Participating Subdivision if it meets the applicable requirements for becoming a Participating
Subdivision set forth in Section VII.B or Section VII.C by the Initial Participation Date. All
Subdivision Settlement Participation Forms shall be held in escrow by the Settlement Fund
Administrator until the Reference Date.

       E.       Later Participating Subdivisions. A Subdivision that is not an Initial Participating
Subdivision may become a Later Participating Subdivision by meeting the applicable
requirements for becoming a Participating Subdivision set forth in Section VII.B or Section
VII.C after the Initial Participation Date and by agreeing to be subject to the terms of a State-
Subdivision Agreement (if any) or any other structure adopted or applicable pursuant to
Section V.D or Section V.E. The following provisions govern what a Later Participating
Subdivision can receive (but do not apply to Initial Participating Subdivisions):

               1.     Except as provided in Section IV.C, a Later Participating Subdivision shall
       not receive any share of any Annual Payment due before it became a Participating
       Subdivision.

               2.      A Later Participating Subdivision that becomes a Participating
       Subdivision after July 15, 2022 shall receive seventy-five percent (75%) of the share of
       future base or incentive payments that it would have received had it become a Later
       Participating Subdivision prior to that date (unless the Later Participating Subdivision is
       subject to Section VII.E.3 or Section VII.E.4).


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               3.     A Later Participating Subdivision that, after the Initial Participation Date,
       maintains a lawsuit for a Released Claim(s) against a Released Entity and has judgment
       entered against it on every such Claim before it became a Participating Subdivision (other
       than a consensual dismissal with prejudice) shall receive fifty percent (50%) of the share
       of future base or incentive payments that it would have received had it become a Later
       Participating Subdivision prior to such judgment; provided, however, that if the
       Subdivision appeals the judgment and the judgment is affirmed with finality before the
       Subdivision becomes a Participating Subdivision, the Subdivision shall not receive any
       share of any base payment or incentive payments.

               4.       A Later Participating Subdivision that becomes a Participating
       Subdivision while a Bar or Case-Specific Resolution involving a different Subdivision
       exists in its State shall receive twenty-five percent (25%) of the share of future base or
       incentive payments that it would have received had it become a Later Participating
       Subdivision without such Bar or Case-Specific Resolution.

       F.     No Increase in Payments. Amounts to be received by Later Participating
Subdivisions shall not increase the payments due from the Settling Distributors.

       G.     Ineligible Subdivisions. Subdivisions in Non-Settling States and Prior Litigating
Subdivisions are not eligible to be Participating Subdivisions.

        H.      Non-Participating Subdivisions. Non-Participating Subdivisions shall not
directly receive any portion of any Annual Payment, including from the State Fund and direct
distributions from the Abatement Accounts Fund; however, a Settling State may choose to fund
future Opioid Remediation that indirectly benefits Non-Participating Subdivisions.

        I.      Unpaid Allocations to Later Participating Subdivisions and Non-Participating
Subdivisions. Any base payment and incentive payments allocated pursuant to Section V.D to a
Later Participating Subdivision or Non-Participating Subdivision that cannot be paid pursuant to
this Section VII, including the amounts that remain unpaid after the reductions required by
Section VII.E.2 through Section VII.E.4, will be allocated to the Abatement Accounts Fund for
the Settling State in which the Subdivision is located, unless those payments are redirected
elsewhere by a State-Subdivision Agreement or by a Statutory Trust.

VIII. Condition to Effectiveness of Agreement and Filing of Consent Judgment

       A.     Determination to Proceed With Settlement.

               1.      The Settling States shall confer with legal representatives of the
       Participating Subdivisions listed on Exhibit G and inform the Settling Distributors no
       later than eighteen (18) calendar days prior to the Reference Date whether there is
       sufficient participation to proceed with this Agreement. Within seven (7) calendar days
       of informing the Settling Distributors that there is sufficient participation to proceed, the
       Settling States will deliver all signatures and releases required by the Agreement to be
       provided by the Settling States to the Settling Distributors.




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               2.      If the Settling States inform Settling Distributors that there is sufficient
       participation, the Settling Distributors will then determine on or before the Reference
       Date whether there is sufficient State participation and sufficient resolution of the Claims
       of the Litigating Subdivisions in the Settling States (through participation under
       Section VII, Case-Specific Resolution(s) and Bar(s)) to proceed with this Agreement.
       The determination shall be in the sole discretion of the Settling Distributors and may be
       based on any criteria or factors deemed relevant by the Settling Distributors.

        B.      Notice by Settling Distributors. On or before the Reference Date, the Settling
Distributors shall inform the Settling States of their determination pursuant to Section VIII.A. If
the Settling Distributors determine to proceed, the Parties will proceed to file the Consent
Judgments and the obligations in the Subdivision Settlement Participation Forms will be
effective and binding as of the Reference Date. If the Settling Distributors determine not to
proceed, this Agreement will have no further effect, any amounts placed in escrow for Payment
Year 1, including funds referenced in Section IV.C.1, Section IX, Section X, and Exhibit M,
shall be returned to the Settling Distributors, and all releases (including those contained in
Subdivision Settlement Participation Forms) and other commitments or obligations contained
herein or in Subdivision Settlement Participation Forms will be void.

       C.      Determination of the Participation Tier.

               1.      On July 1, 2022, as extended by written agreement of the Settling
       Distributors and the Enforcement Committee, provided that Settling Distributors
       determine to proceed with this Agreement, the Settlement Fund Administrator shall
       determine the Participation Tier. The criteria used to determine the Participation Tier are
       set forth in Exhibit H. Any disputes as to the determination of the Participation Tier shall
       be decided by the National Arbitration Panel.

               2.       The Participation Tier shall be redetermined by the Settlement Fund
       Administrator annually as of the Payment Date, beginning with Payment Year 3, pursuant
       to the criteria set forth in Exhibit H.

               3.       After Payment Year 6, the Participation Tier cannot move higher, unless
       this restriction is waived by the Settling Distributors.

               4.      In the event that a Participation Tier redetermination moves the
       Participation Tier higher, and that change is in whole or in part as a result of the post-
       Reference Date enactment of a Bar and there is later a Revocation Event with respect to
       such Bar, then on the next Payment Date that is at least one hundred eighty (180)
       calendar days after the Revocation Event, the Participation Tier shall move down to the
       Participation Tier that would have applied had the Bar never been enacted, unless the Bar
       is reinstated or all Subdivisions affected by the Revocation Event become Participating
       Subdivisions within one hundred eighty (180) calendar days of the Revocation Event.
       This is the sole circumstance in which, on a nationwide basis, the Participation Tier can
       move down.




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               5.      In the event that there is a post-Reference Date Revocation Event with
       respect to a Bar that was enacted in a Settling State prior to the Reference Date, then, on
       the next Payment Date that is at least one hundred eighty (180) calendar days after the
       Revocation Event, unless the Bar is reinstated or all Subdivisions affected by the
       Revocation Event become Participating Subdivisions within one hundred eighty (180)
       calendar days of the Revocation Event, the Participation Tier shall decrease – solely for
       the State in which the Revocation Event occurred – to the Participation Tier
       commensurate with the percentage of Litigating Subdivisions in that State that are
       Participating Subdivisions and the percentage of Non-Litigating Subdivisions that are
       both Primary Subdivisions and Participating Subdivisions, according to the criteria set
       forth in Exhibit G, except that the calculations shall be performed as to that State alone.
       For the avoidance of doubt and solely for the calculation in this subparagraph, the
       Settling States Column of Exhibit H shall play no role. This is the sole circumstance in
       which one Settling State will have a different Participation Tier than other Settling States.

               6.     The redetermination of the Participation Tier under Section VIII.C.2 shall
       not affect payments already made or suspensions, offsets, or reductions already applied.

IX.    Additional Restitution

        A.      Additional Restitution Amount. Pursuant to the schedule set forth in Exhibit M
and subject to the reduction specified in Section IX.B, the Settling Distributors shall pay an
Additional Restitution Amount to the Settling States listed in Exhibit N. Such funds shall be
paid, on the schedule set forth on Exhibit M, on the Payment Date for each relevant Payment
Year to such Settling States as allocated by the Settlement Fund Administrator pursuant to
Exhibit N.

        B.     Reduction of Additional Restitution Amount. In the event that any Non-Settling
States appear on Exhibit N, the amounts owed by Settling Distributors pursuant to this
Section IX shall be reduced by the allocations set forth on Exhibit N for any such Non-Settling
States.

       C.     Use of Funds. All funds paid as an Additional Restitution Amount shall be part of
the Compensatory Restitution Amount, shall be used for Opioid Remediation, except as allowed
by Section V.B.2, and shall be governed by the same requirements as specified in Section V.F.

X.     Plaintiffs’ Attorneys’ Fees and Costs

         The Agreement on Attorneys’ Fees, Expenses and Costs is set forth in Exhibit R and
incorporated herein by reference. The Agreement on the State Outside Counsel Fee Fund and
Agreement on the State Cost Fund Administration are set forth in Exhibit S and Exhibit T,
respectively, and are incorporated herein by reference.

XI.    Release

        A.      Scope. As of the Effective Date, the Released Entities are hereby released and
forever discharged from all of the Releasors’ Released Claims. Each Settling State (for itself and
its Releasors) and Participating Subdivision hereby absolutely, unconditionally, and irrevocably


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covenants not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or claimed,
or to otherwise seek to establish liability for any Released Claims against any Released Entity in
any forum whatsoever. The releases provided for in this Agreement are intended by the Parties
to be broad and shall be interpreted so as to give the Released Entities the broadest possible bar
against any liability relating in any way to Released Claims and extend to the full extent of the
power of each Settling State and its Attorney General to release claims. This Agreement shall be
a complete bar to any Released Claim.

       B.      Claim-Over and Non-Party Settlement.

                 1.      It is the intent of the Parties that:

                         a.     Released Entities should not seek contribution or indemnification
                 (other than pursuant to an insurance contract), from other parties for their
                 payment obligations under this Agreement;

                          b.      the payments made under this Agreement shall be the sole
                 payments made by the Released Entities to the Releasors involving, arising out
                 of, or related to Covered Conduct (or conduct that would be Covered Conduct if
                 engaged in by a Released Entity);

                        c.     Claims by Releasors against non-Parties should not result in
                 additional payments by Released Entities, whether through contribution,
                 indemnification or any other means; and

                         d.     the Agreement meets the requirements of the Uniform
                 Contribution Among Joint Tortfeasors Act and any similar state law or doctrine
                 that reduces or discharges a released party’s liability to any other parties.

The provisions of this Section XI.B are intended to be implemented consistent with these
principles. This Agreement and the releases and dismissals provided for herein are made in good
faith.

                2.       No Released Entity shall seek to recover for amounts paid under this
       Agreement based on indemnification, contribution, or any other theory from a
       manufacturer, pharmacy, hospital, pharmacy benefit manager, health insurer, third-party
       vendor, trade association, distributor, or health care practitioner; provided that a Released
       Entity shall be relieved of this prohibition with respect to any entity that asserts a Claim-
       Over against it. For the avoidance of doubt, nothing herein shall prohibit a Released
       Entity from recovering amounts owed pursuant to insurance contracts.

                 3.      To the extent that, on or after the Reference Date, any Releasor enters
       into a Non-Party Settlement, including in any bankruptcy case or through any plan of
       reorganization (whether individually or as a class of creditors), the Releasor will include
       (or in the case of a Non-Party Settlement made in connection with a bankruptcy case, will
       cause the debtor to include), unless prohibited from doing so under applicable law, in the
       Non-Party Settlement a prohibition on contribution or indemnity of any kind substantially
       equivalent to that required from the Settling Distributors in Section XI.B.2, or a release


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       from such Non-Released Entity in favor of the Released Entities (in a form equivalent to
       the releases contained in this Agreement) of any Claim-Over. The obligation to obtain
       the prohibition and/or release required by this subsection is a material term of this
       Agreement.

                 4.     In the event that any Releasor obtains a judgment with respect to Non-
       Party Covered Conduct against a Non-Released Entity that does not contain a prohibition
       like that described in Section XI.B.3, or any Releasor files a Non-Party Covered Conduct
       Claim against a Non-Released Entity in bankruptcy or a Releasor is prevented for any
       reason from obtaining a prohibition/release in a Non-Party Settlement as provided in
       Section XI.B.3, and such Non-Released Entity asserts a Claim-Over against a Released
       Entity, the Released Entity shall be relieved of the prohibition in Section XI.B.2 with
       respect to that Non-Released Entity and that Releasor and the Settling Distributors shall
       take the following actions to ensure that the Released Entities do not pay more with
       respect to Covered Conduct to Releasors or to Non-Released Entities than the amounts
       owed under this Settlement Agreement by the Settling Distributors:

                      a.      Settling Distributors shall notify that Releasor of the Claim-Over
               within sixty (60) calendar days of the assertion of the Claim-Over or sixty (60)
               calendar days of the Effective Date of this Settlement Agreement, whichever is
               later;

                       b.     Settling Distributors and that Releasor shall meet and confer
               concerning the means to hold Released Entities harmless and ensure that they
               are not required to pay more with respect to Covered Conduct than the amounts
               owed by Settling Distributors under this Agreement;

                       c.     That Releasor and Settling Distributors shall take steps sufficient
               and permissible under the law of the State of the Releasor to hold Released
               Entities harmless from the Claim-Over and ensure Released Entities are not
               required to pay more with respect to Covered Conduct than the amounts owed
               by Settling Distributors under this Agreement. Such steps may include, where
               permissible:

                              (i)      Filing of motions to dismiss or such other appropriate
                       motion by Settling Distributors or Released Entities, and supported by
                       Releasors, in response to any claim filed in litigation or arbitration;

                              (ii)    Reduction of that Releasors’ Claim and any judgment it
                       has obtained or may obtain against such Non-Released Entity by
                       whatever amount or percentage is necessary to extinguish such Claim-
                       Over under applicable law, up to the amount that Releasor has obtained,
                       may obtain, or has authority to control from such Non-Released Entity;

                               (iii) Placement into escrow of funds paid by the Non-Released
                       Entities such that those funds are available to satisfy the Claim-Over;




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                              (iv)   Return of monies paid by Settling Distributors to that
                       Releasor under this Settlement Agreement to permit satisfaction of a
                       judgment against or settlement with the Non-Released Entity to satisfy
                       the Claim-Over;

                               (v)    Payment of monies to Settling Distributors by that
                       Releasor to ensure they are held harmless from such Claim-Over, up to
                       the amount that Releasor has obtained, may obtain, or has authority to
                       control from such Non-Released Entity;

                               (vi)   Credit to the Settling Distributors under this Agreement to
                       reduce the overall amounts to be paid under the Agreement such that
                       they are held harmless from the Claim-Over; and

                              (vii) Such other actions as that Releasor and Settling
                       Distributors may devise to hold Settling Distributors harmless from the
                       Claim-Over.

                       d.      The actions of that Releasor and Settling Distributors taken
                pursuant to paragraph (c) must, in combination, ensure Settling Distributors are
                not required to pay more with respect to Covered Conduct than the amounts
                owed by Settling Distributors under this Agreement.

                        e.      In the event of any dispute over the sufficiency of the actions
                taken pursuant to paragraph (c), that Releasor and the Settling Distributors may
                seek review by the National Arbitration Panel, provided that, if the parties agree,
                such dispute may be heard by the state court where the relevant Consent
                Judgment was filed. The National Arbitration Panel shall have authority to
                require Releasors to implement a remedy that includes one or more of the
                actions specified in paragraph (c) sufficient to hold Released Entities fully
                harmless. In the event that the Panel’s actions do not result in Released Entities
                being held fully harmless, Settling Distributors shall have a claim for breach of
                this Agreement by Releasors, with the remedy being payment of sufficient funds
                to hold Settling Distributors harmless from the Claim-Over. For the avoidance
                of doubt, the prior sentence does not limit or eliminate any other remedy that
                Settling Distributors may have.

                 5.     To the extent that the Claim-Over is based on a contractual indemnity,
       the obligations under Section XI.B.4 shall extend solely to a Non-Party Covered Conduct
       Claim against a pharmacy, clinic, hospital or other purchaser or dispenser of Products, a
       manufacturer that sold Products, a consultant, and/or a pharmacy benefit manager or
       other third-party payor. Each Settling Distributor shall notify the Settling States, to the
       extent permitted by applicable law, in the event that any of these types of Non-Released
       Entity asserts a Claim-Over arising out of contractual indemnity against it.

       C.     Indemnification and Contribution Prohibited. No Released Entity shall seek to
recover for amounts paid under this Agreement based on indemnification, contribution, or any



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other theory, from a manufacturer, pharmacy, hospital, pharmacy benefit manager, health
insurer, third-party vendor, trade association, distributor, or health care practitioner. For the
avoidance of doubt, nothing herein shall prohibit a Released Entity from recovering amounts
owed pursuant to insurance contracts.

        D.      General Release. In connection with the releases provided for in this Agreement,
each Settling State (for itself and its Releasors) and Participating Subdivision expressly waives,
releases, and forever discharges any and all provisions, rights, and benefits conferred by any law
of any State or territory of the United States or other jurisdiction, or principle of common law,
which is similar, comparable, or equivalent to § 1542 of the California Civil Code, which reads:

               General Release; extent. A general release does not extend to
               claims that the creditor or releasing party does not know or suspect
               to exist in his or her favor at the time of executing the release and
               that if known by him or her, would have materially affected his or
               her settlement with the debtor or released party.

A Releasor may hereafter discover facts other than or different from those which it knows,
believes, or assumes to be true with respect to the Released Claims, but each Settling State (for
itself and its Releasors) and Participating Subdivision hereby expressly waives and fully, finally,
and forever settles, releases and discharges, upon the Effective Date, any and all Released
Claims that may exist as of such date but which Releasors do not know or suspect to exist,
whether through ignorance, oversight, error, negligence or through no fault whatsoever, and
which, if known, would materially affect the Settling States’ decision to enter into this
Agreement or the Participating Subdivisions’ decision to participate in this Agreement.

        E.      Assigned Interest Waiver. To the extent that any Settling State has any direct or
indirect interest in any rights of a third-party that is a debtor under the Bankruptcy Code as a
result of a claim arising out of Covered Conduct by way of assignment or otherwise, including as
a result of being the beneficiary of a trust or other distribution entity, to assert claims against a
Settling Distributor (whether derivatively or otherwise), under any legal or equitable theory,
including for indemnification, contribution, or subrogation, such Settling State waives the right
to assert any such claim, or to receive a distribution or any benefit on account of such claim and
such claim, distribution, or benefit shall be deemed assigned to such Settling Distributor.

        F.      Res Judicata. Nothing in this Agreement shall be deemed to reduce the scope of
the res judicata or claim preclusive effect that the settlement memorialized in this Agreement,
and/or any Consent Judgment or other judgment entered on this Agreement, gives rise to under
applicable law.

        G.      Representation and Warranty. The signatories hereto on behalf of their respective
Settling States expressly represent and warrant that they have (or have obtained, or will obtain no
later than the Initial Participation Date) the authority to settle and release, to the maximum extent
of the State’s power, all Released Claims of (1) their respective Settling States, (2) all past and
present executive departments, state agencies, divisions, boards, commissions and
instrumentalities with the regulatory authority to enforce state and federal controlled substances
acts, and (3) any of their respective Settling State’s past and present executive departments,


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agencies, divisions, boards, commissions and instrumentalities that have the authority to bring
Claims related to Covered Conduct seeking money (including abatement and/or remediation) or
revocation of a pharmaceutical distribution license. For the purposes of clause (3) above,
executive departments, agencies, divisions, boards, commissions, and instrumentalities are those
that are under the executive authority or direct control of the State’s Governor. Also for the
purposes of clause (3), a release from a State’s Governor is sufficient to demonstrate that the
appropriate releases have been obtained.

        H.      Effectiveness. The releases set forth in this Agreement shall not be impacted in
any way by any dispute that exists, has existed, or may later exist between or among the
Releasors. Nor shall such releases be impacted in any way by any current or future law,
regulation, ordinance, or court or agency order limiting, seizing, or controlling the distribution or
use of the Settlement Fund or any portion thereof, or by the enactment of future laws, or by any
seizure of the Settlement Fund or any portion thereof.

       I.     Cooperation. Releasors (1) will not encourage any person or entity to bring or
maintain any Released Claim against any Released Entity and (2) will reasonably cooperate with
and not oppose any effort by Settling Distributors to secure the prompt dismissal of any and all
Released Claims.

         J.     Non-Released Claims. Notwithstanding the foregoing or anything in the
definition of Released Claims, this Agreement does not waive, release or limit any criminal
liability, Claims for liability under tax law, Claims under securities law by a State Releasor as
investor, Claims against parties who are not Released Entities, Claims by private individuals, and
any claims arising under this Agreement for enforcement of this Agreement.

XII.   Later Litigating Subdivisions

       A.      Released Claims against Released Entities. Subject to Section XII.B, the
following shall apply in the event a Later Litigating Subdivision in a Settling State maintains a
lawsuit for a Released Claim against a Released Entity after the Reference Date:

               1.      The Released Entity shall take ordinary and reasonable measures to defend
       the action, including filing a Threshold Motion with respect to the Released Claim. The
       Released Entity shall further notify the Settling State and Settlement Fund Administrator
       immediately upon notice of a Later Litigating Subdivision bringing a lawsuit for a
       Released Claim, and shall not oppose a Settling State’s submission in support of the
       Threshold Motion.

              2.      The provisions of this Section XII.A.2 apply if the Later Litigating
       Subdivision is a Primary Subdivision (except as provided in Section XII.A.2.f):

                       a.      If a lawsuit including a Released Claim survives until the
               Suspension Deadline for that lawsuit, the Settlement Fund Administrator shall
               calculate the Suspension Amount applicable to the next Payment due from the
               Settling Distributor(s) at issue and apportioned to the State of the Later Litigating
               Subdivision and to Subdivisions in that State; provided, however, that the
               Suspension Amount for a Payment Year cannot exceed the Suspension Cap. The


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             Suspension Amount shall be paid into the Settlement Fund Escrow account. If the
             Suspension Amount exceeds the Suspension Cap for that Payment Year, then the
             remaining amount will be paid into the Settlement Fund Escrow in the following
             Payment Year, subject to the Suspension Cap for that Payment Year, and so forth
             in each succeeding Payment Year until the entire Suspension Amount has been
             paid into the Settlement Fund Escrow or the Released Claim is resolved, as
             provided below, whichever comes first. A suspension does not apply during the
             pendency of any appeal dismissing the lawsuit for a Released Claim in whole.

                     b.      If the Released Claim is resolved with finality without requirement
             of payment by the Released Entity, the placement of any remaining balance of the
             Suspension Amount into the Settlement Fund Escrow shall cease and the
             Settlement Fund Administrator shall immediately transfer amounts in the
             Settlement Fund Escrow on account of the suspension to the Settling State at issue
             and its Participating Subdivisions. The lawsuit will not cause further suspensions
             unless the Released Claim is reinstated upon further review, legislative action, or
             otherwise.

                     c.      If the Released Claim is resolved with finality on terms requiring
             payment by the Released Entity, the Settlement Fund Administrator will transfer
             the amounts in the Settlement Fund Escrow on account of the suspension to the
             Settling Distributor(s) at issue necessary to satisfy the payment obligation of the
             Released Entity to the relevant Later Litigating Subdivision. If any balance
             remains in the Settlement Fund Escrow on account of the suspension after transfer
             of the amount necessary to satisfy the payment obligation, the Settlement Fund
             Administrator will immediately transfer the balance to the Settling State at issue
             and its Participating Subdivisions. If the payment obligation of the Released
             Entity to the relevant Later Litigating Subdivision exceeds the amounts in the
             Settlement Fund Escrow on account of the suspension, the Settling Distributor at
             issue shall receive a dollar-for-dollar offset, subject to the yearly Offset Cap, for
             the excess amount against its obligation to pay its allocable share of Annual
             Payments that would be apportioned to the Settling State at issue and to its
             Subdivisions. The offset shall be applied as follows: first against the Settling
             Distributor’s allocable share of the Annual Payment due in Payment Year 18, up
             to the Offset Cap for that Payment Year, with any remaining amounts above the
             Offset Cap applied against the Settling Distributor’s allocable share of the Annual
             Payment due in Payment Year 17, up to the Offset Cap for that Payment Year,
             and so forth for each preceding Payment Year until the entire amount to be offset
             has been applied or no future Payment Years remain.

                    d.       If the lawsuit asserting a Released Claim is resolved with finality
             on terms requiring payment by the Released Entity, and the Released Claim did
             not give rise to a suspension of any Settling Distributor’s portion of any Annual
             Payments (e.g., because it was resolved during Payment Years 1 or 2, during
             which all Settling States are deemed eligible for Incentive Payment A and thus no
             suspension of payments took place, as provided by Section XII.B), the Settling
             Distributor at issue shall receive a dollar-for-dollar offset, subject to the yearly


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              Offset Cap, for the amount paid. The offset shall be applied against the relevant
              Settling Distributor’s allocable portion of the Annual Payments starting in
              Payment Year 18 and working backwards as set forth in Section XII.A.2.c. If the
              lawsuit for a Released Claim is otherwise resolved by the Released Entity,
              without the Settling Distributor filing a Threshold Motion despite an opportunity
              to do so, and the Released Claim did not give rise to a suspension of any Settling
              Distributor’s portion of any Annual Payments, the Settling Distributor at issue
              shall not receive any offset for the amount paid.

                       e.       If more than one Primary Subdivision in a Settling State becomes a
              Later Litigating Subdivision, a single Suspension Cap applies and the total
              amounts deducted from the share of the Annual Payment allocated to the Settling
              State and its Participating Subdivisions in a given Payment Year cannot exceed
              the Suspension Cap. For the avoidance of doubt, an individual Primary
              Subdivision shall not trigger more than one suspension regardless if it (or any of
              its officials) is named as multiple plaintiffs in the same lawsuit.

                      f.      This Section XII.A.2 shall not apply with respect to a Primary
              Subdivision that is either (i) a Later Litigating Subdivision under clause (3) of the
              definition of that term solely because a legislative Bar or legislative Case-Specific
              Resolution applicable as of the Reference Date is invalidated by judicial decision
              after the Reference Date or (ii) a Later Litigating Subdivision under clause (4) of
              the definition of that term. Such a Primary Subdivision shall be treated as a
              General Purpose Government under Section XII.A.3.

               3.      The terms of this Section XII.A.3 apply if a the Later Litigating
       Subdivision is not a Primary Subdivision (except for Primary Subdivisions referenced in
       Section XII.A.2.f) but is a General Purpose Government, School District, Health District
       or Hospital District: if the Released Claim is resolved with finality on terms requiring
       payment by the Released Entity, the Settling Distributor at issue shall receive a dollar-
       for-dollar offset, subject to the yearly Offset Cap, for the amount paid against its portion
       of the obligation to make Annual Payments that would be apportioned to the Settling
       State at issue and to its Subdivisions. The offset shall be applied as follows: first against
       the relevant Settling Distributor’s allocable share of the Annual Payment due in Payment
       Year 18, up to the Offset Cap for that Payment Year, with any remaining amounts above
       the Offset Cap applied against the Payment due in Payment Year 17, up to the Offset Cap
       for that Payment Year, and so forth for each preceding Payment Year until the entire
       amount to be offset has been applied or no future Payment Year remains. If the Released
       Claim is resolved on terms requiring payment during the first two (2) Payment Years, in
       no case will any amounts be offset against the amounts due in Payment Years 1 and 2.

               4.     In no event shall the total of Suspension Amounts and offsets pursuant to
       this Section applicable to a Settling State in a Payment Year for that Payment Year
       exceed the Offset Cap for that State. If, in a Payment Year, the total of Suspension
       Amounts and offsets applicable to a Settling State exceeds the Offset Cap, the Suspension
       Amounts shall be reduced so that the total of Suspension Amounts and offsets equals the
       Offset Cap.


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               5.      For the avoidance of doubt, any offset pursuant to this Section XII in a
       Settling State that is not eligible for Incentive Payment A shall continue to apply even if
       the Settling State at issue subsequently becomes eligible for Incentive Payment A.

                6.     “Terms requiring payment” shall mean (i) a final monetary judgment or
       (ii) a settlement; provided that the Released Entity sought the applicable State Attorney
       General’s consent to the settlement and such consent was either obtained or unreasonably
       withheld. Should the judgment or settlement resolve claims that are not Released Claims,
       the offset shall be for the Released Claims portion only, which shall be distinguishable in
       the judgment or settlement.

       B.     Exceptions.

                1.      Section XII.A shall not apply where the Settling State at issue meets the
       eligibility criteria for and is entitled to Incentive Payment A for the Payment Year at
       issue, except as expressly provided therein. For the avoidance of doubt, because all
       Settling States are deemed eligible for Incentive Payment A for Payment Years 1 and 2
       under Section IV.F.1.c, a suspension of Payments under Section XII.A.2 shall not apply
       to any Settling States for those Payment Years.

               2.      An offset under Section XII.A.2 and Section XII.A.3 shall not apply
       where the Later Litigating Subdivision opted out of a Settlement Class Resolution in the
       Settling State at issue that was in full force and effect in that Settling State as of the due
       date of the payment for Payment Year 2 and remains in full force and effect; provided
       that an offset relating to that Subdivision may apply under Section XIII.

               3.      Section XII.A shall not apply where the Later Litigating Subdivision seeks
       less than $10 million, or so long as its total claim is reduced to less than $10 million, in
       the lawsuit for a Released Claim at issue.

               4.     An offset under Section XII.A.3 shall not apply where the applicable
       Participation Tier is Participation Tier 1 and the population of the Later Litigating
       Subdivision is under 10,000.

               5.      If the applicable Participation Tier is Participation Tier 2 or higher, and
       the Later Litigating Subdivision has a population less than 10,000, the offset under
       Section XII.A.3 shall only apply to amounts paid pursuant to a settlement or judgment
       that are over $10 million per case or resolution. Any type of consolidated or aggregated
       or joined or class actions, however styled, shall be considered a single case, and any
       resolutions that occur within a sixty (60) calendar day period of each other and involve
       Later Litigating Subdivisions that share common counsel and/or are created by the same
       or related judgments, settlement agreements, or other instruments or are conditioned upon
       one another, shall be considered a single resolution. For the avoidance of doubt, any such
       case or resolution shall have only a single $10,000,000 exemption from the offset under
       Section XII.A.3.

        C.      No Effect on Other Provisions. A suspension or offset under Section XII.A shall
not affect the Injunctive Relief Terms or the Consent Judgment.


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        D.     No Effect on Other States. A suspension or offset under Section XII.A applicable
to one State shall not affect the allocation or payment of the Annual Payment to other Settling
States.

XIII. Reductions/Offsets

       A.      Non-Settling States. Non-Settling States shall not be eligible for any payments or
have any rights in connection with this Agreement. Accordingly, the stated maximum dollar
amounts of the payments specified in Exhibit M are reduced by the aggregate Overall Allocation
Percentage of Non-Settling States as set forth in Exhibit F.

        B.     Offset Relating to Incentive Payment A. If a Settling State is not eligible for
Incentive Payment A at the third Payment Date, the Settling Distributors shall receive an offset
with respect to that State. 10 The offset shall be the dollar amount difference between (1) the total
amount of the Incentive Payment A due from the Settling Distributors on the Effective Date and
on the Payment Date for Payment Year 2 allocated to that State and its Participating
Subdivisions, and (2) the total amount of Incentive Payments B and C that would have been due
from the Settling Distributors on the Effective Date and on the Payment Date for Payment Year 2
so allocated but for the State’s deemed eligibility for Incentive Payment A. The offset shall be
applied in equal installments to reduce the Annual Payments for Payment Years 3 through 7 that
would be apportioned to that State and to its Subdivisions, and shall remain applicable even if
that State subsequently becomes eligible for Incentive Payment A.

          C.     Settlement Class Resolution Opt Outs. If a Settling State is eligible for Incentive
Payment A on the basis of a Settlement Class Resolution, and a Primary Subdivision that opted
out of the Settlement Class Resolution maintains a lawsuit asserting a Released Claim against a
Released Entity, the following shall apply. If the lawsuit asserting a Released Claim either
survives a Threshold Motion or has an unresolved Threshold Motion fewer than sixty (60)
calendar days prior to the scheduled start of a trial involving a Released Claim, and is resolved
with finality on terms requiring payment by the Released Entity, the Settling Distributor at issue
shall receive a dollar-for-dollar offset for the amount paid against its obligation to make
remaining Incentive Payment A payments that would be apportioned to that State and to its
Subdivisions. For the avoidance of doubt, an offset shall not be applicable under this subsection
if it is applicable under Section XII.A with respect to the Subdivision at issue.

        D.       Revoked Bar, Settlement Class Resolution, or Case-Specific Resolution. If the
Settling Distributors made any Annual Payments that included any incentive payments earned as
a result of the existence of a Bar, Settlement Class Resolution, or Case-Specific Resolution in a
Settling State, and there is subsequently a Revocation Event with respect to that Bar, Settlement
Class Resolution, or Case-Specific Resolution after the determination of the amount of such
Annual Payment, the Settling Distributors shall receive a dollar-for-dollar offset against the
portion of remaining Annual Payments that would be allocated to that State and its Participating
Subdivisions. This offset will be calculated as the dollar amount difference between (1) the total
amount of incentive payments paid by the Settling Distributors by virtue of the Bar, Settlement

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  For purposes of this provision, in determining whether a Settling State would not be eligible for Incentive
Payment A for Payment Year 3, the criteria set forth in Section IV.F.1.b shall apply to that Payment Year.


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Class Resolution, or Case-Specific Resolution subject to the Revocation Event and (2) the total
amount of incentive payments that would have been due from the Settling Distributors during
that time had the Bar, Settlement Class Resolution, or Case-Specific Resolution subject to the
Revocation Event not been in effect. The amount of incentive payments that would have been
due, referenced in clause (2) above, will be calculated one hundred eighty (180) calendar days
after the Revocation Event; for purposes of calculating the amount of incentive payments that
would have been due, any relevant Subdivision shall be included as a Participating Subdivision
if: (1) its Released Claims are extinguished by any subsequent Bar, Settlement Class Resolution,
or Case-Specific Resolution in effect as of the date of such calculation, or (2) it becomes a
Participating Subdivision (in addition to all other Participating Subdivisions) prior to the date of
such calculation.

         E.     Certain Taxes. Amounts paid by a Settling Distributor under an Opioid Tax in a
Settling State in a Payment Year shall give rise to a dollar-for-dollar offset against that Settling
Distributor’s obligation to pay its share of the Annual Payment in that Payment Year that would
be allocated to the taxing State or its Participating Subdivisions. If such amounts paid exceed
that Settling Distributor’s allocable share of the Annual Payment allocable to the taxing State or
its Participating Subdivisions in that Payment Year, the excess shall carry forward as an offset
against its allocable share of remaining Annual Payments that would be allocated to the taxing
State or its Participating Subdivisions

       F.     Not Subject to Suspension Cap or Offset Cap. For the avoidance of doubt, neither
the Suspension Cap nor the Offset Cap apply to the offsets and reductions set forth in this
Section XIII.

XIV. Miscellaneous

        A.      Population of General Purpose Governments. The population figures for General
Purpose Governments shall be the published U.S. Census Bureau’s population estimates for
July 1, 2019, released May 2020. These population figures shall remain unchanged during the
term of this Agreement. 11

       B.      Population of Special Districts. For any purpose in this Agreement in which the
population of a Special District is used other than Section IV.F.1.b: (a) School Districts’
population will be measured by the number of students enrolled who are eligible under the
Individuals with Disabilities Education Act (“IDEA”) or Section 504 of the Rehabilitation Act of
1973; (b) Health Districts’ and Hospital Districts’ population will be measured at twenty-five
percent (25%) of discharges; and (c) all other Special Districts’ (including Fire Districts’ and
Library Districts’) population will be measured at ten percent (10%) of the population served.
The Settling Distributors and the Enforcement Committee shall meet and confer in order to agree
on data sources for purposes of this Section prior to the Preliminary Agreement Date.




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  The estimates for counties and parishes were accessed at https://www.census.gov/data/datasets/time-
series/demo/popest/2010s-countiestotal.html. The estimates for cities and towns can currently be found at
https://www.census.gov/data/datasets/time-series/demo/popest/2010s-total-cities-and-towns.html.


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       C.      Population Associated with Sheriffs. For any purpose in this Agreement in which
the population associated with a lawsuit by a sheriff is used, the population will be measured at
twenty percent (20%) of the capacity of the jail(s) operated by the sheriff.

        D.      No Admission. The Settling Distributors do not admit liability or wrongdoing.
Neither this Agreement nor the Consent Judgments shall be considered, construed or represented
to be (1) an admission, concession or evidence of liability or wrongdoing or (2) a waiver or any
limitation of any defense otherwise available to the Settling Distributors.

       E.      Most-Favored-Nation Provision.—Settling States.

               1.      If, after the Reference Date, any Settling Distributor enters into any
       settlement agreement with any Non-Settling State that resolves Claims similar in scope to
       the Claims released by a Settling State under this Agreement on overall payment terms
       that are more favorable to such Non-Settling State than the overall payment terms of the
       Agreement (after due consideration of relevant differences in population or other
       appropriate factors), then the Settling States, individually or collectively, may elect to
       seek review, pursuant to Section XIV.E.3, of the overall payment terms of this
       Agreement and the Non-Settling State agreement so that such Settling State(s) may
       obtain, with respect to that Settling Distributor, overall payment terms at least as
       favorable as those obtained by such Non-Settling State. “Overall payment terms” refers
       to consideration of all payment terms of the two agreements, taken together, including,
       but not limited to the amount of payments, the timing of payments, and conditions or
       contingencies on payments.

                2.     For any settlement with a Non-Settling State involving Released Claims
       that is entered into after the Reference Date, Settling Distributors shall provide the
       Enforcement Committee with a copy of the settlement agreement or relevant consent
       judgment within thirty (30) calendar days of the consummation of such settlement. The
       Enforcement Committee will promptly distribute such copy to all Settling States.

              3.      In the event that one or more Settling State(s) believes that the overall
       payment terms of an agreement by a Settling Distributor with a Non-Settling State are
       more favorable to the Non-Settling State, when compared based on the totality of the
       considerations set forth in Section XIV.E.1, the Settling State(s) and the Settling
       Distributor shall engage in the following process:

                        a.      The Settling State(s) shall provide notice, within sixty (60)
               calendar days of the date on which a settlement agreement or consent judgment is
               provided to the Enforcement Committee, to the Settling Distributor of its (their)
               intent to seek revision of this Agreement to provide payment terms that are, on an
               overall basis, as favorable as those obtained by the Non-Settling State. Such
               notice shall be confidential and not disclosed publicly to the extent allowed by
               law and shall state, in detail, the basis for the State’s (States’) belief that it (they)
               is entitled to a revision of the Agreement.




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                     b.      The Settling Distributor shall, within thirty (30) calendar days,
              provide a response to the Settling State(s), explaining its position, in detail, as to
              whether the Settling State(s) is entitled to more favorable overall payment terms
              than those provided for in this Agreement.

                      c.      In the event the Settling State(s) and Settling Distributor do not
              reach agreement as to the application of Section XIV.E.1, the Settling State(s)
              may petition the National Arbitration Panel to seek a ruling from the Panel as to
              the applicability of Section XIV.E.1, provided that the Settling State(s) may seek
              such review only if at least five (5) Settling States co-sign the petition. The Panel
              shall consider submissions and argument by the parties pursuant to the procedures
              set forth in Section VI.F.2.

                      d.     The Settling State(s) and the Settling Distributor shall be bound by
              the determination of the National Arbitration Panel.

                4.      This Section XIV.E does not apply to, and there is no ability of any
       Settling State to seek or obtain revision of this Agreement based on, any Non-Settling
       State agreement with any Settling Distributor that is entered into with: (a) a Non-Settling
       State after a date sixty (60) calendar days prior to the scheduled start date of a trial
       between any Settling Distributor and the Non-Settling State or any severed or bifurcated
       portion thereof, provided that, where, in order to complete a settlement, a Non-Settling
       State and a Settling Distributor jointly request an adjournment of the scheduled start date
       of a trial within sixty (60) days of that date, this exception will apply as if the trial date
       had not been adjourned; (b) a Non-Settling State that previously litigated to judgment a
       case related to opioids against any manufacturer, distributor, or pharmacy; or (c) a Non-
       Settling State that has obtained any court order or judicial determination that grants
       judgment (in whole or in part) against any Settling Distributor. For avoidance of doubt,
       the National Arbitration Panel shall have no power to review agreements described in this
       paragraph.

               5.      This Section XIV.E does not apply to, and there is no ability of any
       Settling State to seek or obtain revision of this Agreement based on, any agreement
       between a Settling Distributor and (a) federally-recognized tribe(s) or (b) West Virginia
       subdivisions or (c) Non-Participating Subdivisions. This Section XIV.E will not apply to
       any agreement entered into more than eighteen (18) months after the Reference Date.

       F.     Tax Cooperation and Reporting.

               1.      Upon request by any Settling Distributor, the Settling States and
       Participating Subdivisions agree to perform such further acts and to execute and deliver
       such further documents as may be reasonably necessary for the Settling Distributors to
       establish the statements set forth in Section V.F to the satisfaction of their tax advisors,
       their independent financial auditors, the Internal Revenue Service, or any other
       governmental authority, including as contemplated by Treasury Regulations
       Section 1.162-21(b)(3)(ii) and any subsequently proposed or finalized relevant
       regulations or administrative guidance.


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               2.      Without limiting the generality of Section XIV.F.1, each Settling State and
       Participating Subdivision shall cooperate in good faith with any Settling Distributor with
       respect to any tax claim, dispute, investigation, audit, examination, contest, litigation, or
       other proceeding relating to this Agreement.

                3.     The Designated State, as defined in Section I.P as New York, on behalf of
       all Settling States and Participating Subdivisions, shall designate one of its officers or
       employees to act as the “appropriate official” within the meaning of Treasury Regulations
       Section 1.6050X-1(f)(1)(ii)(B) (the “Appropriate Official”). The Designated State shall
       direct and ensure that the Appropriate Official timely (a) files (i) at the time this
       Agreement becomes binding on the Parties, an IRS Form 1098-F in the form attached as
       Exhibit U, Exhibit V, and Exhibit W with respect to each of the Settling Distributors and
       (ii) any legally required returns or amended returns with any applicable governmental
       authority, or any returns requested by the respective Settling Distributors, and (b)
       provides to each of the Settling Distributors a copy of (i) the IRS Form 1098-F filed with
       respect to such Settling Distributor and (ii) any legally required written statement
       pursuant to any applicable law and any other document referred to in clause (a)(ii) above.
       Any such form, return, or statement shall be prepared and filed in a manner fully
       consistent with Section V.F.

               4.      The Settling States and Participating Subdivisions agree that any return,
       amended return, or written statement filed or provided pursuant to paragraph 3, and any
       similar document, shall be prepared and filed in a manner consistent with reporting each
       Settling Distributor’s portion of the Global Settlement Amount as the “Total amount to
       be paid” pursuant to this Agreement in Box 1 of IRS Form 1098-F and each Settling
       Distributor’s portion of the Compensatory Restitution Amount as
       “Restitution/remediation amount” in Box 2 of IRS Form 1098-F, as reflected in the
       attached Exhibit U, Exhibit V, and Exhibit W. If the Designated State or Appropriate
       Official shall be required to file any return, amended return, or written statement
       contemplated by this Section XIV.F other than an IRS Form 1098-F in the form attached
       as Exhibit U, Exhibit V, and Exhibit W, the Designated State shall direct and ensure that
       the Appropriate Official provides to each Settling Distributor a draft of such return,
       amended return, or written statement in respect of such Settling Distributor no later than
       sixty (60) calendar days prior to the due date thereof and shall accept and reflect any
       reasonable comments of such Settling Distributor on the return, amended return, or
       written statement in respect of such Settling Distributor.

               5.      For the avoidance of doubt, neither the Settling Distributors nor the
       Settling States and Participating Subdivisions make any warranty or representation to any
       Settling State, Participating Subdivision, or Releasor as to the tax consequences of the
       payment of the Compensatory Restitution Amount (or any portion thereof).

        G.       No Third-Party Beneficiaries. Except as expressly provided in this Agreement,
no portion of this Agreement shall provide any rights to, or be enforceable by, any person or
entity that is not a Settling State or Released Entity. No Settling State may assign or otherwise
convey any right to enforce any provision of this Agreement.



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        H.     Calculation. Any figure or percentage referred to in this Agreement shall be
carried to seven decimal places.

         I.     Construction. None of the Parties and no Participating Subdivision shall be
considered to be the drafter of this Agreement or of any of its provisions for the purpose of any
statute, case law, or rule of interpretation or construction that would or might cause any
provision to be construed against the drafter of this Agreement. The headings of the provisions
of this Agreement are not binding and are for reference only and do not limit, expand, or
otherwise affect the contents or meaning of this Agreement.

        J.      Cooperation. Each Party and each Participating Subdivision agrees to use its best
efforts and to cooperate with the other Parties and Participating Subdivisions to cause this
Agreement and the Consent Judgments to become effective, to obtain all necessary approvals,
consents and authorizations, if any, and to execute all documents and to take such other action as
may be appropriate in connection herewith. Consistent with the foregoing, each Party and each
Participating Subdivision agrees that it will not directly or indirectly assist or encourage any
challenge to this Agreement or any Consent Judgment by any other person, and will support the
integrity and enforcement of the terms of this Agreement and the Consent Judgments.

        K.     Entire Agreement. This Agreement, including its exhibits and any other
attachments, embodies the entire agreement and understanding between and among the Parties
and Participating Subdivisions relating to the subject matter hereof and supersedes (1) all prior
agreements and understandings relating to such subject matter, whether written or oral and (2) all
purportedly contemporaneous oral agreements and understandings relating to such subject
matter.

        L.      Execution. This Agreement may be executed in counterparts and by different
signatories on separate counterparts, each of which shall be deemed an original, but all of which
shall together be one and the same Agreement. One or more counterparts of this Agreement may
be delivered by facsimile or electronic transmission with the intent that it or they shall constitute
an original counterpart hereof. One or more counterparts of this Agreement may be signed by
electronic signature.

        M.     Good Faith and Voluntary Entry. Each Party warrants and represents that it
negotiated the terms of this Agreement in good faith. Each of the Parties and Participating
Subdivisions warrants and represents that it freely and voluntarily entered into this Agreement
without any degree of duress or compulsion. The Parties and Participating Subdivisions state
that no promise of any kind or nature whatsoever (other than the written terms of this
Agreement) was made to them to induce them to enter into this Agreement.

        N.      Legal Obligations. Nothing in this Agreement shall be construed as relieving any
Settling Distributor of the obligation to comply with all state and federal laws, regulations or
rules, nor shall any of the provisions herein be deemed to be permission to engage in any acts or
practices prohibited by such laws, regulations, or rules. Except with respect to the Injunctive
Relief Terms, in the event of a conflict between this Agreement and any requirement or
requirements of federal, state, or local laws, such that a Settling Distributor cannot comply with
this Agreement without violating such a requirement or requirements, the Settling Distributor


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shall document such conflicts and notify the Attorney(s) General of the relevant Settling State(s)
that it intends to comply with the requirement or requirements to the extent necessary to
eliminate the conflict. With respect to the Injunctive Relief Terms, in the event of such a
conflict, the procedures set forth in Section III.X of the Injunctive Relief Terms will be followed.

        O.       No Prevailing Party. The Parties and Participating Subdivisions each agree that
they are not the prevailing party in this action, for purposes of any claim for fees, costs, or
expenses as prevailing parties arising under common law or under the terms of any statute,
because the Parties and Participating Subdivisions have reached a good faith settlement. The
Parties and Participating Subdivisions each further waive any right to challenge or contest the
validity of this Agreement on any ground, including, without limitation, that any term is
unconstitutional or is preempted by, or in conflict with, any current or future law. Nothing in the
previous sentence shall modify, or be construed to conflict with, Section XIV.M.

        P.     Non-Admissibility. The settlement negotiations resulting in this Agreement have
been undertaken by the Parties and by certain representatives of the Participating Subdivisions in
good faith and for settlement purposes only, and no evidence of negotiations or discussions
underlying this Agreement shall be offered or received in evidence in any action or proceeding
for any purpose. This Agreement shall not be offered or received in evidence in any action or
proceeding for any purpose other than in an action or proceeding arising under or relating to this
Agreement.

        Q.      Notices. All notices or other communications under this Agreement shall be in
writing (including, but not limited to, electronic communications) and shall be given to the
recipients indicated below:

       For the Attorney(s) General:

               Ashley Moody,
               Attorney General
               State of Florida
               The Capitol,
               PL-01
               Tallahassee, FL 32399

               Josh Stein, Attorney General
               North Carolina Department of Justice
               Attn: Daniel Mosteller
               PO Box 629
               Raleigh, NC 27602
               Dmosteller@ncdoj.gov


       For the Plaintiffs’ Executive Committee:

               Paul T. Farrell, Jr., Esq.
               Farrell & Fuller, LLC


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              paul@farrellfuller.com

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              Simmons Hanly Conroy LLC
              112 Madison Avenue, 7th Floor
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              28 Bridgeside Blvd.
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              pmougey@levinlaw.com

              Paul J. Geller
              Robbins Feller Rudman & Dowd LLP
              120 East Palmetto Park Road
              Boca Raton, FL 33432
              PGeller@rgrdlaw.com


       For Settling Distributors:

              Copy to AmerisourceBergen Corporation’s attorneys at:
              Attn: Michael T. Reynolds
              Cravath, Swaine & Moore
              825 Eighth Avenue
              New York, NY 10019
              mreynolds@cravath.com


              Copy to Cardinal Health, Inc.’s attorneys at:
              Attn: Jeffrey M. Wintner, Esq.
              Attn: Elaine P. Golin, Esq.
              Attn: JB Kelly, Esq.
              Wachtell, Lipton, Rosen & Katz
              51 West 52nd Street
              New York, NY 10019
              JMWintner@wlrk.com


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               EPGolin@wlrk.com
               JBKelly@wlrk.com


               Copy to McKesson Corporation’s attorneys at:
               Attn: Thomas J. Perrelli
               Jenner & Block LLP
               1099 New York Ave., NW, Suite 900
               Washington, D.C. 20001
               tperrelli@jenner.com

Any Party or the Plaintiffs’ Executive Committee may change or add the contact information of
the persons designated to receive notice on its behalf by notice given (effective upon the giving
of such notice) as provided in this Section XIV.P.

       R.      No Waiver. The waiver of any rights conferred hereunder shall be effective only
if made by written instrument executed by the waiving Party or Parties. The waiver by any Party
of any breach of this Agreement shall not be deemed to be or construed as a waiver of any other
breach, whether prior, subsequent, or contemporaneous, nor shall such waiver be deemed to be
or construed as a waiver by any other Party.

       S.       Preservation of Privilege. Nothing contained in this Agreement or any Consent
Judgment, and no act required to be performed pursuant to this Agreement or any Consent
Judgment, is intended to constitute, cause, or effect any waiver (in whole or in part) of any
attorney-client privilege, work product protection, or common interest/joint defense privilege,
and each Party and Participating Subdivision agrees that it shall not make or cause to be made in
any forum any assertion to the contrary.

       T.      Successors.

               1.      This Agreement shall be binding upon, and inure to the benefit of, the
       Settling Distributors and their respective successors and assigns.

               2.      A Settling Distributor shall not, in one (1) transaction or a series of related
       transactions, sell or transfer U.S. assets having a fair market value equal to twenty-five
       percent (25%) or more of the consolidated assets of such Settling Distributor (other than
       sales or transfers of inventories, or sales or transfers to an entity owned directly or
       indirectly by such Settling Distributor) where the sale or transfer is announced after the
       Reference Date, is not for fair consideration, and would foreseeably and unreasonably
       jeopardize such Settling Distributor’s ability to make the payments under this Agreement
       that are due on or before the third Payment Date following the close of a sale or transfer
       transaction, unless the Settling Distributor obtains the acquiror’s agreement that it will be
       either a guarantor of or successor to the percentage of that Settling Distributor’s
       remaining Payment Obligations under this Agreement equal to the percentage of the
       Settling Distributor’s consolidated assets being sold or transferred in such
       transaction. Percentages under this section shall be determined in accordance with
       United States generally accepted accounting principles and as of the date of the Settling



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       Distributor’s most recent publicly filed consolidated balance sheet prior to the date of
       entry into the sale or transfer agreement at issue. This Section XIV.T shall be
       enforceable solely by the Enforcement Committee, and any objection under this Section
       XIV.T not raised within twenty (20) calendar days of the announcement of the relevant
       transaction is waived. Any dispute under this Section XIV.T shall be a National Dispute
       as described in Section VI.F.2 and must be raised exclusively with the National
       Arbitration Panel as described therein within twenty (20) calendar days of the
       announcement, and the sole remedy shall be an order enjoining the transaction.

               3.      A Settling Distributor shall not, in one (1) transaction or a series of related
       transactions, sell or transfer (other than sales or transfers to an entity owned directly or
       indirectly by such Settling Distributor) more than twenty-five percent (25%) of the
       distribution centers within its Full-Line Wholesale Pharmaceutical Distribution Business
       (as that term is defined in the Injunctive Relief Terms) where the sale or transfer is
       announced after the Reference Date, unless the Settling Distributor obtains the acquiror’s
       agreement that it will be bound by the Injunctive Relief Terms.

        U.      Modification, Amendment, Alteration. After the Reference Date, any
modification, amendment, or alteration of this Agreement by the Parties shall be binding only if
evidenced in writing signed by the Settling Distributor to which the modification, amendment, or
alteration applies, if the change applies to less than all Settling Distributors, along with the
signatures of at least thirty-seven of those then serving Attorneys General of the Settling States
along with a representation from each Attorney General that either: (1) the advisory committee
or similar entity established or recognized by that Settling State (either pursuant to Section
V.E.2.d, by a State-Subdivision Agreement, or by statute) voted in favor of the modification,
amendment or alteration of this Agreement including at least one member appointed by the
Participating Subdivisions listed on Exhibit G; or (2) in States without any advisory committee,
that 50.1% (by population) of the Participating Subdivisions listed on Exhibit G expressed
approval of the modification, amendment, or alteration of this Agreement in a writing.

       V.      Termination.

               1.      Unless otherwise agreed to by each of the Settling Distributors and the
       Settling State in question, this Agreement and all of its terms (except Section XIV.P and
       any other non-admissibility provisions, which shall continue in full force and effect) shall
       be canceled and terminated with respect to the Settling State, and the Agreement and all
       orders issued by the courts in the Settling State pursuant to the Agreement shall become
       null and void and of no effect if one or more of the following conditions applies:

                       a.      a Consent Judgment approving this Agreement without
               modification of any of the Agreement’s terms has not been entered as to the
               Settling State by a court of competent jurisdiction on or before one hundred
               eighty (180) calendar days after the Effective Date;

                      b.      this Agreement or the Consent Judgment as to that Settling State
               has been disapproved by a court of competent jurisdiction to which it was
               presented for approval and/or entry (or, in the event of an appeal from or review


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               of a decision of such a court to approve this Agreement and the Consent
               Judgment, by the court hearing such appeal or conducting such review), and the
               time to appeal from such disapproval has expired, or, in the event of an appeal
               from such disapproval, the appeal has been dismissed or the disapproval has been
               affirmed by the court of last resort to which such appeal has been taken and such
               dismissal or disapproval has become no longer subject to further appeal
               (including, without limitation, review by the United States Supreme Court); or

             2.      If this Agreement is terminated with respect to a Settling State for
       whatever reason pursuant to Section XIV.V.1, then:

                        a.     an applicable statute of limitation or any similar time requirement
               (excluding any statute of repose) shall be tolled from the date the Settling State
               signed this Agreement until the later of the time permitted by applicable law or
               for one year from the date of such termination, with the effect that the Settling
               Distributors and the Settling State in question shall be in the same position with
               respect to the statute of limitation as they were at the time the Settling State filed
               its action; and

                       b.      the Settling Distributors and the Settling State in question shall
               jointly move the relevant court of competent jurisdiction for an order reinstating
               the actions and claims dismissed pursuant to the terms of this Agreement
               governing dismissal, with the effect that the Settling Distributors and the Settling
               State in question shall be in the same position with respect to those actions and
               claims as they were at the time the action or claim was stayed or dismissed.

               3.       Unless each of the Settling Distributors and the Enforcement Committee
       agrees otherwise, this Agreement, with the exception of the Injunctive Relief Terms that
       have their own provisions on duration, shall terminate as to all Parties as of the Payment
       Date for Payment Year 18, provided that all Settling Distributors that as of that date are
       not Bankrupt Settling Distributors have performed their Payment obligations under the
       Agreement as of that date. If fewer than all Settling Distributors that as of that date are
       not Bankrupt Settling Distributors have performed their Payment obligations under the
       Agreement as of that date, then the Agreement shall terminate as of that date as to any
       Settling Distributor that has performed its Payment obligations under the Agreement and
       the Agreement (a) shall terminate as to each of the remaining Settling Distributors that as
       of that date is not a Bankrupt Settling Distributor at such time as each performs its
       Payment obligations under the Agreement and (b) shall terminate as to all Parties at such
       time as all Settling Distributors that are not Bankrupt Settling Distributors have
       performed their Payment obligations under the Agreement. Notwithstanding any other
       provision in this Section XIV.V.3 or in this Agreement, all releases under this Agreement
       will remain effective despite any termination under this Section XIV.V.3.

        W.      Governing Law. Except (1) as otherwise provided in this Agreement or (2) as
necessary, in the sole judgment of the National Arbitration Panel, to promote uniformity of
interpretation for matters within the scope of the National Arbitration Panel’s authority, this
Agreement shall be governed by and interpreted in accordance with the respective laws of the


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Settling State, without regard to the conflict of law rules of such Settling State, that is seeking to
enforce the Agreement against Settling Distributor(s) or against which Settling Distributor(s) are
seeking enforcement. Notwithstanding any other provision in this subsection on governing law,
any disputes relating to the Settlement Fund Escrow shall be governed by and interpreted in
accordance with the law of the state where the escrow agent has its primary place of business.

        X.      Bankruptcy. The following provisions shall apply if a Settling Distributor enters
Bankruptcy (a Settling Distributor which does so and takes the actions, or is otherwise subjected
to the actions, referred to in (i) and/or (ii) herein being referred to as a “Bankrupt Settling
Distributor”) and (i) the Bankrupt Settling Distributor’s bankruptcy estate recovers, pursuant to
11 U.S.C. § 550, any payments made under this Agreement, or (ii) this Agreement is deemed
executory and is rejected by such Settling Distributor pursuant to 11 U.S.C. § 365:

               1.      In the event that both a number of Settling States equal to at least seventy-
       five percent (75%) of the total number of Settling States and Settling States having
       aggregate Overall Allocation Percentages as set forth on Exhibit F equal to at least
       seventy-five percent (75%) of the total aggregate Overall Allocation Percentages
       assigned to all Settling States deem (by written notice to the Settling Distributors other
       than the Bankrupt Settling Distributor) that the financial obligations of this Agreement
       have been terminated and rendered null and void as to such Bankrupt Settling Distributor
       (except as provided in Section XIV.X.1.a) due to a material breach by such Bankrupt
       Settling Distributor, whereupon, with respect to all Settling States:

                       a.      all agreements, all concessions, all reductions of Releasing Parties'
               Claims, and all releases and covenants not to sue, contained in this Agreement
               shall immediately and automatically be deemed null and void as to such
               Bankrupt Settling Distributor; the Settling States shall be deemed immediately
               and automatically restored to the same position they were in immediately prior to
               their entry into this Settlement Agreement in respect to such Bankrupt Settling
               Distributor and the Settling States shall have the right to assert any and all claims
               against such Bankrupt Settling Distributor in the Bankruptcy or otherwise, subject
               to any automatic stay, without regard to any limits or agreements as to the amount
               of the settlement otherwise provided in this Agreement; provided, however, that
               notwithstanding the foregoing sentence, (i) all reductions of Releasing Parties'
               Claims, and all releases and covenants not to sue, contained in this Agreement
               shall remain in full force and effect as to all persons or entities other than the
               Bankrupt Settling Distributor itself; and (ii) in the event a Settling State asserts
               any Released Claim against a Bankrupt Settling Distributor after the rejection
               and/or termination of this Agreement with respect to such Settling Distributor as
               described in this Section XIV.X.1.a and receives a judgment, settlement or
               distribution arising from such Released Claim, then the amount of any payments
               such Settling State has previously received from such Bankrupt Settling
               Distributor under this Agreement shall be applied to reduce the amount of any
               such judgment, settlement or distribution (provided that no credit shall be given
               against any such judgment, settlement or distribution for any payment that such
               Settling State is required to disgorge or repay to the Bankrupt Settling
               Distributor’s bankruptcy estate); and


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                     b.     the Settling States may exercise all rights provided under the
             federal Bankruptcy Code (or other applicable bankruptcy or non-bankruptcy law)
             with respect to their Claims against such Bankrupt Settling Distributor subject to
             all defenses and rights of the Bankrupt Settling Distributor.




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                                          EXHIBIT A

                                        Alleged Harms

The following export reports that were filed in connection with the case captioned In re National
Prescription Opiate Litigation, No. 1-17-md-02804 (S.D. Ohio):

   1. Expert report of Professor David Cutler, dated March 25, 2019.
   2. Expert report of Dr. Jeffrey B. Liebman, dated March 25, 2019.
   3. Expert report of Professor Thomas McGuire regarding damages to Bellwethers, dated
      March 25, 2019.
   4. Report of Professor Thomas McGuire regarding public nuisance, dated March 25, 2019.




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                                          EXHIBIT B

                       Enforcement Committee Organizational Bylaws

                                          ARTICLE I

These bylaws constitute the code of rules adopted by the Settling States and Participating
Subdivisions for the creation of an Enforcement Committee (the “Committee”) to exist and operate
during the term of the Agreement with the Settling Distributors and shall control the regulation
and management of the Committee’s affairs.

                                          ARTICLE II
                                           Purpose

The Committee is organized for the sole purpose of evaluating and taking such action as deemed
reasonable, necessary, and appropriate by the members of the Committee on the matters
delegated to the Committee under that certain Settlement Agreement between the Settling States
and the Settling Distributors dated July 21, 2021.

                                      ARTICLE III
                                  Members of the Committee

(1)    Number of Members
       The Committee will consist of seventeen (17) members (the “Members”). Upon majority
       resolution of the Committee, the number of Members may be increased or decreased from
       time to time, but in no event shall a decrease have the effect of decreasing the total number
       of Members to less than seven Members.

(2)    Initial Members
       The Committee initially will consist of eleven Settling State Members and six Participating
       Subdivision Members, three of the Participating Subdivisions shall be counties and three
       shall be municipalities. The initial Settling State Members are representatives from:
       Connecticut, Delaware, Florida, Georgia, Massachusetts, New York, North Carolina, Ohio,
       Pennsylvania, Tennessee, and Texas. The initial Participating Subdivision Members are:
       (a) Bexar County, Texas; (b) Broward County, Florida; (c) Chicago, Illinois; (d)
       Cincinnati, Ohio; (e) Nashville, Tennessee; and (f) Nassau County, New York. Until the
       Reference Date contained in the Settlement Agreement, the Participating Subdivisions may
       designate their outside counsel to serve as their representative. After the Reference Date,
       an employee or official of the Participating Subdivision must be the designated as the
       representative of the Participating Subdivision.

(3)    Term of Members
       The term of office for Members of the Committee will be until the end of the term of the
       Settlement Agreement, eighteen (18) years, unless and until a Member withdraws or
       resigns from the Committee.




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(4)    Resignation
       Any Member may resign at any time by delivering written notice to the Chairperson of the
       Committee. Such resignation shall take effect upon receipt or, if later, at the time specified
       in the notice.

(5)    Removal

       (a) Any Member may be removed without cause, at any time, by a majority of the entire
       Committee, at a Regular or Special Meeting called for that purpose. Any Member under
       consideration of removal must first be notified about the consideration by written notice at
       least five days prior to the meeting at which the vote takes place.

       (b) In the event that any Member is not a Settling State or a Participating Subdivision or
       the Member subsequently becomes a Later Litigating Subdivision or otherwise does not
       support the Agreement, the Member shall be removed immediately without notice or vote
       of the Committee.

(6)    Vacancies
       In the event of a vacancy, the Members of the same type (Settling State or Participating
       Subdivision) shall select another Settling State or Participating Subdivision to fill that
       Member’s position.

(7)    Compensation
       Members shall not receive any salaries or other compensation for their services, but, by
       resolution of the Committee, may be reimbursed for any actual expenses incurred in the
       performance of their duties for the Committee, as long as a majority of disinterested
       Members approve the reimbursement. Any reimbursement shall be sought from the
       Settlement Fund Administrator.

                                          ARTICLE IV
                            Conflicts of Interest and Code of Ethics

If a Member, agent, or employee of the Committee has a conflict of interest, he or she may not
participate in a vote, discussion, or decision about the matter. Each Member shall follow any
applicable state or local law with respect to conflicts, gifts, and ethics.

                                         ARTICLE V
                                      Committee Meetings

(1)    Place of Meetings
       Meetings of the Committee will be held at any place that the Chairperson may designate,
       including by telephonic or electronic means.

(2)    Regular Meetings
       Regular meetings of the Committee shall be held as deemed necessary by the by the
       Chairperson or any three members.



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(3)    Notice of Meetings
       Written notice of the date, time, place and subject of each meeting must be provided to the
       Members at least 72 hours before the scheduled time of the meeting, except when there is
       an emergency or urgent public necessity.

(4)    Quorum
       A majority of the incumbent Members (not counting vacancies) shall constitute a quorum
       for the purposes of convening a meeting or conducting business.

(5)    Voting and Proxy
       When it is necessary to vote on any matter before the Committee, Members may vote by
       electronic means as provided in these Bylaws. Proxy voting is permitted. In order for a
       matter to pass, the matter must have a majority vote of Members present and must have at
       least one vote from a Settling State Member and a Participating Subdivision Member. In
       the event that there is a Quorum, but no Settling State or Participating Subdivision Member
       is present, then a matter may pass with a simple majority vote.

(6)    Minutes
       The Committee shall prepare and keep minutes. The minutes must state the subject of each
       deliberation and indicate each vote, order, decision, or other action taken.

                                          ARTICLE VI
                                            Officers

(1)    Roster of Officers
       The Committee shall have a Chairperson, a Vice Chairperson, and a Secretary. The
       Committee may have at its discretion, such other officers as may be appointed by the
       Members of the Committee. One person may hold two or more offices, except those
       serving as Chairperson.

(2)    Election and Removal of Officers
       All officers shall serve two-year terms. The election shall be conducted at the first meeting
       of the fiscal year. Officers shall remain in office until their successors have been selected.
       Officers may serve consecutive terms without limit. The election of officers shall be by
       majority vote of the Members of the Committee attending the meeting.

(3)    Vacancies
       If a vacancy occurs during the term of office for any elected officer, the Members of the
       Committee shall elect a new officer to fill the remainder of the term as soon as practical,
       by majority vote of Members present.

(4)    Chairperson
       The Chairperson will supervise and control the affairs of the Committee and shall exercise
       such supervisory powers as may be given him/her by the Members of the Committee. The
       Chairperson will perform all duties incident to such office and such other duties as may be



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       provided in these bylaws or as may be prescribed from time to time by the Committee. The
       Chairperson shall preside at all meetings and shall exercise parliamentary control in
       accordance with Robert’s Rules of Order.


(5)    Vice Chairperson
       The Vice Chairperson shall act in place of the Chairperson in the event of the Chairperson’s
       absence, inability, or refusal to act, and shall exercise and discharge such other duties as
       may be required by the Committee. The Vice Chairperson shall serve as the
       parliamentarian and interpret any ambiguities of the bylaws.

(6)    Secretary
       The Secretary will keep and maintain all records related to the Committee and take minutes
       of all meetings.

(7)    Records
       All elected officers and committee chairpersons shall relinquish their records to the
       Chairperson immediately upon the completion of their term of office or completion of their
       term of office or completion of a project.

(8)    Resignation
       An officer may resign the office while not resigning membership from the Committee, by
       submitting a letter to the Chairperson. Vacancies occurring in any office shall be appointed
       for the remainder of the term.

                                         ARTICLE VII
                                            Duties

(1)    Prior to the Reference Date
       The Committee shall be responsible for any additional negotiations with the Settling
       Distributors, including, but not limited to, negotiating extensions of any periods created by
       the Settlement Agreement.

(2)    After the Enforcement Date
       The Committee shall establish procedures for the receipt of notices that a dispute exists
       concerning the Agreement and review of such disputes, pursuant to Section VI of the
       Agreement. Members may engage with Settling Distributors, Settling States, and
       Participating Subdivisions attempting to resolve any dispute without further action by the
       Committee. The Committee may request additional information from Settling Distributors,
       Settling States, and Participating Subdivisions to the extent the Committee believes such
       information is necessary to understand, resolve, or provide advice related to a dispute. The
       Committee shall endeavor to provide advice relative to the dispute no later than 60 days
       after receipt of notice.




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                                      ARTICLE VIII
                                     Rules of Procedure

The proceedings and business of the Committee shall be governed by Robert's Rules of Order
unless otherwise waived by the Committee.

                                        ARTICLE IX
                                         Operations

(1)    Records
       The Committee will keep correct and complete records and will also keep minutes of the
       proceedings of the Committee meetings and Committees. The Committee will keep at its
       principal place of business at a place designated by the Chairperson.

       All elected officers and committee chairpersons shall relinquish their records to the
       Chairperson, immediately upon the completion of their term of office.

(2)    Inspection of Books and Records
       The minutes of a meeting are public records and shall be available for public inspection
       and copying on request to the Committee’s Chairperson or the Chairperson's designee.

(3)    Amendments
       The bylaws may be amended at any time by a vote of a majority of Members present and
       must have at least one vote from a Settling State Member and a Participating Subdivision
       Member. In the event that there is a Quorum, but no Settling State or Participating
       Subdivision Member is present, then a matter may pass with a simple majority vote.




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                                                  EXHIBIT C

                                       Litigating Subdivisions List 12


1.     Apache (AZ), County of, Arizona                        41.     Bald Knob (AR), City of, Arkansas
2.     Bullhead City (AZ), City of, Arizona                   42.     Banks (AR), City of, Arkansas
3.     Cochise (AZ), County of, Arizona                       43.     Barling (AR), City of, Arkansas
4.     Glendale (AZ), City of, Arizona                        44.     Bassett (AR), City of, Arkansas
5.     Kingman (AZ), City of, Arizona                         45.     Batesville (AR), City of, Arkansas
6.     La Paz (AZ), County of, Arizona                        46.     Bauxite (AR), City of, Arkansas
7.     Maricopa (AZ), County of, Arizona                      47.     Baxter (AR), County of, Arkansas
8.     Mohave (AZ), County of, Arizona                        48.     Bay (AR), City of, Arkansas
9.     Navajo (AZ), County of, Arizona                        49.     Bearden (AR), City of, Arkansas
10.    Phoenix (AZ), City of, Arizona                         50.     Beaver (AR), City of, Arkansas
11.    Pima (AZ), County of, Arizona                          51.     Beebe (AR), City of, Arkansas
12.    Pinal (AZ), County of, Arizona                         52.     Beedeville (AR), City of, Arkansas
13.    Prescott (AZ), City of, Arizona                        53.     Bella Vista (AR), City of, Arkansas
14.    Surprise (AZ), City of, Arizona                        54.     Bellefonte (AR), City of, Arkansas
15.    Tucson (AZ), The City of, Arizona                      55.     Belleville (AR), City of, Arkansas
16.    Yuma (AZ), County of, Arizona                          56.     Ben Lomond (AR), City of, Arkansas
17.    Adona (AR), City of, Arkansas                          57.     Benton (AR), City of, Arkansas
18.    Alexander (AR), City of, Arkansas                      58.     Benton (AR), County of, Arkansas
19.    Alicia (AR), City of, Arkansas                         59.     Bentonville (AR), City of, Arkansas
20.    Allport (AR), City of, Arkansas                        60.     Bergman (AR), City of, Arkansas
21.    Alma (AR), City of, Arkansas                           61.     Berryville (AR), City of, Arkansas
22.    Almyra (AR), City of, Arkansas                         62.     Bethel Heights (AR), City of, Arkansas
23.    Alpena (AR), City of, Arkansas                         63.     Big Flat (AR), City of, Arkansas
24.    Altheimer (AR), City of, Arkansas                      64.     Bigelow (AR), City of, Arkansas
25.    Altus (AR), City of, Arkansas                          65.     Biggers (AR), City of, Arkansas
26.    Amagon (AR), City of, Arkansas                         66.     Birdsong (AR), City of, Arkansas
27.    Amity (AR), City of, Arkansas                          67.     Biscoe (AR), City of, Arkansas
28.    Anthonyvile (AR), City of, Arkansas                    68.     Black Oak (AR), City of, Arkansas
29.    Antoine (AR), City of, Arkansas                        69.     Black Rock (AR), City of, Arkansas
30.    Arkadelphia (AR), City of, Arkansas                    70.     Black Springs (AR), City of, Arkansas
31.    Arkansas (AR), County of, Arkansas                     71.     Blevins (AR), City of, Arkansas
32.    Arkansas City (AR), City of, Arkansas                  72.     Blue Eye (AR), City of, Arkansas
33.    Ash Flat (AR), City of, Arkansas                       73.     Blue Mountain (AR), City of, Arkansas
34.    Ashdown (AR), City of, Arkansas                        74.     Bluff City (AR), City of, Arkansas
35.    Ashley (AR), County of, Arkansas                       75.     Blytheville (AR), City of, Arkansas
36.    Atkins (AR), City of, Arkansas                         76.     Bodcaw (AR), City of, Arkansas
37.    Aubrey (AR), City of, Arkansas                         77.     Bonanza (AR), City of, Arkansas
38.    Augusta (AR), City of, Arkansas                        78.     Bono (AR), City of, Arkansas
39.    Austin (AR), City of, Arkansas                         79.     Boone (AR), County of, Arkansas
40.    Avoca (AR), City of, Arkansas                          80.     Booneville (AR), City of, Arkansas

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  For purposes of calculating the percentage of Litigating Subdivisions pursuant to Section IV.F.2.b and Exhibit H,
an individual Litigating Subdivision shall not be included more than once in the numerator, and shall not be included
more than once in the denominator, of the calculation regardless if it (or any of its officials) is named as multiple
plaintiffs in the same lawsuit; provided, however, that for the avoidance of doubt, no Litigating Subdivision will be
excluded from the numerator or denominator under this sentence unless a Litigating Subdivision otherwise counted
in the denominator has the authority to release the Claims (consistent with Section XI) of the Litigating Subdivision
to be excluded.


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81.    Bradford (AR), City of, Arkansas                 134.   Cotter (AR), City of, Arkansas
82.    Bradley (AR), City of, Arkansas                  135.   Cotton Plant (AR), City of, Arkansas
83.    Bradley (AR), County of, Arkansas                136.   Cove (AR), City of, Arkansas
84.    Branch (AR), City of, Arkansas                   137.   Coy (AR), City of, Arkansas
85.    Briarcliff (AR), City of, Arkansas               138.   Craighead (AR), County of, Arkansas
86.    Brinkley (AR), City of, Arkansas                 139.   Crawford (AR), County of, Arkansas
87.    Brookland (AR), City of, Arkansas                140.   Crawfordsville (AR), City of, Arkansas
88.    Bryant (AR), City of, Arkansas                   141.   Crittenden (AR), County of, Arkansas
89.    Buckner (AR), City of, Arkansas                  142.   Cross (AR), County of, Arkansas
90.    Bull Shoals (AR), City of, Arkansas              143.   Crossett (AR), City of, Arkansas
91.    Burdette (AR), City of, Arkansas                 144.   Cushman (AR), City of, Arkansas
92.    Cabot (AR), City of, Arkansas                    145.   Daisy (AR), City of, Arkansas
93.    Caddo Valley (AR), City of, Arkansas             146.   Dallas (AR), County of, Arkansas
94.    Caldwell (AR), City of, Arkansas                 147.   Damascus (AR), City of, Arkansas
95.    Cale (AR), City of, Arkansas                     148.   Danville (AR), City of, Arkansas
96.    Calhoun (AR), County of, Arkansas                149.   Dardanelle (AR), City of, Arkansas
97.    Calico Rock (AR), City of, Arkansas              150.   Datto (AR), City of, Arkansas
98.    Calion (AR), City of, Arkansas                   151.   De Queen (AR), City of, Arkansas
99.    Camden (AR), City of, Arkansas                   152.   Decatur (AR), City of, Arkansas
100.   Cammack Village (AR), City of, Arkansas          153.   Delaplaine (AR), City of, Arkansas
101.   Campbell Station (AR), City of, Arkansas         154.   Delight (AR), City of, Arkansas
102.   Caraway (AR), City of, Arkansas                  155.   Dell (AR), City of, Arkansas
103.   Carlisle (AR), City of, Arkansas                 156.   Denning (AR), City of, Arkansas
104.   Carroll (AR), County of, Arkansas                157.   Dermott (AR), City of, Arkansas
105.   Carthage (AR), City of, Arkansas                 158.   Des Arc (AR), City of, Arkansas
106.   Casa (AR), City of, Arkansas                     159.   Desha (AR), County of, Arkansas
107.   Cash (AR), City of, Arkansas                     160.   Devalls Bluff (AR), City of, Arkansas
108.   Caulksville (AR), City of, Arkansas              161.   Dewitt (AR), City of, Arkansas
109.   Cave City (AR), City of, Arkansas                162.   Diamond City (AR), City of, Arkansas
110.   Cave Springs (AR), City of, Arkansas             163.   Diaz (AR), City of, Arkansas
111.   Cedarville (AR), City of, Arkansas               164.   Dierks (AR), City of, Arkansas
112.   Centerton (AR), City of, Arkansas                165.   Donaldson (AR), City of, Arkansas
113.   Central City (AR), City of, Arkansas             166.   Dover (AR), City of, Arkansas
114.   Charleston (AR), City of, Arkansas               167.   Drew (AR), County of, Arkansas
115.   Cherokee Village (AR), City of, Arkansas         168.   Dumas (AR), City of, Arkansas
116.   Cherry Valley (AR), City of, Arkansas            169.   Dyer (AR), City of, Arkansas
117.   Chester (AR), City of, Arkansas                  170.   Dyess (AR), City of, Arkansas
118.   Chicot (AR), County of, Arkansas                 171.   Earle (AR), City of, Arkansas
119.   Chidester (AR), City of, Arkansas                172.   East Camden (AR), City of, Arkansas
120.   Clarendon (AR), City of, Arkansas                173.   Edmondson (AR), City of, Arkansas
121.   Clark (AR), County of, Arkansas                  174.   Egypt (AR), City of, Arkansas
122.   Clarksville (AR), City of, Arkansas              175.   El Dorado (AR), City of, Arkansas
123.   Clay (AR), County of, Arkansas                   176.   Elaine (AR), City of, Arkansas
124.   Cleburne (AR), County of, Arkansas               177.   Elkins (AR), City of, Arkansas
125.   Cleveland (AR), County of, Arkansas              178.   Elm Springs (AR), City of, Arkansas
126.   Clinton (AR), City of, Arkansas                  179.   Emerson (AR), City of, Arkansas
127.   Coal Hill (AR), City of, Arkansas                180.   Emmet (AR), City of, Arkansas
128.   Colt (AR), City of, Arkansas                     181.   England (AR), City of, Arkansas
129.   Columbia (AR), County of, Arkansas               182.   Enola (AR), City of, Arkansas
130.   Concord (AR), City of, Arkansas                  183.   Etowah (AR), City of, Arkansas
131.   Conway (AR), City of, Arkansas                   184.   Eudora (AR), City of, Arkansas
132.   Conway (AR), County of, Arkansas                 185.   Eureka Springs (AR), City of, Arkansas
133.   Corning (AR), City of, Arkansas                  186.   Evening Shade (AR), City of, Arkansas



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187.   Everton (AR), City of, Arkansas               240.   Gum Springs (AR), City of, Arkansas
188.   Fairfield Bay (AR), City of, Arkansas         241.   Gurdon (AR), City of, Arkansas
189.   Fargo (AR), City of, Arkansas                 242.   Guy (AR), City of, Arkansas
190.   Farmington (AR), City of, Arkansas            243.   Hackett (AR), City of, Arkansas
191.   Faulkner (AR), County of, Arkansas            244.   Hamburg (AR), City of, Arkansas
192.   Fayetteville (AR), City of, Arkansas          245.   Hampton (AR), City of, Arkansas
193.   Felsenthal (AR), City of, Arkansas            246.   Hardy (AR), City of, Arkansas
194.   Fifty-Six (AR), City of, Arkansas             247.   Harrell (AR), City of, Arkansas
195.   Fisher (AR), City of, Arkansas                248.   Harrisburg (AR), City of, Arkansas
196.   Flippin (AR), City of, Arkansas               249.   Harrison (AR), City of, Arkansas
197.   Fordyce (AR), City of, Arkansas               250.   Hartford (AR), City of, Arkansas
198.   Foreman (AR), City of, Arkansas               251.   Hartman (AR), City of, Arkansas
199.   Forrest City (AR), City of, Arkansas          252.   Haskell (AR), City of, Arkansas
200.   Fort Smith (AR), City of, Arkansas            253.   Hatfield (AR), City of, Arkansas
201.   Fouke (AR), City of, Arkansas                 254.   Havana (AR), City of, Arkansas
202.   Fountain Hill (AR), City of, Arkansas         255.   Haynes (AR), City of, Arkansas
203.   Fountain Lake (AR), City of, Arkansas         256.   Hazen (AR), City of, Arkansas
204.   Fourche (AR), City of, Arkansas               257.   Heber Springs (AR), City of, Arkansas
205.   Franklin (AR), City of, Arkansas              258.   Hector (AR), City of, Arkansas
206.   Franklin (AR), County of, Arkansas            259.   Helena - West Helena (AR), City of,
207.   Friendship (AR), City of, Arkansas                   Arkansas
208.   Fulton (AR), City of, Arkansas                260.   Hempstead (AR), County of, Arkansas
209.   Fulton (AR), County of, Arkansas              261.   Hermitage (AR), City of, Arkansas
210.   Garfield (AR), City of, Arkansas              262.   Hickory Ridge (AR), City of, Arkansas
211.   Garland (AR), City of, Arkansas               263.   Higden (AR), City of, Arkansas
212.   Garland (AR), County of, Arkansas             264.   Higginson (AR), City of, Arkansas
213.   Garner (AR), City of, Arkansas                265.   Highfill (AR), City of, Arkansas
214.   Gassville (AR), City of, Arkansas             266.   Highland (AR), City of, Arkansas
215.   Gateway (AR), City of, Arkansas               267.   Hindsville (AR), City of, Arkansas
216.   Gentry (AR), City of, Arkansas                268.   Holland (AR), City of, Arkansas
217.   Georgetown (AR), City of, Arkansas            269.   Holly Grove (AR), City of, Arkansas
218.   Gilbert (AR), City of, Arkansas               270.   Hope (AR), City of, Arkansas
219.   Gillett (AR), City of, Arkansas               271.   Horatio (AR), City of, Arkansas
220.   Gillham (AR), City of, Arkansas               272.   Horseshoe Bend (AR), City of, Arkansas
221.   Gilmore (AR), City of, Arkansas               273.   Horseshoe Lake (AR), City of, Arkansas
222.   Glenwood (AR), City of, Arkansas              274.   Hot Spring (AR), County of, Arkansas
223.   Goshen (AR), City of, Arkansas                275.   Hot Springs (AR), City of, Arkansas
224.   Gosnell (AR), City of, Arkansas               276.   Houston (AR), City of, Arkansas
225.   Gould (AR), City of, Arkansas                 277.   Howard (AR), County of, Arkansas
226.   Grady (AR), City of, Arkansas                 278.   Hoxie (AR), City of, Arkansas
227.   Grannis (AR), City of, Arkansas               279.   Hughes (AR), City of, Arkansas
228.   Grant (AR), County of, Arkansas               280.   Humnoke (AR), City of, Arkansas
229.   Gravette (AR), City of, Arkansas              281.   Humphrey (AR), City of, Arkansas
230.   Green Forest (AR), City of, Arkansas          282.   Hunter (AR), City of, Arkansas
231.   Greenbrier (AR), City of, Arkansas            283.   Huntington (AR), City of, Arkansas
232.   Greene (AR), County of, Arkansas              284.   Huntsville (AR), City of, Arkansas
233.   Greenland (AR), City of, Arkansas             285.   Huttig (AR), City of, Arkansas
234.   Greenway (AR), City of, Arkansas              286.   Imboden (AR), City of, Arkansas
235.   Greenwood (AR), City of, Arkansas             287.   Independence (AR), County of, Arkansas
236.   Greers Ferry (AR), City of, Arkansas          288.   Izard (AR), County of, Arkansas
237.   Griffithville (AR), City of, Arkansas         289.   Jackson (AR), County of, Arkansas
238.   Grubbs (AR), City of, Arkansas                290.   Jacksonport (AR), City of, Arkansas
239.   Guion (AR), City of, Arkansas                 291.   Jacksonville (AR), City of, Arkansas



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 292.   Jasper (AR), City of, Arkansas                 345.   Madison (AR), County of, Arkansas
 293.   Jefferson (AR), County of, Arkansas            346.   Magazine (AR), City of, Arkansas
 294.   Jennette (AR), City of, Arkansas               347.   Magness (AR), City of, Arkansas
 295.   Jericho (AR), City of, Arkansas                348.   Magnolia (AR), City of, Arkansas
 296.   Jerome (AR), City of, Arkansas                 349.   Malvern (AR), City of, Arkansas
 297.   Johnson (AR), City of, Arkansas                350.   Mammoth Spring (AR), City of, Arkansas
 298.   Johnson (AR), County of, Arkansas              351.   Manila (AR), City of, Arkansas
 299.   Joiner (AR), City of, Arkansas                 352.   Mansfield (AR), City of, Arkansas
 300.   Jonesboro (AR), City of, Arkansas              353.   Marianna (AR), City of, Arkansas
 301.   Judsonia (AR), City of, Arkansas               354.   Marie (AR), City of, Arkansas
 302.   Junction City (AR), City of, Arkansas          355.   Marion (AR), City of, Arkansas
 303.   Keiser (AR), City of, Arkansas                 356.   Marion (AR), County of, Arkansas
 304.   Kensett (AR), City of, Arkansas                357.   Marked Tree (AR), City of, Arkansas
 305.   Keo (AR), City of, Arkansas                    358.   Marmaduke (AR), City of, Arkansas
 306.   Kibler (AR), City of, Arkansas                 359.   Marshall (AR), City of, Arkansas
 307.   Kingsland (AR), City of, Arkansas              360.   Marvell (AR), City of, Arkansas
 308.   Knobel (AR), City of, Arkansas                 361.   Maumelle (AR), City of, Arkansas
 309.   Knoxville (AR), City of, Arkansas              362.   Mayflower (AR), City of, Arkansas
 310.   La Grange (AR), City of, Arkansas              363.   Maynard (AR), City of, Arkansas
 311.   Lafayette (AR), County of, Arkansas            364.   McCaskill (AR), City of, Arkansas
 312.   Lafe (AR), City of, Arkansas                   365.   McRae (AR), City of, Arkansas
 313.   Lake City (AR), City of, Arkansas              366.   McCrory (AR), City of, Arkansas
 314.   Lake View (AR), City of, Arkansas              367.   McDougal (AR), City of, Arkansas
 315.   Lake Village (AR), City of, Arkansas           368.   McGehee (AR), City of, Arkansas
 316.   Lakeview (AR), City of, Arkansas               369.   McNab (AR), City of, Arkansas
 317.   Lamar (AR), City of, Arkansas                  370.   McNeil (AR), City of, Arkansas
 318.   Lavaca (AR), City of, Arkansas                 371.   Melbourne (AR), City of, Arkansas
 319.   Lawrence (AR), County of, Arkansas             372.   Mena (AR), City of, Arkansas
 320.   Leachville (AR), City of, Arkansas             373.   Menifee (AR), City of, Arkansas
 321.   Lead Hill (AR), City of, Arkansas              374.   Midland (AR), City of, Arkansas
 322.   Lee (AR), County of, Arkansas                  375.   Miller (AR), County of, Arkansas
 323.   Leola (AR), City of, Arkansas                  376.   Mineral Springs (AR), City of, Arkansas
 324.   Lepanto (AR), City of, Arkansas                377.   Minturn (AR), City of, Arkansas
 325.   Leslie (AR), City of, Arkansas                 378.   Mississippi (AR), County of, Arkansas
 326.   Letona (AR), City of, Arkansas                 379.   Mitchellville (AR), City of, Arkansas
 327.   Lewisville (AR), City of, Arkansas             380.   Monette (AR), City of, Arkansas
 328.   Lexa (AR), City of, Arkansas                   381.   Monroe (AR), County of, Arkansas
 329.   Lincoln (AR), City of, Arkansas                382.   Montgomery (AR), County of, Arkansas
 330.   Lincoln (AR), County of, Arkansas              383.   Monticello (AR), City of, Arkansas
 331.   Little Flock (AR), City of, Arkansas           384.   Montrose (AR), City of, Arkansas
 332.   Little River (AR), County of, Arkansas         385.   Moorefield (AR), City of, Arkansas
 333.   Little Rock (AR), City of, Arkansas            386.   Moro (AR), City of, Arkansas
 334.   Lockesburg (AR), City of, Arkansas             387.   Morrilton (AR), City of, Arkansas
 335.   Logan (AR), County of, Arkansas                388.   Morrison Bluff (AR), City of, Arkansas
 336.   London (AR), City of, Arkansas                 389.   Mount Ida (AR), City of, Arkansas
 337.   Lonoke (AR), City of, Arkansas                 390.   Mount Pleasant (AR), City of, Arkansas
 338.   Lonoke (AR), County of, Arkansas               391.   Mount Vernon (AR), City of, Arkansas
 339.   Lonsdale (AR), City of, Arkansas               392.   Mountain Home (AR), City of, Arkansas
 340.   Louann (AR), City of, Arkansas                 393.   Mountain Pine (AR), City of, Arkansas
 341.   Lowell (AR), City of, Arkansas                 394.   Mountain View (AR), City of, Arkansas
 342.   Luxora (AR), City of, Arkansas                 395.   Mountainburg (AR), City of, Arkansas
 343.   Lynn (AR), City of, Arkansas                   396.   Mulberry (AR), City of, Arkansas
 344.   Madison (AR), City of, Arkansas                397.   Murfreesboro (AR), City of, Arkansas



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 398.   Nashville (AR), City of, Arkansas                 450.   Polk (AR), County of, Arkansas
 399.   Nevada (AR), County of, Arkansas                  451.   Pollard (AR), City of, Arkansas
 400.   Newark (AR), City of, Arkansas                    452.   Pope (AR), County of, Arkansas
 401.   Newport (AR), City of, Arkansas                   453.   Portia (AR), City of, Arkansas
 402.   Newton (AR), County of, Arkansas                  454.   Portland (AR), City of, Arkansas
 403.   Nimmons (AR), City of, Arkansas                   455.   Pottsville (AR), City of, Arkansas
 404.   Norfork (AR), City of, Arkansas                   456.   Powhatan (AR), City of, Arkansas
 405.   Norman (AR), City of, Arkansas                    457.   Poyen (AR), City of, Arkansas
 406.   Norphlet (AR), City of, Arkansas                  458.   Prairie (AR), County of, Arkansas
 407.   North Little Rock (AR), City of, Arkansas         459.   Prairie Grove (AR), City of, Arkansas
 408.   Oak Grove (AR), City of, Arkansas                 460.   Prattsville (AR), City of, Arkansas
 409.   Oak Grove Heights (AR), City of,                  461.   Prescott (AR), City of, Arkansas
        Arkansas                                          462.   Pulaski (AR), County of, Arkansas
 410.   Oakhaven (AR), City of, Arkansas                  463.   Pyatt (AR), City of, Arkansas
 411.   Oden (AR), City of, Arkansas                      464.   Quitman (AR), City of, Arkansas
 412.   Ogden (AR), City of, Arkansas                     465.   Randolph (AR), County of, Arkansas
 413.   Oil Trough (AR), City of, Arkansas                466.   Ratcliff (AR), City of, Arkansas
 414.   O'Kean (AR), City of, Arkansas                    467.   Ravenden (AR), City of, Arkansas
 415.   Okolona (AR), City of, Arkansas                   468.   Ravenden Springs (AR), City of, Arkansas
 416.   Ola (AR), City of, Arkansas                       469.   Rector (AR), City of, Arkansas
 417.   Omaha (AR), City of, Arkansas                     470.   Redfield (AR), City of, Arkansas
 418.   Oppelo (AR), City of, Arkansas                    471.   Reed (AR), City of, Arkansas
 419.   Osceola (AR), City of, Arkansas                   472.   Reyno (AR), City of, Arkansas
 420.   Ouachita (AR), County of, Arkansas                473.   Rison (AR), City of, Arkansas
 421.   Oxford (AR), City of, Arkansas                    474.   Rockport (AR), City of, Arkansas
 422.   Ozan (AR), City of, Arkansas                      475.   Roe (AR), City of, Arkansas
 423.   Ozark (AR), City of, Arkansas                     476.   Rogers (AR), City of, Arkansas
 424.   Palestine (AR), City of, Arkansas                 477.   Rondo (AR), City of, Arkansas
 425.   Pangburn (AR), City of, Arkansas                  478.   Rose Bud (AR), City of, Arkansas
 426.   Paragould (AR), City of, Arkansas                 479.   Rosston (AR), City of, Arkansas
 427.   Paris (AR), City of, Arkansas                     480.   Rudy (AR), City of, Arkansas
 428.   Parkdale (AR), City of, Arkansas                  481.   Russell (AR), City of, Arkansas
 429.   Parkin (AR), City of, Arkansas                    482.   Russellville (AR), City of, Arkansas
 430.   Patmos (AR), City of, Arkansas                    483.   Salem (AR), City of, Arkansas
 431.   Patterson (AR), City of, Arkansas                 484.   Salesville (AR), City of, Arkansas
 432.   Pea Ridge (AR), City of, Arkansas                 485.   Saline (AR), County of, Arkansas
 433.   Peach Orchard (AR), City of, Arkansas             486.   Scott (AR), County of, Arkansas
 434.   Perla (AR), City of, Arkansas                     487.   Scranton (AR), City of, Arkansas
 435.   Perry (AR), City of, Arkansas                     488.   Searcy (AR), City of, Arkansas
 436.   Perry (AR), County of, Arkansas                   489.   Searcy (AR), County of, Arkansas
 437.   Perrytown (AR), City of, Arkansas                 490.   Sebastian (AR), County of, Arkansas
 438.   Perryville (AR), City of, Arkansas                491.   Sedgwick (AR), City of, Arkansas
 439.   Phillips (AR), County of, Arkansas                492.   Sevier (AR), County of, Arkansas
 440.   Piggott (AR), City of, Arkansas                   493.   Shannon Hills (AR), City of, Arkansas
 441.   Pike (AR), County of, Arkansas                    494.   Sharp (AR), County of, Arkansas
 442.   Pindall (AR), City of, Arkansas                   495.   Sheridan (AR), City of, Arkansas
 443.   Pine Bluff (AR), City of, Arkansas                496.   Sherrill (AR), City of, Arkansas
 444.   Pineville (AR), City of, Arkansas                 497.   Sherwood (AR), City of, Arkansas
 445.   Plainview (AR), City of, Arkansas                 498.   Shirley (AR), City of, Arkansas
 446.   Pleasant Plains (AR), City of, Arkansas           499.   Sidney (AR), City of, Arkansas
 447.   Plumerville (AR), City of, Arkansas               500.   Siloam Springs (AR), City of, Arkansas
 448.   Pocahontas (AR), City of, Arkansas                501.   Smackover (AR), City of, Arkansas
 449.   Poinsett (AR), County of, Arkansas                502.   Smithville (AR), City of, Arkansas



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                                                 EXHIBITS C AND G AS OF 4.29.22


 503.   South Lead Hill (AR), City of, Arkansas         556.   Warren (AR), City of, Arkansas
 504.   Sparkman (AR), City of, Arkansas                557.   Washington (AR), City of, Arkansas
 505.   Springdale (AR), City of, Arkansas              558.   Washington (AR), County of, Arkansas
 506.   Springtown (AR), City of, Arkansas              559.   Watson (AR), City of, Arkansas
 507.   St. Charles (AR), City of, Arkansas             560.   Weiner (AR), City of, Arkansas
 508.   St. Francis (AR), City of, Arkansas             561.   Weldon (AR), City of, Arkansas
 509.   St. Francis (AR), County of, Arkansas           562.   West Fork (AR), City of, Arkansas
 510.   St. Joe (AR), City of, Arkansas                 563.   West Memphis (AR), City of, Arkansas
 511.   St. Paul (AR), City of, Arkansas                564.   West Point (AR), City of, Arkansas
 512.   Stamps (AR), City of, Arkansas                  565.   Western Grove (AR), City of, Arkansas
 513.   Star City (AR), City of, Arkansas               566.   Wheatley (AR), City of, Arkansas
 514.   Stephens (AR), City of, Arkansas                567.   Whelen Springs (AR), City of, Arkansas
 515.   Stone (AR), County of, Arkansas                 568.   White (AR), County of, Arkansas
 516.   Strawberry (AR), City of, Arkansas              569.   White Hall (AR), City of, Arkansas
 517.   Strong (AR), City of, Arkansas                  570.   Wickes (AR), City of, Arkansas
 518.   Stuttgart (AR), City of, Arkansas               571.   Widener (AR), City of, Arkansas
 519.   Subiaco (AR), City of, Arkansas                 572.   Wiederkehr Village (AR), City of,
 520.   Success (AR), City of, Arkansas                        Arkansas
 521.   Sulphur Rock (AR), City of, Arkansas            573.   Williford (AR), City of, Arkansas
 522.   Sulphur Springs (AR), City of, Arkansas         574.   Willisville (AR), City of, Arkansas
 523.   Summit (AR), City of, Arkansas                  575.   Wilmar (AR), City of, Arkansas
 524.   Sunset (AR), City of, Arkansas                  576.   Wilmot (AR), City of, Arkansas
 525.   Swifton (AR), City of, Arkansas                 577.   Wilson (AR), City of, Arkansas
 526.   Taylor (AR), City of, Arkansas                  578.   Wilton (AR), City of, Arkansas
 527.   Texarkana (AR), City of, Arkansas               579.   Winchester (AR), City of, Arkansas
 528.   Thornton (AR), City of, Arkansas                580.   Winslow (AR), City of, Arkansas
 529.   Tillar (AR), City of, Arkansas                  581.   Winthrop (AR), City of, Arkansas
 530.   Tinsman (AR), City of, Arkansas                 582.   Woodruff (AR), County of, Arkansas
 531.   Tollette (AR), City of, Arkansas                583.   Wooster (AR), City of, Arkansas
 532.   Tontitown (AR), City of, Arkansas               584.   Wrightsville (AR), City of, Arkansas
 533.   Traskwood (AR), City of, Arkansas               585.   Wynne (AR), City of, Arkansas
 534.   Trumann (AR), City of, Arkansas                 586.   Yell (AR), County of, Arkansas
 535.   Tuckerman (AR), City of, Arkansas               587.   Yellville (AR), City of, Arkansas
 536.   Tull (AR), City of, Arkansas                    588.   Zinc (AR), City of, Arkansas
 537.   Tupelo (AR), City of, Arkansas                  589.   Alameda (CA), County of, California
 538.   Turrell (AR), City of, Arkansas                 590.   Amador (CA), County of, California
 539.   Twin Groves (AR), City of, Arkansas             591.   Anaheim (CA), City of, California
 540.   Tyronza (AR), City of, Arkansas                 592.   Butte (CA), County of, California
 541.   Ulm (AR), City of, Arkansas                     593.   Calaveras (CA), County of, California
 542.   Union (AR), County of, Arkansas                 594.   Chico (CA), City of, California
 543.   Valley Springs (AR), City of, Arkansas          595.   Chula Vista (CA), City of, California
 544.   Van Buren (AR), City of, Arkansas               596.   Clearlake (CA), City of, California
 545.   Van Buren (AR), County of, Arkansas             597.   Contra Costa (CA), County of, California
 546.   Vandervoort (AR), City of, Arkansas             598.   Costa Mesa (CA), City of, California
 547.   Victoria (AR), City of, Arkansas                599.   Del Norte (CA), County of, California
 548.   Vilonia (AR), City of, Arkansas                 600.   Downey Unified School District (CA),
 549.   Viola (AR), City of, Arkansas                          California
 550.   Wabbaseka (AR), City of, Arkansas               601.   Dublin (CA), City of, California
 551.   Waldenburg (AR), City of, Arkansas              602.   El Dorado (CA), County of, California
 552.   Waldo (AR), City of, Arkansas                   603.   El Monte (CA), City of, California
 553.   Waldron (AR), City of, Arkansas                 604.   Elk Grove Unified School District (CA),
 554.   Walnut Ridge (AR), City of, Arkansas                   California
 555.   Ward (AR), City of, Arkansas                    605.   Encinitas (CA), City of, California



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 606.   Eureka (CA), City of, California                   653.   San Jose (CA), City of, California
 607.   Fresno (CA), County of, California                 654.   San Luis Obispo (CA), County of,
 608.   Fullerton (CA), City of, California                       California
 609.   Glenn (CA), County of, California                  655.   San Mateo (CA), County of, California
 610.   Health Plan of San Joaquin (CA),                   656.   Santa Ana (CA), City of, California
        California                                         657.   Santa Barbara (CA), County of, California
 611.   Humboldt (CA), County of, California               658.   Santa Barbara San Luis Obispo Regional
 612.   Huntington Beach (CA), City of, California                Heath Authority, d/b/a Central Hospital
 613.   Imperial (CA), County of, California                      (CA), California
 614.   Inland Empire Health Plan (CA), California         659.   Santa Cruz (CA), County of, California
 615.   Inyo (CA), County of, California                   660.   Shasta (CA), County of, California
 616.   Irvine (CA), City of, California                   661.   Siskiyou (CA), County of, California
 617.   Kern (CA), County of, California                   662.   Sonoma (CA), County of, California
 618.   Kern High School District (CA), California         663.   Stockton (CA), City of, California
 619.   La Habra (CA), City of, California                 664.   Sutter (CA), County of, California
 620.   La Mesa (CA), City of, California                  665.   Tehama (CA), County of, California
 621.   Laguna Beach (CA), City of, California             666.   Trinity (CA), County of, California
 622.   Lakeport (CA), City of, California                 667.   Tulare (CA), County of, California
 623.   Lassen (CA), County of, California                 668.   Tuolumne (CA), County of, California
 624.   Los Angeles (CA), City of, California              669.   Ventura (CA), County of, California
 625.   Los Angeles County o/a L.A. Care Health            670.   Ventura County Medi-Cal Managed Care
        Plan (CA), Local Initiative Health                        Commission d/b/a Gold Coast Health Plan
        Authority                                                 (CA), California
 626.   Madera (CA), County of, California                 671.   Westminster (CA), City of, California
 627.   Marin (CA), County of, California                  672.   Yolo (CA), County of, California
 628.   Mariposa (CA), County of, California               673.   Yuba (CA), County of, California
 629.   Mendocino (CA), County of, California              674.   Adams (CO), County of (Board of
 630.   Merced (CA), County of, California                        Commissioners), Colorado
 631.   Modoc (CA), County of, California                  675.   Alamosa (CO), City of, Colorado
 632.   Mono (CA), County of, California                   676.   Alamosa (CO), County of, Colorado
 633.   Monterey (CA), County of, California               677.   Arapahoe (CO), County of (Board of
 634.   Montezuma (CA), Fire Protection District,                 Commissioners), Colorado
        California                                         678.   Aurora (CO), City of, Colorado
 635.   Murrieta (CA), City of, California                 679.   Black Hawk (CO), City of, Colorado
 636.   Napa (CA), County of, California                   680.   Boulder (CO), County of (Board of
 637.   Nevada (CA), County of, California                        Commissioners), Colorado
 638.   Oxnard (CA), City of, California                   681.   Brighton (CO), City of, Colorado
 639.   Placentia (CA), City of, California                682.   Broomfield (CO), City of, Colorado
 640.   Placer (CA), County of, California                 683.   Chaffee (CO), County of, Colorado
 641.   Pleasant Valley (CA), School District              684.   Commerce City (CO), City of, Colorado
        Board of Education, California                     685.   Conejos (CO), County of, Colorado
 642.   Plumas (CA), County of, California                 686.   Crowley (CO), County of, Colorado
 643.   Riverside (CA), County of, California              687.   Denver (CO), City of, Colorado
 644.   Sacramento (CA), City of, California               688.   Federal Heights (CO), City of, Colorado
 645.   Sacramento (CA), County of, California             689.   Fremont (CO), County of (Board of
 646.   San Benito (CA), County of, California                    Commissioners), Colorado
 647.   San Bernardino (CA), County of,                    690.   Greeley (CO), City of, Colorado
        California                                         691.   Hudson (CO), City of, Colorado
 648.   San Clemente (CA), City of, California             692.   Huerfano (CO), County of, Colorado
 649.   San Diego (CA), City of, California                693.   Jefferson (CO), County of (Board of
 650.   San Diego (CA), County of, California                     Commissioners), Colorado
 651.   San Francisco (CA), City of, California            694.   Lakewood (CO), City of, Colorado
 652.   San Joaquin (CA), County of, California



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 695.   Larimer (CO), County of (Board of                743.   Torrington (CT), City of, Connecticut
        Commissioners), Colorado                         744.   Wallingford (CT), Town of, Connecticut
 696.   Las Animas (CO), County of, Colorado             745.   Waterbury (CT), City of, Connecticut
 697.   Mesa (CO), County of (Board of                   746.   West Haven (CT), City of, Connecticut
        Commissioners), Colorado                         747.   Wethersfield (CT), Town of, Connecticut
 698.   Mesa County Valley School District 51            748.   Windham (CT), Town of, Connecticut
        (CO), Colorado                                   749.   Wolcott (CT), Town of, Connecticut
 699.   Northglenn (CO), City of, Colorado               750.   Woodbury (CT), Town of, Connecticut
 700.   Otero (CO), County of, Colorado                  751.   Dover (DE), City of, Delaware
 701.   Pueblo (CO), County of, Colorado                 752.   Kent (DE), County of, Delaware
 702.   Sheridan (CO), City of, Colorado                 753.   Seaford (DE), City of, Delaware
 703.   Teller (CO), County of (Board of                 754.   Sussex (DE), County of, Delaware
        Commissioners), Colorado                         755.   Alachua (FL), County of, Florida
 704.   Thornton (CO), City of, Colorado                 756.   Apopka (FL), City of, Florida
 705.   Tri-County Health Department (CO),               757.   Bay (FL), County of, Florida
        Colorado                                         758.   Bradenton (FL), City of, Florida
 706.   Westminster (CO), City of, Colorado              759.   Bradford (FL), County of, Florida
 707.   Wheat Ridge (CO), City of, Colorado              760.   Brevard (FL), County of, Florida
 708.   Ansonia (CT), City of, Connecticut               761.   Broward (FL), County of, Florida
 709.   Beacon Falls (CT), Town of, Connecticut          762.   Calhoun (FL), County of, Florida
 710.   Berlin (CT), Town of, Connecticut                763.   Clay (FL), County of, Florida
 711.   Bethlehem (CT), Town of, Connecticut             764.   Clearwater (FL), City of, Florida
 712.   Bridgeport (CT), City of, Connecticut            765.   Coconut Creek (FL), City of, Florida
 713.   Bristol (CT), City of, Connecticut               766.   Coral Gables (FL), City of, Florida
 714.   Coventry (CT), Town of, Connecticut              767.   Coral Springs (FL), City of, Florida
 715.   Danbury (CT), City of, Connecticut               768.   Daytona Beach (FL), City of, Florida
 716.   Derby (CT), City of, Connecticut                 769.   Daytona Beach Shores (FL), City of,
 717.   East Hartford (CT), Town of, Connecticut                Florida
 718.   Enfield (CT), Town of, Connecticut               770.   Deerfield Beach (FL), City of, Florida
 719.   Fairfield (CT), Town of, Connecticut             771.   Delray Beach (FL), City of, Florida
 720.   Middlebury (CT), Town of, Connecticut            772.   Deltona (FL), City of, Florida
 721.   Middletown (CT), City of, Connecticut            773.   Dixie (FL), County of, Florida
 722.   Milford (CT), City of, Connecticut               774.   Eatonville (FL), Town of, Florida
 723.   Monroe (CT), Town of, Connecticut                775.   Escambia (FL), County of, Florida
 724.   Naugatuck (CT), Borough of, Connecticut          776.   Florida City (FL), City of, Florida
 725.   New Britain (CT), City of, Connecticut           777.   Fort Lauderdale (FL), City of, Florida
 726.   New Haven (CT), City of, Connecticut             778.   Fort Pierce (FL), City of, Florida
 727.   New London (CT), City of, Connecticut            779.   Gilchrist (FL), County of, Florida
 728.   New Milford (CT), Town of, Connecticut           780.   Gulf (FL), County of, Florida
 729.   Newtown (CT), Town of, Connecticut               781.   Halifax Hospital Medical Center (FL),
 730.   North Haven (CT), Town of, Connecticut                  Florida
 731.   Norwalk (CT), City of, Connecticut               782.   Hallandale Beach (FL), City of, Florida
 732.   Norwich (CT), City of, Connecticut               783.   Hamilton (FL), County of, Florida
 733.   Oxford (CT), Town of, Connecticut                784.   Hernando (FL), County of, Florida
 734.   Prospect (CT), Town of, Connecticut              785.   Hillsborough (FL), County of, Florida
 735.   Roxbury (CT), Town of, Connecticut               786.   Holmes (FL), County of, Florida
 736.   Seymour (CT), Town of, Connecticut               787.   Homestead (FL), City of, Florida
 737.   Shelton (CT), City of, Connecticut               788.   Jackson (FL), County of, Florida
 738.   Southbury (CT), Town of, Connecticut             789.   Jacksonville (FL), City of, Florida
 739.   Southington (CT), Town of, Connecticut           790.   Lake (FL), County of, Florida
 740.   Stratford (CT), Town of, Connecticut             791.   Lauderhill (FL), City of, Florida
 741.   Thomaston (CT), Town of, Connecticut             792.   Lee (FL), County of, Florida
 742.   Tolland (CT), Town of, Connecticut



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 793.   Lee Memorial Health System, d/b/a Lee            840.   St. Petersburg (FL), City of, Florida
        Health (FL), Florida                             841.   Stuart (FL), City of, Florida
 794.   Leon (FL), County of, Florida                    842.   Suwannee (FL), County of, Florida
 795.   Levy (FL), County of, Florida                    843.   Sweetwater (FL), City of, Florida
 796.   Lynn Haven (FL), City of, Florida                844.   Tallahassee (FL), City of, Florida
 797.   Manatee (FL), County of, Florida                 845.   Tampa (FL), City of, Florida
 798.   Marion (FL), County of, Florida                  846.   Taylor (FL), County of, Florida
 799.   Miami (FL), City of, Florida                     847.   Union (FL), County of, Florida
 800.   Miami Gardens (FL), City of, Florida             848.   Volusia (FL), County of, Florida
 801.   Miami-Dade (FL), County of, Florida              849.   Walton (FL), County of, Florida
 802.   Miami-Dade (FL), School Board of,                850.   Washington (FL), County of, Florida
        Florida                                          851.   West Volusia Hospital Authority (FL),
 803.   Miramar (FL), City of, Florida                          Florida
 804.   Monroe (FL), County of (County                   852.   Adel (GA), City of, Georgia
        Commission), Florida                             853.   Advantage Behavioral Health Systems
 805.   New Port Richey (FL), City of, Florida                  (GA), Georgia
 806.   Niceville, City of (FL), Florida                 854.   Albany (GA), City of, Georgia
 807.   North Broward Hospital District (FL),            855.   Albany Area Community Service Board
        Florida                                                 d/b/a Aspire Behavioral Health &
 808.   North Miami (FL), City of, Florida                      Developmental Disability Services (GA),
 809.   Ocala (FL), City of, Florida                            Georgia
 810.   Ocoee (FL), City of, Florida                     856.   Alma (GA), City of, Georgia
 811.   Okaloosa (FL), County of, Florida                857.   Appling (GA), County of, Georgia
 812.   Orange (FL), County of, Florida                  858.   Appling (GA), County of (County Sheriff
 813.   Orlando (FL), City of, Florida                          Mark Melton), Georgia
 814.   Ormond Beach (FL), City of, Florida              859.   Arlington (GA), City of, Georgia
 815.   Osceola (FL), County of, Florida                 860.   Ashburn (GA), City of, Georgia
 816.   Oviedo (FL), City of, Florida                    861.   Athens-Clarke County (GA), The Unified
 817.   Palatka (FL), City of, Florida                          Government of, Georgia
 818.   Palm Bay (FL), City of, Florida                  862.   Atkinson (GA), County of, Georgia
 819.   Palm Beach (FL), County of, Florida              863.   Atlanta (GA), City of, Georgia
 820.   Palmetto (FL), City of, Florida                  864.   Augusta (GA), City of; Augusta (GA),
 821.   Panama City (FL), City of, Florida                      County of, Georgia
 822.   Pasco (FL), County of, Florida                   865.   Bacon (GA), County of, Georgia
 823.   Pembroke Pines (FL), City of, Florida            866.   Bacon County Hospital Foundation, Inc.
 824.   Pensacola (FL), City of, Florida                        (GA), Georgia
 825.   Pinellas (FL), County of, Florida                867.   Bainbridge (GA), City of, Georgia
 826.   Pinellas Park (FL), City of, Florida             868.   Baldwin (GA), County of (Sheriff William
 827.   Polk (FL), County of, Florida                           C. Massee, Jr.), Georgia
 828.   Pompano Beach (FL), City of, Florida             869.   Banks (GA), County of, Georgia
 829.   Port St. Lucie (FL), City of, Florida            870.   Bartow (GA), County of, Georgia
 830.   Putnam (FL), County of, Florida                  871.   Ben Hill (GA), County of, Georgia
 831.   Sanford (FL), City of, Florida                   872.   Berrien (GA), County of, Georgia
 832.   Santa Rosa (FL), County of, Florida              873.   Bibb (GA), County of (Sheriff David J.
 833.   Sarasota (FL), City of, Florida                         Davis), Georgia
 834.   Sarasota (FL), County of, Florida                874.   Bibb County School District (GA), Georgia
 835.   Sarasota County Public Hospital District         875.   Blackshear (GA), City of, Georgia
        d/b/a Memorial Healthcare System, Inc.           876.   Blakely (GA), City of, Georgia
        (FL), Florida                                    877.   Brantley (GA), County of, Georgia
 836.   Seminole (FL), County of, Florida                878.   Brooks (GA), County of, Georgia
 837.   St. Augustine (FL), City of, Florida             879.   Brunswick (GA), City of, Georgia
 838.   St. Johns (FL), County of, Florida               880.   Bulloch (GA), County of, Georgia
 839.   St. Lucie (FL), County of, Florida               881.   Burke (GA), County of, Georgia



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 882.   Butts (GA), County of, Georgia                     923.   Doraville (GA), City of, Georgia
 883.   Calhoun (GA), City of, Georgia                     924.   Dougherty (GA), County of, Georgia
 884.   Camden (GA), County of, Georgia                    925.   Douglas (GA), County of, Georgia
 885.   Candler (GA), County of, Georgia                   926.   Dunwoody (GA), City of, Georgia
 886.   Candler County (GA), Hospital Authority,           927.   Early (GA), County of, Georgia
        Georgia                                            928.   Echols (GA), County of, Georgia
 887.   Carroll (GA), County of, Georgia                   929.   Effingham (GA), County of, Georgia
 888.   Cartersville (GA), City of, Georgia                930.   Elbert (GA), County of, Georgia
 889.   Catoosa (GA), County of, Georgia                   931.   Emanuel (GA), County of, Georgia
 890.   Charlton (GA), County of, Georgia                  932.   Evans (GA), County of, Georgia
 891.   Chatham (GA), County of, Georgia                   933.   Evans Memorial Hospital, Inc. (GA),
 892.   Chatham County Hospital Authority (GA),                   Georgia
        Georgia                                            934.   Fannin (GA), County of, Georgia
 893.   Chatsworth (GA), City of, Georgia                  935.   Fayette (GA), County of, Georgia
 894.   Chattooga (GA), County of, Georgia                 936.   Fitzgerald (GA), City of, Georgia
 895.   Cherokee (GA), County of, Georgia                  937.   Floyd (GA), County of, Georgia
 896.   Clay (GA), County of, Georgia                      938.   Forsyth (GA), County of, Georgia
 897.   Clayton (GA), County of, Georgia                   939.   Fulton (GA), County of, Georgia
 898.   Clayton Community MH/SA/DS Service                 940.   Gainesville (GA), City of, Georgia
        Board (GA), Georgia                                941.   Gateway Community Service Board (GA),
 899.   Clinch (GA), County of, Georgia                           Georgia
 900.   Clinch County (GA) Hospital Authority,             942.   Georgia Mountains Community Services
        Georgia                                                   d/b/a Avita Community Partners (GA),
 901.   Cobb (GA) County of, Georgia                              Georgia
 902.   Cobb County Community Service Board                943.   Georgia Pines Community Service Board
        (GA), Georgia                                             (GA), Georgia
 903.   Coffee (GA), County of (Sheriff Doyle T.           944.   Glascock (GA), County of, Georgia
        Wooten), Georgia                                   945.   Glynn (GA), County of, Georgia
 904.   Colquitt (GA), County of, Georgia                  946.   Glynn (GA), County of (Sheriff E. Neal
 905.   Columbia (GA), County of, Georgia                         Jump), Georgia
 906.   Columbus (GA), City of, Georgia                    947.   Gordon (GA), County of, Georgia
 907.   Community Mental Health Center of East             948.   Grady (GA), County of, Georgia
        Central Georgia d/b/a Serenity Behavioral          949.   Greene (GA), County of, Georgia
        Health Systems (GA), Georgia                       950.   Gwinnett (GA), County of, Georgia
 908.   Community Service Board of Middle                  951.   Habersham (GA), County of, Georgia
        Georgia (GA), Georgia                              952.   Habersham County Medical Center (GA),
 909.   Cook (GA), County of, Georgia                             Georgia
 910.   Crawford (GA), County of (Sheriff Lewis            953.   Hall (GA), County of, Georgia
        S. Walker), Georgia                                954.   Hancock (GA), County of, Georgia
 911.   Crisp (GA), County of, Georgia                     955.   Harris (GA), County of (Sheriff Mike
 912.   Crisp (GA), County of (Sheriff H.W.                       Jolley), Georgia
        Hancock), Georgia                                  956.   Heard (GA), County of, Georgia
 913.   Dade (GA), County of, Georgia                      957.   Helen (GA), City of, Georgia
 914.   Damascus (GA), City of, Georgia                    958.   Henry (GA), County of, Georgia
 915.   Dawson (GA), City of, Georgia                      959.   Highland Rivers Community Service Board
 916.   Dawson (GA), County of, Georgia                           d/b/a Highland Rivers Health (GA),
 917.   Dawsonville (GA), City of, Georgia                        Georgia
 918.   Decatur (GA), County of, Georgia                   960.   Hospital Authority of Bainbridge and
 919.   DeKalb (GA) County of, Georgia                            Decatur County (GA), Georgia
 920.   Demorest (GA), City of, Georgia                    961.   Hospital Authority of Baxley and Appling
 921.   Dodge County Hospital Authority d/b/a                     County (GA), Georgia
        Dodge County Hospital (GA), Georgia
 922.   Dooly (GA), County of, Georgia



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 962.  Hospital Authority of Bleckley County             1003. New Horizons Community Service Board
       (GA) d/b/a Bleckley Memorial Hospital,                  (GA), Georgia
       Georgia                                           1004. Newton (GA), County of, Georgia
 963. Houston (GA), County of, Georgia                   1005. Oconee (GA), County of, Georgia
 964. Houston (GA), County of (Sheriff Cullen            1006. Oconee (GA), County of (Sheriff Scott R.
       Talton), Georgia                                        Berry), Georgia
 965. Irwin (GA), County of, Georgia                     1007. Oglethorpe (GA), County of, Georgia
 966. Jackson (GA), City of, Georgia                     1008. Peach (GA), County of, Georgia
 967. Jackson (GA), County of, Georgia                   1009. Peach (GA), County of (Sheriff Terry
 968. Jasper (GA), County of, Georgia                          Deese), Georgia
 969. Jeff Davis (GA), County of, Georgia                1010. Pierce (GA), County of, Georgia
 970. Jeff Davis (GA), County of (Sheriff                1011. Pierce (GA), County of (Sheriff Ramsey
       Preston Bohannon), Georgia                              Bennett), Georgia
 971. Jefferson (GA), County of, Georgia                 1012. Pike (GA), County of, Georgia
 972. Johnson (GA), County of, Georgia                   1013. Pineland Behavioral Health and
 973. Jones (GA), County of, Georgia                           Developmental Disabilities CSB (GA),
 974. Jones (GA), County of (Sheriff R.N. Butch                Georgia
       Reece), Georgia                                   1014. Polk (GA), County of, Georgia
 975. Lakeland (GA), City of, Georgia                    1015. Pooler (GA), City of, Georgia
 976. Lanier (GA), County of, Georgia                    1016. Pulaski (GA), County of, Georgia
 977. Laurens (GA), County of, Georgia                   1017. Rabun (GA), County of, Georgia
 978. Laurens (GA), County of (Sheriff Larry H.          1018. Randolph (GA), County of, Georgia
       Dean), Georgia                                    1019. Richmond Hill (GA), City of, Georgia
 979. Lee (GA), County of, Georgia                       1020. Ringgold (GA), City of, Georgia
 980. Liberty (GA), County of, Georgia                   1021. River Edge Behavioral Health (GA),
 981. Lincoln (GA), County of, Georgia                         Georgia
 982. Long (GA), County of, Georgia                      1022. Rockdale (GA), County of, Georgia
 983. Lookout Mountain Community Service                 1023. Rome (GA), City of, Georgia
       Board (GA), Georgia                               1024. Sandy Springs (GA), City of, Georgia
 984. Lowndes (GA), County of, Georgia                   1025. Satilla Community Services d/b/a Unison
 985. Lumpkin (GA), County of, Georgia                         Behavioral Health (GA), Georgia
 986. Macon (GA), County of, Georgia                     1026. Savannah (GA), City of, Georgia
 987. Macon-Bibb County (GA), Unified                    1027. Schley (GA), County of, Georgia
       Government of, Georgia                            1028. Screven (GA), County of, Georgia
 988. Madison (GA), County of, Georgia                   1029. Screven (GA), County of (Sheriff Mike
 989. Marietta (GA), City of, Georgia                          Kile), Georgia
 990. McDonough (GA), City of, Georgia                   1030. Seminole (GA), County of, Georgia
 991. McDuffie (GA), County of, Georgia                  1031. Snellville (GA), City of, Georgia
 992. McIntosh (GA), County of, Georgia                  1032. Spalding (GA), County of, Georgia
 993. Meriwether (GA), County of, Georgia                1033. Springfield (GA), City of, Georgia
 994. Meriwether (GA), County of (Sheriff                1034. Stephens (GA), County of, Georgia
       Chuck Smith), Georgia                             1035. Sumter (GA), County of, Georgia
 995. Middle Flint Area Community Service                1036. Taliaferro (GA), County of, Georgia
       Board d/b/a Middle Flint Behavioral               1037. Tattnall (GA), County of, Georgia
       Healthcare (GA), Georgia                          1038. Telfair (GA), County of, Georgia
 996. Milledgeville (GA), City of, Georgia               1039. Telfair (GA), County of (Sheriff Chris
 997. Monroe (GA), County of, Georgia                          Steverson), Georgia
 998. Montgomery (GA), County of, Georgia                1040. Tift (GA), County of (Sheriff Gene
 999. Moultrie (GA), City of, Georgia                          Scarbrough), Georgia
 1000. Murray (GA), County of, Georgia                   1041. Tifton (GA), City of, Georgia
 1001. Murray (GA), County of (Sheriff Gary              1042. Toombs (GA), County of, Georgia
       Langford), Georgia                                1043. Towns (GA), County of, Georgia
 1002. Nashville (GA), City of, Georgia                  1044. Troup (GA), County of, Georgia



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 1045.   Twiggs (GA), County of, Georgia                    1092.   Alexander (IL), County of, Illinois
 1046.   Union (GA), County of, Georgia                     1093.   Anna (IL), City of, Illinois
 1047.   Valdosta (GA), City of, Georgia                    1094.   Bedford Park (IL), Village of, Illinois
 1048.   Valdosta and Lowndes County (GA),                  1095.   Bellwood (IL), Village of, Illinois
         Hospital Authority of d/b/a South Georgia          1096.   Bensenville (IL), Village of, Illinois
         Medical Center, Georgia                            1097.   Benton (IL), City of, Illinois
 1049.   View Point Health Community Service                1098.   Berkeley (IL), Village of, Illinois
         Board (GA), Georgia                                1099.   Berwyn (IL), City of, Illinois
 1050.   Villa Rica (GA), City of, Georgia                  1100.   Board of Education of East Aurora, School
 1051.   Walton (GA), County of, Georgia                            District 131 (IL), Illinois
 1052.   Ware (GA), County of (Sheriff Randy F.             1101.   Board of Education of Joliet Township
         Royal), Georgia                                            High School, District 204 (IL), Illinois
 1053.   Warren (GA), County of, Georgia                    1102.   Board of Education of Thornton Fractional
 1054.   Warwick (GA), City of, Georgia                             Township High Schools, District 215 (IL),
 1055.   Washington (GA), County of, Georgia                        Illinois
 1056.   Wayne (GA), County of, Georgia                     1103.   Board of Education of Thornton Township
 1057.   Wayne (GA), County of (Sheriff John G.                     High Schools, District 205 (IL), Illinois
         Carter), Georgia                                   1104.   Bolingbrook (IL), Village of, Illinois
 1058.   Wayne County (GA), Hospital Authority,             1105.   Bond (IL), County of, Illinois
         Georgia                                            1106.   Bridgeview (IL), Village of, Illinois
 1059.   Whitfield (GA), County of, Georgia                 1107.   Broadview (IL), Village of, Illinois
 1060.   Wilcox (GA), County of, Georgia                    1108.   Burbank (IL), City of, Illinois
 1061.   Wilkes (GA), County of, Georgia                    1109.   Bureau (IL), County of, Illinois
 1062.   Wilkinson (GA), County of, Georgia                 1110.   Calhoun (IL), County of, Illinois
 1063.   Winder (GA), City of, Georgia                      1111.   Carbondale (IL), City of, Illinois
 1064.   Woodbury (GA), City of, Georgia                    1112.   Chicago (IL), Board of Education, School
 1065.   Woodstock (GA), City of, Georgia                           District No. 299, Illinois
 1066.   Worth (GA), County of, Georgia                     1113.   Chicago (IL), City of, Illinois
 1067.   Kaua'i (HI), County of, Hawaii                     1114.   Chicago Heights (IL), City of, Illinois
 1068.   Ada (ID), County of, Idaho                         1115.   Chicago Ridge (IL), Village of, Illinois
 1069.   Adams (ID), County of, Idaho                       1116.   Christian (IL), County of, Illinois
 1070.   Bannock (ID), County of, Idaho                     1117.   Coles (IL), County of, Illinois
 1071.   Bingham (ID), County of, Idaho                     1118.   Cook (IL), County of, Illinois
 1072.   Blaine (ID), County of, Idaho                      1119.   Countryside (IL), City of, Illinois
 1073.   Boise (ID), City of, Idaho                         1120.   Dekalb (IL), County of, Illinois
 1074.   Boise (ID), County of, Idaho                       1121.   Dolton (IL), Village of, Illinois
 1075.   Bonneville (ID), County of, Idaho                  1122.   DuPage (IL), County of, Illinois
 1076.   Camas (ID), County of, Idaho                       1123.   Edwards (IL), County of, Illinois
 1077.   Canyon (ID), County of, Idaho                      1124.   Effingham (IL), County of, Illinois
 1078.   Caribou (ID), County of, Idaho                     1125.   Evergreen Park (IL), Village of, Illinois
 1079.   Cassia (ID), County of, Idaho                      1126.   Forest Park (IL), Village of, Illinois
 1080.   Chubbuck (ID), City of, Idaho                      1127.   Franklin (IL), County of, Illinois
 1081.   Elmore (ID), County of, Idaho                      1128.   Franklin Park (IL), Village of, Illinois
 1082.   Gooding (ID), County of, Idaho                     1129.   Gallatin (IL), County of, Illinois
 1083.   Latah (ID), County of, Idaho                       1130.   Granite City (IL), City of, Illinois
 1084.   Minidoka (ID), County of, Idaho                    1131.   Hamilton (IL), County of, Illinois
 1085.   Owyhee (ID), County of, Idaho                      1132.   Hardin (IL) County of, Illinois
 1086.   Payette (ID), County of, Idaho                     1133.   Harrisburg (IL), City of, Illinois
 1087.   Pocatello (ID), City of, Idaho                     1134.   Harvey (IL), City of, Illinois
 1088.   Preston (ID), City of, Idaho                       1135.   Harwood Heights (IL), Village of, Illinois
 1089.   Twin Falls (ID), City of, Idaho                    1136.   Henry (IL), County of, Illinois
 1090.   Twin Falls (ID), County of, Idaho                  1137.   Herrin (IL), City of, Illinois
 1091.   Addison (IL), Village of, Illinois                 1138.   Hillside (IL), Village of, Illinois



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 1139.   Hodgkins (IL), Village of, Illinois                     1191.   Sesser (IL), City of, Illinois
 1140.   Hoffman Estates (IL), Village of, Illinois              1192.   Shelby (IL), County of, Illinois
 1141.   Jasper (IL), County of, Illinois                        1193.   St. Clair (IL), County of, Illinois
 1142.   Jefferson (IL), County of, Illinois                     1194.   Stone Park (IL), Village of, Illinois
 1143.   Jersey (IL), County of, Illinois                        1195.   Streator (IL), City of, Illinois
 1144.   Johnson (IL), County of, Illinois                       1196.   Summit (IL), Village of, Illinois
 1145.   Kane (IL), County of, Illinois                          1197.   Tinley Park (IL), Village of, Illinois
 1146.   Kankakee (IL), City of, Illinois                        1198.   Union (IL), County of, Illinois
 1147.   Kendall (IL), County of, Illinois                       1199.   Wabash (IL), County of, Illinois
 1148.   La Grange Park (IL), Village of, Illinois               1200.   Washington (IL), County of, Illinois
 1149.   Lake (IL), County of, Illinois                          1201.   Waukegan Community Unit School
 1150.   Lake (IL), Couty of (Sheriff), Illinois                         District (IL), Illinois
 1151.   LaSalle (IL), County of, Illinois                       1202.   West Frankfort (IL), City of, Illinois
 1152.   Lawrence (IL), County of, Illinois                      1203.   West Franklin (IL), County of (Central
 1153.   Lee (IL), County of, Illinois                                   Dispatch), Illinois
 1154.   Livingston (IL), County of, Illinois                    1204.   White (IL), County of, Illinois
 1155.   Lyons (IL), Township of, Illinois                       1205.   Will (IL), County of, Illinois
 1156.   Lyons (IL), Village of, Illinois                        1206.   Williamson (IL), County of, Illinois
 1157.   Macoupin (IL), County of, Illinois                      1207.   Winnebago (IL), County of, Illinois
 1158.   Marion (IL), City of, Illinois                          1208.   Alexandria (IN), City of, Indiana
 1159.   Marion (IL), County of, Illinois                        1209.   Allen (IN), County of (Board of
 1160.   Massac (IL), County of, Illinois                                Commissioners), Indiana
 1161.   Massac Memorial, LLC d/b/a Massac                       1210.   Atlanta (IN), Town of, Indiana
         Memorial Hospital (IL), Illinois                        1211.   Austin (IN), City of, Indiana
 1162.   Maywood (IL), Village of, Illinois                      1212.   Beech Grove (IN), City of, Indiana
 1163.   McCook (IL), Village of, Illinois                       1213.   Benton (IN), County of, Indiana
 1164.   McHenry (IL), County of, Illinois                       1214.   Blackford (IN), County of, Indiana
 1165.   McLean (IL), County of, Illinois                        1215.   Bloomington (IN), City of, Indiana
 1166.   Melrose Park (IL), Village of, Illinois                 1216.   Brownstown (IN), Town of, Indiana
 1167.   Merrionette Park (IL), Village of, Illinois             1217.   Chandler (IN), Town of, Indiana
 1168.   Metropolis (IL), City of, Illinois                      1218.   Connersville (IN), City of, Indiana
 1169.   North Riverside (IL), Village of, Illinois              1219.   Danville (IN), Town of, Indiana
 1170.   Northlake (IL), City of, Illinois                       1220.   Delaware (IN), County of, Indiana
 1171.   Oak Lawn (IL), Village of, Illinois                     1221.   Elwood (IN), City of, Indiana
 1172.   Oak Park (IL), Village of, Illinois                     1222.   Evansville (IN), City of, Indiana
 1173.   Orland Fire Protection District (IL), Illinois          1223.   Fayette (IN), County of, Indiana
 1174.   Orland Park (IL), Village of, Illinois                  1224.   Fishers (IN), City of, Indiana
 1175.   Palos Heights (IL), City of, Illinois                   1225.   Fort Wayne (IN), City of, Indiana
 1176.   Palos Hills (IL), City of, Illinois                     1226.   Fort Wayne Community Schools (IN),
 1177.   Pekin (IL), City of, Illinois                                   Indiana
 1178.   Peoria (IL), City of, Illinois                          1227.   Franklin (IN), City of, Indiana
 1179.   Piatt (IL), County of, Illinois                         1228.   Franklin (IN), County of (Board of
 1180.   Posen (IL), Village of, Illinois                                Commissioners), Indiana
 1181.   Princeton (IL), City of, Illinois                       1229.   Gary (IN), City of, Indiana
 1182.   Pulaski (IL), County of, Illinois                       1230.   Greenwood (IN), City of, Indiana
 1183.   River Forest (IL), Village of, Illinois                 1231.   Hammond (IN), City of, Indiana
 1184.   River Grove (IL), Village of, Illinois                  1232.   Harrison (IN), County of, Indiana
 1185.   Riverside (IL), Village of, Illinois                    1233.   Hartford (IN), City of, Indiana
 1186.   Rockford (IL), City of, Illinois                        1234.   Howard (IN), County of, Indiana
 1187.   Saline (IL), County of, Illinois                        1235.   Huntington (IN), City of, Indiana
 1188.   Sangamon (IL), County of, Illinois                      1236.   Indianapolis (IN), City of, Indiana
 1189.   Schiller Park (IL), Village of, Illinois                1237.   Jackson (IN), County of, Indiana
 1190.   Schuyler (IL), County of, Illinois                      1238.   Jasper (IN), City of, Indiana



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 1239.   Jay (IN), County of, Indiana                    1289.   Westfield (IN) City of, Indiana
 1240.   Jeffersonville (IN), City of, Indiana           1290.   Zionsville (IN), Town of, Indiana
 1241.   Jennings (IN), County of, Indiana               1291.   Adair (IA), County of, Iowa
 1242.   Kokomo (IN), City of, Indiana                   1292.   Adams (IA), County of, Iowa
 1243.   Lafayette (IN), City of, Indiana                1293.   Allamakee (IA), County of, Iowa
 1244.   Lake (IN), County of, Indiana                   1294.   Appanoose (IA), County of, Iowa
 1245.   LaPorte (IN), County of, Indiana                1295.   Audubon (IA), County of, Iowa
 1246.   Lawrence (IN), City of, Indiana                 1296.   Benton (IA), County of, Iowa
 1247.   Lawrence (IN), County of, Indiana               1297.   Black Hawk (IA), County of, Iowa
 1248.   Logansport (IN), City of, Indiana               1298.   Bremer (IA), County of, Iowa
 1249.   Madison (IN), City of, Indiana                  1299.   Buchanan (IA), County of, Iowa
 1250.   Madison (IN), County of, Indiana                1300.   Buena Vista (IA), County of, Iowa
 1251.   Marion (IN), County of, Indiana                 1301.   Calhoun (IA), County of, Iowa
 1252.   Marshall (IN), County of, Indiana               1302.   Carroll (IA), County of, Iowa
 1253.   Martinsville (IN), City of, Indiana             1303.   Cedar (IA), County of, Iowa
 1254.   Mishawaka (IN), City of, Indiana                1304.   Cerro Gordo (IA), County of, Iowa
 1255.   Monroe (IN), County of, Indiana                 1305.   Cherokee (IA), County of, Iowa
 1256.   Montpelier (IN), City of, Indiana               1306.   Chickasaw (IA), County of, Iowa
 1257.   Mooresville (IN), Town of, Indiana              1307.   Clay (IA), County of, Iowa
 1258.   Morgan (IN), County of, Indiana                 1308.   Clayton (IA), County of, Iowa
 1259.   Muncie (IN), City of, Indiana                   1309.   Clinton (IA), County of, Iowa
 1260.   New Albany (IN), City of, Indiana               1310.   Dallas (IA), County of, Iowa
 1261.   New Castle (IN), City of, Indiana               1311.   Delaware (IA), County of, Iowa
 1262.   Noblesville (IN), City of, Indiana              1312.   Des Moines (IA), County of, Iowa
 1263.   Orange (IN), County of, Indiana                 1313.   Emmet (IA), County of, Iowa
 1264.   Pendleton (IN), Town of, Indiana                1314.   Fayette (IA), County of, Iowa
 1265.   Penn-Harris-Madison School Corporation          1315.   Fremont (IA), County of, Iowa
         (IN), Indiana                                   1316.   Hamilton (IA), County of, Iowa
 1266.   Peru (IN), City of, Indiana                     1317.   Hancock (IA), County of, Iowa
 1267.   Plainfield (IN), Town of, Indiana               1318.   Hardin (IA), County of, Iowa
 1268.   Porter (IN), County of, Indiana                 1319.   Harrison (IA), County of, Iowa
 1269.   Portland (IN), City of, Indiana                 1320.   Henry (IA), County of, Iowa
 1270.   Pulaski (IN), County of, Indiana                1321.   Howard (IA), County of, Iowa
 1271.   Richmond (IN), City of, Indiana                 1322.   Humboldt (IA), County of, Iowa
 1272.   Ripley (IN), County of, Indiana                 1323.   Ida (IA), County of, Iowa
 1273.   School City of Mishawaka (IN), Indiana          1324.   Jasper (IA), County of, Iowa
 1274.   Scott (IN), County of, Indiana                  1325.   Johnson (IA), County of, Iowa
 1275.   Seymour (IN), City of, Indiana                  1326.   Jones (IA), County of, Iowa
 1276.   Shelbyville (IN), City of, Indiana              1327.   Keokuk (IA), County of, Iowa
 1277.   Sheridan (IN), Town of, Indiana                 1328.   Lee (IA), County of, Iowa
 1278.   Smith-Green Community Schools (IN),             1329.   Lyon (IA), County of, Iowa
         Indiana                                         1330.   Madison (IA), County of, Iowa
 1279.   South Bend (IN), City of, Indiana               1331.   Mahaska (IA), County of, Iowa
 1280.   South Bend Community School                     1332.   Marion (IA), County of, Iowa
         Corporation (IN), Indiana                       1333.   Mills (IA), County of, Iowa
 1281.   St. Joseph (IN), County of, Indiana             1334.   Mitchell (IA), County of, Iowa
 1282.   Starke (IN), County of, Indiana                 1335.   Monroe (IA), County of, Iowa
 1283.   Terre Haute (IN), City of, Indiana              1336.   Montgomery (IA), County of, Iowa
 1284.   Tippecanoe (IN), County of, Indiana             1337.   Muscatine (IA), County of, Iowa
 1285.   Upland (IN), Town of, Indiana                   1338.   O'Brien (IA), County of, Iowa
 1286.   Vanderburgh (IN), County of, Indiana            1339.   Osceola (IA), County of, Iowa
 1287.   Vigo (IN), County of, Indiana                   1340.   Plymouth (IA), County of, Iowa
 1288.   West Lafayette (IN), City of, Indiana           1341.   Pocahontas (IA), County of, Iowa



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 1342.   Polk (IA), County of, Iowa                     1379. Pratt (KS), County of (Board of
 1343.   Pottawattamie (IA), County of, Iowa                  Commissioners), Kansas
 1344.   Poweshiek (IA), County of, Iowa                1380. Reno (KS), County of, Kansas
 1345.   Sac (IA), County of, Iowa                      1381. Sedgwick (KS), County of (Board of
 1346.   Scott (IA), County of, Iowa                          Commissioners), Kansas
 1347.   Shelby (IA), County of, Iowa                   1382. Seward (KS), County of (Board of
 1348.   Sioux (IA), County of, Iowa                          Commissioners), Kansas
 1349.   Tama (IA), County of, Iowa                     1383. Shawnee (KS), County of (Board of
 1350.   Taylor (IA), County of, Iowa                         Commissioners), Kansas
 1351.   Union (IA), County of, Iowa                    1384. Stanton (KS), County of (Board of
 1352.   Webster (IA), County of, Iowa                        Commissioners), Kansas
 1353.   Winnebago (IA), County of, Iowa                1385. Ulysses (KS), City of, Kansas
 1354.   Winneshiek (IA), County of, Iowa               1386. Wabaunsee (KS), County of (Board of
 1355.   Worth (IA), County of, Iowa                          Counsellors), Kansas
 1356.   Wright (IA), County of, Iowa                   1387. Wichita (KS), City of, Kansas
 1357.   Allen (KS), County of (Board of                1388. Wyandotte County - Kansas City (KS),
         Commissioners), Kansas                               Unified Government of, Kansas
 1358.   Barber (KS), County of (Board of               1389. Adair (KY), County (Fiscal Court),
         Commissioners), Kansas                               Kentucky
 1359.   Bourbon (KS), County of, Kansas                1390. Allen (KY), County of (Fiscal Court),
 1360.   Cherokee (KS), County of (Board of                   Kentucky
         Commissioners), Kansas                         1391. Anderson (KY), County of (Fiscal Court),
 1361.   Cowley (KS), County of (Board of                     Kentucky
         Commissioners), Kansas                         1392. Ballard (KY), County of (Fiscal Court),
 1362.   Crawford (KS), County of (Board of                   Kentucky
         Commissioners), Kansas                         1393. Bath (KY), County of (Fiscal Court),
 1363.   Dickinson (KS), County of (Board of                  Kentucky
         County Counselors), Kansas                     1394. Bell (KY), County of (Fiscal Court),
 1364.   Elk (KS), County of (Board of                        Kentucky
         Commissioners), Kansas                         1395. Bellefonte (KY), City of, Kentucky
 1365.   Elkhart (KS), City of, Kansas                  1396. Benham (KY), City of, Kentucky
 1366.   Finney (KS), County of (Board of               1397. Board of Education of Breathitt County
         Commissioners), Kansas                               Public Schools (KY), Kentucky
 1367.   Ford (KS), County of (Board of                 1398. Board of Education of Bullitt County
         Commissioners), Kansas                               Public Schools (KY), Kentucky
 1368.   Grant (KS), County of (Board of                1399. Board of Education of Estill County Public
         Commissioners), Kansas                               Schools (KY), Kentucky
 1369.   Greenwood (KS), County of (Board of            1400. Board of Education of Fayette County
         Commissioners), Kansas                               Public Schools (KY), Kentucky
 1370.   Harvey (KS) County of, Kansas                  1401. Board of Education of Harrison County
 1371.   Johnson (KS), County of, Kansas                      Public Schools (KY), Kentucky
 1372.   Leavenworth (KS), County of (Board of          1402. Board of Education of Hart County Public
         Commissioners), Kansas                               Schools (KY), Kentucky
 1373.   Manter (KS), City of, Kansas                   1403. Board of Education of Jefferson County
 1374.   Meade (KS), County of (Board of                      Public Schools (KY), Kentucky
         Commissioners), Kansas                         1404. Board of Education of Johnson County
 1375.   Montgomery (KS), County of, Kansas                   Public School District (KY), Kentucky
 1376.   Morton (KS), County of (Board of               1405. Board of Education of LaRue County
         Commissioners), Kansas                               Public Schools (KY), Kentucky
 1377.   Neosho (KS), County of (Board of               1406. Board of Education of Lawrence County
         Commissioners), Kansas                               Public Schools (KY), Kentucky
 1378.   Overland Park (KS), City of, Kansas            1407. Board of Education of Martin County
                                                              Public Schools (KY), Kentucky



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 1408. Board of Education of Menifee County               1436. Elliott (KY), County of (Fiscal Court),
       Public Schools (KY), Kentucky                            Kentucky
 1409. Board of Education of Owsley County                1437. Estill (KY) County Emergency Medical
       Public Schools (KY), Kentucky                            Services, Kentucky
 1410. Board of Education of Wolfe County                 1438. Estill (KY), County of (Fiscal Court),
       Public Schools (KY), Kentucky                            Kentucky
 1411. Boone (KY), County of (Fiscal Court),              1439. Fleming (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1412. Bourbon (KY), County of (Fiscal Court),            1440. Florence (KY), City of, Kentucky
       Kentucky                                           1441. Floyd (KY), County of (Fiscal Court),
 1413. Boyd (KY), County of (Fiscal Court),                     Kentucky
       Kentucky                                           1442. Franklin (KY), County of (Fiscal Court),
 1414. Boyle (KY), County of (Fiscal Court),                    Kentucky
       Kentucky                                           1443. Fulton (KY), County of (Fiscal Court),
 1415. Bracken (KY), County of (Fiscal Court),                  Kentucky
       Kentucky                                           1444. Gallatin (KY), County of (Fiscal Court),
 1416. Breathitt (KY), County of (Fiscal Court),                Kentucky
       Kentucky                                           1445. Garrard (KY), County of (Fiscal Court),
 1417. Breckinridge (KY), County of (Fiscal                     Kentucky
       Court), Kentucky                                   1446. Grant (KY), County of (Fiscal Court),
 1418. Buckhorn (KY), City of, Kentucky                         Kentucky
 1419. Bullitt (KY), County of (Fiscal Court),            1447. Grayson (KY), City of, Kentucky
       Kentucky                                           1448. Green (KY), County of (Fiscal Court),
 1420. Caldwell (KY), County of (Fiscal Court),                 Kentucky
       Kentucky                                           1449. Greenup (KY), City of, Kentucky
 1421. Calloway (KY), County of (Fiscal Court),           1450. Greenup (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1422. Campbell (KY), County of (Fiscal Court),           1451. Hancock (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1423. Campbellsville (KY), City of, Kentucky             1452. Hardin (KY), County of (Fiscal Court),
 1424. Carlisle (KY), County of (Fiscal Court),                 Kentucky
       Kentucky                                           1453. Hardin Memorial Hospital (KY), Kentucky
 1425. Carter (KY), County of (Fiscal Court),             1454. Harlan (KY), City of, Kentucky
       Kentucky                                           1455. Harlan (KY), County of (Fiscal Court),
 1426. Casey (KY), County of (Fiscal Court),                    Kentucky
       Kentucky                                           1456. Harrison (KY), County of (Fiscal Court),
 1427. Christian (KY), County of (Fiscal Court),                Kentucky
       Kentucky                                           1457. Hart (KY), County of (Fiscal Court),
 1428. Clark (KY), County of (Fiscal Court),                    Kentucky
       Kentucky                                           1458. Henderson (KY), City of, Kentucky
 1429. Clay (KY), County of (Fiscal Court),               1459. Henderson (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1430. Clinton (KY), County of (Fiscal Court),            1460. Henry (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1431. Columbia (KY), City of, Kentucky                   1461. Hickman (KY), County of (Fiscal Court),
 1432. Covington (KY), City of, Kentucky                        Kentucky
 1433. Cumberland (KY), County of (Fiscal                 1462. Hillview (KY), City of, Kentucky
       Court), Kentucky                                   1463. Hopkins (KY), County of (Fiscal Court),
 1434. Daviess (KY), County of (Fiscal Court),                  Kentucky
       Kentucky                                           1464. Hyden (KY), City of, Kentucky
 1435. Edmonson (KY), County of (Fiscal Court),           1465. Inez (KY), City of, Kentucky
       Kentucky                                           1466. Jamestown (KY), City of, Kentucky
                                                          1467. Jenkins (KY), City of, Kentucky



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 1468. Jessamine (KY), County of (Fiscal Court),          1496. Monroe (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1469. Kenton (KY), County of (Fiscal Court),             1497. Montgomery (KY), County of (Fiscal
       Kentucky                                                 Court), Kentucky
 1470. Kentucky River District Health Department          1498. Morehead (KY), City of, Kentucky
       (KY), Kentucky                                     1499. Morgan (KY), County of (Fiscal Court),
 1471. Knott (KY), County of (Fiscal Court),                    Kentucky
       Kentucky                                           1500. Morganfield (KY), City of, Kentucky
 1472. Knox (KY), County of (Fiscal Court),               1501. Mt. Washington (KY), City of, Kentucky
       Kentucky                                           1502. Muhlenberg (KY), County of (Fiscal
 1473. Larue (KY), County of (Fiscal Court),                    Court), Kentucky
       Kentucky                                           1503. Murray (KY), City of, Kentucky
 1474. Laurel (KY), County of (Fiscal Court),             1504. Nicholas (KY), Count of (Fiscal Court),
       Kentucky                                                 Kentucky
 1475. Lawrence (KY), County of (Fiscal Court),           1505. Ohio (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1476. Lee (KY), County of (Fiscal Court),                1506. Oldham (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1477. Leslie (KY), County of (Fiscal Court),             1507. Owen (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1478. Letcher (KY), County of (Fiscal Court),            1508. Owensboro (KY), City of, Kentucky
       Kentucky                                           1509. Owsley (KY), County of (Fiscal Court),
 1479. Lewis (KY), County of (Fiscal Court),                    Kentucky
       Kentucky                                           1510. Paducah (KY), City of, Kentucky
 1480. Lexington-Fayette County (KY), Urban               1511. Paintsville (KY), City of, Kentucky
       Government of, Kentucky                            1512. Pendleton (KY), County (Fiscal Court),
 1481. Lincoln (KY), County of (Fiscal Court),                  Kentucky
       Kentucky                                           1513. Perry (KY), County of (Fiscal Court),
 1482. Logan (KY), County of (Fiscal Court),                    Kentucky
       Kentucky                                           1514. Pike (KY), County of, Kentucky
 1483. London (KY), City of, Kentucky                     1515. Pineville (KY), City of, Kentucky
 1484. Louisville/Jefferson County (KY), Metro            1516. Pippa Passes (KY), City of, Kentucky
       Government of, Kentucky                            1517. Powell (KY), County of (Fiscal Court),
 1485. Loyall (KY), City of, Kentucky                           Kentucky
 1486. Lynch (KY), City of, Kentucky                      1518. Prestonsburg (KY), City of, Kentucky
 1487. Madison (KY), County (Fiscal Court),               1519. Pulaski (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1488. Manchester (KY), City of, Kentucky                 1520. Rowan (KY), County of (Fiscal Court),
 1489. Marshall (KY), County of (Fiscal Court),                 Kentucky
       Kentucky                                           1521. Russell (KY), City of, Kentucky
 1490. Martin (KY), County of (Fiscal Court),             1522. Russell (KY), County of (Fiscal Court),
       Kentucky                                                 Kentucky
 1491. Mason (KY), County of (Fiscal Court),              1523. Russell Springs (KY), City of, Kentucky
       Kentucky                                           1524. Scott (KY), County of (Fiscal Court),
 1492. McCracken (KY), County of (Fiscal                        Kentucky
       Court), Kentucky                                   1525. Shelby (KY), County of (Fiscal Court),
 1493. McLean (KY), County of (Fiscal Court),                   Kentucky
       Kentucky                                           1526. Shepherdsville (KY), City of, Kentucky
 1494. Meade (KY), County of (Fiscal Court),              1527. South Shore (KY), City of, Kentucky
       Kentucky                                           1528. Spencer (KY), County of (Fiscal Court),
 1495. Mercer (KY), County of (Fiscal Court),                   Kentucky
       Kentucky                                           1529. Taylor (KY), County of (Fiscal Court),
                                                                Kentucky



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 1530. Taylor County Hospital District Health              1565. Bossier (LA), Parish of, Louisiana
       Facilities Corporation (KY), Kentucky               1566. Caddo (LA) Fire Protection District No. 1,
 1531. Todd (KY), County of (Fiscal Court),                      Louisiana
       Kentucky                                            1567. Caddo (LA), Parish of, Louisiana
 1532. Union (KY), County of (Fiscal Court),               1568. Calcasieu (LA), Parish of (Police Jury),
       Kentucky                                                  Louisiana
 1533. Vanceburg (KY), City of, Kentucky                   1569. Calcasieu (LA), Parish of (Sheriff),
 1534. Warfield (KY), City of, Kentucky                          Louisiana
 1535. Warren (KY), County of, Kentucky                    1570. Caldwell (LA), Parish of, Louisiana
 1536. Wayne (KY), County of (Fiscal Court),               1571. Cameron (LA), Parish of, Louisiana
       Kentucky                                            1572. Catahoula (LA), Parish of (Police Jury),
 1537. Webster (KY), County of (Fiscal Court),                   Louisiana
       Kentucky                                            1573. Catahoula (LA), Parish of (Sheriff Toney
 1538. West Liberty (KY), City of, Kentucky                      Edwards), Louisiana
 1539. Whitesburg (KY), City of, Kentucky                  1574. Claiborne (LA), Parish of, Louisiana
 1540. Whitley (KY), County of, Kentucky                   1575. Concordia (LA), Parish of, Louisiana
 1541. Winchester (KY), City of, Kentucky                  1576. Concordia (LA), Parish of (Sheriff Kenneth
 1542. Wolfe (KY), County of (Fiscal Court),                     Hedrick), Louisiana
       Kentucky                                            1577. Covington (LA), City of, Louisiana
 1543. Woodford (KY), County of (Fiscal Court),            1578. Delhi (LA), Town of, Louisiana
       Kentucky                                            1579. Desoto (LA), Parish of, Louisiana
 1544. Worthington (KY), City of, Kentucky                 1580. DeSoto Fire Protection District No. 8 (LA),
 1545. Acadia-St. Landry (LA) Hospital Service                   Louisiana
       District d/b/a Acadia-St. Landry Hospital,          1581. Donaldsonville (LA), City of, Louisiana
       Louisiana                                           1582. East Baton Rouge (LA), Parish of (Clerk of
 1546. Alexandria (LA), City of, Louisiana                       Court Office), Louisiana
 1547. Allen (LA), Parish of (Sheriff), Louisiana          1583. East Baton Rouge (LA), Parish of (Sheriff),
 1548. Ascension (LA), Parish of, Louisiana                      Louisiana
 1549. Ascension (LA), Parish of (Sheriff),                1584. East Carroll (LA), Parish of (Police Jury),
       Louisiana                                                 Louisiana
 1550. Ascension (LA), Parish School Board,                1585. East Carroll (LA), Parish of (Sheriff),
       Louisiana                                                 Louisiana
 1551. Assumption (LA), Parish of (Police Jury),           1586. Eunice (LA), City of, Louisiana
       Louisiana                                           1587. Evangeline (LA), Parish of (Police Jury),
 1552. Assumption (LA), Parish of (Sheriff Leland                Louisiana
       Falcon), Louisiana                                  1588. Evangeline (LA), Parish of (Sheriff),
 1553. Avoyelles (LA), Parish of (Police Jury),                  Louisiana
       Louisiana                                           1589. Ferriday (LA), Town of, Louisiana
 1554. Avoyelles (LA), Parish of (Sheriff),                1590. Franklin (LA), City of, Louisiana
       Louisiana                                           1591. Franklin (LA), Parish of, Louisiana
 1555. Baldwin (LA), Town of, Louisiana                    1592. Gramercy (LA), Town of, Louisiana
 1556. Bastrop (LA), City of, Louisiana                    1593. Grant (LA), Parish of (Police Jury),
 1557. Baton Rouge (LA), City of, Louisiana                      Louisiana
 1558. Beauregard (LA), Parish of (Police Jury),           1594. Grant (LA), Parish of (Sheriff), Louisiana
       Louisiana                                           1595. Gretna (LA), City of, Louisiana
 1559. Benton (LA) Fire No. 4, Louisiana                   1596. Hospital Service District No. 1 of The
 1560. Berwick (LA), Town of, Louisiana                          Parish of Avoyelles, State of Louisiana,
 1561. Bienville (LA), Parish of (Sheriff),                      d/b/a Bunkie General Hospital (LA),
       Louisiana                                                 Louisiana
 1562. Bogalusa (LA), City of, Louisiana                   1597. Hospital Service District No. 1 of The
 1563. Bossier (LA) Parish Emergency Medical                     Parish of LaSalle, State of Louisiana. d/b/a
       Services Ambulance District, Louisiana                    Hardtner Medical Center (LA), Louisiana
 1564. Bossier (LA), City of, Louisiana                    1598. Iberia (LA), Parish of, Louisiana



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 1599. Iberia (LA), Parish School Board of,                  1633. North Caddo (LA) Hospital Service
       Louisiana                                                   District d/b/a North Caddo Medical Center,
 1600. Iberville (LA), Parish of (Parish Council),                 Louisiana
       Louisiana                                             1634. Opelousas (LA), City of, Louisiana
 1601. Jackson (LA), Parish of (Police Jury),                1635. Opelousas (LA), General Hospital
       Louisiana                                                   Authority, a Louisiana Public Trust d/b/a
 1602. Jackson (LA), Parish of (Sheriff),                          Opelousas General Health System,
       Louisiana                                                   Louisiana
 1603. Jean Lafitte (LA), Town of, Louisiana                 1636. Orleans (LA), Parish of (Sheriff),
 1604. Jefferson (LA), Parish of, Louisiana                        Louisiana
 1605. Jefferson (LA), Parish of (Coroner's                  1637. Orleans Parish Hospital Service District -
       Office), Louisiana                                          District A (LA), Louisiana
 1606. Jefferson (LA), Parish of (Sheriff),                  1638. Ouachita (LA), Parish of (Police Jury),
       Louisiana                                                   Louisiana
 1607. Jefferson Davis (LA), Parish of (Police               1639. Ouachita (LA), Parish of (Sheriff),
       Jury), Louisiana                                            Louisiana
 1608. Jefferson Davis (LA), Parish of (Sheriff),            1640. Patterson (LA), City of, Louisiana
       Louisiana                                             1641. Pearl River (LA), Town of, Louisiana
 1609. Jefferson Parish Hospital Service District 1          1642. Pineville (LA), City of, Louisiana
       (LA), Louisiana                                       1643. Pointe Coupee (LA), Parish of (Police
 1610. Jefferson Parish Hospital Service District 2                Jury), Louisiana
       (LA), Louisiana                                       1644. Pointe Coupee Parish (LA) Health Services
 1611. Kenner (LA), City of, Louisiana                             District Number 1, Louisiana
 1612. Lafayette (LA), Parish of (Sheriff),                  1645. Rapides (LA), Parish of, Louisiana
       Louisiana                                             1646. Rapides (LA), Parish of (Sheriff),
 1613. Lafourche (LA), Parish of, Louisiana                        Louisiana
 1614. LaFourche Parish School Board (LA),                   1647. Red River (LA) Fire Protection District,
       Louisiana                                                   Louisiana
 1615. Lake Charles (LA), City of, Louisiana                 1648. Red River (LA), Parish of, Louisiana
 1616. Lake Providence (LA), Town of, Louisiana              1649. Richland (LA), Parish of, Louisiana
 1617. LaSalle (LA), Parish of, Louisiana                    1650. Richland (LA), Parish of (Sheriff),
 1618. Lincoln (LA), Parish of (Sheriff),                          Louisiana
       Louisiana                                             1651. Richwood (LA), Town of, Louisiana
 1619. Livingston (LA), Parish of, Louisiana                 1652. Sabine (LA), Parish of (Police Jury),
 1620. Livingston (LA), Parish of (Sheriff),                       Louisiana
       Louisiana                                             1653. Sabine (LA), Parish of (Sheriff), Louisiana
 1621. Lutcher (LA), Town of, Louisiana                      1654. Shreveport (LA), City of, Louisiana
 1622. Madisonville (LA), Town of, Louisiana                 1655. Slidell (LA), City of, Louisiana
 1623. Mandeville (LA), City of, Louisiana                   1656. St. Bernard (LA), Parish of, Louisiana
 1624. Monroe (LA), City of, Louisiana                       1657. St. Bernard (LA), Parish of (Coroner Dr.
 1625. Morehouse (LA), Parish of (Police Jury),                    Bryan Bertucci), Louisiana
       Louisiana                                             1658. St. Bernard (LA), Parish of (Sheriff),
 1626. Morehouse (LA), Parish of (Sheriff),                        Louisiana
       Louisiana                                             1659. St. Bernard Parish School Board (LA),
 1627. Morgan (LA), City of, Louisiana                             Louisiana
 1628. Natchitoches (LA), City of, Louisiana                 1660. St. Charles (LA), Parish of, Louisiana
 1629. Natchitoches (LA), Parish of (Parish                  1661. St. Charles (LA), Parish of (Sheriff),
       Council), Louisiana                                         Louisiana
 1630. New Iberia (LA), City of, Louisiana                   1662. St. James (LA), Parish of, Louisiana
 1631. New Orleans (LA), City of, Louisiana                  1663. St. James Parish School Board (LA),
 1632. New Roads (LA), City of, Louisiana                          Louisiana
                                                             1664. St. John the Baptist (LA), Parish of,
                                                                   Louisiana



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 1665. St. Landry (LA), Parish of, Louisiana                1697. West Carroll (LA), Parish of (Sheriff),
 1666. St. Landry (LA), Parish of (Sheriff),                      Louisiana
       Louisiana                                            1698. West Monroe (LA), City of, Louisiana
 1667. St. Martin (LA), Parish of, Louisiana                1699. Westwego (LA), City of, Louisiana
 1668. St. Martinville (LA), City of, Louisiana             1700. Winn (LA), Parish of (Police Jury),
 1669. St. Mary (LA), Parish of, Louisiana                        Louisiana
 1670. St. Mary (LA), Parish of (Sheriff),                  1701. Androscoggin (ME), County of, Maine
       Louisiana                                            1702. Aroostook (ME), County of, Maine
 1671. St. Mary (LA), Parish School Board of,               1703. Auburn (ME), City of, Maine
       Louisiana                                            1704. Augusta (ME), City of, Maine
 1672. St. Tammany (LA) Fire Protection District            1705. Bangor (ME), City of, Maine
       No. 4, Louisiana                                     1706. Biddeford (ME), City of, Maine
 1673. St. Tammany (LA), Parish of, Louisiana               1707. Board of Education of Bangor School
 1674. St. Tammany (LA), Parish of (Coroner's                     Department (ME), Maine
       Office), Louisiana                                   1708. Board of Education of Cape Elizabeth
 1675. St. Tammany (LA), Parish of (Sheriff),                     School Department (ME), Maine
       Louisiana                                            1709. Board of Education of Maine Regional
 1676. St. Tammany Fire Protection District No. 1                 School Unit 10 (ME), Maine
       (LA), Louisiana                                      1710. Board of Education of Maine Regional
 1677. St. Tammany Fire Protection District No.                   School Unit 13 (ME), Maine
       12 (LA), Louisiana                                   1711. Board of Education of Maine Regional
 1678. St. Tammany Fire Protection District No.                   School Unit 25 (ME), Maine
       13 (LA), Louisiana                                   1712. Board of Education of Maine Regional
 1679. St. Tammany Fire Protection District No. 2                 School Unit 26 (ME), Maine
       (LA), Louisiana                                      1713. Board of Education of Maine Regional
 1680. St. Tammany Fire Protection District No. 3                 School Unit 29 (ME), Maine
       (LA), Louisiana                                      1714. Board of Education of Maine Regional
 1681. St. Tammany Fire Protection District No. 5                 School Unit 34 (ME), Maine
       (LA), Louisiana                                      1715. Board of Education of Maine Regional
 1682. Tensas (LA), Parish of (Sheriff), Louisiana                School Unit 40 (ME), Maine
 1683. Terrebonne (LA), Parish of, Louisiana                1716. Board of Education of Maine Regional
 1684. Terrebonne (LA), Parish of (Sheriff),                      School Unit 50 (ME), Maine
       Louisiana                                            1717. Board of Education of Maine Regional
 1685. Union (LA), Parish of, Louisiana                           School Unit 57 (ME), Maine
 1686. Union (LA), Parish of (Sheriff), Louisiana           1718. Board of Education of Maine Regional
 1687. Vermilion (LA), Parish of (Police Jury),                   School Unit 60 (ME), Maine
       Louisiana                                            1719. Board of Education of Maine Regional
 1688. Vernon (LA), Parish of (Police Jury),                      School Unit 71 (ME), Maine
       Louisiana                                            1720. Board of Education of Maine Regional
 1689. Vernon (LA), Parish of (Sheriff), Louisiana                School Unit 9 (ME), Maine
 1690. Washington (LA), Parish of, Louisiana                1721. Board of Education of Maine School
 1691. Washington (LA), Parish of (Sheriff),                      Administrative District 11 (ME), Maine
       Louisiana                                            1722. Board of Education of Maine School
 1692. Webster (LA), Parish of, Louisiana                         Administrative District 15 (ME), Maine
 1693. West Ascension Parish (LA) Hospital                  1723. Board of Education of Maine School
       Service District dba Prevost Memorial                      Administrative District 28/Five Town
       Hospital, Louisiana                                        Central School District (ME), Maine
 1694. West Baton Rouge (LA) Fire Protection                1724. Board of Education of Maine School
       District No. 1, Louisiana                                  Administrative District 35 (ME), Maine
 1695. West Baton Rouge (LA), Parish of,                    1725. Board of Education of Maine School
       Louisiana                                                  Administrative District 44 (ME), Maine
 1696. West Carroll (LA), Parish of, Louisiana              1726. Board of Education of Maine School
                                                                  Administrative District 53 (ME), Maine



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 1727. Board of Education of Maine School                1767. Carroll (MD), County of (Board of
       Administrative District 55 (ME), Maine                  Commissioners), Maryland
 1728. Board of Education of Maine School                1768. Cecil (MD), County of, Maryland
       Administrative District 6 (ME), Maine             1769. Charles (MD), County of (Commissioners),
 1729. Board of Education of Maine School                      Maryland
       Administrative District 61 (ME), Maine            1770. Charlestown (MD), City of, Maryland
 1730. Board of Education of Maine School                1771. Cottage City (MD), Town of, Maryland
       Administrative District 72 (ME), Maine            1772. Cumberland (MD), City of, Maryland
 1731. Board of Education of Portland School             1773. Dorchester (MD), County of, Maryland
       Department (ME), Maine                            1774. Forest Heights (MD), Town of, Maryland
 1732. Board of Education of Scarborough School          1775. Frederick (MD), City of, Maryland
       Department (ME), Maine                            1776. Frederick (MD), County of, Maryland
 1733. Board of Education of South Portland              1777. Frostburg (MD) City of, Maryland
       School Department (ME), Maine                     1778. Garrett (MD), County of, Maryland
 1734. Board of Education of St. George                  1779. Grantsville (MD), City of, Maryland
       Municipal School District (ME), Maine             1780. Hagerstown (MD), City of, Maryland
 1735. Board of Education of Waterville School           1781. Harford (MD) County of, Maryland
       Department (ME), Maine                            1782. Havre De Grace (MD), City of, Maryland
 1736. Calais (ME), City of, Maine                       1783. Howard (MD), County of, Maryland
 1737. Cumberland (ME), County of, Maine                 1784. Laurel (MD), City of, Maryland
 1738. Ellsworth School Department (ME), The             1785. Montgomery (MD), County of, Maryland
       Board of Education of, Maine                      1786. Mountain Lake Park (MD), City of,
 1739. Kennebec (ME), County of, Maine                         Maryland
 1740. Knox (ME), County of, Maine                       1787. North Brentwood (MD), Town of,
 1741. Lewiston (ME), City of, Maine                           Maryland
 1742. Lincoln (ME), County of, Maine                    1788. North East (MD), City of, Maryland
 1743. Penobscot (ME), County of, Maine                  1789. Oakland (MD), City of, Maryland
 1744. Portland (ME), City of, Maine                     1790. Perryville (MD), City of, Maryland
 1745. Rockland (ME), City of, Maine                     1791. Prince George's (MD), County of,
 1746. Saco (ME), City of, Maine                               Maryland
 1747. Sagadahoc (ME), County of, Maine                  1792. Rockville (MD), City of (Mayor and
 1748. Sanford (ME), City of, Maine                            Common Council), Maryland
 1749. Somerset (ME), County of, Maine                   1793. Seat Pleasant (MD), City of, Maryland
 1750. Waldo (ME), County of, Maine                      1794. Somerset (MD), County of, Maryland
 1751. Washington (ME), County of, Maine                 1795. St. Mary's (MD), County of
 1752. Waterville (ME), City of, Maine                         (Commissioners), Maryland
 1753. York (ME), County of, Maine                       1796. Talbot (MD), County of, Maryland
 1754. Aberdeen (MD), City of, Maryland                  1797. Upper Marlboro (MD), Town of, Maryland
 1755. Allegany (MD), County of, Maryland                1798. Vienna (MD), City of, Maryland
 1756. Annapolis (MD), City of, Maryland                 1799. Washington County (MD), County of
 1757. Anne Arundel (MD), County of, Maryland                  (Board of Commissioners), Maryland
 1758. Balitmore (MD), County of, Maryland               1800. Westminster (MD), City of (Mayor and
 1759. Baltimore (MD), City of (Mayor and City                 Common Council), Maryland
       Council), Maryland                                1801. Wicomico (MD), County of, Maryland
 1760. Baltimore City Board of School                    1802. Acushnet (MA), Town of, Massachusetts
       Commissioners (MD), Maryland                      1803. Agawam (MA), Town of, Massachusetts
 1761. Bel Air (MD), City of, Maryland                   1804. Amesbury (MA), City of, Massachusetts
 1762. Berlin (MD), City of, Maryland                    1805. Andover (MA), Town of, Massachusetts
 1763. Bowie (MD), City of, Maryland                     1806. Aquinnah (MA), Town of, Massachusetts
 1764. Calvert (MD), County of (Commissioners),          1807. Athol (MA), Town of, Massachusetts
       Maryland                                          1808. Auburn (MA), Town of, Massachusetts
 1765. Cambridge (MD), City of, Maryland                 1809. Ayer (MA), Town of, Massachusetts
 1766. Caroline (MD), County of, Maryland                1810. Barnstable (MA), Town of, Massachusetts



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 1811. Belchertown (MA), Town of,                        1858.   Lakeville (MA), Town of, Massachusetts
       Massachusetts                                     1859.   Leicester (MA), Town of, Massachusetts
 1812. Beverly (MA), City of, Massachusetts              1860.   Leominster (MA), City of, Massachusetts
 1813. Billerica (MA), Town of, Massachusetts            1861.   Leverett (MA), Town of, Massachusetts
 1814. Boston (MA) Housing Authority,                    1862.   Longmeadow (MA), Town of,
       Massachusetts                                             Massachusetts
 1815. Boston (MA) Public Health Commission,             1863.   Lowell (MA), City of, Massachusetts
       Massachusetts                                     1864.   Ludlow (MA), Town of, Massachusetts
 1816. Boston (MA), City of, Massachusetts               1865.   Lunenburg (MA), Town of, Massachusetts
 1817. Braintree (MA), Town of, Massachusetts            1866.   Lynn (MA), City of, Massachusetts
 1818. Brewster (MA), Town of, Massachusetts             1867.   Lynnfield (MA), Town of, Massachusetts
 1819. Bridgewater (MA), Town of,                        1868.   Malden (MA), City of, Massachusetts
       Massachusetts                                     1869.   Marblehead (MA), Town of, Massachusetts
 1820. Brockton (MA), City of, Massachusetts             1870.   Marshfield (MA), Town of, Massachusetts
 1821. Brookline (MA), Town of, Massachusetts            1871.   Mashpee (MA), Town of, Massachusetts
 1822. Cambridge (MA), City of, Massachusetts            1872.   Mattapoisett (MA), Town of,
 1823. Canton (MA), Town of, Massachusetts                       Massachusetts
 1824. Carver (MA), Town of, Massachusetts               1873.   Medford (MA), City of, Massachusetts
 1825. Charlton (MA), Town of, Massachusetts             1874.   Melrose (MA), City of, Massachusetts
 1826. Chelmsford (MA), Town of, Massachusetts           1875.   Methuen (MA), City of, Massachusetts
 1827. Chelsea (MA), City of, Massachusetts              1876.   Middleborough (MA), Town of,
 1828. Chicopee (MA), City of, Massachusetts                     Massachusetts
 1829. Clarksburg (MA), Town of, Massachusetts           1877.   Milford (MA), Town of, Massachusetts
 1830. Clinton (MA), Town of, Massachusetts              1878.   Millbury (MA), Town of, Massachusetts
 1831. Danvers (MA), Town of, Massachusetts              1879.   Millis (MA), Town of, Massachusetts
 1832. Dedham (MA), Town of, Massachusetts               1880.   Nantucket (MA), Town of, Massachusetts
 1833. Dennis (MA), Town of, Massachusetts               1881.   Natick (MA), Town of, Massachusetts
 1834. Douglas (MA), Town of, Massachusetts              1882.   New Bedford (MA), City of, Massachusetts
 1835. Dudley (MA), Town of, Massachusetts               1883.   Newburyport (MA), City of, Massachusetts
 1836. East Bridgewater (MA), Town of,                   1884.   North Adams (MA), City of, Massachusetts
       Massachusetts                                     1885.   North Andover (MA), Town of,
 1837. Eastham (MA), Town of, Massachusetts                      Massachusetts
 1838. Easthampton (MA), City of, Massachusetts          1886.   North Attleborough (MA), Town of,
 1839. Easton (MA), Town of, Massachusetts                       Massachusetts
 1840. Everett (MA), City of, Massachusetts              1887.   North Reading (MA), Town of,
 1841. Fairhaven (MA), Town of, Massachusetts                    Massachusetts
 1842. Fall River (MA), City of, Massachusetts           1888.   Northampton (MA), City of, Massachusetts
 1843. Falmouth (MA), Town of, Massachusetts             1889.   Northbridge (MA), Town of,
 1844. Fitchburg (MA), City of, Massachusetts                    Massachusetts
 1845. Framingham (MA), City of, Massachusetts           1890.   Norton (MA), Town of, Massachusetts
 1846. Freetown (MA), Town of, Massachusetts             1891.   Norwell (MA), Town of, Massachusetts
 1847. Georgetown (MA), Town of,                         1892.   Norwood (MA), Town of, Massachusetts
       Massachusetts                                     1893.   Orange (MA), Town of, Massachusetts
 1848. Gloucester (MA), City of, Massachusetts           1894.   Oxford (MA), Town of, Massachusetts
 1849. Grafton (MA), Town of, Massachusetts              1895.   Palmer (MA), Town of, Massachusetts
 1850. Greenfield (MA), City of, Massachusetts           1896.   Peabody (MA), City of, Massachusetts
 1851. Hanson (MA), Town of, Massachusetts               1897.   Pembroke (MA), Town of, Massachusetts
 1852. Haverhill (MA), City of, Massachusetts            1898.   Pittsfield (MA), City of, Massachusetts
 1853. Holliston (MA), Town of, Massachusetts            1899.   Plainville (MA), Town of, Massachusetts
 1854. Holyoke (MA), City of, Massachusetts              1900.   Plymouth (MA), Town of, Massachusetts
 1855. Hopedale (MA), Town of, Massachusetts             1901.   Provincetown (MA), Town of,
 1856. Hull (MA), Town of, Massachusetts                         Massachusetts
 1857. Kingston (MA), Town of, Massachusetts             1902.   Quincy (MA), City of, Massachusetts



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 1903.   Randolph (MA), Town of, Massachusetts             1946. Winchendon (MA), Town of,
 1904.   Rehoboth (MA), Town of, Massachusetts                   Massachusetts
 1905.   Revere (MA), City of, Massachusetts               1947. Winthrop (MA), Town of, Massachusetts
 1906.   Rockland (MA), Town of, Massachusetts             1948. Woburn (MA), City of, Massachusetts
 1907.   Salem (MA), City of, Massachusetts                1949. Worcester (MA), City of, Massachusetts
 1908.   Salisbury (MA), Town of, Massachusetts            1950. Alcona (MI), County of, Michigan
 1909.   Sandwich (MA), Town of, Massachusetts             1951. Alger (MI), County of, Michigan
 1910.   Scituate (MA), Town of, Massachusetts             1952. Alpena (MI), County of, Michigan
 1911.   Seekonk (MA), Town of, Massachusetts              1953. Antrim (MI), County of, Michigan
 1912.   Sheffield (MA), Town of, Massachusetts            1954. Arenac (MI), County of, Michigan
 1913.   Shirley (MA), Town of, Massachusetts              1955. Baraga (MI), County of, Michigan
 1914.   Somerset (MA), Town of, Massachusetts             1956. Bay (MI), County of, Michigan
 1915.   Somerville (MA), City of, Massachusetts           1957. Benzie (MI), County of, Michigan
 1916.   South Hadley (MA), Town of,                       1958. Berrien (MI), County of, Michigan
         Massachusetts                                     1959. Branch (MI), County of, Michigan
 1917.   Southbridge (MA), Town of,                        1960. Calhoun (MI), County of, Michigan
         Massachusetts                                     1961. Canton (MI), Charter Township of,
 1918.   Spencer (MA), Town of, Massachusetts                    Michigan
 1919.   Springfield (MA), City of, Massachusetts          1962. Cass (MI), County of, Michigan
 1920.   Stoneham (MA), Town of, Massachusetts             1963. Charlevoix (MI), County of, Michigan
 1921.   Stoughton (MA), Town of, Massachusetts            1964. Cheboygan (MI), County of, Michigan
 1922.   Sturbridge (MA), Town of, Massachusetts           1965. Chippewa (MI), County of, Michigan
 1923.   Sudbury (MA), Town of, Massachusetts              1966. Clinton (MI), Charter Township of,
 1924.   Sutton (MA), Town of, Massachusetts                     Michigan
 1925.   Swampscott (MA), Town of,                         1967. Clinton (MI), County of, Michigan
         Massachusetts                                     1968. Crawford (MI), County of, Michigan
 1926.   Templeton (MA), Town of, Massachusetts            1969. Delta (MI), County of, Michigan
 1927.   Tewksbury (MA), Town of, Massachusetts            1970. Detroit (MI), City of, Michigan
 1928.   Truro (MA), Town of, Massachusetts                1971. Detroit Wayne (MI), Mental Health
 1929.   Tyngsborough (MA), Town of,                             Authority, Michigan
         Massachusetts                                     1972. Dickinson (MI), County of, Michigan
 1930.   Upton (MA), Town of, Massachusetts                1973. East Lansing (MI), City of, Michigan
 1931.   Wakefield (MA), Town of, Massachusetts            1974. Eaton (MI), County of, Michigan
 1932.   Walpole (MA), Town of, Massachusetts              1975. Escanaba (MI), City of, Michigan
 1933.   Ware (MA), Town of, Massachusetts                 1976. Flint (MI), City of, Michigan
 1934.   Warren (MA), Town of, Massachusetts               1977. Genesee (MI), County of, Michigan
 1935.   Watertown (MA), Town of, Massachusetts            1978. Grand Rapids (MI), City of, Michigan
 1936.   Wellfleet (MA), Town of, Massachusetts            1979. Grand Traverse (MI), County of, Michigan
 1937.   West Boylston (MA), Town of,                      1980. Gratiot (MI), County of, Michigan
         Massachusetts                                     1981. Harrison (MI), Charter Township of,
 1938.   West Bridgewater (MA), Town of,                         Michigan
         Massachusetts                                     1982. Hillsdale (MI), County of, Michigan
 1939.   West Springfield (MA), Town of,                   1983. Houghton (MI), County of, Michigan
         Massachusetts                                     1984. Huron (MI), Township of, Michigan
 1940.   West Tisbury (MA), Town of,                       1985. Ingham (MI), County of, Michigan
         Massachusetts                                     1986. Ionia (MI), County of, Michigan
 1941.   Westborough (MA), Town of,                        1987. Iosco (MI), County of, Michigan
         Massachusetts                                     1988. Iron (MI), County of, Michigan
 1942.   Westford (MA), Town of, Massachusetts             1989. Iron Mountain (MI), City of, Michigan
 1943.   Weymouth (MA), Town of, Massachusetts             1990. Isabella (MI), County of, Michigan
 1944.   Williamsburg (MA), Town of,                       1991. Jackson (MI), City of, Michigan
         Massachusetts                                     1992. Kalamazoo (MI), County of, Michigan
 1945.   Wilmington (MA), Town of, Massachusetts           1993. Kent (MI), County of, Michigan



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 1994.   Lake (MI), County of, Michigan                    2045.   Douglas (MN), County of, Minnesota
 1995.   Lansing (MI), City of, Michigan                   2046.   Duluth (MN), City of, Minnesota
 1996.   Leelanau (MI), County of, Michigan                2047.   Freeborn (MN), County of, Minnesota
 1997.   Lenawee (MI), County of, Michigan                 2048.   Hennepin (MN), County of, Minnesota
 1998.   Livingston (MI), County of, Michigan              2049.   Itasca (MN), County of, Minnesota
 1999.   Livonia (MI), City of, Michigan                   2050.   McLeod (MN), County of, Minnesota
 2000.   Luce (MI), County of, Michigan                    2051.   Meeker (MN), County of, Minnesota
 2001.   Macomb (MI), County of, Michigan                  2052.   Minneapolis (MN), City of, Minnesota
 2002.   Manistee (MI), County of, Michigan                2053.   Minnesota Prairie County Alliance (MN),
 2003.   Marquette (MI), County of, Michigan                       Minnesota
 2004.   Mason (MI), County of, Michigan                   2054.   Morrison (MN), County of, Minnesota
 2005.   Monroe (MI), County of, Michigan                  2055.   Mower (MN), County of, Minnesota
 2006.   Montcalm, (MI) County of, Michigan                2056.   North St. Paul (MN), City of, Minnesota
 2007.   Montmorency (MI), County of, Michigan             2057.   Olmsted (MN), County of, Minnesota
 2008.   Muskegon (MI), County of, Michigan                2058.   Pine (MN), County of, Minnesota
 2009.   Newaygo (MI), County of, Michigan                 2059.   Proctor (MN), City of, Minnesota
 2010.   Northville (MI), Township of, Michigan            2060.   Ramsey (MN), County of, Minnesota
 2011.   Oakland (MI), County of, Michigan                 2061.   Rochester (MN), City of, Minnesota
 2012.   Oceana (MI), County of, Michigan                  2062.   Roseau (MN), County of, Minnesota
 2013.   Ogemaw (MI), County of, Michigan                  2063.   Saint Paul (MN), City of, Minnesota
 2014.   Ontonagon (MI), County of, Michigan               2064.   Sibley (MN), County of, Minnesota
 2015.   Osceola (MI), County of, Michigan                 2065.   St. Louis (MN), County of, Minnesota
 2016.   Otsego (MI), County of, Michigan                  2066.   Steele (MN), County of, Minnesota
 2017.   Pittsfield (MI), Charter Township of,             2067.   Waseca (MN), County of, Minnesota
         Michigan                                          2068.   Washington (MN), County of, Minnesota
 2018.   Pontiac (MI), City of, Michigan                   2069.   Winona (MN), County of, Minnesota
 2019.   Presque Isle (MI), County of, Michigan            2070.   Wright (MN), County of, Minnesota
 2020.   Romulus (MI), City of, Michigan                   2071.   Yellow Medicine (MN), County of,
 2021.   Roscommon (MI), County of, Michigan                       Minnesota
 2022.   Saginaw (MI), County of, Michigan                 2072.   Adams (MS), County of, Mississippi
 2023.   Sanilac (MI), County of, Michigan                 2073.   Amite (MS), County of, Mississippi
 2024.   Sault Ste. Marie (MI), City of, Michigan          2074.   Amory (MS), City of, Mississippi
 2025.   Shiawassee (MI), County of, Michigan              2075.   Arcola (MS), Town of, Mississippi
 2026.   St. Clair (MI), County of, Michigan               2076.   Attala (MS), County of, Mississippi
 2027.   Sterling Heights (MI), City of, Michigan          2077.   Benton (MS), County of, Mississippi
 2028.   Traverse City (MI), City of, Michigan             2078.   Bolivar (MS), County of, Mississippi
 2029.   Tuscola (MI), County of, Michigan                 2079.   Brookhaven (MS), City of, Mississippi
 2030.   Van Buren (MI), Township of, Michigan             2080.   Caledonia (MS), Town of, Mississippi
 2031.   Warren (MI), City of, Michigan                    2081.   Carroll (MS), County of, Mississippi
 2032.   Washtenaw (MI), County of, Michigan               2082.   Centreville (MS), Town of, Missisippi
 2033.   Wayne (MI), City of, Michigan                     2083.   Charleston (MS), City of, Mississippi
 2034.   Wayne (MI), County of, Michigan                   2084.   Chickasaw (MS), County of, Mississippi
 2035.   Westland (MI), City of, Michigan                  2085.   Claiborne (MS), County of, Mississippi
 2036.   Wexford (MI), County of, Michigan                 2086.   Clarke (MS), County of, Mississippi
 2037.   Anoka (MN), County of, Minnesota                  2087.   Clarksdale (MS), City of, Mississippi
 2038.   Beltrami (MN), County of, Minnesota               2088.   Cleveland (MS), City of, Mississippi
 2039.   Big Stone (MN), County of, Minnesota              2089.   Columbia (MS), City of, Mississippi
 2040.   Board of Education of Minnetonka School           2090.   Columbus (MS), City of, Mississippi
         District No. 276 (MN), Minnesota                  2091.   Community Hospital (MS), Sharkey-
 2041.   Carlton (MN), County of, Minnesota                        Issaquena, Mississippi
 2042.   Carver (MN), County of, Minnesota                 2092.   Copiah (MS), County of, Mississippi
 2043.   Coon Rapids (MN), City of, Minnesota              2093.   Covington (MS), County of, Mississippi
 2044.   Dakota (MN), County of, Minnesota                 2094.   DeSoto (MS), County of, Mississippi



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 2095.   Diamondhead (MS), City of, Mississippi            2146.   New Albany (MS), City of, Mississippi
 2096.   Forrest (MS), County of, Mississippi              2147.   Ocean Springs (MS), City of, Mississippi
 2097.   Franklin (MS), County of, Mississippi             2148.   Panola (MS), County of, Mississippi
 2098.   Gautier (MS), City of, Mississippi                2149.   Pascagoula (MS), City of, Mississippi
 2099.   George (MS), County of, Mississippi               2150.   Pearl River (MS), County of, Mississippi
 2100.   Greene (MS), County of, Mississippi               2151.   Pearl River County Hospital (MS),
 2101.   Greenwood (MS), City of, Mississippi                      Mississippi
 2102.   Grenada (MS), City of, Mississippi                2152.   Perry (MS), County of, Mississippi
 2103.   Grenada (MS), County of, Mississippi              2153.   Philadelphia (MS), City of, Mississippi
 2104.   Gulfport (MS), City of, Mississippi               2154.   Prentiss (MS), County of, Mississippi
 2105.   Hancock (MS), County of, Mississippi              2155.   Quitman (MS), City of, Mississippi
 2106.   Harrison (MS), County of, Mississippi             2156.   Regional Medical Center (MS), South
 2107.   Hattiesburg (MS), City of, Mississippi                    Central, Mississippi
 2108.   Hinds (MS), County of, Mississippi                2157.   Scott (MS), County of, Mississippi
 2109.   Holly Springs (MS), City of, Mississippi          2158.   Shannon (MS), City of, Mississippi
 2110.   Holmes (MS), County of, Mississippi               2159.   Shubuta (MS), Town of, Mississippi
 2111.   Humphreys (MS), County of, Mississippi            2160.   Starkville (MS), City of, Mississippi
 2112.   Indianola (MS), City of, Mississippi              2161.   Stone (MS), County of, Mississippi
 2113.   Issaquena (MS), County of, Mississippi            2162.   Summit (MS), Town of, Mississippi
 2114.   Itawamba (MS), County of, Mississippi             2163.   Sunflower (MS), County of, Mississippi
 2115.   Iuka (MS), City of, Mississippi                   2164.   Tallahatchie (MS), County of, Mississippi
 2116.   Jackson (MS), City of, Mississippi                2165.   Tate (MS), County of, Mississippi
 2117.   Jackson (MS), County of, Mississippi              2166.   Tippah (MS), County of, Mississippi
 2118.   Jefferson (MS), County of, Mississippi            2167.   Tishomingo (MS), County of, Mississippi
 2119.   Jefferson Davis (MS), County of,                  2168.   Tunica (MS), County of, Mississippi
         Mississippi                                       2169.   Tupelo (MS), City of, Mississippi
 2120.   Jones (MS), County of, Mississippi                2170.   Union (MS), County of, Mississippi
 2121.   Jonestown (MS), City of, Mississippi              2171.   Verona (MS), City of, Mississippi
 2122.   Kemper (MS), County of, Mississippi               2172.   Vicksburg (MS), City of, Mississippi
 2123.   Kosciusko (MS), City of, Mississippi              2173.   Walthall (MS), County of, Mississippi
 2124.   Lafayette (MS), County of, Mississippi            2174.   Washington (MS), County of, Mississippi
 2125.   Lauderdale (MS), County of, Mississippi           2175.   Wayne (MS), County of, Mississippi
 2126.   Laurel (MS), City of, Mississippi                 2176.   Waynesboro (MS), City of, Mississippi
 2127.   Lawrence (MS), County of, Mississippi             2177.   Webb (MS), City of, Mississippi
 2128.   Leakesville (MS), Town of, Mississippi            2178.   Wiggins (MS), City of, Mississippi
 2129.   Lee (MS), County of, Mississippi                  2179.   Yalobusha (MS), County of, Mississippi
 2130.   Leflore (MS), County of, Mississippi              2180.   Adair (MO), County of, Missouri
 2131.   Lincoln (MS), County of, Mississippi              2181.   Andrew (MO), County of, Missouri
 2132.   Long Beach (MS), City of, Mississippi             2182.   Atchison (MO), County of, Missouri
 2133.   Lumberton (MS), City of, Mississippi              2183.   Audrain (MO), County of, Missouri
 2134.   Madison (MS), County of, Mississippi              2184.   Barry (MO), County of, Missouri
 2135.   Marion (MS), County of, Mississippi               2185.   Barton (MO), County of, Missouri
 2136.   Marshall (MS), County of, Mississippi             2186.   Boone (MO), County of, Missouri
 2137.   McLain (MS), Town of, Mississippi                 2187.   Buchanan (MO), County of, Missouri
 2138.   Memorial Hospital at Gulfport (MS),               2188.   Butler (MO), County of, Missouri
         Mississippi                                       2189.   Callaway (MO), County of, Missouri
 2139.   Meridian (MS), City of, Mississippi               2190.   Camden (MO), County of, Missouri
 2140.   Monroe (MS), County of, Mississippi               2191.   Cape Girardeau (MO), County of, Missouri
 2141.   Morton (MS), City of, Mississippi                 2192.   Cass (MO), County of, Missouri
 2142.   Moss Point (MS), City of, Mississippi             2193.   Chariton (MO), County of, Missouri
 2143.   Mound Bayou (MS), City of, Mississippi            2194.   Christian (MO), County of, Missouri
 2144.   Neshoba (MS), County of, Mississippi
 2145.   Nettleton (MS), City of, Mississippi



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 2195. Citizens Memorial Hospital District d/b/a          2243.   Pike (MO), County of, Missouri
       Citizens Memorial Hospital (MO),                   2244.   Polk (MO), County of, Missouri
       Missouri                                           2245.   Pulaski (MO), County of, Missouri
 2196. Clinton (MO), County of, Missouri                  2246.   Ralls (MO), County of, Missouri
 2197. Cole (MO), County of, Missouri                     2247.   Randolph (MO), County of, Missouri
 2198. Crawford (MO), County of, Missouri                 2248.   Ray (MO), County of, Missouri
 2199. Dade (MO), County of, Missouri                     2249.   Reynolds (MO), County of, Missouri
 2200. DeKalb (MO), County of, Missouri                   2250.   Ripley (MO), County of, Missouri
 2201. Dent (MO), County of, Missouri                     2251.   Schuyler (MO), County of, Missouri
 2202. Douglas (MO), County of, Missouri                  2252.   Scott (MO), County of, Missouri
 2203. Dunklin (MO), County of, Missouri                  2253.   Sedalia (MO) City of, Missouri
 2204. Franklin (MO), County of, Missouri                 2254.   Shannon (MO), County of, Missouri
 2205. Gasconade (MO), County of, Missouri                2255.   Shelby (MO), County of, Missouri
 2206. Greene (MO), County of, Missouri                   2256.   Springfield (MO), City of, Missouri
 2207. Grundy (MO), County of, Missouri                   2257.   St. Charles (MO), County of, Missouri
 2208. Harrisonville (MO), City of, Missouri              2258.   St. Clair (MO), County of, Missouri
 2209. Henry (MO), County of, Missouri                    2259.   St. Francois (MO), County of, Missouri
 2210. Hickory (MO), County of, Missouri                  2260.   St. Joseph (MO), City of, Missouri
 2211. Howell (MO), County of, Missouri                   2261.   St. Louis (MO), City of, Missouri
 2212. Independence (MO), City of, Missouri               2262.   St. Louis (MO), County of, Missouri
 2213. Iron (MO), County of, Missouri                     2263.   Ste. Genevieve (MO), County of, Missouri
 2214. Jackson (MO), County of, Missouri                  2264.   Stone (MO), County of, Missouri
 2215. Jasper (MO), County of, Missouri                   2265.   Taney (MO), County of, Missouri
 2216. Jefferson (MO), County of, Missouri                2266.   Texas (MO), County of, Missouri
 2217. Johnson (MO), County of, Missouri                  2267.   Vernon (MO), County of, Missouri
 2218. Joplin (MO), City of, Missouri                     2268.   Warren (MO), County of, Missouri
 2219. Kansas City (MO), City of, Missouri                2269.   Washington (MO), County of, Missouri
 2220. Kinloch (MO), Fire Protection District of          2270.   Webster (MO), County of, Missouri
       St. Louis County, Missouri                         2271.   Worth (MO), County of, Missouri
 2221. Knox (MO), County of, Missouri                     2272.   Wright (MO), County of, Missouri
 2222. Lafayette (MO), County of, Missouri                2273.   Anaconda-Deer Lodge (MT), County of,
 2223. Lawrence (MO), County of, Missouri                         Montana
 2224. Lewis (MO), County of, Missouri                    2274.   Cascade (MT), County of, Montana
 2225. Lincoln (MO), County of, Missouri                  2275.   Gallatin (MT), County of, Montana
 2226. Livingston (MO), County of, Missouri               2276.   Great Falls (MT), City of, Montana
 2227. Madison (MO), County of, Missouri                  2277.   Lake (MT), County of, Montana
 2228. Maries (MO), County of, Missouri                   2278.   Missoula (MT), City of, Montana
 2229. McDonald (MO), County of, Missouri                 2279.   Missoula (MT), County of, Montana
 2230. Miller (MO), County of, Missouri                   2280.   Douglas (NE), County of, Nebraska
 2231. Moniteau (MO), County of, Missouri                 2281.   Keith (NE), County of, Nebraska
 2232. Montgomery (MO), County of, Missouri               2282.   Knox (NE), County of, Nebraska
 2233. Morgan (MO), County of, Missouri                   2283.   Lincoln (NE), County of, Nebraska
 2234. New Madrid (MO), County of, Missouri               2284.   Sarpy (NE), County of, Nebraska
 2235. Nodaway (MO), County of, Missouri                  2285.   South Sioux City (NE), City of, Nebraska
 2236. Northeast Ambulance (MO), Fire                     2286.   Boulder (NV), City of, Nevada
       Protection District of St. Louis County,           2287.   Carson City (NV), Nevada
       Missouri                                           2288.   Central Lyon County Fire Protection
 2237. Osage (MO), County of, Missouri                            District (NV), Nevada
 2238. Ozark (MO), County of, Missouri                    2289.   Churchill (NV), County of, Nevada
 2239. Pemiscot (MO), County of, Missouri                 2290.   Clark (NV), County of, Nevada
 2240. Perry (MO), County of, Missouri                    2291.   Douglas (NV), County of, Nevada
 2241. Pettis (MO), County of, Missouri                   2292.   Ely (NV), City of, Nevada
 2242. Phelps (MO), County of, Missouri                   2293.   Esmeralda (NV), County of, Nevada



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 2294.   Fernley (NV), City of, Nevada                       2336.   Strafford (NH), County of, New Hampshire
 2295.   Henderson (NV), City of, Nevada                     2337.   Sullivan (NH), County of, New Hampshire
 2296.   Humboldt (NV), County of, Nevada                    2338.   Atlantic (NJ), County of, New Jersey
 2297.   Las Vegas (NV), City of, Nevada                     2339.   Barnegat (NJ), Township of, New Jersey
 2298.   Lincoln (NV), County of, Nevada                     2340.   Bayonne (NJ), City of, New Jersey
 2299.   Lyon (NV), County of, Nevada                        2341.   Bergen (NJ), County of, New Jersey
 2300.   Mesquite (NV), City of, Nevada                      2342.   Bloomfield (NJ), The Township of, New
 2301.   Mineral (NV), County of, Nevada                             Jersey
 2302.   North Las Vegas (NV), City of, Nevada               2343.   Brick (NJ), Township of, New Jersey
 2303.   North Lyon County Fire Protection District          2344.   Burlington (NJ), County of, New Jersey
         (NV), Nevada                                        2345.   Camden (NJ), County of, New Jersey
 2304.   Nye (NV), County of, Nevada                         2346.   Cape May (NJ), County of, New Jersey
 2305.   Reno (NV), City of, Nevada                          2347.   Clifton (NJ), City of, New Jersey
 2306.   Sparks (NV), City of, Nevada                        2348.   Clinton (NJ), Town of, New Jersey
 2307.   Washoe (NV), County of, Nevada                      2349.   Cumberland (NJ), County of, New Jersey
 2308.   West Wendover (NV), City of, Nevada                 2350.   Elizabeth (NJ), City of, New Jersey
 2309.   White Pine (NV), County of, Nevada                  2351.   Essex (NJ), County of, New Jersey
 2310.   Belknap (NH), County of, New Hampshire              2352.   Hudson (NJ), County of, New Jersey
 2311.   Belmont (NH), City of, New Hampshire                2353.   Irvington (NJ), Township of, New Jersey
 2312.   Berlin (NH), City of, New Hampshire                 2354.   Jersey City (NJ), City of, New Jersey
 2313.   Board of Education of Goshen School                 2355.   Monmouth (NJ), County of, New Jersey
         District (NH), New Hampshire                        2356.   Newark (NJ), City of, New Jersey
 2314.   Board of Education of Kearsarge RSU-                2357.   Ocean (NJ), County of, New Jersey
         School Administrative Unit 65 (NH), New             2358.   Paramus (NJ), Borough of, New Jersey
         Hampshire                                           2359.   Passaic (NJ), County of, New Jersey
 2315.   Board of Education of Lebanon School                2360.   Paterson (NJ), City of, New Jersey
         District (NH), New Hampshire                        2361.   Ridgefield (NJ) Borough of, New Jersey
 2316.   Board of Education of Pittsfield School             2362.   Saddle Brook (NJ), Township of, New
         District (NH), New Hampshire                                Jersey
 2317.   Board of Education of Tamworth School               2363.   Sussex (NJ), County of, New Jersey
         District (NH), New Hampshire                        2364.   Teaneck (NJ), Township of, New Jersey
 2318.   Carroll (NH), County of, New Hampshire              2365.   Trenton (NJ), City of, New Jersey
 2319.   Cheshire (NH), County of, New Hampshire             2366.   Union (NJ), County of, New Jersey
 2320.   Claremont (NH), City of, New Hampshire              2367.   Alamogordo (NM), City of, New Mexico
 2321.   Concord (NH), City of, New Hampshire                2368.   Albuquerque (NM), City of, New Mexico
 2322.   Coos (NH), County of, New Hampshire                 2369.   Bernalillo (NM), County of
 2323.   Derry (NH), Town of, New Hampshire                          (Commissioners), New Mexico
 2324.   Dover (NH), City of, New Hampshire                  2370.   Catron (NM), County of (Board of
 2325.   Franklin (NH), City of, New Hampshire                       Commissioners), New Mexico
 2326.   Grafton (NH), County of, New Hampshire              2371.   Cibola (NM), County of (Board of
 2327.   Hillsborough (NH), County of, New                           Commissioners), New Mexico
         Hampshire                                           2372.   Colfax (NM), County of (Board of
 2328.   Keene (NH), City of, New Hampshire                          Commissioners), New Mexico
 2329.   Laconia (NH), City of, New Hampshire                2373.   Curry (NM), County of (Board of
 2330.   Londonderry (NH), Town of, New                              Commissioners), New Mexico
         Hampshire                                           2374.   Dona Ana (NM), County of (Board of
 2331.   Manchester (NH), City of, New Hampshire                     Commissioners), New Mexico
 2332.   Merrimack (NH), County of, New                      2375.   Eddy (NM), County of, New Mexico
         Hampshire                                           2376.   Espanola (NM), City of, New Mexico
 2333.   Nashua (NH), City of, New Hampshire                 2377.   Grant (NM), County of, New Mexico
 2334.   Rochester (NH), City of, New Hampshire              2378.   Hidalgo (NM), County of (Board of
 2335.   Rockingham (NH), County of, New                             Commissioners), New Mexico
         Hampshire                                           2379.   Hobbs (NM), City of, New Mexico



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 2380. Las Cruces (NM), City of, New Mexico               2418. Centerport (NY), Fire District of, New
 2381. Lea (NM), County of (Board of                            York
       Commissioners), New Mexico                         2419. Chautauqua (NY), County of, New York
 2382. Lincoln (NM), County of (Board of                  2420. Cheektowaga (NY), Town of, New York
       Commissioners), New Mexico                         2421. Chemung (NY), County of, New York
 2383. Luna (NM), County of (Board of                     2422. Chenango (NY), County of, New York
       Commissioners), New Mexico                         2423. Clarkstown (NY), Town of, New York
 2384. McKinley (NM), County of (Board of                 2424. Clinton (NY), County of, New York
       Commissioners), New Mexico                         2425. Columbia (NY), County of, New York
 2385. Mora (NM), County of, New Mexico                   2426. Cortland (NY) County of, New York
 2386. Otero (NM), County of (Board of                    2427. Dutchess (NY), County of, New York
       Commissioners), New Mexico                         2428. East Hampton (NY), Village of, New York
 2387. Rio Arriba (NM), County of, New Mexico             2429. East Rockaway (NY), Village of, New
 2388. Roosevelt (NM), County of, New Mexico                    York
 2389. San Juan (NM), County of, New Mexico               2430. Erie (NY), County of, New York
 2390. San Miguel (NM) County of (Board of                2431. Essex (NY), County of, New York
       Commissioners), New Mexico                         2432. Farmingdale (NY), Village of, New York
 2391. Sandoval (NM), County of, New Mexico               2433. Floral Park (NY), Village of, New York
 2392. Santa Fe (NM), County of (Board of                 2434. Franklin (NY), County of, New York
       Commissioners), New Mexico                         2435. Fulton (NY), County of, New York
 2393. Santa Fe (NM), City of, New Mexico                 2436. Garden City (NY), Village of, New York
 2394. Sierra (NM), County of (Board of                   2437. Genesee (NY), County of, New York
       Commissioners), New Mexico                         2438. Geneva (NY), City of, New York
 2395. Socorro (NM), County of (Board of                  2439. Great Neck (NY), Village of, New York
       Commissioners), New Mexico                         2440. Greene (NY), County of, New York
 2396. Taos (NM), County of (Board of                     2441. Greenport (NY), Village of, New York
       Commissioners), New Mexico                         2442. Hamilton (NY), County of, New York
 2397. Torrance County Board of Commissioners             2443. Hauppauge (NY), Fire District, New York
       (NM), New Mexico                                   2444. Haverstraw (NY), Town of, New York
 2398. Union (NM), County of (Board of                    2445. Hempstead (NY), Town of, New York
       Commissioners), New Mexico                         2446. Hempstead (NY), Village of, New York
 2399. Valencia (NM), County of (Board of                 2447. Herkimer (NY), County of, New York
       Commissioners), New Mexico                         2448. Herkimer (NY), Village of, New York
 2400. Albany (NY), City of, New York                     2449. Hicksville (NY), Water District of, New
 2401. Albany (NY), County of, New York                         York
 2402. Allegany (NY), County of, New York                 2450. Huntington (NY), Town of, New York
 2403. Amherst (NY), Town of, New York                    2451. Island Park (NY), Village of, New York
 2404. Amityville (NY), Village of, New York              2452. Islandia (NY), Village of, New York
 2405. Amsterdam (NY), City of, New York                  2453. Islip (NY), Town of, New York
 2406. Auburn (NY), City of, New York                     2454. Islip Terrace (NY), Fire District of, New
 2407. Babylon (NY), Town of, New York                          York
 2408. Babylon (NY), Village of, New York                 2455. Ithaca (NY), City of, New York
 2409. Bellmore (NY), Fire District of, New York          2456. Jefferson (NY), County of, New York
 2410. Bellport (NY), Village of, New York                2457. Kingston (NY), City of, New York
 2411. Board of Education of Rochester City               2458. Lackawanna (NY), City of, New York
       School District (NY), New York                     2459. Lake Grove (NY), Village of, New York
 2412. Brookhaven (NY), Town of, New York                 2460. Lancaster (NY), Town of, New York
 2413. Broome (NY), County of, New York                   2461. Lawrence (NY), Village of, New York
 2414. Buffalo (NY), City of, New York                    2462. Levittown (NY), Fire District of, New
 2415. Cattaraugus (NY), County of, New York                    York
 2416. Cayuga (NY), County of, New York                   2463. Lewis (NY), County of, New York
 2417. Centereach (NY), Fire District, New York           2464. Lindenhurst (NY), Village of, New York
                                                          2465. Livingston (NY), County of, New York



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 2466.   Lloyd Harbor (NY), Village of, New York            2507. Port Washington North (NY), Village of,
 2467.   Long Beach (NY), City of, New York                       New York
 2468.   Lynbrook (NY), Village of, New York                2508. Poughkeepsie (NY), City of, New York
 2469.   Madison (NY), County of, New York                  2509. Poughkeepsie (NY), Town of, New York
 2470.   Massapequa Park (NY), Village of, New              2510. Putnam (NY), County of, New York
         York                                               2511. Ramapo (NY), Town of, New York
 2471.   Melville (NY), Fire District of, New York          2512. Rensselaer (NY), County of, New York
 2472.   Merrick Library (NY), New York                     2513. Ridge (NY), Fire District of, New York
 2473.   Mill Neck (NY), Village of, New York               2514. Riverhead (NY), Town of, New York
 2474.   Miller Place (NY), Fire District of, New           2515. Rochester (NY), City of, New York
         York                                               2516. Rockland (NY), County of, New York
 2475.   Millerton (NY), Village of, New York               2517. Rockville Centre Public Library (NY),
 2476.   Monroe (NY), County of, New York                         New York
 2477.   Montgomery (NY), County of, New York               2518. Rome (NY), City of, New York
 2478.   Mount Sinai (NY), Fire District of, New            2519. Rosalyn (NY) Water District, New York
         York                                               2520. Saltaire (NY), Village of, New York
 2479.   Mount Vernon (NY), City of, New York               2521. Saratoga (NY), County of, New York
 2480.   Nassau (NY), County of, New York                   2522. Saratoga Springs (NY), City of, New York
 2481.   Nassau University Medical Center (NY),             2523. Schenectady (NY), City of, New York
         New York                                           2524. Schenectady (NY), County of, New York
 2482.   Nesconset (NY), Fire District of, New              2525. Schoharie (NY), County of, New York
         York                                               2526. Schuyler (NY), County of, New York
 2483.   New Hyde Park (NY), Village of, New                2527. Seneca (NY), County of, New York
         York                                               2528. Smithtown (NY), Fire District of, New
 2484.   New York (NY), City of, New York                         York
 2485.   Niagara (NY), County of, New York                  2529. Smithtown (NY), Town of, New York
 2486.   Nissequogue (NY), Village of, New York             2530. South Farmingdale (NY), Fire District of,
 2487.   North Hempstead (NY), Town of, New                       New York
         York                                               2531. Southampton (NY), Town of, New York
 2488.   North Merrick (NY), Fire District of, New          2532. Southold (NY), Town of, New York
         York                                               2533. St James (NY), Fire District, New York
 2489.   North Patchogue (NY), Fire District of,            2534. St. Lawrence (NY), County of, New York
         New York                                           2535. Steuben (NY), County of, New York
 2490.   Northport (NY), Village of, New York               2536. Stewart Manor (NY), Village of, New York
 2491.   Ogdensburg (NY), City of, New York                 2537. Stony Brook (NY), Fire District of, New
 2492.   Old Westbury (NY), Village of, New York                  York
 2493.   Oneida (NY), County of, New York                   2538. Stony Point (NY), Town of, New York
 2494.   Onondaga (NY), County of, New York                 2539. Suffern (NY), Village of, New York
 2495.   Ontario (NY), County of, New York                  2540. Suffolk (NY), County of, New York
 2496.   Orange (NY), County of, New York                   2541. Sullivan (NY), County of, New York
 2497.   Orangetown (NY), Town of, New York                 2542. Syracuse (NY), City of, New York
 2498.   Orleans (NY) County of, New York                   2543. The Branch (NY), Village of, New York
 2499.   Oswego (NY), County of, New York                   2544. Tioga (NY), County of, New York
 2500.   Otsego (NY), County of, New York                   2545. Tompkins (NY), County of, New York
 2501.   Oyster Bay (NY), Town of, New York                 2546. Tonawanda (NY), Town of, New York
 2502.   Patchogue (NY), Village of, New York               2547. Troy (NY), City of, New York
 2503.   Plainview - Old Bethpage Public Library            2548. Ulster (NY), County of, New York
         (NY), New York                                     2549. Uniondale (NY), Fire District of, New
 2504.   Plattsburgh (NY), City of, New York                      York
 2505.   Poquott (NY), Village of, New York                 2550. Utica (NY), City of, New York
 2506.   Port Washington (NY), Water District of,           2551. Valley Stream (NY), Village of, New York
         New York                                           2552. Wappinger (NY), Town of, New York




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 2553. Wappingers Falls (NY), Village of, New              2599.   Granville (NC), County of, North Carolina
       York                                                2600.   Greene (NC), County of, North Carolina
 2554. Warren (NY), County of, New York                    2601.   Greensboro (NC), City of, North Carolina
 2555. Washington (NY), County of, New York                2602.   Guilford (NC), County of, North Carolina
 2556. West Hampton Dunes (NY), Village of,                2603.   Halifax (NC), County of, North Carolina
       New York                                            2604.   Haywood (NC), County of, North Carolina
 2557. West Haverstraw (NY), Village of, New               2605.   Henderson (NC), City of, North Carolina
       York                                                2606.   Hickory (NC), City of, North Carolina
 2558. West Hempstead (NY) Public Library,                 2607.   Iredell (NC) County of, North Carolina
       New York                                            2608.   Jacksonville (NC), City of, North Carolina
 2559. Westbury (NY), Village of, New York                 2609.   Jones (NC), County of, North Carolina
 2560. Westchester (NY), County of, New York               2610.   Lee (NC), County of, North Carolina
 2561. Wyoming (NY), County of, New York                   2611.   Lenoir (NC), County of, North Carolina
 2562. Yates (NY) County of, New York                      2612.   Lincoln (NC), County of, North Carolina
 2563. Yonkers (NY), City of, New York                     2613.   Madison (NC), County of, North Carolina
 2564. Alamance (NC), County of, North Carolina            2614.   Martin (NC), County of, North Carolina
 2565. Alexander (NC), County of, North Carolina           2615.   McDowell (NC), County of, North
 2566. Alleghany (NC), County of, North Carolina                   Carolina
 2567. Anson (NC), County of, North Carolina               2616.   Mecklenburg (NC), County of, North
 2568. Ashe (NC), County of, North Carolina                        Carolina
 2569. Beaufort (NC), County of, North Carolina            2617.   Mitchell (NC), County of, North Carolina
 2570. Bertie (NC), County of, North Carolina              2618.   Moore (NC), County of, North Carolina
 2571. Bladen (NC), County of, North Carolina              2619.   New Hanover (NC), County of, North
 2572. Brunswick (NC), County of, North                            Carolina
       Carolina                                            2620.   Onslow (NC), County of, North Carolina
 2573. Buncombe (NC), County of, North                     2621.   Orange (NC), County of, North Carolina
       Carolina                                            2622.   Pamlico (NC), County of, North Carolina
 2574. Burke (NC), County of, North Carolina               2623.   Pasquotank (NC), County of, North
 2575. Cabarrus (NC), County of, North Carolina                    Carolina
 2576. Caldwell (NC), County of, North Carolina            2624.   Person (NC), County of, North Carolina
 2577. Camden (NC), County of, North Carolina              2625.   Pitt (NC), County of, North Carolina
 2578. Canton (NC), City of, North Carolina                2626.   Polk (NC), County of, North Carolina
 2579. Carteret (NC), County of, North Carolina            2627.   Randolph (NC), County of, North Carolina
 2580. Caswell (NC), County of, North Carolina             2628.   Richmond (NC), County of, North Carolina
 2581. Catawba (NC), County of, North Carolina             2629.   Robeson (NC), County of, North Carolina
 2582. Chatham (NC), County of, North Carolina             2630.   Rockingham (NC), County of, North
 2583. Cherokee (NC), County of, North Carolina                    Carolina
 2584. Chowan (NC), County of, North Carolina              2631.   Rowan (NC), County of, North Carolina
 2585. Cleveland (NC), County of, North Carolina           2632.   Rutherford (NC), County of, North
 2586. Columbus (NC), County of, North Carolina                    Carolina
 2587. Craven (NC), County of, North Carolina              2633.   Sampson (NC), County of, North Carolina
 2588. Cumberland (NC), County of, North                   2634.   Scotland (NC), County of, North Carolina
       Carolina                                            2635.   Stokes (NC), County of, North Carolina
 2589. Currituck (NC), County of, North Carolina           2636.   Surry (NC), County of, North Carolina
 2590. Dare (NC), County of, North Carolina                2637.   Tyrrell (NC), County of, North Carolina
 2591. Davidson (NC), County of, North Carolina            2638.   Vance (NC), County of, North Carolina
 2592. Davie (NC), County of, North Carolina               2639.   Warren (NC), County of, North Carolina
 2593. Duplin (NC), County of, North Carolina              2640.   Washington (NC), County of, North
 2594. Durham (NC), County of, North Carolina                      Carolina
 2595. Fayetteville (NC), City Of, North Carolina          2641.   Watauga (NC), County of, North Carolina
 2596. Forsyth (NC), County of, North Carolina             2642.   Wayne (NC), County of, North Carolina
 2597. Franklin (NC), County of, North Carolina            2643.   Wilkes (NC), County of, North Carolina
 2598. Gaston (NC), County of, North Carolina              2644.   Wilmington (NC), City of, North Carolina



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 2645. Winston-Salem (NC), City of, North               2691. Belmont (OH), County of (Board of
       Carolina                                               Commissioners), Ohio
 2646. Yadkin (NC), County of, North Carolina           2692. Boston (OH), Township of, Ohio
 2647. Yancey (NC), County of, North Carolina           2693. Boston Heights (OH), Village of, Ohio
 2648. Barnes (ND), County of, North Dakota             2694. Broadview Heights (OH), City of, Ohio
 2649. Benson (ND), County of, North Dakota             2695. Brooklyn Heights (OH), Village of, Ohio
 2650. Bismarck (ND), City of, North Dakota             2696. Brown (OH), County of (Board of
 2651. Burleigh (ND), County of, North Dakota                 Commissioners), Ohio
 2652. Cass (ND), County of, North Dakota               2697. Brunswick (OH), City of, Ohio
 2653. Devils Lake (ND), City of, North Dakota          2698. Butler (OH), County of (Board of
 2654. Dickey (ND), County of, North Dakota                   Commissioners), Ohio
 2655. Dunn (ND), County of, North Dakota               2699. Canton (OH), City of, Ohio
 2656. Eddy (ND), County of, North Dakota               2700. Carroll (OH), County of (Board of
 2657. Fargo (ND), City of, North Dakota                      Commissioners), Ohio
 2658. Foster (ND), County of, North Dakota             2701. Champaign (OH), County of (Board of
 2659. Grand Forks (ND), City of, North Dakota                Commissioners), Ohio
 2660. Grand Forks (ND), County of, North               2702. Cincinnati (OH), City of, Ohio
       Dakota                                           2703. Clermont (OH), County of (Board of
 2661. Lamoure (ND), County of, North Dakota                  Commissioners), Ohio
 2662. Lisbon (ND), City of, North Dakota               2704. Cleveland (OH), City of, Ohio
 2663. McKenzie (ND), County of, North Dakota           2705. Clinton (OH), County of (Board of
 2664. McLean (ND), County of, North Dakota                   Commissioners), Ohio
 2665. Mercer (ND), County of, North Dakota             2706. Clinton (OH), Village of, Ohio
 2666. Mountrail (ND), County of, North Dakota          2707. Columbiana (OH), County of (Board of
 2667. Pembina (ND), County of, North Dakota                  Commissioners), Ohio
 2668. Pierce (ND), County of, North Dakota             2708. Columbus (OH), City of, Ohio
 2669. Ramsey (ND), County of, North Dakota             2709. Copley (OH), Township of, Ohio
 2670. Ransom (ND), County of, North Dakota             2710. Coshocton (OH), County of (Board of
 2671. Richland (ND), County of, North Dakota                 Commissioners), Ohio
 2672. Rolette (ND), County of, North Dakota            2711. Coventry (OH), Township of, Ohio
 2673. Sargent (ND), County of, North Dakota            2712. Crawford (OH), County of (Board of
 2674. Stark (ND), County of, North Dakota                    Commissioners), Ohio
 2675. Towner (ND), County of, North Dakota             2713. Cuyahoga Falls (OH), City of, Ohio
 2676. Walsh (ND), County of, North Dakota              2714. Darke (OH), County of (Commissioners),
 2677. Ward (ND), County of, North Dakota                     Ohio
 2678. Wells (ND), County of, North Dakota              2715. Dayton (OH), City of, Ohio
 2679. Williams (ND), County of, North Dakota           2716. Delaware (OH), County of (Board of
 2680. Adams (OH), County of (Board of                        Commissioners), Ohio
       Commissioners), Ohio                             2717. East Cleveland (OH), City of, Ohio
 2681. Akron (OH), City of, Ohio                        2718. Elyria (OH), City of, Ohio
 2682. Allen (OH), County of (Board of                  2719. Erie (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2683. Alliance (OH), City of, Ohio                     2720. Euclid (OH), City of, Ohio
 2684. Ashland (OH), City of, Ohio                      2721. Fairfield (OH), City of, Ohio
 2685. Ashland (OH), County of (Board of                2722. Fairfield (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2686. Ashtabula (OH), County of, Ohio                  2723. Fairlawn (OH), City of, Ohio
 2687. Athens (OH), County of (Board of                 2724. Fayette (OH), County of, Ohio
       Commissioners), Ohio                             2725. Findlay (OH), City of, Ohio
 2688. Auglaize (OH), County of (Board of               2726. Fostoria (OH), City of, Ohio
       Commissioners), Ohio                             2727. Franklin (OH), County of (Board of
 2689. Aurora (OH), City of, Ohio                             Commissioners), Ohio
 2690. Barberton (OH), City of, Ohio



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 2728. Fulton (OH), County of (Board of                 2765. Medina (OH), County of, Ohio
       Commissioners), Ohio                             2766. Meigs (OH), County of, Ohio
 2729. Gallia (OH), County of (Board of                 2767. Mental Health & Recovery Services Board
       Commissioners), Ohio                                   of Allen, Auglaize, and Hardin Counties
 2730. Garfield Heights (OH), City of, Ohio                   (OH), Ohio
 2731. Geauga (OH), County of (Commissioners),          2768. Mental Health & Recovery Services Board
       Ohio                                                   of Lucas County (OH), Ohio
 2732. Green (OH), City of, Ohio                        2769. Mercer (OH), County of (Board of
 2733. Guernsey (OH), County of (Board of                     Commissioners), Ohio
       Commissioners), Ohio                             2770. Miami (OH), County of (Board of
 2734. Hamilton (OH), City of, Ohio                           Commissioners), Ohio
 2735. Hamilton (OH), County of (Board of               2771. Middletown (OH), City of, Ohio
       Commissioners), Ohio                             2772. Mogadore (OH), Village of, Ohio
 2736. Hancock (OH), County of (Board of                2773. Monroe (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2737. Harrison (OH), County of                         2774. Montgomery (OH), County of (Board of
       (Commissioners), Ohio                                  Commissioners), Ohio
 2738. Hocking (OH), County of (Board of                2775. Morrow (OH), County of (Board of
       Commissioners), Ohio                                   Commisioners), Ohio
 2739. Huron (OH), City of, Ohio                        2776. Munroe Falls (OH), City of, Ohio
 2740. Huron (OH), County of (Board of                  2777. Muskingum (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2741. Ironton (OH), City of, Ohio                      2778. New Franklin (OH), City of, Ohio
 2742. Jackson (OH), County of (Board of                2779. Newburgh Heights (OH), Village of, Ohio
       Commissioners), Ohio                             2780. Noble (OH), County of (Commissioners),
 2743. Jefferson (OH), County of, Ohio                        Ohio
 2744. Kent (OH), City of, Ohio                         2781. North Olmsted (OH), City of, Ohio
 2745. Knox (OH), County of (Board of                   2782. North Ridgeville (OH), City of, Ohio
       Commissioners), Ohio                             2783. North Royalton (OH), City of, Ohio
 2746. Lake (OH), County of, Ohio                       2784. Norton (OH), City of, Ohio
 2747. Lakemore (OH), Village of, Ohio                  2785. Norwalk (OH), City of, Ohio
 2748. Lakewood (OH), City of, Ohio                     2786. Olmsted Falls (OH), City of, Ohio
 2749. Lawrence (OH), County of (Board of               2787. Ottawa (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2750. Lebanon (OH), City of, Ohio                      2788. Painesville (OH), Township of, Ohio
 2751. Licking (OH), County (Board of                   2789. Parma (OH), City of, Ohio
       Commissioners), Ohio                             2790. Parma Heights (OH), City of, Ohio
 2752. Lima (OH), City of, Ohio                         2791. Peninsula (OH), Village of, Ohio
 2753. Logan (OH), County of (Board of                  2792. Perry (OH), County of (Board of
       Commissioners), Ohio                                   Commissioners), Ohio
 2754. Lorain (OH), City of, Ohio                       2793. Pike (OH), County of (Board), Ohio
 2755. Lorain (OH), County of, Ohio                     2794. Portage (OH), County of, Ohio
 2756. Lucas (OH), County of (Board of                  2795. Portsmouth (OH), City of, Ohio
       Commissioners), Ohio                             2796. Ravenna (OH), City of, Ohio
 2757. Lucas County Children Services Board of          2797. Richfield (OH), Village of, Ohio
       Trustees (OH), Ohio                              2798. Richland (OH), County Children's Services
 2758. Lyndhurst (OH), City of, Ohio                          of, Ohio
 2759. Macedonia (OH), City of, Ohio                    2799. Ross (OH), County of, Ohio
 2760. Mansfield (OH), City of, Ohio                    2800. Sandusky (OH), City of, Ohio
 2761. Marietta (OH), City of, Ohio                     2801. Sandusky (OH), County of
 2762. Marion (OH), County of, Ohio                           (Commissioners), Ohio
 2763. Massillon (OH), City of, Ohio                    2802. Scioto (OH), County of (Board of
 2764. Mayfield Heights (OH), City of, Ohio                   Commissioners), Ohio



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 2803. Seneca (OH), County of (Board of                  2847. Bedford (PA), County of, Pennsylvania
       Commissioners), Ohio                              2848. Bensalem (PA), Township of, Pennsylvania
 2804. Seven Hills (OH), City of, Ohio                   2849. Berks (PA) County of (District Attorney
 2805. Shelby (OH), County of (Board of                        John Adams), Pennsylvania
       Commissioners), Ohio                              2850. Bradford (PA), County of, Pennsylvania
 2806. Silver Lake (OH), Village of, Ohio                2851. Bristol (PA), Township, Pennsylvania
 2807. Springfield (OH), Township of, Ohio               2852. Bucks (PA), County of, Pennsylvania
 2808. St. Marys (OH), City of, Ohio                     2853. Bucks (PA) County of (District Attorney
 2809. Stark (OH), County of, Ohio                             Matthew Weintraub), Pennsylvania
 2810. Stow (OH), City of, Ohio                          2854. Cambria (PA), County of, Pennsylvania
 2811. Strongsville (OH), City of, Ohio                  2855. Carbon (PA), County of, Pennsylvania
 2812. Tallmadge (OH), City of, Ohio                     2856. Chester (PA), County of, Pennsylvania
 2813. Toledo (OH), City of, Ohio                        2857. Chester (PA) County of (District Attorney
 2814. Trumbull (OH), County of, Ohio                          Deborah Ryan), Pennsylvania
 2815. Tuscarawas (OH), County of, Ohio                  2858. Clarion (PA), County of, Pennsylvania
 2816. Valley Fire District (OH), Ohio                   2859. Clearfield (PA), County of, Pennsylvania
 2817. Van Wert (OH), City of, Ohio                      2860. Clearfield (PA) County of (District
 2818. Van Wert (OH), County of (Board of                      Attorney Ryan P. Sayers), Pennsylvania
       Commissioners), Ohio                              2861. Clinton (PA), County of, Pennsylvania
 2819. Vinton County (OH), County of (Board of           2862. Coatesville (PA), City of, Pennsylvania
       Commissioners), Ohio                              2863. Columbia (PA), County of, Pennsylvania
 2820. Warren (OH), City of, Ohio                        2864. Cumberland (PA), County of, Pennsylvania
 2821. Warrensville Heights (OH), City of, Ohio          2865. Dauphin (PA) County of, (District Attorney
 2822. Washington (OH), County of, Ohio                        Francis Chardo), Pennsylvania
 2823. Wayne (OH), County of (Board of                   2866. Delaware (PA), County of, Pennsylvania
       Commissioners), Ohio                                 2867. Delaware (PA) County of (District
 2824. Wickliffe (OH), City of, Ohio                            Attorney Jack Stollsteimer), Pennsylvania
 2825. Williams (OH), County of                          2868. Edwardsville (PA), Borough of,
       (Commissioners), Ohio                                   Pennsylvania
 2826. Wyandot (OH), County of (Board of                 2869. Erie (PA), County of, Pennsylvania
       Commissioners), Ohio                                 2870. Erie (PA) County of (District Attorney
 2827. Youngstown (OH), City of, Ohio                           Jack Daneri), Pennsylvania
 2828. Clackamas (OR), County of, Oregon                 2871. Exeter (PA), Borough of, Pennsylvania
 2829. Clatsop (OR), County of, Oregon                   2872. Fairview (PA), Township of, Pennsylvania
 2830. Columbia (OR), County of, Oregon                  2873. Fayette (PA), County of, Pennsylvania
 2831. Coos (OR), County of, Oregon                      2874. Forty Fort (PA), Borough of, Pennsylvania
 2832. Curry (OR), County of, Oregon                     2875. Franklin (PA), County of, Pennsylvania
 2833. Jackson (OR), County of, Oregon                   2876. Greene (PA), County of, Pennsylvania
 2834. Josephine (OR), County of, Oregon                 2877. Hanover (PA), Township of, Pennsylvania
 2835. Lane (OR), County of, Oregon                      2878. Hazleton (PA), City of, Pennsylvania
 2836. Multnomah (OR), County of, Oregon                 2879. Huntingdon (PA), County of, Pennsylvania
 2837. Portland (OR), City of, Oregon                    2880. Indiana (PA), County of, Pennsylvania
 2838. Washington (OR), County of, Oregon                2881. Kingston (PA), Borough of, Pennsylvania
 2839. Yamhill (OR), County of, Oregon                   2882. Lackawanna (PA), County of,
 2840. Adams (PA), County of, Pennsylvania                     Pennsylvania
 2841. Aliquippa (PA), City of, Pennsylvania             2883. Lawrence (PA), County of, Pennsylvania
 2842. Allegheny, (PA), County of, Pennsylvania          2884. Lehigh (PA), County of, Pennsylvania
 2843. Allegheny (PA)County of (District                    2885. Lehigh (PA) County of (District
       Attorney Stephen A. Zappala Jr.),                        Attorney Jack B. Martin), Pennsylvania
       Pennsylvania                                      2886. Lock Haven (PA), City of, Pennsylvania
 2844. Allentown (PA), City of, Pennsylvania             2887. Lower Makefield (PA), Township of,
 2845. Armstrong (PA), County of, Pennsylvania                 Pennsylvania
 2846. Beaver (PA), County of, Pennsylvania



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 2888. Lower Southampton (PA), Township of,               2925. Barceloneta (PR), Municipality of, Puerto
       Pennsylvania                                             Rico
 2889. Luzerne (PA), County of, Pennsylvania              2926. Bayamon (PR), Municipality of, Puerto
 2890. Lycoming (PA), County of, Pennsylvania                   Rico
 2891. Mercer (PA), County of, Pennsylvania               2927. Caguas (PR), Municipality of, Puerto Rico
 2892. Middletown (PA), Township of,                      2928. Canovanas Puerto Rico (PR), Municipality
       Pennsylvania                                             of, Puerto Rico
 2893. Monroe (PA), County of, Pennsylvania               2929. Catano (PR), Municipality of, Puerto Rico
 2894. Morrisville (PA), Borough of,                      2930. Cayey (PR), Municipality of, Puerto Rico
       Pennsylvania                                       2931. Ceiba (PR), Municipality of, Puerto Rico
 2895. Nanticoke (PA), City of, Pennsylvania              2932. Cidra (PR), Municipality of, Puerto Rico
 2896. New Castle (PA), City of, Pennsylvania             2933. Coamo (PR), Municipality of, Puerto Rico
 2897. Newtown (PA), Township of, Pennsylvania            2934. Guayanilla (PR), Municipality of, Puerto
 2898. Norristown (PA), Municipality of,                        Rico
       Pennsylvania                                       2935. Isla de Vieques (PR), Municipality of,
 2899. Northampton (PA) County of (District                     Puerto Rico
       Attorney Terence Houck), Pennsylvania              2936. Juncos (PR), Municipality of, Puerto Rico
 2900. Northumberland (PA), County of,                    2937. Loiza (PR), Municipality of, Puerto Rico
       Pennsylvania                                       2938. Rio Grande (PR), Municipality of, Puerto
 2901. Philadelphia (PA), City of, Pennsylvania                 Rico
 2902. Philadelphia (PA) County of (District              2939. Sabana Grande (PR), Municipality of,
       Attorney Lawrence Krasner), Pennsylvania                 Puerto Rico
 2903. Pike (PA), County of, Pennsylvania                 2940. San Juan (PR), Municipality of, Puerto
 2904. Pittsburgh (PA), City of, Pennsylvania                   Rico
 2905. Plains (PA), Township, Pennsylvania                2941. Vega Alta (PR), Municipality of, Puerto
 2906. Schuylkill (PA), County of, Pennsylvania                 Rico
 2907. Sugar Notch (PA), Borough, Pennsylvania            2942. Villalba (PR), Municipality of, Puerto Rico
 2908. Tioga (PA), County of, Pennsylvania                2943. Yabucoa (PR), Municipality of, Puerto
 2909. Union (PA), Township of, Pennsylvania                    Rico
 2910. Warminster (PA), Township of,                      2944. Barrington (RI), Town of, Rhode Island
       Pennsylvania                                       2945. Bristol (RI), Town of, Rhode Island
 2911. Warrington (PA), Township of,                      2946. Burrillville (RI), Town of, Rhode Island
       Pennsylvania                                       2947. Central Falls (RI), City of, Rhode Island
 2912. Washington (PA), County of, Pennsylvania           2948. Charlestown (RI), Town of, Rhode Island
 2913. West Norriton (PA), Township of,                   2949. Coventry (RI), Town of, Rhode Island
       Pennsylvania                                       2950. Cranston (RI), City of, Rhode Island
 2914. West Pittston (PA), Borough of,                    2951. Cumberland (RI), Town of, Rhode Island
       Pennsylvania                                       2952. East Greenwich (RI), Town of, Rhode
 2915. Westmoreland (PA), County of,                            Island
       Pennsylvania                                       2953. East Providence (RI), City of, Rhode Island
    2916. Westmoreland (PA) County of (District           2954. Foster (RI), Town of, Rhode Island
        Attorney John Peck), Pennsylvania                 2955. Glocester (RI), Town of, Rhode Island
 2917. Wilkes-Barre (PA), City of, Pennsylvania           2956. Hopkinton (RI), Town of, Rhode Island
 2918. Wilkes-Barre (PA), Township,                       2957. Jamestown (RI), Town of, Rhode Island
       Pennsylvania                                       2958. Johnston (RI), Town of, Rhode Island
 2919. Wright (PA), Township of, Pennsylvania             2959. Middletown (RI), Town of, Rhode Island
 2920. Wyoming (PA), Borough of, Pennsylvania             2960. Narragansett (RI), Town of, Rhode Island
 2921. Wyoming (PA), County of, Pennsylvania              2961. Newport (RI), City of, Rhode Island
 2922. York (PA), County of, Pennsylvania                 2962. North Kingstown (RI), Town of, Rhode
 2923. Adjuntas (PR), Municipality of, Puerto                   Island
       Rico                                               2963. North Providence (RI), Town of, Rhode
 2924. Arroyo (PR), Municipality of, Puerto Rico                Island
                                                          2964. Pawtucket (RI), City of, Rhode Island



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 2965.   Portsmouth (RI), Town of, Rhode Island              3010.   Laurens (SC), County of, South Carolina
 2966.   Providence (RI), City of, Rhode Island              3011.   Lee (SC), County of, South Carolina
 2967.   Richmond (RI), Town of, Rhode Island                3012.   Lexington County (SC), South Carolina
 2968.   Scituate (RI), Town of, Rhode Island                3013.   Marion (SC), County of, South Carolina
 2969.   Smithfield (RI), Town of, Rhode Island              3014.   Marlboro (SC), County of, South Carolina
 2970.   South Kingstown (RI), Town of, Rhode                3015.   McCormick (SC), County of, South
         Island                                                      Carolina
 2971.   Warren (RI), Town of, Rhode Island                  3016.   Mt. Pleasant (SC), Town of, South
 2972.   Warwick (RI), City of, Rhode Island                         Carolina
 2973.   West Greenwich (RI), Town of, Rhode                 3017.   Myrtle Beach (SC), City of, South Carolina
         Island                                              3018.   Newberry (SC), County of, South Carolina
 2974.   West Warwick (RI), Town of, Rhode                   3019.   North Charleston (SC), City of, South
         Island                                                      Carolina
 2975.   Westerly (RI), Town of, Rhode Island                3020.   Oconee (SC), County of, South Carolina
 2976.   Woonsocket (RI), City of, Rhode Island              3021.   Orangeburg (SC), City of, South Carolina
 2977.   Abbeville (SC), County of, South Carolina           3022.   Orangeburg (SC), County of, South
 2978.   Aiken (SC), County of, South Carolina                       Carolina
 2979.   Allendale (SC), County of, South Carolina           3023.   Pickens (SC) County of, South Carolina
 2980.   Anderson, (SC), County of, South Carolina           3024.   Richland (SC), County of, South Carolina
 2981.   Bamberg (SC), County of, South Carolina             3025.   Saluda (SC), County of, South Carolina
 2982.   Barnwell (SC), County of, South Carolina            3026.   Spartanburg (SC), County of, South
 2983.   Beaufort (SC), County of, South Carolina                    Carolina
 2984.   Berkeley (SC), County of, South Carolina            3027.   Summerville (SC), Town of, South
 2985.   Calhoun (SC), County of, South Carolina                     Carolina
 2986.   Charleston (SC), City of, South Carolina            3028.   Sumter (SC), County of, South Carolina
 2987.   Charleston (SC), County of, South Carolina          3029.   Union (SC), County of, South Carolina
 2988.   Cherokee (SC), County of, South Carolina            3030.   Williamsburg (SC) County of, South
 2989.   Chester (SC), City of, South Carolina                       Carolina
 2990.   Chester (SC), County of, South Carolina             3031.   York (SC), County of, South Carolina
 2991.   Chesterfield (SC), County of, South                 3032.   Pennington (SD), County of, South Dakota
         Carolina                                            3033.   Alexandria (TN), Town of, Tennessee
 2992.   Clarendon (SC), County of, South Carolina           3034.   Algood (TN), City of, Tennessee
 2993.   Colleton (SC), County of, South Carolina            3035.   Arlington (TN), Town of, Tennessee
 2994.   Columbia (SC), City of, South Carolina              3036.   Baxter (TN), Town of, Tennessee
 2995.   Dillon (SC), County of, South Carolina              3037.   Bedford (TN), County of, Tennessee
 2996.   Dorchester (SC), County of, South                   3038.   Blount (TN), County of, Tennessee
         Carolina                                            3039.   Campbell (TN), County of, Tennessee
 2997.   Edgefield (SC), County, South Carolina              3040.   Cannon (TN), County of, Tennessee
 2998.   Fairfield (SC) County of, South Carolina            3041.   Celina (TN), City of, Tennessee
 2999.   Florence (SC), County of, South Carolina            3042.   Centertown (TN), Town of, Tennessee
 3000.   Georgetown (SC), City of, South Carolina            3043.   Claiborne (TN), County of, Tennessee
 3001.   Georgetown (SC), County of, South                   3044.   Clarksville (TN), City of, Tennessee
         Carolina                                            3045.   Clay (TN), County of, Tennessee
 3002.   Greenville (SC), County of, South Carolina          3046.   Clifton (TN), City of, Tennessee
 3003.   Greenwood (SC), County of, South                    3047.   Columbia (TN), City of, Tennessee
         Carolina                                            3048.   Cookeville (TN), City of, Tennessee
 3004.   Hampton (SC), County of, South Carolina             3049.   Cornersville (TN), Town of, Tennessee
 3005.   Horry (SC), County of, South Carolina               3050.   Crockett (TN), County of, Tennessee
 3006.   Jasper (SC), County of, South Carolina              3051.   Crossville (TN), City of, Tennessee
 3007.   Kershaw (SC) County Hospital Board,                 3052.   Cumberland (TN), County of, Tennessee
         South Carolina                                      3053.   Dandridge (TN), Town of, Tennessee
 3008.   Kershaw (SC), County of, South Carolina             3054.   Decatur (TN), County of, Tennessee
 3009.   Lancaster (SC), County of, South Carolina           3055.   Decatur (TN), Town of, Tennessee



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 3056.   Dekalb (TN), County of, Tennessee                3106.   Wayne (TN), County of, Tennessee
 3057.   Eagleville (TN), City of, Tennessee              3107.   White (TN), County of, Tennessee
 3058.   Fayetteville (TN), City of, Tennessee            3108.   Williamson (TN), County of, Tennessee
 3059.   Fentress (TN), County of, Tennessee              3109.   Angelina (TX), County of, Texas
 3060.   Gatlinburg (TN) City of, Tennessee               3110.   Bailey (TX), County of, Texas
 3061.   Germantown (TN), City of, Tennessee              3111.   Bastrop (TX), County of, Texas
 3062.   Giles (TN), County of, Tennessee                 3112.   Bexar (TX), County of, Texas
 3063.   Greene (TN), County of, Tennessee                3113.   Bexar County Hospital District d/b/a
 3064.   Hamilton (TN), County of, Tennessee                      University Health System (TX), Texas
 3065.   Hancock (TN), County of, Tennessee               3114.   Bowie (TX), County of, Texas
 3066.   Hawkins (TN), County of, Tennessee               3115.   Brazos (TX), County of, Texas
 3067.   Haywood (TN), County of, Tennessee               3116.   Brooks (TX), County of, Texas
 3068.   Henderson (TN), County of, Tennessee             3117.   Burleson (TX), County of, Texas
 3069.   Jefferson (TN), County of, Tennessee             3118.   Burleson County Hospital District (TX),
 3070.   Johnson (TN), County of, Tennessee                       Texas
 3071.   La Vergne (TN), City of, Tennessee               3119.   Burnet (TX), County of, Texas
 3072.   Lauderdale (TN), County of, Tennessee            3120.   Caldwell (TX), County of, Texas
 3073.   Lewisburg (TN), City of, Tennessee               3121.   Calhoun (TX), County of, Texas
 3074.   Lexington (TN), City of, Tennessee               3122.   Cameron (TX), County of, Texas
 3075.   Lynchburg, Moore County Metropolitan             3123.   Camp (TX), County of, Texas
         Government (TN), Tennessee                       3124.   Cass (TX), County of, Texas
 3076.   Madison (TN), County of, Tennessee               3125.   Castro (TX), County of, Texas
 3077.   Marshall (TN), County of, Tennessee              3126.   Cherokee (TX), County of, Texas
 3078.   Maryville (TN), City of, Tennessee               3127.   Childress (TX), County of, Texas
 3079.   Memphis (TN), City of, Tennessee                 3128.   Clay (TX), County of, Texas
 3080.   Millington (TN), City of, Tennessee              3129.   Colorado (TX), County of, Texas
 3081.   Montgomery (TN), County of, Tennessee            3130.   Cooke (TX), County of, Texas
 3082.   Morgan (TN), County of, Tennessee                3131.   Coryell (TX), County of, Texas
 3083.   Mount Pleasant (TN), City of, Tennessee          3132.   Dallas (TX), County of, Texas
 3084.   Murfreesboro (TN), City of, Tennessee            3133.   Dallas County Hospital District d/b/a
 3085.   Nashville and Davidson County (TN),                      Parkland Health & Hospital System (TX),
         Government of, Tennessee                                 Texas
 3086.   Obion (TN), County of, Tennessee                 3134.   Delta (TX), County of, Texas
 3087.   Overton (TN), County of, Tennessee               3135.   Dimmit (TX), County of, Texas
 3088.   Pickett (TN), County of, Tennessee               3136.   Duval (TX), County of, Texas
 3089.   Pigeon Forge (TN), City of, Tennessee            3137.   Eagle Pass (TX), City of, Texas
 3090.   Putnam (TN), County of, Tennessee                3138.   Ector (TX), County of, Texas
 3091.   Ripley (TN), City of, Tennessee                  3139.   El Paso (TX), County of, Texas
 3092.   Rutherford (TN), County of, Tennessee            3140.   Ellis (TX), County of, Texas
 3093.   Scott (TN), County, Tennessee                    3141.   Falls (TX), County of, Texas
 3094.   Shelby (TN), County of (Board of                 3142.   Fannin (TX), County of, Texas
         Commissioners), Tennessee                        3143.   Fort Bend (TX), County of, Texas
 3095.   Shelbyville (TN), City of, Tennessee             3144.   Franklin (TX), County of, Texas
 3096.   Smith (TN), County of, Tennessee                 3145.   Freestone (TX), County of, Texas
 3097.   Smithville (TN), City of, Tennessee              3146.   Galveston (TX), County of, Texas
 3098.   Sparta (TN), City of, Tennessee                  3147.   Grayson (TX), County of, Texas
 3099.   Spencer (TN), Town of, Tennessee                 3148.   Guadalupe (TX), County of, Texas
 3100.   Spring Hill (TN), City of, Tennessee             3149.   Guadalupe Valley Hospital a/k/a
 3101.   Sumner (TN), County of, Tennessee                        Guadalupe Regional Medical Center (TX),
 3102.   Van Buren (TN), County of, Tennessee                     Texas
 3103.   Warren (TN), County of, Tennessee                3150.   Harris (TX), County of, Texas
 3104.   Wartrace (TN), Town of, Tennessee                3151.   Harris County Hospital District d/b/a
 3105.   Washington (TN), County of, Tennessee                    Harris Health System (TX), Texas



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 3152.   Harrison (TX), County of, Texas                    3201.   Roberts (TX), County of, Texas
 3153.   Haskell (TX), County of, Texas                     3202.   Robertson (TX), County of, Texas
 3154.   Hays (TX), County of, Texas                        3203.   Rockwall (TX), County of, Texas
 3155.   Henderson (TX), County of, Texas                   3204.   Rusk (TX), County of, Texas
 3156.   Hidalgo (TX), County of, Texas                     3205.   San Antonio (TX), City of, Texas
 3157.   Hopkins (TX), County of, Texas                     3206.   San Patricio (TX), County of, Texas
 3158.   Houston (TX), City of, Texas                       3207.   San Saba (TX), County of, Texas
 3159.   Houston (TX), County of, Texas                     3208.   Shackelford (TX), County of, Texas
 3160.   Irving Independent School District (TX),           3209.   Shelby (TX), County of, Texas
         Texas                                              3210.   Smith (TX), County of, Texas
 3161.   Jasper (TX), County of, Texas                      3211.   Socorro Independent School District (TX),
 3162.   Jefferson (TX), County of, Texas                           Texas
 3163.   Jim Hogg (TX), County of, Texas                    3212.   Stephens (TX), County of, Texas
 3164.   Jim Wells (TX), County of, Texas                   3213.   Tarrant (TX), County of, Texas
 3165.   Johnson (TX), County of, Texas                     3214.   Tarrant County Hospital District (TX) d/b/a
 3166.   Jones (TX), County of, Texas                               JPS Health Network, Texas
 3167.   Kaufman (TX), County of, Texas                     3215.   Terrell (TX), County of, Texas
 3168.   Kendall (TX), County of, Texas                     3216.   Texarkana Independent School District
 3169.   Kerr (TX), County of, Texas                                (TX), Texas
 3170.   Kinney (TX), County of, Texas                      3217.   Throckmorton (TX), County of, Texas
 3171.   Kleberg (TX), County of, Texas                     3218.   Titus (TX), County of, Texas
 3172.   La Salle (TX), County of, Texas                    3219.   Travis (TX), County of, Texas
 3173.   Lamar (TX), County of, Texas                       3220.   Trinity (TX), County of, Texas
 3174.   Laredo (TX), City of, Texas                        3221.   Upshur (TX), County of, Texas
 3175.   Leon (TX), County of, Texas                        3222.   Uvalde (TX), County of, Texas
 3176.   Leon Valley (TX), City of, Texas                   3223.   Van Zandt (TX), County of, Texas
 3177.   Liberty (TX), County of, Texas                     3224.   Walker (TX), County of, Texas
 3178.   Limestone (TX), County of, Texas                   3225.   Waller (TX), County of, Texas
 3179.   Lubbock (TX), County of, Texas                     3226.   Webb (TX), County of, Texas
 3180.   Madison (TX), County of, Texas                     3227.   West Wharton County (TX) Hospital
 3181.   Marion (TX), County of, Texas                              District, Texas
 3182.   Maverick (TX), County of, Texas                    3228.   Wichita (TX), County of, Texas
 3183.   McLennan (TX), County of, Texas                    3229.   Williamson (TX), County of, Texas
 3184.   McMullen (TX), County of, Texas                    3230.   Wilson (TX), County of, Texas
 3185.   Milam (TX), County of, Texas                       3231.   Wilson County Memorial Hospital District
 3186.   Mitchell (TX), County of, Texas                            (TX), Texas
 3187.   Montgomery (TX), County of, Texas                  3232.   Wood (TX), County of, Texas
 3188.   Morris (TX), County of, Texas                      3233.   Zavala (TX), County of, Texas
 3189.   Nacogdoches (TX), County of, Texas                 3234.   Beaver (UT), County of, Utah
 3190.   Newton (TX), County of, Texas                      3235.   Cache (UT), County of, Utah
 3191.   Nolan (TX), County of, Texas                       3236.   Carbon (UT), County of, Utah
 3192.   Nueces (TX), County of, Texas                      3237.   Daggett (UT), County of, Utah
 3193.   Nueces County Hospital District (TX),              3238.   Davis (UT), County of, Utah
         Texas                                              3239.   Duchesne (UT), County of, Utah
 3194.   Ochiltree County Hospital District (TX),           3240.   Emery (UT), County of, Utah
         Texas                                              3241.   Garfield (UT), County of, Utah
 3195.   Orange (TX), County of, Texas                      3242.   Grand (UT), County of, Utah
 3196.   Palo Pinto County Hospital District a/k/a          3243.   Iron (UT), County of, Utah
         Palo Pinto General Hospital (TX), Texas            3244.   Juab (UT), County of, Utah
 3197.   Panola (TX), County of, Texas                      3245.   Kane (UT), County of, Utah
 3198.   Polk (TX), County of, Texas                        3246.   Millard (UT), County of, Utah
 3199.   Potter (TX), County of, Texas                      3247.   Piute (UT), County of, Utah
 3200.   Red River (TX), County of, Texas                   3248.   Rich (UT), County of, Utah



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 3249.   Salt Lake (UT), County of, Utah                  3300.   Henrico (VA), County of, Virginia
 3250.   San Juan (UT), County of, Utah                   3301.   Henry (VA), County of, Virginia
 3251.   Sanpete (UT), County of, Utah                    3302.   Hopewell (VA), City of, Virginia
 3252.   Sevier (UT), County of, Utah                     3303.   Isle of Wight (VA), County of, Virginia
 3253.   Summit (UT), County of, Utah                     3304.   King and Queen (VA), County of, Virginia
 3254.   Tooele (UT), County of, Utah                     3305.   Lee (VA), County of, Virginia
 3255.   Tri-County Health Department (UT), Utah          3306.   Lexington (VA), City of, Virginia
 3256.   Uintah (UT), County of, Utah                     3307.   Loudoun (VA), County of, Virginia
 3257.   Utah (UT), County of, Utah                       3308.   Louisa (VA), County of, Virginia
 3258.   Wasatch (UT), County of, Utah                    3309.   Madison (VA), County of, Virginia
 3259.   Washington (UT), County of, Utah                 3310.   Martinsville (VA), City of, Virginia
 3260.   Wayne (UT), County of, Utah                      3311.   Mecklenburg (VA), County of, Virginia
 3261.   Weber (UT), County of, Utah                      3312.   Montgomery (VA), County of, Virginia
 3262.   Bennington (VT), Town of, Vermont                3313.   Norfolk (VA), City of, Virginia
 3263.   Brattleboro (VT), Town of, Vermont               3314.   Northampton (VA), County of, Virginia
 3264.   Sharon (VT), Town of, Vermont                    3315.   Northumberland (VA), County of, Virginia
 3265.   St. Albans (VT), City of, Vermont                3316.   Norton (VA), City of, Virginia
 3266.   Accomack (VA), County of, Virginia               3317.   Page (VA), County of, Virginia
 3267.   Alexandria (VA), City of, Virginia               3318.   Patrick (VA), County of, Virginia
 3268.   Alleghany (VA), County of, Virginia              3319.   Pittsylvania (VA), County of, Virginia
 3269.   Amherst (VA), County of, Virginia                3320.   Portsmouth (VA), City of, Virginia
 3270.   Arlington (VA), County of (County                3321.   Prince George (VA), County of, Virginia
         Board), Virginia                                 3322.   Prince William (VA), County of (Board of
 3271.   Bland (VA), County of, Virginia                          Supervisors), Virginia
 3272.   Botetourt (VA), County of, Virginia              3323.   Pulaski (VA), County of, Virginia
 3273.   Bristol (VA), City of, Virginia                  3324.   Radford (VA), City of, Virginia
 3274.   Buchanan (VA), County of, Virginia               3325.   Richlands (VA), Town of, Virginia
 3275.   Buena Vista (VA), City of, Virginia              3326.   Richmond (VA), City of, Virginia
 3276.   Carroll (VA), County of, Virginia                3327.   Richmond (VA), County of, Virginia
 3277.   Charlotte (VA), County of, Virginia              3328.   Roanoke (VA), City of, Virginia
 3278.   Chesapeake (VA), City of, Virginia               3329.   Roanoke (VA), County of, Virginia
 3279.   Chesterfield (VA), County of, Virginia           3330.   Rockbridge (VA), County of, Virginia
 3280.   Covington (VA), City of, Virginia                3331.   Russell (VA), County of, Virginia
 3281.   Culpeper (VA), County of, Virginia               3332.   Salem (VA), City of, Virginia
 3282.   Cumberland (VA), County of, Virginia             3333.   Scott (VA), County of (Board of
 3283.   Danville (VA), City of, Virginia                         Supervisors), Virginia
 3284.   Dickenson (VA), County of, Virginia              3334.   Shenandoah (VA), County of, Virginia
 3285.   Dinwiddie (VA), County of, Virginia              3335.   Smyth (VA), County of, Virginia
 3286.   Emporia (VA), City of, Virginia                  3336.   Stafford (VA), County of, Virginia
 3287.   Fairfax (VA), City of, Virginia                  3337.   Tazewell (VA), County of, Virginia
 3288.   Fairfax (VA), County of (Board of                3338.   Virginia Beach (VA), City of, Virginia
         Supervisors), Virginia                           3339.   Virginia Beach (VA), City of (Sheriff),
 3289.   Fauquier (VA), County of, Virginia                       Virginia
 3290.   Floyd (VA), County of, Virginia                  3340.   Warren (VA), County of, Virginia
 3291.   Franklin (VA), County of, Virginia               3341.   Washington (VA), County of, Virginia
 3292.   Frederick (VA), County of, Virginia              3342.   Waynesboro (VA), City of, Virginia
 3293.   Fredericksburg (VA), City of, Virginia           3343.   Westmoreland (VA), County of, Virginia
 3294.   Galax (VA), City of, Virginia                    3344.   Winchester (VA), City of, Virginia
 3295.   Giles (VA), County of, Virginia                  3345.   Wise (VA), County of (Board of
 3296.   Goochland (VA), County of, Virginia                      Supervisors), Virginia
 3297.   Grayson (VA), County of, Virginia                3346.   Wythe (VA), County of, Virginia
 3298.   Greensville (VA), County of, Virginia            3347.   Adams (WI), County of, Wisconsin
 3299.   Halifax (VA), County of, Virginia                3348.   Ashland (WI), County of, Wisconsin



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 3349.   Barron (WI), County of, Wisconsin               3401.   Ozaukee (WI), County of, Wisconsin
 3350.   Bayfield (WI), County of, Wisconsin             3402.   Pepin (WI), County of, Wisconsin
 3351.   Brown (WI), County of, Wisconsin                3403.   Pierce (WI), County of, Wisconsin
 3352.   Buffalo (WI), County of, Wisconsin              3404.   Pleasant Prairie (WI), Village of,
 3353.   Burnett (WI), County of, Wisconsin                      Wisconsin
 3354.   Calumet (WI), County of, Wisconsin              3405.   Portage (WI), County of, Wisconsin
 3355.   Chippewa (WI), County of, Wisconsin             3406.   Price (WI), County of, Wisconsin
 3356.   Clark (WI), County of, Wisconsin                3407.   Racine (WI), County of, Wisconsin
 3357.   Columbia (WI), County of, Wisconsin             3408.   Richland (WI), County of, Wisconsin
 3358.   Crawford (WI), County of, Wisconsin             3409.   Rock (WI), County of, Wisconsin
 3359.   Cudahy (WI), City of, Wisconsin                 3410.   Rusk (WI), County of, Wisconsin
 3360.   Dane (WI), County of, Wisconsin                 3411.   Sauk (WI), County of, Wisconsin
 3361.   Dodge (WI), County of, Wisconsin                3412.   Sawyer (WI), County of, Wisconsin
 3362.   Door (WI), County of, Wisconsin                 3413.   Shawano (WI), County of, Wisconsin
 3363.   Douglas (WI), County of, Wisconsin              3414.   Sheboygan (WI), County of, Wisconsin
 3364.   Dunn (WI), County of, Wisconsin                 3415.   South Milwaukee (WI), City of, Wisconsin
 3365.   Eau Claire (WI), County of, Wisconsin           3416.   St. Croix (WI), County of, Wisconsin
 3366.   Florence (WI), County of, Wisconsin             3417.   Sturtevant (WI), Village of, Wisconsin
 3367.   Fond du Lac (WI), County of, Wisconsin          3418.   Superior (WI), City of, Wisconsin
 3368.   Forest (WI), County of, Wisconsin               3419.   Taylor (WI), County of, Wisconsin
 3369.   Franklin (WI), City of, Wisconsin               3420.   Trempealeau (WI), County of, Wisconsin
 3370.   Grant (WI), County of, Wisconsin                3421.   Union Grove (WI), Village of, Wisconsin
 3371.   Green (WI), County of, Wisconsin                3422.   Vernon (WI), County of, Wisconsin
 3372.   Green Lake (WI), County of, Wisconsin           3423.   Vilas (WI), County of, Wisconsin
 3373.   Greenfield (WI), City of, Wisconsin             3424.   Walworth (WI), County of, Wisconsin
 3374.   Iowa (WI), County of, Wisconsin                 3425.   Washburn (WI), County of, Wisconsin
 3375.   Iron (WI), County of, Wisconsin                 3426.   Washington (WI), County of, Wisconsin
 3376.   Jackson (WI), County of, Wisconsin              3427.   Waukesha (WI), County of, Wisconsin
 3377.   Janesville (WI), City of, Wisconsin             3428.   Waupaca (WI), County of, Wisconsin
 3378.   Jefferson (WI), County of, Wisconsin            3429.   Waushara (WI), County of, Wisconsin
 3379.   Juneau (WI), County of, Wisconsin               3430.   Wauwatosa (WI), City of, Wisconsin
 3380.   Kenosha (WI), City of, Wisconsin                3431.   West Allis (WI), City of, Wisconsin
 3381.   Kenosha (WI), County of, Wisconsin              3432.   Winnebago (WI), County of, Wisconsin
 3382.   Kewaunee (WI), County of, Wisconsin             3433.   Wood (WI), County of, Wisconsin
 3383.   La Crosse (WI), County of, Wisconsin            3434.   Yorkville (WI), Village of, Wisconsin
 3384.   Lafayette (WI), County of, Wisconsin            3435.   Carbon (WY), County of, Wyoming
 3385.   Langlade (WI), County of, Wisconsin             3436.   Casper (WY), City of, Wyoming
 3386.   Lincoln (WI), County of, Wisconsin              3437.   Cheyenne (WY), City of, Wyoming
 3387.   Manitowoc (WI), County of, Wisconsin            3438.   Green River (WY), City of, Wyoming
 3388.   Marathon (WI), County of, Wisconsin             3439.   Riverton (WY), City of, Wyoming
 3389.   Marinette (WI), City of, Wisconsin              3440.   Rock Springs (WY), City of, Wyoming
 3390.   Marinette (WI), County of, Wisconsin            3441.   Sweetwater (WY), County of, Wyoming
 3391.   Marquette (WI), County of, Wisconsin
 3392.   Menominee (WI), County of, Wisconsin
 3393.   Milwaukee (WI), City of, Wisconsin
 3394.   Milwaukee (WI), County of, Wisconsin
 3395.   Monroe (WI), County of, Wisconsin
 3396.   Mount Pleasant (WI), Village of,
         Wisconsin
 3397.   Oak Creek (WI), City of, Wisconsin
 3398.   Oconto (WI), County of, Wisconsin
 3399.   Oneida (WI), County of, Wisconsin
 3400.   Outagamie (WI), County of, Wisconsin



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                                                   EXHIBIT D

                Later Litigating Subdivision Suspension and Offset Determinations

  Participation        Per Capita         Suspension                               Suspension Deadline and
      Tier             Amount 13          Percentage            Offset Cap               Ending Point
        1                $2,500              66%                   66%            Earlier of (1) 6 months
                                                                                  after denial of a motion to
                                                                                  dismiss, (2) 12 months
                                                                                  from filing, or (3) 6 months
                                                                                  before final pre-trial
                                                                                  conference, and until final
                                                                                  judgment affirmed on
                                                                                  appeal, including
                                                                                  dismissal.
          2               $2,000             33.33%                 34%           Earlier of (1) 6 months
                                                                                  after denial of a motion to
                                                                                  dismiss, (2) 12 months
                                                                                  from filing, or (3) 6 months
                                                                                  before final pre-trial
                                                                                  conference, and until final
                                                                                  judgment affirmed on
                                                                                  appeal, including
                                                                                  dismissal.
          3               $1,500              27.5%                 30%           Earlier of (1) 9 months
                                                                                  after denial of a motion to
                                                                                  dismiss, (2) 12 months
                                                                                  from filing, or (3) 6 months
                                                                                  before final pre-trial
                                                                                  conference, and until final
                                                                                  judgment affirmed on
                                                                                  appeal, including
                                                                                  dismissal.
          4               $1,000               20%                  25%           Earlier of (1) 9 months
                                                                                  after denial of a motion to
                                                                                  dismiss, (2) 12 months
                                                                                  from filing, or (3) 6 months
                                                                                  before final pre-trial
                                                                                  conference, and until final
                                                                                  judgment affirmed on
                                                                                  appeal, including
                                                                                  dismissal.



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   Population will be measured at the level of the Later Litigating Subdivision as described in Section XIV.A,
 Section XIV.B, and Section XIV.C.


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                                                    EXHIBIT E

                                       List of Opioid Remediation Uses


                                                  Schedule A
                                                 Core Strategies

 States and Qualifying Block Grantees shall choose from among the abatement strategies listed in
 Schedule B. However, priority shall be given to the following core abatement strategies (“Core
 Strategies”). 14

                            A.       NALOXONE OR OTHER FDA-APPROVED DRUG TO
                                     REVERSE OPIOID OVERDOSES

                                     1.       Expand training for first responders, schools, community
                                              support groups and families; and

                                     2.       Increase distribution to individuals who are uninsured or
                                              whose insurance does not cover the needed service.

                            B.       MEDICATION-ASSISTED TREATMENT (“MAT”)
                                     DISTRIBUTION AND OTHER OPIOID-RELATED
                                     TREATMENT

                                     1.       Increase distribution of MAT to individuals who are
                                              uninsured or whose insurance does not cover the needed
                                              service;

                                     2.       Provide education to school-based and youth-focused
                                              programs that discourage or prevent misuse;

                                     3.       Provide MAT education and awareness training to
                                              healthcare providers, EMTs, law enforcement, and other
                                              first responders; and

                                     4.       Provide treatment and recovery support services such as
                                              residential and inpatient treatment, intensive outpatient
                                              treatment, outpatient therapy or counseling, and recovery
                                              housing that allow or integrate medication and with other
                                              support services.




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   As used in this Schedule A, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
 new or existing programs.


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                   C.    PREGNANT & POSTPARTUM WOMEN

                         1.    Expand Screening, Brief Intervention, and Referral to
                               Treatment (“SBIRT”) services to non-Medicaid eligible or
                               uninsured pregnant women;

                         2.    Expand comprehensive evidence-based treatment and
                               recovery services, including MAT, for women with co-
                               occurring Opioid Use Disorder (“OUD”) and other
                               Substance Use Disorder (“SUD”)/Mental Health disorders
                               for uninsured individuals for up to 12 months postpartum;
                               and

                         3.    Provide comprehensive wrap-around services to individuals
                               with OUD, including housing, transportation, job
                               placement/training, and childcare.

                   D.    EXPANDING TREATMENT FOR NEONATAL
                         ABSTINENCE SYNDROME (“NAS”)

                         1.    Expand comprehensive evidence-based and recovery
                               support for NAS babies;

                         2.    Expand services for better continuum of care with infant-
                               need dyad; and

                         3.    Expand long-term treatment and services for medical
                               monitoring of NAS babies and their families.

                   E.    EXPANSION OF WARM HAND-OFF PROGRAMS AND
                         RECOVERY SERVICES

                         1.    Expand services such as navigators and on-call teams to
                               begin MAT in hospital emergency departments;

                         2.    Expand warm hand-off services to transition to recovery
                               services;

                         3.    Broaden scope of recovery services to include co-occurring
                               SUD or mental health conditions;

                         4.    Provide comprehensive wrap-around services to individuals
                               in recovery, including housing, transportation, job
                               placement/training, and childcare; and

                         5.    Hire additional social workers or other behavioral health
                               workers to facilitate expansions above.



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                   F.    TREATMENT FOR INCARCERATED POPULATION

                         1.    Provide evidence-based treatment and recovery support,
                               including MAT for persons with OUD and co-occurring
                               SUD/MH disorders within and transitioning out of the
                               criminal justice system; and

                         2.    Increase funding for jails to provide treatment to inmates
                               with OUD.

                   G.    PREVENTION PROGRAMS

                         1.    Funding for media campaigns to prevent opioid use (similar
                               to the FDA’s “Real Cost” campaign to prevent youth from
                               misusing tobacco);

                         2.    Funding for evidence-based prevention programs in
                               schools;

                         3.    Funding for medical provider education and outreach
                               regarding best prescribing practices for opioids consistent
                               with the 2016 CDC guidelines, including providers at
                               hospitals (academic detailing);

                         4.    Funding for community drug disposal programs; and

                         5.    Funding and training for first responders to participate in
                               pre-arrest diversion programs, post-overdose response
                               teams, or similar strategies that connect at-risk individuals
                               to behavioral health services and supports.

                   H.    EXPANDING SYRINGE SERVICE PROGRAMS

                         1.    Provide comprehensive syringe services programs with
                               more wrap-around services, including linkage to OUD
                               treatment, access to sterile syringes and linkage to care and
                               treatment of infectious diseases.

                   I.    EVIDENCE-BASED DATA COLLECTION AND
                         RESEARCH ANALYZING THE EFFECTIVENESS OF THE
                         ABATEMENT STRATEGIES WITHIN THE STATE




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                                                   Schedule B
                                                  Approved Uses

 Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
 or Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs
 or strategies that may include, but are not limited to, the following:

                                          PART ONE: TREATMENT


 A.       TREAT OPIOID USE DISORDER (OUD)

          Support treatment of Opioid Use Disorder (“OUD”) and any co-occurring Substance Use
          Disorder or Mental Health (“SUD/MH”) conditions through evidence-based or evidence-
          informed programs or strategies that may include, but are not limited to, those that: 15

          1.       Expand availability of treatment for OUD and any co-occurring SUD/MH
                   conditions, including all forms of Medication-Assisted Treatment (“MAT”)
                   approved by the U.S. Food and Drug Administration.

          2.       Support and reimburse evidence-based services that adhere to the American
                   Society of Addiction Medicine (“ASAM”) continuum of care for OUD and any co-
                   occurring SUD/MH conditions.

          3.       Expand telehealth to increase access to treatment for OUD and any co-occurring
                   SUD/MH conditions, including MAT, as well as counseling, psychiatric support,
                   and other treatment and recovery support services.

          4.       Improve oversight of Opioid Treatment Programs (“OTPs”) to assure evidence-
                   based or evidence-informed practices such as adequate methadone dosing and low
                   threshold approaches to treatment.

          5.       Support mobile intervention, treatment, and recovery services, offered by
                   qualified professionals and service providers, such as peer recovery coaches, for
                   persons with OUD and any co-occurring SUD/MH conditions and for persons
                   who have experienced an opioid overdose.

          6.       Provide treatment of trauma for individuals with OUD (e.g., violence, sexual
                   assault, human trafficking, or adverse childhood experiences) and family
                   members (e.g., surviving family members after an overdose or overdose fatality),
                   and training of health care personnel to identify and address such trauma.

          7.       Support evidence-based withdrawal management services for people with OUD
                   and any co-occurring mental health conditions.


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   As used in this Schedule B, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
 new or existing programs.


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       8.     Provide training on MAT for health care providers, first responders, students, or
              other supporting professionals, such as peer recovery coaches or recovery
              outreach specialists, including telementoring to assist community-based providers
              in rural or underserved areas.

       9.     Support workforce development for addiction professionals who work with
              persons with OUD and any co-occurring SUD/MH conditions.

       10.    Offer fellowships for addiction medicine specialists for direct patient care,
              instructors, and clinical research for treatments.

       11.    Offer scholarships and supports for behavioral health practitioners or workers
              involved in addressing OUD and any co-occurring SUD/MH or mental health
              conditions, including, but not limited to, training, scholarships, fellowships, loan
              repayment programs, or other incentives for providers to work in rural or
              underserved areas.

       12.    Provide funding and training for clinicians to obtain a waiver under the federal
              Drug Addiction Treatment Act of 2000 (“DATA 2000”) to prescribe MAT for
              OUD, and provide technical assistance and professional support to clinicians who
              have obtained a DATA 2000 waiver.

       13.    Disseminate of web-based training curricula, such as the American Academy of
              Addiction Psychiatry’s Provider Clinical Support Service–Opioids web-based
              training curriculum and motivational interviewing.

       14.    Develop and disseminate new curricula, such as the American Academy of
              Addiction Psychiatry’s Provider Clinical Support Service for Medication–
              Assisted Treatment.

 B.    SUPPORT PEOPLE IN TREATMENT AND RECOVERY

       Support people in recovery from OUD and any co-occurring SUD/MH conditions
       through evidence-based or evidence-informed programs or strategies that may include,
       but are not limited to, the programs or strategies that:

       1.     Provide comprehensive wrap-around services to individuals with OUD and any
              co-occurring SUD/MH conditions, including housing, transportation, education,
              job placement, job training, or childcare.

       2.     Provide the full continuum of care of treatment and recovery services for OUD
              and any co-occurring SUD/MH conditions, including supportive housing, peer
              support services and counseling, community navigators, case management, and
              connections to community-based services.

       3.     Provide counseling, peer-support, recovery case management and residential
              treatment with access to medications for those who need it to persons with OUD
              and any co-occurring SUD/MH conditions.


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       4.    Provide access to housing for people with OUD and any co-occurring SUD/MH
             conditions, including supportive housing, recovery housing, housing assistance
             programs, training for housing providers, or recovery housing programs that allow
             or integrate FDA-approved mediation with other support services.

       5.    Provide community support services, including social and legal services, to assist
             in deinstitutionalizing persons with OUD and any co-occurring SUD/MH
             conditions.

       6.    Support or expand peer-recovery centers, which may include support groups,
             social events, computer access, or other services for persons with OUD and any
             co-occurring SUD/MH conditions.

       7.    Provide or support transportation to treatment or recovery programs or services
             for persons with OUD and any co-occurring SUD/MH conditions.

       8.    Provide employment training or educational services for persons in treatment for
             or recovery from OUD and any co-occurring SUD/MH conditions.

       9.    Identify successful recovery programs such as physician, pilot, and college
             recovery programs, and provide support and technical assistance to increase the
             number and capacity of high-quality programs to help those in recovery.

       10.   Engage non-profits, faith-based communities, and community coalitions to
             support people in treatment and recovery and to support family members in their
             efforts to support the person with OUD in the family.

       11.   Provide training and development of procedures for government staff to
             appropriately interact and provide social and other services to individuals with or
             in recovery from OUD, including reducing stigma.

       12.   Support stigma reduction efforts regarding treatment and support for persons with
             OUD, including reducing the stigma on effective treatment.

       13.   Create or support culturally appropriate services and programs for persons with
             OUD and any co-occurring SUD/MH conditions, including new Americans.

       14.   Create and/or support recovery high schools.

       15.   Hire or train behavioral health workers to provide or expand any of the services or
             supports listed above.

 C.    CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
       (CONNECTIONS TO CARE)

       Provide connections to care for people who have—or are at risk of developing—OUD
       and any co-occurring SUD/MH conditions through evidence-based or evidence-informed
       programs or strategies that may include, but are not limited to, those that:


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       1.    Ensure that health care providers are screening for OUD and other risk factors and
             know how to appropriately counsel and treat (or refer if necessary) a patient for
             OUD treatment.

       2.    Fund SBIRT programs to reduce the transition from use to disorders, including
             SBIRT services to pregnant women who are uninsured or not eligible for
             Medicaid.

       3.    Provide training and long-term implementation of SBIRT in key systems (health,
             schools, colleges, criminal justice, and probation), with a focus on youth and
             young adults when transition from misuse to opioid disorder is common.

       4.    Purchase automated versions of SBIRT and support ongoing costs of the
             technology.

       5.    Expand services such as navigators and on-call teams to begin MAT in hospital
             emergency departments.

       6.    Provide training for emergency room personnel treating opioid overdose patients
             on post-discharge planning, including community referrals for MAT, recovery
             case management or support services.

       7.    Support hospital programs that transition persons with OUD and any co-occurring
             SUD/MH conditions, or persons who have experienced an opioid overdose, into
             clinically appropriate follow-up care through a bridge clinic or similar approach.

       8.    Support crisis stabilization centers that serve as an alternative to hospital
             emergency departments for persons with OUD and any co-occurring SUD/MH
             conditions or persons that have experienced an opioid overdose.

       9.    Support the work of Emergency Medical Systems, including peer support
             specialists, to connect individuals to treatment or other appropriate services
             following an opioid overdose or other opioid-related adverse event.

       10.   Provide funding for peer support specialists or recovery coaches in emergency
             departments, detox facilities, recovery centers, recovery housing, or similar
             settings; offer services, supports, or connections to care to persons with OUD and
             any co-occurring SUD/MH conditions or to persons who have experienced an
             opioid overdose.

       11.   Expand warm hand-off services to transition to recovery services.

       12.   Create or support school-based contacts that parents can engage with to seek
             immediate treatment services for their child; and support prevention, intervention,
             treatment, and recovery programs focused on young people.

       13.   Develop and support best practices on addressing OUD in the workplace.



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       14.    Support assistance programs for health care providers with OUD.

       15.    Engage non-profits and the faith community as a system to support outreach for
              treatment.

       16.    Support centralized call centers that provide information and connections to
              appropriate services and supports for persons with OUD and any co-occurring
              SUD/MH conditions.

 D.    ADDRESS THE NEEDS OF CRIMINAL JUSTICE-INVOLVED PERSONS

       Address the needs of persons with OUD and any co-occurring SUD/MH conditions who
       are involved in, are at risk of becoming involved in, or are transitioning out of the
       criminal justice system through evidence-based or evidence-informed programs or
       strategies that may include, but are not limited to, those that:

       1.     Support pre-arrest or pre-arraignment diversion and deflection strategies for
              persons with OUD and any co-occurring SUD/MH conditions, including
              established strategies such as:

              1.     Self-referral strategies such as the Angel Programs or the Police Assisted
                     Addiction Recovery Initiative (“PAARI”);

              2.     Active outreach strategies such as the Drug Abuse Response Team
                     (“DART”) model;

              3.     “Naloxone Plus” strategies, which work to ensure that individuals who
                     have received naloxone to reverse the effects of an overdose are then
                     linked to treatment programs or other appropriate services;

              4.     Officer prevention strategies, such as the Law Enforcement Assisted
                     Diversion (“LEAD”) model;

              5.     Officer intervention strategies such as the Leon County, Florida Adult
                     Civil Citation Network or the Chicago Westside Narcotics Diversion to
                     Treatment Initiative; or

              6.     Co-responder and/or alternative responder models to address OUD-related
                     911 calls with greater SUD expertise.

       2.     Support pre-trial services that connect individuals with OUD and any co-
              occurring SUD/MH conditions to evidence-informed treatment, including MAT,
              and related services.

       3.     Support treatment and recovery courts that provide evidence-based options for
              persons with OUD and any co-occurring SUD/MH conditions.




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       4.     Provide evidence-informed treatment, including MAT, recovery support, harm
              reduction, or other appropriate services to individuals with OUD and any co-
              occurring SUD/MH conditions who are incarcerated in jail or prison.

       5.     Provide evidence-informed treatment, including MAT, recovery support, harm
              reduction, or other appropriate services to individuals with OUD and any co-
              occurring SUD/MH conditions who are leaving jail or prison or have recently left
              jail or prison, are on probation or parole, are under community corrections
              supervision, or are in re-entry programs or facilities.

       6.     Support critical time interventions (“CTI”), particularly for individuals living with
              dual-diagnosis OUD/serious mental illness, and services for individuals who face
              immediate risks and service needs and risks upon release from correctional
              settings.

       7.     Provide training on best practices for addressing the needs of criminal justice-
              involved persons with OUD and any co-occurring SUD/MH conditions to law
              enforcement, correctional, or judicial personnel or to providers of treatment,
              recovery, harm reduction, case management, or other services offered in
              connection with any of the strategies described in this section.

 E.    ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND
       THEIR FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE
       SYNDROME

       Address the needs of pregnant or parenting women with OUD and any co-occurring
       SUD/MH conditions, and the needs of their families, including babies with neonatal
       abstinence syndrome (“NAS”), through evidence-based or evidence-informed programs
       or strategies that may include, but are not limited to, those that:

       1.     Support evidence-based or evidence-informed treatment, including MAT,
              recovery services and supports, and prevention services for pregnant women—or
              women who could become pregnant—who have OUD and any co-occurring
              SUD/MH conditions, and other measures to educate and provide support to
              families affected by Neonatal Abstinence Syndrome.

       2.     Expand comprehensive evidence-based treatment and recovery services, including
              MAT, for uninsured women with OUD and any co-occurring SUD/MH
              conditions for up to 12 months postpartum.

       3.     Provide training for obstetricians or other healthcare personnel who work with
              pregnant women and their families regarding treatment of OUD and any co-
              occurring SUD/MH conditions.

       4.     Expand comprehensive evidence-based treatment and recovery support for NAS
              babies; expand services for better continuum of care with infant-need dyad; and
              expand long-term treatment and services for medical monitoring of NAS babies
              and their families.


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       5.     Provide training to health care providers who work with pregnant or parenting
              women on best practices for compliance with federal requirements that children
              born with NAS get referred to appropriate services and receive a plan of safe care.

       6.     Provide child and family supports for parenting women with OUD and any co-
              occurring SUD/MH conditions.

       7.     Provide enhanced family support and child care services for parents with OUD
              and any co-occurring SUD/MH conditions.

       8.     Provide enhanced support for children and family members suffering trauma as a
              result of addiction in the family; and offer trauma-informed behavioral health
              treatment for adverse childhood events.

       9.     Offer home-based wrap-around services to persons with OUD and any co-
              occurring SUD/MH conditions, including, but not limited to, parent skills
              training.

       10.    Provide support for Children’s Services—Fund additional positions and services,
              including supportive housing and other residential services, relating to children
              being removed from the home and/or placed in foster care due to custodial opioid
              use.

                                PART TWO: PREVENTION

 F.    PREVENT OVER-PRESCRIBING AND ENSURE APPROPRIATE
       PRESCRIBING AND DISPENSING OF OPIOIDS

       Support efforts to prevent over-prescribing and ensure appropriate prescribing and
       dispensing of opioids through evidence-based or evidence-informed programs or
       strategies that may include, but are not limited to, the following:

       1.     Funding medical provider education and outreach regarding best prescribing
              practices for opioids consistent with the Guidelines for Prescribing Opioids for
              Chronic Pain from the U.S. Centers for Disease Control and Prevention, including
              providers at hospitals (academic detailing).

       2.     Training for health care providers regarding safe and responsible opioid
              prescribing, dosing, and tapering patients off opioids.

       3.     Continuing Medical Education (CME) on appropriate prescribing of opioids.

       4.     Providing Support for non-opioid pain treatment alternatives, including training
              providers to offer or refer to multi-modal, evidence-informed treatment of pain.

       5.     Supporting enhancements or improvements to Prescription Drug Monitoring
              Programs (“PDMPs”), including, but not limited to, improvements that:



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              1.      Increase the number of prescribers using PDMPs;

              2.      Improve point-of-care decision-making by increasing the quantity, quality,
                      or format of data available to prescribers using PDMPs, by improving the
                      interface that prescribers use to access PDMP data, or both; or

              3.      Enable states to use PDMP data in support of surveillance or intervention
                      strategies, including MAT referrals and follow-up for individuals
                      identified within PDMP data as likely to experience OUD in a manner that
                      complies with all relevant privacy and security laws and rules.

       6.     Ensuring PDMPs incorporate available overdose/naloxone deployment data,
              including the United States Department of Transportation’s Emergency Medical
              Technician overdose database in a manner that complies with all relevant privacy
              and security laws and rules.

       7.     Increasing electronic prescribing to prevent diversion or forgery.

       8.     Educating dispensers on appropriate opioid dispensing.

 G.    PREVENT MISUSE OF OPIOIDS

       Support efforts to discourage or prevent misuse of opioids through evidence-based or
       evidence-informed programs or strategies that may include, but are not limited to, the
       following:

       1.     Funding media campaigns to prevent opioid misuse.

       2.     Corrective advertising or affirmative public education campaigns based on
              evidence.

       3.     Public education relating to drug disposal.

       4.     Drug take-back disposal or destruction programs.

       5.     Funding community anti-drug coalitions that engage in drug prevention efforts.

       6.     Supporting community coalitions in implementing evidence-informed prevention,
              such as reduced social access and physical access, stigma reduction—including
              staffing, educational campaigns, support for people in treatment or recovery, or
              training of coalitions in evidence-informed implementation, including the
              Strategic Prevention Framework developed by the U.S. Substance Abuse and
              Mental Health Services Administration (“SAMHSA”).

       7.     Engaging non-profits and faith-based communities as systems to support
              prevention.




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       8.     Funding evidence-based prevention programs in schools or evidence-informed
              school and community education programs and campaigns for students, families,
              school employees, school athletic programs, parent-teacher and student
              associations, and others.

       9.     School-based or youth-focused programs or strategies that have demonstrated
              effectiveness in preventing drug misuse and seem likely to be effective in
              preventing the uptake and use of opioids.

       10.    Create or support community-based education or intervention services for
              families, youth, and adolescents at risk for OUD and any co-occurring SUD/MH
              conditions.

       11.    Support evidence-informed programs or curricula to address mental health needs
              of young people who may be at risk of misusing opioids or other drugs, including
              emotional modulation and resilience skills.

       12.    Support greater access to mental health services and supports for young people,
              including services and supports provided by school nurses, behavioral health
              workers or other school staff, to address mental health needs in young people that
              (when not properly addressed) increase the risk of opioid or another drug misuse.

 H.    PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM REDUCTION)

       Support efforts to prevent or reduce overdose deaths or other opioid-related harms
       through evidence-based or evidence-informed programs or strategies that may include,
       but are not limited to, the following:

       1.     Increased availability and distribution of naloxone and other drugs that treat
              overdoses for first responders, overdose patients, individuals with OUD and their
              friends and family members, schools, community navigators and outreach
              workers, persons being released from jail or prison, or other members of the
              general public.

       2.     Public health entities providing free naloxone to anyone in the community.

       3.     Training and education regarding naloxone and other drugs that treat overdoses
              for first responders, overdose patients, patients taking opioids, families, schools,
              community support groups, and other members of the general public.

       4.     Enabling school nurses and other school staff to respond to opioid overdoses, and
              provide them with naloxone, training, and support.

       5.     Expanding, improving, or developing data tracking software and applications for
              overdoses/naloxone revivals.

       6.     Public education relating to emergency responses to overdoses.



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       7.     Public education relating to immunity and Good Samaritan laws.

       8.     Educating first responders regarding the existence and operation of immunity and
              Good Samaritan laws.

       9.     Syringe service programs and other evidence-informed programs to reduce harms
              associated with intravenous drug use, including supplies, staffing, space, peer
              support services, referrals to treatment, fentanyl checking, connections to care,
              and the full range of harm reduction and treatment services provided by these
              programs.

       10.    Expanding access to testing and treatment for infectious diseases such as HIV and
              Hepatitis C resulting from intravenous opioid use.

       11.    Supporting mobile units that offer or provide referrals to harm reduction services,
              treatment, recovery supports, health care, or other appropriate services to persons
              that use opioids or persons with OUD and any co-occurring SUD/MH conditions.

       12.    Providing training in harm reduction strategies to health care providers, students,
              peer recovery coaches, recovery outreach specialists, or other professionals that
              provide care to persons who use opioids or persons with OUD and any co-
              occurring SUD/MH conditions.

       13.    Supporting screening for fentanyl in routine clinical toxicology testing.

                            PART THREE: OTHER STRATEGIES


 I.    FIRST RESPONDERS

       In addition to items in section C, D and H relating to first responders, support the
       following:

       1.     Education of law enforcement or other first responders regarding appropriate
              practices and precautions when dealing with fentanyl or other drugs.

       2.     Provision of wellness and support services for first responders and others who
              experience secondary trauma associated with opioid-related emergency events.

 J.    LEADERSHIP, PLANNING AND COORDINATION

       Support efforts to provide leadership, planning, coordination, facilitations, training and
       technical assistance to abate the opioid epidemic through activities, programs, or
       strategies that may include, but are not limited to, the following:

       1.     Statewide, regional, local or community regional planning to identify root causes
              of addiction and overdose, goals for reducing harms related to the opioid
              epidemic, and areas and populations with the greatest needs for treatment


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              intervention services, and to support training and technical assistance and other
              strategies to abate the opioid epidemic described in this opioid abatement strategy
              list.

       2.     A dashboard to (a) share reports, recommendations, or plans to spend opioid
              settlement funds; (b) to show how opioid settlement funds have been spent; (c) to
              report program or strategy outcomes; or (d) to track, share or visualize key opioid-
              or health-related indicators and supports as identified through collaborative
              statewide, regional, local or community processes.

       3.     Invest in infrastructure or staffing at government or not-for-profit agencies to
              support collaborative, cross-system coordination with the purpose of preventing
              overprescribing, opioid misuse, or opioid overdoses, treating those with OUD and
              any co-occurring SUD/MH conditions, supporting them in treatment or recovery,
              connecting them to care, or implementing other strategies to abate the opioid
              epidemic described in this opioid abatement strategy list.

       4.     Provide resources to staff government oversight and management of opioid
              abatement programs.

 K.    TRAINING

       In addition to the training referred to throughout this document, support training to abate
       the opioid epidemic through activities, programs, or strategies that may include, but are
       not limited to, those that:

       1.     Provide funding for staff training or networking programs and services to improve
              the capability of government, community, and not-for-profit entities to abate the
              opioid crisis.

       2.     Support infrastructure and staffing for collaborative cross-system coordination to
              prevent opioid misuse, prevent overdoses, and treat those with OUD and any co-
              occurring SUD/MH conditions, or implement other strategies to abate the opioid
              epidemic described in this opioid abatement strategy list (e.g., health care,
              primary care, pharmacies, PDMPs, etc.).

 L.    RESEARCH

       Support opioid abatement research that may include, but is not limited to, the following:

              1.      Monitoring, surveillance, data collection and evaluation of programs and
                      strategies described in this opioid abatement strategy list.

              2.      Research non-opioid treatment of chronic pain.

              3.      Research on improved service delivery for modalities such as SBIRT that
                      demonstrate promising but mixed results in populations vulnerable to
                      opioid use disorders.


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             4.    Research on novel harm reduction and prevention efforts such as the
                   provision of fentanyl test strips.

             5.    Research on innovative supply-side enforcement efforts such as improved
                   detection of mail-based delivery of synthetic opioids.

             6.    Expanded research on swift/certain/fair models to reduce and deter opioid
                   misuse within criminal justice populations that build upon promising
                   approaches used to address other substances (e.g., Hawaii HOPE and
                   Dakota 24/7).

             7.    Epidemiological surveillance of OUD-related behaviors in critical
                   populations, including individuals entering the criminal justice system,
                   including, but not limited to approaches modeled on the Arrestee Drug
                   Abuse Monitoring (“ADAM”) system.

             8.    Qualitative and quantitative research regarding public health risks and
                   harm reduction opportunities within illicit drug markets, including surveys
                   of market participants who sell or distribute illicit opioids.

             9.    Geospatial analysis of access barriers to MAT and their association with
                   treatment engagement and treatment outcomes.




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                                     EXHIBIT F

                   List of States and Overall Allocation Percentages

                            Alabama              1.6419290312%
                              Alaska             0.2584550539%
                       American Samoa            0.0174042885%
                            Arizona              2.3755949882%
                            Arkansas             0.9663486633%
                           California            9.9213830698%
                            Colorado             1.6616291219%
                          Connecticut            1.3343523420%
                            Delaware             0.4900019063%
                      District of Columbia       0.2048876457%
                             Florida             7.0259134409%
                            Georgia              2.7882080114%
                              Guam               0.0509264160%
                             Hawaii              0.3418358185%
                               Idaho             0.5254331620%
                              Illinois           3.3263363702%
                             Indiana             2.2168933059%
                                Iowa             0.7579283477%
                             Kansas              0.8042000625%
                           Kentucky              2.0929730531%
                           Louisiana             1.5154431983%
                              Maine              0.5613880586%
                           Maryland              2.1106090494%
                         Massachusetts           2.3035761083%
                            Michigan             3.4020234989%
                           Minnesota             1.2972597706%
                           Mississippi           0.8898883053%
                            Missouri             2.0056475170%
                            Montana              0.3421667920%
                      N. Mariana Islands         0.0185877315%
                            Nebraska             0.4291907949%
                             Nevada              1.2486754235%
                        New Hampshire            0.6258752503%
                           New Jersey            2.7551354545%
                          New Mexico             0.8557238713%
                           New York              5.3903813405%


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                        North Carolina         3.2502525994%
                         North Dakota          0.1858703224%
                             Ohio              4.3567051408%
                          Oklahoma             1.5831626090%
                            Oregon             1.4236951885%
                         Pennsylvania          4.5882419559%
                          Puerto Rico          0.7263201134%
                         Rhode Island          0.4895626814%
                        South Carolina         1.5834654145%
                         South Dakota          0.2169945907%
                           Tennessee           2.6881474977%
                             Texas             6.2932157196%
                             Utah              1.1889437113%
                           Vermont             0.2844241374%
                        Virgin Islands         0.0340410553%
                            Virginia           2.2801150757%
                          Washington           2.3189040182%
                           Wisconsin           1.7582560561%
                           Wyoming             0.1954758491%




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                                           EXHIBIT G

  Subdivisions Eligible to Receive Direct Allocations from the Subdivision Fund and Default
                           Subdivision Fund Allocation Percentages

 The Subdivisions set forth on this Exhibit G are eligible to receive direct allocations from the
 Subdivision Fund, if such Subdivisions are otherwise eligible to receive such funds under this
 Agreement. By default, the Subdivisions set forth on this Exhibit G shall include: (1) all
 Litigating Subdivisions that are General Purpose Governments; (2) all counties and parishes in
 States with functional counties or parishes; (3) all Subdivisions that are the highest level of
 General Purpose Government in States without functional counties or parishes; and (4) all other
 Subdivisions that are General Purpose Governments with a population of 10,000 or greater. A
 State may elect to add any additional Subdivisions to this Exhibit G at any time prior to the
 Initial Participation Date.

 Immediately upon the effectiveness of any State-Subdivision Agreement, Allocation Statute,
 Statutory Trust, or voluntary redistribution allowed by Section V.D.3 (or upon the effectiveness
 of an amendment to any State-Subdivision Agreement, Allocation Statute, Statutory Trust, or
 voluntary redistribution allowed by Section V.D.3) that addresses allocation from the
 Subdivision Fund, whether before or after the Initial Participation Date, this Exhibit G will
 automatically be amended to reflect the allocation from the Subdivision Fund pursuant to the
 State-Subdivision Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution
 allowed by Section V.D.3.

 For the avoidance of doubt, inclusion on this Exhibit G shall not create any claim for any amount
 of the Settlement Fund, and no such amounts shall be allocated or distributed to any Subdivision
 included herein if such Subdivision does not otherwise meet all requirements to receive any such
 funds pursuant to this Agreement.

 The Parties recognize the benefits of remediation funds reaching all communities, including
 through direct payments from the Subdivision Fund. However, to promote efficiency in the use
 of such funds and avoid administratively-burdensome disbursements that would be too small to
 add a meaningful abatement response, certain Subdivisions do not receive a direct allocation
 from the Subdivision Fund. However, such Subdivisions will benefit from Opioid Remediation
 in their community, and are eligible to receive direct benefits from the Abatement Accounts
 Fund in their State. All settlement funds, whether allocated to a Settling State, an Abatement
 Accounts Fund or a Subdivision listed on this Exhibit G can be used for Opioid Remediation in
 communities not listed herein.

 As provided by Section V.D.4.c, the Allocation Percentages shown below apply to distribution
 of each Settling State’s Subdivision Fund in the absence of a State-Subdivision Agreement,
 Allocation Statute, or Statutory Trust. The allocation that would have otherwise gone to General
 Purpose Government Subdivisions not listed below as receiving a direct allocation shall be
 (1) directed to the county or parish in which such Subdivision is located in Settling States with
 functional counties or parishes if the relevant county or parish is a Participating Subdivision or
 (2) to the highest-level General Purpose Government in which such Subdivision is located in
 Settling States without functional counties or parishes if the relevant highest-level General


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 Purpose Government is a Participating Subdivision. Where the relevant county, parish or
 highest-level General Purpose Government is not a Participating Subdivision, allocations of
 General Purpose Subdivisions not listed below as eligible to become Participating Subdivisions
 shall be allocated pursuant to Section VII.I. The redirecting of funds described in this paragraph
 is intended to promote the efficient use of Opioid Remediation funds while keeping, where
 possible, local control of the distribution of those funds.




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
                AK1        Anchorage Municipality, Alaska           47.6578000000%
                AK2        Fairbanks City, Alaska                    5.1226000000%
                AK3        Fairbanks North Star Borough, Alaska     10.9627000000%
                AK4        Juneau City and Borough, Alaska           5.2324000000%
                AK5        Kenai Peninsula Borough, Alaska           9.4922000000%
                AK6        Ketchikan Gateway Borough, Alaska         2.2406000000%
                AK7        Kodiak Island Borough, Alaska             2.1839000000%
                AK8        Matanuska-Susitna Borough, Alaska        15.4726000000%
                AK9        Wasilla City, Alaska                      1.6351000000%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                AZ1        Apache County, Arizona                   0.3907470000%
                AZ2        Apache Junction City, Arizona            0.2201340000%
                AZ3        Avondale City, Arizona                   0.5677140000%
                AZ4        Benson City, Arizona                     0.0652960000%
                AZ5        Bisbee City, Arizona                     0.0643685000%
                AZ6        Buckeye City, Arizona                    0.2664780000%
                AZ7        Bullhead City, Arizona                   0.6416380000%
                AZ8        Camp Verde Town, Arizona                 0.0416227000%
                AZ9        Carefree Town, Arizona                   0.0231720000%
               AZ10        Casa Grande City, Arizona                0.2125144000%
               AZ11        Cave Creek Town, Arizona                 0.0347580000%
               AZ12        Chandler City, Arizona                   1.6567980000%
               AZ13        Chino Valley Town, Arizona               0.0291788000%
               AZ14        Clarkdale Town, Arizona                  0.0308952000%
               AZ15        Clifton Town, Arizona                    0.0102870000%
               AZ16        Cochise County, Arizona                  1.1773685000%
               AZ17        Coconino County, Arizona                 1.2011808000%
               AZ18        Colorado City Town, Arizona              0.0298778000%
               AZ19        Coolidge City, Arizona                   0.0644448000%
               AZ20        Cottonwood City, Arizona                 0.2098299000%
               AZ21        Dewey-Humboldt Town, Arizona             0.0660814000%
               AZ22        Douglas City, Arizona                    0.1565620000%
               AZ23        Duncan Town, Arizona                     0.0002520000%
               AZ24        Eagar Town, Arizona                      0.1425540000%
               AZ25        El Mirage City, Arizona                  0.2259270000%
               AZ26        Eloy City, Arizona                       1.3418328000%
               AZ27        Flagstaff City, Arizona                  0.3114360000%
               AZ28        Florence Town, Arizona                   0.0456484000%
               AZ29        Fountain Hills Town, Arizona             0.0984810000%
               AZ30        Fredonia Town, Arizona                   0.0052328000%
               AZ31        Gila Bend Town, Arizona                  0.0173790000%
               AZ32        Gila County, Arizona                     0.7780446000%
               AZ33        Gilbert Town, Arizona                    0.9906030000%
               AZ34        Glendale City, Arizona                   1.5235590000%
               AZ35        Globe City, Arizona                      0.1168266000%
               AZ36        Goodyear City, Arizona                   0.4402680000%
               AZ37        Graham County, Arizona                   0.4476494000%
               AZ38        Greenlee County, Arizona                 0.0794610000%
               AZ39        Guadalupe Town, Arizona                  0.0000000000%
               AZ40        Hayden Town, Arizona                     0.0263802000%
               AZ41        Holbrook City, Arizona                   0.0575625000%
               AZ42        Huachuca City Town, Arizona              0.0168805000%
               AZ43        Jerome Town, Arizona                     0.0012873000%
               AZ44        Kearny Town, Arizona                     0.0107408000%
               AZ45        Kingman City, Arizona                    0.4853918000%
               AZ46        La Paz County, Arizona                   0.2670171000%
               AZ47        Lake Havasu City, Arizona                0.6793526000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AZ48        Litchfield Park City, Arizona            0.0231720000%
               AZ49        Mammoth Town, Arizona                    0.0061376000%
               AZ50        Marana Town, Arizona                     0.3841282000%
               AZ51        Maricopa City, Arizona                   0.1047228000%
               AZ52        Maricopa County, Arizona                29.8513290000%
               AZ53        Mesa City, Arizona                       3.5105580000%
               AZ54        Miami Town, Arizona                      0.0309482000%
               AZ55        Mohave County, Arizona                   3.0617398000%
               AZ56        Navajo County, Arizona                   1.0789515000%
               AZ57        Nogales City, Arizona                    0.0834350000%
               AZ58        Oro Valley Town, Arizona                 0.3207284000%
               AZ59        Page City, Arizona                       0.0575608000%
               AZ60        Paradise Valley Town, Arizona            0.1969620000%
               AZ61        Parker Town, Arizona                     0.0156219000%
               AZ62        Patagonia Town, Arizona                  0.0024790000%
               AZ63        Payson Town, Arizona                     0.1846614000%
               AZ64        Peoria City, Arizona                     0.8747430000%
               AZ65        Phoenix City, Arizona                   12.3275040000%
               AZ66        Pima County, Arizona                    13.4612693000%
               AZ67        Pima Town, Arizona                       0.0159618000%
               AZ68        Pinal County, Arizona                    2.0334636000%
               AZ69        Pinetop-Lakeside Town, Arizona           0.0729125000%
               AZ70        Prescott City, Arizona                   0.5917289000%
               AZ71        Prescott Valley Town, Arizona            0.3471419000%
               AZ72        Quartzsite Town, Arizona                 0.0183911000%
               AZ73        Queen Creek Town, Arizona                0.0637230000%
               AZ74        Safford City, Arizona                    0.1929077000%
               AZ75        Sahuarita Town, Arizona                  0.1510407000%
               AZ76        San Luis City, Arizona                   0.0963840000%
               AZ77        Santa Cruz County, Arizona               0.2840860000%
               AZ78        Scottsdale City, Arizona                 2.3114070000%
               AZ79        Sedona City, Arizona                     0.0690392000%
               AZ80        Show Low City, Arizona                   0.1441365000%
               AZ81        Sierra Vista City, Arizona               0.3084865000%
               AZ82        Snowflake Town, Arizona                  0.0451290000%
               AZ83        Somerton City, Arizona                   0.0449792000%
               AZ84        South Tucson City, Arizona               0.0578057000%
               AZ85        Springerville Town, Arizona              0.0740370000%
               AZ86        St. Johns City, Arizona                  0.0826620000%
               AZ87        Star Valley Town, Arizona                0.0039970000%
               AZ88        Superior Town, Arizona                   0.0168784000%
               AZ89        Surprise City, Arizona                   0.5677140000%
               AZ90        Taylor Town, Arizona                     0.0411380000%
               AZ91        Tempe City, Arizona                      1.8943110000%
               AZ92        Thatcher Town, Arizona                   0.0624092000%
               AZ93        Tolleson City, Arizona                   0.1564110000%
               AZ94        Tombstone City, Arizona                  0.0215180000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               AZ95        Tucson City, Arizona                     4.2720277000%
               AZ96        Tusayan Town, Arizona                    0.0113096000%
               AZ97        Wellton Town, Arizona                    0.0122488000%
               AZ98        Wickenburg Town, Arizona                 0.0579300000%
               AZ99        Willcox City, Arizona                    0.0443345000%
               AZ100       Williams City, Arizona                   0.0324096000%
               AZ101       Winkelman Town, Arizona                  0.0011420000%
               AZ102       Winslow City, Arizona                    0.0950165000%
               AZ103       Yavapai County, Arizona                  2.9740921000%
               AZ104       Youngtown, Arizona                       0.0289650000%
               AZ105       Yuma City, Arizona                       0.5285056000%
               AZ106       Yuma County, Arizona                     1.3258824000%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 160 of 602. PageID            #: 583620
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                AR1        Adona City, Arkansas                     0.0020790506%
                AR2        Alexander City, Arkansas                 0.0103476018%
                AR3        Alicia Town, Arkansas                    0.0002309579%
                AR4        Allport Town, Arkansas                   0.0026587350%
                AR5        Alma City, Arkansas                      0.1875236673%
                AR6        Almyra Town, Arkansas                    0.0010881066%
                AR7        Alpena Town, Arkansas                    0.0141319347%
                AR8        Altheimer City, Arkansas                 0.0071081808%
                AR9        Altus City, Arkansas                     0.0161149675%
               AR10        Amagon Town, Arkansas                    0.0016587759%
               AR11        Amity City, Arkansas                     0.0105947297%
               AR12        Anthonyville Town, Arkansas              0.0010978372%
               AR13        Antoine Town, Arkansas                   0.0010576270%
               AR14        Arkadelphia City, Arkansas               0.2710593166%
               AR15        Arkansas City, Arkansas                  0.0026365550%
               AR16        Arkansas County, Arkansas                0.2272004928%
               AR17        Ash Flat City, Arkansas                  0.0560964456%
               AR18        Ashdown City, Arkansas                   0.0210645360%
               AR19        Ashley County, Arkansas                  0.3024558569%
               AR20        Atkins City, Arkansas                    0.0507540769%
               AR21        Aubrey Town, Arkansas                    0.0021166850%
               AR22        Augusta City, Arkansas                   0.0134645321%
               AR23        Austin City, Arkansas                    0.0201747613%
               AR24        Avoca Town, Arkansas                     0.0030227727%
               AR25        Bald Knob City, Arkansas                 0.1048227005%
               AR26        Banks Town, Arkansas                     0.0006822846%
               AR27        Barling City, Arkansas                   0.1588678563%
               AR28        Bassett Town, Arkansas                   0.0011499243%
               AR29        Batesville City, Arkansas                0.1318965785%
               AR30        Bauxite Town, Arkansas                   0.0049816222%
               AR31        Baxter County, Arkansas                  0.8690235470%
               AR32        Bay City, Arkansas                       0.0250493472%
               AR33        Bearden City, Arkansas                   0.0161101022%
               AR34        Beaver Town, Arkansas                    0.0051365958%
               AR35        Beebe City, Arkansas                     0.2412092213%
               AR36        Beedeville Town, Arkansas                0.0018030172%
               AR37        Bella Vista City, Arkansas               0.5136648745%
               AR38        Bellefonte Town, Arkansas                0.0008435545%
               AR39        Belleville City, Arkansas                0.0050880860%
               AR40        Ben Lomond Town, Arkansas                0.0012499489%
               AR41        Benton City, Arkansas                    1.3762616667%
               AR42        Benton County, Arkansas                  1.9493524156%
                                             G-7
Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 161 of 602. PageID            #: 583621
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR43        Bentonville City, Arkansas               1.3212148347%
               AR44        Bergman Town, Arkansas                   0.0080191338%
               AR45        Berryville City, Arkansas                0.1767673815%
               AR47        Big Flat Town, Arkansas                  0.0005552148%
               AR48        Bigelow Town, Arkansas                   0.0028351731%
               AR49        Biggers Town, Arkansas                   0.0002571446%
               AR50        Birdsong Town, Arkansas                  0.0001210597%
               AR51        Black Oak Town, Arkansas                 0.0003079439%
               AR52        Black Rock City, Arkansas                0.0020552966%
               AR53        Black Springs Town, Arkansas             0.0007714338%
               AR54        Blevins City, Arkansas                   0.0042289340%
               AR55        Blue Eye Town, Arkansas                  0.0007084713%
               AR56        Blue Mountain Town, Arkansas             0.0023457827%
               AR57        Bluff City Town, Arkansas                0.0001956131%
               AR58        Blytheville City, Arkansas               0.3444881956%
               AR59        Bodcaw Town, Arkansas                    0.0004892473%
               AR60        Bonanza City, Arkansas                   0.0271534397%
               AR61        Bono City, Arkansas                      0.0166311169%
               AR62        Boone County, Arkansas                   0.6844345049%
               AR63        Booneville City, Arkansas                0.2395670446%
               AR64        Bradford City, Arkansas                  0.0196136795%
               AR65        Bradley City, Arkansas                   0.0127167093%
               AR66        Bradley County, Arkansas                 0.0903557767%
               AR67        Branch City, Arkansas                    0.0001595527%
               AR68        Briarcliff City, Arkansas                0.0001841653%
               AR69        Brinkley City, Arkansas                  0.0788794288%
               AR70        Brookland City, Arkansas                 0.0336729211%
               AR71        Bryant City, Arkansas                    1.0536173112%
               AR72        Buckner City, Arkansas                   0.0065180504%
               AR73        Bull Shoals City, Arkansas               0.0692543217%
               AR74        Burdette Town, Arkansas                  0.0001210597%
               AR75        Cabot City, Arkansas                     0.9626014299%
               AR76        Caddo Valley Town, Arkansas              0.0447599031%
               AR77        Caldwell Town, Arkansas                  0.0042239256%
               AR78        Cale Town, Arkansas                      0.0007827384%
               AR79        Calhoun County, Arkansas                 0.1397959405%
               AR80        Calico Rock City, Arkansas               0.0024459503%
               AR81        Calion City, Arkansas                    0.0029361993%
               AR82        Camden City, Arkansas                    0.4098542963%
               AR83        Cammack Village City, Arkansas           0.0112054660%
               AR84        Campbell Station City, Arkansas          0.0043090681%
               AR85        Caraway City, Arkansas                   0.0225855098%
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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 162 of 602. PageID            #: 583622
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR86        Carlisle City, Arkansas                  0.1468534652%
               AR87        Carroll County, Arkansas                 0.5928260605%
               AR88        Carthage City, Arkansas                  0.0016610654%
               AR89        Casa Town, Arkansas                      0.0015121018%
               AR90        Cash Town, Arkansas                      0.0012319187%
               AR91        Caulksville Town, Arkansas               0.0006928738%
               AR92        Cave City, Arkansas                      0.0850463202%
               AR93        Cave Springs City, Arkansas              0.0320796835%
               AR94        Cedarville City, Arkansas                0.0178802072%
               AR95        Centerton City, Arkansas                 0.1131077079%
               AR96        Central City Town, Arkansas              0.0174268772%
               AR97        Charleston City, Arkansas                0.0410054775%
               AR98        Cherokee Village City, Arkansas          0.2125413902%
               AR99        Cherry Valley City, Arkansas             0.0081466329%
               AR100       Chester Town, Arkansas                   0.0004361585%
               AR101       Chicot County, Arkansas                  0.2832352637%
               AR102       Chidester City, Arkansas                 0.0007419559%
               AR103       Clarendon City, Arkansas                 0.0270484068%
               AR104       Clark County, Arkansas                   0.3342708117%
               AR105       Clarksville City, Arkansas               0.2458837581%
               AR106       Clay County, Arkansas                    0.0479674136%
               AR107       Cleburne County, Arkansas                0.3503158049%
               AR108       Cleveland County, Arkansas               0.1143679597%
               AR109       Clinton City, Arkansas                   0.0824034689%
               AR110       Coal Hill City, Arkansas                 0.1328713526%
               AR111       Colt City, Arkansas                      0.0085205444%
               AR112       Columbia County, Arkansas                0.0671663991%
               AR113       Concord Town, Arkansas                   0.0150785188%
               AR114       Conway City, Arkansas                    2.0922743015%
               AR115       Conway County, Arkansas                  0.5138971203%
               AR116       Corning City, Arkansas                   0.0191809554%
               AR117       Cotter City, Arkansas                    0.0233925747%
               AR118       Cotton Plant City, Arkansas              0.0024986099%
               AR119       Cove Town, Arkansas                      0.0001777260%
               AR120       Coy Town, Arkansas                       0.0078196572%
               AR121       Craighead County, Arkansas               0.9265189050%
               AR122       Crawford County, Arkansas                0.9565887967%
               AR123       Crawfordsville Town, Arkansas            0.0037229444%
               AR124       Crittenden County, Arkansas              0.4864689351%
               AR125       Cross County, Arkansas                   0.3114968436%
               AR126       Crossett City, Arkansas                  0.2482926464%
               AR127       Cushman City, Arkansas                   0.0031235127%
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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 163 of 602. PageID            #: 583623
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               AR128       Daisy Town, Arkansas                     0.0019036142%
               AR129       Dallas County, Arkansas                  0.1170103816%
               AR130       Damascus Town, Arkansas                  0.0328833141%
               AR131       Danville City, Arkansas                  0.0554598088%
               AR132       Dardanelle City, Arkansas                0.1270318663%
               AR133       Datto Town, Arkansas                     0.0002041989%
               AR134       De Queen City, Arkansas                  0.1825177187%
               AR135       De Valls Bluff City, Arkansas            0.0153369512%
               AR136       Decatur City, Arkansas                   0.0461206088%
               AR137       Delaplaine Town, Arkansas                0.0012409338%
               AR138       Delight City, Arkansas                   0.0019036142%
               AR139       Dell Town, Arkansas                      0.0049627334%
               AR140       Denning Town, Arkansas                   0.0066893371%
               AR141       Dermott City, Arkansas                   0.0098811069%
               AR142       Des Arc City, Arkansas                   0.0461902968%
               AR143       Desha County, Arkansas                   0.1880442527%
               AR144       Dewitt City, Arkansas                    0.0561472449%
               AR145       Diamond City, Arkansas                   0.0067481498%
               AR146       Diaz City, Arkansas                      0.0144799456%
               AR147       Dierks City, Arkansas                    0.0109843817%
               AR148       Donaldson Town, Arkansas                 0.0097288521%
               AR149       Dover City, Arkansas                     0.0357561215%
               AR150       Drew County, Arkansas                    0.4314342663%
               AR151       Dumas City, Arkansas                     0.0345209116%
               AR152       Dyer City, Arkansas                      0.0039248537%
               AR153       Dyess Town, Arkansas                     0.0004842389%
               AR154       Earle City, Arkansas                     0.0169920066%
               AR155       East Camden Town, Arkansas               0.0077825952%
               AR156       Edmondson Town, Arkansas                 0.0080664988%
               AR157       Egypt Town, Arkansas                     0.0007186312%
               AR158       El Dorado City, Arkansas                 0.7549722601%
               AR159       Elaine City, Arkansas                    0.0061272536%
               AR160       Elkins City, Arkansas                    0.0584820092%
               AR161       Elm Springs City, Arkansas               0.0169270407%
               AR162       Emerson Town, Arkansas                   0.0007712907%
               AR163       Emmet City, Arkansas                     0.0006732695%
               AR164       England City, Arkansas                   0.1277733929%
               AR165       Enola Town, Arkansas                     0.0166283981%
               AR166       Etowah Town, Arkansas                    0.0016945500%
               AR167       Eudora City, Arkansas                    0.0090127967%
               AR168       Eureka Springs City, Arkansas            0.3891361972%
               AR169       Evening Shade City, Arkansas             0.0112877465%
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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 164 of 602. PageID            #: 583624
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR170       Everton Town, Arkansas                   0.0023825585%
               AR171       Fairfield Bay City, Arkansas             0.0994183710%
               AR172       Fargo Town, Arkansas                     0.0003540210%
               AR173       Farmington City, Arkansas                0.0908450240%
               AR174       Faulkner County, Arkansas                1.0072116540%
               AR175       Fayetteville City, Arkansas              2.1103658624%
               AR176       Felsenthal Town, Arkansas                0.0017181610%
               AR177       Fifty-Six City, Arkansas                 0.0004614866%
               AR178       Fisher City, Arkansas                    0.0019605666%
               AR179       Flippin City, Arkansas                   0.0956901320%
               AR180       Fordyce City, Arkansas                   0.0545063561%
               AR181       Foreman City, Arkansas                   0.0020583016%
               AR182       Forrest City, Arkansas                   0.2961090931%
               AR183       Fort Smith City, Arkansas                3.8434930088%
               AR184       Fouke City, Arkansas                     0.0054372418%
               AR185       Fountain Hill Town, Arkansas             0.0007150537%
               AR186       Fountain Lake Town, Arkansas             0.0028270166%
               AR187       Fourche Town, Arkansas                   0.0009659021%
               AR188       Franklin County, Arkansas                0.5981687154%
               AR189       Franklin Town, Arkansas                  0.0147063245%
               AR190       Fredonia (Biscoe) Town, Arkansas         0.0078030580%
               AR191       Friendship Town, Arkansas                0.0051302995%
               AR192       Fulton County, Arkansas                  0.4958178657%
               AR193       Fulton Town, Arkansas                    0.0066352466%
               AR194       Garfield Town, Arkansas                  0.0074476060%
               AR195       Garland County, Arkansas                 1.7334588443%
               AR196       Garland Town, Arkansas                   0.0002891982%
               AR197       Garner Town, Arkansas                    0.0077934705%
               AR198       Gassville City, Arkansas                 0.0727563250%
               AR199       Gateway Town, Arkansas                   0.0062878080%
               AR200       Gentry City, Arkansas                    0.0904861377%
               AR201       Georgetown, Arkansas                     0.0040265954%
               AR202       Gilbert Town, Arkansas                   0.0024831554%
               AR203       Gillett City, Arkansas                   0.0114616089%
               AR204       Gillham Town, Arkansas                   0.0013801668%
               AR205       Gilmore City, Arkansas                   0.0000954454%
               AR206       Glenwood City, Arkansas                  0.0480021861%
               AR207       Goshen Town, Arkansas                    0.0031660124%
               AR208       Gosnell City, Arkansas                   0.0272347186%
               AR209       Gould City, Arkansas                     0.0171248002%
               AR210       Grady City, Arkansas                     0.0313103962%
               AR211       Grannis City, Arkansas                   0.0009242610%
                                            G-11
Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 165 of 602. PageID            #: 583625
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR212       Grant County, Arkansas                   0.2664481715%
               AR213       Gravette City, Arkansas                  0.0803454535%
               AR214       Green Forest City, Arkansas              0.1176088116%
               AR215       Greenbrier City, Arkansas                0.0720066419%
               AR216       Greene County, Arkansas                  0.5298528213%
               AR217       Greenland City, Arkansas                 0.0237445924%
               AR218       Greenway City, Arkansas                  0.0004757962%
               AR219       Greenwood City, Arkansas                 0.2310067194%
               AR220       Greers Ferry City, Arkansas              0.0499860774%
               AR221       Griffithville Town, Arkansas             0.0045461792%
               AR222       Grubbs City, Arkansas                    0.0056885194%
               AR223       Guion Town, Arkansas                     0.0188333737%
               AR224       Gum Springs Town, Arkansas               0.0030512489%
               AR225       Gurdon City, Arkansas                    0.0633258293%
               AR226       Guy City, Arkansas                       0.0155481618%
               AR227       Hackett City, Arkansas                   0.0171567108%
               AR228       Hamburg City, Arkansas                   0.0524650830%
               AR229       Hampton City, Arkansas                   0.0149258347%
               AR230       Hardy City, Arkansas                     0.0225704847%
               AR231       Harrell Town, Arkansas                   0.0015608978%
               AR232       Harrisburg City, Arkansas                0.0610374284%
               AR233       Harrison City, Arkansas                  0.7509041666%
               AR234       Hartford City, Arkansas                  0.0079703379%
               AR235       Hartman City, Arkansas                   0.0041808536%
               AR236       Haskell City, Arkansas                   0.0719017520%
               AR237       Hatfield Town, Arkansas                  0.0003119506%
               AR238       Havana City, Arkansas                    0.0028832535%
               AR239       Haynes Town, Arkansas                    0.0021807923%
               AR240       Hazen City, Arkansas                     0.0648458015%
               AR241       Heber Springs City, Arkansas             0.3767547633%
               AR242       Hector Town, Arkansas                    0.0046732490%
               AR243       Helena-West Helena City, Arkansas        0.1739214762%
               AR244       Hempstead County, Arkansas               0.2734659153%
               AR245       Hermitage City, Arkansas                 0.0121839606%
               AR246       Hickory Ridge City, Arkansas             0.0037770349%
               AR247       Higden Town, Arkansas                    0.0085654767%
               AR248       Higginson Town, Arkansas                 0.0151972889%
               AR249       Highfill Town, Arkansas                  0.0156011076%
               AR250       Highland City, Arkansas                  0.0298718460%
               AR251       Hindsville Town, Arkansas                0.0033816590%
               AR252       Holland City, Arkansas                   0.0148864831%
               AR253       Holly Grove City, Arkansas               0.0044608936%
                                            G-12
Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 166 of 602. PageID            #: 583626
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               AR254       Hope City, Arkansas                      0.2248866206%
               AR255       Horatio City, Arkansas                   0.0029417800%
               AR256       Horseshoe Bend City, Arkansas            0.1112109623%
               AR257       Horseshoe Lake Town, Arkansas            0.0014319677%
               AR258       Hot Spring County, Arkansas              0.4782149797%
               AR259       Hot Springs City, Arkansas               3.5617977507%
               AR260       Houston Town, Arkansas                   0.0052922849%
               AR261       Howard County, Arkansas                  0.1730249760%
               AR262       Hoxie City, Arkansas                     0.0120318489%
               AR263       Hughes City, Arkansas                    0.0113608689%
               AR264       Humnoke City, Arkansas                   0.0148176536%
               AR265       Humphrey City, Arkansas                  0.0142685920%
               AR266       Hunter Town, Arkansas                    0.0001735762%
               AR267       Huntington City, Arkansas                0.0062142563%
               AR268       Huntsville City, Arkansas                0.0854508543%
               AR269       Huttig City, Arkansas                    0.0090756161%
               AR270       Imboden Town, Arkansas                   0.0007621325%
               AR271       Independence County, Arkansas            1.0893020276%
               AR272       Izard County, Arkansas                   0.5513048629%
               AR273       Jackson County, Arkansas                 0.1817241049%
               AR274       Jacksonport Town, Arkansas               0.0050680525%
               AR275       Jacksonville City, Arkansas              2.6389305280%
               AR276       Jasper City, Arkansas                    0.0070526594%
               AR277       Jefferson County, Arkansas               0.5992841535%
               AR278       Jennette Town, Arkansas                  0.0012409338%
               AR279       Jericho Town, Arkansas                   0.0009641849%
               AR281       Johnson City, Arkansas                   0.1307711237%
               AR282       Johnson County, Arkansas                 0.3131687844%
               AR283       Joiner City, Arkansas                    0.0294738943%
               AR284       Jonesboro City, Arkansas                 2.1740597362%
               AR285       Judsonia City, Arkansas                  0.0470208295%
               AR286       Junction City, Arkansas                  0.0041819983%
               AR287       Keiser City, Arkansas                    0.0065363668%
               AR288       Kensett City, Arkansas                   0.0362397881%
               AR289       Kibler City, Arkansas                    0.0431741065%
               AR290       Kingsland City, Arkansas                 0.0062036672%
               AR291       Knobel City, Arkansas                    0.0009218283%
               AR292       Knoxville Town, Arkansas                 0.0058832739%
               AR293       Lafayette County, Arkansas               0.0910619584%
               AR294       Lafe Town, Arkansas                      0.0028363178%
               AR295       Lagrange Town, Arkansas                  0.0008239503%
               AR296       Lake City, Arkansas                      0.0259733220%
                                            G-13
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR297       Lake View City, Arkansas                 0.0047133160%
               AR298       Lake Village City, Arkansas              0.0224886334%
               AR299       Lakeview City, Arkansas                  0.0193402219%
               AR300       Lamar City, Arkansas                     0.1021685446%
               AR301       Lavaca City, Arkansas                    0.0302604964%
               AR302       Lawrence County, Arkansas                0.4807663922%
               AR303       Leachville City, Arkansas                0.0232401768%
               AR304       Lead Hill Town, Arkansas                 0.0069168607%
               AR305       Lee County, Arkansas                     0.0989039387%
               AR306       Leola Town, Arkansas                     0.0013687190%
               AR307       Lepanto City, Arkansas                   0.0682260295%
               AR308       Leslie City, Arkansas                    0.0254444370%
               AR309       Lewisville City, Arkansas                0.0166148039%
               AR310       Lincoln City, Arkansas                   0.0464338472%
               AR311       Lincoln County, Arkansas                 0.1387881111%
               AR312       Little Flock City, Arkansas              0.0530723850%
               AR313       Little River County, Arkansas            0.3040825791%
               AR314       Little Rock City, Arkansas               6.7135694892%
               AR315       Lockesburg City, Arkansas                0.0062672021%
               AR316       Logan County, Arkansas                   0.5058103018%
               AR317       London City, Arkansas                    0.0142372538%
               AR318       Lonoke City, Arkansas                    0.2452247983%
               AR319       Lonoke County, Arkansas                  0.5819398431%
               AR320       Louann Town, Arkansas                    0.0002119261%
               AR321       Luxora City, Arkansas                    0.0119226662%
               AR322       Lynn Town, Arkansas                      0.0001385175%
               AR323       Madison City, Arkansas                   0.0058260353%
               AR324       Madison County, Arkansas                 0.3196927018%
               AR325       Magazine City, Arkansas                  0.0318730520%
               AR326       Magness Town, Arkansas                   0.0014179443%
               AR327       Magnolia City, Arkansas                  0.5824169272%
               AR328       Malvern City, Arkansas                   0.3835695961%
               AR329       Mammoth Spring City, Arkansas            0.0072408314%
               AR330       Manila City, Arkansas                    0.0409124647%
               AR331       Mansfield City, Arkansas                 0.0007997669%
               AR332       Marianna City, Arkansas                  0.0846648246%
               AR333       Marie Town, Arkansas                     0.0009849339%
               AR334       Marion City, Arkansas                    0.1126915829%
               AR335       Marion County, Arkansas                  0.3952336867%
               AR336       Marked Tree City, Arkansas               0.0992021520%
               AR337       Marmaduke City, Arkansas                 0.0391761304%
               AR338       Marvell City, Arkansas                   0.0610375715%
                                            G-14
Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 168 of 602. PageID            #: 583628
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               AR339       Maumelle City, Arkansas                  0.2572012688%
               AR340       Mayflower City, Arkansas                 0.0608694329%
               AR341       Maynard Town, Arkansas                   0.0013140561%
               AR342       McCaskill Town, Arkansas                 0.0012894435%
               AR343       McCrory City, Arkansas                   0.0147483949%
               AR344       McDougal Town, Arkansas                  0.0001189133%
               AR345       McGehee City, Arkansas                   0.0429993856%
               AR346       McNab Town, Arkansas                     0.0009151028%
               AR347       Mcrae City, Arkansas                     0.0307843730%
               AR348       Melbourne City, Arkansas                 0.0687295865%
               AR349       Mena City, Arkansas                      0.7716866592%
               AR350       Menifee Town, Arkansas                   0.0106144770%
               AR351       Midland Town, Arkansas                   0.0002701664%
               AR352       Miller County, Arkansas                  0.3769094507%
               AR353       Mineral Springs City, Arkansas           0.0133569235%
               AR354       Minturn Town, Arkansas                   0.0002323889%
               AR355       Mississippi County, Arkansas             0.4561503415%
               AR356       Mitchellville City, Arkansas             0.0000190318%
               AR357       Monette City, Arkansas                   0.0230987974%
               AR358       Monroe County, Arkansas                  0.0751267203%
               AR359       Montgomery County, Arkansas              0.2264091685%
               AR360       Monticello City, Arkansas                0.0526747196%
               AR361       Montrose City, Arkansas                  0.0059883068%
               AR362       Moorefield Town, Arkansas                0.0009616092%
               AR363       Moro Town, Arkansas                      0.0019858947%
               AR364       Morrilton City, Arkansas                 0.2597150469%
               AR365       Morrison Bluff Town, Arkansas            0.0001732900%
               AR366       Mount Ida City, Arkansas                 0.0133550632%
               AR367       Mount Pleasant Town, Arkansas            0.0122294653%
               AR368       Mount Vernon Town, Arkansas              0.0071675659%
               AR369       Mountain Home City, Arkansas             0.8447100025%
               AR370       Mountain Pine City, Arkansas             0.0111311989%
               AR371       Mountainburg City, Arkansas              0.0505877986%
               AR372       Mulberry City, Arkansas                  0.0839496278%
               AR373       Murfreesboro City, Arkansas              0.0401878235%
               AR374       Nashville City, Arkansas                 0.1174004630%
               AR375       Nevada County, Arkansas                  0.1042972498%
               AR376       Newark City, Arkansas                    0.0743959259%
               AR377       Newport City, Arkansas                   0.2957024125%
               AR378       Newton County, Arkansas                  0.2538955941%
               AR379       Norfork City, Arkansas                   0.0071735760%
               AR380       Norman Town, Arkansas                    0.0054255078%
                                            G-15
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR381       Norphlet City, Arkansas                  0.0199309247%
               AR382       North Little Rock City, Arkansas         1.6145764729%
               AR383       Oak Grove Heights Town, Arkansas         0.0108133813%
               AR384       Oak Grove Town, Arkansas                 0.0031881924%
               AR385       Oakhaven Town, Arkansas                  0.0008458440%
               AR386       Oden Town, Arkansas                      0.0002086349%
               AR387       Ogden City, Arkansas                     0.0000829960%
               AR388       Oil Trough Town, Arkansas                0.0018456600%
               AR389       O'Kean Town, Arkansas                    0.0001714297%
               AR390       Okolona Town, Arkansas                   0.0019046158%
               AR391       Ola City, Arkansas                       0.0262882776%
               AR392       Omaha Town, Arkansas                     0.0030405167%
               AR393       Oppelo City, Arkansas                    0.0090335457%
               AR394       Osceola City, Arkansas                   0.2492878833%
               AR395       Ouachita County, Arkansas                0.2913601460%
               AR396       Oxford City, Arkansas                    0.0264156336%
               AR397       Ozan Town, Arkansas                      0.0011369025%
               AR398       Ozark City, Arkansas                     0.1131238778%
               AR399       Palestine City, Arkansas                 0.0190803585%
               AR400       Pangburn City, Arkansas                  0.0157168727%
               AR401       Paragould City, Arkansas                 1.0056390223%
               AR402       Paris City, Arkansas                     0.1616167421%
               AR403       Parkdale City, Arkansas                  0.0007150537%
               AR404       Parkin City, Arkansas                    0.0145157198%
               AR405       Patmos Town, Arkansas                    0.0012638292%
               AR406       Patterson City, Arkansas                 0.0019780244%
               AR407       Pea Ridge City, Arkansas                 0.1099874863%
               AR408       Peach Orchard City, Arkansas             0.0002743162%
               AR409       Perla Town, Arkansas                     0.0015089537%
               AR410       Perry County, Arkansas                   0.2411764522%
               AR411       Perry Town, Arkansas                     0.0054813155%
               AR412       Perrytown, Arkansas                      0.0014218079%
               AR413       Perryville City, Arkansas                0.0413931262%
               AR414       Phillips County, Arkansas                0.3245121955%
               AR415       Piggott City, Arkansas                   0.3895380125%
               AR416       Pike County, Arkansas                    0.3481536152%
               AR417       Pindall Town, Arkansas                   0.0030350790%
               AR418       Pine Bluff City, Arkansas                0.9840818047%
               AR419       Pineville Town, Arkansas                 0.0022012551%
               AR420       Plainview City, Arkansas                 0.0125505741%
               AR421       Pleasant Plains Town, Arkansas           0.0024498139%
               AR422       Plumerville City, Arkansas               0.0292462276%
                                           G-16
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR423       Pocahontas City, Arkansas                0.4671181241%
               AR424       Poinsett County, Arkansas                0.4009911787%
               AR425       Polk County, Arkansas                    0.0691418478%
               AR426       Pollard City, Arkansas                   0.0004521853%
               AR427       Pope County, Arkansas                    0.8568421621%
               AR428       Portia Town, Arkansas                    0.0009455824%
               AR429       Portland City, Arkansas                  0.0081334680%
               AR430       Pottsville City, Arkansas                0.0356473681%
               AR431       Powhatan Town, Arkansas                  0.0001556891%
               AR432       Poyen Town, Arkansas                     0.0022812461%
               AR433       Prairie County, Arkansas                 0.0903177130%
               AR434       Prairie Grove City, Arkansas             0.0877670159%
               AR435       Prattsville Town, Arkansas               0.0011406231%
               AR436       Prescott City, Arkansas                  0.0925564594%
               AR437       Pulaski County, Arkansas                 2.3536109191%
               AR438       Pyatt Town, Arkansas                     0.0061435666%
               AR439       Quitman City, Arkansas                   0.0720876345%
               AR440       Randolph County, Arkansas                0.0533049170%
               AR441       Ratcliff City, Arkansas                  0.0038192484%
               AR442       Ravenden Springs Town, Arkansas          0.0001143342%
               AR443       Ravenden Town, Arkansas                  0.0021246984%
               AR444       Rector City, Arkansas                    0.0056501695%
               AR445       Redfield City, Arkansas                  0.0199888788%
               AR446       Reed Town, Arkansas                      0.0009294125%
               AR447       Reyno City, Arkansas                     0.0001714297%
               AR448       Rison City, Arkansas                     0.0266158258%
               AR449       Rockport City, Arkansas                  0.0466258829%
               AR450       Roe Town, Arkansas                       0.0006297682%
               AR451       Rogers City, Arkansas                    1.7409808606%
               AR452       Rondo Town, Arkansas                     0.0001282146%
               AR453       Rose Bud Town, Arkansas                  0.0201332633%
               AR454       Rosston Town, Arkansas                   0.0012719857%
               AR455       Rudy Town, Arkansas                      0.0043610122%
               AR456       Russell Town, Arkansas                   0.0072738867%
               AR457       Russellville City, Arkansas              0.9171601007%
               AR458       Salem City, Arkansas                     0.0044962385%
               AR459       Salesville City, Arkansas                0.0064404921%
               AR460       Saline County, Arkansas                  1.0800200662%
               AR461       Scott County, Arkansas                   0.3380405487%
               AR462       Scranton City, Arkansas                  0.0072753177%
               AR463       Searcy City, Arkansas                    0.9880873649%
               AR464       Searcy County, Arkansas                  0.2116252857%
                                           G-17
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR465       Sebastian County, Arkansas               2.1934833834%
               AR466       Sedgwick Town, Arkansas                  0.0005311746%
               AR467       Sevier County, Arkansas                  0.2613059949%
               AR468       Shannon Hills City, Arkansas             0.0498163648%
               AR469       Sharp County, Arkansas                   0.2811885530%
               AR470       Sheridan City, Arkansas                  0.2276671308%
               AR471       Sherrill Town, Arkansas                  0.0025761682%
               AR472       Sherwood City, Arkansas                  0.4241829888%
               AR473       Shirley Town, Arkansas                   0.0009145304%
               AR474       Sidney Town, Arkansas                    0.0035774152%
               AR475       Siloam Springs City, Arkansas            0.7477783644%
               AR476       Smackover City, Arkansas                 0.0008007686%
               AR477       Smithville Town, Arkansas                0.0001624146%
               AR478       South Lead Hill Town, Arkansas           0.0018313504%
               AR479       Sparkman City, Arkansas                  0.0035065824%
               AR480       Springdale City, Arkansas                2.0136786333%
               AR481       Springtown, Arkansas                     0.0002924895%
               AR482       St Francis County, Arkansas              0.2044215163%
               AR483       St. Charles Town, Arkansas               0.0024664131%
               AR484       St. Francis City, Arkansas               0.0007137659%
               AR485       St. Joe Town, Arkansas                   0.0076757020%
               AR486       St. Paul Town, Arkansas                  0.0041619648%
               AR487       Stamps City, Arkansas                    0.0180207281%
               AR488       Star City, Arkansas                      0.0564865270%
               AR489       Stephens City, Arkansas                  0.0116586529%
               AR490       Stone County, Arkansas                   0.2837768844%
               AR491       Strawberry Town, Arkansas                0.0006928738%
               AR492       Strong City, Arkansas                    0.0029361993%
               AR493       Stuttgart City, Arkansas                 0.2203815101%
               AR494       Subiaco Town, Arkansas                   0.0109146937%
               AR495       Success Town, Arkansas                   0.0001784415%
               AR496       Sulphur Rock Town, Arkansas              0.0032654646%
               AR497       Sulphur Springs City, Arkansas           0.0120908047%
               AR498       Summit City, Arkansas                    0.0074467474%
               AR499       Sunset Town, Arkansas                    0.0016041130%
               AR500       Swifton City, Arkansas                   0.0178930859%
               AR501       Taylor City, Arkansas                    0.0014103602%
               AR502       Texarkana City, Arkansas                 0.7683955804%
               AR503       Thornton City, Arkansas                  0.0022437548%
               AR504       Tillar City, Arkansas                    0.0003265465%
               AR505       Tinsman Town, Arkansas                   0.0003150987%
               AR506       Tollette Town, Arkansas                  0.0032731918%
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR507       Tontitown City, Arkansas                 0.0610355681%
               AR508       Traskwood City, Arkansas                 0.0177678764%
               AR509       Trumann City, Arkansas                   0.2319945153%
               AR510       Tuckerman City, Arkansas                 0.0405439909%
               AR511       Tull Town, Arkansas                      0.0030797252%
               AR512       Tupelo Town, Arkansas                    0.0005171511%
               AR513       Turrell City, Arkansas                   0.0090687475%
               AR514       Twin Groves Town, Arkansas               0.0156102657%
               AR515       Tyronza City, Arkansas                   0.0382955139%
               AR516       Ulm Town, Arkansas                       0.0000897216%
               AR517       Union County, Arkansas                   0.4520045466%
               AR518       Valley Springs Town, Arkansas            0.0032716177%
               AR519       Van Buren City, Arkansas                 1.7649031789%
               AR520       Van Buren County, Arkansas               0.3641848711%
               AR521       Vandervoort Town, Arkansas               0.0000659675%
               AR522       Victoria Town, Arkansas                  0.0005446257%
               AR523       Vilonia City, Arkansas                   0.1035441323%
               AR524       Viola Town, Arkansas                     0.0032700437%
               AR525       Wabbaseka Town, Arkansas                 0.0082530968%
               AR526       Waldenburg Town, Arkansas                0.0023526513%
               AR527       Waldo City, Arkansas                     0.0028426141%
               AR528       Waldron City, Arkansas                   0.1501465474%
               AR529       Walnut Ridge City, Arkansas              0.0315460763%
               AR530       Ward City, Arkansas                      0.1482609634%
               AR531       Warren City, Arkansas                    0.1331456688%
               AR532       Washington City, Arkansas                0.0014218079%
               AR533       Washington County, Arkansas              2.0141562897%
               AR534       Watson City, Arkansas                    0.0000569524%
               AR535       Weiner City, Arkansas                    0.0115016760%
               AR536       Weldon Town, Arkansas                    0.0015514534%
               AR537       West Fork City, Arkansas                 0.0278779379%
               AR538       West Memphis City, Arkansas              0.6402086383%
               AR539       West Point Town, Arkansas                0.0031173596%
               AR540       Western Grove Town, Arkansas             0.0057204300%
               AR541       Wheatley City, Arkansas                  0.0050976735%
               AR542       Whelen Springs Town, Arkansas            0.0002381128%
               AR543       White County, Arkansas                   0.9979591705%
               AR544       White Hall City, Arkansas                0.0551959387%
               AR545       Wickes Town, Arkansas                    0.0001422380%
               AR546       Widener Town, Arkansas                   0.0014565804%
               AR547       Wiederkehr Village City, Arkansas        0.0015955272%
               AR548       Williford Town, Arkansas                 0.0025041906%
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               AR549       Willisville Town, Arkansas               0.0003913692%
               AR550       Wilmar City, Arkansas                    0.0018078825%
               AR551       Wilmot City, Arkansas                    0.0171605744%
               AR552       Wilson City, Arkansas                    0.0038733390%
               AR553       Wilton City, Arkansas                    0.0002323889%
               AR554       Winchester Town, Arkansas                0.0011094280%
               AR555       Winslow City, Arkansas                   0.0059329284%
               AR556       Winthrop City, Arkansas                  0.0004315794%
               AR557       Woodruff County, Arkansas                0.2136270641%
               AR558       Wooster Town, Arkansas                   0.0052930004%
               AR559       Wrightsville City, Arkansas              0.0089014675%
               AR560       Wynne City, Arkansas                     0.1541190523%
               AR561       Yell County, Arkansas                    0.5032932325%
               AR562       Yellville City, Arkansas                 0.0268081476%
               AR563       Zinc Town, Arkansas                      0.0018492375%
               AR564       Keo Town, Arkansas                       0.0137063654%
               AR565       Letona Town, Arkansas                    0.0096119422%
               AR567       Lexa Town, Arkansas                      0.0073056542%
               AR568       Lonsdale Town, Arkansas                  0.0009432928%
               AR569       Lowell City, Arkansas                    0.2449366017%
               AR570       Marshall City, Arkansas                  0.0391797079%
               AR571       McNeil City, Arkansas                    0.0006390694%
               AR572       Mountain View City, Arkansas             0.1444262605%
               AR573       Nimmons Town, Arkansas                   0.0001405209%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                CA1        Adelanto City, California
                CA2        Agoura Hills City, California
                CA3        Alameda City, California
                CA4        Alameda County, California
                CA5        Albany City, California
                CA6        Alhambra City, California
                CA7        Aliso Viejo City, California
                CA9        Amador County, California
               CA10        American Canyon City, California
               CA11        Anaheim City, California
               CA12        Anderson City, California
               CA13        Antioch City, California
               CA14        Apple Valley Town, California
               CA15        Arcadia City, California
               CA16        Arcata City, California
               CA17        Arroyo Grande City, California
               CA18        Artesia City, California
               CA19        Arvin City, California
               CA20        Atascadero City, California
               CA21        Atwater City, California
               CA22        Auburn City, California
                                                                    Allocations in
               CA23        Avenal City, California
                                                                  California will be
               CA24        Azusa City, California
                                                                 made in accordance
               CA25        Bakersfield City, California
                                                                 with the California
               CA26        Baldwin Park City, California
                                                                  State-Subdivision
               CA27        Banning City, California
                                                                     Agreement.
               CA28        Barstow City, California
               CA29        Beaumont City, California
               CA30        Bell City, California
               CA31        Bell Gardens City, California
               CA32        Bellflower City, California
               CA33        Belmont City, California
               CA34        Benicia City, California
               CA35        Berkeley City, California
               CA36        Beverly Hills City, California
               CA37        Blythe City, California
               CA38        Brawley City, California
               CA39        Brea City, California
               CA40        Brentwood City, California
               CA41        Buena Park City, California
               CA42        Burbank City, California
               CA43        Burlingame City, California
               CA44        Butte County, California
               CA45        Calabasas City, California
               CA46        Calaveras County, California
               CA47        Calexico City, California
               CA48        California City, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               CA49        Camarillo City, California
               CA50        Campbell City, California
               CA51        Canyon Lake City, California
               CA52        Capitola City, California
               CA53        Carlsbad City, California
               CA54        Carpinteria City, California
               CA55        Carson City, California
               CA56        Cathedral City, California
               CA57        Ceres City, California
               CA58        Cerritos City, California
               CA59        Chico City, California
               CA60        Chino City, California
               CA61        Chino Hills City, California
               CA62        Chowchilla City, California
               CA63        Chula Vista City, California
               CA64        Citrus Heights City, California
               CA65        Claremont City, California
               CA66        Clayton City, California
               CA67        Clearlake City, California
               CA68        Clovis City, California
               CA69        Coachella City, California
                                                                    Allocations in
               CA70        Coalinga City, California
                                                                  California will be
               CA71        Colton City, California
                                                                 made in accordance
               CA72        Colusa County, California
                                                                 with the California
               CA73        Commerce City, California
                                                                  State-Subdivision
               CA74        Compton City, California
                                                                     Agreement.
               CA75        Concord City, California
               CA76        Contra Costa County, California
               CA77        Corcoran City, California
               CA78        Corona City, California
               CA79        Coronado City, California
               CA80        Costa Mesa City, California
               CA81        Covina City, California
               CA82        Cudahy City, California
               CA83        Culver City, California
               CA84        Cupertino City, California
               CA85        Cypress City, California
               CA86        Daly City, California
               CA87        Dana Point City, California
               CA88        Danville Town, California
               CA89        Davis City, California
               CA90        Del Norte County, California
               CA91        Delano City, California
               CA92        Desert Hot Springs City, California
               CA93        Diamond Bar City, California
               CA94        Dinuba City, California
               CA95        Dixon City, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               CA96        Downey City, California
               CA97        Duarte City, California
               CA98        Dublin City, California
               CA99        East Palo Alto City, California
               CA100       Eastvale City, California
               CA101       El Cajon City, California
               CA102       El Centro City, California
               CA103       El Cerrito City, California
               CA104       El Dorado County, California
               CA105       El Monte City, California
               CA106       El Paso De Robles (Paso Robles) City,
                           California
               CA107       El Segundo City, California
               CA108       Elk Grove City, California
               CA109       Emeryville City, California
               CA110       Encinitas City, California
               CA111       Escondido City, California
               CA112       Eureka City, California
               CA113       Exeter City, California
               CA114       Fairfield City, California
               CA115       Farmersville City, California
                                                                      Allocations in
               CA116       Fillmore City, California
                                                                    California will be
               CA117       Folsom City, California
                                                                   made in accordance
               CA118       Fontana City, California
                                                                   with the California
               CA119       Fortuna City, California
                                                                    State-Subdivision
               CA120       Foster City, California
                                                                       Agreement.
               CA121       Fountain Valley City, California
               CA122       Fremont City, California
               CA123       Fresno City, California
               CA124       Fresno County, California
               CA125       Fullerton City, California
               CA126       Galt City, California
               CA127       Garden Grove City, California
               CA128       Gardena City, California
               CA129       Gilroy City, California
               CA130       Glendale City, California
               CA131       Glendora City, California
               CA132       Glenn County, California
               CA133       Goleta City, California
               CA134       Grand Terrace City, California
               CA135       Grass Valley City, California
               CA136       Greenfield City, California
               CA137       Grover Beach City, California
               CA138       Half Moon Bay City, California
               CA139       Hanford City, California
               CA140       Hawaiian Gardens City, California
               CA141       Hawthorne City, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               CA142       Hayward City, California
               CA143       Healdsburg City, California
               CA144       Hemet City, California
               CA145       Hercules City, California
               CA146       Hermosa Beach City, California
               CA147       Hesperia City, California
               CA148       Highland City, California
               CA149       Hillsborough Town, California
               CA150       Hollister City, California
               CA151       Humboldt County, California
               CA152       Huntington Beach City, California
               CA153       Huntington Park City, California
               CA154       Imperial Beach City, California
               CA155       Imperial City, California
               CA156       Imperial County, California
               CA157       Indio City, California
               CA158       Inglewood City, California
               CA159       Inyo County, California
               CA160       Irvine City, California
               CA161       Jurupa Valley City, California
               CA162       Kerman City, California
                                                                      Allocations in
               CA163       Kern County, California
                                                                    California will be
               CA164       King City, California
                                                                   made in accordance
               CA165       Kings County, California
                                                                   with the California
               CA166       Kingsburg City, California
                                                                    State-Subdivision
               CA167       La Cañada Flintridge City, California
                                                                       Agreement.
               CA168       La Habra City, California
               CA169       La Mesa City, California
               CA170       La Mirada City, California
               CA171       La Palma City, California
               CA172       La Puente City, California
               CA173       La Quinta City, California
               CA174       La Verne City, California
               CA175       Lafayette City, California
               CA176       Laguna Beach City, California
               CA177       Laguna Hills City, California
               CA178       Laguna Niguel City, California
               CA179       Laguna Woods City, California
               CA180       Lake County, California
               CA181       Lake Elsinore City, California
               CA182       Lake Forest City, California
               CA183       Lakeport City, California
               CA184       Lakewood City, California
               CA185       Lancaster City, California
               CA186       Larkspur City, California
               CA187       Lassen County, California
               CA188       Lathrop City, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               CA189       Lawndale City, California
               CA190       Lemon Grove City, California
               CA191       Lemoore City, California
               CA192       Lincoln City, California
               CA193       Lindsay City, California
               CA194       Livermore City, California
               CA195       Livingston City, California
               CA196       Lodi City, California
               CA197       Loma Linda City, California
               CA198       Lomita City, California
               CA199       Lompoc City, California
               CA200       Long Beach City, California
               CA201       Los Alamitos City, California
               CA202       Los Altos City, California
               CA203       Los Angeles City, California
               CA204       Los Angeles County, California
               CA205       Los Banos City, California
               CA206       Los Gatos Town, California
               CA207       Lynwood City, California
               CA208       Madera City, California
               CA209       Madera County, California
                                                                    Allocations in
               CA210       Malibu City, California
                                                                  California will be
               CA211       Manhattan Beach City, California
                                                                 made in accordance
               CA212       Manteca City, California
                                                                 with the California
               CA213       Marin County, California
                                                                  State-Subdivision
               CA214       Marina City, California
                                                                     Agreement.
               CA215       Mariposa County, California
               CA216       Martinez City, California
               CA217       Marysville City, California
               CA218       Maywood City, California
               CA219       McFarland City, California
               CA220       Mendocino County, California
               CA221       Mendota City, California
               CA222       Menifee City, California
               CA223       Menlo Park City, California
               CA224       Merced City, California
               CA225       Merced County, California
               CA226       Mill Valley City, California
               CA227       Millbrae City, California
               CA228       Milpitas City, California
               CA229       Mission Viejo City, California
               CA230       Modesto City, California
               CA231       Modoc County, California
               CA232       Mono County, California
               CA233       Monrovia City, California
               CA234       Montclair City, California
               CA235       Montebello City, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               CA236       Monterey City, California
               CA237       Monterey County, California
               CA238       Monterey Park City, California
               CA239       Moorpark City, California
               CA240       Moraga Town, California
               CA241       Moreno Valley City, California
               CA242       Morgan Hill City, California
               CA243       Morro Bay City, California
               CA244       Mountain View City, California
               CA245       Murrieta City, California
               CA246       Napa City, California
               CA247       Napa County, California
               CA248       National City, California
               CA249       Nevada County, California
               CA250       Newark City, California
               CA251       Newman City, California
               CA252       Newport Beach City, California
               CA253       Norco City, California
               CA254       Norwalk City, California
               CA255       Novato City, California
               CA256       Oakdale City, California
                                                                      Allocations in
               CA257       Oakland City, California
                                                                    California will be
               CA258       Oakley City, California
                                                                   made in accordance
               CA259       Oceanside City, California
                                                                   with the California
               CA260       Ontario City, California
                                                                    State-Subdivision
               CA261       Orange City, California
                                                                       Agreement.
               CA262       Orange County, California
               CA263       Orange Cove City, California
               CA264       Orinda City, California
               CA265       Oroville City, California
               CA266       Oxnard City, California
               CA267       Pacific Grove City, California
               CA268       Pacifica City, California
               CA269       Palm Desert City, California
               CA270       Palm Springs City, California
               CA271       Palmdale City, California
               CA272       Palo Alto City, California
               CA273       Palos Verdes Estates City, California
               CA274       Paramount City, California
               CA275       Parlier City, California
               CA276       Pasadena City, California
               CA277       Patterson City, California
               CA278       Perris City, California
               CA279       Petaluma City, California
               CA280       Pico Rivera City, California
               CA281       Piedmont City, California
               CA282       Pinole City, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                     Consolidated State
              State ID              Qualifying Subdivision              Allocation
               CA283       Pittsburg City, California
               CA284       Placentia City, California
               CA285       Placer County, California
               CA286       Placerville City, California
               CA287       Pleasant Hill City, California
               CA288       Pleasanton City, California
               CA289       Plumas County, California
               CA290       Pomona City, California
               CA291       Port Hueneme City, California
               CA292       Porterville City, California
               CA293       Poway City, California
               CA294       Rancho Cordova City, California
               CA295       Rancho Cucamonga City, California
               CA296       Rancho Mirage City, California
               CA297       Rancho Palos Verdes City, California
               CA298       Rancho Santa Margarita City, California
               CA299       Red Bluff City, California
               CA300       Redding City, California
               CA301       Redlands City, California
               CA302       Redondo Beach City, California
               CA303       Redwood City, California
                                                                        Allocations in
               CA304       Reedley City, California
                                                                      California will be
               CA305       Rialto City, California
                                                                     made in accordance
               CA306       Richmond City, California
                                                                     with the California
               CA307       Ridgecrest City, California
                                                                      State-Subdivision
               CA308       Ripon City, California
                                                                         Agreement.
               CA309       Riverbank City, California
               CA310       Riverside City, California
               CA311       Riverside County, California
               CA312       Rocklin City, California
               CA313       Rohnert Park City, California
               CA314       Rosemead City, California
               CA315       Roseville City, California
               CA316       Sacramento City, California
               CA317       Sacramento County, California
               CA318       Salinas City, California
               CA319       San Anselmo Town, California
               CA320       San Benito County, California
               CA321       San Bernardino City, California
               CA322       San Bernardino County, California
               CA323       San Bruno City, California
               CA324       San Buenaventura (Ventura) City,
                           California
               CA325       San Carlos City, California
               CA326       San Clemente City, California
               CA327       San Diego City, California
               CA328       San Diego County, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
               CA329       San Dimas City, California
               CA330       San Fernando City, California
               CA331       San Francisco City, California
               CA332       San Gabriel City, California
               CA333       San Jacinto City, California
               CA334       San Joaquin County, California
               CA335       San Jose City, California
               CA336       San Juan Capistrano City, California
               CA337       San Leandro City, California
               CA338       San Luis Obispo City, California
               CA339       San Luis Obispo County, California
               CA340       San Marcos City, California
               CA341       San Marino City, California
               CA342       San Mateo City, California
               CA343       San Mateo County, California
               CA344       San Pablo City, California
               CA345       San Rafael City, California
               CA346       San Ramon City, California
               CA347       Sanger City, California
               CA348       Santa Ana City, California
               CA349       Santa Barbara City, California
                                                                     Allocations in
               CA350       Santa Barbara County, California
                                                                   California will be
               CA351       Santa Clara City, California
                                                                  made in accordance
               CA352       Santa Clara County, California
                                                                  with the California
               CA353       Santa Clarita City, California
                                                                   State-Subdivision
               CA354       Santa Cruz City, California
                                                                      Agreement.
               CA355       Santa Cruz County, California
               CA356       Santa Fe Springs City, California
               CA357       Santa Maria City, California
               CA358       Santa Monica City, California
               CA359       Santa Paula City, California
               CA360       Santa Rosa City, California
               CA361       Santee City, California
               CA362       Saratoga City, California
               CA363       Scotts Valley City, California
               CA364       Seal Beach City, California
               CA365       Seaside City, California
               CA366       Selma City, California
               CA367       Shafter City, California
               CA368       Shasta County, California
               CA369       Shasta Lake City, California
               CA371       Sierra Madre City, California
               CA372       Signal Hill City, California
               CA373       Simi Valley City, California
               CA374       Siskiyou County, California
               CA375       Solana Beach City, California
               CA376       Solano County, California

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               CA377       Soledad City, California
               CA378       Sonoma City, California
               CA379       Sonoma County, California
               CA380       South El Monte City, California
               CA381       South Gate City, California
               CA382       South Lake Tahoe City, California
               CA383       South Pasadena City, California
               CA384       South San Francisco City, California
               CA385       Stanislaus County, California
               CA386       Stanton City, California
               CA387       Stockton City, California
               CA388       Suisun City, California
               CA389       Sunnyvale City, California
               CA390       Susanville City, California
               CA391       Sutter County, California
               CA392       Tehachapi City, California
               CA393       Tehama County, California
               CA394       Temecula City, California
               CA395       Temple City, California
               CA396       Thousand Oaks City, California
               CA397       Torrance City, California
                                                                     Allocations in
               CA398       Tracy City, California
                                                                   California will be
               CA399       Trinity County, California
                                                                  made in accordance
               CA400       Truckee Town, California
                                                                  with the California
               CA401       Tulare City, California
                                                                   State-Subdivision
               CA402       Tulare County, California
                                                                      Agreement.
               CA403       Tuolumne County, California
               CA404       Turlock City, California
               CA405       Tustin City, California
               CA406       Twentynine Palms City, California
               CA407       Ukiah City, California
               CA408       Union City, California
               CA409       Upland City, California
               CA410       Vacaville City, California
               CA411       Vallejo City, California
               CA412       Ventura County, California
               CA413       Victorville City, California
               CA414       Visalia City, California
               CA415       Vista City, California
               CA416       Walnut City, California
               CA417       Walnut Creek City, California
               CA418       Wasco City, California
               CA419       Watsonville City, California
               CA420       West Covina City, California
               CA421       West Hollywood City, California
               CA422       West Sacramento City, California
               CA423       Westminster City, California

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               CA424       Whittier City, California
               CA425       Wildomar City, California
               CA426       Windsor Town, California                 Allocations in
               CA427       Woodland City, California              California will be
               CA428       Yolo County, California               made in accordance
               CA429       Yorba Linda City, California          with the California
               CA430       Yuba City, California                  State-Subdivision
               CA431       Yuba County, California                   Agreement.
               CA432       Yucaipa City, California
               CA433       Yucca Valley Town, California




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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                CO1        Adams County, Colorado                   6.4563067236%
                CO2        Alamosa City, Colorado                   0.0745910871%
                CO3        Alamosa County, Colorado                 0.4334718288%
                CO4        Arapahoe County, Colorado                4.8467256550%
                CO5        Archuleta County, Colorado               0.1370425096%
                CO6        Arvada City, Colorado                    1.2841799450%
                CO7        Aurora City, Colorado                    4.2914496137%
                CO8        Baca County, Colorado                    0.0592396985%
                CO9        Bent County, Colorado                    0.1133427512%
               CO10        Black Hawk City, Colorado                0.0260393489%
               CO11        Boulder City, Colorado                   1.8402051032%
               CO12        Boulder County, Colorado                 2.8040191342%
               CO13        Brighton City, Colorado                  0.1405791210%
               CO14        Broomfield City, Colorado                1.0013917112%
               CO15        Cañon City, Colorado                     0.3070751207%
               CO16        Castle Pines City, Colorado              0.0073662408%
               CO17        Castle Rock Town, Colorado               0.4961417855%
               CO18        Centennial City, Colorado                0.0476600277%
               CO19        Chaffee County, Colorado                 0.3604069298%
               CO20        Cheyenne County, Colorado                0.0159109271%
               CO21        Clear Creek County, Colorado             0.1380433961%
               CO22        Colorado Springs City, Colorado          9.6056573895%
               CO23        Commerce City, Colorado                  0.4459216299%
               CO24        Conejos County, Colorado                 0.2108486947%
               CO25        Costilla County, Colorado                0.0552334207%
               CO26        Crowley County, Colorado                 0.0933584380%
               CO27        Custer County, Colorado                  0.0412185507%
               CO28        Delta County, Colorado                   0.5440118792%
               CO29        Denver City, Colorado                   15.0041699144%
               CO30        Dolores County, Colorado                 0.0352358134%
               CO31        Douglas County, Colorado                 2.6394119072%
               CO32        Durango City, Colorado                   0.2380966286%
               CO33        Eagle County, Colorado                   0.6187127797%
               CO34        El Paso County, Colorado                 2.2654220766%
               CO35        Elbert County, Colorado                  0.2804372613%
               CO36        Englewood City, Colorado                 0.6035403160%
               CO37        Erie Town, Colorado                      0.0550006818%
               CO38        Evans City, Colorado                     0.1783043118%
               CO39        Federal Heights City, Colorado           0.1079698153%
               CO40        Firestone Town, Colorado                 0.0578836029%
               CO41        Fort Collins City, Colorado              1.1954809288%
               CO42        Fort Morgan City, Colorado               0.1301284524%
               CO43        Fountain City, Colorado                  0.1186014119%
               CO44        Frederick Town, Colorado                 0.0483214578%
               CO45        Fremont County, Colorado                 0.6866476799%
               CO46        Fruita City, Colorado                    0.0482720145%
               CO47        Garfield County, Colorado                0.8376446894%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               CO48        Gilpin County, Colorado                  0.0300906083%
               CO49        Golden City, Colorado                    0.3661894352%
               CO50        Grand County, Colorado                   0.2036540033%
               CO51        Grand Junction City, Colorado            1.0740385726%
               CO52        Greeley City, Colorado                   1.2128607699%
               CO53        Greenwood Village City, Colorado         0.3058723632%
               CO54        Gunnison County, Colorado                0.1912939834%
               CO55        Hinsdale County, Colorado                0.0112390306%
               CO56        Hudson Town, Colorado                    0.0002554118%
               CO57        Huerfano County, Colorado                0.2504945278%
               CO58        Jackson County, Colorado                 0.0309834115%
               CO59        Jefferson County, Colorado               6.2301417879%
               CO60        Johnstown, Colorado                      0.0880406820%
               CO61        Kiowa County, Colorado                   0.0142237522%
               CO62        Kit Carson County, Colorado              0.0939715175%
               CO63        La Plata County, Colorado                0.5745585865%
               CO64        Lafayette City, Colorado                 0.1923606122%
               CO65        Lake County, Colorado                    0.0989843273%
               CO66        Lakewood City, Colorado                  1.6765864702%
               CO67        Larimer County, Colorado                 3.6771380213%
               CO68        Las Animas County, Colorado              0.6303942510%
               CO69        Lincoln County, Colorado                 0.0819433053%
               CO70        Littleton City, Colorado                 0.9911426404%
               CO71        Logan County, Colorado                   0.2819912214%
               CO72        Lone Tree City, Colorado                 0.1937076023%
               CO73        Longmont City, Colorado                  0.8513027113%
               CO74        Louisville City, Colorado                0.0837469407%
               CO75        Loveland City, Colorado                  1.5095861119%
               CO76        Mesa County, Colorado                    1.7687427882%
               CO77        Mineral County, Colorado                 0.0039157682%
               CO78        Moffat County, Colorado                  0.2325862894%
               CO79        Montezuma County, Colorado               0.4428801804%
               CO80        Montrose City, Colorado                  0.0375815957%
               CO81        Montrose County, Colorado                0.5319658200%
               CO82        Morgan County, Colorado                  0.3376035258%
               CO83        Northglenn City, Colorado                0.1972243635%
               CO84        Otero County, Colorado                   0.4486069596%
               CO85        Ouray County, Colorado                   0.0534887895%
               CO86        Park County, Colorado                    0.1673691348%
               CO87        Parker Town, Colorado                    0.3247124678%
               CO88        Phillips County, Colorado                0.0713973011%
               CO89        Pitkin County, Colorado                  0.1746622577%
               CO90        Prowers County, Colorado                 0.1726881656%
               CO91        Pueblo City, Colorado                    2.5730616529%
               CO92        Pueblo County, Colorado                  3.1025919095%
               CO93        Rio Blanco County, Colorado              0.1012968741%
               CO94        Rio Grande County, Colorado              0.2526177695%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               CO95        Routt County, Colorado                   0.2323178565%
               CO96        Saguache County, Colorado                0.0666194156%
               CO97        San Juan County, Colorado                0.0097000947%
               CO98        San Miguel County, Colorado              0.1004727271%
               CO99        Sedgwick County, Colorado                0.0618109352%
               CO100       Sheridan City, Colorado                  0.2306795787%
               CO101       Steamboat Springs City, Colorado         0.1513646932%
               CO102       Sterling City, Colorado                  0.0995110857%
               CO103       Summit County, Colorado                  0.3761345614%
               CO104       Superior Town, Colorado                  0.0014920421%
               CO105       Teller County, Colorado                  0.6218972779%
               CO106       Thornton City, Colorado                  1.0031200434%
               CO107       Washington County, Colorado              0.0356553080%
               CO108       Weld County, Colorado                    2.2921158443%
               CO109       Wellington Town, Colorado                0.0235131848%
               CO110       Westminster City, Colorado               1.1920065086%
               CO111       Wheat Ridge City, Colorado               0.3438324783%
               CO112       Windsor Town, Colorado                   0.0900350795%
               CO113       Yuma County, Colorado                    0.0992146077%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                CT1        Andover Town, Connecticut                0.0513214640%
                CT2        Ansonia City, Connecticut                0.5316052437%
                CT3        Ashford Town, Connecticut                0.1096965130%
                CT4        Avon Town, Connecticut                   0.5494886534%
                CT5        Barkhamsted Town, Connecticut            0.0620629520%
                CT6        Beacon Falls Town, Connecticut           0.1953947308%
                CT7        Berlin Town, Connecticut                 0.5215629385%
                CT8        Bethany Town, Connecticut                0.1039156068%
                CT9        Bethel Town, Connecticut                 0.3522422145%
               CT10        Bethlehem Town, Connecticut              0.0078647202%
               CT11        Bloomfield Town, Connecticut             0.4888368136%
               CT12        Bolton Town, Connecticut                 0.1520831395%
               CT13        Bozrah Town, Connecticut                 0.0582057867%
               CT14        Branford Town, Connecticut               0.8903816954%
               CT15        Bridgeport City, Connecticut             3.2580743095%
               CT16        Bridgewater Town, Connecticut            0.0118125935%
               CT17        Bristol City, Connecticut                1.3355768908%
               CT18        Brookfield Town, Connecticut             0.3087903124%
               CT19        Brooklyn Town, Connecticut               0.1880661562%
               CT20        Burlington Town, Connecticut             0.2348761319%
               CT21        Canaan Town, Connecticut                 0.0343343640%
               CT22        Canterbury Town, Connecticut             0.1354310071%
               CT23        Canton Town, Connecticut                 0.2669011966%
               CT24        Chaplin Town, Connecticut                0.0523959290%
               CT25        Cheshire Town, Connecticut               0.9783113499%
               CT26        Chester Town, Connecticut                0.0772387574%
               CT27        Clinton Town, Connecticut                0.5348726093%
               CT28        Colchester Town, Connecticut             0.6134395770%
               CT29        Colebrook Town, Connecticut              0.0296870114%
               CT30        Columbia Town, Connecticut               0.1005666237%
               CT31        Cornwall Town, Connecticut               0.0486027928%
               CT32        Coventry Town, Connecticut               0.3460011479%
               CT33        Cromwell Town, Connecticut               0.4750451453%
               CT34        Danbury City, Connecticut                1.1556465907%
               CT35        Darien Town, Connecticut                 0.6429649345%
               CT36        Deep River Town, Connecticut             0.0924563595%
               CT37        Derby City, Connecticut                  0.3503125449%
               CT38        Durham Town, Connecticut                 0.0079309232%
               CT39        East Granby Town, Connecticut            0.1455975170%
               CT40        East Haddam Town, Connecticut            0.3145696377%
               CT41        East Hampton Town, Connecticut           0.4637546663%
               CT42        East Hartford Town, Connecticut          1.2645454069%
               CT43        East Haven Town, Connecticut             0.8590923735%
               CT44        East Lyme Town, Connecticut              0.6375826296%
               CT45        East Windsor Town, Connecticut           0.2419743793%
               CT46        Eastford Town, Connecticut               0.0446651958%
               CT47        Easton Town, Connecticut                 0.1354961231%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               CT48        Ellington Town, Connecticut              0.4010047839%
               CT49        Enfield Town, Connecticut                0.9173431190%
               CT50        Essex Town, Connecticut                  0.1431870357%
               CT51        Fairfield Town, Connecticut              1.4212308415%
               CT52        Farmington Town, Connecticut             0.6572091547%
               CT53        Franklin Town, Connecticut               0.0446032416%
               CT54        Glastonbury Town, Connecticut            1.0420644550%
               CT55        Goshen Town, Connecticut                 0.0030464255%
               CT56        Granby Town, Connecticut                 0.2928405247%
               CT57        Greenwich Town, Connecticut              1.5644702467%
               CT58        Griswold Town, Connecticut               0.3865570141%
               CT59        Groton Town, Connecticut                 1.4033874500%
               CT60        Guilford Town, Connecticut               0.8399392493%
               CT61        Haddam Town, Connecticut                 0.0151716553%
               CT62        Hamden Town, Connecticut                 1.7724359413%
               CT63        Hampton Town, Connecticut                0.0429454985%
               CT64        Hartford City, Connecticut               5.3268549899%
               CT65        Hartland Town, Connecticut               0.0359782738%
               CT66        Harwinton Town, Connecticut              0.0126363764%
               CT67        Hebron Town, Connecticut                 0.1593443254%
               CT68        Kent Town, Connecticut                   0.0835899976%
               CT69        Killingly Town, Connecticut              0.6116898413%
               CT70        Killingworth Town, Connecticut           0.2652963170%
               CT71        Lebanon Town, Connecticut                0.2746607824%
               CT72        Ledyard Town, Connecticut                0.5514380850%
               CT73        Lisbon Town, Connecticut                 0.1156355161%
               CT74        Litchfield Town, Connecticut             0.3481982974%
               CT75        Lyme Town, Connecticut                   0.0023141411%
               CT76        Madison Town, Connecticut                0.7594223560%
               CT77        Manchester Town, Connecticut             1.3929765818%
               CT78        Mansfield Town, Connecticut              0.3058754037%
               CT79        Marlborough Town, Connecticut            0.0766010346%
               CT80        Meriden City, Connecticut                1.8508778149%
               CT81        Middlebury Town, Connecticut             0.0276033951%
               CT82        Middlefield Town, Connecticut            0.0075627554%
               CT83        Middletown City, Connecticut             1.5343128975%
               CT84        Milford City, Connecticut                1.8215679630%
               CT85        Monroe Town, Connecticut                 0.4307375445%
               CT86        Montville Town, Connecticut              0.5806185940%
               CT87        Morris Town, Connecticut                 0.0099785725%
               CT88        Naugatuck Borough, Connecticut           1.0644527326%
               CT89        New Britain City, Connecticut            1.5740557511%
               CT90        New Canaan Town, Connecticut             0.6136187204%
               CT91        New Fairfield Town, Connecticut          0.2962030448%
               CT92        New Hartford Town, Connecticut           0.1323482193%
               CT93        New Haven City, Connecticut              5.8061427601%
               CT94        New London City, Connecticut             1.0536729060%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               CT95        New Milford Town, Connecticut            1.0565475001%
               CT96        Newington Town, Connecticut              0.7132456565%
               CT97        Newtown, Connecticut                     0.5964476353%
               CT98        Norfolk Town, Connecticut                0.0442819100%
               CT99        North Branford Town, Connecticut         0.4795791623%
               CT100       North Canaan Town, Connecticut           0.0913148022%
               CT101       North Haven Town, Connecticut            0.7922543069%
               CT102       North Stonington Town, Connecticut       0.1803885830%
               CT103       Norwalk City, Connecticut                1.5918210823%
               CT104       Norwich City, Connecticut                1.1639182124%
               CT105       Old Lyme Town, Connecticut               0.0247921386%
               CT106       Old Saybrook Town, Connecticut           0.4181170767%
               CT107       Orange Town, Connecticut                 0.3683598812%
               CT108       Oxford Town, Connecticut                 0.3955127994%
               CT109       Plainfield Town, Connecticut             0.5352043161%
               CT110       Plainville Town, Connecticut             0.3937549612%
               CT111       Plymouth Town, Connecticut               0.4213382978%
               CT112       Pomfret Town, Connecticut                0.1174722050%
               CT113       Portland Town, Connecticut               0.3205523149%
               CT114       Preston Town, Connecticut                0.1319895374%
               CT115       Prospect Town, Connecticut               0.3056173107%
               CT116       Putnam Town, Connecticut                 0.2953254103%
               CT117       Redding Town, Connecticut                0.1726435223%
               CT118       Ridgefield Town, Connecticut             0.6645173744%
               CT119       Rocky Hill Town, Connecticut             0.3929175425%
               CT120       Roxbury Town, Connecticut                0.0037924445%
               CT121       Salem Town, Connecticut                  0.1075219911%
               CT122       Salisbury Town, Connecticut              0.1052257347%
               CT123       Scotland Town, Connecticut               0.0395212218%
               CT124       Seymour Town, Connecticut                0.5301171581%
               CT125       Sharon Town, Connecticut                 0.0761294123%
               CT126       Shelton City, Connecticut                0.5601099879%
               CT127       Sherman Town, Connecticut                0.0494382353%
               CT128       Simsbury Town, Connecticut               0.6988446241%
               CT129       Somers Town, Connecticut                 0.2491740063%
               CT130       South Windsor Town, Connecticut          0.7310935932%
               CT131       Southbury Town, Connecticut              0.0581965974%
               CT132       Southington Town, Connecticut            0.9683065927%
               CT133       Sprague Town, Connecticut                0.0874709763%
               CT134       Stafford Town, Connecticut               0.3388202949%
               CT135       Stamford City, Connecticut               2.9070395589%
               CT136       Sterling Town, Connecticut               0.0949826467%
               CT137       Stonington Town, Connecticut             0.5576891315%
               CT138       Stratford Town, Connecticut              0.9155695700%
               CT139       Suffield Town, Connecticut               0.3402792315%
               CT140       Thomaston Town, Connecticut              0.2664061562%
               CT141       Thompson Town, Connecticut               0.2673479187%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               CT142       Tolland Town, Connecticut                0.4342020371%
               CT143       Torrington City, Connecticut             1.3652460176%
               CT144       Trumbull Town, Connecticut               0.7617744403%
               CT145       Union Town, Connecticut                  0.0153941764%
               CT146       Vernon Town, Connecticut                 0.7027162157%
               CT147       Voluntown, Connecticut                   0.0733181557%
               CT148       Wallingford Town, Connecticut            1.5350353996%
               CT149       Warren Town, Connecticut                 0.0489758024%
               CT150       Washington Town, Connecticut             0.1553517897%
               CT151       Waterbury City, Connecticut              4.6192219654%
               CT152       Waterford Town, Connecticut              0.7608802056%
               CT153       Watertown, Connecticut                   0.6868118808%
               CT154       West Hartford Town, Connecticut          1.6216697477%
               CT155       West Haven City, Connecticut             1.4026972589%
               CT156       Westbrook Town, Connecticut              0.2586999280%
               CT157       Weston Town, Connecticut                 0.3664201329%
               CT158       Westport Town, Connecticut               0.8921084083%
               CT159       Wethersfield Town, Connecticut           0.6208707168%
               CT160       Willington Town, Connecticut             0.0975268185%
               CT161       Wilton Town, Connecticut                 0.6378099925%
               CT162       Winchester Town, Connecticut             0.3760305376%
               CT163       Windham Town, Connecticut                1.0108949901%
               CT164       Windsor Locks Town, Connecticut          0.3174167624%
               CT165       Windsor Town, Connecticut                0.7548324123%
               CT166       Wolcott Town, Connecticut                0.5443693820%
               CT167       Woodbridge Town, Connecticut             0.2435300513%
               CT168       Woodbury Town, Connecticut               0.3411988605%
               CT169       Woodmont Borough, Connecticut            0.0173159412%
               CT170       Woodstock Town, Connecticut              0.1817110623%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID            Qualifying Subdivision            Allocation
                DE1        Dover City, Delaware                      25.00000000%
                                                                            ($1.00)
                DE2        Kent County, Delaware                     25.00000000%
                                                                            ($1.00)
                DE3        Middletown, Delaware                     0.0000000000%
                DE4        Milford City, Delaware                   0.0000000000%
                DE5        New Castle County, Delaware              0.0000000000%
                DE6        Newark City, Delaware                    0.0000000000%
                DE7        Seaford City, Delaware                    25.00000000%
                                                                            ($1.00)
                DE8        Smyrna Town, Delaware                    0.0000000000%
                DE9        Sussex County, Delaware                   25.00000000%
                                                                            ($1.00)
               DE10        Wilmington City, Delaware                0.0000000000%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                FL1        Alachua County, Florida                  0.8594613234%
                FL2        Altamonte Springs City, Florida          0.0813054302%
                FL3        Apopka City, Florida                     0.0972154704%
                FL4        Atlantic Beach City, Florida             0.0388915664%
                FL5        Auburndale City, Florida                 0.0286367831%
                FL6        Aventura City, Florida                   0.0246200756%
                FL7        Avon Park City, Florida                  0.0258288737%
                FL8        Baker County, Florida                    0.1931736622%
                FL9        Bartow City, Florida                     0.0439725748%
               FL10        Bay County, Florida                      0.5394465693%
               FL11        Belle Glade City, Florida                0.0208278128%
               FL12        Boca Raton City, Florida                 0.4720689632%
               FL13        Bonita Springs City, Florida             0.0173754580%
               FL14        Boynton Beach City, Florida              0.3064979246%
               FL15        Bradenton City, Florida                  0.3799303249%
               FL16        Bradford County, Florida                 0.1894834807%
               FL17        Brevard County, Florida                  2.3870763525%
               FL18        Broward County, Florida                  4.0626227708%
               FL19        Calhoun County, Florida                  0.0471282181%
               FL20        Callaway City, Florida                   0.0249535015%
               FL21        Cape Canaveral City, Florida             0.0455607190%
               FL22        Cape Coral City, Florida                 0.7144300110%
               FL23        Casselberry City, Florida                0.0800352962%
               FL24        Charlotte County, Florida                0.6902251426%
               FL25        Citrus County, Florida                   0.9696466473%
               FL26        Clay County, Florida                     1.1934300121%
               FL27        Clearwater City, Florida                 0.6338625372%
               FL28        Clermont City, Florida                   0.0759095348%
               FL29        Cocoa Beach City, Florida                0.0843632048%
               FL30        Cocoa City, Florida                      0.1492447199%
               FL31        Coconut Creek City, Florida              0.1011309318%
               FL32        Collier County, Florida                  1.3548224874%
               FL33        Columbia County, Florida                 0.3421221973%
               FL34        Cooper City, Florida                     0.0739363249%
               FL35        Coral Gables City, Florida               0.0717799422%
               FL36        Coral Springs City, Florida              0.3234064085%
               FL37        Crestview City, Florida                  0.0704397566%
               FL38        Cutler Bay Town, Florida                 0.0094141463%
               FL39        Dania Beach City, Florida                0.0178067890%
               FL40        Davie Town, Florida                      0.2669225293%
               FL41        Daytona Beach City, Florida              0.4475559985%
               FL42        Daytona Beach Shores City, Florida       0.0397433158%
               FL43        De Soto County, Florida                  0.1136404205%
               FL44        Debary City, Florida                     0.0352833296%
               FL45        Deerfield Beach City, Florida            0.2024233562%
               FL46        Deland City, Florida                     0.0989843542%
               FL47        Delray Beach City, Florida               0.3518466005%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               FL48        Deltona City, Florida                    0.1993292304%
               FL49        Destin City, Florida                     0.0146783092%
               FL50        Dixie County, Florida                    0.1037443927%
               FL51        Doral City, Florida                      0.0139780477%
               FL52        Dunedin City, Florida                    0.1024411213%
               FL53        Eatonville Town, Florida                 0.0083256415%
               FL54        Edgewater City, Florida                  0.0580427172%
               FL55        Escambia County, Florida                 1.0109990610%
               FL56        Estero Village, Florida                  0.0120797555%
               FL57        Eustis City, Florida                     0.0419300395%
               FL58        Fernandina Beach City, Florida           0.0831601989%
               FL59        Flagler County, Florida                  0.3050082484%
               FL60        Florida City, Florida                    0.0039287890%
               FL61        Fort Lauderdale City, Florida            0.8305816295%
               FL62        Fort Myers City, Florida                 0.4310995634%
               FL63        Fort Pierce City, Florida                0.1595358726%
               FL64        Fort Walton Beach City, Florida          0.0778370605%
               FL65        Franklin County, Florida                 0.0499106708%
               FL66        Fruitland Park City, Florida             0.0083820932%
               FL67        Gadsden County, Florida                  0.1236554705%
               FL68        Gainesville City, Florida                0.3815982894%
               FL69        Gilchrist County, Florida                0.0643335042%
               FL70        Glades County, Florida                   0.0406124963%
               FL71        Greenacres City, Florida                 0.0764248986%
               FL72        Groveland City, Florida                  0.0261531482%
               FL73        Gulf County, Florida                     0.0599141908%
               FL74        Gulfport City, Florida                   0.0478945547%
               FL75        Haines City, Florida                     0.0479847066%
               FL76        Hallandale Beach City, Florida           0.1549505272%
               FL77        Hamilton County, Florida                 0.0479418005%
               FL78        Hardee County, Florida                   0.0671103643%
               FL79        Hendry County, Florida                   0.1444608951%
               FL80        Hernando County, Florida                 1.5100758996%
               FL81        Hialeah City, Florida                    0.0980156525%
               FL82        Hialeah Gardens City, Florida            0.0054519294%
               FL83        Highlands County, Florida                0.2931860386%
               FL84        Hillsborough County, Florida             6.5231125308%
               FL85        Holly Hill City, Florida                 0.0316162444%
               FL86        Hollywood City, Florida                  0.5201647754%
               FL87        Holmes County, Florida                   0.0816118922%
               FL88        Homestead City, Florida                  0.0249353985%
               FL89        Indian River County, Florida             0.6541177901%
               FL90        Jackson County, Florida                  0.1589357678%
               FL91        Jacksonville Beach City, Florida         0.1004466852%
               FL92        Jacksonville City, Florida               5.2956380196%
               FL93        Jefferson County, Florida                0.0408207989%
               FL94        Jupiter Town, Florida                    0.1254666431%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               FL95        Key Biscayne Village, Florida            0.0136838783%
               FL96        Key West City, Florida                   0.0880867779%
               FL97        Kissimmee City, Florida                  0.1623657708%
               FL98        Lady Lake Town, Florida                  0.0250481927%
               FL99        Lafayette County, Florida                0.0319113399%
               FL100       Lake City, Florida                       0.1046594391%
               FL101       Lake County, Florida                     0.7815478562%
               FL102       Lake Mary City, Florida                  0.0797674370%
               FL103       Lake Wales City, Florida                 0.0362931762%
               FL104       Lake Worth City, Florida                 0.1171459041%
               FL105       Lakeland City, Florida                   0.2948749206%
               FL106       Lantana Town, Florida                    0.0245078987%
               FL107       Largo City, Florida                      0.3741936498%
               FL108       Lauderdale Lakes City, Florida           0.0626243040%
               FL109       Lauderhill City, Florida                 0.1443830721%
               FL110       Lee County, Florida                      2.1503874299%
               FL111       Leesburg City, Florida                   0.0913398906%
               FL112       Leon County, Florida                     0.4712019797%
               FL113       Levy County, Florida                     0.2511923208%
               FL114       Liberty County, Florida                  0.0193986191%
               FL115       Lighthouse Point City, Florida           0.0291322827%
               FL116       Longwood City, Florida                   0.0617091669%
               FL117       Lynn Haven City, Florida                 0.0392057816%
               FL118       Madison County, Florida                  0.0635403309%
               FL119       Maitland City, Florida                   0.0467282451%
               FL120       Manatee County, Florida                  2.2885234019%
               FL121       Marco Island City, Florida               0.0620945413%
               FL122       Margate City, Florida                    0.1436833554%
               FL123       Marion County, Florida                   1.3321814866%
               FL124       Martin County, Florida                   0.7882651079%
               FL125       Melbourne City, Florida                  0.3831054876%
               FL126       Miami Beach City, Florida                0.1814092477%
               FL127       Miami City, Florida                      0.2927934557%
               FL128       Miami Gardens City, Florida              0.0406839641%
               FL129       Miami Lakes Town, Florida                0.0078375139%
               FL130       Miami Shores Village, Florida            0.0062876094%
               FL131       Miami Springs City, Florida              0.0061694950%
               FL132       Miami-Dade County, Florida               4.3271705192%
               FL133       Milton City, Florida                     0.0466314657%
               FL134       Minneola City, Florida                   0.0160580418%
               FL135       Miramar City, Florida                    0.2792796404%
               FL136       Monroe County, Florida                   0.3883011967%
               FL137       Mount Dora City, Florida                 0.0410212212%
               FL138       Naples City, Florida                     0.1344157944%
               FL139       Nassau County, Florida                   0.3937725183%
               FL140       New Port Richey City, Florida            0.1498783253%
               FL141       New Smyrna Beach City, Florida           0.1040660344%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               FL142       Niceville City, Florida                  0.0217446385%
               FL143       North Lauderdale City, Florida           0.0660690508%
               FL144       North Miami Beach City, Florida          0.0303917946%
               FL145       North Miami City, Florida                0.0303784307%
               FL146       North Palm Beach Village, Florida        0.0443491609%
               FL147       North Port City, Florida                 0.2096119036%
               FL148       Oakland Park City, Florida               0.1004312332%
               FL149       Ocala City, Florida                      0.3689945815%
               FL150       Ocoee City, Florida                      0.0666000846%
               FL151       Okaloosa County, Florida                 0.6345124117%
               FL152       Okeechobee County, Florida               0.3534953181%
               FL153       Oldsmar City, Florida                    0.0394219828%
               FL154       Opa-Locka City, Florida                  0.0078475369%
               FL155       Orange City, Florida                     0.0335624179%
               FL156       Orange County, Florida                   3.1307419804%
               FL157       Orlando City, Florida                    1.1602492100%
               FL158       Ormond Beach City, Florida               0.1146438211%
               FL159       Osceola County, Florida                  0.8372491116%
               FL160       Oviedo City, Florida                     0.1031308696%
               FL161       Palatka City, Florida                    0.0469549231%
               FL162       Palm Bay City, Florida                   0.4048169342%
               FL163       Palm Beach County, Florida               5.9784001645%
               FL164       Palm Beach Gardens City, Florida         0.2336752163%
               FL165       Palm Coast City, Florida                 0.0848564709%
               FL166       Palm Springs Village, Florida            0.0380209877%
               FL167       Palmetto Bay Village, Florida            0.0074040767%
               FL168       Palmetto City, Florida                   0.0528697594%
               FL169       Panama City Beach City, Florida          0.0808973045%
               FL170       Panama City, Florida                     0.1551531466%
               FL171       Parkland City, Florida                   0.0458042834%
               FL172       Pasco County, Florida                    4.4295368317%
               FL173       Pembroke Pines City, Florida             0.4628331778%
               FL174       Pensacola City, Florida                  0.3306359554%
               FL175       Pinecrest Village, Florida               0.0082965714%
               FL176       Pinellas County, Florida                 4.7935359992%
               FL177       Pinellas Park City, Florida              0.2516664490%
               FL178       Plant City, Florida                      0.1042185754%
               FL179       Plantation City, Florida                 0.2139192761%
               FL180       Polk County, Florida                     1.6016881161%
               FL181       Pompano Beach City, Florida              0.3354719648%
               FL182       Port Orange City, Florida                0.1775970116%
               FL183       Port St. Lucie City, Florida             0.3908042602%
               FL184       Punta Gorda City, Florida                0.0471207554%
               FL185       Putnam County, Florida                   0.3379382594%
               FL186       Riviera Beach City, Florida              0.1636174387%
               FL187       Rockledge City, Florida                  0.0966039082%
               FL188       Royal Palm Beach Village, Florida        0.0492948779%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID               Qualifying Subdivision         Allocation
               FL189       Safety Harbor City, Florida              0.0380615697%
               FL190       Sanford City, Florida                    0.1642438718%
               FL191       Santa Rosa County, Florida               0.6546368035%
               FL192       Sarasota City, Florida                   0.4842803786%
               FL193       Sarasota County, Florida                 1.9688041245%
               FL194       Satellite Beach City, Florida            0.0359750389%
               FL195       Sebastian City, Florida                  0.0383157745%
               FL196       Sebring City, Florida                    0.0381728569%
               FL197       Seminole City, Florida                   0.0952489243%
               FL198       Seminole County, Florida                 1.5086951138%
               FL199       South Daytona City, Florida              0.0452214101%
               FL200       South Miami City, Florida                0.0078330472%
               FL201       St Johns County, Florida                 0.6638216753%
               FL202       St Lucie County, Florida                 0.9562887503%
               FL203       St. Augustine City, Florida              0.0465108819%
               FL204       St. Cloud City, Florida                  0.0738366040%
               FL205       St. Petersburg City, Florida             1.4565924173%
               FL206       Stuart City, Florida                     0.0812230134%
               FL207       Sumter County, Florida                   0.3263986345%
               FL208       Sunny Isles Beach City, Florida          0.0076937793%
               FL209       Sunrise City, Florida                    0.2860704481%
               FL210       Suwannee County, Florida                 0.1910149373%
               FL211       Sweetwater City, Florida                 0.0041159745%
               FL212       Tallahassee City, Florida                0.4259972563%
               FL213       Tamarac City, Florida                    0.1344928911%
               FL214       Tampa City, Florida                      1.9756726462%
               FL215       Tarpon Springs City, Florida             0.1019709696%
               FL216       Tavares City, Florida                    0.0318218598%
               FL217       Taylor County, Florida                   0.0921812176%
               FL218       Temple Terrace City, Florida             0.1079810418%
               FL219       Titusville City, Florida                 0.2400558465%
               FL220       Union County, Florida                    0.0651555116%
               FL221       Venice City, Florida                     0.1423476183%
               FL222       Vero Beach City, Florida                 0.0606417248%
               FL223       Volusia County, Florida                  1.7446849189%
               FL224       Wakulla County, Florida                  0.1151294611%
               FL225       Walton County, Florida                   0.2685576832%
               FL226       Washington County, Florida               0.1201244575%
               FL227       Wellington Village, Florida              0.0501840680%
               FL228       West Melbourne City, Florida             0.0519971652%
               FL229       West Palm Beach City, Florida            0.5492662267%
               FL230       West Park City, Florida                  0.0295538994%
               FL231       Weston City, Florida                     0.1386373546%
               FL232       Wilton Manors City, Florida              0.0316306070%
               FL233       Winter Garden City, Florida              0.0562653176%
               FL234       Winter Haven City, Florida               0.0970328243%
               FL235       Winter Park City, Florida                0.1049029672%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               FL236       Winter Springs City, Florida             0.0622621530%
               FL237       Zephyrhills City, Florida                0.1126717551%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 198 of 602. PageID            #: 583658
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision            Allocation
                GA1        Acworth City, Georgia                    0.1010066057%
                GA2        Adel City, Georgia                       0.0545649432%
                GA3        Albany City, Georgia                     0.3157843012%
                GA4        Alma City, Georgia                       0.0720108615%
                GA5        Alpharetta City, Georgia                 0.2110377863%
                GA6        Americus City, Georgia                   0.0651732444%
                GA7        Appling County, Georgia                  0.1891925647%
                GA8        Arlington City, Georgia                  0.0057755147%
                GA9        Athens-Clarke County Unified             1.3856330305%
                           Government, Georgia
               GA10        Atkinson County, Georgia                 0.0986720780%
               GA11        Atlanta City, Georgia                    2.9922320659%
               GA12        Augusta-Richmond County                  2.7761021713%
                           Consolidated Government, Georgia
               GA13        Bacon County, Georgia                    0.1326313298%
               GA14        Bainbridge City, Georgia                 0.0569861790%
               GA15        Baker County, Georgia                    0.0138992540%
               GA16        Baldwin County, Georgia                  0.2940093402%
               GA17        Banks County, Georgia                    0.2108287241%
               GA18        Barrow County, Georgia                   0.7562315570%
               GA19        Bartow County, Georgia                   1.0945235112%
               GA20        Ben Hill County, Georgia                 0.0834031458%
               GA21        Berrien County, Georgia                  0.1225733642%
               GA22        Blackshear City, Georgia                 0.0349161927%
               GA23        Blakely City, Georgia                    0.0158441397%
               GA24        Bleckley County, Georgia                 0.1430561858%
               GA25        Brantley County, Georgia                 0.2875410777%
               GA26        Braselton Town, Georgia                  0.0371467624%
               GA27        Brookhaven City, Georgia                 0.0913450445%
               GA28        Brooks County, Georgia                   0.1455943886%
               GA29        Brunswick City, Georgia                  0.1020085339%
               GA30        Bryan County, Georgia                    0.2289883650%
               GA31        Buford City, Georgia                     0.0023586547%
               GA32        Bulloch County, Georgia                  0.4088475182%
               GA33        Burke County, Georgia                    0.1875413288%
               GA34        Butts County, Georgia                    0.3178860983%
               GA35        Calhoun City, Georgia                    0.1780085402%
               GA36        Calhoun County, Georgia                  0.0360783561%
               GA37        Camden County, Georgia                   0.3387009665%
               GA38        Candler County, Georgia                  0.0990882539%
               GA39        Canton City, Georgia                     0.1378274535%
               GA40        Carroll County, Georgia                  1.4108548814%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision            Allocation
               GA41        Carrollton City, Georgia                  0.4395018339%
               GA42        Cartersville City, Georgia                0.2991406477%
               GA43        Catoosa County, Georgia                   1.0548339612%
               GA44        Chamblee City, Georgia                    0.0537051979%
               GA45        Charlton County, Georgia                  0.1046313818%
               GA46        Chatham County, Georgia                   1.4544033708%
               GA47        Chattooga County, Georgia                 0.3317513109%
               GA48        Cherokee County, Georgia                  2.1190683851%
               GA49        Clarkston City, Georgia                   0.0175253481%
               GA50        Clay County, Georgia                      0.0274637104%
               GA51        Clayton County, Georgia                   1.6728881377%
               GA52        Clinch County, Georgia                    0.0617206810%
               GA53        Cobb County, Georgia                      5.8580801967%
               GA54        Coffee County, Georgia                    0.4164755944%
               GA55        College Park City, Georgia                0.1805996391%
               GA56        Colquitt County, Georgia                  0.2578612394%
               GA57        Columbia County, Georgia                  1.2905730633%
               GA58        Columbus City, Georgia                    1.8227140298%
               GA59        Conyers City, Georgia                     0.1202231912%
               GA60        Cook County, Georgia                      0.0973405674%
               GA61        Cordele City, Georgia                     0.0583989534%
               GA62        Covington City, Georgia                   0.1969084378%
               GA63        Coweta County, Georgia                    0.9767276305%
               GA64        Crawford County, Georgia                  0.1282569558%
               GA65        Crisp County, Georgia                     0.1296658905%
               GA66        Cusseta-Chattahoochee County Unified      0.0695538650%
                           Government, Georgia
               GA67        Dade County, Georgia                      0.1799465490%
               GA68        Dallas City, Georgia                      0.0916776643%
               GA69        Dalton City, Georgia                      0.3628092518%
               GA70        Damascus City, Georgia                    0.0005040301%
               GA71        Dawson City, Georgia                      0.0138696254%
               GA72        Dawson County, Georgia                    0.3192782415%
               GA73        Decatur City, Georgia                     0.1040340531%
               GA74        Decatur County, Georgia                   0.1633371087%
               GA75        Dekalb County, Georgia                    4.0579602979%
               GA76        Demorest City, Georgia                    0.0233539880%
               GA77        Dodge County, Georgia                     0.3228398634%
               GA78        Dooly County, Georgia                     0.0758970226%
               GA79        Doraville City, Georgia                   0.0619484258%
               GA80        Dougherty County, Georgia                 0.4519146718%
               GA81        Douglas City, Georgia                     0.2364366638%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision           Allocation
               GA82        Douglas County, Georgia                  1.2411219485%
               GA83        Douglasville City, Georgia               0.2313289102%
               GA84        Dublin City, Georgia                     0.1598683843%
               GA85        Duluth City, Georgia                     0.1174400509%
               GA86        Dunwoody City, Georgia                   0.0823645400%
               GA87        Early County, Georgia                    0.0433467628%
               GA88        East Point City, Georgia                 0.2308433908%
               GA89        Echols County, Georgia                   0.0262187359%
               GA90        Effingham County, Georgia                0.4370293068%
               GA91        Elbert County, Georgia                   0.2655117233%
               GA92        Emanuel County, Georgia                  0.2278497555%
               GA93        Evans County, Georgia                    0.1156959749%
               GA94        Fairburn City, Georgia                   0.0542552469%
               GA95        Fannin County, Georgia                   0.5651805280%
               GA96        Fayette County, Georgia                  0.6527012475%
               GA97        Fayetteville City, Georgia               0.1201203794%
               GA98        Fitzgerald City, Georgia                 0.0569093853%
               GA99        Floyd County, Georgia                    0.9887350092%
               GA100       Forest Park City, Georgia                0.1455200592%
               GA101       Forsyth County, Georgia                  1.7110664570%
               GA102       Franklin County, Georgia                 0.5550296650%
               GA103       Fulton County, Georgia                   3.2792330120%
               GA104       Gainesville City, Georgia                0.3640437388%
               GA105       Georgetown-Quitman County Unified        0.0176595651%
                           Government, Georgia
               GA106       Gilmer County, Georgia                   0.4239021158%
               GA107       Glascock County, Georgia                 0.0283662653%
               GA108       Glynn County, Georgia                    0.7968809706%
               GA109       Gordon County, Georgia                   0.4175279543%
               GA110       Grady County, Georgia                    0.1716497947%
               GA111       Greene County, Georgia                   0.1737385827%
               GA112       Griffin City, Georgia                    0.2287480123%
               GA113       Grovetown City, Georgia                  0.0632622854%
               GA114       Gwinnett County, Georgia                 4.8912732775%
               GA115       Habersham County, Georgia                0.4635124652%
               GA116       Hall County, Georgia                     1.5772937095%
               GA117       Hancock County, Georgia                  0.0536800967%
               GA118       Haralson County, Georgia                 1.0934912667%
               GA119       Harris County, Georgia                   0.2037540782%
               GA120       Hart County, Georgia                     0.2935398099%
               GA121       Heard County, Georgia                    0.1232058232%
               GA122       Henry County, Georgia                    1.9715208583%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision            Allocation
               GA123       Hinesville City, Georgia                 0.2572364025%
               GA124       Holly Springs City, Georgia              0.0823108417%
               GA125       Houston County, Georgia                  0.8378076437%
               GA126       Irwin County, Georgia                    0.0610553841%
               GA127       Jackson County, Georgia                  0.9201220386%
               GA128       Jasper County, Georgia                   0.1152245534%
               GA129       Jeff Davis County, Georgia               0.3659791686%
               GA130       Jefferson City, Georgia                  0.0881783943%
               GA131       Jefferson County, Georgia                0.1517559349%
               GA132       Jenkins County, Georgia                  0.0808740550%
               GA133       Johns Creek City, Georgia                0.1877697040%
               GA134       Johnson County, Georgia                  0.0876584323%
               GA135       Jones County, Georgia                    0.2773521617%
               GA136       Kennesaw City, Georgia                   0.1446191663%
               GA137       Kingsland City, Georgia                  0.1313198199%
               GA138       Lagrange City, Georgia                   0.2069622772%
               GA139       Lakeland City, Georgia                   0.0155232109%
               GA140       Lamar County, Georgia                    0.2083015245%
               GA141       Lanier County, Georgia                   0.0574613256%
               GA142       Laurens County, Georgia                  0.5249834521%
               GA143       Lawrenceville City, Georgia              0.1647173317%
               GA144       Lee County, Georgia                      0.2162850866%
               GA145       Liberty County, Georgia                  0.2931642086%
               GA146       Lilburn City, Georgia                    0.0538355752%
               GA147       Lincoln County, Georgia                  0.1000487479%
               GA148       Loganville City, Georgia                 0.1468681321%
               GA149       Long County, Georgia                     0.1216766548%
               GA150       Lowndes County, Georgia                  0.6253829866%
               GA151       Lumpkin County, Georgia                  0.3139555802%
               GA152       Macon County, Georgia                    0.1110857755%
               GA153       Macon-Bibb County Unified                2.0265214623%
                           Government, Georgia
               GA154       Madison County, Georgia                  0.5114434091%
               GA155       Marietta City, Georgia                   0.7354006996%
               GA156       Marion County, Georgia                   0.0615218771%
               GA157       McDonough City, Georgia                  0.0803644086%
               GA158       McDuffie County, Georgia                 0.2216409869%
               GA159       McIntosh County, Georgia                 0.1678759014%
               GA160       Meriwether County, Georgia               0.2015834534%
               GA161       Milledgeville City, Georgia              0.1343842887%
               GA162       Miller County, Georgia                   0.0562389307%
               GA163       Milton City, Georgia                     0.0765630644%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision           Allocation
               GA164       Mitchell County, Georgia                 0.1842864232%
               GA165       Monroe City, Georgia                     0.1616058698%
               GA166       Monroe County, Georgia                   0.2463868890%
               GA167       Montgomery County, Georgia               0.0685440855%
               GA168       Morgan County, Georgia                   0.1807932852%
               GA169       Moultrie City, Georgia                   0.1150272968%
               GA170       Murray County, Georgia                   0.5636808736%
               GA171       Nashville City, Georgia                  0.0288042758%
               GA172       Newnan City, Georgia                     0.2037973462%
               GA173       Newton County, Georgia                   0.6206699754%
               GA174       Norcross City, Georgia                   0.0762036242%
               GA175       Oconee County, Georgia                   0.2721000475%
               GA176       Oglethorpe County, Georgia               0.1461658711%
               GA177       Paulding County, Georgia                 1.7495211188%
               GA178       Peach County, Georgia                    0.2319656673%
               GA179       Peachtree City, Georgia                  0.2219833492%
               GA180       Peachtree Corners City, Georgia          0.2099400952%
               GA181       Perry City, Georgia                      0.0954580908%
               GA182       Pickens County, Georgia                  0.3905362384%
               GA183       Pierce County, Georgia                   0.2012068205%
               GA184       Pike County, Georgia                     0.1072270653%
               GA185       Polk County, Georgia                     0.7130941429%
               GA186       Pooler City, Georgia                     0.0516303360%
               GA187       Powder Springs City, Georgia             0.0633430906%
               GA188       Pulaski County, Georgia                  0.1671565625%
               GA189       Putnam County, Georgia                   0.2061208707%
               GA190       Rabun County, Georgia                    0.3170130000%
               GA191       Randolph County, Georgia                 0.0382245100%
               GA192       Richmond Hill City, Georgia              0.0716382402%
               GA193       Riverdale City, Georgia                  0.0684460876%
               GA194       Rockdale County, Georgia                 0.7947696030%
               GA195       Rome City, Georgia                       0.3719383578%
               GA196       Roswell City, Georgia                    0.2174642134%
               GA197       Sandy Springs City, Georgia              0.2590143480%
               GA198       Savannah City, Georgia                   1.1246685243%
               GA199       Schley County, Georgia                   0.0238356678%
               GA200       Screven County, Georgia                  0.1132053955%
               GA201       Seminole County, Georgia                 0.0804817769%
               GA202       Smyrna City, Georgia                     0.2661908888%
               GA203       Snellville City, Georgia                 0.0758688840%
               GA204       Spalding County, Georgia                 0.5900646014%
               GA205       Springfield City, Georgia                0.0124802329%
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision           Allocation
               GA206       St. Marys City, Georgia                  0.0962803562%
               GA207       Statesboro City, Georgia                 0.1844690660%
               GA208       Stephens County, Georgia                 0.7520555284%
               GA209       Stewart County, Georgia                  0.0419742764%
               GA210       Stockbridge City, Georgia                0.0302698888%
               GA211       Sugar Hill City, Georgia                 0.0106058369%
               GA212       Sumter County, Georgia                   0.1314426325%
               GA213       Suwanee City, Georgia                    0.0700562332%
               GA214       Talbot County, Georgia                   0.0410357316%
               GA215       Taliaferro County, Georgia               0.0068637499%
               GA216       Tattnall County, Georgia                 0.2930768128%
               GA217       Taylor County, Georgia                   0.0819435502%
               GA218       Telfair County, Georgia                  0.1855378735%
               GA219       Terrell County, Georgia                  0.0334710962%
               GA220       Thomas County, Georgia                   0.2077911904%
               GA221       Thomasville City, Georgia                0.1281973547%
               GA222       Tift County, Georgia                     0.2088288220%
               GA223       Tifton City, Georgia                     0.1416502311%
               GA224       Toombs County, Georgia                   0.2423104056%
               GA225       Towns County, Georgia                    0.2454408368%
               GA226       Treutlen County, Georgia                 0.0571447522%
               GA227       Troup County, Georgia                    0.4334095739%
               GA228       Tucker City, Georgia                     0.0615225648%
               GA229       Turner County, Georgia                   0.0490657711%
               GA230       Twiggs County, Georgia                   0.0640416265%
               GA231       Union City, Georgia                      0.1531538090%
               GA232       Union County, Georgia                    0.2949759089%
               GA233       Upson County, Georgia                    0.3355566667%
               GA234       Valdosta City, Georgia                   0.2598246932%
               GA235       Vidalia City, Georgia                    0.1252530050%
               GA236       Villa Rica City, Georgia                 0.1397113628%
               GA237       Walker County, Georgia                   0.8453605309%
               GA238       Walton County, Georgia                   0.8194381956%
               GA239       Ware County, Georgia                     0.5170078559%
               GA240       Warner Robins City, Georgia              0.3969845574%
               GA241       Warren County, Georgia                   0.0447828045%
               GA242       Warwick City, Georgia                    0.0103298381%
               GA243       Washington County, Georgia               0.1959988913%
               GA244       Waycross City, Georgia                   0.1358274367%
               GA245       Wayne County, Georgia                    0.6609347902%
               GA246       Webster County Unified Government,       0.0143656323%


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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                           Georgia
               GA247       Wheeler County, Georgia                  0.0675300652%
               GA248       White County, Georgia                    0.3873386988%
               GA249       Whitfield County, Georgia                0.7644288806%
               GA250       Wilcox County, Georgia                   0.0828696590%
               GA251       Wilkes County, Georgia                   0.0976306068%
               GA252       Wilkinson County, Georgia                0.0847297279%
               GA253       Winder City, Georgia                     0.2007720766%
               GA254       Woodbury City, Georgia                   0.0085236394%
               GA255       Woodstock City, Georgia                  0.1942956763%
               GA256       Worth County, Georgia                    0.1491832321%
               GA257       Rincon town, Georgia                     0.0275488139%
               GA258       South Fulton City, Georgia               0.2561412300%
               GA259       Stonecrest City, Georgia                 0.0904388800%
               GA260       Ashburn City, Georgia                    0.0207294209%
               GA261       Chatsworth City, Georgia                 0.1226056863%
               GA262       Dawsonville City, Georgia                0.0022440946%
               GA263       Helen City, Georgia                      0.0478552392%
               GA264       Jackson City, Georgia                    0.0568159148%
               GA265       Ringgold City, Georgia                   0.0585728853%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                HI1        Hawaii County, Hawaii                   18.2671692501%
                HI2        Kalawao, Hawaii                          0.0034501514%
                HI3        Kauai County, Hawaii                     5.7006273580%
                HI4        Maui County, Hawaii                     13.9979969296%
                HI5        City and County of Honolulu, Hawaii     62.0307563109%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                 ID1       Ada County, Idaho                       13.2776278333%
                 ID2       Adams County, Idaho                      0.1446831902%
                 ID3       Ammon City, Idaho                        0.0812916024%
                 ID4       Bannock County, Idaho                    3.0595589832%
                 ID5       Bear Lake County, Idaho                  0.6082712041%
                 ID6       Benewah County, Idaho                    0.6526829809%
                 ID7       Bingham County, Idaho                    1.6421270812%
                 ID8       Blackfoot City, Idaho                    0.6283857401%
                 ID9       Blaine County, Idaho                     0.9137717551%
                ID10       Boise City, Idaho                       12.7586409110%
                ID11       Boise County, Idaho                      0.3309644652%
                ID12       Bonner County, Idaho                     2.5987361786%
                ID13       Bonneville County, Idaho                 3.7761253875%
                ID14       Boundary County, Idaho                   0.8788284447%
                ID15       Burley City, Idaho                       0.4485975363%
                ID16       Butte County, Idaho                      0.1839745518%
                ID17       Caldwell City, Idaho                     1.1958553249%
                ID18       Camas County, Idaho                      0.0422073443%
                ID19       Canyon County, Idaho                     5.0120113688%
                ID20       Caribou County, Idaho                    0.4396183832%
                ID21       Cassia County, Idaho                     0.7270235866%
                ID22       Chubbuck City, Idaho                     0.4841935447%
                ID23       Clark County, Idaho                      0.0420924425%
                ID24       Clearwater County, Idaho                 0.4890418390%
                ID25       Coeur D'Alene City, Idaho                2.7593778237%
                ID26       Custer County, Idaho                     0.2133243878%
                ID27       Eagle City, Idaho                        0.1711876661%
                ID28       Elmore County, Idaho                     0.8899512165%
                ID29       Franklin County, Idaho                   0.5753624958%
                ID30       Fremont County, Idaho                    0.5716071696%
                ID31       Garden City, Idaho                       0.5582782838%
                ID32       Gem County, Idaho                        1.3784025725%
                ID33       Gooding County, Idaho                    0.6966472013%
                ID34       Hayden City, Idaho                       0.0047132146%
                ID35       Idaho County, Idaho                      0.8474305547%
                ID36       Idaho Falls City, Idaho                  3.8875027578%
                ID37       Jefferson County, Idaho                  0.9842670749%
                ID38       Jerome City, Idaho                       0.4169017424%
                ID39       Jerome County, Idaho                     0.6223444291%
                ID40       Kootenai County, Idaho                   5.6394798565%
                ID41       Kuna City, Idaho                         0.1849461724%
                ID42       Latah County, Idaho                      1.2943861166%
                ID43       Lemhi County, Idaho                      0.4880814284%
                ID44       Lewis County, Idaho                      0.2882543555%
                ID45       Lewiston City, Idaho                     2.0176549375%
                ID46       Lincoln County, Idaho                    0.1930184422%
                ID47       Madison County, Idaho                    1.2748404845%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                ID48       Meridian City, Idaho                     2.4045650754%
                ID49       Minidoka County, Idaho                   0.9140620922%
                ID50       Moscow City, Idaho                       0.6590552650%
                ID51       Mountain Home City, Idaho                0.5706694591%
                ID52       Nampa City, Idaho                        3.3274647954%
                ID53       Nez Perce County, Idaho                  1.2765833482%
                ID54       Oneida County, Idaho                     0.2371656647%
                ID55       Owyhee County, Idaho                     0.5554298409%
                ID56       Payette County, Idaho                    1.2750728102%
                ID57       Pocatello City, Idaho                    2.9494898116%
                ID58       Post Falls City, Idaho                   0.6781328826%
                ID59       Power County, Idaho                      0.3505171035%
                ID60       Preston City, Idaho                      0.1496220047%
                ID61       Rexburg City, Idaho                      0.1336231941%
                ID62       Shoshone County, Idaho                   1.2841091340%
                ID63       Star City, Idaho                         0.0001322772%
                ID64       Teton County, Idaho                      0.4258195211%
                ID65       Twin Falls City, Idaho                   1.8245765222%
                ID66       Twin Falls County, Idaho                 3.3104301873%
                ID67       Valley County, Idaho                     0.8074710814%
                ID68       Washington County, Idaho                 0.4917358652%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 208 of 602. PageID            #: 583668
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                 IL1       Adams County, Illinois
                 IL3       Addison Village, Illinois
                 IL4       Alexander County, Illinois
                 IL6       Algonquin Village, Illinois
                IL10       Anna City, Illinois
                IL13       Arlington Heights Village, Illinois
                IL14       Aurora City, Illinois
                IL19       Bartlett Village, Illinois
                IL22       Bedford Park Village, Illinois
                IL23       Belleville City, Illinois
                IL24       Bellwood Village, Illinois
                IL27       Bensenville Village, Illinois
                IL28       Benton City, Illinois
                IL30       Berkeley Village, Illinois
                IL31       Berwyn City, Illinois
                IL37       Bloomington City, Illinois
                IL39       Bolingbrook Village, Illinois
                IL40       Bond County, Illinois
                IL41       Boone County, Illinois
                IL46       Bridgeview Village, Illinois
                IL47       Broadview Village, Illinois
                                                                     Allocations in
                IL49       Brown County, Illinois
                                                                 Illinois will be made
                IL51       Buffalo Grove Village, Illinois
                                                                  in accordance with
                IL52       Burbank City, Illinois
                                                                  the Illinois Opioid
                IL53       Bureau County, Illinois
                                                                       Allocation
                IL56       Calhoun County, Illinois
                                                                      Agreement.
                IL57       Calumet City, Illinois
                IL63       Carbondale City, Illinois
                IL65       Carol Stream Village, Illinois
                IL66       Carpentersville Village, Illinois
                IL67       Carroll County, Illinois
                IL70       Cass County, Illinois
                IL75       Champaign City, Illinois
                IL76       Champaign County, Illinois
                IL84       Chicago City, Illinois
                IL85       Chicago Heights City, Illinois
                IL86       Chicago Ridge Village, Illinois
                IL87       Christian County, Illinois
                IL88       Clark County, Illinois
                IL89       Clay County, Illinois
                IL90       Clinton County, Illinois
                IL91       Coles County, Illinois
                IL96       Cook County, Illinois
                IL99       Countryside City, Illinois
               IL100       Crawford County, Illinois
               IL104       Crystal Lake City, Illinois
               IL106       Cumberland County, Illinois

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IL107       Danville City, Illinois
               IL110       De Witt County, Illinois
               IL111       Decatur City, Illinois
               IL114       Dekalb City, Illinois
               IL115       Dekalb County, Illinois
               IL117       Des Plaines City, Illinois
               IL120       Dolton Village, Illinois
               IL122       Douglas County, Illinois
               IL125       Downers Grove Village, Illinois
               IL127       Dupage County, Illinois
               IL131       Edgar County, Illinois
               IL132       Edwards County, Illinois
               IL136       Effingham County, Illinois
               IL138       Elgin City, Illinois
               IL141       Elk Grove Village, Illinois
               IL142       Elmhurst City, Illinois
               IL144       Evanston City, Illinois
               IL145       Evergreen Park Village, Illinois
               IL147       Fayette County, Illinois
               IL150       Ford County, Illinois
               IL151       Forest Park Village, Illinois
                                                                     Allocations in
               IL155       Franklin County, Illinois
                                                                 Illinois will be made
               IL156       Franklin Park Village, Illinois
                                                                  in accordance with
               IL160       Fulton County, Illinois
                                                                  the Illinois Opioid
               IL162       Galesburg City, Illinois
                                                                       Allocation
               IL163       Gallatin County, Illinois
                                                                      Agreement.
               IL168       Glendale Heights Village, Illinois
               IL169       Glenview Village, Illinois
               IL174       Granite City, Illinois
               IL177       Greene County, Illinois
               IL180       Grundy County, Illinois
               IL181       Gurnee Village, Illinois
               IL182       Hamilton County, Illinois
               IL183       Hancock County, Illinois
               IL184       Hanover Park Village, Illinois
               IL186       Hardin County, Illinois
               IL188       Harrisburg City, Illinois
               IL190       Harvey City, Illinois
               IL191       Harwood Heights Village, Illinois
               IL193       Henderson County, Illinois
               IL194       Henry County, Illinois
               IL195       Herrin City, Illinois
               IL199       Hillside Village, Illinois
               IL201       Hodgkins Village, Illinois
               IL202       Hoffman Estates Village, Illinois
               IL206       Iroquois County, Illinois
               IL207       Jackson County, Illinois

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IL210       Jasper County, Illinois
               IL211       Jefferson County, Illinois
               IL212       Jersey County, Illinois
               IL213       Jo Daviess County, Illinois
               IL214       Johnson County, Illinois
               IL215       Joliet City, Illinois
               IL218       Kane County, Illinois
               IL219       Kankakee City, Illinois
               IL220       Kankakee County, Illinois
               IL222       Kendall County, Illinois
               IL224       Knox County, Illinois
               IL225       La Grange Park Village, Illinois
               IL227       Lake County, Illinois
               IL233       Lasalle County, Illinois
               IL234       Lawrence County, Illinois
               IL235       Lee County, Illinois
               IL247       Livingston County, Illinois
               IL250       Logan County, Illinois
               IL251       Lombard Village, Illinois
               IL254       Lyons Township, Illinois
               IL255       Lyons Village, Illinois
                                                                     Allocations in
               IL259       Macon County, Illinois
                                                                 Illinois will be made
               IL260       Macoupin County, Illinois
                                                                  in accordance with
               IL261       Madison County, Illinois
                                                                  the Illinois Opioid
               IL266       Marion City, Illinois
                                                                       Allocation
               IL267       Marion County, Illinois
                                                                      Agreement.
               IL269       Marshall County, Illinois
               IL270       Mason County, Illinois
               IL271       Massac County, Illinois
               IL275       Maywood Village, Illinois
               IL276       McCook Village, Illinois
               IL277       McDonough County, Illinois
               IL279       McHenry County, Illinois
               IL281       McLean County, Illinois
               IL283       Melrose Park Village, Illinois
               IL284       Menard County, Illinois
               IL285       Mercer County, Illinois
               IL286       Merrionette Park Village, Illinois
               IL287       Metropolis City, Illinois
               IL292       Moline City, Illinois
               IL295       Monroe County, Illinois
               IL296       Montgomery County, Illinois
               IL299       Morgan County, Illinois
               IL304       Moultrie County, Illinois
               IL305       Mount Prospect Village, Illinois
               IL307       Mundelein Village, Illinois
               IL309       Naperville City, Illinois

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IL317       Normal Town, Illinois
               IL322       North Riverside Village, Illinois
               IL323       Northbrook Village, Illinois
               IL325       Northlake City, Illinois
               IL329       Oak Lawn Village, Illinois
               IL331       Oak Park Village, Illinois
               IL333       Ogle County, Illinois
               IL334       Orland Park Village, Illinois
               IL337       Oswego Village, Illinois
               IL341       Palatine Village, Illinois
               IL342       Palos Heights City, Illinois
               IL343       Palos Hills City, Illinois
               IL346       Park Ridge City, Illinois
               IL347       Pekin City, Illinois
               IL350       Peoria City, Illinois
               IL351       Peoria County, Illinois
               IL352       Perry County, Illinois
               IL354       Piatt County, Illinois
               IL355       Pike County, Illinois
               IL356       Plainfield Village, Illinois
               IL360       Pope County, Illinois
                                                                     Allocations in
               IL361       Posen Village, Illinois
                                                                 Illinois will be made
               IL362       Princeton City, Illinois
                                                                  in accordance with
               IL365       Pulaski County, Illinois
                                                                  the Illinois Opioid
               IL366       Putnam County, Illinois
                                                                       Allocation
               IL367       Quincy City, Illinois
                                                                      Agreement.
               IL369       Randolph County, Illinois
               IL373       Richland County, Illinois
               IL376       River Forest Village, Illinois
               IL377       River Grove Village, Illinois
               IL380       Riverside Village, Illinois
               IL381       Rock Island City, Illinois
               IL382       Rock Island County, Illinois
               IL384       Rockford City, Illinois
               IL388       Romeoville Village, Illinois
               IL395       Saline County, Illinois
               IL396       Sangamon County, Illinois
               IL399       Schaumburg Village, Illinois
               IL400       Schiller Park Village, Illinois
               IL401       Schuyler County, Illinois
               IL402       Scott County, Illinois
               IL403       Sesser City, Illinois
               IL404       Shelby County, Illinois
               IL408       Skokie Village, Illinois
               IL413       Springfield City, Illinois
               IL414       St Clair County, Illinois
               IL415       St. Charles City, Illinois

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IL416       Stark County, Illinois
               IL417       Stephenson County, Illinois
               IL421       Stone Park Village, Illinois
               IL422       Streamwood Village, Illinois
               IL423       Streator City, Illinois
               IL425       Summit Village, Illinois
               IL431       Tazewell County, Illinois
               IL433       Tinley Park Village, Illinois
               IL436       Union County, Illinois
               IL437       Urbana City, Illinois
               IL438       Vermilion County, Illinois
                                                                     Allocations in
               IL441       Wabash County, Illinois
                                                                 Illinois will be made
               IL442       Warren County, Illinois
                                                                  in accordance with
               IL446       Washington County, Illinois
                                                                  the Illinois Opioid
               IL451       Waukegan City, Illinois
                                                                       Allocation
               IL453       Wayne County, Illinois
                                                                      Agreement.
               IL456       West Frankfort City, Illinois
               IL461       Wheaton City, Illinois
               IL463       Wheeling Village, Illinois
               IL464       White County, Illinois
               IL465       Whiteside County, Illinois
               IL466       Will County, Illinois
               IL467       Williamson County, Illinois
               IL470       Winnebago County, Illinois
               IL475       Woodford County, Illinois
               IL476       Woodridge Village, Illinois
               IL485       Cicero Town, Illinois




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                 IN1       Adams County, Indiana                    0.3092831137%
                 IN2       Advance Town, Indiana                    0.0005697429%
                 IN3       Akron Town, Indiana                      0.0003285004%
                 IN4       Alamo Town, Indiana                      0.0005748757%
                 IN5       Albany Town, Indiana                     0.0256948895%
                 IN6       Albion Town, Indiana                     0.0216604942%
                 IN7       Alexandria City, Indiana                 0.1062339452%
                 IN8       Alfordsville Town, Indiana               0.0001539846%
                 IN9       Allen County, Indiana                    2.2683259642%
                IN10       Alton Town, Indiana                      0.0000307970%
                IN11       Altona Town, Indiana                     0.0012436052%
                IN12       Ambia Town, Indiana                      0.0006518680%
                IN13       Amboy Town, Indiana                      0.0004824849%
                IN14       Amo Town, Indiana                        0.0005748757%
                IN15       Anderson City, Indiana                   1.3827864464%
                IN16       Andrews Town, Indiana                    0.0060515930%
                IN17       Angola City, Indiana                     0.0947466973%
                IN18       Arcadia Town, Indiana                    0.0063133668%
                IN19       Argos Town, Indiana                      0.0167894494%
                IN20       Ashley Town, Indiana                     0.0062363745%
                IN21       Atlanta Town, Indiana                    0.0011651498%
                IN22       Attica City, Indiana                     0.0207571181%
                IN23       Auburn City, Indiana                     0.1472502981%
                IN24       Aurora City, Indiana                     0.0094392533%
                IN25       Austin City, Indiana                     0.0232260039%
                IN26       Avilla Town, Indiana                     0.0199563985%
                IN27       Avon Town, Indiana                       0.0164096209%
                IN28       Bainbridge Town, Indiana                 0.0014782517%
                IN29       Bargersville Town, Indiana               0.0121031861%
                IN30       Bartholomew County, Indiana              1.1839769860%
                IN31       Batesville City, Indiana                 0.1546928850%
                IN32       Battle Ground Town, Indiana              0.0136276332%
                IN33       Bedford City, Indiana                    0.3269554079%
                IN34       Beech Grove City, Indiana                0.0544694703%
                IN35       Benton County, Indiana                   0.0744258688%
                IN36       Berne City, Indiana                      0.0028076517%
                IN37       Bethany Town, Indiana                    0.0002720394%
                IN38       Beverly Shores Town, Indiana             0.0154446510%
                IN39       Bicknell City, Indiana                   0.0013294000%
                IN40       Birdseye Town, Indiana                   0.0029462379%
                IN41       Blackford County, Indiana                0.2698682002%
                IN42       Bloomfield Town, Indiana                 0.0042859034%
                IN43       Bloomingdale Town, Indiana               0.0026023390%
                IN44       Bloomington City, Indiana                0.8389591897%
                IN45       Blountsville Town, Indiana               0.0002566409%
                IN46       Bluffton City, Indiana                   0.1002901414%
                IN47       Boone County, Indiana                    0.6775012498%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                IN48       Boonville City, Indiana                  0.1007777591%
                IN49       Borden Town, Indiana                     0.0017502912%
                IN50       Boston Town, Indiana                     0.0005697429%
                IN51       Boswell Town, Indiana                    0.0021095885%
                IN52       Bourbon Town, Indiana                    0.0173027313%
                IN53       Brazil City, Indiana                     0.0626768471%
                IN54       Bremen Town, Indiana                     0.0529347576%
                IN55       Bristol Town, Indiana                    0.0158450108%
                IN56       Brook Town, Indiana                      0.0037366919%
                IN57       Brooklyn Town, Indiana                   0.0065700077%
                IN58       Brooksburg Town, Indiana                 0.0009547042%
                IN59       Brookston Town, Indiana                  0.0116668965%
                IN60       Brookville Town, Indiana                 0.0538894618%
                IN61       Brown County, Indiana                    0.1828823244%
                IN62       Brownsburg Town, Indiana                 0.1125832417%
                IN63       Brownstown, Indiana                      0.0033619962%
                IN64       Bruceville Town, Indiana                 0.0002412425%
                IN65       Bryant Town, Indiana                     0.0003746957%
                IN66       Bunker Hill Town, Indiana                0.0010984232%
                IN67       Burket Town, Indiana                     0.0011138216%
                IN68       Burlington Town, Indiana                 0.0063800935%
                IN69       Burnettsville Town, Indiana              0.0004619537%
                IN70       Burns Harbor Town, Indiana               0.0397947421%
                IN71       Butler City, Indiana                     0.0239138015%
                IN72       Cadiz Town, Indiana                      0.0002823050%
                IN73       Cambridge City Town, Indiana             0.0241499112%
                IN74       Camden Town, Indiana                     0.0064211560%
                IN75       Campbellsburg Town, Indiana              0.0081868456%
                IN76       Cannelburg Town, Indiana                 0.0002258440%
                IN77       Cannelton City, Indiana                  0.0018324162%
                IN78       Carbon Town, Indiana                     0.0026844641%
                IN79       Carlisle Town, Indiana                   0.0017656896%
                IN80       Carmel City, Indiana                     0.3675970651%
                IN81       Carroll County, Indiana                  0.1654512727%
                IN82       Carthage Town, Indiana                   0.0013140015%
                IN83       Cass County, Indiana                     0.3416917299%
                IN84       Cayuga Town, Indiana                     0.0078480795%
                IN85       Cedar Grove Town, Indiana                0.0004054927%
                IN86       Cedar Lake Town, Indiana                 0.0511639351%
                IN87       Center Point Town, Indiana               0.0016373692%
                IN88       Centerville Town, Indiana                0.0350725491%
                IN89       Chalmers Town, Indiana                   0.0006826649%
                IN90       Chandler Town, Indiana                   0.0347491815%
                IN91       Charlestown City, Indiana                0.0146028687%
                IN92       Chesterfield Town, Indiana               0.0379007320%
                IN93       Chesterton Town, Indiana                 0.2159838712%
                IN94       Chrisney Town, Indiana                   0.0032336757%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                IN95       Churubusco Town, Indiana                 0.0000564610%
                IN96       Cicero Town, Indiana                     0.0173283953%
                IN97       Clark County, Indiana                    1.9374593486%
                IN98       Clarks Hill Town, Indiana                0.0040600594%
                IN99       Clarksville Town, Indiana                0.1071681182%
               IN100       Clay City Town, Indiana                  0.0057692880%
               IN101       Clay County, Indiana                     0.2948752921%
               IN102       Claypool Town, Indiana                   0.0024688858%
               IN103       Clayton Town, Indiana                    0.0006980633%
               IN104       Clear Lake Town, Indiana                 0.0019761351%
               IN105       Clifford Town, Indiana                   0.0002309768%
               IN106       Clinton City, Indiana                    0.0336558912%
               IN107       Clinton County, Indiana                  0.2740206503%
               IN108       Cloverdale Town, Indiana                 0.0050198966%
               IN109       Coatesville Town, Indiana                0.0007493915%
               IN110       Colfax Town, Indiana                     0.0046144039%
               IN111       Columbia City, Indiana                   0.0886335104%
               IN112       Columbus City, Indiana                   0.0764225351%
               IN113       Connersville City, Indiana               0.4635807717%
               IN114       Converse Town, Indiana                   0.0045733413%
               IN115       Corunna Town, Indiana                    0.0016373692%
               IN116       Corydon Town, Indiana                    0.0069806332%
               IN117       Country Club Heights Town, Indiana       0.0012216109%
               IN118       Covington City, Indiana                  0.0257102881%
               IN119       Crandall Town, Indiana                   0.0000153984%
               IN120       Crane Town, Indiana                      0.0015655096%
               IN121       Crawford County, Indiana                 0.1338844387%
               IN122       Crawfordsville City, Indiana             0.2738204705%
               IN123       Cromwell Town, Indiana                   0.0034543868%
               IN124       Crothersville Town, Indiana              0.0018221506%
               IN125       Crown Point City, Indiana                0.1246094356%
               IN126       Culver Town, Indiana                     0.0289798935%
               IN127       Cynthiana Town, Indiana                  0.0032747382%
               IN128       Dale Town, Indiana                       0.0059746008%
               IN129       Daleville Town, Indiana                  0.0199769297%
               IN130       Dana Town, Indiana                       0.0050506934%
               IN131       Danville Town, Indiana                   0.0039471375%
               IN132       Darlington Town, Indiana                 0.0074785166%
               IN133       Darmstadt Town, Indiana                  0.0109483020%
               IN134       Daviess County, Indiana                  0.3758711686%
               IN135       Dayton Town, Indiana                     0.0114718495%
               IN136       De Kalb County, Indiana                  0.2748008388%
               IN137       De Motte Town, Indiana                   0.0070935552%
               IN138       Dearborn County, Indiana                 0.9586719164%
               IN139       Decatur City, Indiana                    0.0090902216%
               IN140       Decatur County, Indiana                  0.3533124311%
               IN141       Decker Town, Indiana                     0.0001231876%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN142       Delaware County, Indiana                 1.2034816964%
               IN143       Delphi City, Indiana                     0.0177236224%
               IN144       Denver Town, Indiana                     0.0006005398%
               IN145       Dillsboro Town, Indiana                  0.0060002648%
               IN146       Dublin Town, Indiana                     0.0051584826%
               IN147       Dubois County, Indiana                   0.2754013785%
               IN148       Dugger Town, Indiana                     0.0023405652%
               IN149       Dune Acres Town, Indiana                 0.0046913961%
               IN150       Dunkirk City, Indiana                    0.0079866657%
               IN151       Dunreith Town, Indiana                   0.0003387661%
               IN152       Dupont Town, Indiana                     0.0039779344%
               IN153       Dyer Town, Indiana                       0.0533145861%
               IN154       Earl Park Town, Indiana                  0.0009187746%
               IN155       East Chicago City, Indiana               0.4620665902%
               IN156       East Germantown, Indiana                 0.0015860410%
               IN157       Eaton Town, Indiana                      0.0166405977%
               IN158       Economy Town, Indiana                    0.0007647900%
               IN159       Edgewood Town, Indiana                   0.0243654896%
               IN160       Edinburgh Town, Indiana                  0.0198948047%
               IN161       Edwardsport Town, Indiana                0.0001488518%
               IN162       Elberfeld Town, Indiana                  0.0031566834%
               IN163       Elizabeth Town, Indiana                  0.0000153984%
               IN164       Elizabethtown, Indiana                   0.0005132819%
               IN165       Elkhart City, Indiana                    0.5425389192%
               IN166       Elkhart County, Indiana                  1.1592881288%
               IN167       Ellettsville Town, Indiana               0.0677737359%
               IN168       Elnora Town, Indiana                     0.0013550641%
               IN169       Elwood City, Indiana                     0.2112616781%
               IN170       English Town, Indiana                    0.0003746957%
               IN171       Etna Green Town, Indiana                 0.0033722618%
               IN172       Evansville City, Indiana                 1.9319723656%
               IN173       Fairland Town, Indiana                   0.0005132819%
               IN174       Fairmount Town, Indiana                  0.0104401529%
               IN175       Fairview Park Town, Indiana              0.0093365970%
               IN176       Farmersburg Town, Indiana                0.0039728015%
               IN177       Farmland Town, Indiana                   0.0182061073%
               IN178       Fayette County, Indiana                  0.3010552056%
               IN179       Ferdinand Town, Indiana                  0.0189401004%
               IN180       Fillmore Town, Indiana                   0.0010419622%
               IN181       Fishers City, Indiana                    0.1521726711%
               IN182       Flora Town, Indiana                      0.0175953020%
               IN183       Floyd County, Indiana                    1.5759754704%
               IN184       Fort Branch Town, Indiana                0.0073245321%
               IN185       Fort Wayne City, Indiana                 2.7337956132%
               IN186       Fortville Town, Indiana                  0.0152701352%
               IN187       Fountain City Town, Indiana              0.0045990054%
               IN188       Fountain County, Indiana                 0.1633673484%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN189       Fowler Town, Indiana                     0.0093879251%
               IN190       Fowlerton Town, Indiana                  0.0022687058%
               IN191       Francesville Town, Indiana               0.0011497513%
               IN192       Francisco Town, Indiana                  0.0027665892%
               IN193       Frankfort City, Indiana                  0.1520186866%
               IN194       Franklin City, Indiana                   0.1073990950%
               IN195       Franklin County, Indiana                 0.2948393623%
               IN196       Frankton Town, Indiana                   0.0115539745%
               IN197       Fremont Town, Indiana                    0.0201411800%
               IN198       French Lick Town, Indiana                0.0211626108%
               IN199       Fulton County, Indiana                   0.2359761994%
               IN200       Fulton Town, Indiana                     0.0002925707%
               IN201       Galveston Town, Indiana                  0.0012729389%
               IN202       Garrett City, Indiana                    0.0387219830%
               IN203       Gary City, Indiana                       0.7294710375%
               IN204       Gas City, Indiana                        0.0544694703%
               IN205       Gaston Town, Indiana                     0.0083202988%
               IN206       Geneva Town, Indiana                     0.0008366494%
               IN207       Gentryville Town, Indiana                0.0017964865%
               IN208       Georgetown, Indiana                      0.0044860834%
               IN209       Gibson County, Indiana                   0.2588326403%
               IN210       Glenwood Town, Indiana                   0.0027101282%
               IN211       Goodland Town, Indiana                   0.0046349351%
               IN212       Goshen City, Indiana                     0.2386196009%
               IN213       Gosport Town, Indiana                    0.0097728865%
               IN214       Grabill Town, Indiana                    0.0057538896%
               IN215       Grandview Town, Indiana                  0.0048402479%
               IN216       Grant County, Indiana                    0.7449310869%
               IN217       Greencastle City, Indiana                0.0286257290%
               IN218       Greendale City, Indiana                  0.0136532973%
               IN219       Greene County, Indiana                   0.4322295161%
               IN220       Greenfield City, Indiana                 0.0612242595%
               IN221       Greens Fork Town, Indiana                0.0017502912%
               IN222       Greensboro Town, Indiana                 0.0002720394%
               IN223       Greensburg City, Indiana                 0.0195355074%
               IN224       Greentown, Indiana                       0.0017451583%
               IN225       Greenville Town, Indiana                 0.0009290402%
               IN226       Greenwood City, Indiana                  0.1803621105%
               IN227       Griffin Town, Indiana                    0.0010111652%
               IN228       Griffith Town, Indiana                   0.0696112849%
               IN229       Hagerstown, Indiana                      0.0234415822%
               IN230       Hamilton County, Indiana                 2.0210986266%
               IN231       Hamilton Town, Indiana                   0.0034338556%
               IN232       Hamlet Town, Indiana                     0.0188220456%
               IN233       Hammond City, Indiana                    1.0769423211%
               IN234       Hancock County, Indiana                  0.9010560283%
               IN235       Hanover Town, Indiana                    0.0079661343%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN236       Hardinsburg Town, Indiana                0.0034646525%
               IN237       Harmony Town, Indiana                    0.0043526301%
               IN238       Harrison County, Indiana                 0.5610273316%
               IN239       Hartford City, Indiana                   0.1032979731%
               IN240       Hartsville Town, Indiana                 0.0003849613%
               IN241       Haubstadt Town, Indiana                  0.0066777969%
               IN242       Hazleton Town, Indiana                   0.0014936502%
               IN243       Hebron Town, Indiana                     0.0721982255%
               IN244       Hendricks County, Indiana                1.5699649399%
               IN245       Henry County, Indiana                    1.1652319327%
               IN246       Highland Town, Indiana                   0.0864931251%
               IN247       Hillsboro Town, Indiana                  0.0040497938%
               IN248       Hobart City, Indiana                     0.1594510078%
               IN249       Holland Town, Indiana                    0.0044450209%
               IN250       Holton Town, Indiana                     0.0060053977%
               IN251       Hope Town, Indiana                       0.0036802309%
               IN252       Howard County, Indiana                   1.8694341045%
               IN253       Hudson Town, Indiana                     0.0029667691%
               IN254       Huntertown, Indiana                      0.0415193691%
               IN255       Huntingburg City, Indiana                0.0455794286%
               IN256       Huntington City, Indiana                 0.2486953237%
               IN257       Huntington County, Indiana               0.2605726658%
               IN258       Hymera Town, Indiana                     0.0020171977%
               IN259       Indian Village Town, Indiana             0.0006005398%
               IN260       Indianapolis City, Indiana              15.8412741280%
               IN261       Ingalls Town, Indiana                    0.0015193143%
               IN262       Jackson County, Indiana                  0.0038496139%
               IN263       Jamestown, Indiana                       0.0010470950%
               IN264       Jasonville City, Indiana                 0.0039625359%
               IN265       Jasper City, Indiana                     0.0892032533%
               IN266       Jasper County, Indiana                   0.4269273145%
               IN267       Jay County, Indiana                      0.3117314681%
               IN268       Jefferson County, Indiana                0.3577625848%
               IN269       Jeffersonville City, Indiana             0.1772618882%
               IN270       Jennings County, Indiana                 0.4174880612%
               IN271       Johnson County, Indiana                  1.7412316960%
               IN272       Jonesboro City, Indiana                  0.0065494764%
               IN273       Jonesville Town, Indiana                 0.0001847815%
               IN274       Kempton Town, Indiana                    0.0027460579%
               IN275       Kendallville City, Indiana               0.0955320186%
               IN276       Kennard Town, Indiana                    0.0009033760%
               IN277       Kentland Town, Indiana                   0.0053791939%
               IN278       Kewanna Town, Indiana                    0.0005389459%
               IN279       Kingman Town, Indiana                    0.0037931529%
               IN280       Kingsbury Town, Indiana                  0.0012934703%
               IN281       Kingsford Heights Town, Indiana          0.0045938726%
               IN282       Kirklin Town, Indiana                    0.0053278657%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN283       Knightstown, Indiana                     0.0036853637%
               IN284       Knightsville Town, Indiana               0.0053022015%
               IN285       Knox City, Indiana                       0.0998538518%
               IN286       Knox County, Indiana                     0.5298351934%
               IN287       Kokomo City, Indiana                     0.2824384727%
               IN288       Kosciusko County, Indiana                0.4935974945%
               IN289       Kouts Town, Indiana                      0.0383472873%
               IN290       La Crosse Town, Indiana                  0.0028281830%
               IN291       La Fontaine Town, Indiana                0.0017554240%
               IN292       La Paz Town, Indiana                     0.0034184572%
               IN293       La Porte City, Indiana                   0.1637779738%
               IN294       La Porte County, Indiana                 0.7760821626%
               IN295       Laconia Town, Indiana                    0.0000051328%
               IN296       Ladoga Town, Indiana                     0.0108148486%
               IN297       Lafayette City, Indiana                  1.0121661511%
               IN298       Lagrange County, Indiana                 0.2088287221%
               IN299       Lagrange Town, Indiana                   0.0232978633%
               IN300       Lagro Town, Indiana                      0.0008263838%
               IN301       Lake County, Indiana                     1.8342742976%
               IN302       Lake Station City, Indiana               0.0738458603%
               IN303       Lakeville Town, Indiana                  0.0035467776%
               IN304       Lanesville Town, Indiana                 0.0000513282%
               IN305       Lapel Town, Indiana                      0.0216553614%
               IN306       Larwill Town, Indiana                    0.0024996826%
               IN307       Laurel Town, Indiana                     0.0013294000%
               IN308       Lawrence City, Indiana                   0.1413526897%
               IN309       Lawrence County, Indiana                 0.4144442999%
               IN310       Lawrenceburg City, Indiana               0.0397690780%
               IN311       Leavenworth Town, Indiana                0.0001385861%
               IN312       Lebanon City, Indiana                    0.0221070494%
               IN313       Leesburg Town, Indiana                   0.0032234100%
               IN314       Leo-Cedarville Town, Indiana             0.0196022340%
               IN315       Lewisville Town, Indiana                 0.0006980633%
               IN316       Liberty Town, Indiana                    0.0173386611%
               IN317       Ligonier City, Indiana                   0.0406981182%
               IN318       Linden Town, Indiana                     0.0066880626%
               IN319       Linton City, Indiana                     0.0214500487%
               IN320       Little York Town, Indiana                0.0026793313%
               IN321       Livonia Town, Indiana                    0.0017964865%
               IN322       Lizton Town, Indiana                     0.0006826649%
               IN323       Logansport City, Indiana                 0.0184062873%
               IN324       Long Beach Town, Indiana                 0.0039112077%
               IN325       Loogootee City, Indiana                  0.0178519428%
               IN326       Losantville Town, Indiana                0.0065186795%
               IN327       Lowell Town, Indiana                     0.0413499862%
               IN328       Lynn Town, Indiana                       0.0149621660%
               IN329       Lynnville Town, Indiana                  0.0045374116%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               IN330       Lyons Town, Indiana                      0.0016425020%
               IN331       Mackey Town, Indiana                     0.0006159382%
               IN332       Macy Town, Indiana                       0.0002617737%
               IN333       Madison City, Indiana                    0.1309484665%
               IN334       Madison County, Indiana                  1.3791575436%
               IN335       Marengo Town, Indiana                    0.0004824849%
               IN336       Marion City, Indiana                     0.7935953395%
               IN337       Markle Town, Indiana                     0.0068882425%
               IN338       Markleville Town, Indiana                0.0080533923%
               IN339       Marshall County, Indiana                 0.2679587917%
               IN340       Marshall Town, Indiana                   0.0025407452%
               IN341       Martin County, Indiana                   0.0865085236%
               IN342       Martinsville City, Indiana               0.0793944371%
               IN343       Matthews Town, Indiana                   0.0050814904%
               IN344       Mauckport Town, Indiana                  0.0000051328%
               IN345       McCordsville Town, Indiana               0.0170820201%
               IN346       Mecca Town, Indiana                      0.0025458780%
               IN347       Medaryville Town, Indiana                0.0008109854%
               IN348       Medora Town, Indiana                     0.0008007197%
               IN349       Mellott Town, Indiana                    0.0014731189%
               IN350       Mentone Town, Indiana                    0.0056307019%
               IN351       Merom Town, Indiana                      0.0005902741%
               IN352       Merrillville Town, Indiana               0.1076865329%
               IN353       Miami County, Indiana                    0.2157015661%
               IN354       Michiana Shores Town, Indiana            0.0016065722%
               IN355       Michigan City, Indiana                   0.5192256575%
               IN356       Michigantown, Indiana                    0.0030591599%
               IN357       Middlebury Town, Indiana                 0.0186321313%
               IN358       Middletown, Indiana                      0.0039060749%
               IN359       Milan Town, Indiana                      0.0291441437%
               IN360       Milford Town, Indiana                    0.0156550965%
               IN361       Millersburg Town, Indiana                0.0043936927%
               IN362       Millhousen Town, Indiana                 0.0001693830%
               IN363       Milltown, Indiana                        0.0004773521%
               IN364       Milton Town, Indiana                     0.0000564610%
               IN365       Mishawaka City, Indiana                  0.5537489949%
               IN366       Mitchell City, Indiana                   0.0424689405%
               IN367       Modoc Town, Indiana                      0.0044450209%
               IN368       Monon Town, Indiana                      0.0132888672%
               IN369       Monroe City Town, Indiana                0.0002669066%
               IN370       Monroe County, Indiana                   1.1603403566%
               IN371       Monroe Town, Indiana                     0.0007596572%
               IN372       Monroeville Town, Indiana                0.0067496564%
               IN373       Monrovia Town, Indiana                   0.0058924756%
               IN374       Monterey Town, Indiana                   0.0002874379%
               IN375       Montezuma Town, Indiana                  0.0078942749%
               IN376       Montgomery County, Indiana               0.3881026751%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               IN377       Montgomery Town, Indiana                 0.0003028363%
               IN378       Monticello City, Indiana                 0.0859439136%
               IN379       Montpelier City, Indiana                 0.0238008796%
               IN380       Mooreland Town, Indiana                  0.0007083290%
               IN381       Moores Hill Town, Indiana                0.0009803684%
               IN382       Mooresville Town, Indiana                0.0679482517%
               IN383       Morgan County, Indiana                   1.1891098045%
               IN384       Morgantown, Indiana                      0.0033260664%
               IN385       Morocco Town, Indiana                    0.0043320988%
               IN386       Morristown, Indiana                      0.0014217907%
               IN387       Mount Auburn Town, Indiana               0.0004568209%
               IN388       Mount Ayr Town, Indiana                  0.0004619537%
               IN389       Mount Carmel Town, Indiana               0.0002207112%
               IN390       Mount Etna Town, Indiana                 0.0009495714%
               IN391       Mount Summit Town, Indiana               0.0006723992%
               IN392       Mount Vernon City, Indiana               0.0527961715%
               IN393       Mulberry Town, Indiana                   0.0102040432%
               IN394       Muncie City, Indiana                     1.1425859373%
               IN395       Munster Town, Indiana                    0.1401670086%
               IN396       Napoleon Town, Indiana                   0.0029205737%
               IN397       Nappanee City, Indiana                   0.0750880024%
               IN398       Nashville Town, Indiana                  0.0122931004%
               IN399       New Albany City, Indiana                 0.1005416495%
               IN400       New Amsterdam Town, Indiana              0.0000000000%
               IN401       New Carlisle Town, Indiana               0.0260028587%
               IN402       New Castle City, Indiana                 0.0525395305%
               IN403       New Chicago Town, Indiana                0.0302374340%
               IN404       New Harmony Town, Indiana                0.0046400679%
               IN405       New Haven City, Indiana                  0.1210164627%
               IN406       New Market Town, Indiana                 0.0055845065%
               IN407       New Middletown, Indiana                  0.0000102656%
               IN408       New Palestine Town, Indiana              0.0039266062%
               IN409       New Pekin Town, Indiana                  0.0236982232%
               IN410       New Point Town, Indiana                  0.0004311567%
               IN411       New Richmond Town, Indiana               0.0029462379%
               IN412       New Ross Town, Indiana                   0.0030540271%
               IN413       New Whiteland Town, Indiana              0.0149724317%
               IN414       Newberry Town, Indiana                   0.0004311567%
               IN415       Newburgh Town, Indiana                   0.0335942973%
               IN416       Newport Town, Indiana                    0.0042551066%
               IN417       Newton County, Indiana                   0.1317286549%
               IN418       Newtown, Indiana                         0.0019350726%
               IN419       Noble County, Indiana                    0.3308358187%
               IN420       Noblesville City, Indiana                0.1813116820%
               IN421       North Judson Town, Indiana               0.0550648773%
               IN422       North Liberty Town, Indiana              0.0258386085%
               IN423       North Manchester Town, Indiana           0.0190889521%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN424       North Salem Town, Indiana                0.0007288602%
               IN425       North Vernon City, Indiana               0.1513565530%
               IN426       North Webster Town, Indiana              0.0116053027%
               IN427       Oakland City, Indiana                    0.0117541544%
               IN428       Oaktown, Indiana                         0.0003028363%
               IN429       Odon Town, Indiana                       0.0001129220%
               IN430       Ogden Dunes Town, Indiana                0.0007545244%
               IN431       Ohio County, Indiana                     0.0605056649%
               IN432       Oldenburg Town, Indiana                  0.0017554240%
               IN433       Onward Town, Indiana                     0.0000205312%
               IN434       Oolitic Town, Indiana                    0.0059284054%
               IN435       Orange County, Indiana                   0.1597076487%
               IN436       Orestes Town, Indiana                    0.0064108903%
               IN437       Orland Town, Indiana                     0.0025253468%
               IN438       Orleans Town, Indiana                    0.0250840842%
               IN439       Osceola Town, Indiana                    0.0333581877%
               IN440       Osgood Town, Indiana                     0.0249557637%
               IN441       Ossian Town, Indiana                     0.0269113676%
               IN442       Otterbein Town, Indiana                  0.0047632556%
               IN443       Owen County, Indiana                     0.2265061492%
               IN444       Owensville Town, Indiana                 0.0056358347%
               IN445       Oxford Town, Indiana                     0.0039163405%
               IN446       Palmyra Town, Indiana                    0.0000821251%
               IN447       Paoli Town, Indiana                      0.0428385035%
               IN448       Paragon Town, Indiana                    0.0022225104%
               IN449       Parke County, Indiana                    0.1418095105%
               IN450       Parker City Town, Indiana                0.0194277182%
               IN451       Patoka Town, Indiana                     0.0042602394%
               IN452       Patriot Town, Indiana                    0.0022738386%
               IN453       Pendleton Town, Indiana                  0.0746106503%
               IN454       Pennville Town, Indiana                  0.0010008996%
               IN455       Perry County, Indiana                    0.2167486611%
               IN456       Perrysville Town, Indiana                0.0037931529%
               IN457       Peru City, Indiana                       0.1825897537%
               IN458       Petersburg City, Indiana                 0.0103580278%
               IN459       Pierceton Town, Indiana                  0.0102861684%
               IN460       Pike County, Indiana                     0.1238189815%
               IN461       Pine Village Town, Indiana               0.0008879776%
               IN462       Pittsboro Town, Indiana                  0.0022841043%
               IN463       Plainfield Town, Indiana                 0.1020968934%
               IN464       Plainville Town, Indiana                 0.0007185946%
               IN465       Plymouth City, Indiana                   0.1356039329%
               IN466       Poneto Town, Indiana                     0.0011086888%
               IN467       Portage City, Indiana                    0.4894039818%
               IN468       Porter County, Indiana                   0.1634597391%
               IN469       Porter Town, Indiana                     1.1075647165%
               IN470       Portland City, Indiana                   0.0123290301%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN471       Posey County, Indiana                    0.1942566503%
               IN472       Poseyville Town, Indiana                 0.0044655521%
               IN473       Pottawattamie Park Town, Indiana         0.0012318765%
               IN474       Princes Lakes Town, Indiana              0.0039060749%
               IN475       Princeton City, Indiana                  0.0452971236%
               IN476       Pulaski County, Indiana                  0.1885386905%
               IN477       Putnam County, Indiana                   0.4475715107%
               IN478       Randolph County, Indiana                 0.1948315260%
               IN479       Redkey Town, Indiana                     0.0011600170%
               IN480       Remington Town, Indiana                  0.0024226904%
               IN481       Rensselaer City, Indiana                 0.0101270510%
               IN482       Reynolds Town, Indiana                   0.0007083290%
               IN483       Richland Town, Indiana                   0.0026895969%
               IN484       Richmond City, Indiana                   0.6900304598%
               IN485       Ridgeville Town, Indiana                 0.0178930054%
               IN486       Riley Town, Indiana                      0.0014628533%
               IN487       Ripley County, Indiana                   0.2963689423%
               IN488       Rising Sun City, Indiana                 0.0356063622%
               IN489       River Forest Town, Indiana               0.0003438989%
               IN490       Roachdale Town, Indiana                  0.0017759552%
               IN491       Roann Town, Indiana                      0.0009598370%
               IN492       Roanoke Town, Indiana                    0.0123392957%
               IN493       Rochester City, Indiana                  0.0090645575%
               IN494       Rockport City, Indiana                   0.0104760827%
               IN495       Rockville Town, Indiana                  0.0245143414%
               IN496       Rome City Town, Indiana                  0.0125086788%
               IN497       Rosedale Town, Indiana                   0.0056101707%
               IN498       Roseland Town, Indiana                   0.0028281830%
               IN499       Rossville Town, Indiana                  0.0134069220%
               IN500       Royal Center Town, Indiana               0.0001796486%
               IN501       Rush County, Indiana                     0.2194844534%
               IN502       Rushville City, Indiana                  0.0154035884%
               IN503       Russellville Town, Indiana               0.0006929305%
               IN504       Russiaville Town, Indiana                0.0008058526%
               IN505       Salamonia Town, Indiana                  0.0002258440%
               IN506       Salem City, Indiana                      0.0949212131%
               IN507       Saltillo Town, Indiana                   0.0012832047%
               IN508       Sandborn Town, Indiana                   0.0002053127%
               IN509       Santa Claus Town, Indiana                0.0075247120%
               IN510       Saratoga Town, Indiana                   0.0045014819%
               IN511       Schererville Town, Indiana               0.1304762472%
               IN512       Schneider Town, Indiana                  0.0009341730%
               IN513       Scott County, Indiana                    1.2219803744%
               IN514       Scottsburg City, Indiana                 0.0624971985%
               IN515       Seelyville Town, Indiana                 0.0082946348%
               IN516       Sellersburg Town, Indiana                0.0135711722%
               IN517       Selma Town, Indiana                      0.0080893220%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN518       Seymour City, Indiana                    0.0450507483%
               IN519       Shadeland Town, Indiana                  0.0129347027%
               IN520       Shamrock Lakes Town, Indiana             0.0030899567%
               IN521       Sharpsville Town, Indiana                0.0050814904%
               IN522       Shelburn Town, Indiana                   0.0044398880%
               IN523       Shelby County, Indiana                   0.0450507483%
               IN524       Shelbyville City, Indiana                0.5456956026%
               IN525       Sheridan Town, Indiana                   0.0121647799%
               IN526       Shipshewana Town, Indiana                0.0047170603%
               IN527       Shirley Town, Indiana                    0.0011805483%
               IN528       Shoals Town, Indiana                     0.0066983282%
               IN529       Sidney Town, Indiana                     0.0004773521%
               IN530       Silver Lake Town, Indiana                0.0053124672%
               IN531       Somerville Town, Indiana                 0.0016938302%
               IN532       South Bend City, Indiana                 1.3581283861%
               IN533       South Whitley Town, Indiana              0.0000564610%
               IN534       Southport City, Indiana                  0.0003490317%
               IN535       Speedway Town, Indiana                   0.0716336155%
               IN536       Spencer County, Indiana                  0.1562994572%
               IN537       Spencer Town, Indiana                    0.0335275707%
               IN538       Spiceland Town, Indiana                  0.0016835644%
               IN539       Spring Grove Town, Indiana               0.0014166579%
               IN540       Spring Lake Town, Indiana                0.0003079691%
               IN541       Springport Town, Indiana                 0.0002771722%
               IN542       Spurgeon Town, Indiana                   0.0006826649%
               IN543       St Joseph County, Indiana                1.3359443444%
               IN544       St. Joe Town, Indiana                    0.0029821675%
               IN545       St. John Town, Indiana                   0.0653818425%
               IN546       St. Leon Town, Indiana                   0.0011189545%
               IN547       St. Paul Town, Indiana                   0.0016219706%
               IN548       Starke County, Indiana                   0.5754248876%
               IN549       State Line City Town, Indiana            0.0005800085%
               IN550       Staunton Town, Indiana                   0.0035416448%
               IN551       Steuben County, Indiana                  0.2288877770%
               IN552       Stilesville Town, Indiana                0.0004516881%
               IN553       Stinesville Town, Indiana                0.0014320564%
               IN554       Straughn Town, Indiana                   0.0004260239%
               IN555       Sullivan City, Indiana                   0.0150596896%
               IN556       Sullivan County, Indiana                 0.4996696188%
               IN557       Sulphur Springs Town, Indiana            0.0007493915%
               IN558       Summitville Town, Indiana                0.0154087212%
               IN559       Sunman Town, Indiana                     0.0161324486%
               IN560       Swayzee Town, Indiana                    0.0084948146%
               IN561       Sweetser Town, Indiana                   0.0043782942%
               IN562       Switz City Town, Indiana                 0.0006570008%
               IN563       Switzerland County, Indiana              0.1390275229%
               IN564       Syracuse Town, Indiana                   0.0288310417%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               IN565       Tell City, Indiana                       0.0071346177%
               IN566       Tennyson Town, Indiana                   0.0014371892%
               IN567       Terre Haute City, Indiana                1.0171911805%
               IN568       Thorntown, Indiana                       0.0019966664%
               IN569       Tippecanoe County, Indiana               0.9835763519%
               IN570       Tipton City, Indiana                     0.0756782765%
               IN571       Tipton County, Indiana                   0.1461108124%
               IN572       Topeka Town, Indiana                     0.0102502386%
               IN573       Town of Pines Town, Indiana              0.0177492865%
               IN574       Trafalgar Town, Indiana                  0.0034749182%
               IN575       Trail Creek Town, Indiana                0.0070062973%
               IN576       Troy Town, Indiana                       0.0003695629%
               IN577       Ulen Town, Indiana                       0.0001385861%
               IN578       Union City, Indiana                      0.0467240471%
               IN579       Union County, Indiana                    0.0788606240%
               IN580       Uniondale Town, Indiana                  0.0020531275%
               IN581       Universal Town, Indiana                  0.0029821675%
               IN582       Upland Town, Indiana                     0.0132683359%
               IN583       Utica Town, Indiana                      0.0015552440%
               IN584       Valparaiso City, Indiana                 0.4508205848%
               IN585       Van Buren Town, Indiana                  0.0074579854%
               IN586       Vanderburgh County, Indiana              1.8728576945%
               IN587       Veedersburg Town, Indiana                0.0174464502%
               IN588       Vera Cruz Town, Indiana                  0.0005286803%
               IN589       Vermillion County, Indiana               0.1479124317%
               IN590       Vernon Town, Indiana                     0.0044552865%
               IN591       Versailles Town, Indiana                 0.0325728665%
               IN592       Vevay Town, Indiana                      0.0222610340%
               IN593       Vigo County, Indiana                     0.7948734113%
               IN594       Vincennes City, Indiana                  0.0141973761%
               IN595       Wabash City, Indiana                     0.0616502834%
               IN596       Wabash County, Indiana                   0.5253953053%
               IN597       Wakarusa Town, Indiana                   0.0133555938%
               IN598       Walkerton Town, Indiana                  0.0293391908%
               IN599       Wallace Town, Indiana                    0.0007442587%
               IN600       Walton Town, Indiana                     0.0010214309%
               IN601       Wanatah Town, Indiana                    0.0034287228%
               IN602       Warren County, Indiana                   0.0576774819%
               IN603       Warren Town, Indiana                     0.0076581652%
               IN604       Warrick County, Indiana                  0.3991125709%
               IN605       Warsaw City, Indiana                     0.2580575847%
               IN606       Washington City, Indiana                 0.0149570332%
               IN607       Washington County, Indiana               0.3404136581%
               IN608       Waterloo Town, Indiana                   0.0127961166%
               IN609       Waveland Town, Indiana                   0.0037212935%
               IN610       Wayne County, Indiana                    0.7657292676%
               IN611       Waynetown, Indiana                       0.0084126896%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               IN612       Wells County, Indiana                    0.2019712766%
               IN613       West Baden Springs Town, Indiana         0.0054818501%
               IN614       West College Corner Town, Indiana        0.0065340780%
               IN615       West Harrison Town, Indiana              0.0004773521%
               IN616       West Lafayette City, Indiana             0.2612091353%
               IN617       West Lebanon Town, Indiana               0.0029770347%
               IN618       West Terre Haute Town, Indiana           0.0180161931%
               IN619       Westfield City, Indiana                  0.1106789661%
               IN620       Westport Town, Indiana                   0.0022019791%
               IN621       Westville Town, Indiana                  0.0405133367%
               IN622       Wheatfield Town, Indiana                 0.0014063923%
               IN623       Wheatland Town, Indiana                  0.0002361097%
               IN624       White County, Indiana                    0.2045582171%
               IN625       Whiteland Town, Indiana                  0.0126883274%
               IN626       Whitestown, Indiana                      0.0075555088%
               IN627       Whitewater Town, Indiana                 0.0002977035%
               IN628       Whiting City, Indiana                    0.0746876425%
               IN629       Whitley County, Indiana                  0.3073685724%
               IN630       Wilkinson Town, Indiana                  0.0006364695%
               IN631       Williamsport Town, Indiana               0.0094546518%
               IN632       Winamac Town, Indiana                    0.0021557837%
               IN633       Winchester City, Indiana                 0.0714950294%
               IN634       Windfall City Town, Indiana              0.0058873428%
               IN635       Winfield Town, Indiana                   0.0246529274%
               IN636       Wingate Town, Indiana                    0.0023251668%
               IN637       Winona Lake Town, Indiana                0.0963943321%
               IN638       Winslow Town, Indiana                    0.0028487143%
               IN639       Wolcott Town, Indiana                    0.0013396657%
               IN640       Wolcottville Town, Indiana               0.0086487992%
               IN641       Woodburn City, Indiana                   0.0082125097%
               IN642       Woodlawn Heights Town, Indiana           0.0012216109%
               IN643       Worthington Town, Indiana                0.0026126046%
               IN644       Yeoman Town, Indiana                     0.0014577205%
               IN645       Yorktown, Indiana                        0.0901887545%
               IN646       Zanesville Town, Indiana                 0.0025920734%
               IN647       Zionsville Town, Indiana                 0.0375824973%
               IN648       Cumberland Town, Indiana                 0.0148235799%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                 IA1       Adair County, Iowa                     0.2556895492%
                 IA2       Adams County, Iowa                     0.1116738610%
                 IA3       Allamakee County, Iowa                 0.4458620571%
                 IA7       Appanoose County, Iowa                 0.5319573473%
                 IA8       Audubon County, Iowa                   0.1208090649%
                 IA9       Benton County, Iowa                    0.5190077951%
                IA11       Black Hawk County, Iowa                3.3423948145%
                IA13       Boone County, Iowa                     0.8229376316%
                IA14       Bremer County, Iowa                    0.7313291658%
                IA15       Buchanan County, Iowa                  0.3770114677%
                IA16       Buena Vista County, Iowa               0.3269761930%
                IA18       Butler County, Iowa                    0.2707546223%
                IA19       Calhoun County, Iowa                   0.1889544807%
                IA20       Carroll County, Iowa                   0.6033080977%
                IA21       Cass County, Iowa                      0.3356626501%
                IA22       Cedar County, Iowa                     0.3655363695%
                IA25       Cerro Gordo County, Iowa               1.6302973365%
                IA26       Cherokee County, Iowa                  0.2378358349%
                IA27       Chickasaw County, Iowa                 0.2431246372%
                IA28       Clarke County, Iowa                    0.3046029568%
                IA29       Clay County, Iowa                      0.2957241797%
                IA30       Clayton County, Iowa                   0.4574012621%
                IA32       Clinton County, Iowa                   1.4586196098%
                IA36       Crawford County, Iowa                  0.3305341145%
                IA37       Dallas County, Iowa                    1.4775951912%
                IA39       Davis County, Iowa                     0.1538560657%
                IA40       Decatur County, Iowa                   0.2531573348%
                IA41       Delaware County, Iowa                  0.3021348491%
                IA43       Des Moines County, Iowa                1.5679856298%
                IA44       Dickinson County, Iowa                 0.3322329419%
                IA46       Dubuque County, Iowa                   2.7454332795%
                IA47       Emmet County, Iowa                     0.1753318082%
                IA49       Fayette County, Iowa                   0.5284635324%
                IA50       Floyd County, Iowa                     0.3285468070%
                IA53       Franklin County, Iowa                  0.2107187034%
                IA54       Fremont County, Iowa                   0.2047888342%
                IA55       Greene County, Iowa                    0.3578435662%
                IA57       Grundy County, Iowa                    0.3230977380%
                IA58       Guthrie County, Iowa                   0.2308482053%
                IA59       Hamilton County, Iowa                  0.3501828163%
                IA60       Hancock County, Iowa                   0.1901084012%
                IA61       Hardin County, Iowa                    0.4491314985%
                IA62       Harrison County, Iowa                  0.6178282639%

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                IA63       Henry County, Iowa                     0.4451248302%
                IA64       Howard County, Iowa                    0.1714212999%
                IA65       Humboldt County, Iowa                  0.1929611491%
                IA66       Ida County, Iowa                       0.1680556985%
                IA69       Iowa County, Iowa                      0.2658504602%
                IA70       Jackson County, Iowa                   0.5490417812%
                IA71       Jasper County, Iowa                    1.6780568235%
                IA72       Jefferson County, Iowa                 0.5728253647%
                IA73       Johnson County, Iowa                   3.8223936863%
                IA75       Jones County, Iowa                     0.3884865660%
                IA77       Keokuk County, Iowa                    0.1980255779%
                IA78       Kossuth County, Iowa                   0.3482275621%
                IA80       Lee County, Iowa                       1.4586837165%
                IA81       Linn County, Iowa                      7.3285811041%
                IA82       Louisa County, Iowa                    0.3358870235%
                IA83       Lucas County, Iowa                     0.3300533143%
                IA84       Lyon County, Iowa                      0.1619335092%
                IA85       Madison County, Iowa                   0.4031349456%
                IA86       Mahaska County, Iowa                   0.7161999860%
                IA88       Marion County, Iowa                    1.1788259436%
                IA89       Marshall County, Iowa                  1.0363488161%
                IA92       Mills County, Iowa                     0.4947113580%
                IA93       Mitchell County, Iowa                  0.1894673343%
                IA94       Monona County, Iowa                    0.4457658971%
                IA95       Monroe County, Iowa                    0.2157510788%
                IA96       Montgomery County, Iowa                0.5308995868%
                IA98       Muscatine County, Iowa                 1.0607414131%
               IA102       O Brien County, Iowa                   0.2348228203%
               IA103       Osceola County, Iowa                   0.1453939821%
               IA106       Page County, Iowa                      0.5824093155%
               IA107       Palo Alto County, Iowa                 0.1666132978%
               IA110       Plymouth County, Iowa                  0.4452850969%
               IA111       Pocahontas County, Iowa                0.1165780231%
               IA112       Polk County, Iowa                     22.8108926250%
               IA113       Pottawattamie County, Iowa             3.6145597841%
               IA114       Poweshiek County, Iowa                 0.4747100695%
               IA115       Ringgold County, Iowa                  0.1195910378%
               IA116       Sac County, Iowa                       0.2200782807%
               IA117       Scott County, Iowa                     8.8614042123%
               IA118       Shelby County, Iowa                    0.2859158555%
               IA120       Sioux County, Iowa                     0.4096738283%
               IA123       Story County, Iowa                     2.1665177789%
               IA124       Tama County, Iowa                      0.3449901740%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               IA125       Taylor County, Iowa                    0.1784409829%
               IA126       Union County, Iowa                     0.4629785445%
               IA128       Van Buren County, Iowa                 0.1525418785%
               IA129       Wapello County, Iowa                   1.0026607483%
               IA130       Warren County, Iowa                    1.3316563022%
               IA131       Washington County, Iowa                0.5543626368%
               IA135       Wayne County, Iowa                     0.2440541843%
               IA136       Webster County, Iowa                   1.5957758817%
               IA138       Winnebago County, Iowa                 0.2340535400%
               IA139       Winneshiek County, Iowa                0.3674595703%
               IA140       Woodbury County, Iowa                  2.5662230163%
               IA141       Worth County, Iowa                     0.2345663935%
               IA142       Wright County, Iowa                    0.2810437467%




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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                KS1        Allen County, Kansas                     0.7541791329%
                KS2        Anderson County, Kansas                  0.2371057884%
                KS3        Andover City, Kansas                     0.3023298328%
                KS4        Arkansas City, Kansas                    0.5244164596%
                KS5        Atchison City, Kansas                    0.2509194126%
                KS6        Atchison County, Kansas                  0.3718857098%
                KS7        Barber County, Kansas                    0.2343333783%
                KS8        Barton County, Kansas                    0.4058838207%
                KS9        Bourbon County, Kansas                   0.5659958596%
               KS10        Brown County, Kansas                     0.5618840411%
               KS11        Butler County, Kansas                    2.1800439960%
               KS12        Chase County, Kansas                     0.0310115071%
               KS13        Chautauqua County, Kansas                0.1534264050%
               KS14        Cherokee County, Kansas                  1.0387304319%
               KS15        Cheyenne County, Kansas                  0.0521668496%
               KS16        Clark County, Kansas                     0.1317865660%
               KS17        Clay County, Kansas                      0.3853019118%
               KS18        Cloud County, Kansas                     0.2727657622%
               KS19        Coffey County, Kansas                    0.3555052548%
               KS20        Comanche County, Kansas                  0.0703611984%
               KS21        Cowley County, Kansas                    0.1056381847%
               KS22        Crawford County, Kansas                  0.8006058270%
               KS23        Decatur County, Kansas                   0.1024648600%
               KS24        Derby City, Kansas                       0.2862213106%
               KS25        Dickinson County, Kansas                 0.5167117764%
               KS26        Dodge City, Kansas                       0.3763716687%
               KS27        Doniphan County, Kansas                  0.1428529245%
               KS28        Douglas County, Kansas                   0.5037148817%
               KS29        Edwards County, Kansas                   0.0688529961%
               KS30        El Dorado City, Kansas                   0.5267481432%
               KS31        Elk County, Kansas                       0.1699851994%
               KS32        Elkhart City, Kansas                     0.0023710299%
               KS33        Ellis County, Kansas                     0.3947457539%
               KS34        Ellsworth County, Kansas                 0.2694567040%
               KS35        Emporia City, Kansas                     0.1225808979%
               KS36        Fairmount Township, Leavenworth          0.0084960354%
                           County, Kansas
               KS37        Finney County, Kansas                    0.4284130288%
               KS38        Ford County, Kansas                      0.3536897313%
               KS39        Franklin County, Kansas                  0.9871549429%
               KS40        Garden City, Kansas                      0.3090040586%
               KS41        Gardner City, Kansas                     0.1783885728%
               KS42        Geary County, Kansas                     0.9138741928%
               KS43        Gove County, Kansas                      0.0596145005%
               KS44        Graham County, Kansas                    0.0885576425%
               KS45        Grant County, Kansas                     0.1121093922%
               KS46        Gray County, Kansas                      0.1198536546%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               KS47        Great Bend City, Kansas                  0.2626213674%
               KS48        Greeley County Unified Government,       0.0420764688%
                           Kansas
               KS49        Greenwood County, Kansas                 0.3634446197%
               KS50        Hamilton County, Kansas                  0.0770093484%
               KS51        Harper County, Kansas                    0.2751873139%
               KS52        Harvey County, Kansas                    0.4874526988%
               KS53        Haskell County, Kansas                   0.0589027724%
               KS54        Hays City, Kansas                        0.2857030552%
               KS55        Haysville City, Kansas                   0.1161439147%
               KS56        Hodgeman County, Kansas                  0.0381949084%
               KS57        Hutchinson City, Kansas                  1.0312608960%
               KS58        Jackson County, Kansas                   0.2794465069%
               KS59        Jefferson County, Kansas                 0.4227008116%
               KS60        Jewell County, Kansas                    0.0576553276%
               KS61        Johnson County, Kansas                   9.6645678744%
               KS62        Junction City, Kansas                    0.1775769654%
               KS63        Kansas City, Kansas                      5.4520371502%
               KS64        Kearny County, Kansas                    0.0660370488%
               KS65        Kingman County, Kansas                   0.2734092742%
               KS66        Kiowa County, Kansas                     0.0632464788%
               KS67        Labette County, Kansas                   1.1704308548%
               KS68        Lane County, Kansas                      0.0275778907%
               KS69        Lansing City, Kansas                     0.7133352086%
               KS70        Lawrence City, Kansas                    3.1638042033%
               KS71        Leavenworth City, Kansas                 0.5951890494%
               KS72        Leavenworth County, Kansas               2.3340801542%
               KS73        Leawood City, Kansas                     0.5645735676%
               KS74        Lenexa City, Kansas                      0.9811139852%
               KS75        Liberal City, Kansas                     0.0682108809%
               KS76        Lincoln County, Kansas                   0.0485423215%
               KS77        Linn County, Kansas                      0.4207125363%
               KS78        Logan County, Kansas                     0.1082727658%
               KS79        Lyon County, Kansas                      0.6750909426%
               KS80        Manhattan City, Kansas                   0.7992480259%
               KS81        Manter City, Kansas                      0.0001287490%
               KS82        Marion County, Kansas                    0.2585495937%
               KS83        Marshall County, Kansas                  0.2276721904%
               KS84        McPherson City, Kansas                   0.2496279649%
               KS85        McPherson County, Kansas                 0.5097593318%
               KS86        Meade County, Kansas                     0.0768717523%
               KS87        Merriam City, Kansas                     0.2489320686%
               KS88        Miami County, Kansas                     1.2663765466%
               KS89        Mitchell County, Kansas                  0.1352292623%
               KS90        Montgomery County, Kansas                1.7112175254%
               KS91        Morris County, Kansas                    0.1150743437%
               KS92        Morton County, Kansas                    0.2160617336%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               KS93        Nemaha County, Kansas                    0.2032897421%
               KS94        Neosho County, Kansas                    0.8310848768%
               KS95        Ness County, Kansas                      0.0706191619%
               KS96        Newton City, Kansas                      0.5433840008%
               KS97        Norton County, Kansas                    0.1451450288%
               KS98        Olathe City, Kansas                      1.6762201549%
               KS99        Osage County, Kansas                     0.5950568081%
               KS100       Osborne County, Kansas                   0.1578979290%
               KS101       Ottawa City, Kansas                      0.0294988813%
               KS102       Ottawa County, Kansas                    0.1312957833%
               KS103       Overland Park City, Kansas               2.3687103690%
               KS104       Pawnee County, Kansas                    0.1939706911%
               KS105       Phillips County, Kansas                  0.1221045499%
               KS106       Pittsburg City, Kansas                   0.7147952173%
               KS107       Pottawatomie County, Kansas              0.4594243031%
               KS108       Prairie Village City, Kansas             0.2589451534%
               KS109       Pratt County, Kansas                     0.4619825196%
               KS110       Rawlins County, Kansas                   0.0431218266%
               KS111       Reno County, Kansas                      1.1279702345%
               KS112       Republic County, Kansas                  0.1617978822%
               KS113       Rice County, Kansas                      0.2959259100%
               KS114       Riley County, Kansas                     1.0426785786%
               KS115       Rooks County, Kansas                     0.1523482196%
               KS116       Rush County, Kansas                      0.0753160549%
               KS117       Russell County, Kansas                   0.2146389759%
               KS118       Salina City, Kansas                      1.3339667317%
               KS119       Saline County, Kansas                    0.6611290126%
               KS120       Scott County, Kansas                     0.0944435428%
               KS121       Sedgwick County, Kansas                 13.5321956939%
               KS122       Seward County, Kansas                    0.4105201807%
               KS123       Shawnee City, Kansas                     0.8209928663%
               KS124       Shawnee County, Kansas                   3.0388576303%
               KS125       Sheridan County, Kansas                  0.0529819493%
               KS126       Sherman County, Kansas                   0.2106519484%
               KS127       Smith County, Kansas                     0.1047138927%
               KS128       Soldier Township, Kansas                 0.0214428740%
               KS129       Stafford County, Kansas                  0.0781264146%
               KS130       Stanton County, Kansas                   0.0490733819%
               KS131       Stevens County, Kansas                   0.0751535472%
               KS132       Sumner County, Kansas                    1.0773462773%
               KS133       Thomas County, Kansas                    0.2518295026%
               KS134       Topeka City, Kansas                      2.9773291238%
               KS135       Trego County, Kansas                     0.0832973273%
               KS136       Ulysses City, Kansas                     0.0249593741%
               KS137       Wabaunsee County, Kansas                 0.1542554739%
               KS138       Wallace County, Kansas                   0.0168456276%
               KS139       Washington County, Kansas                0.1090452597%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               KS140       Wichita City, Kansas                     8.2621190275%
               KS141       Wichita County, Kansas                   0.0516844483%
               KS142       Wilson County, Kansas                    0.5342588881%
               KS143       Winfield City, Kansas                    0.6854926025%
               KS144       Woodson County, Kansas                   0.2011950685%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                KY1        Adair County, Kentucky                   0.2072149972%
                KY2        Allen County, Kentucky                   0.3652932746%
                KY3        Anderson County, Kentucky                0.3621159370%
                KY4        Ashland City, Kentucky                   0.9834499202%
                KY5        Ballard County, Kentucky                 0.1275818571%
                KY6        Bardstown City, Kentucky                 0.2352870373%
                KY7        Barren County, Kentucky                  0.3822164065%
                KY8        Bath County, Kentucky                    0.2721522696%
                KY9        Bell County, Kentucky                    1.6046449783%
               KY10        Bellefonte City, Kentucky                0.0232546060%
               KY11        Benham City, Kentucky                    0.0026848062%
               KY12        Berea City, Kentucky                     0.1673960319%
               KY13        Boone County, Kentucky                   2.2416599391%
               KY14        Bourbon County, Kentucky                 0.3912683808%
               KY15        Bowling Green City, Kentucky             0.6707865957%
               KY16        Boyd County, Kentucky                    1.0191273378%
               KY17        Boyle County, Kentucky                   0.3790292999%
               KY18        Bracken County, Kentucky                 0.1275577166%
               KY19        Breathitt County, Kentucky               0.5390554414%
               KY20        Breckinridge County, Kentucky            0.3244963382%
               KY21        Buckhorn City, Kentucky                  0.0016578966%
               KY22        Bullitt County, Kentucky                 0.9402858081%
               KY23        Butler County, Kentucky                  0.2691739265%
               KY24        Caldwell County, Kentucky                0.2485303902%
               KY25        Calloway County, Kentucky                0.0270405279%
               KY26        Campbell County, Kentucky                1.8009538340%
               KY27        Campbellsville City, Kentucky            0.2769609681%
               KY28        Carlisle County, Kentucky                0.0604084438%
               KY29        Carroll County, Kentucky                 0.3429114361%
               KY30        Carter County, Kentucky                  0.6015849596%
               KY31        Casey County, Kentucky                   0.2668572392%
               KY32        Christian County, Kentucky               0.4386166388%
               KY33        Clark County, Kentucky                   0.6110238861%
               KY34        Clay County, Kentucky                    0.7834161044%
               KY35        Clinton County, Kentucky                 0.5184782680%
               KY36        Columbia City, Kentucky                  0.0941274300%
               KY37        Covington City, Kentucky                 1.7146827203%
               KY38        Crittenden County, Kentucky              0.2010231527%
               KY39        Cumberland County, Kentucky              0.1857249004%
               KY40        Danville City, Kentucky                  0.2799464970%
               KY41        Daviess County, Kentucky                 1.1263935276%
               KY42        Edmonson County, Kentucky                0.1884368528%
               KY43        Elizabethtown City, Kentucky             0.0550593556%
               KY44        Elliott County, Kentucky                 0.1458221479%
               KY45        Erlanger City, Kentucky                  0.3397777298%
               KY46        Estill County, Kentucky                  0.4817186620%
               KY47        Fleming County, Kentucky                 0.2798388981%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               KY48        Florence City, Kentucky                  0.7389020512%
               KY49        Floyd County, Kentucky                   2.2122610651%
               KY50        Fort Thomas City, Kentucky               0.3651296923%
               KY51        Frankfort City, Kentucky                 0.4254271088%
               KY52        Franklin County, Kentucky                0.4438483122%
               KY53        Fulton County, Kentucky                  0.1040009320%
               KY54        Gallatin County, Kentucky                0.2347861459%
               KY55        Garrard County, Kentucky                 0.3127117464%
               KY56        Georgetown City, Kentucky                0.2129888920%
               KY57        Glasgow City, Kentucky                   0.4100978120%
               KY58        Grant County, Kentucky                   0.8983127984%
               KY59        Graves County, Kentucky                  0.5377248503%
               KY60        Grayson City, Kentucky                   0.1405700912%
               KY61        Grayson County, Kentucky                 0.5506751829%
               KY62        Green County, Kentucky                   0.1363993307%
               KY63        Greenup City, Kentucky                   0.0314549006%
               KY64        Greenup County, Kentucky                 0.6818493215%
               KY65        Hancock County, Kentucky                 0.1001482246%
               KY66        Hardin County, Kentucky                  1.5735944542%
               KY67        Harlan City, Kentucky                    0.0307714057%
               KY68        Harlan County, Kentucky                  0.8841679348%
               KY69        Harrison County, Kentucky                0.4508521033%
               KY70        Hart County, Kentucky                    0.2333469695%
               KY71        Henderson City, Kentucky                 0.5644511762%
               KY72        Henderson County, Kentucky               0.3796057595%
               KY73        Henry County, Kentucky                   0.2263086115%
               KY74        Hickman County, Kentucky                 0.0533625713%
               KY75        Hillview City, Kentucky                  0.0559482324%
               KY76        Hopkins County, Kentucky                 0.5493362318%
               KY77        Hopkinsville City, Kentucky              0.5662686160%
               KY78        Hyden City, Kentucky                     0.0208586871%
               KY79        Independence City, Kentucky              0.1255237640%
               KY80        Inez City, Kentucky                      0.0105691141%
               KY81        Jackson County, Kentucky                 0.1930879337%
               KY82        Jamestown City, Kentucky                 0.0102921092%
               KY83        Jefferson County, Kentucky              14.4939132925%
               KY84        Jeffersontown City, Kentucky             0.1981991396%
               KY85        Jenkins City, Kentucky                   0.0688654541%
               KY86        Jessamine County, Kentucky               0.6407795601%
               KY87        Johnson County, Kentucky                 0.6400798620%
               KY88        Kenton County, Kentucky                  3.0353062046%
               KY89        Knott County, Kentucky                   0.4760255015%
               KY90        Knox County, Kentucky                    0.8791225282%
               KY91        Larue County, Kentucky                   0.1917133825%
               KY92        Laurel County, Kentucky                  0.9215642107%
               KY93        Lawrence County, Kentucky                0.5341168353%
               KY94        Lawrenceburg City, Kentucky              0.0804801232%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               KY95        Lee County, Kentucky                     0.3684164606%
               KY96        Leslie County, Kentucky                  0.5316878055%
               KY97        Letcher County, Kentucky                 0.5820426330%
               KY98        Lewis County, Kentucky                   0.2152456979%
               KY99        Lexington-Fayette Urban County,          6.2597070666%
                           Kentucky
               KY100       Lincoln County, Kentucky                 0.4844988089%
               KY101       Livingston County, Kentucky              0.2056037847%
               KY102       Logan County, Kentucky                   0.4041639043%
               KY103       London City, Kentucky                    0.1961505806%
               KY104       Loyall City, Kentucky                    0.0033160280%
               KY105       Lynch City, Kentucky                     0.0027455331%
               KY106       Lyndon City, Kentucky                    0.0748780766%
               KY107       Lyon County, Kentucky                    0.1367346673%
               KY108       Madison County, Kentucky                 1.1073052673%
               KY109       Madisonville City, Kentucky              0.3927355489%
               KY110       Magoffin County, Kentucky                0.3084779576%
               KY111       Manchester City, Kentucky                0.1800397241%
               KY112       Marion County, Kentucky                  0.3140811783%
               KY113       Marshall County, Kentucky                0.6110803392%
               KY114       Martin County, Kentucky                  0.4586073959%
               KY115       Mason County, Kentucky                   0.3538044741%
               KY116       McCracken County, Kentucky               0.3377504933%
               KY117       McCreary County, Kentucky                0.3011869230%
               KY118       McLean County, Kentucky                  0.1433881867%
               KY119       Meade County, Kentucky                   0.3762152436%
               KY120       Menifee County, Kentucky                 0.1152561711%
               KY121       Mercer County, Kentucky                  0.4275256395%
               KY122       Metcalfe County, Kentucky                0.1167070889%
               KY123       Monroe County, Kentucky                  0.2890192303%
               KY124       Montgomery County, Kentucky              0.7103789505%
               KY125       Morehead City, Kentucky                  0.1176937487%
               KY126       Morgan County, Kentucky                  0.0505889526%
               KY127       Morganfield City, Kentucky               0.1082087956%
               KY128       Mount Washington City, Kentucky          0.0667863672%
               KY129       Muhlenberg County, Kentucky              0.6182711015%
               KY130       Murray City, Kentucky                    0.5765962314%
               KY131       Nelson County, Kentucky                  0.4816564321%
               KY132       Newport City, Kentucky                   0.7312996326%
               KY133       Nicholas County, Kentucky                0.1324383199%
               KY134       Nicholasville City, Kentucky             0.3723153354%
               KY135       Ohio County, Kentucky                    0.4467150643%
               KY136       Oldham County, Kentucky                  0.8061439877%
               KY137       Owen County, Kentucky                    0.2198857418%
               KY138       Owensboro City, Kentucky                 0.5118319344%
               KY139       Owsley County, Kentucky                  0.1294761331%
               KY140       Paducah City, Kentucky                   1.1041080161%

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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               KY141       Paintsville City, Kentucky               0.3642660363%
               KY142       Pendleton County, Kentucky               0.3094900729%
               KY143       Perry County, Kentucky                   1.7685462770%
               KY144       Pike County, Kentucky                    2.8526994649%
               KY145       Pineville City, Kentucky                 0.0736606264%
               KY146       Pippa Passes City, Kentucky              0.0150639864%
               KY147       Powell County, Kentucky                  0.5788951657%
               KY148       Prestonsburg City, Kentucky              0.4197933602%
               KY149       Pulaski County, Kentucky                 0.8723902940%
               KY150       Radcliff City, Kentucky                  0.0391427032%
               KY151       Richmond City, Kentucky                  0.5069051167%
               KY152       Robertson County, Kentucky               0.0346199801%
               KY153       Rockcastle County, Kentucky              0.5575756021%
               KY154       Rowan County, Kentucky                   0.4245058255%
               KY155       Russell City, Kentucky                   0.1455248537%
               KY156       Russell County, Kentucky                 0.5341152854%
               KY157       Russell Springs City, Kentucky           0.0155036343%
               KY158       Scott County, Kentucky                   0.6332443967%
               KY159       Shelby County, Kentucky                  0.5093783884%
               KY160       Shelbyville City, Kentucky               0.1168374662%
               KY161       Shepherdsville City, Kentucky            0.1717991328%
               KY162       Shively City, Kentucky                   0.1040826057%
               KY163       Simpson County, Kentucky                 0.3109188228%
               KY164       Somerset City, Kentucky                  0.3108498299%
               KY165       South Shore City, Kentucky               0.0058748246%
               KY166       Spencer County, Kentucky                 0.2447695951%
               KY167       St. Matthews City, Kentucky              0.1131834246%
               KY168       Taylor County, Kentucky                  0.1908446071%
               KY169       Todd County, Kentucky                    0.1788746408%
               KY170       Trigg County, Kentucky                   0.2047738501%
               KY171       Trimble County, Kentucky                 0.1174427629%
               KY172       Union County, Kentucky                   0.2531192882%
               KY173       Vanceburg City, Kentucky                 0.0340027072%
               KY174       Warfield City, Kentucky                  0.0001148786%
               KY175       Warren County, Kentucky                  0.9893070387%
               KY176       Washington County, Kentucky              0.1549834119%
               KY177       Wayne County, Kentucky                   0.3477965951%
               KY178       Webster County, Kentucky                 0.2371207742%
               KY179       West Liberty City, Kentucky              0.1691975502%
               KY180       Whitesburg City, Kentucky                0.0507126138%
               KY181       Whitley County, Kentucky                 2.0341464266%
               KY182       Winchester City, Kentucky                0.4646999075%
               KY183       Wolfe County, Kentucky                   0.2600699609%
               KY184       Woodford County, Kentucky                0.4375495264%
               KY185       Worthington City, Kentucky               0.0263144349%



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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
                LA2        Acadia Parish, Louisiana
                LA4        Allen Parish, Louisiana
                LA5        Ascension Parish, Louisiana
                LA6        Assumption Parish, Louisiana
                LA7        Avoyelles Parish, Louisiana
               LA12        Beauregard Parish, Louisiana
               LA14        Bienville Parish, Louisiana
               LA17        Bossier Parish, Louisiana
               LA19        Caddo Parish, Louisiana
               LA20        Calcasieu Parish, Louisiana
               LA21        Caldwell Parish, Louisiana
               LA22        Cameron Parish, Louisiana
               LA23        Catahoula Parish, Louisiana
               LA25        Claiborne Parish, Louisiana
               LA26        Concordia Parish, Louisiana
               LA29        De Soto Parish, Louisiana
               LA33        East Carroll Parish, Louisiana
               LA34        East Feliciana Parish, Louisiana
               LA36        Evangeline Parish, Louisiana
               LA39        Franklin Parish, Louisiana                Allocations in
               LA42        Grant Parish, Louisiana                  Louisiana will be
               LA46        Iberia Parish, Louisiana                made in accordance
               LA47        Iberville Parish, Louisiana             with the Louisiana
               LA48        Jackson Parish, Louisiana                  State-Local
               LA50        Jefferson Davis Parish, Louisiana       Government Opioid
               LA51        Jefferson Parish, Louisiana                 Litigation
               LA54        Lafourche Parish, Louisiana              Memorandum of
               LA57        Lasalle Parish, Louisiana                 Understanding
               LA58        Lincoln Parish, Louisiana
               LA59        Livingston Parish, Louisiana
               LA61        Madison Parish, Louisiana
               LA66        Morehouse Parish, Louisiana
               LA69        Natchitoches Parish, Louisiana
               LA74        Ouachita Parish, Louisiana
               LA78        Plaquemines Parish, Louisiana
               LA79        Pointe Coupee Parish, Louisiana
               LA80        Rapides Parish, Louisiana
               LA81        Red River Parish, Louisiana
               LA82        Richland Parish, Louisiana
               LA85        Sabine Parish, Louisiana
               LA88        St Bernard Parish, Louisiana
               LA89        St Charles Parish, Louisiana
               LA90        St Helena Parish, Louisiana
               LA91        St James Parish, Louisiana
               LA92        St John The Baptist Parish, Louisiana
               LA93        St Landry Parish, Louisiana
               LA94        St Martin Parish, Louisiana

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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                       Consolidated State
              State ID              Qualifying Subdivision                Allocation
               LA95        St Mary Parish, Louisiana
               LA96        St Tammany Parish, Louisiana
               LA99        Tangipahoa Parish, Louisiana
               LA100       Tensas Parish, Louisiana
               LA102       Union Parish, Louisiana
               LA103       Vermilion Parish, Louisiana
               LA104       Vernon Parish, Louisiana
               LA105       Washington Parish, Louisiana
               LA106       Webster Parish, Louisiana
               LA107       West Baton Rouge Parish, Louisiana
               LA108       West Carroll Parish, Louisiana
               LA109       West Feliciana Parish, Louisiana
               LA112       Winn Parish, Louisiana
               LA115       East Baton Rouge Parish, Louisiana
               LA116       Lafayette Parish, Louisiana
               LA117       Orleans Parish, Louisiana
               LA118       Terrebonne Parish, Louisiana
               LA119       Sheriff of Acadia Parish, Louisiana
               LA120       Sheriff of Allen Parish, Louisiana
               LA121       Sheriff of Ascension Parish, Louisiana
               LA122       Sheriff of Assumption Parish, Louisiana       Allocations in
               LA123       Sheriff of Avoyelles Parish, Louisiana       Louisiana will be
               LA124       Sheriff of Beauregard Parish, Louisiana     made in accordance
               LA125       Sheriff of Bienville Parish, Louisiana      with the Louisiana
               LA126       Sheriff of Bossier Parish, Louisiana           State-Local
               LA127       Sheriff of Caddo Parish, Louisiana          Government Opioid
               LA128       Sheriff of Calcasieu Parish, Louisiana          Litigation
               LA129       Sheriff of Caldwell Parish, Louisiana        Memorandum of
               LA130       Sheriff of Cameron Parish, Louisiana          Understanding
               LA131       Sheriff of Catahoula Parish, Louisiana
               LA132       Sheriff of Claiborne Parish, Louisiana
               LA133       Sheriff of Concordia Parish, Louisiana
               LA134       Sheriff of De Soto Parish, Louisiana
               LA135       Sheriff of East Baton Rouge Parish,
                           Louisiana
               LA136       Sheriff of East Carroll Parish, Louisiana
               LA137       Sheriff of East Feliciana Parish,
                           Louisiana
               LA138       Sheriff of Evangeline Parish, Louisiana
               LA139       Sheriff of Franklin Parish, Louisiana
               LA140       Sheriff of Grant Parish, Louisiana
               LA141       Sheriff of Iberia Parish, Louisiana
               LA142       Sheriff of Iberville Parish, Louisiana
               LA143       Sheriff of Jackson Parish, Louisiana
               LA144       Sheriff of Jefferson Davis Parish,
                           Louisiana
               LA145       Sheriff of Jefferson Parish, Louisiana

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                       Consolidated State
              State ID              Qualifying Subdivision                Allocation
               LA146       Sheriff of Lafayette Parish, Louisiana
               LA147       Sheriff of Lafourche Parish, Louisiana
               LA148       Sheriff of Lasalle Parish, Louisiana
               LA149       Sheriff of Lincoln Parish, Louisiana
               LA150       Sheriff of Livingston Parish, Louisiana
               LA151       Sheriff of Madison Parish, Louisiana
               LA152       Sheriff of Morehouse Parish, Louisiana
               LA153       Sheriff of Natchitoches Parish, Louisiana
               LA154       Sheriff of Orleans Parish, Louisiana
               LA155       Sheriff of Ouachita Parish, Louisiana
               LA156       Sheriff of Plaquemines Parish, Louisiana
               LA157       Sheriff of Pointe Coupee Parish,
                           Louisiana
               LA158       Sheriff of Rapides Parish, Louisiana
               LA159       Sheriff of Red River Parish, Louisiana
               LA160       Sheriff of Richland Parish, Louisiana
               LA161       Sheriff of Sabine Parish, Louisiana
               LA162       Sheriff of St Bernard Parish, Louisiana
               LA163       Sheriff of St Charles Parish, Louisiana       Allocations in
               LA164       Sheriff of St Helena Parish, Louisiana       Louisiana will be
               LA165       Sheriff of St James Parish, Louisiana       made in accordance
               LA166       Sheriff of St John The Baptist Parish,      with the Louisiana
                           Louisiana                                      State-Local
               LA167       Sheriff of St Landry Parish, Louisiana      Government Opioid
               LA168       Sheriff of St Martin Parish, Louisiana          Litigation
               LA169       Sheriff of St Mary Parish, Louisiana         Memorandum of
               LA170       Sheriff of St Tammany Parish, Louisiana       Understanding
               LA171       Sheriff of Tangipahoa Parish, Louisiana
               LA172       Sheriff of Tensas Parish, Louisiana
               LA173       Sheriff of Terrebonne Parish, Louisiana
               LA174       Sheriff of Union Parish, Louisiana
               LA175       Sheriff of Vermilion Parish, Louisiana
               LA176       Sheriff of Vernon Parish, Louisiana
               LA177       Sheriff of Washington Parish, Louisiana
               LA178       Sheriff of Webster Parish, Louisiana
               LA179       Sheriff of West Baton Rouge Parish,
                           Louisiana
               LA180       Sheriff of West Carroll Parish, Louisiana
               LA181       Sheriff of West Feliciana Parish,
                           Louisiana
               LA182       Sheriff of Winn Parish, Louisiana




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                ME1        Androscoggin County, Maine               1.6799535986%
                ME2        Aroostook County, Maine                  4.0537116218%
                ME3        Auburn City, Maine                       2.6283332826%
                ME4        Augusta City, Maine                      3.6779545807%
                ME5        Bangor City, Maine                       5.2042873123%
                ME6        Biddeford City, Maine                    2.7393997300%
                ME7        Brunswick Town, Maine                    1.6113929261%
                ME8        Calais City, Maine                       0.8369049504%
                ME9        Cumberland County, Maine                 3.5025701951%
               ME10        Falmouth Town, Maine                     1.2353278939%
               ME11        Franklin County, Maine                   1.9717572454%
               ME12        Gorham Town, Maine                       1.4582940317%
               ME13        Hancock County, Maine                    3.8494340111%
               ME14        Kennebec County, Maine                   4.9959268385%
               ME15        Kennebunk Town, Maine                    0.2185679049%
               ME16        Knox County, Maine                       2.1010369789%
               ME17        Lewiston City, Maine                     4.3451006968%
               ME18        Lincoln County, Maine                    2.1621727981%
               ME19        Orono Town, Maine                        0.2094180830%
               ME20        Oxford County, Maine                     3.8454418782%
               ME21        Penobscot County, Maine                  6.7801027597%
               ME22        Piscataquis County, Maine                1.2760851978%
               ME23        Portland City, Maine                     7.2016026249%
               ME24        Rockland City, Maine                     0.6184398003%
               ME25        Saco City, Maine                         0.4366518238%
               ME26        Sagadahoc County, Maine                  1.9708146889%
               ME27        Sanford City, Maine                      2.6908215844%
               ME28        Scarborough Town, Maine                  1.8363769930%
               ME29        Somerset County, Maine                   3.6977198467%
               ME30        South Portland City, Maine               2.2275994495%
               ME31        Standish Town, Maine                     0.0664145731%
               ME32        Waldo County, Maine                      2.4723925078%
               ME33        Washington County, Maine                 2.6998574469%
               ME34        Waterville City, Maine                   2.8132809688%
               ME35        Wells Town, Maine                        0.2541311729%
               ME36        Westbrook City, Maine                    1.5416150467%
               ME37        Windham Town, Maine                      0.1935482073%
               ME38        York County, Maine                       6.7950503019%
               ME39        York Town, Maine                         2.1005084476%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MD1         Aberdeen City, Maryland                  0.0372796529%
               MD2         Allegany County, Maryland                1.6120411494%
               MD3         Annapolis City, Maryland                 0.2413230958%
               MD4         Anne Arundel County, Maryland            9.5850095156%
               MD5         Baltimore City, Maryland                20.9970334354%
               MD6         Baltimore County, Maryland              17.7565394434%
               MD7         Bel Air Town, Maryland                   0.0322364280%
               MD8         Berlin Town, Maryland                    0.0109236186%
               MD9         Bowie City, Maryland                     0.0263270946%
               MD10        Calvert County, Maryland                 1.6948343688%
               MD11        Cambridge City, Maryland                 0.0196746185%
               MD12        Caroline County, Maryland                0.5865017850%
               MD13        Carroll County, Maryland                 2.9605563001%
               MD14        Cecil County, Maryland                   3.7958577634%
               MD15        Charles County, Maryland                 1.9663409179%
               MD16        Charlestown, Maryland                    0.0013846587%
               MD17        College Park City, Maryland              0.0050334845%
               MD18        Cottage City Town, Maryland              0.0015972023%
               MD19        Cumberland City, Maryland                0.1627132426%
               MD20        Dorchester County, Maryland              0.3951913125%
               MD21        Easton Town, Maryland                    0.0630108370%
               MD22        Elkton Town, Maryland                    0.0884110160%
               MD23        Forest Heights Town, Maryland            0.0014812182%
               MD24        Frederick City, Maryland                 0.1530889274%
               MD25        Frederick County, Maryland               3.4957333212%
               MD26        Frostburg City, Maryland                 0.0194678741%
               MD27        Gaithersburg City, Maryland              0.0243966914%
               MD28        Garrett County, Maryland                 0.3513434690%
               MD29        Grantsville Town, Maryland               0.0002207076%
               MD30        Greenbelt City, Maryland                 0.0369938028%
               MD31        Hagerstown City, Maryland                0.1829328174%
               MD32        Harford County, Maryland                 5.1958110720%
               MD33        Havre De Grace City, Maryland            0.0458009931%
               MD34        Howard County, Maryland                  3.2487213744%
               MD35        Hyattsville City, Maryland               0.0127377562%
               MD36        Kent County, Maryland                    0.4683852152%
               MD37        Laurel City, Maryland                    0.0300516480%
               MD38        Montgomery County, Maryland              8.5574378958%
               MD39        Mountain Lake Park Town, Maryland        0.0001004445%
               MD40        New Carrollton City, Maryland            0.0062727689%
               MD41        North Brentwood Town, Maryland           0.0000662686%
               MD42        North East Town, Maryland                0.0183814522%
               MD43        Oakland Town, Maryland                   0.0011777453%
               MD44        Perryville Town, Maryland                0.0184160785%
               MD45        Prince Georges County, Maryland          7.1382650655%
               MD46        Queen Annes County, Maryland             0.7381792535%
               MD47        Rockville City, Maryland                 0.0611045878%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               MD48        Salisbury City, Maryland                 0.1347806691%
               MD49        Seat Pleasant City, Maryland             0.0040128808%
               MD50        Somerset County, Maryland                0.3875128839%
               MD51        St Marys County, Maryland                1.3684562511%
               MD52        Takoma Park City, Maryland               0.0195596479%
               MD53        Talbot County, Maryland                  0.4896824850%
               MD54        Upper Marlboro Town, Maryland            0.0009443695%
               MD55        Vienna Town, Maryland                    0.0001582676%
               MD56        Washington County, Maryland              3.0474490505%
               MD57        Westminster City, Maryland               0.0440087573%
               MD58        Wicomico County, Maryland                1.6694422411%
               MD59        Worcester County, Maryland               0.9876031064%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MA1         Abington Town, Massachusetts             0.2400899791%
               MA2         Acton Town, Massachusetts                0.1586479343%
               MA3         Acushnet Town, Massachusetts             0.1547305792%
               MA4         Adams Town, Massachusetts                0.0189731986%
               MA5         Agawam Town City, Massachusetts          0.4341901730%
               MA6         Alford Town, Massachusetts               0.0007449491%
               MA7         Amesbury Town City, Massachusetts        0.2580959424%
               MA8         Amherst Town, Massachusetts              0.3675897982%
               MA9         Andover Town, Massachusetts              0.7102727131%
               MA10        Aquinnah Town, Massachusetts             0.0049293930%
               MA11        Arlington Town, Massachusetts            0.3350233330%
               MA12        Ashburnham Town, Massachusetts           0.0140160133%
               MA13        Ashby Town, Massachusetts                0.0069876989%
               MA14        Ashfield Town, Massachusetts             0.0027296132%
               MA15        Ashland Town, Massachusetts              0.1613930923%
               MA16        Athol Town, Massachusetts                0.0359559233%
               MA17        Attleboro City, Massachusetts            0.9357205930%
               MA18        Auburn Town, Massachusetts               0.3036683195%
               MA19        Avon Town, Massachusetts                 0.0739889948%
               MA20        Ayer Town, Massachusetts                 0.0179210686%
               MA21        Barnstable County, Massachusetts         0.0639482242%
               MA22        Barnstable Town City, Massachusetts      0.8578313582%
               MA23        Barre Town, Massachusetts                0.0096522017%
               MA24        Becket Town, Massachusetts               0.0067279376%
               MA25        Bedford Town, Massachusetts              0.1982937972%
               MA26        Belchertown, Massachusetts               0.3492785905%
               MA27        Bellingham Town, Massachusetts           0.1961076781%
               MA28        Belmont Town, Massachusetts              0.2420315678%
               MA29        Berkley Town, Massachusetts              0.1212759115%
               MA30        Berlin Town, Massachusetts               0.0397753511%
               MA31        Bernardston Town, Massachusetts          0.0040751589%
               MA32        Beverly City, Massachusetts              0.4801566147%
               MA33        Billerica Town, Massachusetts            0.3870913124%
               MA34        Blackstone Town, Massachusetts           0.0221473318%
               MA35        Blandford Town, Massachusetts            0.0009007116%
               MA36        Bolton Town, Massachusetts               0.0110088433%
               MA37        Boston City, Massachusetts              10.5767780349%
               MA38        Bourne Town, Massachusetts               0.3783946742%
               MA39        Boxborough Town, Massachusetts           0.0399298051%
               MA40        Boxford Town, Massachusetts              0.0912309051%
               MA41        Boylston Town, Massachusetts             0.0562367737%
               MA42        Braintree Town City, Massachusetts       0.4457226214%
               MA43        Brewster Town, Massachusetts             0.1284470083%
               MA44        Bridgewater Town, Massachusetts          0.0570448443%
               MA45        Brimfield Town, Massachusetts            0.0355644757%
               MA46        Bristol County, Massachusetts            0.1015083030%
               MA47        Brockton City, Massachusetts             2.1170344615%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               MA48        Brookfield Town, Massachusetts            0.0372953453%
               MA49        Brookline Town, Massachusetts             0.8244968622%
               MA50        Buckland Town, Massachusetts              0.0031396937%
               MA51        Burlington Town, Massachusetts            0.3034752912%
               MA52        Cambridge City, Massachusetts             4.3053779748%
               MA53        Canton Town, Massachusetts                0.2909840866%
               MA54        Carlisle Town, Massachusetts              0.0526144568%
               MA55        Carver Town, Massachusetts                0.2179547901%
               MA56        Charlemont Town, Massachusetts            0.0066765925%
               MA57        Charlton Town, Massachusetts              0.0305379405%
               MA58        Chatham Town, Massachusetts               0.1685335181%
               MA59        Chelmsford Town, Massachusetts            0.3162632088%
               MA60        Chelsea City, Massachusetts               0.5236031155%
               MA61        Cheshire Town, Massachusetts              0.0015830626%
               MA62        Chester Town, Massachusetts               0.0096828727%
               MA63        Chesterfield Town, Massachusetts          0.0168042468%
               MA64        Chicopee City, Massachusetts              0.8816952708%
               MA65        Chilmark Town, Massachusetts              0.0062328576%
               MA66        Clarksburg Town, Massachusetts            0.0303920178%
               MA67        Clinton Town, Massachusetts               0.2371744557%
               MA68        Cohasset Town, Massachusetts              0.1430861241%
               MA69        Colrain Town, Massachusetts               0.0016018525%
               MA70        Concord Town, Massachusetts               0.1749597704%
               MA71        Conway Town, Massachusetts                0.0354590115%
               MA72        Cummington Town, Massachusetts            0.0009757143%
               MA73        Dalton Town, Massachusetts                0.0123034626%
               MA74        Danvers Town, Massachusetts               0.4037368656%
               MA75        Dartmouth Town, Massachusetts             0.5505881937%
               MA76        Dedham Town, Massachusetts                0.3188835370%
               MA77        Deerfield Town, Massachusetts             0.0872700035%
               MA78        Dennis Town, Massachusetts                0.0970183530%
               MA79        Dighton Town, Massachusetts               0.0228752705%
               MA80        Douglas Town, Massachusetts               0.1659192613%
               MA81        Dover Town, Massachusetts                 0.0683428114%
               MA82        Dracut Town, Massachusetts                0.2045887296%
               MA83        Dudley Town, Massachusetts                0.0179390734%
               MA84        Dukes County, Massachusetts               0.0054256244%
               MA85        Dunstable Town, Massachusetts             0.0041607864%
               MA86        Duxbury Town, Massachusetts               0.3742011756%
               MA87        East Bridgewater Town, Massachusetts      0.2308047825%
               MA88        East Brookfield Town, Massachusetts       0.0052365739%
               MA89        East Longmeadow Town, Massachusetts       0.2715713403%
               MA90        Eastham Town, Massachusetts               0.0786916528%
               MA91        Easthampton Town City, Massachusetts      0.2670463228%
               MA92        Easton Town, Massachusetts                0.5676857515%
               MA93        Edgartown, Massachusetts                  0.0809809332%
               MA94        Egremont Town, Massachusetts              0.0050750540%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               MA95        Erving Town, Massachusetts                0.0513752128%
               MA96        Essex Town, Massachusetts                 0.0113333487%
               MA97        Everett City, Massachusetts               0.4368228534%
               MA98        Fairhaven Town, Massachusetts             0.3265362625%
               MA99        Fall River City, Massachusetts            2.1055901006%
              MA100        Falmouth Town, Massachusetts              0.6632841320%
              MA101        Fitchburg City, Massachusetts             0.6913634212%
              MA102        Florida Town, Massachusetts               0.0170875086%
              MA103        Foxborough Town, Massachusetts            0.2588100112%
              MA104        Framingham Town, Massachusetts            0.6902310022%
              MA105        Franklin Town City, Massachusetts         0.4506715894%
              MA106        Freetown, Massachusetts                   0.0347111837%
              MA107        Gardner City, Massachusetts               0.3080580392%
              MA108        Georgetown, Massachusetts                 0.1361143365%
              MA109        Gill Town, Massachusetts                  0.0032293514%
              MA110        Gloucester City, Massachusetts            0.4219402015%
              MA111        Goshen Town, Massachusetts                0.0020598761%
              MA112        Gosnold Town, Massachusetts               0.0011645031%
              MA113        Grafton Town, Massachusetts               0.2787903277%
              MA114        Granby Town, Massachusetts                0.1421420753%
              MA115        Granville Town, Massachusetts             0.0205788719%
              MA116        Great Barrington Town, Massachusetts      0.0238735954%
              MA117        Greenfield Town City, Massachusetts       0.4522917084%
              MA118        Groton Town, Massachusetts                0.0112861907%
              MA119        Groveland Town, Massachusetts             0.0109548289%
              MA120        Hadley Town, Massachusetts                0.1036658447%
              MA121        Halifax Town, Massachusetts               0.0744074497%
              MA122        Hamilton Town, Massachusetts              0.0148754814%
              MA123        Hampden Town, Massachusetts               0.0086441416%
              MA124        Hancock Town, Massachusetts               0.0080083205%
              MA125        Hanover Town, Massachusetts               0.2979987927%
              MA126        Hanson Town, Massachusetts                0.0306151413%
              MA127        Hardwick Town, Massachusetts              0.0046489576%
              MA128        Harvard Town, Massachusetts               0.1646144358%
              MA129        Harwich Town, Massachusetts               0.2864309104%
              MA130        Hatfield Town, Massachusetts              0.0627393895%
              MA131        Haverhill City, Massachusetts             0.8142937865%
              MA132        Hawley Town, Massachusetts                0.0002691301%
              MA133        Heath Town, Massachusetts                 0.0011790011%
              MA134        Hingham Town, Massachusetts               0.4828724626%
              MA135        Hinsdale Town, Massachusetts              0.0037015067%
              MA136        Holbrook Town, Massachusetts              0.1222501079%
              MA137        Holden Town, Massachusetts                0.0343745879%
              MA138        Holland Town, Massachusetts               0.0238040885%
              MA139        Holliston Town, Massachusetts             0.1672190621%
              MA140        Holyoke City, Massachusetts               0.9664659552%
              MA141        Hopedale Town, Massachusetts              0.1372305825%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              MA142        Hopkinton Town, Massachusetts            0.2027514537%
              MA143        Hubbardston Town, Massachusetts          0.0076647112%
              MA144        Hudson Town, Massachusetts               0.1994512345%
              MA145        Hull Town, Massachusetts                 0.1954841045%
              MA146        Huntington Town, Massachusetts           0.0026561285%
              MA147        Ipswich Town, Massachusetts              0.2079635850%
              MA148        Kingston Town, Massachusetts             0.1369378473%
              MA149        Lakeville Town, Massachusetts            0.0202228058%
              MA150        Lancaster Town, Massachusetts            0.0116656002%
              MA151        Lanesborough Town, Massachusetts         0.0575248505%
              MA152        Lawrence City, Massachusetts             1.4758837913%
              MA153        Lee Town, Massachusetts                  0.1519018348%
              MA154        Leicester Town, Massachusetts            0.1926291380%
              MA155        Lenox Town, Massachusetts                0.1609461124%
              MA156        Leominster City, Massachusetts           0.7902530708%
              MA157        Leverett Town, Massachusetts             0.0395342227%
              MA158        Lexington Town, Massachusetts            0.5090924410%
              MA159        Leyden Town, Massachusetts               0.0007689206%
              MA160        Lincoln Town, Massachusetts              0.1099619285%
              MA161        Littleton Town, Massachusetts            0.1043597104%
              MA162        Longmeadow Town, Massachusetts           0.2992108201%
              MA163        Lowell City, Massachusetts               1.0242474790%
              MA164        Ludlow Town, Massachusetts               0.3042665608%
              MA165        Lunenburg Town, Massachusetts            0.1916440550%
              MA166        Lynn City, Massachusetts                 1.5917595154%
              MA167        Lynnfield Town, Massachusetts            0.2333154069%
              MA168        Malden City, Massachusetts               0.4659742140%
              MA169        Manchester-By-The-Sea Town,              0.0201100664%
                           Massachusetts
              MA170        Mansfield Town, Massachusetts            0.6816694002%
              MA171        Marblehead Town, Massachusetts           0.3485912672%
              MA172        Marion Town, Massachusetts               0.0698025620%
              MA173        Marlborough City, Massachusetts          0.3668295136%
              MA174        Marshfield Town, Massachusetts           0.4930551259%
              MA175        Mashpee Town, Massachusetts              0.3459150927%
              MA176        Mattapoisett Town, Massachusetts         0.0843720139%
              MA177        Maynard Town, Massachusetts              0.1014940666%
              MA178        Medfield Town, Massachusetts             0.2083772770%
              MA179        Medford City, Massachusetts              0.3972200658%
              MA180        Medway Town, Massachusetts               0.1940731867%
              MA181        Melrose City, Massachusetts              0.2296395466%
              MA182        Mendon Town, Massachusetts               0.0164096065%
              MA183        Merrimac Town, Massachusetts             0.0100336001%
              MA184        Methuen Town City, Massachusetts         0.7149217230%
              MA185        Middleborough Town, Massachusetts        0.3933419654%
              MA186        Middlefield Town, Massachusetts          0.0003252381%
              MA187        Middleton Town, Massachusetts            0.0917093411%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
              MA188        Milford Town, Massachusetts               0.5323916620%
              MA189        Millbury Town, Massachusetts              0.2332340712%
              MA190        Millis Town, Massachusetts                0.0999797258%
              MA191        Millville Town, Massachusetts             0.0062130209%
              MA192        Milton Town, Massachusetts                0.3520463069%
              MA193        Monroe Town, Massachusetts                0.0001025332%
              MA194        Monson Town, Massachusetts                0.1266258006%
              MA195        Montague Town, Massachusetts              0.0291412591%
              MA196        Monterey Town, Massachusetts              0.0042137017%
              MA197        Montgomery Town, Massachusetts            0.0002324400%
              MA198        Mt Washington Town, Massachusetts         0.0001746048%
              MA199        Nahant Town, Massachusetts                0.0355497159%
              MA200        Nantucket Town, Massachusetts             0.1102324194%
              MA201        Natick Town, Massachusetts                0.3421702489%
              MA202        Needham Town, Massachusetts               0.4914063771%
              MA203        New Ashford Town, Massachusetts           0.0002677169%
              MA204        New Bedford City, Massachusetts           2.3617391681%
              MA205        New Braintree Town, Massachusetts         0.0013480056%
              MA206        New Marlborough Town, Massachusetts       0.0032940955%
              MA207        New Salem Town, Massachusetts             0.0024476600%
              MA208        Newbury Town, Massachusetts               0.0135400372%
              MA209        Newburyport City, Massachusetts           0.2905748435%
              MA210        Newton City, Massachusetts                1.0088865481%
              MA211        Norfolk County, Massachusetts             0.0563017795%
              MA212        Norfolk Town, Massachusetts               0.0892988423%
              MA213        North Adams City, Massachusetts           0.3428675166%
              MA214        North Andover Town, Massachusetts         0.4494773051%
              MA215        North Attleborough Town,                  0.6369959028%
                           Massachusetts
              MA216        North Brookfield Town, Massachusetts      0.0698725924%
              MA217        North Reading Town, Massachusetts         0.1664230820%
              MA218        Northampton City, Massachusetts           0.5405649568%
              MA219        Northborough Town, Massachusetts          0.2422641125%
              MA220        Northbridge Town, Massachusetts           0.2823159735%
              MA221        Northfield Town, Massachusetts            0.0153010544%
              MA222        Norton Town, Massachusetts                0.4563834066%
              MA223        Norwell Town, Massachusetts               0.2753854817%
              MA224        Norwood Town, Massachusetts               0.3412282413%
              MA225        Oak Bluffs Town, Massachusetts            0.0769116887%
              MA226        Oakham Town, Massachusetts                0.0026269230%
              MA227        Orange Town, Massachusetts                0.1376712816%
              MA228        Orleans Town, Massachusetts               0.0935051641%
              MA229        Otis Town, Massachusetts                  0.0035269019%
              MA230        Oxford Town, Massachusetts                0.2336229019%
              MA231        Palmer Town City, Massachusetts           0.1621757259%
              MA232        Paxton Town, Massachusetts                0.0115100470%
              MA233        Peabody City, Massachusetts               0.7162928627%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID               Qualifying Subdivision         Allocation
              MA234        Pelham Town, Massachusetts               0.0235476246%
              MA235        Pembroke Town, Massachusetts             0.3388218249%
              MA236        Pepperell Town, Massachusetts            0.0102363113%
              MA237        Peru Town, Massachusetts                 0.0011523603%
              MA238        Petersham Town, Massachusetts            0.0159775433%
              MA239        Phillipston Town, Massachusetts          0.0039835646%
              MA240        Pittsfield City, Massachusetts           1.1541979937%
              MA241        Plainfield Town, Massachusetts           0.0004986914%
              MA242        Plainville Town, Massachusetts           0.0738004154%
              MA243        Plymouth County, Massachusetts           0.0008974666%
              MA244        Plymouth Town, Massachusetts             1.0727134492%
              MA245        Plympton Town, Massachusetts             0.0311939123%
              MA246        Princeton Town, Massachusetts            0.0094015998%
              MA247        Provincetown, Massachusetts              0.0895015011%
              MA248        Quincy City, Massachusetts               1.0277365393%
              MA249        Randolph Town, Massachusetts             0.3517891103%
              MA250        Raynham Town, Massachusetts              0.0739771661%
              MA251        Reading Town, Massachusetts              0.2463903024%
              MA252        Rehoboth Town, Massachusetts             0.0342848256%
              MA253        Revere City, Massachusetts               0.5754964378%
              MA254        Richmond Town, Massachusetts             0.0346755405%
              MA255        Rochester Town, Massachusetts            0.0656757963%
              MA256        Rockland Town, Massachusetts             0.3048431858%
              MA257        Rockport Town, Massachusetts             0.1188536886%
              MA258        Rowe Town, Massachusetts                 0.0242459391%
              MA259        Rowley Town, Massachusetts               0.0134543050%
              MA260        Royalston Town, Massachusetts            0.0020739031%
              MA261        Russell Town, Massachusetts              0.0012348998%
              MA262        Rutland Town, Massachusetts              0.0122272562%
              MA263        Salem City, Massachusetts                0.6254547137%
              MA264        Salisbury Town, Massachusetts            0.0319290215%
              MA265        Sandisfield Town, Massachusetts          0.0020719142%
              MA266        Sandwich Town, Massachusetts             0.4944903815%
              MA267        Saugus Town, Massachusetts               0.3330802265%
              MA268        Savoy Town, Massachusetts                0.0103246605%
              MA269        Scituate Town, Massachusetts             0.3938536371%
              MA270        Seekonk Town, Massachusetts              0.3325159013%
              MA271        Sharon Town, Massachusetts               0.3157804286%
              MA272        Sheffield Town, Massachusetts            0.0066580643%
              MA273        Shelburne Town, Massachusetts            0.0145706034%
              MA274        Sherborn Town, Massachusetts             0.0361347676%
              MA275        Shirley Town, Massachusetts              0.0049654026%
              MA276        Shrewsbury Town, Massachusetts           0.6471205738%
              MA277        Shutesbury Town, Massachusetts           0.0358178516%
              MA278        Somerset Town, Massachusetts             0.2943717652%
              MA279        Somerville City, Massachusetts           0.5538327759%
              MA280        South Hadley Town, Massachusetts         0.3289508962%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
              MA281        Southampton Town, Massachusetts           0.0773861993%
              MA282        Southborough Town, Massachusetts          0.2173688486%
              MA283        Southbridge Town City, Massachusetts      0.2906114812%
              MA284        Southwick Town, Massachusetts             0.0165255910%
              MA285        Spencer Town, Massachusetts               0.0203153945%
              MA286        Springfield City, Massachusetts           3.4410224370%
              MA287        Sterling Town, Massachusetts              0.0196759620%
              MA288        Stockbridge Town, Massachusetts           0.0092305018%
              MA289        Stoneham Town, Massachusetts              0.1669780908%
              MA290        Stoughton Town, Massachusetts             0.3118943726%
              MA291        Stow Town, Massachusetts                  0.0087733680%
              MA292        Sturbridge Town, Massachusetts            0.1235688557%
              MA293        Sudbury Town, Massachusetts               0.1950193814%
              MA294        Sunderland Town, Massachusetts            0.0394445127%
              MA295        Sutton Town, Massachusetts                0.1720631416%
              MA296        Swampscott Town, Massachusetts            0.2802270489%
              MA297        Swansea Town, Massachusetts               0.3127370397%
              MA298        Taunton City, Massachusetts               1.3156698571%
              MA299        Templeton Town, Massachusetts             0.0167725290%
              MA300        Tewksbury Town, Massachusetts             0.2526508477%
              MA301        Tisbury Town, Massachusetts               0.0665566713%
              MA302        Tolland Town, Massachusetts               0.0005593530%
              MA303        Topsfield Town, Massachusetts             0.0713350646%
              MA304        Townsend Town, Massachusetts              0.0093843801%
              MA305        Truro Town, Massachusetts                 0.0604250384%
              MA306        Tyngsborough Town, Massachusetts          0.1162396935%
              MA307        Tyringham Town, Massachusetts             0.0012803829%
              MA308        Upton Town, Massachusetts                 0.0211017442%
              MA309        Uxbridge Town, Massachusetts              0.2255606716%
              MA310        Wakefield Town, Massachusetts             0.2116065761%
              MA311        Wales Town, Massachusetts                 0.0147604390%
              MA312        Walpole Town, Massachusetts               0.3194149930%
              MA313        Waltham City, Massachusetts               0.5322671985%
              MA314        Ware Town, Massachusetts                  0.2035588439%
              MA315        Wareham Town, Massachusetts               0.3595394490%
              MA316        Warren Town, Massachusetts                0.0179304373%
              MA317        Warwick Town, Massachusetts               0.0065997057%
              MA318        Washington Town, Massachusetts            0.0004074112%
              MA319        Watertown Town City, Massachusetts        0.2540965713%
              MA320        Wayland Town, Massachusetts               0.2147389946%
              MA321        Webster Town, Massachusetts               0.2405963644%
              MA322        Wellesley Town, Massachusetts             0.4811483972%
              MA323        Wellfleet Town, Massachusetts             0.0667808417%
              MA324        Wendell Town, Massachusetts               0.0010508215%
              MA325        Wenham Town, Massachusetts                0.0112119209%
              MA326        West Boylston Town, Massachusetts         0.1222726663%
              MA327        West Bridgewater Town, Massachusetts      0.1467598909%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
              MA328        West Brookfield Town, Massachusetts       0.0059191866%
              MA329        West Newbury Town, Massachusetts          0.0086981560%
              MA330        West Springfield Town City,               0.4627594653%
                           Massachusetts
              MA331        West Stockbridge Town, Massachusetts      0.0028401544%
              MA332        West Tisbury Town, Massachusetts          0.0099183484%
              MA333        Westborough Town, Massachusetts           0.5070384269%
              MA334        Westfield City, Massachusetts             0.6538385669%
              MA335        Westford Town, Massachusetts              0.2939962811%
              MA336        Westhampton Town, Massachusetts           0.0199373981%
              MA337        Westminster Town, Massachusetts           0.0226744436%
              MA338        Weston Town, Massachusetts                0.2254658323%
              MA339        Westport Town, Massachusetts              0.2811335179%
              MA340        Westwood Town, Massachusetts              0.2903783084%
              MA341        Weymouth Town City, Massachusetts         0.5656639786%
              MA342        Whately Town, Massachusetts               0.0314223222%
              MA343        Whitman Town, Massachusetts               0.0448742719%
              MA344        Wilbraham Town, Massachusetts             0.0313150261%
              MA345        Williamsburg Town, Massachusetts          0.0343998679%
              MA346        Williamstown, Massachusetts               0.0783021941%
              MA347        Wilmington Town, Massachusetts            0.2467559990%
              MA348        Winchendon Town, Massachusetts            0.1830720373%
              MA349        Winchester Town, Massachusetts            0.2570095300%
              MA350        Windsor Town, Massachusetts               0.0005238144%
              MA351        Winthrop Town City, Massachusetts         0.1505890537%
              MA352        Woburn City, Massachusetts                0.3503541163%
              MA353        Worcester City, Massachusetts             3.7929503518%
              MA354        Worthington Town, Massachusetts           0.0015069609%
              MA355        Wrentham Town, Massachusetts              0.0961794021%
              MA356        Yarmouth Town, Massachusetts              0.1308391883%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
                MI1        Ada Township, Michigan                     0.0073233482%
                MI2        Adrian City, Michigan                      0.0568370128%
                MI3        Alcona County, Michigan                    0.0834491179%
                MI4        Alger County, Michigan                     0.0785291215%
                MI5        Algoma Township, Michigan                  0.0029345640%
                MI6        Allegan County, Michigan                   0.7725881935%
                MI7        Allen Park City, Michigan                  0.1074735355%
                MI8        Allendale Charter Township, Michigan       0.0077776425%
                MI9        Alpena County, Michigan                    0.3171935781%
               MI10        Alpine Charter Township, Michigan          0.0025427083%
               MI11        Ann Arbor City, Michigan                   0.4632250874%
               MI12        Antrim County, Michigan                    0.2381005845%
               MI13        Antwerp Township, Michigan                 0.0013132895%
               MI14        Arenac County, Michigan                    0.1612057938%
               MI15        Auburn Hills City, Michigan                0.1176899978%
               MI16        Bangor Charter Township, Michigan          0.0109251027%
               MI17        Baraga County, Michigan                    0.0741112558%
               MI18        Barry County, Michigan                     0.4329702358%
               MI19        Bath Charter Township, Michigan            0.0537968516%
               MI20        Battle Creek City, Michigan                0.3423704436%
               MI21        Bay City, Michigan                         0.1147802745%
               MI22        Bay County, Michigan                       1.1009022938%
               MI23        Bedford Township, Michigan                 0.0412592343%
               MI24        Benton Charter Township, Michigan          0.0907240950%
               MI25        Benzie County, Michigan                    0.1392597323%
               MI26        Berkley City, Michigan                     0.0358941044%
               MI27        Berrien County, Michigan                   1.2815190059%
               MI28        Beverly Hills Village, Michigan            0.0460038135%
               MI29        Big Rapids City, Michigan                  0.0245076907%
               MI30        Birmingham City, Michigan                  0.1031004819%
               MI31        Bloomfield Charter Township, Michigan      0.2395537286%
               MI32        Branch County, Michigan                    0.3413411577%
               MI33        Brandon Charter Township, Michigan         0.0298468290%
               MI34        Brighton Township, Michigan                0.0010123659%
               MI35        Brownstown Charter Township,               0.1035238283%
                           Michigan
               MI36        Burton City, Michigan                      0.0331836857%
               MI37        Byron Township, Michigan                   0.0143593354%
               MI38        Cadillac City, Michigan                    0.0992155073%
               MI39        Caledonia Charter Township, Kent           0.0046151897%
                           County, Michigan
               MI40        Calhoun County, Michigan                   1.6522746969%
               MI41        Cannon Township, Michigan                  0.0055382276%
               MI42        Canton Charter Township, Michigan          0.2353019350%
               MI43        Cascade Charter Township, Michigan         0.0202807109%
               MI44        Cass County, Michigan                      0.3685228029%
               MI45        Charlevoix County, Michigan                0.1913266108%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                     Consolidated State
              State ID              Qualifying Subdivision              Allocation
               MI46        Cheboygan County, Michigan                   0.2827891794%
               MI47        Chesterfield Charter Township,               0.2112831498%
                           Michigan
               MI48        Chippewa County, Michigan                    0.2393040796%
               MI49        Clare County, Michigan                       0.4685534972%
               MI50        Clawson City, Michigan                       0.0233450803%
               MI51        Clinton Charter Township, Michigan           0.5825283878%
               MI52        Clinton County, Michigan                     0.4823811618%
               MI53        Coldwater City, Michigan                     0.0129335184%
               MI54        Commerce Charter Township, Michigan          0.0332785651%
               MI55        Comstock Charter Township, Michigan          0.0141443213%
               MI56        Cooper Charter Township, Michigan            0.0016050286%
               MI57        Crawford County, Michigan                    0.2577011831%
               MI58        Davison Township, Michigan                   0.0148016255%
               MI59        Dearborn City, Michigan                      0.5014825529%
               MI60        Dearborn Heights City, Michigan              0.1763248603%
               MI61        Delhi Charter Township, Michigan             0.0329269168%
               MI62        Delta Charter Township, Michigan             0.0678675252%
               MI63        Delta County, Michigan                       0.2325433177%
               MI64        Detroit City, Michigan                       6.3675475252%
               MI65        Dewitt Charter Township, Michigan            0.0615354244%
               MI66        Dickinson County, Michigan                   0.2475829616%
               MI67        East Bay Township, Michigan                  0.0024511576%
               MI68        East Grand Rapids City, Michigan             0.0347010017%
               MI69        East Lansing City, Michigan                  0.1722118876%
               MI70        Eastpointe City, Michigan                    0.2806901834%
               MI71        Eaton County, Michigan                       0.8964627151%
               MI72        Egelston Township, Michigan                  0.0099077587%
               MI73        Emmet County, Michigan                       0.3034511111%
               MI74        Emmett Charter Township, Michigan            0.0136208021%
               MI75        Escanaba City, Michigan                      0.0161625757%
               MI76        Farmington City, Michigan                    0.0368587005%
               MI77        Farmington Hills City, Michigan              0.2763289545%
               MI78        Fenton Charter Township, Michigan            0.0031005125%
               MI79        Fenton City, Michigan                        0.0802629568%
               MI80        Ferndale City, Michigan                      0.1491321203%
               MI81        Flat Rock City, Michigan                     0.0287479606%
               MI82        Flint Charter Township, Michigan             0.0428009530%
               MI83        Flint City, Michigan                         2.6382255013%
               MI84        Flushing Charter Township, Michigan          0.0062641566%
               MI85        Fort Gratiot Charter Township, Michigan      0.0158007179%
               MI86        Fraser City, Michigan                        0.1340329179%
               MI87        Frenchtown Charter Township, Michigan        0.0818078358%
               MI88        Fruitport Charter Township, Michigan         0.0216336824%
               MI89        Gaines Township, Kent County,                0.0150472599%
                           Michigan
               MI90        Garden City, Michigan                        0.0602849815%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MI91        Garfield Charter Township, Michigan      0.0006805464%
               MI92        Genesee Charter Township, Michigan       0.0216656939%
               MI93        Genesee County, Michigan                 1.8587109989%
               MI94        Genoa Township, Michigan                 0.0001265457%
               MI95        Georgetown Charter Township,             0.0120538094%
                           Michigan
               MI96        Gladwin County, Michigan                 0.3598571100%
               MI97        Gogebic County, Michigan                 0.1249651212%
               MI98        Grand Blanc Charter Township,            0.0351159584%
                           Michigan
               MI99        Grand Haven Charter Township,            0.0188708587%
                           Michigan
               MI100       Grand Haven City, Michigan               0.0581929367%
               MI101       Grand Rapids Charter Township,           0.0062871075%
                           Michigan
               MI102       Grand Rapids City, Michigan              1.2000276882%
               MI103       Grand Traverse County, Michigan          0.8244466054%
               MI104       Grandville City, Michigan                0.0465263367%
               MI105       Gratiot County, Michigan                 0.3147475181%
               MI106       Green Oak Township, Michigan             0.0538361746%
               MI107       Grosse Ile Township, Michigan            0.0358505107%
               MI108       Grosse Pointe Park City, Michigan        0.0473791255%
               MI109       Grosse Pointe Woods City, Michigan       0.0337630289%
               MI110       Hamburg Township, Michigan               0.0567828826%
               MI111       Hamtramck City, Michigan                 0.1811320680%
               MI112       Harper Woods City, Michigan              0.0505579556%
               MI113       Harrison Charter Township, Michigan      0.1108972638%
               MI114       Hartland Township, Michigan              0.0004881050%
               MI115       Hazel Park City, Michigan                0.0736339264%
               MI116       Highland Charter Township, Michigan      0.0294387306%
               MI117       Highland Park City, Michigan             0.0391505779%
               MI118       Hillsdale County, Michigan               0.3731855670%
               MI119       Holland Charter Township, Michigan       0.0291739126%
               MI120       Holland City, Michigan                   0.1655890102%
               MI121       Holly Township, Michigan                 0.0040995334%
               MI122       Houghton County, Michigan                0.2225642997%
               MI123       Huron Charter Township, Michigan         0.0361363324%
               MI124       Huron County, Michigan                   0.2929757372%
               MI125       Independence Charter Township,           0.0825378903%
                           Michigan
               MI126       Ingham County, Michigan                  2.1348935205%
               MI127       Inkster City, Michigan                   0.1669443281%
               MI128       Ionia City, Michigan                     0.0449276471%
               MI129       Ionia County, Michigan                   0.4905636172%
               MI130       Iosco County, Michigan                   0.3212475898%
               MI131       Iron County, Michigan                    0.1102481228%
               MI132       Iron Mountain City, Michigan             0.0091866455%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               MI133       Isabella County, Michigan                 0.5720204678%
               MI134       Jackson City, Michigan                    0.1764251010%
               MI135       Jackson County, Michigan                  1.0855421077%
               MI136       Kalamazoo Charter Township, Michigan      0.0520230321%
               MI137       Kalamazoo City, Michigan                  0.3787268993%
               MI138       Kalamazoo County, Michigan                1.9845600355%
               MI139       Kalkaska County, Michigan                 0.1646399668%
               MI140       Kent County, Michigan                     2.7808259408%
               MI141       Kentwood City, Michigan                   0.1423307082%
               MI142       Keweenaw County, Michigan                 0.0067676775%
               MI143       Lake County, Michigan                     0.0728348971%
               MI144       Lansing City, Michigan                    0.5307983425%
               MI145       Lapeer County, Michigan                   0.7916953951%
               MI146       Leelanau County, Michigan                 0.1237383482%
               MI147       Lenawee County, Michigan                  0.7878386566%
               MI148       Lenox Township, Michigan                  0.0111917816%
               MI149       Leoni Township, Michigan                  0.0090926074%
               MI150       Lincoln Charter Township, Michigan        0.0178479538%
               MI151       Lincoln Park City, Michigan               0.1588803292%
               MI152       Livingston County, Michigan               1.3371907873%
               MI153       Livonia City, Michigan                    0.3999768720%
               MI154       Luce County, Michigan                     0.0638515493%
               MI155       Lyon Charter Township, Michigan           0.0060287256%
               MI156       Mackinac County, Michigan                 0.0909538431%
               MI157       Macomb County, Michigan                   7.7242005849%
               MI158       Macomb Township, Michigan                 0.1081932941%
               MI159       Madison Heights City, Michigan            0.1443184148%
               MI160       Manistee County, Michigan                 0.3120953798%
               MI161       Marion Township, Livingston County,       0.0001988576%
                           Michigan
               MI162       Marquette City, Michigan                  0.0313476613%
               MI163       Marquette County, Michigan                0.5388637672%
               MI164       Mason County, Michigan                    0.2487294921%
               MI165       Mecosta County, Michigan                  0.3321355122%
               MI166       Melvindale City, Michigan                 0.0519698104%
               MI167       Menominee County, Michigan                0.1580179806%
               MI168       Meridian Charter Township, Michigan       0.0708027402%
               MI169       Midland City, Michigan                    0.3023071472%
               MI170       Midland County, Michigan                  0.5384703258%
               MI171       Milford Charter Township, Michigan        0.0064275489%
               MI172       Missaukee County, Michigan                0.1002815458%
               MI173       Monitor Charter Township, Michigan        0.0044174736%
               MI174       Monroe Charter Township, Michigan         0.0119729252%
               MI175       Monroe City, Michigan                     0.2101937979%
               MI176       Monroe County, Michigan                   1.5316423152%
               MI177       Montcalm County, Michigan                 0.6212351900%
               MI178       Montmorency County, Michigan              0.0880221572%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID               Qualifying Subdivision           Allocation
               MI179       Mount Clemens City, Michigan               0.0503004024%
               MI180       Mount Morris Charter Township,             0.0046413043%
                           Michigan
               MI181       Mount Pleasant City, Michigan              0.0357778255%
               MI182       Mundy Charter Township, Michigan           0.0150794621%
               MI183       Muskegon Charter Township, Michigan        0.0360868180%
               MI184       Muskegon City, Michigan                    0.1748185396%
               MI185       Muskegon County, Michigan                  1.7053905386%
               MI186       Muskegon Heights City, Michigan            0.0500451306%
               MI187       New Baltimore City, Michigan               0.0480441296%
               MI188       Newaygo County, Michigan                   0.4671261358%
               MI189       Niles City, Michigan                       0.0583312847%
               MI190       Niles Township, Michigan                   0.0215348319%
               MI191       Northville Charter Township, Michigan      0.0836973671%
               MI192       Norton Shores City, Michigan               0.0701828658%
               MI193       Novi City, Michigan                        0.1465815056%
               MI194       Oak Park City, Michigan                    0.1037775542%
               MI195       Oakland Charter Township, Michigan         0.0274353387%
               MI196       Oakland County, Michigan                   5.2264042066%
               MI197       Oceana County, Michigan                    0.2176466203%
               MI198       Oceola Township, Michigan                  0.0003615593%
               MI199       Ogemaw County, Michigan                    0.5563618764%
               MI200       Ontonagon County, Michigan                 0.0504349004%
               MI201       Orion Charter Township, Michigan           0.0484616785%
               MI202       Osceola County, Michigan                   0.1924215950%
               MI203       Oscoda County, Michigan                    0.0981702870%
               MI204       Oshtemo Charter Township, Michigan         0.0124389806%
               MI205       Otsego County, Michigan                    0.2838576775%
               MI206       Ottawa County, Michigan                    1.4829589190%
               MI207       Owosso City, Michigan                      0.0600391920%
               MI208       Oxford Charter Township, Michigan          0.0220651355%
               MI209       Park Township, Ottawa County,              0.0069409957%
                           Michigan
               MI210       Pittsfield Charter Township, Michigan      0.0254303905%
               MI211       Plainfield Charter Township, Michigan      0.0147250675%
               MI212       Plymouth Charter Township, Michigan        0.0619046968%
               MI213       Pontiac City, Michigan                     0.3007870303%
               MI214       Port Huron Charter Township, Michigan      0.0144337077%
               MI215       Port Huron City, Michigan                  0.2605826060%
               MI216       Portage City, Michigan                     0.0982178051%
               MI217       Presque Isle County, Michigan              0.1455220353%
               MI218       Redford Charter Township, Michigan         0.2119761371%
               MI219       Riverview City, Michigan                   0.0482626131%
               MI220       Rochester City, Michigan                   0.0399194381%
               MI221       Rochester Hills City, Michigan             0.0675866509%
               MI222       Romulus City, Michigan                     0.0931298734%
               MI223       Roscommon County, Michigan                 0.3840925607%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               MI224       Roseville City, Michigan                    0.4273474490%
               MI225       Royal Oak City, Michigan                    0.2596061973%
               MI226       Saginaw Charter Township, Michigan          0.0692043420%
               MI227       Saginaw City, Michigan                      0.4307711416%
               MI228       Saginaw County, Michigan                    1.6118539630%
               MI229       Sanilac County, Michigan                    0.3468379663%
               MI230       Sault Ste. Marie City, Michigan             0.0984697973%
               MI231       Schoolcraft County, Michigan                0.0789566063%
               MI232       Scio Charter Township, Michigan             0.0051527746%
               MI233       Shelby Charter Township, Michigan           0.5065495239%
               MI234       Shiawassee County, Michigan                 0.7255393777%
               MI235       South Lyon City, Michigan                   0.0258956950%
               MI236       Southfield City, Michigan                   0.3934160797%
               MI237       Southfield Township, Michigan               0.0001112995%
               MI238       Southgate City, Michigan                    0.0888423705%
               MI239       Spring Lake Township, Michigan              0.0103960225%
               MI240       Springfield Charter Township, Michigan      0.0044705319%
               MI241       St Clair County, Michigan                   1.9960063402%
               MI242       St Joseph County, Michigan                  0.4265691571%
               MI243       St. Clair Shores City, Michigan             0.3399081996%
               MI244       Sterling Heights City, Michigan             0.9407553377%
               MI245       Sturgis City, Michigan                      0.0599318930%
               MI246       Summit Township, Jackson County,            0.0147223455%
                           Michigan
               MI247       Superior Charter Township, Michigan         0.0121236785%
               MI248       Taylor City, Michigan                       0.3764778630%
               MI249       Texas Charter Township, Michigan            0.0052063171%
               MI250       Thomas Township, Michigan                   0.0127113988%
               MI251       Traverse City, Michigan                     0.0620311385%
               MI252       Trenton City, Michigan                      0.0481846521%
               MI253       Troy City, Michigan                         0.2360199679%
               MI254       Tuscola County, Michigan                    0.4432240961%
               MI255       Tyrone Township, Livingston County,         0.0096355544%
                           Michigan
               MI256       Union Charter Township, Michigan            0.0000512255%
               MI257       Van Buren Charter Township, Michigan        0.0686867403%
               MI258       Van Buren County, Michigan                  0.7628971716%
               MI259       Vienna Charter Township, Genesee            0.0086448035%
                           County, Michigan
               MI260       Walker City, Michigan                       0.0577159947%
               MI261       Warren City, Michigan                       1.1744758071%
               MI262       Washington Township, Macomb County,         0.0808853142%
                           Michigan
               MI263       Washtenaw County, Michigan                  2.3763653602%
               MI264       Waterford Charter Township, Michigan        0.2186201385%
               MI265       Wayne City, Michigan                        0.0837926529%
               MI266       Wayne County, Michigan                     10.1863863702%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
               MI267       West Bloomfield Charter Township,          0.2622681115%
                           Michigan
               MI268       Westland City, Michigan                    0.3261711153%
               MI269       Wexford County, Michigan                   0.2986947723%
               MI270       White Lake Charter Township, Michigan      0.0585435626%
               MI271       Wixom City, Michigan                       0.0369421752%
               MI272       Woodhaven City, Michigan                   0.0571927749%
               MI273       Wyandotte City, Michigan                   0.0976772465%
               MI274       Wyoming City, Michigan                     0.2554463949%
               MI275       Ypsilanti Charter Township, Michigan       0.0578793100%
               MI276       Ypsilanti City, Michigan                   0.0898598214%
               MI277       Zeeland Charter Township, Michigan         0.0061508332%
               MI278       Blackman Charter Township, Michigan        0.0000000000%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MN1         Aitkin County, Minnesota                 0.5760578506%
               MN4         Andover City, Minnesota                  0.1364919451%
               MN6         Anoka County, Minnesota                  5.0386504681%
               MN7         Apple Valley City, Minnesota             0.2990817345%
               MN10        Becker County, Minnesota                 0.6619330684%
               MN11        Beltrami County, Minnesota               0.7640787093%
               MN13        Benton County, Minnesota                 0.6440948102%
               MN15        Big Stone County, Minnesota              0.1194868775%
               MN16        Blaine City, Minnesota                   0.4249516913%
               MN17        Bloomington City, Minnesota              0.4900195550%
               MN18        Blue Earth County, Minnesota             0.6635420705%
               MN20        Brooklyn Center City, Minnesota          0.1413853902%
               MN21        Brooklyn Park City, Minnesota            0.2804136235%
               MN22        Brown County, Minnesota                  0.3325325416%
               MN24        Burnsville City, Minnesota               0.5135361297%
               MN25        Carlton County, Minnesota                0.9839591749%
               MN26        Carver County, Minnesota                 1.1452829660%
               MN27        Cass County, Minnesota                   0.8895681513%
               MN31        Chippewa County, Minnesota               0.2092611794%
               MN32        Chisago County, Minnesota                0.9950193750%
               MN33        Clay County, Minnesota                   0.9428475282%
               MN34        Clearwater County, Minnesota             0.1858592043%
               MN37        Cook County, Minnesota                   0.1074594960%
               MN38        Coon Rapids City, Minnesota              0.5772642445%
               MN39        Cottage Grove City, Minnesota            0.2810994719%
               MN40        Cottonwood County, Minnesota             0.1739065270%
               MN41        Crow Wing County, Minnesota              1.1394859175%
               MN43        Dakota County, Minnesota                 4.4207140603%
               MN44        Dodge County, Minnesota                  0.2213963258%
               MN45        Douglas County, Minnesota                0.6021779472%
               MN46        Duluth City, Minnesota                   1.1502115380%
               MN47        Eagan City, Minnesota                    0.3657951576%
               MN49        Eden Prairie City, Minnesota             0.2552171573%
               MN50        Edina City, Minnesota                    0.1973054822%
               MN54        Faribault County, Minnesota              0.2169409335%
               MN57        Fillmore County, Minnesota               0.2329591105%
               MN59        Freeborn County, Minnesota               0.3507169824%
               MN62        Goodhue County, Minnesota                0.5616542387%
               MN64        Grant County, Minnesota                  0.0764556498%
               MN67        Hennepin County, Minnesota              19.0624622262%
               MN70        Houston County, Minnesota                0.3099019273%
               MN71        Hubbard County, Minnesota                0.4582368775%
               MN74        Inver Grove Heights City, Minnesota      0.2193400520%
               MN75        Isanti County, Minnesota                 0.7712992708%
               MN76        Itasca County, Minnesota                 1.1406408131%
               MN77        Jackson County, Minnesota                0.1408950444%
               MN78        Kanabec County, Minnesota                0.3078966750%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MN79        Kandiyohi County, Minnesota              0.1581167542%
               MN80        Kittson County, Minnesota                0.0812834506%
               MN81        Koochiching County, Minnesota            0.2612581866%
               MN82        Lac Qui Parle County, Minnesota          0.0985665133%
               MN83        Lake County, Minnesota                   0.1827750321%
               MN84        Lake of the Woods County, Minnesota      0.1123105028%
               MN85        Lakeville City, Minnesota                0.2822249627%
               MN86        Le Sueur County, Minnesota               0.3225703347%
               MN87        Lincoln County, Minnesota                0.1091919984%
               MN90        Lyon County, Minnesota                   0.2935118186%
               MN91        Mahnomen County, Minnesota               0.1416417688%
               MN92        Mankato City, Minnesota                  0.3698584321%
               MN93        Maple Grove City, Minnesota              0.1814019047%
               MN94        Maplewood City, Minnesota                0.1875101678%
               MN96        Marshall County, Minnesota               0.1296352091%
               MN97        Martin County, Minnesota                 0.2543064014%
               MN98        McLeod County, Minnesota                 0.1247104518%
               MN99        Meeker County, Minnesota                 0.3744031515%
              MN101        Mille Lacs County, Minnesota             0.9301506696%
              MN102        Minneapolis City, Minnesota              4.8777618689%
              MN103        Minnetonka City, Minnesota               0.1967231071%
              MN105        Moorhead City, Minnesota                 0.4337377038%
              MN106        Morrison County, Minnesota               0.7178981419%
              MN108        Mower County, Minnesota                  0.5801769149%
              MN109        Murray County, Minnesota                 0.1348775389%
              MN113        Nicollet County, Minnesota               0.1572381053%
              MN114        Nobles County, Minnesota                 0.1562005112%
              MN115        Norman County, Minnesota                 0.1087596675%
              MN118        North St. Paul City, Minnesota           0.0575844069%
              MN121        Olmsted County, Minnesota                1.9236715095%
              MN123        Otter Tail County, Minnesota             0.8336175419%
              MN125        Pennington County, Minnesota             0.3082576395%
              MN126        Pine County, Minnesota                   0.5671222707%
              MN127        Pipestone County, Minnesota              0.1535154503%
              MN128        Plymouth City, Minnesota                 0.1762541473%
              MN129        Polk County, Minnesota                   0.8654291474%
              MN130        Pope County, Minnesota                   0.1870129873%
              MN132        Proctor City, Minnesota                  0.0214374128%
              MN134        Ramsey County, Minnesota                 7.1081424150%
              MN135        Red Lake County, Minnesota               0.0532649128%
              MN137        Redwood County, Minnesota                0.2809842367%
              MN138        Renville County, Minnesota               0.2706888807%
              MN139        Rice County, Minnesota                   0.2674764398%
              MN140        Richfield City, Minnesota                0.2534018444%
              MN142        Rochester City, Minnesota                0.7363082849%
              MN143        Rock County, Minnesota                   0.2043437336%
              MN145        Roseau County, Minnesota                 0.2517872793%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              MN147        Roseville City, Minnesota                0.1721905549%
              MN150        Savage City, Minnesota                   0.1883576635%
              MN151        Scott County, Minnesota                  1.3274301646%
              MN152        Shakopee City, Minnesota                 0.2879873611%
              MN153        Sherburne County, Minnesota              1.2543449472%
              MN155        Sibley County, Minnesota                 0.2393480708%
              MN157        St Louis County, Minnesota               4.7407767170%
              MN158        St. Cloud City, Minnesota                0.7330089009%
              MN159        St. Louis Park City, Minnesota           0.1476314588%
              MN161        St. Paul City, Minnesota                 3.7475206798%
              MN163        Stearns County, Minnesota                2.4158085321%
              MN164        Steele County, Minnesota                 0.3969975263%
              MN165        Stevens County, Minnesota                0.1439474275%
              MN167        Swift County, Minnesota                  0.1344167568%
              MN168        Todd County, Minnesota                   0.4180909817%
              MN169        Traverse County, Minnesota               0.0903964134%
              MN172        Wabasha County, Minnesota                0.3103038997%
              MN174        Wadena County, Minnesota                 0.2644094337%
              MN175        Waseca County, Minnesota                 0.2857912156%
              MN176        Washington County, Minnesota             3.0852862513%
              MN177        Watonwan County, Minnesota               0.1475626356%
              MN181        Wilkin County, Minnesota                 0.0937962507%
              MN184        Winona County, Minnesota                 0.7755267356%
              MN185        Woodbury City, Minnesota                 0.4677270172%
              MN187        Wright County, Minnesota                 1.6985269385%
              MN188        Yellow Medicine County, Minnesota        0.1742264836%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                MS1        Adams County, Mississippi                0.8956930256%
                MS2        Alcorn County, Mississippi               0.0576362452%
                MS3        Amite County, Mississippi                0.2746164929%
                MS4        Amory City, Mississippi                  0.2116793450%
                MS5        Arcola Town, Mississippi                 0.0010556367%
                MS6        Attala County, Mississippi               0.4297756502%
                MS7        Bay St. Louis City, Mississippi          0.0311287683%
                MS8        Benton County, Mississippi               0.1960984974%
                MS9        Biloxi City, Mississippi                 0.6645430129%
               MS10        Bolivar County, Mississippi              0.5038616841%
               MS11        Brandon City, Mississippi                0.5570720591%
               MS12        Brookhaven City, Mississippi             0.4683584117%
               MS13        Byram City, Mississippi                  0.0546025247%
               MS14        Caledonia Town, Mississippi              0.0029950314%
               MS15        Calhoun County, Mississippi              0.4153642017%
               MS16        Canton City, Mississippi                 0.3608383968%
               MS17        Carroll County, Mississippi              0.2031873312%
               MS18        Charleston City, Mississippi             0.0470339459%
               MS19        Chickasaw County, Mississippi            0.5109289507%
               MS21        Claiborne County, Mississippi            0.1646839236%
               MS22        Clarke County, Mississippi               0.5114179153%
               MS23        Clarksdale City, Mississippi             0.2773833408%
               MS24        Clay County, Mississippi                 0.1860006383%
               MS25        Cleveland City, Mississippi              0.1374693414%
               MS26        Clinton City, Mississippi                0.3236377422%
               MS27        Coahoma County, Mississippi              0.4236538797%
               MS28        Columbia City, Mississippi               0.1695070569%
               MS29        Columbus City, Mississippi               0.7040334045%
               MS30        Copiah County, Mississippi               0.7218083365%
               MS31        Corinth City, Mississippi                1.5766265587%
               MS32        Covington County, Mississippi            0.6154970684%
               MS33        Desoto County, Mississippi               2.2451071357%
               MS34        Diamondhead City, Mississippi            0.0001700675%
               MS35        D'Iberville City, Mississippi            0.0448052883%
               MS36        Forrest County, Mississippi              3.0519047573%
               MS37        Franklin County, Mississippi             0.2573415560%
               MS38        Gautier City, Mississippi                0.1317718341%
               MS39        George County, Mississippi               1.0370803395%
               MS40        Greene County, Mississippi               0.2945486312%
               MS41        Greenville City, Mississippi             0.0840582768%
               MS42        Greenwood City, Mississippi              0.5924200813%
               MS43        Grenada City, Mississippi                0.0559331010%
               MS44        Grenada County, Mississippi              0.5257141196%
               MS45        Gulfport City, Mississippi               8.3397025495%
               MS46        Hancock County, Mississippi              2.4053819819%
               MS47        Harrison County, Mississippi             1.2833704733%
               MS48        Hattiesburg City, Mississippi            0.3234604308%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MS49        Hernando City, Mississippi               0.4422243258%
               MS50        Hinds County, Mississippi                2.0886225058%
               MS51        Holly Springs City, Mississippi          0.1628357363%
               MS52        Holmes County, Mississippi               0.3324473362%
               MS53        Horn Lake City, Mississippi              0.6520350689%
               MS54        Humphreys County, Mississippi            0.1373820850%
               MS55        Indianola City, Mississippi              0.0232047435%
               MS56        Issaquena County, Mississippi            0.0175702913%
               MS57        Itawamba County, Mississippi             1.0517575083%
               MS58        Iuka City, Mississippi                   0.2854580062%
               MS59        Jackson City, Mississippi                2.6937777267%
               MS60        Jackson County, Mississippi              7.6559251195%
               MS61        Jasper County, Mississippi               0.3922495132%
               MS62        Jefferson County, Mississippi            0.0985248779%
               MS63        Jefferson Davis County, Mississippi      0.3514408929%
               MS64        Jones County, Mississippi                2.2234728410%
               MS65        Jonestown, Mississippi                   0.0093341195%
               MS66        Kemper County, Mississippi               0.2223493091%
               MS67        Kosciusko City, Mississippi              0.0408594923%
               MS68        Lafayette County, Mississippi            0.7049370835%
               MS69        Lamar County, Mississippi                1.3105353358%
               MS70        Lauderdale County, Mississippi           1.4707252306%
               MS71        Laurel City, Mississippi                 0.1485722943%
               MS72        Lawrence County, Mississippi             0.3428558606%
               MS73        Leake County, Mississippi                0.5798006796%
               MS74        Leakesville Town, Mississippi            0.0098357610%
               MS75        Lee County, Mississippi                  1.4759031513%
               MS76        Leflore County, Mississippi              0.1018315625%
               MS77        Lincoln County, Mississippi              0.5740717271%
               MS78        Long Beach City, Mississippi             0.1390600402%
               MS79        Lowndes County, Mississippi              0.9390202250%
               MS80        Lumberton City, Mississippi              0.0397836057%
               MS81        Madison City, Mississippi                0.5726048335%
               MS82        Madison County, Mississippi              1.0788558585%
               MS83        Marion County, Mississippi               1.6274197695%
               MS84        Marshall County, Mississippi             0.6280998419%
               MS85        McComb City, Mississippi                 1.1131798538%
               MS86        McLain Town, Mississippi                 0.0044584678%
               MS87        Meridian City, Mississippi               1.1164172272%
               MS88        Monroe County, Mississippi               0.8130759595%
               MS90        Morton City, Mississippi                 0.0606772097%
               MS91        Moss Point City, Mississippi             0.0032841297%
               MS92        Mound Bayou City, Mississippi            0.0140956794%
               MS93        Natchez City, Mississippi                0.1092519702%
               MS94        Neshoba County, Mississippi              1.0186206925%
               MS95        Nettleton City, Mississippi              0.0307845175%
               MS96        New Albany City, Mississippi             0.2729319523%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MS97        Newton County, Mississippi               0.5457847155%
               MS98        Noxubee County, Mississippi              0.1848315685%
               MS99        Ocean Springs City, Mississippi          0.1196690556%
               MS100       Oktibbeha County, Mississippi            0.7876142411%
               MS101       Olive Branch City, Mississippi           1.0910656493%
               MS102       Oxford City, Mississippi                 0.6004720270%
               MS103       Panola County, Mississippi               1.1256622795%
               MS104       Pascagoula City, Mississippi             0.2495759096%
               MS105       Pearl City, Mississippi                  1.1956946818%
               MS106       Pearl River County, Mississippi          3.0542096408%
               MS107       Perry County, Mississippi                0.3691053552%
               MS108       Petal City, Mississippi                  0.0271880761%
               MS109       Philadelphia City, Mississippi           0.1154094664%
               MS110       Picayune City, Mississippi               0.5891117503%
               MS111       Pike County, Mississippi                 0.1094837756%
               MS112       Pontotoc County, Mississippi             1.1485245831%
               MS113       Prentiss County, Mississippi             0.7977710394%
               MS114       Quitman City, Mississippi                0.0879535299%
               MS115       Quitman County, Mississippi              0.2137706975%
               MS116       Rankin County, Mississippi               3.4671179892%
               MS117       Ridgeland City, Mississippi              0.7137364699%
               MS118       Scott County, Mississippi                0.6318707959%
               MS119       Shannon Town, Mississippi                0.0293681665%
               MS121       Shubuta Town, Mississippi                0.0061495937%
               MS122       Simpson County, Mississippi              0.9197186369%
               MS123       Smith County, Mississippi                0.3871907879%
               MS124       Southaven City, Mississippi              1.5563837550%
               MS125       Starkville City, Mississippi             0.1006690780%
               MS126       Stone County, Mississippi                0.5647624674%
               MS127       Summit Town, Mississippi                 0.0051138779%
               MS128       Sunflower County, Mississippi            0.4655797100%
               MS129       Tallahatchie County, Mississippi         0.2608094178%
               MS130       Tate County, Mississippi                 1.1559202957%
               MS131       Tippah County, Mississippi               0.6673123304%
               MS132       Tishomingo County, Mississippi           1.3186009463%
               MS133       Tunica County, Mississippi               0.1788884264%
               MS134       Tupelo City, Mississippi                 1.4776375761%
               MS135       Union County, Mississippi                0.4956551465%
               MS136       Verona City, Mississippi                 0.0613981442%
               MS137       Vicksburg City, Mississippi              0.7338152977%
               MS138       Walthall County, Mississippi             0.4949654924%
               MS139       Warren County, Mississippi               0.5605232929%
               MS140       Washington County, Mississippi           0.9202227479%
               MS141       Wayne County, Mississippi                0.9416871398%
               MS142       Waynesboro City, Mississippi             0.0134634829%
               MS143       Webb Town, Mississippi                   0.0120400527%
               MS145       West Point City, Mississippi             0.2116459242%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID            Qualifying Subdivision            Allocation
               MS146       Wiggins City, Mississippi                0.1726599728%
               MS148       Winston County, Mississippi              0.5339853585%
               MS149       Yalobusha County, Mississippi            0.2986570860%
               MS150       Yazoo City, Mississippi                  0.2540246640%
               MS151       Yazoo County, Mississippi                0.4224067732%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               MO1         Adair County, Missouri                      0.2323492740%
               MO2         Andrew County, Missouri                     0.1564541324%
               MO3         Arnold City, Missouri                       0.5124454261%
               MO4         Atchison County, Missouri                   0.0503458382%
               MO5         Audrain County, Missouri                    0.2723907883%
               MO6         Ballwin City, Missouri                      0.1503503362%
               MO7         Barry County, Missouri                      0.5806831870%
               MO8         Barton County, Missouri                     0.1828006402%
               MO9         Bates County, Missouri                      0.4224104662%
               MO10        Bellefontaine Neighbors City, Missouri      0.0857527834%
               MO11        Belton City, Missouri                       0.1516735499%
               MO12        Benton County, Missouri                     0.3879753095%
               MO13        Blue Springs City, Missouri                 0.1988003228%
               MO14        Bolivar City, Missouri                      0.6392625910%
               MO15        Bollinger County, Missouri                  0.1203527210%
               MO16        Boone County, Missouri                      1.0160242824%
               MO17        Branson City, Missouri                      0.4449755896%
               MO18        Bridgeton City, Missouri                    0.1763465152%
               MO19        Buchanan County, Missouri                   0.4752770338%
               MO20        Butler County, Missouri                     0.3661408977%
               MO21        Caldwell County, Missouri                   0.0989536405%
               MO22        Callaway County, Missouri                   0.2712833054%
               MO23        Camden County, Missouri                     0.7677402708%
               MO24        Cape Girardeau City, Missouri               0.5367558088%
               MO25        Cape Girardeau County, Missouri             0.4382279546%
               MO26        Carroll County, Missouri                    0.1240753517%
               MO27        Carter County, Missouri                     0.0825024387%
               MO28        Carthage City, Missouri                     0.9706909454%
               MO29        Cass County, Missouri                       0.9944461678%
               MO30        Cedar County, Missouri                      0.2606830207%
               MO31        Chariton County, Missouri                   0.0660694886%
               MO32        Chesterfield City, Missouri                 0.2353487388%
               MO33        Christian County, Missouri                  0.6724712099%
               MO34        Clark County, Missouri                      0.0860504210%
               MO35        Clay County, Missouri                       2.1043558671%
               MO36        Clayton City, Missouri                      0.3129914614%
               MO37        Clinton County, Missouri                    0.3136411047%
               MO38        Cole County, Missouri                       0.4638412355%
               MO39        Columbia City, Missouri                     1.1969210737%
               MO40        Cooper County, Missouri                     0.1709566623%
               MO41        Crawford County, Missouri                   0.5377697760%
               MO42        Crestwood City, Missouri                    0.1705940152%
               MO43        Creve Coeur City, Missouri                  0.2772506333%
               MO44        Dade County, Missouri                       0.0956916225%
               MO45        Dallas County, Missouri                     0.2127316981%
               MO46        Dardenne Prairie City, Missouri             0.0016749613%
               MO47        Daviess County, Missouri                    0.0686237546%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MO48        De Kalb County, Missouri                 0.1059364189%
               MO49        Dent County, Missouri                    0.4657350233%
               MO50        Douglas County, Missouri                 0.1328072590%
               MO51        Dunklin County, Missouri                 0.4949307906%
               MO52        Eureka City, Missouri                    0.0880789358%
               MO53        Excelsior Springs City, Missouri         0.1351301223%
               MO54        Farmington City, Missouri                0.5454680456%
               MO55        Ferguson City, Missouri                  0.2574470581%
               MO56        Festus City, Missouri                    0.3044135646%
               MO57        Florissant City, Missouri                0.3924574160%
               MO58        Franklin County, Missouri                1.8587591717%
               MO59        Fulton City, Missouri                    0.3112636154%
               MO60        Gasconade County, Missouri               0.2671420472%
               MO61        Gentry County, Missouri                  0.0719794172%
               MO62        Gladstone City, Missouri                 0.0404576910%
               MO63        Grain Valley City, Missouri              0.0334350556%
               MO64        Grandview City, Missouri                 0.1639337689%
               MO65        Greene County, Missouri                  1.4401071301%
               MO66        Grundy County, Missouri                  0.1563373346%
               MO67        Hannibal City, Missouri                  0.2978324519%
               MO68        Harrison County, Missouri                0.1526413397%
               MO69        Harrisonville City, Missouri             0.0476820622%
               MO70        Hazelwood City, Missouri                 0.5185404511%
               MO71        Henry County, Missouri                   0.3711753912%
               MO72        Hickory County, Missouri                 0.1309787386%
               MO73        Holt County, Missouri                    0.0407768050%
               MO74        Howard County, Missouri                  0.0772931032%
               MO75        Howell County, Missouri                  0.5521591843%
               MO76        Independence City, Missouri              0.9132606869%
               MO77        Iron County, Missouri                    0.1793646831%
               MO78        Jackson City, Missouri                   0.1555038848%
               MO79        Jackson County, Missouri                 1.9899708609%
               MO80        Jasper County, Missouri                  0.3290412555%
               MO81        Jefferson City, Missouri                 0.5714876357%
               MO82        Jefferson County, Missouri               4.3802521918%
               MO83        Jennings City, Missouri                  0.1764093964%
               MO84        Johnson County, Missouri                 0.2968386067%
               MO85        Joplin City, Missouri                    0.5552066323%
               MO86        Kansas City, Missouri                    5.7571708236%
               MO87        Kearney City, Missouri                   0.0053417407%
               MO88        Kennett City, Missouri                   0.1864120841%
               MO89        Kirksville City, Missouri                0.1862592989%
               MO90        Kirkwood City, Missouri                  0.3564022464%
               MO91        Knox County, Missouri                    0.0402195164%
               MO92        Laclede County, Missouri                 0.1401546839%
               MO93        Lafayette County, Missouri               0.3589036278%
               MO94        Lake St. Louis City, Missouri            0.1499293870%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MO95        Lawrence County, Missouri                0.6708287533%
               MO96        Lebanon City, Missouri                   0.2505601816%
               MO97        Lee's Summit City, Missouri              0.6108369410%
               MO98        Lewis County, Missouri                   0.1042697772%
               MO99        Liberty City, Missouri                   0.0442061837%
              MO100        Lincoln County, Missouri                 0.8894721213%
              MO101        Linn County, Missouri                    0.1452541869%
              MO102        Livingston County, Missouri              0.3568928487%
              MO103        Macon County, Missouri                   0.1756025824%
              MO104        Madison County, Missouri                 0.2543286672%
              MO105        Manchester City, Missouri                0.1098943865%
              MO106        Maries County, Missouri                  0.1434267628%
              MO107        Marion County, Missouri                  0.2234652909%
              MO108        Marshall City, Missouri                  0.1418453816%
              MO109        Maryland Heights City, Missouri          0.3748856392%
              MO110        Maryville City, Missouri                 0.1076579446%
              MO111        McDonald County, Missouri                0.2634826201%
              MO112        Mercer County, Missouri                  0.0320837873%
              MO113        Mexico City, Missouri                    0.0139160258%
              MO114        Miller County, Missouri                  0.2674444574%
              MO115        Mississippi County, Missouri             0.1833143956%
              MO116        Moberly City, Missouri                   0.0603546528%
              MO117        Moniteau County, Missouri                0.1201445359%
              MO118        Monroe County, Missouri                  0.1023892750%
              MO119        Montgomery County, Missouri              0.1914472870%
              MO120        Morgan County, Missouri                  0.2721921482%
              MO121        Neosho City, Missouri                    0.1442050062%
              MO122        New Madrid County, Missouri              0.1577443253%
              MO123        Newton County, Missouri                  0.3630628797%
              MO124        Nixa City, Missouri                      0.2468687012%
              MO125        Nodaway County, Missouri                 0.0949885786%
              MO126        O'Fallon City, Missouri                  0.5745934504%
              MO127        Oregon County, Missouri                  0.1307320509%
              MO128        Osage County, Missouri                   0.1278894988%
              MO129        Overland City, Missouri                  0.1364249588%
              MO130        Ozark City, Missouri                     0.2857254050%
              MO131        Ozark County, Missouri                   0.1325551539%
              MO132        Pemiscot County, Missouri                0.3944645835%
              MO133        Perry County, Missouri                   0.2199285305%
              MO134        Pettis County, Missouri                  0.0151441760%
              MO135        Phelps County, Missouri                  1.0845340125%
              MO136        Pike County, Missouri                    0.2247877951%
              MO137        Platte County, Missouri                  0.3320717417%
              MO138        Polk County, Missouri                    0.1493187623%
              MO139        Poplar Bluff City, Missouri              0.7559317644%
              MO140        Pulaski County, Missouri                 1.1729279991%
              MO141        Putnam County, Missouri                  0.0497042567%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              MO142        Ralls County, Missouri                   0.0684816754%
              MO143        Randolph County, Missouri                0.2442992792%
              MO144        Ray County, Missouri                     0.3201239293%
              MO145        Raymore City, Missouri                   0.0467701237%
              MO146        Raytown City, Missouri                   0.1486313258%
              MO147        Republic City, Missouri                  0.2002494278%
              MO148        Reynolds County, Missouri                0.1173502249%
              MO149        Ripley County, Missouri                  0.2364998192%
              MO150        Rolla City, Missouri                     0.0387613823%
              MO151        Saline County, Missouri                  0.1638080066%
              MO152        Schuyler County, Missouri                0.0255576230%
              MO153        Scotland County, Missouri                0.0573087527%
              MO154        Scott County, Missouri                   0.3449360072%
              MO155        Sedalia City, Missouri                   0.4368595310%
              MO156        Shannon County, Missouri                 0.0849097240%
              MO157        Shelby County, Missouri                  0.0753316616%
              MO158        Sikeston City, Missouri                  0.3315549551%
              MO159        Smithville City, Missouri                0.0048539762%
              MO160        Springfield City, Missouri               5.8477728751%
              MO161        St Charles County, Missouri              2.4842648424%
              MO162        St Clair County, Missouri                0.0933227753%
              MO163        St Francois County, Missouri             2.0822768958%
              MO164        St Louis County, Missouri               11.0300257170%
              MO165        St. Ann City, Missouri                   0.1350418307%
              MO166        St. Charles City, Missouri               1.3555209057%
              MO167        St. Joseph City, Missouri                0.9266925599%
              MO168        St. Louis City, Missouri                 8.2821011552%
              MO169        St. Peters City, Missouri                0.5859558551%
              MO170        Ste Genevieve County, Missouri           0.2689675365%
              MO171        Stoddard County, Missouri                0.4415922593%
              MO172        Stone County, Missouri                   0.5212198991%
              MO173        Sullivan County, Missouri                0.0828316136%
              MO174        Taney County, Missouri                   0.3347844684%
              MO175        Texas County, Missouri                   0.3423504618%
              MO176        Town and Country City, Missouri          0.0996467524%
              MO177        Troy City, Missouri                      0.0382293752%
              MO178        Union City, Missouri                     0.1462425501%
              MO179        University City, Missouri                0.4121038850%
              MO180        Vernon County, Missouri                  0.3089892512%
              MO181        Warren County, Missouri                  0.5842281380%
              MO182        Warrensburg City, Missouri               0.1958789596%
              MO183        Washington City, Missouri                0.3567566384%
              MO184        Washington County, Missouri              0.6514805024%
              MO185        Wayne County, Missouri                   0.2274524096%
              MO186        Webb City, Missouri                      0.0671916759%
              MO187        Webster County, Missouri                 0.5986690767%
              MO188        Webster Groves City, Missouri            0.2556867074%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
              MO189        Wentzville City, Missouri                0.3358019827%
              MO190        West Plains City, Missouri               0.3439555766%
              MO191        Wildwood City, Missouri                  0.1021615484%
              MO192        Worth County, Missouri                   0.0184350871%
              MO193        Wright County, Missouri                  0.2540973934%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                MT1        Anaconda-Deer Lodge County, Montana      1.4480190514%
                MT2        Beaverhead County, Montana               0.6841480225%
                MT3        Big Horn County, Montana                 0.8504903609%
                MT4        Billings City, Montana                   9.1331142413%
                MT5        Blaine County, Montana                   0.3691094337%
                MT6        Bozeman City, Montana                    2.0161886507%
                MT7        Broadwater County, Montana               0.4143251264%
                MT8        Butte-Silver Bow, Montana                5.6101260434%
                MT9        Carbon County, Montana                   0.7105360522%
               MT10        Carter County, Montana                   0.0374679104%
               MT11        Cascade County, Montana                  3.8993050480%
               MT12        Chouteau County, Montana                 0.4053063424%
               MT13        Custer County, Montana                   1.5139056450%
               MT14        Daniels County, Montana                  0.1787602908%
               MT15        Dawson County, Montana                   0.7800682133%
               MT16        Fallon County, Montana                   0.1543582011%
               MT17        Fergus County, Montana                   0.8667027669%
               MT18        Flathead County, Montana                 8.0141785369%
               MT19        Gallatin County, Montana                 4.0205572717%
               MT20        Garfield County, Montana                 0.0398838599%
               MT21        Glacier County, Montana                  1.5230709367%
               MT22        Golden Valley County, Montana            0.0264303648%
               MT23        Granite County, Montana                  0.1831398237%
               MT24        Great Falls City, Montana                4.3577779784%
               MT25        Helena City, Montana                     1.7360655042%
               MT26        Hill County, Montana                     1.8438532922%
               MT27        Jefferson County, Montana                0.7770843087%
               MT28        Judith Basin County, Montana             0.0614804228%
               MT29        Kalispell City, Montana                  2.4735432710%
               MT30        Lake County, Montana                     3.6175099064%
               MT31        Lewis and Clark County, Montana          4.9326712334%
               MT32        Liberty County, Montana                  0.1210395973%
               MT33        Lincoln County, Montana                  2.1915597624%
               MT34        Madison County, Montana                  0.5498047673%
               MT35        McCone County, Montana                   0.0823035394%
               MT36        Meagher County, Montana                  0.0912086373%
               MT37        Mineral County, Montana                  0.7546909914%
               MT38        Missoula City, Montana                   4.4312558575%
               MT39        Missoula County, Montana                 8.0272833629%
               MT40        Musselshell County, Montana              0.3895510594%
               MT41        Park County, Montana                     2.0831835653%
               MT42        Petroleum County, Montana                0.0144742922%
               MT43        Phillips County, Montana                 0.2085622347%
               MT44        Pondera County, Montana                  0.4003873948%
               MT45        Powder River County, Montana             0.1504386452%
               MT46        Powell County, Montana                   0.8872723490%
               MT47        Prairie County, Montana                  0.0572069653%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               MT48        Ravalli County, Montana                  3.6906819270%
               MT49        Richland County, Montana                 0.7541525281%
               MT50        Roosevelt County, Montana                0.8182976782%
               MT51        Rosebud County, Montana                  0.5641981949%
               MT52        Sanders County, Montana                  1.0679134558%
               MT53        Sheridan County, Montana                 0.2700355225%
               MT54        Stillwater County, Montana               0.5055604014%
               MT55        Sweet Grass County, Montana              0.2836540766%
               MT56        Teton County, Montana                    0.5735903832%
               MT57        Toole County, Montana                    0.3258040487%
               MT58        Treasure County, Montana                 0.0226554138%
               MT59        Valley County, Montana                   0.5598291268%
               MT60        Wheatland County, Montana                0.0720998508%
               MT61        Wibaux County, Montana                   0.0630373047%
               MT62        Yellowstone County, Montana              7.3090889550%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                NE1        Adams County, Nebraska                   0.7130410264%
                NE2        Antelope County, Nebraska                0.2406339800%
                NE3        Arthur County, Nebraska                  0.0110831278%
                NE4        Banner County, Nebraska                  0.0183674606%
                NE5        Beatrice City, Nebraska                  0.9248205382%
                NE6        Bellevue City, Nebraska                  2.4787880023%
                NE7        Blaine County, Nebraska                  0.0123640997%
                NE8        Boone County, Nebraska                   0.2533407507%
                NE9        Box Butte County, Nebraska               0.7492533620%
               NE10        Boyd County, Nebraska                    0.0902847433%
               NE11        Brown County, Nebraska                   0.1375135354%
               NE12        Buffalo County, Nebraska                 0.9630320332%
               NE13        Burt County, Nebraska                    0.3365661770%
               NE14        Butler County, Nebraska                  0.2899805672%
               NE15        Cass County, Nebraska                    1.2356339344%
               NE16        Cedar County, Nebraska                   0.3502588009%
               NE17        Chase County, Nebraska                   0.1707898814%
               NE18        Cherry County, Nebraska                  0.3082161558%
               NE19        Cheyenne County, Nebraska                0.7408263023%
               NE20        Clay County, Nebraska                    0.1772971991%
               NE21        Colfax County, Nebraska                  0.2670475913%
               NE22        Columbus City, Nebraska                  0.7291294061%
               NE23        Cuming County, Nebraska                  0.4019883978%
               NE24        Custer County, Nebraska                  0.4848137961%
               NE25        Dakota County, Nebraska                  0.3940917673%
               NE26        Dawes County, Nebraska                   0.6577293164%
               NE27        Dawson County, Nebraska                  0.7540316373%
               NE28        Deuel County, Nebraska                   0.1500055852%
               NE29        Dixon County, Nebraska                   0.2144571499%
               NE30        Dodge County, Nebraska                   1.8317996330%
               NE31        Douglas County, Nebraska                14.9119111455%
               NE32        Dundy County, Nebraska                   0.1513630330%
               NE33        Fillmore County, Nebraska                0.3541443667%
               NE34        Franklin County, Nebraska                0.1630162987%
               NE35        Fremont City, Nebraska                   0.1476946393%
               NE36        Frontier County, Nebraska                0.0732649260%
               NE37        Furnas County, Nebraska                  0.2315426581%
               NE38        Gage County, Nebraska                    0.5390651380%
               NE39        Garden County, Nebraska                  0.1132118364%
               NE40        Garfield County, Nebraska                0.1104479177%
               NE41        Gosper County, Nebraska                  0.0528581072%
               NE42        Grand Island City, Nebraska              1.5052861196%
               NE43        Grant County, Nebraska                   0.0167075406%
               NE44        Greeley County, Nebraska                 0.1006996872%
               NE45        Hall County, Nebraska                    1.3023214397%
               NE46        Hamilton County, Nebraska                0.3285553228%
               NE47        Harlan County, Nebraska                  0.1831157431%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               NE48        Hastings City, Nebraska                  0.7738158635%
               NE49        Hayes County, Nebraska                   0.0464208924%
               NE50        Hitchcock County, Nebraska               0.1428727336%
               NE51        Holt County, Nebraska                    0.4319086269%
               NE52        Hooker County, Nebraska                  0.0195391111%
               NE53        Howard County, Nebraska                  0.3117590505%
               NE54        Jefferson County, Nebraska               0.4621587809%
               NE55        Johnson County, Nebraska                 0.3674281385%
               NE56        Kearney City, Nebraska                   1.3128662946%
               NE57        Kearney County, Nebraska                 0.3284087439%
               NE58        Keith County, Nebraska                   0.5586120928%
               NE59        Keya Paha County, Nebraska               0.0207700795%
               NE60        Kimball County, Nebraska                 0.2074517582%
               NE61        Knox County, Nebraska                    0.4262180329%
               NE62        La Vista City, Nebraska                  0.6948539706%
               NE63        Lancaster County, Nebraska               7.9530599340%
               NE64        Lexington City, Nebraska                 0.2672235840%
               NE65        Lincoln City, Nebraska                   8.9584993437%
               NE66        Lincoln County, Nebraska                 0.7588461895%
               NE67        Logan County, Nebraska                   0.0192253637%
               NE68        Loup County, Nebraska                    0.0163070224%
               NE69        Madison County, Nebraska                 1.0198085515%
               NE70        McPherson County, Nebraska               0.0133651501%
               NE71        Merrick County, Nebraska                 0.5571149293%
               NE72        Morrill County, Nebraska                 0.2640807173%
               NE73        Nance County, Nebraska                   0.1820220392%
               NE74        Nemaha County, Nebraska                  0.5862140225%
               NE75        Norfolk City, Nebraska                   0.6855964607%
               NE76        North Platte City, Nebraska              1.2668714124%
               NE77        Nuckolls County, Nebraska                0.2606241030%
               NE78        Omaha City, Nebraska                    16.7836032733%
               NE79        Otoe County, Nebraska                    0.8114537890%
               NE80        Papillion City, Nebraska                 1.1943452635%
               NE81        Pawnee County, Nebraska                  0.2449303588%
               NE82        Perkins County, Nebraska                 0.0938742100%
               NE83        Phelps County, Nebraska                  0.4453164270%
               NE84        Pierce County, Nebraska                  0.2791606931%
               NE85        Platte County, Nebraska                  0.5054632790%
               NE86        Polk County, Nebraska                    0.2126035890%
               NE87        Red Willow County, Nebraska              0.6782282985%
               NE88        Richardson County, Nebraska              0.6780640713%
               NE89        Rock County, Nebraska                    0.0420632348%
               NE90        Saline County, Nebraska                  0.6431415318%
               NE91        Sarpy County, Nebraska                   4.1205096407%
               NE92        Saunders County, Nebraska                0.9147340487%
               NE93        Scotts Bluff County, Nebraska            1.8428925654%
               NE94        Scottsbluff City, Nebraska               0.5159537183%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               NE95        Seward County, Nebraska                  0.7637450614%
               NE96        Sheridan County, Nebraska                0.1814092513%
               NE97        Sherman County, Nebraska                 0.1198260243%
               NE98        Sioux County, Nebraska                   0.0355730752%
               NE99        South Sioux City, Nebraska               0.4431368628%
               NE100       Stanton County, Nebraska                 0.2162062918%
               NE101       Thayer County, Nebraska                  0.2059575361%
               NE102       Thomas County, Nebraska                  0.0173570958%
               NE103       Thurston County, Nebraska                0.2564159657%
               NE104       Valley County, Nebraska                  0.3103957199%
               NE105       Washington County, Nebraska              0.7878555706%
               NE106       Wayne County, Nebraska                   0.3510034608%
               NE107       Webster County, Nebraska                 0.1652355715%
               NE108       Wheeler County, Nebraska                 0.0210156849%
               NE109       York County, Nebraska                    0.8321939645%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 276 of 602. PageID            #: 583736
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
                NV1        Boulder City, Nevada                        0.1478660452%
                NV2        Carson City, Nevada                         1.8146007537%
                NV3        Churchill County, Nevada                    0.7013051988%
                NV4        Clark County, Nevada                       66.9248026834%
                NV5        Douglas County, Nevada                      1.6601462472%
                NV7        Elko County, Nevada                         1.0825745225%
                NV8        Ely City, Nevada                            0.0066172807%
                NV9        Esmeralda County, Nevada                    0.0497291448%
               NV10        Eureka County, Nevada                       0.1033573623%
               NV11        Fernley City, Nevada                        0.0144506991%
               NV12        Henderson City, Nevada                      2.3020643974%
               NV13        Humboldt County, Nevada                     1.0192724731%
               NV14        Lander County, Nevada                       0.3627438791%
               NV15        Las Vegas City, Nevada                      4.7206970773%
               NV16        Lincoln County, Nevada                      0.2373284219%
               NV17        Lyon County, Nevada                         1.5721396872%
               NV18        Mesquite City, Nevada                       0.1465069544%
               NV19        Mineral County, Nevada                      0.5992930253%
               NV20        North Las Vegas City, Nevada                2.4258866892%
               NV21        Nye County, Nevada                          1.6016841576%
               NV22        Pershing County, Nevada                     0.3624498791%
               NV23        Reno City, Nevada                           1.3562863383%
               NV24        Sparks City, Nevada                         0.4253229218%
               NV25        Storey County, Nevada                       0.1263908620%
               NV26        Washoe County, Nevada                       9.1139488828%
               NV27        West Wendover City, Nevada                  0.0564015794%
               NV28        White Pine County, Nevada                   1.0458576594%
               NV29        Central Lyon Fire Protection District,      0.0150922618%
                           Nevada
               NV30        North Lyon Fire Protection District,        0.0051829150%
                           Nevada




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 277 of 602. PageID            #: 583737
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                NH3        Belknap County, New Hampshire            2.7939109892%
                NH4        Belmont Town, New Hampshire              0.5587670057%
                NH5        Berlin City, New Hampshire               0.7634811276%
                NH6        Carroll County, New Hampshire            3.6322893799%
                NH7        Cheshire County, New Hampshire           4.0796979802%
                NH8        Claremont City, New Hampshire            1.0144553237%
                NH9        Concord City, New Hampshire              3.2431426466%
               NH11        Coos County, New Hampshire               1.7474002446%
               NH12        Derry Town, New Hampshire                2.5149832507%
               NH13        Dover City, New Hampshire                2.2778339043%
               NH16        Franklin City, New Hampshire             0.6439189651%
               NH18        Grafton County, New Hampshire            6.7694668318%
               NH21        Hillsborough County, New Hampshire      15.5462714684%
               NH24        Keene City, New Hampshire                1.7781643334%
               NH25        Laconia City, New Hampshire              1.2116493350%
               NH27        Londonderry Town, New Hampshire          1.8328560469%
               NH28        Manchester City, New Hampshire           8.3226355329%
               NH29        Merrimack County, New Hampshire          7.2370050210%
               NH32        Nashua City, New Hampshire               6.5701459205%
               NH36        Rochester City, New Hampshire            2.2599831367%
               NH37        Rockingham County, New Hampshire        18.0775103117%
               NH40        Strafford County, New Hampshire          4.8162130546%
               NH41        Sullivan County, New Hampshire           2.3082181896%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 278 of 602. PageID            #: 583738
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
                NJ1        Aberdeen Township, New Jersey              0.0797396894%
                NJ2        Asbury Park City, New Jersey               0.3916349671%
                NJ3        Atlantic City, New Jersey                  1.2847690915%
                NJ4        Atlantic County, New Jersey                2.8915764045%
                NJ5        Barnegat Township, New Jersey              0.1626638814%
                NJ6        Bayonne City, New Jersey                   0.8502340058%
                NJ7        Beachwood Borough, New Jersey              0.0492329228%
                NJ8        Belleville Township, New Jersey            0.0872090223%
                NJ9        Bellmawr Borough, New Jersey               0.0640989992%
               NJ10        Bergen County, New Jersey                  4.9446361090%
               NJ11        Bergenfield Borough, New Jersey            0.0618076073%
               NJ12        Berkeley Heights Township, New Jersey      0.0272673062%
               NJ13        Berkeley Township, New Jersey              0.2619731788%
               NJ14        Bernards Township, New Jersey              0.0910577073%
               NJ15        Bloomfield Township, New Jersey            0.1173874959%
               NJ16        Bordentown Township, New Jersey            0.0545891482%
               NJ17        Bound Brook Borough, New Jersey            0.0527105023%
               NJ18        Branchburg Township, New Jersey            0.0561024563%
               NJ19        Brick Township, New Jersey                 0.5908193174%
               NJ20        Bridgeton City, New Jersey                 0.2079614154%
               NJ21        Bridgewater Township, New Jersey           0.1828057629%
               NJ22        Burlington County, New Jersey              4.4940916659%
               NJ23        Burlington Township, New Jersey            0.1157900630%
               NJ24        Camden City, New Jersey                    1.6603828843%
               NJ25        Camden County, New Jersey                  6.8741218172%
               NJ26        Cape May County, New Jersey                1.2842777540%
               NJ27        Carteret Borough, New Jersey               0.1794847100%
               NJ28        Cedar Grove Township, New Jersey           0.0187911021%
               NJ29        Chatham Township, New Jersey               0.0498541051%
               NJ30        Cherry Hill Township, New Jersey           0.3440044947%
               NJ31        Cinnaminson Township, New Jersey           0.0701648926%
               NJ32        Clark Township, New Jersey                 0.0429898704%
               NJ33        Cliffside Park Borough, New Jersey         0.1142449150%
               NJ34        Clifton City, New Jersey                   0.3535258812%
               NJ35        Clinton Town, New Jersey                   0.0294193343%
               NJ36        Clinton Township, New Jersey               0.0799778554%
               NJ37        Collingswood Borough, New Jersey           0.1128930571%
               NJ38        Cranford Township, New Jersey              0.0684441330%
               NJ39        Cumberland County, New Jersey              0.9862828059%
               NJ40        Delran Township, New Jersey                0.0837486054%
               NJ41        Denville Township, New Jersey              0.0795654377%
               NJ42        Deptford Township, New Jersey              0.2200095463%
               NJ43        Dover Town, New Jersey                     0.1186530251%
               NJ44        Dumont Borough, New Jersey                 0.0403826120%
               NJ45        East Brunswick Township, New Jersey        0.0972927881%
               NJ46        East Greenwich Township, New Jersey        0.0212104162%
               NJ47        East Hanover Township, New Jersey          0.0890156417%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
               NJ48        East Orange City, New Jersey               1.2844844553%
               NJ49        East Windsor Township, New Jersey          0.0422463462%
               NJ50        Eatontown Borough, New Jersey              0.0974794194%
               NJ51        Edgewater Borough, New Jersey              0.0546948904%
               NJ52        Edison Township, New Jersey                2.4018132631%
               NJ53        Egg Harbor Township, New Jersey            0.1572891336%
               NJ54        Elizabeth City, New Jersey                 0.7646308101%
               NJ55        Elmwood Park Borough, New Jersey           0.0462435391%
               NJ56        Englewood City, New Jersey                 0.6429812736%
               NJ57        Essex County, New Jersey                   1.4898498664%
               NJ58        Evesham Township, New Jersey               0.1745115947%
               NJ59        Ewing Township, New Jersey                 0.0839796907%
               NJ60        Fair Lawn Borough, New Jersey              0.0699332916%
               NJ61        Fairview Borough, New Jersey               0.0347025484%
               NJ62        Florence Township, New Jersey              0.0676007282%
               NJ63        Florham Park Borough, New Jersey           0.0674975182%
               NJ64        Fort Lee Borough, New Jersey               0.1848366682%
               NJ65        Franklin Lakes Borough, New Jersey         0.0273076336%
               NJ66        Franklin Township, Gloucester County,      0.0870963870%
                           New Jersey
               NJ67        Franklin Township, Somerset County,        0.3236022203%
                           New Jersey
               NJ68        Freehold Borough, New Jersey               0.0816675723%
               NJ69        Freehold Township, New Jersey              0.1512818556%
               NJ70        Galloway Township, New Jersey              0.0846515634%
               NJ71        Garfield City, New Jersey                  0.0989196224%
               NJ72        Glassboro Borough, New Jersey              0.1948186777%
               NJ73        Glen Rock Borough, New Jersey              0.0253178060%
               NJ74        Gloucester City, New Jersey                0.1325275640%
               NJ75        Gloucester County, New Jersey              4.7022029491%
               NJ76        Gloucester Township, New Jersey            0.3259502581%
               NJ77        Guttenberg Town, New Jersey                0.0382186733%
               NJ78        Hackensack City, New Jersey                0.2554139785%
               NJ79        Haddon Township, New Jersey                0.0831057121%
               NJ80        Haddonfield Borough, New Jersey            0.0710479214%
               NJ81        Hamilton Township, Atlantic County,        0.0939608561%
                           New Jersey
               NJ82        Hamilton Township, Mercer County,          0.1394262176%
                           New Jersey
               NJ83        Hammonton Town, New Jersey                 0.0463451547%
               NJ84        Hanover Township, New Jersey               0.0711651990%
               NJ85        Harrison Town, New Jersey                  0.2059190684%
               NJ86        Harrison Township, New Jersey              0.0478487561%
               NJ87        Hasbrouck Heights Borough, New Jersey      0.0360845581%
               NJ88        Hawthorne Borough, New Jersey              0.0380122534%
               NJ89        Hazlet Township, New Jersey                0.0810519234%
               NJ90        Highland Park Borough, New Jersey          0.0606246554%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               NJ91        Hillsborough Township, New Jersey           0.1405113053%
               NJ92        Hillsdale Borough, New Jersey               0.0247027667%
               NJ93        Hillside Township, New Jersey               0.1085603967%
               NJ94        Hoboken City, New Jersey                    0.1803633309%
               NJ95        Holmdel Township, New Jersey                0.1058875828%
               NJ96        Hopatcong Borough, New Jersey               0.0677558479%
               NJ97        Hopewell Township, Mercer County,           0.0275878151%
                           New Jersey
               NJ98        Howell Township, New Jersey                 0.2067529072%
               NJ99        Hudson County, New Jersey                   0.9363280231%
               NJ100       Hunterdon County, New Jersey                0.8037645396%
               NJ101       Irvington Township, New Jersey              0.9244040630%
               NJ102       Jackson Township, New Jersey                0.2670097394%
               NJ103       Jefferson Township, New Jersey              0.0866198206%
               NJ104       Jersey City, New Jersey                     0.9916102863%
               NJ105       Kearny Town, New Jersey                     0.1071857960%
               NJ106       Lacey Township, New Jersey                  0.1502291236%
               NJ107       Lakewood Township, New Jersey               0.7730028665%
               NJ108       Lawrence Township, Mercer County,           0.0644503163%
                           New Jersey
               NJ109       Lincoln Park Borough, New Jersey            0.0595261565%
               NJ110       Linden City, New Jersey                     0.2495261821%
               NJ111       Lindenwold Borough, New Jersey              0.1004455914%
               NJ112       Little Egg Harbor Township, New Jersey      0.1465902816%
               NJ113       Little Falls Township, New Jersey           0.0348320180%
               NJ114       Little Ferry Borough, New Jersey            0.0258966914%
               NJ115       Livingston Township, New Jersey             0.0484285793%
               NJ116       Lodi Borough, New Jersey                    0.1078340351%
               NJ117       Long Branch City, New Jersey                0.5243184480%
               NJ118       Lower Township, New Jersey                  0.0710329159%
               NJ119       Lumberton Township, New Jersey              0.0461973502%
               NJ120       Lyndhurst Township, New Jersey              0.0645354727%
               NJ121       Madison Borough, New Jersey                 0.1424930674%
               NJ122       Mahwah Township, New Jersey                 0.0610985020%
               NJ123       Manalapan Township, New Jersey              0.1318410608%
               NJ124       Manchester Township, New Jersey             0.2136801182%
               NJ125       Mantua Township, New Jersey                 0.0853984170%
               NJ126       Manville Borough, New Jersey                0.0574532358%
               NJ127       Maple Shade Township, New Jersey            0.1058088976%
               NJ128       Maplewood Township, New Jersey              0.0589307182%
               NJ129       Marlboro Township, New Jersey               0.1588151495%
               NJ130       Medford Township, New Jersey                0.1130775783%
               NJ131       Mercer County, New Jersey                   1.1117204895%
               NJ132       Metuchen Borough, New Jersey                0.0339468322%
               NJ133       Middle Township, New Jersey                 0.0695160908%
               NJ134       Middlesex Borough, New Jersey               0.0317606196%
               NJ135       Middlesex County, New Jersey                2.2387299770%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               NJ136       Middletown Township, New Jersey           0.3292948041%
               NJ137       Millburn Township, New Jersey             0.0627532842%
               NJ138       Millstone Township, New Jersey            0.0066098909%
               NJ139       Millville City, New Jersey                0.2397981412%
               NJ140       Monmouth County, New Jersey               4.4617935668%
               NJ141       Monroe Township, Gloucester County,       0.2271632002%
                           New Jersey
               NJ142       Monroe Township, Middlesex County,        0.1024216796%
                           New Jersey
               NJ143       Montclair Township, New Jersey            0.5843666564%
               NJ144       Montgomery Township, New Jersey           0.0805666350%
               NJ145       Montville Township, New Jersey            0.0902727303%
               NJ146       Moorestown Township, New Jersey           0.1000871936%
               NJ147       Morris County, New Jersey                 2.3575766204%
               NJ148       Morris Township, New Jersey               0.1125747053%
               NJ149       Morristown, New Jersey                    0.2369807115%
               NJ150       Mount Laurel Township, New Jersey         0.1725831491%
               NJ151       Mount Olive Township, New Jersey          0.1068809023%
               NJ152       Neptune Township, New Jersey              0.2450351195%
               NJ153       New Brunswick City, New Jersey            1.8327331194%
               NJ154       New Milford Borough, New Jersey           0.0368443070%
               NJ155       New Providence Borough, New Jersey        0.0258412178%
               NJ156       Newark City, New Jersey                   1.7760400546%
               NJ157       North Arlington Borough, New Jersey       0.0408890956%
               NJ158       North Bergen Township, New Jersey         0.1110635074%
               NJ159       North Brunswick Township, New Jersey      0.1217197343%
               NJ160       North Plainfield Borough, New Jersey      0.1454941742%
               NJ161       Nutley Township, New Jersey               0.0574061090%
               NJ162       Oakland Borough, New Jersey               0.0335231134%
               NJ163       Ocean City, New Jersey                    0.1910428164%
               NJ164       Ocean County, New Jersey                  4.9497293624%
               NJ165       Ocean Township, Monmouth County,          0.1387263032%
                           New Jersey
               NJ166       Old Bridge Township, New Jersey           0.1263966779%
               NJ167       Orange City Township, New Jersey          0.5609302630%
               NJ168       Palisades Park Borough, New Jersey        0.0366345109%
               NJ169       Paramus Borough, New Jersey               0.1129786355%
               NJ170       Parsippany-Troy Hills Township, New       0.2342890939%
                           Jersey
               NJ171       Passaic City, New Jersey                  0.4984612868%
               NJ172       Passaic County, New Jersey                2.1805505203%
               NJ173       Paterson City, New Jersey                 0.9805526614%
               NJ174       Pemberton Township, New Jersey            0.1182059071%
               NJ175       Pennsauken Township, New Jersey           0.3221185950%
               NJ176       Pennsville Township, New Jersey           0.0340920576%
               NJ177       Pequannock Township, New Jersey           0.0769477223%
               NJ178       Perth Amboy City, New Jersey              0.3436749356%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               NJ179       Phillipsburg Town, New Jersey             0.1544595119%
               NJ180       Pine Hill Borough, New Jersey             0.0482528270%
               NJ181       Piscataway Township, New Jersey           0.1067019613%
               NJ182       Plainfield City, New Jersey               0.3012229667%
               NJ183       Plainsboro Township, New Jersey           0.0503298743%
               NJ184       Pleasantville City, New Jersey            0.1421175070%
               NJ185       Point Pleasant Borough, New Jersey        0.1109970141%
               NJ186       Pompton Lakes Borough, New Jersey         0.0290573727%
               NJ187       Princeton, New Jersey                     0.0503970240%
               NJ188       Rahway City, New Jersey                   0.1444485698%
               NJ189       Ramsey Borough, New Jersey                0.0402523452%
               NJ190       Randolph Township, New Jersey             0.0853331898%
               NJ191       Raritan Township, New Jersey              0.1071670391%
               NJ192       Readington Township, New Jersey           0.0850076166%
               NJ193       Red Bank Borough, New Jersey              0.1420636747%
               NJ194       Ridgefield Borough, New Jersey            0.0201153405%
               NJ195       Ridgefield Park Village, New Jersey       0.0392827532%
               NJ196       Ridgewood Village, New Jersey             0.0849185213%
               NJ197       Ringwood Borough, New Jersey              0.0309822545%
               NJ198       River Edge Borough, New Jersey            0.0266057498%
               NJ199       Robbinsville Township, New Jersey         0.0338593312%
               NJ200       Rockaway Township, New Jersey             0.1290497970%
               NJ201       Roselle Borough, New Jersey               0.0912325687%
               NJ202       Roselle Park Borough, New Jersey          0.0316673040%
               NJ203       Roxbury Township, New Jersey              0.1057717120%
               NJ204       Rutherford Borough, New Jersey            0.0459830524%
               NJ205       Saddle Brook Township, New Jersey         0.0390656888%
               NJ206       Salem County, New Jersey                  0.9344056735%
               NJ207       Sayreville Borough, New Jersey            0.1477057086%
               NJ208       Scotch Plains Township, New Jersey        0.0484433504%
               NJ209       Secaucus Town, New Jersey                 0.0516659295%
               NJ210       Somers Point City, New Jersey             0.0439926621%
               NJ211       Somerset County, New Jersey               1.4647125488%
               NJ212       Somerville Borough, New Jersey            0.0756287358%
               NJ213       South Brunswick Township, New Jersey      0.1037777110%
               NJ214       South Orange Village Township, New        0.0488891085%
                           Jersey
               NJ215       South Plainfield Borough, New Jersey      0.0899775902%
               NJ216       South River Borough, New Jersey           0.0421568288%
               NJ217       Southampton Township, New Jersey          0.0127996268%
               NJ218       Sparta Township, New Jersey               0.1069549921%
               NJ219       Springfield Township, Union County,       0.0573437423%
                           New Jersey
               NJ220       Stafford Township, New Jersey             0.2155115906%
               NJ221       Summit City, New Jersey                   0.5428090174%
               NJ222       Sussex County, New Jersey                 1.2735318221%
               NJ223       Teaneck Township, New Jersey              0.1723477966%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               NJ224       Tenafly Borough, New Jersey              0.0450713724%
               NJ225       Tinton Falls Borough, New Jersey         0.0881640307%
               NJ226       Toms River Township, New Jersey          0.5620940829%
               NJ227       Totowa Borough, New Jersey               0.0342545863%
               NJ228       Trenton City, New Jersey                 1.9352906929%
               NJ229       Union City, New Jersey                   0.9841875644%
               NJ230       Union County, New Jersey                 1.7400474523%
               NJ231       Union Township, Union County, New        0.2247240506%
                           Jersey
               NJ232       Upper Township, New Jersey               0.0173930552%
               NJ233       Vernon Township, New Jersey              0.0783616187%
               NJ234       Verona Township, New Jersey              0.0234318917%
               NJ235       Vineland City, New Jersey                0.5000169856%
               NJ236       Voorhees Township, New Jersey            0.1406021825%
               NJ237       Waldwick Borough, New Jersey             0.0421770394%
               NJ238       Wall Township, New Jersey                0.1650847899%
               NJ239       Wallington Borough, New Jersey           0.0235956865%
               NJ240       Wanaque Borough, New Jersey              0.0311245257%
               NJ241       Wantage Township, New Jersey             0.0091403397%
               NJ242       Warren County, New Jersey                1.0382472049%
               NJ243       Warren Township, New Jersey              0.0736326246%
               NJ244       Washington Township, Gloucester          0.2470375143%
                           County, New Jersey
               NJ245       Washington Township, Morris County,      0.0524274135%
                           New Jersey
               NJ246       Waterford Township, New Jersey           0.0648566849%
               NJ247       Wayne Township, New Jersey               0.1724444886%
               NJ248       Weehawken Township, New Jersey           0.0282451513%
               NJ249       West Caldwell Township, New Jersey       0.0246748189%
               NJ250       West Deptford Township, New Jersey       0.1402059895%
               NJ251       West Milford Township, New Jersey        0.0644752630%
               NJ252       West New York Town, New Jersey           0.6157331463%
               NJ253       West Orange Township, New Jersey         0.1051193933%
               NJ254       West Windsor Township, New Jersey        0.0458605228%
               NJ255       Westfield Town, New Jersey               0.0887745684%
               NJ256       Westwood Borough, New Jersey             0.0348328152%
               NJ257       Willingboro Township, New Jersey         0.2091808026%
               NJ258       Winslow Township, New Jersey             0.1817978600%
               NJ259       Woodbridge Township, New Jersey          0.3688029685%
               NJ260       Woodland Park Borough, New Jersey        0.0292498655%
               NJ261       Woolwich Township, New Jersey            0.0599291958%
               NJ262       Wyckoff Township, New Jersey             0.0296665036%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               NM1         Alamogordo City, New Mexico              0.9683526415%
               NM2         Albuquerque City, New Mexico            26.1703568498%
               NM3         Artesia City, New Mexico                 0.5562791550%
               NM4         Bernalillo County, New Mexico           15.2005970834%
               NM5         Bernalillo Town, New Mexico              0.2863480762%
               NM6         Carlsbad City, New Mexico                0.8261484924%
               NM7         Catron County, New Mexico                0.1129940051%
               NM8         Chaves County, New Mexico                1.0935494443%
               NM9         Cibola County, New Mexico                0.7723148257%
               NM10        Clovis City, New Mexico                  0.9103511516%
               NM11        Colfax County, New Mexico                0.7448541610%
               NM12        Curry County, New Mexico                 0.4952954732%
               NM13        De Baca County, New Mexico               0.0650725663%
               NM14        Deming City, New Mexico                  0.2484870948%
               NM15        Dona Ana County, New Mexico              4.1009817203%
               NM16        Eddy County, New Mexico                  1.2155709374%
               NM17        Española City, New Mexico                1.0869232440%
               NM18        Farmington City, New Mexico              1.4120396740%
               NM19        Gallup City, New Mexico                  0.7722895935%
               NM20        Grant County, New Mexico                 1.8057321396%
               NM21        Guadalupe County, New Mexico             0.1869187026%
               NM22        Harding County, New Mexico               0.0102668257%
               NM23        Hidalgo County, New Mexico               0.1965507765%
               NM24        Hobbs City, New Mexico                   0.5477699843%
               NM25        Las Cruces City, New Mexico              2.7789710876%
               NM26        Las Vegas City, New Mexico               0.9509305850%
               NM27        Lea County, New Mexico                   1.3193643533%
               NM28        Lincoln County, New Mexico               1.2208675842%
               NM29        Los Alamos County, New Mexico            0.5915454490%
               NM30        Los Lunas Village, New Mexico            1.0566950725%
               NM31        Lovington City, New Mexico               0.1729179347%
               NM32        Luna County, New Mexico                  0.5889582326%
               NM33        McKinley County, New Mexico              1.0214669791%
               NM34        Mora County, New Mexico                  0.1903934157%
               NM35        Otero County, New Mexico                 1.6062640137%
               NM36        Portales City, New Mexico                0.2248670805%
               NM37        Quay County, New Mexico                  0.4733520608%
               NM38        Rio Arriba County, New Mexico            3.5113726662%
               NM39        Rio Rancho City, New Mexico              2.3456255907%
               NM40        Roosevelt County, New Mexico             0.3148139409%
               NM41        Roswell City, New Mexico                 1.4423383265%
               NM42        San Juan County, New Mexico              2.4064498445%
               NM43        San Miguel County, New Mexico            0.7151901194%
               NM44        Sandoval County, New Mexico              1.9253935060%
               NM45        Santa Fe City, New Mexico                4.5408953413%
               NM46        Santa Fe County, New Mexico              3.5143193357%
               NM47        Sierra County, New Mexico                1.0308488455%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               NM48        Socorro County, New Mexico               0.7363065077%
               NM49        Sunland Park City, New Mexico            0.2012417097%
               NM50        Taos County, New Mexico                  1.7429125688%
               NM51        Torrance County, New Mexico              0.7071523256%
               NM52        Union County, New Mexico                 0.1108929666%
               NM53        Valencia County, New Mexico              2.7716079380%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 286 of 602. PageID            #: 583746
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision             Allocation
                NY1        Albany City, New York                 Allocations in New
                NY2        Albany County, New York               York will be made
                NY3        Allegany County, New York             in accordance with
                NY4        Broome County, New York                  the New York
                NY5        Buffalo City, New York                    Agreement.
                NY6        Cattaraugus County, New York
                NY7        Cayuga County, New York
                NY8        Chautauqua County, New York
                NY9        Chemung County, New York
               NY10        Chenango County, New York
               NY11        Clinton County, New York
               NY12        Columbia County, New York
               NY13        Cortland County, New York
               NY14        Delaware County, New York
               NY15        Dutchess County, New York
               NY16        Erie County, New York
               NY17        Essex County, New York
               NY18        Franklin County, New York
               NY19        Fulton County, New York
               NY20        Genesee County, New York
               NY21        Greene County, New York
               NY22        Hamilton County, New York
               NY23        Herkimer County, New York
               NY24        Jefferson County, New York
               NY25        Lewis County, New York
               NY26        Livingston County, New York
               NY27        Madison County, New York
               NY28        Monroe County, New York
               NY29        Montgomery County, New York
               NY30        Nassau County, New York
               NY31        New York City, New York
               NY32        Niagara County, New York
               NY33        Oneida County, New York
               NY34        Onondaga County, New York
               NY35        Ontario County, New York
               NY36        Orange County, New York
               NY37        Orleans County, New York
               NY38        Oswego County, New York
               NY39        Otsego County, New York
               NY40        Putnam County, New York
               NY41        Rensselaer County, New York
               NY42        Rochester City, New York
               NY43        Rockland County, New York
               NY44        Saratoga County, New York
               NY45        Schenectady County, New York



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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 287 of 602. PageID            #: 583747
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               NY46        Schoharie County, New York
               NY47        Schuyler County, New York
               NY48        Seneca County, New York
               NY49        St Lawrence County, New York
               NY50        Steuben County, New York
               NY51        Suffolk County, New York
               NY52        Sullivan County, New York
               NY53        Syracuse City, New York
               NY54        Tioga County, New York
               NY55        Tompkins County, New York             Allocations in New
               NY56        Ulster County, New York               York will be made
               NY57        Warren County, New York               in accordance with
               NY58        Washington County, New York              the New York
               NY59        Wayne County, New York                    Agreement.
               NY60        Westchester County, New York
               NY61        Wyoming County, New York
               NY62        Yates County, New York
               NY63        Yonkers City, New York
               NY64        Geneva City, New York
               NY65        Herkimer Village, New York
               NY66        Lackawanna City, New York
               NY67        Rome City, New York
               NY68        Utica City, New York




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                NC1        Alamance County, North Carolina          1.3780289676%
                NC2        Alexander County, North Carolina         0.5100078796%
                NC3        Alleghany County, North Carolina         0.1490905989%
                NC4        Anson County, North Carolina             0.1821929604%
                NC5        Ashe County, North Carolina              0.3386391883%
                NC6        Asheville City, North Carolina           0.2358147243%
                NC7        Avery County, North Carolina             0.2659967669%
                NC8        Beaufort County, North Carolina          0.4778884349%
                NC9        Bertie County, North Carolina            0.1394685751%
               NC10        Bladen County, North Carolina            0.4292178095%
               NC11        Brunswick County, North Carolina         2.1132385076%
               NC12        Buncombe County, North Carolina          2.5115878573%
               NC13        Burke County, North Carolina             2.0901968270%
               NC14        Cabarrus County, North Carolina          1.6695734466%
               NC15        Caldwell County, North Carolina          1.2763011462%
               NC16        Camden County, North Carolina            0.0730364004%
               NC17        Canton Town, North Carolina              0.0114538232%
               NC18        Carteret County, North Carolina          1.1284655939%
               NC19        Cary Town, North Carolina                0.1441516454%
               NC20        Caswell County, North Carolina           0.1729202375%
               NC21        Catawba County, North Carolina           2.0726952227%
               NC22        Charlotte City, North Carolina           1.2474838144%
               NC23        Chatham County, North Carolina           0.4498143831%
               NC24        Cherokee County, North Carolina          0.7827591529%
               NC25        Chowan County, North Carolina            0.1137055961%
               NC26        Clay County, North Carolina              0.2244299489%
               NC27        Cleveland County, North Carolina         1.1199280277%
               NC28        Columbus County, North Carolina          1.2209369390%
               NC29        Concord City, North Carolina             0.2274558703%
               NC30        Craven County, North Carolina            1.3368601902%
               NC31        Cumberland County, North Carolina        2.6372996596%
               NC32        Currituck County, North Carolina         0.1867785513%
               NC33        Dare County, North Carolina              0.5331267313%
               NC34        Davidson County, North Carolina          1.9402695304%
               NC35        Davie County, North Carolina             0.5131475269%
               NC36        Duplin County, North Carolina            0.3827851474%
               NC37        Durham City, North Carolina              0.3804050267%
               NC38        Durham County, North Carolina            1.7979943624%
               NC39        Edgecombe County, North Carolina         0.4171019390%
               NC40        Fayetteville City, North Carolina        0.3097690552%
               NC41        Forsyth County, North Carolina           3.0684508095%
               NC42        Franklin County, North Carolina          0.5005036433%
               NC43        Gaston County, North Carolina            3.0981738869%
               NC44        Gastonia City, North Carolina            0.2577638238%
               NC45        Gates County, North Carolina             0.0795675166%
               NC46        Graham County, North Carolina            0.1834845617%
               NC47        Granville County, North Carolina         0.5901034093%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               NC48        Greene County, North Carolina            0.1232748186%
               NC49        Greensboro City, North Carolina          0.5273916964%
               NC50        Greenville City, North Carolina          0.1626564747%
               NC51        Guilford County, North Carolina          3.3750152311%
               NC52        Halifax County, North Carolina           0.4531611740%
               NC53        Harnett County, North Carolina           0.9889807722%
               NC54        Haywood County, North Carolina           0.8033151101%
               NC55        Henderson City, North Carolina           0.0322534788%
               NC56        Henderson County, North Carolina         1.3815950870%
               NC57        Hertford County, North Carolina          0.2068430501%
               NC58        Hickory City, North Carolina             0.0948758357%
               NC59        High Point City, North Carolina          0.2064287629%
               NC60        Hoke County, North Carolina              0.3324858046%
               NC61        Hyde County, North Carolina              0.0272373541%
               NC62        Iredell County, North Carolina           2.1159313745%
               NC63        Jackson County, North Carolina           0.5077577313%
               NC64        Jacksonville City, North Carolina        0.0950098698%
               NC65        Johnston County, North Carolina          1.2508874682%
               NC66        Jones County, North Carolina             0.0879669870%
               NC67        Lee County, North Carolina               0.6531156836%
               NC68        Lenoir County, North Carolina            0.6042825926%
               NC69        Lincoln County, North Carolina           0.9268336271%
               NC70        Macon County, North Carolina             0.2377764961%
               NC71        Madison County, North Carolina           0.2328822206%
               NC72        Martin County, North Carolina            0.5875445765%
               NC73        McDowell County, North Carolina          0.4667676661%
               NC74        Mecklenburg County, North Carolina       5.0383012599%
               NC75        Mitchell County, North Carolina          0.3093141516%
               NC76        Montgomery County, North Carolina        0.2260505430%
               NC77        Moore County, North Carolina             0.9717391128%
               NC78        Nash County, North Carolina              0.8456536396%
               NC79        New Hanover County, North Carolina       2.8972648920%
               NC80        Northampton County, North Carolina       0.1209962389%
               NC81        Onslow County, North Carolina            1.6440013647%
               NC82        Orange County, North Carolina            1.0558394190%
               NC83        Pamlico County, North Carolina           0.1199361510%
               NC84        Pasquotank County, North Carolina        0.3748162108%
               NC85        Pender County, North Carolina            0.5857493319%
               NC86        Perquimans County, North Carolina        0.1118331803%
               NC87        Person County, North Carolina            0.4030242967%
               NC88        Pitt County, North Carolina              1.3690080664%
               NC89        Polk County, North Carolina              0.2661429860%
               NC90        Raleigh City, North Carolina             0.5667246127%
               NC91        Randolph County, North Carolina          1.5254339862%
               NC92        Richmond County, North Carolina          0.7491328400%
               NC93        Robeson County, North Carolina           1.3597353436%
               NC94        Rockingham County, North Carolina        1.3653688375%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               NC95        Rowan County, North Carolina             2.3352192879%
               NC96        Rutherford County, North Carolina        0.9289416180%
               NC97        Sampson County, North Carolina           0.6195137405%
               NC98        Scotland County, North Carolina          0.4491482742%
               NC99        Stanly County, North Carolina            0.7249742086%
               NC100       Stokes County, North Carolina            0.6239531124%
               NC101       Surry County, North Carolina             1.4108267061%
               NC102       Swain County, North Carolina             0.2811629286%
               NC103       Transylvania County, North Carolina      0.4975955095%
               NC104       Tyrrell County, North Carolina           0.0414409072%
               NC105       Union County, North Carolina             1.4667026799%
               NC106       Vance County, North Carolina             0.5362582553%
               NC107       Wake County, North Carolina              4.9024556672%
               NC108       Warren County, North Carolina            0.1063905835%
               NC109       Washington County, North Carolina        0.0747707205%
               NC110       Watauga County, North Carolina           0.4696757999%
               NC111       Wayne County, North Carolina             0.9706993331%
               NC112       Wilkes County, North Carolina            1.9971771606%
               NC113       Wilmington City, North Carolina          0.1194974940%
               NC114       Wilson County, North Carolina            0.6464708415%
               NC115       Winston-Salem City, North Carolina       0.4944599238%
               NC116       Yadkin County, North Carolina            0.5621471451%
               NC117       Yancey County, North Carolina            0.3821149769%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 291 of 602. PageID            #: 583751
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                ND1        Adams County, North Dakota               0.3266859369%
                ND2        Barnes County, North Dakota              1.1596409120%
                ND3        Benson County, North Dakota              0.8243618844%
                ND4        Billings County, North Dakota            0.0531198558%
                ND5        Bismarck City, North Dakota              7.8720018475%
                ND6        Bottineau County, North Dakota           0.6564106964%
                ND7        Bowman County, North Dakota              0.3537618912%
                ND8        Burke County, North Dakota               0.1340272238%
                ND9        Burleigh County, North Dakota            5.9258321732%
               ND10        Cass County, North Dakota                9.2593207065%
               ND11        Cavalier County, North Dakota            0.4775832577%
               ND12        Devils Lake City, North Dakota           0.3622623619%
               ND13        Dickey County, North Dakota              0.6064663883%
               ND14        Dickinson City, North Dakota             1.0573324109%
               ND15        Divide County, North Dakota              0.1925705034%
               ND16        Dunn County, North Dakota                0.5017615248%
               ND17        Eddy County, North Dakota                0.2227970127%
               ND18        Emmons County, North Dakota              0.7218887252%
               ND19        Fargo City, North Dakota                12.8639966005%
               ND20        Foster County, North Dakota              0.3938546507%
               ND21        Golden Valley County, North Dakota       0.2278631874%
               ND22        Grand Forks City, North Dakota           7.1999971538%
               ND23        Grand Forks County, North Dakota         5.4639296523%
               ND24        Grant County, North Dakota               0.2093626818%
               ND25        Griggs County, North Dakota              0.2073426807%
               ND26        Hettinger County, North Dakota           0.2096684753%
               ND27        Jamestown City, North Dakota             0.7024664288%
               ND28        Kidder County, North Dakota              0.3074782839%
               ND29        La Moure County, North Dakota            0.3036088203%
               ND30        Lisbon City, North Dakota                0.1372424658%
               ND31        Logan County, North Dakota               0.1641331799%
               ND32        Mandan City, North Dakota                1.1262932510%
               ND33        McHenry County, North Dakota             0.3973374621%
               ND34        McIntosh County, North Dakota            0.2870077627%
               ND35        McKenzie County, North Dakota            1.2312553926%
               ND36        McLean County, North Dakota              1.1384661837%
               ND37        Mercer County, North Dakota              1.1241071216%
               ND38        Minot City, North Dakota                 2.8909627339%
               ND39        Morton County, North Dakota              2.6703636118%
               ND40        Mountrail County, North Dakota           1.1142893867%
               ND41        Nelson County, North Dakota              0.4740975060%
               ND42        Oliver County, North Dakota              0.2228234756%
               ND43        Pembina County, North Dakota             1.2530005434%
               ND44        Pierce County, North Dakota              0.7284574044%
               ND45        Ramsey County, North Dakota              1.2734343106%
               ND46        Ransom County, North Dakota              0.6183673413%
               ND47        Renville County, North Dakota            0.2860845016%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               ND48        Richland County, North Dakota            2.4309493698%
               ND49        Rolette County, North Dakota             1.8198034592%
               ND50        Sargent County, North Dakota             0.5773674924%
               ND51        Sheridan County, North Dakota            0.0895886685%
               ND52        Sioux County, North Dakota               0.6666209643%
               ND53        Slope County, North Dakota               0.0470907257%
               ND54        Stark County, North Dakota               3.3526741338%
               ND55        Steele County, North Dakota              0.2434939387%
               ND56        Stutsman County, North Dakota            1.9758860377%
               ND57        Towner County, North Dakota              0.1807489391%
               ND58        Traill County, North Dakota              1.0587643476%
               ND59        Walsh County, North Dakota               2.0521094729%
               ND60        Ward County, North Dakota                3.4849842097%
               ND61        Wells County, North Dakota               0.4346604383%
               ND62        West Fargo City, North Dakota            1.8417059171%
               ND63        Williams County, North Dakota            2.3067369406%
               ND64        Williston City, North Dakota             1.5016973817%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
                OH1        Aberdeen Village, Ohio                    0.0087437716%
                OH2        Ada Village, Ohio                         0.0077636351%
                OH3        Adams County, Ohio                        0.3473544585%
                OH4        Adams Township, Champaign County,         0.0001374611%
                           Ohio
                OH5        Adams Township, Clinton County, Ohio      0.0003122525%
                OH6        Adams Township, Darke County, Ohio        0.0016731027%
                OH7        Adams Township, Monroe County, Ohio       0.0000311703%
                OH8        Adams Township, Muskingum County,         0.0001003092%
                           Ohio
               OH9         Adams Township, Seneca County, Ohio       0.0003810303%
               OH10        Adams Township, Washington County,        0.0001169753%
                           Ohio
               OH11        Adamsville Village, Ohio                  0.0000910884%
               OH12        Addyston Village, Ohio                    0.0025217854%
               OH13        Adelphi Village, Ohio                     0.0020068066%
               OH14        Adena Village, Ohio                       0.0003568983%
               OH15        Aid Township, Ohio                        0.0003303244%
               OH16        Akron City, Ohio                          0.8812077621%
               OH17        Albany Village, Ohio                      0.0019488925%
               OH18        Alexander Township, Ohio                  0.0001250626%
               OH19        Alexandria Village, Ohio                  0.0005560173%
               OH20        Alger Village, Ohio                       0.0005166462%
               OH21        Allen County, Ohio                        0.4092999560%
               OH22        Allen Township, Darke County, Ohio        0.0006643202%
               OH23        Allen Township, Hancock County, Ohio      0.0005903230%
               OH24        Allen Township, Ottawa County, Ohio       0.0005976710%
               OH25        Allen Township, Union County, Ohio        0.0028518922%
               OH26        Alliance City, Ohio                       0.0889490116%
               OH27        Amanda Township, Fairfield County,        0.0018577114%
                           Ohio
               OH28        Amanda Township, Hancock County,          0.0001616361%
                           Ohio
               OH29        Amanda Village, Ohio                      0.0005782400%
               OH30        Amberley Village, Ohio                    0.0192140009%
               OH31        Amboy Township, Ohio                      0.0017244001%
               OH32        Amelia Village, Ohio                      0.0138770427%
               OH33        American Township, Ohio                   0.0193901533%
               OH34        Ames Township, Ohio                       0.0004272973%
               OH35        Amesville Village, Ohio                   0.0000937970%
               OH36        Amherst City, Ohio                        0.0344767089%
               OH37        Amherst Township, Ohio                    0.0134400730%
               OH38        Amsterdam Village, Ohio                   0.0003984552%
               OH39        Anderson Township, Ohio                   0.0760877775%
               OH40        Andover Township, Ohio                    0.0010566751%
               OH41        Andover Village, Ohio                     0.0040505880%
               OH42        Anna Village, Ohio                        0.0028751504%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               OH43        Ansonia Village, Ohio                      0.0014885693%
               OH44        Antioch Village, Ohio                      0.0000311703%
               OH45        Antwerp Village, Ohio                      0.0009282725%
               OH46        Apple Creek Village, Ohio                  0.0004832518%
               OH47        Aquilla Village, Ohio                      0.0000095709%
               OH48        Arcadia Village, Ohio                      0.0000210830%
               OH49        Arcanum Village, Ohio                      0.0034200188%
               OH50        Archbold Village, Ohio                     0.0168893369%
               OH51        Arlington Heights Village, Ohio            0.0024048815%
               OH52        Arlington Village, Ohio                    0.0017280808%
               OH53        Ashland City, Ohio                         0.0677959091%
               OH54        Ashland County, Ohio                       0.2064379332%
               OH55        Ashley Village, Ohio                       0.0012125812%
               OH56        Ashtabula City, Ohio                       0.0931048204%
               OH57        Ashtabula County, Ohio                     0.7429130666%
               OH58        Ashtabula Township, Ohio                   0.0174821031%
               OH59        Ashville Village, Ohio                     0.0024582550%
               OH60        Athalia Village, Ohio                      0.0000173855%
               OH61        Athens City, Ohio                          0.0700871751%
               OH62        Athens County, Ohio                        0.4584170235%
               OH63        Athens Township, Athens County, Ohio       0.0025846274%
               OH64        Athens Township, Harrison County,          0.0003148983%
                           Ohio
               OH65        Attica Village, Ohio                       0.0007921419%
               OH66        Atwater Township, Ohio                     0.0004753019%
               OH67        Auburn Township, Crawford County,          0.0007613308%
                           Ohio
               OH68        Auburn Township, Geauga County, Ohio       0.0067953249%
               OH69        Auburn Township, Tuscarawas County,        0.0000098536%
                           Ohio
               OH70        Auglaize County, Ohio                      0.1648586210%
               OH71        Auglaize Township, Allen County, Ohio      0.0010226874%
               OH72        Auglaize Township, Paulding County,        0.0000730923%
                           Ohio
               OH73        Augusta Township, Ohio                     0.0004684152%
               OH74        Aurelius Township, Ohio                    0.0000083554%
               OH75        Aurora City, Ohio                          0.0294524674%
               OH76        Austinburg Township, Ohio                  0.0004813742%
               OH77        Austintown Township, Ohio                  0.0890063352%
               OH78        Avon City, Ohio                            0.0729757005%
               OH79        Avon Lake City, Ohio                       0.0663140992%
               OH80        Bailey Lakes Village, Ohio                 0.0000813388%
               OH81        Bainbridge Township, Ohio                  0.0406379571%
               OH82        Bainbridge Village, Ohio                   0.0022724133%
               OH83        Bairdstown Village, Ohio                   0.0000612234%
               OH84        Ballville Township, Ohio                   0.0021521086%
               OH85        Baltic Village, Ohio                       0.0009410120%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               OH86        Baltimore Village, Ohio                   0.0031532207%
               OH87        Barberton City, Ohio                      0.1164193916%
               OH88        Barlow Township, Ohio                     0.0003258598%
               OH89        Barnesville Village, Ohio                 0.0106861443%
               OH90        Barnhill Village, Ohio                    0.0006601909%
               OH91        Bartlow Township, Ohio                    0.0001082864%
               OH92        Batavia Township, Ohio                    0.0000517157%
               OH93        Batavia Village, Ohio                     0.0047750818%
               OH94        Batesville Village, Ohio                  0.0000517432%
               OH95        Bath Township, Allen County, Ohio         0.0088564730%
               OH96        Bath Township, Greene County, Ohio        0.0001754181%
               OH97        Bath Township, Summit County, Ohio        0.0489522386%
               OH98        Baughman Township, Ohio                   0.0001353105%
               OH99        Bay Township, Ohio                        0.0000549583%
               OH100       Bay View Village, Ohio                    0.0012986334%
               OH101       Bay Village City, Ohio                    0.0295102794%
               OH102       Bazetta Township, Ohio                    0.0331455317%
               OH103       Beach City Village, Ohio                  0.0006531299%
               OH104       Beachwood City, Ohio                      0.0573216138%
               OH105       Beallsville Village, Ohio                 0.0001580913%
               OH106       Bearfield Township, Ohio                  0.0005486478%
               OH107       Beaver Township, Mahoning County,         0.0148139167%
                           Ohio
               OH108       Beaver Township, Pike County, Ohio        0.0003380168%
               OH109       Beaver Village, Ohio                      0.0001859093%
               OH110       Beavercreek City, Ohio                    0.0843658046%
               OH111       Beavercreek Township, Ohio                0.1348759090%
               OH112       Beaverdam Village, Ohio                   0.0000749971%
               OH113       Bedford City, Ohio                        0.0429793572%
               OH114       Bedford Heights City, Ohio                0.0386687782%
               OH115       Bedford Township, Ohio                    0.0000306151%
               OH116       Bellaire Village, Ohio                    0.0010264323%
               OH117       Bellbrook City, Ohio                      0.0237949542%
               OH118       Belle Center Village, Ohio                0.0005231767%
               OH119       Belle Valley Village, Ohio                0.0001073626%
               OH120       Bellefontaine City, Ohio                  0.0729400123%
               OH121       Bellevue City, Ohio                       0.0299834456%
               OH122       Bellville Village, Ohio                   0.0011239941%
               OH123       Belmont County, Ohio                      0.4904799617%
               OH124       Belmont Village, Ohio                     0.0011248573%
               OH125       Belmore Village, Ohio                     0.0002483511%
               OH126       Beloit Village, Ohio                      0.0037587550%
               OH127       Belpre City, Ohio                         0.0099429019%
               OH128       Belpre Township, Ohio                     0.0009358025%
               OH129       Bennington Township, Licking County,      0.0005560173%
                           Ohio


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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               OH130       Bennington Township, Morrow County,         0.0001476031%
                           Ohio
               OH131       Bentleyville Village, Ohio                  0.0019992236%
               OH132       Benton Ridge Village, Ohio                  0.0000914068%
               OH133       Benton Township, Hocking County,            0.0001089904%
                           Ohio
               OH134       Benton Township, Ottawa County, Ohio        0.0007968947%
               OH135       Benton Township, Paulding County,           0.0002485139%
                           Ohio
               OH136       Benton Township, Pike County, Ohio          0.0003718185%
               OH137       Berea City, Ohio                            0.0293403849%
               OH138       Bergholz Village, Ohio                      0.0002390731%
               OH139       Berkey Village, Ohio                        0.0003639406%
               OH140       Berkshire Township, Ohio                    0.0000742397%
               OH141       Berlin Heights Village, Ohio                0.0009142379%
               OH142       Berlin Township, Delaware County,           0.0000164977%
                           Ohio
               OH143       Berlin Township, Erie County, Ohio          0.0001350579%
               OH144       Berlin Township, Holmes County, Ohio        0.0000814306%
               OH145       Berlin Township, Mahoning County,           0.0014985886%
                           Ohio
               OH146       Bern Township, Ohio                         0.0001354845%
               OH147       Berne Township, Ohio                        0.0001629571%
               OH148       Bethel Township, Clark County, Ohio         0.0138134025%
               OH149       Bethel Township, Monroe County, Ohio        0.0000498724%
               OH150       Bethel Village, Ohio                        0.0057576798%
               OH151       Bethesda Village, Ohio                      0.0006889751%
               OH152       Bethlehem Township, Coshocton               0.0000765378%
                           County, Ohio
               OH153       Bethlehem Township, Stark County,           0.0015140738%
                           Ohio
               OH154       Bettsville Village, Ohio                    0.0009525757%
               OH155       Beverly Village, Ohio                       0.0019551589%
               OH156       Bexley City, Ohio                           0.0458668476%
               OH157       Big Island Township, Ohio                   0.0005578783%
               OH158       Black Creek Township, Ohio                  0.0001534027%
               OH159       Blakeslee Village, Ohio                     0.0000628635%
               OH160       Blanchard Township, Hancock County,         0.0001475808%
                           Ohio
               OH161       Blanchard Township, Putnam County,          0.0006457128%
                           Ohio
               OH162       Blanchester Village, Ohio                   0.0114641267%
               OH163       Blendon Township, Ohio                      0.0282639366%
               OH164       Bloom Township, Fairfield County, Ohio      0.0118551321%
               OH165       Bloom Township, Morgan County, Ohio         0.0001713719%
               OH166       Bloom Township, Scioto County, Ohio         0.0000852977%
               OH167       Bloom Township, Seneca County, Ohio         0.0009926842%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               OH168       Bloomdale Village, Ohio                    0.0005693772%
               OH169       Bloomfield Township, Jackson County,       0.0013260530%
                           Ohio
               OH170       Bloomfield Township, Logan County,         0.0000099754%
                           Ohio
               OH171       Bloomingburg Village, Ohio                 0.0002078369%
               OH172       Bloomingdale Village, Ohio                 0.0002231349%
               OH173       Bloominggrove Township, Ohio               0.0001784118%
               OH174       Bloomville Village, Ohio                   0.0004411930%
               OH175       Blue Ash City, Ohio                        0.0851895858%
               OH176       Blue Creek Township, Ohio                  0.0000767469%
               OH177       Blue Rock Township, Ohio                   0.0001103402%
               OH178       Bluffton Village, Ohio                     0.0052836661%
               OH179       Boardman Township, Ohio                    0.1408673271%
               OH180       Bokescreek Township, Ohio                  0.0013367015%
               OH181       Bolivar Village, Ohio                      0.0004434118%
               OH182       Boston Heights Village, Ohio               0.0077201699%
               OH183       Boston Township, Ohio                      0.0003662503%
               OH184       Botkins Village, Ohio                      0.0019522626%
               OH185       Bowerston Village, Ohio                    0.0000572542%
               OH186       Bowersville Village, Ohio                  0.0000916319%
               OH187       Bowling Green City, Ohio                   0.0752741164%
               OH188       Bowling Green Township, Ohio               0.0000370678%
               OH189       Braceville Township, Ohio                  0.0037680877%
               OH190       Bradford Village, Ohio                     0.0028661348%
               OH191       Bradner Village, Ohio                      0.0009183503%
               OH192       Brady Lake Village, Ohio                   0.0002559318%
               OH193       Brady Township, Ohio                       0.0005029083%
               OH194       Bratenahl Village, Ohio                    0.0051323943%
               OH195       Bratton Township, Ohio                     0.0000790580%
               OH196       Brecksville City, Ohio                     0.0241013127%
               OH197       Bremen Village, Ohio                       0.0006844200%
               OH198       Brewster Village, Ohio                     0.0058880648%
               OH199       Brice Village, Ohio                        0.0005574892%
               OH200       Bridgeport Village, Ohio                   0.0050477971%
               OH201       Bridgewater Township, Ohio                 0.0004164709%
               OH202       Brighton Township, Ohio                    0.0000194784%
               OH203       Brimfield Township, Ohio                   0.0111960000%
               OH204       Bristol Township, Morgan County, Ohio      0.0001285289%
               OH205       Bristol Township, Trumbull County,         0.0252513027%
                           Ohio
               OH206       Broadview Heights City, Ohio               0.0226789401%
               OH207       Bronson Township, Ohio                     0.0009334281%
               OH208       Brook Park City, Ohio                      0.0389572037%
               OH209       Brookfield Township, Noble County,         0.0000517432%
                           Ohio


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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
               OH210       Brookfield Township, Trumbull County,       0.0346459468%
                           Ohio
               OH211       Brooklyn City, Ohio                         0.0212407634%
               OH212       Brooklyn Heights Village, Ohio              0.0100909430%
               OH213       Brookside Village, Ohio                     0.0001124857%
               OH214       Brookville City, Ohio                       0.0216648650%
               OH215       Broughton Village, Ohio                     0.0000073092%
               OH216       Brown County, Ohio                          0.4653422837%
               OH217       Brown Township, Carroll County, Ohio        0.0009477238%
               OH218       Brown Township, Darke County, Ohio          0.0007873425%
               OH219       Brown Township, Delaware County,            0.0000082489%
                           Ohio
               OH220       Brown Township, Franklin County, Ohio       0.0003894787%
               OH221       Brown Township, Knox County, Ohio           0.0039027192%
               OH222       Brown Township, Miami County, Ohio          0.0006132702%
               OH223       Brown Township, Paulding County,            0.0001315662%
                           Ohio
               OH224       Brown Township, Vinton County, Ohio         0.0000390135%
               OH225       Brunswick City, Ohio                        0.1197413086%
               OH226       Brunswick Hills Township, Ohio              0.0200631640%
               OH227       Brush Creek Township, Jefferson             0.0001275057%
                           County, Ohio
               OH228       Brush Creek Township, Scioto County,        0.0011088700%
                           Ohio
               OH229       Brushcreek Township, Ohio                   0.0059850824%
               OH230       Bryan City, Ohio                            0.0285400457%
               OH231       Buchtel Village, Ohio                       0.0001849243%
               OH232       Buckeye Lake Village, Ohio                  0.0040562680%
               OH233       Buckland Village, Ohio                      0.0001068314%
               OH234       Bucks Township, Ohio                        0.0002857543%
               OH235       Bucyrus City, Ohio                          0.0467130847%
               OH236       Bucyrus Township, Ohio                      0.0002175231%
               OH237       Buffalo Township, Ohio                      0.0000689910%
               OH238       Burbank Village, Ohio                       0.0001559017%
               OH239       Burgoon Village, Ohio                       0.0001532454%
               OH240       Burkettsville Village, Ohio                 0.0000203512%
               OH241       Burlington Township, Ohio                   0.0012973736%
               OH242       Burton Township, Ohio                       0.0022682986%
               OH243       Burton Village, Ohio                        0.0036177927%
               OH244       Butler County, Ohio                         2.6887406714%
               OH245       Butler Township, Columbiana County,         0.0017704304%
                           Ohio
               OH246       Butler Township, Darke County, Ohio         0.0006643202%
               OH247       Butler Township, Mercer County, Ohio        0.0021025197%
               OH248       Butler Township, Montgomery County,         0.0308007959%
                           Ohio
               OH249       Butler Township, Richland County, Ohio      0.0003925059%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               OH250       Butler Village, Ohio                      0.0004817118%
               OH251       Butlerville Village, Ohio                 0.0001866800%
               OH252       Byesville Village, Ohio                   0.0018493145%
               OH253       Byrd Township, Ohio                       0.0018293707%
               OH254       Cadiz Township, Ohio                      0.0013359320%
               OH255       Cadiz Village, Ohio                       0.0042081859%
               OH256       Caesarscreek Township, Ohio               0.0004643421%
               OH257       Cairo Village, Ohio                       0.0000409075%
               OH258       Caldwell Village, Ohio                    0.0017937650%
               OH259       Caledonia Village, Ohio                   0.0007098142%
               OH260       Cambridge City, Ohio                      0.0668200845%
               OH261       Cambridge Township, Ohio                  0.0000951853%
               OH262       Camden Township, Ohio                     0.0003116539%
               OH263       Camden Village, Ohio                      0.0031099397%
               OH264       Camp Creek Township, Ohio                 0.0001943597%
               OH265       Campbell City, Ohio                       0.0206854359%
               OH266       Canaan Township, Morrow County,           0.0000885618%
                           Ohio
               OH267       Canaan Township, Wayne County, Ohio       0.0002435589%
               OH268       Canal Fulton City, Ohio                   0.0143391696%
               OH269       Canal Winchester City, Ohio               0.0017001990%
               OH270       Canfield City, Ohio                       0.0340253310%
               OH271       Canfield Township, Ohio                   0.0024198521%
               OH272       Canton City, Ohio                         0.4906093929%
               OH273       Canton Township, Ohio                     0.0238293446%
               OH274       Cardington Village, Ohio                  0.0026450469%
               OH275       Carey Village, Ohio                       0.0048237347%
               OH276       Carlisle Township, Ohio                   0.0046455904%
               OH277       Carlisle Village, Ohio                    0.0081658806%
               OH278       Carroll County, Ohio                      0.1274960868%
               OH279       Carroll Township, Ohio                    0.0031394902%
               OH280       Carroll Village, Ohio                     0.0008718207%
               OH281       Carrollton Village, Ohio                  0.0061329714%
               OH282       Carryall Township, Ohio                   0.0000511646%
               OH283       Carthage Township, Ohio                   0.0002397033%
               OH284       Cass Township, Muskingum County,          0.0002006185%
                           Ohio
               OH285       Cass Township, Richland County, Ohio      0.0007850118%
               OH286       Casstown Village, Ohio                    0.0005337723%
               OH287       Castalia Village, Ohio                    0.0011427974%
               OH288       Castine Village, Ohio                     0.0005289957%
               OH289       Catawba Island Township, Ohio             0.0060247984%
               OH290       Catawba Village, Ohio                     0.0002313575%
               OH291       Cecil Village, Ohio                       0.0000109638%
               OH292       Cedarville Township, Ohio                 0.0036837809%
               OH293       Cedarville Village, Ohio                  0.0036321873%
               OH294       Celina City, Ohio                         0.0165674940%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               OH295       Center Township, Carroll County, Ohio       0.0001634007%
               OH296       Center Township, Columbiana County,         0.0003327877%
                           Ohio
               OH297       Center Township, Guernsey County,           0.0001903706%
                           Ohio
               OH298       Center Township, Mercer County, Ohio        0.0004241134%
               OH299       Center Township, Monroe County, Ohio        0.0005361288%
               OH300       Center Township, Morgan County, Ohio        0.0000535537%
               OH301       Center Township, Noble County, Ohio         0.0001724774%
               OH302       Center Township, Williams County,           0.0005107662%
                           Ohio
               OH303       Center Township, Wood County, Ohio          0.0002510158%
               OH304       Centerburg Village, Ohio                    0.0041342364%
               OH305       Centerville City, Ohio                      0.0591550598%
               OH306       Centerville Village, Ohio                   0.0005060807%
               OH307       Cessna Township, Ohio                       0.0001110677%
               OH308       Chagrin Falls Township, Ohio                0.0000039510%
               OH309       Chagrin Falls Village, Ohio                 0.0125168784%
               OH310       Champaign County, Ohio                      0.2269483026%
               OH311       Champion Township, Ohio                     0.0283714840%
               OH312       Chardon City, Ohio                          0.0479405386%
               OH313       Chardon Township, Ohio                      0.0039336317%
               OH314       Charlestown Township, Ohio                  0.0000121872%
               OH315       Chatfield Township, Ohio                    0.0008265878%
               OH316       Chatfield Village, Ohio                     0.0000870092%
               OH317       Chatham Township, Ohio                      0.0003778818%
               OH318       Chauncey Village, Ohio                      0.0000833751%
               OH319       Cherry Fork Village, Ohio                   0.0004264208%
               OH320       Cherry Valley Township, Ohio                0.0004696334%
               OH321       Chesapeake Village, Ohio                    0.0021905725%
               OH322       Cheshire Township, Ohio                     0.0010496489%
               OH323       Cheshire Village, Ohio                      0.0001686936%
               OH324       Chester Township, Clinton County, Ohio      0.0019181224%
               OH325       Chester Township, Geauga County, Ohio       0.0252766944%
               OH326       Chester Township, Morrow County,            0.0005136587%
                           Ohio
               OH327       Chester Township, Wayne County, Ohio        0.0004213956%
               OH328       Chesterhill Village, Ohio                   0.0000958805%
               OH329       Chesterville Village, Ohio                  0.0000531371%
               OH330       Cheviot City, Ohio                          0.0177109500%
               OH331       Chickasaw Village, Ohio                     0.0003251707%
               OH332       Chillicothe City, Ohio                      0.3116747707%
               OH333       Chilo Village, Ohio                         0.0001537865%
               OH334       Chippewa Lake Village, Ohio                 0.0005077787%
               OH335       Chippewa Township, Ohio                     0.0025863636%
               OH336       Christiansburg Village, Ohio                0.0002537744%
               OH337       Cincinnati City, Ohio                       1.9225774768%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               OH338       Circleville City, Ohio                     0.3452050773%
               OH339       Circleville Township, Ohio                 0.0006412839%
               OH340       Claibourne Township, Ohio                  0.0000211028%
               OH341       Claridon Township, Ohio                    0.0025745668%
               OH342       Clarington Village, Ohio                   0.0000498724%
               OH343       Clark County, Ohio                         1.2151983585%
               OH344       Clark Township, Brown County, Ohio         0.0053640868%
               OH345       Clark Township, Clinton County, Ohio       0.0010928837%
               OH346       Clarksburg Village, Ohio                   0.0000295119%
               OH347       Clarksfield Township, Ohio                 0.0007412517%
               OH348       Clarksville Village, Ohio                  0.0004237712%
               OH349       Clay Center Village, Ohio                  0.0000618280%
               OH350       Clay Township, Auglaize County, Ohio       0.0004451307%
               OH351       Clay Township, Highland County, Ohio       0.0003613635%
               OH352       Clay Township, Montgomery County,          0.0058148642%
                           Ohio
               OH353       Clay Township, Muskingum County,           0.0004012369%
                           Ohio
               OH354       Clay Township, Ottawa County, Ohio         0.0026311263%
               OH355       Clay Township, Scioto County, Ohio         0.0064826249%

               OH356       0.0000492680%
               OH357       Clayton City, Ohio                         0.0375148659%
               OH358       Clayton Township, Ohio                     0.0004303120%
               OH359       Clear Creek Township, Ohio                 0.0874295648%
               OH360       Clearcreek Township, Ohio                  0.0010918129%
               OH361       Clermont County, Ohio                      1.9148422650%
               OH362       Cleveland City, Ohio                       1.8006406770%
               OH363       Cleveland Heights City, Ohio               0.0861404621%
               OH364       Cleves Village, Ohio                       0.0031981583%
               OH365       Clifton Village, Ohio                      0.0002996729%
               OH366       Clinton County, Ohio                       0.4003299792%
               OH367       Clinton Township, Franklin County,         0.0107832149%
                           Ohio
               OH368       Clinton Township, Fulton County, Ohio      0.0006481787%
               OH369       Clinton Township, Seneca County, Ohio      0.0007420064%
               OH370       Clinton Township, Shelby County, Ohio      0.0005501831%
               OH371       Clinton Township, Vinton County, Ohio      0.0002860993%
               OH372       Clinton Township, Wayne County, Ohio       0.0001933007%
               OH373       Clinton Village, Ohio                      0.0011373034%
               OH374       Cloverdale Village, Ohio                   0.0001986809%
               OH375       Clyde City, Ohio                           0.0219912947%
               OH376       Coal Grove Village, Ohio                   0.0050070228%
               OH377       Coal Township, Jackson County, Ohio        0.0004972699%
               OH378       Coal Township, Perry County, Ohio          0.0003550074%
               OH379       Coalton Village, Ohio                      0.0024310971%
               OH380       Coitsville Township, Ohio                  0.0048028536%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
               OH381       Coldwater Village, Ohio                   0.0054593322%
               OH382       Colerain Township, Belmont County,        0.0006046108%
                           Ohio
               OH383       Colerain Township, Hamilton County,       0.1398087860%
                           Ohio
               OH384       College Corner Village, Ohio              0.0022611881%
               OH385       College Township, Ohio                    0.0028608916%
               OH386       Columbia Township, Hamilton County,       0.0091268592%
                           Ohio
               OH387       Columbia Township, Lorain County,         0.0044508068%
                           Ohio
               OH388       Columbia Township, Meigs County,          0.0000676625%
                           Ohio
               OH389       Columbiana City, Ohio                     0.0212455929%
               OH390       Columbiana County, Ohio                   0.6832396894%
               OH391       Columbus City, Ohio                       4.0358741733%
               OH392       Columbus Grove Village, Ohio              0.0013907661%
               OH393       Commercial Point Village, Ohio            0.0008841945%
               OH394       Concord Township, Delaware County,        0.0132064120%
                           Ohio
               OH395       Concord Township, Fayette County,         0.0003201811%
                           Ohio
               OH396       Concord Township, Highland County,        0.0000677557%
                           Ohio
               OH397       Concord Township, Lake County, Ohio       0.0329119594%
               OH398       Concord Township, Miami County, Ohio      0.0048266640%
               OH399       Concord Township, Ross County, Ohio       0.0034233759%
               OH400       Conesville Village, Ohio                  0.0001949904%
               OH401       Congress Township, Morrow County,         0.0000354247%
                           Ohio
               OH402       Congress Township, Wayne County,          0.0000386601%
                           Ohio
               OH403       Congress Village, Ohio                    0.0001394121%
               OH404       Conneaut City, Ohio                       0.0500864015%
               OH405       Continental Village, Ohio                 0.0013742094%
               OH406       Convoy Village, Ohio                      0.0015735393%
               OH407       Coolville Village, Ohio                   0.0002918128%
               OH408       Copley Township, Ohio                     0.0644889601%
               OH409       Corning Village, Ohio                     0.0010865378%
               OH410       Cortland City, Ohio                       0.0349699000%
               OH411       Corwin Village, Ohio                      0.0004993129%
               OH412       Coshocton City, Ohio                      0.0177337984%
               OH413       Coshocton County, Ohio                    0.1889793769%
               OH414       Coventry Township, Ohio                   0.0112670146%
               OH415       Covington Village, Ohio                   0.0077226624%
               OH416       Craig Beach Village, Ohio                 0.0004176394%
               OH417       Cranberry Township, Ohio                  0.0001631423%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               OH418       Crane Township, Paulding County, Ohio      0.0001169477%
               OH419       Crane Township, Wyandot County, Ohio       0.0005667045%
               OH420       Crawford County, Ohio                      0.2595376809%
               OH421       Crawford Township, Coshocton County,       0.0002372670%
                           Ohio
               OH422       Crawford Township, Wyandot County,         0.0001079437%
                           Ohio
               OH423       Crestline Village, Ohio                    0.0166501207%
               OH424       Creston Village, Ohio                      0.0007596505%
               OH425       Cridersville Village, Ohio                 0.0045581388%
               OH426       Crooksville Village, Ohio                  0.0043353934%
               OH427       Crosby Township, Ohio                      0.0044757516%
               OH428       Cross Creek Township, Ohio                 0.0061202713%
               OH429       Crown City Village, Ohio                   0.0005435682%
               OH430       Cumberland Village, Ohio                   0.0007050617%
               OH431       Custar Village, Ohio                       0.0000244893%
               OH432       Cuyahoga Falls City, Ohio                  0.1811685822%
               OH433       Cuyahoga Heights Village, Ohio             0.0193798260%
               OH434       Cygnet Village, Ohio                       0.0002510158%
               OH435       Cynthian Township, Ohio                    0.0000266218%
               OH436       Dallas Township, Ohio                      0.0001522662%
               OH437       Dalton Village, Ohio                       0.0011945985%
               OH438       Damascus Township, Ohio                    0.0007850761%
               OH439       Danbury Township, Ohio                     0.0038539475%
               OH440       Danville Village, Ohio                     0.0021828768%
               OH441       Darby Township, Madison County, Ohio       0.0011346056%
               OH442       Darby Township, Union County, Ohio         0.0004220559%
               OH443       Darbyville Village, Ohio                   0.0000242911%
               OH444       Darke County, Ohio                         0.2651621760%
               OH445       Dayton City, Ohio                          1.3353086202%
               OH446       De Graff Village, Ohio                     0.0013067754%
               OH447       Decatur Township, Lawrence County,         0.0001043130%
                           Ohio
               OH448       Decatur Township, Washington County,       0.0001169753%
                           Ohio
               OH449       Deer Park City, Ohio                       0.0107468140%
               OH450       Deercreek Township, Ohio                   0.0004275226%
               OH451       Deerfield Township, Portage County,        0.0008693556%
                           Ohio
               OH452       Deerfield Township, Ross County, Ohio      0.0015346168%
               OH453       Deerfield Township, Warren County,         0.1151454582%
                           Ohio
               OH454       Deersville Village, Ohio                   0.0000209231%
               OH455       Defiance City, Ohio                        0.0658767007%
               OH456       Defiance County, Ohio                      0.1709704524%
               OH457       Defiance Township, Ohio                    0.0007172505%
               OH458       Delaware City, Ohio                        0.1151374756%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               OH459       Delaware County, Ohio                    0.4816174702%
               OH460       Delaware Township, Defiance County,      0.0015007088%
                           Ohio
               OH461       Delaware Township, Delaware County,      0.0075064553%
                           Ohio
               OH462       Delaware Township, Hancock County,       0.0001335254%
                           Ohio
               OH463       Delhi Township, Ohio                     0.0630446356%
               OH464       Dellroy Village, Ohio                    0.0002505477%
               OH465       Delphos City, Ohio                       0.0171051813%
               OH466       Delta Village, Ohio                      0.0085241620%
               OH467       Dennison Village, Ohio                   0.0062570335%
               OH468       Deshler Village, Ohio                    0.0009475056%
               OH469       Dexter City Village, Ohio                0.0000689910%
               OH470       Dillonvale Village, Ohio                 0.0012431801%
               OH471       Dinsmore Township, Ohio                  0.0004170743%
               OH472       Dodson Township, Ohio                    0.0105924667%
               OH473       Donnelsville Village, Ohio               0.0002721853%
               OH474       Dorset Township, Ohio                    0.0001174083%
               OH475       Dover City, Ohio                         0.0416708574%
               OH476       Dover Township, Athens County, Ohio      0.0005002505%
               OH477       Dover Township, Tuscarawas County,       0.0000886824%
                           Ohio
               OH478       Dover Township, Union County, Ohio       0.0005124965%
               OH479       Doylestown Village, Ohio                 0.0020721837%
               OH480       Dresden Village, Ohio                    0.0028086586%
               OH481       Dublin City, Ohio                        0.0949912950%
               OH482       Dublin Township, Ohio                    0.0004331371%
               OH483       Duchouquet Township, Ohio                0.0010861190%
               OH484       Dunham Township, Ohio                    0.0004344797%
               OH485       Dunkirk Village, Ohio                    0.0005233559%
               OH486       Dupont Village, Ohio                     0.0006622696%
               OH487       Eagle Township, Brown County, Ohio       0.0090538344%
               OH488       Eagle Township, Vinton County, Ohio      0.0002210767%
               OH489       East Canton Village, Ohio                0.0024838727%
               OH490       East Cleveland City, Ohio                0.0558083674%
               OH491       East Liverpool City, Ohio                0.0368861843%
               OH492       East Palestine Village, Ohio             0.0165861370%
               OH493       East Sparta Village, Ohio                0.0004354199%
               OH494       East Union Township, Ohio                0.0003556733%
               OH495       Eastlake City, Ohio                      0.0700788770%
               OH496       Eaton City, Ohio                         0.0615604375%
               OH497       Eaton Township, Ohio                     0.0004480024%
               OH498       Eden Township, Licking County, Ohio      0.0004448138%
               OH499       Eden Township, Seneca County, Ohio       0.0001102982%
               OH500       Eden Township, Wyandot County, Ohio      0.0000944507%
               OH501       Edgerton Village, Ohio                   0.0042354308%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                     Consolidated State
              State ID              Qualifying Subdivision              Allocation
               OH502       Edinburg Township, Ohio                      0.0011740363%
               OH503       Edison Village, Ohio                         0.0001948360%
               OH504       Edon Village, Ohio                           0.0013908558%
               OH505       Eldorado Village, Ohio                       0.0003273621%
               OH506       Elgin Village, Ohio                          0.0000619504%
               OH507       Elida Village, Ohio                          0.0011181382%
               OH508       Elizabeth Township, Lawrence County,         0.0009562023%
                           Ohio
               OH509       Elizabeth Township, Miami County,            0.0000454274%
                           Ohio
               OH510       Elk Township, Noble County, Ohio             0.0000344955%
               OH511       Elk Township, Vinton County, Ohio            0.0002600903%
               OH512       Elkrun Township, Ohio                        0.0004259682%
               OH513       Ellsworth Township, Ohio                     0.0001965362%
               OH514       Elmore Village, Ohio                         0.0016556174%
               OH515       Elmwood Place Village, Ohio                  0.0045008025%
               OH516       Elyria City, Ohio                            0.2638149975%
               OH517       Elyria Township, Ohio                        0.0007693955%
               OH518       Empire Village, Ohio                         0.0010041070%
               OH519       Englewood City, Ohio                         0.0628005329%
               OH520       Enon Village, Ohio                           0.0038378123%
               OH521       Erie County, Ohio                            0.4532438208%
               OH522       Erie Township, Ohio                          0.0006045408%
               OH523       Euclid City, Ohio                            0.0936790366%
               OH524       Evendale Village, Ohio                       0.0340357530%
               OH525       Fairborn City, Ohio                          0.1544298717%
               OH526       Fairfax Village, Ohio                        0.0079411190%
               OH527       Fairfield City, Ohio                         0.2893759753%
               OH528       Fairfield County, Ohio                       0.6244843622%
               OH529       Fairfield Township, Butler County, Ohio      0.0801075425%
               OH530       Fairfield Township, Columbiana County,       0.0024759402%
                           Ohio
               OH531       Fairfield Township, Huron County, Ohio       0.0006726173%
               OH532       Fairfield Township, Tuscarawas County,       0.0004138510%
                           Ohio
               OH533       Fairfield Township, Washington County,       0.0000501323%
                           Ohio
               OH534       Fairlawn City, Ohio                          0.0675346202%
               OH535       Fairport Harbor Village, Ohio                0.0091069372%
               OH536       Fairview Park City, Ohio                     0.0218966352%
               OH537       Fairview Village, Ohio                       0.0000924858%
               OH538       Falls Township, Hocking County, Ohio         0.0002873384%
               OH539       Falls Township, Muskingum County,            0.0022068032%
                           Ohio
               OH540       Farmer Township, Ohio                        0.0002869002%
               OH541       Farmersville Village, Ohio                   0.0013667928%
               OH542       Farmington Township, Ohio                    0.0015345154%

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               OH543       Fayette County, Ohio                        0.2554820842%
               OH544       Fayette Township, Ohio                      0.0013386832%
               OH545       Fayette Village, Ohio                       0.0012352086%
               OH546       Fayetteville Village, Ohio                  0.0029455968%
               OH547       Fearing Township, Ohio                      0.0004177690%
               OH548       Felicity Village, Ohio                      0.0030684641%
               OH549       Findlay City, Ohio                          0.1162163280%
               OH550       Fitchville Township, Ohio                   0.0003431721%
               OH551       Flatrock Township, Ohio                     0.0001691974%
               OH552       Fletcher Village, Ohio                      0.0012151836%
               OH553       Florence Township, Erie County, Ohio        0.0013194115%
               OH554       Florence Township, Williams County,         0.0002671700%
                           Ohio
               OH555       Florida Village, Ohio                       0.0015566164%
               OH556       Flushing Township, Ohio                     0.0005905501%
               OH557       Flushing Village, Ohio                      0.0004640036%
               OH558       Forest Park City, Ohio                      0.0861415180%
               OH559       Forest Village, Ohio                        0.0023324226%
               OH560       Fort Jennings Village, Ohio                 0.0004221969%
               OH561       Fort Loramie Village, Ohio                  0.0012778446%
               OH562       Fort Recovery Village, Ohio                 0.0009926059%
               OH563       Fostoria City, Ohio                         0.0512205361%
               OH564       Fowler Township, Ohio                       0.0047569976%
               OH565       Frankfort Village, Ohio                     0.0079678326%
               OH566       Franklin City, Ohio                         0.0535002847%
               OH567       Franklin County, Ohio                       5.7883029997%
               OH568       Franklin Township, Adams County,            0.0010014012%
                           Ohio
               OH569       Franklin Township, Brown County, Ohio       0.0023874837%
               OH570       Franklin Township, Clermont County,         0.0034132353%
                           Ohio
               OH571       Franklin Township, Columbiana County,       0.0006123293%
                           Ohio
               OH572       Franklin Township, Coshocton County,        0.0002449208%
                           Ohio
               OH573       Franklin Township, Darke County, Ohio       0.0004797868%
               OH574       Franklin Township, Franklin County,         0.0440874644%
                           Ohio
               OH575       Franklin Township, Fulton County, Ohio      0.0000733787%
               OH576       Franklin Township, Jackson County,          0.0003038871%
                           Ohio
               OH577       Franklin Township, Mercer County,           0.0012091744%
                           Ohio
               OH578       Franklin Township, Portage County,          0.0001990581%
                           Ohio
               OH579       Franklin Township, Richland County,         0.0008563765%
                           Ohio

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
               OH580       Franklin Township, Shelby County, Ohio      0.0011802315%
               OH581       Franklin Township, Tuscarawas County,       0.0031235899%
                           Ohio
               OH582       Franklin Township, Warren County,           0.0035372089%
                           Ohio
               OH583       Frazeysburg Village, Ohio                   0.0003209896%
               OH584       Fredericksburg Village, Ohio                0.0001198464%
               OH585       Fredericktown Village, Ohio                 0.0055729507%
               OH586       Freedom Township, Portage County,           0.0004265530%
                           Ohio
               OH587       Freedom Township, Wood County, Ohio         0.0012305895%
               OH588       Freeport Township, Ohio                     0.0002576440%
               OH589       Freeport Village, Ohio                      0.0001049661%
               OH590       Fremont City, Ohio                          0.0724844646%
               OH591       Fulton County, Ohio                         0.1830065436%
               OH592       Fulton Village, Ohio                        0.0001234266%
               OH593       Fultonham Village, Ohio                     0.0000100309%
               OH594       Gahanna City, Ohio                          0.0724048588%
               OH595       Galena Village, Ohio                        0.0001402305%
               OH596       Galion City, Ohio                           0.0440049221%
               OH597       Gallia County, Ohio                         0.3272280412%
               OH598       Gallipolis Village, Ohio                    0.0421733929%
               OH599       Gambier Village, Ohio                       0.0019348227%
               OH600       Gann Village, Ohio                          0.0000330739%
               OH601       Garfield Heights City, Ohio                 0.0512449222%
               OH602       Garrettsville Village, Ohio                 0.0040959299%
               OH603       Gasper Township, Ohio                       0.0060234621%
               OH604       Gates Mills Village, Ohio                   0.0065784730%
               OH605       Geauga County, Ohio                         0.4034987358%
               OH606       Geneva City, Ohio                           0.0306905423%
               OH607       Geneva Township, Ohio                       0.0015497902%
               OH608       Geneva-On-The-Lake Village, Ohio            0.0052011898%
               OH609       Genoa Township, Ohio                        0.0490971668%
               OH610       Genoa Village, Ohio                         0.0023769444%
               OH611       Georgetown Village, Ohio                    0.0263243336%
               OH612       German Township, Auglaize County,           0.0003115915%
                           Ohio
               OH613       German Township, Clark County, Ohio         0.0120986353%
               OH614       German Township, Fulton County, Ohio        0.0012718979%
               OH615       German Township, Harrison County,           0.0002671864%
                           Ohio
               OH616       German Township, Montgomery                 0.0069298793%
                           County, Ohio
               OH617       Germantown City, Ohio                       0.0166173231%
               OH618       Gettysburg Village, Ohio                    0.0016993673%
               OH619       Gibson Township, Ohio                       0.0000992606%
               OH620       Gibsonburg Village, Ohio                    0.0033999699%

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
               OH621       Gilboa Village, Ohio                      0.0001572890%
               OH622       Gilead Township, Ohio                     0.0002952061%
               OH623       Girard City, Ohio                         0.0699056997%
               OH624       Glandorf Village, Ohio                    0.0007698884%
               OH625       Glendale Village, Ohio                    0.0089682038%
               OH626       Glenford Village, Ohio                    0.0004004647%
               OH627       Glenmont Village, Ohio                    0.0000756142%
               OH628       Glenwillow Village, Ohio                  0.0043105790%
               OH629       Gloria Glens Park Village, Ohio           0.0002361762%
               OH630       Glouster Village, Ohio                    0.0025846274%
               OH631       Gnadenhutten Village, Ohio                0.0020889623%
               OH632       Golf Manor Village, Ohio                  0.0149804075%
               OH633       Good Hope Township, Ohio                  0.0000544952%
               OH634       Gordon Village, Ohio                      0.0000369067%
               OH635       Gorham Township, Ohio                     0.0003913532%
               OH636       Goshen Township, Auglaize County,         0.0000178052%
                           Ohio
               OH637       Goshen Township, Belmont County,          0.0007592787%
                           Ohio
               OH638       Goshen Township, Champaign County,        0.0009305060%
                           Ohio
               OH639       Goshen Township, Clermont County,         0.0551461609%
                           Ohio
               OH640       Goshen Township, Hardin County, Ohio      0.0002665626%
               OH641       Goshen Township, Mahoning County,         0.0098390939%
                           Ohio
               OH642       Goshen Township, Tuscarawas County,       0.0000492680%
                           Ohio
               OH643       Grafton Township, Ohio                    0.0022594905%
               OH644       Grafton Village, Ohio                     0.0066908189%
               OH645       Grand Prairie Township, Ohio              0.0006880499%
               OH646       Grand Rapids Township, Ohio               0.0003306061%
               OH647       Grand Rapids Village, Ohio                0.0005020315%
               OH648       Grand River Village, Ohio                 0.0044444886%
               OH649       Grand Township, Ohio                      0.0000371919%
               OH650       Grandview Heights City, Ohio              0.0363742583%
               OH651       Grandview Township, Ohio                  0.0005932320%
               OH652       Granger Township, Ohio                    0.0028459226%
               OH653       Granville Township, Licking County,       0.0126030583%
                           Ohio
               OH654       Granville Township, Mercer County,        0.0015971931%
                           Ohio
               OH655       Granville Village, Ohio                   0.0103882561%
               OH656       Gratiot Village, Ohio                     0.0002067581%
               OH657       Gratis Village, Ohio                      0.0064162966%
               OH658       Graysville Village, Ohio                  0.0000309746%
               OH659       Green Camp Township, Ohio                 0.0011901403%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
               OH660       Green Camp Village, Ohio                    0.0002045554%
               OH661       Green City, Ohio                            0.0847580205%
               OH662       Green Creek Township, Ohio                  0.0006872280%
               OH663       Green Springs Village, Ohio                 0.0016423298%
               OH664       Green Township, Adams County, Ohio          0.0000263527%
               OH665       Green Township, Brown County, Ohio          0.0034727036%
               OH666       Green Township, Clark County, Ohio          0.0007485095%
               OH667       Green Township, Clinton County, Ohio        0.0001561262%
               OH668       Green Township, Fayette County, Ohio        0.0001235787%
               OH669       Green Township, Gallia County, Ohio         0.0009184428%
               OH670       Green Township, Hamilton County,            0.0953852812%
                           Ohio
               OH671       Green Township, Harrison County, Ohio       0.0005725423%
               OH672       Green Township, Hocking County, Ohio        0.0033142996%
               OH673       Green Township, Mahoning County,            0.0033902496%
                           Ohio
               OH674       Green Township, Monroe County, Ohio         0.0000062341%
               OH675       Green Township, Ross County, Ohio           0.0105357346%
               OH676       Green Township, Scioto County, Ohio         0.0218077775%
               OH677       Green Township, Shelby County, Ohio         0.0000621174%
               OH678       Greene County, Ohio                         0.9063855073%
               OH679       Greene Township, Ohio                       0.0000341003%
               OH680       Greenfield Township, Fairfield County,      0.0084982150%
                           Ohio
               OH681       Greenfield Township, Huron County,          0.0011256045%
                           Ohio
               OH682       Greenfield Village, Ohio                    0.0148836578%
               OH683       Greenhills Village, Ohio                    0.0082250286%
               OH684       Greensburg Township, Ohio                   0.0001324539%
               OH685       Greenville City, Ohio                       0.0550893674%
               OH686       Greenville Township, Ohio                   0.0140737464%
               OH687       Greenwich Village, Ohio                     0.0017844949%
               OH688       Groton Township, Ohio                       0.0005921768%
               OH689       Grove City, Ohio                            0.0733060057%
               OH690       Groveport City, Ohio                        0.0125549613%
               OH691       Grover Hill Village, Ohio                   0.0001863854%
               OH692       Guernsey County, Ohio                       0.2910222727%
               OH693       Guilford Township, Ohio                     0.0060579183%
               OH694       Gustavus Township, Ohio                     0.0000511505%
               OH695       Guyan Township, Ohio                        0.0003561309%
               OH696       Hambden Township, Ohio                      0.0039432026%
               OH697       Hamden Village, Ohio                        0.0009493296%
               OH698       Hamer Township, Ohio                        0.0000451704%
               OH699       Hamersville Village, Ohio                   0.0007131445%
               OH700       Hamilton City, Ohio                         0.6764224012%
               OH701       Hamilton County, Ohio                       5.8561869769%


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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
               OH702       Hamilton Township, Franklin County,         0.0255910434%
                           Ohio
               OH703       Hamilton Township, Jackson County,          0.0005248960%
                           Ohio
               OH704       Hamilton Township, Lawrence County,         0.0009909733%
                           Ohio
               OH705       Hamilton Township, Warren County,           0.0450761424%
                           Ohio
               OH706       Hamler Village, Ohio                        0.0004060738%
               OH707       Hancock County, Ohio                        0.2855617267%
               OH708       Hanging Rock Village, Ohio                  0.0019993320%
               OH709       Hanover Township, Butler County, Ohio       0.0098235954%
               OH710       Hanover Township, Columbiana County,        0.0013178391%
                           Ohio
               OH711       Hanover Township, Licking County,           0.0043184009%
                           Ohio
               OH712       Hanover Village, Ohio                       0.0008062251%
               OH713       Hanoverton Village, Ohio                    0.0010440744%
               OH714       Harbor View Village, Ohio                   0.0001526700%
               OH715       Hardin County, Ohio                         0.2235793641%
               OH716       Harding Township, Ohio                      0.0000272955%
               OH717       Hardy Township, Ohio                        0.0013901375%
               OH718       Harlan Township, Ohio                       0.0030485156%
               OH719       Harlem Township, Ohio                       0.0049245646%
               OH720       Harmony Township, Clark County, Ohio        0.0018916876%
               OH721       Harmony Township, Morrow County,            0.0001180824%
                           Ohio
               OH722       Harpersfield Township, Ohio                 0.0005048559%
               OH723       Harpster Village, Ohio                      0.0000822938%
               OH724       Harris Township, Ohio                       0.0004190567%
               OH725       Harrisburg Village, Ohio                    0.0002978367%
               OH726       Harrison City, Ohio                         0.0560804997%
               OH727       Harrison County, Ohio                       0.0770641930%
               OH728       Harrison Township, Champaign County,        0.0001374611%
                           Ohio
               OH729       Harrison Township, Gallia County, Ohio      0.0002811560%
               OH730       Harrison Township, Hamilton County,         0.0022712769%
                           Ohio
               OH731       Harrison Township, Henry County, Ohio       0.0000203037%
               OH732       Harrison Township, Knox County, Ohio        0.0000165369%
               OH733       Harrison Township, Licking County,          0.0003058095%
                           Ohio
               OH734       Harrison Township, Vinton County,           0.0000199508%
                           Ohio
               OH735       Harrison Township, Montgomery               0.0328749640%
                           County, Ohio


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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
               OH736       Harrison Township, Muskingum County,        0.0004112679%
                           Ohio
               OH737       Harrison Township, Paulding County,         0.0000657831%
                           Ohio
               OH738       Harrison Township, Perry County, Ohio       0.0020762554%
               OH739       Harrison Township, Pickaway County,         0.0068306454%
                           Ohio
               OH740       Harrison Township, Preble County, Ohio      0.0015877060%
               OH741       Harrison Township, Scioto County, Ohio      0.0071650064%
               OH742       Harrison Township, Van Wert County,         0.0001858511%
                           Ohio
               OH743                                                   0.0005201806%
               OH744       Harrisville Township, Ohio                  0.0067192115%
               OH745       Harrisville Village, Ohio                   0.0000619645%
               OH746       Harrod Village, Ohio                        0.0000673593%
               OH747       Harrison Township, Vinton County,           0.0007413564%
                           Ohio
               OH748       Hartford Township, Trumbull County,         0.0014833648%
                           Ohio
               OH749       Hartford Village, Ohio                      0.0002502078%
               OH750       Hartland Township, Ohio                     0.0000960882%
               OH751       Hartsgrove Township, Ohio                   0.0005870417%
               OH752       Hartville Village, Ohio                     0.0099058031%
               OH753       Harveysburg Village, Ohio                   0.0012100978%
               OH754       Haskins Village, Ohio                       0.0008938610%
               OH755       Haviland Village, Ohio                      0.0000511646%
               OH756       Hayesville Village, Ohio                    0.0000894727%
               OH757       Heath City, Ohio                            0.0429986695%
               OH758       Hebron Village, Ohio                        0.0150402674%
               OH759       Helena Village, Ohio                        0.0000542548%
               OH760       Hemlock Village, Ohio                       0.0003549573%
               OH761       Henrietta Township, Ohio                    0.0004674808%
               OH762       Henry County, Ohio                          0.1089766836%
               OH763       Hicksville Township, Ohio                   0.0002096578%
               OH764       Hicksville Village, Ohio                    0.0077242363%
               OH765       Higginsport Village, Ohio                   0.0015866304%
               OH766       Highland County, Ohio                       0.3882850462%
               OH767       Highland Heights City, Ohio                 0.0224853394%
               OH768       Highland Hills Village, Ohio                0.0015764629%
               OH769       Highland Township, Defiance County,         0.0027365866%
                           Ohio
               OH770       Highland Township, Muskingum                0.0001705257%
                           County, Ohio
               OH771       Highland Village, Ohio                      0.0000677557%
               OH772       Hilliard City, Ohio                         0.0500136505%
               OH773       Hills and Dales Village, Ohio               0.0006069453%
               OH774       Hillsboro City, Ohio                        0.0707143136%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               OH775       Hinckley Township, Ohio                    0.0165323306%
               OH776       Hiram Township, Ohio                       0.0008287315%
               OH777       Hiram Village, Ohio                        0.0032539898%
               OH778       Hocking County, Ohio                       0.2559590488%
               OH779       Holgate Village, Ohio                      0.0002774838%
               OH780       Holiday City Village, Ohio                 0.0000613051%
               OH781       Holland Village, Ohio                      0.0097536077%
               OH782       Hollansburg Village, Ohio                  0.0003567645%
               OH783       Holloway Village, Ohio                     0.0002671536%
               OH784       Holmes County, Ohio                        0.1337033098%
               OH785       Holmes Township, Ohio                      0.0003480370%
               OH786       Holmesville Village, Ohio                  0.0000436236%
               OH787       Homer Township, Medina County, Ohio        0.0010864103%
               OH788       Homer Township, Morgan County, Ohio        0.0001820827%
               OH789       Hopedale Village, Ohio                     0.0002767288%
               OH790       Hopewell Township, Licking County,         0.0002502078%
                           Ohio
               OH791       Hopewell Township, Muskingum               0.0007422883%
                           County, Ohio
               OH792       Hopewell Township, Perry County, Ohio      0.0012909360%
               OH793       Hopewell Township, Seneca County,          0.0001303525%
                           Ohio
               OH794       Howard Township, Ohio                      0.0000496108%
               OH795       Howland Township, Ohio                     0.0502639031%
               OH796       Hoytville Village, Ohio                    0.0002378935%
               OH797       Hubbard City, Ohio                         0.0289341396%
               OH798       Hubbard Township, Ohio                     0.0153110532%
               OH799       Huber Heights City, Ohio                   0.1252489167%
               OH800       Hudson City, Ohio                          0.0660214283%
               OH801       Hunting Valley Village, Ohio               0.0076690112%
               OH802       Huntington Township, Brown County,         0.0072244638%
                           Ohio
               OH803       Huntington Township, Ross County,          0.0066106570%
                           Ohio
               OH804       Huntsburg Township, Ohio                   0.0006508198%
               OH805       Huntsville Village, Ohio                   0.0008479077%
               OH806       Huron City, Ohio                           0.0302737409%
               OH807       Huron County, Ohio                         0.3638859630%
               OH808       Huron Township, Ohio                       0.0007791800%
               OH809       Independence City, Ohio                    0.0311578609%
               OH810       Independence Township, Ohio                0.0000751984%
               OH811       Irondale Village, Ohio                     0.0001593821%
               OH812       Ironton City, Ohio                         0.0888572696%
               OH813       Island Creek Township, Ohio                0.0026616805%
               OH814       Israel Township, Ohio                      0.0004746750%
               OH815       Ithaca Village, Ohio                       0.0003813690%
               OH816       Jackson Center Village, Ohio               0.0015263144%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
               OH817       Jackson City, Ohio                         0.0556665988%
               OH818       Jackson County, Ohio                       0.4838159524%
               OH819       Jackson Township, Allen County, Ohio       0.0004227108%
               OH820       Jackson Township, Ashland County,          0.0000162678%
                           Ohio
               OH821       Jackson Township, Auglaize County,         0.0003115915%
                           Ohio
               OH822       Jackson Township, Brown County, Ohio       0.0004961005%
               OH823       Jackson Township, Clermont County,         0.0014652778%
                           Ohio
               OH824       Jackson Township, Coshocton County,        0.0005510719%
                           Ohio
               OH825       Jackson Township, Crawford County,         0.0000108762%
                           Ohio
               OH826       Jackson Township, Franklin County,         0.0661350150%
                           Ohio
               OH827       Jackson Township, Guernsey County,         0.0010334405%
                           Ohio
               OH828       Jackson Township, Hardin County, Ohio      0.0015327348%
               OH829       Jackson Township, Highland County,         0.0000451704%
                           Ohio
               OH830       Jackson Township, Jackson County,          0.0001105044%
                           Ohio
               OH831       Jackson Township, Mahoning County,         0.0058960862%
                           Ohio
               OH832       Jackson Township, Monroe County,           0.0000561065%
                           Ohio
               OH833       Jackson Township, Montgomery County,       0.0086323757%
                           Ohio
               OH834       Jackson Township, Muskingum County,        0.0011435253%
                           Ohio
               OH835       Jackson Township, Noble County, Ohio       0.0001207342%
               OH836       Jackson Township, Monroe County,           0.0001534939%
                           Ohio
               OH837       Jackson Township, Pickaway County,         0.0001894702%
                           Ohio
               OH838       Jackson Township, Pike County, Ohio        0.0004309715%
               OH839       Jackson Township, Richland County,         0.0004638706%
                           Ohio
               OH840       Jackson Township, Sandusky County,         0.0004340387%
                           Ohio
               OH841       Jackson Township, Seneca County, Ohio      0.0004311659%
               OH842       Jackson Township, Shelby County, Ohio      0.0013665838%
               OH843       Jackson Township, Stark County, Ohio       0.1371869620%
               OH844       Jackson Township, Union County, Ohio       0.0001416902%
               OH845       Jackson Township, Vinton County, Ohio      0.0000910316%
               OH846       Jackson Township, Wood County, Ohio        0.0001346914%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               OH847       Jackson Township, Wyandot County,           0.0001214367%
                           Ohio
               OH848       Jacksonburg Village, Ohio                   0.0002870780%
               OH849       Jacksonville Village, Ohio                  0.0008441727%
               OH850       Jamestown Village, Ohio                     0.0034877253%
               OH851       Jefferson County, Ohio                      0.6622324840%
               OH852       Jefferson Township, Adams County,           0.0007642272%
                           Ohio
               OH853       Jefferson Township, Brown County,           0.0006821382%
                           Ohio
               OH854       Jefferson Township, Clinton County,         0.0014720474%
                           Ohio
               OH855       Jefferson Township, Coshocton County,       0.0000612302%
                           Ohio
               OH856       Jefferson Township, Crawford County,        0.0004567985%
                           Ohio
               OH857       Jefferson Township, Fayette County,         0.0005898074%
                           Ohio
               OH858       Jefferson Township, Franklin County,        0.0261561693%
                           Ohio
               OH859       Jefferson Township, Greene County,          0.0000619123%
                           Ohio
               OH860       Jefferson Township, Guernsey County,        0.0000679895%
                           Ohio
               OH861       Jefferson Township, Jackson County,         0.0000828783%
                           Ohio
               OH862       Jefferson Township, Knox County, Ohio       0.0006284039%
               OH863       Jefferson Township, Logan County,           0.0002493846%
                           Ohio
               OH864       Jefferson Township, Madison County,         0.0262668976%
                           Ohio
               OH865       Jefferson Township, Montgomery              0.0133322246%
                           County, Ohio
               OH866       Jefferson Township, Muskingum               0.0005015462%
                           County, Ohio
               OH867       Jefferson Township, Noble County, Ohio      0.0000172477%
               OH868       Jefferson Township, Preble County,          0.0008020371%
                           Ohio
               OH869       Jefferson Township, Richland County,        0.0017662765%
                           Ohio
               OH870       Jefferson Township, Ross County, Ohio       0.0009148677%
               OH871       Jefferson Township, Scioto County,          0.0036109358%
                           Ohio
               OH872       Jefferson Township, Tuscarawas County,      0.0008079949%
                           Ohio
               OH873       Jefferson Township, Williams County,        0.0002200224%
                           Ohio

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
               OH874       Jefferson Village, Ohio                    0.0039566613%
               OH875       Jeffersonville Village, Ohio               0.0000112344%
               OH876       Jenera Village, Ohio                       0.0001194701%
               OH877       Jennings Township, Ohio                    0.0002731862%
               OH878       Jerome Township, Ohio                      0.0044044550%
               OH879       Jeromesville Village, Ohio                 0.0003085668%
               OH880       Jerry City Village, Ohio                   0.0003417298%
               OH881       Jersey Township, Ohio                      0.0017699883%
               OH882       Jerusalem Township, Ohio                   0.0021563480%
               OH883       Jerusalem Village, Ohio                    0.0000311703%
               OH884       Jewett Village, Ohio                       0.0001813051%
               OH885       Johnson Township, Ohio                     0.0002326265%
               OH886       Johnston Township, Ohio                    0.0002216522%
               OH887       Johnstown Village, Ohio                    0.0092206199%
               OH888       Junction City Village, Ohio                0.0017212480%
               OH889       Kalida Village, Ohio                       0.0022682733%
               OH890       Kelleys Island Village, Ohio               0.0028777715%
               OH891       Kent City, Ohio                            0.0513285414%
               OH892       Kenton City, Ohio                          0.0306658035%
               OH893       Kettering City, Ohio                       0.3384195127%
               OH894       Kettlersville Village, Ohio                0.0000266218%
               OH895       Killbuck Township, Ohio                    0.0002093931%
               OH896       Killbuck Village, Ohio                     0.0010702314%
               OH897       Kingston Township, Ohio                    0.0000164977%
               OH898       Kingston Village, Ohio                     0.0076824625%
               OH899       Kingsville Township, Ohio                  0.0011036385%
               OH900       Kinsman Township, Ohio                     0.0020801208%
               OH901       Kipton Village, Ohio                       0.0000973918%
               OH902       Kirby Village, Ohio                        0.0000472254%
               OH903       Kirkersville Village, Ohio                 0.0005560173%
               OH904       Kirkwood Township, Ohio                    0.0000140607%
               OH905       Kirtland City, Ohio                        0.0223930205%
               OH906       Kirtland Hills Village, Ohio               0.0096850050%
               OH907       Knox County, Ohio                          0.3115395206%
               OH908       Knox Township, Columbiana County,          0.0005191487%
                           Ohio
               OH909       Knox Township, Guernsey County, Ohio       0.0002039685%
               OH910       Knox Township, Jefferson County, Ohio      0.0010041070%
               OH911       Knox Township, Vinton County, Ohio         0.0001170406%
               OH912       La Grange Township, Ohio                   0.0042170664%
               OH913       La Rue Village, Ohio                       0.0006694539%
               OH914       Lafayette Township, Ohio                   0.0073805047%
               OH915       Lafayette Village, Ohio                    0.0000886329%
               OH916       Lagrange Village, Ohio                     0.0054247251%
               OH917       Lake County, Ohio                          1.2794251773%
               OH918       Lake Township, Stark County, Ohio          0.0367336076%
               OH919       Lake Township, Wood County, Ohio           0.0141058613%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
               OH920       Lakeline Village, Ohio                      0.0000947652%
               OH921       Lakemore Village, Ohio                      0.0083562888%
               OH922       Lakeview Village, Ohio                      0.0008279569%
               OH923       Lakewood City, Ohio                         0.1008106545%
               OH924       Lancaster City, Ohio                        0.1565040398%
               OH925       Latty Township, Ohio                        0.0000877108%
               OH926       Latty Village, Ohio                         0.0000219277%
               OH927       Laura Village, Ohio                         0.0001135686%
               OH928       Laurel Township, Ohio                       0.0001089904%
               OH929       Laurelville Village, Ohio                   0.0007183460%
               OH930       Lawrence County, Ohio                       0.5322395718%
               OH931       Lawrence Township, Lawrence County,         0.0093186258%
                           Ohio
               OH932       Lawrence Township, Stark County, Ohio       0.0140521883%
               OH933       Lawrence Township, Tuscarawas               0.0052322595%
                           County, Ohio
               OH934       Lawrence Township, Washington               0.0000334215%
                           County, Ohio
               OH935       Lebanon City, Ohio                          0.0873597515%
               OH936       Lebanon Township, Ohio                      0.0004736376%
               OH937       Lee Township, Athens County, Ohio           0.0005836255%
               OH938       Lee Township, Carroll County, Ohio          0.0000980404%
               OH939       Lee Township, Monroe County, Ohio           0.0000872768%
               OH940       Leesburg Township, Ohio                     0.0001989692%
               OH941       Leesburg Village, Ohio                      0.0054882077%
               OH942       Leesville Village, Ohio                     0.0000217868%
               OH943       Leetonia Village, Ohio                      0.0074544436%
               OH944       Leipsic Village, Ohio                       0.0030629968%
               OH945       Lemon Township, Ohio                        0.0041524079%
               OH946       Lenox Township, Ohio                        0.0002582984%
               OH947       Leroy Township, Ohio                        0.0053731877%
               OH948       Letart Township, Ohio                       0.0005413001%
               OH949       Lewis Township, Ohio                        0.0039998104%
               OH950       Lewisburg Village, Ohio                     0.0132254277%
               OH951       Lewisville Village, Ohio                    0.0001745536%
               OH952       Lexington Township, Ohio                    0.0014349065%
               OH953       Lexington Village, Ohio                     0.0093220146%
               OH954       Liberty Center Village, Ohio                0.0002842517%
               OH955       Liberty Township, Adams County, Ohio        0.0005534059%
               OH956       Liberty Township, Butler County, Ohio       0.1149425287%
               OH957       Liberty Township, Clinton County, Ohio      0.0016058699%
               OH958       Liberty Township, Crawford County,          0.0001413900%
                           Ohio
               OH959       Liberty Township, Darke County, Ohio        0.0010825959%
               OH960       Liberty Township, Delaware County,          0.0646792482%
                           Ohio


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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               OH961       Liberty Township, Guernsey County,          0.0001631748%
                           Ohio
               OH962       Liberty Township, Hancock County,           0.0013703927%
                           Ohio
               OH963       Liberty Township, Hardin County, Ohio       0.0010773571%
               OH964       Liberty Township, Henry County, Ohio        0.0006632539%
               OH965       Liberty Township, Highland County,          0.0016487208%
                           Ohio
               OH966       Liberty Township, Jackson County, Ohio      0.0018785750%
               OH967       Liberty Township, Knox County, Ohio         0.0003803498%
               OH968       Liberty Township, Licking County, Ohio      0.0000926695%
               OH969       Liberty Township, Logan County, Ohio        0.0003591138%
               OH970       Liberty Township, Mercer County, Ohio       0.0002526633%
               OH971       Liberty Township, Putnam County, Ohio       0.0002235160%
               OH972       Liberty Township, Seneca County, Ohio       0.0003409218%
               OH973       Liberty Township, Trumbull County,          0.0688997396%
                           Ohio
               OH974       Liberty Township, Union County, Ohio        0.0017726349%
               OH975       Liberty Township, Wood County, Ohio         0.0002142817%
               OH976       Lick Township, Ohio                         0.0000552522%
               OH977       Licking County, Ohio                        0.7119059883%
               OH978       Licking Township, Licking County,           0.0031507646%
                           Ohio
               OH979       Licking Township, Muskingum County,         0.0012839582%
                           Ohio
               OH980       Lima City, Ohio                             0.1727455397%
               OH981       Limaville Village, Ohio                     0.0003869608%
               OH982       Lincoln Heights Village, Ohio               0.0083419326%
               OH983       Lincoln Township, Ohio                      0.0001771237%
               OH984       Lindsey Village, Ohio                       0.0006510581%
               OH985       Linndale Village, Ohio                      0.0028091858%
               OH986       Lisbon Village, Ohio                        0.0009584285%
               OH987       Litchfield Township, Ohio                   0.0019838797%
               OH988       Lithopolis Village, Ohio                    0.0014069809%
               OH989       Liverpool Township, Columbiana              0.0053112911%
                           County, Ohio
               OH990       Liverpool Township, Medina County,          0.0054202427%
                           Ohio
               OH991       Lockbourne Village, Ohio                    0.0000076368%
               OH992       Lockington Village, Ohio                    0.0000443696%
               OH993       Lockland Village, Ohio                      0.0146296956%
               OH994       Lodi Township, Ohio                         0.0003856097%
               OH995       Lodi Village, Ohio                          0.0068845348%
               OH996       Logan City, Ohio                            0.0081742815%
               OH997       Logan County, Ohio                          0.2671308245%
               OH998       Logan Township, Ohio                        0.0001602471%
               OH999       London City, Ohio                           0.0432082694%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1000       Londonderry Township, Ohio                 0.0001223811%
              OH1001       Lorain City, Ohio                          0.2833225817%
              OH1002       Lorain County, Ohio                        1.3357776870%
              OH1003       Lordstown Village, Ohio                    0.0208012082%
              OH1004       Lore City Village, Ohio                    0.0001903706%
              OH1005       Lostcreek Township, Ohio                   0.0008063368%
              OH1006       Loudon Township, Carroll County, Ohio      0.0003703748%
              OH1007       Loudon Township, Seneca County, Ohio       0.0000802169%
              OH1008       Loudonville Village, Ohio                  0.0063961356%
              OH1009       Louisville City, Ohio                      0.0170110645%
              OH1010       Loveland City, Ohio                        0.0476149868%
              OH1011       Lowell Village, Ohio                       0.0000835538%
              OH1012       Lowellville Village, Ohio                  0.0039921417%
              OH1013       Lower Salem Village, Ohio                  0.0000220891%
              OH1014       Lucas County, Ohio                         3.1972089435%
              OH1015       Lucas Village, Ohio                        0.0007671706%
              OH1016       Luckey Village, Ohio                       0.0005693772%
              OH1017       Ludlow Falls Village, Ohio                 0.0002558525%
              OH1018       Ludlow Township, Ohio                      0.0000501323%
              OH1019       Lykens Township, Ohio                      0.0000217523%
              OH1020       Lynchburg Village, Ohio                    0.0028908592%
              OH1021       Lyndhurst City, Ohio                       0.0338761729%
              OH1022       Lynn Township, Ohio                        0.0000111068%
              OH1023       Lyons Village, Ohio                        0.0001442518%
              OH1024       Macedonia City, Ohio                       0.0527014847%
              OH1025       Macksburg Village, Ohio                    0.0000477742%
              OH1026       Mad River Township, Champaign              0.0003806616%
                           County, Ohio
              OH1027       Mad River Township, Clark County,          0.0132962505%
                           Ohio
              OH1028       Madeira City, Ohio                         0.0133187012%
              OH1029       Madison County, Ohio                       0.2562654482%
              OH1030       Madison Township, Butler County, Ohio      0.0065436778%
              OH1031       Madison Township, Clark County, Ohio       0.0028035083%
              OH1032       Madison Township, Columbiana County,       0.0001863611%
                           Ohio
              OH1033       Madison Township, Fayette County,          0.0003651188%
                           Ohio
              OH1034       Madison Township, Franklin County,         0.0648596631%
                           Ohio
              OH1035       Madison Township, Guernsey County,         0.0001087832%
                           Ohio
              OH1036       Madison Township, Hancock County,          0.0001546084%
                           Ohio
              OH1037       Madison Township, Highland County,         0.0000451704%
                           Ohio
              OH1038       Madison Township, Lake County, Ohio        0.0185550292%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1039       Madison Township, Licking County,          0.0016124501%
                           Ohio
              OH1040       Madison Township, Muskingum County,        0.0000200618%
                           Ohio
              OH1041       Madison Township, Pickaway County,         0.0005781272%
                           Ohio
              OH1042       Madison Township, Richland County,         0.0162443911%
                           Ohio
              OH1043       Madison Township, Sandusky County,         0.0010398844%
                           Ohio
              OH1044       Madison Township, Scioto County, Ohio      0.0090415557%
              OH1045       Madison Township, Williams County,         0.0001650168%
                           Ohio
              OH1046       Madison Village, Ohio                      0.0069557668%
              OH1047       Magnetic Springs Village, Ohio             0.0003286007%
              OH1048       Magnolia Village, Ohio                     0.0039121470%
              OH1049       Mahoning County, Ohio                      1.6000258367%
              OH1050       Maineville Village, Ohio                   0.0020362222%
              OH1051       Malaga Township, Ohio                      0.0000561065%
              OH1052       Malinta Village, Ohio                      0.0000609111%
              OH1053       Malta Village, Ohio                        0.0001392397%
              OH1054       Malvern Village, Ohio                      0.0005882424%
              OH1055       Manchester Township, Ohio                  0.0013966912%
              OH1056       Manchester Village, Ohio                   0.0025562084%
              OH1057       Mansfield City, Ohio                       0.2140405926%
              OH1058       Mantua Township, Ohio                      0.0000649985%
              OH1059       Mantua Village, Ohio                       0.0015884020%
              OH1060       Maple Heights City, Ohio                   0.0395380059%
              OH1061       Marble Cliff Village, Ohio                 0.0004658471%
              OH1062       Marblehead Village, Ohio                   0.0019235388%
              OH1063       Marengo Village, Ohio                      0.0002597814%
              OH1064       Margaretta Township, Ohio                  0.0078229674%
              OH1065       Mariemont Village, Ohio                    0.0153812210%
              OH1066       Marietta City, Ohio                        0.0852917164%
              OH1067       Marietta Township, Ohio                    0.0002088845%
              OH1068       Marion City, Ohio                          0.2496505326%
              OH1069       Marion County, Ohio                        0.3374233828%
              OH1070       Marion Township, Allen County, Ohio        0.0001840837%
              OH1071       Marion Township, Clinton County, Ohio      0.0020965523%
              OH1072       Marion Township, Fayette County, Ohio      0.0007695582%
              OH1073       Marion Township, Hardin County, Ohio       0.0006108726%
              OH1074       Marion Township, Henry County, Ohio        0.0000947506%
              OH1075       Marion Township, Hocking County,           0.0001634856%
                           Ohio
              OH1076       Marion Township, Marion County, Ohio       0.0526451142%
              OH1077       Marion Township, Mercer County, Ohio       0.0015069562%
              OH1078       Marion Township, Pike County, Ohio         0.0001943597%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1079       Mark Township, Ohio                        0.0001324155%
              OH1080       Marlboro Township, Delaware County,        0.0001979724%
                           Ohio
              OH1081       Marlboro Township, Stark County, Ohio      0.0048193068%
              OH1082       Marseilles Township, Ohio                  0.0000067465%
              OH1083       Marseilles Village, Ohio                   0.0000067465%
              OH1084       Marshall Township, Ohio                    0.0006323861%
              OH1085       Marshallville Village, Ohio                0.0004600557%
              OH1086       Martins Ferry City, Ohio                   0.0347299689%
              OH1087       Martinsburg Village, Ohio                  0.0000165369%
              OH1088       Martinsville Village, Ohio                 0.0006022012%
              OH1089       Mary Ann Township, Ohio                    0.0009452294%
              OH1090       Marysville City, Ohio                      0.0386422342%
              OH1091       Mason City, Ohio                           0.1510527828%
              OH1092       Mason Township, Ohio                       0.0000347710%
              OH1093       Massie Township, Ohio                      0.0001279911%
              OH1094       Massillon City, Ohio                       0.1194930798%
              OH1095       Matamoras Village, Ohio                    0.0003175044%
              OH1096       Maumee City, Ohio                          0.0830057490%
              OH1097       Mayfield Heights City, Ohio                0.0460098010%
              OH1098       Mayfield Village, Ohio                     0.0222206201%
              OH1099       McArthur Village, Ohio                     0.0034201873%
              OH1100       McClure Village, Ohio                      0.0000744469%
              OH1101       McComb Village, Ohio                       0.0019536880%
              OH1102       McConnelsville Village, Ohio               0.0038344466%
              OH1103       McDonald Township, Ohio                    0.0004331642%
              OH1104       McDonald Village, Ohio                     0.0085762358%
              OH1105       McGuffey Village, Ohio                     0.0000111068%
              OH1106       McKean Township, Ohio                      0.0016773188%
              OH1107       McLean Township, Ohio                      0.0000088739%
              OH1108       Mead Township, Ohio                        0.0016310431%
              OH1109       Mecca Township, Ohio                       0.0015686157%
              OH1110       Mechanicsburg Village, Ohio                0.0059742716%
              OH1111       Medina City, Ohio                          0.0850942672%
              OH1112       Medina County, Ohio                        0.7825696764%
              OH1113       Medina Township, Ohio                      0.0180792844%
              OH1114       Meigs County, Ohio                         0.1986571471%
              OH1115       Meigs Township, Ohio                       0.0019764498%
              OH1116       Meigsville Township, Ohio                  0.0000749752%
              OH1117       Melrose Village, Ohio                      0.0001123652%
              OH1118       Mendon Village, Ohio                       0.0000902369%
              OH1119       Mentor City, Ohio                          0.2495262895%
              OH1120       Mentor-On-The-Lake City, Ohio              0.0195974466%
              OH1121       Mercer County, Ohio                        0.1655486085%
              OH1122       Mesopotamia Township, Ohio                 0.0029496795%
              OH1123       Metamora Village, Ohio                     0.0001589872%
              OH1124       Meyers Lake Village, Ohio                  0.0015027860%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1125       Miami County, Ohio                         0.5778482109%
              OH1126       Miami Township, Clermont County,           0.2187745945%
                           Ohio
              OH1127       Miami Township, Greene County, Ohio        0.0056649739%
              OH1128       Miami Township, Hamilton County,           0.0222368033%
                           Ohio
              OH1129       Miami Township, Logan County, Ohio         0.0002394092%
              OH1130       Miami Township, Montgomery County,         0.1354683508%
                           Ohio
              OH1131       Miamisburg City, Ohio                      0.1660413479%
              OH1132       Middle Point Village, Ohio                 0.0010159860%
              OH1133       Middleburg Heights City, Ohio              0.0377244809%
              OH1134       Middlebury Township, Ohio                  0.0002811281%
              OH1135       Middlefield Village, Ohio                  0.0110639374%
              OH1136       Middleport Village, Ohio                   0.0066985891%
              OH1137       Middleton Township, Columbiana             0.0013311506%
                           County, Ohio
              OH1138       Middleton Township, Wood County,           0.0032264709%
                           Ohio
              OH1139       Middletown City, Ohio                      0.5826547123%
              OH1140       Midland Village, Ohio                      0.0000223037%
              OH1141       Midvale Village, Ohio                      0.0004926798%
              OH1142       Midway Village, Ohio                       0.0006778443%
              OH1143       Mifflin Township, Ashland County,          0.0003416231%
                           Ohio
              OH1144       Mifflin Township, Franklin County,         0.0915733216%
                           Ohio
              OH1145       Mifflin Township, Pike County, Ohio        0.0001267563%
              OH1146       Mifflin Township, Richland County,         0.0080552911%
                           Ohio
              OH1147       Mifflin Township, Wyandot County,          0.0001214367%
                           Ohio
              OH1148       Mifflin Village, Ohio                      0.0001545438%
              OH1149       Milan Township, Ohio                       0.0020258680%
              OH1150       Milan Village, Ohio                        0.0040820332%
              OH1151       Milford Center Village, Ohio               0.0000633084%
              OH1152       Milford City, Ohio                         0.0751522099%
              OH1153       Milford Township, Butler County, Ohio      0.0015672512%
              OH1154       Milford Township, Defiance County,         0.0002979348%
                           Ohio
              OH1155       Mill Creek Township, Coshocton             0.0000229613%
                           County, Ohio
              OH1156       Mill Creek Township, Williams County,      0.0000628635%
                           Ohio
              OH1157       Mill Township, Ohio                        0.0121593375%
              OH1158       Millbury Village, Ohio                     0.0009905091%
              OH1159       Millcreek Township, Ohio                   0.0000180881%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1160       Milledgeville Village, Ohio                0.0000257235%
              OH1161       Miller City Village, Ohio                  0.0000248351%
              OH1162       Miller Township, Ohio                      0.0008599212%
              OH1163       Millersburg Village, Ohio                  0.0018263731%
              OH1164       Millersport Village, Ohio                  0.0058664571%
              OH1165       Millville Village, Ohio                    0.0076100550%
              OH1166       Millwood Township, Ohio                    0.0000543916%
              OH1167       Milton Center Village, Ohio                0.0000061223%
              OH1168       Milton Township, Ashland County, Ohio      0.0000162678%
              OH1169       Milton Township, Mahoning County,          0.0048642711%
                           Ohio
              OH1170       Miltonsburg Village, Ohio                  0.0000172975%
              OH1171       Mineral City Village, Ohio                 0.0026506173%
              OH1172       Minerva Park Village, Ohio                 0.0030776456%
              OH1173       Minerva Village, Ohio                      0.0118214870%
              OH1174       Mingo Junction Village, Ohio               0.0074909571%
              OH1175       Minster Village, Ohio                      0.0056442578%
              OH1176       Mississinawa Township, Ohio                0.0003444623%
              OH1177       Mogadore Village, Ohio                     0.0107618198%
              OH1178       Monclova Township, Ohio                    0.0108181339%
              OH1179       Monday Creek Township, Ohio                0.0000430312%
              OH1180       Monroe City, Ohio                          0.1198391105%
              OH1181       Monroe County, Ohio                        0.0768222745%
              OH1182       Monroe Township, Adams County, Ohio        0.0016865705%
              OH1183       Monroe Township, Allen County, Ohio        0.0002727166%
              OH1184       Monroe Township, Carroll County, Ohio      0.0010130841%
              OH1185       Monroe Township, Clermont County,          0.0034821896%
                           Ohio
              OH1186       Monroe Township, Darke County, Ohio        0.0006151113%
              OH1187       Monroe Township, Guernsey County,          0.0001903706%
                           Ohio
              OH1188       Monroe Township, Harrison County,          0.0003530677%
                           Ohio
              OH1189       Monroe Township, Knox County, Ohio         0.0021828768%
              OH1190       Monroe Township, Licking County,           0.0160503654%
                           Ohio
              OH1191       Monroe Township, Logan County, Ohio        0.0001895323%
              OH1192       Monroe Township, Muskingum County,         0.0001203711%
                           Ohio
              OH1193       Monroe Township, Perry County, Ohio        0.0000753046%
              OH1194       Monroe Township, Pickaway County,          0.0003740823%
                           Ohio
              OH1195       Monroe Township, Preble County, Ohio       0.0020296448%
              OH1196       Monroe Township, Putnam County,            0.0007698884%
                           Ohio
              OH1197       Monroe Township, Richland County,          0.0011596765%
                           Ohio

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
              OH1198       Monroeville Village, Ohio                 0.0057515643%
              OH1199       Monterey Township, Ohio                   0.0001158972%
              OH1200       Montezuma Village, Ohio                   0.0003248528%
              OH1201       Montgomery City, Ohio                     0.0491831661%
              OH1202       Montgomery County, Ohio                   5.1644746001%
              OH1203       Montgomery Township, Marion County,       0.0007252418%
                           Ohio
              OH1204       Montgomery Township, Wood County,         0.0011448768%
                           Ohio
              OH1205       Montpelier Village, Ohio                  0.0054141221%
              OH1206       Montville Township, Geauga County,        0.0005742528%
                           Ohio
              OH1207       Montville Township, Medina County,        0.0202875314%
                           Ohio
              OH1208       Moorefield Township, Ohio                 0.0090773788%
              OH1209       Moraine City, Ohio                        0.0890573422%
              OH1210       Moreland Hills Village, Ohio              0.0034611065%
              OH1211       Morgan County, Ohio                       0.0873568346%
              OH1212       Morgan Township, Ashtabula County,        0.0013032327%
                           Ohio
              OH1213       Morgan Township, Butler County, Ohio      0.0060266465%
              OH1214       Morgan Township, Gallia County, Ohio      0.0004498495%
              OH1215       Morgan Township, Knox County, Ohio        0.0013394926%
              OH1216       Morgan Township, Scioto County, Ohio      0.0014216283%
              OH1217       Morral Village, Ohio                      0.0008926053%
              OH1218       Morris Township, Ohio                     0.0000330739%
              OH1219       Morristown Village, Ohio                  0.0004780643%
              OH1220       Morrow County, Ohio                       0.2192732037%
              OH1221       Morrow Village, Ohio                      0.0015475289%
              OH1222       Moscow Village, Ohio                      0.0010343137%
              OH1223       Moulton Township, Ohio                    0.0002403706%
              OH1224       Mount Blanchard Village, Ohio             0.0000632489%
              OH1225       Mount Cory Village, Ohio                  0.0001194701%
              OH1226       Mount Eaton Village, Ohio                 0.0003286112%
              OH1227       Mount Gilead Village, Ohio                0.0047705309%
              OH1228       Mount Healthy City, Ohio                  0.0150472097%
              OH1229       Mount Orab Village, Ohio                  0.0858253892%
              OH1230       Mount Pleasant Township, Ohio             0.0009562924%
              OH1231       Mount Pleasant Village, Ohio              0.0001593821%
              OH1232       Mount Sterling Village, Ohio              0.0092167280%
              OH1233       Mount Vernon City, Ohio                   0.0916146794%
              OH1234       Mount Victory Village, Ohio               0.0003726928%
              OH1235       Mowrystown Village, Ohio                  0.0099826658%
              OH1236       Munroe Falls City, Ohio                   0.0144765234%
              OH1237       Munson Township, Ohio                     0.0126431327%
              OH1238       Murray City Village, Ohio                 0.0003666041%
              OH1239       Muskingum County, Ohio                    0.5186890264%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
              OH1240       Muskingum Township, Ohio                 0.0034591272%
              OH1241       Mutual Village, Ohio                     0.0000512624%
              OH1242       Napoleon City, Ohio                      0.0200262083%
              OH1243       Napoleon Township, Ohio                  0.0008595230%
              OH1244       Nashville Village, Ohio                  0.0001163295%
              OH1245       Navarre Village, Ohio                    0.0045125337%
              OH1246       Nellie Village, Ohio                     0.0000766034%
              OH1247       Nelsonville City, Ohio                   0.0153618582%
              OH1248       Nevada Village, Ohio                     0.0000539719%
              OH1249       Neville Village, Ohio                    0.0000172386%
              OH1250       New Albany City, Ohio                    0.0355984449%
              OH1251       New Alexandria Village, Ohio             0.0001593821%
              OH1252       New Athens Village, Ohio                 0.0001049661%
              OH1253       New Bavaria Village, Ohio                0.0001925555%
              OH1254       New Bloomington Village, Ohio            0.0006286558%
              OH1255       New Boston Village, Ohio                 0.0217793450%
              OH1256       New Bremen Village, Ohio                 0.0076829566%
              OH1257       New Carlisle City, Ohio                  0.0121258538%
              OH1258       New Concord Village, Ohio                0.0073426360%
              OH1259       New Franklin City, Ohio                  0.0293867642%
              OH1260       New Haven Township, Ohio                 0.0016334992%
              OH1261       New Holland Village, Ohio                0.0001903085%
              OH1262       New Jasper Township, Ohio                0.0016406755%
              OH1263       New Knoxville Village, Ohio              0.0011840478%
              OH1264       New Lebanon Village, Ohio                0.0058388430%
              OH1265       New Lexington Village, Ohio              0.0129954223%
              OH1266       New London Township, Ohio                0.0002882646%
              OH1267       New London Village, Ohio                 0.0030473682%
              OH1268       New Madison Village, Ohio                0.0016608005%
              OH1269       New Market Township, Ohio                0.0002484374%
              OH1270       New Miami Village, Ohio                  0.0024074272%
              OH1271       New Middletown Village, Ohio             0.0007615778%
              OH1272       New Paris Village, Ohio                  0.0016204423%
              OH1273       New Philadelphia City, Ohio              0.0774788253%
              OH1274       New Richmond Village, Ohio               0.0330808011%
              OH1275       New Riegel Village, Ohio                 0.0002406507%
              OH1276       New Russia Township, Ohio                0.0008375698%
              OH1277       New Straitsville Village, Ohio           0.0021300444%
              OH1278       New Vienna Village, Ohio                 0.0009144537%
              OH1279       New Washington Village, Ohio             0.0012290055%
              OH1280       New Waterford Village, Ohio              0.0048586998%
              OH1281       New Weston Village, Ohio                 0.0000861156%
              OH1282       Newark City, Ohio                        0.1777772576%
              OH1283       Newark Township, Ohio                    0.0018255901%
              OH1284       Newberry Township, Ohio                  0.0019874499%
              OH1285       Newburgh Heights Village, Ohio           0.0042789708%
              OH1286       Newbury Township, Ohio                   0.0027755552%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1287       Newcomerstown Village, Ohio                0.0076759513%
              OH1288       Newton Falls Village, Ohio                 0.0365044154%
              OH1289       Newton Township, Licking County,           0.0011027676%
                           Ohio
              OH1290       Newton Township, Muskingum County,         0.0020262466%
                           Ohio
              OH1291       Newton Township, Pike County, Ohio         0.0002281614%
              OH1292       Newton Township, Trumbull County,          0.0026939270%
                           Ohio
              OH1293       Newtonsville Village, Ohio                 0.0005516340%
              OH1294       Newtown Village, Ohio                      0.0057282940%
              OH1295       Ney Village, Ohio                          0.0000662077%
              OH1296       Nile Township, Ohio                        0.0052315920%
              OH1297       Niles City, Ohio                           0.1643806952%
              OH1298       Nimishillen Township, Ohio                 0.0122610291%
              OH1299       Noble County, Ohio                         0.0987433126%
              OH1300       Noble Township, Auglaize County, Ohio      0.0000089026%
              OH1301       Noble Township, Defiance County, Ohio      0.0003420733%
              OH1302       Noble Township, Noble County, Ohio         0.0008278915%
              OH1303       North Baltimore Village, Ohio              0.0034529973%
              OH1304       North Bend Village, Ohio                   0.0025608089%
              OH1305       North Bloomfield Township, Ohio            0.0004132886%
              OH1306       North Canton City, Ohio                    0.0524878920%
              OH1307       North College Hill City, Ohio              0.0194144077%
              OH1308       North Fairfield Village, Ohio              0.0000686344%
              OH1309       North Hampton Village, Ohio                0.0018236413%
              OH1310       North Kingsville Village, Ohio             0.0058586766%
              OH1311       North Lewisburg Village, Ohio              0.0040569220%
              OH1312       North Olmsted City, Ohio                   0.0399884238%
              OH1313       North Perry Village, Ohio                  0.0021416939%
              OH1314       North Randall Village, Ohio                0.0010272691%
              OH1315       North Ridgeville City, Ohio                0.1099748579%
              OH1316       North Robinson Village, Ohio               0.0000652569%
              OH1317       North Royalton City, Ohio                  0.0490362937%
              OH1318       North Star Village, Ohio                   0.0006041028%
              OH1319       North Township, Ohio                       0.0006202542%
              OH1320       Northfield Center Township, Ohio           0.0055419447%
              OH1321       Northfield Village, Ohio                   0.0204907382%
              OH1322       Northwest Township, Ohio                   0.0003378915%
              OH1323       Northwood City, Ohio                       0.0154037964%
              OH1324       Norton City, Ohio                          0.0374368018%
              OH1325       Norwalk City, Ohio                         0.0671930963%
              OH1326       Norwalk Township, Ohio                     0.0009746088%
              OH1327       Norwich Township, Franklin County,         0.0881825657%
                           Ohio
              OH1328       Norwich Township, Huron County, Ohio       0.0005490754%
              OH1329       Norwich Village, Ohio                      0.0000776491%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1330       Norwood City, Ohio                         0.1133550899%
              OH1331       Nottingham Township, Ohio                  0.0002290169%
              OH1332       Oak Harbor Village, Ohio                   0.0043210926%
              OH1333       Oak Hill Village, Ohio                     0.0009945397%
              OH1334       Oakwood City, Ohio                         0.0665292396%
              OH1335       Oakwood Village, Cuyahoga County,          0.0160412015%
                           Ohio
              OH1336       Oakwood Village, Paulding County,          0.0006103209%
                           Ohio
              OH1337       Oberlin City, Ohio                         0.0523286319%
              OH1338       Obetz Village, Ohio                        0.0012677151%
              OH1339       Octa Village, Ohio                         0.0000132032%
              OH1340       Ohio City Village, Ohio                    0.0013381279%
              OH1341       Ohio Township, Clermont County, Ohio       0.0024995915%
              OH1342       Ohio Township, Monroe County, Ohio         0.0002805325%
              OH1343       Old Washington Village, Ohio               0.0016589439%
              OH1344       Olive Township, Meigs County, Ohio         0.0005413001%
              OH1345       Olive Township, Noble County, Ohio         0.0002069729%
              OH1346       Olmsted Falls City, Ohio                   0.0116318466%
              OH1347       Olmsted Township, Ohio                     0.0148163807%
              OH1348       Ontario City, Ohio                         0.0192773910%
              OH1349       Orange Township, Ashland County,           0.0004880329%
                           Ohio
              OH1350       Orange Township, Carroll County, Ohio      0.0003703748%
              OH1351       Orange Township, Delaware County,          0.0531556020%
                           Ohio
              OH1352       Orange Township, Meigs County, Ohio        0.0003383126%
              OH1353       Orange Township, Shelby County, Ohio       0.0011891054%
              OH1354       Orange Village, Ohio                       0.0100237754%
              OH1355       Orangeville Village, Ohio                  0.0005285553%
              OH1356       Oregon City, Ohio                          0.0936692081%
              OH1357       Orrville City, Ohio                        0.0089614214%
              OH1358       Orwell Township, Ohio                      0.0004813742%
              OH1359       Orwell Village, Ohio                       0.0054712290%
              OH1360       Osgood Village, Ohio                       0.0000984178%
              OH1361       Osnaburg Township, Ohio                    0.0017515756%
              OH1362       Ostrander Village, Ohio                    0.0001237328%
              OH1363       Ottawa County, Ohio                        0.2393019717%
              OH1364       Ottawa Hills Village, Ohio                 0.0134021121%
              OH1365       Ottawa Village, Ohio                       0.0047352274%
              OH1366       Ottoville Village, Ohio                    0.0010927448%
              OH1367       Otway Village, Ohio                        0.0001137303%
              OH1368       Owensville Village, Ohio                   0.0008791667%
              OH1369       Oxford City, Ohio                          0.0794612533%
              OH1370       Oxford Township, Butler County, Ohio       0.1101599888%
              OH1371       Oxford Township, Coshocton County,         0.0002143057%
                           Ohio

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1372       Oxford Township, Guernsey County,          0.0001223811%
                           Ohio
              OH1373       Oxford Township, Tuscarawas County,        0.0000788288%
                           Ohio
              OH1374       Painesville City, Ohio                     0.0828627046%
              OH1375       Painesville Township, Ohio                 0.0334236916%
              OH1376       Paint Township, Fayette County, Ohio       0.0000280861%
              OH1377       Paint Township, Highland County, Ohio      0.0002710226%
              OH1378       Paint Township, Holmes County, Ohio        0.0004187862%
              OH1379       Paint Township, Madison County, Ohio       0.0000155425%
              OH1380       Paint Township, Ross County, Ohio          0.0003836542%
              OH1381       Paint Township, Wayne County, Ohio         0.0001894347%
              OH1382       Palestine Village, Ohio                    0.0005121741%
              OH1383       Palmer Township, Ohio                      0.0000584877%
              OH1384       Palmyra Township, Ohio                     0.0008124819%
              OH1385       Pandora Village, Ohio                      0.0009188990%
              OH1386       Paris Township, Portage County, Ohio       0.0001503091%
              OH1387       Paris Township, Stark County, Ohio         0.0010390703%
              OH1388       Parkman Township, Ohio                     0.0008613792%
              OH1389       Parma City, Ohio                           0.1543116176%
              OH1390       Parma Heights City, Ohio                   0.0326118418%
              OH1391       Parral Village, Ohio                       0.0000098536%
              OH1392       Pataskala City, Ohio                       0.0174033408%
              OH1393       Patterson Village, Ohio                    0.0000841761%
              OH1394       Paulding County, Ohio                      0.0839721160%
              OH1395       Paulding Township, Ohio                    0.0001534939%
              OH1396       Paulding Village, Ohio                     0.0016847781%
              OH1397       Paxton Township, Ohio                      0.0010329152%
              OH1398       Payne Village, Ohio                        0.0005664655%
              OH1399       Pease Township, Ohio                       0.0005202465%
              OH1400       Pebble Township, Ohio                      0.0003464673%
              OH1401       Pee Pee Township, Ohio                     0.0015041749%
              OH1402       Peebles Village, Ohio                      0.0067989872%
              OH1403       Pemberville Village, Ohio                  0.0012856905%
              OH1404       Peninsula Village, Ohio                    0.0050407601%
              OH1405       Penn Township, Ohio                        0.0001392397%
              OH1406       Pepper Pike City, Ohio                     0.0193758750%
              OH1407       Perkins Township, Ohio                     0.0512077107%
              OH1408       Perry County, Ohio                         0.2380485965%
              OH1409       Perry Township, Allen County, Ohio         0.0045543679%
              OH1410       Perry Township, Brown County, Ohio         0.0143559087%
              OH1411       Perry Township, Columbiana County,         0.0048853229%
                           Ohio
              OH1412       Perry Township, Fayette County, Ohio       0.0003538844%
              OH1413       Perry Township, Franklin County, Ohio      0.0091642053%
              OH1414       Perry Township, Lake County, Ohio          0.0025586608%
              OH1415       Perry Township, Lawrence County, Ohio      0.0009214313%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1416       Perry Township, Licking County, Ohio       0.0016309840%
              OH1417       Perry Township, Logan County, Ohio         0.0026933538%
              OH1418       Perry Township, Monroe County, Ohio        0.0000872768%
              OH1419       Perry Township, Muskingum County,          0.0027986277%
                           Ohio
              OH1420       Perry Township, Pickaway County, Ohio      0.0000291493%
              OH1421       Perry Township, Pike County, Ohio          0.0001267563%
              OH1422       Perry Township, Putnam County, Ohio        0.0000082784%
              OH1423       Perry Township, Richland County, Ohio      0.0004103471%
              OH1424       Perry Township, Stark County, Ohio         0.0537347763%
              OH1425       Perry Township, Wood County, Ohio          0.0001040797%
              OH1426       Perry Village, Ohio                        0.0054300469%
              OH1427       Perrysburg City, Ohio                      0.0576846462%
              OH1428       Perrysburg Township, Ohio                  0.0342177338%
              OH1429       Perrysville Village, Ohio                  0.0008459238%
              OH1430       Peru Township, Huron County, Ohio          0.0000274538%
              OH1431       Peru Township, Morrow County, Ohio         0.0000708495%
              OH1432       Phillipsburg Village, Ohio                 0.0041962937%
              OH1433       Philo Village, Ohio                        0.0010532470%
              OH1434       Pickaway County, Ohio                      0.0934088328%
              OH1435       Pickaway Township, Ohio                    0.0005441197%
              OH1436       Pickerington City, Ohio                    0.0350194279%
              OH1437       Pierce Township, Ohio                      0.0721778605%
              OH1438       Pierpont Township, Ohio                    0.0011858243%
              OH1439       Pike County, Ohio                          0.3072066041%
              OH1440       Pike Township, Brown County, Ohio          0.0024184900%
              OH1441       Pike Township, Clark County, Ohio          0.0026810249%
              OH1442       Pike Township, Perry County, Ohio          0.0022268646%
              OH1443       Pike Township, Stark County, Ohio          0.0021276201%
              OH1444       Piketon Village, Ohio                      0.0023999196%
              OH1445       Pioneer Village, Ohio                      0.0028760068%
              OH1446       Piqua City, Ohio                           0.0869480927%
              OH1447       Pitsburg Village, Ohio                     0.0005659024%
              OH1448       Pitt Township, Ohio                        0.0002833522%
              OH1449       Plain City Village, Ohio                   0.0102501421%
              OH1450       Plain Township, Franklin County, Ohio      0.0388485937%
              OH1451       Plain Township, Stark County, Ohio         0.0464019090%
              OH1452       Plain Township, Wayne County, Ohio         0.0002976831%
              OH1453       Plain Township, Wood County, Ohio          0.0002693828%
              OH1454       Plainfield Village, Ohio                   0.0000153076%
              OH1455       Pleasant City Village, Ohio                0.0008654831%
              OH1456       Pleasant Hill Village, Ohio                0.0002839214%
              OH1457       Pleasant Plain Village, Ohio               0.0000116356%
              OH1458       Pleasant Township, Brown County, Ohio      0.0012092450%
              OH1459       Pleasant Township, Clark County, Ohio      0.0032390047%
              OH1460       Pleasant Township, Fairfield County,       0.0068849393%
                           Ohio

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                     Consolidated State
              State ID              Qualifying Subdivision              Allocation
              OH1461       Pleasant Township, Franklin County,          0.0137844922%
                           Ohio
              OH1462       Pleasant Township, Hancock County,           0.0002811062%
                           Ohio
              OH1463       Pleasant Township, Henry County, Ohio        0.0002233406%
              OH1464       Pleasant Township, Knox County, Ohio         0.0045641970%
              OH1465       Pleasant Township, Marion County,            0.0096326984%
                           Ohio
              OH1466       Pleasant Township, Perry County, Ohio        0.0001828826%
              OH1467       Pleasant Township, Seneca County, Ohio       0.0003208676%
              OH1468       Pleasant Township, Van Wert County,          0.0002849717%
                           Ohio
              OH1469       Pleasantville Village, Ohio                  0.0000570350%
              OH1470       Plymouth Township, Ohio                      0.0017493844%
              OH1471       Plymouth Village, Ohio                       0.0065060016%
              OH1472       Poland Township, Ohio                        0.0148262002%
              OH1473       Poland Village, Ohio                         0.0061663235%
              OH1474       Polk Township, Ohio                          0.0010767393%
              OH1475       Polk Village, Ohio                           0.0000406694%
              OH1476       Pomeroy Village, Ohio                        0.0093881741%
              OH1477       Port Clinton City, Ohio                      0.0145364578%
              OH1478       Port Jefferson Village, Ohio                 0.0003105872%
              OH1479       Port Washington Village, Ohio                0.0003251687%
              OH1480       Port William Village, Ohio                   0.0010928837%
              OH1481       Portage County, Ohio                         0.9187057360%
              OH1482       Portage Township, Hancock County,            0.0001686637%
                           Ohio
              OH1483       Portage Township, Ottawa County, Ohio        0.0000480885%
              OH1484       Portage Township, Wood County, Ohio          0.0001408137%
              OH1485       Portage Village, Ohio                        0.0016040519%
              OH1486       Porter Township, Delaware County,            0.0036954857%
                           Ohio
              OH1487       Porter Township, Scioto County, Ohio         0.0395496982%
              OH1488       Portsmouth City, Ohio                        0.2233662325%
              OH1489       Potsdam Village, Ohio                        0.0000227137%
              OH1490       Powell City, Ohio                            0.0184361841%
              OH1491       Powhatan Point Village, Ohio                 0.0016591645%
              OH1492       Prairie Township, Franklin County, Ohio      0.0344574120%
              OH1493       Prairie Township, Holmes County, Ohio        0.0003867956%
              OH1494       Preble County, Ohio                          0.3067055248%
              OH1495       Proctorville Village, Ohio                   0.0018254771%
              OH1496       Prospect Village, Ohio                       0.0011157566%
              OH1497       Providence Township, Ohio                    0.0026476678%
              OH1498       Pulaski Township, Ohio                       0.0002907439%
              OH1499       Pultney Township, Ohio                       0.0018560145%
              OH1500       Pusheta Township, Ohio                       0.0002670784%
              OH1501       Put In Bay Township, Ohio                    0.0034623699%

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID             Qualifying Subdivision              Allocation
              OH1502       Put-In-Bay Village, Ohio                    0.0040050827%
              OH1503       Putnam County, Ohio                         0.1372967601%
              OH1504       Quaker City Village, Ohio                   0.0004351328%
              OH1505       Quincy Village, Ohio                        0.0003391631%
              OH1506       Raccoon Township, Ohio                      0.0003561309%
              OH1507       Racine Village, Ohio                        0.0010826003%
              OH1508       Radnor Township, Ohio                       0.0001814747%
              OH1509       Randolph Township, Ohio                     0.0013730943%
              OH1510       Range Township, Ohio                        0.0007149570%
              OH1511       Rarden Township, Ohio                       0.0020471447%
              OH1512       Rarden Village, Ohio                        0.0005117862%
              OH1513       Ravenna City, Ohio                          0.0218557620%
              OH1514       Ravenna Township, Ohio                      0.0059636168%
              OH1515       Rawson Village, Ohio                        0.0001405531%
              OH1516       Rayland Village, Ohio                       0.0003984552%
              OH1517       Reading City, Ohio                          0.0457344992%
              OH1518       Reading Township, Ohio                      0.0019364040%
              OH1519       Recovery Township, Ohio                     0.0000812132%
              OH1520       Reily Township, Ohio                        0.0012764211%
              OH1521       Reminderville Village, Ohio                 0.0151415568%
              OH1522       Rendville Village, Ohio                     0.0001828826%
              OH1523       Republic Village, Ohio                      0.0011130095%
              OH1524       Reynoldsburg City, Ohio                     0.0697130845%
              OH1525       Rice Township, Ohio                         0.0003978688%
              OH1526       Richfield Township, Henry County,           0.0023349246%
                           Ohio
              OH1527       Richfield Township, Lucas County, Ohio      0.0047039321%
              OH1528       Richfield Township, Summit County,          0.0095996121%
                           Ohio
              OH1529       Richfield Village, Ohio                     0.0399887454%
              OH1530       Richland County, Ohio                       0.7455113947%
              OH1531       Richland Township, Allen County, Ohio       0.0002999883%
              OH1532       Richland Township, Belmont County,          0.0026715361%
                           Ohio
              OH1533       Richland Township, Clinton County,          0.0005798975%
                           Ohio
              OH1534       Richland Township, Darke County, Ohio       0.0002952534%
              OH1535       Richland Township, Fairfield County,        0.0003503579%
                           Ohio
              OH1536       Richland Township, Holmes County,           0.0001483201%
                           Ohio
              OH1537       Richland Township, Wyandot County,          0.0001079437%
                           Ohio
              OH1538       Richmond Heights City, Ohio                 0.0218650269%
              OH1539       Richmond Township, Ashtabula County,        0.0003170025%
                           Ohio


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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1540       Richmond Township, Huron County,           0.0015099572%
                           Ohio
              OH1541       Richmond Village, Ohio                     0.0007609773%
              OH1542       Richwood Village, Ohio                     0.0014048433%
              OH1543       Ridgefield Township, Ohio                  0.0003431721%
              OH1544       Ridgeville Township, Ohio                  0.0002165727%
              OH1545       Ridgeway Village, Ohio                     0.0003864298%
              OH1546       Riley Township, Ohio                       0.0007202182%
              OH1547       Rio Grande Village, Ohio                   0.0014432672%
              OH1548       Ripley Township, Holmes County, Ohio       0.0000348988%
              OH1549       Ripley Township, Huron County, Ohio        0.0000137269%
              OH1550       Ripley Village, Ohio                       0.0111932679%
              OH1551       Risingsun Village, Ohio                    0.0004530528%
              OH1552       Rittman City, Ohio                         0.0059649971%
              OH1553       Riverlea Village, Ohio                     0.0001680104%
              OH1554       Riverside City, Ohio                       0.0817797700%
              OH1555       Roaming Shores Village, Ohio               0.0034987688%
              OH1556       Rochester Township, Ohio                   0.0013537465%
              OH1557       Rochester Village, Ohio                    0.0000194784%
              OH1558       Rock Creek Village, Ohio                   0.0002113350%
              OH1559       Rockford Village, Ohio                     0.0018408327%
              OH1560       Rocky Ridge Village, Ohio                  0.0002129632%
              OH1561       Rocky River City, Ohio                     0.0503638414%
              OH1562       Rogers Village, Ohio                       0.0005457718%
              OH1563       Rome Township, Ashtabula County,           0.0014206410%
                           Ohio
              OH1564       Rome Township, Athens County, Ohio         0.0002813909%
              OH1565       Rome Township, Lawrence County,            0.0010605153%
                           Ohio
              OH1566       Rome Village, Ohio                         0.0002586036%
              OH1567       Rootstown Township, Ohio                   0.0026527533%
              OH1568       Rose Township, Ohio                        0.0004793086%
              OH1569       Roseville Village, Ohio                    0.0016522526%
              OH1570       Ross County, Ohio                          1.0109583321%
              OH1571       Ross Township, Butler County, Ohio         0.0261747113%
              OH1572       Ross Township, Greene County, Ohio         0.0002579678%
              OH1573       Ross Township, Jefferson County, Ohio      0.0004940844%
              OH1574       Rossburg Village, Ohio                     0.0000984178%
              OH1575       Rossford City, Ohio                        0.0126977241%
              OH1576       Roswell Village, Ohio                      0.0002759007%
              OH1577       Roundhead Township, Ohio                   0.0002332423%
              OH1578       Royalton Township, Ohio                    0.0009661532%
              OH1579       Rumley Township, Ohio                      0.0006297965%
              OH1580       Rush Creek Township, Ohio                  0.0026562014%
              OH1581       Rush Township, Scioto County, Ohio         0.0047482384%
              OH1582       Rush Township, Tuscarawas County,          0.0000689752%
                           Ohio

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1583       Rushcreek Township, Ohio                   0.0004189662%
              OH1584       Rushsylvania Village, Ohio                 0.0000099754%
              OH1585       Rushville Village, Ohio                    0.0000244436%
              OH1586       Russell Township, Ohio                     0.0185770784%
              OH1587       Russells Point Village, Ohio               0.0022943385%
              OH1588       Russellville Village, Ohio                 0.0057671685%
              OH1589       Russia Village, Ohio                       0.0003460829%
              OH1590       Rutland Village, Ohio                      0.0004567220%
              OH1591       Sabina Village, Ohio                       0.0072933257%
              OH1592       Sagamore Hills Township, Ohio              0.0226207726%
              OH1593       Salem City, Ohio                           0.0383095249%
              OH1594       Salem Township, Auglaize County, Ohio      0.0001157340%
              OH1595       Salem Township, Champaign County,          0.0003806616%
                           Ohio
              OH1596       Salem Township, Columbiana County,         0.0009051824%
                           Ohio
              OH1597       Salem Township, Muskingum County,          0.0003912060%
                           Ohio
              OH1598       Salem Township, Ottawa County, Ohio        0.0007213271%
              OH1599       Salem Township, Shelby County, Ohio        0.0010648705%
              OH1600       Salem Township, Tuscarawas County,         0.0026407637%
                           Ohio
              OH1601       Salem Township, Warren County, Ohio        0.0074583911%
              OH1602       Salem Township, Washington County,         0.0005013228%
                           Ohio
              OH1603       Salesville Village, Ohio                   0.0000679895%
              OH1604       Salineville Village, Ohio                  0.0034609917%
              OH1605       Salisbury Township, Ohio                   0.0003552282%
              OH1606       Salt Creek Township, Hocking County,       0.0001833021%
                           Ohio
              OH1607       Salt Creek Township, Holmes County,        0.0000465318%
                           Ohio
              OH1608       Salt Creek Township, Wayne County,         0.0001391765%
                           Ohio
              OH1609       Salt Lick Township, Ohio                   0.0000430312%
              OH1610       Salt Rock Township, Ohio                   0.0007066458%
              OH1611       Saltcreek Township, Ohio                   0.0003935151%
              OH1612       Sandusky City, Ohio                        0.1261336610%
              OH1613       Sandusky County, Ohio                      0.3072903644%
              OH1614       Sandusky Township, Crawford County,        0.0000108762%
                           Ohio
              OH1615       Sandusky Township, Sandusky County,        0.0015100930%
                           Ohio
              OH1616       Sandy Township, Stark County, Ohio         0.0049479536%
              OH1617       Sandy Township, Tuscarawas County,         0.0006897517%
                           Ohio
              OH1618       Sarahsville Village, Ohio                  0.0000689910%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1619       Sardinia Village, Ohio                     0.0044028921%
              OH1620       Savannah Village, Ohio                     0.0002294615%
              OH1621       Saybrook Township, Ohio                    0.0161906113%
              OH1622       Scio Village, Ohio                         0.0001526779%
              OH1623       Scioto County, Ohio                        0.9401796346%
              OH1624       Scioto Township, Delaware County,          0.0019714756%
                           Ohio
              OH1625       Scioto Township, Pickaway County,          0.0062913839%
                           Ohio
              OH1626       Scioto Township, Pike County, Ohio         0.0002619631%
              OH1627       Scioto Township, Ross County, Ohio         0.0146969071%
              OH1628       Scipio Township, Meigs County, Ohio        0.0004736376%
              OH1629       Scipio Township, Seneca County, Ohio       0.0005615183%
              OH1630       Scott Township, Marion County, Ohio        0.0001301716%
              OH1631       Scott Township, Sandusky County, Ohio      0.0009313747%
              OH1632       Scott Village, Ohio                        0.0006416289%
              OH1633       Seal Township, Ohio                        0.0013351665%
              OH1634       Seaman Village, Ohio                       0.0025035030%
              OH1635       Sebring Village, Ohio                      0.0078737318%
              OH1636       Seneca County, Ohio                        0.2801274556%
              OH1637       Seneca Township, Monroe County, Ohio       0.0000124681%
              OH1638       Seneca Township, Noble County, Ohio        0.0000172477%
              OH1639       Senecaville Village, Ohio                  0.0007886782%
              OH1640       Seven Hills City, Ohio                     0.0208535620%
              OH1641       Seven Mile Village, Ohio                   0.0013087356%
              OH1642       Seville Village, Ohio                      0.0055383307%
              OH1643       Shadyside Village, Ohio                    0.0078177582%
              OH1644       Shaker Heights City, Ohio                  0.1048407101%
              OH1645       Shalersville Township, Ohio                0.0000934354%
              OH1646       Sharon Township, Franklin County,          0.0053763338%
                           Ohio
              OH1647       Sharon Township, Medina County, Ohio       0.0058099333%
              OH1648       Sharon Township, Richland County,          0.0000802853%
                           Ohio
              OH1649       Sharonville City, Ohio                     0.1284229161%
              OH1650       Shawnee Hills Village, Ohio                0.0030520752%
              OH1651       Shawnee Township, Ohio                     0.0289829613%
              OH1652       Shawnee Village, Ohio                      0.0005916790%
              OH1653       Sheffield Lake City, Ohio                  0.0113266702%
              OH1654       Sheffield Township, Ashtabula County,      0.0012562693%
                           Ohio
              OH1655       Sheffield Township, Lorain County,         0.0039054125%
                           Ohio
              OH1656       Sheffield Village, Ohio                    0.0383431647%
              OH1657       Shelby City, Ohio                          0.0301426674%
              OH1658       Shelby County, Ohio                        0.2601922372%
              OH1659       Sherrodsville Village, Ohio                0.0010675510%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
              OH1660       Sherwood Village, Ohio                    0.0012358778%
              OH1661       Shiloh Village, Ohio                      0.0001516500%
              OH1662       Shreve Village, Ohio                      0.0012061965%
              OH1663       Sidney City, Ohio                         0.0768126600%
              OH1664       Silver Lake Village, Ohio                 0.0087129009%
              OH1665       Silverton Village, Ohio                   0.0117488480%
              OH1666       Sinking Spring Village, Ohio              0.0018697801%
              OH1667       Smith Township, Belmont County, Ohio      0.0011670394%
              OH1668       Smith Township, Mahoning County,          0.0056258490%
                           Ohio
              OH1669       Smithfield Township, Ohio                 0.0003028259%
              OH1670       Smithfield Village, Ohio                  0.0021516579%
              OH1671       Smithville Village, Ohio                  0.0012448566%
              OH1672       Solon City, Ohio                          0.0575665779%
              OH1673       Somerford Township, Ohio                  0.0018806477%
              OH1674       Somers Township, Ohio                     0.0009493500%
              OH1675       Somerset Village, Ohio                    0.0013447250%
              OH1676       Somerville Village, Ohio                  0.0001615723%
              OH1677       South Amherst Village, Ohio               0.0020257501%
              OH1678       South Bloomfield Township, Ohio           0.0004782339%
              OH1679       South Bloomfield Village, Ohio            0.0012874261%
              OH1680       South Charleston Village, Ohio            0.0026810249%
              OH1681       South Euclid City, Ohio                   0.0416202012%
              OH1682       South Lebanon Village, Ohio               0.0058643200%
              OH1683       South Point Village, Ohio                 0.0061370801%
              OH1684       South Russell Village, Ohio               0.0067283287%
              OH1685       South Salem Village, Ohio                 0.0005572426%
              OH1686       South Solon Village, Ohio                 0.0007460421%
              OH1687       South Vienna Village, Ohio                0.0009118207%
              OH1688       South Webster Village, Ohio               0.0024736332%
              OH1689       South Zanesville Village, Ohio            0.0015547932%
              OH1690       Southington Township, Ohio                0.0014492645%
              OH1691       Sparta Village, Ohio                      0.0000770825%
              OH1692       Spencer Township, Allen County, Ohio      0.0001636300%
              OH1693       Spencer Township, Guernsey County,        0.0001631748%
                           Ohio
              OH1694       Spencer Township, Lucas County, Ohio      0.0024565990%
              OH1695       Spencer Township, Medina County,          0.0000708528%
                           Ohio
              OH1696       Spencer Village, Ohio                     0.0016178066%
              OH1697       Spencerville Village, Ohio                0.0025294469%
              OH1698       Sprigg Township, Ohio                     0.0001054107%
              OH1699       Spring Valley Township, Ohio              0.0070786377%
              OH1700       Spring Valley Village, Ohio               0.0001444620%
              OH1701       Springboro City, Ohio                     0.0299889938%
              OH1702       Springdale City, Ohio                     0.0692154947%
              OH1703       Springfield City, Ohio                    0.4735887613%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                     Consolidated State
              State ID              Qualifying Subdivision              Allocation
              OH1704       Springfield Township, Clark County,          0.0105063514%
                           Ohio
              OH1705       Springfield Township, Gallia County,         0.0009746740%
                           Ohio
              OH1706       Springfield Township, Hamilton County,       0.1053972703%
                           Ohio
              OH1707       Springfield Township, Jefferson County,      0.0002231349%
                           Ohio
              OH1708       Springfield Township, Lucas County,          0.0432543386%
                           Ohio
              OH1709       Springfield Township, Mahoning               0.0039675747%
                           County, Ohio
              OH1710       Springfield Township, Richland County,       0.0177162881%
                           Ohio
              OH1711       Springfield Township, Ross County,           0.0053121351%
                           Ohio
              OH1712       Springfield Township, Summit County,         0.0469667767%
                           Ohio
              OH1713       Springfield Township, Williams County,       0.0004950504%
                           Ohio
              OH1714       St Albans Township, Ohio                     0.0043369348%
              OH1715       St Clair Township, Butler County, Ohio       0.0005493458%
              OH1716       St Clair Township, Columbiana County,        0.0167991211%
                           Ohio
              OH1717       St Marys Township, Ohio                      0.0002136628%
              OH1718       St. Bernard Village, Ohio                    0.0379854367%
              OH1719       St. Clairsville City, Ohio                   0.0187569954%
              OH1720       St. Henry Village, Ohio                      0.0014076956%
              OH1721       St. Louisville Village, Ohio                 0.0003799451%
              OH1722       St. Marys City, Ohio                         0.0281144576%
              OH1723       St. Paris Village, Ohio                      0.0038066155%
              OH1724       Stafford Village, Ohio                       0.0000249362%
              OH1725       Stark County, Ohio                           1.5315796664%
              OH1726       Starr Township, Ohio                         0.0001436692%
              OH1727       Staunton Township, Ohio                      0.0003747763%
              OH1728       Sterling Township, Ohio                      0.0043408795%
              OH1729       Steubenville City, Ohio                      0.1367338744%
              OH1730       Steubenville Township, Ohio                  0.0000318764%
              OH1731       Stock Township, Harrison County, Ohio        0.0003339830%
              OH1732       Stock Township, Noble County, Ohio           0.0000344955%
              OH1733       Stockport Village, Ohio                      0.0002249256%
              OH1734       Stokes Township, Logan County, Ohio          0.0047782092%
              OH1735       Stokes Township, Madison County, Ohio        0.0007615846%
              OH1736       Stone Creek Village, Ohio                    0.0001379503%
              OH1737       Stonelick Township, Ohio                     0.0184280231%
              OH1738       Stoutsville Village, Ohio                    0.0000733307%
              OH1739       Stow City, Ohio                              0.1475892163%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID              Qualifying Subdivision            Allocation
              OH1740       Strasburg Village, Ohio                    0.0032911011%
              OH1741       Stratton Village, Ohio                     0.0014981914%
              OH1742       Streetsboro City, Ohio                     0.0206045399%
              OH1743       Strongsville City, Ohio                    0.0739396664%
              OH1744       Struthers City, Ohio                       0.0252671862%
              OH1745       Stryker Village, Ohio                      0.0016737417%
              OH1746       Suffield Township, Ohio                    0.0026771277%
              OH1747       Sugar Bush Knolls Village, Ohio            0.0000982645%
              OH1748       Sugar Creek Township, Allen County,        0.0002727166%
                           Ohio
              OH1749       Sugar Creek Township, Putnam County,       0.0001655674%
                           Ohio
              OH1750       Sugar Creek Township, Wayne County,        0.0003634054%
                           Ohio
              OH1751       Sugar Grove Village, Ohio                  0.0001955486%
              OH1752       Sugarcreek Township, Ohio                  0.0470017417%
              OH1753       Sugarcreek Village, Ohio                   0.0027688605%
              OH1754       Sullivan Township, Ohio                    0.0017162492%
              OH1755       Summerfield Village, Ohio                  0.0001212800%
              OH1756       Summit Township, Ohio                      0.0000062341%
              OH1757       Summitville Village, Ohio                  0.0004792142%
              OH1758       Sunbury Village, Ohio                      0.0082323543%
              OH1759       Sunfish Township, Ohio                     0.0000676034%
              OH1760       Swan Creek Township, Ohio                  0.0048429959%
              OH1761       Swanton Township, Ohio                     0.0015012549%
              OH1762       Swanton Village, Ohio                      0.0072434936%
              OH1763       Switzerland Township, Ohio                 0.0001807876%
              OH1764       Sycamore Township, Hamilton County,        0.0584269292%
                           Ohio
              OH1765       Sycamore Township, Wyandot County,         0.0002766058%
                           Ohio
              OH1766       Sycamore Village, Ohio                     0.0012008738%
              OH1767       Sylvania City, Ohio                        0.0526622027%
              OH1768       Sylvania Township, Ohio                    0.1247952267%
              OH1769       Symmes Township, Hamilton County,          0.0305202839%
                           Ohio
              OH1770       Symmes Township, Lawrence County,          0.0000521565%
                           Ohio
              OH1771       Syracuse Village, Ohio                     0.0005413001%
              OH1772       Tallmadge City, Ohio                       0.0580737905%
              OH1773       Tarlton Village, Ohio                      0.0002242634%
              OH1774       Tate Township, Ohio                        0.0267197716%
              OH1775       Taylor Creek Township, Ohio                0.0001110677%
              OH1776       Terrace Park Village, Ohio                 0.0056698421%
              OH1777       Texas Township, Ohio                       0.0002936562%
              OH1778       The Village of Indian Hill City, Ohio      0.0264202950%


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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
              OH1779       Thompson Township, Delaware County,       0.0002474656%
                           Ohio
              OH1780       Thompson Township, Geauga County,         0.0022491568%
                           Ohio
              OH1781       Thorn Township, Ohio                      0.0007422882%
              OH1782       Thornville Village, Ohio                  0.0006131946%
              OH1783       Thurston Village, Ohio                    0.0013688400%
              OH1784       Tiffin City, Ohio                         0.0703803061%
              OH1785       Tiffin Township, Ohio                     0.0005075927%
              OH1786       Tiltonsville Village, Ohio                0.0016575735%
              OH1787       Timberlake Village, Ohio                  0.0023312243%
              OH1788       Tipp City, Ohio                           0.0376479790%
              OH1789       Tiro Village, Ohio                        0.0000326285%
              OH1790       Toledo City, Ohio                         1.0197706186%
              OH1791       Tontogany Village, Ohio                   0.0001897924%
              OH1792       Toronto City, Ohio                        0.0279077997%
              OH1793       Townsend Township, Huron County,          0.0006177098%
                           Ohio
              OH1794       Townsend Township, Sandusky County,       0.0000271274%
                           Ohio
              OH1795       Tremont City Village, Ohio                0.0006396354%
              OH1796       Trenton City, Ohio                        0.0416371797%
              OH1797       Trenton Township, Ohio                    0.0000577420%
              OH1798       Trimble Township, Ohio                    0.0023032365%
              OH1799       Trimble Village, Ohio                     0.0004320101%
              OH1800       Trotwood City, Ohio                       0.0811683100%
              OH1801       Troy City, Ohio                           0.0899917302%
              OH1802       Troy Township, Ashland County, Ohio       0.0002358826%
              OH1803       Troy Township, Athens County, Ohio        0.0008754383%
              OH1804       Troy Township, Geauga County, Ohio        0.0026032794%
              OH1805       Troy Township, Richland County, Ohio      0.0034790294%
              OH1806       Troy Township, Wood County, Ohio          0.0027734180%
              OH1807       Trumbull County, Ohio                     2.0203599712%
              OH1808       Trumbull Township, Ohio                   0.0006457459%
              OH1809       Truro Township, Ohio                      0.0493339720%
              OH1810       Tully Township, Ohio                      0.0007929647%
              OH1811       Turtle Creek Township, Ohio               0.0003372090%
              OH1812       Turtlecreek Township, Ohio                0.0071325956%
              OH1813       Tuscarawas County, Ohio                   0.3721703206%
              OH1814       Tuscarawas Township, Ohio                 0.0020979323%
              OH1815       Tuscarawas Village, Ohio                  0.0003842902%
              OH1816       Twin Township, Darke County, Ohio         0.0003813690%
              OH1817       Twin Township, Ross County, Ohio          0.0052531114%
              OH1818       Twinsburg City, Ohio                      0.0833508485%
              OH1819       Tymochtee Township, Ohio                  0.0003170847%
              OH1820       Uhrichsville City, Ohio                   0.0101787647%
              OH1821       Union City Village, Ohio                  0.0076150778%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1822       Union City, Ohio                           0.0198982889%
              OH1823       Union County, Ohio                         0.3002174205%
              OH1824       Union Township, Auglaize County, Ohio      0.0001691497%
              OH1825       Union Township, Carroll County, Ohio       0.0000762536%
              OH1826       Union Township, Champaign County,          0.0000211479%
                           Ohio
              OH1827       Union Township, Clermont County,           0.3185341547%
                           Ohio
              OH1828       Union Township, Clinton County, Ohio       0.0085869431%
              OH1829       Union Township, Fayette County, Ohio       0.0014043033%
              OH1830       Union Township, Highland County,           0.0112248527%
                           Ohio
              OH1831       Union Township, Lawrence County,           0.0011822137%
                           Ohio
              OH1832       Union Township, Licking County, Ohio       0.0076823054%
              OH1833       Union Township, Logan County, Ohio         0.0001197046%
              OH1834       Union Township, Mercer County, Ohio        0.0004692319%
              OH1835       Union Township, Miami County, Ohio         0.0038499743%
              OH1836       Union Township, Muskingum County,          0.0003209896%
                           Ohio
              OH1837       Union Township, Pike County, Ohio          0.0001098555%
              OH1838       Union Township, Ross County, Ohio          0.0119227921%
              OH1839       Union Township, Tuscarawas County,         0.0002167791%
                           Ohio
              OH1840       Union Township, Union County, Ohio         0.0002502189%
              OH1841       Union Township, Van Wert County,           0.0002973617%
                           Ohio
              OH1842       Union Township, Warren County, Ohio        0.0079936267%
              OH1843       Unionville Center Village, Ohio            0.0001475046%
              OH1844       Uniopolis Village, Ohio                    0.0002492732%
              OH1845       Unity Township, Ohio                       0.0000798690%
              OH1846       University Heights City, Ohio              0.0306916388%
              OH1847       Upper Arlington City, Ohio                 0.1198448950%
              OH1848       Upper Sandusky City, Ohio                  0.0108550896%
              OH1849       Upper Township, Ohio                       0.0007475763%
              OH1850       Urbana City, Ohio                          0.0575116162%
              OH1851       Urbancrest Village, Ohio                   0.0003436577%
              OH1852       Utica Village, Ohio                        0.0044986588%
              OH1853       Valley Hi Village, Ohio                    0.0001316045%
              OH1854       Valley Township, Guernsey County,          0.0005439160%
                           Ohio
              OH1855       Valley Township, Scioto County, Ohio       0.0018196842%
              OH1856       Valley View Village, Ohio                  0.0158831601%
              OH1857       Valleyview Village, Ohio                   0.0016037359%
              OH1858       Van Buren Township, Darke County,          0.0003444623%
                           Ohio


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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
              OH1859       Van Buren Township, Putnam County,        0.0002317943%
                           Ohio
              OH1860       Van Buren Township, Shelby County,        0.0003904525%
                           Ohio
              OH1861       Van Buren Village, Ohio                   0.0001188906%
              OH1862       Van Wert City, Ohio                       0.0528808311%
              OH1863       Van Wert County, Ohio                     0.1122540604%
              OH1864       Vandalia City, Ohio                       0.0967305650%
              OH1865       Vanlue Village, Ohio                      0.0001114793%
              OH1866       Venedocia Village, Ohio                   0.0000371702%
              OH1867       Venice Township, Ohio                     0.0000100271%
              OH1868       Vermilion City, Ohio                      0.0432196320%
              OH1869       Vermilion Township, Ohio                  0.0012778552%
              OH1870       Vermillion Township, Ohio                 0.0004880329%
              OH1871       Vernon Township, Crawford County,         0.0000108762%
                           Ohio
              OH1872       Vernon Township, Scioto County, Ohio      0.0038952614%
              OH1873       Vernon Township, Trumbull County,         0.0006308563%
                           Ohio
              OH1874       Verona Village, Ohio                      0.0012373333%
              OH1875       Versailles Village, Ohio                  0.0100017096%
              OH1876       Vienna Township, Ohio                     0.0042113922%
              OH1877       Vinton County, Ohio                       0.1090168446%
              OH1878       Vinton Township, Ohio                     0.0001170406%
              OH1879       Vinton Village, Ohio                      0.0005060807%
              OH1880       Violet Township, Ohio                     0.0621844457%
              OH1881       Virginia Township, Ohio                   0.0000841915%
              OH1882       Wabash Township, Ohio                     0.0000492089%
              OH1883       Wadsworth City, Ohio                      0.0760959559%
              OH1884       Waite Hill Village, Ohio                  0.0053068521%
              OH1885       Wakeman Village, Ohio                     0.0018119487%
              OH1886       Walbridge Village, Ohio                   0.0029019871%
              OH1887       Waldo Township, Ohio                      0.0000743838%
              OH1888       Waldo Village, Ohio                       0.0004160980%
              OH1889       Walnut Township, Fairfield County,        0.0087100593%
                           Ohio
              OH1890       Walnut Township, Gallia County, Ohio      0.0001499498%
              OH1891       Walton Hills Village, Ohio                0.0099526568%
              OH1892       Wapakoneta City, Ohio                     0.0275268850%
              OH1893       Ward Township, Ohio                       0.0001486233%
              OH1894       Warren City, Ohio                         0.3520178232%
              OH1895       Warren County, Ohio                       1.0504230532%
              OH1896       Warren Township, Belmont County,          0.0000984250%
                           Ohio
              OH1897       Warren Township, Jefferson County,        0.0004303316%
                           Ohio


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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1898       Warren Township, Trumbull County,          0.0001534515%
                           Ohio
              OH1899       Warren Township, Tuscarawas County,        0.0002069255%
                           Ohio
              OH1900       Warren Township, Washington County,        0.0008773149%
                           Ohio
              OH1901       Warrensville Heights City, Ohio            0.0361164097%
              OH1902       Warsaw Village, Ohio                       0.0003911414%
              OH1903       Warwick Township, Ohio                     0.0008474093%
              OH1904       Washington County, Ohio                    0.3325608246%
              OH1905       Washington Court House City, Ohio          0.0376016242%
              OH1906       Washington Township, Auglaize              0.0023680955%
                           County, Ohio
              OH1907       Washington Township, Belmont County,       0.0000843643%
                           Ohio
              OH1908       Washington Township, Brown County,         0.0011782387%
                           Ohio
              OH1909       Washington Township, Carroll County,       0.0002178675%
                           Ohio
              OH1910       Washington Township, Clermont              0.0305984481%
                           County, Ohio
              OH1911       Washington Township, Clinton County,       0.0029440948%
                           Ohio
              OH1912       Washington Township, Columbiana            0.0006256408%
                           County, Ohio
              OH1913       Washington Township, Coshocton             0.0000841915%
                           County, Ohio
              OH1914       Washington Township, Darke County,         0.0003198579%
                           Ohio
              OH1915       Washington Township, Defiance County,      0.0003531079%
                           Ohio
              OH1916       Washington Township, Franklin County,      0.1225330619%
                           Ohio
              OH1917       Washington Township, Guernsey              0.0000951853%
                           County, Ohio
              OH1918       Washington Township, Hancock County,       0.0008925122%
                           Ohio
              OH1919       Washington Township, Harrison County,      0.0003339830%
                           Ohio
              OH1920       Washington Township, Henry County,         0.0002571801%
                           Ohio
              OH1921       Washington Township, Highland              0.0004065339%
                           County, Ohio
              OH1922       Washington Township, Hocking County,       0.0002427514%
                           Ohio
              OH1923       Washington Township, Holmes County,        0.0000261741%
                           Ohio

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                   Consolidated State
              State ID             Qualifying Subdivision             Allocation
              OH1924       Washington Township, Jackson County,       0.0003315132%
                           Ohio
              OH1925       Washington Township, Lawrence              0.0000695420%
                           County, Ohio
              OH1926       Washington Township, Licking County,       0.0008154920%
                           Ohio
              OH1927       Washington Township, Logan County,         0.0017756185%
                           Ohio
              OH1928       Washington Township, Lucas County,         0.0071150384%
                           Ohio
              OH1929       Washington Township, Mercer County,        0.0001173080%
                           Ohio
              OH1930       Washington Township, Miami County,         0.0009766897%
                           Ohio
              OH1931       Washington Township, Monroe County,        0.0000062341%
                           Ohio
              OH1932       Washington Township, Montgomery            0.1316317394%
                           County, Ohio
              OH1933       Washington Township, Morrow County,        0.0002420690%
                           Ohio
              OH1934       Washington Township, Muskingum             0.0014845767%
                           County, Ohio
              OH1935       Washington Township, Paulding County,      0.0000402008%
                           Ohio
              OH1936       Washington Township, Pickaway              0.0003983733%
                           County, Ohio
              OH1937       Washington Township, Preble County,        0.0006874604%
                           Ohio
              OH1938       Washington Township, Richland              0.0012132000%
                           County, Ohio
              OH1939       Washington Township, Sandusky              0.0006510581%
                           County, Ohio
              OH1940       Washington Township, Scioto County,        0.0113445935%
                           Ohio
              OH1941       Washington Township, Shelby County,        0.0000798653%
                           Ohio
              OH1942       Washington Township, Stark County,         0.0006531299%
                           Ohio
              OH1943       Washington Township, Wood County,          0.0002265264%
                           Ohio
              OH1944       Washingtonville Village, Ohio              0.0014015930%
              OH1945       Waterford Township, Ohio                   0.0050048725%
              OH1946       Waterloo Township, Ohio                    0.0006670006%
              OH1947       Watertown Township, Ohio                   0.0001503968%
              OH1948       Waterville City, Ohio                      0.0124831621%
              OH1949       Waterville Township, Ohio                  0.0015558460%
              OH1950       Wauseon City, Ohio                         0.0277126990%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
              OH1951       Waverly Village, Ohio                     0.0077490360%
              OH1952       Wayne County, Ohio                        0.2257675097%
              OH1953       Wayne Lakes Village, Ohio                 0.0075166600%
              OH1954       Wayne Township, Adams County, Ohio        0.0012649279%
              OH1955       Wayne Township, Ashtabula County,         0.0005165967%
                           Ohio
              OH1956       Wayne Township, Auglaize County,          0.0004273255%
                           Ohio
              OH1957       Wayne Township, Belmont County,           0.0000562429%
                           Ohio
              OH1958       Wayne Township, Butler County, Ohio       0.0007432325%
              OH1959       Wayne Township, Champaign County,         0.0014909244%
                           Ohio
              OH1960       Wayne Township, Clermont County,          0.0020513889%
                           Ohio
              OH1961       Wayne Township, Clinton County, Ohio      0.0002007337%
              OH1962       Wayne Township, Columbiana County,        0.0005990178%
                           Ohio
              OH1963       Wayne Township, Darke County, Ohio        0.0000369067%
              OH1964       Wayne Township, Fayette County, Ohio      0.0001404303%
              OH1965       Wayne Township, Jefferson County,         0.0021038433%
                           Ohio
              OH1966       Wayne Township, Monroe County, Ohio       0.0000062341%
              OH1967       Wayne Township, Muskingum County,         0.0001404329%
                           Ohio
              OH1968       Wayne Township, Noble County, Ohio        0.0000862387%
              OH1969       Wayne Township, Pickaway County,          0.0000437239%
                           Ohio
              OH1970       Wayne Township, Tuscarawas County,        0.0003941438%
                           Ohio
              OH1971       Wayne Township, Warren County, Ohio       0.0038164622%
              OH1972       Wayne Village, Ohio                       0.0008081483%
              OH1973       Waynesburg Village, Ohio                  0.0012073007%
              OH1974       Waynesfield Village, Ohio                 0.0007567223%
              OH1975       Waynesville Village, Ohio                 0.0046309511%
              OH1976       Weathersfield Township, Ohio              0.0249955502%
              OH1977       Weller Township, Ohio                     0.0004460294%
              OH1978       Wellington Village, Ohio                  0.0164981765%
              OH1979       Wells Township, Ohio                      0.0100888848%
              OH1980       Wellston City, Ohio                       0.0406103723%
              OH1981       Wellsville Village, Ohio                  0.0125660620%
              OH1982       Wesley Township, Ohio                     0.0001253307%
              OH1983       West Alexandria Village, Ohio             0.0099845432%
              OH1984       West Carrollton City, Ohio                0.0603546931%
              OH1985       West Chester Township, Ohio               0.3737167118%
              OH1986       West Elkton Village, Ohio                 0.0026843690%
              OH1987       West Farmington Village, Ohio             0.0001875519%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
              OH1988       West Jefferson Village, Ohio             0.0159155640%
              OH1989       West Lafayette Village, Ohio             0.0026252451%
              OH1990       West Leipsic Village, Ohio               0.0002152376%
              OH1991       West Liberty Village, Ohio               0.0035013600%
              OH1992       West Manchester Village, Ohio            0.0025206880%
              OH1993       West Mansfield Village, Ohio             0.0000798031%
              OH1994       West Millgrove Village, Ohio             0.0001102020%
              OH1995       West Milton Village, Ohio                0.0098350376%
              OH1996       West Rushville Village, Ohio             0.0001070525%
              OH1997       West Salem Village, Ohio                 0.0004987159%
              OH1998       West Township, Ohio                      0.0005857063%
              OH1999       West Union Village, Ohio                 0.0111998820%
              OH2000       West Unity Village, Ohio                 0.0014694352%
              OH2001       Westerville City, Ohio                   0.2122517954%
              OH2002       Westfield Center Village, Ohio           0.0015469538%
              OH2003       Westfield Township, Ohio                 0.0022200558%
              OH2004       Westlake City, Ohio                      0.0470647273%
              OH2005       Westland Township, Ohio                  0.0000407937%
              OH2006       Weston Township, Ohio                    0.0001040797%
              OH2007       Weston Village, Ohio                     0.0009305950%
              OH2008       Wharton Village, Ohio                    0.0000269859%
              OH2009       Wheeling Township, Belmont County,       0.0005343072%
                           Ohio
              OH2010       Wheeling Township, Guernsey County,      0.0000407937%
                           Ohio
              OH2011       Whetstone Township, Ohio                 0.0003262846%
              OH2012       White Eyes Township, Ohio                0.0001913444%
              OH2013       Whitehall City, Ohio                     0.0708163966%
              OH2014       Whitehouse Village, Ohio                 0.0191159792%
              OH2015       Whitewater Township, Ohio                0.0072647461%
              OH2016       Wickliffe City, Ohio                     0.0543194216%
              OH2017       Wilkesville Township, Ohio               0.0005461896%
              OH2018       Wilkesville Village, Ohio                0.0001034151%
              OH2019       Willard City, Ohio                       0.0338504955%
              OH2020       Williams County, Ohio                    0.1507467614%
              OH2021       Williamsburg Township, Ohio              0.0138253270%
              OH2022       Williamsburg Village, Ohio               0.0064127452%
              OH2023       Williamsfield Township, Ohio             0.0004696334%
              OH2024       Williamsport Village, Ohio               0.0004226644%
              OH2025       Willoughby City, Ohio                    0.1356374532%
              OH2026       Willoughby Hills City, Ohio              0.0528410843%
              OH2027       Willowick City, Ohio                     0.0540256495%
              OH2028       Wills Township, Ohio                     0.0001087832%
              OH2029       Willshire Village, Ohio                  0.0006690639%
              OH2030       Wilmington City, Ohio                    0.1278227818%
              OH2031       Wilmot Village, Ohio                     0.0024343932%
              OH2032       Wilson Township, Ohio                    0.0006914162%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
              OH2033       Wilson Village, Ohio                      0.0001415832%
              OH2034       Winchester Village, Ohio                  0.0033994936%
              OH2035       Windham Township, Ohio                    0.0001218723%
              OH2036       Windham Village, Ohio                     0.0030305573%
              OH2037       Windsor Township, Ashtabula County,       0.0006340051%
                           Ohio
              OH2038       Windsor Township, Lawrence County,        0.0007128053%
                           Ohio
              OH2039       Windsor Township, Morgan County,          0.0004926943%
                           Ohio
              OH2040       Wintersville Village, Ohio                0.0169582518%
              OH2041       Wood County, Ohio                         0.6017827347%
              OH2042       Woodlawn Village, Ohio                    0.0240822158%
              OH2043       Woodmere Village, Ohio                    0.0007072352%
              OH2044       Woodsfield Village, Ohio                  0.0011221301%
              OH2045       Woodstock Village, Ohio                   0.0001517571%
              OH2046       Woodville Township, Ohio                  0.0019622167%
              OH2047       Woodville Village, Ohio                   0.0034270973%
              OH2048       Wooster City, Ohio                        0.4046402646%
              OH2049       Wooster Township, Ohio                    0.0017358405%
              OH2050       Worthington City, Ohio                    0.0819890902%
              OH2051       Worthington Township, Ohio                0.0017573559%
              OH2052       Wren Village, Ohio                        0.0008301349%
              OH2053       Wyandot County, Ohio                      0.0959147354%
              OH2054       Wyoming City, Ohio                        0.0220280462%
              OH2055       Xenia City, Ohio                          0.1268376308%
              OH2056       Xenia Township, Ohio                      0.0075532986%
              OH2057       Yankee Lake Village, Ohio                 0.0000341003%
              OH2058       Yellow Creek Township, Ohio               0.0010782320%
              OH2059       Yellow Springs Village, Ohio              0.0142295064%
              OH2060       York Township, Athens County, Ohio        0.0005523599%
              OH2061       York Township, Fulton County, Ohio        0.0061882726%
              OH2062       York Township, Medina County, Ohio        0.0023145263%
              OH2063       York Township, Sandusky County, Ohio      0.0006239306%
              OH2064       York Township, Tuscarawas County,         0.0007784341%
                           Ohio
              OH2065       York Township, Van Wert County, Ohio      0.0001115107%
              OH2066       Yorkshire Village, Ohio                   0.0007627380%
              OH2067       Yorkville Village, Ohio                   0.0011795516%
              OH2068       Youngstown City, Ohio                     0.5751891038%
              OH2069       Zaleski Village, Ohio                     0.0000780271%
              OH2070       Zane Township, Ohio                       0.0012568985%
              OH2071       Zanesfield Village, Ohio                  0.0001257699%
              OH2072       Zanesville City, Ohio                     0.1371227251%
              OH2073       Zoar Village, Ohio                        0.0002364863%



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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                OR1        Albany City, Oregon                      1.1574421234%
                OR2        Ashland City, Oregon                     0.5725593238%
                OR3        Astoria City, Oregon                     0.1859283065%
                OR4        Baker County, Oregon                     0.4771636205%
                OR5        Beaverton City, Oregon                   0.9709676029%
                OR6        Bend City, Oregon                        0.9443519043%
                OR7        Benton County, Oregon                    1.0219885306%
                OR8        Canby City, Oregon                       0.1716812437%
                OR9        Central Point City, Oregon               0.1718730043%
               OR10        Clackamas County, Oregon                 7.7713142577%
               OR11        Clatsop County, Oregon                   1.1423692099%
               OR12        Columbia County, Oregon                  1.0096699413%
               OR13        Coos Bay City, Oregon                    0.2538945929%
               OR14        Coos County, Oregon                      1.5633002470%
               OR15        Cornelius City, Oregon                   0.0949750265%
               OR16        Corvallis City, Oregon                   0.6633711425%
               OR17        Cottage Grove City, Oregon               0.0910229575%
               OR18        Crook County, Oregon                     0.3513229911%
               OR19        Curry County, Oregon                     0.7612961295%
               OR20        Dallas City, Oregon                      0.1606964683%
               OR21        Deschutes County, Oregon                 2.2569753600%
               OR22        Douglas County, Oregon                   2.5689481047%
               OR23        Eugene City, Oregon                      2.7611039932%
               OR24        Forest Grove City, Oregon                0.2522169415%
               OR26        Gladstone City, Oregon                   0.1181360032%
               OR28        Grants Pass City, Oregon                 0.8232581895%
               OR29        Gresham City, Oregon                     0.9831942718%
               OR30        Happy Valley City, Oregon                0.0103506009%
               OR32        Hermiston City, Oregon                   0.1316304314%
               OR33        Hillsboro City, Oregon                   1.5083519364%
               OR34        Hood River County, Oregon                0.3553687498%
               OR35        Independence City, Oregon                0.0808970601%
               OR36        Jackson County, Oregon                   4.0769510640%
               OR37        Jefferson County, Oregon                 0.3674692915%
               OR38        Josephine County, Oregon                 1.6536523798%
               OR39        Keizer City, Oregon                      0.1916558451%
               OR40        Klamath County, Oregon                   1.2169628601%
               OR41        Klamath Falls City, Oregon               0.3209275214%
               OR42        La Grande City, Oregon                   0.2715648669%
               OR44        Lake Oswego City, Oregon                 0.6934160342%
               OR45        Lane County, Oregon                      6.3326808234%
               OR46        Lebanon City, Oregon                     0.3269345282%
               OR47        Lincoln County, Oregon                   1.5190343268%
               OR48        Linn County, Oregon                      1.8185376689%
               OR49        Malheur County, Oregon                   0.5014027023%
               OR50        Marion County, Oregon                    4.1636475308%
               OR51        McMinnville City, Oregon                 0.4803592635%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               OR52        Medford City, Oregon                     1.5540758598%
               OR53        Milwaukie City, Oregon                   0.2113647118%
               OR54        Monmouth City, Oregon                    0.0706960930%
               OR55        Morrow County, Oregon                    0.1351544937%
               OR56        Multnomah County, Oregon                13.9643815662%
               OR57        Newberg City, Oregon                     0.4093257361%
               OR58        Newport City, Oregon                     0.1908392623%
               OR59        Ontario City, Oregon                     0.1869780182%
               OR60        Oregon City, Oregon                      0.2765040475%
               OR61        Pendleton City, Oregon                   0.3521049458%
               OR62        Polk County, Oregon                      0.7074299681%
               OR63        Portland City, Oregon                    8.2736702858%
               OR64        Prineville City, Oregon                  0.0924861843%
               OR65        Redmond City, Oregon                     0.1550311086%
               OR66        Roseburg City, Oregon                    0.6370799877%
               OR67        Salem City, Oregon                       3.0438221421%
               OR68        Sandy City, Oregon                       0.0775015682%
               OR70        Sherwood City, Oregon                    0.1404204928%
               OR71        Silverton City, Oregon                   0.0775630731%
               OR72        Springfield City, Oregon                 1.1667234659%
               OR73        St. Helens City, Oregon                  0.1964453077%
               OR74        The Dalles City, Oregon                  0.1723418738%
               OR75        Tigard City, Oregon                      0.5049875956%
               OR76        Tillamook County, Oregon                 0.9001228870%
               OR77        Troutdale City, Oregon                   0.0899929610%
               OR78        Tualatin City, Oregon                    0.1551565618%
               OR79        Umatilla County, Oregon                  0.9738633884%
               OR80        Union County, Oregon                     0.4153841374%
               OR82        Wasco County, Oregon                     0.4116278731%
               OR83        Washington County, Oregon                7.2167622210%
               OR84        West Linn City, Oregon                   0.1600504983%
               OR86        Wilsonville City, Oregon                 0.1383351396%
               OR87        Woodburn City, Oregon                    0.2069349266%
               OR88        Yamhill County, Oregon                   1.4120246444%




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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                PA2        Adams County, Pennsylvania
                PA5        Allegheny County, Pennsylvania
                PA6        Allentown City, Pennsylvania
               PA10        Armstrong County, Pennsylvania
               PA13        Beaver County, Pennsylvania
               PA14        Bedford County, Pennsylvania
               PA15        Bensalem Township, Pennsylvania
               PA16        Berks County, Pennsylvania
               PA20        Blair County, Pennsylvania
               PA22        Bradford County, Pennsylvania
               PA23        Bristol Township, Pennsylvania
               PA25        Bucks County, Pennsylvania
               PA27        Butler County, Pennsylvania
               PA30        Cambria County, Pennsylvania
               PA31        Cameron County, Pennsylvania
               PA32        Carbon County, Pennsylvania
               PA36        Centre County, Pennsylvania
               PA40        Chester County, Pennsylvania
               PA42        Clarion County, Pennsylvania
               PA43        Clearfield County, Pennsylvania
               PA44        Clinton County, Pennsylvania             Allocations in
               PA46        Coatesville City, Pennsylvania        Pennsylvania will be
               PA49        Columbia County, Pennsylvania         made in accordance
               PA53        Crawford County, Pennsylvania               with the
               PA54        Cumberland County, Pennsylvania        Pennsylvania Trust
               PA57        Dauphin County, Pennsylvania             and Allocation
               PA58        Delaware County, Pennsylvania                Order.
               PA76        Edwardsville Borough, Pennsylvania
               PA79        Elk County, Pennsylvania
               PA84        Erie County, Pennsylvania
               PA85        Exeter Borough, Pennsylvania
               PA90        Fayette County, Pennsylvania
               PA92        Forest County, Pennsylvania
               PA94        Forty Fort Borough, Pennsylvania
               PA96        Franklin County, Pennsylvania
               PA98        Fulton County, Pennsylvania
               PA99        Greene County, Pennsylvania
               PA107       Hanover Township, Luzerne County,
                           Pennsylvania
               PA114       Hazleton City, Pennsylvania
               PA120       Huntingdon County, Pennsylvania
               PA122       Indiana County, Pennsylvania
               PA123       Jefferson County, Pennsylvania
               PA126       Juniata County, Pennsylvania
               PA127       Kingston Borough, Pennsylvania
               PA128       Lackawanna County, Pennsylvania
               PA130       Lancaster County, Pennsylvania

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID              Qualifying Subdivision           Allocation
               PA134       Lawrence County, Pennsylvania
               PA136       Lebanon County, Pennsylvania
               PA137       Lehigh County, Pennsylvania
               PA141       Lock Haven City, Pennsylvania
               PA147       Lower Makefield Township,
                           Pennsylvania
               PA155       Lower Southampton Township,
                           Pennsylvania
               PA157       Luzerne County, Pennsylvania
               PA158       Lycoming County, Pennsylvania
               PA164       McKean County, Pennsylvania
               PA167       Mercer County, Pennsylvania
               PA169       Middletown Township, Bucks County,
                           Pennsylvania
               PA171       Mifflin County, Pennsylvania
               PA174       Monroe County, Pennsylvania
               PA176       Montgomery County, Pennsylvania
               PA178       Montour County, Pennsylvania
               PA180       Morrisville Borough, Pennsylvania
               PA187       Nanticoke City, Pennsylvania
               PA195       Newtown Township, Bucks County,           Allocations in
                           Pennsylvania                           Pennsylvania will be
               PA197       Norristown Borough, Pennsylvania       made in accordance
               PA205       Northampton County, Pennsylvania             with the
               PA207       Northumberland County, Pennsylvania     Pennsylvania Trust
               PA213       Perry County, Pennsylvania                and Allocation
               PA215       Philadelphia City, Pennsylvania               Order.
               PA217       Pike County, Pennsylvania
               PA219       Pittsburgh City, Pennsylvania
               PA220       Plains Township, Pennsylvania
               PA225       Potter County, Pennsylvania
               PA241       Schuylkill County, Pennsylvania
               PA248       Snyder County, Pennsylvania
               PA249       Somerset County, Pennsylvania
               PA265       Sugar Notch Borough, Pennsylvania
               PA266       Sullivan County, Pennsylvania
               PA267       Susquehanna County, Pennsylvania
               PA270       Tioga County, Pennsylvania
               PA273       Union County, Pennsylvania
               PA290       Venango County, Pennsylvania
               PA291       Warminster Township, Pennsylvania
               PA292       Warren County, Pennsylvania
               PA293       Warrington Township, Bucks County,
                           Pennsylvania
               PA297       Washington County, Pennsylvania
               PA299       Wayne County, Pennsylvania
               PA310       West Norriton Township, Pennsylvania

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                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                       Consolidated State
              State ID              Qualifying Subdivision                Allocation
               PA311       West Pittston Borough, Pennsylvania
               PA313       Westmoreland County, Pennsylvania
               PA320       Wilkes Barre Township, Pennsylvania
               PA321       Wilkes-Barre City, Pennsylvania
               PA327       Wright Township, Pennsylvania
               PA328       Wyoming Borough, Pennsylvania
               PA329       Wyoming County, Pennsylvania
               PA333       York County, Pennsylvania
               PA335       Fairview Township, Luzerne County,
                           Pennsylvania
               PA336       District Attorney of Allegheny County,
                           Pennsylvania
               PA337       District Attorney of Berks County,
                           Pennsylvania
                                                                          Allocations in
               PA338       District Attorney of Bucks County,
                                                                       Pennsylvania will be
                           Pennsylvania
                                                                       made in accordance
               PA339       District Attorney of Chester County,
                                                                             with the
                           Pennsylvania
                                                                        Pennsylvania Trust
               PA340       District Attorney of Clearfield County,
                                                                          and Allocation
                           Pennsylvania
                                                                              Order.
               PA341       District Attorney of Dauphin County,
                           Pennsylvania
               PA342       District Attorney of Delaware County,
                           Pennsylvania
               PA343       District Attorney of Erie County,
                           Pennsylvania
               PA344       District Attorney of Lehigh County,
                           Pennsylvania
               PA345       District Attorney of Northampton
                           County, Pennsylvania
               PA346       District Attorney of Philadelphia County,
                           Pennsylvania
               PA347       District Attorney of Westmoreland
                           County, Pennsylvania




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                PR1        Adjuntas, Puerto Rico                    0.4468461493%
                PR2        Aguada, Puerto Rico                      0.9238661758%
                PR3        Aguadilla, Puerto Rico                   1.6156167759%
                PR4        Aguas Buenas, Puerto Rico                0.7490858028%
                PR5        Aibonito, Puerto Rico                    0.7959428477%
                PR6        Anasco, Puerto Rico                      0.5050154853%
                PR7        Arecibo, Puerto Rico                     1.3074850692%
                PR8        Arroyo, Puerto Rico                      2.0592191012%
                PR9        Barceloneta, Puerto Rico                 0.5768569406%
               PR10        Barranquitas, Puerto Rico                0.7167107056%
               PR11        Bayamon, Puerto Rico                     5.7282390971%
               PR12        Cabo Rojo, Puerto Rico                   1.1570847420%
               PR13        Caguas, Puerto Rico                      4.7119895861%
               PR14        Camuy, Puerto Rico                       0.7759381807%
               PR15        Canovanas, Puerto Rico                   1.0721780377%
               PR16        Carolina, Puerto Rico                    4.3228006165%
               PR17        Catano, Puerto Rico                      0.7612066695%
               PR18        Cayey, Puerto Rico                       1.3596493469%
               PR19        Ceiba, Puerto Rico                       0.2896687707%
               PR20        Ciales, Puerto Rico                      0.4533215195%
               PR21        Cidra, Puerto Rico                       1.1671492158%
               PR22        Coamo, Puerto Rico                       0.9970822347%
               PR23        Comerio, Puerto Rico                     0.5268640655%
               PR24        Corozal, Puerto Rico                     0.8595048594%
               PR25        Culebra, Puerto Rico                     0.0380175870%
               PR26        Dorado, Puerto Rico                      0.8970759382%
               PR27        Fajardo, Puerto Rico                     1.1102770585%
               PR28        Florida, Puerto Rico                     0.2695408253%
               PR29        Guanica, Puerto Rico                     0.4269617539%
               PR30        Guayama, Puerto Rico                     1.3293151076%
               PR31        Guayanilla, Puerto Rico                  0.4886780984%
               PR32        Guaynabo, Puerto Rico                    2.3185934725%
               PR33        Gurabo, Puerto Rico                      0.9866291335%
               PR34        Hatillo, Puerto Rico                     1.0577790273%
               PR35        Hormigueros, Puerto Rico                 0.3963005262%
               PR36        Humacao, Puerto Rico                     1.8829438530%
               PR37        Isabela, Puerto Rico                     1.0062900243%
               PR38        Jayuya, Puerto Rico                      0.3757431113%
               PR39        Juana Diaz, Puerto Rico                  1.7179648597%
               PR40        Juncos, Puerto Rico                      0.9543672919%
               PR41        Lajas, Puerto Rico                       0.5633742491%
               PR42        Lares, Puerto Rico                       0.6852103333%
               PR43        Las Marias, Puerto Rico                  0.2285582941%
               PR44        Las Piedras, Puerto Rico                 0.8440153869%
               PR45        Loiza, Puerto Rico                       0.7971240145%
               PR46        Luquillo, Puerto Rico                    0.5035020683%
               PR47        Manati, Puerto Rico                      1.3858134207%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID               Qualifying Subdivision         Allocation
               PR48        Maricao, Puerto Rico                     0.1311593846%
               PR49        Maunabo, Puerto Rico                     0.2983734242%
               PR50        Mayaguez, Puerto Rico                    2.7384221211%
               PR51        Moca, Puerto Rico                        0.9400143856%
               PR52        Morovis, Puerto Rico                     0.7678286207%
               PR53        Naguabo, Puerto Rico                     0.6776685553%
               PR54        Naranjito, Puerto Rico                   0.6713715879%
               PR55        Orocovis, Puerto Rico                    0.5209419444%
               PR56        Patillas, Puerto Rico                    0.4307397840%
               PR57        Penuelas, Puerto Rico                    0.5782731381%
               PR58        Ponce, Puerto Rico                       5.1762853836%
               PR59        Quebradillas, Puerto Rico                0.6086201563%
               PR60        Rincon, Puerto Rico                      0.3607312171%
               PR61        Rio Grande, Puerto Rico                  1.2995118170%
               PR62        Sabana Grande, Puerto Rico               0.5625075422%
               PR63        Salinas, Puerto Rico                     0.8069301551%
               PR64        San German, Puerto Rico                  0.9914753253%
               PR65        San Juan, Puerto Rico                   13.8003700360%
               PR66        San Lorenzo, Puerto Rico                 1.0322446251%
               PR67        San Sebastian, Puerto Rico               0.9222442638%
               PR68        Santa Isabel, Puerto Rico                0.5210354055%
               PR69        Toa Alta, Puerto Rico                    1.7552873773%
               PR70        Toa Baja, Puerto Rico                    2.1783919223%
               PR71        Trujillo Alto, Puerto Rico               1.9136501824%
               PR72        Utuado, Puerto Rico                      0.7718304061%
               PR73        Vega Alta, Puerto Rico                   0.9338331796%
               PR74        Vega Baja, Puerto Rico                   1.6886509241%
               PR75        Vieques, Puerto Rico                     0.1979351524%
               PR76        Villalba, Puerto Rico                    0.5576736281%
               PR77        Yabucoa, Puerto Rico                     0.8842993409%
               PR78        Yauco, Puerto Rico                       1.1383015829%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                RI1        Barrington Town, Rhode Island            2.3000539202%
                RI2        Bristol Town, Rhode Island               1.0821868960%
                RI3        Burrillville Town, Rhode Island          1.3272036109%
                RI4        Central Falls City, Rhode Island         0.9147584689%
                RI5        Charlestown, Rhode Island                0.5887860100%
                RI6        Coventry Town, Rhode Island              3.5886939036%
                RI7        Cranston City, Rhode Island              7.8869595262%
                RI8        Cumberland Town, Rhode Island            2.4742003754%
                RI9        East Greenwich Town, Rhode Island        1.7467671439%
                RI10       East Providence City, Rhode Island       4.3247728580%
                RI11       Exeter Town, Rhode Island                0.0071810640%
                RI12       Foster Town, Rhode Island                0.2489021533%
                RI13       Glocester Town, Rhode Island             0.8508469130%
                RI14       Hopkinton Town, Rhode Island             0.7098006614%
                RI15       Jamestown, Rhode Island                  0.4220295287%
                RI16       Johnston Town, Rhode Island              3.0898685140%
                RI17       Lincoln Town, Rhode Island               2.1171973520%
                RI18       Little Compton Town, Rhode Island        0.2663017745%
                RI19       Middletown, Rhode Island                 1.2877439601%
                RI20       Narragansett Town, Rhode Island          1.2760123800%
                RI21       New Shoreham Town, Rhode Island          0.2118269375%
                RI22       Newport City, Rhode Island               2.3339316695%
                RI23       North Kingstown, Rhode Island            2.6500524514%
                RI24       North Providence Town, Rhode Island      2.5306229398%
                RI25       North Smithfield Town, Rhode Island      1.1299013506%
                RI26       Pawtucket City, Rhode Island             5.9652217345%
                RI27       Portsmouth Town, Rhode Island            1.2807429020%
                RI28       Providence City, Rhode Island           21.4858080262%
                RI29       Richmond Town, Rhode Island              0.0818789542%
                RI30       Scituate Town, Rhode Island              1.0248588645%
                RI31       Smithfield Town, Rhode Island            1.7724673574%
                RI32       South Kingstown, Rhode Island            2.3282747894%
                RI33       Tiverton Town, Rhode Island              0.9907730639%
                RI34       Warren Town, Rhode Island                0.1394116029%
                RI35       Warwick City, Rhode Island               9.9418184427%
                RI36       West Greenwich Town, Rhode Island        0.7104734659%
                RI37       West Warwick Town, Rhode Island          3.0239943495%
                RI38       Westerly Town, Rhode Island              2.0135754535%
                RI39       Woonsocket City, Rhode Island            3.8740986306%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                SC1        Abbeville County, South Carolina         0.3350059823%
                SC2        Aiken City, South Carolina               0.7838026892%
                SC3        Aiken County, South Carolina             2.5661670597%
                SC4        Allendale County, South Carolina         0.1220441823%
                SC5        Anderson City, South Carolina            1.1735303052%
                SC6        Anderson County, South Carolina          3.3392231904%
                SC7        Bamberg County, South Carolina           0.2705913372%
                SC8        Barnwell County, South Carolina          0.4653224769%
                SC9        Beaufort City, South Carolina            0.0769982478%
               SC10        Beaufort County, South Carolina          2.3364418352%
               SC11        Berkeley County, South Carolina          2.0961440294%
               SC12        Bluffton Town, South Carolina            0.0481968917%
               SC13        Calhoun County, South Carolina           0.1833260393%
               SC14        Cayce City, South Carolina               0.2572136960%
               SC15        Charleston City, South Carolina          2.3004340552%
               SC16        Charleston County, South Carolina        3.8016438488%
               SC17        Cherokee County, South Carolina          0.9440700745%
               SC18        Chester City, South Carolina             0.1299573133%
               SC19        Chester County, South Carolina           0.3947965211%
               SC20        Chesterfield County, South Carolina      0.9443488664%
               SC21        Clarendon County, South Carolina         0.5705383575%
               SC22        Clemson City, South Carolina             0.3311616877%
               SC23        Colleton County, South Carolina          0.8589365535%
               SC24        Columbia City, South Carolina            2.3918060702%
               SC25        Conway City, South Carolina              0.2894739402%
               SC26        Darlington County, South Carolina        1.6906462867%
               SC27        Dillon County, South Carolina            0.6608411417%
               SC28        Dorchester County, South Carolina        1.6015765975%
               SC29        Easley City, South Carolina              0.8565835771%
               SC30        Edgefield County, South Carolina         0.3586097074%
               SC31        Fairfield County, South Carolina         0.3536421891%
               SC32        Florence City, South Carolina            1.0065336904%
               SC33        Florence County, South Carolina          2.2059006272%
               SC34        Forest Acres City, South Carolina        0.0995929056%
               SC35        Fort Mill Town, South Carolina           0.1714974802%
               SC36        Fountain Inn City, South Carolina        0.1975697094%
               SC37        Gaffney City, South Carolina             0.2044353782%
               SC38        Georgetown City, South Carolina          0.2626233562%
               SC39        Georgetown County, South Carolina        1.1895098900%
               SC40        Goose Creek City, South Carolina         0.5473575768%
               SC41        Greenville City, South Carolina          2.2705648395%
               SC42        Greenville County, South Carolina        7.1502328364%
               SC43        Greenwood City, South Carolina           0.0308220618%
               SC44        Greenwood County, South Carolina         1.3388944490%
               SC45        Greer City, South Carolina               0.5590564672%
               SC46        Hampton County, South Carolina           0.3450376919%
               SC47        Hanahan City, South Carolina             0.2279684840%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                     Consolidated State
              State ID             Qualifying Subdivision               Allocation
               SC48        Hilton Head Island Town, South               0.2323878458%
                           Carolina
               SC49        Horry County, South Carolina                 5.2166718879%
               SC50        Irmo Town, South Carolina                    0.0942740906%
               SC51        James Island Town, South Carolina            0.0461551887%
               SC52        Jasper County, South Carolina                0.4278548317%
               SC53        Kershaw County, South Carolina               1.0780892823%
               SC54        Lancaster County, South Carolina             1.4809282603%
               SC55        Laurens County, South Carolina               1.3598442946%
               SC56        Lee County, South Carolina                   0.2176621820%
               SC57        Lexington County, South Carolina             4.4881391605%
               SC58        Lexington Town, South Carolina               0.2342104062%
               SC59        Marion County, South Carolina                0.6973242307%
               SC60        Marlboro County, South Carolina              0.4878238042%
               SC61        Mauldin City, South Carolina                 0.4253253929%
               SC62        McCormick County, South Carolina             0.1281623493%
               SC63        Moncks Corner Town, South Carolina           0.1965426445%
               SC64        Mount Pleasant Town, South Carolina          0.5750801889%
               SC65        Myrtle Beach City, South Carolina            1.9068234068%
               SC66        Newberry City, South Carolina                0.0344864657%
               SC67        Newberry County, South Carolina              0.5656551710%
               SC68        North Augusta City, South Carolina           0.5139678525%
               SC69        North Charleston City, South Carolina        1.7751090959%
               SC70        North Myrtle Beach City, South Carolina      0.6366313248%
               SC71        Oconee County, South Carolina                2.8099515214%
               SC72        Orangeburg City, South Carolina              0.0468940344%
               SC73        Orangeburg County, South Carolina            1.4543982912%
               SC74        Pickens County, South Carolina               2.8143347165%
               SC75        Port Royal Town, South Carolina              0.0206098617%
               SC76        Richland County, South Carolina              3.8816723839%
               SC77        Rock Hill City, South Carolina               1.3120073555%
               SC78        Saluda County, South Carolina                0.2604801809%
               SC79        Simpsonville City, South Carolina            0.3497064495%
               SC80        Spartanburg City, South Carolina             1.1890308958%
               SC81        Spartanburg County, South Carolina           6.4084293395%
               SC82        Summerville Town, South Carolina             0.6446011912%
               SC83        Sumter City, South Carolina                  0.5390642671%
               SC84        Sumter County, South Carolina                0.9480995733%
               SC85        Tega Cay City, South Carolina                0.0433365022%
               SC86        Union County, South Carolina                 0.6499524020%
               SC87        West Columbia City, South Carolina           0.3943858322%
               SC88        Williamsburg County, South Carolina          0.4931357629%
               SC89        York County, South Carolina                  2.5800878865%




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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                SD1        Aberdeen City, South Dakota              1.7806789284%
                SD2        Aurora County, South Dakota              0.1283252150%
                SD3        Beadle County, South Dakota              0.8743032704%
                SD4        Bennett County, South Dakota             0.1895703332%
                SD5        Bon Homme County, South Dakota           0.6047162426%
                SD6        Box Elder City, South Dakota             0.2251076107%
                SD7        Brandon City, South Dakota               0.4012895918%
                SD8        Brookings City, South Dakota             2.4259611863%
                SD9        Brookings County, South Dakota           0.2802421588%
               SD10        Brown County, South Dakota               1.7764564315%
               SD11        Brule County, South Dakota               0.8045710091%
               SD12        Buffalo County, South Dakota             0.1823519926%
               SD13        Butte County, South Dakota               0.8926544344%
               SD14        Campbell County, South Dakota            0.0682419048%
               SD15        Charles Mix County, South Dakota         0.8084433424%
               SD16        Clark County, South Dakota               0.2550260601%
               SD17        Clay County, South Dakota                0.4415194932%
               SD18        Codington County, South Dakota           0.8721266365%
               SD19        Corson County, South Dakota              0.3429322421%
               SD20        Custer County, South Dakota              1.0868471426%
               SD21        Davison County, South Dakota             0.6815458005%
               SD22        Day County, South Dakota                 0.3921680475%
               SD23        Deuel County, South Dakota               0.4035008098%
               SD24        Dewey County, South Dakota               0.3699996685%
               SD25        Douglas County, South Dakota             0.2891518759%
               SD26        Edmunds County, South Dakota             0.2529348056%
               SD27        Fall River County, South Dakota          2.1968904590%
               SD28        Faulk County, South Dakota               0.2772473959%
               SD29        Grant County, South Dakota               0.6923230564%
               SD30        Gregory County, South Dakota             0.5555128599%
               SD31        Haakon County, South Dakota              0.1774497029%
               SD32        Hamlin County, South Dakota              0.3340117176%
               SD33        Hand County, South Dakota                0.2401311401%
               SD34        Hanson County, South Dakota              0.1484271966%
               SD35        Harding County, South Dakota             0.0620805393%
               SD36        Hughes County, South Dakota              0.8137066032%
               SD37        Huron City, South Dakota                 0.8308959590%
               SD38        Hutchinson County, South Dakota          0.5659237410%
               SD39        Hyde County, South Dakota                0.0640529112%
               SD40        Jackson County, South Dakota             0.1437421380%
               SD41        Jerauld County, South Dakota             0.3258250234%
               SD42        Jones County, South Dakota               0.0451732597%
               SD43        Kingsbury County, South Dakota           0.3721763025%
               SD44        Lake County, South Dakota                0.8273932428%
               SD45        Lawrence County, South Dakota            2.3838237581%
               SD46        Lincoln County, South Dakota             1.2611723923%
               SD47        Lyman County, South Dakota               0.3239942300%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               SD48        Marshall County, South Dakota            0.5625107271%
               SD49        McCook County, South Dakota              0.3047773840%
               SD50        McPherson County, South Dakota           0.1613184030%
               SD51        Meade County, South Dakota               3.2698326502%
               SD52        Mellette County, South Dakota            0.1848247525%
               SD53        Miner County, South Dakota               0.1616739703%
               SD54        Minnehaha County, South Dakota          12.2243522517%
               SD55        Mitchell City, South Dakota              1.5031732329%
               SD56        Moody County, South Dakota               0.4743937985%
               SD57        Oglala Lakota County, South Dakota       1.3919692864%
               SD58        Pennington County, South Dakota          8.0611767283%
               SD59        Perkins County, South Dakota             0.3755374403%
               SD60        Pierre City, South Dakota                0.6216678331%
               SD61        Potter County, South Dakota              0.1893444561%
               SD62        Rapid City, South Dakota                 6.9492723574%
               SD63        Roberts County, South Dakota             0.9943780269%
               SD64        Sanborn County, South Dakota             0.1141857404%
               SD65        Sioux Falls City, South Dakota          21.6732660428%
               SD66        Spearfish City, South Dakota             0.8208633410%
               SD67        Spink County, South Dakota               0.7324773052%
               SD68        Stanley County, South Dakota             0.1733882380%
               SD69        Sully County, South Dakota               0.0632218131%
               SD70        Todd County, South Dakota                1.0677859248%
               SD71        Tripp County, South Dakota               0.6252580903%
               SD72        Turner County, South Dakota              0.6536969906%
               SD73        Union County, South Dakota               1.4531041680%
               SD74        Vermillion City, South Dakota            0.5912781760%
               SD75        Walworth County, South Dakota            0.5615110318%
               SD76        Watertown City, South Dakota             1.6132964277%
               SD77        Yankton City, South Dakota               1.2219897393%
               SD78        Yankton County, South Dakota             1.4233435084%
               SD79        Ziebach County, South Dakota             0.3085103004%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                TN1        Alexandria Town, Tennessee               0.0027913085%
                TN2        Algood City, Tennessee                   0.0032741136%
                TN3        Anderson County, Tennessee               1.2063249026%
                TN5        Arlington Town, Tennessee                0.0036566309%
                TN8        Bartlett City, Tennessee                 0.0730561566%
                TN9        Baxter Town, Tennessee                   0.0004972097%
               TN10        Bedford County, Tennessee                0.5276238893%
               TN12        Benton County, Tennessee                 0.5216608068%
               TN13        Bledsoe County, Tennessee                0.1398580820%
               TN14        Blount County, Tennessee                 1.9196465581%
               TN15        Bradley County, Tennessee                1.0430217552%
               TN16        Brentwood City, Tennessee                0.0478208600%
               TN17        Bristol City, Tennessee                  0.5426871150%
               TN19        Campbell County, Tennessee               1.5974370559%
               TN20        Cannon County, Tennessee                 0.3205453950%
               TN21        Carroll County, Tennessee                0.4438060785%
               TN22        Carter County, Tennessee                 0.8435596891%
               TN23        Celina City, Tennessee                   0.0277813920%
               TN24        Centertown, Tennessee                    0.0001321538%
               TN26        Chapel Hill Town, Tennessee              0.0043601529%
               TN27        Chattanooga City, Tennessee              0.4981237028%
               TN28        Cheatham County, Tennessee               0.8209998781%
               TN29        Chester County, Tennessee                0.1751399118%
               TN30        Claiborne County, Tennessee              1.1929412357%
               TN31        Clarksville City, Tennessee              0.2296815192%
               TN32        Clay County, Tennessee                   0.2983695250%
               TN33        Cleveland City, Tennessee                0.5531282252%
               TN34        Clifton City, Tennessee                  0.0022427615%
               TN36        Cocke County, Tennessee                  0.8746257470%
               TN37        Coffee County, Tennessee                 0.8953551698%
               TN39        Collierville Town, Tennessee             0.0617375387%
               TN41        Columbia City, Tennessee                 0.0390894158%
               TN42        Cookeville City, Tennessee               0.8404101920%
               TN43        Cornersville Town, Tennessee             0.0025527953%
               TN45        Crockett County, Tennessee               0.1232062476%
               TN46        Crossville City, Tennessee               0.0619543195%
               TN47        Cumberland County, Tennessee             0.8165125963%
               TN48        Dandridge Town, Tennessee                0.0109089663%
               TN49        De Kalb County, Tennessee                0.4253694564%
               TN50        Decatur County, Tennessee                0.3607195939%
               TN51        Decatur Town, Tennessee                  0.0050599481%
               TN53        Dickson County, Tennessee                0.8341347308%
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                    Consolidated State
              State ID              Qualifying Subdivision             Allocation
               TN56        Dyer County, Tennessee                      0.4019088559%
               TN58        Eagleville City, Tennessee                  0.0010231029%
               TN64        Fayette County, Tennessee                   0.3157083831%
               TN65        Fayetteville City, Tennessee                0.0647238955%
               TN66        Fentress County, Tennessee                  0.5526714656%
               TN67        Franklin City, Tennessee                    0.1089989646%
               TN68        Franklin County, Tennessee                  0.6323371108%
               TN69        Gallatin City, Tennessee                    0.0760079674%
               TN70        Gatlinburg City, Tennessee                  0.0507819668%
               TN71        Germantown City, Tennessee                  0.0687501047%
               TN72        Gibson County, Tennessee                    0.4940695219%
               TN73        Giles County, Tennessee                     0.4604367667%
               TN75        Grainger County, Tennessee                  0.4671260668%
               TN76        Greene County, Tennessee                    1.2127967101%
               TN78        Grundy County, Tennessee                    0.3896858892%
               TN79        Hamblen County, Tennessee                   2.2614488604%
               TN80        Hamilton County, Tennessee                  4.2055530346%
               TN81        Hancock County, Tennessee                   0.2089065376%
               TN82        Hardeman County, Tennessee                  0.2150658408%
               TN83        Hardin County, Tennessee                    0.5683946644%
               TN84        Hartsville/Trousdale County, Tennessee      0.1139641522%
               TN85        Hawkins County, Tennessee                   1.0968095083%
               TN86        Haywood County, Tennessee                   0.1104263592%
               TN87        Henderson County, Tennessee                 0.2498867656%
               TN88        Hendersonville City, Tennessee              0.1137407554%
               TN89        Henry County, Tennessee                     0.6661685991%
               TN90        Hickman County, Tennessee                   0.2804089244%
               TN91        Houston County, Tennessee                   0.1198735525%
               TN92        Humphreys County, Tennessee                 0.2441608982%
               TN93        Jackson City, Tennessee                     0.0431370644%
               TN94        Jackson County, Tennessee                   0.2780985367%
               TN95        Jefferson County, Tennessee                 0.8912247367%
               TN96        Johnson City, Tennessee                     1.0682855260%
               TN97        Johnson County, Tennessee                   0.2282065978%
               TN98        Kingsport City, Tennessee                   0.9871149359%
               TN99        Knox County, Tennessee                      9.1809198144%
               TN100       Knoxville City, Tennessee                   1.5417816888%
               TN101       La Vergne City, Tennessee                   0.0518950147%
               TN102       Lake County, Tennessee                      0.0671464632%
               TN104       Lauderdale County, Tennessee                0.2733775153%
               TN105       Lawrence County, Tennessee                  0.6479399224%
               TN106       Lawrenceburg City, Tennessee                0.0465511203%
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TN107       Lebanon City, Tennessee                  0.1110258247%
               TN108       Lewis County, Tennessee                  0.1528225920%
               TN109       Lewisburg City, Tennessee                0.0396496875%
               TN110       Lexington City, Tennessee                0.0796867496%
               TN112       Lincoln County, Tennessee                0.3413545456%
               TN114       Loretto City, Tennessee                  0.0047940075%
               TN115       Loudon County, Tennessee                 0.8992484296%
               TN116       Lynchburg, Moore County                  0.0579106070%
                           Metropolitan Government, Tennessee
               TN118       Macon County, Tennessee                  0.3091017000%
               TN119       Madison County, Tennessee                0.8907256845%
               TN121       Marion County, Tennessee                 0.3637161259%
               TN122       Marshall County, Tennessee               0.4956600988%
               TN124       Maryville City, Tennessee                0.3223901040%
               TN125       Maury County, Tennessee                  1.0724162522%
               TN126       McMinn County, Tennessee                 0.9297273747%
               TN128       McNairy County, Tennessee                0.4269884656%
               TN129       Meigs County, Tennessee                  0.2016450737%
               TN130       Memphis City, Tennessee                  4.9079216307%
               TN131       Millington City, Tennessee               0.0212200583%
               TN133       Monroe County, Tennessee                 0.7506735593%
               TN135       Montgomery County, Tennessee             1.6758545682%
               TN136       Morgan County, Tennessee                 0.5132562715%
               TN138       Morristown City, Tennessee               0.3919462797%
               TN139       Mount Juliet City, Tennessee             0.0577622481%
               TN140       Mount Pleasant City, Tennessee           0.0048377656%
               TN141       Murfreesboro City, Tennessee             0.7283549414%
               TN142       Nashville-Davidson Metropolitan          8.9810236006%
                           Government, Tennessee
               TN145       Oak Ridge City, Tennessee                0.9598050011%
               TN146       Obion County, Tennessee                  0.3198033491%
               TN147       Overton County, Tennessee                0.5461670803%
               TN149       Perry County, Tennessee                  0.0857864664%
               TN151       Pickett County, Tennessee                0.1471132648%
               TN152       Pigeon Forge City, Tennessee             0.0877322588%
               TN153       Pleasant Hill Town, Tennessee            0.0000178801%
               TN154       Polk County, Tennessee                   0.3220131560%
               TN157       Putnam County, Tennessee                 0.3893182790%
               TN159       Rhea County, Tennessee                   0.5404420504%
               TN160       Ripley City, Tennessee                   0.0190759934%
               TN161       Roane County, Tennessee                  1.6361535854%
               TN162       Robertson County, Tennessee              0.9333043197%
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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               TN163       Rutherford County, Tennessee             2.5746747125%
               TN164       Scott County, Tennessee                  0.5189341096%
               TN165       Sequatchie County, Tennessee             0.2433974548%
               TN166       Sevier County, Tennessee                 1.4412782095%
               TN168       Shelby County, Tennessee                 3.5255489082%
               TN169       Shelbyville City, Tennessee              0.0482670674%
               TN170       Smith County, Tennessee                  0.5711842980%
               TN171       Smithville City, Tennessee               0.0196818237%
               TN172       Smyrna Town, Tennessee                   0.1314691656%
               TN174       Sparta City, Tennessee                   0.0168519913%
               TN175       Spencer Town, Tennessee                  0.0007743306%
               TN176       Spring Hill City, Tennessee              0.0244598773%
               TN179       Stewart County, Tennessee                0.1459273147%
               TN180       Sullivan County, Tennessee               1.4573397906%
               TN181       Sumner County, Tennessee                 1.7449087187%
               TN182       Tipton County, Tennessee                 0.6312749815%
               TN184       Unicoi County, Tennessee                 0.3464527663%
               TN186       Union County, Tennessee                  0.5606745148%
               TN187       Van Buren County, Tennessee              0.0471429229%
               TN189       Warren County, Tennessee                 0.5717791156%
               TN190       Wartrace Town, Tennessee                 0.0003753988%
               TN191       Washington County, Tennessee             1.1061046159%
               TN192       Wayne County, Tennessee                  0.2306289980%
               TN194       Weakley County, Tennessee                0.3874777573%
               TN195       White County, Tennessee                  0.3993875079%
               TN197       Williamson County, Tennessee             1.6843304984%
               TN198       Wilson County, Tennessee                 1.4019072760%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                TX1        Abbott City, Texas                       0.0004586670%
                TX2        Abernathy City, Texas                    0.0000733330%
                TX3        Abilene City, Texas                      0.3758786670%
                TX4        Ackerly City, Texas                      0.0000140000%
                TX5        Addison Town, Texas                      0.0387293330%
                TX6        Adrian City, Texas                       0.0001206670%
                TX7        Agua Dulce City, Texas                   0.0000286670%
                TX8        Alamo City, Texas                        0.0147473330%
                TX9        Alamo Heights City, Texas                0.0187986670%
               TX10        Alba Town, Texas                         0.0021306670%
               TX11        Albany City, Texas                       0.0001200000%
               TX12        Aledo City, Texas                        0.0002206670%
               TX13        Alice City, Texas                        0.0475273330%
               TX14        Allen City, Texas                        0.2100540000%
               TX15        Alma Town, Texas                         0.0007380000%
               TX16        Alpine City, Texas                       0.0197906670%
               TX17        Alto Town, Texas                         0.0025113330%
               TX18        Alton City, Texas                        0.0076933330%
               TX19        Alvarado City, Texas                     0.0193526670%
               TX20        Alvin City, Texas                        0.0759746670%
               TX21        Alvord Town, Texas                       0.0002386670%
               TX22        Amarillo City, Texas                     0.6584406670%
               TX23        Ames City, Texas                         0.0037140000%
               TX24        Amherst City, Texas                      0.0000146670%
               TX25        Anahuac City, Texas                      0.0003613330%
               TX26        Anderson City, Texas                     0.0000126670%
               TX27        Anderson County, Texas                   0.1791753330%
               TX28        Andrews City, Texas                      0.0126553330%
               TX29        Andrews County, Texas                    0.0250706670%
               TX30        Angelina County, Texas                   0.1533040000%
               TX31        Angleton City, Texas                     0.0418606670%
               TX32        Angus City, Texas                        0.0002206670%
               TX33        Anna City, Texas                         0.0060500000%
               TX34        Annetta North Town, Texas                0.0000226670%
               TX35        Annetta South Town, Texas                0.0004013330%
               TX36        Annetta Town, Texas                      0.0039706670%
               TX37        Annona Town, Texas                       0.0004920000%
               TX38        Anson City, Texas                        0.0034226670%
               TX39        Anthony Town, Texas                      0.0030093330%
               TX40        Anton City, Texas                        0.0002960000%
               TX41        Appleby City, Texas                      0.0010340000%
               TX42        Aquilla City, Texas                      0.0001386670%
               TX43        Aransas County, Texas                    0.1776746670%
               TX44        Aransas Pass City, Texas                 0.0385420000%
               TX45        Archer City, Texas                       0.0070360000%
               TX46        Archer County, Texas                     0.0303560000%
               TX47        Arcola City, Texas                       0.0048600000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX48        Argyle City, Texas                       0.0076040000%
               TX49        Arlington City, Texas                    0.4905353330%
               TX50        Armstrong County, Texas                  0.0006493330%
               TX51        Arp City, Texas                          0.0013393330%
               TX52        Asherton City, Texas                     0.0000746670%
               TX53        Aspermont Town, Texas                    0.0000060000%
               TX54        Atascosa County, Texas                   0.1179353330%
               TX55        Athens City, Texas                       0.0706280000%
               TX56        Atlanta City, Texas                      0.0206633330%
               TX57        Aubrey City, Texas                       0.0100940000%
               TX58        Aurora City, Texas                       0.0012326670%
               TX59        Austin City, Texas                       3.2518106670%
               TX60        Austin County, Texas                     0.0506866670%
               TX61        Austwell City, Texas                     0.0000726670%
               TX62        Avery Town, Texas                        0.0000920000%
               TX63        Avinger Town, Texas                      0.0007433330%
               TX64        Azle City, Texas                         0.0214753330%
               TX65        Bailey City, Texas                       0.0006333330%
               TX66        Bailey County, Texas                     0.0102513330%
               TX67        Bailey's Prairie Village, Texas          0.0037360000%
               TX68        Baird City, Texas                        0.0018680000%
               TX69        Balch Springs City, Texas                0.0182386670%
               TX70        Balcones Heights City, Texas             0.0158740000%
               TX71        Ballinger City, Texas                    0.0061146670%
               TX72        Balmorhea City, Texas                    0.0000420000%
               TX73        Bandera City, Texas                      0.0019286670%
               TX74        Bandera County, Texas                    0.0578766670%
               TX75        Bangs City, Texas                        0.0020333330%
               TX76        Bardwell City, Texas                     0.0002413330%
               TX77        Barry City, Texas                        0.0001333330%
               TX78        Barstow City, Texas                      0.0000406670%
               TX79        Bartlett City, Texas                     0.0022493330%
               TX80        Bartonville Town, Texas                  0.0059246670%
               TX81        Bastrop City, Texas                      0.0308800000%
               TX82        Bastrop County, Texas                    0.2293066670%
               TX83        Bay City, Texas                          0.0386080000%
               TX84        Baylor County, Texas                     0.0198880000%
               TX85        Bayou Vista City, Texas                  0.0041600000%
               TX86        Bayside Town, Texas                      0.0001613330%
               TX87        Baytown City, Texas                      0.1440440000%
               TX88        Bayview Town, Texas                      0.0000273330%
               TX89        Beach City, Texas                        0.0083366670%
               TX90        Bear Creek Village, Texas                0.0006040000%
               TX91        Beasley City, Texas                      0.0000866670%
               TX92        Beaumont City, Texas                     0.4553400000%
               TX93        Beckville City, Texas                    0.0008313330%
               TX94        Bedford City, Texas                      0.0628760000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX95        Bedias City, Texas                       0.0023166670%
               TX96        Bee Cave City, Texas                     0.0085753330%
               TX97        Bee County, Texas                        0.0652293330%
               TX98        Beeville City, Texas                     0.0160180000%
               TX99        Bell County, Texas                       0.4338320000%
               TX100       Bellaire City, Texas                     0.0275093330%
               TX101       Bellevue City, Texas                     0.0000373330%
               TX102       Bellmead City, Texas                     0.0096580000%
               TX103       Bells Town, Texas                        0.0012606670%
               TX104       Bellville City, Texas                    0.0049920000%
               TX105       Belton City, Texas                       0.0484533330%
               TX106       Benavides City, Texas                    0.0001013330%
               TX107       Benbrook City, Texas                     0.0292793330%
               TX108       Benjamin City, Texas                     0.0006340000%
               TX109       Berryville Town, Texas                   0.0095860000%
               TX110       Bertram City, Texas                      0.0001213330%
               TX111       Beverly Hills City, Texas                0.0028906670%
               TX112       Bevil Oaks City, Texas                   0.0003660000%
               TX113       Bexar County, Texas                      4.6714346670%
               TX114       Big Lake City, Texas                     0.0003646670%
               TX115       Big Sandy Town, Texas                    0.0030526670%
               TX116       Big Spring City, Texas                   0.1266186670%
               TX117       Big Wells City, Texas                    0.0001573330%
               TX118       Bishop City, Texas                       0.0054753330%
               TX119       Bishop Hills Town, Texas                 0.0002153330%
               TX120       Blackwell City, Texas                    0.0000206670%
               TX121       Blanco City, Texas                       0.0041273330%
               TX122       Blanco County, Texas                     0.0328153330%
               TX123       Blanket Town, Texas                      0.0000980000%
               TX124       Bloomburg Town, Texas                    0.0006733330%
               TX125       Blooming Grove Town, Texas               0.0002346670%
               TX126       Blossom City, Texas                      0.0001320000%
               TX127       Blue Mound City, Texas                   0.0019253330%
               TX128       Blue Ridge City, Texas                   0.0008966670%
               TX129       Blum Town, Texas                         0.0010813330%
               TX130       Boerne City, Texas                       0.0303840000%
               TX131       Bogata City, Texas                       0.0024326670%
               TX132       Bonham City, Texas                       0.0672726670%
               TX133       Bonney Village, Texas                    0.0016733330%
               TX134       Booker Town, Texas                       0.0006906670%
               TX135       Borden County, Texas                     0.0006666670%
               TX136       Borger City, Texas                       0.0464533330%
               TX137       Bosque County, Texas                     0.0473820000%
               TX138       Bovina City, Texas                       0.0001153330%
               TX139       Bowie City, Texas                        0.0557466670%
               TX140       Bowie County, Texas                      0.1554600000%
               TX141       Boyd Town, Texas                         0.0046353330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX142       Brackettville City, Texas                0.0000053330%
               TX143       Brady City, Texas                        0.0183200000%
               TX144       Brazoria City, Texas                     0.0076913330%
               TX145       Brazoria County, Texas                   0.6807266670%
               TX146       Brazos Bend City, Texas                  0.0003080000%
               TX147       Brazos Country City, Texas               0.0006013330%
               TX148       Brazos County, Texas                     0.2280580000%
               TX149       Breckenridge City, Texas                 0.0159840000%
               TX150       Bremond City, Texas                      0.0037026670%
               TX151       Brenham City, Texas                      0.0365000000%
               TX152       Brewster County, Texas                   0.0400580000%
               TX153       Briarcliff Village, Texas                0.0003813330%
               TX154       Briaroaks City, Texas                    0.0000380000%
               TX155       Bridge City, Texas                       0.0538373330%
               TX156       Bridgeport City, Texas                   0.0222006670%
               TX157       Briscoe County, Texas                    0.0006513330%
               TX158       Broaddus Town, Texas                     0.0000206670%
               TX159       Bronte Town, Texas                       0.0000660000%
               TX160       Brooks County, Texas                     0.0138066670%
               TX161       Brookshire City, Texas                   0.0042706670%
               TX162       Brookside Village City, Texas            0.0007400000%
               TX163       Brown County, Texas                      0.1289446670%
               TX164       Browndell City, Texas                    0.0001013330%
               TX165       Brownfield City, Texas                   0.0096346670%
               TX166       Brownsboro City, Texas                   0.0021173330%
               TX167       Brownsville City, Texas                  0.2833713330%
               TX168       Brownwood City, Texas                    0.1110480000%
               TX169       Bruceville-Eddy City, Texas              0.0011280000%
               TX170       Bryan City, Texas                        0.1645980000%
               TX171       Bryson City, Texas                       0.0008186670%
               TX172       Buckholts Town, Texas                    0.0007420000%
               TX173       Buda City, Texas                         0.0071893330%
               TX174       Buffalo City, Texas                      0.0079106670%
               TX175       Buffalo Gap Town, Texas                  0.0000586670%
               TX176       Buffalo Springs Village, Texas           0.0001253330%
               TX177       Bullard Town, Texas                      0.0049913330%
               TX178       Bulverde City, Texas                     0.0096240000%
               TX179       Bunker Hill Village City, Texas          0.0003146670%
               TX180       Burkburnett City, Texas                  0.0252293330%
               TX181       Burke City, Texas                        0.0007426670%
               TX182       Burleson City, Texas                     0.1011860000%
               TX183       Burleson County, Texas                   0.0468293330%
               TX184       Burnet City, Texas                       0.0222300000%
               TX185       Burnet County, Texas                     0.1265526670%
               TX186       Burton City, Texas                       0.0006246670%
               TX187       Byers City, Texas                        0.0000513330%
               TX188       Bynum Town, Texas                        0.0002533330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX189       Cactus City, Texas                       0.0031860000%
               TX190       Caddo Mills City, Texas                  0.0000286670%
               TX191       Caldwell City, Texas                     0.0121633330%
               TX192       Caldwell County, Texas                   0.0576086670%
               TX193       Calhoun County, Texas                    0.0852840000%
               TX194       Callahan County, Texas                   0.0085960000%
               TX195       Callisburg City, Texas                   0.0000673330%
               TX196       Calvert City, Texas                      0.0005146670%
               TX197       Cameron City, Texas                      0.0073940000%
               TX198       Cameron County, Texas                    0.3580173330%
               TX199       Camp County, Texas                       0.0192340000%
               TX200       Camp Wood City, Texas                    0.0002813330%
               TX201       Campbell City, Texas                     0.0007440000%
               TX202       Canadian City, Texas                     0.0007266670%
               TX203       Caney City Town, Texas                   0.0013366670%
               TX204       Canton City, Texas                       0.0378226670%
               TX205       Canyon City, Texas                       0.0175006670%
               TX206       Carbon Town, Texas                       0.0004133330%
               TX207       Carl's Corner Town, Texas                0.0000320000%
               TX208       Carmine City, Texas                      0.0002566670%
               TX209       Carrizo Springs City, Texas              0.0011140000%
               TX210       Carrollton City, Texas                   0.2068366670%
               TX211       Carson County, Texas                     0.0196620000%
               TX212       Carthage City, Texas                     0.0126180000%
               TX213       Cashion Community City, Texas            0.0002146670%
               TX214       Cass County, Texas                       0.0621033330%
               TX215       Castle Hills City, Texas                 0.0085200000%
               TX216       Castro County, Texas                     0.0029466670%
               TX217       Castroville City, Texas                  0.0030166670%
               TX218       Cedar Hill City, Texas                   0.0467513330%
               TX219       Cedar Park City, Texas                   0.1237113330%
               TX220       Celeste City, Texas                      0.0008533330%
               TX221       Celina City, Texas                       0.0121886670%
               TX222       Center City, Texas                       0.0392253330%
               TX223       Centerville City, Texas                  0.0002566670%
               TX224       Chambers County, Texas                   0.1021253330%
               TX225       Chandler City, Texas                     0.0115760000%
               TX226       Channing City, Texas                     0.0000013330%
               TX227       Charlotte City, Texas                    0.0028380000%
               TX228       Cherokee County, Texas                   0.1044080000%
               TX229       Chester Town, Texas                      0.0007826670%
               TX230       Chico City, Texas                        0.0019520000%
               TX231       Childress City, Texas                    0.0252773330%
               TX232       Childress County, Texas                  0.0337213330%
               TX233       Chillicothe City, Texas                  0.0001146670%
               TX234       China City, Texas                        0.0003480000%
               TX235       China Grove Town, Texas                  0.0003986670%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               TX236       Chireno City, Texas                      0.0010453330%
               TX237       Christine Town, Texas                    0.0002360000%
               TX238       Cibolo City, Texas                       0.0091266670%
               TX239       Cisco City, Texas                        0.0048120000%
               TX240       Clarendon City, Texas                    0.0000760000%
               TX241       Clarksville City, Texas                  0.0139273330%
               TX242       Clarksville City, Texas                  0.0000360000%
               TX243       Claude City, Texas                       0.0000173330%
               TX244       Clay County, Texas                       0.0480333330%
               TX245       Clear Lake Shores City, Texas            0.0044546670%
               TX246       Cleburne City, Texas                     0.1521226670%
               TX247       Cleveland City, Texas                    0.0645980000%
               TX248       Clifton City, Texas                      0.0066260000%
               TX249       Clint Town, Texas                        0.0002500000%
               TX250       Clute City, Texas                        0.0342333330%
               TX251       Clyde City, Texas                        0.0115246670%
               TX252       Coahoma Town, Texas                      0.0015273330%
               TX253       Cochran County, Texas                    0.0022593330%
               TX254       Cockrell Hill City, Texas                0.0003413330%
               TX255       Coffee City Town, Texas                  0.0007246670%
               TX256       Coke County, Texas                       0.0036813330%
               TX257       Coldspring City, Texas                   0.0002980000%
               TX258       Coleman City, Texas                      0.0036280000%
               TX259       Coleman County, Texas                    0.0027760000%
               TX260       College Station City, Texas              0.1720980000%
               TX261       Colleyville City, Texas                  0.0306993330%
               TX262       Collin County, Texas                     0.8444806670%
               TX263       Collingsworth County, Texas              0.0128226670%
               TX264       Collinsville Town, Texas                 0.0012206670%
               TX265       Colmesneil City, Texas                   0.0014740000%
               TX266       Colorado City, Texas                     0.0056033330%
               TX267       Colorado County, Texas                   0.0327226670%
               TX268       Columbus City, Texas                     0.0045780000%
               TX269       Comal County, Texas                      0.2640946670%
               TX270       Comanche City, Texas                     0.0110020000%
               TX271       Comanche County, Texas                   0.0339760000%
               TX272       Combes Town, Texas                       0.0011400000%
               TX273       Combine City, Texas                      0.0012613330%
               TX274       Commerce City, Texas                     0.0225793330%
               TX275       Como Town, Texas                         0.0002766670%
               TX276       Concho County, Texas                     0.0025726670%
               TX277       Conroe City, Texas                       0.3111140000%
               TX278       Converse City, Texas                     0.0184620000%
               TX279       Cooke County, Texas                      0.1336340000%
               TX280       Cool City, Texas                         0.0004873330%
               TX281       Coolidge Town, Texas                     0.0001620000%
               TX282       Cooper City, Texas                       0.0002413330%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX283       Coppell City, Texas                      0.0577286670%
               TX284       Copper Canyon Town, Texas                0.0003260000%
               TX285       Copperas Cove City, Texas                0.0889946670%
               TX286       Corinth City, Texas                      0.0501986670%
               TX287       Corpus Christi City, Texas               1.2084713330%
               TX288       Corral City Town, Texas                  0.0000953330%
               TX289       Corrigan Town, Texas                     0.0142120000%
               TX290       Corsicana City, Texas                    0.0582066670%
               TX291       Coryell County, Texas                    0.0824393330%
               TX292       Cottle County, Texas                     0.0005833330%
               TX293       Cottonwood City, Texas                   0.0001926670%
               TX294       Cottonwood Shores City, Texas            0.0008020000%
               TX295       Cotulla City, Texas                      0.0008340000%
               TX296       Coupland City, Texas                     0.0001773330%
               TX297       Cove City, Texas                         0.0002580000%
               TX298       Covington City, Texas                    0.0003460000%
               TX299       Coyote Flats City, Texas                 0.0009813330%
               TX300       Crandall City, Texas                     0.0080626670%
               TX301       Crane City, Texas                        0.0070660000%
               TX302       Crane County, Texas                      0.0174306670%
               TX303       Cranfills Gap City, Texas                0.0000853330%
               TX304       Crawford Town, Texas                     0.0002553330%
               TX305       Creedmoor City, Texas                    0.0000106670%
               TX306       Cresson City, Texas                      0.0007240000%
               TX307       Crockett City, Texas                     0.0156020000%
               TX308       Crockett County, Texas                   0.0121400000%
               TX309       Crosby County, Texas                     0.0122586670%
               TX310       Crosbyton City, Texas                    0.0009986670%
               TX311       Cross Plains Town, Texas                 0.0032513330%
               TX312       Cross Roads Town, Texas                  0.0001626670%
               TX313       Cross Timber Town, Texas                 0.0003613330%
               TX314       Crowell City, Texas                      0.0042233330%
               TX315       Crowley City, Texas                      0.0148966670%
               TX316       Crystal City, Texas                      0.0129413330%
               TX317       Cuero City, Texas                        0.0164593330%
               TX318       Culberson County, Texas                  0.0005260000%
               TX319       Cumby City, Texas                        0.0035466670%
               TX320       Cuney Town, Texas                        0.0004040000%
               TX321       Cushing City, Texas                      0.0007466670%
               TX322       Cut and Shoot City, Texas                0.0014273330%
               TX323       Daingerfield City, Texas                 0.0083173330%
               TX324       Daisetta City, Texas                     0.0035800000%
               TX325       Dalhart City, Texas                      0.0077393330%
               TX326       Dallam County, Texas                     0.0144573330%
               TX327       Dallas City, Texas                       1.9999346670%
               TX328       Dallas County, Texas                     5.6921940000%
               TX329       Dalworthington Gardens City, Texas       0.0040400000%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX330       Danbury City, Texas                      0.0028206670%
               TX331       Darrouzett Town, Texas                   0.0000673330%
               TX332       Dawson County, Texas                     0.0312740000%
               TX333       Dawson Town, Texas                       0.0004000000%
               TX334       Dayton City, Texas                       0.0314146670%
               TX335       Dayton Lakes City, Texas                 0.0000253330%
               TX336       De Kalb City, Texas                      0.0006900000%
               TX337       De Leon City, Texas                      0.0054786670%
               TX338       De Witt County, Texas                    0.0459300000%
               TX339       Deaf Smith County, Texas                 0.0230213330%
               TX340       Dean City, Texas                         0.0000940000%
               TX341       Decatur City, Texas                      0.0377793330%
               TX342       Decordova City, Texas                    0.0091853330%
               TX343       Deer Park City, Texas                    0.0329253330%
               TX344       Del Rio City, Texas                      0.0393706670%
               TX345       Dell City, Texas                         0.0000100000%
               TX346       Delta County, Texas                      0.0203893330%
               TX347       Denison City, Texas                      0.1402840000%
               TX348       Denton City, Texas                       0.3055560000%
               TX349       Denton County, Texas                     0.7548653330%
               TX350       Denver City Town, Texas                  0.0014026670%
               TX351       Deport City, Texas                       0.0000280000%
               TX352       Desoto City, Texas                       0.0482666670%
               TX353       Detroit Town, Texas                      0.0006433330%
               TX354       Devers City, Texas                       0.0001273330%
               TX355       Devine City, Texas                       0.0029026670%
               TX356       Diboll City, Texas                       0.0170220000%
               TX357       Dickens City, Texas                      0.0000473330%
               TX358       Dickens County, Texas                    0.0012486670%
               TX359       Dickinson City, Texas                    0.0557886670%
               TX360       Dilley City, Texas                       0.0017553330%
               TX361       Dimmit County, Texas                     0.0221960000%
               TX362       Dimmitt City, Texas                      0.0006746670%
               TX363       Dish Town, Texas                         0.0000126670%
               TX364       Dodd City Town, Texas                    0.0008073330%
               TX365       Dodson Town, Texas                       0.0002980000%
               TX366       Domino Town, Texas                       0.0001306670%
               TX367       Donley County, Texas                     0.0149133330%
               TX368       Donna City, Texas                        0.0091986670%
               TX369       Dorchester City, Texas                   0.0001540000%
               TX370       Double Oak Town, Texas                   0.0031766670%
               TX371       Douglassville Town, Texas                0.0003826670%
               TX372       Dripping Springs City, Texas             0.0005406670%
               TX373       Driscoll City, Texas                     0.0000260000%
               TX374       Dublin City, Texas                       0.0096520000%
               TX375       Dumas City, Texas                        0.0174860000%
               TX376       Duncanville City, Texas                  0.0388853330%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX377       Duval County, Texas                      0.0327393330%
               TX378       Eagle Lake City, Texas                   0.0032546670%
               TX379       Eagle Pass City, Texas                   0.0373366670%
               TX380       Early City, Texas                        0.0098920000%
               TX381       Earth City, Texas                        0.0001613330%
               TX382       East Bernard City, Texas                 0.0037026670%
               TX383       East Mountain City, Texas                0.0016626670%
               TX384       East Tawakoni City, Texas                0.0018153330%
               TX385       Eastland City, Texas                     0.0105973330%
               TX386       Eastland County, Texas                   0.0348500000%
               TX387       Easton City, Texas                       0.0002193330%
               TX388       Ector City, Texas                        0.0007386670%
               TX389       Ector County, Texas                      0.3200000000%
               TX390       Edcouch City, Texas                      0.0027340000%
               TX391       Eden City, Texas                         0.0003313330%
               TX392       Edgecliff Village Town, Texas            0.0014880000%
               TX393       Edgewood Town, Texas                     0.0087693330%
               TX394       Edinburg City, Texas                     0.0805893330%
               TX395       Edmonson Town, Texas                     0.0000906670%
               TX396       Edna City, Texas                         0.0121293330%
               TX397       Edom City, Texas                         0.0014326670%
               TX398       Edwards County, Texas                    0.0006500000%
               TX399       El Campo City, Texas                     0.0211333330%
               TX400       El Cenizo City, Texas                    0.0004140000%
               TX401       El Lago City, Texas                      0.0037360000%
               TX402       El Paso City, Texas                      0.8162473330%
               TX403       El Paso County, Texas                    1.7280806670%
               TX404       Eldorado City, Texas                     0.0000333330%
               TX405       Electra City, Texas                      0.0104773330%
               TX406       Elgin City, Texas                        0.0175226670%
               TX407       Elkhart Town, Texas                      0.0002006670%
               TX408       Ellis County, Texas                      0.2102480000%
               TX409       Elmendorf City, Texas                    0.0004973330%
               TX410       Elsa City, Texas                         0.0051466670%
               TX411       Emhouse Town, Texas                      0.0000553330%
               TX412       Emory City, Texas                        0.0025853330%
               TX413       Enchanted Oaks Town, Texas               0.0008660000%
               TX414       Encinal City, Texas                      0.0010100000%
               TX415       Ennis City, Texas                        0.0545593330%
               TX416       Erath County, Texas                      0.0684106670%
               TX417       Escobares City, Texas                    0.0000266670%
               TX418       Estelline Town, Texas                    0.0006060000%
               TX419       Euless City, Texas                       0.0618826670%
               TX420       Eureka City, Texas                       0.0002226670%
               TX421       Eustace City, Texas                      0.0013926670%
               TX422       Evant Town, Texas                        0.0013786670%
               TX423       Everman City, Texas                      0.0051280000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX424       Fair Oaks Ranch City, Texas              0.0053846670%
               TX425       Fairchilds Village, Texas                0.0000540000%
               TX426       Fairfield City, Texas                    0.0008300000%
               TX427       Fairview Town, Texas                     0.0214966670%
               TX428       Falfurrias City, Texas                   0.0014806670%
               TX429       Falls City, Texas                        0.0000273330%
               TX430       Falls County, Texas                      0.0230146670%
               TX431       Fannin County, Texas                     0.0877686670%
               TX432       Farmers Branch City, Texas               0.0630213330%
               TX433       Farmersville City, Texas                 0.0070213330%
               TX434       Farwell City, Texas                      0.0002286670%
               TX435       Fate City, Texas                         0.0023153330%
               TX436       Fayette County, Texas                    0.0616266670%
               TX437       Fayetteville City, Texas                 0.0002606670%
               TX438       Ferris City, Texas                       0.0092486670%
               TX439       Fisher County, Texas                     0.0036786670%
               TX440       Flatonia Town, Texas                     0.0037740000%
               TX441       Florence City, Texas                     0.0026326670%
               TX442       Floresville City, Texas                  0.0144660000%
               TX443       Flower Mound Town, Texas                 0.1435040000%
               TX444       Floyd County, Texas                      0.0060326670%
               TX445       Floydada City, Texas                     0.0042380000%
               TX446       Foard County, Texas                      0.0038426670%
               TX447       Follett City, Texas                      0.0001413330%
               TX448       Forest Hill City, Texas                  0.0174213330%
               TX449       Forney City, Texas                       0.0534080000%
               TX450       Forsan City, Texas                       0.0003840000%
               TX451       Fort Bend County, Texas                  1.0044793330%
               TX452       Fort Stockton City, Texas                0.0029406670%
               TX453       Fort Worth City, Texas                   1.4138600000%
               TX454       Franklin City, Texas                     0.0026206670%
               TX455       Franklin County, Texas                   0.0171886670%
               TX456       Frankston Town, Texas                    0.0001826670%
               TX457       Fredericksburg City, Texas               0.0376573330%
               TX458       Freeport City, Texas                     0.0486486670%
               TX459       Freer City, Texas                        0.0021806670%
               TX460       Freestone County, Texas                  0.0336633330%
               TX461       Friendswood City, Texas                  0.0935533330%
               TX462       Frio County, Texas                       0.0133026670%
               TX463       Friona City, Texas                       0.0018986670%
               TX464       Frisco City, Texas                       0.2702060000%
               TX465       Fritch City, Texas                       0.0030320000%
               TX466       Frost City, Texas                        0.0002140000%
               TX467       Fruitvale City, Texas                    0.0015626670%
               TX468       Fulshear City, Texas                     0.0035146670%
               TX469       Fulton Town, Texas                       0.0010680000%
               TX470       Gaines County, Texas                     0.0362313330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX471       Gainesville City, Texas                  0.1026533330%
               TX472       Galena Park City, Texas                  0.0087286670%
               TX473       Gallatin City, Texas                     0.0008353330%
               TX474       Galveston City, Texas                    0.3254580000%
               TX475       Galveston County, Texas                  0.7493953330%
               TX476       Ganado City, Texas                       0.0036733330%
               TX477       Garden Ridge City, Texas                 0.0075673330%
               TX478       Garland City, Texas                      0.2801626670%
               TX479       Garrett Town, Texas                      0.0016733330%
               TX480       Garrison City, Texas                     0.0023700000%
               TX481       Gary City Town, Texas                    0.0003000000%
               TX482       Garza County, Texas                      0.0059626670%
               TX483       Gatesville City, Texas                   0.0179960000%
               TX484       George West City, Texas                  0.0041380000%
               TX485       Georgetown City, Texas                   0.1505973330%
               TX486       Gholson City, Texas                      0.0010033330%
               TX487       Giddings City, Texas                     0.0084493330%
               TX488       Gillespie County, Texas                  0.0421273330%
               TX489       Gilmer City, Texas                       0.0226340000%
               TX490       Gladewater City, Texas                   0.0164253330%
               TX491       Glasscock County, Texas                  0.0006666670%
               TX492       Glen Rose City, Texas                    0.0003600000%
               TX493       Glenn Heights City, Texas                0.0110620000%
               TX494       Godley City, Texas                       0.0020766670%
               TX495       Goldsmith City, Texas                    0.0004513330%
               TX496       Goldthwaite City, Texas                  0.0008166670%
               TX497       Goliad City, Texas                       0.0023753330%
               TX498       Goliad County, Texas                     0.0231066670%
               TX499       Golinda City, Texas                      0.0000666670%
               TX500       Gonzales City, Texas                     0.0099213330%
               TX501       Gonzales County, Texas                   0.0221533330%
               TX502       Goodlow City, Texas                      0.0001473330%
               TX503       Goodrich City, Texas                     0.0064286670%
               TX504       Gordon City, Texas                       0.0002433330%
               TX505       Goree City, Texas                        0.0004993330%
               TX506       Gorman City, Texas                       0.0020713330%
               TX507       Graford City, Texas                      0.0000153330%
               TX508       Graham City, Texas                       0.1569520000%
               TX509       Granbury City, Texas                     0.0478233330%
               TX510       Grand Prairie City, Texas                0.2969593330%
               TX511       Grand Saline City, Texas                 0.0242753330%
               TX512       Grandfalls Town, Texas                   0.0000433330%
               TX513       Grandview City, Texas                    0.0044000000%
               TX514       Granger City, Texas                      0.0018273330%
               TX515       Granite Shoals City, Texas               0.0078893330%
               TX516       Granjeno City, Texas                     0.0000286670%
               TX517       Grapeland City, Texas                    0.0048580000%

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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX518       Grapevine City, Texas                    0.0861300000%
               TX519       Gray County, Texas                       0.0439226670%
               TX520       Grays Prairie Village, Texas             0.0000113330%
               TX521       Grayson County, Texas                    0.3593886670%
               TX522       Greenville City, Texas                   0.1354080000%
               TX523       Gregg County, Texas                      0.1624960000%
               TX524       Gregory City, Texas                      0.0031313330%
               TX525       Grey Forest City, Texas                  0.0003160000%
               TX526       Grimes County, Texas                     0.0632520000%
               TX527       Groesbeck City, Texas                    0.0038300000%
               TX528       Groom Town, Texas                        0.0006433330%
               TX529       Groves City, Texas                       0.0271680000%
               TX530       Groveton City, Texas                     0.0058846670%
               TX531       Gruver City, Texas                       0.0007773330%
               TX532       Guadalupe County, Texas                  0.0978826670%
               TX533       Gun Barrel City, Texas                   0.0242013330%
               TX534       Gunter City, Texas                       0.0030726670%
               TX535       Gustine Town, Texas                      0.0000226670%
               TX536       Hackberry Town, Texas                    0.0000626670%
               TX537       Hale Center City, Texas                  0.0040280000%
               TX538       Hale County, Texas                       0.0527666670%
               TX539       Hall County, Texas                       0.0059553330%
               TX540       Hallettsville City, Texas                0.0045966670%
               TX541       Hallsburg City, Texas                    0.0001813330%
               TX542       Hallsville City, Texas                   0.0068260000%
               TX543       Haltom City, Texas                       0.0478666670%
               TX544       Hamilton City, Texas                     0.0023873330%
               TX545       Hamilton County, Texas                   0.0442380000%
               TX546       Hamlin City, Texas                       0.0031040000%
               TX547       Hansford County, Texas                   0.0109440000%
               TX548       Happy Town, Texas                        0.0002180000%
               TX549       Hardeman County, Texas                   0.0101460000%
               TX550       Hardin City, Texas                       0.0000666670%
               TX551       Hardin County, Texas                     0.2532000000%
               TX552       Harker Heights City, Texas               0.0757873330%
               TX553       Harlingen City, Texas                    0.1102860000%
               TX554       Harris County, Texas                     9.9774680000%
               TX555       Harrison County, Texas                   0.1239400000%
               TX556       Hart City, Texas                         0.0000573330%
               TX557       Hartley County, Texas                    0.0005240000%
               TX558       Haskell City, Texas                      0.0072193330%
               TX559       Haskell County, Texas                    0.0146740000%
               TX560       Haslet City, Texas                       0.0012720000%
               TX561       Hawk Cove City, Texas                    0.0004493330%
               TX562       Hawkins City, Texas                      0.0052880000%
               TX563       Hawley City, Texas                       0.0006206670%
               TX564       Hays City, Texas                         0.0003373330%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX565       Hays County, Texas                       0.3529926670%
               TX566       Hearne City, Texas                       0.0112160000%
               TX567       Heath City, Texas                        0.0191673330%
               TX568       Hebron Town, Texas                       0.0004580000%
               TX569       Hedley City, Texas                       0.0000466670%
               TX570       Hedwig Village City, Texas               0.0087113330%
               TX571       Helotes City, Texas                      0.0105266670%
               TX572       Hemphill City, Texas                     0.0053566670%
               TX573       Hemphill County, Texas                   0.0095960000%
               TX574       Hempstead City, Texas                    0.0141600000%
               TX575       Henderson City, Texas                    0.0399773330%
               TX576       Henderson County, Texas                  0.2186433330%
               TX577       Henrietta City, Texas                    0.0018133330%
               TX578       Hereford City, Texas                     0.0136153330%
               TX579       Hewitt City, Texas                       0.0131840000%
               TX580       Hickory Creek Town, Texas                0.0110066670%
               TX581       Hico City, Texas                         0.0036893330%
               TX582       Hidalgo City, Texas                      0.0177473330%
               TX583       Hidalgo County, Texas                    0.8354020000%
               TX584       Hideaway City, Texas                     0.0006146670%
               TX585       Higgins City, Texas                      0.0000286670%
               TX586       Highland Haven City, Texas               0.0002133330%
               TX587       Highland Park Town, Texas                0.0289220000%
               TX588       Highland Village City, Texas             0.0335433330%
               TX589       Hill Country Village City, Texas         0.0043233330%
               TX590       Hill County, Texas                       0.0849846670%
               TX591       Hillcrest Village, Texas                 0.0035633330%
               TX592       Hillsboro City, Texas                    0.0310726670%
               TX593       Hilshire Village City, Texas             0.0005726670%
               TX594       Hitchcock City, Texas                    0.0191973330%
               TX595       Hockley County, Texas                    0.0309380000%
               TX596       Holiday Lakes Town, Texas                0.0011966670%
               TX597       Holland Town, Texas                      0.0000513330%
               TX598       Holliday City, Texas                     0.0039400000%
               TX599       Hollywood Park Town, Texas               0.0062826670%
               TX600       Hondo City, Texas                        0.0768586670%
               TX601       Honey Grove City, Texas                  0.0047973330%
               TX602       Hood County, Texas                       0.1947366670%
               TX603       Hooks City, Texas                        0.0018013330%
               TX604       Hopkins County, Texas                    0.0996786670%
               TX605       Horizon City, Texas                      0.0050133330%
               TX606       Horseshoe Bay City, Texas                0.0321153330%
               TX607       Houston City, Texas                      4.6811953330%
               TX608       Houston County, Texas                    0.0524320000%
               TX609       Howard County, Texas                     0.0595533330%
               TX610       Howardwick City, Texas                   0.0000560000%
               TX611       Howe Town, Texas                         0.0061180000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX612       Hubbard City, Texas                      0.0024233330%
               TX613       Hudson City, Texas                       0.0045600000%
               TX614       Hudson Oaks City, Texas                  0.0104246670%
               TX615       Hudspeth County, Texas                   0.0006566670%
               TX616       Hughes Springs City, Texas               0.0029613330%
               TX617       Humble City, Texas                       0.0493013330%
               TX618       Hunt County, Texas                       0.2065673330%
               TX619       Hunters Creek Village City, Texas        0.0098053330%
               TX620       Huntington City, Texas                   0.0058613330%
               TX621       Huntsville City, Texas                   0.0535820000%
               TX622       Hurst City, Texas                        0.0661246670%
               TX623       Hutchins City, Texas                     0.0063673330%
               TX624       Hutchinson County, Texas                 0.0497533330%
               TX625       Hutto City, Texas                        0.0255640000%
               TX626       Huxley City, Texas                       0.0004920000%
               TX627       Idalou City, Texas                       0.0013326670%
               TX628       Impact Town, Texas                       0.0000053330%
               TX629       Indian Lake Town, Texas                  0.0003153330%
               TX630       Industry City, Texas                     0.0004026670%
               TX631       Ingleside City, Texas                    0.0269913330%
               TX632       Ingleside on the Bay City, Texas         0.0000946670%
               TX633       Ingram City, Texas                       0.0034953330%
               TX634       Iola City, Texas                         0.0021093330%
               TX635       Iowa Colony Village, Texas               0.0027266670%
               TX636       Iowa Park City, Texas                    0.0156580000%
               TX637       Iraan City, Texas                        0.0000373330%
               TX638       Iredell City, Texas                      0.0001440000%
               TX639       Irion County, Texas                      0.0060700000%
               TX640       Irving City, Texas                       0.2852120000%
               TX641       Italy Town, Texas                        0.0035660000%
               TX642       Itasca City, Texas                       0.0057960000%
               TX643       Ivanhoe City, Texas                      0.0000173330%
               TX644       Jacinto City, Texas                      0.0094273330%
               TX645       Jack County, Texas                       0.0098660000%
               TX646       Jacksboro City, Texas                    0.0155026670%
               TX647       Jackson County, Texas                    0.0253226670%
               TX648       Jacksonville City, Texas                 0.0534526670%
               TX649       Jamaica Beach City, Texas                0.0032753330%
               TX650       Jarrell City, Texas                      0.0016153330%
               TX651       Jasper City, Texas                       0.0522813330%
               TX652       Jasper County, Texas                     0.1659033330%
               TX653       Jayton City, Texas                       0.0000420000%
               TX654       Jeff Davis County, Texas                 0.0056666670%
               TX655       Jefferson City, Texas                    0.0074626670%
               TX656       Jefferson County, Texas                  0.5044093330%
               TX657       Jersey Village City, Texas               0.0242313330%
               TX658       Jewett City, Texas                       0.0062253330%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX659       Jim Hogg County, Texas                   0.0084786670%
               TX660       Jim Wells County, Texas                  0.1110260000%
               TX661       Joaquin City, Texas                      0.0005400000%
               TX662       Johnson City, Texas                      0.0023873330%
               TX663       Johnson County, Texas                    0.2724613330%
               TX664       Jolly City, Texas                        0.0000173330%
               TX665       Jones County, Texas                      0.0146673330%
               TX666       Jones Creek Village, Texas               0.0033853330%
               TX667       Jonestown City, Texas                    0.0042793330%
               TX668       Josephine City, Texas                    0.0005873330%
               TX669       Joshua City, Texas                       0.0137460000%
               TX670       Jourdanton City, Texas                   0.0064000000%
               TX671       Junction City, Texas                     0.0032166670%
               TX672       Justin City, Texas                       0.0057166670%
               TX673       Karnes City, Texas                       0.0077546670%
               TX674       Karnes County, Texas                     0.0234993330%
               TX675       Katy City, Texas                         0.0349780000%
               TX676       Kaufman City, Texas                      0.0184046670%
               TX677       Kaufman County, Texas                    0.2353646670%
               TX678       Keene City, Texas                        0.0255306670%
               TX679       Keller City, Texas                       0.0527926670%
               TX680       Kemah City, Texas                        0.0188833330%
               TX681       Kemp City, Texas                         0.0042793330%
               TX682       Kempner City, Texas                      0.0002200000%
               TX683       Kendall County, Texas                    0.0670953330%
               TX684       Kendleton City, Texas                    0.0000086670%
               TX685       Kenedy City, Texas                       0.0004506670%
               TX686       Kenedy County, Texas                     0.0006666670%
               TX687       Kenefick Town, Texas                     0.0002773330%
               TX688       Kennard City, Texas                      0.0000880000%
               TX689       Kennedale City, Texas                    0.0140160000%
               TX690       Kent County, Texas                       0.0006260000%
               TX691       Kerens City, Texas                       0.0012826670%
               TX692       Kermit City, Texas                       0.0037680000%
               TX693       Kerr County, Texas                       0.1456346670%
               TX694       Kerrville City, Texas                    0.1269046670%
               TX695       Kilgore City, Texas                      0.0703886670%
               TX696       Killeen City, Texas                      0.3571000000%
               TX697       Kimble County, Texas                     0.0136533330%
               TX698       King County, Texas                       0.0006666670%
               TX699       Kingsville City, Texas                   0.0133886670%
               TX700       Kinney County, Texas                     0.0014280000%
               TX701       Kirby City, Texas                        0.0058346670%
               TX702       Kirbyville City, Texas                   0.0071266670%
               TX703       Kirvin Town, Texas                       0.0000013330%
               TX704       Kleberg County, Texas                    0.0827393330%
               TX705       Knollwood City, Texas                    0.0007733330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                  Consolidated State
              State ID             Qualifying Subdivision            Allocation
               TX706       Knox City Town, Texas                     0.0013080000%
               TX707       Knox County, Texas                        0.0078200000%
               TX708       Kosse Town, Texas                         0.0016453330%
               TX709       Kountze City, Texas                       0.0131440000%
               TX710       Kress City, Texas                         0.0001240000%
               TX711       Krugerville City, Texas                   0.0010053330%
               TX712       Krum City, Texas                          0.0064406670%
               TX713       Kurten Town, Texas                        0.0004573330%
               TX714       Kyle City, Texas                          0.0345566670%
               TX715       La Feria City, Texas                      0.0069206670%
               TX716       La Grange City, Texas                     0.0064153330%
               TX717       La Grulla City, Texas                     0.0011386670%
               TX718       La Joya City, Texas                       0.0056380000%
               TX719       La Marque City, Texas                     0.0659533330%
               TX720       La Porte City, Texas                      0.0610213330%
               TX721       La Salle County, Texas                    0.0099833330%
               TX722       La Vernia City, Texas                     0.0021446670%
               TX723       La Villa City, Texas                      0.0003813330%
               TX724       La Ward City, Texas                       0.0002140000%
               TX725       Lacoste City, Texas                       0.0001060000%
               TX726       Lacy-Lakeview City, Texas                 0.0077326670%
               TX727       Ladonia Town, Texas                       0.0013406670%
               TX728       Lago Vista City, Texas                    0.0091786670%
               TX729       Laguna Vista Town, Texas                  0.0024593330%
               TX730       Lake Bridgeport City, Texas               0.0001546670%
               TX731       Lake City Town, Texas                     0.0019453330%
               TX732       Lake Dallas City, Texas                   0.0168760000%
               TX733       Lake Jackson City, Texas                  0.0505206670%
               TX734       Lake Tanglewood Village, Texas            0.0004086670%
               TX735       Lake Worth City, Texas                    0.0133673330%
               TX736       Lakeport City, Texas                      0.0003086670%
               TX737       Lakeside City Town, Texas                 0.0001480000%
               TX738       Lakeside Town, San Patricio County,       0.0029826670%
                           Texas
               TX739       Lakeside Town, Tarrant County, Texas      0.0029826670%
               TX740       Lakeview Town, Texas                      0.0002846670%
               TX741       Lakeway City, Texas                       0.0211046670%
               TX742       Lakewood Village City, Texas              0.0003713330%
               TX743       Lamar County, Texas                       0.0943986670%
               TX744       Lamb County, Texas                        0.0337873330%
               TX745       Lamesa City, Texas                        0.0197706670%
               TX746       Lampasas City, Texas                      0.0188073330%
               TX747       Lampasas County, Texas                    0.0285453330%
               TX748       Lancaster City, Texas                     0.0604353330%
               TX749       Laredo City, Texas                        0.5087826670%
               TX750       Latexo City, Texas                        0.0000826670%
               TX751       Lavaca County, Texas                      0.0306486670%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID               Qualifying Subdivision         Allocation
               TX752       Lavon City, Texas                        0.0049566670%
               TX753       Lawn Town, Texas                         0.0000386670%
               TX754       League City, Texas                       0.2016120000%
               TX755       Leakey City, Texas                       0.0001706670%
               TX756       Leander City, Texas                      0.0590940000%
               TX757       Leary City, Texas                        0.0005313330%
               TX758       Lee County, Texas                        0.0203046670%
               TX759       Lefors Town, Texas                       0.0001060000%
               TX760       Leon County, Texas                       0.0449286670%
               TX761       Leon Valley City, Texas                  0.0155053330%
               TX762       Leona City, Texas                        0.0005886670%
               TX763       Leonard City, Texas                      0.0056700000%
               TX764       Leroy City, Texas                        0.0001173330%
               TX765       Levelland City, Texas                    0.0312320000%
               TX766       Lewisville City, Texas                   0.2547293330%
               TX767       Lexington Town, Texas                    0.0015453330%
               TX768       Liberty City, Texas                      0.0482286670%
               TX769       Liberty County, Texas                    0.3541413330%
               TX770       Liberty Hill City, Texas                 0.0018533330%
               TX771       Limestone County, Texas                  0.0904560000%
               TX772       Lincoln Park Town, Texas                 0.0004513330%
               TX773       Lindale City, Texas                      0.0161346670%
               TX774       Linden City, Texas                       0.0024406670%
               TX775       Lindsay City, Texas                      0.0008186670%
               TX776       Lipan City, Texas                        0.0000293330%
               TX777       Lipscomb County, Texas                   0.0067546670%
               TX778       Little Elm City, Texas                   0.0462173330%
               TX779       Little River-Academy City, Texas         0.0005320000%
               TX780       Littlefield City, Texas                  0.0051186670%
               TX781       Live Oak City, Texas                     0.0218266670%
               TX782       Live Oak County, Texas                   0.0264773330%
               TX783       Liverpool City, Texas                    0.0009566670%
               TX784       Livingston Town, Texas                   0.0487766670%
               TX785       Llano City, Texas                        0.0154140000%
               TX786       Llano County, Texas                      0.0770980000%
               TX787       Lockhart City, Texas                     0.0327000000%
               TX788       Lockney Town, Texas                      0.0022006670%
               TX789       Log Cabin City, Texas                    0.0013066670%
               TX790       Lometa City, Texas                       0.0007840000%
               TX791       Lone Oak City, Texas                     0.0011366670%
               TX792       Lone Star City, Texas                    0.0055220000%
               TX793       Longview City, Texas                     0.3215026670%
               TX794       Loraine Town, Texas                      0.0001253330%
               TX795       Lorena City, Texas                       0.0022600000%
               TX796       Lorenzo City, Texas                      0.0075720000%
               TX797       Los Fresnos City, Texas                  0.0074566670%
               TX798       Los Indios Town, Texas                   0.0001060000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX799       Lott City, Texas                         0.0010106670%
               TX800       Lovelady City, Texas                     0.0001660000%
               TX801       Loving County, Texas                     0.0006666670%
               TX802       Lowry Crossing City, Texas               0.0005220000%
               TX803       Lubbock City, Texas                      0.2132446670%
               TX804       Lubbock County, Texas                    0.9198126670%
               TX805       Lucas City, Texas                        0.0035106670%
               TX806       Lueders City, Texas                      0.0003386670%
               TX807       Lufkin City, Texas                       0.1877280000%
               TX808       Luling City, Texas                       0.0196140000%
               TX809       Lumberton City, Texas                    0.0244060000%
               TX810       Lyford City, Texas                       0.0020473330%
               TX811       Lynn County, Texas                       0.0041833330%
               TX812       Lytle City, Texas                        0.0048153330%
               TX813       Mabank Town, Texas                       0.0129620000%
               TX814       Madison County, Texas                    0.0329946670%
               TX815       Madisonville City, Texas                 0.0076386670%
               TX816       Magnolia City, Texas                     0.0173540000%
               TX817       Malakoff City, Texas                     0.0084093330%
               TX818       Malone Town, Texas                       0.0002926670%
               TX819       Manor City, Texas                        0.0083326670%
               TX820       Mansfield City, Texas                    0.1005253330%
               TX821       Manvel City, Texas                       0.0082033330%
               TX822       Marble Falls City, Texas                 0.0246926670%
               TX823       Marfa City, Texas                        0.0000433330%
               TX824       Marietta Town, Texas                     0.0002253330%
               TX825       Marion City, Texas                       0.0001833330%
               TX826       Marion County, Texas                     0.0364853330%
               TX827       Marlin City, Texas                       0.0144226670%
               TX828       Marquez City, Texas                      0.0008813330%
               TX829       Marshall City, Texas                     0.0722473330%
               TX830       Mart City, Texas                         0.0006186670%
               TX831       Martin County, Texas                     0.0072413330%
               TX832       Martindale City, Texas                   0.0016246670%
               TX833       Mason City, Texas                        0.0005180000%
               TX834       Mason County, Texas                      0.0020893330%
               TX835       Matador Town, Texas                      0.0008020000%
               TX836       Matagorda County, Texas                  0.0901593330%
               TX837       Mathis City, Texas                       0.0104800000%
               TX838       Maud City, Texas                         0.0002820000%
               TX839       Maverick County, Texas                   0.0772793330%
               TX840       Maypearl City, Texas                     0.0006573330%
               TX841       McAllen City, Texas                      0.2429493330%
               TX842       McCamey City, Texas                      0.0003613330%
               TX843       McCulloch County, Texas                  0.0133473330%
               TX844       McGregor City, Texas                     0.0061033330%
               TX845       McKinney City, Texas                     0.3002553330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX846       McLean Town, Texas                       0.0000093330%
               TX847       McLendon-Chisholm City, Texas            0.0002740000%
               TX848       McLennan County, Texas                   0.3530940000%
               TX849       McMullen County, Texas                   0.0006666670%
               TX850       Meadow Town, Texas                       0.0007473330%
               TX851       Meadowlakes City, Texas                  0.0006033330%
               TX852       Meadows Place City, Texas                0.0120986670%
               TX853       Medina County, Texas                     0.0322366670%
               TX854       Megargel Town, Texas                     0.0004073330%
               TX855       Melissa City, Texas                      0.0102540000%
               TX856       Melvin Town, Texas                       0.0002300000%
               TX857       Memphis City, Texas                      0.0048020000%
               TX858       Menard City, Texas                       0.0006606670%
               TX859       Menard County, Texas                     0.0098113330%
               TX860       Mercedes City, Texas                     0.0142940000%
               TX861       Meridian City, Texas                     0.0023640000%
               TX862       Merkel Town, Texas                       0.0067446670%
               TX863       Mertens Town, Texas                      0.0001593330%
               TX864       Mertzon City, Texas                      0.0000193330%
               TX865       Mesquite City, Texas                     0.2071393330%
               TX866       Mexia City, Texas                        0.0140640000%
               TX867       Miami City, Texas                        0.0003033330%
               TX868       Midland City, Texas                      0.3478993330%
               TX869       Midland County, Texas                    0.1866180000%
               TX870       Midlothian City, Texas                   0.0638660000%
               TX871       Midway City, Texas                       0.0000520000%
               TX872       Milam County, Texas                      0.0649240000%
               TX873       Milano City, Texas                       0.0006026670%
               TX874       Mildred Town, Texas                      0.0001906670%
               TX875       Miles City, Texas                        0.0000620000%
               TX876       Milford Town, Texas                      0.0041180000%
               TX877       Miller's Cove Town, Texas                0.0000646670%
               TX878       Millican Town, Texas                     0.0002780000%
               TX879       Mills County, Texas                      0.0132873330%
               TX880       Millsap Town, Texas                      0.0000226670%
               TX881       Mineola City, Texas                      0.0324793330%
               TX882       Mineral Wells City, Texas                0.0613740000%
               TX883       Mingus City, Texas                       0.0001260000%
               TX884       Mission City, Texas                      0.0831786670%
               TX885       Missouri City, Texas                     0.1397553330%
               TX886       Mitchell County, Texas                   0.0139000000%
               TX887       Mobeetie City, Texas                     0.0000346670%
               TX888       Mobile City, Texas                       0.0013560000%
               TX889       Monahans City, Texas                     0.0038993330%
               TX890       Mont Belvieu City, Texas                 0.0131126670%
               TX891       Montague County, Texas                   0.0631973330%
               TX892       Montgomery City, Texas                   0.0012560000%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               TX893       Montgomery County, Texas                 1.8006073330%
               TX894       Moody City, Texas                        0.0005520000%
               TX895       Moore County, Texas                      0.0270846670%
               TX896       Moore Station City, Texas                0.0005146670%
               TX897       Moran City, Texas                        0.0000333330%
               TX898       Morgan City, Texas                       0.0004033330%
               TX899       Morgan's Point City, Texas               0.0020700000%
               TX900       Morgan's Point Resort City, Texas        0.0053493330%
               TX901       Morris County, Texas                     0.0355520000%
               TX902       Morton City, Texas                       0.0001113330%
               TX903       Motley County, Texas                     0.0022293330%
               TX904       Moulton Town, Texas                      0.0006660000%
               TX905       Mount Calm City, Texas                   0.0004033330%
               TX906       Mount Enterprise City, Texas             0.0012213330%
               TX907       Mount Pleasant City, Texas               0.0437893330%
               TX908       Mount Vernon Town, Texas                 0.0040326670%
               TX909       Mountain City, Texas                     0.0010320000%
               TX910       Muenster City, Texas                     0.0031040000%
               TX911       Muleshoe City, Texas                     0.0032733330%
               TX912       Mullin Town, Texas                       0.0002560000%
               TX913       Munday City, Texas                       0.0013646670%
               TX914       Murchison City, Texas                    0.0015346670%
               TX915       Murphy City, Texas                       0.0345953330%
               TX916       Mustang Ridge City, Texas                0.0016413330%
               TX917       Mustang Town, Texas                      0.0000046670%
               TX918       Nacogdoches City, Texas                  0.1373280000%
               TX919       Nacogdoches County, Texas                0.1323886670%
               TX920       Naples City, Texas                       0.0028160000%
               TX921       Nash City, Texas                         0.0053326670%
               TX922       Nassau Bay City, Texas                   0.0074980000%
               TX923       Natalia City, Texas                      0.0004166670%
               TX924       Navarro County, Texas                    0.0690086670%
               TX925       Navarro Town, Texas                      0.0002226670%
               TX926       Navasota City, Texas                     0.0251173330%
               TX927       Nazareth City, Texas                     0.0000826670%
               TX928       Nederland City, Texas                    0.0297233330%
               TX929       Needville City, Texas                    0.0068940000%
               TX930       Nevada City, Texas                       0.0001580000%
               TX931       New Berlin City, Texas                   0.0000026670%
               TX932       New Boston City, Texas                   0.0046353330%
               TX933       New Braunfels City, Texas                0.2048753330%
               TX934       New Chapel Hill City, Texas              0.0001920000%
               TX935       New Deal Town, Texas                     0.0002253330%
               TX936       New Fairview City, Texas                 0.0015560000%
               TX937       New Home City, Texas                     0.0000060000%
               TX938       New Hope Town, Texas                     0.0006826670%
               TX939       New London City, Texas                   0.0027526670%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               TX940       New Summerfield City, Texas              0.0002946670%
               TX941       New Waverly City, Texas                  0.0017080000%
               TX942       Newark City, Texas                       0.0003466670%
               TX943       Newcastle City, Texas                    0.0006093330%
               TX944       Newton City, Texas                       0.0040680000%
               TX945       Newton County, Texas                     0.1053373330%
               TX946       Neylandville Town, Texas                 0.0001086670%
               TX947       Niederwald City, Texas                   0.0000106670%
               TX948       Nixon City, Texas                        0.0015220000%
               TX949       Nocona City, Texas                       0.0110240000%
               TX950       Nolan County, Texas                      0.0335080000%
               TX951       Nolanville City, Texas                   0.0028313330%
               TX952       Nome City, Texas                         0.0002606670%
               TX953       Noonday City, Texas                      0.0001506670%
               TX954       Nordheim City, Texas                     0.0004646670%
               TX955       Normangee Town, Texas                    0.0041280000%
               TX956       North Cleveland City, Texas              0.0000700000%
               TX957       North Richland Hills City, Texas         0.0976126670%
               TX958       Northlake Town, Texas                    0.0059366670%
               TX959       Novice City, Texas                       0.0000506670%
               TX960       Nueces County, Texas                     0.9119546670%
               TX961       Oak Grove Town, Texas                    0.0018460000%
               TX962       Oak Leaf City, Texas                     0.0004080000%
               TX963       Oak Point City, Texas                    0.0060073330%
               TX964       Oak Ridge North City, Texas              0.0223413330%
               TX965       Oak Ridge Town, Cooke County, Texas      0.0002386670%
               TX966       Oak Ridge Town, Kaufman County,          0.0002386670%
                           Texas
               TX967       Oak Valley Town, Texas                   0.0000046670%
               TX968       Oakwood Town, Texas                      0.0000986670%
               TX969       O'Brien City, Texas                      0.0000506670%
               TX970       Ochiltree County, Texas                  0.0103173330%
               TX971       Odem City, Texas                         0.0049466670%
               TX972       Odessa City, Texas                       0.3727753330%
               TX973       O'Donnell City, Texas                    0.0000180000%
               TX974       Oglesby City, Texas                      0.0000193330%
               TX975       Old River-Winfree City, Texas            0.0144353330%
               TX976       Oldham County, Texas                     0.0068786670%
               TX977       Olmos Park City, Texas                   0.0065340000%
               TX978       Olney City, Texas                        0.0040586670%
               TX979       Olton City, Texas                        0.0007980000%
               TX980       Omaha City, Texas                        0.0027900000%
               TX981       Onalaska City, Texas                     0.0211026670%
               TX982       Opdyke West Town, Texas                  0.0003193330%
               TX983       Orange City, Texas                       0.2075593330%
               TX984       Orange County, Texas                     0.4598786670%
               TX985       Orange Grove City, Texas                 0.0011180000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               TX986       Orchard City, Texas                      0.0005780000%
               TX987       Ore City, Texas                          0.0045373330%
               TX988       Overton City, Texas                      0.0052666670%
               TX989       Ovilla City, Texas                       0.0089273330%
               TX990       Oyster Creek City, Texas                 0.0064220000%
               TX991       Paducah Town, Texas                      0.0000833330%
               TX992       Paint Rock Town, Texas                   0.0000940000%
               TX993       Palacios City, Texas                     0.0093573330%
               TX994       Palestine City, Texas                    0.1186726670%
               TX995       Palisades Village, Texas                 0.0001600000%
               TX996       Palm Valley City, Texas                  0.0012786670%
               TX997       Palmer Town, Texas                       0.0084440000%
               TX998       Palmhurst City, Texas                    0.0031066670%
               TX999       Palmview City, Texas                     0.0050513330%
              TX1000       Palo Pinto County, Texas                 0.0830806670%
              TX1001       Pampa City, Texas                        0.0448180000%
              TX1002       Panhandle Town, Texas                    0.0063573330%
              TX1003       Panola County, Texas                     0.0537993330%
              TX1004       Panorama Village City, Texas             0.0008613330%
              TX1005       Pantego Town, Texas                      0.0085986670%
              TX1006       Paradise City, Texas                     0.0000346670%
              TX1007       Paris City, Texas                        0.1341200000%
              TX1008       Parker City, Texas                       0.0068713330%
              TX1009       Parker County, Texas                     0.3175026670%
              TX1010       Parmer County, Texas                     0.0105773330%
              TX1011       Pasadena City, Texas                     0.2376906670%
              TX1012       Pattison City, Texas                     0.0007653330%
              TX1013       Patton Village City, Texas               0.0061786670%
              TX1014       Payne Springs Town, Texas                0.0011800000%
              TX1015       Pearland City, Texas                     0.2225013330%
              TX1016       Pearsall City, Texas                     0.0077133330%
              TX1017       Pecan Gap City, Texas                    0.0004793330%
              TX1018       Pecan Hill City, Texas                   0.0001526670%
              TX1019       Pecos City, Texas                        0.0050813330%
              TX1020       Pecos County, Texas                      0.0313313330%
              TX1021       Pelican Bay City, Texas                  0.0007993330%
              TX1022       Penelope Town, Texas                     0.0002766670%
              TX1023       Penitas City, Texas                      0.0002080000%
              TX1024       Perryton City, Texas                     0.0155760000%
              TX1025       Petersburg City, Texas                   0.0011273330%
              TX1026       Petrolia City, Texas                     0.0000113330%
              TX1027       Petronila City, Texas                    0.0000033330%
              TX1028       Pflugerville City, Texas                 0.0576053330%
              TX1029       Pharr City, Texas                        0.0964806670%
              TX1030       Pilot Point City, Texas                  0.0077420000%
              TX1031       Pine Forest City, Texas                  0.0025960000%
              TX1032       Pine Island Town, Texas                  0.0020940000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1033       Pinehurst City, Texas                    0.0217806670%
              TX1034       Pineland City, Texas                     0.0027586670%
              TX1035       Piney Point Village City, Texas          0.0104920000%
              TX1036       Pittsburg City, Texas                    0.0136840000%
              TX1037       Plains Town, Texas                       0.0000860000%
              TX1038       Plainview City, Texas                    0.0401986670%
              TX1039       Plano City, Texas                        0.7677386670%
              TX1040       Pleak Village, Texas                     0.0001800000%
              TX1041       Pleasant Valley Town, Texas              0.0002053330%
              TX1042       Pleasanton City, Texas                   0.0193406670%
              TX1043       Plum Grove City, Texas                   0.0001720000%
              TX1044       Point Blank City, Texas                  0.0002366670%
              TX1045       Point City, Texas                        0.0010126670%
              TX1046       Point Comfort City, Texas                0.0002980000%
              TX1047       Point Venture Village, Texas             0.0003920000%
              TX1048       Polk County, Texas                       0.2472206670%
              TX1049       Ponder Town, Texas                       0.0008546670%
              TX1050       Port Aransas City, Texas                 0.0206813330%
              TX1051       Port Arthur City, Texas                  0.2452966670%
              TX1052       Port Isabel City, Texas                  0.0065346670%
              TX1053       Port Lavaca City, Texas                  0.0078346670%
              TX1054       Port Neches City, Texas                  0.0258993330%
              TX1055       Portland City, Texas                     0.0510113330%
              TX1056       Post City, Texas                         0.0015546670%
              TX1057       Post Oak Bend City Town, Texas           0.0006893330%
              TX1058       Poteet City, Texas                       0.0045113330%
              TX1059       Poth Town, Texas                         0.0026493330%
              TX1060       Potter County, Texas                     0.2478006670%
              TX1061       Pottsboro Town, Texas                    0.0082013330%
              TX1062       Powell Town, Texas                       0.0000733330%
              TX1063       Poynor Town, Texas                       0.0007866670%
              TX1064       Prairie View City, Texas                 0.0050666670%
              TX1065       Premont City, Texas                      0.0022140000%
              TX1066       Presidio City, Texas                     0.0000986670%
              TX1067       Presidio County, Texas                   0.0005246670%
              TX1068       Primera Town, Texas                      0.0019720000%
              TX1069       Princeton City, Texas                    0.0128300000%
              TX1070       Progreso City, Texas                     0.0053813330%
              TX1071       Progreso Lakes City, Texas               0.0000260000%
              TX1072       Prosper Town, Texas                      0.0151800000%
              TX1073       Providence Village Town, Texas           0.0003386670%
              TX1074       Putnam Town, Texas                       0.0000093330%
              TX1075       Pyote Town, Texas                        0.0000146670%
              TX1076       Quanah City, Texas                       0.0001380000%
              TX1077       Queen City, Texas                        0.0032246670%
              TX1078       Quinlan City, Texas                      0.0048693330%
              TX1079       Quintana Town, Texas                     0.0003280000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1080       Quitaque City, Texas                     0.0000053330%
              TX1081       Quitman City, Texas                      0.0104126670%
              TX1082       Rains County, Texas                      0.0354600000%
              TX1083       Ralls City, Texas                        0.0026446670%
              TX1084       Rancho Viejo Town, Texas                 0.0025573330%
              TX1085       Randall County, Texas                    0.1854173330%
              TX1086       Ranger City, Texas                       0.0081240000%
              TX1087       Rankin City, Texas                       0.0010753330%
              TX1088       Ransom Canyon Town, Texas                0.0006200000%
              TX1089       Ravenna City, Texas                      0.0004566670%
              TX1090       Raymondville City, Texas                 0.0049773330%
              TX1091       Reagan County, Texas                     0.0168100000%
              TX1092       Real County, Texas                       0.0033820000%
              TX1093       Red Lick City, Texas                     0.0000153330%
              TX1094       Red Oak City, Texas                      0.0178953330%
              TX1095       Red River County, Texas                  0.0195373330%
              TX1096       Redwater City, Texas                     0.0007053330%
              TX1097       Reeves County, Texas                     0.0689000000%
              TX1098       Refugio County, Texas                    0.0308106670%
              TX1099       Refugio Town, Texas                      0.0058926670%
              TX1100       Reklaw City, Texas                       0.0007573330%
              TX1101       Reno City, Lamar County, Texas           0.0074426670%
              TX1102       Reno City, Parker County, Texas          0.0025273330%
              TX1103       Retreat Town, Texas                      0.0000346670%
              TX1104       Rhome City, Texas                        0.0081900000%
              TX1105       Rice City, Texas                         0.0013146670%
              TX1106       Richardson City, Texas                   0.1735433330%
              TX1107       Richland Hills City, Texas               0.0162920000%
              TX1108       Richland Springs Town, Texas             0.0014893330%
              TX1109       Richland Town, Texas                     0.0001400000%
              TX1110       Richmond City, Texas                     0.0517373330%
              TX1111       Richwood City, Texas                     0.0080746670%
              TX1112       Riesel City, Texas                       0.0007453330%
              TX1113       Rio Bravo City, Texas                    0.0056986670%
              TX1114       Rio Grande City, Texas                   0.0172980000%
              TX1115       Rio Hondo City, Texas                    0.0023666670%
              TX1116       Rio Vista City, Texas                    0.0029460000%
              TX1117       Rising Star Town, Texas                  0.0012886670%
              TX1118       River Oaks City, Texas                   0.0079446670%
              TX1119       Riverside City, Texas                    0.0005720000%
              TX1120       Roanoke City, Texas                      0.0001833330%
              TX1121       Roaring Springs Town, Texas              0.0003073330%
              TX1122       Robert Lee City, Texas                   0.0000566670%
              TX1123       Roberts County, Texas                    0.0003646670%
              TX1124       Robertson County, Texas                  0.0297613330%
              TX1125       Robinson City, Texas                     0.0120013330%
              TX1126       Robstown City, Texas                     0.0267693330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
              TX1127       Roby City, Texas                         0.0002853330%
              TX1128       Rochester Town, Texas                    0.0004493330%
              TX1129       Rockdale City, Texas                     0.0139820000%
              TX1130       Rockport City, Texas                     0.0361686670%
              TX1131       Rocksprings Town, Texas                  0.0000166670%
              TX1132       Rockwall City, Texas                     0.0762053330%
              TX1133       Rockwall County, Texas                   0.1125466670%
              TX1134       Rocky Mound Town, Texas                  0.0001866670%
              TX1135       Rogers Town, Texas                       0.0025453330%
              TX1136       Rollingwood City, Texas                  0.0031693330%
              TX1137       Roma City, Texas                         0.0110860000%
              TX1138       Roman Forest Town, Texas                 0.0057400000%
              TX1139       Ropesville City, Texas                   0.0014146670%
              TX1140       Roscoe City, Texas                       0.0005186670%
              TX1141       Rose City, Texas                         0.0026746670%
              TX1142       Rose Hill Acres City, Texas              0.0015406670%
              TX1143       Rosebud City, Texas                      0.0009926670%
              TX1144       Rosenberg City, Texas                    0.0843953330%
              TX1145       Ross City, Texas                         0.0000980000%
              TX1146       Rosser Village, Texas                    0.0003660000%
              TX1147       Rotan City, Texas                        0.0009953330%
              TX1148       Round Mountain Town, Texas               0.0003026670%
              TX1149       Round Rock City, Texas                   0.3173280000%
              TX1150       Round Top Town, Texas                    0.0000933330%
              TX1151       Rowlett City, Texas                      0.0666420000%
              TX1152       Roxton City, Texas                       0.0000313330%
              TX1153       Royse City, Texas                        0.0156626670%
              TX1154       Rule Town, Texas                         0.0005333330%
              TX1155       Runaway Bay City, Texas                  0.0046206670%
              TX1156       Runge Town, Texas                        0.0001700000%
              TX1157       Runnels County, Texas                    0.0225540000%
              TX1158       Rusk City, Texas                         0.0119940000%
              TX1159       Rusk County, Texas                       0.1009266670%
              TX1160       Sabinal City, Texas                      0.0012073330%
              TX1161       Sabine County, Texas                     0.0309860000%
              TX1162       Sachse City, Texas                       0.0156000000%
              TX1163       Sadler City, Texas                       0.0006166670%
              TX1164       Saginaw City, Texas                      0.0213153330%
              TX1165       Salado Village, Texas                    0.0021400000%
              TX1166       San Angelo City, Texas                   0.3576726670%
              TX1167       San Antonio City, Texas                  2.9102773330%
              TX1168       San Augustine City, Texas                0.0167880000%
              TX1169       San Augustine County, Texas              0.0252360000%
              TX1170       San Benito City, Texas                   0.0266766670%
              TX1171       San Diego City, Texas                    0.0078473330%
              TX1172       San Elizario City, Texas                 0.0052206670%
              TX1173       San Felipe Town, Texas                   0.0009986670%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1174       San Jacinto County, Texas                0.1315986670%
              TX1175       San Juan City, Texas                     0.0192300000%
              TX1176       San Leanna Village, Texas                0.0000240000%
              TX1177       San Marcos City, Texas                   0.2171253330%
              TX1178       San Patricio City, Texas                 0.0028086670%
              TX1179       San Patricio County, Texas               0.1812773330%
              TX1180       San Perlita City, Texas                  0.0014793330%
              TX1181       San Saba City, Texas                     0.0067046670%
              TX1182       San Saba County, Texas                   0.0117080000%
              TX1183       Sanctuary Town, Texas                    0.0000113330%
              TX1184       Sandy Oaks City, Texas                   0.0065753330%
              TX1185       Sandy Point City, Texas                  0.0010913330%
              TX1186       Sanford Town, Texas                      0.0002053330%
              TX1187       Sanger City, Texas                       0.0148246670%
              TX1188       Sansom Park City, Texas                  0.0001486670%
              TX1189       Santa Anna Town, Texas                   0.0002193330%
              TX1190       Santa Clara City, Texas                  0.0000580000%
              TX1191       Santa Fe City, Texas                     0.0221813330%
              TX1192       Santa Rosa Town, Texas                   0.0014253330%
              TX1193       Savoy City, Texas                        0.0015660000%
              TX1194       Schertz City, Texas                      0.0400733330%
              TX1195       Schleicher County, Texas                 0.0037966670%
              TX1196       Schulenburg City, Texas                  0.0017066670%
              TX1197       Scotland City, Texas                     0.0000986670%
              TX1198       Scottsville City, Texas                  0.0004720000%
              TX1199       Scurry County, Texas                     0.0487440000%
              TX1200       Scurry Town, Texas                       0.0007400000%
              TX1201       Seabrook City, Texas                     0.0201800000%
              TX1202       Seadrift City, Texas                     0.0006606670%
              TX1203       Seagoville City, Texas                   0.0114040000%
              TX1204       Seagraves City, Texas                    0.0050206670%
              TX1205       Sealy City, Texas                        0.0137580000%
              TX1206       Seguin City, Texas                       0.2510253330%
              TX1207       Selma City, Texas                        0.0149526670%
              TX1208       Seminole City, Texas                     0.0107280000%
              TX1209       Seven Oaks City, Texas                   0.0026113330%
              TX1210       Seven Points City, Texas                 0.0049680000%
              TX1211       Seymour City, Texas                      0.0094786670%
              TX1212       Shackelford County, Texas                0.0008586670%
              TX1213       Shady Shores Town, Texas                 0.0003960000%
              TX1214       Shallowater City, Texas                  0.0012713330%
              TX1215       Shamrock City, Texas                     0.0028853330%
              TX1216       Shavano Park City, Texas                 0.0021186670%
              TX1217       Shelby County, Texas                     0.0732833330%
              TX1218       Shenandoah City, Texas                   0.0314146670%
              TX1219       Shepherd City, Texas                     0.0000980000%
              TX1220       Sherman City, Texas                      0.2203900000%

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          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1221       Sherman County, Texas                    0.0052866670%
              TX1222       Shiner City, Texas                       0.0026946670%
              TX1223       Shoreacres City, Texas                   0.0006386670%
              TX1224       Silsbee City, Texas                      0.0442946670%
              TX1225       Silverton City, Texas                    0.0000093330%
              TX1226       Simonton City, Texas                     0.0012706670%
              TX1227       Sinton City, Texas                       0.0157720000%
              TX1228       Skellytown, Texas                        0.0002666670%
              TX1229       Slaton City, Texas                       0.0001026670%
              TX1230       Smiley City, Texas                       0.0004366670%
              TX1231       Smith County, Texas                      0.5059740000%
              TX1232       Smithville City, Texas                   0.0113393330%
              TX1233       Smyer Town, Texas                        0.0002000000%
              TX1234       Snook City, Texas                        0.0009480000%
              TX1235       Snyder City, Texas                       0.0060120000%
              TX1236       Socorro City, Texas                      0.0074166670%
              TX1237       Somerset City, Texas                     0.0010180000%
              TX1238       Somervell County, Texas                  0.0380506670%
              TX1239       Somerville City, Texas                   0.0025373330%
              TX1240       Sonora City, Texas                       0.0048913330%
              TX1241       Sour Lake City, Texas                    0.0119040000%
              TX1242       South Houston City, Texas                0.0170800000%
              TX1243       South Mountain Town, Texas               0.0001026670%
              TX1244       South Padre Island Town, Texas           0.0204193330%
              TX1245       Southlake City, Texas                    0.0472306670%
              TX1246       Southmayd City, Texas                    0.0047306670%
              TX1247       Southside Place City, Texas              0.0005900000%
              TX1248       Spearman City, Texas                     0.0093333330%
              TX1249       Splendora City, Texas                    0.0051706670%
              TX1250       Spofford City, Texas                     0.0000046670%
              TX1251       Spring Valley Village City, Texas        0.0109360000%
              TX1252       Springlake Town, Texas                   0.0000020000%
              TX1253       Springtown City, Texas                   0.0094960000%
              TX1254       Spur City, Texas                         0.0002846670%
              TX1255       St. Hedwig Town, Texas                   0.0000740000%
              TX1256       St. Jo City, Texas                       0.0049066670%
              TX1257       St. Paul Town, Texas                     0.0000140000%
              TX1258       Stafford City, Texas                     0.0500966670%
              TX1259       Stagecoach Town, Texas                   0.0020240000%
              TX1260       Stamford City, Texas                     0.0002653330%
              TX1261       Stanton City, Texas                      0.0025586670%
              TX1262       Staples City, Texas                      0.0000126670%
              TX1263       Star Harbor City, Texas                  0.0001006670%
              TX1264       Starr County, Texas                      0.0665973330%
              TX1265       Stephens County, Texas                   0.0234960000%
              TX1266       Stephenville City, Texas                 0.0556480000%
              TX1267       Sterling City, Texas                     0.0000413330%

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         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1268       Sterling County, Texas                   0.0006260000%
              TX1269       Stinnett City, Texas                     0.0027313330%
              TX1270       Stockdale City, Texas                    0.0004940000%
              TX1271       Stonewall County, Texas                  0.0012146670%
              TX1272       Stratford City, Texas                    0.0055853330%
              TX1273       Strawn City, Texas                       0.0006580000%
              TX1274       Streetman Town, Texas                    0.0000033330%
              TX1275       Sudan City, Texas                        0.0000213330%
              TX1276       Sugar Land City, Texas                   0.2143740000%
              TX1277       Sullivan City, Texas                     0.0040806670%
              TX1278       Sulphur Springs City, Texas              0.0830686670%
              TX1279       Sun Valley City, Texas                   0.0000026670%
              TX1280       Sundown City, Texas                      0.0017280000%
              TX1281       Sunnyvale Town, Texas                    0.0021653330%
              TX1282       Sunray City, Texas                       0.0017140000%
              TX1283       Sunrise Beach Village City, Texas        0.0013886670%
              TX1284       Sunset Valley City, Texas                0.0062833330%
              TX1285       Surfside Beach City, Texas               0.0043533330%
              TX1286       Sutton County, Texas                     0.0043606670%
              TX1287       Sweeny City, Texas                       0.0030020000%
              TX1288       Sweetwater City, Texas                   0.0454986670%
              TX1289       Swisher County, Texas                    0.0048340000%
              TX1290       Taft City, Texas                         0.0039073330%
              TX1291       Tahoka City, Texas                       0.0002866670%
              TX1292       Talco City, Texas                        0.0002480000%
              TX1293       Talty Town, Texas                        0.0060826670%
              TX1294       Tarrant County, Texas                    4.1141060000%
              TX1295       Tatum City, Texas                        0.0006480000%
              TX1296       Taylor City, Texas                       0.0386300000%
              TX1297       Taylor County, Texas                     0.2340520000%
              TX1298       Taylor Lake Village City, Texas          0.0002746670%
              TX1299       Taylor Landing City, Texas               0.0001020000%
              TX1300       Teague City, Texas                       0.0011426670%
              TX1301       Tehuacana Town, Texas                    0.0000080000%
              TX1302       Temple City, Texas                       0.1871646670%
              TX1303       Tenaha Town, Texas                       0.0031453330%
              TX1304       Terrell City, Texas                      0.0991373330%
              TX1305       Terrell County, Texas                    0.0038246670%
              TX1306       Terrell Hills City, Texas                0.0065720000%
              TX1307       Terry County, Texas                      0.0169486670%
              TX1308       Texarkana City, Texas                    0.1280626670%
              TX1309       Texas City, Texas                        0.1991346670%
              TX1310       Texhoma City, Texas                      0.0001040000%
              TX1311       Texline Town, Texas                      0.0005766670%
              TX1312       The Colony City, Texas                   0.0761980000%
              TX1313       The Hills Village, Texas                 0.0006693330%
              TX1314       Thompsons Town, Texas                    0.0012646670%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1315       Thorndale City, Texas                    0.0010633330%
              TX1316       Thornton Town, Texas                     0.0001800000%
              TX1317       Thorntonville Town, Texas                0.0000580000%
              TX1318       Thrall City, Texas                       0.0005500000%
              TX1319       Three Rivers City, Texas                 0.0031126670%
              TX1320       Throckmorton County, Texas               0.0037966670%
              TX1321       Throckmorton Town, Texas                 0.0000193330%
              TX1322       Tiki Island Village, Texas               0.0014520000%
              TX1323       Timbercreek Canyon Village, Texas        0.0002460000%
              TX1324       Timpson City, Texas                      0.0084280000%
              TX1325       Tioga Town, Texas                        0.0015933330%
              TX1326       Tira Town, Texas                         0.0001233330%
              TX1327       Titus County, Texas                      0.0470740000%
              TX1328       Toco City, Texas                         0.0000026670%
              TX1329       Todd Mission City, Texas                 0.0011200000%
              TX1330       Tolar City, Texas                        0.0015793330%
              TX1331       Tom Bean City, Texas                     0.0015286670%
              TX1332       Tom Green County, Texas                  0.1882846670%
              TX1333       Tomball City, Texas                      0.0230800000%
              TX1334       Tool City, Texas                         0.0098580000%
              TX1335       Toyah Town, Texas                        0.0000266670%
              TX1336       Travis County, Texas                     3.1356486670%
              TX1337       Trent Town, Texas                        0.0000420000%
              TX1338       Trenton City, Texas                      0.0020593330%
              TX1339       Trinidad City, Texas                     0.0039060000%
              TX1340       Trinity City, Texas                      0.0157680000%
              TX1341       Trinity County, Texas                    0.0705106670%
              TX1342       Trophy Club Town, Texas                  0.0195800000%
              TX1343       Troup City, Texas                        0.0052786670%
              TX1344       Troy City, Texas                         0.0035466670%
              TX1345       Tulia City, Texas                        0.0059406670%
              TX1346       Turkey City, Texas                       0.0004913330%
              TX1347       Tuscola City, Texas                      0.0000920000%
              TX1348       Tye City, Texas                          0.0011773330%
              TX1349       Tyler City, Texas                        0.4825526670%
              TX1350       Tyler County, Texas                      0.0878286670%
              TX1351       Uhland City, Texas                       0.0010300000%
              TX1352       Uncertain City, Texas                    0.0001233330%
              TX1353       Union Grove City, Texas                  0.0006626670%
              TX1354       Union Valley City, Texas                 0.0004440000%
              TX1355       Universal City, Texas                    0.0189520000%
              TX1356       University Park City, Texas              0.0338886670%
              TX1357       Upshur County, Texas                     0.0855333330%
              TX1358       Upton County, Texas                      0.0056660000%
              TX1359       Uvalde City, Texas                       0.0122926670%
              TX1360       Uvalde County, Texas                     0.0241626670%
              TX1361       Val Verde County, Texas                  0.0785433330%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
              TX1362       Valentine Town, Texas                    0.0001380000%
              TX1363       Valley Mills City, Texas                 0.0014853330%
              TX1364       Valley View City, Texas                  0.0012160000%
              TX1365       Van Alstyne City, Texas                  0.0291660000%
              TX1366       Van City, Texas                          0.0041373330%
              TX1367       Van Horn Town, Texas                     0.0001406670%
              TX1368       Van Zandt County, Texas                  0.1658313330%
              TX1369       Vega City, Texas                         0.0006493330%
              TX1370       Venus Town, Texas                        0.0065280000%
              TX1371       Vernon City, Texas                       0.0542246670%
              TX1372       Victoria City, Texas                     0.0563986670%
              TX1373       Victoria County, Texas                   0.3472573330%
              TX1374       Vidor City, Texas                        0.0637466670%
              TX1375       Vinton Village, Texas                    0.0004146670%
              TX1376       Volente Village, Texas                   0.0002220000%
              TX1377       Von Ormy City, Texas                     0.0003420000%
              TX1378       Waco City, Texas                         0.3413380000%
              TX1379       Waelder City, Texas                      0.0022846670%
              TX1380       Wake Village City, Texas                 0.0001160000%
              TX1381       Walker County, Texas                     0.1230826670%
              TX1382       Waller City, Texas                       0.0075300000%
              TX1383       Waller County, Texas                     0.0841373330%
              TX1384       Wallis City, Texas                       0.0017986670%
              TX1385       Walnut Springs City, Texas               0.0001220000%
              TX1386       Ward County, Texas                       0.0452800000%
              TX1387       Warren City, Texas                       0.0000440000%
              TX1388       Washington County, Texas                 0.0558180000%
              TX1389       Waskom City, Texas                       0.0035640000%
              TX1390       Watauga City, Texas                      0.0221440000%
              TX1391       Waxahachie City, Texas                   0.1013960000%
              TX1392       Weatherford City, Texas                  0.1385813330%
              TX1393       Webb County, Texas                       0.3368693330%
              TX1394       Webberville Village, Texas               0.0008533330%
              TX1395       Webster City, Texas                      0.0354680000%
              TX1396       Weimar City, Texas                       0.0038866670%
              TX1397       Weinert City, Texas                      0.0001560000%
              TX1398       Weir City, Texas                         0.0002953330%
              TX1399       Wellington City, Texas                   0.0060740000%
              TX1400       Wellman City, Texas                      0.0002553330%
              TX1401       Wells Town, Texas                        0.0009046670%
              TX1402       Weslaco City, Texas                      0.0492993330%
              TX1403       West City, Texas                         0.0023480000%
              TX1404       West Columbia City, Texas                0.0119720000%
              TX1405       West Lake Hills City, Texas              0.0113706670%
              TX1406       West Orange City, Texas                  0.0283013330%
              TX1407       West Tawakoni City, Texas                0.0046633330%
              TX1408       West University Place City, Texas        0.0231146670%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
              TX1409       Westbrook City, Texas                    0.0000286670%
              TX1410       Westlake Town, Texas                     0.0276933330%
              TX1411       Weston City, Texas                       0.0001773330%
              TX1412       Weston Lakes City, Texas                 0.0001260000%
              TX1413       Westover Hills Town, Texas               0.0030060000%
              TX1414       Westworth Village City, Texas            0.0052280000%
              TX1415       Wharton City, Texas                      0.0211333330%
              TX1416       Wharton County, Texas                    0.0485913330%
              TX1417       Wheeler City, Texas                      0.0002980000%
              TX1418       Wheeler County, Texas                    0.0175153330%
              TX1419       White Deer Town, Texas                   0.0008486670%
              TX1420       White Oak City, Texas                    0.0102033330%
              TX1421       White Settlement City, Texas             0.0155360000%
              TX1422       Whiteface Town, Texas                    0.0001033330%
              TX1423       Whitehouse City, Texas                   0.0193446670%
              TX1424       Whitesboro City, Texas                   0.0126213330%
              TX1425       Whitewright Town, Texas                  0.0047320000%
              TX1426       Whitney Town, Texas                      0.0000486670%
              TX1427       Wichita County, Texas                    0.3682473330%
              TX1428       Wichita Falls City, Texas                0.5550493330%
              TX1429       Wickett Town, Texas                      0.0000580000%
              TX1430       Wilbarger County, Texas                  0.0367493330%
              TX1431       Willacy County, Texas                    0.0163873330%
              TX1432       Williamson County, Texas                 0.7973246670%
              TX1433       Willis City, Texas                       0.0162560000%
              TX1434       Willow Park City, Texas                  0.0178246670%
              TX1435       Wills Point City, Texas                  0.0291766670%
              TX1436       Wilmer City, Texas                       0.0002840000%
              TX1437       Wilson City, Texas                       0.0000080000%
              TX1438       Wilson County, Texas                     0.0806893330%
              TX1439       Wimberley City, Texas                    0.0004826670%
              TX1440       Windcrest City, Texas                    0.0086053330%
              TX1441       Windom Town, Texas                       0.0007246670%
              TX1442       Windthorst Town, Texas                   0.0022566670%
              TX1443       Winfield City, Texas                     0.0001933330%
              TX1444       Wink City, Texas                         0.0000800000%
              TX1445       Winkler County, Texas                    0.0407753330%
              TX1446       Winnsboro City, Texas                    0.0191940000%
              TX1447       Winona Town, Texas                       0.0002126670%
              TX1448       Winters City, Texas                      0.0041526670%
              TX1449       Wise County, Texas                       0.1927160000%
              TX1450       Wixon Valley City, Texas                 0.0002940000%
              TX1451       Wolfe City, Texas                        0.0036440000%
              TX1452       Wolfforth City, Texas                    0.0026813330%
              TX1453       Wood County, Texas                       0.1780320000%
              TX1454       Woodbranch City, Texas                   0.0064113330%
              TX1455       Woodcreek City, Texas                    0.0002386670%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
              TX1456       Woodloch Town, Texas                     0.0006746670%
              TX1457       Woodsboro Town, Texas                    0.0007533330%
              TX1458       Woodson Town, Texas                      0.0000813330%
              TX1459       Woodville Town, Texas                    0.0135600000%
              TX1460       Woodway City, Texas                      0.0171420000%
              TX1461       Wortham Town, Texas                      0.0002506670%
              TX1462       Wylie City, Texas                        0.0764720000%
              TX1463       Yantis Town, Texas                       0.0013813330%
              TX1464       Yoakum City, Texas                       0.0134733330%
              TX1465       Yoakum County, Texas                     0.0232826670%
              TX1466       Yorktown City, Texas                     0.0036313330%
              TX1467       Young County, Texas                      0.0294133330%
              TX1468       Zapata County, Texas                     0.0376533330%
              TX1469       Zavala County, Texas                     0.0254313330%
              TX1470       Zavalla City, Texas                      0.0007253330%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
                UT3        Beaver County, Utah                      0.2280000000%
                UT6        Box Elder County, Utah                   1.4640000000%
                UT8        Cache County, Utah                       2.6490000000%
                UT9        Carbon County, Utah                      2.7180000000%
               UT16        Daggett County, Utah                     0.0280000000%
               UT17        Davis County, Utah                       8.6950000000%
               UT19        Duchesne County, Utah                    0.6410000000%
               UT21        Emery County, Utah                       0.9380000000%
               UT23        Garfield County, Utah                    0.1470000000%
               UT24        Grand County, Utah                       0.3040000000%
               UT31        Iron County, Utah                        1.6220000000%
               UT32        Juab County, Utah                        0.3520000000%
               UT33        Kane County, Utah                        0.4390000000%
               UT41        Millard County, Utah                     0.3550000000%
               UT42        Morgan County, Utah                      0.2160000000%
               UT50        Piute County, Utah                       0.0220000000%
               UT54        Rich County, Utah                        0.0610000000%
               UT58        Salt Lake County, Utah                  42.2710000000%
               UT59        San Juan County, Utah                    0.2490000000%
               UT61        Sanpete County, Utah                     1.0130000000%
               UT64        Sevier County, Utah                      0.6610000000%
               UT72        Summit County, Utah                      0.9440000000%
               UT76        Tooele County, Utah                      2.2330000000%
               UT77        Uintah County, Utah                      0.8660000000%
               UT78        Utah County, Utah                       15.4260000000%
               UT81        Wasatch County, Utah                     0.6010000000%
               UT83        Washington County, Utah                  4.8650000000%
               UT84        Wayne County, Utah                       0.1090000000%
               UT85        Weber County, Utah                       9.8830000000%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                VT1        Addison County, Vermont                  0.7355948910%
                VT2        Albany Town, Vermont                     0.0345075405%
                VT3        Albany Village, Vermont                  0.0160668267%
                VT4        Alburgh Town, Vermont                    0.0606145322%
                VT5        Alburgh Village, Vermont                 0.0525580527%
                VT6        Andover Town, Vermont                    0.0012398034%
                VT7        Arlington Town, Vermont                  0.0885559202%
                VT8        Athens Town, Vermont                     0.0006484140%
                VT9        Bakersfield Town, Vermont                0.0549127180%
               VT10        Baltimore Town, Vermont                  0.0024796068%
               VT11        Barnard Town, Vermont                    0.0830636232%
               VT12        Barnet Town, Vermont                     0.0471074029%
               VT13        Barre City, Vermont                      2.1256028600%
               VT14        Barre Town, Vermont                      1.3320832015%
               VT15        Barton Town, Vermont                     0.3252065150%
               VT16        Barton Village, Vermont                  0.0324162133%
               VT17        Bellows Falls Village, Vermont           0.9422159742%
               VT18        Belvidere Town, Vermont                  0.0049931720%
               VT19        Bennington County, Vermont               0.9901518348%
               VT20        Bennington Town, Vermont                 2.4851413569%
               VT21        Benson Town, Vermont                     0.0225970986%
               VT22        Berlin Town, Vermont                     0.5526473249%
               VT23        Bethel Town, Vermont                     0.0892626402%
               VT24        Bloomfield Town, Vermont                 0.0119245379%
               VT25        Bolton Town, Vermont                     0.1874031696%
               VT26        Bradford Town, Vermont                   0.7724442824%
               VT27        Braintree Town, Vermont                  0.0619908100%
               VT28        Brandon Town, Vermont                    0.5039156835%
               VT29        Brattleboro Town, Vermont                2.8616648398%
               VT30        Bridgewater Town, Vermont                0.2045592293%
               VT31        Bridport Town, Vermont                   0.0525426753%
               VT32        Brighton Town, Vermont                   0.1371312246%
               VT33        Bristol Town, Vermont                    0.4536168281%
               VT34        Brookfield Town, Vermont                 0.0181094589%
               VT35        Brookline Town, Vermont                  0.0142663887%
               VT36        Brownington Town, Vermont                0.0209132726%
               VT37        Brunswick Town, Vermont                  0.0071549790%
               VT38        Burke Town, Vermont                      0.0035553845%
               VT39        Burlington City, Vermont                10.6984139884%
               VT40        Cabot Town, Vermont                      0.0223388863%
               VT41        Calais Town, Vermont                     0.0461347819%
               VT42        Caledonia County, Vermont                0.8505961058%
               VT43        Cambridge Town, Vermont                  0.0682410850%
               VT44        Cambridge Village, Vermont               0.0012481328%
               VT45        Canaan Town, Vermont                     0.1359388349%
               VT46        Castleton Town, Vermont                  0.4255786906%
               VT47        Cavendish Town, Vermont                  0.0216955982%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               VT48        Charleston Town, Vermont                 0.0460098405%
               VT49        Charlotte Town, Vermont                  0.2587947007%
               VT50        Chelsea Town, Vermont                    0.0097511978%
               VT51        Chester Town, Vermont                    0.3719262791%
               VT52        Chittenden County, Vermont               0.6721150355%
               VT53        Chittenden Town, Vermont                 0.0203372606%
               VT54        Clarendon Town, Vermont                  0.0632716198%
               VT55        Colchester Town, Vermont                 2.5489633597%
               VT56        Concord Town, Vermont                    0.0166940968%
               VT57        Corinth Town, Vermont                    0.0626872784%
               VT58        Cornwall Town, Vermont                   0.0577966224%
               VT59        Coventry Town, Vermont                   0.0376445314%
               VT60        Craftsbury Town, Vermont                 0.0501924950%
               VT61        Danby Town, Vermont                      0.0082858591%
               VT62        Danville Town, Vermont                   0.0302198071%
               VT63        Derby Center Village, Vermont            0.0488117321%
               VT64        Derby Line Village, Vermont              0.0549242511%
               VT65        Derby Town, Vermont                      0.5855806035%
               VT66        Dorset Town, Vermont                     0.0697288490%
               VT67        Dover Town, Vermont                      0.6426262960%
               VT68        Dummerston Town, Vermont                 0.0577133282%
               VT69        East Haven Town, Vermont                 0.0107321482%
               VT70        East Montpelier Town, Vermont            0.1121807421%
               VT71        Eden Town, Vermont                       0.0299596726%
               VT72        Elmore Town, Vermont                     0.0195568572%
               VT73        Enosburg Falls Village, Vermont          0.0515847910%
               VT74        Enosburgh Town, Vermont                  0.0873609676%
               VT75        Essex County, Vermont                    0.3791972294%
               VT76        Essex Junction Village, Vermont          0.1451319610%
               VT77        Essex Town, Vermont                      1.8402135758%
               VT78        Fair Haven Town, Vermont                 0.3879168595%
               VT79        Fairfax Town, Vermont                    0.1256334098%
               VT80        Fairfield Town, Vermont                  0.0981770508%
               VT81        Fairlee Town, Vermont                    0.0592042959%
               VT82        Fayston Town, Vermont                    0.0053417265%
               VT83        Ferrisburgh Town, Vermont                0.1296046250%
               VT84        Fletcher Town, Vermont                   0.0216321664%
               VT85        Franklin County, Vermont                 1.4110871894%
               VT86        Franklin Town, Vermont                   0.0432643327%
               VT87        Georgia Town, Vermont                    0.2512668196%
               VT88        Goshen Town, Vermont                     0.0148872515%
               VT89        Grafton Town, Vermont                    0.0220479971%
               VT90        Grand Isle County, Vermont               0.4312958821%
               VT91        Grand Isle Town, Vermont                 0.1561992085%
               VT92        Granville Town, Vermont                  0.0131355086%
               VT93        Greensboro Town, Vermont                 0.2645567430%
               VT94        Groton Town, Vermont                     0.0719938128%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               VT95        Guildhall Town, Vermont                  0.0155017070%
               VT96        Guilford Town, Vermont                   0.0032420698%
               VT97        Halifax Town, Vermont                    0.0155632167%
               VT98        Hancock Town, Vermont                    0.0534179060%
               VT99        Hardwick Town, Vermont                   0.7839350493%
               VT100       Hartford Town, Vermont                   3.2053851113%
               VT101       Hartland Town, Vermont                   0.0483504099%
               VT102       Highgate Town, Vermont                   0.2362905072%
               VT103       Hinesburg Town, Vermont                  0.2869757200%
               VT104       Holland Town, Vermont                    0.0010456636%
               VT105       Hubbardton Town, Vermont                 0.0632716198%
               VT106       Huntington Town, Vermont                 0.0422712086%
               VT107       Hyde Park Town, Vermont                  0.0374497510%
               VT108       Hyde Park Village, Vermont               0.0025481644%
               VT109       Ira Town, Vermont                        0.0067788733%
               VT110       Irasburg Town, Vermont                   0.0909740173%
               VT111       Isle La Motte Town, Vermont              0.0520666164%
               VT112       Jacksonville Village, Vermont            0.0061977355%
               VT113       Jamaica Town, Vermont                    0.0259384809%
               VT114       Jay Town, Vermont                        0.0031369909%
               VT115       Jeffersonville Village, Vermont          0.0039462269%
               VT116       Jericho Town, Vermont                    0.0422712086%
               VT117       Johnson Town, Vermont                    0.2812873611%
               VT118       Johnson Village, Vermont                 0.1616364031%
               VT119       Killington Town, Vermont                 0.2124125988%
               VT120       Kirby Town, Vermont                      0.0008886859%
               VT121       Lamoille County, Vermont                 1.1151624597%
               VT122       Landgrove Town, Vermont                  0.0125511672%
               VT123       Leicester Town, Vermont                  0.0481639588%
               VT124       Lincoln Town, Vermont                    0.0718080025%
               VT125       Londonderry Town, Vermont                0.0382589870%
               VT126       Lowell Town, Vermont                     0.0481011678%
               VT127       Ludlow Town, Vermont                     0.7209171567%
               VT128       Ludlow Village, Vermont                  0.2940730337%
               VT129       Lunenburg Town, Vermont                  0.0965880521%
               VT130       Lyndon Town, Vermont                     0.4559618826%
               VT131       Lyndonville Village, Vermont             0.0079994549%
               VT132       Maidstone Town, Vermont                  0.0214642963%
               VT133       Manchester Town, Vermont                 0.6972897719%
               VT134       Manchester Village, Vermont              0.0076701221%
               VT135       Marlboro Town, Vermont                   0.0129695608%
               VT136       Marshfield Town, Vermont                 0.0174828296%
               VT137       Marshfield Village, Vermont              0.0171445266%
               VT138       Mendon Town, Vermont                     0.0971672678%
               VT139       Middlebury Town, Vermont                 1.3520936922%
               VT140       Middlesex Town, Vermont                  0.0165114901%
               VT141       Middletown Springs Town, Vermont         0.0587525845%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID               Qualifying Subdivision         Allocation
               VT142       Milton Town, Vermont                     0.9332579943%
               VT143       Monkton Town, Vermont                    0.0210170701%
               VT144       Montgomery Town, Vermont                 0.0432643327%
               VT145       Montpelier City, Vermont                 2.1358012840%
               VT146       Moretown, Vermont                        0.0140831413%
               VT147       Morgan Town, Vermont                     0.0271878951%
               VT148       Morristown, Vermont                      0.5887893556%
               VT149       Morrisville Village, Vermont             0.2266450291%
               VT150       Mount Holly Town, Vermont                0.0918947396%
               VT151       Mount Tabor Town, Vermont                0.0241034437%
               VT152       New Haven Town, Vermont                  0.1313563678%
               VT153       Newbury Town, Vermont                    0.0536325490%
               VT154       Newbury Village, Vermont                 0.0020894051%
               VT155       Newfane Town, Vermont                    0.0603069840%
               VT156       Newfane Village, Vermont                 0.0032420698%
               VT157       Newport City, Vermont                    1.2443589426%
               VT158       Newport Town, Vermont                    0.5761696308%
               VT159       North Bennington Village, Vermont        0.1073823506%
               VT160       North Hero Town, Vermont                 0.0916986776%
               VT161       North Troy Village, Vermont              0.0345075405%
               VT162       Northfield Town, Vermont                 0.5366215046%
               VT163       Norton Town, Vermont                     0.0131169276%
               VT164       Norwich Town, Vermont                    0.4866039276%
               VT165       Old Bennington Village, Vermont          0.0014256137%
               VT166       Orange County, Vermont                   0.5836866196%
               VT167       Orange Town, Vermont                     0.0271641883%
               VT168       Orleans County, Vermont                  0.4475510820%
               VT169       Orleans Village, Vermont                 0.1150249216%
               VT170       Orwell Town, Vermont                     0.0350284502%
               VT171       Panton Town, Vermont                     0.0402823974%
               VT172       Pawlet Town, Vermont                     0.0497138732%
               VT173       Peacham Town, Vermont                    0.0373299353%
               VT174       Perkinsville Village, Vermont            0.0463135443%
               VT175       Peru Town, Vermont                       0.0034861862%
               VT176       Pittsfield Town, Vermont                 0.0090387113%
               VT177       Pittsford Town, Vermont                  0.2538406130%
               VT178       Plainfield Town, Vermont                 0.0684736682%
               VT179       Plymouth Town, Vermont                   0.0681866233%
               VT180       Pomfret Town, Vermont                    0.0750052216%
               VT181       Poultney Town, Vermont                   0.1634522185%
               VT182       Poultney Village, Vermont                0.3218151562%
               VT183       Pownal Town, Vermont                     0.1568905511%
               VT184       Proctor Town, Vermont                    0.1581796903%
               VT185       Putney Town, Vermont                     0.1348803568%
               VT186       Randolph Town, Vermont                   1.0482675385%
               VT187       Reading Town, Vermont                    0.0006195813%
               VT188       Readsboro Town, Vermont                  0.0495075597%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               VT189       Richford Town, Vermont                   0.3377954850%
               VT190       Richmond Town, Vermont                   0.3085809759%
               VT191       Ripton Town, Vermont                     0.0402823974%
               VT192       Rochester Town, Vermont                  0.1090982129%
               VT193       Rockingham Town, Vermont                 0.4824558723%
               VT194       Roxbury Town, Vermont                    0.0082557450%
               VT195       Royalton Town, Vermont                   0.1989804344%
               VT196       Rutland City, Vermont                    6.2978142029%
               VT197       Rutland County, Vermont                  1.5426293676%
               VT198       Rutland Town, Vermont                    0.3201255637%
               VT199       Ryegate Town, Vermont                    0.0515514733%
               VT200       Salisbury Town, Vermont                  0.0271468887%
               VT201       Sandgate Town, Vermont                   0.0257994435%
               VT202       Saxtons River Village, Vermont           0.0156375408%
               VT203       Searsburg Town, Vermont                  0.0118540581%
               VT204       Shaftsbury Town, Vermont                 0.0697288490%
               VT205       Sharon Town, Vermont                     0.1462910330%
               VT206       Sheffield Town, Vermont                  0.0302198071%
               VT207       Shelburne Town, Vermont                  0.7838991687%
               VT208       Sheldon Town, Vermont                    0.1372817951%
               VT209       Shoreham Town, Vermont                   0.0359043216%
               VT210       Shrewsbury Town, Vermont                 0.0323893028%
               VT211       South Burlington City, Vermont           4.2811506559%
               VT212       South Hero Town, Vermont                 0.0559519744%
               VT213       Springfield Town, Vermont                2.0400160607%
               VT214       St Albans Town, Vermont                  0.7155280165%
               VT215       St George Town, Vermont                  0.0117419312%
               VT216       St Johnsbury Town, Vermont               1.7171904807%
               VT217       St. Albans City, Vermont                 3.9012902759%
               VT218       Stamford Town, Vermont                   0.0495075597%
               VT219       Stannard Town, Vermont                   0.0017773719%
               VT220       Starksboro Town, Vermont                 0.0070056900%
               VT221       Stockbridge Town, Vermont                0.0737654182%
               VT222       Stowe Town, Vermont                      0.9395659345%
               VT223       Strafford Town, Vermont                  0.0821896740%
               VT224       Stratton Town, Vermont                   0.1614672516%
               VT225       Sudbury Town, Vermont                    0.0135583873%
               VT226       Sunderland Town, Vermont                 0.0341673154%
               VT227       Sutton Town, Vermont                     0.0364412494%
               VT228       Swanton Town, Vermont                    0.1297936389%
               VT229       Swanton Village, Vermont                 0.5715903674%
               VT230       Thetford Town, Vermont                   0.2618926073%
               VT231       Tinmouth Town, Vermont                   0.0120520422%
               VT232       Topsham Town, Vermont                    0.0592042959%
               VT233       Townshend Town, Vermont                  0.0596585701%
               VT234       Troy Town, Vermont                       0.0365988678%
               VT235       Underhill Town, Vermont                  0.0897092257%

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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 399 of 602. PageID            #: 583859
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               VT236       Vergennes City, Vermont                  1.4746932678%
               VT237       Vernon Town, Vermont                     0.3196917927%
               VT238       Vershire Town, Vermont                   0.0006964684%
               VT239       Victory Town, Vermont                    0.0095397585%
               VT240       Waitsfield Town, Vermont                 0.0485631307%
               VT241       Walden Town, Vermont                     0.0071107690%
               VT242       Wallingford Town, Vermont                0.0165710775%
               VT243       Waltham Town, Vermont                    0.0201411987%
               VT244       Warren Town, Vermont                     0.0480774609%
               VT245       Washington County, Vermont               0.9081281087%
               VT246       Washington Town, Vermont                 0.0529360806%
               VT247       Waterbury Town, Vermont                  0.4584350821%
               VT248       Waterford Town, Vermont                  0.0577729156%
               VT249       Waterville Town, Vermont                 0.0004158307%
               VT250       Weathersfield Town, Vermont              0.1692264346%
               VT251       Wells River Village, Vermont             0.1107474397%
               VT252       Wells Town, Vermont                      0.0444407043%
               VT253       West Burke Village, Vermont              0.0017773719%
               VT254       West Fairlee Town, Vermont               0.0090547294%
               VT255       West Haven Town, Vermont                 0.0090387113%
               VT256       West Rutland Town, Vermont               0.1212713522%
               VT257       West Windsor Town, Vermont               0.0210760168%
               VT258       Westfield Town, Vermont                  0.0250965679%
               VT259       Westford Town, Vermont                   0.0657557117%
               VT260       Westminster Town, Vermont                0.0752217867%
               VT261       Westminster Village, Vermont             0.0079763888%
               VT262       Westmore Town, Vermont                   0.0365988678%
               VT263       Weston Town, Vermont                     0.0291344185%
               VT264       Weybridge Town, Vermont                  0.0245199151%
               VT265       Wheelock Town, Vermont                   0.0222203522%
               VT266       Whiting Town, Vermont                    0.0026269736%
               VT267       Whitingham Town, Vermont                 0.0901365894%
               VT268       Williston Town, Vermont                  1.4048183334%
               VT269       Wilmington Town, Vermont                 0.4344700351%
               VT270       Windham County, Vermont                  0.7048785219%
               VT271       Windham Town, Vermont                    0.0155632167%
               VT272       Windsor County, Vermont                  0.7909631647%
               VT273       Windsor Town, Vermont                    1.5118803214%
               VT274       Winhall Town, Vermont                    0.3772340472%
               VT275       Winooski City, Vermont                   1.3620774732%
               VT276       Wolcott Town, Vermont                    0.0337047118%
               VT277       Woodbury Town, Vermont                   0.0267099141%
               VT278       Woodford Town, Vermont                   0.0383512514%
               VT279       Woodstock Town, Vermont                  0.5151181240%
               VT280       Woodstock Village, Vermont               0.3241960913%
               VT281       Worcester Town, Vermont                  0.0233102258%


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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                VA1        Accomack County, Virginia                0.3480000000%
                VA2        Albemarle County, Virginia               0.8630000000%
                VA3        Alexandria City, Virginia                1.1620000000%
                VA4        Alleghany County, Virginia               0.2130000000%
                VA5        Amelia County, Virginia                  0.1000000000%
                VA6        Amherst County, Virginia                 0.2990000000%
                VA7        Appomattox County, Virginia              0.1330000000%
                VA8        Arlington County, Virginia               1.3780000000%
                VA9        Augusta County, Virginia                 0.8350000000%
               VA10        Bath County, Virginia                    0.0370000000%
               VA11        Bedford County, Virginia                 0.7770000000%
               VA12        Bland County, Virginia                   0.1470000000%
               VA13        Botetourt County, Virginia               0.3620000000%
               VA14        Bristol City, Virginia                   0.4340000000%
               VA15        Brunswick County, Virginia               0.1070000000%
               VA16        Buchanan County, Virginia                0.9290000000%
               VA17        Buckingham County, Virginia              0.1270000000%
               VA18        Buena Vista City, Virginia               0.0780000000%
               VA19        Campbell County, Virginia                0.4560000000%
               VA20        Caroline County, Virginia                0.3180000000%
               VA21        Carroll County, Virginia                 0.4400000000%
               VA22        Charles City County, Virginia            0.0730000000%
               VA23        Charlotte County, Virginia               0.1380000000%
               VA24        Charlottesville City, Virginia           0.4630000000%
               VA25        Chesapeake City, Virginia                2.9120000000%
               VA26        Chesterfield County, Virginia            4.0880000000%
               VA27        Clarke County, Virginia                  0.1250000000%
               VA28        Colonial Heights City, Virginia          0.2830000000%
               VA29        Covington City, Virginia                 0.1000000000%
               VA30        Craig County, Virginia                   0.0700000000%
               VA31        Culpeper County, Virginia                0.7900000000%
               VA32        Cumberland County, Virginia              0.1000000000%
               VA33        Danville City, Virginia                  0.6370000000%
               VA34        Dickenson County, Virginia               0.9480000000%
               VA35        Dinwiddie County, Virginia               0.1960000000%
               VA36        Emporia City, Virginia                   0.0500000000%
               VA37        Essex County, Virginia                   0.1010000000%
               VA38        Fairfax City, Virginia                   0.2690000000%
               VA39        Fairfax County, Virginia                 8.6720000000%
               VA40        Falls Church City, Virginia              0.1020000000%
               VA41        Fauquier County, Virginia                1.2100000000%
               VA42        Floyd County, Virginia                   0.1820000000%
               VA43        Fluvanna County, Virginia                0.1940000000%
               VA44        Franklin City, Virginia                  0.0790000000%
               VA45        Franklin County, Virginia                0.9540000000%
               VA46        Frederick County, Virginia               1.2770000000%
               VA47        Fredericksburg City, Virginia            0.5240000000%

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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               VA48        Galax City, Virginia                     0.1390000000%
               VA49        Giles County, Virginia                   0.4090000000%
               VA50        Gloucester County, Virginia              0.4240000000%
               VA51        Goochland County, Virginia               0.2250000000%
               VA52        Grayson County, Virginia                 0.2240000000%
               VA53        Greene County, Virginia                  0.1780000000%
               VA54        Greensville County, Virginia             0.1240000000%
               VA55        Halifax County, Virginia                 0.3530000000%
               VA56        Hampton City, Virginia                   1.5380000000%
               VA57        Hanover County, Virginia                 1.0790000000%
               VA58        Harrisonburg City, Virginia              0.5230000000%
               VA59        Henrico County, Virginia                 4.4730000000%
               VA60        Henry County, Virginia                   1.2200000000%
               VA61        Highland County, Virginia                0.0230000000%
               VA62        Hopewell City, Virginia                  0.3440000000%
               VA63        Isle of Wight County, Virginia           0.3560000000%
               VA64        James City County, Virginia              0.6120000000%
               VA65        King and Queen County, Virginia          0.0720000000%
               VA66        King George County, Virginia             0.3060000000%
               VA67        King William County, Virginia            0.1780000000%
               VA68        Lancaster County, Virginia               0.1350000000%
               VA69        Lee County, Virginia                     0.5560000000%
               VA70        Lexington City, Virginia                 0.0930000000%
               VA71        Loudoun County, Virginia                 2.5670000000%
               VA72        Louisa County, Virginia                  0.4490000000%
               VA73        Lunenburg County, Virginia               0.0880000000%
               VA74        Lynchburg City, Virginia                 0.8160000000%
               VA75        Madison County, Virginia                 0.1630000000%
               VA76        Manassas City, Virginia                  0.4520000000%
               VA77        Manassas Park City, Virginia             0.0950000000%
               VA78        Martinsville City, Virginia              0.4940000000%
               VA79        Mathews County, Virginia                 0.0880000000%
               VA80        Mecklenburg County, Virginia             0.3440000000%
               VA81        Middlesex County, Virginia               0.1080000000%
               VA82        Montgomery County, Virginia              1.2050000000%
               VA83        Nelson County, Virginia                  0.1470000000%
               VA84        New Kent County, Virginia                0.1560000000%
               VA85        Newport News City, Virginia              2.0470000000%
               VA86        Norfolk City, Virginia                   3.3880000000%
               VA87        Northampton County, Virginia             0.1220000000%
               VA88        Northumberland County, Virginia          0.1290000000%
               VA89        Norton City, Virginia                    0.1100000000%
               VA90        Nottoway County, Virginia                0.1330000000%
               VA91        Orange County, Virginia                  0.6380000000%
               VA92        Page County, Virginia                    0.4100000000%
               VA93        Patrick County, Virginia                 0.3290000000%
               VA94        Petersburg City, Virginia                0.3950000000%

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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 402 of 602. PageID            #: 583862
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               VA95        Pittsylvania County, Virginia            0.7500000000%
               VA96        Poquoson City, Virginia                  0.1860000000%
               VA97        Portsmouth City, Virginia                1.9370000000%
               VA98        Powhatan County, Virginia                0.2620000000%
               VA99        Prince Edward County, Virginia           0.1900000000%
               VA100       Prince George County, Virginia           0.3510000000%
               VA101       Prince William County, Virginia          3.5560000000%
               VA102       Pulaski County, Virginia                 1.0610000000%
               VA103       Radford City, Virginia                   0.2470000000%
               VA104       Rappahannock County, Virginia            0.0910000000%
               VA105       Richmond City, Virginia                  4.2250000000%
               VA106       Richmond County, Virginia                0.0840000000%
               VA107       Roanoke City, Virginia                   1.8590000000%
               VA108       Roanoke County, Virginia                 1.4980000000%
               VA109       Rockbridge County, Virginia              0.2350000000%
               VA110       Rockingham County, Virginia              0.6140000000%
               VA111       Russell County, Virginia                 1.0640000000%
               VA112       Salem City, Virginia                     0.7860000000%
               VA113       Scott County, Virginia                   0.4210000000%
               VA114       Shenandoah County, Virginia              0.6600000000%
               VA115       Smyth County, Virginia                   0.5920000000%
               VA116       Southampton County, Virginia             0.1370000000%
               VA117       Spotsylvania County, Virginia            1.4170000000%
               VA118       Stafford County, Virginia                1.4430000000%
               VA119       Staunton City, Virginia                  0.4400000000%
               VA120       Suffolk City, Virginia                   0.7100000000%
               VA121       Surry County, Virginia                   0.0580000000%
               VA122       Sussex County, Virginia                  0.0810000000%
               VA123       Tazewell County, Virginia                1.6060000000%
               VA124       Virginia Beach City, Virginia            4.8590000000%
               VA125       Warren County, Virginia                  0.7660000000%
               VA126       Washington County, Virginia              0.9960000000%
               VA127       Waynesboro City, Virginia                0.3630000000%
               VA128       Westmoreland County, Virginia            0.2230000000%
               VA129       Williamsburg City, Virginia              0.0860000000%
               VA130       Winchester City, Virginia                0.6490000000%
               VA131       Wise County, Virginia                    1.7560000000%
               VA132       Wythe County, Virginia                   0.6420000000%
               VA133       York County, Virginia                    0.5610000000%




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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 403 of 602. PageID            #: 583863
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
                WI1        Adams County, Wisconsin                  0.3270000000%
                WI4        Ashland County, Wisconsin                0.2250000000%
                WI7        Barron County, Wisconsin                 0.4780000000%
                WI8        Bayfield County, Wisconsin               0.1240000000%
               WI13        Brown County, Wisconsin                  2.9000000000%
               WI15        Buffalo County, Wisconsin                0.1260000000%
               WI17        Burnett County, Wisconsin                0.2240000000%
               WI19        Calumet County, Wisconsin                0.3860000000%
               WI21        Chippewa County, Wisconsin               0.6960000000%
               WI23        Clark County, Wisconsin                  0.2610000000%
               WI24        Columbia County, Wisconsin               1.0760000000%
               WI25        Crawford County, Wisconsin               0.1950000000%
               WI26        Cudahy City, Wisconsin                   0.0870000000%
               WI27        Dane County, Wisconsin                   8.2480000000%
               WI30        Dodge County, Wisconsin                  1.3020000000%
               WI31        Door County, Wisconsin                   0.2820000000%
               WI32        Douglas County, Wisconsin                0.5540000000%
               WI33        Dunn County, Wisconsin                   0.4420000000%
               WI35        Eau Claire County, Wisconsin             1.1770000000%
               WI38        Florence County, Wisconsin               0.0530000000%
               WI40        Fond Du Lac County, Wisconsin            1.1960000000%
               WI41        Forest County, Wisconsin                 0.1270000000%
               WI43        Franklin City, Wisconsin                 0.1550000000%
               WI48        Grant County, Wisconsin                  0.4980000000%
               WI50        Green County, Wisconsin                  0.4660000000%
               WI51        Green Lake County, Wisconsin             0.2800000000%
               WI53        Greenfield City, Wisconsin               0.1630000000%
               WI61        Iowa County, Wisconsin                   0.2790000000%
               WI62        Iron County, Wisconsin                   0.0610000000%
               WI63        Jackson County, Wisconsin                0.2360000000%
               WI65        Jefferson County, Wisconsin              1.0510000000%
               WI66        Juneau County, Wisconsin                 0.4380000000%
               WI68        Kenosha City, Wisconsin                  0.4840000000%
               WI69        Kenosha County, Wisconsin                3.7120000000%
               WI70        Kewaunee County, Wisconsin               0.1560000000%
               WI72        La Crosse County, Wisconsin              1.6490000000%
               WI73        Lafayette County, Wisconsin              0.1340000000%
               WI74        Langlade County, Wisconsin               0.3120000000%
               WI75        Lincoln County, Wisconsin                0.3500000000%
               WI80        Manitowoc County, Wisconsin              1.4030000000%
               WI81        Marathon County, Wisconsin               1.2590000000%
               WI82        Marinette City, Wisconsin                0.0320000000%
               WI83        Marinette County, Wisconsin              0.5030000000%
               WI84        Marquette County, Wisconsin              0.2460000000%
               WI87        Menominee County, Wisconsin              0.0800000000%
               WI92        Milwaukee City, Wisconsin                7.8150000000%
               WI93        Milwaukee County, Wisconsin             25.2210000000%

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Case: 1:17-md-02804-DAP Doc #: 4485-1 Filed: 05/26/22 404 of 602. PageID            #: 583864
             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID             Qualifying Subdivision           Allocation
               WI95        Monroe County, Wisconsin                 0.6550000000%
               WI96        Mount Pleasant Village, Wisconsin        0.1170000000%
               WI100       Oak Creek City, Wisconsin                0.1660000000%
               WI102       Oconto County, Wisconsin                 0.3360000000%
               WI104       Oneida County, Wisconsin                 0.5260000000%
               WI107       Outagamie County, Wisconsin              1.8360000000%
               WI108       Ozaukee County, Wisconsin                1.0360000000%
               WI109       Pepin County, Wisconsin                  0.0550000000%
               WI111       Pierce County, Wisconsin                 0.3870000000%
               WI113       Pleasant Prairie Village, Wisconsin      0.0590000000%
               WI118       Portage County, Wisconsin                0.7290000000%
               WI119       Price County, Wisconsin                  0.1490000000%
               WI121       Racine County, Wisconsin                 3.2080000000%
               WI123       Richland County, Wisconsin               0.2180000000%
               WI125       Rock County, Wisconsin                   2.9470000000%
               WI126       Rusk County, Wisconsin                   0.1590000000%
               WI128       Sauk County, Wisconsin                   1.2260000000%
               WI129       Sawyer County, Wisconsin                 0.2580000000%
               WI130       Shawano County, Wisconsin                0.4180000000%
               WI132       Sheboygan County, Wisconsin              1.4100000000%
               WI134       South Milwaukee City, Wisconsin          0.0960000000%
               WI135       St Croix County, Wisconsin               0.8290000000%
               WI138       Sturtevant Village, Wisconsin            0.0180000000%
               WI141       Superior City, Wisconsin                 0.0890000000%
               WI143       Taylor County, Wisconsin                 0.1590000000%
               WI145       Trempealeau County, Wisconsin            0.3200000000%
               WI147       Union Grove Village, Wisconsin           0.0070000000%
               WI148       Vernon County, Wisconsin                 0.3220000000%
               WI150       Vilas County, Wisconsin                  0.4680000000%
               WI151       Walworth County, Wisconsin               1.5730000000%
               WI152       Washburn County, Wisconsin               0.1850000000%
               WI153       Washington County, Wisconsin             1.9910000000%
               WI156       Waukesha County, Wisconsin               6.0350000000%
               WI158       Waupaca County, Wisconsin                0.6060000000%
               WI161       Waushara County, Wisconsin               0.2310000000%
               WI162       Wauwatosa City, Wisconsin                0.3090000000%
               WI163       West Allis City, Wisconsin               0.3780000000%
               WI168       Winnebago County, Wisconsin              2.1760000000%
               WI170       Wood County, Wisconsin                   0.8420000000%
               WI171       Yorkville Town, Wisconsin                0.0020000000%




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             Allocations are subject to change pursuant to a State-Subdivision FINAL AGREEMENT
         Agreement, Allocation Statute, Statutory Trust, or voluntary redistribution.          3.25.22
                                                                                  EXHIBITS C AND G
          Subdivisions with Consolidated Allocations - Qualified Subdivisions Only       AS OF 4.29.22


                                                                 Consolidated State
              State ID              Qualifying Subdivision          Allocation
               WY1         Albany County, Wyoming                   1.6329876137%
               WY2         Big Horn County, Wyoming                 3.0324432485%
               WY3         Campbell County, Wyoming                 4.4393335213%
               WY4         Carbon County, Wyoming                   3.6968556043%
               WY5         Casper City, Wyoming                     7.3503611059%
               WY6         Cheyenne City, Wyoming                   1.2286265328%
               WY7         Converse County, Wyoming                 1.8962432493%
               WY8         Crook County, Wyoming                    0.5448669885%
               WY9         Evanston City, Wyoming                   1.9702405199%
               WY10        Fremont County, Wyoming                  6.7374838437%
               WY11        Gillette City, Wyoming                   1.7410635670%
               WY12        Goshen County, Wyoming                   1.6361202905%
               WY13        Green River City, Wyoming                0.6122218672%
               WY14        Hot Springs County, Wyoming              0.8557309329%
               WY15        Jackson Town, Wyoming                    0.5598544963%
               WY16        Johnson County, Wyoming                  0.9322427236%
               WY17        Laramie City, Wyoming                    3.4181078811%
               WY18        Laramie County, Wyoming                 15.5855269922%
               WY19        Lincoln County, Wyoming                  3.1228011914%
               WY20        Natrona County, Wyoming                  7.9000169472%
               WY21        Niobrara County, Wyoming                 0.1540280861%
               WY22        Park County, Wyoming                     5.7964268009%
               WY23        Platte County, Wyoming                   1.7507027157%
               WY24        Riverton City, Wyoming                   1.2744483314%
               WY25        Rock Springs City, Wyoming               1.5261479738%
               WY26        Sheridan City, Wyoming                   0.3405187102%
               WY27        Sheridan County, Wyoming                 3.9149494912%
               WY28        Sublette County, Wyoming                 0.7136740477%
               WY29        Sweetwater County, Wyoming               7.6391306020%
               WY30        Teton County, Wyoming                    1.3290900349%
               WY31        Uinta County, Wyoming                    4.3911508108%
               WY32        Washakie County, Wyoming                 1.5007597928%
               WY33        Weston County, Wyoming                   0.7758434851%




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                                                                 EXHIBIT H

                                                 Participation Tier Determination1

                                                                                                                    Percentage of
                                                Percentage of Litigating Subdivisions              Primary Subdivisions that are Non-Litigating
                                                       in Settling States that are                    Subdivisions in Settling States that are
                                                      Participating Subdivisions                                    Participating
                          Number                  and/or Subdivisions Subject to a                   Subdivisions and/or Subdivisions Subject
                    of Settling States as         Bar, Case-Specific Resolution, or                    to a Bar, Case-Specific Resolution, or
                      of the Reference               Settlement Class Resolution                                  Settlement Class
                     Date (or as of the         in effect as of the Reference Date (or              Resolution in effect as of the Reference Date
                       Payment Date,            as of the Payment Date, beginning in                 (or as of the Payment Date, beginning in
Participation           beginning in             Payment Year 3)4 5 (“Percentage of                   Payment Year 3) (“Percentage of Non-
   Tier2             Payment Year 3)3                  Litigating Subdivisions”)                              Litigating Subdivisions”)
      1                  44 out of 49                             95%                                                    90%
                                                                                                             (Primary Subdivisions only)

        2                45 out of 49                                96%                                                  96%
                                                                                                               (Primary Subdivisions only)
        3                46 out of 49                                97%                                                  97%
                                                                                                               (Primary Subdivisions only)
        4                48 out of 49                                98%                                                  97%
                                                                                                               (Primary Subdivisions only)


    1       For the avoidance of doubt, the determinations that a sufficient number of states have agreed to be Settling States and there
            has been sufficient resolution of the Claims of the Litigating Subdivisions in the Settling States as described in the preamble,
            Section II.A and Section VIII.A remain in the sole discretion of the Settling Distributors.
    2       In order to qualify for the relevant tier, the minimum amounts listed in each of the “Number of Settling States,” “Percentage
            of Litigating Subdivisions,” and “Percentage of Non-Litigating Primary Subdivisions” columns must be met or surpassed.
    3       For the sole purpose of the Participation Tier determination under this Exhibit H, the States used to calculate each criterion
            (including the Percentage of Litigating Subdivisions and Percentage of Non-Litigating Subdivisions) will include each of the
            50 states in the United States, except West Virginia, for a total of 49 states. For the avoidance of doubt, notwithstanding the
            definition of “State” in Section I.TTT or Exhibit F, neither Washington, D.C., nor any territory of the United States will be
            included for purposes of determining the participation tier under this Exhibit H.
    4       School Districts, Health Districts, Hospital Districts, Library Districts and Fire Districts that satisfy the definition of
            Litigating Subdivision will be included for purposes of determining the Percentage of Litigating Subdivisions. These
            categories of Special District shall have their population measured as set forth in Section XIV.B. Any other Special
            Districts that satisfy the definition of Litigating Subdivisions will not be included for purposes of calculating the
            Participation Tier.
            The Percentage of Litigating Subdivisions and Percentage of Non-Litigating Primary Subdivisions will be calculated as
            follows: each Litigating Subdivision and each Non-Litigating Subdivision in the 49 states used to calculate the Participation
            Tier will be assigned a metric reflecting both population and severity (the “Population-Severity Metric”). The Population-
            Severity Metric shall be the Subdivision’s population plus the Subdivision’s population multiplied by the severity factor for
            the State of the Subdivision (the severity factors for each State are attached as Exhibit X hereto) and then divided in two,
            thus giving fifty percent (50%) weight to each of population and population multiplied by the severity factor. The
            denominator for each Percentage shall be the sum total of the Population-Severity Metric for all the Subdivisions in the
            relevant category (Litigating Subdivisions or Non-Litigating Primary Subdivisions) in the Settling States, notwithstanding
            that persons may be included within the population (and therefore the Population-Severity Metric) of more than one
            Subdivision. The numerator will be the sum total of the Population-Severity Metrics of all Subdivisions in the relevant
            category of Subdivision (i.e., Litigating Subdivisions or Non-Litigating Subdivisions that are also Primary Subdivisions) in
            the Settling States that are either Participating Subdivisions or are subject to a Bar, Case-Specific Resolution, or Settlement
            Class Resolution, notwithstanding that persons may be included within the population of more than one Subdivision. An



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     individual Litigating Subdivision shall not be included more than once in the numerator, and shall not be included more than
     once in the denominator, of the calculation regardless if it (or any of its officials) is named as multiple plaintiffs in the same
     lawsuit; provided, however, that for the avoidance of doubt, no Litigating Subdivision will be excluded from the numerator
     or denominator under this sentence unless a Litigating Subdivision otherwise counted in the denominator has the authority
     to release the Claims (consistent with Section XI) of the Litigating Subdivision to be excluded.
     For the avoidance of doubt, Subdivisions in Non-Settling States are excluded from both the denominator and numerator of
     the calculations for the Percentage of Litigating Subdivisions and Percentage of Non-Litigating Primary Subdivisions.
 5   During the period when the Participation Tier is redetermined annually, Later Participating Subdivisions described in
     Section VII.E.3 or Section VII.E.4 shall not be included as Participating Subdivisions, and for Subdivisions subject to a Bar,
     Case-Specific Resolution, or Settlement Class Resolution to be included, the Bar, Case-Specific Resolution, or Settlement
     Class Resolution must have been in effect both as of the relevant Payment Date and for the entire period since the prior
     Payment Date.




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                                                          EXHIBIT I

                                                  Primary Subdivisions 16


1.         Anchorage municipality,          38.     Pinal County, Arizona *            82.     Hot Spring County, Arkansas
           Alaska *                         39.     Prescott city, Arizona *                   *
2.         Fairbanks city, Alaska *         40.     Prescott Valley town, Arizona      83.     Hot Springs city, Arkansas *
3.         Fairbanks North Star Borough,            *                                  84.     Independence County,
           Alaska *                         41.     Queen Creek town, Arizona *                Arkansas *
4.         Juneau city and borough,         42.     Sahuarita town, Arizona *          85.     Jefferson County, Arkansas *
           Alaska *                         43.     San Luis city, Arizona *           86.     Jonesboro city, Arkansas *
5.         Kenai Peninsula Borough,         44.     Santa Cruz County, Arizona *       87.     Little Rock city, Arkansas *
           Alaska *                         45.     Scottsdale city, Arizona *         88.     Lonoke County, Arkansas *
6.         Matanuska-Susitna Borough,       46.     Sierra Vista city, Arizona *       89.     Miller County, Arkansas *
           Alaska *                         47.     Surprise city, Arizona *           90.     Mississippi County, Arkansas
7.         Ketchikan Gateway Borough,       48.     Tempe city, Arizona *                      *
           Alaska                           49.     Tucson city, Arizona *             91.     North Little Rock city,
8.         Kodiak Island Borough,           50.     Yavapai County, Arizona *                  Arkansas *
           Alaska                           51.     Yuma city, Arizona *               92.     Pine Bluff city, Arkansas *
9.         Wasilla city, Alaska             52.     Yuma County, Arizona *             93.     Pope County, Arkansas *
10.        Apache County, Arizona *         53.     Camp Verde town, Arizona           94.     Pulaski County, Arkansas *
11.        Apache Junction city, Arizona    54.     Chino Valley town, Arizona         95.     Rogers city, Arkansas *
           *                                55.     Coolidge city, Arizona             96.     Saline County, Arkansas *
12.        Avondale city, Arizona *         56.     Cottonwood city, Arizona           97.     Sebastian County, Arkansas *
13.        Buckeye city, Arizona *          57.     Douglas city, Arizona              98.     Sherwood city, Arkansas *
14.        Bullhead City city, Arizona *    58.     Eloy city, Arizona                 99.     Springdale city, Arkansas *
15.        Casa Grande city, Arizona *      59.     Florence town, Arizona             100.    Union County, Arkansas *
16.        Chandler city, Arizona *         60.     Fountain Hills town, Arizona       101.    Washington County, Arkansas
17.        Cochise County, Arizona *        61.     La Paz County, Arizona                     *
18.        Coconino County, Arizona *       62.     Nogales city, Arizona              102.    White County, Arkansas *
19.        El Mirage city, Arizona *        63.     Paradise Valley town, Arizona      103.    Arkadelphia city, Arkansas
20.        Flagstaff city, Arizona *        64.     Payson town, Arizona               104.    Arkansas County, Arkansas
21.        Gila County, Arizona *           65.     Sedona city, Arizona               105.    Ashley County, Arkansas
22.        Gilbert town, Arizona *          66.     Show Low city, Arizona             106.    Batesville city, Arkansas
23.        Glendale city, Arizona *         67.     Somerton city, Arizona             107.    Bella Vista city, Arkansas
24.        Goodyear city, Arizona *         68.     Baxter County, Arkansas *          108.    Blytheville city, Arkansas
25.        Graham County, Arizona *         69.     Benton city, Arkansas *            109.    Bradley County, Arkansas
26.        Kingman city, Arizona *          70.     Benton County, Arkansas *          110.    Bryant city, Arkansas
27.        Lake Havasu City city,           71.     Bentonville city, Arkansas *       111.    Cabot city, Arkansas
           Arizona *                        72.     Boone County, Arkansas *           112.    Camden city, Arkansas
28.        Marana town, Arizona *           73.     Conway city, Arkansas *            113.    Carroll County, Arkansas
29.        Maricopa city, Arizona *         74.     Craighead County, Arkansas *       114.    Centerton city, Arkansas
30.        Maricopa County, Arizona *       75.     Crawford County, Arkansas *        115.    Chicot County, Arkansas
31.        Mesa city, Arizona *             76.     Crittenden County, Arkansas *      116.    Clark County, Arkansas
32.        Mohave County, Arizona *         77.     Faulkner County, Arkansas *        117.    Clay County, Arkansas
33.        Navajo County, Arizona *         78.     Fayetteville city, Arkansas *      118.    Cleburne County, Arkansas
34.        Oro Valley town, Arizona *       79.     Fort Smith city, Arkansas *        119.    Columbia County, Arkansas
35.        Peoria city, Arizona *           80.     Garland County, Arkansas *         120.    Conway County, Arkansas
36.        Phoenix city, Arizona *          81.     Greene County, Arkansas *          121.    Cross County, Arkansas
37.        Pima County, Arizona *                                                      122.    Desha County, Arkansas

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        Entities denoted with an asterisk (*) indicate a population of greater than 30,000 for purposes of the definition of
      Primary Subdivision as it relates to Incentive Payment C.


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123.   Drew County, Arkansas            176.   Antioch city, California *         226.   Davis city, California *
124.   El Dorado city, Arkansas         177.   Apple Valley town, California      227.   Delano city, California *
125.   Forrest City city, Arkansas             *                                  228.   Diamond Bar city, California *
126.   Franklin County, Arkansas        178.   Arcadia city, California *         229.   Downey city, California *
127.   Fulton County, Arkansas          179.   Atascadero city, California *      230.   Dublin city, California *
128.   Grant County, Arkansas           180.   Azusa city, California *           231.   Eastvale city, California *
129.   Harrison city, Arkansas          181.   Bakersfield city, California *     232.   El Cajon city, California *
130.   Helena-West Helena city,         182.   Baldwin Park city, California      233.   El Centro city, California *
       Arkansas                                *                                  234.   El Dorado County, California
131.   Hempstead County, Arkansas       183.   Banning city, California *                *
132.   Howard County, Arkansas          184.   Beaumont city, California *        235.   El Monte city, California *
133.   Izard County, Arkansas           185.   Bell city, California *            236.   El Paso de Robles (Paso
134.   Jackson County, Arkansas         186.   Bell Gardens city, California *           Robles) city, California *
135.   Jacksonville city, Arkansas      187.   Bellflower city, California *      237.   Elk Grove city, California *
136.   Johnson County, Arkansas         188.   Berkeley city, California *        238.   Encinitas city, California *
137.   Lawrence County, Arkansas        189.   Beverly Hills city, California *   239.   Escondido city, California *
138.   Lincoln County, Arkansas         190.   Brea city, California *            240.   Fairfield city, California *
139.   Little River County, Arkansas    191.   Brentwood city, California *       241.   Folsom city, California *
140.   Logan County, Arkansas           192.   Buena Park city, California *      242.   Fontana city, California *
141.   Madison County, Arkansas         193.   Burbank city, California *         243.   Foster City city, California *
142.   Magnolia city, Arkansas          194.   Burlingame city, California *      244.   Fountain Valley city,
143.   Malvern city, Arkansas           195.   Butte County, California *                California *
144.   Marion city, Arkansas            196.   Calaveras County, California *     245.   Fremont city, California *
145.   Marion County, Arkansas          197.   Calexico city, California *        246.   Fresno city, California *
146.   Maumelle city, Arkansas          198.   Camarillo city, California *       247.   Fresno County, California *
147.   Mountain Home city,              199.   Campbell city, California *        248.   Fullerton city, California *
       Arkansas                         200.   Carlsbad city, California *        249.   Garden Grove city, California
148.   Ouachita County, Arkansas        201.   Carson city, California *                 *
149.   Paragould city, Arkansas         202.   Cathedral City city, California    250.   Gardena city, California *
150.   Perry County, Arkansas                  *                                  251.   Gilroy city, California *
151.   Phillips County, Arkansas        203.   Ceres city, California *           252.   Glendale city, California *
152.   Pike County, Arkansas            204.   Cerritos city, California *        253.   Glendora city, California *
153.   Poinsett County, Arkansas        205.   Chico city, California *           254.   Goleta city, California *
154.   Polk County, Arkansas            206.   Chino city, California *           255.   Hanford city, California *
155.   Randolph County, Arkansas        207.   Chino Hills city, California *     256.   Hawthorne city, California *
156.   Russellville city, Arkansas      208.   Chula Vista city, California *     257.   Hayward city, California *
157.   Scott County, Arkansas           209.   Citrus Heights city, California    258.   Hemet city, California *
158.   Searcy city, Arkansas                   *                                  259.   Hesperia city, California *
159.   Sevier County, Arkansas          210.   Claremont city, California *       260.   Highland city, California *
160.   Sharp County, Arkansas           211.   Clovis city, California *          261.   Hollister city, California *
161.   Siloam Springs city, Arkansas    212.   Coachella city, California *       262.   Humboldt County, California
162.   St. Francis County, Arkansas     213.   Colton city, California *                 *
163.   Stone County, Arkansas           214.   Compton city, California *         263.   Huntington Beach city,
164.   Texarkana city, Arkansas         215.   Concord city, California *                California *
165.   Van Buren city, Arkansas         216.   Contra Costa County,               264.   Huntington Park city,
166.   Van Buren County, Arkansas              California *                              California *
167.   West Memphis city, Arkansas      217.   Corona city, California *          265.   Imperial County, California *
168.   Yell County, Arkansas            218.   Costa Mesa city, California *      266.   Indio city, California *
169.   Adelanto city, California *      219.   Covina city, California *          267.   Inglewood city, California *
170.   Alameda city, California *       220.   Culver City city, California *     268.   Irvine city, California *
171.   Alameda County, California *     221.   Cupertino city, California *       269.   Jurupa Valley city, California
172.   Alhambra city, California *      222.   Cypress city, California *                *
173.   Aliso Viejo city, California *   223.   Daly City city, California *       270.   Kern County, California *
174.   Amador County, California *      224.   Dana Point city, California *      271.   Kings County, California *
175.   Anaheim city, California *       225.   Danville town, California *        272.   La Habra city, California *


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273.   La Mesa city, California *        320.   Mountain View city,                367.   Rocklin city, California *
274.   La Mirada city, California *             California *                       368.   Rohnert Park city, California *
275.   La Puente city, California *      321.   Murrieta city, California *        369.   Rosemead city, California *
276.   La Quinta city, California *      322.   Napa city, California *            370.   Roseville city, California *
277.   La Verne city, California *       323.   Napa County, California *          371.   Sacramento city, California *
278.   Laguna Hills city, California *   324.   National City city, California *   372.   Sacramento County, California
279.   Laguna Niguel city, California    325.   Nevada County, California *               *
       *                                 326.   Newark city, California *          373.   Salinas city, California *
280.   Lake County, California *         327.   Newport Beach city,                374.   San Benito County, California
281.   Lake Elsinore city, California           California *                              *
       *                                 328.   Norwalk city, California *         375.   San Bernardino city,
282.   Lake Forest city, California *    329.   Novato city, California *                 California *
283.   Lakewood city, California *       330.   Oakland city, California *         376.   San Bernardino County,
284.   Lancaster city, California *      331.   Oakley city, California *                 California *
285.   Lassen County, California *       332.   Oceanside city, California *       377.   San Bruno city, California *
286.   Lawndale city, California *       333.   Ontario city, California *         378.   San Buenaventura (Ventura)
287.   Lincoln city, California *        334.   Orange city, California *                 city, California *
288.   Livermore city, California *      335.   Orange County, California *        379.   San Carlos city, California *
289.   Lodi city, California *           336.   Oxnard city, California *          380.   San Clemente city, California
290.   Lompoc city, California *         337.   Pacifica city, California *               *
291.   Long Beach city, California *     338.   Palm Desert city, California *     381.   San Diego city, California *
292.   Los Altos city, California *      339.   Palm Springs city, California *    382.   San Diego County, California
293.   Los Angeles city, California *    340.   Palmdale city, California *               *
294.   Los Angeles County,               341.   Palo Alto city, California *       383.   San Dimas city, California *
       California *                      342.   Paramount city, California *       384.   San Francisco city / San
295.   Los Banos city, California *      343.   Pasadena city, California *               Francisco County, California *
296.   Los Gatos town, California *      344.   Perris city, California *          385.   San Gabriel city, California *
297.   Lynwood city, California *        345.   Petaluma city, California *        386.   San Jacinto city, California *
298.   Madera city, California *         346.   Pico Rivera city, California *     387.   San Joaquin County,
299.   Madera County, California *       347.   Pittsburg city, California *              California *
300.   Manhattan Beach city,             348.   Placentia city, California *       388.   San Jose city, California *
       California *                      349.   Placer County, California *        389.   San Juan Capistrano city,
301.   Manteca city, California *        350.   Pleasant Hill city, California *          California *
302.   Marin County, California *        351.   Pleasanton city, California *      390.   San Leandro city, California *
303.   Martinez city, California *       352.   Pomona city, California *          391.   San Luis Obispo city,
304.   Mendocino County, California      353.   Porterville city, California *            California *
       *                                 354.   Poway city, California *           392.   San Luis Obispo County,
305.   Menifee city, California *        355.   Rancho Cordova city,                      California *
306.   Menlo Park city, California *            California *                       393.   San Marcos city, California *
307.   Merced city, California *         356.   Rancho Cucamonga city,             394.   San Mateo city, California *
308.   Merced County, California *              California *                       395.   San Mateo County, California
309.   Milpitas city, California *       357.   Rancho Palos Verdes city,                 *
310.   Mission Viejo city, California           California *                       396.   San Pablo city, California *
       *                                 358.   Rancho Santa Margarita city,       397.   San Rafael city, California *
311.   Modesto city, California *               California *                       398.   San Ramon city, California *
312.   Monrovia city, California *       359.   Redding city, California *         399.   Santa Ana city, California *
313.   Montclair city, California *      360.   Redlands city, California *        400.   Santa Barbara city, California
314.   Montebello city, California *     361.   Redondo Beach city,                       *
315.   Monterey County, California *            California *                       401.   Santa Barbara County,
316.   Monterey Park city, California    362.   Redwood City city, California             California *
       *                                        *                                  402.   Santa Clara city, California *
317.   Moorpark city, California *       363.   Rialto city, California *          403.   Santa Clara County, California
318.   Moreno Valley city, California    364.   Richmond city, California *               *
       *                                 365.   Riverside city, California *       404.   Santa Clarita city, California *
319.   Morgan Hill city, California *    366.   Riverside County, California *     405.   Santa Cruz city, California *


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406.   Santa Cruz County, California    452.   Woodland city, California *        505.   Grass Valley city, California
       *                                453.   Yolo County, California *          506.   Greenfield city, California
407.   Santa Maria city, California *   454.   Yorba Linda city, California *     507.   Grover Beach city, California
408.   Santa Monica city, California    455.   Yuba City city, California *       508.   Half Moon Bay city,
       *                                456.   Yuba County, California *                 California
409.   Santa Rosa city, California *    457.   Yucaipa city, California *         509.   Hawaiian Gardens city,
410.   Santee city, California *        458.   Agoura Hills city, California             California
411.   Saratoga city, California *      459.   Albany city, California            510.   Healdsburg city, California
412.   Seaside city, California *       460.   American Canyon city,              511.   Hercules city, California
413.   Shasta County, California *             California                         512.   Hermosa Beach city,
414.   Simi Valley city, California *   461.   Anderson city, California                 California
415.   Siskiyou County, California *    462.   Arcata city, California            513.   Hillsborough town, California
416.   Solano County, California *      463.   Arroyo Grande city, California     514.   Imperial Beach city, California
417.   Sonoma County, California *      464.   Artesia city, California           515.   Imperial city, California
418.   South Gate city, California *    465.   Arvin city, California             516.   Inyo County, California
419.   South San Francisco city,        466.   Atwater city, California           517.   Kerman city, California
       California *                     467.   Auburn city, California            518.   King City city, California
420.   Stanislaus County, California    468.   Avenal city, California            519.   Kingsburg city, California
       *                                469.   Barstow city, California           520.   La Cañada Flintridge city,
421.   Stanton city, California *       470.   Belmont city, California                  California
422.   Stockton city, California *      471.   Benicia city, California           521.   La Palma city, California
423.   Sunnyvale city, California *     472.   Blythe city, California            522.   Lafayette city, California
424.   Sutter County, California *      473.   Brawley city, California           523.   Laguna Beach city, California
425.   Tehama County, California *      474.   Calabasas city, California         524.   Laguna Woods city, California
426.   Temecula city, California *      475.   California City city, California   525.   Larkspur city, California
427.   Temple City city, California *   476.   Canyon Lake city, California       526.   Lathrop city, California
428.   Thousand Oaks city,              477.   Capitola city, California          527.   Lemon Grove city, California
       California *                     478.   Carpinteria city, California       528.   Lemoore city, California
429.   Torrance city, California *      479.   Chowchilla city, California        529.   Lindsay city, California
430.   Tracy city, California *         480.   Clayton city, California           530.   Livingston city, California
431.   Tulare city, California *        481.   Clearlake city, California         531.   Loma Linda city, California
432.   Tulare County, California *      482.   Coalinga city, California          532.   Lomita city, California
433.   Tuolumne County, California      483.   Colusa County, California          533.   Los Alamitos city, California
       *                                484.   Commerce city, California          534.   Malibu city, California
434.   Turlock city, California *       485.   Corcoran city, California          535.   Marina city, California
435.   Tustin city, California *        486.   Coronado city, California          536.   Mariposa County, California
436.   Union City city, California *    487.   Cudahy city, California            537.   Marysville city, California
437.   Upland city, California *        488.   Del Norte County, California       538.   Maywood city, California
438.   Vacaville city, California *     489.   Desert Hot Springs city,           539.   McFarland city, California
439.   Vallejo city, California *              California                         540.   Mendota city, California
440.   Ventura County, California *     490.   Dinuba city, California            541.   Mill Valley city, California
441.   Victorville city, California *   491.   Dixon city, California             542.   Millbrae city, California
442.   Visalia city, California *       492.   Duarte city, California            543.   Mono County, California
443.   Vista city, California *         493.   East Palo Alto city, California    544.   Monterey city, California
444.   Walnut Creek city, California    494.   El Cerrito city, California        545.   Moraga town, California
       *                                495.   El Segundo city, California        546.   Morro Bay city, California
445.   Watsonville city, California *   496.   Emeryville city, California        547.   Newman city, California
446.   West Covina city, California *   497.   Eureka city, California            548.   Norco city, California
447.   West Hollywood city,             498.   Exeter city, California            549.   Oakdale city, California
       California *                     499.   Farmersville city, California      550.   Orange Cove city, California
448.   West Sacramento city,            500.   Fillmore city, California          551.   Orinda city, California
       California *                     501.   Fortuna city, California           552.   Oroville city, California
449.   Westminster city, California *   502.   Galt city, California              553.   Pacific Grove city, California
450.   Whittier city, California *      503.   Glenn County, California           554.   Palos Verdes Estates city,
451.   Wildomar city, California *      504.   Grand Terrace city, California            California


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555.   Parlier city, California         604.   Brighton city, Colorado *        654.   Frederick town, Colorado
556.   Patterson city, California       605.   Broomfield city / Broomfield     655.   Fruita city, Colorado
557.   Piedmont city, California               County, Colorado *               656.   Golden city, Colorado
558.   Pinole city, California          606.   Castle Rock town, Colorado *     657.   Grand County, Colorado
559.   Placerville city, California     607.   Centennial city, Colorado *      658.   Greenwood Village city,
560.   Plumas County, California        608.   Colorado Springs city,                  Colorado
561.   Port Hueneme city, California           Colorado *                       659.   Gunnison County, Colorado
562.   Rancho Mirage city,              609.   Commerce City city, Colorado     660.   Johnstown town, Colorado
       California                              *                                661.   Las Animas County, Colorado
563.   Red Bluff city, California       610.   Delta County, Colorado *         662.   Logan County, Colorado
564.   Reedley city, California         611.   Denver city / Denver County,     663.   Lone Tree city, Colorado
565.   Ridgecrest city, California             Colorado *                       664.   Louisville city, Colorado
566.   Ripon city, California           612.   Douglas County, Colorado *       665.   Moffat County, Colorado
567.   Riverbank city, California       613.   Eagle County, Colorado *         666.   Montezuma County, Colorado
568.   San Anselmo town, California     614.   El Paso County, Colorado *       667.   Montrose city, Colorado
569.   San Fernando city, California    615.   Englewood city, Colorado *       668.   Morgan County, Colorado
570.   San Marino city, California      616.   Fort Collins city, Colorado *    669.   Otero County, Colorado
571.   Sanger city, California          617.   Fountain city, Colorado *        670.   Park County, Colorado
572.   Santa Fe Springs city,           618.   Fremont County, Colorado *       671.   Pitkin County, Colorado
       California                       619.   Garfield County, Colorado *      672.   Prowers County, Colorado
573.   Santa Paula city, California     620.   Grand Junction city, Colorado    673.   Rio Grande County, Colorado
574.   Scotts Valley city, California          *                                674.   Routt County, Colorado
575.   Seal Beach city, California      621.   Greeley city, Colorado *         675.   Steamboat Springs city,
576.   Selma city, California           622.   Jefferson County, Colorado *            Colorado
577.   Shafter city, California         623.   La Plata County, Colorado *      676.   Sterling city, Colorado
578.   Shasta Lake city, California     624.   Lafayette city, Colorado *       677.   Superior town, Colorado
579.   Sierra Madre city, California    625.   Lakewood city, Colorado *        678.   Teller County, Colorado
580.   Signal Hill city, California     626.   Larimer County, Colorado *       679.   Wellington town, Colorado
581.   Solana Beach city, California    627.   Littleton city, Colorado *       680.   Yuma County, Colorado
582.   Soledad city, California         628.   Longmont city, Colorado *        681.   Bridgeport town / Bridgeport
583.   Sonoma city, California          629.   Loveland city, Colorado *               city, Connecticut *
584.   South El Monte city,             630.   Mesa County, Colorado *          682.   Bristol city / Bristol town,
       California                       631.   Montrose County, Colorado *             Connecticut *
585.   South Lake Tahoe city,           632.   Northglenn city, Colorado *      683.   Danbury city / Danbury town,
       California                       633.   Parker town, Colorado *                 Connecticut *
586.   South Pasadena city,             634.   Pueblo city, Colorado *          684.   East Hartford town,
       California                       635.   Pueblo County, Colorado *               Connecticut *
587.   Suisun City city, California     636.   Summit County, Colorado *        685.   Enfield town, Connecticut *
588.   Susanville city, California      637.   Thornton city, Colorado *        686.   Fairfield town, Connecticut *
589.   Tehachapi city, California       638.   Weld County, Colorado *          687.   Glastonbury town,
590.   Trinity County, California       639.   Westminster city, Colorado *            Connecticut *
591.   Truckee town, California         640.   Wheat Ridge city, Colorado *     688.   Greenwich town, Connecticut
592.   Twentynine Palms city,           641.   Windsor town, Colorado *                *
       California                       642.   Alamosa County, Colorado         689.   Groton town, Connecticut *
593.   Ukiah city, California           643.   Archuleta County, Colorado       690.   Hamden town, Connecticut *
594.   Walnut city, California          644.   Cañon City city, Colorado        691.   Hartford city / Hartford town,
595.   Wasco city, California           645.   Castle Pines city, Colorado             Connecticut *
596.   Windsor town, California         646.   Chaffee County, Colorado         692.   Manchester town, Connecticut
597.   Yucca Valley town, California    647.   Durango city, Colorado                  *
598.   Adams County, Colorado *         648.   Elbert County, Colorado          693.   Meriden city / Meriden town,
599.   Arapahoe County, Colorado *      649.   Erie town, Colorado                     Connecticut *
600.   Arvada city, Colorado *          650.   Evans city, Colorado             694.   Middletown city / Middletown
601.   Aurora city, Colorado *          651.   Federal Heights city, Colorado          town, Connecticut *
602.   Boulder city, Colorado *         652.   Firestone town, Colorado         695.   Milford city, Connecticut *
603.   Boulder County, Colorado *       653.   Fort Morgan city, Colorado       696.   Milford town, Connecticut *


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697.   Naugatuck borough /              733.   Farmington town, Connecticut   778.   Wolcott town, Connecticut
       Naugatuck town, Connecticut      734.   Granby town, Connecticut       779.   Dover city, Delaware *
       *                                735.   Griswold town, Connecticut     780.   Kent County, Delaware *
698.   New Britain town / New           736.   Guilford town, Connecticut     781.   New Castle County, Delaware
       Britain city, Connecticut *      737.   Killingly town, Connecticut           *
699.   New Haven town / New             738.   Ledyard town, Connecticut      782.   Newark city, Delaware *
       Haven city, Connecticut *        739.   Madison town, Connecticut      783.   Sussex County, Delaware *
700.   Newington town, Connecticut      740.   Mansfield town, Connecticut    784.   Wilmington city, Delaware *
       *                                741.   Monroe town, Connecticut       785.   Middletown town, Delaware
701.   Norwalk city / Norwalk town,     742.   Montville town, Connecticut    786.   Milford city, Delaware
       Connecticut *                    743.   New Canaan town,               787.   Smyrna town, Delaware
702.   Norwich city / Norwich town,            Connecticut                    788.   Alachua County, Florida *
       Connecticut *                    744.   New Fairfield town,            789.   Altamonte Springs city,
703.   Shelton city / Shelton town,            Connecticut                           Florida *
       Connecticut *                    745.   New London city / New          790.   Apopka city, Florida *
704.   Southington town, Connecticut           London town, Connecticut       791.   Aventura city, Florida *
       *                                746.   New Milford town,              792.   Bay County, Florida *
705.   Stamford city / Stamford town,          Connecticut                    793.   Boca Raton city, Florida *
       Connecticut *                    747.   Newtown town, Connecticut      794.   Bonita Springs city, Florida *
706.   Stratford town, Connecticut *    748.   North Branford town,           795.   Boynton Beach city, Florida *
707.   Torrington city / Torrington            Connecticut                    796.   Bradenton city, Florida *
       town, Connecticut *              749.   North Haven town,              797.   Brevard County, Florida *
708.   Trumbull town, Connecticut *            Connecticut                    798.   Broward County, Florida *
709.   Wallingford town, Connecticut    750.   Old Saybrook town,             799.   Cape Coral city, Florida *
       *                                       Connecticut                    800.   Charlotte County, Florida *
710.   Waterbury city / Waterbury       751.   Orange town, Connecticut       801.   Citrus County, Florida *
       town, Connecticut *              752.   Oxford town, Connecticut       802.   Clay County, Florida *
711.   West Hartford town,              753.   Plainfield town, Connecticut   803.   Clearwater city, Florida *
       Connecticut *                    754.   Plainville town, Connecticut   804.   Clermont city, Florida *
712.   West Haven city / West Haven     755.   Plymouth town, Connecticut     805.   Coconut Creek city, Florida *
       town, Connecticut *              756.   Ridgefield town, Connecticut   806.   Collier County, Florida *
713.   Ansonia town / Ansonia city,     757.   Rocky Hill town, Connecticut   807.   Columbia County, Florida *
       Connecticut                      758.   Seymour town, Connecticut      808.   Cooper City city, Florida *
714.   Avon town, Connecticut           759.   Simsbury town, Connecticut     809.   Coral Gables city, Florida *
715.   Berlin town, Connecticut         760.   Somers town, Connecticut       810.   Coral Springs city, Florida *
716.   Bethel town, Connecticut         761.   South Windsor town,            811.   Cutler Bay town, Florida *
717.   Bloomfield town, Connecticut            Connecticut                    812.   Dania Beach city, Florida *
718.   Branford town, Connecticut       762.   Southbury town, Connecticut    813.   Davie town, Florida *
719.   Brookfield town, Connecticut     763.   Stafford town, Connecticut     814.   Daytona Beach city, Florida *
720.   Canton town, Connecticut         764.   Stonington town, Connecticut   815.   Deerfield Beach city, Florida *
721.   Cheshire town, Connecticut       765.   Suffield town, Connecticut     816.   DeLand city, Florida *
722.   Clinton town, Connecticut        766.   Tolland town, Connecticut      817.   Delray Beach city, Florida *
723.   Colchester town, Connecticut     767.   Vernon town, Connecticut       818.   Deltona city, Florida *
724.   Coventry town, Connecticut       768.   Waterford town, Connecticut    819.   DeSoto County, Florida *
725.   Cromwell town, Connecticut       769.   Watertown town, Connecticut    820.   Doral city, Florida *
726.   Darien town, Connecticut         770.   Weston town, Connecticut       821.   Dunedin city, Florida *
727.   Derby city / Derby town,         771.   Westport town, Connecticut     822.   Duval County / Jacksonville
       Connecticut                      772.   Wethersfield town,                    city, Florida *
728.   East Hampton town,                      Connecticut                    823.   Escambia County, Florida *
       Connecticut                      773.   Wilton town, Connecticut       824.   Estero village, Florida *
729.   East Haven town, Connecticut     774.   Winchester town, Connecticut   825.   Flagler County, Florida *
730.   East Lyme town, Connecticut      775.   Windham town, Connecticut      826.   Fort Lauderdale city, Florida *
731.   East Windsor town,               776.   Windsor Locks town,            827.   Fort Myers city, Florida *
       Connecticut                             Connecticut                    828.   Fort Pierce city, Florida *
732.   Ellington town, Connecticut      777.   Windsor town, Connecticut      829.   Gadsden County, Florida *


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830.   Gainesville city, Florida *      880.   Palm Bay city, Florida *         932.   Bradford County, Florida
831.   Greenacres city, Florida *       881.   Palm Beach County, Florida *     933.   Calhoun County, Florida
832.   Hallandale Beach city, Florida   882.   Palm Beach Gardens city,         934.   Callaway city, Florida
       *                                       Florida *                        935.   Cape Canaveral city, Florida
833.   Hendry County, Florida *         883.   Palm Coast city, Florida *       936.   Casselberry city, Florida
834.   Hernando County, Florida *       884.   Panama City city, Florida *      937.   Cocoa Beach city, Florida
835.   Hialeah city, Florida *          885.   Parkland city, Florida *         938.   Cocoa city, Florida
836.   Highlands County, Florida *      886.   Pasco County, Florida *          939.   Crestview city, Florida
837.   Hillsborough County, Florida     887.   Pembroke Pines city, Florida *   940.   DeBary city, Florida
       *                                888.   Pensacola city, Florida *        941.   Destin city, Florida
838.   Hollywood city, Florida *        889.   Pinellas County, Florida *       942.   Dixie County, Florida
839.   Homestead city, Florida *        890.   Pinellas Park city, Florida *    943.   Edgewater city, Florida
840.   Indian River County, Florida *   891.   Plant City city, Florida *       944.   Eustis city, Florida
841.   Jackson County, Florida *        892.   Plantation city, Florida *       945.   Fernandina Beach city, Florida
842.   Jupiter town, Florida *          893.   Polk County, Florida *           946.   Florida City city, Florida
843.   Kissimmee city, Florida *        894.   Pompano Beach city, Florida *    947.   Fort Walton Beach city,
844.   Lake County, Florida *           895.   Port Orange city, Florida *             Florida
845.   Lake Worth city, Florida *       896.   Port St. Lucie city, Florida *   948.   Franklin County, Florida
846.   Lakeland city, Florida *         897.   Putnam County, Florida *         949.   Fruitland Park city, Florida
847.   Largo city, Florida *            898.   Riviera Beach city, Florida *    950.   Gilchrist County, Florida
848.   Lauderdale Lakes city, Florida   899.   Royal Palm Beach village,        951.   Glades County, Florida
       *                                       Florida *                        952.   Groveland city, Florida
849.   Lauderhill city, Florida *       900.   Sanford city, Florida *          953.   Gulf County, Florida
850.   Lee County, Florida *            901.   Santa Rosa County, Florida *     954.   Gulfport city, Florida
851.   Leon County, Florida *           902.   Sarasota city, Florida *         955.   Haines City city, Florida
852.   Levy County, Florida *           903.   Sarasota County, Florida *       956.   Hamilton County, Florida
853.   Manatee County, Florida *        904.   Seminole County, Florida *       957.   Hardee County, Florida
854.   Margate city, Florida *          905.   St. Cloud city, Florida *        958.   Hialeah Gardens city, Florida
855.   Marion County, Florida *         906.   St. Johns County, Florida *      959.   Holly Hill city, Florida
856.   Martin County, Florida *         907.   St. Lucie County, Florida *      960.   Holmes County, Florida
857.   Melbourne city, Florida *        908.   St. Petersburg city, Florida *   961.   Jacksonville Beach city,
858.   Miami Beach city, Florida *      909.   Sumter County, Florida *                Florida
859.   Miami city, Florida *            910.   Sunrise city, Florida *          962.   Jefferson County, Florida
860.   Miami Gardens city, Florida *    911.   Suwannee County, Florida *       963.   Key Biscayne village, Florida
861.   Miami Lakes town, Florida *      912.   Tallahassee city, Florida *      964.   Key West city, Florida
862.   Miami-Dade County, Florida *     913.   Tamarac city, Florida *          965.   Lady Lake town, Florida
863.   Miramar city, Florida *          914.   Tampa city, Florida *            966.   Lake City city, Florida
864.   Monroe County, Florida *         915.   Titusville city, Florida *       967.   Lake Mary city, Florida
865.   Nassau County, Florida *         916.   Volusia County, Florida *        968.   Lake Wales city, Florida
866.   North Lauderdale city, Florida   917.   Wakulla County, Florida *        969.   Lantana town, Florida
       *                                918.   Walton County, Florida *         970.   Leesburg city, Florida
867.   North Miami Beach city,          919.   Wellington village, Florida *    971.   Lighthouse Point city, Florida
       Florida *                        920.   West Palm Beach city, Florida    972.   Longwood city, Florida
868.   North Miami city, Florida *             *                                973.   Lynn Haven city, Florida
869.   North Port city, Florida *       921.   Weston city, Florida *           974.   Madison County, Florida
870.   Oakland Park city, Florida *     922.   Winter Garden city, Florida *    975.   Maitland city, Florida
871.   Ocala city, Florida *            923.   Winter Haven city, Florida *     976.   Marco Island city, Florida
872.   Ocoee city, Florida *            924.   Winter Park city, Florida *      977.   Miami Shores village, Florida
873.   Okaloosa County, Florida *       925.   Winter Springs city, Florida *   978.   Miami Springs city, Florida
874.   Okeechobee County, Florida *     926.   Atlantic Beach city, Florida     979.   Milton city, Florida
875.   Orange County, Florida *         927.   Auburndale city, Florida         980.   Minneola city, Florida
876.   Orlando city, Florida *          928.   Avon Park city, Florida          981.   Mount Dora city, Florida
877.   Ormond Beach city, Florida *     929.   Baker County, Florida            982.   Naples city, Florida
878.   Osceola County, Florida *        930.   Bartow city, Florida             983.   New Port Richey city, Florida
879.   Oviedo city, Florida *           931.   Belle Glade city, Florida


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984.    New Smyrna Beach city,          1032.   Camden County, Georgia *        1086.   Peachtree City city, Georgia *
        Florida                         1033.   Canton city, Georgia *          1087.   Peachtree Corners city,
985.    Niceville city, Florida         1034.   Carroll County, Georgia *               Georgia *
986.    North Palm Beach village,       1035.   Catoosa County, Georgia *       1088.   Pickens County, Georgia *
        Florida                         1036.   Chamblee city, Georgia *        1089.   Polk County, Georgia *
987.    Oldsmar city, Florida           1037.   Chatham County, Georgia *       1090.   Rockdale County, Georgia *
988.    Opa-locka city, Florida         1038.   Cherokee County, Georgia *      1091.   Rome city, Georgia *
989.    Orange City city, Florida       1039.   Clayton County, Georgia *       1092.   Roswell city, Georgia *
990.    Palatka city, Florida           1040.   Cobb County, Georgia *          1093.   Sandy Springs city, Georgia *
991.    Palm Springs village, Florida   1041.   Coffee County, Georgia *        1094.   Savannah city, Georgia *
992.    Palmetto Bay village, Florida   1042.   Colquitt County, Georgia *      1095.   Smyrna city, Georgia *
993.    Palmetto city, Florida          1043.   Columbia County, Georgia *      1096.   South Fulton city, Georgia *
994.    Panama City Beach city,         1044.   Columbus city, Georgia *        1097.   Spalding County, Georgia *
        Florida                         1045.   Coweta County, Georgia *        1098.   Statesboro city, Georgia *
995.    Pinecrest village, Florida      1046.   Dalton city, Georgia *          1099.   Stonecrest city, Georgia *
996.    Punta Gorda city, Florida       1047.   DeKalb County, Georgia *        1100.   Thomas County, Georgia *
997.    Rockledge city, Florida         1048.   Dougherty County, Georgia *     1101.   Tift County, Georgia *
998.    Safety Harbor city, Florida     1049.   Douglas County, Georgia *       1102.   Troup County, Georgia *
999.    Satellite Beach city, Florida   1050.   Douglasville city, Georgia *    1103.   Tucker city, Georgia *
1000.   Sebastian city, Florida         1051.   Dunwoody city, Georgia *        1104.   Valdosta city, Georgia *
1001.   Sebring city, Florida           1052.   East Point city, Georgia *      1105.   Walker County, Georgia *
1002.   Seminole city, Florida          1053.   Effingham County, Georgia *     1106.   Walton County, Georgia *
1003.   South Daytona city, Florida     1054.   Fayette County, Georgia *       1107.   Ware County, Georgia *
1004.   South Miami city, Florida       1055.   Floyd County, Georgia *         1108.   Warner Robins city, Georgia *
1005.   St. Augustine city, Florida     1056.   Forsyth County, Georgia *       1109.   White County, Georgia *
1006.   Stuart city, Florida            1057.   Fulton County, Georgia *        1110.   Whitfield County, Georgia *
1007.   Sunny Isles Beach city,         1058.   Gainesville city, Georgia *     1111.   Woodstock city, Georgia *
        Florida                         1059.   Gilmer County, Georgia *        1112.   Acworth city, Georgia
1008.   Sweetwater city, Florida        1060.   Glynn County, Georgia *         1113.   Americus city, Georgia
1009.   Tarpon Springs city, Florida    1061.   Gordon County, Georgia *        1114.   Appling County, Georgia
1010.   Tavares city, Florida           1062.   Gwinnett County, Georgia *      1115.   Bacon County, Georgia
1011.   Taylor County, Florida          1063.   Habersham County, Georgia *     1116.   Bainbridge city, Georgia
1012.   Temple Terrace city, Florida    1064.   Hall County, Georgia *          1117.   Banks County, Georgia
1013.   Union County, Florida           1065.   Harris County, Georgia *        1118.   Ben Hill County, Georgia
1014.   Venice city, Florida            1066.   Henry County, Georgia *         1119.   Berrien County, Georgia
1015.   Vero Beach city, Florida        1067.   Hinesville city, Georgia *      1120.   Bleckley County, Georgia
1016.   Washington County, Florida      1068.   Houston County, Georgia *       1121.   Brantley County, Georgia
1017.   West Melbourne city, Florida    1069.   Jackson County, Georgia *       1122.   Braselton town, Georgia
1018.   West Park city, Florida         1070.   Johns Creek city, Georgia *     1123.   Brooks County, Georgia
1019.   Wilton Manors city, Florida     1071.   Kennesaw city, Georgia *        1124.   Brunswick city, Georgia
1020.   Zephyrhills city, Florida       1072.   LaGrange city, Georgia *        1125.   Buford city, Georgia
1021.   Albany city, Georgia *          1073.   Laurens County, Georgia *       1126.   Burke County, Georgia
1022.   Alpharetta city, Georgia *      1074.   Lawrenceville city, Georgia *   1127.   Butts County, Georgia
1023.   Athens-Clarke County unified    1075.   Liberty County, Georgia *       1128.   Calhoun city, Georgia
        government, Georgia *           1076.   Lowndes County, Georgia *       1129.   Candler County, Georgia
1024.   Atlanta city, Georgia *         1077.   Lumpkin County, Georgia *       1130.   Carrollton city, Georgia
1025.   Augusta-Richmond County         1078.   Macon-Bibb County, Georgia      1131.   Cartersville city, Georgia
        consolidated government,                *                               1132.   Charlton County, Georgia
        Georgia *                       1079.   Marietta city, Georgia *        1133.   Chattooga County, Georgia
1026.   Baldwin County, Georgia *       1080.   Milton city, Georgia *          1134.   Clarkston city, Georgia
1027.   Barrow County, Georgia *        1081.   Murray County, Georgia *        1135.   College Park city, Georgia
1028.   Bartow County, Georgia *        1082.   Newnan city, Georgia *          1136.   Conyers city, Georgia
1029.   Brookhaven city, Georgia *      1083.   Newton County, Georgia *        1137.   Cook County, Georgia
1030.   Bryan County, Georgia *         1084.   Oconee County, Georgia *        1138.   Cordele city, Georgia
1031.   Bulloch County, Georgia *       1085.   Paulding County, Georgia *      1139.   Covington city, Georgia


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1140.   Crawford County, Georgia      1193.   Morgan County, Georgia         1248.   Latah County, Idaho *
1141.   Crisp County, Georgia         1194.   Moultrie city, Georgia         1249.   Lewiston city, Idaho *
1142.   Cusseta-Chattahoochee         1195.   Norcross city, Georgia         1250.   Madison County, Idaho *
        County unified government,    1196.   Oglethorpe County, Georgia     1251.   Meridian city, Idaho *
        Georgia                       1197.   Peach County, Georgia          1252.   Nampa city, Idaho *
1143.   Dade County, Georgia          1198.   Perry city, Georgia            1253.   Nez Perce County, Idaho *
1144.   Dallas city, Georgia          1199.   Pierce County, Georgia         1254.   Pocatello city, Idaho *
1145.   Dawson County, Georgia        1200.   Pike County, Georgia           1255.   Post Falls city, Idaho *
1146.   Decatur city, Georgia         1201.   Pooler city, Georgia           1256.   Twin Falls city, Idaho *
1147.   Decatur County, Georgia       1202.   Powder Springs city, Georgia   1257.   Twin Falls County, Idaho *
1148.   Dodge County, Georgia         1203.   Pulaski County, Georgia        1258.   Ammon city, Idaho
1149.   Dooly County, Georgia         1204.   Putnam County, Georgia         1259.   Blackfoot city, Idaho
1150.   Doraville city, Georgia       1205.   Rabun County, Georgia          1260.   Blaine County, Idaho
1151.   Douglas city, Georgia         1206.   Richmond Hill city, Georgia    1261.   Boundary County, Idaho
1152.   Dublin city, Georgia          1207.   Rincon city, Georgia           1262.   Burley city, Idaho
1153.   Duluth city, Georgia          1208.   Riverdale city, Georgia        1263.   Cassia County, Idaho
1154.   Early County, Georgia         1209.   Screven County, Georgia        1264.   Chubbuck city, Idaho
1155.   Elbert County, Georgia        1210.   Snellville city, Georgia       1265.   Eagle city, Idaho
1156.   Emanuel County, Georgia       1211.   St. Marys city, Georgia        1266.   Elmore County, Idaho
1157.   Evans County, Georgia         1212.   Stephens County, Georgia       1267.   Franklin County, Idaho
1158.   Fairburn city, Georgia        1213.   Stockbridge city, Georgia      1268.   Fremont County, Idaho
1159.   Fannin County, Georgia        1214.   Sugar Hill city, Georgia       1269.   Garden City city, Idaho
1160.   Fayetteville city, Georgia    1215.   Sumter County, Georgia         1270.   Gem County, Idaho
1161.   Forest Park city, Georgia     1216.   Suwanee city, Georgia          1271.   Gooding County, Idaho
1162.   Franklin County, Georgia      1217.   Tattnall County, Georgia       1272.   Hayden city, Idaho
1163.   Grady County, Georgia         1218.   Telfair County, Georgia        1273.   Idaho County, Idaho
1164.   Greene County, Georgia        1219.   Thomasville city, Georgia      1274.   Jefferson County, Idaho
1165.   Griffin city, Georgia         1220.   Tifton city, Georgia           1275.   Jerome city, Idaho
1166.   Grovetown city, Georgia       1221.   Toombs County, Georgia         1276.   Jerome County, Idaho
1167.   Haralson County, Georgia      1222.   Towns County, Georgia          1277.   Kuna city, Idaho
1168.   Hart County, Georgia          1223.   Union City city, Georgia       1278.   Minidoka County, Idaho
1169.   Heard County, Georgia         1224.   Union County, Georgia          1279.   Moscow city, Idaho
1170.   Holly Springs city, Georgia   1225.   Upson County, Georgia          1280.   Mountain Home city, Idaho
1171.   Jasper County, Georgia        1226.   Vidalia city, Georgia          1281.   Owyhee County, Idaho
1172.   Jeff Davis County, Georgia    1227.   Villa Rica city, Georgia       1282.   Payette County, Idaho
1173.   Jefferson city, Georgia       1228.   Washington County, Georgia     1283.   Rexburg city, Idaho
1174.   Jefferson County, Georgia     1229.   Waycross city, Georgia         1284.   Shoshone County, Idaho
1175.   Jones County, Georgia         1230.   Wayne County, Georgia          1285.   Star city, Idaho
1176.   Kingsland city, Georgia       1231.   Winder city, Georgia           1286.   Teton County, Idaho
1177.   Lamar County, Georgia         1232.   Worth County, Georgia          1287.   Valley County, Idaho
1178.   Lanier County, Georgia        1233.   Hawaii County, Hawaii *        1288.   Washington County, Idaho
1179.   Lee County, Georgia           1234.   Honolulu County, Hawaii *      1289.   Adams County, Illinois *
1180.   Lilburn city, Georgia         1235.   Kauai County, Hawaii *         1290.   Addison township, Illinois *
1181.   Loganville city, Georgia      1236.   Maui County, Hawaii *          1291.   Addison village, Illinois *
1182.   Long County, Georgia          1237.   Ada County, Idaho *            1292.   Algonquin township, Illinois *
1183.   Macon County, Georgia         1238.   Bannock County, Idaho *        1293.   Algonquin village, Illinois *
1184.   Madison County, Georgia       1239.   Bingham County, Idaho *        1294.   Arlington Heights village,
1185.   McDonough city, Georgia       1240.   Boise City city, Idaho *               Illinois *
1186.   McDuffie County, Georgia      1241.   Bonner County, Idaho *         1295.   Aurora city, Illinois *
1187.   McIntosh County, Georgia      1242.   Bonneville County, Idaho *     1296.   Aurora township, Illinois *
1188.   Meriwether County, Georgia    1243.   Caldwell city, Idaho *         1297.   Avon township, Illinois *
1189.   Milledgeville city, Georgia   1244.   Canyon County, Idaho *         1298.   Bartlett village, Illinois *
1190.   Mitchell County, Georgia      1245.   Coeur d'Alene city, Idaho *    1299.   Batavia township, Illinois *
1191.   Monroe city, Georgia          1246.   Idaho Falls city, Idaho *      1300.   Belleville city, Illinois *
1192.   Monroe County, Georgia        1247.   Kootenai County, Idaho *       1301.   Berwyn city, Illinois *


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1302.   Berwyn township, Illinois *         1345.   Ela township, Illinois *          1394.   McHenry township, Illinois *
1303.   Bloom township, Illinois *          1346.   Elgin city, Illinois *            1395.   McLean County, Illinois *
1304.   Bloomingdale township,              1347.   Elgin township, Illinois *        1396.   Milton township, Illinois *
        Illinois *                          1348.   Elk Grove township, Illinois *    1397.   Moline city, Illinois *
1305.   Bloomington city, Illinois *        1349.   Elk Grove Village village,        1398.   Monroe County, Illinois *
1306.   Bloomington City township,                  Illinois *                        1399.   Moraine township, Illinois *
        Illinois *                          1350.   Elmhurst city, Illinois *         1400.   Morgan County, Illinois *
1307.   Bolingbrook village, Illinois *     1351.   Evanston city, Illinois *         1401.   Mount Prospect village,
1308.   Boone County, Illinois *            1352.   Frankfort township, Illinois *            Illinois *
1309.   Bourbonnais township, Illinois      1353.   Franklin County, Illinois *       1402.   Mundelein village, Illinois *
        *                                   1354.   Fremont township, Illinois *      1403.   Naperville city, Illinois *
1310.   Bremen township, Illinois *         1355.   Fulton County, Illinois *         1404.   Naperville township, Illinois *
1311.   Bristol township, Illinois *        1356.   Galesburg city, Illinois *        1405.   New Lenox township, Illinois
1312.   Buffalo Grove village, Illinois     1357.   Galesburg City township,                  *
        *                                           Illinois *                        1406.   New Trier township, Illinois *
1313.   Bureau County, Illinois *           1358.   Glendale Heights village,         1407.   Niles township, Illinois *
1314.   Calumet City city, Illinois *               Illinois *                        1408.   Normal town, Illinois *
1315.   Capital township, Illinois *        1359.   Glenview village, Illinois *      1409.   Normal township, Illinois *
1316.   Carol Stream village, Illinois *    1360.   Grafton township, Illinois *      1410.   Northbrook village, Illinois *
1317.   Carpentersville village, Illinois   1361.   Grundy County, Illinois *         1411.   Northfield township, Illinois *
        *                                   1362.   Gurnee village, Illinois *        1412.   Nunda township, Illinois *
1318.   Caseyville township, Illinois *     1363.   Hanover Park village, Illinois    1413.   Oak Lawn village, Illinois *
1319.   Champaign city, Illinois *                  *                                 1414.   Oak Park township, Illinois *
1320.   Champaign City township,            1364.   Hanover township, Illinois *      1415.   Oak Park village, Illinois *
        Illinois *                          1365.   Harlem township, Illinois *       1416.   Ogle County, Illinois *
1321.   Champaign County, Illinois *        1366.   Henry County, Illinois *          1417.   Orland Park village, Illinois *
1322.   Chicago city, Illinois *            1367.   Hoffman Estates village,          1418.   Orland township, Illinois *
1323.   Christian County, Illinois *                Illinois *                        1419.   Oswego township, Illinois *
1324.   Cicero town / Cicero                1368.   Homer township, Illinois *        1420.   Oswego village, Illinois *
        township, Illinois *                1369.   Jackson County, Illinois *        1421.   Palatine township, Illinois *
1325.   Clinton County, Illinois *          1370.   Jefferson County, Illinois *      1422.   Palatine village, Illinois *
1326.   Coles County, Illinois *            1371.   Joliet city, Illinois *           1423.   Palos township, Illinois *
1327.   Collinsville township, Illinois     1372.   Joliet township, Illinois *       1424.   Park Ridge city, Illinois *
        *                                   1373.   Kane County, Illinois *           1425.   Pekin city, Illinois *
1328.   Cook County, Illinois *             1374.   Kankakee County, Illinois *       1426.   Peoria city, Illinois *
1329.   Crystal Lake city, Illinois *       1375.   Kendall County, Illinois *        1427.   Peoria City township, Illinois
1330.   Cunningham township, Illinois       1376.   Knox County, Illinois *                   *
        *                                   1377.   Lake County, Illinois *           1428.   Peoria County, Illinois *
1331.   Danville city, Illinois *           1378.   Lake Villa township, Illinois *   1429.   Plainfield township, Illinois *
1332.   Decatur city, Illinois *            1379.   LaSalle County, Illinois *        1430.   Plainfield village, Illinois *
1333.   Decatur township, Illinois *        1380.   Lee County, Illinois *            1431.   Proviso township, Illinois *
1334.   DeKalb city, Illinois *             1381.   Leyden township, Illinois *       1432.   Quincy city, Illinois *
1335.   DeKalb County, Illinois *           1382.   Libertyville township, Illinois   1433.   Quincy township, Illinois *
1336.   DeKalb township, Illinois *                 *                                 1434.   Randolph County, Illinois *
1337.   Des Plaines city, Illinois *        1383.   Lisle township, Illinois *        1435.   Rich township, Illinois *
1338.   Downers Grove township,             1384.   Livingston County, Illinois *     1436.   Rock Island city, Illinois *
        Illinois *                          1385.   Lockport township, Illinois *     1437.   Rock Island County, Illinois *
1339.   Downers Grove village,              1386.   Lombard village, Illinois *       1438.   Rockford city, Illinois *
        Illinois *                          1387.   Lyons township, Illinois *        1439.   Rockford township, Illinois *
1340.   Du Page township, Illinois *        1388.   Macon County, Illinois *          1440.   Romeoville village, Illinois *
1341.   Dundee township, Illinois *         1389.   Macoupin County, Illinois *       1441.   Sangamon County, Illinois *
1342.   DuPage County, Illinois *           1390.   Madison County, Illinois *        1442.   Schaumburg township, Illinois
1343.   Edwardsville township,              1391.   Maine township, Illinois *                *
        Illinois *                          1392.   Marion County, Illinois *         1443.   Schaumburg village, Illinois *
1344.   Effingham County, Illinois *        1393.   McHenry County, Illinois *        1444.   Shields township, Illinois *


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1445.   Skokie village, Illinois *         1497.   Bloomingdale village, Illinois    1550.   Dorr township, Illinois
1446.   South Moline township,             1498.   Blue Island city, Illinois        1551.   Douglas County, Illinois
        Illinois *                         1499.   Bond County, Illinois             1552.   Douglas township, Illinois
1447.   Springfield city, Illinois *       1500.   Bourbonnais village, Illinois     1553.   East Moline city, Illinois
1448.   St. Charles city, Illinois *       1501.   Bradley village, Illinois         1554.   East Peoria city, Illinois
1449.   St. Charles township, Illinois *   1502.   Bridgeview village, Illinois      1555.   East St. Louis city, Illinois
1450.   St. Clair County, Illinois *       1503.   Brookfield village, Illinois      1556.   East St. Louis township,
1451.   St. Clair township, Illinois *     1504.   Bruce township, Illinois                  Illinois
1452.   Stephenson County, Illinois *      1505.   Burbank city, Illinois            1557.   Edgar County, Illinois
1453.   Stickney township, Illinois *      1506.   Burr Ridge village, Illinois      1558.   Edwardsville city, Illinois
1454.   Streamwood village, Illinois *     1507.   Cahokia village, Illinois         1559.   Effingham city, Illinois
1455.   Tazewell County, Illinois *        1508.   Calumet township, Illinois        1560.   Elmwood Park village, Illinois
1456.   Thornton township, Illinois *      1509.   Campton Hills village, Illinois   1561.   Evergreen Park village,
1457.   Tinley Park village, Illinois *    1510.   Campton township, Illinois                Illinois
1458.   Troy township, Illinois *          1511.   Canton city, Illinois             1562.   Fairview Heights city, Illinois
1459.   Urbana city, Illinois *            1512.   Canton township, Illinois         1563.   Fayette County, Illinois
1460.   Vermilion County, Illinois *       1513.   Carbondale city, Illinois         1564.   Flagg township, Illinois
1461.   Vernon township, Illinois *        1514.   Carbondale township, Illinois     1565.   Fondulac township, Illinois
1462.   Warren township, Illinois *        1515.   Carroll County, Illinois          1566.   Ford County, Illinois
1463.   Waukegan city, Illinois *          1516.   Cary village, Illinois            1567.   Forest Park village, Illinois
1464.   Waukegan township, Illinois *      1517.   Cass County, Illinois             1568.   Fox Lake village, Illinois
1465.   Wayne township, Illinois *         1518.   Centralia city, Illinois          1569.   Frankfort village, Illinois
1466.   West Deerfield township,           1519.   Centralia township, Illinois      1570.   Franklin Park village, Illinois
        Illinois *                         1520.   Centreville township, Illinois    1571.   Freeport city, Illinois
1467.   Wheatland township, Illinois *     1521.   Champaign township, Illinois      1572.   Freeport township, Illinois
1468.   Wheaton city, Illinois *           1522.   Channahon township, Illinois      1573.   Geneva city, Illinois
1469.   Wheeling township, Illinois *      1523.   Channahon village, Illinois       1574.   Geneva township, Illinois
1470.   Wheeling village, Illinois *       1524.   Charleston city, Illinois         1575.   Glen Carbon village, Illinois
1471.   Whiteside County, Illinois *       1525.   Charleston township, Illinois     1576.   Glen Ellyn village, Illinois
1472.   Will County, Illinois *            1526.   Chatham village, Illinois         1577.   Godfrey township, Illinois
1473.   Williamson County, Illinois *      1527.   Cherry Valley township,           1578.   Godfrey village, Illinois
1474.   Winfield township, Illinois *              Illinois                          1579.   Granite City city, Illinois
1475.   Winnebago County, Illinois *       1528.   Chicago Heights city, Illinois    1580.   Granite City township, Illinois
1476.   Wood River township, Illinois      1529.   Chicago Ridge village, Illinois   1581.   Grant township, Illinois
        *                                  1530.   Clark County, Illinois            1582.   Grayslake village, Illinois
1477.   Woodford County, Illinois *        1531.   Clay County, Illinois             1583.   Greene County, Illinois
1478.   Woodridge village, Illinois *      1532.   Collinsville city, Illinois       1584.   Greenwood township, Illinois
1479.   Worth township, Illinois *         1533.   Coloma township, Illinois         1585.   Groveland township, Illinois
1480.   York township, Illinois *          1534.   Columbia city, Illinois           1586.   Hampton township, Illinois
1481.   Alsip village, Illinois            1535.   Cortland township, Illinois       1587.   Hancock County, Illinois
1482.   Alton city, Illinois               1536.   Country Club Hills city,          1588.   Harrisburg township, Illinois
1483.   Alton township, Illinois                   Illinois                          1589.   Harvey city, Illinois
1484.   Antioch township, Illinois         1537.   Crawford County, Illinois         1590.   Hazel Crest village, Illinois
1485.   Antioch village, Illinois          1538.   Crest Hill city, Illinois         1591.   Herrin city, Illinois
1486.   Aux Sable township, Illinois       1539.   Crestwood village, Illinois       1592.   Hickory Hills city, Illinois
1487.   Barrington township, Illinois      1540.   Crete township, Illinois          1593.   Hickory Point township,
1488.   Barrington village, Illinois       1541.   Cuba township, Illinois                   Illinois
1489.   Batavia city, Illinois             1542.   Cumberland County, Illinois       1594.   Highland Park city, Illinois
1490.   Beach Park village, Illinois       1543.   Danville township, Illinois       1595.   Hinsdale village, Illinois
1491.   Bellwood village, Illinois         1544.   Darien city, Illinois             1596.   Homer Glen village, Illinois
1492.   Belvidere city, Illinois           1545.   De Witt County, Illinois          1597.   Homewood village, Illinois
1493.   Belvidere township, Illinois       1546.   Deerfield village, Illinois       1598.   Huntley village, Illinois
1494.   Bensenville village, Illinois      1547.   Dixon city, Illinois              1599.   Iroquois County, Illinois
1495.   Benton township, Illinois          1548.   Dixon township, Illinois          1600.   Jacksonville city, Illinois
1496.   Blackberry township, Illinois      1549.   Dolton village, Illinois          1601.   Jarvis township, Illinois


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1602.   Jersey County, Illinois          1653.   Minooka village, Illinois         1706.   Round Lake Beach village,
1603.   Jo Daviess County, Illinois      1654.   Mokena village, Illinois                  Illinois
1604.   Johnson County, Illinois         1655.   Moline township, Illinois         1707.   Round Lake village, Illinois
1605.   Justice village, Illinois        1656.   Monee township, Illinois          1708.   Rutland township, Illinois
1606.   Kankakee city, Illinois          1657.   Montgomery County, Illinois       1709.   Saline County, Illinois
1607.   Kankakee township, Illinois      1658.   Montgomery village, Illinois      1710.   Sauk Village village, Illinois
1608.   Kewanee city, Illinois           1659.   Morris city, Illinois             1711.   Schiller Park village, Illinois
1609.   La Grange Park village,          1660.   Morton Grove village, Illinois    1712.   Shelby County, Illinois
        Illinois                         1661.   Morton township, Illinois         1713.   Shiloh Valley township,
1610.   La Grange village, Illinois      1662.   Morton village, Illinois                  Illinois
1611.   Lake Forest city, Illinois       1663.   Moultrie County, Illinois         1714.   Shiloh village, Illinois
1612.   Lake in the Hills village,       1664.   Mount Vernon city, Illinois       1715.   Shorewood village, Illinois
        Illinois                         1665.   Mount Vernon township,            1716.   South Elgin village, Illinois
1613.   Lake Zurich village, Illinois            Illinois                          1717.   South Holland village, Illinois
1614.   Lansing village, Illinois        1666.   Nameoki township, Illinois        1718.   South Rock Island township,
1615.   LaSalle township, Illinois       1667.   New Lenox village, Illinois               Illinois
1616.   Lawrence County, Illinois        1668.   Newell township, Illinois         1719.   Sterling city, Illinois
1617.   Lemont township, Illinois        1669.   Niles village, Illinois           1720.   Sterling township, Illinois
1618.   Lemont village, Illinois         1670.   Norridge village, Illinois        1721.   Streator city, Illinois
1619.   Libertyville village, Illinois   1671.   North Aurora village, Illinois    1722.   Sugar Grove township, Illinois
1620.   Limestone township, Illinois     1672.   North Chicago city, Illinois      1723.   Summit village, Illinois
1621.   Lincoln city, Illinois           1673.   Northlake city, Illinois          1724.   Swansea village, Illinois
1622.   Lincolnwood village, Illinois    1674.   Norwood Park township,            1725.   Sycamore city, Illinois
1623.   Lindenhurst village, Illinois            Illinois                          1726.   Sycamore township, Illinois
1624.   Lisle village, Illinois          1675.   O'Fallon city, Illinois           1727.   Taylorville city, Illinois
1625.   Little Rock township, Illinois   1676.   O'Fallon township, Illinois       1728.   Taylorville township, Illinois
1626.   Lockport city, Illinois          1677.   Oak Forest city, Illinois         1729.   Troy city, Illinois
1627.   Logan County, Illinois           1678.   Ottawa city, Illinois             1730.   Union County, Illinois
1628.   Long Creek township, Illinois    1679.   Ottawa township, Illinois         1731.   Vernon Hills village, Illinois
1629.   Loves Park city, Illinois        1680.   Palos Heights city, Illinois      1732.   Villa Park village, Illinois
1630.   Lyons village, Illinois          1681.   Palos Hills city, Illinois        1733.   Wabash County, Illinois
1631.   Machesney Park village,          1682.   Park Forest village, Illinois     1734.   Warren County, Illinois
        Illinois                         1683.   Pekin township, Illinois          1735.   Warrenville city, Illinois
1632.   Macomb city, Illinois            1684.   Perry County, Illinois            1736.   Washington city, Illinois
1633.   Macomb City township,            1685.   Peru township, Illinois           1737.   Washington County, Illinois
        Illinois                         1686.   Piatt County, Illinois            1738.   Washington township, Illinois
1634.   Mahomet township, Illinois       1687.   Pike County, Illinois             1739.   Waterloo city, Illinois
1635.   Manhattan township, Illinois     1688.   Plano city, Illinois              1740.   Wauconda township, Illinois
1636.   Manteno township, Illinois       1689.   Pontiac city, Illinois            1741.   Wauconda village, Illinois
1637.   Marion city, Illinois            1690.   Pontiac township, Illinois        1742.   Wayne County, Illinois
1638.   Markham city, Illinois           1691.   Prospect Heights city, Illinois   1743.   West Chicago city, Illinois
1639.   Marshall County, Illinois        1692.   Rantoul township, Illinois        1744.   Westchester village, Illinois
1640.   Mason County, Illinois           1693.   Rantoul village, Illinois         1745.   Western Springs village,
1641.   Massac County, Illinois          1694.   Richland County, Illinois                 Illinois
1642.   Matteson village, Illinois       1695.   Richton Park village, Illinois    1746.   Westmont village, Illinois
1643.   Mattoon city, Illinois           1696.   River Forest township, Illinois   1747.   White County, Illinois
1644.   Mattoon township, Illinois       1697.   River Forest village, Illinois    1748.   Wilmette village, Illinois
1645.   Maywood village, Illinois        1698.   Riverdale village, Illinois       1749.   Winnetka village, Illinois
1646.   McDonough County, Illinois       1699.   Riverside township, Illinois      1750.   Wood Dale city, Illinois
1647.   McHenry city, Illinois           1700.   Rock Island township, Illinois    1751.   Wood River city, Illinois
1648.   Medina township, Illinois        1701.   Rockton township, Illinois        1752.   Woodside township, Illinois
1649.   Melrose Park village, Illinois   1702.   Rolling Meadows city, Illinois    1753.   Woodstock city, Illinois
1650.   Menard County, Illinois          1703.   Roscoe township, Illinois         1754.   Worth village, Illinois
1651.   Mercer County, Illinois          1704.   Roscoe village, Illinois          1755.   Yorkville city, Illinois
1652.   Midlothian village, Illinois     1705.   Roselle village, Illinois         1756.   Zion city, Illinois


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1757.   Zion township, Illinois          1810.   Hammond city, Indiana *          1860.   Plainfield town, Indiana *
1758.   Aboite township, Indiana *       1811.   Hancock County, Indiana *        1861.   Pleasant township, Indiana *
1759.   Adams County, Indiana *          1812.   Harrison County, Indiana *       1862.   Portage city, Indiana *
1760.   Adams township, Indiana *        1813.   Harrison township, Indiana *     1863.   Portage township, Indiana *
1761.   Allen County, Indiana *          1814.   Hendricks County, Indiana *      1864.   Portage township, Indiana *
1762.   Anderson city, Indiana *         1815.   Henry County, Indiana *          1865.   Porter County, Indiana *
1763.   Anderson township, Indiana *     1816.   Hobart township, Indiana *       1866.   Putnam County, Indiana *
1764.   Bartholomew County, Indiana      1817.   Howard County, Indiana *         1867.   Richmond city, Indiana *
        *                                1818.   Huntington County, Indiana *     1868.   Ross township, Indiana *
1765.   Bloomington city, Indiana *      1819.   Jackson County, Indiana *        1869.   Shelby County, Indiana *
1766.   Bloomington township,            1820.   Jasper County, Indiana *         1870.   South Bend city, Indiana *
        Indiana *                        1821.   Jefferson County, Indiana *      1871.   St. John township, Indiana *
1767.   Boone County, Indiana *          1822.   Jeffersonville city, Indiana *   1872.   St. Joseph County, Indiana *
1768.   Calumet township, Indiana *      1823.   Jeffersonville township,         1873.   St. Joseph township, Indiana *
1769.   Carmel city, Indiana *                   Indiana *                        1874.   Steuben County, Indiana *
1770.   Cass County, Indiana *           1824.   Johnson County, Indiana *        1875.   Terre Haute city, Indiana *
1771.   Center township, Indiana *       1825.   Knight township, Indiana *       1876.   Tippecanoe County, Indiana *
1772.   Center township, Indiana *       1826.   Knox County, Indiana *           1877.   Valparaiso city, Indiana *
1773.   Center township, Indiana *       1827.   Kokomo city, Indiana *           1878.   Vanderburgh County, Indiana
1774.   Center township, Indiana *       1828.   Kosciusko County, Indiana *              *
1775.   Center township, Indiana *       1829.   Lafayette city, Indiana *        1879.   Vigo County, Indiana *
1776.   Center township, Indiana *       1830.   LaGrange County, Indiana *       1880.   Wabash County, Indiana *
1777.   Clark County, Indiana *          1831.   Lake County, Indiana *           1881.   Wabash township, Indiana *
1778.   Clay township, Indiana *         1832.   LaPorte County, Indiana *        1882.   Warren township, Indiana *
1779.   Clay township, Indiana *         1833.   Lawrence city, Indiana *         1883.   Warrick County, Indiana *
1780.   Clinton County, Indiana *        1834.   Lawrence County, Indiana *       1884.   Washington township, Indiana
1781.   Columbus city, Indiana *         1835.   Lawrence township, Indiana *             *
1782.   Columbus township, Indiana *     1836.   Lincoln township, Indiana *      1885.   Washington township, Indiana
1783.   Concord township, Indiana *      1837.   Madison County, Indiana *                *
1784.   Crown Point city, Indiana *      1838.   Marion County / Indianapolis     1886.   Washington township, Indiana
1785.   Daviess County, Indiana *                city, Indiana *                          *
1786.   Dearborn County, Indiana *       1839.   Marshall County, Indiana *       1887.   Washington township, Indiana
1787.   Decatur township, Indiana *      1840.   Merrillville town, Indiana *             *
1788.   DeKalb County, Indiana *         1841.   Miami County, Indiana *          1888.   Wayne County, Indiana *
1789.   Delaware County, Indiana *       1842.   Michigan City city, Indiana *    1889.   Wayne township, Indiana *
1790.   Delaware township, Indiana *     1843.   Mishawaka city, Indiana *        1890.   Wayne township, Indiana *
1791.   Dubois County, Indiana *         1844.   Monroe County, Indiana *         1891.   Wayne township, Indiana *
1792.   Elkhart city, Indiana *          1845.   Montgomery County, Indiana       1892.   Wea township, Indiana *
1793.   Elkhart County, Indiana *                *                                1893.   West Lafayette city, Indiana *
1794.   Elkhart township, Indiana *      1846.   Morgan County, Indiana *         1894.   Westfield city, Indiana *
1795.   Evansville city, Indiana *       1847.   Muncie city, Indiana *           1895.   White River township, Indiana
1796.   Fairfield township, Indiana *    1848.   New Albany city, Indiana *               *
1797.   Fall Creek township, Indiana *   1849.   New Albany township,             1896.   Whitley County, Indiana *
1798.   Fishers city, Indiana *                  Indiana *                        1897.   Addison township, Indiana
1799.   Floyd County, Indiana *          1850.   Noble County, Indiana *          1898.   Auburn city, Indiana
1800.   Fort Wayne city, Indiana *       1851.   Noblesville city, Indiana *      1899.   Avon town, Indiana
1801.   Franklin township, Indiana *     1852.   Noblesville township, Indiana    1900.   Bainbridge township, Indiana
1802.   Gary city, Indiana *                     *                                1901.   Baugo township, Indiana
1803.   Gibson County, Indiana *         1853.   North township, Indiana *        1902.   Bedford city, Indiana
1804.   Goshen city, Indiana *           1854.   Ohio township, Indiana *         1903.   Beech Grove city, Indiana
1805.   Grant County, Indiana *          1855.   Penn township, Indiana *         1904.   Blackford County, Indiana
1806.   Greene County, Indiana *         1856.   Perry township, Indiana *        1905.   Bluffton city, Indiana
1807.   Greenwood city, Indiana *        1857.   Perry township, Indiana *        1906.   Boon township, Indiana
1808.   Guilford township, Indiana *     1858.   Perry township, Indiana *        1907.   Brown County, Indiana
1809.   Hamilton County, Indiana *       1859.   Pike township, Indiana *         1908.   Brown township, Indiana


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1909.   Brown township, Indiana         1962.   Jackson township, Indiana        2016.   Sugar Creek township, Indiana
1910.   Brownsburg town, Indiana        1963.   Jackson township, Indiana        2017.   Sullivan County, Indiana
1911.   Carroll County, Indiana         1964.   Jasper city, Indiana             2018.   Switzerland County, Indiana
1912.   Cedar Creek township, Indiana   1965.   Jay County, Indiana              2019.   Tipton County, Indiana
1913.   Cedar Creek township, Indiana   1966.   Jefferson township, Indiana      2020.   Troy township, Indiana
1914.   Cedar Lake town, Indiana        1967.   Jennings County, Indiana         2021.   Union township, Indiana
1915.   Center township, Indiana        1968.   Keener township, Indiana         2022.   Union township, Indiana
1916.   Center township, Indiana        1969.   La Porte city, Indiana           2023.   Van Buren township, Indiana
1917.   Center township, Indiana        1970.   Lake Station city, Indiana       2024.   Vermillion County, Indiana
1918.   Center township, Indiana        1971.   Lawrenceburg township,           2025.   Vernon township, Indiana
1919.   Center township, Indiana                Indiana                          2026.   Vincennes city, Indiana
1920.   Center township, Indiana        1972.   Lebanon city, Indiana            2027.   Vincennes township, Indiana
1921.   Center township, Indiana        1973.   Logansport city, Indiana         2028.   Warsaw city, Indiana
1922.   Centre township, Indiana        1974.   Lost Creek township, Indiana     2029.   Washington city, Indiana
1923.   Charlestown township, Indiana   1975.   Madison city, Indiana            2030.   Washington County, Indiana
1924.   Chesterton town, Indiana        1976.   Madison township, Indiana        2031.   Washington township, Indiana
1925.   Clarksville town, Indiana       1977.   Marion city, Indiana             2032.   Washington township, Indiana
1926.   Clay County, Indiana            1978.   Martin County, Indiana           2033.   Washington township, Indiana
1927.   Cleveland township, Indiana     1979.   Martinsville city, Indiana       2034.   Washington township, Indiana
1928.   Columbia township, Indiana      1980.   Michigan township, Indiana       2035.   Wayne township, Indiana
1929.   Connersville city, Indiana      1981.   Mill township, Indiana           2036.   Wayne township, Indiana
1930.   Connersville township,          1982.   Munster town, Indiana            2037.   Wells County, Indiana
        Indiana                         1983.   New Castle city, Indiana         2038.   Westchester township, Indiana
1931.   Coolspring township, Indiana    1984.   New Haven city, Indiana          2039.   White County, Indiana
1932.   Crawford County, Indiana        1985.   Newton County, Indiana           2040.   Winfield township, Indiana
1933.   Crawfordsville city, Indiana    1986.   Noble township, Indiana          2041.   Yorktown town, Indiana
1934.   Danville town, Indiana          1987.   Orange County, Indiana           2042.   Zionsville town, Indiana
1935.   Decatur County, Indiana         1988.   Osolo township, Indiana          2043.   Ames city, Iowa *
1936.   Dyer town, Indiana              1989.   Owen County, Indiana             2044.   Ankeny city, Iowa *
1937.   East Chicago city, Indiana      1990.   Parke County, Indiana            2045.   Bettendorf city, Iowa *
1938.   Eel township, Indiana           1991.   Patoka township, Indiana         2046.   Black Hawk County, Iowa *
1939.   Fall Creek township, Indiana    1992.   Perry County, Indiana            2047.   Cedar Falls city, Iowa *
1940.   Fayette County, Indiana         1993.   Perry township, Indiana          2048.   Cedar Rapids city, Iowa *
1941.   Fountain County, Indiana        1994.   Peru city, Indiana               2049.   Cerro Gordo County, Iowa *
1942.   Frankfort city, Indiana         1995.   Peru township, Indiana           2050.   Clinton County, Iowa *
1943.   Franklin city, Indiana          1996.   Pigeon township, Indiana         2051.   Council Bluffs city, Iowa *
1944.   Franklin County, Indiana        1997.   Pike County, Indiana             2052.   Dallas County, Iowa *
1945.   Franklin township, Indiana      1998.   Pipe Creek township, Indiana     2053.   Davenport city, Iowa *
1946.   Fulton County, Indiana          1999.   Pleasant township, Indiana       2054.   Des Moines city, Iowa *
1947.   Georgetown township, Indiana    2000.   Posey County, Indiana            2055.   Des Moines County, Iowa *
1948.   Greencastle city, Indiana       2001.   Pulaski County, Indiana          2056.   Dubuque city, Iowa *
1949.   Greencastle township, Indiana   2002.   Randolph County, Indiana         2057.   Dubuque County, Iowa *
1950.   Greenfield city, Indiana        2003.   Richland township, Indiana       2058.   Iowa City city, Iowa *
1951.   Greensburg city, Indiana        2004.   Ripley County, Indiana           2059.   Jasper County, Iowa *
1952.   Griffith town, Indiana          2005.   Rush County, Indiana             2060.   Johnson County, Iowa *
1953.   Hanover township, Indiana       2006.   Schererville town, Indiana       2061.   Lee County, Iowa *
1954.   Harris township, Indiana        2007.   Scott County, Indiana            2062.   Linn County, Iowa *
1955.   Harrison township, Indiana      2008.   Seymour city, Indiana            2063.   Marion city, Iowa *
1956.   Henry township, Indiana         2009.   Shawswick township, Indiana      2064.   Marion County, Iowa *
1957.   Highland town, Indiana          2010.   Shelbyville city, Indiana        2065.   Marshall County, Iowa *
1958.   Hobart city, Indiana            2011.   Silver Creek township, Indiana   2066.   Muscatine County, Iowa *
1959.   Honey Creek township,           2012.   Speedway town, Indiana           2067.   Polk County, Iowa *
        Indiana                         2013.   Spencer County, Indiana          2068.   Pottawattamie County, Iowa *
1960.   Huntington city, Indiana        2014.   St. John town, Indiana           2069.   Scott County, Iowa *
1961.   Huntington township, Indiana    2015.   Starke County, Indiana           2070.   Sioux City city, Iowa *


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2071.   Sioux County, Iowa *           2126.   Kossuth County, Iowa         2179.   Olathe city, Kansas *
2072.   Story County, Iowa *           2127.   Le Mars city, Iowa           2180.   Overland Park city, Kansas *
2073.   Urbandale city, Iowa *         2128.   Louisa County, Iowa          2181.   Reno County, Kansas *
2074.   Wapello County, Iowa *         2129.   Lyon County, Iowa            2182.   Riley County, Kansas *
2075.   Warren County, Iowa *          2130.   Madison County, Iowa         2183.   Salina city, Kansas *
2076.   Waterloo city, Iowa *          2131.   Mahaska County, Iowa         2184.   Saline County, Kansas *
2077.   Webster County, Iowa *         2132.   Marshalltown city, Iowa      2185.   Sedgwick County, Kansas *
2078.   West Des Moines city, Iowa *   2133.   Mason City city, Iowa        2186.   Shawnee city, Kansas *
2079.   Woodbury County, Iowa *        2134.   Mills County, Iowa           2187.   Shawnee County, Kansas *
2080.   Allamakee County, Iowa         2135.   Mitchell County, Iowa        2188.   Topeka city, Kansas *
2081.   Altoona city, Iowa             2136.   Muscatine city, Iowa         2189.   Wichita city, Kansas *
2082.   Appanoose County, Iowa         2137.   Newton city, Iowa            2190.   Allen County, Kansas
2083.   Benton County, Iowa            2138.   North Liberty city, Iowa     2191.   Andover city, Kansas
2084.   Boone city, Iowa               2139.   Norwalk city, Iowa           2192.   Arkansas City city, Kansas
2085.   Boone County, Iowa             2140.   O'Brien County, Iowa         2193.   Atchison city, Kansas
2086.   Bremer County, Iowa            2141.   Oskaloosa city, Iowa         2194.   Atchison County, Kansas
2087.   Buchanan County, Iowa          2142.   Ottumwa city, Iowa           2195.   Barton County, Kansas
2088.   Buena Vista County, Iowa       2143.   Page County, Iowa            2196.   Bourbon County, Kansas
2089.   Burlington city, Iowa          2144.   Pella city, Iowa             2197.   Bruno township, Kansas
2090.   Butler County, Iowa            2145.   Pleasant Hill city, Iowa     2198.   Cherokee County, Kansas
2091.   Carroll County, Iowa           2146.   Plymouth County, Iowa        2199.   Derby city, Kansas
2092.   Cass County, Iowa              2147.   Poweshiek County, Iowa       2200.   Dickinson County, Kansas
2093.   Cedar County, Iowa             2148.   Shelby County, Iowa          2201.   Dodge City city, Kansas
2094.   Cherokee County, Iowa          2149.   Spencer city, Iowa           2202.   El Dorado city, Kansas
2095.   Chickasaw County, Iowa         2150.   Storm Lake city, Iowa        2203.   Ellis County, Kansas
2096.   Clay County, Iowa              2151.   Tama County, Iowa            2204.   Emporia city, Kansas
2097.   Clayton County, Iowa           2152.   Union County, Iowa           2205.   Fairmount township, Kansas
2098.   Clinton city, Iowa             2153.   Washington County, Iowa      2206.   Franklin County, Kansas
2099.   Clive city, Iowa               2154.   Waukee city, Iowa            2207.   Garden City city, Kansas
2100.   Coralville city, Iowa          2155.   Waverly city, Iowa           2208.   Gardner city, Kansas
2101.   Crawford County, Iowa          2156.   Winnebago County, Iowa       2209.   Great Bend city, Kansas
2102.   Delaware County, Iowa          2157.   Winneshiek County, Iowa      2210.   Hays city, Kansas
2103.   Dickinson County, Iowa         2158.   Wright County, Iowa          2211.   Haysville city, Kansas
2104.   Fairfield city, Iowa           2159.   Butler County, Kansas *      2212.   Jackson County, Kansas
2105.   Fayette County, Iowa           2160.   Cowley County, Kansas *      2213.   Jefferson County, Kansas
2106.   Floyd County, Iowa             2161.   Crawford County, Kansas *    2214.   Junction City city, Kansas
2107.   Fort Dodge city, Iowa          2162.   Douglas County, Kansas *     2215.   Labette County, Kansas
2108.   Fort Madison city, Iowa        2163.   Finney County, Kansas *      2216.   Lansing city, Kansas
2109.   Franklin County, Iowa          2164.   Ford County, Kansas *        2217.   Liberal city, Kansas
2110.   Grimes city, Iowa              2165.   Geary County, Kansas *       2218.   Madison township, Kansas
2111.   Grundy County, Iowa            2166.   Harvey County, Kansas *      2219.   Marion County, Kansas
2112.   Guthrie County, Iowa           2167.   Hutchinson city, Kansas *    2220.   McPherson city, Kansas
2113.   Hamilton County, Iowa          2168.   Johnson County, Kansas *     2221.   McPherson County, Kansas
2114.   Hancock County, Iowa           2169.   Kansas City city, Kansas *   2222.   Merriam city, Kansas
2115.   Hardin County, Iowa            2170.   Lawrence city, Kansas *      2223.   Nemaha County, Kansas
2116.   Harrison County, Iowa          2171.   Leavenworth city, Kansas *   2224.   Neosho County, Kansas
2117.   Henry County, Iowa             2172.   Leavenworth County, Kansas   2225.   Newton city, Kansas
2118.   Indianola city, Iowa                   *                            2226.   Osage County, Kansas
2119.   Iowa County, Iowa              2173.   Leawood city, Kansas *       2227.   Ottawa city, Kansas
2120.   Jackson County, Iowa           2174.   Lenexa city, Kansas *        2228.   Pittsburg city, Kansas
2121.   Jefferson County, Iowa         2175.   Lyon County, Kansas *        2229.   Pottawatomie County, Kansas
2122.   Johnston city, Iowa            2176.   Manhattan city, Kansas *     2230.   Prairie Village city, Kansas
2123.   Jones County, Iowa             2177.   Miami County, Kansas *       2231.   Riverside township, Kansas
2124.   Keokuk city, Iowa              2178.   Montgomery County, Kansas    2232.   Rockford township, Kansas
2125.   Keokuk County, Iowa                    *                            2233.   Seward County, Kansas


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2234.   Soldier township, Kansas         2281.   Adair County, Kentucky          2335.   McCreary County, Kentucky
2235.   Sumner County, Kansas            2282.   Allen County, Kentucky          2336.   Meade County, Kentucky
2236.   Winfield city, Kansas            2283.   Anderson County, Kentucky       2337.   Mercer County, Kentucky
2237.   Barren County, Kentucky *        2284.   Ashland city, Kentucky          2338.   Metcalfe County, Kentucky
2238.   Boone County, Kentucky *         2285.   Bardstown city, Kentucky        2339.   Monroe County, Kentucky
2239.   Bowling Green city, Kentucky     2286.   Bath County, Kentucky           2340.   Montgomery County,
        *                                2287.   Bell County, Kentucky                   Kentucky
2240.   Boyd County, Kentucky *          2288.   Berea city, Kentucky            2341.   Morgan County, Kentucky
2241.   Boyle County, Kentucky *         2289.   Bourbon County, Kentucky        2342.   Mount Washington city,
2242.   Bullitt County, Kentucky *       2290.   Breathitt County, Kentucky              Kentucky
2243.   Calloway County, Kentucky *      2291.   Breckinridge County,            2343.   Murray city, Kentucky
2244.   Campbell County, Kentucky *              Kentucky                        2344.   Newport city, Kentucky
2245.   Christian County, Kentucky *     2292.   Butler County, Kentucky         2345.   Ohio County, Kentucky
2246.   Clark County, Kentucky *         2293.   Caldwell County, Kentucky       2346.   Owen County, Kentucky
2247.   Covington city, Kentucky *       2294.   Campbellsville city, Kentucky   2347.   Paducah city, Kentucky
2248.   Daviess County, Kentucky *       2295.   Carroll County, Kentucky        2348.   Pendleton County, Kentucky
2249.   Elizabethtown city, Kentucky     2296.   Carter County, Kentucky         2349.   Perry County, Kentucky
        *                                2297.   Casey County, Kentucky          2350.   Powell County, Kentucky
2250.   Florence city, Kentucky *        2298.   Clay County, Kentucky           2351.   Radcliff city, Kentucky
2251.   Floyd County, Kentucky *         2299.   Clinton County, Kentucky        2352.   Rockcastle County, Kentucky
2252.   Franklin County, Kentucky *      2300.   Danville city, Kentucky         2353.   Rowan County, Kentucky
2253.   Georgetown city, Kentucky *      2301.   Edmonson County, Kentucky       2354.   Russell County, Kentucky
2254.   Graves County, Kentucky *        2302.   Erlanger city, Kentucky         2355.   Shelbyville city, Kentucky
2255.   Greenup County, Kentucky *       2303.   Estill County, Kentucky         2356.   Shepherdsville city, Kentucky
2256.   Hardin County, Kentucky *        2304.   Fleming County, Kentucky        2357.   Shively city, Kentucky
2257.   Henderson County, Kentucky       2305.   Fort Thomas city, Kentucky      2358.   Simpson County, Kentucky
        *                                2306.   Frankfort city, Kentucky        2359.   Somerset city, Kentucky
2258.   Hopkins County, Kentucky *       2307.   Garrard County, Kentucky        2360.   Spencer County, Kentucky
2259.   Hopkinsville city, Kentucky *    2308.   Glasgow city, Kentucky          2361.   St. Matthews city, Kentucky
2260.   Jessamine County, Kentucky *     2309.   Grant County, Kentucky          2362.   Taylor County, Kentucky
2261.   Kenton County, Kentucky *        2310.   Grayson County, Kentucky        2363.   Todd County, Kentucky
2262.   Knox County, Kentucky *          2311.   Green County, Kentucky          2364.   Trigg County, Kentucky
2263.   Laurel County, Kentucky *        2312.   Harlan County, Kentucky         2365.   Union County, Kentucky
2264.   Lexington-Fayette urban          2313.   Harrison County, Kentucky       2366.   Washington County, Kentucky
        county, Kentucky *               2314.   Hart County, Kentucky           2367.   Wayne County, Kentucky
2265.   Louisville/Jefferson County      2315.   Henderson city, Kentucky        2368.   Webster County, Kentucky
        metro government, Kentucky       2316.   Henry County, Kentucky          2369.   Winchester city, Kentucky
        *                                2317.   Independence city, Kentucky     2370.   Woodford County, Kentucky
2266.   Madison County, Kentucky *       2318.   Jackson County, Kentucky        2371.   Acadia Parish, Louisiana *
2267.   Marshall County, Kentucky *      2319.   Jeffersontown city, Kentucky    2372.   Alexandria city, Louisiana *
2268.   McCracken County, Kentucky       2320.   Johnson County, Kentucky        2373.   Ascension Parish, Louisiana *
        *                                2321.   Knott County, Kentucky          2374.   Avoyelles Parish, Louisiana *
2269.   Muhlenberg County, Kentucky      2322.   Larue County, Kentucky          2375.   Baton Rouge city, Louisiana *
        *                                2323.   Lawrence County, Kentucky       2376.   Beauregard Parish, Louisiana
2270.   Nelson County, Kentucky *        2324.   Lawrenceburg city, Kentucky             *
2271.   Nicholasville city, Kentucky *   2325.   Letcher County, Kentucky        2377.   Bossier City city, Louisiana *
2272.   Oldham County, Kentucky *        2326.   Lewis County, Kentucky          2378.   Bossier Parish, Louisiana *
2273.   Owensboro city, Kentucky *       2327.   Lincoln County, Kentucky        2379.   Caddo Parish, Louisiana *
2274.   Pike County, Kentucky *          2328.   Logan County, Kentucky          2380.   Calcasieu Parish, Louisiana *
2275.   Pulaski County, Kentucky *       2329.   Lyndon city, Kentucky           2381.   East Baton Rouge Parish,
2276.   Richmond city, Kentucky *        2330.   Madisonville city, Kentucky             Louisiana *
2277.   Scott County, Kentucky *         2331.   Magoffin County, Kentucky       2382.   Evangeline Parish, Louisiana *
2278.   Shelby County, Kentucky *        2332.   Marion County, Kentucky         2383.   Iberia Parish, Louisiana *
2279.   Warren County, Kentucky *        2333.   Martin County, Kentucky         2384.   Iberville Parish, Louisiana *
2280.   Whitley County, Kentucky *       2334.   Mason County, Kentucky


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2385.   Jefferson Davis Parish,           2430.   Gonzales city, Louisiana         2481.   Auburn city, Maine
        Louisiana *                       2431.   Grant Parish, Louisiana          2482.   Augusta city, Maine
2386.   Jefferson Parish, Louisiana *     2432.   Gretna city, Louisiana           2483.   Biddeford city, Maine
2387.   Kenner city, Louisiana *          2433.   Hammond city, Louisiana          2484.   Brunswick town, Maine
2388.   Lafayette city, Louisiana *       2434.   Jackson Parish, Louisiana        2485.   Falmouth town, Maine
2389.   Lafayette Parish, Louisiana *     2435.   LaSalle Parish, Louisiana        2486.   Gorham town, Maine
2390.   Lafourche Parish, Louisiana *     2436.   Madison Parish, Louisiana        2487.   Kennebunk town, Maine
2391.   Lake Charles city, Louisiana *    2437.   Mandeville city, Louisiana       2488.   Orono town, Maine
2392.   Lincoln Parish, Louisiana *       2438.   Minden city, Louisiana           2489.   Piscataquis County, Maine
2393.   Livingston Parish, Louisiana *    2439.   Morehouse Parish, Louisiana      2490.   Saco city, Maine
2394.   Monroe city, Louisiana *          2440.   Morgan City city, Louisiana      2491.   Sanford city, Maine
2395.   Natchitoches Parish, Louisiana    2441.   Natchitoches city, Louisiana     2492.   Scarborough town, Maine
        *                                 2442.   New Iberia city, Louisiana       2493.   South Portland city, Maine
2396.   New Orleans city / Orleans        2443.   Opelousas city, Louisiana        2494.   Standish town, Maine
        Parish, Louisiana *               2444.   Pineville city, Louisiana        2495.   Waterville city, Maine
2397.   Ouachita Parish, Louisiana *      2445.   Plaquemines Parish, Louisiana    2496.   Wells town, Maine
2398.   Rapides Parish, Louisiana *       2446.   Pointe Coupee Parish,            2497.   Westbrook city, Maine
2399.   Shreveport city, Louisiana *              Louisiana                        2498.   Windham town, Maine
2400.   St. Bernard Parish, Louisiana     2447.   Richland Parish, Louisiana       2499.   York town, Maine
        *                                 2448.   Ruston city, Louisiana           2500.   Allegany County, Maryland *
2401.   St. Charles Parish, Louisiana *   2449.   Sabine Parish, Louisiana         2501.   Annapolis city, Maryland *
2402.   St. John the Baptist Parish,      2450.   Slidell city, Louisiana          2502.   Anne Arundel County,
        Louisiana *                       2451.   St. Helena Parish, Louisiana             Maryland *
2403.   St. Landry Parish, Louisiana *    2452.   St. James Parish, Louisiana      2503.   Baltimore city, Maryland *
2404.   St. Martin Parish, Louisiana *    2453.   Sulphur city, Louisiana          2504.   Baltimore County, Maryland *
2405.   St. Mary Parish, Louisiana *      2454.   Thibodaux city, Louisiana        2505.   Bowie city, Maryland *
2406.   St. Tammany Parish,               2455.   Union Parish, Louisiana          2506.   Calvert County, Maryland *
        Louisiana *                       2456.   West Baton Rouge Parish,         2507.   Caroline County, Maryland *
2407.   Tangipahoa Parish, Louisiana              Louisiana                        2508.   Carroll County, Maryland *
        *                                 2457.   West Carroll Parish, Louisiana   2509.   Cecil County, Maryland *
2408.   Terrebonne Parish, Louisiana      2458.   West Feliciana Parish,           2510.   Charles County, Maryland *
        *                                         Louisiana                        2511.   College Park city, Maryland *
2409.   Vermilion Parish, Louisiana *     2459.   West Monroe city, Louisiana      2512.   Dorchester County, Maryland
2410.   Vernon Parish, Louisiana *        2460.   Winn Parish, Louisiana                   *
2411.   Washington Parish, Louisiana      2461.   Youngsville city, Louisiana      2513.   Frederick city, Maryland *
        *                                 2462.   Zachary city, Louisiana          2514.   Frederick County, Maryland *
2412.   Webster Parish, Louisiana *       2463.   Androscoggin County, Maine       2515.   Gaithersburg city, Maryland *
2413.   Abbeville city, Louisiana                 *                                2516.   Hagerstown city, Maryland *
2414.   Allen Parish, Louisiana           2464.   Aroostook County, Maine *        2517.   Harford County, Maryland *
2415.   Assumption Parish, Louisiana      2465.   Bangor city, Maine *             2518.   Howard County, Maryland *
2416.   Baker city, Louisiana             2466.   Cumberland County, Maine *       2519.   Montgomery County,
2417.   Bastrop city, Louisiana           2467.   Franklin County, Maine *                 Maryland *
2418.   Bienville Parish, Louisiana       2468.   Hancock County, Maine *          2520.   Prince George's County,
2419.   Bogalusa city, Louisiana          2469.   Kennebec County, Maine *                 Maryland *
2420.   Broussard city, Louisiana         2470.   Knox County, Maine *             2521.   Queen Anne's County,
2421.   Central city, Louisiana           2471.   Lewiston city, Maine *                   Maryland *
2422.   Claiborne Parish, Louisiana       2472.   Lincoln County, Maine *          2522.   Rockville city, Maryland *
2423.   Concordia Parish, Louisiana       2473.   Oxford County, Maine *           2523.   Salisbury city, Maryland *
2424.   Covington city, Louisiana         2474.   Penobscot County, Maine *        2524.   St. Mary's County, Maryland *
2425.   Crowley city, Louisiana           2475.   Portland city, Maine *           2525.   Talbot County, Maryland *
2426.   De Soto Parish, Louisiana         2476.   Sagadahoc County, Maine *        2526.   Washington County, Maryland
2427.   DeRidder city, Louisiana          2477.   Somerset County, Maine *                 *
2428.   East Feliciana Parish,            2478.   Waldo County, Maine *            2527.   Wicomico County, Maryland
        Louisiana                         2479.   Washington County, Maine *               *
2429.   Franklin Parish, Louisiana        2480.   York County, Maine *             2528.   Worcester County, Maryland *


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2529.   Aberdeen city, Maryland          2567.   Fitchburg city, Massachusetts      2601.   Waltham city, Massachusetts *
2530.   Bel Air town, Maryland                   *                                  2602.   Watertown Town city,
2531.   Cambridge city, Maryland         2568.   Framingham city,                           Massachusetts *
2532.   Cumberland city, Maryland                Massachusetts *                    2603.   Westfield city, Massachusetts
2533.   Easton town, Maryland            2569.   Franklin Town city,                        *
2534.   Elkton town, Maryland                    Massachusetts *                    2604.   Weymouth Town city,
2535.   Garrett County, Maryland         2570.   Gloucester city, Massachusetts             Massachusetts *
2536.   Greenbelt city, Maryland                 *                                  2605.   Woburn city, Massachusetts *
2537.   Havre de Grace city, Maryland    2571.   Haverhill city, Massachusetts      2606.   Worcester city, Massachusetts
2538.   Hyattsville city, Maryland               *                                          *
2539.   Kent County, Maryland            2572.   Holyoke city, Massachusetts *      2607.   Abington town, Massachusetts
2540.   Laurel city, Maryland            2573.   Lawrence city, Massachusetts       2608.   Acton town, Massachusetts
2541.   New Carrollton city, Maryland            *                                  2609.   Acushnet town, Massachusetts
2542.   Somerset County, Maryland        2574.   Leominster city,                   2610.   Agawam Town city,
2543.   Takoma Park city, Maryland               Massachusetts *                            Massachusetts
2544.   Westminster city, Maryland       2575.   Lexington town,                    2611.   Amesbury Town city,
2545.   Amherst town, Massachusetts              Massachusetts *                            Massachusetts
        *                                2576.   Lowell city, Massachusetts *       2612.   Ashland town, Massachusetts
2546.   Andover town, Massachusetts      2577.   Lynn city, Massachusetts *         2613.   Athol town, Massachusetts
        *                                2578.   Malden city, Massachusetts *       2614.   Auburn town, Massachusetts
2547.   Arlington town, Massachusetts    2579.   Marlborough city,                  2615.   Bedford town, Massachusetts
        *                                        Massachusetts *                    2616.   Belchertown town,
2548.   Attleboro city, Massachusetts    2580.   Medford city, Massachusetts *              Massachusetts
        *                                2581.   Methuen Town city,                 2617.   Bellingham town,
2549.   Barnstable County,                       Massachusetts *                            Massachusetts
        Massachusetts *                  2582.   Natick town, Massachusetts *       2618.   Belmont town, Massachusetts
2550.   Barnstable Town city,            2583.   Needham town, Massachusetts        2619.   Bourne town, Massachusetts
        Massachusetts *                          *                                  2620.   Bridgewater Town city,
2551.   Beverly city, Massachusetts *    2584.   New Bedford city,                          Massachusetts
2552.   Billerica town, Massachusetts            Massachusetts *                    2621.   Burlington town,
        *                                2585.   Newton city, Massachusetts *               Massachusetts
2553.   Boston city, Massachusetts *     2586.   Norfolk County,                    2622.   Canton town, Massachusetts
2554.   Braintree Town city,                     Massachusetts *                    2623.   Carver town, Massachusetts
        Massachusetts *                  2587.   North Andover town,                2624.   Charlton town, Massachusetts
2555.   Bristol County, Massachusetts            Massachusetts *                    2625.   Clinton town, Massachusetts
        *                                2588.   Peabody city, Massachusetts *      2626.   Concord town, Massachusetts
2556.   Brockton city, Massachusetts     2589.   Pittsfield city, Massachusetts *   2627.   Danvers town, Massachusetts
        *                                2590.   Plymouth County,                   2628.   Dedham town, Massachusetts
2557.   Brookline town,                          Massachusetts *                    2629.   Dennis town, Massachusetts
        Massachusetts *                  2591.   Plymouth town, Massachusetts       2630.   Dudley town, Massachusetts
2558.   Cambridge city, Massachusetts            *                                  2631.   Dukes County, Massachusetts
        *                                2592.   Quincy city, Massachusetts *       2632.   Duxbury town, Massachusetts
2559.   Chelmsford town,                 2593.   Randolph Town city,                2633.   East Bridgewater town,
        Massachusetts *                          Massachusetts *                            Massachusetts
2560.   Chelsea city, Massachusetts *    2594.   Revere city, Massachusetts *       2634.   East Longmeadow town,
2561.   Chicopee city, Massachusetts     2595.   Salem city, Massachusetts *                Massachusetts
        *                                2596.   Shrewsbury town,                   2635.   Easthampton Town city,
2562.   Dartmouth town,                          Massachusetts *                            Massachusetts
        Massachusetts *                  2597.   Somerville city, Massachusetts     2636.   Easton town, Massachusetts
2563.   Dracut town, Massachusetts *             *                                  2637.   Fairhaven town,
2564.   Everett city, Massachusetts *    2598.   Springfield city,                          Massachusetts
2565.   Fall River city, Massachusetts           Massachusetts *                    2638.   Foxborough town,
        *                                2599.   Taunton city, Massachusetts *              Massachusetts
2566.   Falmouth town, Massachusetts     2600.   Tewksbury town,                    2639.   Gardner city, Massachusetts
        *                                        Massachusetts *                    2640.   Grafton town, Massachusetts


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2641.   Greenfield Town city,           2681.   Northampton city,               2720.   Westford town, Massachusetts
        Massachusetts                           Massachusetts                   2721.   Weston town, Massachusetts
2642.   Groton town, Massachusetts      2682.   Northborough town,              2722.   Westport town, Massachusetts
2643.   Hanover town, Massachusetts             Massachusetts                   2723.   Westwood town,
2644.   Hanson town, Massachusetts      2683.   Northbridge town,                       Massachusetts
2645.   Harwich town, Massachusetts             Massachusetts                   2724.   Whitman town, Massachusetts
2646.   Hingham town, Massachusetts     2684.   Norton town, Massachusetts      2725.   Wilbraham town,
2647.   Holbrook town, Massachusetts    2685.   Norwell town, Massachusetts             Massachusetts
2648.   Holden town, Massachusetts      2686.   Norwood town, Massachusetts     2726.   Wilmington town,
2649.   Holliston town, Massachusetts   2687.   Oxford town, Massachusetts              Massachusetts
2650.   Hopkinton town,                 2688.   Palmer Town city,               2727.   Winchendon town,
        Massachusetts                           Massachusetts                           Massachusetts
2651.   Hudson town, Massachusetts      2689.   Pembroke town,                  2728.   Winchester town,
2652.   Hull town, Massachusetts                Massachusetts                           Massachusetts
2653.   Ipswich town, Massachusetts     2690.   Pepperell town, Massachusetts   2729.   Winthrop Town city,
2654.   Kingston town, Massachusetts    2691.   Raynham town, Massachusetts             Massachusetts
2655.   Lakeville town, Massachusetts   2692.   Reading town, Massachusetts     2730.   Wrentham town,
2656.   Leicester town, Massachusetts   2693.   Rehoboth town, Massachusetts            Massachusetts
2657.   Littleton town, Massachusetts   2694.   Rockland town, Massachusetts    2731.   Yarmouth town,
2658.   Longmeadow town,                2695.   Sandwich town, Massachusetts            Massachusetts
        Massachusetts                   2696.   Saugus town, Massachusetts      2732.   Allegan County, Michigan *
2659.   Ludlow town, Massachusetts      2697.   Scituate town, Massachusetts    2733.   Ann Arbor city, Michigan *
2660.   Lunenburg town,                 2698.   Seekonk town, Massachusetts     2734.   Barry County, Michigan *
        Massachusetts                   2699.   Sharon town, Massachusetts      2735.   Battle Creek city, Michigan *
2661.   Lynnfield town, Massachusetts   2700.   Somerset town, Massachusetts    2736.   Bay City city, Michigan *
2662.   Mansfield town,                 2701.   South Hadley town,              2737.   Bay County, Michigan *
        Massachusetts                           Massachusetts                   2738.   Bedford township, Michigan *
2663.   Marblehead town,                2702.   Southborough town,              2739.   Berrien County, Michigan *
        Massachusetts                           Massachusetts                   2740.   Bloomfield charter township,
2664.   Marshfield town,                2703.   Southbridge Town city,                  Michigan *
        Massachusetts                           Massachusetts                   2741.   Branch County, Michigan *
2665.   Mashpee town, Massachusetts     2704.   Spencer town, Massachusetts     2742.   Brownstown charter township,
2666.   Maynard town, Massachusetts     2705.   Stoneham town,                          Michigan *
2667.   Medfield town, Massachusetts            Massachusetts                   2743.   Calhoun County, Michigan *
2668.   Medway town, Massachusetts      2706.   Stoughton town,                 2744.   Canton charter township,
2669.   Melrose city, Massachusetts             Massachusetts                           Michigan *
2670.   Middleborough town,             2707.   Sudbury town, Massachusetts     2745.   Cass County, Michigan *
        Massachusetts                   2708.   Swampscott town,                2746.   Chesterfield township,
2671.   Middleton town,                         Massachusetts                           Michigan *
        Massachusetts                   2709.   Swansea town, Massachusetts     2747.   Chippewa County, Michigan *
2672.   Milford town, Massachusetts     2710.   Tyngsborough town,              2748.   Clare County, Michigan *
2673.   Millbury town, Massachusetts            Massachusetts                   2749.   Clinton charter township,
2674.   Milton town, Massachusetts      2711.   Uxbridge town, Massachusetts            Michigan *
2675.   Nantucket town,                 2712.   Wakefield town,                 2750.   Clinton County, Michigan *
        Massachusetts                           Massachusetts                   2751.   Commerce charter township,
2676.   Newburyport city,               2713.   Walpole town, Massachusetts             Michigan *
        Massachusetts                   2714.   Wareham town, Massachusetts     2752.   Dearborn city, Michigan *
2677.   Norfolk town, Massachusetts     2715.   Wayland town, Massachusetts     2753.   Dearborn Heights city,
2678.   North Adams city,               2716.   Webster town, Massachusetts             Michigan *
        Massachusetts                   2717.   Wellesley town,                 2754.   Delta charter township,
2679.   North Attleborough town,                Massachusetts                           Michigan *
        Massachusetts                   2718.   West Springfield Town city,     2755.   Delta County, Michigan *
2680.   North Reading town,                     Massachusetts                   2756.   Detroit city, Michigan *
        Massachusetts                   2719.   Westborough town,               2757.   East Lansing city, Michigan *
                                                Massachusetts                   2758.   Eastpointe city, Michigan *


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2759.   Eaton County, Michigan *        2802.   Newaygo County, Michigan *        2841.   Adrian city, Michigan
2760.   Emmet County, Michigan *        2803.   Novi city, Michigan *             2842.   Alcona County, Michigan
2761.   Farmington Hills city,          2804.   Oakland County, Michigan *        2843.   Algoma township, Michigan
        Michigan *                      2805.   Orion charter township,           2844.   Allen Park city, Michigan
2762.   Flint charter township,                 Michigan *                        2845.   Allendale charter township,
        Michigan *                      2806.   Ottawa County, Michigan *                 Michigan
2763.   Flint city, Michigan *          2807.   Pittsfield charter township,      2846.   Alpena County, Michigan
2764.   Genesee County, Michigan *              Michigan *                        2847.   Alpine township, Michigan
2765.   Georgetown charter township,    2808.   Plainfield charter township,      2848.   Antrim County, Michigan
        Michigan *                              Michigan *                        2849.   Antwerp township, Michigan
2766.   Grand Blanc charter township,   2809.   Pontiac city, Michigan *          2850.   Arenac County, Michigan
        Michigan *                      2810.   Portage city, Michigan *          2851.   Auburn Hills city, Michigan
2767.   Grand Rapids city, Michigan *   2811.   Redford charter township,         2852.   Bangor charter township,
2768.   Grand Traverse County,                  Michigan *                                Michigan
        Michigan *                      2812.   Rochester Hills city, Michigan    2853.   Bath charter township,
2769.   Gratiot County, Michigan *              *                                         Michigan
2770.   Hillsdale County, Michigan *    2813.   Roseville city, Michigan *        2854.   Benton charter township,
2771.   Holland charter township,       2814.   Royal Oak city, Michigan *                Michigan
        Michigan *                      2815.   Saginaw charter township,         2855.   Benzie County, Michigan
2772.   Holland city, Michigan *                Michigan *                        2856.   Berkley city, Michigan
2773.   Houghton County, Michigan *     2816.   Saginaw city, Michigan *          2857.   Beverly Hills village,
2774.   Huron County, Michigan *        2817.   Saginaw County, Michigan *                Michigan
2775.   Independence charter            2818.   Sanilac County, Michigan *        2858.   Big Rapids city, Michigan
        township, Michigan *            2819.   Shelby charter township,          2859.   Birmingham city, Michigan
2776.   Ingham County, Michigan *               Michigan *                        2860.   Blackman charter township,
2777.   Ionia County, Michigan *        2820.   Shiawassee County, Michigan               Michigan
2778.   Isabella County, Michigan *             *                                 2861.   Brandon charter township,
2779.   Jackson city, Michigan *        2821.   Southfield city, Michigan *               Michigan
2780.   Jackson County, Michigan *      2822.   St. Clair County, Michigan *      2862.   Brighton township, Michigan
2781.   Kalamazoo city, Michigan *      2823.   St. Clair Shores city, Michigan   2863.   Burton city, Michigan
2782.   Kalamazoo County, Michigan              *                                 2864.   Byron township, Michigan
        *                               2824.   St. Joseph County, Michigan *     2865.   Cadillac city, Michigan
2783.   Kent County, Michigan *         2825.   Sterling Heights city,            2866.   Caledonia township, Michigan
2784.   Kentwood city, Michigan *               Michigan *                        2867.   Cannon township, Michigan
2785.   Lansing city, Michigan *        2826.   Taylor city, Michigan *           2868.   Cascade charter township,
2786.   Lapeer County, Michigan *       2827.   Troy city, Michigan *                     Michigan
2787.   Lenawee County, Michigan *      2828.   Tuscola County, Michigan *        2869.   Charlevoix County, Michigan
2788.   Lincoln Park city, Michigan *   2829.   Van Buren County, Michigan        2870.   Cheboygan County, Michigan
2789.   Livingston County, Michigan             *                                 2871.   Clawson city, Michigan
        *                               2830.   Warren city, Michigan *           2872.   Coldwater city, Michigan
2790.   Livonia city, Michigan *        2831.   Washtenaw County, Michigan        2873.   Comstock charter township,
2791.   Macomb County, Michigan *               *                                         Michigan
2792.   Macomb township, Michigan       2832.   Waterford charter township,       2874.   Cooper charter township,
        *                                       Michigan *                                Michigan
2793.   Marquette County, Michigan *    2833.   Wayne County, Michigan *          2875.   Crawford County, Michigan
2794.   Mecosta County, Michigan *      2834.   West Bloomfield charter           2876.   Davison township, Michigan
2795.   Meridian charter township,              township, Michigan *              2877.   Delhi charter township,
        Michigan *                      2835.   Westland city, Michigan *                 Michigan
2796.   Midland city, Michigan *        2836.   Wexford County, Michigan *        2878.   DeWitt charter township,
2797.   Midland County, Michigan *      2837.   White Lake charter township,              Michigan
2798.   Monroe County, Michigan *               Michigan *                        2879.   Dickinson County, Michigan
2799.   Montcalm County, Michigan *     2838.   Wyoming city, Michigan *          2880.   East Bay township, Michigan
2800.   Muskegon city, Michigan *       2839.   Ypsilanti charter township,       2881.   East Grand Rapids city,
2801.   Muskegon County, Michigan               Michigan *                                Michigan
        *                               2840.   Ada township, Michigan            2882.   Egelston township, Michigan


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2883.   Emmett charter township,         2921.   Ionia city, Michigan            2963.   Otsego County, Michigan
        Michigan                         2922.   Iosco County, Michigan          2964.   Owosso city, Michigan
2884.   Escanaba city, Michigan          2923.   Iron County, Michigan           2965.   Oxford charter township,
2885.   Farmington city, Michigan        2924.   Kalamazoo charter township,             Michigan
2886.   Fenton charter township,                 Michigan                        2966.   Park township, Michigan
        Michigan                         2925.   Kalkaska County, Michigan       2967.   Plymouth charter township,
2887.   Fenton city, Michigan            2926.   Lake County, Michigan                   Michigan
2888.   Ferndale city, Michigan          2927.   Leelanau County, Michigan       2968.   Port Huron charter township,
2889.   Flat Rock city, Michigan         2928.   Lenox township, Michigan                Michigan
2890.   Flushing charter township,       2929.   Leoni township, Michigan        2969.   Port Huron city, Michigan
        Michigan                         2930.   Lincoln charter township,       2970.   Presque Isle County, Michigan
2891.   Fort Gratiot charter township,           Michigan                        2971.   Riverview city, Michigan
        Michigan                         2931.   Lyon charter township,          2972.   Rochester city, Michigan
2892.   Fraser city, Michigan                    Michigan                        2973.   Romulus city, Michigan
2893.   Frenchtown township,             2932.   Mackinac County, Michigan       2974.   Roscommon County,
        Michigan                         2933.   Madison Heights city,                   Michigan
2894.   Fruitport charter township,              Michigan                        2975.   Sault Ste. Marie city,
        Michigan                         2934.   Manistee County, Michigan               Michigan
2895.   Gaines charter township,         2935.   Marion township, Michigan       2976.   Scio township, Michigan
        Michigan                         2936.   Marquette city, Michigan        2977.   South Lyon city, Michigan
2896.   Garden City city, Michigan       2937.   Mason County, Michigan          2978.   Southfield township, Michigan
2897.   Garfield charter township,       2938.   Melvindale city, Michigan       2979.   Southgate city, Michigan
        Michigan                         2939.   Menominee County, Michigan      2980.   Spring Lake township,
2898.   Genesee charter township,        2940.   Milford charter township,               Michigan
        Michigan                                 Michigan                        2981.   Springfield charter township,
2899.   Genoa township, Michigan         2941.   Missaukee County, Michigan              Michigan
2900.   Gladwin County, Michigan         2942.   Monitor charter township,       2982.   Sturgis city, Michigan
2901.   Gogebic County, Michigan                 Michigan                        2983.   Summit township, Michigan
2902.   Grand Haven charter              2943.   Monroe charter township,        2984.   Superior charter township,
        township, Michigan                       Michigan                                Michigan
2903.   Grand Haven city, Michigan       2944.   Monroe city, Michigan           2985.   Texas charter township,
2904.   Grand Rapids charter             2945.   Mount Clemens city,                     Michigan
        township, Michigan                       Michigan                        2986.   Thomas township, Michigan
2905.   Grandville city, Michigan        2946.   Mount Morris township,          2987.   Traverse City city, Michigan
2906.   Green Oak township,                      Michigan                        2988.   Trenton city, Michigan
        Michigan                         2947.   Mount Pleasant city, Michigan   2989.   Tyrone township, Michigan
2907.   Grosse Ile township, Michigan    2948.   Mundy township, Michigan        2990.   Union charter township,
2908.   Grosse Pointe Park city,         2949.   Muskegon charter township,              Michigan
        Michigan                                 Michigan                        2991.   Van Buren charter township,
2909.   Grosse Pointe Woods city,        2950.   Muskegon Heights city,                  Michigan
        Michigan                                 Michigan                        2992.   Vienna charter township,
2910.   Hamburg township, Michigan       2951.   New Baltimore city, Michigan            Michigan
2911.   Hamtramck city, Michigan         2952.   Niles city, Michigan            2993.   Walker city, Michigan
2912.   Harper Woods city, Michigan      2953.   Niles township, Michigan        2994.   Washington township,
2913.   Harrison charter township,       2954.   Northville township, Michigan           Michigan
        Michigan                         2955.   Norton Shores city, Michigan    2995.   Wayne city, Michigan
2914.   Hartland township, Michigan      2956.   Oak Park city, Michigan         2996.   Wixom city, Michigan
2915.   Hazel Park city, Michigan        2957.   Oakland charter township,       2997.   Woodhaven city, Michigan
2916.   Highland charter township,               Michigan                        2998.   Wyandotte city, Michigan
        Michigan                         2958.   Oceana County, Michigan         2999.   Ypsilanti city, Michigan
2917.   Highland Park city, Michigan     2959.   Oceola township, Michigan       3000.   Zeeland charter township,
2918.   Holly township, Michigan         2960.   Ogemaw County, Michigan                 Michigan
2919.   Huron charter township,          2961.   Osceola County, Michigan        3001.   Andover city, Minnesota *
        Michigan                         2962.   Oshtemo charter township,       3002.   Anoka County, Minnesota *
2920.   Inkster city, Michigan                   Michigan


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3003.   Apple Valley city, Minnesota     3046.   Plymouth city, Minnesota *       3096.   Forest Lake city, Minnesota
        *                                3047.   Polk County, Minnesota *         3097.   Fridley city, Minnesota
3004.   Becker County, Minnesota *       3048.   Ramsey County, Minnesota *       3098.   Golden Valley city, Minnesota
3005.   Beltrami County, Minnesota *     3049.   Rice County, Minnesota *         3099.   Grand Rapids city, Minnesota
3006.   Benton County, Minnesota *       3050.   Richfield city, Minnesota *      3100.   Ham Lake city, Minnesota
3007.   Blaine city, Minnesota *         3051.   Rochester city, Minnesota *      3101.   Hastings city, Minnesota
3008.   Bloomington city, Minnesota      3052.   Roseville city, Minnesota *      3102.   Hibbing city, Minnesota
        *                                3053.   Savage city, Minnesota *         3103.   Hopkins city, Minnesota
3009.   Blue Earth County, Minnesota     3054.   Scott County, Minnesota *        3104.   Houston County, Minnesota
        *                                3055.   Shakopee city, Minnesota *       3105.   Hubbard County, Minnesota
3010.   Brooklyn Center city,            3056.   Sherburne County, Minnesota      3106.   Hugo city, Minnesota
        Minnesota *                              *                                3107.   Hutchinson city, Minnesota
3011.   Brooklyn Park city, Minnesota    3057.   St. Cloud city, Minnesota *      3108.   Kanabec County, Minnesota
        *                                3058.   St. Louis County, Minnesota *    3109.   Koochiching County,
3012.   Burnsville city, Minnesota *     3059.   St. Louis Park city, Minnesota           Minnesota
3013.   Carlton County, Minnesota *              *                                3110.   Lake County, Minnesota
3014.   Carver County, Minnesota *       3060.   St. Paul city, Minnesota *       3111.   Le Sueur County, Minnesota
3015.   Chisago County, Minnesota *      3061.   Stearns County, Minnesota *      3112.   Lino Lakes city, Minnesota
3016.   Clay County, Minnesota *         3062.   Steele County, Minnesota *       3113.   Little Canada city, Minnesota
3017.   Coon Rapids city, Minnesota *    3063.   Washington County,               3114.   Lyon County, Minnesota
3018.   Cottage Grove city, Minnesota            Minnesota *                      3115.   Marshall city, Minnesota
        *                                3064.   Winona County, Minnesota *       3116.   Martin County, Minnesota
3019.   Crow Wing County,                3065.   Woodbury city, Minnesota *       3117.   Meeker County, Minnesota
        Minnesota *                      3066.   Wright County, Minnesota *       3118.   Mendota Heights city,
3020.   Dakota County, Minnesota *       3067.   Aitkin County, Minnesota                 Minnesota
3021.   Douglas County, Minnesota *      3068.   Albert Lea city, Minnesota       3119.   Mille Lacs County, Minnesota
3022.   Duluth city, Minnesota *         3069.   Alexandria city, Minnesota       3120.   Monticello city, Minnesota
3023.   Eagan city, Minnesota *          3070.   Anoka city, Minnesota            3121.   Mounds View city, Minnesota
3024.   Eden Prairie city, Minnesota *   3071.   Arden Hills city, Minnesota      3122.   New Brighton city, Minnesota
3025.   Edina city, Minnesota *          3072.   Austin city, Minnesota           3123.   New Hope city, Minnesota
3026.   Freeborn County, Minnesota *     3073.   Bemidji city, Minnesota          3124.   New Ulm city, Minnesota
3027.   Goodhue County, Minnesota *      3074.   Big Lake city, Minnesota         3125.   Nobles County, Minnesota
3028.   Hennepin County, Minnesota       3075.   Brainerd city, Minnesota         3126.   North Branch city, Minnesota
        *                                3076.   Brown County, Minnesota          3127.   North Mankato city,
3029.   Inver Grove Heights city,        3077.   Buffalo city, Minnesota                  Minnesota
        Minnesota *                      3078.   Cass County, Minnesota           3128.   North St. Paul city, Minnesota
3030.   Isanti County, Minnesota *       3079.   Champlin city, Minnesota         3129.   Northfield city, Minnesota
3031.   Itasca County, Minnesota *       3080.   Chanhassen city, Minnesota       3130.   Oakdale city, Minnesota
3032.   Kandiyohi County, Minnesota      3081.   Chaska city, Minnesota           3131.   Otsego city, Minnesota
        *                                3082.   Chippewa County, Minnesota       3132.   Owatonna city, Minnesota
3033.   Lakeville city, Minnesota *      3083.   Cloquet city, Minnesota          3133.   Pennington County, Minnesota
3034.   Mankato city, Minnesota *        3084.   Columbia Heights city,           3134.   Pine County, Minnesota
3035.   Maple Grove city, Minnesota              Minnesota                        3135.   Pope County, Minnesota
        *                                3085.   Cottonwood County,               3136.   Prior Lake city, Minnesota
3036.   Maplewood city, Minnesota *              Minnesota                        3137.   Ramsey city, Minnesota
3037.   McLeod County, Minnesota *       3086.   Crystal city, Minnesota          3138.   Red Wing city, Minnesota
3038.   Minneapolis city, Minnesota *    3087.   Dodge County, Minnesota          3139.   Redwood County, Minnesota
3039.   Minnetonka city, Minnesota *     3088.   East Bethel city, Minnesota      3140.   Renville County, Minnesota
3040.   Moorhead city, Minnesota *       3089.   Elk River city, Minnesota        3141.   Robbinsdale city, Minnesota
3041.   Morrison County, Minnesota *     3090.   Fairmont city, Minnesota         3142.   Rogers city, Minnesota
3042.   Mower County, Minnesota *        3091.   Faribault city, Minnesota        3143.   Roseau County, Minnesota
3043.   Nicollet County, Minnesota *     3092.   Faribault County, Minnesota      3144.   Rosemount city, Minnesota
3044.   Olmsted County, Minnesota *      3093.   Farmington city, Minnesota       3145.   Sartell city, Minnesota
3045.   Otter Tail County, Minnesota     3094.   Fergus Falls city, Minnesota     3146.   Sauk Rapids city, Minnesota
        *                                3095.   Fillmore County, Minnesota       3147.   Shoreview city, Minnesota


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3148.   Sibley County, Minnesota          3192.   Olive Branch city, Mississippi    3240.   Madison city, Mississippi
3149.   South St. Paul city, Minnesota            *                                 3241.   Marion County, Mississippi
3150.   St. Michael city, Minnesota       3193.   Panola County, Mississippi *      3242.   McComb city, Mississippi
3151.   St. Peter city, Minnesota         3194.   Pearl River County,               3243.   Moss Point city, Mississippi
3152.   Stillwater city, Minnesota                Mississippi *                     3244.   Natchez city, Mississippi
3153.   Todd County, Minnesota            3195.   Pike County, Mississippi *        3245.   Neshoba County, Mississippi
3154.   Vadnais Heights city,             3196.   Pontotoc County, Mississippi      3246.   Newton County, Mississippi
        Minnesota                                 *                                 3247.   Noxubee County, Mississippi
3155.   Victoria city, Minnesota          3197.   Rankin County, Mississippi *      3248.   Ocean Springs city,
3156.   Wabasha County, Minnesota         3198.   Southaven city, Mississippi *             Mississippi
3157.   Waconia city, Minnesota           3199.   Tupelo city, Mississippi *        3249.   Oxford city, Mississippi
3158.   Wadena County, Minnesota          3200.   Warren County, Mississippi *      3250.   Pascagoula city, Mississippi
3159.   Waseca County, Minnesota          3201.   Washington County,                3251.   Pearl city, Mississippi
3160.   Watonwan County, Minnesota                Mississippi *                     3252.   Perry County, Mississippi
3161.   West St. Paul city, Minnesota     3202.   Amite County, Mississippi         3253.   Petal city, Mississippi
3162.   White Bear Lake city,             3203.   Attala County, Mississippi        3254.   Picayune city, Mississippi
        Minnesota                         3204.   Bay St. Louis city, Mississippi   3255.   Prentiss County, Mississippi
3163.   White Bear township,              3205.   Brandon city, Mississippi         3256.   Ridgeland city, Mississippi
        Minnesota                         3206.   Brookhaven city, Mississippi      3257.   Scott County, Mississippi
3164.   Willmar city, Minnesota           3207.   Byram city, Mississippi           3258.   Simpson County, Mississippi
3165.   Winona city, Minnesota            3208.   Calhoun County, Mississippi       3259.   Smith County, Mississippi
3166.   Worthington city, Minnesota       3209.   Canton city, Mississippi          3260.   Starkville city, Mississippi
3167.   Adams County, Mississippi *       3210.   Chickasaw County,                 3261.   Stone County, Mississippi
3168.   Alcorn County, Mississippi *              Mississippi                       3262.   Sunflower County, Mississippi
3169.   Biloxi city, Mississippi *        3211.   Clarke County, Mississippi        3263.   Tallahatchie County,
3170.   Bolivar County, Mississippi *     3212.   Clarksdale city, Mississippi              Mississippi
3171.   DeSoto County, Mississippi *      3213.   Clay County, Mississippi          3264.   Tate County, Mississippi
3172.   Forrest County, Mississippi *     3214.   Cleveland city, Mississippi       3265.   Tippah County, Mississippi
3173.   Gulfport city, Mississippi *      3215.   Clinton city, Mississippi         3266.   Tishomingo County,
3174.   Hancock County, Mississippi       3216.   Coahoma County, Mississippi               Mississippi
        *                                 3217.   Columbus city, Mississippi        3267.   Union County, Mississippi
3175.   Harrison County, Mississippi      3218.   Copiah County, Mississippi        3268.   Vicksburg city, Mississippi
        *                                 3219.   Corinth city, Mississippi         3269.   Walthall County, Mississippi
3176.   Hattiesburg city, Mississippi *   3220.   Covington County,                 3270.   Wayne County, Mississippi
3177.   Hinds County, Mississippi *               Mississippi                       3271.   West Point city, Mississippi
3178.   Jackson city, Mississippi *       3221.   D'Iberville city, Mississippi     3272.   Winston County, Mississippi
3179.   Jackson County, Mississippi *     3222.   Gautier city, Mississippi         3273.   Yalobusha County,
3180.   Jones County, Mississippi *       3223.   George County, Mississippi                Mississippi
3181.   Lafayette County, Mississippi     3224.   Greene County, Mississippi        3274.   Yazoo City city, Mississippi
        *                                 3225.   Greenville city, Mississippi      3275.   Yazoo County, Mississippi
3182.   Lamar County, Mississippi *       3226.   Greenwood city, Mississippi       3276.   Ballwin city, Missouri *
3183.   Lauderdale County,                3227.   Grenada city, Mississippi         3277.   Barry County, Missouri *
        Mississippi *                     3228.   Grenada County, Mississippi       3278.   Blue Springs city, Missouri *
3184.   Lee County, Mississippi *         3229.   Hernando city, Mississippi        3279.   Boone County, Missouri *
3185.   Lincoln County, Mississippi *     3230.   Holmes County, Mississippi        3280.   Buchanan County, Missouri *
3186.   Lowndes County, Mississippi       3231.   Horn Lake city, Mississippi       3281.   Butler County, Missouri *
        *                                 3232.   Itawamba County, Mississippi      3282.   Callaway County, Missouri *
3187.   Madison County, Mississippi       3233.   Jasper County, Mississippi        3283.   Camden County, Missouri *
        *                                 3234.   Jefferson Davis County,           3284.   Cape Girardeau city, Missouri
3188.   Marshall County, Mississippi              Mississippi                               *
        *                                 3235.   Laurel city, Mississippi          3285.   Cape Girardeau County,
3189.   Meridian city, Mississippi *      3236.   Lawrence County, Mississippi              Missouri *
3190.   Monroe County, Mississippi *      3237.   Leake County, Mississippi         3286.   Cass County, Missouri *
3191.   Oktibbeha County, Mississippi     3238.   Leflore County, Mississippi       3287.   Chesterfield city, Missouri *
        *                                 3239.   Long Beach city, Mississippi      3288.   Christian County, Missouri *


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3289.   Clay County, Missouri *           3341.   Benton County, Missouri         3393.   Maryland Heights city,
3290.   Cole County, Missouri *           3342.   Bolivar city, Missouri                  Missouri
3291.   Columbia city, Missouri *         3343.   Bollinger County, Missouri      3394.   Maryville city, Missouri
3292.   Florissant city, Missouri *       3344.   Branson city, Missouri          3395.   McDonald County, Missouri
3293.   Franklin County, Missouri *       3345.   Bridgeton city, Missouri        3396.   Mexico city, Missouri
3294.   Greene County, Missouri *         3346.   Carthage city, Missouri         3397.   Miller County, Missouri
3295.   Howell County, Missouri *         3347.   Cedar County, Missouri          3398.   Mississippi County, Missouri
3296.   Independence city, Missouri *     3348.   Clayton city, Missouri          3399.   Moberly city, Missouri
3297.   Jackson County, Missouri *        3349.   Clinton County, Missouri        3400.   Moniteau County, Missouri
3298.   Jasper County, Missouri *         3350.   Cooper County, Missouri         3401.   Montgomery County, Missouri
3299.   Jefferson City city, Missouri *   3351.   Crawford County, Missouri       3402.   Morgan County, Missouri
3300.   Jefferson County, Missouri *      3352.   Crestwood city, Missouri        3403.   Neosho city, Missouri
3301.   Johnson County, Missouri *        3353.   Creve Coeur city, Missouri      3404.   New Madrid County, Missouri
3302.   Joplin city, Missouri *           3354.   Dallas County, Missouri         3405.   Nixa city, Missouri
3303.   Kansas City city, Missouri *      3355.   Dardenne Prairie city,          3406.   Nodaway County, Missouri
3304.   Laclede County, Missouri *                Missouri                        3407.   Oregon County, Missouri
3305.   Lafayette County, Missouri *      3356.   DeKalb County, Missouri         3408.   Osage County, Missouri
3306.   Lawrence County, Missouri *       3357.   Dent County, Missouri           3409.   Overland city, Missouri
3307.   Lee's Summit city, Missouri *     3358.   Douglas County, Missouri        3410.   Ozark city, Missouri
3308.   Liberty city, Missouri *          3359.   Dunklin County, Missouri        3411.   Pemiscot County, Missouri
3309.   Lincoln County, Missouri *        3360.   Eureka city, Missouri           3412.   Perry County, Missouri
3310.   Newton County, Missouri *         3361.   Excelsior Springs city,         3413.   Pike County, Missouri
3311.   O'Fallon city, Missouri *                 Missouri                        3414.   Polk township, Missouri
3312.   Pettis County, Missouri *         3362.   Farmington city, Missouri       3415.   Poplar Bluff city, Missouri
3313.   Phelps County, Missouri *         3363.   Ferguson city, Missouri         3416.   Ralls County, Missouri
3314.   Platte County, Missouri *         3364.   Festus city, Missouri           3417.   Randolph County, Missouri
3315.   Polk County, Missouri *           3365.   Fulton city, Missouri           3418.   Ray County, Missouri
3316.   Pulaski County, Missouri *        3366.   Gasconade County, Missouri      3419.   Raymore city, Missouri
3317.   Scott County, Missouri *          3367.   Gladstone city, Missouri        3420.   Raytown city, Missouri
3318.   Springfield city, Missouri *      3368.   Grain Valley city, Missouri     3421.   Republic city, Missouri
3319.   St. Charles city, Missouri *      3369.   Grandview city, Missouri        3422.   Ripley County, Missouri
3320.   St. Charles County, Missouri *    3370.   Hannibal city, Missouri         3423.   Rolla city, Missouri
3321.   St. Francois County, Missouri     3371.   Harrisonville city, Missouri    3424.   Saline County, Missouri
        *                                 3372.   Hazelwood city, Missouri        3425.   Sedalia city, Missouri
3322.   St. Joseph city, Missouri *       3373.   Henry County, Missouri          3426.   Sikeston city, Missouri
3323.   St. Louis city, Missouri *        3374.   Howard County, Missouri         3427.   Smithville city, Missouri
3324.   St. Louis County, Missouri *      3375.   Independence township,          3428.   St. Ann city, Missouri
3325.   St. Peters city, Missouri *               Missouri                        3429.   Ste. Genevieve County,
3326.   Stone County, Missouri *          3376.   Iron County, Missouri                   Missouri
3327.   Taney County, Missouri *          3377.   Jackson city, Missouri          3430.   Stoddard County, Missouri
3328.   University City city, Missouri    3378.   Jennings city, Missouri         3431.   Texas County, Missouri
        *                                 3379.   Kearney city, Missouri          3432.   Town and Country city,
3329.   Warren County, Missouri *         3380.   Kennett city, Missouri                  Missouri
3330.   Webster County, Missouri *        3381.   Kirksville city, Missouri       3433.   Troy city, Missouri
3331.   Wentzville city, Missouri *       3382.   Kirkwood city, Missouri         3434.   Union city, Missouri
3332.   Wildwood city, Missouri *         3383.   Lake St. Louis city, Missouri   3435.   Vernon County, Missouri
3333.   Adair County, Missouri            3384.   Lebanon city, Missouri          3436.   Warrensburg city, Missouri
3334.   Andrew County, Missouri           3385.   Liberty township, Missouri      3437.   Washington city, Missouri
3335.   Arnold city, Missouri             3386.   Linn County, Missouri           3438.   Washington County, Missouri
3336.   Audrain County, Missouri          3387.   Livingston County, Missouri     3439.   Wayne County, Missouri
3337.   Barton County, Missouri           3388.   Macon County, Missouri          3440.   Webb City city, Missouri
3338.   Bates County, Missouri            3389.   Madison County, Missouri        3441.   Webster Groves city, Missouri
3339.   Bellefontaine Neighbors city,     3390.   Manchester city, Missouri       3442.   West Plains city, Missouri
        Missouri                          3391.   Marion County, Missouri         3443.   Wright County, Missouri
3340.   Belton city, Missouri             3392.   Marshall city, Missouri         3444.   Billings city, Montana *


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3445.   Bozeman city, Montana *         3497.   Hastings city, Nebraska        3541.   Merrimack County, New
3446.   Butte-Silver Bow, Montana *     3498.   Holt County, Nebraska                  Hampshire *
3447.   Cascade County, Montana *       3499.   La Vista city, Nebraska        3542.   Nashua city, New Hampshire
3448.   Flathead County, Montana *      3500.   Lexington city, Nebraska               *
3449.   Gallatin County, Montana *      3501.   Norfolk city, Nebraska         3543.   Rochester city, New
3450.   Great Falls city, Montana *     3502.   North Platte city, Nebraska            Hampshire *
3451.   Helena city, Montana *          3503.   Otoe County, Nebraska          3544.   Rockingham County, New
3452.   Lake County, Montana *          3504.   Papillion city, Nebraska               Hampshire *
3453.   Lewis and Clark County,         3505.   Red Willow County, Nebraska    3545.   Strafford County, New
        Montana *                       3506.   Saline County, Nebraska                Hampshire *
3454.   Missoula city, Montana *        3507.   Saunders County, Nebraska      3546.   Sullivan County, New
3455.   Missoula County, Montana *      3508.   Scottsbluff city, Nebraska             Hampshire *
3456.   Ravalli County, Montana *       3509.   Seward County, Nebraska        3547.   Amherst town, New
3457.   Yellowstone County, Montana     3510.   South Sioux City city,                 Hampshire
        *                                       Nebraska                       3548.   Bedford town, New
3458.   Big Horn County, Montana        3511.   Washington County, Nebraska            Hampshire
3459.   Carbon County, Montana          3512.   York County, Nebraska          3549.   Berlin city, New Hampshire
3460.   Custer County, Montana          3513.   Carson City, Nevada *          3550.   Claremont city, New
3461.   Fergus County, Montana          3514.   Clark County, Nevada *                 Hampshire
3462.   Glacier County, Montana         3515.   Douglas County, Nevada *       3551.   Conway town, New
3463.   Hill County, Montana            3516.   Elko County, Nevada *                  Hampshire
3464.   Jefferson County, Montana       3517.   Henderson city, Nevada *       3552.   Durham town, New
3465.   Kalispell city, Montana         3518.   Las Vegas city, Nevada *               Hampshire
3466.   Lincoln County, Montana         3519.   Lyon County, Nevada *          3553.   Exeter town, New Hampshire
3467.   Park County, Montana            3520.   North Las Vegas city, Nevada   3554.   Goffstown town, New
3468.   Richland County, Montana                *                                      Hampshire
3469.   Roosevelt County, Montana       3521.   Nye County, Nevada *           3555.   Hampton town, New
3470.   Sanders County, Montana         3522.   Reno city, Nevada *                    Hampshire
3471.   Adams County, Nebraska *        3523.   Sparks city, Nevada *          3556.   Hanover town, New
3472.   Bellevue city, Nebraska *       3524.   Washoe County, Nevada *                Hampshire
3473.   Buffalo County, Nebraska *      3525.   Boulder City city, Nevada      3557.   Hooksett town, New
3474.   Dodge County, Nebraska *        3526.   Churchill County, Nevada               Hampshire
3475.   Douglas County, Nebraska *      3527.   Elko city, Nevada              3558.   Hudson town, New Hampshire
3476.   Grand Island city, Nebraska *   3528.   Fernley city, Nevada           3559.   Keene city, New Hampshire
3477.   Hall County, Nebraska *         3529.   Humboldt County, Nevada        3560.   Laconia city, New Hampshire
3478.   Kearney city, Nebraska *        3530.   Mesquite city, Nevada          3561.   Lebanon city, New Hampshire
3479.   Lancaster County, Nebraska *    3531.   Belknap County, New            3562.   Londonderry town, New
3480.   Lincoln city, Nebraska *                Hampshire *                            Hampshire
3481.   Lincoln County, Nebraska *      3532.   Carroll County, New            3563.   Merrimack town, New
3482.   Madison County, Nebraska *              Hampshire *                            Hampshire
3483.   Omaha city, Nebraska *          3533.   Cheshire County, New           3564.   Milford town, New Hampshire
3484.   Platte County, Nebraska *               Hampshire *                    3565.   Pelham town, New Hampshire
3485.   Sarpy County, Nebraska *        3534.   Concord city, New Hampshire    3566.   Portsmouth city, New
3486.   Scotts Bluff County, Nebraska           *                                      Hampshire
        *                               3535.   Coos County, New Hampshire     3567.   Raymond town, New
3487.   Beatrice city, Nebraska                 *                                      Hampshire
3488.   Box Butte County, Nebraska      3536.   Derry town, New Hampshire *    3568.   Salem town, New Hampshire
3489.   Cass County, Nebraska           3537.   Dover city, New Hampshire *    3569.   Somersworth city, New
3490.   Colfax County, Nebraska         3538.   Grafton County, New                    Hampshire
3491.   Columbus city, Nebraska                 Hampshire *                    3570.   Windham town, New
3492.   Custer County, Nebraska         3539.   Hillsborough County, New               Hampshire
3493.   Dakota County, Nebraska                 Hampshire *                    3571.   Atlantic City city, New Jersey
3494.   Dawson County, Nebraska         3540.   Manchester city, New                   *
3495.   Fremont city, Nebraska                  Hampshire *                    3572.   Atlantic County, New Jersey *
3496.   Gage County, Nebraska                                                  3573.   Bayonne city, New Jersey *


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3574.   Belleville township, New        3606.   Hamilton township, New           3638.   Old Bridge township, New
        Jersey *                                Jersey *                                 Jersey *
3575.   Bergen County, New Jersey *     3607.   Hillsborough township, New       3639.   Parsippany-Troy Hills
3576.   Berkeley township, New                  Jersey *                                 township, New Jersey *
        Jersey *                        3608.   Hoboken city, New Jersey *       3640.   Passaic city, New Jersey *
3577.   Bloomfield township, New        3609.   Howell township, New Jersey      3641.   Passaic County, New Jersey *
        Jersey *                                *                                3642.   Paterson city, New Jersey *
3578.   Brick township, New Jersey *    3610.   Hudson County, New Jersey *      3643.   Pennsauken township, New
3579.   Bridgewater township, New       3611.   Hunterdon County, New                    Jersey *
        Jersey *                                Jersey *                         3644.   Perth Amboy city, New Jersey
3580.   Burlington County, New          3612.   Irvington township, New                  *
        Jersey *                                Jersey *                         3645.   Piscataway township, New
3581.   Camden city, New Jersey *       3613.   Jackson township, New Jersey             Jersey *
3582.   Camden County, New Jersey *             *                                3646.   Plainfield city, New Jersey *
3583.   Cape May County, New Jersey     3614.   Jersey City city, New Jersey *   3647.   Princeton, New Jersey *
        *                               3615.   Kearny town, New Jersey *        3648.   Salem County, New Jersey *
3584.   Cherry Hill township, New       3616.   Lakewood township, New           3649.   Sayreville borough, New
        Jersey *                                Jersey *                                 Jersey *
3585.   City of Orange township, New    3617.   Lawrence township, New           3650.   Somerset County, New Jersey
        Jersey *                                Jersey *                                 *
3586.   Clifton city, New Jersey *      3618.   Linden city, New Jersey *        3651.   South Brunswick township,
3587.   Cumberland County, New          3619.   Livingston township, New                 New Jersey *
        Jersey *                                Jersey *                         3652.   Sussex County, New Jersey *
3588.   Deptford township, New          3620.   Long Branch city, New Jersey     3653.   Teaneck township, New Jersey
        Jersey *                                *                                        *
3589.   East Brunswick township,        3621.   Manalapan township, New          3654.   Toms River township, New
        New Jersey *                            Jersey *                                 Jersey *
3590.   East Orange city, New Jersey    3622.   Manchester township, New         3655.   Trenton city, New Jersey *
        *                                       Jersey *                         3656.   Union City city, New Jersey *
3591.   Edison township, New Jersey     3623.   Marlboro township, New           3657.   Union County, New Jersey *
        *                                       Jersey *                         3658.   Union township, New Jersey *
3592.   Egg Harbor township, New        3624.   Mercer County, New Jersey *      3659.   Vineland city, New Jersey *
        Jersey *                        3625.   Middlesex County, New            3660.   Warren County, New Jersey *
3593.   Elizabeth city, New Jersey *            Jersey *                         3661.   Washington township, New
3594.   Essex County, New Jersey *      3626.   Middletown township, New                 Jersey *
3595.   Evesham township, New                   Jersey *                         3662.   Wayne township, New Jersey
        Jersey *                        3627.   Monmouth County, New                     *
3596.   Ewing township, New Jersey *            Jersey *                         3663.   West New York town, New
3597.   Fair Lawn borough, New          3628.   Monroe township, New Jersey              Jersey *
        Jersey *                                *                                3664.   West Orange township, New
3598.   Fort Lee borough, New Jersey    3629.   Monroe township, New Jersey              Jersey *
        *                                       *                                3665.   Willingboro township, New
3599.   Franklin township, New Jersey   3630.   Montclair township, New                  Jersey *
        *                                       Jersey *                         3666.   Winslow township, New
3600.   Freehold township, New          3631.   Morris County, New Jersey *              Jersey *
        Jersey *                        3632.   Mount Laurel township, New       3667.   Woodbridge township, New
3601.   Galloway township, New                  Jersey *                                 Jersey *
        Jersey *                        3633.   New Brunswick city, New          3668.   Aberdeen township, New
3602.   Garfield city, New Jersey *             Jersey *                                 Jersey
3603.   Gloucester County, New          3634.   Newark city, New Jersey *        3669.   Asbury Park city, New Jersey
        Jersey *                        3635.   North Bergen township, New       3670.   Barnegat township, New
3604.   Gloucester township, New                Jersey *                                 Jersey
        Jersey *                        3636.   North Brunswick township,        3671.   Beachwood borough, New
3605.   Hackensack city, New Jersey *           New Jersey *                             Jersey
                                        3637.   Ocean County, New Jersey *


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3672.   Bellmawr borough, New          3704.   Franklin Lakes borough, New     3737.   Lyndhurst township, New
        Jersey                                 Jersey                                  Jersey
3673.   Bergenfield borough, New       3705.   Franklin township, New Jersey   3738.   Madison borough, New Jersey
        Jersey                         3706.   Freehold borough, New Jersey    3739.   Mahwah township, New
3674.   Berkeley Heights township,     3707.   Glassboro borough, New                  Jersey
        New Jersey                             Jersey                          3740.   Mantua township, New Jersey
3675.   Bernards township, New         3708.   Glen Rock borough, New          3741.   Manville borough, New Jersey
        Jersey                                 Jersey                          3742.   Maple Shade township, New
3676.   Bordentown township, New       3709.   Gloucester City city, New               Jersey
        Jersey                                 Jersey                          3743.   Maplewood township, New
3677.   Bound Brook borough, New       3710.   Guttenberg town, New Jersey             Jersey
        Jersey                         3711.   Haddon township, New Jersey     3744.   Medford township, New
3678.   Branchburg township, New       3712.   Haddonfield borough, New                Jersey
        Jersey                                 Jersey                          3745.   Metuchen borough, New
3679.   Bridgeton city, New Jersey     3713.   Hamilton township, New                  Jersey
3680.   Burlington township, New               Jersey                          3746.   Middle township, New Jersey
        Jersey                         3714.   Hammonton town, New Jersey      3747.   Middlesex borough, New
3681.   Carteret borough, New Jersey   3715.   Hanover township, New                   Jersey
3682.   Cedar Grove township, New              Jersey                          3748.   Millburn township, New
        Jersey                         3716.   Harrison town, New Jersey               Jersey
3683.   Chatham township, New          3717.   Harrison township, New          3749.   Millstone township, New
        Jersey                                 Jersey                                  Jersey
3684.   Cinnaminson township, New      3718.   Hasbrouck Heights borough,      3750.   Millville city, New Jersey
        Jersey                                 New Jersey                      3751.   Montgomery township, New
3685.   Clark township, New Jersey     3719.   Hawthorne borough, New                  Jersey
3686.   Cliffside Park borough, New            Jersey                          3752.   Montville township, New
        Jersey                         3720.   Hazlet township, New Jersey             Jersey
3687.   Clinton township, New Jersey   3721.   Highland Park borough, New      3753.   Moorestown township, New
3688.   Collingswood borough, New              Jersey                                  Jersey
        Jersey                         3722.   Hillsdale borough, New Jersey   3754.   Morris township, New Jersey
3689.   Cranford township, New         3723.   Hillside township, New Jersey   3755.   Morristown town, New Jersey
        Jersey                         3724.   Holmdel township, New           3756.   Mount Olive township, New
3690.   Delran township, New Jersey            Jersey                                  Jersey
3691.   Denville township, New         3725.   Hopatcong borough, New          3757.   Neptune township, New Jersey
        Jersey                                 Jersey                          3758.   New Milford borough, New
3692.   Dover town, New Jersey         3726.   Hopewell township, New                  Jersey
3693.   Dumont borough, New Jersey             Jersey                          3759.   New Providence borough,
3694.   East Greenwich township,       3727.   Jefferson township, New                 New Jersey
        New Jersey                             Jersey                          3760.   North Arlington borough, New
3695.   East Hanover township, New     3728.   Lacey township, New Jersey              Jersey
        Jersey                         3729.   Lincoln Park borough, New       3761.   North Plainfield borough, New
3696.   East Windsor township, New             Jersey                                  Jersey
        Jersey                         3730.   Lindenwold borough, New         3762.   Nutley township, New Jersey
3697.   Eatontown borough, New                 Jersey                          3763.   Oakland borough, New Jersey
        Jersey                         3731.   Little Egg Harbor township,     3764.   Ocean City city, New Jersey
3698.   Edgewater borough, New                 New Jersey                      3765.   Ocean township, New Jersey
        Jersey                         3732.   Little Falls township, New      3766.   Palisades Park borough, New
3699.   Elmwood Park borough, New              Jersey                                  Jersey
        Jersey                         3733.   Little Ferry borough, New       3767.   Paramus borough, New Jersey
3700.   Englewood city, New Jersey             Jersey                          3768.   Pemberton township, New
3701.   Fairview borough, New Jersey   3734.   Lodi borough, New Jersey                Jersey
3702.   Florence township, New         3735.   Lower township, New Jersey      3769.   Pennsville township, New
        Jersey                         3736.   Lumberton township, New                 Jersey
3703.   Florham Park borough, New              Jersey                          3770.   Pequannock township, New
        Jersey                                                                         Jersey


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3771.   Phillipsburg town, New Jersey    3803.   Sparta township, New Jersey     3836.   Clovis city, New Mexico *
3772.   Pine Hill borough, New Jersey    3804.   Springfield township, New       3837.   Curry County, New Mexico *
3773.   Plainsboro township, New                 Jersey                          3838.   Doña Ana County, New
        Jersey                           3805.   Stafford township, New Jersey           Mexico *
3774.   Pleasantville city, New Jersey   3806.   Summit city, New Jersey         3839.   Eddy County, New Mexico *
3775.   Point Pleasant borough, New      3807.   Tenafly borough, New Jersey     3840.   Farmington city, New Mexico
        Jersey                           3808.   Tinton Falls borough, New               *
3776.   Pompton Lakes borough, New               Jersey                          3841.   Hobbs city, New Mexico *
        Jersey                           3809.   Totowa borough, New Jersey      3842.   Las Cruces city, New Mexico
3777.   Rahway city, New Jersey          3810.   Upper township, New Jersey              *
3778.   Ramsey borough, New Jersey       3811.   Vernon township, New Jersey     3843.   Lea County, New Mexico *
3779.   Randolph township, New           3812.   Verona township, New Jersey     3844.   McKinley County, New
        Jersey                           3813.   Voorhees township, New                  Mexico *
3780.   Raritan township, New Jersey             Jersey                          3845.   Otero County, New Mexico *
3781.   Readington township, New         3814.   Waldwick borough, New           3846.   Rio Arriba County, New
        Jersey                                   Jersey                                  Mexico *
3782.   Red Bank borough, New            3815.   Wall township, New Jersey       3847.   Rio Rancho city, New Mexico
        Jersey                           3816.   Wallington borough, New                 *
3783.   Ridgefield borough, New                  Jersey                          3848.   Roswell city, New Mexico *
        Jersey                           3817.   Wanaque borough, New            3849.   San Juan County, New Mexico
3784.   Ridgefield Park village, New             Jersey                                  *
        Jersey                           3818.   Wantage township, New           3850.   Sandoval County, New
3785.   Ridgewood village, New                   Jersey                                  Mexico *
        Jersey                           3819.   Warren township, New Jersey     3851.   Santa Fe city, New Mexico *
3786.   Ringwood borough, New            3820.   Washington township, New        3852.   Santa Fe County, New Mexico
        Jersey                                   Jersey                                  *
3787.   River Edge borough, New          3821.   Waterford township, New         3853.   Taos County, New Mexico *
        Jersey                                   Jersey                          3854.   Valencia County, New Mexico
3788.   Robbinsville township, New       3822.   Weehawken township, New                 *
        Jersey                                   Jersey                          3855.   Artesia city, New Mexico
3789.   Rockaway township, New           3823.   West Caldwell township, New     3856.   Bernalillo town, New Mexico
        Jersey                                   Jersey                          3857.   Carlsbad city, New Mexico
3790.   Roselle borough, New Jersey      3824.   West Deptford township, New     3858.   Cibola County, New Mexico
3791.   Roselle Park borough, New                Jersey                          3859.   Colfax County, New Mexico
        Jersey                           3825.   West Milford township, New      3860.   Deming city, New Mexico
3792.   Roxbury township, New                    Jersey                          3861.   Española city, New Mexico
        Jersey                           3826.   West Windsor township, New      3862.   Gallup city, New Mexico
3793.   Rutherford borough, New                  Jersey                          3863.   Grant County, New Mexico
        Jersey                           3827.   Westfield town, New Jersey      3864.   Las Vegas city, New Mexico
3794.   Saddle Brook township, New       3828.   Westwood borough, New           3865.   Lincoln County, New Mexico
        Jersey                                   Jersey                          3866.   Los Alamos County, New
3795.   Scotch Plains township, New      3829.   Woodland Park borough, New              Mexico
        Jersey                                   Jersey                          3867.   Los Lunas village, New
3796.   Secaucus town, New Jersey        3830.   Woolwich township, New                  Mexico
3797.   Somers Point city, New Jersey            Jersey                          3868.   Lovington city, New Mexico
3798.   Somerville borough, New          3831.   Wyckoff township, New           3869.   Luna County, New Mexico
        Jersey                                   Jersey                          3870.   Portales city, New Mexico
3799.   South Orange Village             3832.   Alamogordo city, New            3871.   Roosevelt County, New
        township, New Jersey                     Mexico *                                Mexico
3800.   South Plainfield borough, New    3833.   Albuquerque city, New           3872.   San Miguel County, New
        Jersey                                   Mexico *                                Mexico
3801.   South River borough, New         3834.   Bernalillo County, New          3873.   Sierra County, New Mexico
        Jersey                                   Mexico *                        3874.   Socorro County, New Mexico
3802.   Southampton township, New        3835.   Chaves County, New Mexico       3875.   Sunland Park city, New
        Jersey                                   *                                       Mexico


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3876.   Torrance County, New           3921.   Hempstead village, New York    3959.   Poughkeepsie town, New
        Mexico                                 *                                      York *
3877.   Albany city, New York *        3922.   Henrietta town, New York *     3960.   Putnam County, New York *
3878.   Albany County, New York *      3923.   Herkimer County, New York *    3961.   Ramapo town, New York *
3879.   Allegany County, New York *    3924.   Huntington town, New York *    3962.   Rensselaer County, New York
3880.   Amherst town, New York *       3925.   Irondequoit town, New York *           *
3881.   Babylon town, New York *       3926.   Islip town, New York *         3963.   Riverhead town, New York *
3882.   Bethlehem town, New York *     3927.   Ithaca city, New York *        3964.   Rochester city, New York *
3883.   Binghamton city, New York *    3928.   Jefferson County, New York *   3965.   Rockland County, New York *
3884.   Brighton town, New York *      3929.   Lancaster town, New York *     3966.   Rome city, New York *
3885.   Brookhaven town, New York      3930.   Livingston County, New York    3967.   Rye town, New York *
        *                                      *                              3968.   Salina town, New York *
3886.   Broome County, New York *      3931.   Long Beach city, New York *    3969.   Saratoga County, New York *
3887.   Buffalo city, New York *       3932.   Madison County, New York *     3970.   Schenectady city, New York *
3888.   Carmel town, New York *        3933.   Manlius town, New York *       3971.   Schenectady County, New
3889.   Cattaraugus County, New        3934.   Monroe County, New York *              York *
        York *                         3935.   Montgomery County, New         3972.   Schoharie County, New York
3890.   Cayuga County, New York *              York *                                 *
3891.   Chautauqua County, New         3936.   Mount Pleasant town, New       3973.   Seneca County, New York *
        York *                                 York *                         3974.   Smithtown town, New York *
3892.   Cheektowaga town, New York     3937.   Mount Vernon city, New York    3975.   Southampton town, New York
        *                                      *                                      *
3893.   Chemung County, New York       3938.   Nassau County, New York *      3976.   Spring Valley village, New
        *                              3939.   New Rochelle city, New York            York *
3894.   Chenango County, New York              *                              3977.   St. Lawrence County, New
        *                              3940.   New York city / Bronx County           York *
3895.   Cicero town, New York *                / Kings County / New York      3978.   Steuben County, New York *
3896.   Clarence town, New York *              County / Queens County /       3979.   Suffolk County, New York *
3897.   Clarkstown town, New York *            Richmond County, New York      3980.   Sullivan County, New York *
3898.   Clay town, New York *                  *                              3981.   Syracuse city, New York *
3899.   Clifton Park town, New York    3941.   Newburgh town, New York *      3982.   Tioga County, New York *
        *                              3942.   Niagara County, New York *     3983.   Tompkins County, New York
3900.   Clinton County, New York *     3943.   Niagara Falls city, New York           *
3901.   Colonie town, New York *               *                              3984.   Tonawanda town, New York *
3902.   Columbia County, New York      3944.   North Hempstead town, New      3985.   Troy city, New York *
        *                                      York *                         3986.   Ulster County, New York *
3903.   Cortland County, New York *    3945.   North Tonawanda city, New      3987.   Union town, New York *
3904.   Cortlandt town, New York *             York *                         3988.   Utica city, New York *
3905.   Delaware County, New York *    3946.   Oneida County, New York *      3989.   Valley Stream village, New
3906.   Dutchess County, New York *    3947.   Onondaga County, New York              York *
3907.   Eastchester town, New York *           *                              3990.   Warren County, New York *
3908.   Erie County, New York *        3948.   Ontario County, New York *     3991.   Warwick town, New York *
3909.   Essex County, New York *       3949.   Orange County, New York *      3992.   Washington County, New
3910.   Franklin County, New York *    3950.   Orangetown town, New York              York *
3911.   Freeport village, New York *           *                              3993.   Wayne County, New York *
3912.   Fulton County, New York *      3951.   Orleans County, New York *     3994.   Webster town, New York *
3913.   Genesee County, New York *     3952.   Ossining town, New York *      3995.   West Seneca town, New York
3914.   Greece town, New York *        3953.   Oswego County, New York *              *
3915.   Greenburgh town, New York *    3954.   Otsego County, New York *      3996.   Westchester County, New
3916.   Greene County, New York *      3955.   Oyster Bay town, New York *            York *
3917.   Guilderland town, New York *   3956.   Penfield town, New York *      3997.   White Plains city, New York *
3918.   Hamburg town, New York *       3957.   Perinton town, New York *      3998.   Wyoming County, New York
3919.   Haverstraw town, New York *    3958.   Poughkeepsie city, New York            *
3920.   Hempstead town, New York *             *                              3999.   Yonkers city, New York *
                                                                              4000.   Yorktown town, New York *


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4001.   Amsterdam city, New York        4050.   Glen Cove city, New York        4101.   Moreau town, New York
4002.   Arcadia town, New York          4051.   Glens Falls city, New York      4102.   Mount Kisco village / Mount
4003.   Auburn city, New York           4052.   Glenville town, New York                Kisco town, New York
4004.   Aurora town, New York           4053.   Gloversville city, New York     4103.   New Castle town, New York
4005.   Babylon village, New York       4054.   Goshen town, New York           4104.   New Hartford town, New
4006.   Ballston town, New York         4055.   Grand Island town, New York             York
4007.   Batavia city, New York          4056.   Great Neck village, New York    4105.   New Paltz town, New York
4008.   Bath town, New York             4057.   Halfmoon town, New York         4106.   New Windsor town, New
4009.   Beacon city, New York           4058.   Harrison town, New York                 York
4010.   Bedford town, New York          4059.   Harrison village, New York      4107.   Newburgh city, New York
4011.   Beekman town, New York          4060.   Haverstraw village, New York    4108.   Niskayuna town, New York
4012.   Blooming Grove town, New        4061.   Highlands town, New York        4109.   North Castle town, New York
        York                            4062.   Horseheads town, New York       4110.   North Greenbush town, New
4013.   Brunswick town, New York        4063.   Hyde Park town, New York                York
4014.   Camillus town, New York         4064.   Ithaca town, New York           4111.   Ogden town, New York
4015.   Canandaigua city, New York      4065.   Jamestown city, New York        4112.   Ogdensburg city, New York
4016.   Canandaigua town, New York      4066.   Johnson City village, New       4113.   Olean city, New York
4017.   Canton town, New York                   York                            4114.   Oneida city, New York
4018.   Catskill town, New York         4067.   Kenmore village, New York       4115.   Oneonta city, New York
4019.   Chenango town, New York         4068.   Kent town, New York             4116.   Onondaga town, New York
4020.   Chester town, New York          4069.   Kingsbury town, New York        4117.   Ontario town, New York
4021.   Chili town, New York            4070.   Kingston city, New York         4118.   Orchard Park town, New York
4022.   Cohoes city, New York           4071.   Kirkland town, New York         4119.   Ossining village, New York
4023.   Corning city, New York          4072.   Kiryas Joel village, New York   4120.   Oswego city, New York
4024.   Cornwall town, New York         4073.   La Grange town, New York        4121.   Owego town, New York
4025.   Cortland city, New York         4074.   Lackawanna city, New York       4122.   Palm Tree town, New York
4026.   De Witt town, New York          4075.   Lake Grove village, New York    4123.   Parma town, New York
4027.   Depew village, New York         4076.   Lancaster village, New York     4124.   Patchogue village, New York
4028.   Dobbs Ferry village, New        4077.   Lansing town, New York          4125.   Patterson town, New York
        York                            4078.   Le Ray town, New York           4126.   Peekskill city, New York
4029.   Dryden town, New York           4079.   Lewis County, New York          4127.   Pelham town, New York
4030.   Dunkirk city, New York          4080.   Lewisboro town, New York        4128.   Pittsford town, New York
4031.   East Fishkill town, New York    4081.   Lewiston town, New York         4129.   Plattekill town, New York
4032.   East Greenbush town, New        4082.   Lindenhurst village, New        4130.   Plattsburgh city, New York
        York                                    York                            4131.   Plattsburgh town, New York
4033.   East Hampton town, New          4083.   Lloyd town, New York            4132.   Pomfret town, New York
        York                            4084.   Lockport city, New York         4133.   Port Chester village, New
4034.   Elma town, New York             4085.   Lockport town, New York                 York
4035.   Elmira city, New York           4086.   Lynbrook village, New York      4134.   Potsdam town, New York
4036.   Endicott village, New York      4087.   Lysander town, New York         4135.   Putnam Valley town, New
4037.   Evans town, New York            4088.   Malone town, New York                   York
4038.   Fallsburg town, New York        4089.   Malta town, New York            4136.   Queensbury town, New York
4039.   Farmington town, New York       4090.   Mamakating town, New York       4137.   Red Hook town, New York
4040.   Fishkill town, New York         4091.   Mamaroneck town, New York       4138.   Rockville Centre village, New
4041.   Floral Park village, New York   4092.   Mamaroneck village, New                 York
4042.   Fredonia village, New York              York                            4139.   Rotterdam town, New York
4043.   Fulton city, New York           4093.   Massapequa Park village, New    4140.   Rye city, New York
4044.   Garden City village, New                York                            4141.   Saratoga Springs city, New
        York                            4094.   Massena town, New York                  York
4045.   Gates town, New York            4095.   Massena village, New York       4142.   Saugerties town, New York
4046.   Geddes town, New York           4096.   Middletown city, New York       4143.   Scarsdale village / Scarsdale
4047.   Geneseo town, New York          4097.   Milton town, New York                   town, New York
4048.   Geneva city, New York           4098.   Mineola village, New York       4144.   Schodack town, New York
4049.   German Flatts town, New         4099.   Monroe town, New York           4145.   Schuyler County, New York
        York                            4100.   Montgomery town, New York       4146.   Shawangunk town, New York


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4147.   Sleepy Hollow village, New       4188.   Catawba County, North            4217.   Halifax County, North
        York                                     Carolina *                               Carolina *
4148.   Somers town, New York            4189.   Chapel Hill town, North          4218.   Harnett County, North
4149.   Southeast town, New York                 Carolina *                               Carolina *
4150.   Southold town, New York          4190.   Charlotte city, North Carolina   4219.   Haywood County, North
4151.   Stony Point town, New York               *                                        Carolina *
4152.   Suffern village, New York        4191.   Chatham County, North            4220.   Henderson County, North
4153.   Sullivan town, New York                  Carolina *                               Carolina *
4154.   Sweden town, New York            4192.   Cleveland County, North          4221.   Hickory city, North Carolina *
4155.   Tarrytown village, New York              Carolina *                       4222.   High Point city, North
4156.   Thompson town, New York          4193.   Columbus County, North                   Carolina *
4157.   Tonawanda city, New York                 Carolina *                       4223.   Hoke County, North Carolina
4158.   Ulster town, New York            4194.   Concord city, North Carolina *           *
4159.   Van Buren town, New York         4195.   Cornelius town, North            4224.   Holly Springs town, North
4160.   Vestal town, New York                    Carolina *                               Carolina *
4161.   Victor town, New York            4196.   Craven County, North             4225.   Huntersville town, North
4162.   Wallkill town, New York                  Carolina *                               Carolina *
4163.   Wappinger town, New York         4197.   Cumberland County, North         4226.   Indian Trail town, North
4164.   Watertown city, New York                 Carolina *                               Carolina *
4165.   Wawarsing town, New York         4198.   Dare County, North Carolina *    4227.   Iredell County, North Carolina
4166.   West Haverstraw village, New     4199.   Davidson County, North                   *
        York                                     Carolina *                       4228.   Jackson County, North
4167.   Westbury village, New York       4200.   Davie County, North Carolina             Carolina *
4168.   Wheatfield town, New York                *                                4229.   Jacksonville city, North
4169.   Whitestown town, New York        4201.   Duplin County, North                     Carolina *
4170.   Wilton town, New York                    Carolina *                       4230.   Johnston County, North
4171.   Woodbury town, New York          4202.   Durham city, North Carolina *            Carolina *
4172.   Woodbury village, New York       4203.   Durham County, North             4231.   Kannapolis city, North
4173.   Yates County, New York                   Carolina *                               Carolina *
4174.   Alamance County, North           4204.   Edgecombe County, North          4232.   Lee County, North Carolina *
        Carolina *                               Carolina *                       4233.   Lenoir County, North Carolina
4175.   Alexander County, North          4205.   Fayetteville city, North                 *
        Carolina *                               Carolina *                       4234.   Lincoln County, North
4176.   Apex town, North Carolina *      4206.   Forsyth County, North                    Carolina *
4177.   Asheville city, North Carolina           Carolina *                       4235.   Macon County, North
        *                                4207.   Franklin County, North                   Carolina *
4178.   Beaufort County, North                   Carolina *                       4236.   Matthews town, North
        Carolina *                       4208.   Fuquay-Varina town, North                Carolina *
4179.   Bladen County, North                     Carolina *                       4237.   McDowell County, North
        Carolina *                       4209.   Garner town, North Carolina *            Carolina *
4180.   Brunswick County, North          4210.   Gaston County, North             4238.   Mecklenburg County, North
        Carolina *                               Carolina *                               Carolina *
4181.   Buncombe County, North           4211.   Gastonia city, North Carolina    4239.   Monroe city, North Carolina *
        Carolina *                               *                                4240.   Moore County, North Carolina
4182.   Burke County, North Carolina     4212.   Goldsboro city, North                    *
        *                                        Carolina *                       4241.   Mooresville town, North
4183.   Burlington city, North           4213.   Granville County, North                  Carolina *
        Carolina *                               Carolina *                       4242.   Nash County, North Carolina
4184.   Cabarrus County, North           4214.   Greensboro city, North                   *
        Carolina *                               Carolina *                       4243.   New Hanover County, North
4185.   Caldwell County, North           4215.   Greenville city, North                   Carolina *
        Carolina *                               Carolina *                       4244.   Onslow County, North
4186.   Carteret County, North           4216.   Guilford County, North                   Carolina *
        Carolina *                               Carolina *                       4245.   Orange County, North
4187.   Cary town, North Carolina *                                                       Carolina *


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4246.   Pasquotank County, North         4275.   Wilson County, North            4310.   Kernersville town, North
        Carolina *                               Carolina *                              Carolina
4247.   Pender County, North             4276.   Winston-Salem city, North       4311.   Kings Mountain city, North
        Carolina *                               Carolina *                              Carolina
4248.   Person County, North Carolina    4277.   Yadkin County, North            4312.   Kinston city, North Carolina
        *                                        Carolina *                      4313.   Knightdale town, North
4249.   Pitt County, North Carolina *    4278.   Albemarle city, North                   Carolina
4250.   Raleigh city, North Carolina *           Carolina                        4314.   Laurinburg city, North
4251.   Randolph County, North           4279.   Alleghany County, North                 Carolina
        Carolina *                               Carolina                        4315.   Leland town, North Carolina
4252.   Richmond County, North           4280.   Anson County, North Carolina    4316.   Lenoir city, North Carolina
        Carolina *                       4281.   Archdale city, North Carolina   4317.   Lewisville town, North
4253.   Robeson County, North            4282.   Ashe County, North Carolina             Carolina
        Carolina *                       4283.   Asheboro city, North Carolina   4318.   Lexington city, North Carolina
4254.   Rockingham County, North         4284.   Avery County, North Carolina    4319.   Lincolnton city, North
        Carolina *                       4285.   Belmont city, North Carolina            Carolina
4255.   Rocky Mount city, North          4286.   Bertie County, North Carolina   4320.   Lumberton city, North
        Carolina *                       4287.   Boone town, North Carolina              Carolina
4256.   Rowan County, North              4288.   Camden County, North            4321.   Madison County, North
        Carolina *                               Carolina                                Carolina
4257.   Rutherford County, North         4289.   Carrboro town, North Carolina   4322.   Martin County, North Carolina
        Carolina *                       4290.   Caswell County, North           4323.   Mebane city, North Carolina
4258.   Salisbury city, North Carolina           Carolina                        4324.   Mint Hill town, North
        *                                4291.   Cherokee County, North                  Carolina
4259.   Sampson County, North                    Carolina                        4325.   Mitchell County, North
        Carolina *                       4292.   Chowan County, North                    Carolina
4260.   Sanford city, North Carolina *           Carolina                        4326.   Montgomery County, North
4261.   Scotland County, North           4293.   Clay County, North Carolina             Carolina
        Carolina *                       4294.   Clayton town, North Carolina    4327.   Morganton city, North
4262.   Stanly County, North Carolina    4295.   Clemmons village, North                 Carolina
        *                                        Carolina                        4328.   Morrisville town, North
4263.   Stokes County, North Carolina    4296.   Currituck County, North                 Carolina
        *                                        Carolina                        4329.   Mount Airy city, North
4264.   Surry County, North Carolina     4297.   Davidson town, North                    Carolina
        *                                        Carolina                        4330.   Mount Holly city, North
4265.   Transylvania County, North       4298.   Eden city, North Carolina               Carolina
        Carolina *                       4299.   Elizabeth City city, North      4331.   New Bern city, North Carolina
4266.   Union County, North Carolina             Carolina                        4332.   Newton city, North Carolina
        *                                4300.   Elon town, North Carolina       4333.   Northampton County, North
4267.   Vance County, North Carolina     4301.   Gates County, North Carolina            Carolina
        *                                4302.   Graham city, North Carolina     4334.   Pamlico County, North
4268.   Wake County, North Carolina      4303.   Greene County, North                    Carolina
        *                                        Carolina                        4335.   Perquimans County, North
4269.   Wake Forest town, North          4304.   Harrisburg town, North                  Carolina
        Carolina *                               Carolina                        4336.   Pinehurst village, North
4270.   Watauga County, North            4305.   Havelock city, North Carolina           Carolina
        Carolina *                       4306.   Henderson city, North           4337.   Polk County, North Carolina
4271.   Wayne County, North                      Carolina                        4338.   Reidsville city, North Carolina
        Carolina *                       4307.   Hendersonville city, North      4339.   Roanoke Rapids city, North
4272.   Wilkes County, North                     Carolina                                Carolina
        Carolina *                       4308.   Hertford County, North          4340.   Shelby city, North Carolina
4273.   Wilmington city, North                   Carolina                        4341.   Smithfield town, North
        Carolina *                       4309.   Hope Mills town, North                  Carolina
4274.   Wilson city, North Carolina *            Carolina                        4342.   Southern Pines town, North
                                                                                         Carolina


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4343.   Spring Lake town, North            4380.   Akron city, Ohio *               4435.   Greene County, Ohio *
        Carolina                           4381.   Allen County, Ohio *             4436.   Grove City city, Ohio *
4344.   Stallings town, North Carolina     4382.   Anderson township, Ohio *        4437.   Guernsey County, Ohio *
4345.   Statesville city, North Carolina   4383.   Ashland County, Ohio *           4438.   Hamilton city, Ohio *
4346.   Summerfield town, North            4384.   Ashtabula County, Ohio *         4439.   Hamilton County, Ohio *
        Carolina                           4385.   Athens County, Ohio *            4440.   Hancock County, Ohio *
4347.   Swain County, North Carolina       4386.   Athens township, Ohio *          4441.   Hardin County, Ohio *
4348.   Tarboro town, North Carolina       4387.   Auglaize County, Ohio *          4442.   Highland County, Ohio *
4349.   Thomasville city, North            4388.   Austintown township, Ohio *      4443.   Hilliard city, Ohio *
        Carolina                           4389.   Bath township, Ohio *            4444.   Holmes County, Ohio *
4350.   Warren County, North               4390.   Beavercreek city, Ohio *         4445.   Huber Heights city, Ohio *
        Carolina                           4391.   Beavercreek township, Ohio *     4446.   Huron County, Ohio *
4351.   Washington County, North           4392.   Belmont County, Ohio *           4447.   Jackson County, Ohio *
        Carolina                           4393.   Boardman township, Ohio *        4448.   Jackson township, Ohio *
4352.   Waxhaw town, North Carolina        4394.   Bowling Green city, Ohio *       4449.   Jackson township, Ohio *
4353.   Waynesville town, North            4395.   Brown County, Ohio *             4450.   Jefferson County, Ohio *
        Carolina                           4396.   Brunswick city, Ohio *           4451.   Kettering city, Ohio *
4354.   Weddington town, North             4397.   Butler County, Ohio *            4452.   Knox County, Ohio *
        Carolina                           4398.   Canton city, Ohio *              4453.   Lake County, Ohio *
4355.   Yancey County, North               4399.   Champaign County, Ohio *         4454.   Lakewood city, Ohio *
        Carolina                           4400.   Cincinnati city, Ohio *          4455.   Lancaster city, Ohio *
4356.   Bismarck city, North Dakota *      4401.   Clark County, Ohio *             4456.   Lawrence County, Ohio *
4357.   Burleigh County, North             4402.   Clear Creek township, Ohio *     4457.   Liberty township, Ohio *
        Dakota *                           4403.   Clermont County, Ohio *          4458.   Liberty township, Ohio *
4358.   Cass County, North Dakota *        4404.   Cleveland city, Ohio *           4459.   Licking County, Ohio *
4359.   Fargo city, North Dakota *         4405.   Cleveland Heights city, Ohio *   4460.   Lima city, Ohio *
4360.   Grand Forks city, North            4406.   Clinton County, Ohio *           4461.   Logan County, Ohio *
        Dakota *                           4407.   Colerain township, Ohio *        4462.   Lorain city, Ohio *
4361.   Grand Forks County, North          4408.   Columbiana County, Ohio *        4463.   Lorain County, Ohio *
        Dakota *                           4409.   Columbus city, Ohio *            4464.   Lucas County, Ohio *
4362.   Minot city, North Dakota *         4410.   Concord township, Ohio *         4465.   Madison County, Ohio *
4363.   Morton County, North Dakota        4411.   Coshocton County, Ohio *         4466.   Mahoning County, Ohio *
        *                                  4412.   Crawford County, Ohio *          4467.   Mansfield city, Ohio *
4364.   Stark County, North Dakota *       4413.   Cuyahoga County, Ohio *          4468.   Marion city, Ohio *
4365.   Ward County, North Dakota *        4414.   Cuyahoga Falls city, Ohio *      4469.   Marion County, Ohio *
4366.   West Fargo city, North Dakota      4415.   Darke County, Ohio *             4470.   Marion township, Ohio *
        *                                  4416.   Dayton city, Ohio *              4471.   Mason city, Ohio *
4367.   Williams County, North             4417.   Deerfield township, Ohio *       4472.   Massillon city, Ohio *
        Dakota *                           4418.   Defiance County, Ohio *          4473.   Medina County, Ohio *
4368.   Barnes County, North Dakota        4419.   Delaware city, Ohio *            4474.   Mentor city, Ohio *
4369.   Dickinson city, North Dakota       4420.   Delaware County, Ohio *          4475.   Mercer County, Ohio *
4370.   Jamestown city, North Dakota       4421.   Dublin city, Ohio *              4476.   Miami County, Ohio *
4371.   Mandan city, North Dakota          4422.   Elyria city, Ohio *              4477.   Miami township, Ohio *
4372.   McKenzie County, North             4423.   Erie County, Ohio *              4478.   Miami township, Ohio *
        Dakota                             4424.   Euclid city, Ohio *              4479.   Middletown city, Ohio *
4373.   Mountrail County, North            4425.   Fairborn city, Ohio *            4480.   Mifflin township, Ohio *
        Dakota                             4426.   Fairfield city, Ohio *           4481.   Montgomery County, Ohio *
4374.   Ramsey County, North Dakota        4427.   Fairfield County, Ohio *         4482.   Morrow County, Ohio *
4375.   Richland County, North             4428.   Findlay city, Ohio *             4483.   Muskingum County, Ohio *
        Dakota                             4429.   Franklin County, Ohio *          4484.   Newark city, Ohio *
4376.   Rolette County, North Dakota       4430.   Franklin township, Ohio *        4485.   North Olmsted city, Ohio *
4377.   Stutsman County, North             4431.   Fulton County, Ohio *            4486.   North Ridgeville city, Ohio *
        Dakota                             4432.   Gahanna city, Ohio *             4487.   North Royalton city, Ohio *
4378.   Walsh County, North Dakota         4433.   Geauga County, Ohio *            4488.   Norwich township, Ohio *
4379.   Williston city, North Dakota       4434.   Green township, Ohio *           4489.   Orange township, Ohio *


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4490.   Ottawa County, Ohio *          4544.   Batavia township, Ohio         4598.   Fremont city, Ohio
4491.   Parma city, Ohio *             4545.   Bay Village city, Ohio         4599.   Gallia County, Ohio
4492.   Perry County, Ohio *           4546.   Beachwood city, Ohio           4600.   Garfield Heights city, Ohio
4493.   Pickaway County, Ohio *        4547.   Bedford city, Ohio             4601.   Geneva township, Ohio
4494.   Plain township, Ohio *         4548.   Bedford Heights city, Ohio     4602.   Genoa township, Ohio
4495.   Portage County, Ohio *         4549.   Bellefontaine city, Ohio       4603.   Goshen township, Ohio
4496.   Preble County, Ohio *          4550.   Berea city, Ohio               4604.   Granville township, Ohio
4497.   Putnam County, Ohio *          4551.   Bethel township, Ohio          4605.   Green city, Ohio
4498.   Reynoldsburg city, Ohio *      4552.   Bexley city, Ohio              4606.   Green township, Ohio
4499.   Richland County, Ohio *        4553.   Blue Ash city, Ohio            4607.   Greenville city, Ohio
4500.   Ross County, Ohio *            4554.   Brecksville city, Ohio         4608.   Greenville township, Ohio
4501.   Sandusky County, Ohio *        4555.   Brimfield township, Ohio       4609.   Hamilton township, Ohio
4502.   Scioto County, Ohio *          4556.   Broadview Heights city, Ohio   4610.   Harrison city, Ohio
4503.   Seneca County, Ohio *          4557.   Brook Park city, Ohio          4611.   Harrison County, Ohio
4504.   Shelby County, Ohio *          4558.   Brooklyn city, Ohio            4612.   Harrison township, Ohio
4505.   Springfield city, Ohio *       4559.   Brunswick Hills township,      4613.   Harrison township, Ohio
4506.   Springfield township, Ohio *           Ohio                           4614.   Heath city, Ohio
4507.   Stark County, Ohio *           4560.   Bucyrus city, Ohio             4615.   Henry County, Ohio
4508.   Stow city, Ohio *              4561.   Cambridge city, Ohio           4616.   Hocking County, Ohio
4509.   Strongsville city, Ohio *      4562.   Cambridge township, Ohio       4617.   Howland township, Ohio
4510.   Summit County, Ohio *          4563.   Canfield township, Ohio        4618.   Hubbard township, Ohio
4511.   Sylvania township, Ohio *      4564.   Canton township, Ohio          4619.   Hudson city, Ohio
4512.   Toledo city, Ohio *            4565.   Carroll County, Ohio           4620.   Huron township, Ohio
4513.   Trumbull County, Ohio *        4566.   Celina city, Ohio              4621.   Ironton city, Ohio
4514.   Tuscarawas County, Ohio *      4567.   Centerville city, Ohio         4622.   Jefferson township, Ohio
4515.   Union County, Ohio *           4568.   Chester township, Ohio         4623.   Jefferson township, Ohio
4516.   Union township, Ohio *         4569.   Chillicothe city, Ohio         4624.   Kent city, Ohio
4517.   Upper Arlington city, Ohio *   4570.   Chippewa township, Ohio        4625.   Lake township, Ohio
4518.   Violet township, Ohio *        4571.   Circleville city, Ohio         4626.   Lake township, Ohio
4519.   Warren city, Ohio *            4572.   Clayton city, Ohio             4627.   Lake township, Ohio
4520.   Warren County, Ohio *          4573.   Clinton township, Ohio         4628.   Lawrence township, Ohio
4521.   Washington County, Ohio *      4574.   Concord township, Ohio         4629.   Lebanon city, Ohio
4522.   Washington township, Ohio *    4575.   Concord township, Ohio         4630.   Lemon township, Ohio
4523.   Washington township, Ohio *    4576.   Conneaut city, Ohio            4631.   Liberty township, Ohio
4524.   Wayne County, Ohio *           4577.   Copley township, Ohio          4632.   Liberty township, Ohio
4525.   West Chester township, Ohio    4578.   Coshocton city, Ohio           4633.   London city, Ohio
        *                              4579.   Coventry township, Ohio        4634.   Loveland city, Ohio
4526.   Westerville city, Ohio *       4580.   Defiance city, Ohio            4635.   Lyndhurst city, Ohio
4527.   Westlake city, Ohio *          4581.   Defiance township, Ohio        4636.   Macedonia city, Ohio
4528.   Williams County, Ohio *        4582.   Delhi township, Ohio           4637.   Mad River township, Ohio
4529.   Wood County, Ohio *            4583.   Dover city, Ohio               4638.   Madison township, Ohio
4530.   Youngstown city, Ohio *        4584.   Duchouquet township, Ohio      4639.   Madison township, Ohio
4531.   Adams County, Ohio             4585.   East Cleveland city, Ohio      4640.   Madison township, Ohio
4532.   Alliance city, Ohio            4586.   East Liverpool city, Ohio      4641.   Maple Heights city, Ohio
4533.   American township, Ohio        4587.   Eastlake city, Ohio            4642.   Marietta city, Ohio
4534.   Amherst city, Ohio             4588.   Englewood city, Ohio           4643.   Marysville city, Ohio
4535.   Ashland city, Ohio             4589.   Etna township, Ohio            4644.   Maumee city, Ohio
4536.   Ashtabula city, Ohio           4590.   Fairfield township, Ohio       4645.   Mayfield Heights city, Ohio
4537.   Ashtabula township, Ohio       4591.   Fairview Park city, Ohio       4646.   Medina city, Ohio
4538.   Athens city, Ohio              4592.   Falls township, Ohio           4647.   Meigs County, Ohio
4539.   Aurora city, Ohio              4593.   Fayette County, Ohio           4648.   Miami township, Ohio
4540.   Avon city, Ohio                4594.   Forest Park city, Ohio         4649.   Miamisburg city, Ohio
4541.   Avon Lake city, Ohio           4595.   Fostoria city, Ohio            4650.   Middleburg Heights city, Ohio
4542.   Bainbridge township, Ohio      4596.   Franklin city, Ohio            4651.   Monclova township, Ohio
4543.   Barberton city, Ohio           4597.   Franklin township, Ohio        4652.   Monroe city, Ohio


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4653.   Monroe County, Ohio           4707.   Shaker Heights city, Ohio       4760.   Xenia city, Ohio
4654.   Monroe township, Ohio         4708.   Sharon township, Ohio           4761.   Zanesville city, Ohio
4655.   Montgomery city, Ohio         4709.   Sharonville city, Ohio          4762.   Albany city, Oregon *
4656.   Montville township, Ohio      4710.   Shawnee township, Ohio          4763.   Beaverton city, Oregon *
4657.   Moorefield township, Ohio     4711.   Sidney city, Ohio               4764.   Bend city, Oregon *
4658.   Morgan County, Ohio           4712.   Solon city, Ohio                4765.   Benton County, Oregon *
4659.   Mount Vernon city, Ohio       4713.   South Euclid city, Ohio         4766.   Clackamas County, Oregon *
4660.   New Albany city, Ohio         4714.   Springboro city, Ohio           4767.   Clatsop County, Oregon *
4661.   New Franklin city, Ohio       4715.   Springdale city, Ohio           4768.   Columbia County, Oregon *
4662.   New Philadelphia city, Ohio   4716.   Springfield township, Ohio      4769.   Coos County, Oregon *
4663.   Niles city, Ohio              4717.   Springfield township, Ohio      4770.   Corvallis city, Oregon *
4664.   Noble County, Ohio            4718.   Springfield township, Ohio      4771.   Deschutes County, Oregon *
4665.   North Canton city, Ohio       4719.   Springfield township, Ohio      4772.   Douglas County, Oregon *
4666.   Norton city, Ohio             4720.   St. Marys township, Ohio        4773.   Eugene city, Oregon *
4667.   Norwalk city, Ohio            4721.   Steubenville city, Ohio         4774.   Grants Pass city, Oregon *
4668.   Norwood city, Ohio            4722.   Streetsboro city, Ohio          4775.   Gresham city, Oregon *
4669.   Olmsted township, Ohio        4723.   Struthers city, Ohio            4776.   Hillsboro city, Oregon *
4670.   Oregon city, Ohio             4724.   Sycamore township, Ohio         4777.   Jackson County, Oregon *
4671.   Oxford city, Ohio             4725.   Sylvania city, Ohio             4778.   Josephine County, Oregon *
4672.   Oxford township, Ohio         4726.   Symmes township, Ohio           4779.   Keizer city, Oregon *
4673.   Painesville city, Ohio        4727.   Tallmadge city, Ohio            4780.   Klamath County, Oregon *
4674.   Painesville township, Ohio    4728.   Tiffin city, Ohio               4781.   Lake Oswego city, Oregon *
4675.   Paris township, Ohio          4729.   Tipp City city, Ohio            4782.   Lane County, Oregon *
4676.   Parma Heights city, Ohio      4730.   Trenton city, Ohio              4783.   Lincoln County, Oregon *
4677.   Pataskala city, Ohio          4731.   Trotwood city, Ohio             4784.   Linn County, Oregon *
4678.   Paulding County, Ohio         4732.   Troy city, Ohio                 4785.   Malheur County, Oregon *
4679.   Pease township, Ohio          4733.   Truro township, Ohio            4786.   Marion County, Oregon *
4680.   Perkins township, Ohio        4734.   Turtlecreek township, Ohio      4787.   McMinnville city, Oregon *
4681.   Perry township, Ohio          4735.   Twinsburg city, Ohio            4788.   Medford city, Oregon *
4682.   Perry township, Ohio          4736.   Union township, Ohio            4789.   Multnomah County, Oregon *
4683.   Perrysburg city, Ohio         4737.   Union township, Ohio            4790.   Oregon City city, Oregon *
4684.   Perrysburg township, Ohio     4738.   University Heights city, Ohio   4791.   Polk County, Oregon *
4685.   Pickerington city, Ohio       4739.   Upper township, Ohio            4792.   Portland city, Oregon *
4686.   Pierce township, Ohio         4740.   Urbana city, Ohio               4793.   Redmond city, Oregon *
4687.   Pike County, Ohio             4741.   Urbana township, Ohio           4794.   Salem city, Oregon *
4688.   Piqua city, Ohio              4742.   Van Wert city, Ohio             4795.   Springfield city, Oregon *
4689.   Plain township, Ohio          4743.   Van Wert County, Ohio           4796.   Tigard city, Oregon *
4690.   Pleasant township, Ohio       4744.   Vandalia city, Ohio             4797.   Umatilla County, Oregon *
4691.   Poland township, Ohio         4745.   Vermilion city, Ohio            4798.   Washington County, Oregon *
4692.   Portsmouth city, Ohio         4746.   Vinton County, Ohio             4799.   Yamhill County, Oregon *
4693.   Powell city, Ohio             4747.   Wadsworth city, Ohio            4800.   Ashland city, Oregon
4694.   Prairie township, Ohio        4748.   Warrensville Heights city,      4801.   Astoria city, Oregon
4695.   Ravenna city, Ohio                    Ohio                            4802.   Baker County, Oregon
4696.   Reading city, Ohio            4749.   Washington Court House city,    4803.   Canby city, Oregon
4697.   Richland township, Ohio               Ohio                            4804.   Central Point city, Oregon
4698.   Richmond Heights city, Ohio   4750.   Weathersfield township, Ohio    4805.   Coos Bay city, Oregon
4699.   Riverside city, Ohio          4751.   West Carrollton city, Ohio      4806.   Cornelius city, Oregon
4700.   Rocky River city, Ohio        4752.   Whitehall city, Ohio            4807.   Cottage Grove city, Oregon
4701.   Sagamore Hills township,      4753.   Wickliffe city, Ohio            4808.   Crook County, Oregon
        Ohio                          4754.   Willoughby city, Ohio           4809.   Curry County, Oregon
4702.   Salem city, Ohio              4755.   Willowick city, Ohio            4810.   Dallas city, Oregon
4703.   Sandusky city, Ohio           4756.   Wilmington city, Ohio           4811.   Forest Grove city, Oregon
4704.   Scioto township, Ohio         4757.   Wooster city, Ohio              4812.   Gladstone city, Oregon
4705.   Scioto township, Ohio         4758.   Worthington city, Ohio          4813.   Happy Valley city, Oregon
4706.   Seven Hills city, Ohio        4759.   Wyandot County, Ohio            4814.   Hermiston city, Oregon


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4815.   Hood River County, Oregon        4858.   Bucks County, Pennsylvania *     4889.   Lancaster city, Pennsylvania *
4816.   Independence city, Oregon        4859.   Butler County, Pennsylvania *    4890.   Lancaster County,
4817.   Jefferson County, Oregon         4860.   Cambria County, Pennsylvania             Pennsylvania *
4818.   Klamath Falls city, Oregon               *                                4891.   Lawrence County,
4819.   La Grande city, Oregon           4861.   Carbon County, Pennsylvania              Pennsylvania *
4820.   Lebanon city, Oregon                     *                                4892.   Lebanon County,
4821.   Milwaukie city, Oregon           4862.   Centre County, Pennsylvania *            Pennsylvania *
4822.   Monmouth city, Oregon            4863.   Cheltenham township,             4893.   Lehigh County, Pennsylvania
4823.   Morrow County, Oregon                    Pennsylvania *                           *
4824.   Newberg city, Oregon             4864.   Chester city, Pennsylvania *     4894.   Lower Macungie township,
4825.   Newport city, Oregon             4865.   Chester County, Pennsylvania             Pennsylvania *
4826.   Ontario city, Oregon                     *                                4895.   Lower Makefield township,
4827.   Pendleton city, Oregon           4866.   Clarion County, Pennsylvania             Pennsylvania *
4828.   Prineville city, Oregon                  *                                4896.   Lower Merion township,
4829.   Roseburg city, Oregon            4867.   Clearfield County,                       Pennsylvania *
4830.   Sandy city, Oregon                       Pennsylvania *                   4897.   Lower Paxton township,
4831.   Sherwood city, Oregon            4868.   Clinton County, Pennsylvania             Pennsylvania *
4832.   Silverton city, Oregon                   *                                4898.   Luzerne County, Pennsylvania
4833.   St. Helens city, Oregon          4869.   Columbia County,                         *
4834.   The Dalles city, Oregon                  Pennsylvania *                   4899.   Lycoming County,
4835.   Tillamook County, Oregon         4870.   Cranberry township,                      Pennsylvania *
4836.   Troutdale city, Oregon                   Pennsylvania *                   4900.   Manheim township,
4837.   Tualatin city, Oregon            4871.   Crawford County,                         Pennsylvania *
4838.   Union County, Oregon                     Pennsylvania *                   4901.   McKean County, Pennsylvania
4839.   Wasco County, Oregon             4872.   Cumberland County,                       *
4840.   West Linn city, Oregon                   Pennsylvania *                   4902.   Mercer County, Pennsylvania
4841.   Wilsonville city, Oregon         4873.   Dauphin County, Pennsylvania             *
4842.   Woodburn city, Oregon                    *                                4903.   Middletown township,
4843.   Abington township,               4874.   Delaware County,                         Pennsylvania *
        Pennsylvania *                           Pennsylvania *                   4904.   Mifflin County, Pennsylvania
4844.   Adams County, Pennsylvania       4875.   Erie city, Pennsylvania *                *
        *                                4876.   Erie County, Pennsylvania *      4905.   Millcreek township,
4845.   Allegheny County,                4877.   Falls township, Pennsylvania *           Pennsylvania *
        Pennsylvania *                   4878.   Fayette County, Pennsylvania     4906.   Monroe County, Pennsylvania
4846.   Allentown city, Pennsylvania             *                                        *
        *                                4879.   Franklin County, Pennsylvania    4907.   Montgomery County,
4847.   Altoona city, Pennsylvania *             *                                        Pennsylvania *
4848.   Armstrong County,                4880.   Greene County, Pennsylvania      4908.   Mount Lebanon township,
        Pennsylvania *                           *                                        Pennsylvania *
4849.   Beaver County, Pennsylvania      4881.   Hampden township,                4909.   Norristown borough,
        *                                        Pennsylvania *                           Pennsylvania *
4850.   Bedford County, Pennsylvania     4882.   Harrisburg city, Pennsylvania    4910.   North Huntingdon township,
        *                                        *                                        Pennsylvania *
4851.   Bensalem township,               4883.   Haverford township,              4911.   Northampton County,
        Pennsylvania *                           Pennsylvania *                           Pennsylvania *
4852.   Berks County, Pennsylvania *     4884.   Hempfield township,              4912.   Northampton township,
4853.   Bethel Park municipality,                Pennsylvania *                           Pennsylvania *
        Pennsylvania *                   4885.   Huntingdon County,               4913.   Northumberland County,
4854.   Bethlehem city, Pennsylvania             Pennsylvania *                           Pennsylvania *
        *                                4886.   Indiana County, Pennsylvania     4914.   Penn Hills township,
4855.   Blair County, Pennsylvania *             *                                        Pennsylvania *
4856.   Bradford County,                 4887.   Jefferson County,                4915.   Perry County, Pennsylvania *
        Pennsylvania *                           Pennsylvania *                   4916.   Philadelphia city /
4857.   Bristol township, Pennsylvania   4888.   Lackawanna County,                       Philadelphia County,
        *                                        Pennsylvania *                           Pennsylvania *


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4917.   Pike County, Pennsylvania *       4950.   Butler city, Pennsylvania        4983.   Elizabeth township,
4918.   Pittsburgh city, Pennsylvania *   4951.   Butler township, Pennsylvania            Pennsylvania
4919.   Radnor township,                  4952.   Caln township, Pennsylvania      4984.   Elizabethtown borough,
        Pennsylvania *                    4953.   Carlisle borough,                        Pennsylvania
4920.   Reading city, Pennsylvania *              Pennsylvania                     4985.   Elk County, Pennsylvania
4921.   Ridley township, Pennsylvania     4954.   Cecil township, Pennsylvania     4986.   Emmaus borough,
        *                                 4955.   Center township, Pennsylvania            Pennsylvania
4922.   Ross township, Pennsylvania *     4956.   Chambersburg borough,            4987.   Ephrata borough,
4923.   Schuylkill County,                        Pennsylvania                             Pennsylvania
        Pennsylvania *                    4957.   Chestnuthill township,           4988.   Ephrata township,
4924.   Scranton city, Pennsylvania *             Pennsylvania                             Pennsylvania
4925.   Snyder County, Pennsylvania       4958.   Coal township, Pennsylvania      4989.   Exeter township, Pennsylvania
        *                                 4959.   Coatesville city, Pennsylvania   4990.   Fairview township,
4926.   Somerset County,                  4960.   College township,                        Pennsylvania
        Pennsylvania *                            Pennsylvania                     4991.   Fairview township,
4927.   State College borough,            4961.   Columbia borough,                        Pennsylvania
        Pennsylvania *                            Pennsylvania                     4992.   Ferguson township,
4928.   Susquehanna County,               4962.   Concord township,                        Pennsylvania
        Pennsylvania *                            Pennsylvania                     4993.   Forks township, Pennsylvania
4929.   Tioga County, Pennsylvania *      4963.   Coolbaugh township,              4994.   Franconia township,
4930.   Union County, Pennsylvania *              Pennsylvania                             Pennsylvania
4931.   Upper Darby township,             4964.   Cumru township,                  4995.   Franklin Park borough,
        Pennsylvania *                            Pennsylvania                             Pennsylvania
4932.   Upper Merion township,            4965.   Darby borough, Pennsylvania      4996.   Fulton County, Pennsylvania
        Pennsylvania *                    4966.   Derry township, Pennsylvania     4997.   Greene township,
4933.   Venango County,                   4967.   Derry township, Pennsylvania             Pennsylvania
        Pennsylvania *                    4968.   Dingman township,                4998.   Greensburg city, Pennsylvania
4934.   Warminster township,                      Pennsylvania                     4999.   Guilford township,
        Pennsylvania *                    4969.   Douglass township,                       Pennsylvania
4935.   Warren County, Pennsylvania               Pennsylvania                     5000.   Hamilton township,
        *                                 4970.   Dover township, Pennsylvania             Pennsylvania
4936.   Washington County,                4971.   Doylestown township,             5001.   Hampton township,
        Pennsylvania *                            Pennsylvania                             Pennsylvania
4937.   Wayne County, Pennsylvania        4972.   Dunmore borough,                 5002.   Hanover borough,
        *                                         Pennsylvania                             Pennsylvania
4938.   Westmoreland County,              4973.   East Cocalico township,          5003.   Hanover township,
        Pennsylvania *                            Pennsylvania                             Pennsylvania
4939.   Wilkes-Barre city,                4974.   East Goshen township,            5004.   Hanover township,
        Pennsylvania *                            Pennsylvania                             Pennsylvania
4940.   York city, Pennsylvania *         4975.   East Hempfield township,         5005.   Harborcreek township,
4941.   York County, Pennsylvania *               Pennsylvania                             Pennsylvania
4942.   Adams township,                   4976.   East Lampeter township,          5006.   Harrison township,
        Pennsylvania                              Pennsylvania                             Pennsylvania
4943.   Amity township, Pennsylvania      4977.   East Norriton township,          5007.   Hatfield township,
4944.   Antrim township,                          Pennsylvania                             Pennsylvania
        Pennsylvania                      4978.   East Pennsboro township,         5008.   Hazleton city, Pennsylvania
4945.   Aston township, Pennsylvania              Pennsylvania                     5009.   Hermitage city, Pennsylvania
4946.   Baldwin borough,                  4979.   East Stroudsburg borough,        5010.   Hilltown township,
        Pennsylvania                              Pennsylvania                             Pennsylvania
4947.   Bethlehem township,               4980.   East Whiteland township,         5011.   Hopewell township,
        Pennsylvania                              Pennsylvania                             Pennsylvania
4948.   Bloomsburg town,                  4981.   Easton city, Pennsylvania        5012.   Horsham township,
        Pennsylvania                      4982.   Easttown township,                       Pennsylvania
4949.   Buckingham township,                      Pennsylvania                     5013.   Indiana borough, Pennsylvania
        Pennsylvania


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5014.   Jefferson Hills borough,       5044.   Milford township,               5075.   Phoenixville borough,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5015.   Johnstown city, Pennsylvania   5045.   Monroeville municipality,       5076.   Pine township, Pennsylvania
5016.   Juniata County, Pennsylvania           Pennsylvania                    5077.   Plum borough, Pennsylvania
5017.   Kingston borough,              5046.   Montgomery township,            5078.   Plumstead township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5018.   Lancaster township,            5047.   Montour County,                 5079.   Plymouth township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5019.   Lansdale borough,              5048.   Moon township, Pennsylvania     5080.   Pocono township,
        Pennsylvania                   5049.   Mount Joy township,                     Pennsylvania
5020.   Lansdowne borough,                     Pennsylvania                    5081.   Potter County, Pennsylvania
        Pennsylvania                   5050.   Mount Pleasant township,        5082.   Pottstown borough,
5021.   Lebanon city, Pennsylvania             Pennsylvania                            Pennsylvania
5022.   Lehigh township,               5051.   Muhlenberg township,            5083.   Pottsville city, Pennsylvania
        Pennsylvania                           Pennsylvania                    5084.   Rapho township, Pennsylvania
5023.   Lehman township,               5052.   Munhall borough,                5085.   Richland township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5024.   Limerick township,             5053.   Murrysville municipality,       5086.   Richland township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5025.   Logan township, Pennsylvania   5054.   Nanticoke city, Pennsylvania    5087.   Richland township,
5026.   Lower Allen township,          5055.   Nether Providence township,             Pennsylvania
        Pennsylvania                           Pennsylvania                    5088.   Robinson township,
5027.   Lower Burrell city,            5056.   New Britain township,                   Pennsylvania
        Pennsylvania                           Pennsylvania                    5089.   Rostraver township,
5028.   Lower Gwynedd township,        5057.   New Castle city, Pennsylvania           Pennsylvania
        Pennsylvania                   5058.   New Garden township,            5090.   Salisbury township,
5029.   Lower Moreland township,               Pennsylvania                            Pennsylvania
        Pennsylvania                   5059.   New Hanover township,           5091.   Salisbury township,
5030.   Lower Pottsgrove township,             Pennsylvania                            Pennsylvania
        Pennsylvania                   5060.   New Kensington city,            5092.   Sandy township, Pennsylvania
5031.   Lower Providence township,             Pennsylvania                    5093.   Scott township, Pennsylvania
        Pennsylvania                   5061.   Newberry township,              5094.   Shaler township, Pennsylvania
5032.   Lower Salford township,                Pennsylvania                    5095.   Sharon city, Pennsylvania
        Pennsylvania                   5062.   Newtown township,               5096.   Silver Spring township,
5033.   Lower Saucon township,                 Pennsylvania                            Pennsylvania
        Pennsylvania                   5063.   Newtown township,               5097.   Skippack township,
5034.   Lower Southampton township,            Pennsylvania                            Pennsylvania
        Pennsylvania                   5064.   North Fayette township,         5098.   Somerset township,
5035.   Loyalsock township,                    Pennsylvania                            Pennsylvania
        Pennsylvania                   5065.   North Lebanon township,         5099.   South Fayette township,
5036.   Manchester township,                   Pennsylvania                            Pennsylvania
        Pennsylvania                   5066.   North Middleton township,       5100.   South Lebanon township,
5037.   Manor township, Pennsylvania           Pennsylvania                            Pennsylvania
5038.   Marple township,               5067.   North Strabane township,        5101.   South Middleton township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5039.   McCandless township,           5068.   North Union township,           5102.   South Park township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5040.   McKeesport city,               5069.   North Whitehall township,       5103.   South Union township,
        Pennsylvania                           Pennsylvania                            Pennsylvania
5041.   Meadville city, Pennsylvania   5070.   Palmer township,                5104.   South Whitehall township,
5042.   Middle Smithfield township,            Pennsylvania                            Pennsylvania
        Pennsylvania                   5071.   Patton township, Pennsylvania   5105.   Spring Garden township,
5043.   Middletown township,           5072.   Penn township, Pennsylvania             Pennsylvania
        Pennsylvania                   5073.   Penn township, Pennsylvania     5106.   Spring township, Pennsylvania
                                       5074.   Peters township, Pennsylvania


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5107.   Springettsbury township,        5136.   West Bradford township,        5164.   Arecibo Municipio, Puerto
        Pennsylvania                            Pennsylvania                           Rico *
5108.   Springfield township,           5137.   West Chester borough,          5165.   Bayamón Municipio, Puerto
        Pennsylvania                            Pennsylvania                           Rico *
5109.   Springfield township,           5138.   West Deer township,            5166.   Cabo Rojo Municipio, Puerto
        Pennsylvania                            Pennsylvania                           Rico *
5110.   St. Marys city, Pennsylvania    5139.   West Goshen township,          5167.   Caguas Municipio, Puerto
5111.   Stroud township, Pennsylvania           Pennsylvania                           Rico *
5112.   Susquehanna township,           5140.   West Hanover township,         5168.   Camuy Municipio, Puerto
        Pennsylvania                            Pennsylvania                           Rico *
5113.   Swatara township,               5141.   West Hempfield township,       5169.   Canóvanas Municipio, Puerto
        Pennsylvania                            Pennsylvania                           Rico *
5114.   Towamencin township,            5142.   West Lampeter township,        5170.   Carolina Municipio, Puerto
        Pennsylvania                            Pennsylvania                           Rico *
5115.   Tredyffrin township,            5143.   West Manchester township,      5171.   Cayey Municipio, Puerto Rico
        Pennsylvania                            Pennsylvania                           *
5116.   Unity township, Pennsylvania    5144.   West Mifflin borough,          5172.   Cidra Municipio, Puerto Rico
5117.   Upper Allen township,                   Pennsylvania                           *
        Pennsylvania                    5145.   West Norriton township,        5173.   Coamo Municipio, Puerto
5118.   Upper Chichester township,              Pennsylvania                           Rico *
        Pennsylvania                    5146.   West Whiteland township,       5174.   Corozal Municipio, Puerto
5119.   Upper Dublin township,                  Pennsylvania                           Rico *
        Pennsylvania                    5147.   Westtown township,             5175.   Dorado Municipio, Puerto
5120.   Upper Gwynedd township,                 Pennsylvania                           Rico *
        Pennsylvania                    5148.   White township, Pennsylvania   5176.   Guayama Municipio, Puerto
5121.   Upper Macungie township,        5149.   Whitehall borough,                     Rico *
        Pennsylvania                            Pennsylvania                   5177.   Guaynabo Municipio, Puerto
5122.   Upper Moreland township,        5150.   Whitehall township,                    Rico *
        Pennsylvania                            Pennsylvania                   5178.   Gurabo Municipio, Puerto
5123.   Upper Providence township,      5151.   Whitemarsh township,                   Rico *
        Pennsylvania                            Pennsylvania                   5179.   Hatillo Municipio, Puerto Rico
5124.   Upper Providence township,      5152.   Whitpain township,                     *
        Pennsylvania                            Pennsylvania                   5180.   Humacao Municipio, Puerto
5125.   Upper Saucon township,          5153.   Wilkinsburg borough,                   Rico *
        Pennsylvania                            Pennsylvania                   5181.   Isabela Municipio, Puerto
5126.   Upper Southampton township,     5154.   Williamsport city,                     Rico *
        Pennsylvania                            Pennsylvania                   5182.   Juana Díaz Municipio, Puerto
5127.   Upper St. Clair township,       5155.   Willistown township,                   Rico *
        Pennsylvania                            Pennsylvania                   5183.   Juncos Municipio, Puerto Rico
5128.   Upper Uwchlan township,         5156.   Windsor township,                      *
        Pennsylvania                            Pennsylvania                   5184.   Las Piedras Municipio, Puerto
5129.   Uwchlan township,               5157.   Worcester township,                    Rico *
        Pennsylvania                            Pennsylvania                   5185.   Manatí Municipio, Puerto
5130.   Warrington township,            5158.   Wyoming County,                        Rico *
        Pennsylvania                            Pennsylvania                   5186.   Mayagüez Municipio, Puerto
5131.   Warwick township,               5159.   Wyomissing borough,                    Rico *
        Pennsylvania                            Pennsylvania                   5187.   Moca Municipio, Puerto Rico
5132.   Warwick township,               5160.   Yeadon borough,                        *
        Pennsylvania                            Pennsylvania                   5188.   Morovis Municipio, Puerto
5133.   Washington city, Pennsylvania   5161.   York township, Pennsylvania            Rico *
5134.   Washington township,            5162.   Aguada Municipio, Puerto       5189.   Ponce Municipio, Puerto Rico
        Pennsylvania                            Rico *                                 *
5135.   Waynesboro borough,             5163.   Aguadilla Municipio, Puerto    5190.   Río Grande Municipio, Puerto
        Pennsylvania                            Rico *                                 Rico *




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5191.   San Germán Municipio,           5221.   Loíza Municipio, Puerto Rico     5252.   Johnston town, Rhode Island
        Puerto Rico *                   5222.   Luquillo Municipio, Puerto       5253.   Lincoln town, Rhode Island
5192.   San Juan Municipio, Puerto              Rico                             5254.   Middletown town, Rhode
        Rico *                          5223.   Maunabo Municipio, Puerto                Island
5193.   San Lorenzo Municipio,                  Rico                             5255.   Narragansett town, Rhode
        Puerto Rico *                   5224.   Naguabo Municipio, Puerto                Island
5194.   San Sebastián Municipio,                Rico                             5256.   Newport city, Rhode Island
        Puerto Rico *                   5225.   Naranjito Municipio, Puerto      5257.   North Kingstown town, Rhode
5195.   Toa Alta Municipio, Puerto              Rico                                     Island
        Rico *                          5226.   Orocovis Municipio, Puerto       5258.   North Smithfield town, Rhode
5196.   Toa Baja Municipio, Puerto              Rico                                     Island
        Rico *                          5227.   Patillas Municipio, Puerto       5259.   Portsmouth town, Rhode
5197.   Trujillo Alto Municipio,                Rico                                     Island
        Puerto Rico *                   5228.   Peñuelas Municipio, Puerto       5260.   Scituate town, Rhode Island
5198.   Vega Alta Municipio, Puerto             Rico                             5261.   Smithfield town, Rhode Island
        Rico *                          5229.   Quebradillas Municipio,          5262.   Tiverton town, Rhode Island
5199.   Vega Baja Municipio, Puerto             Puerto Rico                      5263.   Warren town, Rhode Island
        Rico *                          5230.   Rincón Municipio, Puerto         5264.   West Warwick town, Rhode
5200.   Yabucoa Municipio, Puerto               Rico                                     Island
        Rico *                          5231.   Sabana Grande Municipio,         5265.   Westerly town, Rhode Island
5201.   Yauco Municipio, Puerto Rico            Puerto Rico                      5266.   Aiken city, South Carolina *
        *                               5232.   Salinas Municipio, Puerto        5267.   Aiken County, South Carolina
5202.   Adjuntas Municipio, Puerto              Rico                                     *
        Rico                            5233.   Santa Isabel Municipio, Puerto   5268.   Anderson County, South
5203.   Aguas Buenas Municipio,                 Rico                                     Carolina *
        Puerto Rico                     5234.   Utuado Municipio, Puerto         5269.   Beaufort County, South
5204.   Aibonito Municipio, Puerto              Rico                                     Carolina *
        Rico                            5235.   Villalba Municipio, Puerto       5270.   Berkeley County, South
5205.   Añasco Municipio, Puerto                Rico                                     Carolina *
        Rico                            5236.   Coventry town, Rhode Island      5271.   Charleston city, South
5206.   Arroyo Municipio, Puerto                *                                        Carolina *
        Rico                            5237.   Cranston city, Rhode Island *    5272.   Charleston County, South
5207.   Barceloneta Municipio, Puerto   5238.   Cumberland town, Rhode                   Carolina *
        Rico                                    Island *                         5273.   Cherokee County, South
5208.   Barranquitas Municipio,         5239.   East Providence city, Rhode              Carolina *
        Puerto Rico                             Island *                         5274.   Chester County, South
5209.   Cataño Municipio, Puerto        5240.   North Providence town, Rhode             Carolina *
        Rico                                    Island *                         5275.   Chesterfield County, South
5210.   Ceiba Municipio, Puerto Rico    5241.   Pawtucket city, Rhode Island *           Carolina *
5211.   Ciales Municipio, Puerto Rico   5242.   Providence city, Rhode Island    5276.   Clarendon County, South
5212.   Comerío Municipio, Puerto               *                                        Carolina *
        Rico                            5243.   South Kingstown town, Rhode      5277.   Colleton County, South
5213.   Fajardo Municipio, Puerto               Island *                                 Carolina *
        Rico                            5244.   Warwick city, Rhode Island *     5278.   Columbia city, South Carolina
5214.   Florida Municipio, Puerto       5245.   Woonsocket city, Rhode                   *
        Rico                                    Island *                         5279.   Darlington County, South
5215.   Guánica Municipio, Puerto       5246.   Barrington town, Rhode Island            Carolina *
        Rico                            5247.   Bristol town, Rhode Island       5280.   Dillon County, South Carolina
5216.   Guayanilla Municipio, Puerto    5248.   Burrillville town, Rhode                 *
        Rico                                    Island                           5281.   Dorchester County, South
5217.   Hormigueros Municipio,          5249.   Central Falls city, Rhode                Carolina *
        Puerto Rico                             Island                           5282.   Florence city, South Carolina
5218.   Jayuya Municipio, Puerto Rico   5250.   East Greenwich town, Rhode               *
5219.   Lajas Municipio, Puerto Rico            Island                           5283.   Florence County, South
5220.   Lares Municipio, Puerto Rico    5251.   Glocester town, Rhode Island             Carolina *


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5284.   Georgetown County, South         5312.   Williamsburg County, South       5347.   Simpsonville city, South
        Carolina *                               Carolina *                               Carolina
5285.   Goose Creek city, South          5313.   York County, South Carolina      5348.   Tega Cay city, South Carolina
        Carolina *                               *                                5349.   Union County, South Carolina
5286.   Greenville city, South           5314.   Abbeville County, South          5350.   West Columbia city, South
        Carolina *                               Carolina                                 Carolina
5287.   Greenville County, South         5315.   Anderson city, South Carolina    5351.   Brookings County, South
        Carolina *                       5316.   Bamberg County, South                    Dakota *
5288.   Greenwood County, South                  Carolina                         5352.   Brown County, South Dakota
        Carolina *                       5317.   Barnwell County, South                   *
5289.   Greer city, South Carolina *             Carolina                         5353.   Lincoln County, South Dakota
5290.   Hilton Head Island town,         5318.   Beaufort city, South Carolina            *
        South Carolina *                 5319.   Bluffton town, South Carolina    5354.   Minnehaha County, South
5291.   Horry County, South Carolina     5320.   Calhoun County, South                    Dakota *
        *                                        Carolina                         5355.   Pennington County, South
5292.   Jasper County, South Carolina    5321.   Cayce city, South Carolina               Dakota *
        *                                5322.   Clemson city, South Carolina     5356.   Rapid City city, South Dakota
5293.   Kershaw County, South            5323.   Conway city, South Carolina              *
        Carolina *                       5324.   Easley city, South Carolina      5357.   Sioux Falls city, South Dakota
5294.   Lancaster County, South          5325.   Edgefield County, South                  *
        Carolina *                               Carolina                         5358.   Aberdeen city, South Dakota
5295.   Laurens County, South            5326.   Fairfield County, South          5359.   Beadle County, South Dakota
        Carolina *                               Carolina                         5360.   Box Elder city, South Dakota
5296.   Lexington County, South          5327.   Forest Acres city, South         5361.   Brandon city, South Dakota
        Carolina *                               Carolina                         5362.   Brookings city, South Dakota
5297.   Marion County, South             5328.   Fort Mill town, South Carolina   5363.   Butte County, South Dakota
        Carolina *                       5329.   Fountain Inn city, South         5364.   Clay County, South Dakota
5298.   Mount Pleasant town, South               Carolina                         5365.   Codington County, South
        Carolina *                       5330.   Gaffney city, South Carolina             Dakota
5299.   Myrtle Beach city, South         5331.   Greenwood city, South            5366.   Davison County, South
        Carolina *                               Carolina                                 Dakota
5300.   Newberry County, South           5332.   Hampton County, South            5367.   Hughes County, South Dakota
        Carolina *                               Carolina                         5368.   Huron city, South Dakota
5301.   North Charleston city, South     5333.   Hanahan city, South Carolina     5369.   Lake County, South Dakota
        Carolina *                       5334.   Irmo town, South Carolina        5370.   Lawrence County, South
5302.   Oconee County, South             5335.   James Island town, South                 Dakota
        Carolina *                               Carolina                         5371.   Meade County, South Dakota
5303.   Orangeburg County, South         5336.   Lee County, South Carolina       5372.   Mitchell city, South Dakota
        Carolina *                       5337.   Lexington town, South            5373.   Oglala Lakota County, South
5304.   Pickens County, South                    Carolina                                 Dakota
        Carolina *                       5338.   Marlboro County, South           5374.   Pierre city, South Dakota
5305.   Richland County, South                   Carolina                         5375.   Roberts County, South Dakota
        Carolina *                       5339.   Mauldin city, South Carolina     5376.   Spearfish city, South Dakota
5306.   Rock Hill city, South Carolina   5340.   Moncks Corner town, South        5377.   Todd County, South Dakota
        *                                        Carolina                         5378.   Union County, South Dakota
5307.   Spartanburg city, South          5341.   Newberry city, South Carolina    5379.   Vermillion city, South Dakota
        Carolina *                       5342.   North Augusta city, South        5380.   Watertown city, South Dakota
5308.   Spartanburg County, South                Carolina                         5381.   Yankton city, South Dakota
        Carolina *                       5343.   North Myrtle Beach city,         5382.   Yankton County, South
5309.   Summerville town, South                  South Carolina                           Dakota
        Carolina *                       5344.   Orangeburg city, South           5383.   Anderson County, Tennessee
5310.   Sumter city, South Carolina *            Carolina                                 *
5311.   Sumter County, South             5345.   Port Royal town, South           5384.   Bartlett city, Tennessee *
        Carolina *                               Carolina                         5385.   Bedford County, Tennessee *
                                         5346.   Saluda County, South Carolina    5386.   Blount County, Tennessee *


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5387.   Bradley County, Tennessee *      5435.   Mount Juliet city, Tennessee *   5483.   Hartsville/Trousdale County,
5388.   Brentwood city, Tennessee *      5436.   Murfreesboro city, Tennessee             Tennessee
5389.   Campbell County, Tennessee               *                                5484.   Haywood County, Tennessee
        *                                5437.   Nashville-Davidson               5485.   Henderson County, Tennessee
5390.   Carter County, Tennessee *               metropolitan government,         5486.   Hickman County, Tennessee
5391.   Chattanooga city, Tennessee *            Tennessee *                      5487.   Humphreys County,
5392.   Cheatham County, Tennessee       5438.   Obion County, Tennessee *                Tennessee
        *                                5439.   Putnam County, Tennessee *       5488.   Jackson County, Tennessee
5393.   Claiborne County, Tennessee      5440.   Rhea County, Tennessee *         5489.   Johnson County, Tennessee
        *                                5441.   Roane County, Tennessee *        5490.   Lakeland city, Tennessee
5394.   Clarksville city, Tennessee *    5442.   Robertson County, Tennessee      5491.   Lauderdale County, Tennessee
5395.   Cleveland city, Tennessee *              *                                5492.   Lawrenceburg city, Tennessee
5396.   Cocke County, Tennessee *        5443.   Rutherford County, Tennessee     5493.   Lewis County, Tennessee
5397.   Coffee County, Tennessee *               *                                5494.   Lewisburg city, Tennessee
5398.   Collierville town, Tennessee *   5444.   Sevier County, Tennessee *       5495.   Macon County, Tennessee
5399.   Columbia city, Tennessee *       5445.   Shelby County, Tennessee *       5496.   Manchester city, Tennessee
5400.   Cookeville city, Tennessee *     5446.   Smyrna town, Tennessee *         5497.   Marion County, Tennessee
5401.   Cumberland County,               5447.   Spring Hill city, Tennessee *    5498.   Martin city, Tennessee
        Tennessee *                      5448.   Sullivan County, Tennessee *     5499.   Maryville city, Tennessee
5402.   Dickson County, Tennessee *      5449.   Sumner County, Tennessee *       5500.   McMinnville city, Tennessee
5403.   Dyer County, Tennessee *         5450.   Tipton County, Tennessee *       5501.   McNairy County, Tennessee
5404.   Fayette County, Tennessee *      5451.   Warren County, Tennessee *       5502.   Meigs County, Tennessee
5405.   Franklin city, Tennessee *       5452.   Washington County,               5503.   Millington city, Tennessee
5406.   Franklin County, Tennessee *             Tennessee *                      5504.   Morgan County, Tennessee
5407.   Gallatin city, Tennessee *       5453.   Weakley County, Tennessee *      5505.   Nolensville town, Tennessee
5408.   Germantown city, Tennessee *     5454.   Williamson County,               5506.   Oak Ridge city, Tennessee
5409.   Gibson County, Tennessee *               Tennessee *                      5507.   Overton County, Tennessee
5410.   Greene County, Tennessee *       5455.   Wilson County, Tennessee *       5508.   Paris city, Tennessee
5411.   Hamblen County, Tennessee *      5456.   Arlington town, Tennessee        5509.   Polk County, Tennessee
5412.   Hamilton County, Tennessee *     5457.   Athens city, Tennessee           5510.   Portland city, Tennessee
5413.   Hawkins County, Tennessee *      5458.   Benton County, Tennessee         5511.   Red Bank city, Tennessee
5414.   Hendersonville city,             5459.   Bledsoe County, Tennessee        5512.   Scott County, Tennessee
        Tennessee *                      5460.   Bristol city, Tennessee          5513.   Sequatchie County, Tennessee
5415.   Henry County, Tennessee *        5461.   Cannon County, Tennessee         5514.   Sevierville city, Tennessee
5416.   Jackson city, Tennessee *        5462.   Carroll County, Tennessee        5515.   Shelbyville city, Tennessee
5417.   Jefferson County, Tennessee *    5463.   Chester County, Tennessee        5516.   Smith County, Tennessee
5418.   Johnson City city, Tennessee *   5464.   Clinton city, Tennessee          5517.   Soddy-Daisy city, Tennessee
5419.   Kingsport city, Tennessee *      5465.   Collegedale city, Tennessee      5518.   Springfield city, Tennessee
5420.   Knox County, Tennessee *         5466.   Crockett County, Tennessee       5519.   Stewart County, Tennessee
5421.   Knoxville city, Tennessee *      5467.   Crossville city, Tennessee       5520.   Tullahoma city, Tennessee
5422.   La Vergne city, Tennessee *      5468.   Decatur County, Tennessee        5521.   Unicoi County, Tennessee
5423.   Lawrence County, Tennessee       5469.   DeKalb County, Tennessee         5522.   Union City city, Tennessee
        *                                5470.   Dickson city, Tennessee          5523.   Union County, Tennessee
5424.   Lebanon city, Tennessee *        5471.   Dyersburg city, Tennessee        5524.   Wayne County, Tennessee
5425.   Lincoln County, Tennessee *      5472.   East Ridge city, Tennessee       5525.   White County, Tennessee
5426.   Loudon County, Tennessee *       5473.   Elizabethton city, Tennessee     5526.   White House city, Tennessee
5427.   Madison County, Tennessee *      5474.   Farragut town, Tennessee         5527.   Abilene city, Texas *
5428.   Marshall County, Tennessee *     5475.   Fentress County, Tennessee       5528.   Allen city, Texas *
5429.   Maury County, Tennessee *        5476.   Giles County, Tennessee          5529.   Amarillo city, Texas *
5430.   McMinn County, Tennessee *       5477.   Goodlettsville city, Tennessee   5530.   Anderson County, Texas *
5431.   Memphis city, Tennessee *        5478.   Grainger County, Tennessee       5531.   Angelina County, Texas *
5432.   Monroe County, Tennessee *       5479.   Greeneville town, Tennessee      5532.   Arlington city, Texas *
5433.   Montgomery County,               5480.   Grundy County, Tennessee         5533.   Atascosa County, Texas *
        Tennessee *                      5481.   Hardeman County, Tennessee       5534.   Austin city, Texas *
5434.   Morristown city, Tennessee *     5482.   Hardin County, Tennessee         5535.   Austin County, Texas *


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5536.   Bastrop County, Texas *         5591.   Frisco city, Texas *           5646.   Maverick County, Texas *
5537.   Baytown city, Texas *           5592.   Galveston city, Texas *        5647.   McAllen city, Texas *
5538.   Beaumont city, Texas *          5593.   Galveston County, Texas *      5648.   McKinney city, Texas *
5539.   Bedford city, Texas *           5594.   Garland city, Texas *          5649.   McLennan County, Texas *
5540.   Bee County, Texas *             5595.   Georgetown city, Texas *       5650.   Medina County, Texas *
5541.   Bell County, Texas *            5596.   Grand Prairie city, Texas *    5651.   Mesquite city, Texas *
5542.   Bexar County, Texas *           5597.   Grapevine city, Texas *        5652.   Midland city, Texas *
5543.   Bowie County, Texas *           5598.   Grayson County, Texas *        5653.   Midland County, Texas *
5544.   Brazoria County, Texas *        5599.   Gregg County, Texas *          5654.   Midlothian city, Texas *
5545.   Brazos County, Texas *          5600.   Guadalupe County, Texas *      5655.   Mission city, Texas *
5546.   Brown County, Texas *           5601.   Hale County, Texas *           5656.   Missouri City city, Texas *
5547.   Brownsville city, Texas *       5602.   Haltom City city, Texas *      5657.   Montgomery County, Texas *
5548.   Bryan city, Texas *             5603.   Hardin County, Texas *         5658.   Nacogdoches city, Texas *
5549.   Burleson city, Texas *          5604.   Harker Heights city, Texas *   5659.   Nacogdoches County, Texas *
5550.   Burnet County, Texas *          5605.   Harlingen city, Texas *        5660.   Navarro County, Texas *
5551.   Caldwell County, Texas *        5606.   Harris County, Texas *         5661.   New Braunfels city, Texas *
5552.   Cameron County, Texas *         5607.   Harrison County, Texas *       5662.   North Richland Hills city,
5553.   Carrollton city, Texas *        5608.   Hays County, Texas *                   Texas *
5554.   Cass County, Texas *            5609.   Henderson County, Texas *      5663.   Nueces County, Texas *
5555.   Cedar Hill city, Texas *        5610.   Hidalgo County, Texas *        5664.   Odessa city, Texas *
5556.   Cedar Park city, Texas *        5611.   Hill County, Texas *           5665.   Orange County, Texas *
5557.   Chambers County, Texas *        5612.   Hood County, Texas *           5666.   Parker County, Texas *
5558.   Cherokee County, Texas *        5613.   Hopkins County, Texas *        5667.   Pasadena city, Texas *
5559.   Cibolo city, Texas *            5614.   Houston city, Texas *          5668.   Pearland city, Texas *
5560.   Cleburne city, Texas *          5615.   Howard County, Texas *         5669.   Pflugerville city, Texas *
5561.   College Station city, Texas *   5616.   Hunt County, Texas *           5670.   Pharr city, Texas *
5562.   Collin County, Texas *          5617.   Huntsville city, Texas *       5671.   Plano city, Texas *
5563.   Comal County, Texas *           5618.   Hurst city, Texas *            5672.   Polk County, Texas *
5564.   Conroe city, Texas *            5619.   Irving city, Texas *           5673.   Port Arthur city, Texas *
5565.   Cooke County, Texas *           5620.   Jasper County, Texas *         5674.   Potter County, Texas *
5566.   Coppell city, Texas *           5621.   Jefferson County, Texas *      5675.   Randall County, Texas *
5567.   Copperas Cove city, Texas *     5622.   Jim Wells County, Texas *      5676.   Richardson city, Texas *
5568.   Corpus Christi city, Texas *    5623.   Johnson County, Texas *        5677.   Rockwall city, Texas *
5569.   Coryell County, Texas *         5624.   Kaufman County, Texas *        5678.   Rockwall County, Texas *
5570.   Dallas city, Texas *            5625.   Keller city, Texas *           5679.   Rosenberg city, Texas *
5571.   Dallas County, Texas *          5626.   Kendall County, Texas *        5680.   Round Rock city, Texas *
5572.   Deer Park city, Texas *         5627.   Kerr County, Texas *           5681.   Rowlett city, Texas *
5573.   Del Rio city, Texas *           5628.   Killeen city, Texas *          5682.   Rusk County, Texas *
5574.   Denton city, Texas *            5629.   Kleberg County, Texas *        5683.   San Angelo city, Texas *
5575.   Denton County, Texas *          5630.   Kyle city, Texas *             5684.   San Antonio city, Texas *
5576.   DeSoto city, Texas *            5631.   La Porte city, Texas *         5685.   San Juan city, Texas *
5577.   Duncanville city, Texas *       5632.   Lamar County, Texas *          5686.   San Marcos city, Texas *
5578.   Ector County, Texas *           5633.   Lancaster city, Texas *        5687.   San Patricio County, Texas *
5579.   Edinburg city, Texas *          5634.   Laredo city, Texas *           5688.   Schertz city, Texas *
5580.   El Paso city, Texas *           5635.   League City city, Texas *      5689.   Sherman city, Texas *
5581.   El Paso County, Texas *         5636.   Leander city, Texas *          5690.   Smith County, Texas *
5582.   Ellis County, Texas *           5637.   Lewisville city, Texas *       5691.   Socorro city, Texas *
5583.   Erath County, Texas *           5638.   Liberty County, Texas *        5692.   Southlake city, Texas *
5584.   Euless city, Texas *            5639.   Little Elm city, Texas *       5693.   Starr County, Texas *
5585.   Fannin County, Texas *          5640.   Longview city, Texas *         5694.   Sugar Land city, Texas *
5586.   Farmers Branch city, Texas *    5641.   Lubbock city, Texas *          5695.   Tarrant County, Texas *
5587.   Flower Mound town, Texas *      5642.   Lubbock County, Texas *        5696.   Taylor County, Texas *
5588.   Fort Bend County, Texas *       5643.   Lufkin city, Texas *           5697.   Temple city, Texas *
5589.   Fort Worth city, Texas *        5644.   Mansfield city, Texas *        5698.   Texarkana city, Texas *
5590.   Friendswood city, Texas *       5645.   Matagorda County, Texas *      5699.   Texas City city, Texas *


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5700.   The Colony city, Texas *      5755.   Burkburnett city, Texas       5810.   Hereford city, Texas
5701.   Titus County, Texas *         5756.   Burleson County, Texas        5811.   Hewitt city, Texas
5702.   Tom Green County, Texas *     5757.   Calhoun County, Texas         5812.   Hidalgo city, Texas
5703.   Travis County, Texas *        5758.   Callahan County, Texas        5813.   Highland Village city, Texas
5704.   Tyler city, Texas *           5759.   Camp County, Texas            5814.   Hockley County, Texas
5705.   Upshur County, Texas *        5760.   Canyon city, Texas            5815.   Horizon City city, Texas
5706.   Val Verde County, Texas *     5761.   Celina city, Texas            5816.   Houston County, Texas
5707.   Van Zandt County, Texas *     5762.   Clay County, Texas            5817.   Humble city, Texas
5708.   Victoria city, Texas *        5763.   Clute city, Texas             5818.   Hutchinson County, Texas
5709.   Victoria County, Texas *      5764.   Colleyville city, Texas       5819.   Hutto city, Texas
5710.   Waco city, Texas *            5765.   Colorado County, Texas        5820.   Ingleside city, Texas
5711.   Walker County, Texas *        5766.   Comanche County, Texas        5821.   Jacinto City city, Texas
5712.   Waller County, Texas *        5767.   Converse city, Texas          5822.   Jackson County, Texas
5713.   Washington County, Texas *    5768.   Corinth city, Texas           5823.   Jacksonville city, Texas
5714.   Waxahachie city, Texas *      5769.   Corsicana city, Texas         5824.   Jones County, Texas
5715.   Weatherford city, Texas *     5770.   Crowley city, Texas           5825.   Karnes County, Texas
5716.   Webb County, Texas *          5771.   Dawson County, Texas          5826.   Katy city, Texas
5717.   Weslaco city, Texas *         5772.   Deaf Smith County, Texas      5827.   Kerrville city, Texas
5718.   Wharton County, Texas *       5773.   Denison city, Texas           5828.   Kilgore city, Texas
5719.   Wichita County, Texas *       5774.   DeWitt County, Texas          5829.   Kingsville city, Texas
5720.   Wichita Falls city, Texas *   5775.   Dickinson city, Texas         5830.   La Marque city, Texas
5721.   Williamson County, Texas *    5776.   Dimmit County, Texas          5831.   Lake Jackson city, Texas
5722.   Wilson County, Texas *        5777.   Donna city, Texas             5832.   Lakeway city, Texas
5723.   Wise County, Texas *          5778.   Dumas city, Texas             5833.   Lamb County, Texas
5724.   Wood County, Texas *          5779.   Duval County, Texas           5834.   Lampasas County, Texas
5725.   Wylie city, Texas *           5780.   Eagle Pass city, Texas        5835.   Lavaca County, Texas
5726.   Addison town, Texas           5781.   Eastland County, Texas        5836.   Lee County, Texas
5727.   Alamo city, Texas             5782.   El Campo city, Texas          5837.   Leon County, Texas
5728.   Alice city, Texas             5783.   Elgin city, Texas             5838.   Leon Valley city, Texas
5729.   Alton city, Texas             5784.   Ennis city, Texas             5839.   Levelland city, Texas
5730.   Alvin city, Texas             5785.   Fair Oaks Ranch city, Texas   5840.   Limestone County, Texas
5731.   Andrews city, Texas           5786.   Falls County, Texas           5841.   Live Oak city, Texas
5732.   Andrews County, Texas         5787.   Fate city, Texas              5842.   Live Oak County, Texas
5733.   Angleton city, Texas          5788.   Fayette County, Texas         5843.   Llano County, Texas
5734.   Anna city, Texas              5789.   Forest Hill city, Texas       5844.   Lockhart city, Texas
5735.   Aransas County, Texas         5790.   Forney city, Texas            5845.   Lumberton city, Texas
5736.   Athens city, Texas            5791.   Franklin County, Texas        5846.   Madison County, Texas
5737.   Azle city, Texas              5792.   Fredericksburg city, Texas    5847.   Manor city, Texas
5738.   Balch Springs city, Texas     5793.   Freeport city, Texas          5848.   Manvel city, Texas
5739.   Bandera County, Texas         5794.   Freestone County, Texas       5849.   Marshall city, Texas
5740.   Bay City city, Texas          5795.   Frio County, Texas            5850.   Melissa city, Texas
5741.   Beeville city, Texas          5796.   Fulshear city, Texas          5851.   Mercedes city, Texas
5742.   Bellaire city, Texas          5797.   Gaines County, Texas          5852.   Milam County, Texas
5743.   Bellmead city, Texas          5798.   Gainesville city, Texas       5853.   Mineral Wells city, Texas
5744.   Belton city, Texas            5799.   Galena Park city, Texas       5854.   Montague County, Texas
5745.   Benbrook city, Texas          5800.   Gatesville city, Texas        5855.   Moore County, Texas
5746.   Big Spring city, Texas        5801.   Gillespie County, Texas       5856.   Morris County, Texas
5747.   Blanco County, Texas          5802.   Glenn Heights city, Texas     5857.   Mount Pleasant city, Texas
5748.   Boerne city, Texas            5803.   Gonzales County, Texas        5858.   Murphy city, Texas
5749.   Bonham city, Texas            5804.   Granbury city, Texas          5859.   Nederland city, Texas
5750.   Borger city, Texas            5805.   Gray County, Texas            5860.   Newton County, Texas
5751.   Bosque County, Texas          5806.   Greenville city, Texas        5861.   Nolan County, Texas
5752.   Brenham city, Texas           5807.   Grimes County, Texas          5862.   Orange city, Texas
5753.   Brownwood city, Texas         5808.   Groves city, Texas            5863.   Palestine city, Texas
5754.   Buda city, Texas              5809.   Henderson city, Texas         5864.   Palo Pinto County, Texas


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5865.   Pampa city, Texas             5920.   Uvalde County, Texas            5972.   Tooele city, Utah *
5866.   Panola County, Texas          5921.   Vernon city, Texas              5973.   Tooele County, Utah *
5867.   Paris city, Texas             5922.   Vidor city, Texas               5974.   Uintah County, Utah *
5868.   Pearsall city, Texas          5923.   Ward County, Texas              5975.   Utah County, Utah *
5869.   Pecos city, Texas             5924.   Watauga city, Texas             5976.   Wasatch County, Utah *
5870.   Pecos County, Texas           5925.   Webster city, Texas             5977.   Washington County, Utah *
5871.   Plainview city, Texas         5926.   West University Place city,     5978.   Weber County, Utah *
5872.   Pleasanton city, Texas                Texas                           5979.   West Jordan city, Utah *
5873.   Port Lavaca city, Texas       5927.   White Settlement city, Texas    5980.   West Valley City city, Utah *
5874.   Port Neches city, Texas       5928.   Wilbarger County, Texas         5981.   Alpine city, Utah
5875.   Portland city, Texas          5929.   Willacy County, Texas           5982.   Bluffdale city, Utah
5876.   Princeton city, Texas         5930.   Young County, Texas             5983.   Brigham City city, Utah
5877.   Prosper town, Texas           5931.   Zapata County, Texas            5984.   Carbon County, Utah
5878.   Rains County, Texas           5932.   Zavala County, Texas            5985.   Cedar Hills city, Utah
5879.   Raymondville city, Texas      5933.   American Fork city, Utah *      5986.   Centerville city, Utah
5880.   Red Oak city, Texas           5934.   Bountiful city, Utah *          5987.   Clinton city, Utah
5881.   Red River County, Texas       5935.   Box Elder County, Utah *        5988.   Duchesne County, Utah
5882.   Reeves County, Texas          5936.   Cache County, Utah *            5989.   Emery County, Utah
5883.   Richmond city, Texas          5937.   Cedar City city, Utah *         5990.   Farmington city, Utah
5884.   Rio Grande City city, Texas   5938.   Clearfield city, Utah *         5991.   Grantsville city, Utah
5885.   Robertson County, Texas       5939.   Cottonwood Heights city,        5992.   Heber city, Utah
5886.   Robinson city, Texas                  Utah *                          5993.   Highland city, Utah
5887.   Robstown city, Texas          5940.   Davis County, Utah *            5994.   Hurricane city, Utah
5888.   Rockport city, Texas          5941.   Draper city, Utah *             5995.   Juab County, Utah
5889.   Roma city, Texas              5942.   Eagle Mountain city, Utah *     5996.   Lindon city, Utah
5890.   Royse City city, Texas        5943.   Herriman city, Utah *           5997.   Magna metro township, Utah
5891.   Runnels County, Texas         5944.   Holladay city, Utah *           5998.   Mapleton city, Utah
5892.   Sabine County, Texas          5945.   Iron County, Utah *             5999.   Millard County, Utah
5893.   Sachse city, Texas            5946.   Kaysville city, Utah *          6000.   Morgan County, Utah
5894.   Saginaw city, Texas           5947.   Kearns metro township, Utah     6001.   North Logan city, Utah
5895.   San Benito city, Texas                *                               6002.   North Ogden city, Utah
5896.   San Jacinto County, Texas     5948.   Layton city, Utah *             6003.   North Salt Lake city, Utah
5897.   Santa Fe city, Texas          5949.   Lehi city, Utah *               6004.   Payson city, Utah
5898.   Scurry County, Texas          5950.   Logan city, Utah *              6005.   Pleasant View city, Utah
5899.   Seabrook city, Texas          5951.   Midvale city, Utah *            6006.   San Juan County, Utah
5900.   Seagoville city, Texas        5952.   Millcreek city, Utah *          6007.   Santaquin city, Utah
5901.   Seguin city, Texas            5953.   Murray city, Utah *             6008.   Sevier County, Utah
5902.   Selma city, Texas             5954.   Ogden city, Utah *              6009.   Smithfield city, Utah
5903.   Shelby County, Texas          5955.   Orem city, Utah *               6010.   South Ogden city, Utah
5904.   Snyder city, Texas            5956.   Pleasant Grove city, Utah *     6011.   South Salt Lake city, Utah
5905.   South Houston city, Texas     5957.   Provo city, Utah *              6012.   Vernal city, Utah
5906.   Stafford city, Texas          5958.   Riverton city, Utah *           6013.   Vineyard town, Utah
5907.   Stephenville city, Texas      5959.   Roy city, Utah *                6014.   Washington city, Utah
5908.   Sulphur Springs city, Texas   5960.   Salt Lake City city, Utah *     6015.   West Haven city, Utah
5909.   Sweetwater city, Texas        5961.   Salt Lake County, Utah *        6016.   West Point city, Utah
5910.   Taylor city, Texas            5962.   Sandy city, Utah *              6017.   Woods Cross city, Utah
5911.   Terrell city, Texas           5963.   Sanpete County, Utah *          6018.   Addison County, Vermont *
5912.   Terry County, Texas           5964.   Saratoga Springs city, Utah *   6019.   Bennington County, Vermont
5913.   Tomball city, Texas           5965.   South Jordan city, Utah *               *
5914.   Trinity County, Texas         5966.   Spanish Fork city, Utah *       6020.   Burlington city, Vermont *
5915.   Trophy Club town, Texas       5967.   Springville city, Utah *        6021.   Chittenden County, Vermont *
5916.   Tyler County, Texas           5968.   St. George city, Utah *         6022.   Franklin County, Vermont *
5917.   Universal City city, Texas    5969.   Summit County, Utah *           6023.   Rutland County, Vermont *
5918.   University Park city, Texas   5970.   Syracuse city, Utah *           6024.   Washington County, Vermont
5919.   Uvalde city, Texas            5971.   Taylorsville city, Utah *               *


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6025.   Windham County, Vermont *          6075.   Montgomery County, Virginia       6122.   Giles County, Virginia
6026.   Windsor County, Vermont *                  *                                 6123.   Goochland County, Virginia
6027.   Bennington town, Vermont           6076.   Newport News city, Virginia *     6124.   Grayson County, Virginia
6028.   Brattleboro town, Vermont          6077.   Norfolk city, Virginia *          6125.   Greene County, Virginia
6029.   Caledonia County, Vermont          6078.   Orange County, Virginia *         6126.   Greensville County, Virginia
6030.   Colchester town, Vermont           6079.   Petersburg city, Virginia *       6127.   Herndon town, Virginia
6031.   Essex Junction village,            6080.   Pittsylvania County, Virginia     6128.   Hopewell city, Virginia
        Vermont                                    *                                 6129.   King George County, Virginia
6032.   Essex town, Vermont                6081.   Portsmouth city, Virginia *       6130.   King William County,
6033.   Lamoille County, Vermont           6082.   Prince George County,                     Virginia
6034.   Milton town, Vermont                       Virginia *                        6131.   Lancaster County, Virginia
6035.   Orange County, Vermont             6083.   Prince William County,            6132.   Lee County, Virginia
6036.   Orleans County, Vermont                    Virginia *                        6133.   Lunenburg County, Virginia
6037.   Rutland city, Vermont              6084.   Pulaski County, Virginia *        6134.   Madison County, Virginia
6038.   South Burlington city,             6085.   Richmond city, Virginia *         6135.   Manassas Park city, Virginia
        Vermont                            6086.   Roanoke city, Virginia *          6136.   Martinsville city, Virginia
6039.   Williston town, Vermont            6087.   Roanoke County, Virginia *        6137.   Middlesex County, Virginia
6040.   Accomack County, Virginia *        6088.   Rockingham County, Virginia       6138.   Nelson County, Virginia
6041.   Albemarle County, Virginia *               *                                 6139.   New Kent County, Virginia
6042.   Alexandria city, Virginia *        6089.   Shenandoah County, Virginia       6140.   Northampton County, Virginia
6043.   Amherst County, Virginia *                 *                                 6141.   Northumberland County,
6044.   Arlington County, Virginia *       6090.   Smyth County, Virginia *                  Virginia
6045.   Augusta County, Virginia *         6091.   Spotsylvania County, Virginia     6142.   Nottoway County, Virginia
6046.   Bedford County, Virginia *                 *                                 6143.   Page County, Virginia
6047.   Blacksburg town, Virginia *        6092.   Stafford County, Virginia *       6144.   Patrick County, Virginia
6048.   Botetourt County, Virginia *       6093.   Suffolk city, Virginia *          6145.   Poquoson city, Virginia
6049.   Campbell County, Virginia *        6094.   Tazewell County, Virginia *       6146.   Powhatan County, Virginia
6050.   Caroline County, Virginia *        6095.   Virginia Beach city, Virginia *   6147.   Prince Edward County,
6051.   Charlottesville city, Virginia *   6096.   Warren County, Virginia *                 Virginia
6052.   Chesapeake city, Virginia *        6097.   Washington County, Virginia       6148.   Purcellville town, Virginia
6053.   Chesterfield County, Virginia              *                                 6149.   Radford city, Virginia
        *                                  6098.   Wise County, Virginia *           6150.   Rockbridge County, Virginia
6054.   Culpeper County, Virginia *        6099.   York County, Virginia *           6151.   Russell County, Virginia
6055.   Danville city, Virginia *          6100.   Alleghany County, Virginia        6152.   Salem city, Virginia
6056.   Fairfax County, Virginia *         6101.   Amelia County, Virginia           6153.   Scott County, Virginia
6057.   Fauquier County, Virginia *        6102.   Appomattox County, Virginia       6154.   Southampton County, Virginia
6058.   Franklin County, Virginia *        6103.   Bristol city, Virginia            6155.   Staunton city, Virginia
6059.   Frederick County, Virginia *       6104.   Brunswick County, Virginia        6156.   Sussex County, Virginia
6060.   Gloucester County, Virginia *      6105.   Buchanan County, Virginia         6157.   Vienna town, Virginia
6061.   Halifax County, Virginia *         6106.   Buckingham County, Virginia       6158.   Warrenton town, Virginia
6062.   Hampton city, Virginia *           6107.   Carroll County, Virginia          6159.   Waynesboro city, Virginia
6063.   Hanover County, Virginia *         6108.   Charlotte County, Virginia        6160.   Westmoreland County,
6064.   Harrisonburg city, Virginia *      6109.   Christiansburg town, Virginia             Virginia
6065.   Henrico County, Virginia *         6110.   Clarke County, Virginia           6161.   Williamsburg city, Virginia
6066.   Henry County, Virginia *           6111.   Colonial Heights city, Virginia   6162.   Winchester city, Virginia
6067.   Isle of Wight County, Virginia     6112.   Culpeper town, Virginia           6163.   Wythe County, Virginia
        *                                  6113.   Dickenson County, Virginia        6164.   Appleton city, Wisconsin *
6068.   James City County, Virginia *      6114.   Dinwiddie County, Virginia        6165.   Barron County, Wisconsin *
6069.   Leesburg town, Virginia *          6115.   Essex County, Virginia            6166.   Beloit city, Wisconsin *
6070.   Loudoun County, Virginia *         6116.   Fairfax city, Virginia            6167.   Brookfield city, Wisconsin *
6071.   Louisa County, Virginia *          6117.   Falls Church city, Virginia       6168.   Brown County, Wisconsin *
6072.   Lynchburg city, Virginia *         6118.   Floyd County, Virginia            6169.   Calumet County, Wisconsin *
6073.   Manassas city, Virginia *          6119.   Fluvanna County, Virginia         6170.   Chippewa County, Wisconsin
6074.   Mecklenburg County, Virginia       6120.   Fredericksburg city, Virginia             *
        *                                  6121.   Front Royal town, Virginia        6171.   Clark County, Wisconsin *


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6172.   Columbia County, Wisconsin      6217.   Sheboygan city, Wisconsin *     6261.   Greendale village, Wisconsin
        *                               6218.   Sheboygan County, Wisconsin     6262.   Greenville town, Wisconsin
6173.   Dane County, Wisconsin *                *                               6263.   Harrison village, Wisconsin
6174.   Dodge County, Wisconsin *       6219.   St. Croix County, Wisconsin *   6264.   Hartford city, Wisconsin
6175.   Douglas County, Wisconsin *     6220.   Sun Prairie city, Wisconsin *   6265.   Hobart village, Wisconsin
6176.   Dunn County, Wisconsin *        6221.   Vernon County, Wisconsin *      6266.   Holmen village, Wisconsin
6177.   Eau Claire city, Wisconsin *    6222.   Walworth County, Wisconsin      6267.   Howard village, Wisconsin
6178.   Eau Claire County, Wisconsin            *                               6268.   Hudson city, Wisconsin
        *                               6223.   Washington County,              6269.   Iowa County, Wisconsin
6179.   Fitchburg city, Wisconsin *             Wisconsin *                     6270.   Jackson County, Wisconsin
6180.   Fond du Lac city, Wisconsin *   6224.   Waukesha city, Wisconsin *      6271.   Juneau County, Wisconsin
6181.   Fond du Lac County,             6225.   Waukesha County, Wisconsin      6272.   Kaukauna city, Wisconsin
        Wisconsin *                             *                               6273.   Kewaunee County, Wisconsin
6182.   Franklin city, Wisconsin *      6226.   Waupaca County, Wisconsin *     6274.   Lafayette County, Wisconsin
6183.   Grant County, Wisconsin *       6227.   Wausau city, Wisconsin *        6275.   Langlade County, Wisconsin
6184.   Green Bay city, Wisconsin *     6228.   Wauwatosa city, Wisconsin *     6276.   Lincoln County, Wisconsin
6185.   Green County, Wisconsin *       6229.   West Allis city, Wisconsin *    6277.   Lisbon town, Wisconsin
6186.   Greenfield city, Wisconsin *    6230.   West Bend city, Wisconsin *     6278.   Little Chute village,
6187.   Janesville city, Wisconsin *    6231.   Winnebago County,                       Wisconsin
6188.   Jefferson County, Wisconsin *           Wisconsin *                     6279.   Marinette city, Wisconsin
6189.   Kenosha city, Wisconsin *       6232.   Wood County, Wisconsin *        6280.   Marquette County, Wisconsin
6190.   Kenosha County, Wisconsin *     6233.   Adams County, Wisconsin         6281.   Marshfield city, Wisconsin
6191.   La Crosse city, Wisconsin *     6234.   Allouez village, Wisconsin      6282.   Menasha city, Wisconsin
6192.   La Crosse County, Wisconsin     6235.   Ashland County, Wisconsin       6283.   Menomonie city, Wisconsin
        *                               6236.   Ashwaubenon village,            6284.   Mequon city, Wisconsin
6193.   Madison city, Wisconsin *               Wisconsin                       6285.   Middleton city, Wisconsin
6194.   Manitowoc city, Wisconsin *     6237.   Baraboo city, Wisconsin         6286.   Monroe city, Wisconsin
6195.   Manitowoc County, Wisconsin     6238.   Bayfield County, Wisconsin      6287.   Mount Pleasant village,
        *                               6239.   Beaver Dam city, Wisconsin              Wisconsin
6196.   Marathon County, Wisconsin      6240.   Bellevue village, Wisconsin     6288.   Muskego city, Wisconsin
        *                               6241.   Brown Deer village,             6289.   Neenah city, Wisconsin
6197.   Marinette County, Wisconsin             Wisconsin                       6290.   Oconomowoc city, Wisconsin
        *                               6242.   Buffalo County, Wisconsin       6291.   Onalaska city, Wisconsin
6198.   Menomonee Falls village,        6243.   Burlington city, Wisconsin      6292.   Oregon village, Wisconsin
        Wisconsin *                     6244.   Burnett County, Wisconsin       6293.   Pewaukee city, Wisconsin
6199.   Milwaukee city, Wisconsin *     6245.   Caledonia village, Wisconsin    6294.   Platteville city, Wisconsin
6200.   Milwaukee County, Wisconsin     6246.   Cedarburg city, Wisconsin       6295.   Pleasant Prairie village,
        *                               6247.   Chippewa Falls city,                    Wisconsin
6201.   Monroe County, Wisconsin *              Wisconsin                       6296.   Plover village, Wisconsin
6202.   New Berlin city, Wisconsin *    6248.   Crawford County, Wisconsin      6297.   Port Washington city,
6203.   Oak Creek city, Wisconsin *     6249.   Cudahy city, Wisconsin                  Wisconsin
6204.   Oconto County, Wisconsin *      6250.   De Pere city, Wisconsin         6298.   Portage city, Wisconsin
6205.   Oneida County, Wisconsin *      6251.   DeForest village, Wisconsin     6299.   Price County, Wisconsin
6206.   Oshkosh city, Wisconsin *       6252.   Door County, Wisconsin          6300.   Richfield village, Wisconsin
6207.   Outagamie County, Wisconsin     6253.   Elkhorn city, Wisconsin         6301.   Richland County, Wisconsin
        *                               6254.   Fort Atkinson city, Wisconsin   6302.   River Falls city, Wisconsin
6208.   Ozaukee County, Wisconsin *     6255.   Fox Crossing village,           6303.   Rusk County, Wisconsin
6209.   Pierce County, Wisconsin *              Wisconsin                       6304.   Salem Lakes village,
6210.   Polk County, Wisconsin *        6256.   Germantown village,                     Wisconsin
6211.   Portage County, Wisconsin *             Wisconsin                       6305.   Sawyer County, Wisconsin
6212.   Racine city, Wisconsin *        6257.   Glendale city, Wisconsin        6306.   Shorewood village, Wisconsin
6213.   Racine County, Wisconsin *      6258.   Grafton village, Wisconsin      6307.   South Milwaukee city,
6214.   Rock County, Wisconsin *        6259.   Grand Chute town, Wisconsin             Wisconsin
6215.   Sauk County, Wisconsin *        6260.   Green Lake County,              6308.   Stevens Point city, Wisconsin
6216.   Shawano County, Wisconsin *             Wisconsin                       6309.   Stoughton city, Wisconsin


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6310.   Suamico village, Wisconsin
6311.   Superior city, Wisconsin
6312.   Sussex village, Wisconsin
6313.   Taylor County, Wisconsin
6314.   Trempealeau County,
        Wisconsin
6315.   Two Rivers city, Wisconsin
6316.   Verona city, Wisconsin
6317.   Vilas County, Wisconsin
6318.   Washburn County, Wisconsin
6319.   Watertown city, Wisconsin
6320.   Waunakee village, Wisconsin
6321.   Waupun city, Wisconsin
6322.   Waushara County, Wisconsin
6323.   Weston village, Wisconsin
6324.   Whitefish Bay village,
        Wisconsin
6325.   Whitewater city, Wisconsin
6326.   Wisconsin Rapids city,
        Wisconsin
6327.   Albany County, Wyoming *
6328.   Campbell County, Wyoming *
6329.   Casper city, Wyoming *
6330.   Cheyenne city, Wyoming *
6331.   Fremont County, Wyoming *
6332.   Gillette city, Wyoming *
6333.   Laramie city, Wyoming *
6334.   Laramie County, Wyoming *
6335.   Natrona County, Wyoming *
6336.   Sheridan County, Wyoming *
6337.   Sweetwater County, Wyoming
        *
6338.   Big Horn County, Wyoming
6339.   Carbon County, Wyoming
6340.   Converse County, Wyoming
6341.   Evanston city, Wyoming
6342.   Goshen County, Wyoming
6343.   Green River city, Wyoming
6344.   Jackson town, Wyoming
6345.   Lincoln County, Wyoming
6346.   Park County, Wyoming
6347.   Riverton city, Wyoming
6348.   Rock Springs city, Wyoming
6349.   Sheridan city, Wyoming
6350.   Teton County, Wyoming
6351.   Uinta County, Wyoming




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                                               EXHIBIT J

          Settling Distributors’ Subsidiaries, Joint Ventures, and Predecessor Entities

                                                      ABC

 1.    A.T. Pharma Consultancy FZC                      39. Alliance Healthcare Services France (f/k/a
 2.    AB Eurco Ltd                                         Alliance Healthcare Formation SAS)
 3.    AB Financing, LLC                                40. Alliance Healthcare Technology Services
 4.    AB Finco Ltd                                         Limited
 5.    AB Nokco Ltd                                     41. Alliance Healthcare Turkey Holding A.S.
 6.    AB Singapore Investments Pte. Ltd.               42. Alliance Healthcare Yatirim Holding Anonim
 7.    AB Specialty Solutions, LLC                          Şirketi
 8.    ABBP International Company                       43. Alliance Home Health Care, Inc.
 9.    ABSG Canada Holdings, Inc.                       44. Alliance UniChem IP Limited
 10.   Access M.D. Inc.                                 45. Alloga (Nederland) B.V.
 11.   AERO LINK Courier GmbH                           46. Alloga France SAS
 12.   Agri-Laboratories, LTD                           47. Alloga Logifarma, S.A.
 13.   Agstrata, LLC                                    48. Alloga Logistica (España) S.L.
 14.   AH Schweiz GmbH                                  49. ALLOGA LOGISTICS ROMANIA SRL
 15.   AH UK Holdco 1 Limited                           50. Alloga Portugal - Armazenagem e
 16.   Alcura France                                        Distribuicao Farmaceutica, Lda
 17.   Alcura Health España, S.A.                       51. Alloga UK Limited
 18.   Alcura UK Limited                                52. AllyDVM, Inc.
 19.   Alliance Boots BV                                53. Almus Farmaceutica, S.A.
 20.   Alliance Boots Schweiz Investments GmbH          54. Almus France
 21.   Alliance Health Services, Inc.                   55. Almus Pharmacuticals Limited
 22.   Alliance Healthcare (Distribution) Limited       56. Almus, Lda.
 23.   Alliance Healthcare Acores (f/k/a Proconfar,     57. Alphega SA
       S.A.)                                            58. Ambulatory Pharmaceutical Services, Inc.
 24.   Alliance Healthcare Ecza Deposu Anonim           59. American Medical Distributors, Inc.
       Şirketi                                          60. American Oncology Network, LLC
 25.   Alliance Healthcare España Holdings, S.L.        61. Amerisource Health Services Corporation
 26.   Alliance Healthcare España S.A.                  62. Amerisource Health Services, LLC
 27.   Alliance Healthcare France SA                    63. Amerisource Health Services, LLC d/b/a
 28.   Alliance Healthcare Group France SA                  American Health Packaging
 29.   Alliance Healthcare Management Services          64. Amerisource Heritage Corporation
       (Nederland) B.V.                                 65. AmeriSource Heritage LLC
 30.   Alliance Healthcare Management Services          66. Amerisource Receivables Financial
       Limited                                              Corporation
 31.   Alliance Healthcare Nederland B.V.               67. Amerisource Sales Corporation
 32.   Alliance Healthcare Norge AS                     68. AmerisourceBergen Associate Assistance
 33.   Alliance Healthcare Participações SGPS,              Fund
       unipessoal, Lda.                                 69. AmerisourceBergen BC, ULC
 34.   Alliance Healthcare Répartition                  70. AmerisourceBergen Canada Corporation
 35.   Alliance Healthcare Romania SRL                  71. AmerisourceBergen Canada GP LLC
 36.   Alliance Healthcare S.A.                         72. AmerisourceBergen Canada GP, LLC
 37.   Alliance Healthcare s.r.o.                       73. AmerisourceBergen Canada Holdings LP
 38.   Alliance Healthcare s.r.o. Slovakia Branch       74. AmerisourceBergen Consulting Services, Inc.




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 75. AmerisourceBergen Consulting Services,         115. Automed Technologies (Canada) ULC
      LLC                                           116. Automed Technologies, Inc.
 76. AmerisourceBergen Corporation                  117. BBC Laboratories
 77. AmerisourceBergen Drug Corporation             118. BBC Operating Sub, Inc.
 78. AmerisourceBergen Foundation                   119. BBC Packing Corporation
 79. AmerisourceBergen Global Holdings GmbH         120. BBC Special Packaging, Inc.
 80. AmerisourceBergen Global Investments           121. BBC Transportation Co.
      S.a.r.l.                                      122. Beachcourse Limited
 81. AmerisourceBergen Global Manufacturer          123. Bellco Drug Corp.
      Services GmbH                                 124. Bellco Health Corp.
 82. AmerisourceBergen Group GmbH                   125. Bergen Brunswig Corporation
 83. AmerisourceBergen Holding Corporation          126. Bergen Brunswig Drug Company
 84. AmerisourceBergen Integrated Services          127. Bergen Brunswig Realty Services, Inc.
      Offering, LLC                                 128. Bermuda Equity Holdings, Ltd.
 85. AmerisourceBergen International Holdings       129. Beverly Acquisition Corporation
      Inc.                                          130. Blue Hill II, Inc.
 86. AmerisourceBergen International                131. Blue Hill, Inc.
      Investments, LLC                              132. BluePoint Intellectual Property, LLC
 87. AmerisourceBergen Luxembourg s.a.r.l.          133. Boots Nederland B.V.
 88. AmerisourceBergen Services Corporation         134. Boots Norge AS
 89. AmerisourceBergen Sourcing, LLC                135. BP Pharmaceuticals Laboratories Unlimited
 90. AmerisourceBergen Specialty Group Canada            Company
      Corporation                                   136. BPL Brasil Participacoes Ltda.
 91. AmerisourceBergen Specialty Group Canada       137. BPL Brazil Holding Company s.a.r.l.
      Holdings, Inc.                                138. BPL Brazil, LLC
 92. AmerisourceBergen Specialty Group, Inc.        139. BPL Group, LLC
 93. AmerisourceBergen Specialty Group, LLC         140. BPL Pharmaceuticals Holding Unlimited
 94. AmerisourceBergen Swiss Holdings GmbH               Company
 95. AmerisourceBergen Switzerland GmbH             141. BPLH Ireland Company Dublin, Zug Branch
 96. AmerisourceBergen UK Holdings Ltd              142. BPLH Ireland Unlimited Company
 97. Anderson Packaging, Inc.                       143. Brecon Holdings Limited
 98. AndersonBrecon Inc.                            144. Brecon Pharmaceuticals Holdings Limited
 99. Animal Prescriptions Limited                   145. Brecon Pharmaceuticals Limited
 100. Animalytix LLC                                146. Bridge Medical, Inc.
 101. Apluspharma Ltd                               147. Brownstone Pharmacy, Inc.
 102. Apotheek Hagi B.V.                            148. Bruin Acquisition Corp.
 103. Apotheek Lichtenvoorde B.V.                   149. Burt's Pharmacy, LLC
 104. APS Acquisitions Corporation                  150. Cameron Stewart Lifescience Canada Inc.
 105. APS Enterprises Holding Company, Inc.         151. Cannes RJ Participacoes S.A.
 106. Armila UAB                                    152. Capstone Med, Inc.
 107. ASD Hemophilia Management, LLC                153. Capstone Pharmacy of Delaware, Inc.
 108. ASD Hemophilia Program, L.P.                  154. CDRF Parent LLC
 109. ASD Specialty Healthcare, Inc.                155. CDRF Parent, Inc.
 110. ASD Specialty Healthcare, LLC                 156. Centaur Services Limited
 111. ASD Specialty Healthcare, LLC d/b/a ASD       157. Centro Farmaceutico Asturiano, SA
      Healthcare                                    158. Century Advertising Inc.
 112. ASD Specialty Healthcare, LLC d/b/a Besse     159. Chapin Drug Company
      Medical                                       160. Choice Medical, Inc.
 113. ASD Specialty Healthcare, LLC d/b/a           161. Clinical Outcomes Resource Application
      Oncology Supply                                    Corporation
 114. Automed Technologies (Canada) Inc.            162. Clinical Outcomes Resource Application, Inc.


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 163. CliniCare Concepts, Inc.                          211. HealthQuest Partner II, L.P.
 164. ClinPharm, L.L.C.                                 212. HealthTronics Data Solutions LLC
 165. Committed Provider Services, LLC                  213. HealthTronics Data Solutions, LLC
 166. Compuscript, Inc.                                 214. HealthTronics Information Technology
 167. Computran Systems, Inc.                                Solutions, Inc.
 168. Corrections Pharmacies Licensing Company,         215. Hedef International Holdings BV
      L.L.C.                                            216. Home Medical Equipment Health Company
 169. Corrections Pharmacies of California, LP          217. Hydra Pharm SPA
 170. Corrections Pharmacies of Hawaii, LP              218. I.g.G. of America, Inc.
 171. Corrections Pharmacies, L.L.C.                    219. IHS Acquisition XXX, Inc.
 172. Cubex, LLC                                        220. Imedex, Inc.
 173. Datapharm Sarl                                    221. Imedex, LLC
 174. DD Wholesale, Inc.                                222. Independent Pharmacy Buying Group, Inc.
 175. Dialysis Purchasing Alliance, Inc.                223. Innomar Pharmacy (BC) Inc.
 176. Directlog                                         224. Innomar Pharmacy (SK) Inc.
 177. Documedics Acquisition Co., Inc.                  225. Innomar Pharmacy Inc.
 178. Drug Service, Inc.                                226. Innomar Specialty Pharmacy, Inc.
 179. Dunnington Drug, Inc.                             227. Innomar Strategies Inc.
 180. Dunnington RX Services of Massachusetts,          228. Innovation Cancer, Inc.
      Inc.                                              229. Insta-Care Holdings, Inc.
 181. Dunnington RX Services of Rhode Island,           230. Insta-Care Pharmacy Services Corporation
      Inc.                                              231. Intake Initiatives Incorporated
 182. Durr-Fillauer Medical, Inc.                       232. IntegraConnect NewCo, LLC
 183. Durvet, Inc.                                      233. Integrated Commercialization Solutions, Inc.
 184. Dymaxium Healthcare Innovations, Ltd.             234. Integrated Commercialization Solutions, LLC
 185. Dymaxium Holdings, Ltd.                           235. Integrated Health Systems Outcomes
 186. Dymaxium, Ltd.                                         Coalition, LLC
 187. Entel d.o.o.                                      236. Inteplex, Inc.
 188. Escalante Solutions, L.P.                         237. Interfill, LLC
 189. Esko Itriyat Sanayi ve Ticaret Anonim Şirketi     238. International Oncology Network Solutions,
 190. Euro Registratie Collectief B.V.                       Inc.
 191. European Physician Networks GmbH                  239. International Physician Networks, L.L.C.
 192. Express Pharmacy Services, Inc.                   240. International Rheumatology Network, L.L.C.
 193. Falcon Acquisition Sub, LLC                       241. IntrinsiQ Holdings, Inc.
 194. Family Center Pharmacy, Inc.                      242. IntrinsiQ Specialty Solutions, Inc.
 195. Feeders Advantage, LCC                            243. IntrinsiQ Tendler, Inc.
 196. General Drug Company                              244. IntrinsiQ, LLC
 197. Goot Nursing Home Pharmacy, Inc.                  245. J.M. Blanco, Inc.
 198. Goot Westbridge Pharmacy, Inc.                    246. James Brudnick Company, Inc.
 199. Goot's Goodies, Inc.                              247. K/S Instrument Corp.
 200. Goot's Pharmacy & Orthopedic Supply, Inc.         248. KRP Investments, Inc.
 201. Green Barn, Inc                                   249. Labpak Limited
 202. H. D. Smith Holding Company                       250. LAD Drug Corporation
 203. H. D. Smith Holdings, LLC                         251. Leading Educational Research Network, LLC
 204. H. D. Smith Wholesale Drug Co.                    252. Lexicon Pharmacy Services, L.L.C.
 205. H. D. Smith, LLC                                  253. Liberty Acquisition Corp.
 206. HAI Acquisition, Inc.                             254. Libra C.V.
 207. HDS Solutions, LLC                                255. Los Angeles Drug Corporation
 208. Health Services Capital Corporation               256. M.D.P. Properties, Inc.
 209. Healthcare Prescription Services, Inc.            257. Managed Care Network, Inc.
 210. HealthForward Inc.                                258. Marshall Reinardy LLC


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 259. Medical Health Industries, Inc.               307. PMSI, Inc.
 260. Medical Initiatives, Inc.                     308. PPSC USA, LLC
 261. Medidyne Corp.                                309. Premier Pharmacy, Inc.
 262. Medselect Inc.                                310. Premier Source Diagnostics Inc.
 263. Memorial Pet Care, Inc.                       311. Premier Source, LLC
 264. Micro Technologies Canada Inc.                312. Prescribe Wellness, LLC
 265. MWI Buying Group Limited (formerly St.        313. Profarma Distribuidora de Produtos
      Francis Limited)                                   Farmaceuticos S.A.
 266. MWI Supply (UK Acquisition) Limited           314. Ramuneles Vaistine UAB
 267. MWI Supply (UK Holdings) Limited              315. Reimbursement Education Network, LLC
 268. MWI Supply (UK) Limited                       316. Rightpak, Inc.
 269. MWI Veterinary Supply Co.                     317. Rombro's Drug Center, Inc.
 270. MWI Veterinary Supply, Inc.                   318. Roscoe Acquisition Corporation
 271. Nareks Ecza Deposu Ticaret Anonim Şirketi     319. S.R.P. (Services de la Répartition
 272. Network for Medical Communication &                Pharmaceutique)
      Research Analytics, LLC                       320. SecureDVM, LLC
 273. New Jersey Medical Corporation                321. Securos Europe GmbH
 274. Nexiapharma, SL                               322. Silver Streak I, LLC
 275. NMCR Holdings, Inc.                           323. Skills in Healthcare France
 276. NMCR-Europe, LLC                              324. Skills in Healthcare Pazarlama ve Tanitim
 277. Northeast Veterinary Supply Company, LLC           Hizmetleri Anonim Şirketi
 278. Oktal Pharma d.o.o                            325. Skills in Healthcare Romania S.r.l.
 279. Oktal Pharma d.o.o                            326. Smart ID Works, LLC
 280. Oktal Pharma d.o.o [Zagreb]                   327. Smith Medical Partners, LLC
 281. Oktal Pharma d.o.o.                           328. Snipetjernveien 10 Norge AS
 282. Oktal Pharma Hungary K.f.t.                   329. Solana Beach, Inc.
 283. Omni Med B, Inc.                              330. Southwest Pharmacies, Inc.
 284. OPH Oktal Pharma d.o.o                        331. Southwestern Drug Corporation
 285. OTC Direct Limited                            332. SparkSense Analytics, Inc.
 286. Paris Acquisition Corp.                       333. Specialty Advancement Network, LLC
 287. Pharm Plus Acquisition, Inc.                  334. Specialty Pharmacy of California, Inc.
 288. Pharma One Corporation Limited                335. Specialty Pharmacy, Inc.
 289. Pharmacy Corporation of America               336. Spielberg Acquisition Corp.
 290. Pharmacy Corporation of America -             337. Spits B.V.
      Massachusetts, Inc.                           338. Stadt Solutions, LLC
 291. Pharmacy Healthcare Solutions, Ltd.           339. Stephar B.V.
 292. Pharmacy Review Services, Inc.                340. Strategic Pharmaceutical Solutions, Inc.
 293. Pharmdata s.r.o.                              341. Swine Solutions Network, LLC
 294. PharMEDium Healthcare Corporation             342. Taylor & Manno Asset Recovery, Inc.
 295. PharMEDium Healthcare Holdings LLC            343. Telepharmacy Solutions, Inc.
 296. PharMEDium Healthcare Holdings, Inc.          344. Terra-Lab d.o.o
 297. PharMEDium Healthcare LLC                     345. The Allen Company
 298. PharMEDium Pharmacy Services, LLC             346. The Lash Group, Inc.
 299. PharMEDium R.E., LLC                          347. The Lash Group, LLC
 300. PharMEDium Services, LLC                      348. TheraCom, L.L.C.
 301. PharMerica Drug Systems, Inc.                 349. ThermoSecure Medical Equipment GmbH
 302. PharMerica Technology Solutions, LLC          350. TMESYS, Inc.
 303. Pharmerica, Inc.                              351. TrakCel Holding Company, Inc.
 304. Pitango HealthTech Fund I, L.P.               352. Trellis Healthcare Consulting, L.L.C.
 305. Planet Software Limited                       353. Trellis Healthcare Consulting, LLC
 306. PMSI MSA Services, Inc.                       354. True Blue Indemnity Company


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 355. United Company of Pharmacists SAE               401. World Courier del Ecuador S.A.
 356. Universal Packaging Systems, Inc.               402. World Courier del Peru S.A.
 357. US Bioservices Corporation                      403. World Courier Denmark A/S
 358. Valley Wholesale Drug Co., LLC                  404. World Courier do Brasil Transportes
 359. Value Apothecaries, Inc.                             Internacionais Ltda.
 360. Vedco, Inc.                                     405. World Courier France S.A.R.L.
 361. Vetbridge Animal Health, LLC                    406. World Courier Ground (Europe) Limited
 362. Vetbridge Product Development (NM-OMP)          407. World Courier Ground, Inc.
      LLC                                             408. World Courier Group Logistics, Inc.
 363. VetSpace Limited                                409. World Courier Group S.a.r.l.
 364. VetSpace, Inc.                                  410. World Courier Group, Inc.
 365. Vetswest Limited                                411. World Courier Group, Inc. Taiwan Branch
 366. W.C. International Limited                      412. World Courier Hellas Limited Liability
 367. WBA Acquisitions Luxco 9 S.à.r.l.                    Company
 368. Wight Nederland Holdco 2 B.V.                   413. World Courier Holland BV
 369. Wight Nederland Holdco 4 BV                     414. World Courier Hong Kong Limited
 370. WML, LLC                                        415. World Courier Hungary Freight Forwarder
 371. Woodglen Properties Limited                          and Service Provider Limited Liability
 372. Woodglen Properties Limited Portugal Branch          Company
                                                      416. World Courier Israel Ltd.
 373. World Courier (Aust) Pty. Ltd.                  417. World Courier Italia srl
 374. World Courier (Austria) GmbH                    418. World Courier K.K. Japan
 375. World Courier (Austria) GmbH – Serbia           419. World Courier Korea Co., Ltd.
      Branch                                          420. World Courier Limited (Russia)
 376. World Courier (Deutschland) GmbH                421. World Courier Logistics (Europe) Limited
 377. World Courier (Finland) Oy                      422. World Courier Logistics (UK) Limited
 378. World Courier (India) Private Limited           423. World Courier Logistics, Inc.
 379. World Courier (Ireland) Limited                 424. World Courier Logistics, Inc. (DE)
 380. World Courier (Lithuania), UAB                  425. World Courier Logistics, Inc. (NY)
 381. World Courier (Malaysia) Sdn. Bhd.              426. World Courier Management Limited
 382. World Courier (Norway) AS                       427. World Courier Management, Inc.
 383. World Courier (NZ) Limited                      428. World Courier of Canada Ltd
 384. World Courier (Poland) Sp. Z.o.o.               429. World Courier Operations Kenya Limited
 385. World Courier (Shanghai) Co., Ltd               430. World Courier Philippines – Representative
      Guangzhou Branch                                     Office
 386. World Courier (Shanghai) Co., Ltd.              431. World Courier Romania S.R.L.
 387. World Courier (Shanghai) Co., Ltd., Beijing     432. World Courier S.A.
      Branch                                          433. World Courier Singapore Pte Ltd
 388. World Courier (Sweden) AB                       434. World Courier Slovak Republic s.r.o.
 389. World Courier (Switzerland) SA                  435. World Courier South Africa (Proprietary)
 390. World Courier (U.K.) Limited                         Limited
 391. World Courier Asia (Thailand) Co., Ltd.         436. World Courier Tasimacilik ve Lojistik
 392. World Courier Belgium s.a.                           Hizmetleri Ticaret Limited Sirketi
 393. World Courier Bulgaria                          437. World Courier Ukraine LLC
 394. World Courier Czech Republic s.r.o.             438. World Courier Venezuela, S.A.
 395. World Courier de Chile Limitada                 439. World Courier Zagreb d.o.o.
 396. World Courier de Colombia S.A.                  440. World Courier, Inc.
 397. World Courier de Espana, S.A.                   441. World Courier, kurirske storitve,d.o.o.
 398. World Courier de Mexico S.A. de C.V.            442. World Customs Brokerage, Inc.
 399. World Courier de Portugal, Lda.                 443. Xcenda (UK) Limited
 400. World Courier de Uruguay S.A.                   444. Xcenda GmbH


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 445. Xcenda Switzerland GmbH            447. ZU Vase Zdravije
 446. Xcenda, L.L.C.




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                                                 Cardinal

 1.    A+ Secure Packaging, LLC                         50.   Cardinal Health 222 (Thailand) Ltd.
 2.    Abilene Nuclear, LLC                             51.   Cardinal Health 242, LLC
 3.    Access Closure, Inc.                             52.   Cardinal Health 246, Inc.
 4.    Acuity GPO, LLC                                  53.   Cardinal Health 247, Inc.
 5.    Aero-Med, Ltd.                                   54.   Cardinal Health 249, LLC
 6.    Allegiance (BVI) Holding Co. Ltd.                55.   Cardinal Health 250 Dutch C.V.
 7.    Allegiance Corporation                           56.   Cardinal Health 251, LLC
 8.    Allegiance Healthcare (Labuan) Pte. Ltd.         57.   Cardinal Health 252, LLC
 9.    Allegiance I, LLC                                58.   Cardinal Health 253, LP
 10.   Allegiance Labuan Holdings Pte. Ltd.             59.   Cardinal Health 3, LLC
 11.   API (Suppliers) Limited                          60.   Cardinal Health 414, LLC
 12.   AssuraMed Acquisition Corp.                      61.   Cardinal Health 418, Inc.
 13.   AssuraMed Group, Inc.                            62.   Cardinal Health 5, LLC
 14.   AssuraMed Holding, Inc.                          63.   Cardinal Health 500, LLC
 15.   AssuraMed Intermediate Holding, Inc.             64.   Cardinal Health 524, LLC
 16.   AssuraMed, Inc.                                  65.   Cardinal Health 529, LLC
 17.   C. International, Inc.                           66.   Cardinal Health 6, Inc.
 18.   Cardinal Distribution Holding Corporation - I    67.   Cardinal Health 7, LLC
 19.   Cardinal Distribution Holding Corporation - II   68.   Cardinal Health 8, LLC
 20.   Cardinal Health 100, Inc.                        69.   Cardinal Health Australia 503 Pty Ltd.
 21.   Cardinal Health 104 LP                           70.   Cardinal Health Austria 504 GmbH
 22.   Cardinal Health 105, Inc.                        71.   Cardinal Health Belgium 505 BVBA
 23.   Cardinal Health 107, LLC                         72.   Cardinal Health Canada Holdings Cooperatie
 24.   Cardinal Health 108, LLC                               U.A.
 25.   Cardinal Health 110, LLC                         73.   Cardinal Health Canada Inc.
 26.   Cardinal Health 112, LLC                         74.   Cardinal Health Capital Corporation
 27.   Cardinal Health 113, LLC                         75.   Cardinal Health Cardiology Solutions, LLC
 28.   Cardinal Health 114, Inc.                        76.   Cardinal Health Chile Limitada
 29.   Cardinal Health 115, LLC                         77.   Cardinal Health Colombia S.A.S.
 30.   Cardinal Health 116, LLC                         78.   Cardinal Health Commercial Technologies,
 31.   Cardinal Health 118, LLC                               LLC
 32.   Cardinal Health 119, LLC                         79.   Cardinal Health Corporate Solutions, LLC
 33.   Cardinal Health 121, LLC                         80.   Cardinal Health D.R. 203 II Ltd.
 34.   Cardinal Health 122, LLC                         81.   Cardinal Health Denmark ApS
 35.   Cardinal Health 123, LLC                         82.   Cardinal Health do Brasil Ltda.
 36.   Cardinal Health 124, LLC                         83.   Cardinal Health Finance
 37.   Cardinal Health 125, LLC                         84.   Cardinal Health Finland Oy
 38.   Cardinal Health 126, LLC                         85.   Cardinal Health Foundation
 39.   Cardinal Health 127, Inc.                        86.   Cardinal Health France 506 SAS
 40.   Cardinal Health 128, LLC                         87.   Cardinal Health Funding, LLC
 41.   Cardinal Health 130, LLC                         88.   Cardinal Health Germany 507 GmbH
 42.   Cardinal Health 131, LLC                         89.   Cardinal Health Germany Manufacturing
 43.   Cardinal Health 132, LLC                               GmbH
 44.   Cardinal Health 133, Inc.                        90.   Cardinal Health Holding International, Inc.
 45.   Cardinal Health 2, LLC                           91.   Cardinal Health International Philippines, Inc.
 46.   Cardinal Health 200, LLC                         92.   Cardinal Health IPS, LLC
 47.   Cardinal Health 201 Canada L.P.                  93.   Cardinal Health Ireland 419 Designated
 48.   Cardinal Health 201, Inc.                              Activity Company
 49.   Cardinal Health 215, LLC                         94.   Cardinal Health Ireland 508 Limited


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 95. Cardinal Health Ireland Manufacturing            136. Cardinal Health, Inc.
      Limited                                         137. Cardinal MED Equipment Consulting
 96. Cardinal Health Ireland Unlimited Company             (Shanghai) Co., Ltd.
 97. Cardinal Health Italy 509 S.r.l.                 138. Cirpro de Delicias S.A. de C.V.
 98. Cardinal Health Japan G.K.                       139. Clinic Pharmacies III, LLC
 99. Cardinal Health Korea Limited                    140. Clinic Pharmacies, LLC
 100. Cardinal Health Luxembourg 420 S.a.r.l.         141. Community Pharmacy Enterprises, LLC
 101. Cardinal Health Luxembourg 522 S.a.r.l.         142. Convertors de Mexico S.A. de C.V.
 102. Cardinal Health Malaysia 211 Sdn. Bhd.          143. Cordis (Shanghai) MED Devices Co., Ltd.
 103. Cardinal Health Malta 212 Limited               144. Cordis Cashel Unlimited Company
 104. Cardinal Health Managed Care Services, LLC      145. Cordis Corporation
 105. Cardinal Health Medical Products India          146. Cornerstone Rheumatology LP
      Private Limited                                 147. Covidien Manufacturing Solutions, S.A.
 106. Cardinal Health Mexico 244 S. de R.L. de        148. Dutch American Manufacturers II (D.A.M. II)
      C.V.                                                 B.V.
 107. Cardinal Health Mexico 514 S. de R.L. de        149. Ellipticare, LLC
      C.V.                                            150. EPIC Insurance Company
 108. Cardinal Health Middle East FZ-LLC              151. Especialidades Medicas Kenmex S.A. de C.V.
 109. Cardinal Health MPB, Inc.                       152. Experience East, LLC
 110. Cardinal Health Napoleon Holding, LLC           153. Flexible Stenting Solutions, Inc.
 111. Cardinal Health Netherlands 502 B.V.            154. Frog Horned Capital, Inc.
 112. Cardinal Health Netherlands 525 Cooperatie      155. Generic Drug Holdings, Inc.
      U.A.                                            156. GetOutcomes, LLC
 113. Cardinal Health Netherlands 528 B.V.            157. Griffin Capital, LLC
 114. Cardinal Health Norway AS                       158. HDG Acquisition, Inc.
 115. Cardinal Health P.R. 120, Inc.                  159. imgRx Healdsburg, Inc.
 116. Cardinal Health P.R. 218, Inc.                  160. imgRx Salud, Inc.
 117. Cardinal Health P.R. 220, LLC                   161. imgRx SJ Valley, Inc.
 118. Cardinal Health P.R. 436, Inc.                  162. imgRx SLO, Inc.
 119. Cardinal Health Panama, S. de R.L.              163. imgRx Sonoma, Inc.
 120. Cardinal Health Pharmaceutical Contracting,     164. InnerDyne Holdings, Inc.
      LLC                                             165. Innovative Therapies, Inc.
 121. Cardinal Health Pharmacy Services, LLC          166. Instant Diagnostic Systems, Inc.
 122. Cardinal Health Poland Spolka z ograniczona     167. InteCardia-Tennessee East Catheterization,
      odpowiedzialnoscia                                   LLC
 123. Cardinal Health Portugal 513, Unipessoal        168. ITI Sales, LLC
      Lda.                                            169. Kendall-Gammatron Limited
 124. Cardinal Health Russia                          170. Killilea Development Company, Ltd.
 125. Cardinal Health Singapore 225 Pte. Ltd.         171. Kinray I, LLC
 126. Cardinal Health Spain 511 S.L.                  172. KPR Australia Pty. Ltd.
 127. Cardinal Health Sweden 512 A.B.                 173. KPR Switzerland Sales GmbH
 128. Cardinal Health Switzerland 515, GmbH           174. KPR U.S., LLC
 129. Cardinal Health Systems, Inc.                   175. Leader Drugstores, Inc.
 130. Cardinal Health Technologies Switzerland        176. Ludlow Technical Products Canada, Ltd.
      GmbH                                            177. Marin Apothecaries
 131. Cardinal Health Technologies, LLC               178. Medicap Pharmacies Incorporated
 132. Cardinal Health U.K. 418 Limited                179. Medicine Shoppe Capital Corporation
 133. Cardinal Health U.K. 432 Limited                180. Medicine Shoppe International, Inc.
 134. Cardinal Health U.K. Holding Limited            181. Medicine Shoppe Internet, Inc.
 135. Cardinal Health U.K. International Holding      182. Mediquip Sdn. Bhd.
      LLP                                             183. Mirixa Corporation


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                                                      FINAL AGREEMENT 3.25.22
                                                 EXHIBITS C AND G AS OF 4.29.22


 184. MosaicGPO, LLC                                    229. Cardinal Health (Sichuan) Pharmaceutical
 185. mscripts Holdings, LLC                                 Co., Ltd.
 186. mscripts Systems India Private Limited            230. Cardinal Health (Wuxi) Pharmaceutical Co.,
 187. mscripts, LLC                                          Ltd.
 188. Nippon Covidien Ltd.                              231. Cardinal Health Hedan (Shenzhen)
 189. One Cloverleaf, LLC                                    Pharmaceutical Co., Ltd.
 190. Outcomes Incorporated                             232. Dalian Zhongda Pharmaceutical Company
 191. Owen Shared Services, Inc.                             Limited
 192. Pharmacy Operations Of New York, Inc.             233. NaviHealth Holdings, LLC
 193. Pharmacy Operations, Inc.                         234. Parch, L.L.C.
 194. Physicians Purchasing, Inc.                       235. 6464661 Canada Inc.
 195. Pinnacle Intellectual Property Services, Inc.     236. Academy Of Managed Care Medicine, L.L.C.
 196. Pinnacle Intellectual Property Services-          237. Alaris Medical 1 (Suisse) Sarl
      International, Inc.                               238. Alaris Medical New Zealand Limited
 197. Quiroproductos de Cuauhtemoc S. de R.L. de        239. Allegiance Healthcare International GmbH
      C.V.                                              240. Allegiance Pro Inc.
 198. RainTree Administrative Services, LLC             241. Allied Healthcare Services, Inc.
 199. RainTree Care Management, LLC                     242. Almus Pharmaceuticals Singapore Pte. Ltd.
 200. RainTree GPO, LLC                                 243. Almus Pharmaceuticals USA LLC
 201. Ransdell Surgical, Inc.                           244. American Threshold Industries, Inc.
 202. Red Oak Sourcing, LLC                             245. Anoka, LLC
 203. Renal Purchasing Group, LLC                       246. ARCH Collection Corporation
 204. RGH Enterprises, Inc.                             247. ARCH, S.A.
 205. RT Oncology Services Corporation                  248. Armand Scott, LLC
 206. Rxealtime, Inc.                                   249. Aurum Pharmaceuticals Limited
 207. Sierra Radiopharmacy, L.L.C.                      250. Behrens Inc.
 208. Sonexus Health Access & Patient Support,          251. Beijing Baiji Advanced Specialty Company
      LLC                                                    Limited
 209. Sonexus Health Distribution Services, LLC         252. Bellwether Oncology Alliance, Inc.
 210. Sonexus Health Financial Solutions, LLC           253. Bentley Merger Sub, LLC
 211. Sonexus Health Pharmacy Services, LLC             254. Bindley Western Funding Corporation
 212. Sonexus Health, LLC                               255. Bindley Western Industries II Of Maine, Inc.
 213. TelePharm, LLC                                    256. Biosigna GmbH Institut für
 214. The Harvard Drug Group, L.L.C.                         Biosignalverarbeitung und Systemanalyse
 215. Tianjin ITI Trading Company                       257. Bird Products (Japan) Ltd.
 216. Tradex International, Inc.                        258. Bird Products Corporation
 217. Traverse GPO, LLC                                 259. Brighton Capital, Inc.
 218. Wavemark Lebanon Offshore s.a.l.                  260. Buffalo Merger Corp.
 219. Wavemark, Inc.                                    261. BW Transportation Services, Inc.
 220. Red Oak Sourcing, LLC                             262. Cardal II, LLC
 221. API (Suppliers) Limited                           263. Cardal, Inc.
 222. Sierra Radiopharmacy, L.L.C.                      264. Cardinal Florida, Inc.
 223. Abilene Nuclear, LLC                              265. Cardinal Health (Beijing) China
 224. InteCardia-Tennessee East Catheterization,             Pharmaceutical Co., Ltd.
      LLC                                               266. Cardinal Health (Beijing) Medical Trading
 225. Kendall-Gammatron Limited                              Co., Ltd.
 226. Almus Pharmaceuticals USA LLC                     267. Cardinal Health (Beijing) Pharmacy Co., Ltd.
 227. Cardinal Health (H.K.) Co. Limited                268. Cardinal Health (Chengdu) Pharmacy Co.,
 228. Cardinal Health (Shanghai) Pharmaceutical              Ltd.
      Co., Ltd.                                         269. Cardinal Health (China) Investment Co., Ltd.



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 270. Cardinal Health (Chongqing) Pharmaceutical      306. Cardinal Health 405, Inc.
      Co., Ltd.                                       307. Cardinal Health 406, Inc.
 271. Cardinal Health (Chongqing) Pharmacy Co.,       308. Cardinal Health 406, LLC
      Ltd.                                            309. Cardinal Health 407, Inc.
 272. Cardinal Health (H.K.) Co. Limited              310. Cardinal Health 408, Inc.
 273. Cardinal Health (Hubei) Pharmaceutical Co.,     311. Cardinal Health 409, Inc.
      Ltd.                                            312. Cardinal Health 410, Inc.
 274. Cardinal Health (L) Co., Ltd.                   313. Cardinal Health 411, Inc.
 275. Cardinal Health (Liaoning) Pharmaceutical       314. Cardinal Health 412, Inc.
      Co., Ltd.                                       315. Cardinal Health 413, Inc.
 276. Cardinal Health (P02296)                        316. Cardinal Health 415, Inc.
 277. Cardinal Health (P04080)                        317. Cardinal Health 416, Inc.
 278. Cardinal Health (Shanghai) Commercial and       318. Cardinal Health 417, Inc.
      Trading Company Limited                         319. Cardinal Health 419, LLC
 279. Cardinal Health (Shanghai) Cosmetics            320. Cardinal Health 420, LLC
      Trading Co., Ltd.                               321. Cardinal Health 421 Limited Partnership
 280. Cardinal Health (Shanghai) Logistics Co.,       322. Cardinal Health 421, Inc.
      Ltd.                                            323. Cardinal Health 422, Inc.
 281. Cardinal Health (Shanghai) Pharmaceutical       324. Cardinal Health 501 Dutch C.V.
      Co., Ltd.                                       325. Cardinal Health Austria 201 GmbH
 282. Cardinal Health (Shanghai) Pharmacy Co.,        326. Cardinal Health Bermuda 224, Ltd.
      Ltd.                                            327. Cardinal Health Brasil 423 Servicos
 283. Cardinal Health (Shanxi) Pharmaceutical Co.,         Farmaceuticos Nucleares Ltda
      Ltd.                                            328. Cardinal Health Canada 204, Inc.
 284. Cardinal Health (Shenyang) Pharmacy Co.,        329. Cardinal Health Canada 301, Inc.
      Ltd.                                            330. Cardinal Health Canada 302, Inc.
 285. Cardinal Health (Sichuan) Pharmaceutical        331. Cardinal Health Canada 307, ULC
      Co., Ltd.                                       332. Cardinal Health Canada 403, Inc.
 286. Cardinal Health (Tianjin) Pharmaceutical Co.,   333. Cardinal Health Canada 437, Inc.
      Ltd.                                            334. Cardinal Health Canada Inc.
 287. Cardinal Health (Wuxi) Pharmaceutical Co.,      335. Cardinal Health Canada LP
      Ltd.                                            336. Cardinal Health Cayman Islands Holding Co.
 288. Cardinal Health (WuXi) Pharmacy Co., Ltd.            Ltd
 289. Cardinal Health (Zhejiang) Pharmaceutical       337. Cardinal Health Cayman Islands Ltd.
      Co., Ltd.                                       338. Cardinal Health China Co., Ltd.
 290. Cardinal Health 101, Inc.                       339. Cardinal Health D.R. 203 Limited
 291. Cardinal Health 102, Inc.                       340. Cardinal Health Europe IT GmbH
 292. Cardinal Health 103, Inc.                       341. Cardinal Health France 205 SAS
 293. Cardinal Health 106, Inc.                       342. Cardinal Health France 309 SAS
 294. Cardinal Health 109, Inc.                       343. Cardinal Health Germany 206 GmbH
 295. Cardinal Health 111, LLC                        344. Cardinal Health Germany 234 GmbH
 296. Cardinal Health 113, LLC                        345. Cardinal Health Germany 318 GmbH
 297. Cardinal Health 117, LLC                        346. Cardinal Health Hedan (Shenzhen)
 298. Cardinal Health 129, Inc.                            Pharmaceutical Co., Ltd.
 299. Cardinal Health 208, Inc.                       347. Cardinal Health Hong Kong Limited
 300. Cardinal Health 301, LLC                        348. Cardinal Health I, Inc.
 301. Cardinal Health 400, Inc.                       349. Cardinal Health Imaging, LLC
 302. Cardinal Health 401, Inc.                       350. Cardinal Health India Private Limited
 303. Cardinal Health 402, Inc.                       351. Cardinal Health International Ventures, Ltd.
 304. Cardinal Health 403, Inc.                       352. Cardinal Health Ireland 406 Ltd.
 305. Cardinal Health 404, Inc.


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                                                 EXHIBITS C AND G AS OF 4.29.22


 353. Cardinal Health Ireland 527 General            402. Cardinal Health U.K. 433 Limited
      Partnership                                    403. Cardinal Health U.K. 434 Limited
 354. Cardinal Health Italy 208 S.r.l.               404. Cardinal Syracuse, Inc.
 355. Cardinal Health Italy 312 S.p.A.               405. Cardinal.Com Holdings, Inc.
 356. Cardinal Health Lease Funding 2002A, LLC       406. Care Fusion Development Private Limited
 357. Cardinal Health Lease Funding 2002AQ, LLC      407. Care Fusion Incorporated
 358. Cardinal Health Lease Funding 2003A, LLC       408. CareFusion 202, Inc.
 359. Cardinal Health Lease Funding 2003AQ, LLC      409. CareFusion 203, Inc.
 360. Cardinal Health Lease Funding 2003B, LLC       410. CareFusion 205, Inc.
 361. Cardinal Health Lease Funding 2003BQ, LLC      411. CareFusion 206, Inc.
 362. Cardinal Health Lease Funding 2004A, LLC       412. CareFusion 207, Inc.
 363. Cardinal Health Lease Funding 2004AQ, LLC      413. CareFusion 209, Inc.
 364. Cardinal Health Luxembourg 523 S.a.r.l.        414. CareFusion 210, Inc.
 365. Cardinal Health Mauritius Holding 226 Ltd.     415. CareFusion 211, Inc.
 366. Cardinal Health Mexico 213, S.A. de C.V.       416. CareFusion 212, LLC
 367. Cardinal Health Netherlands 238 BV             417. CareFusion 213, LLC
 368. Cardinal Health Netherlands 526 B.V.           418. CareFusion 214, LLC
 369. Cardinal Health Netherlands Financing C.V.     419. CareFusion 2200, Inc.
 370. Cardinal Health Netherlands Holding B.V.       420. CareFusion 2201, Inc.
 371. Cardinal Health New Zealand 313 Limited        421. CareFusion 302, LLC
 372. Cardinal Health Norway 315 A/S                 422. CareFusion 303, Inc.
 373. Cardinal Health P.R. 227, Inc.                 423. CareFusion 304, LLC
 374. Cardinal Health P.R. 409 B.V.                  424. CareFusion Australia 200 Pty Ltd.
 375. Cardinal Health PTS, Inc.                      425. CareFusion Australia 316 Pty Limited
 376. Cardinal Health PTS, LLC                       426. CareFusion Australia 500 Pty Ltd
 377. Cardinal Health S.A. 319 (Proprietary)         427. CareFusion Belgium 202 BVBA
      Limited                                        428. CareFusion Brasil 231 Servico e Comercia de
 378. Cardinal Health Singapore 304                       Productos Medicos Ltda
 379. Cardinal Health Singapore 423 Pte. Ltd.        429. CareFusion Corporation
 380. Cardinal Health Spain 219 S.L.U.               430. CareFusion EIT, LLC
 381. Cardinal Health Spain 239 SA                   431. CareFusion Iberia 308 S.L.U.
 382. Cardinal Health Specialty Pharmacy, LLC        432. CareFusion Italy 237 Srl
 383. Cardinal Health Sweden 220 AB                  433. CareFusion Italy 311 Srl
 384. Cardinal Health Sweden 314 AB                  434. CareFusion Japan 228 K.K.
 385. Cardinal Health Switzerland 221 Sarl           435. CareFusion Japan 233, Inc.
 386. Cardinal Health Switzerland 317 Sarl           436. CareFusion Luxembourg 501 Sarl
 387. Cardinal Health Trading (Shanghai) Co., Ltd.   437. CareFusion Manufacturing Ireland 241
 388. Cardinal Health U.K. 100 Limited                    Limited
 389. Cardinal Health U.K. 101 Limited               438. CareFusion Manufacturing, LLC
 390. Cardinal Health U.K. 102 Limited               439. CareFusion Netherlands 214 B.V.
 391. Cardinal Health U.K. 103 Limited               440. CareFusion Netherlands 238 BV
 392. Cardinal Health U.K. 104 Limited               441. CareFusion Netherlands 310 B.V.
 393. Cardinal Health U.K. 105 Limited               442. CareFusion Netherlands 503 B.V.
 394. Cardinal Health U.K. 106 Limited               443. CareFusion New Zealand 217 Limited
 395. Cardinal Health U.K. 223 Limited               444. CareFusion New Zealand 313 Limited
 396. Cardinal Health U.K. 232 Limited               445. CareFusion Resources, LLC
 397. Cardinal Health U.K. 235 Limited               446. CareFusion Singapore 243 Pte. Ltd.
 398. Cardinal Health U.K. 236 Limited               447. CareFusion Solutions, LLC
 399. Cardinal Health U.K. 240 Limited               448. CareFusion U.K. 284 Limited
 400. Cardinal Health U.K. 305 Limited               449. CareFusion U.K. 286 Limited
 401. Cardinal Health U.K. 306 Limited               450. CareFusion U.K. 287 Limited


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 451. CareFusion U.K. 288 Limited                  485. Comprehensive Reimbursement Consultants,
 452. Cascade Development, Inc.                         Inc.
 453. CCB, Inc.                                    486. Consumer2patient, LLC
 454. CDI Investments, Inc.                        487. CR Medicap, Inc.
 455. Centralia Pharmacy, Inc.                     488. Curaspan Health Group, Inc.
 456. Centricity, LLC                              489. Cytokine Pharmasciences, Inc.
 457. Chapman Drug Company                         490. Dalian Zhongda Pharmaceutical Company
 458. Chengdu Baiji Advanced Specialty Pharmacy         Limited
      Company Limited                              491. Daniels Pharmaceuticals Limited
 459. Cheshire Merger Sub, Inc.                    492. DC Merger Corp
 460. CMI Net, Inc.                                493. Denver Biomedical, Inc.
 461. College Park Plaza Associates, Inc.          494. Desert PET, LLC
 462. Comprehensive Medical Imaging-Anaheim        495. Dik Drug Company, LLC
      Hills, Inc.                                  496. Dik Medical Supplies, LLC
 463. Comprehensive Medical Imaging-Apple          497. Discor Limited
      Valley, Inc.                                 498. Dismed Inc.
 464. Comprehensive Medical Imaging-Boynton        499. Dohmen Distribution Partners Southeast,
      Beach, Inc.                                       L.L.C.
 465. Comprehensive Medical Imaging-Downey,        500. Dover Communications, LLC
      Inc.                                         501. Duquoin Pharmacy, Inc.
 466. Comprehensive Medical Imaging-Encino, Inc.   502. Dutch American Manufacturers (D.A.M.)
 467. Comprehensive Medical Imaging-Fort                B.V.
      Lauderdale, Inc.                             503. East Iowa Pharmacies, Inc.
 468. Comprehensive Medical Imaging-Fremont,       504. EGIS Holdings, Inc.
      Inc.                                         505. Eldon Laboratories Limited
 469. Comprehensive Medical Imaging-Hesperia,      506. Ellicott Drug Company
      Inc.                                         507. EME Medical, Inc.
 470. Comprehensive Medical Imaging-Huntington     508. Enturia Canada ULC
      Beach, Inc.                                  509. Enturia de Mexico S. de R.L. de C.V.
 471. Comprehensive Medical Imaging-Palm           510. Enturia Limited
      Springs, Inc.                                511. Enturican, Inc.
 472. Comprehensive Medical Imaging-Rancho         512. EON Media Inc.
      Cucamonga, Inc.                              513. Eureka Merger Sub, Inc.
 473. Comprehensive Medical Imaging-Rancho         514. European Pharmaceuticals Group Ltd.
      Mirage, Inc.                                 515. First Choice, Inc. Of Maine
 474. Comprehensive Medical Imaging-Salisbury,     516. Flower Merger Corp.
      Inc.                                         517. Futuremed Health Care Products Limited
 475. Comprehensive Medical Imaging-Sherman             Partnership
      Oaks, Inc.                                   518. Futuremed Healthcare Products Corporation
 476. Comprehensive Medical Imaging-Tempe, Inc.    519. Futuremed Holdings General Partner Inc.
 477. Comprehensive Medical Imaging-Van Nuys,      520. Fuzhou Baiji Pharmacy Company Limited
      Inc.                                         521. Gala Design, Inc.
 478. Comprehensive Medical Imaging-Victorville,   522. Gelatin Products International, Inc.
      Inc.                                         523. Geodax Technology, Inc.
 479. Comprehensive Medical Imaging-Westlake       524. Glacier Corporation
      Village, Inc.                                525. Grand Avenue Pharmacy, Inc.
 480. Comprehensive Open MRI-Carmichael, Inc.      526. Graphic Holdings, Inc.
 481. Comprehensive Open MRI-Folsom, Inc.          527. Griffin Group Document Management
 482. Comprehensive Open MRI-Fullerton, Inc.            Services, Inc.
 483. Comprehensive Open MRI-Laguna Hills, Inc.
 484. Comprehensive Open MRI-Sacramento, Inc.


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 528. Guangzhou Baiji Advanced Specialty          571. MedEd Resources, LLC
      Pharmaceutical Chain Stores Company         572. Medesta Associates, LLC
      Limited                                     573. Medical Concepts Development, Inc.
 529. Guangzhou Baiji Drug Store Company          574. Medical Diagnostic Leasing, Inc
      Limited                                     575. Medical Education Systems, LLC
 530. Guangzhou City Kangwei Information          576. Medical Media Communications, LLC
      Technology Company Limited                  577. Medical Strategies, Inc.
 531. Guangzhou Ruixun Pharmaceutical Company     578. MediQual Systems, Inc.
      Limited                                     579. Meditrol Automation Systems, Inc.
 532. Guizhou Yibai Medical Co., Ltd.             580. Meditrol, Inc.
 533. Hangzhou Baiji Advanced Specialty Drug      581. MedMined, Inc.
      Store Company Limited                       582. Mercury Merger Sub, LLC
 534. Heartland Diagnostic Services, Inc.         583. Mesa Merger Corp.
 535. HLS Advantage, LLC                          584. MicroGas Limited
 536. Homecare (North-West) Limited               585. MicroMedical Deutschland GmbH
 537. Humiston-Keeling, Inc.                      586. Microport Healthcare, LLC
 538. IMI Of Boca Raton, Inc.                     587. Midland Pharmacies, Inc
 539. IMI Of Miami, Inc.                          588. Mississippi Medical Supply Cooperative,
 540. IMI Of North Miami Beach, Inc.                   L.L.C.
 541. Inland Empire Regional Pet Center, LLC      589. MRI Equipment Partners, Ltd.
 542. InnerDyne, Inc.                             590. Mudhen Merger Corp.
 543. Inpharm Nationwide Limited                  591. Multi-Medica S.A.
 544. InteCardia-Tennessee East Diagnostic, LLC   592. Multipharm Limited
 545. Intercare Holdings Limited                  593. Nanjing Baiji Advanced Specialty Drug Store
 546. Intercare Investments Limited                    Company Limited
 547. Intercare Properties Plc                    594. Nanning Baiji Advanced Specialty Pharmacy
 548. Iowa Falls Pharmacy, Inc.                        Company Limited
 549. IVAC Overseas Holdings LP                   595. Nationwide Ostomy Supplies Limited
 550. JakaMed AB AB                               596. Navigator Health, Inc.
 551. Jinan Baiji Drug Store Company Limited      597. NaviHealth Holdings, LLC
 552. JRG, Ltd.                                   598. NaviHealth SM Holdings, Inc.
 553. Kendall Patient Recovery BVBA               599. NaviHealth, Inc.
 554. Kinetic Surgical, LLC                       600. Nexus Healthcare, Inc.
 555. Kinray, Inc.                                601. Nitric Bio Therapeudics, Inc.
 556. Kinray, LLC                                 602. Northern Michigan Supply Alliance, L.L.C.
 557. KPR Italia S.r.l.                           603. Ohio Valley-Clarksburg, Inc.
 558. KPR U.S., Inc.                              604. Oncology Holdings, Inc.
 559. Kunming Baiji Advanced Specialty Pharmacy   605. Onpointe Medical Communications, LLC
      Company Limited                             606. Oval (Shanghai) Technologies, Inc.
 560. Lake Charles Pharmaceutical Supply          607. Oval Technologies (H.K.) Pty Limited
      Company, LLC                                608. Owen Healthcare Building, Inc.
 561. Liaoning Longda Pharmaceutical Co., Ltd.    609. Pacific Surgical Innovations, Inc.
 562. Liberty Communications Network, LLC         610. Panther Merger Sub II, Inc.
 563. Ludlow Technical Products Corporation       611. Panther Merger Sub, Inc.
 564. Macarthy Group Trustees Limited             612. Parch, L.L.C.
 565. Macarthys Laboratories Limited              613. Parch, L.L.C. State File
 566. Macarthy's Limited                          614. ParMed Pharmaceuticals, LLC
 567. Marmac Distributors, Inc.                   615. PatientScribe Inc.
 568. Martindale Pharma GmbH                      616. PCI Acquisition I, Inc.
 569. Martindale Pharmaceuticals Limited          617. PCI Acquisition II, Inc.
 570. Medcon S.A.                                 618. PCI Services Holdings, Inc.


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 619. PCI Services III, Inc.                           661. Source Medical Corporation
 620. PCI/Acquisition III, Inc.                        662. SRX, Inc.
 621. PCI/All Pack Holdings, Inc.                      663. Strategic Implications International, LLC
 622. PCI/Delvco, Inc. State File                      664. Supplyline Technologies Limited
 623. PCI/Tri-Line (Usa), Inc.                         665. Surgical Carepair, L.L.C.
 624. Pharmaceutical & Diagnostic Services, LLC        666. Surgical Instrument Repair Service, L.L.C.
 625. Pharmacy Service Corporation                     667. Syncor Belgium SPRL
 626. Phillipi Holdings, Inc.                          668. Syncor Diagnostics Bakersfield, LLC
 627. PHR Staffing, Inc.                               669. Syncor Diagnostics Dallas, LLC
 628. Post-Acute Care Center For Research, LLC         670. Syncor Diagnostics Encino, LLC
 629. Practicome Solutions, LLC                        671. Syncor Diagnostics Fullerton, LLC
 630. Princeton Diagnostic Isotopes, Inc.              672. Syncor Diagnostics Laguna Hills, LLC
 631. Priority Healthcare Services Corporation         673. Syncor Diagnostics Plano, LLC
 632. Procedure-Based Instrument Services, L.L.C.      674. Syncor Diagnostics Sacramento, LLC
 633. Productos Urologos de Mexico S.A. de C.V.        675. Syncor Financing Corporation
 634. Professional Health-Care Resources, Inc.         676. Syncor Italy srl
 635. Pyxis Capital Corporation                        677. The Enright Group, Inc.
 636. Pyxis Funding II, LLC                            678. The Heron Corporation
 637. Pyxis Funding, LLC                               679. The LVC Corporation
 638. R Cubed, Inc.                                    680. Tianjin Cardinal Pharmacy Co., Ltd.
 639. R. P. Scherer Hardcapsule (West)                 681. Toledo Pharmacy Company
 640. R.P. Scherer Inc.                                682. Tropic Merger Sub, Inc.
 641. R.P. Scherer Technologies, Inc.                  683. UroMed, Inc.
 642. Radiopharmacy Of Boise, Inc.                     684. VIASYS Healthcare Ireland Limited
 643. Radiopharmacy Of Northern California, Inc.       685. VIASYS Healthcare Island EHF
 644. Renlar Systems, Inc.                             686. VIASYS Healthcare S.A.R.L.
 645. RightCare Solutions, Inc.                        687. VIASYS Holdings Inc.
 646. Royal Merger Sub, Inc.                           688. VIASYS NeuroCare France SAS
 647. Scela, Inc.                                      689. VIASYS Polymer Products LLC
 648. Scriptline, Inc.                                 690. Virginia Imaging Center, LLC
 649. SensorMedics (Deutschland) GmbH                  691. Virginia Merger Corporation
 650. SensorMedics Corporation                         692. Vistant Corporation
 651. Shanghai Baiwei Drug Store Company               693. Vistant Holdings, Inc.
      Limited                                          694. Vubiq Inc.
 652. Shanghai Cardinal Baiwei Drug Store Co.,         695. Wenzhou Xinte Pharmaceutical Co., Ltd.
      Ltd.                                             696. West Hudson, Inc.
 653. Shanghai Jinyi Health Management                 697. West Texas Nuclear Pharmacy Partners
      Consultation Co., Ltd.                           698. Wholesale (PI) Limited
 654. Shanghai Luoda Pharmaceutical Company            699. Williams Drug Distributors, Inc.
      Limited                                          700. Wolf Merger Corp.
 655. Shenzhen Zhengdan Investment Company             701. Wrangler Acquisition Sub, Inc.
      Limited                                          702. Wuhan Baiji New & Special Drug Store
 656. Simolo (GL) Limited                                   Company Limited
 657. Sistemas Medicos ALARIS S.A. de C.V.             703. Xiamen Cardinal Baiwei Drug Store Co., Ltd.
 658. Snowden Pencer Holdings, Inc.                    704. Xi'an Baiji Advanced Specialty Pharmacy
 659. Snowden Pencer, Inc.                                  Company Limited
 660. Solomons Company                                 705. Yorkshire Pharmacy, Inc.




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                                            McKesson

 1.    "Aewige" ärztliche                               35.   AccessMed, Inc. (AccessMed, LLC)
       Wirtschaftsgesellschaft m.b.H., HG Wien          36.   AccessMed, LLC
 2.    "die apoteeke in teesdorf" Mag. pharm.           37.   ACME DRUG CO. LIMITED, Scotland
       Gerda Kohlhauser KG, LG Wiener                   38.   ADDED MARKETING LIMITED,
       Neustadt                                               England
 3.    "Esplanade-Apotheke" Mag. pharm.                 39.   Adler Apotheke Krems Mag. Gabriele
       Anna-Maria Köck KG, Landesgericht                      Denk KG, LG Krems an der Donau
       Wels                                             40.   Adler-Apotheke Mag.pharm. Ingrid
 4.    "Panther Apotheke" Mag. pharm. Sandra                  Chvatal KG, LG Leoben
       Krokos KG, Landesgericht Graz                    41.   Admenta Beteiligungs GmbH, HG Wien
 5.    10101 Woodloch Forest LLC                        42.   Admenta Denmark ApS, Copenhagen
 6.    2012 DREAM LIMITED, England                      43.   Admenta Deutschland GmbH, Stuttgart
 7.    28CVR LIMITED, England                           44.   ADMENTA HOLDINGS LIMITED,
 8.    3068312 Nova Scotia ULC                                England
 9.    3069163 Nova Scotia Limited                      45.   ADMENTA ITALIA S.P.A., CCIAA di
 10.   3069164 Nova Scotia Limited                            Bologna
 11.   30MC LIMITED, England                            46.   ADMENTA PENSION TRUSTEES
 12.   701985 N.B. INC.                                       LIMITED, England
 13.   A C FERGUSON (CHEMIST) LIMITED,                  47.   Admenta Sweden AB
       England                                          48.   ADMENTA UK LIMITED, England
 14.   A. SUTHRELL (HAULAGE) LIMITED,                   49.   Admenta Verwaltungs GmbH, HG Wien
       England                                          50.   AFM S.p.A., CCIAA di Bologna
 15.   A.F.M. Bergamo S.p.A., Italy                     51.   AHLP PHARMACY LIMITED, England
 16.   A.L.I. Holdings LLC                              52.   ALCHEM (SOUTHERN) LIMITED,
 17.   A.L.I. Imaging Systems Corp.                           England
 18.   A.L.I. Technologies (International) LLC          53.   ALPE-ADRIA PHARMA farmacevtsko
 19.   AAH BUILDERS SUPPLIES LIMITED,                         podjetje d.o.o., Ljubljana
       England                                          54.   Alphar Ayeneux, Belgium
 20.   AAH FURB PENSION TRUSTEE                         55.   Alphar Gilly DL, Belgium
       LIMITED, England                                 56.   Alphar Monceau sur Sambre, Belgium
 21.   AAH Glass & Windows Limited, England             57.   Alphar Partners SA, Belgium
 22.   AAH Ireland, Dublin                              58.   Alte Löwen-Apotheke Mag. pharm.
 23.   AAH LIMITED, England                                   Kristina Taubald KG, HG Wien
 24.   AAH Lloyds Insurance (IoM) Limited,              59.   Alte Spora Apotheke Mag.pharm. Stephan
       Isle Of Man                                            Öhlzelt KG, LG St. Pölten
 25.   AAH LLOYDS PENSION TRUSTEES                      60.   Amethyst Acquisition Corp.
       LIMITED, England                                 61.   Ancavion GmbH, AG Darmstadt
 26.   AAH NOMINEES LIMITED, England                    62.   Ancillary Management Solutions, Inc.
 27.   AAH ONE LIMITED, Scotland                        63.   Anton-Bruckner-Apotheke Mag.pharm.
 28.   AAH PHARMACEUTICALS LIMITED,                           Christian Schwarzenbrunner KG, LG Linz
       England                                          64.   AOR Holding Company of Indiana, Inc.
 29.   AAH TWENTY FOUR LIMITED,                               (AOR Holding Company of Indiana, LLC)
       Scotland                                         65.   AOR Holding Company of Indiana, LLC
 30.   AAH TWENTY LIMITED, England                      66.   AOR Management Company of Alabama,
 31.   AAH TWENTY SIX LIMITED, England                        Inc.
 32.   ABG Apotheken-Beratungsgesellschaft              67.   AOR Management Company of Arizona,
       mbH, Stuttgart                                         Inc. (AOR Management Company of
 33.   Access Health NZ Limited                               Arizona, LLC)
 34.   AccessMed Holdings, Inc.


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 68.   AOR Management Company of Arizona,             92.    AOR Real Estate, Inc. (AOR Real Estate,
       LLC                                                   LLC)
 69.   AOR Management Company of Central              93.    AOR Real Estate, LLC
       Florida, Inc.                                  94.    AOR Synthetic Real Estate, Inc. (AOR
 70.   AOR Management Company of Florida,                    Synthetic Real Estate, LLC)
       Inc.                                           95.    AOR Synthetic Real Estate, LLC
 71.   AOR Management Company of Indiana,             96.    AORIP, Inc.
       Inc. (AOR Management Company of                97.    AORT Holding Company, Inc. (AORT
       Indiana, LLC)                                         Holding Company, LLC)
 72.   AOR Management Company of Indiana,             98.    AORT Holding Company, LLC
       LLC                                            99.    AORT LP, LLC
 73.   AOR Management Company of Kansas,              100.   Aporana AS
       Inc.                                           101.   Apotheke "Zum Bergmann" Mag.pharm.
 74.   AOR Management Company of Missouri,                   Sabine Tuttner KG, LG Leoben
       Inc. (AOR Management Company of                102.   Apotheke "Zur heiligen Dreifaltigkeit"
       Missouri, LLC)                                        Mag. pharm. Edith Schuller-Grundnig
 75.   AOR Management Company of Missouri,                   KG, Landesgericht Korneuburg
       LLC                                            103.   Apotheke "Zur Mutter Gottes" Mag.
 76.   AOR Management Company of Nevada,                     pharm. Karin Nozicka KG, HG Wien
       Inc.                                           104.   Apotheke Atzgersdorf Mr. Hermann
 77.   AOR Management Company of New                         Latzin KG, Wien
       York, Inc.                                     105.   Apotheke im Messepark Mag. pharm.
 78.   AOR Management Company of North                       Dietmar Purin KG, LG Feldkirch
       Carolina, Inc.                                 106.   Apotheke Niklasdorf Mag. pharm.
 79.   AOR Management Company of Ohio, Inc.                  Matthias Schöggl KG, LG Leoben
 80.   AOR Management Company of                      107.   APOTHEKE U1 TROSTSTRASSE, Mag.
       Oklahoma, Inc. (AOR Management                        pharm. Max Wellan KG, HG Wien
       Company of Oklahoma, LLC)                      108.   Apotheke Zum heiligen Antonius Mag.
 81.   AOR Management Company of                             pharm. Walter Staschek KG, LG Wiener
       Oklahoma, LLC                                         Neustadt
 82.   AOR Management Company of Oregon,              109.   Apotheke zum heiligen Schutzengel
       Inc.                                                  Mag.pharm. Barbara Penz-Arzberger KG,
 83.   AOR Management Company of                             Landesgericht Graz
       Pennsylvania, Inc. (AOR Management             110.   Apotheke zum Patriarchen Mag. pharm.
       Company of Pennsylvania, LLC)                         Brigitte Kölbl KG, HG Wien
 84.   AOR Management Company of                      111.   Apotheke Zur hl. Dreifaltigkeit Mag.
       Pennsylvania, LLC                                     pharm. Doris Richter KG, LG Wiener
 85.   AOR Management Company of South                       Neustadt
       Carolina, Inc.                                 112.   Apotheke Zur Hütte Mag. pharm. Mrak
 86.   AOR Management Company of Texas,                      KG, LG Leoben
       Inc.                                           113.   Apovest AS
 87.   AOR Management Company of Virginia,            114.   Apovest Drift AS
       Inc. (AOR Management Company of                115.   Art Acquisition Subsidiary, Inc.
       Virginia, LLC)                                 116.   Ascalon International, Inc.
 88.   AOR Management Company of Virginia,            117.   ATLAS Travel Clinic Limited, England
       LLC                                            118.   Attentus Medical Sales, Incorporated
 89.   AOR of Indiana Management Partnership                 (Attentus Medical Sales, LLC)
 90.   AOR of Texas Management Limited                119.   Attentus Medical Sales, LLC
       Partnership                                    120.   Awarix, Inc.
 91.   AOR of Texas Management, LLC                   121.   Axis Medical Management, Inc.



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 122. AYRSHIRE PHARMACEUTICALS                       153. Breamor Pharmacy Limited, Ireland
      LIMITED, Scotland                              154. Brevard Radiation Oncology, LLC
 123. AZIENDA FARMACEUTICA                           155. Brickyard Acquisition Inc. (Biologics,
      MUNICIPALE di Cremona S.p.A.,                       Inc.)
      CCIAA di Cremona                               156. BRIDPORT MEDICAL CENTRE
 124. Azienda Farmacie Milanesi S.p.A.,                   SERVICES LIMITED, England
      CCIAA di Milano                                157. Brocacef Groep N.V., Maarssen
 125. Babbingore Limited, Dublin                     158. Brockton Radiation Oncology, LLC
 126. BAILLIESTON HEALTH CENTRE                      159. Brooklyn Radiation Oncology, LLC
      PHARMACY LIMITED, Scotland                     160. Brukar Enterprises, Inc.
 127. Ballycane Pharmacy Limited, Ireland            161. Bullet Acquisition Corporation
 128. BANNISTER & THATCHER LIMITED,                  162. CAHILL MAY ROBERTS GROUP
      England                                             LIMITED, Dublin
 129. BARCLAY PHARMACEUTICALS                        163. California Golden State Finance Company
      (ATHERSTONE) LIMITED, England                  164. Camic Pharmacies Limited, Ireland
 130. BARCLAY PHARMACEUTICALS                        165. Canada Distribution Holdings Limited
      LIMITED, England                                    Partnership
 131. BARLEY CHEMISTS HOLDINGS                       166. Canada Retail Holdings Limited
      LIMITED, England                                    Partnership Societe en Commandite
 132. BARRY SHOOTER (ROMFORD)                             Gestion Detail Canada
      LIMITED, England                               167. Cancer Treatment Associates of Northeast
 133. BDI Pharma, Inc. (BDI Pharma, LLC)                  Missouri, Ltd.
 134. BDI Pharma, LLC                                168. CARONET TRADING LIMITED,
 135. Beausejour Drugs Limited                            England
 136. BEAUTY CARE DRUGSTORES                         169. Carrollton Radiation Therapy Center, LLC
      LIMITED, England                               170. Cascade Medical Supply, Inc. (McKesson
 137. Beldere Corporation                                 Medical-Surgical Minnesota Supply Inc.)
 138. BeneVi Health LLC (Biologics, Inc.)            171. Cavalier Acquisition Company LLC
 139. BENU Apotheken B.V., Chamber of                172. CCCN NW Building JV, LLC
      commerce Amsterdam                             173. Celesio Business Services Ltd., Ireland
 140. BENU Nederland BV, Kamer van                   174. CENTRALE D`ADMINISTRATION DE
      Koophandel Amsterdam                                BIENS IMMOBILIERS, Bobigny
 141. BERKSHIRE MEDICAL SUPPLIES                     175. CGSF Funding Corporation (CGSF
      LIMITED, England                                    Funding LLC)
 142. BETTERLIFEHEALTHCARE LIMITED,                  176. CGSF Funding LLC
      England                                        177. Chem Labs Limited, Dublin
 143. BIG PHARMA LIMITED, Scotland                   178. CHNG Newco LLC
 144. Biologics, Inc.                                179. CHNG NewSub Inc.
 145. Blackhall Pharmaceutical Distributors          180. City Properties, S.A.
      Limited                                        181. Civiche Farmacie Desio S.p.A., Italy
 146. Blackhawk Development LLC                      182. Claimone, LLC (Linear Holdings, LLC)
 147. Blackstaff Pharmaceuticals Limited,            183. ClaimSecure Inc. (SUCCESSOR)
      England                                        184. CLARK CARE GROUP LIMITED,
 148. Blomsterdalen Apotek AS                             England
 149. Blue Medical Supply, Inc. (McKesson            185. CLARK MUNRO LIMITED, Scotland
      Medical-Surgical Inc.)                         186. ClarusONE Sourcing Services LLP
 150. Boad Seven, Inc.                               187. Clinicians Database, L.L.C.
 151. BOFH Holdings Unlimited Company,               188. CMR Holdings Ltd, Dublin
      Ireland                                        189. Coleham, Dublin
 152. Bottomline Medical Solutions, LLC              190. Colorado Cancer Centers, LLC
      (Linear Holdings, LLC)                         191. Combined Enterprises Corporation


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 192. COMPANY CHEMISTS ASSOCIATION                     228. Diana-Apotheke Dr. et Mag. pharm.
      LIMITED, England                                      Michaela Stipsits KG, LG Eisenstadt
 193. COMPTOIR MONEGASQUE DE                           229. Die Apotheke Ebenfurth, Mag.pharm.
      BIOCHIMIE, Monaco                                     Beate Haage-Löwe KG, LG Wiener
 194. COMPTOIR PHARMACEUTIQUE                               Neustadt
      MEDITERRANEEN, Monaco                            230. Dispensing Solutions Acquisition
 195. CONSORZIO SERVIZI SALUTARI                            Corporation (DS Holdings, Inc.)
      S.C.A. R.L., Italy                               231. Dispensing Solutions, Inc. (Dispensing
 196. CookCo, Inc.                                          Solutions, LLC)
 197. Cophana SA, Belgium                              232. Dispensing Solutions, LLC (DS Holdings,
 198. Corporation Groupe                                    Inc.)
      Pharmessor/Pharmessor Group                      233. Ditt Apotek Amfi Os AS
      Corporation (SUCCESSOR 10/01/2017)               234. Ditt Apotek Rodberg AS
 199. Corporation of America                           235. Ditt Apotek Sorumsand AS
 200. CoverMyMeds LLC                                  236. Diversified Healthcare, LLC
 201. CoverMYMeds Specialty Pharmacy                   237. Dix Bulles Pharma, Belgium
      Holdings LLC                                     238. DLI Market Intelligence ApS, Denmark
 202. CoverMYMeds Specialty Pharmacy LLC               239. DOL Pharmacy Limited, Ireland
 203. CPG Industries, Inc.                             240. Donnybrook Pharmacy Limited, Ireland
 204. Crocker Plaza Company (Crocker Plaza             241. Downtown Los Angeles Radiation
      LLC)                                                  Oncology, LLC
 205. Crocker Plaza LLC                                242. DS Holdings, Inc. (DS Holdings, LLC)
 206. CROSS AND HERBERT (DEVON)                        243. DS Holdings, LLC (McKesson Medical-
      LIMITED, England                                      Surgical Top Holdings Inc.)
 207. CROSS AND HERBERT (HOLDINGS)                     244. DSRX, Inc. (DS Holdings, Inc.)
      LIMITED, England                                 245. Dublin 2016 Acquisition, LLC
 208. CROSS AND HERBERT LIMITED,                       246. Dublin Holdings Acquisitions, LLC
      England                                               (Vantage Oncology Holdings, LLC)
 209. Crowley`s Blackrock Limited, Dublin              247. Dublin POS I Acquisition Corp. (POS I
 210. Cypress Import Brokerage LLC                          Corp.)
 211. Cypress Medical Products LLC                     248. East Indy CC, LLC
 212. D & K Healthcare Resources LLC                   249. ECLIPSE HEALTHCARE LIMITED,
 213. D & K Healthcare Resources, Inc. (D & K               England
      Healthcare Resources LLC)                        250. Edwards Medical Supply, Inc.
 214. D & K Pharmacy Solutions, Inc.                   251. EM Acquisition Corporation
 215. D & K Receivables Corporation                    252. Emploi AS
 216. D.F. O'Neill (Chemists) Ltd, Dublin              253. Engel-Apotheke Mag. pharm. Susanne
 217. Dale Apotek AS                                        Zauner KG, LG Wiener Neustadt
 218. Danubia-Apotheke Mag. pharm. Barbara             254. Ephrata Diamond Spring Water Co.
      Sedelies KG, HG Wien                             255. ESCON (ST NEOTS) LIMITED, England
 219. Dargle Pharmacies Holdings Limited,              256. Espafarmed S.L., Belgium
      Ireland                                          257. EUROSANTE (Société en liquidation),
 220. DATACARE Datenpflege des                              Luxembourg
      Pharmagroßhandels Ges.m.b.H., HG Wien            258. Evesland Limited, Dublin
 221. DATAPHARM, Paris                                 259. EVOLUTION HOMECARE SERVICES
 222. Daytona Beach Radiation Oncology, LLC                 LIMITED, England
 223. DC Land Company                                  260. EXPERT HEALTH LIMITED, England
 224. DCAZ Land Company                                261. Family Pharmacy @ Las Colinas LLC
 225. Delta Clinical Research, LLC                     262. Fana Apotek AS
 226. DEPOTRADE, Bobigny                               263. FAR.CO.SAN S.p.A., CCIAA di Arezzo
 227. Derm Vantage, LLC                                264. FARILLON LIMITED, England


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 265. Farmacia Garbatella I S.r.l., Italy                298. GERSTHOFER-APOTHEKE
 266. Farmacie Comunali di Modena S.p.A.,                     Mag.pharm. Elisabeth Reisegger KG, HG
      Italy                                                   Wien
 267. Farmacie Comunali di Padova S.p.A.,                299. Giardina Enterprises, Inc.
      Italy                                              300. Glendale Radiation Oncology, LLC
 268. Farmacie di Sassuolo S.p.A., Italy                      (Vantage Oncology Treatment Centers,
 269. Farmacie Pratesi Pratofarma S.p.A.,                     LLC)
      CCIAA di Prato                                     301. Golden State Company, Ltd.
 270. FARMALVARION S.R.L. SOCIO                          302. Golden State Corporate Services LLC
      UNICO, Italy                                       303. Golden State Insurance Company Limited
 271. FASTPRO International, Inc.                        304. Golden State Milk Products Company
 272. Federal Medical Supplies, Inc. (McKesson           305. Goodman Manufacturing Company
      Medical-Surgical Minnesota Supply Inc.)            306. Gorrys Pharmacy Limited, Ireland
 273. Felview Limited, Dublin                            307. Goviltown Limited, Westmeath
 274. First Aid Service, Inc.                            308. GPL 2007 LIMITED, England
 275. First Choice Medical Supply Holding, Inc.          309. GRAEME PHARMACY (STIRLING)
      (First Choice Medical Supply Holding,                   LIMITED, Scotland
      LLC)                                               310. GREENS PHARMACEUTICAL
 276. First Choice Medical Supply Holding,                    (HOLDINGS) LIMITED, England
      LLC                                                311. Greenville Radiation Care, Inc.
 277. First Choice Medical Supply, LLC                   312. Greystones Pharmacy Limited, Dublin
 278. FIRTH & PILLING LIMITED, England                   313. GROUPE PHR, France
 279. Flex-Master Technology Holdings, Inc.              314. Gulf South Medical Supply, Inc. (Gulf
 280. Floriani-Apotheke Mag.pharm. Doris                      South Medical Supply, LLC)
      Leykauf KG, LG Graz                                315. Gulf South Medical Supply, LLC
 281. Foremost de Venezuela, S.A. (Forvensa)             316. Gwinnett Radiation Oncology, LLC
 282. Foremost Homes Hawaii, Ltd.                        317. H THATCHER LIMITED, England
 283. Foremost Iran Corporation                          318. Haleston Enterprises Limited, Dublin
 284. Foremost Shir, Inc.                                319. HBO & Company (VI), Inc.
 285. Foremost Tehran, Inc.                              320. HBO & Company of Georgia
 286. FOSTER & PLUMPTON GROUP                            321. HBOC Ventures, Inc.
      LIMITED, England                                   322. HC Beteiligungsgesellschaft mbH, HG
 287. FOSTER & PLUMPTON LIMITED,                              Wien
      England                                            323. HDSC Acquisition Corp.
 288. Foundation For Opioid Response Efforts             324. Health Data Sciences Corporation
 289. G J MALEY LIMITED, Isle Of Man                     325. Health Mart Atlas, LLC
 290. G K CHEMISTS (GLOS) LIMITED,                       326. Health Mart Systems, Inc.
      England                                            327. HEALTH NEEDS LIMITED, England
 291. G K CHEMISTS LIMITED, England                      328. HEALTHCLASS LIMITED, England
 292. GEHE Immobilien GmbH & Co. KG,                     329. Heinz Management Co.
      Stuttgart                                          330. Helmard Holdings Limited, Dublin
 293. GEHE Immobilien Verwaltungs-GmbH,                  331. HEP HealthQx Holdings, Inc. (McKesson
      Stuttgart                                               Technologies Inc.)
 294. GEHE Pharma Handel GmbH, Stuttgart                 332. Herba Chemosan Apotheker-AG, HG
 295. General Medical Inc.                                    Wien
 296. GEORGE STAPLES (STOKE)                             333. HERBERT FERRYMAN LIMITED,
      LIMITED, England                                        England
 297. Gerard Ryan Pharmacy (Clonmel)                     334. Hercules Parent LLC
      Limited, Dublin                                    335. Herz - Jesu Apotheke Mag. pharm.
                                                              Marianne Keller KG, HG Wien



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 336. Herz Jesu Apotheke & Parfümerie Mag.            375. J S DENT LIMITED, England
      pharm. Ingrid Heller KG, LG Feldkirch           376. Bradbury (Surgical) Limited, Northern
 337. HF Land Company                                      Ireland
 338. HFN of Northwest Florida, Inc.                  377. J.G. Crowley Pharmacy Limited, Dublin
 339. HIGGINS & SON (CHEMISTS)                        378. JACS, Inc.
      LIMITED, England                                379. Jaron, Inc.
 340. HILL-SMITH (WARRINGTON)                         380. Jeffersonville Radiation Technology, LLC
      LIMITED, England                                381. Jessheim Apotek AS
 341. HisComp Co., Zee Medical Service Co.            382. Jewett Drug Co.
 342. HMS Acquisition Corp.                           383. Jewett Drug LLC
 343. HOLLYFAR - Marcas e Comunicação,                384. Johannes Apotheke Mag. pharm. Deutsch
      Unipessoal, Lda., Portugal                           KG, LG Graz
 344. HOLMSCROFT HC LIMITED, Scotland                 385. JOHN BELL & CROYDEN LIMITED,
 345. HOLON, S.A., Portugal                                England
 346. Honeybee Bridge LLC                             386. JOHN HAMILTON
 347. HTP Inc. (HTP LLC)                                   (PHARMACEUTICALS) LIMITED,
 348. HTP LLC                                              Scotland
 349. Hubertus-Apotheke Mag.pharm. E.                 387. Jupiter Acquisition Ltd.
      Klettenhofer KG, HG Wien                        388. Kairnbury, Dublin
 350. HUSKY AQUISITION INC.                           389. Kathleen Properties Subdivision
 351. Hygeia Bottled Water, Inc.                           Association, Inc.
 352. HYWEL DAVIES (CAERPHILLY)                       390. Keling Limited
      LIMITED, England                                391. Keltman Pharmaceuticals, Inc. (Linear
 353. IHA Corp.                                            Holdings, LLC)
 354. Imagine Health, Inc.                            392. Kemofarmacija, veletrgovina za oskrbo
 355. INDEPENDENT PHARMACY CARE                            zdravstva, d.d., Ljubljana
      CENTRES (2008) LIMITED, England                 393. Keystone/Ozone Pure Water Company
 356. Indian River Radiation Oncology, LLC            394. Kilshallow Limited, Dublin
 357. Infolab, LLC                                    395. KINGSWOOD CHEMISTS LIMITED,
 358. Innovent Oncology, LLC                               England
 359. INSPIRON DISTRIBUTION LIMITED,                  396. KINGSWOOD GK LIMITED, England
      England                                         397. Kitco, Inc.
 360. Integrated Cancer Care, LLC                     398. Knowledgeable Healthcare Solutions, Inc.
 361. Integrated Pathology Services                   399. Kreuz-Apotheke KG, HG Wien
 362. IntelliClaim, Inc.                              400. KWS & P, Inc
 363. Inten GmbH, Stuttgart                           401. KWS & P/SFA, Inc.
 364. Intercal, Inc.                                  402. KYLE & CARRICK HOLDINGS
 365. International Dairy Engineering Co. of               LIMITED, Scotland
      Asia, Inc.                                      403. Laboratoria Flandria NV, Belgium
 366. InterQual Inc.                                  404. Laboratory Supply Company
 367. intraFUSION GP, LLC                             405. Labsco Holdings, Inc. (McKesson
 368. Intrafusion Holding Corp.                            Medical-Surgical Inc.)
 369. intraFUSION Purchasing Network, LLC             406. Leesburg Radiation Oncology, LLC
 370. intraFUSION Research Network, LLC               407. LEVELCROWN LIMITED, England
 371. Inviva, McKesson Pharma Care Network            408. Liberty Real Estate NJ LLC
      Corporation / La Corporation Inviva,            409. Lind-Apotheke Mag. pharm. Alexander
      Reseau de soins pharmacologiques                     Telesko KG, LG Klagenfurt
      McKesson (SUCCESSOR)                            410. Linear Holdings, Inc. (McKesson
 372. Iowa Pharmaceutical Services, LLC                    Medical-Surgical Top Holdings Inc.)
 373. IPCC LIMITED, England                           411. Linear Holdings, LLC (Linear Holdings,
 374. IPD Holdings, Inc.                                   Inc.)


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 412. Linear Medical Solutions, LLC                     445. Marien-Apotheke, Mag.pharm. Eva
 413. LINFORD PHARMACIES LIMITED,                            Grabner KG, Landesgericht Korneuburg
      England                                           446. Maryland First Aid Co., Inc.
 414. LISEAPOTEKENE AS                                  447. MASTA Limited, England
 415. Lissone Farmacie S.p.A., CCIAA di                 448. Masters Drug Company, Inc.
      Monza e Brianza                                   449. MATIS Immobilien OHG, Stuttgart
 416. LIVINGSTON HEALTH CENTRE (P.D)                    450. Maurice F. Dougan Limited, Dublin
      CO. LIMITED, Scotland                             451. May Roberts Ltd, Dublin
 417. LKW, Inc.                                         452. MCK Acquisition Corp.
 418. LLOYDS CHEMISTS LIMITED,                          453. McK International Financial Holdings
      England                                                (Barbados) SRL
 419. LLOYDS CHEMISTS RETAIL                            454. McKesson (Cayman Islands) Inc.
      (NORTHERN) LIMITED, England                       455. McKesson (Shanghai) Trading Company
 420. LLOYDS CHEMISTS RETAIL                                 Limited
      LIMITED, England                                  456. McKesson + Strategic Solutions ULC /
 421. LLOYDS GROUP PROPERTIES                                Solutions Strategiques McKesson + ULC
      LIMITED, England                                  457. McKesson Automation Systems Inc.
 422. Lloyds Pharmacy Clinical Homecare                 458. McKesson Belgium Holdings SPRL,
      Limited, England                                       Belgium
 423. LLOYDS PHARMACY LIMITED,                          459. McKesson Canada Corporation/La
      England                                                Corporation McKesson Canada
 424. LLOYDS PROPERTIES LIMITED,                             (SUCCESSOR)
      England                                           460. McKesson Canada Finance IA ULC
 425. LLOYDS Property Management                        461. McKesson Canada Finance IB ULC
      Company Belgium S.A., Belgium                     462. McKesson Capital Funding Corp.
 426. LLOYDS RETAIL CHEMISTS                            463. McKesson Capital Funding Corporation
      LIMITED, England                                  464. McKesson Capital LLC
 427. Lloyds Retail S.r.l., Socio Unico, Italy          465. McKesson Central Fill LLC (McKesson
 428. LLOYDSFARMACIA ROMA 4 S.R.L.,                          Distribution Holdings LLC)
      Italy                                             466. McKesson Contract Research
 429. Lloydspharma Group S.A., Belgium                       Organization LLC
 430. Lloydspharma S.A., Belgium                        467. McKesson Cork Business Solutions
 431. Lloydspharmacy Ireland Limited, Dublin                 Unlimited Company
 432. Lory Apotheke Mag. pharm. Karin                   468. McKesson Corporate Properties, Inc.
      Eichinger KG, HG Wien                             469. McKesson Corporation
 433. LP Clinical Homecare Group Limited,               470. McKesson Development Corp.
      England                                           471. McKesson Distribution Holdings LLC
 434. LPL ONE LIMITED, England                          472. McKesson Drug Company LLC
 435. M H GILL LIMITED, England                         473. McKesson Europe AG
 436. M PAYNE & CO LIMITED, England                     474. McKesson Europe Holdings GmbH & Co.
 437. Macfor International Finance Company                   KGaA
 438. MACON Acquisition Corp.                           475. McKesson Europe Holdings Verwaltungs
 439. Macro Helix LLC                                        GmbH
 440. Madison Acquisition Inc.                          476. McKesson Financial Holdings II
 441. Marathon Acquisition Subsidiary, Inc.                  Unlimited Company
 442. Mariahilf-Apotheke Mag. pharm.                    477. McKesson Financial Holdings Unlimited
      Christoph Rücklinger KG, LG St. Pölten                 Company
 443. Mariahilf-Apotheke Mag. pharm. Helga              478. McKesson Financing Trust III
      Mann KG, Landesgericht Graz                       479. McKesson Financing Trust IV
 444. Marien-Apotheke Mag. pharm. Thomas                480. McKesson Foundation Inc.
      Job KG, LG Eisenstadt


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 481. McKESSON FRANCE HOLDINGS,                        510. McKesson International Bermuda IP5B
      Bobigny                                               Unlimited (McKesson International
 482. McKesson France Retail, Bobigny B                     Bermuda IP5A Limited)
 483. McKesson Funding Company of Canada               511. McKesson International Bermuda
 484. McKesson Global Procurement &                         Opco1A Limited
      Sourcing Limited                                 512. McKesson International Bermuda Opco1B
 485. McKesson Global Sourcing Limited                      Unlimited (McKesson International
 486. McKesson Global Sourcing Limited [Irish               Bermuda Opco1A Limited)
      Branch]                                          513. McKesson International Bermuda
 487. McKesson Health Solutions Holdings                    Opco3A Limited
      LLC                                              514. McKesson International Bermuda Opco3B
 488. McKesson Health Solutions LLC                         Unlimited (McKesson International
 489. McKesson Health Solutions Puerto Rico                 Bermuda Opco3A Limited)
      Inc.                                             515. McKesson International Bermuda
 490. McKesson Health Solutions Texas Inc.                  Opco4A Limited
 491. McKesson High Volume Solutions Inc.              516. McKesson International Bermuda Opco4B
 492. McKesson Information Solutions Finance                Unlimited
      S.a.r.l.                                         517. McKesson International Finance III
 493. McKesson Information Solutions                        Limited (McKesson US Finance
      Holdings II S.a.r.l.                                  Corporation)
 494. McKesson Information Solutions                   518. McKesson International Finance S.a.r.l.
      Holdings III S.a.r.l.                            519. McKesson International Holdings III
 495. McKesson Information Solutions                        S.a.r.l.
      Holdings IV S.a.r.l.                             520. McKesson International Holdings IV
 496. McKesson Information Solutions                        S.a.r.l.
      Holdings V S.a.r.l.                              521. McKesson International Holdings S.a.r.l.
 497. McKesson Information Solutions III LLC           522. McKesson International Holdings
 498. McKesson Information Solutions Inc.                   Unlimited Company
      (McKesson Information Solutions LLC)             523. McKesson International Holdings VI
 499. McKesson Information Solutions IV LLC                 S.a.r.l.
 500. McKesson Information Solutions LLC               524. McKesson International Holdings VII
 501. McKesson Information Solutions                        S.a.r.l.
      Topholdings S.a.r.l.                             525. McKesson International Investment Corp.
 502. McKesson Information Solutions UK                526. McKesson International Ireland I Limited
      Limited                                          527. McKesson International LLC
 503. McKesson International Bermuda IP2A              528. McKesson International Malaysia Sdn
      Limited                                               Bhd
 504. McKesson International Bermuda IP2B              529. McKesson International S.a.r.l.
      Unlimited                                        530. McKesson International Topholdings
 505. McKesson International Bermuda IP3A                   S.a.r.l.
      Limited                                          531. McKesson Ireland Limited
 506. McKesson International Bermuda IP3B              532. McKesson Logistics Solutions
      Unlimited (McKesson International                533. McKesson Medical Imaging Company
      Bermuda IP3A Limited)                                 Ltd. (predecessor)
 507. McKesson International Bermuda IP4A              534. McKesson Medical-Surgical FDT Inc.
      Limited                                          535. McKesson Medical-Surgical Government
 508. McKesson International Bermuda IP4B                   Solutions LLC
      Unlimited (McKesson International                536. McKesson Medical-Surgical Holdings Inc.
      Bermuda IP4A Limited)                            537. McKesson Medical-Surgical Inc.
 509. McKesson International Bermuda IP5A              538. McKesson Medical-Surgical Iowa Inc.
      Limited


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 539. McKesson Medical-Surgical Iowa Supply             570. McKesson Specialty Health
      Inc.                                                   Pharmaceutical & Biotech Solutions, LLC
 540. McKesson Medical-Surgical Maine Inc.              571. McKesson Specialty Health
 541. McKesson Medical-Surgical                              Pharmaceutical & Biotech Solutions, LP
      Manufacturing Inc.                                     (McKesson Specialty Health
 542. McKesson Medical-Surgical MediMart                     Pharmaceutical & Biotech Solutions,
      Inc.                                                   LLC)
 543. McKesson Medical-Surgical MediNet Inc.            572. McKesson Specialty Health Technology
 544. McKesson Medical-Surgical Minnesota                    Products LLC
      Inc. (McKesson Medical-Surgical                   573. McKesson Specialty Pharmacy, LP (RxC
      Holdings Inc.)                                         Acquisition Company)
 545. McKesson Medical-Surgical Minnesota               574. McKesson Specialty Prescription Services
      Supply Inc.                                            (Atlantic) Corporation/Corporation
 546. McKesson Medical-Surgical Supply                       McKesson Services de Prescription
      Chain Services LLC                                     Spécialisée (Atlantique)
 547. McKesson Medical-Surgical Top                     575. McKesson Specialty Prescription Services
      Holdings Inc.                                          (B.C.) Corporation
 548. McKesson Medication Management                    576. McKesson Specialty Prescription Services
      Holdings Inc.                                          Corporation
 549. McKesson Medication Management                    577. McKesson SPS (Manitoba) Corporation
      Virgin Islands Inc.                               578. McKesson Strategic Services Limited
 550. McKesson Norway Holdings AS                       579. McKesson Technologies Inc.
 551. McKesson Pharmacy Optimization LLC                580. McKesson Trading Company
 552. McKesson Pharmacy Systems Canada                  581. McKesson Transportation Systems, Inc.
      ULC                                               582. McKesson UK Finance I Limited
 553. McKesson Pharmacy Systems LLC                     583. McKesson UK Finance II Limited
 554. McKesson Plasma and Biologics LLC                 584. McKesson UK Finance V Limited
 555. McKesson Prescription Drug Plan LLC               585. McKesson UK Holdings Limited
 556. McKesson Property Company, Inc.                   586. McKesson US Finance Corporation
 557. McKesson Purchasing Company LLC                   587. McKesson US Holdings GP
 558. McKesson Services Inc. (McKesson                  588. McKesson Ventures LLC
      Services LLC)                                     589. McKesson Ventures Unlimited Company
 559. McKesson Services LLC                             590. McQueary Bros. Drug Company
 560. McKesson Sourcing Services Inc.                   591. McQueary Bros. Drug Company, LLC
 561. McKesson Specialized Distribution Inc. /          592. McSweeney Dispensers 10 Limited,
      McKesson Distribution Specialisee Inc.                 Ireland
      (Successor)                                       593. McSweeney Dispensers 23 Limited,
 562. McKesson Specialty Arizona Inc.                        Ireland
 563. McKesson Specialty Care Distribution              594. MDD pharma N.V., Belgium
      Corporation (McKesson Specialty Care              595. MED3000 Health Solutions Southeast
      Distribution LLC)                                 596. MED3000 RPG
 564. McKesson Specialty Care Distribution JV           597. Medaid Supply, Inc.
      LLC                                               598. Medcon Telemedicine Technology, Inc.
 565. McKesson Specialty Care Distribution              599. Median Healthcare Services Unlimited
      LLC                                                    Company, Ireland
 566. McKesson Specialty Corporation                    600. Medical & Vaccine Products, Inc.
 567. McKesson Specialty Distribution LLC               601. Medical Advisory Services for Travellers
 568. McKesson Specialty Health Innovative                   Abroad Limited, England
      Practice Services, LLC                            602. Medical Specialties Distributors Holdings,
 569. McKesson Specialty Health Management                   Inc. (MSD Parent Corporation)
      Services LLC                                      603. Medical Specialties Distributors, LLC


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 604. Medical Specialties Holdings Corp.               643.   Natureline, Dublin
      (Medical Specialties Holdings II Corp.)          644.   NDC of Canada, Inc.
 605. Medical Specialties Holdings II Corp.            645.   NDCHealth Corporation
 606. Medicentres Canada Inc. (SUCCESSOR)              646.   NDCHealth Pharmacy Systems and
 607. Medicine Shoppe Atlantic Corporation                    Services, Inc.
 608. Medicine Shoppe Canada Corporation               647.   Nebraska Pharmaceutical Services, LLC
 609. Medicine Shoppe Canada Real Estate               648.   Negatron, Inc.
      Corporation                                      649.   Nensi d.o.o., Ljubljana
 610. MEDIMART LIMITED, England                        650.   NERO GP, LLC
 611. MediVation, Inc.                                 651.   New Experimental Therapeutics of San
 612. MedVentive Inc.                                         Antonio, LLC
 613. MeMed CZ s.r.o., Praha                           652.   NEW KIRK PHARMACY LIMITED,
 614. Menges Medizintechnik Schweiz AG,                       Scotland
      Sankt Gallen                                     653.   New Mexico Pharmaceutical Services,
 615. Merlin Subsidiary Inc.                                  LLC
 616. Merrick Healthcare Limited                       654.   NewHealthCo, LLC
 617. Metabolic Healthcare Holdings Limited,           655.   NexCura, LLC (McKesson Specialty
      England                                                 Health Technology Products LLC)
 618. Metabolic Healthcare Limited, England            656.   Nibelungen-Apotheke Mag. pharm.
 619. Metropolitan Integrated Cancer Center,                  Michaela Wachter KG, LG St. Pölten
      L.L.C.                                           657.   Norsk Medisinaldepot AS
 620. MH/USON Radiation Management                     658.   North Carolina Pharmaceutical Services,
      Company, LLC                                            LLC
 621. MHD-USO General, LLC                             659.   Northeast Pennsylvania Radiation
 622. MHD-USO Management Company, LP                          Oncology, LP
 623. MHS Connecticut LLC                              660.   Northern Arizona Oncology Centers, LLC
 624. Michigan Pharmaceutical Services, LLC            661.   Northern Boulevard Radiation Oncology
 625. Mid-Atlantic Radiation Oncology LLC                     Management, LLC
 626. Millennium Merger Corporation                    662.   Northern San Fernando Valley Radiation
 627. Mohawk Liqueur Corporation                              Oncology, LLC
 628. Mohren-Apotheke Mag. Christian Müller            663.   Northstar Healthcare Holdings Limited
      KG, LG Graz                                      664.   Northstar Healthcare Holdings Unlimited
 629. Moore Medical LLC (McKesson Medical-                    Company
      Surgical Government Solutions LLC)               665.   Northstar Healthcare Limited
 630. Mosaic Acquisition Corporation                   666.   Northstar Healthcare Unlimited Company
 631. MOUNT PHARMACY LIMITED,                          667.   Northstar International Holdings Limited
      England                                          668.   Northstar Rx LLC
 632. MSA Products LLC                                 669.   Norvern Enterprises, Inc.
 633. MSD Acquisition Corp. (Medical                   670.   NR Direct, Inc. (McKesson Patient Care
      Specialties Holdings Corp.)                             Solutions Inc.)
 634. MSD Parent Corporation (MSD                      671.   O`Leary Pharmacy (Lucan) Limited,
      Acquisition Corp.)                                      Dublin
 635. Multum Information Services, Inc.                672.   OCP FORMATION, Bobigny
 636. MUNRO PHARMACY LIMITED,                          673.   OCP PORTUGAL, PRODUTOS
      Scotland                                                FARMACÊUTICOS, S.A., Maia
 637. MWPC Acquisition Corp.                           674.   OCP REPARTITION, Bobigny B
 638. MWPC Acquisition Corp. (PA)                      675.   OCP, Bobigny
 639. My MHealth Limited, England & Wales              676.   Oncology Holdings II, Inc.
 640. myhca, inc.                                      677.   Oncology Holdings, Inc.
 641. NARO, LLC                                        678.   Oncology Rehab Partners, LLC
 642. National Oncology Alliance, Inc.


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 679. Oncology Therapeutics Network                   718. Pharmacie de la Bascule, Belgium
      Corporation                                     719. PHARMACTIV DISTRIBUTION,
 680. Oncology Today, LP                                   Bobigny B
 681. OnMark, Inc.                                    720. Pharmacy O`Riada Holdings Limited,
 682. Optimed Health Limited, England &                    Dublin
      Wales                                           721. PHARMAGEN LIMITED, England
 683. Orca Acquisition Corp.                          722. PHILIP GOODMAN LIMITED, England
 684. Ørebekk Apotek AS                               723. PHR ANTILLES, FORT DE FRANCE
 685. Oswald-Apotheke Mag. pharm. Ilse                724. PhyServ Solutions, Inc.
      Pedevilla KG, LG Feldkirch                      725. Physician Micro Systems, Inc.
 686. OTN Generics, Inc.                              726. Physician Oncology Services
 687. OTN Participant, Inc.                                Management Company, LLC
 688. Outpatient Infusion Systems, Inc                727. Physician Reliance Holdings, LLC
 689. Øygarden Apotek AS                              728. Physician Reliance Maryland, LP
 690. P C Cahill & Company Limited, Dublin            729. Physician Reliance Network, Inc.
 691. P.L.C.E., Inc.                                       (Physician Reliance Network, LLC)
 692. Packet Merger Sub Inc.                          730. Physician Reliance Network, LLC
 693. PALEMODA LIMITED, England                       731. Physician Reliance, L.P.
 694. Palm Merger Sub, Inc.                           732. Physician Reliance, LLC
 695. Panther Acquisition Corporation                 733. Physician Sales & Service Limited
 696. Panther-Apotheke Mag. pharm. Margarete               Partnership
      Breyha KG., LG St. Pölten                       734. Physician Sales & Service, Inc.
 697. Paracelsus-Apotheke Mag. pharm. Dr.                  (McKesson Medical-Surgical Top
      Birgit Müller KG, Austria                            Holdings Inc.)
 698. Pathology Service Associates, LLC               735. Pindsle Apotek AS
 699. Pathway Purchasing Network, LLC                 736. PMLX Limited
 700. Patient Account Management Services,            737. POC Management Group, LLC
      Inc.                                                 (Dispensing Solutions, Inc.)
 701. PAUL WHEELER LIMITED, England                   738. Podiatry Online, Inc.
 702. PCB SA, Belgium                                 739. Portico Systems of Delaware, Inc.
 703. PEEL STREET PHARMACY LIMITED,                   740. POS I Corp. (Dublin 2016 Acquisition,
      England                                              LLC)
 704. peerVue, Inc. (DE)                              741. Presbyterian Cancer Center-Dallas, LLC
 705. peerVue, Inc. (NH)                              742. Prescribing Support Services Limited,
 706. Pemberton Marketing International                    England & Wales
      Limited                                         743. Prima Brands Limited, Northern Ireland
 707. Penn-Chem Corporation                           744. PRIMELIGHT LIMITED, England
 708. PERILLA Grundstücks-                            745. Prismedica S.A.S.
      Verwaltungsgesellschaft mbH & Co. KG,           746. PRN Physician Reliance, LLC
      AG München                                      747. Pro-AvO GmbH, Deutschland
 709. Per-Se Transaction Services, Inc.               748. Proclaim, Inc. (McKesson Medical-
 710. PF2 McKesson Technologies Inc.                       Surgical MediMart Inc.)
 711. PF2 SpinCo Inc.                                 749. PRODILAB, France
 712. Pharma Belgium Belmedis SA, Belgium             750. Providence Radiation Oncology Partners
 713. PHARMA PARTNERS, Belgium                             LLC
 714. Pharma Services (NI) Limited, Northern          751. PSS China Sourcing Limited
      Ireland                                         752. PSS Global Holdings
 715. Pharmaceutical Distributors Federation          753. PSS Global Sourcing China Business
      Ireland Company Limited By Guarantee                 Trust
 716. Pharmaceutical Support Services, Inc.           754. PSS Global Sourcing Hong Kong Limited
 717. Pharmacie Ananga-Talom, Belgium


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 755. PSS Global Sourcing Limited [Hong                791. Rexall/Pharma Plus Pharmacies Ltd.
      Kong]                                            792. Riel, Inc.
 756. PSS HK 1 Limited                                 793. Riverside Radiation Oncology, LLC
 757. PSS Holding, Inc. (McKesson Medical-                  (Vantage Oncology Treatment Centers,
      Surgical Inc.)                                        LLC)
 758. PSS Service, Inc. (McKesson Medical-             794. R-jet, Incorporated
      Surgical Top Holdings Inc.)                      795. RMCC Cancer Center, Inc. (RMCC
 759. PSS Southeast Asia Limited                            Cancer Center, LLC)
 760. PSS World Medical, Inc.                          796. RMCC Cancer Center, LLC
 761. PST Products, LLC                                797. ROSA of Eastern Shore, LLC
 762. PST Services, Inc. (PST Products, LLC)           798. ROSA of Georgia, LLC
 763. Purchasing Alliance for Clinical                 799. ROSA of South Alabama, LLC
      Therapeutics, LLC                                800. ROSA of Southern New Jersey, LLC
 764. R F FOSKETT & SON LIMITED,                       801. Roth Medical Services, Inc.
      England                                          802. RPRS, LLC
 765. R GORDON DRUMMOND LIMITED,                       803. RX Information Technology LLC
      England                                          804. RxC Acquisition Company
 766. R/X Automation Solutions, LLC                    805. RxCrossroads 3PL LLC
 767. Raabtal-Apotheke Mag.pharm. Karin                806. Ryle and De Lacy Pharmacies Limited,
      Drawetz KG, Landesgericht Graz                        Ireland
 768. Radiation Oncology Services of America,          807. S.K.U., Inc.
      Inc.                                             808. Salus-Apotheke Mag. pharm. Simone
 769. Radiotherapy Clinic Holdings, LLC                     Gaigg KG, Salzburg
 770. Radiotherapy Clinics of Kentuckiana,             809. Salvator - Apotheke Mag. pharm.
      LLC                                                   Gertrude Pölzl KG, LG Leoben
 771. Radiotherapy Clinics of Kentuckiana-2,           810. San Bruno Mountain Ltd., A California
      LLC                                                   Limited Partnership
 772. Radius Data Solutions, LLC                       811. Sandviken Apotek AS
 773. Radius Reimbursement Services, LLC               812. Sangers (Northern Ireland) Limited,
 774. Radunnco, Inc.                                        Northern Ireland
 775. Rancare, Inc.                                    813. SANOVA Pharma GesmbH, HG Wien
 776. Randolph Home Care Inc.                          814. SAVORY & MOORE (JERSEY)
 777. Randolph Medical Inc.                                 LIMITED, Jersey
 778. RCOG Cancer Centers, LLC                         815. SAVORY & MOORE LIMITED,
 779. Rebel Distributors Corp. (McKesson                    Scotland
      Medical-Surgical Top Holdings Inc.)              816. SCHOLES (CHEMISTS) LIMITED,
 780. recucare GmbH, Stuttgart                              England
 781. recusana GmbH, Stuttgart                         817. Schutzengelapotheke Neufeld Mag.
 782. Regenbogenapotheke "Am Leberberg"                     Schweifer KG, LG Eisenstadt
      Mag. pharm. Andreas Portisch KG, HG              818. Scrip Pak, LLC (Linear Holdings, LLC)
      Wien                                             819. Script2U Holdings LLC
 783. RelayHealth Corporation (McKesson                820. Script2U LLC
      Information Solutions LLC)                       821. ScriptHero LLC
 784. Renoir Acquisition Corporation                   822. ScriptHero Pharmacy Holdings LLC
 785. Renoir Acquisition Corporation (DE)              823. ScriptHero Pharmacy LLC
 786. RESEAU SANTE, BREST                              824. Select RX, LLC (Linear Holdings, LLC)
 787. RetraceHealth, Inc.                              825. SelectPlus Oncology, LLC
 788. Rexall Pharmacy Group Ltd.                       826. Sens Arbeidsinkludering AS
 789. Rexall/Pharma Plus Pharmacies (BC) Ltd.          827. Sens Eiendom AS
 790. Rexall/Pharma Plus Pharmacies (Sask)             828. Sens Gruppen AS
      Ltd.                                             829. Sens Utvikling AS


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 830. SERVICE DE LA REPARTITION                        863. Stat RX USA, LLC (Linear Holdings,
      PHARMACEUTIQUE, Paris                                 LLC)
 831. SF Valley Derm Equipment I, LLC                  864. STATIM FINANCE LIMITED, England
 832. Sherman Oaks Radiation Oncology, LLC             865. STEPHEN SMITH LIMITED, Guernsey
      (Vantage Oncology Treatment Centers,             866. Sterling Medical Services, LLC
      LLC)                                                  (McKesson Patient Care Solutions Inc.)
 833. Sherman Oaks Radiation Technology,               867. STQ LLC
      LLC (Vantage Oncology Treatment                  868. Strategic Health Alliance II, Inc.
      Centers, LLC)                                    869. Strategic Health Alliance Management
 834. Shoup Properties, Inc.                                Corp.
 835. SHS V Medtech Investments GmbH &                 870. Strategic Sourcing Services LLC
      Co. KG                                           871. Streator Radiation Oncology, LLC
 836. Simply Medical LLC                               872. Stubaital-Apotheke Mag.pharm. Christian
 837. SIVEM Pharmaceuticals ULC/SIVEM                       Kernstock KG, LG Innsbruck
      Produits Pharmaceutiques ULC                     873. Summa Script LLC
 838. Six R Investments, Inc.                          874. Sund Apotek AS
 839. SOCIETE COOPERATIVE OUEST                        875. SUPERFIELD LIMITED, England
      PARTAGE, BREST                                   876. Supplylogix LLC
 840. SOCIETE D`ETUDES ET DE                           877. T AND I WHITE LIMITED, England
      REALISATIONS INFORMATIQUES,                      878. T. Sheridan Sales & Marketing, Dublin
      Monaco                                           879. Tabor Apotheke Mag. pharm. Wolfram
 841. Sofarmex BVBA, Belgium                                Schaden KG, LG Steyr
 842. Sofiadis SCRL, Belgium                           880. Targa Parent Holdings, LLC
 843. Soldier Acquisition Corporation                  881. TBC Products, Inc.
 844. SOPI The Lough Limited, Ireland                  882. Temperature Controlled Pharmaceuticals
 845. SOPI Youghal Limited, Ireland                         Limited
 846. SourceTenn LLC                                   883. Test Corporation changed 2 GM 3 AG
 847. South Alabama Cancer Centers, LLC                884. Test Entity - Corporation
 848. South Bay Radiation Oncology, LLC                885. Test Entity - Corporation (Glenette)
 849. South Pacific Medical Inc.                       886. Test Entity - LLC (Anne)
 850. Southeast Merger Corp.                           887. Test Entity - LLC (Glenette)
 851. Southeast Texas Cancer Centers, L.P.             888. Test Entity - LLC (Karen)
 852. Southern California Radiation Oncology,          889. Test Entity - LLC (Melissa)
      LLC                                              890. Test Entity - LP
 853. Spider Acquisition Corporation                   891. Test Entity - Manager LLC
 854. Spirit Acquisition Corporation                   892. Test Entity - Member LLC
 855. Spring Valley Industries, LLC                    893. Test Entity - Parent Corporation
 856. St. Louis Pharmaceutical Services, LLC           894. Texas Pharmaceutical Services, LLC
 857. St. Lucas-Apotheke Mag.pharm. Ilona              895. Texas Proton Therapy Center, LLC
      Elisabeth Leitner KG, HG Wien                    896. The Oregon Cancer Centers, Ltd.
 858. St. Markus Apotheke Dr. Elke                     897. Theratech, Inc. (McKesson Medical-
      Kramberger-Kaplan KG, LG Linz                         Surgical Top Holdings Inc.)
 859. St. Richard Apotheke Mag.pharm. Ursula           898. Thriftymed, Inc. (McKesson Medical-
      Kohl KG, Landesgericht Korneuburg                     Surgical Top Holdings Inc.)
 860. Stadion-Apotheke Mag. pharm. Ulrike              899. THURNBY ROSE LIMITED, England
      Grosser-Schmidt KG, LG St. Pölten                900. Titus Home Health Care LLC
 861. Stadt-Apotheke "Zur heiligen Barbara"            901. Tjellesen Max Jenne A/S, Rodovre
      Mag. pharm. Igor Mauritsch KG, Austria           902. Todin A/S, Denmark
 862. Stadtapotheke Fürstenfeld Mag. pharm.            903. TOPS Pharmacy Services, Inc.
      Waltraud Maier KG, Landesgericht Graz            904. Tower Radiation Technology, LLC
                                                       905. Tracer Enterprises LLC


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 906. Tri-State Radiation Oncology Centers,             941. Vantage Cancer Centers of Georgia, LLC
      LLC                                               942. Vantage Central Ohio Radiation Therapy,
 907. Tuna Acquisition Corp.                                 LLC
 908. Tyler Radiation Equipment Leasing, LLC            943. Vantage Equipment Acquisition, LLC
 909. Unicare Dispensers 16 Limited, Ireland            944. Vantage Exton Radiation Oncology, LLC
 910. Unicare Dispensers 27 Limited, Ireland            945. Vantage Medical Management Services,
 911. Unicare Dispensers 5 Limited, Ireland                  LLC
 912. Unicare Pharmacy Group Limited, Dublin            946. Vantage Mokena Radiation Oncology,
 913. United Drug (Wholesale) Limited                        LLC
 914. United Drug Distributors Ireland Limited          947. Vantage Oncology - Brooklyn, LLC
 915. Unity Oncology, LLC                               948. Vantage Oncology Centers - Beverly
 916. Urbani-Apotheke Mag. pharm. Bernhard                   Hills, LLC
      Prattes KG, LG Graz                               949. Vantage Oncology Finance Co. (Vantage
 917. US Oncology Corporate, Inc.                            Oncology, LLC)
 918. US Oncology Holdings, Inc.                        950. Vantage Oncology Holdings, LLC
 919. US Oncology Lab Services, LLC                     951. Vantage Oncology LLC PAC Corporation
 920. US Oncology Pharmaceutical Services,              952. Vantage Oncology Physics, LLC
      LLC                                               953. Vantage Oncology Treatment Centers -
 921. US Oncology Pharmacy GPO, L.P.                         Brevard, LLC
 922. US Oncology Reimbursement Solutions,              954. Vantage Oncology Treatment Centers -
      LLC                                                    Brockton, LLC
 923. US Oncology Research, Inc. (US                    955. Vantage Oncology Treatment Centers -
      Oncology Research, LLC)                                Central Florida, LLC (Vantage Oncology
 924. US Oncology Research, LLC                              Treatment Centers, LLC)
 925. US Oncology Specialty, LP                         956. Vantage Oncology Treatment Centers -
 926. US Oncology, Inc.                                      Northern Arizona, LLC
 927. USCITA LIMITED, England                           957. Vantage Oncology Treatment Centers -
 928. USON Insurance Company                                 Ohio, LLC (Vantage Oncology Treatment
 929. USON Risk Retention Group, Inc.                        Centers, LLC)
 930. Utah Acquisition Corporation                      958. Vantage Oncology Treatment Centers -
 931. Valley Equipment Company                               San Antonio, LLC (Vantage Oncology
 932. Vantage Acquisition Company, LLC                       Treatment Centers, LLC)
      (Vantage Oncology, LLC)                           959. Vantage Oncology Treatment Centers -
 933. Vantage Acquisition Finance, LLC                       Tri-State, LLC
      (Vantage Oncology, LLC)                           960. Vantage Oncology Treatment Centers,
 934. Vantage Cancer Care - Alabama, LLC                     LLC
      (Vantage Cancer Care Networks, LLC)               961. Vantage Oncology, LLC
 935. Vantage Cancer Care - Indiana, LLC                962. Vantage Operational Support Services,
      (Vantage Cancer Care Networks, LLC)                    LLC
 936. Vantage Cancer Care - New Mexico, LLC             963. Vantage Radiation Oncology Associates,
      (Vantage Cancer Care Networks, LLC)                    LLC
 937. Vantage Cancer Care Network of                    964. Vantage San Antonio Radiation
      Alabama, LLC (Vantage Cancer Care                      Oncology, LLC (Vantage Oncology
      Networks, LLC)                                         Treatment Centers - San Antonio, LLC)
 938. Vantage Cancer Care Network of Indiana,           965. Vantage South Suburban Radiation
      LLC (Vantage Cancer Care Networks,                     Oncology, LLC
      LLC)                                              966. VC Services, Inc.
 939. Vantage Cancer Care Network of New                967. VEC GP, LLC
      Mexico, LLC (Vantage Cancer Care                  968. VerbalCare, LLC
      Networks, LLC)                                    969. Verdal Apotek AS
 940. Vantage Cancer Care Networks, LLC                 970. Very Important Products, Inc.


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 971. Visitacion Associates
 972. Vitapharm, proizvodnja in trgovina
       farmacevtskih izdelkov d.o.o., Murska
       Sobota
 973. Vitusapotek Jessheim Storsenter AS
 974. Vitus-Apoteket Torvbyen Fredrikstad AS
 975. VOTC-Queens, LLC
 976. Vulcan Acquisition Subsidiary, Inc.
 977. W H CHANTER LIMITED, England
 978. W H GREEN (CHEMISTS) LIMITED,
       England
 979. W JAMIESON (CHEMISTS) LIMITED,
       England
 980. W.H.C.P. (DUNDEE) LIMITED,
       Scotland
 981. Walsh Distribution, L.L.C.
 982. Walsh Healthcare Solutions LLC
 983. Walsh Healthcare Solutions, Inc.
 984. Walsh Heartland, L.L.C.
 985. Walsh Southwest L.L.C.
 986. Well.ca ULC
 987. West Florida Radiation Therapy, LLC
 988. West Wholesale Drug Co.
 989. WESTCLOSE LIMITED, England
 990. Western Tumor Radiation Oncology, LLC
       (Vantage Oncology Treatment Centers,
       LLC)
 991. Westside LA Derm Equipment I, LLC
 992. WFCC Radiation Management Company,
       LLC
 993. Wickham Radiation Oncology, LLC
       (Vantage Oncology Treatment Centers,
       LLC)
 994. Wiley Industries, LLC
 995. Wilkes Barre Radiation Technology, LLC
       (Vantage Oncology Treatment Centers,
       LLC)
 996. Wilkes-Barre Radiation Oncology, LLC
 997. Windmill Realty, LLC
 998. WOODSIDE PHARMACY (GLASGOW)
       LIMITED, Scotland
 999. World Medical Government Solutions,
       LLC
 1000. WorldMed Shared Services, Inc.
 1001. WZ-WundZentren GmbH, AG Düsseldorf
 1002. Ybbstal-Apotheke Mag.pharm. Adelheid
       Tazreiter KG, LG St. Pölten
 1003. Zeepro, Inc.




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                                            EXHIBIT K

                           Subdivision Settlement Participation Form

  Governmental Entity:                                                  State:
  Authorized Official:
  Address 1:
  Address 2:
  City, State, Zip:
  Phone:
  Email:

        The governmental entity identified above (“Governmental Entity”), in order to obtain and
 in consideration for the benefits provided to the Governmental Entity pursuant to the Settlement
 Agreement dated July 21, 2021 (“Distributor Settlement”), and acting through the undersigned
 authorized official, hereby elects to participate in the Distributor Settlement, release all Released
 Claims against all Released Entities, and agrees as follows.

    1. The Governmental Entity is aware of and has reviewed the Distributor Settlement,
       understands that all terms in this Participation Form have the meanings defined therein,
       and agrees that by signing this Participation Form, the Governmental Entity elects to
       participate in the Distributor Settlement and become a Participating Subdivision as
       provided therein.

    2. The Governmental Entity shall, within 14 days of the Reference Date and prior to the
       filing of the Consent Judgment, secure the dismissal with prejudice of any Released
       Claims that it has filed.

    3. The Governmental Entity agrees to the terms of the Distributor Settlement pertaining to
       Subdivisions as defined therein.

    4. By agreeing to the terms of the Distributor Settlement and becoming a Releasor, the
       Governmental Entity is entitled to the benefits provided therein, including, if applicable,
       monetary payments beginning after the Effective Date.

    5. The Governmental Entity agrees to use any monies it receives through the Distributor
       Settlement solely for the purposes provided therein.

    6. The Governmental Entity submits to the jurisdiction of the court in the Governmental
       Entity’s state where the Consent Judgment is filed for purposes limited to that court’s role
       as provided in, and for resolving disputes to the extent provided in, the Distributor
       Settlement. The Governmental Entity likewise agrees to arbitrate before the National
       Arbitration Panel as provided in, and for resolving disputes to the extent otherwise
       provided in, the Distributor Settlement.




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    7. The Governmental Entity has the right to enforce the Distributor Settlement as provided
       therein.

    8. The Governmental Entity, as a Participating Subdivision, hereby becomes a Releasor for
       all purposes in the Distributor Settlement, including, but not limited to, all provisions of
       Part XI, and along with all departments, agencies, divisions, boards, commissions,
       districts, instrumentalities of any kind and attorneys, and any person in their official
       capacity elected or appointed to serve any of the foregoing and any agency, person, or
       other entity claiming by or through any of the foregoing, and any other entity identified in
       the definition of Releasor, provides for a release to the fullest extent of its authority. As a
       Releasor, the Governmental Entity hereby absolutely, unconditionally, and irrevocably
       covenants not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or
       claimed, or to otherwise seek to establish liability for any Released Claims against any
       Released Entity in any forum whatsoever. The releases provided for in the Distributor
       Settlement are intended by the Parties to be broad and shall be interpreted so as to give
       the Released Entities the broadest possible bar against any liability relating in any way to
       Released Claims and extend to the full extent of the power of the Governmental Entity to
       release claims. The Distributor Settlement shall be a complete bar to any Released
       Claim.

    9. The Governmental Entity hereby takes on all rights and obligations of a Participating
       Subdivision as set forth in the Distributor Settlement.

    10. In connection with the releases provided for in the Distributor Settlement, each
        Governmental Entity expressly waives, releases, and forever discharges any and all
        provisions, rights, and benefits conferred by any law of any state or territory of the
        United States or other jurisdiction, or principle of common law, which is similar,
        comparable, or equivalent to § 1542 of the California Civil Code, which reads:


           General Release; extent. A general release does not extend to claims that
           the creditor or releasing party does not know or suspect to exist in his or
           her favor at the time of executing the release, and that if known by him or
           her would have materially affected his or her settlement with the debtor or
           released party.

       A Releasor may hereafter discover facts other than or different from those which it
       knows, believes, or assumes to be true with respect to the Released Claims, but each
       Governmental Entity hereby expressly waives and fully, finally, and forever settles,
       releases and discharges, upon the Effective Date, any and all Released Claims that may
       exist as of such date but which Releasors do not know or suspect to exist, whether
       through ignorance, oversight, error, negligence or through no fault whatsoever, and
       which, if known, would materially affect the Governmental Entities’ decision to
       participate in the Distributor Settlement.




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    11. Nothing herein is intended to modify in any way the terms of the Distributor Settlement,
        to which Governmental Entity hereby agrees. To the extent this Participation Form is
        interpreted differently from the Distributor Settlement in any respect, the Distributor
        Settlement controls.

 I have all necessary power and authorization to execute this Participation Form on behalf of the
 Governmental Entity.

                                      Signature:      _____________________________

                                      Name:           _____________________________

                                      Title:          _____________________________

                                      Date:           _____________________________




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                                                    EXHIBIT L

                                        Settlement Fund Administrator

       I.   Definitions
               A. This Settlement Fund Administrator Terms incorporates all defined terms in the
                  Distributor Settlement Agreement, unless otherwise defined herein, and shall be
                  interpreted in a manner consistent with the Distributor Settlement Agreement.
               B. Directed Trustee. The banking institution where the Settlement Fund is established and
                  which distributes the funds according to the instructions of the Directing Administrator. 17
               C. Directing Administrator. The institution or individual that fulfills the remaining
                  obligations of the Settlement Fund Administrator, other than those performed by the
                  Directed Trustee.
               D. Settlement Fund Administrator. The Directed Trustee together with the Directing
                  Administrator (collectively referred to as the “Settlement Fund Administrators”).
               E. Settlement Fund Escrow. The escrow account established between the Settling
                  Distributors and U.S. Bank National Association as of September 24, 2021, or such other
                  escrow account that may be established pursuant to the Agreement to hold disputed or
                  suspended payments made under the Agreement.


      II.   Establishment of the Settlement Fund Administrator
               A. Selection of the Settlement Fund Administrators.
                           i. The duties of the Settlement Fund Administrator under the Distributor Settlement
                              Agreement will be divided between Directed Trustee and Directing
                              Administrator.
                          ii. The Directed Trustee and Directing Administrator will each be selected through a
                              targeted solicitation process. Criteria for selection will include, but not be
                              limited to, institutional strength; potential institutional conflicts; experience with
                              work of similar size and complexity; capacity to handle the scope of work;
                              staffing and other proposed resources; and cost and pricing proposals. The
                              selection process will include written submissions and interviews.
                      iii. Within sixty (60) calendar days of the selection of the Settlement Fund
                           Administrators, unless such time is extended by written agreement of the Settling
                           Distributors and the Enforcement Committee, contracts shall be negotiated and
                           finalized with the Directed Trustee and Directing Administrator.
                          iv. The terms of the Directed Trustee and Directing Administrator shall be for the
                              duration of the Distributor Settlement Agreement or as otherwise specified in the
                              contract executed with such entity, unless the Directed Trustee or the Directing
                              Administrator is removed pursuant to Section II.C below.
               B. Governance of the Settlement Fund Administrators.

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   Pursuant to the Letter Agreement dated February 25, 2022, Wilmington Trust, N.A. was selected as the Directed
 Trustee.


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                  i. The Settlement Fund Administrators will act as independent and neutral third
                     parties to determine Annual Payment and Participation Tier; administer and
                     disburse funds from the Abatement Accounts Fund, State Fund, Subdivision
                     Fund and Additional Restitution Amount; and perform other duties as described
                     below and in the Distributor Settlement Agreement.
                 ii. All parties to the Distributor Settlement Agreement are entitled to rely upon
                     information received from the Settlement Fund Administrators, whether in oral,
                     written, or other form. No Party to the Distributor Settlement Agreement shall
                     have any liability (whether direct or indirect, in contract or tort or otherwise) to
                     any party for or in connection with any action taken or not taken by the
                     Settlement Fund Administrators. In addition, no Party to the Distributor
                     Settlement Agreement shall have any liability (whether direct or indirect, in
                     contract or tort or otherwise) to any party for or in connection with any action
                     taken or not taken by a Settling Distributor based on incorrect, inaccurate,
                     incomplete or otherwise erroneous information or data provided by the
                     Settlement Fund Administrators. For the avoidance of doubt, nothing in this
                     paragraph alters Sections I to XIV of the Distributor Settlement Agreement or
                     any of the exhibits therein.
          C. Removal of the Settlement Fund Administrators.
                  i. The Directed Trustee or Directing Administrator may be removed for cause. The
                     contracts with each entity shall describe the standards for removing that entity for
                     cause.
                 ii. Disputes regarding the performance and/or removal of the Settlement Fund
                     Administrators will be resolved by the National Arbitration Panel in accordance
                     with Section VI.F of the Distributor Settlement Agreement.
          D. Funding of the Settlement Fund Administrators.
                  i. The costs and fees associated with or arising out of the duties of the Settlement
                     Fund Administrators, including third-party costs associated with the selection of
                     the Settlement Fund Administrators and the set-up of the Settlement Fund
                     Escrow, shall be paid from the interest accrued in the Settlement Fund Escrow
                     and the Settlement Fund. For the years that Settlement Fund Administrators are
                     used for the Janssen Settlement Agreement, seventy-five percent (75%) of the
                     costs and fees will be attributed to the Distributer Settlement Agreement.
                 ii. In the event that the costs and fees of the Settlement Fund Administrators
                     exceeds the accrued interest available, Settling Distributors shall pay fifty percent
                     (50%) of the additional amount and fifty percent (50%) shall be paid out of the
                     Settlement Fund pursuant to Section V.C.5 of the Distributor Settlement
                     Agreement. The Settling Distributors will pay their amount to the Settlement
                     Fund Administrators alongside the Annual Payment.
                 iii. Payments due from the Settling Distributors under this Section II.D shall be
                      allocated evenly among the Settling Distributors. For the avoidance of doubt,
                      each Settling Distributor’s liability for its share of the costs and fees is several,
                      and not joint. No Settling Distributor shall be responsible for any portion of
                      another Settling Distributor’s share.
                 iv. There will be a cap on the costs and fees of the Settlement Fund Administrators,
                     which shall be dependent on the scope of services, the number and timing of



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                       distributions from the Settlement Fund, and the Settlement Fund Administrators’
                       reporting requirements. The cap on fees and costs shall be specified in the
                       contracts executed with each of the Directed Trustee and Directing
                       Administrator.
                   v. Representatives of the Enforcement Committee and the Settling Distributors shall
                      negotiate a “not to exceed” budget with the Settlement Fund Administrators and
                      have the right to review the costs and fees of the Settlement Fund Administrators
                      upon request. The deadlines and grounds for reviewing and objecting to such
                      costs and fees will be established in the contracts executed with each of the
                      Directed Trustee and Directing Administrator. Disputes regarding the payment of
                      such costs and fees will be resolved by the National Arbitration Panel in
                      accordance with Section VI.F of the Distributor Settlement Agreement.


 III.   Participation in the Distributor Settlement Agreement
           A. Repository for Subdivision Settlement Participation Forms.
                   i. The Directing Administrator is responsible for receiving and preserving the
                      Subdivision Settlement Participation Forms pursuant to Section VII.B of the
                      Distributor Settlement Agreement. The Directing Administrator is responsible
                      for ensuring newly received forms are properly executed. For forms executed and
                      accepted prior to the retention of the Directing Administrator, the Directing
                      Administrator shall rely on information provided by Rubris as to the proper
                      execution of the forms unless it is provided information that indicates such
                      information is incorrect.
                   ii. Within sixty (60) calendar days of its retention, the Directing Administrator shall
                       establish a process to receive, preserve, and review the Subdivision Settlement
                       Participation Forms. The Directing Administrator is encouraged, in the interests
                       of efficiency and so long as financially reasonable, to continue to utilize Rubris
                       and the processes previously implemented by the Settling Distributors and
                       Enforcement Committee to fulfill its obligations under this Section III.A. The
                       Directing Administrator may rely on the information provided by Rubris unless it
                       is provided information that indicates such information is incorrect.
                  iii. After the Reference Date, the Directing Administrator will make the Subdivision
                       Settlement Participation Forms available to the Settling Distributors, the
                       Enforcement Committee, and the Settling States through Rubris, or another
                       online platform. If the requirements for preserving and making available the
                       Subdivision Settlement Participation Forms change, the Enforcement Committee
                       will convey any new requirements to the Directing Administrator which will
                       make the change.
                  iv. The Directing Administrator shall promptly respond to requests by the Settling
                      Distributors, Enforcement Committee, or the Settling States for information
                      concerning the Subdivision Settlement Participation Forms. The Directing
                      Administrator will notify the Settling Distributors, Enforcement Committee, and
                      the Settling States on a regular basis when additional Subdivision Settlement
                      Participation Forms are submitted unless such information is readily available to
                      the Parties on the online platform established under Section III.A.iii.




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                  v. The Directing Administrator shall provide quarterly reports pursuant to Section
                     VII.C of the Distributor Settlement Agreement for Settling States that require
                     information regarding contingency fee contracts on their Subdivision Settlement
                     Participation Form. Upon reasonable request, the Directing Administrator shall
                     also provide reasonably available information to Settling States and Participating
                     Subdivisions relevant to calculating amounts owed under a State Back-Stop
                     Agreement.
          B. Determination of the Participation Tier.
                  i. The Directing Administrator shall determine the Participation Tier existing on
                     July 1, 2022 applying the criteria set forth in Exhibit H of the Distributor
                     Settlement Agreement. The Directing Administrator shall notify the Settling
                     Distributors and the Enforcement Committee of the Participation Tier within five
                     (5) calendar days of its determination.
                          1. If the Settling Distributors and the Enforcement Committee agree as to
                             the Participation Tier, they shall so inform the Directing Administrator,
                             and such agreement shall satisfy the Directing Administrator’s
                             obligations under this Section III.B.i.
                 ii. The Directing Administrator shall redetermine the Participation Tier annually as
                     of the Payment Date, beginning with Payment Year 3, pursuant to the criteria set
                     forth in Exhibit H of the Distributor Settlement Agreement.
                          1. In the event that a Participation Tier redetermination moves the
                             Participation Tier higher, and that change is in whole or in part as a result
                             of the post-Reference Date enactment of a Bar and there is later a
                             Revocation Event with respect to such Bar, then on the next Payment
                             Date that is at least one hundred eighty (180) calendar days after the
                             Revocation Event, the Directing Administrator shall move the
                             Participation Tier down to the Participation Tier that would have applied
                             had the Bar never been enacted, unless the Bar is reinstated or all
                             Subdivisions affected by the Revocation Event become Participating
                             Subdivisions within one hundred eighty (180) calendar days of the
                             Revocation Event. This is the sole circumstance in which, on a
                             nationwide basis, the Participation Tier can move down.
                          2. In the event that there is a post-Reference Date Revocation Event with
                             respect to a Bar that was enacted in a Settling State prior to the Reference
                             Date, then, on the next Payment Date that is at least one hundred eighty
                             (180) calendar days after the Revocation Event, unless the Bar is
                             reinstated or all Subdivisions affected by the Revocation Event become
                             Participating Subdivisions within one hundred eighty (180) calendar days
                             of the Revocation Event, the Directing Administrator shall decrease the
                             Participation Tier – solely for the State in which the Revocation Event
                             occurred – to the Participation Tier commensurate with the percentage of
                             Litigating Subdivisions in that State that are Participating Subdivisions
                             and the percentage of Non-Litigating Subdivisions that are both Primary
                             Subdivisions and Participating Subdivisions, according to the criteria set
                             forth in Exhibit H of the Distributor Settlement Agreement, except that
                             the calculations shall be performed as to that State alone. For the
                             avoidance of doubt and solely for the calculation in this subparagraph,
                             the Settling States Column of Exhibit H of the Distributor Settlement


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                               Agreement shall play no role. This is the sole circumstance in which one
                               Settling State will have a different Participation Tier than other Settling
                               States.
                           3. The redetermination of the Participation Tier shall not affect payments
                              already made or suspensions, offsets, or reductions already applied.
                           4. After each redetermination, the Directing Administrator shall notify the
                              Settling Distributors and the Enforcement Committee of the Participation
                              Tier within five (5) calendar days of its determination.
                           5. If the Settling Distributors and the Enforcement Committee agree as to a
                              Participation Tier redetermination, they shall so inform the Directing
                              Administrator and such agreement shall satisfy the Directing
                              Administrator’s obligations under this Section III.B.ii.
                  iii. After Payment Year 6, the Participation Tier cannot move higher, unless this
                       restriction is waived by the Settling Distributors. If this restriction is waived by
                       the Settling Distributors, the Directing Administrator shall be responsible for
                       calculating the Participation Tier consistent with the instructions in Section
                       III.B.ii.
                  iv. Any disputes as to the determination of the Participation Tier shall be decided by
                      the National Arbitration Panel pursuant Section VI.F.2 to the Distributor
                      Settlement Agreement.


  IV.   Calculation and Allocation of Annual Payments
           A. General Principles.
                   i. This Section IV is intended to implement the relevant provisions of Sections I
                      through XIV of the Distributor Settlement Agreement and the exhibits therein.
                      To the extent this Section IV conflicts with Sections I through XIV of the
                      Distributor Settlement Agreement and the exhibits therein, the Distributor
                      Settlement Agreement shall control.
                  ii. The Settlement Fund Administrators are entitled to rely upon information
                      received from the Parties to the Distributor Settlement Agreement, whether in
                      oral, written, or other form, for the purpose for which it was submitted, provided
                      that such information is not disputed by another Party.
                  iii. The Settling Distributors and the Enforcement Committee may agree to some or
                       all of the calculations and allocations set forth in this Section IV prior to the
                       Directing Administrator making such determination. In such cases, they shall so
                       inform the Directing Administrator and such agreement shall satisfy the
                       Directing Administrator’s obligations to determine such calculations and
                       allocations unless the Directing Administrator is provided with information
                       establishing that the agreed-upon calculation or allocation is inaccurate.
                  iv. The Settling States have different requirements for how payments are made to the
                      State and its Participating Subdivisions listed in Exhibit G based on applicable
                      State-Subdivision Agreements, Allocation Statutes, Statutory Trusts, State Back-
                      Stop Agreements, fiscal laws, and other differences. The Directing
                      Administrator shall ask the Attorney General’s Office in each Settling State to:
                      (a) inform it whether the State has a State-Subdivision Agreement, Allocation


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                    Statute, and/or Statutory Trust; and (b) submit instructions on how payments are
                    to be made to the State and its Participating Subdivisions listed on Exhibit G of
                    the Distributor Settlement Agreement. The Directing Administrator shall comply
                    with such instructions so long as it is timely submitted and permissible under
                    Sections I through XIV of the Distributor Settlement Agreement and the exhibits
                    therein.
                         1. Notwithstanding the above, the Directing Administrator shall not instruct
                            the Directed Trustee to make payments to any entity that is not an
                            instrumentality of: (a) a Settling State; (b) a Participating Subdivision;
                            (c) a trust account for an attorney representing a Settling State or
                            Participating Subdivision; or (d) a special master or similar entity
                            identified by a Settling State.
                         2. A Participating Subdivision listed on Exhibit G of the Distributor
                            Settlement Agreement may timely choose to make a voluntary
                            redistribution as provided by Section V.D.3 of the Distributor Settlement
                            Agreement by providing notice through the instructions provided by the
                            Attorney General’s Office for its State or by providing notice directly to
                            the Directing Administrator through the instructions provided by the
                            Directing Administrator.
                 v. The Directing Administrator shall request any Settling State without a State-
                    Subdivision Agreement, Allocation Statute, or Statutory Trust, to submit a
                    designation of a lead State agency or other entity to serve as the single point of
                    contact for that Settling State’s funding requests from the Abatement Accounts
                    Fund to comply with Section V.D.4.b of the Distributor Settlement Agreement.
                    The designated entity shall be the only entity authorized to request the Directing
                    Administrator instruct the Directed Trustee to disburse from that Settling State’s
                    Abatement Accounts Fund. The Directing Administrator shall not instruct the
                    Directed Trustee to disburse any moneys from these Settling States’ Abatement
                    Accounts Fund without such instructions.
                vi. In consultation with the Settling Distributors and the Enforcement Committee,
                    the Directing Administrator may set reasonable limits on the frequency with
                    which it directs the Directed Trustee to make payments and may set other
                    reasonable restrictions on complying with requests made by Settling States or
                    their Participating Subdivisions, to limit the burdens and costs imposed on the
                    Settlement Fund Administrators.
          B. Payment Year 1 Annual Payment.
                 i. The Settlement Fund Administrators shall be responsible for allocating the
                    Annual Payment for Payment Year 1 among Settling States and Participating
                    Subdivisions listed in Exhibit G of the Distributor Settlement Agreement.
                 ii. The Settling Distributors have placed into the Settlement Fund Escrow the
                     Annual Payment (the total amount of the base payment and Incentive Payment A
                     due for the Settling States) for Payment Year 1.
                         1. This is the Restitution/Abatement amount specified in Exhibit M of the
                            Distributor Settlement Agreement for Payment Year 1, reduced by the
                            allocable share of Non-Settling States provided in Exhibit F of the
                            Distributor Settlement Agreement.



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                iii. In the event that, in accordance with the terms of Section VIII.A of the
                     Distributor Settlement Agreement, the Settling Distributors determine not to
                     proceed with the Distributor Settlement Agreement, or the Distributor Settlement
                     Agreement does not become effective for any other reason, the Settlement Fund
                     Escrow shall immediately revert to the Settling Distributors.
                iv. If the condition set forth in Section VIII.A of the Distributor Settlement
                    Agreement is met, the Directing Administrator shall proceed as follows:
                        1. The Directing Administrator shall allocate the Annual Payment for
                           Payment Year 1 among the Settling States and their Participating
                           Subdivisions listed on Exhibit G of the Distributor Settlement
                           Agreement.
                                 a. The Directing Administrator shall determine each Settling
                                    State’s overall allocation using the allocation percentages in
                                    Exhibit F of the Distributor Settlement Agreement.
                                 b. The Directing Administrator shall determine the allocations
                                    within each Settling State pursuant to Section V.C, Section V.D
                                    and Exhibit G of the Distributor Settlement Agreement, taking
                                    into account the instructions it has received pursuant to Section
                                    IV.A.iv, above.
                                 c. If a Settling State and its Participating Subdivisions agree as to
                                    the intrastate allocation pursuant to Section V.C, Section V.D
                                    and Exhibit G of the Distributor Settlement Agreement, the
                                    Attorney General’s Office in the Settling State shall so inform
                                    the Settlement Fund Administrators and such agreement shall
                                    satisfy the Directing Administrator’s obligations under Section
                                    IV.B.iv.1.b, above, provided the Settling Distributors do not
                                    object.
                        2. At least fifty (50) calendar days prior to any payment distributions, the
                           Settling Distributors, the Settling States, and the Enforcement Committee
                           shall receive notice of: (a) the amount to be received by each Settling
                           State; (b) the amount to be received by the separate types of funds for
                           each Settling State (if applicable); and (c) the amount to be received by
                           each Participating Subdivision in the Settling States that is listed on
                           Exhibit G of the Distributor Settlement Agreement and eligible to receive
                           payments; provided, however, payment distributions to Settling States to
                           which Section IV.B.iv.1.c, above, applies shall be made as soon as the
                           notice is provided if the Settling Distributors and the Enforcement
                           Committee have agreed, pursuant to Section IV.A.iii, above, on the
                           amount to be received by each Settling State.
                        3. The Annual Payment for Payment Year 1 shall be transferred from the
                           Settlement Fund Escrow to the Settlement Fund on the Effective Date;
                           provided, however, that any amounts allocated to Subdivisions included
                           on Exhibit G that are not Participating Subdivisions shall remain in the
                           Settlement Fund Escrow until the Payment Date for Payment Year 2.
                        4. The Directing Administrator shall provide instructions regarding the
                           distribution of the Annual Payment to the Directed Trustee, which shall
                           distribute the funds on, or as soon as practicable after, the Effective Date


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                             unless the requests made pursuant to Section IV.A.iv and .v, above,
                             provide otherwise; provided, however, that for any Settling State where
                             the Consent Judgment has not been entered as of the Effective Date, the
                             funds allocable to that Settling State and its Participating Subdivisions
                             shall not be transferred from the Settlement Fund or disbursed until ten
                             (10) calendar days after the entry of the Consent Judgment in that State;
                             provided further that any amounts allocated to a Participating
                             Subdivision that has not yet secured dismissal with prejudice of its
                             lawsuit as required under Section VII.C of the Distributor Settlement
                             Agreement shall not be transferred or disbursed until the Participating
                             Subdivision has secured such dismissal. The Settling Distributors shall
                             notify the Directing Administrator if they believe a Participating
                             Subdivision has not yet secured dismissal with prejudice of its lawsuit as
                             required under Section VII.C of the Distributor Settlement Agreement. If
                             so notified, the Directing Administrator will notify the Participating
                             Subdivision.
                 v. The Settlement Fund Administrators shall also be responsible for allocating the
                    Additional Restitution Amount for Payment Year 1 among Settling States listed
                    in Exhibit N of the Distributor Settlement Agreement. The Directing
                    Administrator shall account for the instructions it has received pursuant to
                    Section IV.A.iv, above in directing the Directed Administrator’s distribution of
                    this money.
          C. Payment Year 2 Annual Payment.
                 i. The Settlement Fund Administrators shall be responsible for allocating the
                    Annual Payment for Payment Year 2 among the Settling States and Participating
                    Subdivisions listed on Exhibit G of the Distributor Settlement Agreement.
                 ii. The Payment Date for Payment Year 2 is July 15, 2022.
                         1. The Directing Administrator shall provide notice to the Settling
                            Distributors of the amount owed by the Settling Distributors for the
                            Settlement Fund Administrators’ costs and fees for Payment Year 1 and
                            Payment Year 2 Annual Payments pursuant to Section II.D.ii, above, at
                            least fifty (50) calendar days before the Payment Date. On or before July
                            15, 2022, the Settling Distributors shall pay any additional amount from
                            Payment Year 1 and Payment Year 2 to the Settlement Fund
                            Administrators.
                         2. On or before July 15, 2022, the Settling Distributors shall pay into the
                            Settlement Fund the total amount of the base payment and Incentive
                            Payment A for the Settling States. This is the Restitution/Abatement
                            amount specified in Exhibit M of the Distributor Settlement Agreement
                            for Payment Year 2, reduced by the allocable share of Non-Settling
                            States provided in Exhibit F of the Distributor Settlement Agreement.
                iii. No later than fifty (50) calendar days, or as soon as practicable, prior to July 15,
                     2022, the Directing Administrator shall allocate the Annual Payment as follows:
                         1. The Directing Administrator shall use the data provided to it by the
                            Settling Distributors and the Enforcement Committee, which shall be
                            submitted to the Directing Administrator no later than sixty (60) calendar
                            days prior to the Payment Date, to fulfill its obligations under this


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                          Section IV.C and determine the allocations to Settling States and their
                          Participating Subdivisions listed on Exhibit G of the Distributor
                          Settlement Agreement.
                      2. The Directing Administrator shall subtract any amount owed out of the
                         Settlement Fund for Settlement Fund Administrator costs and fees for
                         Payment Year 1 and Payment Year 2, pursuant to Section II.D.ii, above.
                      3. The Directing Administrator shall allocate the remainder of the Annual
                         Payment for Payment Year 2 among the Settling States and their
                         Participating Subdivisions listed on Exhibit G of the Distributor
                         Settlement Agreement.
                              a. The Directing Administrator shall determine each Settling
                                 State’s overall allocation using the allocation percentages in
                                 Exhibit F of the Distributor Settlement Agreement.
                              b. The Directing Administrator shall determine the allocations
                                 within each Settling State pursuant to Section V.C, Section V.D
                                 and Exhibit G of the Distributor Settlement Agreement, taking
                                 into account the instructions it has received pursuant to Section
                                 IV.A.iv, above.
                              c. If a Settling State enacts a legislative Bar after the Initial
                                 Participation Date, but before July 15, 2022, a Subdivision that
                                 meets the requirements for becoming a Participating Subdivision
                                 under Section VII of the Distributor Settlement Agreement prior
                                 to July 15, 2022 (but was not an Initial Participating
                                 Subdivision) shall be eligible to receive its allocated share (if
                                 any) for Payment Year 2, and it shall also receive any amounts
                                 allocated to it for Payment Year 1 from the Settlement Fund
                                 Escrow.
                              d. If a Settling State and its Participating Subdivisions agree as to
                                 the intrastate allocation, the Attorney General’s Office in the
                                 Settling State shall so inform the Settlement Fund Administrators
                                 and such agreement shall satisfy the Directing Administrator’s
                                 obligations under Section IV.C.iii.3.b, above, provided the
                                 Settling Distributors do not object.
                      4. As soon as possible and at least fifty (50) calendar days prior to any
                         payment distributions, the Directing Administrator shall give notice to
                         the Settling Distributors, the Settling States, the Enforcement Committee,
                         and the Directed Trustee of the amount of: (a) the Annual Payment
                         (including the amount to be allocated to the Settlement Fund
                         Administrators in costs and fees); (b) the amount to be received by each
                         Settling State; (c) the amount to be received by the separate types of
                         funds for each Settling State (if applicable); and (d) the amount to be
                         received by each Settling State’s Participating Subdivisions listed on
                         Exhibit G of the Distributor Settlement Agreement; provided, however,
                         that if the Settling Distributors and the Enforcement Committee have
                         agreed on all of these amounts and submitted them to the Directing
                         Administrator pursuant to Section IV.A.iii, payment distributions may be
                         made as soon as this notice is provided. This notice to the Directed



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                             Trustee will include instructions for disbursement of the Annual Payment
                             within fifteen (15) calendar days of July 15, 2022, or at such later time as
                             directed by each Settling State to the Directing Administrator.
                         5. Within fifteen (15) calendar days of July 15, 2022 or at such later time as
                            directed by the Directing Administrator, the Directed Trustee shall
                            disburse the amounts due to each Settling State and to its Participating
                            Subdivisions listed on Exhibit G of the Distributor Settlement
                            Agreement; provided, however, that the Directing Administrator shall
                            instruct the Directed Trustee that any amounts allocated to a Participating
                            Subdivision that has not yet secured dismissal with prejudice of its
                            lawsuit as required under Section VII.C of the Distributor Settlement
                            Agreement shall not be transferred or disbursed until the Participating
                            Subdivision has secured such dismissal.- The Settling Distributors shall
                            notify the Directing Administrator if they believe a Participating
                            Subdivision has not yet secured dismissal with prejudice of its lawsuit as
                            required under Section VII.C of the Distributor Settlement Agreement. If
                            so notified, the Directing Administrator will notify the Participating
                            Subdivision.
                        6. Any amounts remaining in the Settlement Fund Escrow for allocations to
                           Subdivisions listed on Exhibit G of the Distributor Settlement Agreement
                           that have not become Participating Subdivisions after all payments for
                           Payment Year 2 are disbursed shall be transferred to the Settlement Fund
                           and disbursed by the Directed Trustee pursuant to the reallocation
                           provided by Section V.D.5 of the Distributor Settlement Agreement.
                iv. The Settlement Fund Administrators shall be also responsible for allocating the
                    Additional Restitution Amount for Payment Year 2 among Settling States listed
                    in Exhibit N of the Distributor Settlement Agreement. The Directing
                    Administrator shall account for the instructions it has received pursuant to
                    Section IV.A.iv, above in directing the Directed Administrator’s distribution of
                    this money.
          D. Years 3-18 Annual Payment.
                 i. In Payment Years 3-18, the Settlement Fund Administrators shall be responsible
                    for determining the Annual Payment, allocating the Annual Payment among
                    Settling States and Participating Subdivisions listed on Exhibit G of the
                    Distributor Settlement Agreement, and determining the amount owed by each
                    Settling Distributor.
                 ii. The Payment Date for Payment Year 3 and successive Payment Years is July 15
                     of the third and successive years.
                iii. No later than fifty (50) calendar days prior to the Payment Date, the Directing
                     Administrator shall determine the Annual Payment and the allocations as
                     follows:
                        1. The Directing Administrator shall use the data provided to it by the
                           Settling Distributors and the Enforcement Committee, which shall be
                           submitted to the Directing Administrator no later than sixty (60) calendar
                           days prior to the Payment Date, to fulfill its obligations under this
                           Section IV.D and determine the allocations to Settling States and their



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                          Participating Subdivisions listed on Exhibit G of the Distributor
                          Settlement Agreement.
                      2. The Directing Administrator shall determine, for each Settling State, the
                         amount of base and incentive payments to which the State is entitled.
                              a. The base payments will be equal to fifty-five percent (55%) of
                                 the Net Abatement Amount multiplied by the aggregate Overall
                                 Allocation Percentage of the Settling States in Exhibit F of the
                                 Distributor Settlement Agreement. These payments will be due
                                 in installments consistent with Exhibit M of the Distributor
                                 Settlement Agreement over the eighteen (18) Payment Years.
                              b. The Directing Administrator shall follow the steps outlined in
                                 Section IV.F of the Distributor Settlement Agreement to
                                 determine each Settling State’s eligibility for Incentive Payments
                                 A-D, which total up to a maximum of forty-five percent (45%)
                                 of the Net Abatement Amount multiplied by the aggregate
                                 Overall Allocation Percentage of the Settling States; provided,
                                 however, that, with respect to Payment Year 3, Settling States
                                 shall have up to the Payment Date to become eligible for
                                 Incentive Payment A and thus avoid the reductions set forth in
                                 Section XIII of the Distributor Settlement Agreement. If a
                                 Settling State enacts a Bar less than sixty (60) calendar days
                                 before the Payment Date for Payment Year 3, each Settling
                                 Distributor shall pay, within thirty (30) calendar days of the
                                 Payment Year 3 Payment Date, its allocable share of the
                                 difference between the Annual Payment as calculated by the
                                 Directing Administrator and the amount that would have been
                                 owed had the Settlement Fund Administrator taken the Bar into
                                 account.
                      3. The Directing Administrator shall apply any suspensions, offsets, or
                         reductions as specified under Section IV, Section XII, and Section XIII
                         of the Distributor Settlement Agreement, and allocate and track these
                         amounts so that they reduce payments to only those Settling States and
                         their Participating Subdivisions subject to the relevant suspension, offset,
                         or reduction.
                      4. The Directing Administrator shall apply any adjustment required as a
                         result of prepayment or significant financial constraint, as specified
                         under Section IV.J and Section IV.K of the Distributor Settlement
                         Agreement.
                      5. The Directing Administrator shall determine the amount of any
                         Settlement Fund Administrator costs and fees that exceed the accrued
                         interest in the Settlement Fund and Settlement Fund Escrow, as well as
                         the amounts, if any, of such costs and fees owed by Settling Distributors
                         and out of the Settlement Fund pursuant to Section II.D.ii, above.
                      6. The Directing Administrator shall determine the total amount owed by
                         Settling Distributors (including any amounts to be held in the Settlement
                         Fund Escrow pending resolution of a case by a Later Litigating
                         Subdivision as described in Section XII of the Distributor Settlement



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                          Agreement). Payments due from the Settling Distributors will be
                          allocated among the Settling Distributors as follows: McKesson – 38.1%;
                          Amerisource – 31.0%; Cardinal – 30.9%. For the avoidance of doubt,
                          each Settling Distributor’s liability for its share of the Annual Payment is
                          several, and not joint. No Settling Distributor shall be responsible for
                          any portion of another Settling Distributor’s share.
                      7. The Directing Administrator shall allocate the Annual Payment (other
                         than the amount owed for Settlement Fund Administrator costs and fees)
                         within the Settling States. The allocations within each Settling State will
                         be determined pursuant Section V.C, Section V.D and Exhibit G of the
                         Distributor Settlement Agreement, taking into account the instructions it
                         has received pursuant to Section IV.A.iv, above.
                              a. If a Settling State and its Participating Subdivisions agree as to
                                 the intrastate allocation, the Attorney General’s Office in the
                                 Settling State shall so inform the Settlement Fund Administrators
                                 and such agreement shall satisfy the Directing Administrator’s
                                 obligations under this Section IV.D.iii.7, provided the Settling
                                 Distributors do not object.
                      8. No later than fifty (50) calendar days prior to the Payment Date for each
                         Annual Payment, the Directing Administrator shall give notice to the
                         Settling Distributors, the Settling States, the Enforcement Committee,
                         and the Directed Trustee of: (a) the amount of the Annual Payment
                         (including the amount to be allocated to the Settlement Fund
                         Administrators in costs and fees); (b) the amount to be received by each
                         Settling State (specifying the amount of base payment, of each incentive
                         payment, and of each applicable suspension, offset, or reduction); (c) the
                         amount to be received by the separate types of funds for each Settling
                         State (if applicable); and (d) the amount to be received by each Settling
                         State’s Participating Subdivisions listed on Exhibit G of the Distributor
                         Settlement Agreement. The Directing Administrator shall also give
                         notice to each Settling Distributor of the amount of its allocable share of
                         the Annual Payment, including its allocable share of the amount of any
                         Settlement Fund Administrator costs and fees that exceed the available
                         interest accrued in the Settlement Fund. The Directing Administrator’s
                         notice to the Directed Trustee will include instructions for disbursement
                         of the Annual Payment within fifteen (15) calendar days of the Payment
                         Date, or at such later time as directed by each Settling State to the
                         Directing Administrator.
                      9. Within fifteen (15) calendar days of July 15 of each year or at such later
                         time as directed by the Directing Administrator, the Directed Trustee
                         shall disburse the amounts due to each Settling State and to its
                         Participating Subdivisions listed on Exhibit G of the Distributor
                         Settlement Agreement; provided, however, that the Directing
                         Administrator shall instruct the Directed Trustee that any amounts
                         allocated to a Participating Subdivision that has not yet secured dismissal
                         with prejudice of its lawsuit as required under Section VII.C of the
                         Distributor Settlement Agreement shall not be transferred or disbursed
                         until the Participating Subdivision has secured such dismissal. The
                         Settling Distributors shall notify the Directing Administrator if they


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                             believe a Participating Subdivision has not yet secured dismissal with
                             prejudice of its lawsuit as required under Section VII.C of the Distributor
                             Settlement Agreement. If so notified, the Directing Administrator will
                             notify the Participating Subdivision.
                iv. The Settlement Fund Administrators shall be also responsible for allocating the
                    Additional Restitution Amount for Payment Year 3 among Settling States listed
                    in Exhibit N of the Distributor Settlement Agreement. The Directing
                    Administrator shall account for the instructions it has received pursuant to
                    Section IV.A.iv, above in directing the Directed Administrator’s distribution of
                    this money.
          E. Disputes Regarding the Annual Payment.
                  i. Within twenty-one (21) calendar days of the notice provided by the Directing
                     Administrator, any party may dispute, in writing, the calculation of the Annual
                     Payment (including the amount allocated for Settlement Fund Administrator
                     costs and fees), or the amount to be received by a Settling State and/or its
                     Participating Subdivisions listed on Exhibit G of the Distributor Settlement
                     Agreement. Such disputing party must provide a written notice of dispute to the
                     Settlement Fund Administrators, the Enforcement Committee, any affected
                     Settling State, and the Settling Distributors identifying the nature of the dispute,
                     the amount of money that is disputed, and the Settling State(s) affected. The
                     Directing Administrator will maintain official contact information for providing a
                     notice of dispute.
                 ii. Within twenty-one (21) calendar days of the sending of a written notice of
                     dispute, any affected party may submit a response, in writing, to the Settlement
                     Fund Administrators, the Enforcement Committee, any affected Settling State,
                     and the Settling Distributors identifying the basis for disagreement with the
                     notice of dispute.
                iii. If no response is filed, and the Directing Administrator determines the disputing
                     Party is correct, the Directing Administrator shall adjust the amount calculated
                     consistent with the written notice of dispute and accordingly provide updated
                     instructions to the Directed Trustee, and each Settling Distributor shall pay its
                     allocable share of the adjusted amount, collectively totaling that year’s Annual
                     Payment, on the Payment Date. If a written response to the written notice of
                     dispute is timely sent to the Settlement Fund Administrators, the Directing
                     Administrator shall notify the Settling Distributors of the preliminary amount to
                     be paid, which shall be the greater of the amount originally calculated by the
                     Directing Administrator or the amount that would be consistent with the notice of
                     dispute, provided, however, that in no circumstances shall the preliminary
                     amount to be paid be higher than the maximum amount of base and Incentive
                     Payments A and D for that Payment Year as set forth on Exhibit M of the
                     Distributor Settlement Agreement. For the avoidance of doubt, a transfer of
                     suspended payments from the Settlement Fund Escrow does not count toward
                     determining whether the amount to be paid is higher than the maximum amount
                     of base and Incentive Payments A and D for that Payment Year as set forth on
                     Exhibit M.
                iv. The Directing Administrator shall instruct the Directed Trustee to place any
                    disputed amount of the preliminary amount paid by the Settling Distributors into
                    the Settlement Fund Escrow and to disburse any undisputed amount to each


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                     Settling State and its Participating Subdivisions listed on Exhibit G of the
                     Distributor Settlement Agreement within fifteen (15) calendar days of the
                     Payment Date or at such later time as directed by each Settling State.
                 v. Disputes described in this subsection shall be resolved in accordance with the
                    terms of Section VI.F of the Distributor Settlement Agreement.
                 vi. The decisions of the National Arbitration Panel shall be binding on Settling
                     States, Participating Subdivisions, Settling Distributors, and the Settlement Fund
                     Administrators.
          F. Extensions.
                  i. The schedule provided for in this Section IV shall be adjusted based on what is
                     practicable. The Settlement Fund Administrators shall provide notice to the
                     Settling Distributors and the Enforcement Committee should the Directing
                     Administrator and/or Directed Trustee believe that the deadlines provided for in
                     this Section IV need to be adjusted. In such a circumstance, the Settlement Fund
                     Administrators, the Settling Distributors, and the Enforcement Committee will
                     meet and confer regarding the appropriate timeline, seeking to balance practical
                     realities with the importance of expediting the receipt of funds by the Settling
                     States and their Participating Subdivisions so that they can be used to provide
                     Opioid Remediation.
                 ii. The deadlines in this Section IV may be extended by the written agreement of the
                     Settling Distributors and the Enforcement Committee.


  V.   Reporting Obligations
          A. Reporting of Non-Opioid Remediation Uses.
                  i. The Directing Administrator shall set up a system to receive and preserve reports
                     from Settling States and Participating Subdivisions that have used monies from
                     the Settlement Fund for purposes that do not qualify as Opioid Remediation,
                     pursuant to Section V.B.2 of the Distributor Settlement Agreement. The
                     Directing Administrator will not require Settling States and Participating
                     Subdivisions without any such uses of money to submit a report, and the
                     Directing Administrator may treat the failure to submit a report as confirmation
                     that a Settling State or Participating Subdivision had no such uses of money.
                 ii. Settling States and Participating Subdivisions shall report to the Directing
                     Administrator and the Settling Distributors the amount of funds received from
                     the Settlement Fund used for purposes that do not qualify as Opioid Remediation
                     (pursuant to Section V.B.2 of the Distributor Settlement Agreement). Settling
                     States and Participating Subdivisions’ reports to the Directing Administrator and
                     the Settling Distributors shall identify how such funds were used, including if
                     used to pay attorneys’ fees, investigation costs, litigation costs, or costs related to
                     the operation and enforcement of the Distributor Settlement Agreement,
                     respectively. Such Settling State or Participating Subdivision shall make such
                     reports to the Directing Administrator and the Settling Distributors with respect
                     to each six-month period ending on June 30 or December 31 of any year in which
                     funds are received from the Settlement Fund. Such Settling State or Participating
                     Subdivision shall make each such report within ninety (90) days of the end of the
                     applicable six-month period.


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                iii. The Directing Administrator shall establish a process by December 31, 2022 to
                     make the reporting under this Section V.A available to the public.
          B. Abatement Accounts Fund Reporting.
                  i. The Settlement Fund Administrators shall track and assist in the report of the
                     amount of remediation disbursed or applied during each fiscal year, broken down
                     by primary funded strategy category listed in Exhibit E of the Distributor
                     Settlement Agreement (with any permissible common costs prorated among
                     strategies).
                 ii. Upon request by any Settling Distributor, the Settlement Fund Administrators
                     shall agree to perform such further acts and to execute and deliver such further
                     documents as may be reasonably necessary for the Settling Distributors to
                     establish the statements set forth in Section V.F of the Distributor Settlement
                     Agreement to the satisfaction of their tax advisors, their independent financial
                     auditors, the Internal Revenue Service, or any other governmental authority,
                     including as contemplated by Treasury Regulations Section 1.162-21(b)(3)(ii)
                     and any subsequently proposed or finalized relevant regulations or administrative
                     guidance.
          C. Qualified Settlement Fund Treatment.
                  i. The Settling Distributors and the Settlement Fund Administrators shall agree that
                     the Settlement Fund is intended to be classified as a “qualified settlement fund”
                     within the meaning of Treasury regulations Section 1.468B-1, et seq. (and
                     corresponding or similar provisions of state, local, or foreign law, as applicable).
                     The Settlement Fund Administrators or any independent certified public
                     accounting firm selected by the Settling Distributors to serve as administrator of
                     the Settlement Fund for tax purposes (the “Tax Administrator”) shall not take any
                     action or tax position inconsistent with such treatment. The Settlement Fund shall
                     be treated as a qualified settlement fund from the earliest date possible, and the
                     Settling Distributors and the Settlement Fund Administrators shall agree to any
                     relation-back election required to treat the Settlement Fund as a qualified
                     settlement fund from the earliest date possible.
                 ii. The Settlement Fund Administrators or the Tax Administrator shall serve as
                     administrator of the Settlement Fund for tax purposes. The Settlement Fund
                     Administrators or Tax Administrator shall (i) obtain federal and state taxpayer
                     identification numbers for the Settlement Fund and provide the same to the
                     Settling Distributors and the Settlement Fund Administrators, (ii) be responsible
                     for all tax reporting, withholding and filing requirements for the Settlement Fund,
                     (iii) provide instructions to the Settling Distributors and Settlement Fund
                     Administrators for the release of sufficient funds from the Settlement Fund to pay
                     all taxes owed by the Settlement Fund in accordance with Treasury regulations
                     Section 1.468B-2 and any applicable state, local or other tax laws, and (iv) send
                     copies of all such tax filings and returns to the Settling Distributors and
                     Settlement Fund Administrators. The Settling Distributors and Settlement Fund
                     Administrators shall provide such cooperation and information as the Tax
                     Administrator may reasonably request in performing the responsibilities set forth
                     in this Section VI.
                iii. Any costs and fees arising from a Tax Administrator shall be allocated evenly
                     among the Settling Distributors. For the avoidance of doubt, each Settling



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                   Distributor’s liability for its share of the costs and fees is several, and not joint.
                   No Settling Distributor shall be responsible for any portion of another Settling
                   Distributor’s share. For the years that Janssen is also utilizing the Settlement
                   Fund, costs will be divided equally among the four companies.




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                                                                                                                                                                                                             EXHIBIT M

                                                                                                                                                                                              Settlement Payment Schedule
The below reflects the maximum payment if all States become Settling States and no offsets or reductions pursuant to this Agreement apply.

The text of this Agreement explains the terms, conditions, and underlying calculations for each of these Payments.




                                        Payment 1            Payment 2             Payment 3         Payment 4         Payment 5         Payment 6         Payment 7         Payment 8         Payment 9        Payment 10        Payment 11        Payment 12        Payment 13        Payment 14        Payment 15        Payment 16        Payment 17        Payment 18             Total
Resitution/Abatement                  $792,612,857.89      $832,997,473.28       $832,997,473.28 $1,042,614,337.16 $1,042,614,337.15 $1,042,614,337.15 $1,042,614,337.15 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44   $18,554,013,691.11
  Base                                $458,881,128.25      $482,261,695.06       $482,261,695.06  $603,618,826.78   $603,618,826.77   $562,304,221.38   $562,304,221.38   $668,613,860.15   $668,613,860.15   $668,613,860.15   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87   $555,451,916.87    $10,204,707,530.09
  Bonus A                             $333,731,729.64      $350,735,778.22       $350,735,778.22  $438,995,510.38   $438,995,510.38   $408,948,524.64   $408,948,524.64   $486,264,625.57   $486,264,625.57   $486,264,625.57   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45   $403,965,030.45     $7,421,605,476.43
     Bonus B                          $208,582,331.02      $219,209,861.39       $219,209,861.39  $274,372,193.99   $274,372,193.99   $255,592,827.90   $255,592,827.90   $303,915,390.98   $303,915,390.98   $303,915,390.98   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03   $252,478,144.03     $4,638,503,422.77
     Bonus C                          $125,149,398.61      $131,525,916.83       $131,525,916.83  $164,623,316.39   $164,623,316.39   $153,355,696.74   $153,355,696.74   $182,349,234.59   $182,349,234.59   $182,349,234.59   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42   $151,486,886.42     $2,783,102,053.66
  Bonus D                                                                                                                              $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12    $71,361,591.12      $927,700,684.60

Additional Restitution Amount          $64,615,384.62  $113,076,923.08   $105,000,000.00              $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $282,692,307.70
State Cost Fund                        $56,538,461.54             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00              $56,538,461.54
State Outside Counsel Fee Fund       $136,044,378.70   $129,230,769.23     $17,417,159.76             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $282,692,307.70
Attorney Fee Fund                    $136,044,378.70   $150,934,911.25   $270,825,443.80   $183,625,739.68   $183,625,739.69   $183,625,739.69   $183,625,739.69              $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00           $1,292,307,692.51
MDL Expense Fund                       $40,384,615.39             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00              $40,384,615.39
Litigating Subdivision Cost Fund       $40,000,000.00    $40,000,000.00    $40,000,000.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $120,000,000.00
Total Payment                       $1,266,240,076.84 $1,266,240,076.84 $1,266,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,226,240,076.84 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44 $1,030,778,538.44          $20,628,629,075.93 Max After Credit
                                                                                                                                                                                                                                                                                                                                                                                    $491,370,923.07 Tribal/W. Va. Credit
                                                                                                                                                                                                                                                                                                                                                                                 $21,119,999,999.00 Global Settlement Amount




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                                    EXHIBIT N

                      Additional Restitution Amount Allocation

                     American Samoa               0.0269444247%
                           Arizona                3.6430210329%
                         California              16.2669545320%
                          Colorado                2.7085512198%
                        Connecticut               2.1096636070%
                    District of Columbia          0.3322525916%
                            Guam                  0.0804074609%
                           Illinois               5.4255643065%
                            Iowa                  1.2999070108%
                           Kansas                 1.3410510698%
                         Louisiana                2.3525361878%
                            Maine                 0.9038789471%
                         Maryland                 3.2974316916%
                       Massachusetts              3.6093694218%
                         Minnesota                2.1790874099%
                          Missouri                3.1849331362%
                    N. Mariana Islands            0.0285222675%
                          Nebraska                0.7246475605%
                         New Jersey               4.3741379541%
                         New York                 9.7303039729%
                      North Carolina              5.1803544928%
                       North Dakota               0.3171626484%
                           Oregon                 2.2051475878%
                       Pennsylvania               7.0279415168%
                         Tennessee                4.2216179010%
                            Texas                10.4894528864%
                       Virgin Islands             0.0544915651%
                          Virginia                3.7333854452%
                         Wisconsin                2.8360231633%
                          Wyoming                 0.3152569876%




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                                                  EXHIBIT O

                               Adoption of a State-Subdivision Agreement

         A State-Subdivision Agreement shall be applied if it meets the requirements of Section V
 and is approved by the State and by the State’s Subdivisions as follows:

 1. Requirements for Approval. A State-Subdivision Agreement shall be agreed when it has been
 approved by the State and either (a) Subdivisions whose aggregate “Population Percentages,”
 determined as set forth below, total more than sixty percent (60%), or (b) Subdivisions whose
 aggregate Population Percentages total more than fifty percent (50%) provided that these
 Subdivisions also represent fifteen percent (15%) or more of the State’s counties or parishes (or,
 in the case of Settling States whose counties and parishes that do not function as local
 governments, fifteen percent (15%) of or more of the Settling State’s General Purpose
 Governments that qualify as Subdivisions), by number.

 2. Approval Authority. Approval by the State shall be by the Attorney General. Approval by a
 Subdivision shall be by the appropriate official or legislative body pursuant to the required
 procedures for that Subdivision to agree to a legally binding settlement.

 3. Population Percentage Calculation. For purposes of this Exhibit O only, Population
 Percentages shall be determined as follows: For States with functional counties or parishes 18, the
 Population Percentage of each county or parish shall be deemed to be equal to (a) (1) two
 hundred percent (200%) of the population of such county or parish, minus (2) the aggregate
 population of all Primary Incorporated Municipalities located in such county or parish, divided
 by (b) two hundred percent (200%) of the State’s population. A “Primary Incorporated
 Municipality” means a city, town, village or other municipality incorporated under applicable
 state law with a population of at least 25,000 that is not located within another incorporated
 municipality. The Population Percentage of each Primary Incorporated Municipality shall be
 equal to its population (including the population of any incorporated or unincorporated
 municipality located therein) divided by two hundred percent (200%) of the State’s population;
 provided that the Population Percentage of a Primary Incorporated Municipality that is not
 located within a county shall be equal to two hundred percent (200%) of its population
 (including the population of any incorporated or unincorporated municipality located therein)
 divided by two hundred percent (200%) of the State’s population. For all States that do not have
 functional counties or parishes, the Population Percentage of each General Purpose Government
 (including any incorporated or unincorporated municipality located therein), shall be equal to its
 population divided by the State’s population.

 4. Preexisting Agreements and Statutory Provisions. A State may include with the notice to its
 Subdivisions an existing agreement, a proposed agreement, or statutory provisions regarding the
 distribution and use of settlement funds and have the acceptance of such an agreement or
 statutory provision be part of the requirements to be an Initial Participating Subdivision.



  Certain states do not have counties or parishes that have functional governments, including: Alaska, Connecticut,
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 Massachusetts, Rhode Island, and Vermont.


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 5. Revised Agreements. A State-Subdivision Agreement that has been revised, supplemented, or
 refined shall be applied if it meets the requirements of Section V and is approved by the State
 and by the State’s Subdivisions pursuant to the terms above.




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                                        EXHIBIT P

                                      Injunctive Relief

 I.     INTRODUCTION

        A.   Within ninety (90) days of the Effective Date unless otherwise set forth herein,
             each Injunctive Relief Distributor shall implement the injunctive relief terms set
             forth in Sections II through XIX (the “Injunctive Relief Terms”) in its Controlled
             Substance Monitoring Program (“CSMP”).

        B.   The Effective Date of these Injunctive Relief Terms shall be defined by Section
             I.P of the Settlement Agreement, dated as of July 21, 2021, which incorporates
             these Injunctive Relief Terms as Exhibit P.

 II.    TERM AND SCOPE

        A.   The duration of the Injunctive Relief Terms contained in Sections IV through XVI
             shall be ten (10) years from the Effective Date.

        B.   McKesson Corporation, Cardinal Health, Inc., and AmerisourceBergen
             Corporation are referred to collectively throughout these Injunctive Relief Terms
             as the “Injunctive Relief Distributors” or individually as an “Injunctive Relief
             Distributor.” Each Injunctive Relief Distributor is bound by the terms herein.

        C.   The requirements contained in Sections VIII through XV shall apply to the
             distribution of Controlled Substances to Customers by each Injunctive Relief
             Distributor’s Full-Line Wholesale Pharmaceutical Distribution Business,
             including by any entities acquired by the Injunctive Relief Distributors that are
             engaged in the Full-Line Wholesale Pharmaceutical Distribution Business. The
             prior sentence is not limited to activity physically performed at each Injunctive
             Relief Distributor’s distribution centers and includes activity covered by the prior
             sentence performed by each Injunctive Relief Distributor at any physical location,
             including at its corporate offices or at the site of a Customer with respect to
             Sections III through XV.

 III.   DEFINITIONS

        A.   “Audit Report.” As defined in Section XVIII.H.3.

        B.   “Chain Customers.” Chain retail pharmacies that have centralized corporate
             headquarters and have multiple specific retail pharmacy locations from which
             Controlled Substances are dispensed to individual patients.

        C.   “Chief Diversion Control Officer.” As defined in Section IV.A.

        D.   “Clearinghouse.” The system established by Section XVII.



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       E.    “Clearinghouse Advisory Panel.” As defined in Section XVII.B.4.

       F.    “Controlled Substances.” Those substances designated under schedules II-V
             pursuant to the federal Controlled Substances Act and the laws and regulations of
             the Settling States that incorporate federal schedules II-V. For purposes of the
             requirements of the Injunctive Relief Terms, Gabapentin shall be treated as a
             Controlled Substance, except for purposes of Section XII for Customers located in
             States that do not regulate it as a controlled substance or similar designation (e.g.,
             drug of concern).

       G.    “Corrective Action Plan.” As defined in Section XIX.B.7.b.

       H.    “CSMP.” As defined in Section I.A.

       I.    “CSMP Committee.” As defined in Section VI.A.

       J.    “Customers.” Refers collectively to current, or where applicable potential, Chain
             Customers and Independent Retail Pharmacy Customers. “Customers” do not
             include long-term care facilities, hospital pharmacies, and pharmacies that serve
             exclusively inpatient facilities.

       K.    “Data Security Event.” Refers to any compromise, or threat that gives rise to a
             reasonable likelihood of compromise, by unauthorized access or inadvertent
             disclosure impacting the confidentiality, integrity, or availability of Dispensing
             Data.

       L.    “Dispensing Data.” Includes, unless altered by the Clearinghouse Advisory Panel:
             (i) unique patient IDs; (ii) patient zip codes; (iii) the dates prescriptions were
             dispensed; (iv) the NDC numbers of the drugs dispensed; (v) the quantities of
             drugs dispensed; (vi) the day’s supply of the drugs dispensed; (vii) the methods of
             payment for the drugs dispensed; (viii) the prescribers’ names; (ix) the
             prescribers’ NPI or DEA numbers; and (x) the prescribers’ zip codes or addresses.
             The Clearinghouse will be solely responsible for collecting Dispensing Data.

       M.    “Draft Report.” As defined in Section XVIII.H.1.

       N.    “Effective Date.” As defined in Section I.B.

       O.    “Full-Line Wholesale Pharmaceutical Distribution Business.” Activity engaged
             in by distribution centers with a primary business of supplying a wide range of
             branded, generic, over-the-counter and specialty pharmaceutical products to
             Customers.

       P.    “Highly Diverted Controlled Substances.” Includes: (i) oxycodone; (ii)
             hydrocodone; (iii) hydromorphone; (iv) tramadol; (v) oxymorphone; (vi)
             morphine; (vii) methadone; (viii) carisoprodol; (ix) alprazolam; and (x) fentanyl.
             The Injunctive Relief Distributors shall confer annually and review this list to
             determine whether changes are appropriate and shall add Controlled Substances to


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             the list of Highly Diverted Controlled Substances as needed based on information
             provided by the DEA and/or other sources related to drug diversion trends. The
             Injunctive Relief Distributors shall notify the State Compliance Review
             Committee and the Monitor of any additions to the list of Highly Diverted
             Controlled Substances. Access to Controlled Substances predominately used for
             Medication-Assisted Treatment shall be considered when making such additions.

       Q.    “Independent Retail Pharmacy Customers.” Retail pharmacy locations that do not
             have centralized corporate headquarters and dispense Controlled Substances to
             individual patients.

       R.    “Injunctive Relief Distributors.” As defined in Section II.B.

       S.    “Injunctive Relief Terms.” As defined in Section I.A.

       T.    “Monitor.” As defined in Section XVIII.A.

       U.    “National Arbitration Panel.” As defined by Section I.GG of the Settlement
             Agreement, dated as of July 21, 2021, which incorporates these Injunctive Relief
             Terms as Exhibit P.

       V.    “NDC.” National Drug Code.

       W.    “non-Controlled Substance.” Prescription medications that are not Controlled
             Substances.

       X.    “Notice of Potential Violation.” As defined in Section XIX.B.2.

       Y.    “Order.” A unique Customer request on a specific date for (i) a certain amount of
             a specific dosage form or strength of a Controlled Substance or (ii) multiple
             dosage forms and/or strengths of a Controlled Substance. For the purposes of this
             definition, each line item on a purchasing document or DEA Form 222 is a
             separate order, except that a group of line items either in the same drug family or
             DEA base code (based upon the structure of a Injunctive Relief Distributor’s
             CSMP) may be considered to be a single order.

       Z.    “Pharmacy Customer Data.” Aggregated and/or non-aggregated data provided by
             the Customer for a 90-day period.

             1.     To the extent feasible based on the functionality of a Customer’s
                    pharmacy management system, Pharmacy Customer Data shall contain
                    (or, in the case of non-aggregated data, shall be sufficient to determine)
                    the following:

                    a)      A list of the total number of prescriptions and dosage units for each
                            NDC for all Controlled Substances and non-Controlled
                            Substances;



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                    b)     A list of the top five prescribers of each Highly Diverted
                           Controlled Substance by dosage volume and the top ten prescribers
                           of all Highly Diverted Controlled Substances combined by dosage
                           volume. For each prescriber, the data shall include the following
                           information:

                           (1)     Number of prescriptions and doses prescribed for each
                                   Highly Diverted Controlled Substance NDC;

                           (2)     Number of prescriptions for each unique dosage amount
                                   (number of pills per prescription) for each Highly Diverted
                                   Controlled Substance NDC;

                           (3)     Prescriber name, DEA registration number, and address;
                                   and

                           (4)     Medical practice/specialties, if available;

                    c)     Information on whether the method of payment was cash for (a)
                           Controlled Substances, and (b) non-Controlled Substances; and

                    d)     Information on top ten patient residential areas by five-digit ZIP
                           code prefix for filled Highly Diverted Controlled Substances by
                           dosage volume, including number of prescriptions and doses for
                           each Highly Diverted Controlled Substance NDC.

             2.     Injunctive Relief Distributors are not required to obtain Pharmacy
                    Customer Data for all Customers. Pharmacy Customer Data only needs to
                    be obtained under circumstances required by the Injunctive Relief Terms
                    and the applicable CSMP policies and procedures. Each Injunctive Relief
                    Distributor’s CSMP policies and procedures shall describe the appropriate
                    circumstances under which and methods to be used to obtain and analyze
                    Pharmacy Customer Data.

             3.     Injunctive Relief Distributors shall only collect, use, disclose or retain
                    Pharmacy Customer Data consistent with applicable federal and state
                    privacy and consumer protections laws. Injunctive Relief Distributors
                    shall not be required to collect, use, disclose or retain any data element
                    that is prohibited by law or any element that would require notice to or
                    consent from the party who is the subject of the data element, including,
                    but not limited to, a third party (such as a prescriber) to permit collection,
                    use, disclosure and/or retention of the data.

       AA.   “Potential Violation.” As defined in Section XIX.B.1.

       BB.   “Reporting Periods.” As defined in Section XVIII.C.1.




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       CC.   “Settling State.” As defined by Section I.OOO of the Settlement Agreement, dated
             as of July 21, 2021, which incorporates these Injunctive Relief Terms as
             Exhibit P.

       DD.   “State Compliance Review Committee.” The initial State Compliance Review
             Committee members are representatives from the Attorneys General Offices of
             Connecticut, Florida, New York, North Carolina, Tennessee, and Texas. The
             membership of the State Compliance Review Committee may be amended at the
             discretion of the Settling States.

       EE.   “Suspicious Orders.” As defined under federal law and regulation and the laws
             and regulations of the Settling States that incorporate the federal Controlled
             Substances Act. Suspicious Orders currently include, but are not limited to, orders
             of unusual size, orders deviating substantially from a normal pattern, and orders
             of unusual frequency.

       FF.   “Threshold.” The total volume of a particular drug family, DEA base code, or a
             particular formulation of a Controlled Substance that an Injunctive Relief
             Distributor shall allow a Customer to purchase in any particular period. This term
             may be reassessed during Phase 2-B of the Clearinghouse.

       GG.   “Third Party Request.” A request from an entity other than an Injunctive Relief
             Distributor, a Settling State, or the Monitor pursuant to a subpoena, court order,
             data practices act, freedom of information act, public information act, public
             records act, or similar law.

       HH.   “Top Prescriber.” A prescriber who, for a Customer, is either (i) among the top
             five (5) prescribers of each Highly Diverted Controlled Substance or (ii) among
             the top ten (10) prescribers of Highly Diverted Controlled Substances combined,
             as determined from the most recent Pharmacy Customer Data for that Customer.

 IV.   CSMP PERSONNEL

       A.    Each Injunctive Relief Distributor shall establish or maintain the position of Chief
             Diversion Control Officer, or other appropriately titled position, to oversee the
             Injunctive Relief Distributor’s CSMP. The Chief Diversion Control Officer shall
             have appropriate experience regarding compliance with the laws and regulations
             concerning Controlled Substances, in particular laws and regulations requiring
             effective controls against the potential diversion of Controlled Substances. The
             Chief Diversion Control Officer shall report directly to either the senior executive
             responsible for U.S. pharmaceutical distribution or the most senior legal officer at
             the Injunctive Relief Distributor.

       B.    The Chief Diversion Control Officer shall be responsible for the approval of
             material revisions to the CSMP.

       C.    The Chief Diversion Control Officer shall provide at least quarterly reports to the
             CSMP Committee regarding the Injunctive Relief Distributor’s operation of the


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             CSMP, including the implementation of any changes to the CSMP required by
             these Injunctive Relief Terms.

       D.    An Injunctive Relief Distributor’s CSMP functions, including, but not limited to,
             the onboarding and approval of new Customers for the sale of Controlled
             Substances, setting and adjusting Customer Thresholds for Controlled Substances,
             terminating or suspending Customers, and submitting Suspicious Orders and other
             reports to Settling States (or the Clearinghouse, when operational), but excluding
             support necessary to perform these functions, shall be conducted exclusively by
             the Injunctive Relief Distributor’s CSMP personnel or qualified third-party
             consultants.

       E.    Staffing levels of each Injunctive Relief Distributor’s CSMP department shall be
             reviewed periodically, but at least on an annual basis, by the Injunctive Relief
             Distributor’s CSMP Committee. This review shall include consideration of
             relevant developments in technology, law, and regulations to ensure the necessary
             resources are in place to carry out the program in an effective manner.

       F.    Personnel in an Injunctive Relief Distributor’s CSMP department shall not report
             to individuals in an Injunctive Relief Distributor’s sales department, and sales
             personnel shall not be authorized to make decisions regarding the promotion,
             compensation, demotion, admonition, discipline, commendation, periodic
             performance reviews, hiring, or firing of CSMP personnel.

       G.    The CSMP policies and procedures shall be published in a form and location
             readily accessible to all CSMP personnel at each Injunctive Relief Distributor.

 V.    INDEPENDENCE

       A.    For each Injunctive Relief Distributor, sales personnel compensated with
             commissions shall not be compensated based on revenue or profitability targets or
             expectations for sales of Controlled Substances. However, each Injunctive Relief
             Distributor’s personnel may, as applicable, be compensated (including incentive
             compensation) based on formulas that include total sales for all of the Injunctive
             Relief Distributor’s products, including Controlled Substances. The compensation
             of sales personnel shall not include incentive compensation tied solely to sales of
             Controlled Substances.

       B.    For any Injunctive Relief Distributor personnel who are compensated at least in
             part based on Customer sales, the Injunctive Relief Distributor shall ensure the
             compensation of such personnel is not decreased by a CSMP-related suspension
             or termination of a Customer or as a direct result of the reduction of sales of
             Controlled Substances to a Customer pursuant to the CSMP.

       C.    The Injunctive Relief Distributors’ sales personnel shall not be authorized to
             make decisions regarding the implementation of CSMP policies and procedures,
             the design of the CSMP, the setting or adjustment of Thresholds, or other actions
             taken pursuant to the CSMP, except sales personnel must provide information


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             regarding compliance issues to CSMP personnel promptly. The Injunctive Relief
             Distributors’ sales personnel are prohibited from interfering with, obstructing, or
             otherwise exerting control over any CSMP department decision-making.

       D.    Each Injunctive Relief Distributor shall review its compensation and non-
             retaliation policies and, if necessary, modify and implement changes to those
             policies to effectuate the goals of, and incentivize compliance with, the CSMP.

       E.    Each Injunctive Relief Distributor shall maintain a telephone, email, and/or web-
             based “hotline” to permit employees and/or Customers to anonymously report
             suspected diversion of Controlled Substances or violations of the CSMP,
             Injunctive Relief Distributor company policy related to the distribution of
             Controlled Substances, or applicable law. Each Injunctive Relief Distributor shall
             share the hotline contact information with their employees and Customers. Each
             Injunctive Relief Distributor shall maintain all complaints made to the hotline,
             and document the determinations and bases for those determinations made in
             response to all complaints.

 VI.   OVERSIGHT

       A.    To the extent not already established, each Injunctive Relief Distributor shall
             establish a committee that includes senior executives with responsibility for legal,
             compliance, distribution and finance to provide oversight over its CSMP (the
             “CSMP Committee”). The Chief Diversion Control Officer shall be a member of
             the CSMP Committee. The CSMP Committee shall not include any employee(s)
             or person(s) performing any sales functions on behalf of the Injunctive Relief
             Distributor; provided that service on the CSMP Committee by any senior
             executives listed in this paragraph whose responsibilities may include, but are not
             limited to, management of sales functions shall not constitute a breach of the
             Injunctive Relief Terms.

       B.    Each Injunctive Relief Distributor’s CSMP Committee shall have regular
             meetings during which the Chief Diversion Control Officer shall present to the
             CSMP Committee with respect to, and the CSMP Committee shall evaluate,
             among other things: (1) any material modifications and potential enhancements to
             the CSMP including, but not limited to, those relating to Customer due diligence
             and Suspicious Order monitoring and reporting; (2) any significant new national
             and regional diversion trends involving Controlled Substances; (3) the Injunctive
             Relief Distributor’s adherence to the CSMP policies and procedures, the
             Injunctive Relief Terms, and applicable laws and regulations governing the
             distribution of Controlled Substances; and (4) any technology, staffing, or other
             resource needs for the CSMP. The CSMP Committee shall have access to all
             CSMP reports. The CSMP Committee will review and approve the specific
             metrics used to identify the Red Flags set forth in Section VIII.

       C.    On a quarterly basis, each Injunctive Relief Distributor’s CSMP Committee shall
             send a written report to the Injunctive Relief Distributor’s Chief Executive, Chief


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             Financial, and Chief Legal Officer, as well as its Board of Directors, addressing:
             (1) the Injunctive Relief Distributor’s substantial adherence to the CSMP policies
             and procedures, the Injunctive Relief Terms, and applicable laws and regulations
             governing the distribution of Controlled Substances; (2) recommendations as
             appropriate about the allocation of resources to ensure the proper functioning of
             the Injunctive Relief Distributor’s CSMP; and (3) significant revisions to the
             CSMP. The Board of Directors or a committee thereof at each Injunctive Relief
             Distributor shall document in its minutes its review of the quarterly CSMP
             Committee reports.

        D.   To the extent not already established, the Board of Directors of each Injunctive
             Relief Distributor shall establish its own compliance committee (the “Board
             Compliance Committee”) to evaluate, at a minimum, and on a quarterly basis: (1)
             the CSMP Committee’s written reports; (2) the Injunctive Relief Distributor’s
             substantial adherence to the CSMP policies and procedures, the Injunctive Relief
             Terms, and applicable laws and regulations governing the distribution of
             Controlled Substances; (3) the Injunctive Relief Distributor’s code of conduct and
             any whistleblower reporting policies, including those prescribed by Section V.E;
             and (4) any significant regulatory and/or government enforcement matters within
             the review period relating to the distribution of Controlled Substances. An
             Injunctive Relief Distributor meets this requirement if it established, prior to the
             Effective Date, multiple committees of its Board of Directors that together have
             responsibilities outlined in this paragraph.

        E.   The Board Compliance Committee shall have the authority to: (1) require
             management of the Injunctive Relief Distributor to conduct audits on any CSMP
             or legal and regulatory concern pertaining to Controlled Substances distribution,
             and to update its full Board of Directors on those audits; (2) to commission
             studies, reviews, reports, or surveys to evaluate the Injunctive Relief Distributor’s
             CSMP performance; (3) request meetings with the Injunctive Relief Distributor’s
             management and CSMP staff; and (4) review the appointment, compensation,
             performance, and replacement of the Injunctive Relief Distributor’s Chief
             Diversion Control Officer.

 VII.   MANDATORY TRAINING

        A.   Each Injunctive Relief Distributor shall require all new CSMP personnel to attend
             trainings on its CSMP, its obligations under the Injunctive Relief Terms, and its
             duties with respect to maintaining effective controls against potential diversion of
             Controlled Substances and reporting Suspicious Orders pursuant to state and
             federal laws and regulations prior to conducting any compliance activities for the
             Injunctive Relief Distributor without supervision.

        B.   Each Injunctive Relief Distributor shall provide annual trainings to CSMP
             personnel on its CSMP, its obligations under the Injunctive Relief Terms, and its
             duties to maintain effective controls against potential diversion of Controlled



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             Substances and report Suspicious Orders pursuant to state and federal laws and
             regulations.

       C.    On an annual basis, each Injunctive Relief Distributor shall test its CSMP
             personnel on their knowledge regarding its CSMP, its obligations under the
             Injunctive Relief Terms, and its duties to maintain effective controls against
             potential diversion of Controlled Substances and to report Suspicious Orders
             pursuant to state and federal laws and regulations.

       D.    Each Injunctive Relief Distributor shall train all third-party compliance
             consultants (defined as non-employees who are expected to devote fifty percent
             (50%) or more of their time to performing work related to the Injunctive Relief
             Distributor’s CSMP, excluding information technology consultants not engaged
             in substantive functions related to an Injunctive Relief Distributor’s CSMP)
             performing compliance functions for the Injunctive Relief Distributor in the same
             manner as the Injunctive Relief Distributor’s CSMP personnel.

       E.    At least every three (3) years in the case of existing employees, and within the
             first six months of hiring new employees, each Injunctive Relief Distributor shall
             require operations, sales, and senior executive employees to attend trainings on its
             CSMP, its obligations under the Injunctive Relief Terms, the hotline established
             in Section V.E, and its duties to maintain effective controls against potential
             diversion of Controlled Substances and report Suspicious Orders pursuant to state
             and federal laws and regulations.

 VIII. RED FLAGS

       A.    Within one hundred and twenty days (120) of the Effective Date, each Injunctive
             Relief Distributor shall, at a minimum, apply specific metrics to identify the
             potential Red Flags described in Section VIII.D with respect to Independent
             Retail Pharmacy Customers. For Chain Customers, the metrics used to identify
             the Red Flags described in Section VIII.D may be adjusted based on the specific
             business model and supplier relationships of the Chain Customer.

       B.    Each Injunctive Relief Distributor shall evaluate and, if necessary, enhance or
             otherwise adjust the specific metrics it uses to identify Red Flags set forth in
             Section VIII.D.

       C.    Each Injunctive Relief Distributor shall provide annually to the Monitor the
             specific metrics it uses to identify Red Flags as set forth in Section VIII.D. The
             Monitor shall review the metrics used to identify Red Flags as set forth in Section
             VIII.D to assess whether the metrics are reasonable. The Monitor may, at its
             discretion, suggest revisions to the metrics in the annual Audit Report as part of
             the Red Flags Review set forth in Section XVIII.F.3.f. Each Injunctive Relief
             Distributor may rely on its specific metrics to comply with the requirements of
             Section VIII unless and until the Monitor proposes a revised metric in connection
             with Section XVIII.H.



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       D.    For purposes of the Injunctive Relief Terms, “Red Flags” are defined as follows:

             1.     Ordering ratio of Highly Diverted Controlled Substances to non-
                    Controlled Substances: Analyze the ratio of the order volume of all
                    Highly Diverted Controlled Substances to the order volume of all non-
                    Controlled Substances to identify Customers with significant rates of
                    ordering Highly Diverted Controlled Substances.

             2.     Ordering ratio of Highly Diverted Controlled Substance base codes or
                    drug families to non-Controlled Substances: Analyze the ratio of the
                    order volume of each Highly Diverted Controlled Substance base code or
                    drug family to the total order volume of all non-Controlled Substances to
                    identify Customers with significant rates of ordering each Highly Diverted
                    Controlled Substance base code or drug family.

             3.     Excessive ordering growth of Controlled Substances: Analyze
                    significant increases in the ordering volume of Controlled Substances
                    using criteria to identify customers that exhibit percentage growth of
                    Controlled Substances substantially in excess of the percentage growth of
                    non-Controlled Substances.

             4.     Unusual formulation ordering: Analyze ordering of Highly Diverted
                    Controlled Substances to identify customers with significant ordering of
                    high-risk formulations. High-risk formulations include, but are not limited
                    to, 10mg hydrocodone, 8mg hydromorphone, 2mg alprazolam, single-
                    ingredient buprenorphine (i.e., buprenorphine without naloxone), and
                    highly-abused formulations of oxycodone. On an annual basis (or as
                    otherwise necessary), high-risk formulations of Highly Diverted
                    Controlled Substances may be added, removed, or revised based on the
                    Injunctive Relief Distributors’ assessment and regulatory guidance.

             5.     Out-of-area patients: Analyze Pharmacy Customer Data or Dispensing
                    Data to assess volume of prescriptions for Highly Diverted Controlled
                    Substances for out-of-area patients (based on number of miles traveled
                    between a patient’s zip code and the pharmacy location, depending on the
                    geographic area of interest) taking into consideration the percentage of
                    out-of-area patients for non-Controlled Substances.

             6.     Cash prescriptions: Analyze Pharmacy Customer Data or Dispensing
                    Data to assess percentage of cash payments for purchases of Controlled
                    Substances taking into consideration the percentage of cash payments for
                    purchases of non-Controlled Substances.

             7.     Prescriber activity of Customers: Analyze Pharmacy Customer Data or
                    Dispensing Data to identify Customers that are dispensing Highly
                    Diverted Controlled Substance prescriptions for Top Prescribers as
                    follows:



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                    a)     Top Prescribers representing a significant volume of dispensing
                           where the prescriber’s practice location is in excess of 50 miles
                           from the pharmacy (“out-of-area”), relative to the percentage of
                           out-of-area prescriptions for non-Controlled Substances.

                    b)     Top Prescribers representing prescriptions for the same Highly
                           Diverted Controlled Substances in the same quantities and dosage
                           forms indicative of pattern prescribing (e.g., a prescriber providing
                           many patients with the same high-dose, high-quantity supply of
                           30mg oxycodone HCL prescription without attention to the
                           varying medical needs of the prescriber’s patient population).

                    c)     Top Prescribers where the top five (5) or fewer prescribers
                           represent more than fifty percent (50%) of total prescriptions for
                           Highly Diverted Controlled Substances during a specified period.

             8.     Public regulatory actions against Customers: Review information
                    retrieved from companies that provide licensing and disciplinary history
                    records (e.g., LexisNexis), and/or other public sources, including
                    governmental entities, showing that the Customer, pharmacists working
                    for that Customer, or the Customer’s Top Prescribers have been subject, in
                    the last five (5) years, to professional disciplinary sanctions regarding the
                    dispensing or handling of Controlled Substances or law enforcement
                    action related to Controlled Substances diversion. Continued licensing by
                    a relevant state agency may be considered, but shall not be dispositive, in
                    resolving the Red Flag. For Chain Customer locations, representations
                    from each Chain Customer that it reviews its pharmacists’ licensing
                    statuses annually and for the regulatory actions described in this paragraph
                    has either (i) taken appropriate employment action, or (ii) disclosed the
                    regulatory action to the Injunctive Relief Distributor, may be considered in
                    resolving the Red Flag.

             9.     Customer termination data: Review information from the Injunctive
                    Relief Distributor’s due diligence files and, when operable, from the
                    Clearinghouse, subject to Section VIII.F, regarding Customers that have
                    been terminated from ordering Controlled Substances by another
                    distributor due to concerns regarding Controlled Substances.

       E.    For any Red Flag evaluation in Section VIII.D that may be performed using
             Pharmacy Customer Data or Dispensing Data, an Injunctive Relief Distributor
             will analyze the Red Flag using Pharmacy Customer Data, to the extent feasible
             based on the functionality of a Customer’s pharmacy management system, until
             Dispensing Data is collected and analyzed by the Clearinghouse as described in
             Section XVII. Until Dispensing Data is collected and analyzed by the
             Clearinghouse, an Injunctive Relief Distributor may satisfy the Red Flag
             evaluations in Sections VIII.D.5 through VIII.D.7 by engaging in considerations
             of out-of-area patients, cash payments for prescriptions and Top Prescribers


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             without satisfying the specific requirements of Sections VIII.D.5 through
             VIII.D.7. In the event that the Clearinghouse is not collecting and analyzing
             Dispensing Data within two years of the Effective Date, the Injunctive Relief
             Distributors and the State Compliance Review Committee shall meet and confer
             to consider alternatives for the performance of the analysis required by Sections
             VIII.D.5 through VIII.D.7 using Pharmacy Customer Data.

       F.    As provided for in Section XVII.C.4, the foregoing Red Flag evaluations may be
             performed by the Clearinghouse and reported to the relevant Injunctive Relief
             Distributors.

       G.    The Injunctive Relief Distributors and the State Compliance Review Committee
             shall work in good faith to identify additional potential Red Flags that can be
             derived from the data analytics to be performed by the Clearinghouse.

 IX.   ONBOARDING

       A.    For each Injunctive Relief Distributor, prior to initiating the sale of Controlled
             Substances to a potential Customer, a member of the Injunctive Relief
             Distributor’s CSMP department (or a qualified third-party compliance consultant
             trained on the Injunctive Relief Distributor’s CSMP) shall perform the following
             due diligence:

             1.     Interview the pharmacist-in-charge, either over the telephone, via
                    videoconference, or in person. The interview shall include questions
                    regarding the manner in which the potential Customer maintains effective
                    controls against the potential diversion of Controlled Substances.

             2.     Obtain a “Pharmacy Questionnaire” completed by the owner and/or
                    pharmacist-in-charge of the potential Customer. The Pharmacy
                    Questionnaire shall require going-concern potential Customers to list their
                    top ten (10) prescribers for Highly Diverted Controlled Substances
                    combined, along with the prescriber’s specialty, unless the Injunctive
                    Relief Distributor is able to obtain this data otherwise. The Pharmacy
                    Questionnaire shall also require disclosure of the identity of all other
                    distributors that serve the potential Customer, and whether the potential
                    Customer has been terminated or suspended from ordering Controlled
                    Substances by another distributor and the reason for any termination or
                    suspension. The Pharmacy Questionnaire shall request information that
                    would allow the Injunctive Relief Distributor to identify Red Flags,
                    including questions regarding the manner in which the potential Customer
                    maintains effective controls against the potential diversion of Controlled
                    Substances. A potential Customer’s responses to the Pharmacy
                    Questionnaire shall be verified, to the extent applicable and practicable,
                    against external sources (for example, the Clearinghouse, once
                    operational, and Automation of Reports and Consolidated Orders System
                    (“ARCOS”) data made available to the Injunctive Relief Distributor by the


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                    DEA). The Pharmacy Questionnaire shall be maintained by the Injunctive
                    Relief Distributor in a database accessible to its CSMP personnel.

             3.     Complete a written onboarding report to be maintained in a database
                    accessible to the Injunctive Relief Distributor’s CSMP personnel
                    reflecting the findings of the interview and any site visit, the findings
                    regarding the identification of and, if applicable, conclusion concerning
                    any Red Flag associated with the pharmacy, as well as an analysis of the
                    Pharmacy Questionnaire referenced in the preceding paragraph.

             4.     For going-concern potential Customers, review Pharmacy Customer Data
                    to assist with the identification of any Red Flags.

             5.     Document whether the potential Customer or the pharmacist-in-charge has
                    been subject to any professional disciplinary sanctions or law enforcement
                    activity related to Controlled Substances dispensing, and, if so, the basis
                    for that action. For Chain Customers, this provision shall apply to the
                    potential specific pharmacies in question.

       B.    For Chain Customers, each Injunctive Relief Distributor may obtain the
             information in Section IX.A from a corporate representative of the Chain
             Customer.

       C.    In the event that an Injunctive Relief Distributor identifies one or more unresolved
             Red Flags or other information indicative of potential diversion of Controlled
             Substances through the onboarding process or otherwise, the Injunctive Relief
             Distributor shall refrain from selling Controlled Substances to the potential
             Customer pending additional due diligence. If following additional due diligence,
             the Injunctive Relief Distributor is unable to resolve the Red Flags or other
             information indicative of diversion, the Injunctive Relief Distributor shall not
             initiate the sale of Controlled Substances to the potential Customer and shall
             report the potential Customer consistent with Section XIV. If the Injunctive Relief
             Distributor determines that the potential Customer may be onboarded for the sale
             of Controlled Substances, the Injunctive Relief Distributor shall document the
             decision and the bases for its decision. Such a good faith determination, if
             documented, shall not serve, without more, as the basis of a future claim of non-
             compliance with the Injunctive Relief Terms. For Chain Customers, these
             provisions shall apply to the potential specific pharmacies in question.

 X.    ONGOING DUE DILIGENCE

       A.    Each Injunctive Relief Distributor shall periodically review its procedures and
             systems for detecting patterns or trends in Customer order data or other
             information used to evaluate whether a Customer is maintaining effective controls
             against diversion.

       B.    Each Injunctive Relief Distributor shall conduct periodic proactive compliance
             reviews of its Customers’ performance in satisfying their corresponding


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             responsibilities to maintain effective controls against the diversion of Controlled
             Substances.

       C.    Each Injunctive Relief Distributor shall review ARCOS data made available to it
             by the DEA and, once operational, by the Clearinghouse, to assist with Customer
             specific due diligence. For Chain Customers, this provision shall apply to the
             potential specific pharmacies in question.

       D.    Each Injunctive Relief Distributor shall conduct due diligence as set forth in its
             CSMP policies and procedures in response to concerns of potential diversion of
             Controlled Substances at its Customers. For Chain Customers, these provisions
             shall apply to the specific pharmacies in question. The due diligence required by
             an Injunctive Relief Distributor’s CSMP policies and procedures may depend on
             the information or events at issue. The information or events raising concerns of
             potential diversion of Controlled Substances at a Customer include but are not
             limited to:

             1.     The discovery of one or more unresolved Red Flags;

             2.     The receipt of information directly from law enforcement or regulators
                    concerning potential diversion of Controlled Substances at or by a
                    Customer;

             3.     The receipt of information concerning the suspension or revocation of
                    pharmacist’s DEA registration or state license related to potential
                    diversion of Controlled Substances;

             4.     The receipt of reliable information through the hotline established in
                    Section V.E concerning suspected diversion of Controlled Substances at
                    the Customer;

             5.     The receipt of reliable information from another distributor concerning
                    suspected diversion of Controlled Substances at the Customer; or

             6.     Receipt of other reliable information that the Customer is engaged in
                    conduct indicative of diversion or is failing to adhere to its corresponding
                    responsibility to prevent the diversion of Highly Diverted Controlled
                    Substances.

       E.    On an annual basis, each Injunctive Relief Distributor shall obtain updated
             pharmacy questionnaires from five hundred (500) Customers to include the
             following:

             1.     The top 250 Customers by combined volume of Highly Diverted
                    Controlled Substances purchased from the Injunctive Relief Distributor
                    measured as of the end of the relevant calendar year; and




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             2.      Additional Customers selected as a representative sample of various
                     geographic regions, customer types (Independent Retail Pharmacy
                     Customers and Chain Customers), and distribution centers. Each
                     Injunctive Relief Distributor’s Chief Diversion Control Officer shall
                     develop risk-based criteria for the sample selection.

       F.    Scope of Review

             1.      For reviews triggered by Section X.D, an Injunctive Relief Distributor
                     shall conduct due diligence and obtain updated Pharmacy Customer Data
                     or equivalent, or more comprehensive data from the Clearinghouse if
                     needed, as set forth in its CSMP policies and procedures.

             2.      For questionnaires collected pursuant to Section X.E, Injunctive Relief
                     Distributors shall conduct a due diligence review consistent with the
                     Injunctive Relief Distributors’ CSMP policies and procedures. These
                     annual diligence reviews shall be performed in addition to any of the
                     diligence reviews performed under Section X.D, but may reasonably rely
                     on reviews performed under Section X.D.

             3.      If the Injunctive Relief Distributor decides to terminate the Customer due
                     to concerns regarding potential diversion of Controlled Substances, the
                     Injunctive Relief Distributor shall promptly cease the sale of Controlled
                     Substances to the Customer and report the Customer consistent with
                     Section XIV. If the Injunctive Relief Distributor decides not to terminate
                     the Customer, the Injunctive Relief Distributor shall document that
                     determination and the basis therefor. Such a good faith determination, if
                     documented, shall not, without more, serve as the basis of a future claim
                     of non-compliance with the Injunctive Relief Terms.

 XI.   SITE VISITS

       A.    Each Injunctive Relief Distributor shall conduct site visits, including
             unannounced site visits, where appropriate, of Customers, as necessary, as part of
             Customer due diligence.

       B.    During site visits, an Injunctive Relief Distributor’s CSMP personnel or qualified
             third-party compliance consultants shall interview the pharmacist-in-charge or
             other relevant Customer employees, if appropriate, about any potential Red Flags
             and the Customer’s maintenance of effective controls against the potential
             diversion of Controlled Substances.

       C.    An Injunctive Relief Distributor’s CSMP personnel or qualified third-party
             compliance consultants who conduct site visits shall document the findings of any
             site visit.

       D.    Site visit and all other compliance reports shall be maintained by each Injunctive
             Relief Distributor in a database accessible to all CSMP personnel.


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 XII.   THRESHOLDS

        A.   Each Injunctive Relief Distributor shall use Thresholds to identify potentially
             Suspicious Orders of Controlled Substances from Customers.

        B.   Each Injunctive Relief Distributor’s CSMP department shall be responsible for
             the oversight of the process for establishing and modifying Thresholds. The sales
             departments of the Injunctive Relief Distributors shall not have the authority to
             establish or adjust Thresholds for any Customer or participate in any decisions
             regarding establishment or adjustment of Thresholds.

        C.   Injunctive Relief Distributors shall not provide Customers specific information
             about their Thresholds or how their Thresholds are calculated.

             1.     Threshold Setting

                    a)      Injunctive Relief Distributors shall primarily use model-based
                            thresholds. For certain circumstances, Injunctive Relief
                            Distributors may apply a non-model threshold based on
                            documented customer diligence and analysis.

                    b)      Each Injunctive Relief Distributor shall include in its Annual
                            Threshold Analysis and Assessment Report (as required by Section
                            XVIII.F.3.c) to the Monitor summary statistics regarding the use of
                            non-model thresholds and such information shall be considered by
                            the Monitor as part of its Threshold Setting Process Review in the
                            annual Audit Report.

                    c)      For the purposes of establishing and maintaining Thresholds, each
                            Injunctive Relief Distributor shall take into account the Controlled
                            Substances diversion risk of each drug base code. The diversion
                            risk of each base code should be defined and reassessed annually
                            by the Injunctive Relief Distributor’s CSMP Committee and
                            reviewed by the Monitor.

                    d)      Each Injunctive Relief Distributor shall establish Thresholds for
                            new Customers prior to supplying those Customers with
                            Controlled Substances and shall continue to have Thresholds in
                            place at all times for each Customer to which it supplies Controlled
                            Substances.

                    e)      When ordering volume from other distributors becomes readily
                            available from the Clearinghouse, an Injunctive Relief Distributor
                            shall consider including such information as soon as reasonably
                            practicable in establishing and maintaining Thresholds.




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                   f)    Each Injunctive Relief Distributor shall incorporate the following
                         guiding principles in establishing and maintaining Customer
                         Thresholds, except when inapplicable to non-model Thresholds:

                         (1)    Thresholds shall take into account the number of non-
                                Controlled Substance dosage units distributed to, dispensed
                                and/or number of prescriptions dispensed by the Customer
                                to assist with the determination of Customer size. As a
                                general matter, smaller customers should have lower
                                Thresholds than larger customers.

                         (2)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall use
                                statistical models that are appropriate to the underlying
                                data.

                         (3)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall take into
                                account a Customer’s ordering and/or dispensing history
                                for a specified period of time.

                         (4)    For the purposes of establishing and maintaining
                                Thresholds, Injunctive Relief Distributors shall take into
                                account the ordering history of Customers within similar
                                geographic regions, or, where appropriate for Chain
                                Customers, ordering history within the chain.

                         (5)    If appropriate, Thresholds may take into account the
                                characteristics of Customers with similar business models.

                                (a)     A Customer’s statement that it employs a particular
                                        business model must be verified, to the extent
                                        practicable, before that business model is taken into
                                        account in establishing and maintaining a
                                        Customer’s Threshold.

             2.    Threshold Auditing

                   a)    The Injunctive Relief Distributors shall review their respective
                         Customer Thresholds at least on an annual basis and modify them
                         where appropriate.

                   b)    Each Injunctive Relief Distributor’s CSMP department shall
                         annually evaluate its Threshold setting methodology and processes
                         and its CSMP personnel’s performance in adhering to those
                         policies.

             3.    Threshold Changes


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                   a)    An Injunctive Relief Distributor may increase or decrease a
                         Customer Threshold as set forth in its CSMP policies and
                         procedures, subject to Sections XII.C.3.b through XII.C.3.e.

                   b)    Prior to approving any Threshold change request by a Customer,
                         each Injunctive Relief Distributor shall conduct due diligence to
                         determine whether an increase to the Threshold is warranted. This
                         due diligence shall include obtaining from the Customer the basis
                         for the Threshold change request, obtaining and reviewing
                         Dispensing Data and/or Pharmacy Customer Data for the previous
                         three (3) months for due diligence purposes, and, as needed,
                         conducting an on-site visit to the Customer. This Threshold change
                         request diligence shall be conducted by the Injunctive Relief
                         Distributor’s CSMP personnel.

                   c)    No Injunctive Relief Distributor shall proactively contact a
                         Customer to suggest that the Customer request an increase to any
                         of its Thresholds, to inform the Customer that its Orders-to-date
                         are approaching its Thresholds or to recommend to the Customer
                         the amount of a requested Threshold increase. It shall not be a
                         violation of this paragraph to provide Chain Customer
                         headquarters reporting on one or more individual Chain Customer
                         pharmacy location(s) to support the anti-diversion efforts of the
                         Chain Customer’s headquarters staff, and it shall not be a violation
                         of this paragraph for the Injunctive Relief Distributor’s CSMP
                         personnel to contact Customers to seek to understand a Customer’s
                         ordering patterns.

                   d)    An Injunctive Relief Distributor’s Chief Diversion Control Officer
                         may approve criteria for potential adjustments to Customer
                         Thresholds to account for circumstances where the Thresholds
                         produced by the ordinary operation of the statistical models require
                         modification. Such circumstances include adjustments to account
                         for seasonal ordering of certain Controlled Substances that are
                         based on documented diligence and analysis, adjustments made to
                         permit ordering of certain Controlled Substances during a declared
                         national or state emergency (e.g., COVID-19 pandemic), IT errors,
                         and data anomalies causing results that are inconsistent with the
                         design of the statistical models. Each Injunctive Relief Distributor
                         shall include in its Annual Threshold Analysis and Assessment
                         Report (as required by Section XVIII.F.3.c) to the Monitor
                         information regarding the use of this paragraph and such
                         information shall be considered by the Monitor as part of its
                         Threshold Setting Process Review in the annual Audit Report.

                   e)    Any decision to raise a Customer’s Threshold in response to a
                         request by a Customer to adjust its Threshold must be documented


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                            in a writing and state the reason(s) for the change. The decision
                            must be consistent with the Injunctive Relief Distributor’s CSMP
                            and documented appropriately.

 XIII. SUSPICIOUS ORDER REPORTING AND NON-SHIPMENT

       A.    Each Injunctive Relief Distributor shall report Suspicious Orders to the Settling
             States (“Suspicious Order Reports” or “SORs”), including those Settling States
             that do not currently require such SORs, at the election of the Settling State.

       B.    For the SORs required by the Injunctive Relief Terms, each Injunctive Relief
             Distributor shall report Orders that exceed a Threshold for Controlled Substances
             set pursuant to the processes in Section XII that are blocked and not shipped.

       C.    No Injunctive Relief Distributor shall ship any Order that it (i) reports pursuant to
             Sections XIII.A or XIII.B, or (ii) would have been required to report pursuant to
             Sections XIII.A or XIII.B had the Settling State elected to receive SORs.

       D.    In reporting Suspicious Orders to the Settling States, the Injunctive Relief
             Distributors shall file SORs in a standardized electronic format that is uniform
             among the Settling States and contains the following information fields:

             1.     Customer name;

             2.     Customer address;

             3.     DEA registration number;

             4.     State pharmacy license number;

             5.     Date of order;

             6.     NDC number;

             7.     Quantity;

             8.     Explanation for why the order is suspicious (up to 250 characters): Details
                    that are order-specific regarding why an order was flagged as a Suspicious
                    Order, including specific criteria used by an Injunctive Relief Distributor’s
                    Threshold system (except phrases such as “order is of unusual size”
                    without any additional detail are not acceptable); and

             9.     Name and contact information for a knowledgeable designee within the
                    Injunctive Relief Distributor’s CSMP department to be a point of contact
                    for the SORs.

       E.    On a quarterly basis, each Injunctive Relief Distributor shall provide a summary
             report to the Settling States that elect to receive it that provides the following



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             information for the relevant quarter with respect to the top ten (10) Customers by
             volume for each Highly Diverted Controlled Substance base code that have
             placed a Suspicious Order for that base code, in that quarter (for Chain
             Customers, only individual pharmacies in the chain will considered for evaluation
             as a top ten (10) Customer):

             1.     The number of SORs submitted for that Customer by base code;

             2.     The Customer’s order volume by base code for the quarter for all Highly
                    Diverted Controlled Substances;

             3.     The Customer’s order frequency by base code for the quarter for all
                    Highly Diverted Controlled Substances;

             4.     For each Highly Diverted Controlled Substance base code, the ratio of the
                    Customer’s order volume for that base code to the volume of all
                    pharmaceutical orders for the quarter; and

             5.     The ratio of the Customer’s order volume of all Controlled Substances to
                    the volume of all pharmaceutical orders for the quarter.

       F.    The Injunctive Relief Distributors shall only be required to file a single, uniform,
             electronic form of SOR with any Settling State that receives SORs pursuant to
             these Injunctive Relief Terms. A Settling State retains the authority pursuant to
             applicable state law or relevant state agency authority to request additional
             information about a particular SOR.

       G.    It is the objective of the Settling States and the Injunctive Relief Distributors for
             the Injunctive Relief Distributors to provide SORs to Settling States that identify
             the same Suspicious Orders as reported to the DEA pursuant to the definition and
             requirements of the federal Controlled Substances Act and its regulations,
             although the fields of the SORs submitted to the Settling States as required by
             Section XIII may differ from the content required by the DEA. To the extent
             federal definitions and requirements materially change during the term of the
             Injunctive Relief Terms, the Injunctive Relief Distributors may be required to
             adjust the format and content of the SORs to meet these federal requirements. The
             Injunctive Relief Distributors and the State Compliance Review Committee will
             engage in good faith discussions regarding such adjustments.

       H.    It shall not be a violation of the Injunctive Relief Terms if an Injunctive Relief
             Distributor ships a Suspicious Order or fails to submit or transmit a SOR if:

             1.     The shipment of the Suspicious Order or failed SOR transmission was due
                    to a computer error (data entry mistakes, coding errors, computer logic
                    issues, software malfunctions, and other computer errors or IT failures);
                    and




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             2.     The Injunctive Relief Distributor reports the error, including a description
                    of measures that will be taken to prevent recurrence of the error, to any
                    affected Settling State, the State Compliance Review Committee, and the
                    Monitor within five (5) business days of its discovery.

 XIV. TERMINATED CUSTOMERS

       A.    Each Injunctive Relief Distributor shall report to the Clearinghouse, once
             operational, within five (5) business days (or as otherwise required by state statute
             or regulation), Customers it has terminated from eligibility to receive Controlled
             Substances or refused to onboard for the sale of Controlled Substances due to
             concerns regarding the Customer’s ability to provide effective controls against the
             potential diversion of Controlled Substances following the Effective Date.

       B.    The Injunctive Relief Distributors shall report to the relevant Settling State(s),
             within five (5) business days (or as otherwise required by state statute or
             regulation) Customers located in such Settling States that it has terminated from
             eligibility to receive Controlled Substances or refused to onboard for the sale of
             Controlled Substances due to concerns regarding the Customer’s ability to
             provide effective controls against the potential diversion of Controlled Substances
             following the Effective Date. Such reports will be made in a uniform format. The
             Injunctive Relief Distributors and the State Compliance Review Committee shall
             use best efforts to agree on such uniform format for inclusion prior to the
             requirement taking effect.

       C.    In determining whether a Customer should be terminated from eligibility to
             receive Controlled Substances, Injunctive Relief Distributors shall apply factors
             set out in their CSMP policies and procedures, which shall include the following
             conduct by a Customer:

             1.     Has generated an excessive number of Suspicious Orders, which cannot
                    otherwise be explained;

             2.     Has routinely demonstrated unresolved Red Flag activity;

             3.     Has continued to fill prescriptions for Highly Diverted Controlled
                    Substances that raise Red Flags following an Injunctive Relief
                    Distributor’s warning or communication about such practices;

             4.     Has failed to provide Pharmacy Customer Data or Dispensing Data in
                    response to a request from an Injunctive Relief Distributor or otherwise
                    refuses to cooperate with the Injunctive Relief Distributor’s CSMP after
                    providing the Customer with a reasonable amount of time to respond to
                    the Injunctive Relief Distributor’s requests;

             5.     Has been found to have made material omissions or false statements on a
                    Pharmacy Questionnaire (the requirements for the contents of a Pharmacy
                    Questionnaire are described in Section IX); or


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             6.     Has been the subject of discipline by a State Board of Pharmacy within the
                    past three (3) years or has had its owner(s) or pharmacist-in-charge subject
                    to license probation or termination within the past five (5) years by a State
                    Board of Pharmacy for matters related to Controlled Substances
                    dispensing or a federal or state felony conviction.

       D.    Once the Clearinghouse has made Customer termination data available to each
             Injunctive Relief Distributor, each Injunctive Relief Distributor shall consider
             terminating Customers that have been terminated from eligibility to receive
             Controlled Substances by another distributor as a result of suspected diversion of
             Controlled Substances if the Customer is ordering only Controlled Substances
             from the Injunctive Relief Distributor. If the Injunctive Relief Distributor
             determines not to terminate Customers to which this paragraph applies, the
             Injunctive Relief Distributor shall document its decision-making. A good-faith
             decision to continue shipping Controlled Substances to Customers to which this
             paragraph applies, shall not serve, without more, as the basis of a future claim of
             non-compliance with the Injunctive Relief Terms.

       E.    For Chain Customers, the provisions in Section XIV.A-D shall apply to the
             specific pharmacies in question.

 XV.   EMERGENCIES

       A.    In the circumstances of declared national or state emergencies in which the
             healthcare community relies on the Injunctive Relief Distributors for critical
             medicines, medical supplies, products, and services, the Injunctive Relief
             Distributors may be required to temporarily modify their respective CSMP
             processes to meet the critical needs of the supply chain. These modifications may
             conflict with the requirements of the Injunctive Relief Terms.

       B.    In the case of a declared national or state emergency, the Injunctive Relief
             Distributors shall be required to give notice to the State Compliance Review
             Committee of any temporary material changes to their CSMP processes which
             may conflict with the requirements of the Injunctive Relief Terms and specify the
             sections of the Injunctive Relief Terms which will be affected by the temporary
             change.

       C.    The Injunctive Relief Distributors shall document all temporary changes to their
             CSMP processes and appropriately document all customer-specific actions taken
             as a result of the declared national or state emergency.

       D.    The Injunctive Relief Distributors shall provide notice to the State Compliance
             Review Committee at the conclusion of the declared national or state emergency,
             or sooner, stating that the temporary CSMP processes put into place have been
             suspended.

       E.    Provided the Injunctive Relief Distributors comply with the provisions of Sections
             XV.A through XV.D, the Injunctive Relief Distributors will not face liability for


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             any deviations from the requirements of the Injunctive Relief Terms taken in good
             faith to meet the critical needs of the supply chain in response to the declared
             national or state emergency. Nothing herein shall limit Settling States from
             pursuing claims against the Injunctive Relief Distributors based on deviations
             from the requirements of the Injunctive Relief Terms not taken in good faith to
             meet the critical needs of the supply chain in response to a declared national or
             state emergency.

 XVI. COMPLIANCE WITH LAWS AND RECORDKEEPING

       A.    The Injunctive Relief Distributors acknowledge and agree that they must comply
             with applicable state and federal laws governing the distribution of Controlled
             Substances.

       B.    Good faith compliance with the Injunctive Relief Terms creates a presumption
             that the Injunctive Relief Distributors are acting reasonably and in the public
             interest with respect to Settling States’ existing laws requiring effective controls
             against diversion of Controlled Substances and with respect to the identification,
             reporting, and blocking of Suspicious Orders of Controlled Substances.

       C.    The requirements of the Injunctive Relief Terms are in addition to, and not in lieu
             of, any other requirements of state or federal law applicable to Controlled
             Substances distribution. Except as provided in Section XVI.D, nothing in the
             Injunctive Relief Terms shall be construed as relieving Injunctive Relief
             Distributors of the obligation to comply with such laws, regulations, or rules. No
             provision of the Injunctive Relief Terms shall be deemed as permission for
             Injunctive Relief Distributors to engage in any acts or practices prohibited by such
             laws, regulations, or rules.

       D.    In the event of a conflict between the requirements of the Injunctive Relief Terms
             and any other law, regulation, or requirement such that an Injunctive Relief
             Distributor cannot comply with the law without violating the Injunctive Relief
             Terms or being subject to adverse action, including fines and penalties, the
             Injunctive Relief Distributor shall document such conflicts and notify the State
             Compliance Review Committee and any affected Settling State the extent to
             which it will comply with the Injunctive Relief Terms in order to eliminate the
             conflict within thirty (30) days of the Injunctive Relief Distributor’s discovery of
             the conflict. The Injunctive Relief Distributor shall comply with the Injunctive
             Relief Terms to the fullest extent possible without violating the law.

       E.    In the event of a change or modification of federal or state law governing the
             distribution of Controlled Substances that creates an actual or potential conflict
             with the Injunctive Relief Terms, any Injunctive Relief Distributor, any affected
             Settling State, or the State Compliance Review Committee may request that the
             Injunctive Relief Distributors, State Compliance Review Committee, and any
             affected Settling State meet and confer regarding the law change. During the meet
             and confer, the Injunctive Relief Distributors, the State Compliance Review


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             Committee, and any affected Settling State will address whether the change or
             modification in federal or state law requires an amendment to the Injunctive
             Relief Terms. In the event the Injunctive Relief Distributors, the State
             Compliance Review Committee, and any affected Settling State cannot agree on a
             resolution, and the dispute relates to whether the generally applicable Injunctive
             Relief Terms herein should be changed, an Injunctive Relief Distributor, the State
             Compliance Review Committee, or any affected Settling State may submit the
             question to the National Arbitration Panel. If the dispute relates to whether a
             change in an individual State’s law requires a modification of the Injunctive
             Relief Terms only with respect to that State, an Injunctive Relief Distributor, the
             State Compliance Review Committee, or any affected Settling State may seek
             resolution of the dispute pursuant to Section XIX. Maintenance of competition in
             the industry and the potential burden of inconsistent obligations by Injunctive
             Relief Distributors shall be a relevant consideration in such resolution.

       F.    Recordkeeping: Each Injunctive Relief Distributor shall retain records it is
             required to create pursuant to its obligations hereunder in an electronic or
             otherwise readily accessible format. The Settling States shall have the right to
             review records provided to the Monitor pursuant to Section XVIII. Nothing in the
             Injunctive Relief Terms prohibits a Settling State from issuing a lawful subpoena
             for records pursuant to an applicable law.

 XVII. CLEARINGHOUSE

       A.    Creation of the Clearinghouse

             1.     The Clearinghouse functions shall be undertaken by a third-party vendor
                    or vendors.

             2.     The vendor(s) will be chosen through a process developed and jointly
                    agreed upon by the Injunctive Relief Distributors and the State
                    Compliance Review Committee.

             3.     Consistent with the process developed by the Injunctive Relief
                    Distributors and the State Compliance Review Committee, within two (2)
                    months of the Effective Date, the Injunctive Relief Distributors shall issue
                    a Request for Proposal to develop the systems and capabilities for a
                    Clearinghouse to perform the services of a data aggregator.

             4.     Within five (5) months of the Effective Date, the Clearinghouse Advisory
                    Panel shall select one or more entities to develop the systems for the
                    Clearinghouse and perform data aggregator services. The Clearinghouse
                    Advisory Panel shall select a vendor or vendors that employ or retain
                    personnel who have adequate expertise and experience related to the
                    pharmaceutical industry, the distribution of Controlled Substances, and the
                    applicable requirements of the Controlled Substances Act and the DEA’s
                    implementing regulations.



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             5.    Within sixty (60) days of the selection of a vendor(s) to serve as the
                   Clearinghouse, the Injunctive Relief Distributors shall negotiate and
                   finalize a contract with the vendor(s). The date that the contract is signed
                   by the Injunctive Relief Distributors and the vendor(s) shall be referred to
                   as the “Clearinghouse Retention Date.”

             6.    The development of the Clearinghouse shall proceed on a phased approach
                   as discussed in Sections XVII.C and XVII.D.

       B.    Governance and Staffing of the Clearinghouse

             1.    Capabilities. The selected vendor or vendors shall staff the Clearinghouse
                   in a manner that ensures the development of robust data collection,
                   analytics and reporting capabilities for the Settling States and Injunctive
                   Relief Distributors. To the extent additional expertise is required for the
                   engagement, the vendor(s) may retain the services of third-party
                   consultants.

             2.    Independence. While performing services for the Clearinghouse, all
                   vendors and consultants, and their staff working on the Clearinghouse,
                   shall be independent (i.e., not perform services of any kind, including as a
                   consultant or an employee on behalf of any Injunctive Relief Distributor
                   outside of the ordinary business operations of the Clearinghouse).
                   Independence may be achieved by implementing appropriate ethical walls
                   with employees who are currently performing or who have previously
                   performed work for an Injunctive Relief Distributor within two years of
                   the Clearinghouse Retention Date.

             3.    Liability. The Injunctive Relief Distributors are entitled to rely upon
                   information or data received from the Clearinghouse, whether in oral,
                   written, or other form. No Injunctive Relief Distributor, and no individual
                   serving on the Clearinghouse Advisory Panel, shall have any liability
                   (whether direct or indirect, in contract or tort or otherwise) to any Party for
                   or in connection with any action taken or not taken by the Clearinghouse.
                   In addition, no Injunctive Relief Distributor, and no individual serving on
                   the Clearinghouse Advisory Panel, shall have any liability (whether direct
                   or indirect, in contract or tort or otherwise) to any Party for or in
                   connection with any action taken or not taken by an Injunctive Relief
                   Distributor based on incorrect, inaccurate, incomplete or otherwise
                   erroneous information or data provided by the Clearinghouse, unless the
                   information or data was incorrect, inaccurate, incomplete or otherwise
                   erroneous because the Injunctive Relief Distributor itself provided
                   incorrect, inaccurate, incomplete or otherwise erroneous data or
                   information to the Clearinghouse. For any legal requirements that are
                   assumed by the Clearinghouse during Phase 2-B pursuant to Section
                   XVII.D.3, liability shall be addressed pursuant to Section XVII.D.3.c.



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             4.    Clearinghouse Advisory Panel. The State Compliance Review Committee
                   and Injunctive Relief Distributors shall create a Clearinghouse Advisory
                   Panel no later than sixty (60) days after the Effective Date to oversee the
                   Clearinghouse.

                   a)     The Clearinghouse Advisory Panel shall have an equal number of
                          members chosen by the State Compliance Review Committee on
                          the one hand, and the Injunctive Relief Distributors on the other.
                          The size of the Clearinghouse Advisory Panel will be decided by
                          the State Compliance Review Committee and the Injunctive Relief
                          Distributors, and the State Compliance Review Committee and the
                          Injunctive Relief Distributors may select as members third-party
                          experts, but no more than one half of each side’s representatives
                          may be such third-party experts. At least one member chosen by
                          the State Compliance Review Committee will be based on
                          consultation with the National Association of State Controlled
                          Substances Authorities.

                   b)     During the first two years of the operation of the Clearinghouse,
                          the Clearinghouse Advisory Panel shall meet (in-person or
                          remotely) at least once per month. After the first two years of
                          operation, the Clearinghouse Advisory Panel shall meet at least
                          quarterly. The Monitor may attend Clearinghouse Advisory Panel
                          meetings and may provide recommendations to the Clearinghouse
                          Advisory Panel.

                   c)     The Clearinghouse Advisory Panel shall establish a subcommittee
                          to advise on issues related to privacy, the Health Insurance
                          Portability and Accountability Act of 1996 (“HIPAA”), and data
                          security and a subcommittee to advise on issues related to
                          Dispensing Data. It may establish additional subcommittees.
                          Subcommittees may include individuals who are not members of
                          the Clearinghouse Advisory Panel. The Clearinghouse Advisory
                          Panel may invite one or more prescribers, dispensers, and
                          representatives from state Prescription Drug Monitoring Programs
                          (“PDMP”) to serve on the Dispensing Data subcommittee. Each
                          Injunctive Relief Distributor shall have a representative on each
                          subcommittee created by the Clearinghouse Advisory Panel.

                   d)     The Clearinghouse Advisory Panel may delegate tasks assigned to
                          it by the Injunctive Relief Terms to the Executive Director.

             5.    Executive Director. One employee of the vendor, or one representative
                   from the vendor group in the event that there are multiple vendors, shall be
                   an Executive Director who shall manage day-to-day operations and report
                   periodically to the Clearinghouse Advisory Panel.



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       C.    Phase 1 of the Clearinghouse: Data Collection, Initial Analytics and
             Reporting

             1.     System Development

                    a)     Within one (1) year of the Clearinghouse Retention Date, the
                           Clearinghouse shall develop systems to receive and analyze data
                           obtained from the Injunctive Relief Distributors pursuant to
                           electronic transmission formats to be agreed upon by the
                           Clearinghouse Advisory Panel.

                    b)     In developing such systems, the Clearinghouse shall ensure that:

                           (1)    The systems provide robust reporting and analytic
                                  capabilities.

                           (2)    Data obtained from Injunctive Relief Distributors shall be
                                  automatically pulled from the existing order management
                                  data platforms (e.g., SAP).

                           (3)    The systems shall be designed to receive data from sources
                                  other than the Injunctive Relief Distributors, including
                                  pharmacies, non-Injunctive Relief Distributors, the DEA,
                                  State Boards of Pharmacy, and other relevant sources,
                                  pursuant to standardized electronic transmission formats.

                           (4)    The systems shall be designed to protect personally
                                  identifiable information (“PII”) and protected health
                                  information (“PHI”) from disclosure and shall comply with
                                  HIPAA and any federal and state laws relating to the
                                  protection of PII and PHI.

                           (5)    The Clearinghouse will establish a HIPAA-compliant
                                  database that can be accessed by state authorities, the
                                  Injunctive Relief Distributors, and any entities that
                                  subsequently participate in the Clearinghouse. The database
                                  that will be made available to the Injunctive Relief
                                  Distributors and any non-governmental entities that
                                  subsequently participate in the Clearinghouse will also
                                  blind commercially sensitive information.

                           (6)    State authorities shall have access to the HIPAA-compliant
                                  database via web-based tools and no additional or
                                  specialized equipment or software shall be required. This
                                  access shall allow state authorities to query the HIPAA-
                                  compliant database without limitation.




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                         (7)    The Injunctive Relief Distributors shall be permitted to use
                                data obtained from the Clearinghouse for anti-diversion
                                purposes, including the uses expressly contemplated by the
                                Injunctive Relief Terms. The Injunctive Relief Distributors
                                shall not sell (or obtain license fees for) data obtained from
                                Clearinghouse to any third-parties. Nothing in the
                                Injunctive Relief Terms shall prohibit an Injunctive Relief
                                Distributor from using its own data, including data
                                provided to the Injunctive Relief Distributor by third-
                                parties other than the Clearinghouse, for any commercial
                                purposes, including selling or licensing its data to third-
                                parties.

             2.    Aggregation of Data

                   a)    It is the goal of the Settling States and the Injunctive Relief
                         Distributors for the Clearinghouse to obtain comprehensive data
                         from all distributors, pharmacies, and other relevant data sources to
                         provide maximum permissible transparency into the distribution
                         and dispensing of Controlled Substances. During Phase 1, the
                         Clearinghouse Advisory Panel shall develop recommendations for
                         ways to achieve this goal.

                   b)    In Phase 1, the Injunctive Relief Distributors shall provide and/or
                         facilitate the collection of, and the Clearinghouse shall collect and
                         maintain, the following:

                         (1)    Injunctive Relief Distributor transaction data for Controlled
                                Substances and non-Controlled Substances, specified at the
                                NDC, date, quantity, and customer level.

                         (2)    Injunctive Relief Distributor information on Customers that
                                have been terminated and/or declined onboarding due to
                                concerns regarding Controlled Substance dispensing
                                following the Effective Date.

                   c)    The Clearinghouse shall make available to the Injunctive Relief
                         Distributors, in a format to be determined by the Clearinghouse
                         Advisory Panel, blinded data for their CSMP due diligence
                         functions. The data will include all Controlled Substances and non-
                         Controlled Substances and be refreshed on a regular basis. The
                         Clearinghouse will also seek to provide non-identifying
                         information regarding whether a single distributor is associated
                         with multiple warehouses with unique DEA registrations (e.g.,
                         multiple distribution centers operated by a single distributor), in
                         the data it makes available.




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                   d)     During Phase 1, the Clearinghouse Advisory Panel (with input
                          from its Dispensing Data subcommittee) will develop an
                          operational plan to obtain Dispensing Data directly from
                          pharmacies, unless the Clearinghouse Advisory Panel determines it
                          is inadvisable to do so. The operational plan developed by the
                          Clearinghouse Advisory Panel shall address compliance with
                          HIPAA and shall include recommendations to facilitate the
                          collection of Dispensing Data in compliance with HIPAA and
                          relevant state privacy laws. To the extent possible, the
                          Clearinghouse will begin collecting Dispensing Data during
                          Phase 1.

                   e)     Nothing in the Injunctive Relief Terms shall require the Injunctive
                          Relief Distributors to indemnify or otherwise be responsible to
                          pharmacy customers for any claims resulting from the provision of
                          Dispensing Data to the Clearinghouse, including, but not limited
                          to, claims related to any data breaches occurring with the data
                          transmitted to or maintained by the Clearinghouse.

             3.    State and Federal Reporting Requirements

                   a)     The Injunctive Relief Distributors shall comply with state and
                          federal transactional and Suspicious Order reporting requirements
                          related to Controlled Substances as follows:

                          (1)    Until such time as the Clearinghouse is able to provide
                                 transactional and Suspicious Order regulatory reporting to
                                 the states on behalf of the Injunctive Relief Distributors, the
                                 Injunctive Relief Distributors shall continue to file all
                                 required reports under state law and those reports required
                                 by these Injunctive Relief Terms.

                          (2)    Once the Clearinghouse is able to process and submit such
                                 reports, the Clearinghouse may process and submit those
                                 reports on behalf of each Injunctive Relief Distributor to
                                 the states. At all times during Phase 1, each Injunctive
                                 Relief Distributor shall remain responsible for the
                                 identification of Suspicious Orders and will remain liable
                                 for a failure to submit transactional data or Suspicious
                                 Order reports required under state law or these Injunctive
                                 Relief Terms.

                          (3)    An Injunctive Relief Distributor may elect to fulfill its
                                 reporting obligations directly, rather than have the
                                 Clearinghouse assume the responsibility for the
                                 transmission of the various reports.




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             4.    Additional Reports and Analytics

                   a)     In consultation with the Clearinghouse Advisory Panel, the
                          Clearinghouse shall work to develop additional reports and
                          analyses to assist the Settling States and the Injunctive Relief
                          Distributors in addressing Controlled Substance diversion,
                          including, but not limited to, identifying Red Flags consistent with
                          Section VIII.

                   b)     The Clearinghouse will generate analyses and reports to be used by
                          the Settling States and the Injunctive Relief Distributors based on
                          format and content recommended by the Clearinghouse Advisory
                          Panel. In order to refine the format and reach final
                          recommendations, the Clearinghouse shall prepare sample
                          analytical reports for a sample geographic region to review with
                          the Clearinghouse Advisory Panel. The sample reports will also be
                          shared with the DEA in an effort to receive additional feedback.

                   c)     After the content and format of the sample reports have been
                          approved by the Clearinghouse Advisory Panel, the Clearinghouse
                          will begin producing reports on a periodic basis.

                   d)     The Clearinghouse will develop capabilities to provide Settling
                          States customized reports upon reasonable request to assist in their
                          efforts to combat the diversion of Controlled Substances and for
                          other public health and regulatory purposes.

                   e)     After the Clearinghouse has obtained sufficient Dispensing Data
                          from Customers, the Clearinghouse shall commence providing
                          standard reports to the Settling States and Injunctive Relief
                          Distributors that will include summaries and analysis of
                          Dispensing Data. The reports and analytics of Dispensing Data
                          shall be developed in consultation with the Clearinghouse
                          Advisory Panel (including its Dispensing Data subcommittee) and
                          shall include, but not be limited to:

                          (1)    Identification of Customers whose dispensing may indicate
                                 Red Flags consistent with Section VIII, as determined by
                                 the Clearinghouse from aggregate data; and

                          (2)    Identification of Customers whose aggregate dispensing
                                 volumes for Highly Diverted Controlled Substances are
                                 disproportionately high relative to the population of the
                                 relevant geographic area.

                   f)     The Clearinghouse shall also prepare reports and analyses for the
                          Settling States and Injunctive Relief Distributors identifying
                          prescribers whose prescribing behavior suggests they may not be


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                            engaged in the legitimate practice of medicine. Such reports and
                            analysis shall be developed in consultation with the Clearinghouse
                            Advisory Panel (including its Dispensing Data subcommittee) and
                            shall seek to identify and evaluate:

                            (1)     Prescribers who routinely prescribe large volumes of
                                    Highly Diverted Controlled Substances relative to other
                                    prescribers with similar specialties, including health care
                                    professionals who prescribe a large number of prescriptions
                                    for high dosage amounts of Highly Diverted Controlled
                                    Substances;

                            (2)     Prescribers whose prescriptions for Highly Diverted
                                    Controlled Substances are routinely and disproportionately
                                    filled in a geographic area that is unusual based on the
                                    prescriber’s location; and

                            (3)     Prescribers who routinely prescribe out-of-specialty or out-
                                    of-practice area without legitimate reason.

                    g)      Reports or analysis generated by the Clearinghouse may not be
                            based on complete data due to a lack of participation by non-
                            Injunctive Relief Distributors and pharmacies. As such, Injunctive
                            Relief Distributors shall not be held responsible for actions or
                            inactions related to reports and analysis prepared by the
                            Clearinghouse which may be based on incomplete data due to a
                            lack of participation by non-Injunctive Relief Distributors and
                            pharmacies.

       D.    Phase 2 of the Clearinghouse: Additional Data Collection and Analytics and
             Assumption of CSMP Functions

             Within one (1) year of Phase 1 of the Clearinghouse being operational, the
             Clearinghouse and the Clearinghouse Advisory Panel shall develop a detailed
             strategic and implementation plan for Phase 2 of the Clearinghouse (“Phase 2
             Planning Report”). Phase 2 will consist of two parts. Phase 2-A will focus on
             increasing data collection from non-Injunctive Relief Distributors, pharmacies
             and other data sources and developing enhanced analytics based on the
             experiences gained from Phase 1. Phase 2-A will also include recommendations
             for the development of uniform federal and state reporting. Phase 2-B will involve
             the potential assumption of various CSMP activities, including Threshold setting
             and order management by the Clearinghouse. The Phase 2 Planning Report will
             address both Phase 2-A and Phase 2-B. After the completion of the Phase 2
             Planning Report, individual Injunctive Relief Distributors, in their sole discretion,
             may elect not to proceed with Phase 2-B as provided by Section XVII.E. If one or
             more Injunctive Relief Distributors elect to proceed with Phase 2-B, the goal will
             be to have Phase 2-B fully operational within two (2) years of the Clearinghouse


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             Retention Date and no later than three (3) years of the Clearinghouse Retention
             Date.

             1.     Phase 2-A: Additional Data Collection and Analytics

                    a)     During Phase 2-A, the Clearinghouse will continue the functions
                           defined in Phase 1 and work to expand the scope of its data
                           collection and enhance its analytics and reporting capabilities
                           including the following:

                           (1)     Integration of data from additional sources, including:

                                   (a)    Transaction data from other distributors, including
                                          manufacturers that distribute directly to retail
                                          pharmacies and pharmacies that self-warehouse;
                                          and

                                   (b)    Where possible, state PDMP data and other data,
                                          including, but not limited to, State Board of
                                          Medicine and Board of Pharmacy sanctions, and
                                          agreed-upon industry data. If state PDMP data is
                                          effectively duplicative of Dispensing Data already
                                          obtained in Phase 1, it will not be necessary for the
                                          Clearinghouse to obtain state PDMP data.

                           (2)     Development of additional metrics analyzing the data
                                   available from the additional data sources (PDMP, other
                                   pharmacy data, sanction authorities, and third-party volume
                                   projections).

                           (3)     Development of real-time or near real-time access to
                                   distribution data, dispensing data and other data sources.

                           (4)     Refinement of methodologies for analyzing Dispensing
                                   Data to identify suspicious prescribers.

                           (5)     Development of additional capabilities to provide Settling
                                   States, the Injunctive Relief Distributors and potentially the
                                   DEA customized reporting from the Clearinghouse upon
                                   reasonable request.

             2.     Phase 2-A: Uniform Required Reporting

                    a)     The Clearinghouse and the Clearinghouse Advisory Panel shall
                           develop uniform reporting recommendations for potential
                           implementation by state regulators in order to allow the Injunctive
                           Relief Distributors to satisfy their obligations under the Injunctive



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                         Relief Terms and state and federal laws in a uniform and consistent
                         manner.

                   b)    It is a goal of the Settling States and the Injunctive Relief
                         Distributors to:

                         (1)    Streamline and simplify required reporting which will
                                benefit the Injunctive Relief Distributors and the Settling
                                States, as well as the DEA;

                         (2)    Develop uniform transactional and Suspicious Order
                                reporting requirements; and

                         (3)    Provide for the submission of uniform Suspicious Order
                                reports.

             3.    Phase 2-B: Clearinghouse Assumption of CSMP Functions

                   a)    With respect to Phase 2-B, the Phase 2 Planning Report shall
                         address:

                         (1)    Engagement with stakeholders, including the DEA, to
                                develop the system of Threshold setting and Suspicious
                                Order reporting to potentially be provided by the
                                Clearinghouse;

                         (2)    Development of technology and rules, including any
                                proposed changes to federal law or regulations;

                         (3)    Development of models for the identification of Suspicious
                                Orders and setting universal Thresholds in a manner
                                consistent with Section XII. These models shall include
                                active order management and order fulfillment protocols to
                                ensure that orders are compared to relevant Thresholds by
                                the Clearinghouse before shipment instructions are
                                provided by the Clearinghouse to the Injunctive Relief
                                Distributors. The models shall also include the
                                identification of Suspicious Orders when they are placed by
                                Customers, which will be held before shipment or blocked
                                based on instructions provided by the Clearinghouse to the
                                Injunctive Relief Distributors.

                         (4)    Development of criteria governing distribution to
                                Customers that have placed one or more Orders that exceed
                                a Threshold;




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                          (5)     Development of rules for allocating Orders placed by
                                  Customers that have more than one Distributor if one or
                                  more Orders exceed a Threshold;

                          (6)     Development of a pilot project for a sample geographic
                                  region to perform data analysis to test the models for
                                  Threshold setting and the identification of Suspicious
                                  Orders.

                   b)     Following implementation of Phase 2-B, the Injunctive Relief
                          Distributors participating in Phase 2-B and the State Compliance
                          Review Committee shall meet and confer with respect to whether
                          to expand the scope of the Clearinghouse to cover additional anti-
                          diversion functions, such as the performance of due diligence.

                   c)     CSMP functions that have been assumed by the Clearinghouse
                          during Phase 2-B will no longer be performed by participating
                          Injunctive Relief Distributors individually through their CSMPs.
                          CSMP functions performed by the Clearinghouse will assist
                          participating Injunctive Relief Distributors to satisfy the applicable
                          legal obligations of those Injunctive Relief Distributors. The
                          Clearinghouse’s performance of CSMP functions will not relieve
                          participating Injunctive Relief Distributors from their legal
                          obligations unless (i) the Injunctive Relief Distributors and the
                          State Compliance Review Committee jointly enter into a written
                          agreement for the Clearinghouse to assume legal requirements
                          during Phase 2-B; and (ii) all vendors and consultants working on
                          the Clearinghouse agree in writing to assume such obligations.
                          Nothing in this paragraph shall apply to any Injunctive Relief
                          Distributor that does not participate in Phase 2-B pursuant to
                          Section XVII.E.

       E.    Option to Opt Out of Phase 2-B

             1.    Each Injunctive Relief Distributor shall have the option, in its sole
                   discretion, to elect not to participate in Phase 2-B at any point. In the event
                   that an Injunctive Relief Distributor elects not to participate in Phase 2-B,
                   that Injunctive Relief Distributor shall cease to have any obligation to fund
                   future costs directly related to Phase 2-B of the Clearinghouse or to
                   implement the Clearinghouse’s determinations as to identification of
                   Suspicious Orders and Suspicious Order reporting. If an Injunctive Relief
                   Distributor elects not to participate in Phase 2-B, that Injunctive Relief
                   Distributor shall remain responsible for the requirements specified for
                   Phase 1 and Phase 2-A of the Clearinghouse and shall be responsible for
                   contributing to the costs associated with Phase 1 and Phase 2-A.




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             2.    In the event that an Injunctive Relief Distributor elects not to participate in
                   Phase 2-B, the Clearinghouse Advisory Panel shall discuss and make
                   recommendations for any necessary adjustments to the Phase 2-B
                   capabilities described in Section XVII.D.3.

       F.    Funding

             1.    The establishment and ongoing operations of the Clearinghouse shall be
                   funded by the Injunctive Relief Distributors for a period of ten (10) years
                   commencing on the Clearinghouse Retention Date.

             2.    For each of the first two (2) years of the operation of the Clearinghouse,
                   the Injunctive Relief Distributors will make total payments of $7.5 million
                   per year combined. For years three (3) through ten (10), the Injunctive
                   Relief Distributors will make total payments of $3 million per year
                   combined. Additional costs associated with Phase 2-B shall be billed to
                   the Injunctive Relief Distributors participating in Phase 2-B.

             3.    Payments by the Injunctive Relief Distributors for the Clearinghouse shall
                   be allocated among the Injunctive Relief Distributors as set forth in
                   Section IV.H of the Settlement Agreement, dated as of July 21, 2021,
                   which incorporates these Injunctive Relief Terms as Exhibit P.

             4.    In the event that the cost of the Clearinghouse exceeds the amounts
                   provided by the Injunctive Relief Distributors, the Injunctive Relief
                   Distributors and State Compliance Review Committee shall meet-and-
                   confer on alternatives, which may include:

                   a)     Limiting the operations of the Clearinghouse consistent with a
                          revised budget;

                   b)     Seeking additional sources of funding for the Clearinghouse;
                          and/or

                   c)     Allocating, in a manner consistent with the allocation of payments
                          between the Injunctive Relief Distributors as set forth in Section
                          XVII.F.3, additional amounts that are the responsibility of the
                          Injunctive Relief Distributors to be used for the operation of the
                          Clearinghouse.

             5.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee agree to engage in good faith discussions regarding potential
                   continued operation and funding of the Clearinghouse following the initial
                   ten (10) year period of Clearinghouse operations.

             6.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee shall develop a means to obtain payments from other parties
                   that may use or benefit from the Clearinghouse, including, but not limited


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                   to, other settling defendants, non-Injunctive Relief Distributors, or other
                   parties and the Clearinghouse Advisory Panel shall consider other funding
                   sources for the Clearinghouse. This may include consideration of a user
                   fee or other model by which non-Injunctive Relief Distributors that use the
                   Clearinghouse will contribute to funding the Clearinghouse.

             7.    In the event that ten (10) or more Settling States reach agreements with
                   any national retail chain pharmacies to resolve claims related to the
                   distribution of Controlled Substances, the Settling States’ Attorneys’
                   General agree to make participation in the Clearinghouse, including
                   providing data to the Clearinghouse and contribution to the cost of the
                   operation of the Clearinghouse, a condition of any settlement. The Settling
                   States’ Attorneys’ General agree to make best efforts to ensure that any
                   other settling distributors and/or pharmacies participate in the
                   Clearinghouse. To the extent that the Attorneys General are able to secure
                   participation by additional distributors and/or pharmacies, it is anticipated
                   that, to the extent practicable based on the financial and relative size of the
                   settling distributor and/or pharmacy, those entities will contribute to the
                   cost of the operation of the Clearinghouse. The Injunctive Relief
                   Distributors’ obligation to fund the Clearinghouse shall be partially
                   reduced by contributions obtained from other distributors and/or
                   pharmacies pursuant to a formula to be determined by the Clearinghouse
                   Advisory Panel.

       G.    Confidentiality

             1.    All data provided to the Clearinghouse shall be confidential.

             2.    Information provided by distributors participating in the Clearinghouse
                   may not be provided to any other entity or individual outside those
                   expressly contemplated by the Injunctive Relief Terms.

             3.    The Clearinghouse may not provide to any distributor information specific
                   to another distributor. Notwithstanding the prior sentence, the
                   Clearinghouse may provide blinded data to a distributor reflecting total
                   Orders (across all distributors) for a particular Customer, region, and/or
                   state at the base code and NDC number level and all transactional data
                   information. Such information may only be used by receiving distributors
                   for purposes of identifying, minimizing, or otherwise addressing the risk
                   of Controlled Substances diversion. No distributor or pharmacy, including
                   the Injunctive Relief Distributors, shall attempt to obtain revenue from this
                   information. Such information provided by the Clearinghouse shall be
                   compliant with all applicable laws and regulations.

             4.    If the Clearinghouse receives a request for disclosure of any data, material
                   or other information created or shared under the Injunctive Relief Terms,
                   pursuant to a Third Party Request, the Clearinghouse shall notify the


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                   Injunctive Relief Distributors and the Clearinghouse Advisory Panel of the
                   Third Party Request and any confidential information to be disclosed so
                   that the Injunctive Relief Distributors may seek a protective order or
                   otherwise challenge or object to the disclosure. The Clearinghouse shall
                   provide the Injunctive Relief Distributors and the Clearinghouse Advisory
                   Panel with at least ten (10) days’ advance notice before complying with
                   any Third Party Request for confidential information, except where state
                   law requires a lesser period of advance notice.

       H.    Data Integrity

             1.    The Clearinghouse shall use best-in-class technology to preserve the
                   integrity of the data.

             2.    The Clearinghouse shall report any data breaches under HIPAA and state
                   law that occur as a result of any of its data collection and reporting
                   activities to the Settling States and other authorities as required by law.

             3.    The Injunctive Relief Distributors and the Settling States shall not be
                   liable for any breaches of any databases maintained by the Clearinghouse.
                   This does not excuse the Clearinghouse or its vendor(s) from compliance
                   with all state and federal laws and regulations governing (1) the protection
                   of personal information and protected health information, or (2)
                   notifications relating to Data Security Events.

       I.    Credit for Investment in the Clearinghouse

             1.    The Injunctive Relief Distributors and the State Compliance Review
                   Committee shall negotiate in good faith regarding a potential credit against
                   Injunctive Relief Distributors’ overall settlement obligations if costs
                   exceed the amounts specified in Section XVII.F.

 XVIII. MONITOR

       A.    Monitor Selection and Engagement

             1.    The Injunctive Relief Distributors shall engage a Monitor to perform the
                   reviews described in Section XVIII.F. The Monitor shall employ or retain
                   personnel who have appropriate qualifications related to the
                   pharmaceutical industry and the laws governing the distribution of
                   pharmaceuticals, the distribution of Controlled Substances, and the
                   applicable requirements of federal and state law. The Monitor may also
                   employ or retain personnel who have appropriate qualifications in the
                   audit and review of sample documents in order to conduct the reviews
                   described in Section XVIII.F. To the extent additional expertise is required
                   for the engagement, the Monitor may retain the services of third-party
                   consultants.



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             2.    The Monitor must perform each review described in Section XVIII.F in a
                   professionally independent and objective fashion, as defined in the most
                   recent Government Auditing Standards issued by the United States
                   Government Accountability Office. A Monitor shall not be engaged in
                   active litigation involving one or more of the Injunctive Relief Distributors
                   or Settling States or present a potential conflict of interest involving
                   matters concerning an Injunctive Relief Distributor, except by agreement
                   of the affected parties. If the Monitor is employed by an entity that
                   performed work for any Injunctive Relief Distributor or any of the Settling
                   States prior to the Effective Date, the Monitor will cause to be
                   implemented appropriate ethical walls between the Monitor team and the
                   employees of the firm who have previously performed work for an
                   Injunctive Relief Distributor or any of the Settling States.

             3.    The process for selecting the Monitor shall be as follows:

                   a)     Within sixty (60) calendar days of the Effective Date, the
                          Injunctive Relief Distributors and the State Compliance Review
                          Committee shall exchange pools of recommended candidates to
                          serve as the Monitor. The pools shall each contain the names of
                          three (3) individuals, groups of individuals, or firms.

                   b)     After receiving the pools of Monitor candidates, the Injunctive
                          Relief Distributors and the State Compliance Review Committee
                          shall have the right to meet with the candidates and conduct
                          appropriate interviews of the personnel who are expected to work
                          on the project. The Injunctive Relief Distributors (individually or
                          in combination) and the State Compliance Review Committee may
                          veto any of the candidates, and must do so in writing within thirty
                          (30) days of receiving the pool of candidates. If all three (3)
                          candidates within a pool are rejected by either the Injunctive Relief
                          Distributors or the State Compliance Review Committee, the party
                          who rejected the three (3) candidates may direct the other party to
                          provide up to three (3) additional qualified candidates within thirty
                          (30) calendar days of receipt of said notice.

                   c)     If the Injunctive Relief Distributors or the State Compliance
                          Review Committee do not object to a proposed candidate, the
                          Injunctive Relief Distributors or the State Compliance Review
                          Committee shall so notify the other in writing within thirty (30)
                          days of receiving the pool of candidates. If more than one
                          candidate remains, the State Compliance Review Committee shall
                          select the Monitor from the remaining candidates. Within thirty
                          (30) calendar days of the selection of the Monitor, the Injunctive
                          Relief Distributors shall retain the Monitor, and finalize all terms
                          of engagement, supplying a copy of an engagement letter to the
                          State Compliance Review Committee. The terms of engagement


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                          shall include a process by which Injunctive Relief Distributors may
                          challenge Monitor costs as excessive, duplicative or unnecessary,
                          which process must be approved by the State Compliance Review
                          Committee.

             4.    The Injunctive Relief Distributors shall be responsible for the Monitor’s
                   fees and costs directly related to its performance of the work specified by
                   the Injunctive Relief Terms up to a limit of $1,000,000 per year per
                   Injunctive Relief Distributor (i.e., a total of $3,000,000 per year).

             5.    Prior to each year, the Monitor shall submit a combined annual budget to
                   the Injunctive Relief Distributors and State Compliance Review
                   Committee that shall not exceed a total of $3,000,000. The Monitor shall
                   submit quarterly reports to the Injunctive Relief Distributors and the State
                   Compliance Review Committee tracking actual spend to the annual
                   budget.

             6.    In the event that any of the Injunctive Relief Distributors or State
                   Compliance Review Committee believe that the Monitor is not performing
                   its duties and responsibilities under the Injunctive Relief Terms in a
                   reasonably cost effective manner, an Injunctive Relief Distributor or the
                   State Compliance Review Committee shall recommend in writing changes
                   to the Monitor’s practices to reduce cost. The Monitor, Injunctive Relief
                   Distributors, and the State Compliance Review Committee shall meet and
                   confer in good faith in response to such a recommendation.

             7.    In the event that the Injunctive Relief Distributor and the State
                   Compliance Review Committee cannot agree on whether the
                   recommended cost reductions are warranted, either the State Compliance
                   Review Committee or the Injunctive Relief Distributors may submit the
                   question to the National Arbitration Panel, who shall determine whether
                   the Monitor is performing its duties and responsibilities under the
                   Injunctive Relief Terms in a reasonably cost effective manner, and, if not,
                   the necessary changes to the Monitor’s practices to reduce cost.

             8.    If the National Arbitration Panel determines that the Monitor cannot
                   complete the reviews described in Section XVIII.F within the combined
                   annual budget of $3,000,000, the National Arbitration Panel shall require
                   the Monitor to provide the Injunctive Relief Distributors and the State
                   Compliance Review Committee with a written report explaining why it is
                   not possible to complete the reviews within budget and all steps the
                   Monitor has taken to perform its duties and responsibilities under the
                   Injunctive Relief Terms in a reasonably cost effective manner. After
                   receiving the Monitor’s report, the Injunctive Relief Distributors, and the
                   State Compliance Review Committee shall meet and confer in good faith
                   to determine whether an increase in the combined budget is appropriate. If
                   the Injunctive Relief Distributors and the State Compliance Review


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                    Committee cannot reach an agreement on the amount of the reasonable
                    costs in excess of $3,000,000 for the relevant year, the issue will be
                    submitted to the National Arbitration Panel for resolution. The National
                    Arbitration Panel may award additional costs up to total cap of $5,000,000
                    for the relevant year ($3,000,000 plus an additional $2,000,000).

             9.     Unless the Injunctive Relief Distributors and the State Compliance
                    Review Committee agree otherwise as part of the meet and confer process
                    in the prior paragraph (such as by agreeing to limit the Monitor’s duties
                    and responsibilities for the remainder of the year), the amount above
                    $3,000,000 and up to the total cap of $5,000,000 in a given year necessary
                    for the Monitor to complete the reviews described in Section XVIII.F shall
                    be divided evenly among the Injunctive Relief Distributors without
                    reducing any other amounts that are the responsibility of the Injunctive
                    Relief Distributors.

       B.    Early Termination of the Monitor

             1.     In the event any of the Injunctive Relief Distributors or State Compliance
                    Review Committee believe that the Monitor is not performing its duties
                    and responsibilities under the Injunctive Relief Terms in a reasonably
                    professional, competent and independent manner, an Injunctive Relief
                    Distributor or the State Compliance Review Committee shall recommend
                    replacement of the Monitor in writing. The Injunctive Relief Distributors
                    and the State Compliance Review Committee shall meet and confer in
                    good faith in response to a recommendation to replace the Monitor. If the
                    State Compliance Review Committee and the Injunctive Relief
                    Distributors agree that the Monitor should be replaced, a replacement
                    Monitor will be selected in the manner set forth in Section XVIII.A.3.

             2.     In the event the Injunctive Relief Distributor and the State Compliance
                    Review Committee cannot agree on whether the Monitor should be
                    replaced, either the State Compliance Review Committee or the Injunctive
                    Relief Distributors may submit the question of the Monitor’s dismissal to
                    the National Arbitration Panel, and the Monitor shall only be dismissed if
                    that panel finds that there is Good Cause for dismissal. Good Cause for
                    dismissal shall mean (a) a material and substantial breach of the terms of
                    the Monitor’s obligations under the Injunctive Relief Terms; (b) any act of
                    dishonesty, misappropriation, embezzlement, intentional fraud, or similar
                    conduct by the Monitor; (c) any clear pattern of bias or prejudice in favor
                    or against any party by the Monitor; (d) conduct by the Monitor that
                    demonstrates unfitness to fulfill the functions of the Monitor reasonably
                    and competently; or (e) conflicts of interest described in Section
                    XVIII.A.2. If the panel finds that the Monitor should be dismissed, a
                    replacement Monitor will be selected in the manner set forth in Section
                    XVIII.A.3.



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             3.     In addition, if the Monitor resigns for any reason, a replacement Monitor
                    will be selected in the manner set forth in Section XVIII.A.3.

       C.    Term and Reporting Periods

             1.     The term of the Monitor will be five (5) years from the date the Monitor is
                    appointed, divided into one-year periods for purposes of the reviews and
                    reporting described in Section XVIII (“Reporting Periods”).

       D.    Monitor Access to Information

             1.     In connection with its reviews set forth in Section XVIII.F, the Monitor
                    may request to interview employees with appropriate authority and
                    responsibilities as necessary. In the event that an Injunctive Relief
                    Distributor believes that the Monitor is requesting an unreasonable
                    number of interviews or requesting interviews of employees who do not
                    have relevant information to the reviews required by Section XVIII.F, the
                    Injunctive Relief Distributor and State Compliance Review Committee
                    shall meet and confer in good faith to resolve this issue.

             2.     The Chief Diversion Control Officer of each Injunctive Relief Distributor
                    or a direct report of the Chief Diversion Control Officer shall serve as the
                    primary point of contact for the Monitor to facilitate the Monitor’s access
                    to documents, materials, or staff necessary to conduct the reviews
                    specified in Section XVIII.F. The Monitor shall communicate any request
                    for documents, materials, or access to staff to the Chief Diversion Control
                    Officers or their designees.

             3.     If at any time the Monitor believes there is undue delay, resistance,
                    interference, limitation, or denial of access to any records or to any
                    employee or former employee deemed necessary by the Monitor to
                    conduct the reviews specified in Section XVIII.F, the Monitor shall notify
                    the Chief Diversion Control Officer of the Injunctive Relief Distributor
                    and they shall meet and confer to resolve such issue. If the Monitor
                    believes that the matter was not resolved, the Monitor shall immediately
                    report the issue to the State Compliance Review Committee.

             4.     To the extent any of the documents requested by the Monitor contain
                    material protected from disclosure by any legal privilege, including the
                    attorney-client privilege or attorney work product protections, an
                    Injunctive Relief Distributor may redact such material before providing
                    the documents to the Monitor, but must provide the Monitor with a
                    privilege log describing the redacted information and identifying the basis
                    for redaction.

             5.     Notwithstanding any other information referenced and produced pursuant
                    to Section XVIII, the Monitor shall have access to, and each Injunctive
                    Relief Distributor’s Chief Diversion Control Officer shall produce to the


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                    Monitor, any settlement agreements with government entities entered into
                    after the Effective Date specifically concerning the requirements contained
                    in the Injunctive Relief Terms and an Injunctive Relief Distributor’s
                    distribution of Controlled Substances (as opposed to distribution of
                    pharmaceutical products in general).

       E.    Settling States’ Access to Monitor

             1.     Other than in connection with the initiation of a Notice of Potential
                    Violation set forth in Section XIX.B.2, should the Monitor believe it needs
                    to initiate communication with the State Compliance Review Committee
                    regarding an Injunctive Relief Distributor’s compliance with the
                    Injunctive Relief Terms, the Monitor’s communications should include the
                    Chief Diversion Control Officer or counsel of the affected Injunctive
                    Relief Distributor, regardless of the form of communication.

             2.     The State Compliance Review Committee shall have access to any
                    settlement agreements produced to the Monitor pursuant to Section
                    XVIII.D.5.

       F.    Reviews to be Conducted by the Monitor

             1.     There shall be two (2) types of reviews to be conducted by the Monitor:

                    a)     Customer-specific reviews, as set forth in Section XVIII.F.2; and

                    b)     System reviews, as set forth in Section XVIII.F.3.

             2.     Customer-Specific Reviews

                    a)     The following Customer-specific reviews will be conducted by the
                           Monitor for each Injunctive Relief Distributor for each of the
                           Reporting Periods:

                           (1)     Threshold Change Request Review (“TCR Review”);

                           (2)     Onboarding New Customer Review (“Onboarding
                                   Review”);

                           (3)     Ongoing Due Diligence Review (“Ongoing Diligence
                                   Review”);

                           (4)     Customer Termination Review (“Termination Review”);
                                   and

                           (5)     Orders that Exceed Thresholds but are Shipped Review
                                   (“Exceeded Threshold Review”).




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                   b)    Sample selection and audit periods for TCR Reviews, Onboarding
                         Reviews, Ongoing Diligence Reviews, Termination Reviews, and
                         Exceeded Threshold Reviews:

                         (1)    For each Reporting Period, the Monitor will review a
                                representative sample of files for the performance of the
                                TCR Reviews, Onboarding Reviews, and Ongoing
                                Diligence Reviews. The Monitor shall select a sample
                                representative of various geographic regions, customer
                                types (Independent Retail Pharmacy Customers or Chain
                                Customer), and distribution centers.

                         (2)    The Monitor will meet and confer with each of the
                                Injunctive Relief Distributors to determine the appropriate
                                audit period within each Reporting Period from which the
                                samples will be selected (e.g. samples will be selected from
                                the first six (6) months of a reporting period to allow the
                                Monitor time to perform its review during the remainder of
                                the reporting period).

                         (3)    Within thirty (30) calendar days following the close of the
                                agreed-upon audit period, the Injunctive Relief Distributors
                                (or the Clearinghouse once operational, if able to do so)
                                will provide the Monitor with the following lists of relevant
                                Customers for each type of review:

                                (a)    A list of all Customers that requested at least one
                                       Threshold increase for a Highly Diverted Controlled
                                       Substance during the relevant audit period,
                                       including the number of such requests by each
                                       Customer;

                                (b)    A list of all Customers that were onboarded during
                                       the relevant audit period and, during that period,
                                       ordered and received Highly Diverted Controlled
                                       Substances;

                                (c)    A list of all Customers that were the subject of an
                                       Ongoing Diligence Review during the relevant audit
                                       period;

                                (d)    A list of all Customers that, for reasons related to
                                       Controlled Substance regulatory compliance, were
                                       terminated during the relevant audit period; and

                                (e)    A list of all Orders for Highly Diverted Controlled
                                       Substances where a decision was made to ship the
                                       Order even though the order exceeded the otherwise


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                                       applicable Threshold, with number of such shipped
                                       orders.

                         (4)   Within fifteen (15) calendar days of compiling this
                               Customer information for sample selection, each Injunctive
                               Relief Distributor shall propose a reasonable number of
                               customer files for each review to the Monitor.

                         (5)   Within fifteen (15) calendar days of receiving the lists
                               specified above from the Injunctive Relief Distributors, the
                               Monitor shall choose representative files to be reviewed
                               from these lists. Each list will include the Customers’ zip
                               code, geographic region, distribution center, and customer
                               type (Independent Retail Pharmacy Customer or Chain
                               Customer).

                   c)    TCR Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct a
                               TCR Review for a sample review of Customers who
                               requested at least one Threshold increase for Highly
                               Diverted Controlled Substances for each Injunctive Relief
                               Distributor. For the TCR Reviews, the Monitor shall review
                               the information contained in the files of the sample
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section
                               XII.C.3.

                   d)    Onboarding Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct an
                               Onboarding Review of a sample of Customers that were
                               onboarded during the applicable audit period and, during
                               that period, ordered and received Highly Diverted
                               Controlled Substances from the Injunctive Relief
                               Distributor. For the Onboarding Reviews, the Monitor shall
                               review the information contained in the files of the sample
                               Customers and determine whether the information reflects
                               substantial compliance with the requirements of Section IX.

                   e)    Ongoing Diligence Reviews

                         (1)   For each Reporting Period, the Monitor shall conduct an
                               Ongoing Diligence Review of a sample of Customers for
                               each Injunctive Relief Distributor that was the subject of an
                               Ongoing Diligence Review during the relevant audit
                               period. For the Ongoing Diligence Reviews, the Monitor
                               shall review the information contained in the files of the


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                                sample of Customers and determine whether the
                                information reflects substantial compliance with the
                                requirements of Section X.

                   f)    Termination Reviews

                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of a sample of Customers that were terminated by
                                each Injunctive Relief Distributor during the audit period.
                                For the Termination Reviews, the Monitor shall review the
                                information contained in the files of the sample of
                                Customers and determine whether the information reflects
                                substantial compliance with the requirements of Section
                                XIV.

                   g)    Exceeded Threshold Review

                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of a sample of Orders for Highly Diverted
                                Controlled Substances where a decision was made by the
                                Injunctive Relief Distributor to ship the Order even though
                                the Order exceeded the applicable Threshold. For the
                                Exceeded Threshold Reviews, the Monitor shall review the
                                information contained in the Customer files related to the
                                Orders and determine whether the information reflects
                                substantial compliance with the requirements of Section
                                XIII.B.

             3.    Annual System Reviews:

                   a)    The following system reviews will be conducted by the Monitor
                         for each Injunctive Relief Distributor for each of the Reporting
                         Periods:

                         (1)    CSMP Review;

                         (2)    Threshold Setting Process Review;

                         (3)    Suspicious Orders and Suspicious Order Report Review;

                         (4)    Compensation Review;

                         (5)    Red Flag Review; and

                         (6)    Review of CSMP Integration with Clearinghouse.

                   b)    CSMP Review



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                         (1)    For each Reporting Period, the Monitor shall conduct a
                                review of the following materials from each Injunctive
                                Relief Distributor:

                                (a)    Current CSMP policies and procedures;

                                (b)    Organizational charts for the departments that are
                                       relevant to the CSMP organization;

                                (c)    Logs and/or summaries of any reports received on
                                       the “hot line” required by Section V.E and the
                                       action or response of an Injunctive Relief
                                       Distributor to any such reports;

                                (d)    Copies of the quarterly reports provided by the
                                       Chief Diversion Control Officer to the CSMP
                                       Committee as required by Section IV.C;

                                (e)    Copies of the quarterly reports provided by the
                                       CSMP Committee to senior management and the
                                       Board of Directors as required by Section VI.C; and

                                (f)    Copies of the materials used for the training
                                       required by Section VII and lists of the attendees of
                                       the training.

                   c)    Threshold Setting Process Review:

                         (1)    For each Reporting Period, each Injunctive Relief
                                Distributor or its outside consultants shall prepare a
                                summary report describing how its Threshold-setting
                                methodology for Independent Retail Pharmacy Customers
                                and Chain Customers complies with Section XII (the
                                “Annual Threshold Analysis and Assessment Report”).

                         (2)    For each Reporting Period, the Monitor shall review the
                                Annual Threshold Analysis and Assessment Report,
                                determine whether the information reflects substantial
                                compliance with the requirements of Section XII, and
                                include any Observations and Recommendations, as
                                defined in Section XVIII.G, in its annual Audit Report.

                   d)    Suspicious Orders and Suspicious Order Reporting Review:

                         (1)    For each Reporting Period, each Injunctive Relief
                                Distributors will provide the Monitor with a report
                                containing summary metrics for the Suspicious Orders that
                                were reported to the DEA and the Settling States (the


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                                “Suspicious Order Metrics Report”). In the Suspicious
                                Order Metrics Report, the Injunctive Relief Distributors
                                will also provide summary metrics for Orders of Highly
                                Diverted Controlled Substances that exceeded a Threshold
                                but were still shipped.

                          (2)   For each Reporting Period, the Monitor shall review the
                                Suspicious Order Metrics Report, determine whether the
                                information reflects substantial compliance with the
                                requirements of Section XIII, and include any Observations
                                and Recommendations in its annual Audit Report.

                   e)     Compensation Reviews:

                          (1)   For each Reporting Period, the Monitor will review
                                compensation-related policy documents for each Injunctive
                                Relief Distributor for sales personnel. The Monitor shall
                                analyze those documents and determine whether the
                                compensation policies of each Injunctive Relief Distributor
                                comply with the requirements contained in Section V.

                   f)     Red Flags Review:

                          (1)   For each Reporting Period, the Monitor shall review the
                                Red Flags defined in Section VIII and their incorporation
                                into each Injunctive Relief Distributor’s policies and
                                procedures. The Monitor shall determine whether the
                                information reflects substantial compliance with the
                                requirements of Section VIII and include any Observations
                                and Recommendations, as called for by Section VIII.C,
                                about those definitions in its annual Audit Report.

                   g)     Review of CSMP Integration with the Clearinghouse:

                          (1)   For each Reporting Period, each Injunctive Relief
                                Distributor shall prepare a report summarizing the status of
                                the Injunctive Relief Distributor’s CSMP integration with
                                the operation of the Clearinghouse (“Clearinghouse
                                Integration Report”). The Monitor shall review each
                                Injunctive Relief Distributor’s Clearinghouse Integration
                                Report, determine whether the information reflects
                                substantial compliance with the requirements of Section
                                XVII, and include any Observations and Recommendations
                                in its annual Audit Report.

       G.    Observations and Recommendations:




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             1.     If the Monitor notes any areas for potential improvement during the course
                    of the reviews conducted pursuant to the Injunctive Relief Terms, the
                    Monitor shall include any such recommendations in the Audit Report.
                    Collectively, any such questions, concerns or recommendations will be
                    referred to as “Observations and Recommendations.”

       H.    Audit Reports:

             1.     No later than one hundred and twenty (120) calendar days prior to the end
                    of a Reporting Period and/or at any other time deemed reasonably
                    necessary by the Monitor, the Monitor shall provide each Injunctive Relief
                    Distributor with a draft report detailing any instances of substantial non-
                    compliance with the applicable provisions of the Injunctive Relief Terms
                    from the reviews in Section XVIII.F (the “Draft Report”). The Draft
                    Report will also describe any Observations and Recommendations.

             2.     Within thirty (30) calendar days of its receipt of the Draft Report, the
                    Injunctive Relief Distributor will provide comments and responses to the
                    Draft Report. The Injunctive Relief Distributor will, among other things:

                    a)        Respond to each instance of substantial non-compliance, including,
                              where appropriate, describing any corrective action taken (or to be
                              taken).

                    b)        Respond to each Observation and Recommendation.

             3.     Within thirty (30) calendar days of its receipt of the Injunctive Relief
                    Distributors’ responses to the Draft Report, the Monitor shall provide a
                    final report (the “Audit Report”) to each Injunctive Relief Distributor and
                    the State Compliance Review Committee. The Monitor shall provide the
                    State Compliance Review Committee with a copy of an Injunctive Relief
                    Distributor’s response to the Draft Report.

             4.     No action or lack of action by the Settling States regarding information
                    received from the Monitor concerning an Injunctive Relief Distributor’s
                    conduct shall be considered affirmation, acceptance, or ratification of that
                    conduct by the Settling States.

       I.    Confidentiality:

             1.     Materials and information provided by the Injunctive Relief Distributors
                    to the Monitor that are designated “Confidential” (and any parts, portions,
                    or derivations thereof) (the “Confidential Information”) will be kept
                    confidential and not be shown, disclosed, or distributed to any other party,
                    including any other Injunctive Relief Distributor.

             2.     The Monitor will not use materials or information received from one
                    Injunctive Relief Distributor, or information or analysis developed using


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                   the Confidential Information of an Injunctive Relief Distributor, in its
                   assessment of any other Injunctive Relief Distributor. Because each
                   Injunctive Relief Distributor operates pursuant to its own unique policies
                   and procedures intended to comply with legal and other requirements of
                   the Injunctive Relief Terms, the Monitor shall apply the standards of each
                   Injunctive Relief Distributor to its reviews without preference to the
                   practices or standards applied by any other Injunctive Relief Distributor.

             3.    If any of the Settling States or the Monitor receive a request for disclosure
                   of any material or information created or shared under the Injunctive
                   Relief Terms, pursuant to a Third Party Request, the Settling State or the
                   Monitor, respectively, shall notify the Injunctive Relief Distributors of the
                   Third Party Request and the Confidential Information to be disclosed so
                   that the Injunctive Relief Distributors may seek a protective order or
                   otherwise challenge or object to the disclosure. The Settling State or the
                   Monitor will provide the Injunctive Relief Distributors with at least ten
                   (10) days’ advance notice before complying with any Third Party Request
                   for Confidential Information, except where state law requires a lesser
                   period of advance notice.

             4.    Nothing herein will be deemed to prevent any party from claiming any
                   applicable exemption to the public information act, freedom of
                   information act, public records act, or similar law.

 XIX. ENFORCEMENT OF INJUNCTIVE RELIEF TERMS

       A.    State Compliance Review Committee:

             1.    Any Settling State may initiate a review of a Potential Violation consistent
                   with the process set forth in Section XIX.

             2.    The State Compliance Review Committee shall assign the Monitor the
                   responsibilities set forth in Sections XIX.B.3 through XIX.B.7, regarding
                   review of a Potential Violation and an opportunity to cure, except with
                   respect to matters requiring interpretation of the Injunctive Relief Terms
                   subject to Section XIX.C.2. The objective of the Monitor shall be to
                   facilitate a resolution among the parties, providing an opportunity to cure,
                   as applicable, for the party against whom a Potential Violation has been
                   alleged.

             3.    No less than six (6) months before the Monitor’s term expires pursuant to
                   Section XVIII, the State Compliance Review Committee and Injunctive
                   Relief Distributors shall meet and confer in good faith to determine the
                   parameters and processes for continued enforcement, consistent to the
                   maximum extent possible with the provisions set forth in Section XIX, for
                   the period after the Monitor’s term has ended. Absent agreement between
                   the State Compliance Review Committee and Injunctive Relief



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                    Distributors, all provisions set forth in Section XIX involving the Monitor
                    are excused after the Monitor’s term has ended.

             4.     Should an Injunctive Relief Distributor allege in good faith that a Settling
                    State or the Monitor has impaired the ability of the Injunctive Relief
                    Distributor to meet the Injunctive Relief Terms, the Injunctive Relief
                    Distributor may request the State Compliance Review Committee to
                    mediate any dispute in an effort to avoid the time and expense of litigation
                    regarding interpretation and enforcement of the Injunctive Relief Terms.

       B.    Process for Review of Potential Violations and Opportunity to Cure:

             1.     Definition of “Potential Violation”: A Potential Violation occurs when an
                    Injunctive Relief Distributor is alleged to not be in substantial compliance
                    with (i) the Injunctive Relief Terms or (ii) a Corrective Action Plan
                    adopted consistent with the process set forth in Section XIX.B.7.

             2.     Submission of Notice of Potential Violation. An allegation of a Potential
                    Violation shall be submitted to the State Compliance Review Committee
                    in writing by one or more Settling States (“Notice of Potential Violation”
                    or “Notice”) and shall include the following to the extent practicable:

                    a)     Specification of the particular Injunctive Relief Term(s) and/or
                           Corrective Action Plan(s) implicated by the Potential Violation;

                    b)     Description of the Potential Violation with specificity;

                    c)     The reasoning for and, if available, any documentation supporting
                           the allegation that a Potential Violation has occurred, including
                           whether the Potential Violation is a matter identified by the
                           Monitor in an Audit Report; and

                    d)     Description of the time-sensitivity of the Potential Violation, if
                           relevant.

             3.     Assignment to Monitor. The State Compliance Review Committee shall
                    review every Notice. If the State Compliance Review Committee
                    reasonably believes that further review is warranted, the State Compliance
                    Review Committee shall forward the Notice to the Monitor. The Monitor
                    shall ensure that the Injunctive Relief Distributor that is the subject of the
                    Notice receives a copy of the Notice and a proposed schedule consistent
                    with the process set forth in Sections XIX.B.4 and XIX.B.5.

             4.     Response to Notice of Potential Violation. Within thirty (30) days of
                    receipt of the Notice of Potential Violation, the Injunctive Relief
                    Distributor that is the subject of the Notice shall provide a written
                    response to the referring Settling State(s), the Monitor, and the State
                    Compliance Review Committee. The response (a) shall set forth the


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                   reasons the Injunctive Relief Distributor that is the subject of the Notice
                   believes that it is in substantial compliance with the relevant Injunctive
                   Relief Term(s) and/or Corrective Action Plan(s), and (b) as applicable,
                   shall explain efforts undertaken to cure the Potential Violation and a
                   schedule for completing the efforts to cure.

             5.    Conference for Parties re Notice of Potential Violation. The parties to the
                   Notice shall meet or otherwise confer regarding the Potential Violation.
                   The parties and the Monitor shall make themselves available for such a
                   meeting (which may at any party’s election be a virtual or technology-
                   based meeting), provided, however, that the meeting is not required to take
                   place sooner than fifteen (15) days after a written response to the Notice of
                   Potential Violation.

             6.    Process for Previously-Submitted Notices of Potential Violation. At the
                   request of the parties to a Notice, the Monitor shall determine whether the
                   Notice implicates the same or similar issues as a previously submitted
                   Notice or is a matter previously identified by the Monitor in an Audit
                   Report involving the same party alleged to have engaged in a Potential
                   Violation, and make an initial determination as to whether the issues needs
                   to be addressed anew. The Monitor shall inform the Settling State and
                   Injunctive Relief Distributor involved in the previous Notice or the subject
                   of a matter previously identified by the Monitor in an Audit Report of its
                   determination within five (5) business days of receipt of the Notice. The
                   Settling State and Injunctive Relief Distributor shall have five (5) business
                   days to object to the determination. If an objection is made, the Monitor
                   shall respond to the objection within five (5) business days. If no objection
                   is made, the party involved in the prior Notice may rely on the response to
                   the previously submitted Notice or matter previously identified by the
                   Monitor in an Audit Report and no further action shall be required.

             7.    Monitor Resolution of Potential Violation and Opportunity to Cure.
                   Within thirty (30) days of the meeting pursuant to Section XIX.B.5, the
                   Monitor, taking into consideration the submissions of the parties involved
                   in the Notice and other information available to the Monitor, shall resolve
                   the Notice as follows:

                   a)     If the Monitor reasonably believes that a Potential Violation is not
                          ongoing or has been substantially resolved as of thirty (30) days
                          from the meeting pursuant to Section XIX.B.5, the Monitor shall
                          provide written notice to the State Compliance Review Committee
                          and the Settling State(s) and Injunctive Relief Distributor involved
                          in the Notice.

                   b)     If the Monitor reasonably believes that a Potential Violation is
                          ongoing and has not been substantially resolved as of thirty (30)
                          days from the meeting pursuant to Section XIX.B.5, the Monitor


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                          shall provide written notice to the State Compliance Review
                          Committee and the Settling State(s) and Injunctive Relief
                          Distributor involved in the Notice and request that the Injunctive
                          Relief Distributor prepare, within thirty (30) days of the receipt of
                          such written notice, a Corrective Action Plan to remedy such
                          Potential Violation, including a reasonable period for
                          implementation of such plan. The Monitor may extend the period
                          of time to submit a Corrective Action Plan up to ninety (90) days
                          based on a reasonable request by the affected party.

                   c)     A Corrective Action Plan may address multiple Potential
                          Violations, and an existing Corrective Action Plan may be
                          amended to address additional Potential Violations.

                   d)     Within ten (10) business days of submission of a Corrective Action
                          Plan regarding a Potential Violation, the Monitor shall confer with
                          the State Compliance Review Committee and the Settling State(s)
                          and Injunctive Relief Distributor involved in the Notice regarding
                          the proposed Corrective Action Plan. The Monitor may
                          recommend revisions in its discretion. The conference required by
                          this paragraph may at any party’s election be a virtual or
                          technology-based meeting.

                   e)     Within thirty (30) days of the conference in Section XIX.B.7.d, the
                          Monitor shall advise the State Compliance Review Committee and
                          the Settling State(s) and Injunctive Relief Distributor involved in
                          the Notice whether the Monitor has adopted the proposed
                          Corrective Action Plan or whether the Monitor has adopted it after
                          making modifications. The Monitor shall also set forth a
                          reasonable period for implementation of any such plan that has
                          been adopted. The Injunctive Relief Distributor that is subject to a
                          Corrective Action Plan adopted by the Monitor must begin to
                          comply with the Corrective Action Plan within five (5) business
                          days of receiving notice of the Corrective Action Plan has been
                          adopted, unless it seeks review by the State Compliance Review
                          Committee pursuant to Section XIX.C.1.

       C.    Enforcement Responsibilities of State Compliance Review Committee:

             1.    The Settling State(s) or Injunctive Relief Distributor involved in a Notice
                   may request the State Compliance Review Committee to review the
                   resolution (including a resolution pursuant to Section XIX.B.7.a) and/or
                   Corrective Action Plan adopted by the Monitor regarding that Notice. Any
                   such request must be made within five (5) business days of a resolution or
                   adoption of a Corrective Action Plan by the Monitor. The State
                   Compliance Review Committee, taking into consideration the resolution
                   by the Monitor, submissions of the Settling State(s) or Injunctive Relief


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                   Distributor, and other information available to the Committee, shall within
                   thirty (30) days of receipt of the request resolve the matter by written
                   notice to the affected parties, which shall include the State Compliance
                   Review Committee’s reasoning in reaching its resolution. The State
                   Compliance Review Committee may agree, disagree, or modify any
                   resolution or Corrective Action Plan that it reviews. An Injunctive Relief
                   Distributor that is subject to a Corrective Action Plan that is affirmed or
                   affirmed as amended by the State Compliance Review Committee must
                   within five (5) business days begin to comply with the Corrective Action
                   Plan.

             2.    The State Compliance Review Committee shall review any issues raised
                   by a Notice regarding the interpretation of the Injunctive Relief Terms at
                   the request of the Settling State(s), Injunctive Relief Distributor involved
                   in a Notice, or the Monitor. Such a request may be made at any time after
                   the Notice’s submission, and the request will not extend the timelines set
                   forth in Sections XIX.B and XIX.C.1. The State Compliance Review
                   Committee shall notify the Monitor, Settling State(s) and Injunctive Relief
                   Distributor involved in the Notice of its determination. Settling States and
                   Injunctive Relief Distributors do not waive their rights to challenge the
                   interpretation of the Injunctive Relief Terms by the State Compliance
                   Review Committee in any subsequent proceeding pursuant to Section
                   XIX.E.2.

             3.    The State Compliance Review Committee may, independent of a Notice
                   of Potential Violation, review requests by a Monitor, Settling State, or
                   Injunctive Relief Distributor regarding the interpretation of the Injunctive
                   Relief Terms. The State Compliance Review Committee shall notify the
                   Monitor and requesting party of its interpretation, including the State
                   Compliance Review Committee’s reasoning in reaching its conclusion.
                   Settling States and Injunctive Relief Distributors do not waive their rights
                   to challenge the interpretation of the Injunctive Relief Terms by the State
                   Compliance Review Committee in any subsequent proceeding pursuant to
                   Section XIX.E.2.

             4.    The State Compliance Review Committee shall make available to all
                   Settling States and Injunctive Relief Distributors any interpretation it
                   issues pursuant to Sections XIX.C.2 and XIX.C.3.

       D.    Composition of State Compliance Review Committee:

             1.    A Settling State on the State Compliance Review Committee that is in
                   active litigation with one or more of the Injunctive Relief Distributors, or
                   in another potential conflict of interest involving compliance with
                   Controlled Substances laws and regulations, may not serve on the State
                   Compliance Review Committee for matters involving the affected
                   Injunctive Relief Distributor, and the remaining Settling States on the


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                   State Compliance Review Committee shall within five (5) business days
                   select an alternate Settling State as a replacement.

             2.    If the affected state on the State Compliance Review Committee disputes
                   that it has a disqualifying active litigation or other conflict of interest, the
                   determination of whether that state has a conflict disqualifying it from
                   serving on the State Compliance Review Committee shall be made by the
                   remaining states on the State Compliance Review Committee.

       E.    Enforcement Actions:

             1.    Any written notice or resolution by the State Compliance Review
                   Committee regarding the matters set forth in Sections XIX.B and XIX.C
                   shall provide the State Compliance Review Committee’s assessment of the
                   matter but will not be an official opinion of any individual Settling State.

             2.    Following the issuance of a written notice or resolution of the State
                   Compliance Review Committee pursuant to Section XIX.C, a Settling
                   State or Injunctive Relief Distributor may take whatever action it deems
                   necessary related to the written notice or resolution issued by the State
                   Compliance Review Committee, provided that the Settling State or
                   Injunctive Relief Distributor is either (a) the Settling State that sought
                   review by the State Compliance Review Committee, or (b) the Injunctive
                   Relief Distributor that is the subject of the Potential Violation at issue.
                   Such action may include but is not limited to bringing an action to enforce
                   the settlement agreement, filing a new original action, or, the parties to a
                   Notice attempting to negotiate a Corrective Action Plan directly with each
                   other.

             3.    The Settling States agree that prior to taking any court or administrative
                   action, other than an action that is necessary to address an immediate
                   threat to the health, safety, or welfare of the citizens of the Settling State,
                   or that a public emergency requiring immediate action exists, it will follow
                   the process outlined in Sections XIX.B and XIX.C.

             4.    A Settling State or Injunctive Relief Distributor must bring a court or
                   administrative action within six (6) months of any resolution of the State
                   Compliance Review Committee, unless the alleged violation is also an
                   independent violation of state or federal law, or an action that a Settling
                   State concludes is necessary to address an immediate threat to the health,
                   safety, or welfare of the citizens of the State, or that a public emergency
                   requiring immediate action exists, in which cases, the applicable statute of
                   limitations (if any) for sovereign actions shall apply.




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                                          EXHIBIT Q

                             Illustrative Examples of Prepayments

 Example 1

 Gross Settlement Prepayment: $3,000,000

 Settlement Prepayment Reduction Schedule: Reduce amounts paid for each of Payment Years 8,
 13, and 18 by $1,000,000

 Net Settlement Prepayment Amount (assumes discount rate of five percent (5%)): $2,591,513
 ($863,838 for each of Payment Years 5, 10, and 15)

                                       Settlement Prepayment   Net Settlement
                  Initial Settlement                                             Revised Settlement
   Payment Year                              Reduction          Prepayment
                  Payment Schedule                                               Payment Schedule
                                                 (-)                (+)
       1                 $1,000,000                                                     $1,000,000
       2                 $1,000,000                                                     $1,000,000
       3                 $1,000,000                                                     $1,000,000
       4                 $1,000,000                                                     $1,000,000
       5                 $1,000,000                                   $863,838          $1,863,838
       6                 $1,000,000                                                     $1,000,000
       7                 $1,000,000                                                     $1,000,000
       8                 $1,000,000               $1,000,000                                    $0
       9                 $1,000,000                                                     $1,000,000
       10                $1,000,000                                   $863,838          $1,863,838
       11                $1,000,000                                                     $1,000,000
       12                $1,000,000                                                     $1,000,000
       13                $1,000,000               $1,000,000                                    $0
       14                $1,000,000                                                     $1,000,000
       15                $1,000,000                                   $863,838          $1,863,838
       16                $1,000,000                                                     $1,000,000
       17                $1,000,000                                                     $1,000,000
       18                $1,000,000               $1,000,000                                    $0
      Total             $18,000,000               $3,000,000        $2,591,513         $17,591,513




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 Example 2

 Gross Settlement Prepayment: $3,000,000

 Settlement Prepayment Reduction Schedule: Reduce amounts paid for each of Payment Years 4,
 9, and 14 by $1,000,000

 Net Settlement Prepayment Amount (assumes discount rate of five percent (5%)): $2,857,143
 ($952,381 for each of Payment Years 3, 8, and 13)

                                       Settlement Prepayment   Net Settlement
                  Initial Settlement                                             Revised Settlement
   Payment Year                              Reduction          Prepayment
                  Payment Schedule                                               Payment Schedule
                                                 (-)                (+)
       1                 $1,000,000                                                     $1,000,000
       2                 $1,000,000                                                     $1,000,000
       3                 $1,000,000                                   $952,381          $1,952,381
       4                 $1,000,000               $1,000,000                                    $0
       5                 $1,000,000                                                     $1,000,000
       6                 $1,000,000                                                     $1,000,000
       7                 $1,000,000                                                     $1,000,000
       8                 $1,000,000                                   $952,381          $1,952,381
       9                 $1,000,000               $1,000,000                                    $0
       10                $1,000,000                                                     $1,000,000
       11                $1,000,000                                                     $1,000,000
       12                $1,000,000                                                     $1,000,000
       13                $1,000,000                                   $952,381          $1,952,381
       14                $1,000,000               $1,000,000                                    $0
       15                $1,000,000                                                     $1,000,000
       16                $1,000,000                                                     $1,000,000
       17                $1,000,000                                                     $1,000,000
       18                $1,000,000                                                     $1,000,000
      Total             $18,000,000               $3,000,000        $2,857,143         $17,857,143




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                                           EXHIBIT R

                       Agreement on Attorneys’ Fees, Expenses and Costs

         This Agreement on Attorneys’ Fees, Expenses and Costs (“Fee Agreement”) is entered
 between McKesson Corporation, Cardinal Health, Inc., and AmerisourceBergen Corporation
 (collectively, the “Settling Distributors”), and the Plaintiffs’ Executive Committee appointed in
 the multidistrict litigation in the Northern District of Ohio, National Prescription Opiate
 Litigation, No. 1:17-MD-2804 (“MDL PEC”), in connection with the Distributor Settlement
 Agreement (“Distributor Agreement”). This Fee Agreement becomes effective on the Effective
 Date of the Distributor Agreement or the date that the Consent Judgments anticipated under the
 Distributor Agreement become final in 25 Settling States (whichever is later). However, costs
 specified in Sections II.I and II.I.4 of this Fee Agreement that are to be funded pre-Effective
 Date by the Settling Distributors are effective upon agreement in writing with the Settling
 Distributors.

 I.     Definitions.

        A.      This Fee Agreement incorporates all defined terms in the Distributor Agreement,
 unless otherwise defined herein, and shall be interpreted in a manner consistent with the
 Distributor Agreement.

         B.      “Attorney.” Any of the following retained through a legal contract: a solo
 practitioner, a multi-attorney law firm, or other legal representative of a Participating
 Subdivision.

        C.      “Attorney Fee Fund.” An account consisting of funds allocated to pay attorneys’
 fees approved pursuant to Section II of this Fee Agreement established by Order of, and under
 the ongoing jurisdiction of, the MDL Court, as provided below.

        D.     “Common Benefit Fund.” The sub fund of the Attorney Fee Fund described in
 Section II.C.

        E.     “Contingency Fee Fund.” The sub fund of the Attorney Fee Fund described in
 Section II.D.

       F.     “Cost and Expense Fund Administrator.” The administrator appointed by the
 MDL Court to administer the MDL Expense Fund and Subdivision Cost Fund as provided in the
 Fee Agreement.

        G.      “Cost Funds.” Collectively, the MDL Expense Fund and Subdivision Cost Fund.

         H.      “Fee Entitlement.” Any right, entitlement or expectation, including but not
 limited to a fee contract, contingent fee contract, agreement, referral arrangement, co-counsel
 arrangement, State Back-Stop Agreement, or any other arrangement by which counsel could
 receive compensation or other consideration.




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        I.     “Fee Panel.” The three-person panel appointed by the MDL Court to administer
 the Attorney Fee Fund and its sub funds as provided in the Fee Agreement.

           J.      “Litigating Subdivision Cost Fund.” The cost fund described in Section II.E
 herein.

        K.      “MDL Court.” United States District Court for the Northern District of Ohio
 Eastern Division, Case No. 1:17-md-2804, Judge Dan Aaron Polster.

           L.      “MDL Expense Fund.” The cost fund described in Section II.F below.

           M.     “MDL PEC.” The Plaintiffs’ Executive Committee appointed by the MDL Court.

         N.     “Non-Participating Litigating Subdivision.” A Litigating Subdivision that is not a
 Participating Subdivision.

         O.     “Participating Litigating Subdivision.” A Litigating Subdivision that is also a
 Participating Subdivision.

       P.     “Participation Agreement.” An agreement executed by an Attorney that
 acknowledges the obligation to pay an appropriate MDL Common Benefit Assessment.

         Q.     “Qualifying Representation.” Legal services provided for representation of a
 Participating Litigating Subdivision regarding Released Claims against Released Entities.

        R.      “State Back-Stop Agreement.” Any agreement by a Settling State and private
 counsel for Participating Subdivisions in that State (or legislation enacted in that State) to
 provide, adjust, or guarantee attorneys’ fees and costs, whether from the Attorney Fee Fund or
 any other source recognized in the agreement or legislation.

 II.       Fees and Costs.

           A.     Total Attorneys’ Fees and Costs.

                   1.      Total attorneys’ fees and costs to be paid by Settling Distributors to
           Attorneys in each of the relevant Payment Years under this Fee Agreement shall be up to
           the following amounts, subject to the provisions set forth below, including with respect to
           the division of the Attorney Fee Fund into its sub funds:

                                 Attorney Fee Fund           MDL Expense             Litigating
                                (Contingency Fee Fund and      Fund               Subdivision Cost
                                  Common Benefit Fund)                                 Fund
       Payment Year 1                   $136,044,378.70        $40,384,615.39           $40,000,000
       Payment Year 2                   $150,934,911.25                                 $40,000,000
       Payment Year 3                   $270,825,443.80                                 $40,000,000
       Payment Year 4                   $183,625,739.68



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      Payment Year 5                $183,625,739.69
      Payment Year 6                $183,625,739.69
      Payment Year 7                $183,625,739.69

              2.      The sub funds within the Attorney Fee Fund shall include the Common
       Benefit Fund and the Contingency Fee Fund. The Cost Funds shall include the MDL
       Expense Fund, and the Litigating Subdivision Cost Fund. The State Counsel Fee Fund
       and the State Cost Fund shall be separate funds under the control of the Settling States.

               3.      The Contingency Fee Fund and the Common Benefit Fund shall be
       administered by a Fee Panel to be appointed by the MDL Court that will be governed by
       the provisions of this Fee Agreement and shall design the process and procedures for the
       allocation of fees pursuant to this Fee Agreement and the MDL Court’s Order. The Cost
       Funds shall be administered by the Cost and Expense Fund Administrator to be appointed
       by the MDL Court who will be governed by the provisions of this Fee Agreement and
       shall design the process and procedures for the allocation of costs pursuant to this Fee
       Agreement and the MDL Court’s Order.

               4.      The fees and costs to be paid under this Fee Agreement are available for
       Attorneys engaged in Qualifying Representations only. Fees and costs to be paid under
       this Fee Agreement are not available prior to the Effective Date of the Distributor
       Agreement or if the Distributor Agreement does not proceed past the Settling
       Distributors’ determination in Section VIII.A of the Distributor Agreement. Fees and
       costs to be paid under this Fee Agreement are not available for representation of Non-
       Participating Subdivisions or Non-Litigating Subdivisions and are not available for
       representation of private hospitals, third-party payors, NAS claimants, personal
       injury/wrongful death claimants, or any entity other than Participating Litigating
       Subdivisions. In addition, fees and costs under this Fee Agreement are not available for
       representation of any individual or entity in matters other than those claims against
       Released Entities, but may include a reasonable share of representations that involve
       development of facts for pursuit of opioid-related claims against multiple defendants in
       the pharmacy, manufacturing, and distribution chain.

               5.      Payments due to the Attorney Fee Fund and the Cost Funds from the
       Settling Distributors under this Section II will be allocated among the Settling
       Distributors as follows: McKesson — 38.1%; Amerisource — 31.0%; Cardinal —
       30.9%. A Settling Distributor’s sole responsibility for payments under this Fee
       Agreement shall be to make its share of each payment. The obligations of the Settling
       Distributors in this Fee Agreement are several and not joint. No Settling Distributor shall
       be responsible for any portion of another Settling Distributor’s share.

       B.     Attorney Fee Fund and Sub Funds.

              1.      There shall be a split of the Attorney Fee Fund into the Contingency Fee
       Fund and the Common Benefit Fund. The split shall be 40% to the Contingency Fee
       Fund and 60% to the Common Benefit Fund.


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               2.     In no event shall Settling Distributors be required to pay more into the
       Attorney Fee Fund in any Payment Year than the maximum amount specified for that
       Payment Year in Section II.A.1, which amounts are reflected in Exhibit M to the
       Distributor Agreement. The amounts allocated to the Contingency Fee Fund and the
       Common Benefit Fund set by the Fee Panel shall be subject to the reductions and offsets
       set forth below.

                3.      Awards of fees from the Contingency Fee Fund shall be available to
       Attorneys with Qualifying Representations of Participating Litigating Subdivisions
       eligible to receive an allocation under the Distributor Agreement, as set forth in Exhibit G
       to the Distributor Agreement, and shall be made applying the Mathematical Model
       attached as Exhibit A to this Fee Agreement (“Mathematical Model”). The collection of
       the data and calculations for the Mathematical Model has been a cooperative effort
       among private counsel for a large number of Litigating Subdivisions. The analysis has
       been spearheaded by Joseph Tann and Andrew Arnold. The Fee Panel is encouraged to
       continue working with those counsel in application of the Model. The Fee Panel shall
       oversee the application of the Model and resolve any questions or disputes concerning the
       eligibility of an Attorney to participate as required in Section II.G. The Panel is
       empowered to hear disputes concerning and ensure the accuracy of the mathematical
       calculation.

                 4.    As to awards from the Contingency Fee Fund, there shall be no right of
       appeal.

               5.     Any appeal of an award of the Fee Panel from the Common Benefit Fund
       will be made to the MDL Court and be reviewed under an abuse of discretion standard.

       C.        Common Benefit Fund. (60% of the Attorney Fee Fund.)

              1.       Funds in the Attorney Fee Fund shall be allocated to the Common
       Benefit Fund according to the schedule set forth below, subject to the adjustments
       described in Section II.C.5. The payments are to be made on the following yearly
       schedule, subject to the adjustments set forth below:

                             Payment Year 1           $81,626,627.22
                             Payment Year 2           $90,560,946.75
                             Payment Year 3          $162,495,266.28
                             Payment Year 4          $110,175,443.79
                             Payment Year 5          $110,175,443.79
                             Payment Year 6          $110,175,443.79
                             Payment Year 7          $110,175,443.79
                             Total:                  $775,384,615.41




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             2.     The Common Benefit Fund shall be available to compensate Attorneys
       engaged in Qualifying Representations of Participating Litigating Subdivisions who:

                     a.        have performed work for the common benefit of all subdivisions
              pursuant to the guidelines established by Judge Polster set forth in MDL 2804 and
              the Order dated June 19, 2018, under docket number 636, which is included
              herein by reference; and

                      b.       satisfy the eligibility criteria set forth in Section II.G.

                      For purposes of Common Benefit Fund distribution, notwithstanding
                      Section II.A.4 above, Attorneys representing Tribal Nations litigating
                      against the Settling Distributors that have reached a settlement for
                      Released Claims with Settling Distributors and/or Released Entities and
                      meet the eligibility criteria in Section II.G shall be eligible.

               3.     The Common Benefit Fund shall be overseen by the Fee Panel, which
       shall determine the allocation of funds to eligible Attorneys consistent with this Fee
       Agreement and the June 19, 2018 Order.

                4.      In assessing the benefits that an Attorney has conferred to Participating
       Subdivisions (including non-Litigating Subdivisions) and/or Tribal Nations for purposes
       of any compensation decision, the Fee Panel shall give significant weight to the extent to
       which (i) the Attorney and his or her clients have contributed to increasing (or reducing)
       the Initial Participation Tier achieved through participation in the Distributor Agreement;
       (ii) the Attorney and his or her clients have contributed to increasing (or reducing) the
       amounts achieved under Incentive Payments A-D through participation in the Distributor
       Agreement; and (iii) the Attorney and his or her clients have contributed to the potential
       triggering of any suspension, reduction, or offset of Payment amounts under the
       Distributor Agreement. The Fee Panel may also consider additional fee recoveries the
       Attorney may potentially obtain, including, but not limited to, from State Back-Stop
       Agreements, representations of States or Tribal Nations, representations of other clients
       in opioids-related matters, or through the representation of Subdivision clients, whether
       they participated in the Distributor Agreement or not. It is the intent of this provision to
       recognize that the goal of the Distributor Agreement is to provide for maximum
       participation by the Subdivisions, maximum abatement funding for all Subdivisions
       nationally, and the maximum peace for Released Entities. Therefore, representing a Non-
       Participating Subdivision does not further the goal of the Distributor Agreement and
       should not be considered Common Benefit because it does not increase funds available to
       Participating Subdivisions’ abatement programs. Representing Later Litigating
       Subdivisions is antithetical to the Distributor Agreement, detracts from Common Benefit,
       and is addressed by the ethics opinion discussed in Section II.I.4. The Fee Panel shall
       consider this concept of “common detriment” set forth in this Section II.C.4 in all of its
       decisionmaking with respect to the allocation of the Attorney Fee Fund among Attorneys,
       as well as, in its discretion, any offsets provided to Settling Distributors as set forth in
       Section II.C.6. The Fee Panel shall consider the totality of the Attorney’s Participating
       Litigating Subdivisions as compared to the Attorney’s Non-Participating Litigating


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       Subdivisions; the Parties recognize that, although the goal is for 100% participation,
       Attorneys with a higher number of clients have a higher probability of having one or
       more Non-Participating Litigating Subdivision client. As used in this Section II.C.4,
       “client” or “representing” a Subdivision shall include any Litigating Subdivision as to
       which the Attorney has a Fee Entitlement.

               5.     As set forth in Section II.C.6, the Fee Panel must consider the factors
       described in Section II.C.4 to determine how and whether to reduce the amounts to be
       paid by Settling Distributors under this Fee Agreement and to determine how to allocate
       funds among Attorneys. They may also, at their discretion, consider other factors. Any
       reduction in payment obligation or credit to be given a Settling Distributor in this Fee
       Agreement shall be applied against Payment Year 7 and working backwards. Any
       reduction to an Attorney not credited to Settling Distributors shall be allocated to
       attorneys whose Litigating Subdivision clients participated in the settlement by the Initial
       Participation Date.

               6.      The amounts to be provided as a credit or offset to Settling Distributors
       from the Common Benefit Fund shall depend on the relevant Participation Tier achieved,
       set forth in Exhibit H of the Distributor Agreement, as follows:

                    a.        At Participation Tier 1 or below, the Common Benefit Fund
              payments to be paid by Settling Distributors shall be reduced as follows:

                                (i)    With respect to any Attorney seeking payment from the
                       Common Benefit Fund, the Fee Panel shall compare the aggregate
                       allocation that Participating Litigating Subdivisions with which the
                       Attorney has a Fee Entitlement would receive using the negotiating class
                       allocation metrics with the aggregate amount that all Litigating
                       Subdivisions (Participating and Non-Participating) with which the
                       Attorney has a Fee Entitlement would receive using the negotiating class
                       allocation metrics, provided that only Litigating Subdivisions in Settling
                       States shall be considered for this ratio. The Fee Panel will multiply the
                       amount to be paid to that Attorney from the Common Benefit Fund by
                       that ratio, reduce the Attorney’s award by a maximum reduction of 15%,
                       and the dollar amount of such reduction shall be deducted, dollar-for-
                       dollar, from the amount owed by Settling Distributors to the Common
                       Benefit Fund of the Attorney Fee Fund.

                               (ii)    In the event that any Non-Participating Subdivision that is
                       (a) under the jurisdiction of the MDL Court or (b) represented by an
                       Attorney that is obligated to pay into the MDL Common Benefit Fund
                       pursuant to a Participation Agreement, an order of the MDL Court, or
                       any other arrangement settles with or wins a judgment against a Released
                       Entity separate from the Distributor Agreement, and such settlement or
                       judgment results in a common benefit fee assessment or fee payment into
                       the MDL Common Benefit Fund during the time of Settling Distributors’
                       obligation to pay fees under this Fee Agreement, Settling Distributors’


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                     obligation to pay into the Common Benefit Fund shall be reduced dollar-
                     for-dollar for any amount of such fee assessments or payments (in the
                     aggregate based on all reductions in this Section II.C.6.a.ii that exceed
                     the reductions in Section II.C.6.a.i).

                             (iii) For the avoidance of doubt, in Tier 1 for each settlement
                     or judgment with the Settling Distributors that results in an assessment or
                     payment to the MDL Common Benefit Fund, that payment shall result in
                     an offset for the Settling Distributors, unless the assessment or payment
                     occurs after the Payment Date for Year 7.

                   b.        At Participation Tier 2, the Common Benefit Fund payments to
             be made by Settling Distributors shall be reduced only as follows:

                             (i)     Reduction by the Fee Panel. With respect to all Attorneys
                     making an application that seeks payment from the Common Benefit
                     Fund, the Fee Panel shall, following a determination that an Attorney is
                     eligible under Section II.G, apply the criteria specified in Section II.C.4
                     in determining whether the lack of participation by Subdivisions with
                     which an Attorney has a Fee Entitlement has resulted in a reduction in
                     the Participation Tier achieved, reduction in benefit to Participating
                     Subdivisions as a result of reductions in Incentive Payments A-D, and/or
                     potential triggering of a suspension, reduction or offset under the
                     Distributor Agreement. If the Fee Panel concludes that such a reduction
                     has occurred, it must consider (1) the relative size of the Non-
                     Participating Subdivision, as adjusted by the severity measures reflected
                     in Exhibit H (governing the Participation Tiers) of the Distributor
                     Agreement, and the impact of its non-participation on the Distributor
                     Agreement as a whole (including amounts of Incentive Payments and
                     triggering of suspensions, reductions or offsets); (2) whether and by how
                     much the payment to the Attorney from the Common Benefit Fund
                     should be reduced as a result of the impact of such non-participation on
                     Participating Subdivisions; and (3) whether some or all of said reduction
                     should revert to Settling Distributors due to the reduction in peace
                     obtained from the Distributor Agreement. Consideration of the factors
                     discussed in this Section II.C.6.b.i and Section II.C.4 is mandatory. The
                     decision whether to (and by how much to) reduce payments by Settling
                     Distributors or to reduce the payment to any Attorney based on the
                     factors in Section II.C.4 shall be in the sole discretion of the Fee Panel.

                            (ii)    Offsets.

                                    (1)    In the event that any Non-Participating
                            Subdivision that is (a) under the jurisdiction of the MDL Court or
                            (b) represented by an Attorney that is obligated to pay into the
                            MDL Common Benefit Fund pursuant to a Participation
                            Agreement, an order of the MDL Court, or any other arrangement


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                               settles with or wins a judgment against a Released Entity separate
                               from the Distributor Agreement, and such settlement or judgment
                               results in a common benefit fee assessment or fee payment into
                               the MDL Common Benefit Fund during the time of Settling
                               Distributors’ obligation to pay Common Benefit Fees under this
                               Fee Agreement, Settling Distributors’ obligation to pay into the
                               Common Benefit Fund shall be reduced dollar-for-dollar up to
                               the amount of the fee assessment or payment, except that such
                               amount shall be capped at 7.5% of the amount of the settlement
                               or judgment. Such reduction shall be taken first from Payment
                               Year 7 of Settling Distributors’ payments to the Common Benefit
                               Fund of the Attorney Fee Fund up to the full amount of Settling
                               Distributors’ payment obligation in Payment Year 7, then from
                               Payment Year 6, and so on.

                                       (2)    For the avoidance of doubt, for each settlement or
                               judgment with the Settling Distributors that results in an
                               assessment or payment to the MDL Common Benefit Fund, that
                               payment shall result in an offset for the Settling Distributors,
                               unless the assessment or payment occurs after the Payment Date
                               for Payment Year 7.

                      c.       At Participation Tier 3, the reductions to the Attorney Fee Fund
              shall be the same as set forth in Section II.C.6.b, except that the cap on each offset
              shall be 5% of the amount of such settlement or judgment.

                      d.        At Participation Tier 4, there shall be no reductions to the Settling
              Distributors’ obligations to make payment into the Common Benefit Fund, but the
              principles set forth in Section II.C.4 shall continue to apply.

       D.     Contingency Fee Fund. (40% of the Attorney Fee Fund.)

              1.       Funds from the Attorney Fee Fund shall be allocated to the Contingency
       Fee Fund on the following yearly schedule, subject to the adjustments set forth below:

                            Payment Year 1            $54,417,751.48
                            Payment Year 2            $60,373,964.50
                            Payment Year 3           $108,330,177.52
                            Payment Year 4            $73,450,295.88
                            Payment Year 5            $73,450,295.88
                            Payment Year 6            $73,450,295.88
                            Payment Year 7            $73,450,295.88
                            Total:                   $516,923,077.32



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               2.       The Contingency Fee Fund shall be available to compensate Attorneys
       engaged in Qualifying Representations of Participating Litigating Subdivisions that meet
       the criteria set forth in Section II.G.

              3.      The Contingency Fee Fund shall be available to Attorneys who:

                     a.      represent Litigating Subdivisions that are Participating
              Subdivisions, whether their actions are filed in state or federal court; and

                      b.       meet the eligibility criteria of Section II.G.

                      c.        Participation in the Contingency Fee Fund by counsel that have a
              case that is not subject to the jurisdiction of the MDL Court shall not create,
              provide, or waive jurisdiction of the MDL Court over that Litigating Subdivision,
              that case or Attorneys, other than to oversee the fairness of the distribution
              process, and enforcement of this Fee Agreement.

               4.    The amounts owed by Settling Distributors to the Contingency Fee Fund
       shall depend on the relevant Participation Tier set forth in Exhibit H of the Distributor
       Agreement as follows:

                    a.        At Participation Tiers 1, 2 and 3, the Contingency Fee Fund
              payments shall be reduced as follows:

                               (i)     For Non-Settling States, the Contingency Fee Fund
                       payments shall first be reduced by the amounts identified by the Fee
                       Panel, pursuant to Section II.H.6, that would have been owed to counsel
                       for Litigating Subdivisions in Non-Settling States, had those States and
                       those Litigating Subdivisions been Settling States and Participating
                       Subdivisions.

                               (ii)    Following the calculation in Section II.D.4.a.i, the
                       Contingency Fee Fund payments shall be reduced to reflect the non-
                       joinder of Litigating Subdivisions in Settling States by subtracting the
                       amounts identified by the Fee Panel, pursuant to Section II.H.6, that
                       would have been owed to counsel for Non-Participating Litigating
                       Subdivisions in Settling States had such Litigating Subdivisions been
                       Participating Subdivisions.

                     b.      At Participation Tier 4, there shall be no reductions in the
              Contingency Fee Fund.

                     c.        In the event that the Settling Distributors, prior to the Effective
              Date of the Distributor Agreement, settle with any Litigating Subdivision and,
              under such settlement agreement pay attorneys’ fees, the Fee Panel shall treat
              those Litigating Subdivisions as Participating Litigating Subdivisions and,
              applying the same criteria applicable to all Attorneys for Participating Litigating


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              Subdivisions, determine what amount they would have been paid from the
              Contingency Fee Fund if they had become Participating Subdivisions under the
              Distributor Agreement without such prior settlement. That sum, rather than being
              paid to the Attorney for the previously settled Litigating Subdivision, shall be
              credited and/or returned to the Settling Defendants as if determined under Section
              II.D.4.a.ii above, except that such credit shall not be greater than the amount to
              the Attorneys paid under the Litigating Subdivision’s prior settlement agreement.

       E.     Litigating Subdivision Cost Fund.

              1.      The Settling Distributors shall pay $120,000,000 into the Subdivision
       Cost Fund, according to the schedule set forth below:

                      Payment Year 1                       $40,000,000
                      Payment Year 2                       $40,000,000
                      Payment Year 3                       $40,000,000

               2.      The Litigating Subdivision Cost Fund shall be available to compensate
       Attorneys for costs and expenses arising out of representation of Participating Litigating
       Subdivisions or to compensate Participating Litigating Subdivisions for direct in-house
       costs for expenditures related to their litigation against the Settling Distributors, including
       the cost of in-house employees. No funds in the Litigating Subdivision Cost Fund may
       be used to compensate the costs incurred by Non-Participating Subdivisions or Non-
       Litigating Subdivisions or costs and expenses arising out of representation of any such
       Subdivision. In allocating the Litigating Subdivision Cost Fund, the Administrator shall
       not allocate any funds for costs incurred after July 21, 2021.

               3.      During the period between July 21, 2021, and the Effective Date, the
       MDL PEC, as well as Litigating Subdivisions eligible to claim costs from the Litigating
       Subdivision Cost Fund shall make best efforts to cease litigation activity against Settling
       Distributors, including by jointly seeking stays or severance of claims against the Settling
       Distributors, where feasible, or postponements if a motion to stay or sever is not feasible
       or is denied, so long as such actions are not otherwise detrimental to the Litigating
       Subdivision.

               4.      In the event that the Settling Distributors, prior to the Effective Date of the
       Distributor Agreement, settle with any Litigating Subdivision and, under such settlement
       agreement pay costs to the Litigating Subdivision or its Attorney, the MDL Cost and
       Expense Fund Administrator shall treat those Litigating Subdivisions as Participating
       Litigating Subdivisions and, using the same criteria applicable to all applicants to the
       Subdivision Cost Fund, determine what amount in costs the Litigating Subdivision or its
       Attorney would have been paid from the Litigating Subdivision Cost Fund if it had
       settled under the Distributor Agreement. That sum, rather than being paid to the Attorney
       or the previously settling Litigating Subdivision, shall be credited and/or returned to the
       Settling Defendants, except that such sum shall not be greater than the amount paid under
       the previously settled Litigating Subdivision’s settlement agreement.


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               5.      The MDL Court shall appoint a Cost and Expense Fund Administrator,
       who shall develop a process and criteria, with input from participating counsel, by which
       to (a) determine the distribution of amounts from the MDL Expense Fund in pursuit of
       the claims against Settling Distributors; and (b) receive and evaluate applications from
       Participating Litigating Subdivisions, whether filed in Federal Court or State Court, to
       seek reimbursement from the Litigating Subdivision Cost Fund for eligible costs under
       Section II.E.2 in pursuit of the claims against the Settling Distributors. The Cost and
       Expense Fund Administrator shall require transparency from all applicants as to any other
       sources for compensating Attorneys for Litigating Subdivisions for costs incurred. The
       Cost and Expense Fund Administrator shall be compensated from the Fund.

               6.      In the event that the total amount of reimbursements from the Litigating
       Subdivision Cost Fund approved as reasonable by the Cost and Expense Administrator is
       less than the $120,000,000, any remaining funds shall revert to the Settling Distributors.

       F.      MDL Expense Fund.

              1.        In Payment Year 1 of the Distributor Agreement, the Settling
       Distributors shall pay the following amount into the MDL Expense Fund:

                          MDL Expense Fund                    $40,384,615

               2.      The MDL Expense Fund shall be released following the Effective Date of
       this Fee Agreement without any delay to reimburse the MDL Counsel for an agreed-to
       portion of the expenses incurred, as approved by the Cost and Expense Fund
       Administrator. The MDL Expense Fund will be paid directly to the MDL Cost Account,
       set up by MDL Order and will be administered under the ongoing jurisdiction of the
       MDL Court, as provided below. No funds may be used to compensate the costs incurred
       by Non-Participating Subdivisions or to compensate any Attorney for costs incurred in
       representing one or more Non-Participating Subdivisions.

               3.      In allocating the MDL Expense Fund, the Administrator shall not allocate
       any funds for costs incurred after July 21, 2021, unless the Administrator determines that
       there are sufficient funds to cover all subdivision costs incurred prior to July 21, 2021 and
       that special circumstances exist to justify costs incurred following the public
       announcement of the Distributor Agreement.

       G.      Eligibility.

               1.        It is the intention of all parties participating in the Fee Panel process that
       there should be total transparency to the Fee Panel and to all fund participants. In
       connection with the process to be developed by the Fee Panel, any and all monies in
       attorney’s fees, including referral fees, expenses paid, promises for payment, or any other
       Fee Entitlement, to any applicant in any opioid litigation shall be disclosed to the Fee
       Panel as a condition of participating in the Attorney Fee Fund and prior to an award from
       the Fee Panel. Any payment, expectation of payment or perceived entitlement to
       participate in a State Back-Stop Agreement or any other agreement reached with a


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       Settling State or any Subdivision or any other source regarding payment of fees must be
       disclosed to the Fee Panel. Similarly, any right to payment from any other fund, for
       example a fund for payment to lawyers representing Settling States or Tribal Nations or
       Subdivisions shall be disclosed to the Fee Panel. Because it is anticipated that there will
       be multiple firms listed on contingent fee agreements with Litigating Subdivisions, the
       Fee Panel shall establish procedures, with input from Attorneys for Participating
       Litigating Subdivisions, for who should petition for fees from such groups and to whom
       the fee shall be paid and thereafter distributed to co-counsel in accordance with
       applicable agreements. For the avoidance of doubt, all Attorneys that are part of such
       groups must meet the eligibility criteria in Section II.G, must be subject to the criteria set
       forth in Section II.C.4, and must be disclosed to the Fee Panel.

               2.       An Attorney may apply for and recover attorneys’ fees from the Common
       Benefit Fund, the Contingency Fee Fund, and the Litigating Subdivision Cost Fund and
       any fund created by a past or future State Back-Stop Agreement, provided the Attorney
       satisfies the requirements relevant to each such fund and requirements for disclosure to
       the Fee Panel.

               3.     An Attorney may not receive any payment from the Attorney Fee Fund
       (which includes both the Contingency Fee Fund and the Common Benefit Fund) unless
       the following eligibility criteria are met and annually certified by the Attorney:

                      a.       The Attorney must expressly waive the enforcement against the
              Litigating Subdivision client of all Fee Entitlements (other than under State Back-
              Stop Agreements) arising out of or related to any or all Qualifying
              Representations of any Participating Litigating Subdivision prior to applying for
              attorneys’ fees from the Attorney Fee Fund or costs from the Cost Funds. All
              applications for attorneys’ fees or costs under this Fee Agreement shall include an
              affirmation by the Attorney of such waiver and notice to the client(s) of such
              waiver. Such waiver shall not preclude the Attorney from submitting such Fee
              Entitlements to the Fee Panel as a factor for consideration in allocating payments
              from the Attorney Fee Fund or in connection with a State Back-Stop Agreement.
              For the avoidance of doubt, no Attorney may recover fees under this Fee
              Agreement unless the Attorney expressly agrees not to enforce Fee Entitlements
              as to each and every Participating Litigating Subdivision represented by that
              Attorney, but such Attorneys may participate in and receive funds from a State
              Back-Stop Agreement.

                     b.        The Attorney must represent that s/he has no present intent to
              represent or participate in the representation of any Later Litigating Subdivision
              or any Releasor with respect to Released Claims against Released Entities.

                      c.       The Attorney must represent that s/he has not and will not engage
              in any advertising or solicitation related to Released Claims against Released
              Entities where such advertising or solicitation relates to a representation that the
              Attorney could not undertake consistent with the ethics opinion referenced in
              Section II.I.4.


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                      d.        The Attorney must represent s/he will not charge or accept any
              referral fees for any Released Claims brought against Released Entities by Later
              Litigating Subdivisions. For the avoidance of doubt, this representation shall not
              prohibit Attorneys from receiving allocated shares of any future common benefit
              assessments arising out of settlements or judgments with Later Litigating
              Subdivisions represented by other Attorneys that are the result of the MDL
              Court’s Common Benefit order.

                     e.       The Attorney may not have and must represent that s/he does not
              have a Fee Entitlement related to a Later Litigating Subdivision.

                     f.       The Attorney must certify that s/he has reviewed the ethics
              opinion referenced in Section II.I.4 and will act in conformity with such opinion.

                      g.       The Attorney must fully disclose the participation, or the
              anticipation of participation, in any agreement with a Settling State or
              Participating Subdivision concerning fees arising out of or related to the
              Distributor Agreement, including any fees paid or anticipated to be paid or any
              State Back-Stop Agreement.

                      h.         The Attorney must identify for the Fee Panel whether s/he
              utilized state litigation work product or MDL work product, including but not
              limited to ARCOS data, document repositories, experts developed in the MDL,
              and deposition transcripts. The Attorney must identify whether s/he signed the
              MDL Participation Agreement, and for which case(s) it was signed.

                      i.       Any Attorney who applies for fees from one or both Funds must
              represent that, having exercised his/her independent judgment, s/he believes the
              Distributor Agreement to be fair and will make or has made best efforts to
              recommend the Distributor Agreement to his or her Subdivision clients in Settling
              States. For the avoidance of doubt, each Attorney is expected to exercise his or
              her independent judgment in the best interest of each client individually before
              determining whether to recommend joining the settlement. All applications for
              attorneys’ fees or costs under this Section II shall include an affirmation by the
              Attorney in compliance with this Section II.G.

              4.       No Attorney receiving fees under this Fee Agreement may apply for or
       recover from the Attorney Fee Fund fees arising from representing a Non-Settling State
       or a Non-Participating Subdivision. All applications for attorneys’ fees under this
       Section II shall include an affirmation by the Attorney of compliance with this Section II.

              5.       An Attorney who has filed an application under this Section II and
       received an award of attorneys’ fees shall provide a certification of compliance this Fee
       Agreement annually during the years upon which they are still entitled to receive
       attorneys’ fee payments.

               6.      If, at any time, the Attorney is unable to make the representations set forth
       in this Section II.G.3, such representations become untrue, or the Attorney falsely


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       represents compliance with the eligibility criteria, the Attorney shall cease to be eligible
       to receive funds from the Attorney Fee Fund until further review by the Fee Panel of the
       Attorney’s eligibility under and compliance with this Section II.

               7.     If an Attorney has a Fee Entitlement from a Later Litigating Subdivision
       or otherwise becomes unable to reaffirm compliance with the eligibility criteria set forth
       above, the Attorney shall notify Settling Distributors and the Fee Panel. For the
       avoidance of doubt, any Attorney who undertakes any new representation of, or has a Fee
       Entitlement to, a Later Litigating Subdivision shall be prohibited from receiving any
       future funds from the Attorney Fee Fund. If an Attorney fails to notify Settling
       Distributors and the Fee Panel of such Fee Entitlement to a Later Litigating Subdivision,
       the Attorney shall be required to refund amounts previously paid.

              8.      In the event that an Attorney is deemed ineligible by the Fee Panel
       (whether based on its initial application or subsequent recertification), the Fee Panel shall
       provide notice to the Attorney and give the Attorney 30 days to provide additional
       information such that the Fee Panel could reconsider the Attorney’s eligibility.

               9.      To the extent that an Attorney has a Fee Entitlement with a Participating
       Subdivision and is authorized to bring Released Claims against Released Entities, but
       such authorization is, in scope, less broad than the category of Released Claims set forth
       in the Distributor Agreement, such Attorney may participate fully in both the
       Contingency Fee Fund and the Common Benefit Fund, without any reduction imposed by
       the Fee Panel due to the scope of the authorization, so long as the Participating
       Subdivision fully releases all Released Claims against Released Entities.

               10.      Attorneys applying to the Attorney Fee Fund knowingly and expressly
       agree to be bound by the decisions of the Fee Panel, subject to the limited appeal rights
       set forth in this Fee Agreement, and waive the ability to assert the lack of enforceability
       of the allocation reached through the arbitration procedures outlined herein.

       H.     Calculation of Amounts Due.

                1.       The Fee Panel shall be solely responsible for determining the amount of
       fees to be paid to each Attorney and each Participating Subdivision that applies under this
       Section II. None of the Released Entities shall have any responsibility, obligation, or
       liability of any kind whatsoever with respect to how attorneys’ fees are calculated under
       this Section II, except that the Fee Panel may receive information from the Settling
       Distributors (a) as to the identity of Participating, Non-Participating, Litigating, Later
       Litigating, and Non-Litigating Subdivisions; (b) the impact of non-participation by a
       Litigating Subdivision as is relevant to the Fee Panel’s determination in Section II.C.4;
       and (c) such other information as Settling Distributors may voluntarily elect to provide.

              2.      The Fee Panel shall establish procedures for the arbitration process
       consistent with this Fee Agreement and orders of the MDL Court. Such procedures may
       include submission of documentary and/or other evidence, interviews with applicants
       and/or other counsel (including counsel for Settling Distributors) that the Fee Panel



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       deems appropriate, and/or other means of creating a record upon which fee awards will
       be based.

                3.      In making determinations under this Fee Agreement, the Fee Panel must
       apply the eligibility criteria set forth in Section II.G of this Fee Agreement and the
       criteria set forth in Section II. In addition, the Fee Panel will give consideration in regard
       to Common Benefit awards to the Johnson factors, as well as the following factors
       (which factors may be applied and given relative weight in the Fee Panel’s discretion):

                      a.      The Attorney’s contemporaneously recorded time and labor
              dedicated to Qualifying Representations along with the Attorney’s financial
              commitment to such Qualifying Representations. Claimed “time” will not be
              automatically accepted by the Fee Panel but will be critically reviewed and given
              substantially more weight and consideration if such time was subject to the audit
              process described in any Pretrial Order(s) governing the collection of common
              benefit time;

                    b.        The novelty, time, and complexity of the Qualifying
              Representations;

                     c.        The skill requisite to perform legal services properly and
              undesirability of the case;

                     d.       The preclusion of other employment by the Attorney due to time
              dedicated to Qualifying Representations;

                      e.       The “common benefit,” if any alleged to have been conferred by
              the Attorney and whether such common benefit work product by that Attorney
              was used by others in parallel litigations against Released Entities whether within
              or outside the MDL, provided that for any Attorney claiming that s/he
              substantially benefited cases other than those in which s/he entered an appearance
              as counsel must substantiate such claims by proffering factual support, such as
              proper supporting affidavits or other documents as determined by the Fee Panel
              with input from Attorneys for Participating Litigating Subdivisions;

                      f.        Any “common detriment,” as set forth in Section II.C.4.

                      g.      Any contingent fee agreements or other Fee Entitlement with
              Participating Subdivisions, enforcement of which, except for State Back-Stop
              Agreements, are waived in conjunction with the application, the nature and extent
              of any work for those Participating Subdivisions, whether such Participating
              Subdivisions actively litigated and, if so, the nature and procedural history of such
              case(s);

                      h.        The experience, reputation, and ability of the Attorney;

                     i.       Whether the Attorney’s clients brought Released Claims against
              Released Entities;


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                    j.        The status of discovery in cases primarily handled by the
             Attorney;

                     k.       The nature of any work by the Attorney on “bellwether” cases or
             cases that were similarly active in litigation;

                    l.        Any pressure points successfully asserted by the Attorney in
             cases against Settling Distributors or any risk for Settling Distributors created by
             the Attorney in cases against them;

                     m.       Any risk for defendants created by applicants in cases against the
             Setting Distributors;

                    n.        Successful and unsuccessful motion practice in cases worked on
             by the Attorney;

                     o.       The date of filing of any cases filed by the Attorney;

                     p.       Obtaining consolidation of the litigation in the Attorney’s
             jurisdiction;

                    q.        The number and population of entities represented by the
             Attorney and the fees that would have been awarded under extinguished
             contingent fee arrangements;

                     r.       Whether the Attorney’s clients brought claims against the
             Settling Distributors;

                   s.         Whether the Attorney has had a leadership role in the litigation,
             whether in state or federal court;

                    t.       Whether the Attorney has had a leadership role in any
             negotiations aimed at resolving the litigation;

                     u.       Whether the Attorney’s cases have survived motions to dismiss;

                     v.        The extent to which the Attorney contributed to the work product
             user for the common benefits of opioids litigants, including, without limitation,
             work on ARCOS data, Prescription Data Monitoring Programs, IQVIA data,
             depositions, document production and analysis experts, motions, briefs and
             pleadings, trial preparations, and trials;

                      w.        The extent to which litigation was done prior to and contributed
             to completion of settlement negotiations, as distinct from litigation that was done
             litigating after the announcement of the Distributor Agreement, such latter
             litigation both being of less value and potentially resulting a common detriment to
             the settlement process; and



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                     x.        Any other factors that the Fee Panel finds to be appropriate to
              consider after input from applicants to the Attorney Fee Fund.

              4.       The Fee Panel shall develop procedures for receiving a single application,
       which may be updated or amended based on new information (such as participation by
       additional Litigating Subdivisions) from each Attorney seeking compensation from the
       Attorney Fee Fund, procedures shall not be inconsistent with this Fee Agreement. Any
       request for attorneys’ fees not included on the single application or through the
       updating/amendment process designed by the Fee Panel shall be deemed waived. For
       purposes of transparency and to permit the Fee Panel to conduct its work, the application
       from each Attorney shall, at a minimum, require each Attorney to:

                    a.       Identify all Litigating Subdivisions for which s/he is seeking
              payment from the Attorney Fee Fund;

                      b.       Identify all Subdivisions in both Settling and Non-Settling States
              with respect to which s/he has a Fee Entitlement with respect to Relevant Claims
              against Released Entities, and identify all co-counsel in such cases;

                     c.      Identify which of those Subdivisions are Participating
              Subdivisions and which are not;

                    d.       Specify the specific fund or funds within the Attorney Fee Fund
              from which the Attorney is seeking compensation;

                      e.        Demonstrate his or her eligibility for compensation from the
              relevant sub funds within the Attorney Fee Fund pursuant to the criteria set forth
              for the relevant sub fund; and

                      f.       Identify any and all Fee Entitlements from representations of
              States, Tribal Nations, or other plaintiffs related to Released Claims against
              Released Entities or in opioids-related matters.

                      Notwithstanding Sections II.H.4.a-f above, the Panel may consider a
                      supplemental application if the Attorney shows good cause why
                      circumstances exist that will lead to consideration for additional Common
                      Benefit award. Examples would include, but are not limited to, an
                      Attorney having Non-Participating Litigating Subdivision clients that
                      subsequently become Participating Subdivisions, a Bar Date passes that
                      increases participation or the Participation Tier or an Allocation
                      Agreement is reached.

              5.      With respect to the Common Benefit Fund, the Fee Panel shall (subject to
       any applicable MDL Court Order):

                     a.        Review the applications of all Attorneys seeking compensation
              from the Common Benefit Fund, including determining eligibility for each
              Attorney as set forth in Section II.G.


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                      b.       Reduce, on an annual basis, the Distributor’s payment
              obligations, as set forth in Section II.C.6. The Panel shall inform the Settling
              Distributors and the MDL PEC of all such amounts and adjust the Settling
              Distributors’ payment obligations accordingly.

                      c.       Using criteria set forth in Sections II.C and II.G, allocate amounts
              from the Common Benefit Fund to eligible Attorneys, including payment amounts
              for each Payment Year. In making such allocations (regardless of the
              Participation Tier achieved), the Panel shall apply the principles set forth in
              Section II.C.4 and shall allocate any reduction in the payments of Settling
              Distributors specified in Section II.C.6 to the amounts paid to Attorneys with a
              Fee Entitlement to Litigating Subdivisions that are not Participating Subdivisions.

              6.      With respect to the Contingency Fee Fund, the Fee Panel shall:

                     a.        Review the applications of all Attorneys seeking compensation
              from the Litigating Subdivision Fee Fund, including determining eligibility for
              each Attorney as set forth in Section II.G.

                      b.       Apply the Mathematical Model in Exhibit A.

                      c.       Use such allocations to reduce payments, on an annual basis, the
              payment obligations of the Settling Distributors to the Attorney Fee Fund as set
              forth in Section II.D.4, and distributions therefrom, and inform the Settling
              Distributors and MDL PEC of all such adjustments.

               7.      To the extent that there is a dispute about the calculations of the Fee Panel
       related to the amounts that Settling Distributors are required to pay (including application
       of any reductions or offsets under this Fee Agreement), such disputes shall be presented
       to the Fee Panel and any disputed funds be paid into/held in escrow. The Fee Panel shall
       resolve such disputes expeditiously, with either Party having the right to seek review
       from the MDL Court.

               8.       For purposes of determination of fee or cost awards, allocations,
       reductions and possible reversions under this Fee Agreement, unless specified otherwise
       a Subdivision will be considered a Non-Participating Subdivision if it is not a
       Participating Subdivision as of the deadline for the application for the fee or cost award at
       issue (or, if the determination does not involve a specific application, the date on which
       the record for such determination closes).

               9.      In the event that the Fee Panel, through the use of the Mathematical Model
       set forth in Exhibit A, allocates funds from the Contingency Fee Fund for an Attorney
       based on a Qualifying Representation of a Participating Litigating Subdivision or
       allocates cost to such Participating Litigating Subdivision and that Subdivision is in a
       Settling State in which the Consent Judgment has not been approved, such funds shall be
       placed into escrow until the Consent Judgment is approved, after which time they shall be
       released.



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       I.     Miscellaneous.

               1.        The costs associated with the Fee Panel prior to the Effective Date of this
       Fee Agreement shall be funded by Settling Distributors. The Fee Panel shall charge an
       hourly rate that has been previously approved by a federal or state court and shall provide
       a budget and a cap for such work prior to the Effective Date, which shall be approved by
       Settling Distributors and such approval shall not be unreasonably withheld. Settling
       Distributors shall receive a refund for any such payment of pre-Effective Date costs from
       interest that accrues on the monies in the Attorney Fee Fund (including interest that
       accrues during such time as the Attorney Fee Fund monies are in escrow prior to the
       Effective Date of the Distributor Agreement), up to the amount of such costs. Post-
       Effective Date, the cost of the Fee Panel shall be charged against the applicable Fee Fund
       based on allocation by the Fee Panel and shall not be otherwise funded by Settling
       Distributors. The costs associated with the Cost and Expense Fund Administrator shall
       be paid from funds in the MDL Expense Fund and the Litigating Subdivision Cost Fund
       and shall not be otherwise funded by Settling Distributors.

               2.     The MDL PEC will seek, and the Attorneys General for Settling States
       and the Settling Distributors will not oppose, a Common Benefit Fee Order requiring an
       assessment of 7.5% on the gross recovery (by judgment or settlement) of any Non-
       Participating Subdivision that is subject to the federal court jurisdiction, represented by a
       MDL PEC firm, represented by any Attorney receiving fees from the Common Benefit
       Fund, represented by any Attorney that signed a Participation Agreement or paid in a
       case otherwise under the jurisdiction of the MDL Court.

               3.     The MDL PEC shall provide to Settling Distributors information they
       have that identifies Attorneys who represent Litigating Subdivisions who are not
       Participating Subdivisions and who have an obligation to pay a common benefit
       assessment, either due to the MDL Court’s orders or to having signed a Participation
       Agreement.

               4.      The MDL PEC shall retain ethics counsel of its choice to provide an
       opinion that addresses the compliance of its ethical obligations, as it relates to the
       Distributor Agreement. Such opinion shall address the issue of the potential conflict of
       interest for an Attorney that had represented a Participating Subdivision also representing
       a Later Litigating Subdivision as defined in the Distributor Agreement. This Section II.I
       shall be enforceable to the extent permitted by the equivalent to Rules 1.16 and 5.6 of the
       ABA Model Rules of Professional Conduct in the relevant jurisdictions. The opinion
       shall be provided to the Settling Distributors as soon as it is completed and, in any event,
       prior to July 31, 2021 and shall be disseminated to counsel eligible to apply to the
       Attorney Fee Fund within 30 days of the announcement of the Distributor Agreement.
       The MDL PEC represents that it will comply with this opinion until the Reference Date
       and thereafter if the Distributor Agreement proceeds. The cost of such expert work done
       prior to the Effective Date of the Distributor Agreement shall be funded by Settling
       Distributors.




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               5.      Participating Subdivisions agree to instruct their counsel to treat
        information, work product and expert materials as secret under Rule 1.6 of the ABA
        Model Rules of Professional Conduct. Accordingly, an Attorney shall not share
        information or work product with, or experts or materials to, non-participants (other than
        the Attorney’s own current clients or their lawyers, consultants, experts or other
        representatives or agents). However, nothing herein shall prevent MDL Leadership or
        PEC Counsel from fulfilling their obligations in any MDL and the MDL Court Order.

 III.   Miscellaneous.

         A.     Termination. If the Distributor Agreement does not proceed past the Reference
 Date, whether because the Settling Distributors do not determine to proceed or for any other
 reason, this Fee Agreement shall be null and void, Settling Distributors shall have no obligation
 to make any payments under this Fee Agreement, and the Settling Distributors and the MDL
 PEC shall take such steps as are necessary to restore the status quo ante.

         B.      MDL Court Consideration. This Fee Agreement shall be attached as an exhibit to
 the Distributor Agreement. This Fee Agreement shall also be submitted jointly by the Settling
 Distributors and the MDL PEC to the MDL Court for approval pursuant to the motion that shall
 be attached, prior to the Preliminary Agreement Date of the Distributor Agreement, to this Fee
 Agreement as Exhibit B.

                1.       In the event that the MDL Court, through an order, makes any change to
        the amounts potentially to be paid by Settling Distributors under this Fee Agreement,
        makes any change to the Fee Panel’s consideration of the factors set forth in Section
        II.C.4, or any other material change to the draft Order attached as part of Exhibit B or the
        terms of this Fee Agreement, the Settling Distributors and the MDL PEC shall meet and
        confer concerning such changes.

                2.    If the Settling Distributors and the MDL PEC are unable to reach
        agreement and revisions to this Fee Agreement in the event discussed in Section III.B.1,
        this Fee Agreement shall be null and void, Settling Distributors shall have no obligation
        to make any payments under this Fee Agreement, and the Settling Distributors and the
        MDL PEC shall take such steps as are necessary to restore the status quo ante.

        C.      Amendment. Once the MDL Court has entered an order implementing this Fee
 Agreement, this Fee Agreement can only be amended by (1) written agreement of the Settling
 Distributors and the MDL PEC and (2) approval by the MDL Court.

         D.      Jurisdiction and Enforcement. The MDL Court shall have exclusive and ongoing
 jurisdiction over the enforcement and implementation of this Fee Agreement as set forth herein.
 The MDL PEC shall be the Authorized Party to enforce this Fee Agreement, as to the payment
 obligations of the Settling Distributors as set forth in this Fee Agreement, and as to Attorneys
 making application to the Funds under this Fee Agreement. Solely for purposes of assessing or
 allocating common benefit fees, the MDL Court will continue to have jurisdiction over the work
 product developed in the MDL Court by and under the direction of the MDL PEC with respect to
 claims against the Settling Defendants, including data and documents, depositions, expert



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 reports, briefs and pleadings; and the MDL Court’s protective orders, management orders, and
 other decisions regarding such discovery and other work product, including but not limited to,
 conditions on its use, will continue in full force and effect. Nothing in this Section III.D
 authorizes the MDL Court to act contrary to this Fee Agreement or to share any of the work
 product, or provides the MDL Court with jurisdiction over the Distributor Agreement.




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        Description of Mathematical Model for the Allocation of the Contingency Fee Funds
                    Distributor Settlement Agreement and Janssen Settlement Agreement

 This document describes the Mathematical Model for allocation of the Contingency Fee Fund
 described in Exhibit R (Agreement of Attorney’s Fees, Expenses and Costs) to the Distributor
 Settlement Agreement and the Janssen Settlement Agreement, respectively. 19 Awards of fees from
 the Contingency Fee Funds shall be available to Attorneys with Qualifying Representations of
 Participating Litigating Subdivisions eligible to receive an allocation under the corresponding
 agreements. 20 A Fee Panel shall oversee the application of the Model and resolve any questions
 or disputes concerning the eligibility of a counsel to participate. The Panel is empowered to hear
 disputes concerning and ensure the accuracy of the mathematical calculations.

 In general terms, allocation of the Contingency Fee Fund shall be made by (1) determining the
 amount of the Settlement Fund that is attributable to each Litigating Subdivision; (2) making
 certain adjustments to these amounts based on when the Subdivision filed suit and the terms of the
 applicable fee contract; and (3) dividing the Contingency Fee Fund proportionately among counsel
 for each Participating Litigating Subdivision based on the amounts calculated in subpart 2.

 Each Settling Defendant is responsible only for its own share of payments. 21 In other words, to
 collect a fee award from the Contingency Fee Fund against a Settling Defendant, the Participating
 Litigating Subdivision must have named the Settling Defendant in its lawsuit. The total amount
 of the Contingency Fee Fund in the Distributor Settlement Agreement is $516,923,077. 22
 Amerisource’s share is $160,246,153.97 (31.0%), Cardinal’s share is $159,729,230.89 (30.9%),
 and McKesson’s share is $196,947,692.46 (38.1%). The total amount of the Contingency Fee
 Fund in the Janssen Settlement Agreement is $123,076,923. 23

 More specifically, allocation of each Settling Defendant’s share of the corresponding Contingency
 Fee Fund shall be made according to the following steps. These steps must be performed
 separately for each Settlement Agreement, and each Defendant is responsible for paying only its
 share of the Contingency Fee Fund. These calculations are made only for purpose of determining
 the percentage share of the Contingency Fee Fund that Attorneys for each Participating Litigating
 Subdivision should receive, not for determining the dollar amount each Subdivision will receive.




 19
      See Distributor Settlement Agreement, Exhibit R § II.B.3; Janssen Settlement Agreement, Exhibit R § II.B.3.
 20
      Distributor Settlement Agreement, Exhibit R § II.B.3; Janssen Settlement Agreement, Exhibit R § II.B.3
 21
      Distributor Settlement Agreement, Exhibit R § II.A.5.
 22
      Distributor Settlement Agreement, Exhibit R § II.D.1.
 23
      Janssen Settlement Agreement, Exhibit R § II.D.1.



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    (1) For each Settling State, attribute 50% of the settlement funds for that State to its
        Subdivisions according to the Subdivision Allocation Percentage in Exhibit G to the
        Distributor Settlement Agreement or Janssen Settlement Agreement, as appropriate.

       Illustrative example for the Distributor Agreement:

           •   Assume that State A is allocated 1.00000% of the $18,554,013,691.11
               Restitution/Abatement amount [see Exhibit M of the Agreement].

           •   50% of the 1% share allocated to State A is $92,770,068.46.

           •   Assume that, per Exhibit G of the Agreement, the Subdivision
               Allocation Percentage for City B in State A is 1.00000000%.

           •   For purposes of determining its counsel’s share of the Contingency
               Fee Fund, City B is attributed 1.00000000% of $92,770,068.46, or
               $927,700.68.


    (2) Adjust the amounts in paragraph 1 as follows:

           a. Upward Adjustment for Early Filers. Increase the amount calculated in paragraph
              1 above by 10% for any Litigating Subdivision that named the defendant(s) in a
              suit before December 5, 2017, the date the National Prescription Opiate Litigation
              MDL was formed. This adjustment must be done individually for each defendant.
              If the Litigating Subdivision did not name a Settling Defendant in a suit before
              January 1, 2021, then fees from the Contingency Fee Fund for that defendant will
              not be awarded to Attorneys with otherwise Qualifying Representations of that
              Participating Litigating Subdivision.

               Illustrative Example:
                  •   Assume City C is attributed $1,000,000 under paragraph 1
                      above.
                  •   If City C named the defendant(s) before 12/5/2017,                      the
                      attributed amount would be adjusted to $1,100,000.


           b. Determine Amount Due under Contingency Fee Contract. Determine the amount
              that would be due to Attorneys with Qualifying Representations of each
              Participating Litigating Subdivision under the terms of the applicable fee contract
              if the Participating Litigating Subdivision were to receive the amount calculated in
              paragraph 2.a. This amount can be referred to as the Contingency Fee Assumption.

               Illustrative Example:
               Continuing the example given in paragraph 2.a, if Attorneys have a
               20% contingency fee contract with City C for the relevant
               litigation, the amount calculated in this step would be 20% of
               $1,100,000, or $220,000.




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          In the next step, the Contingency Fee Assumption is used to determine the percentage share
          of the Contingency Fee Fund due to Attorneys for each Participating Litigating
          Subdivision.

      (3) Divide the Contingency Fee Fund proportionately among Attorneys for each Participating
          Litigating Subdivision in two ways:

              a. National Fee Pool Calculation. Determine each Litigating Subdivision’s
                 percentage share of all amounts due under contingency fee contracts nationwide by
                 dividing the Contingency Fee Assumption calculated for each Subdivision in
                 paragraph 2.b by the sum of all Contingency Fee Assumptions. Then multiply that
                 percentage by the Contingency Fee Fund to figure each Subdivision’s dollar share
                 of the Contingency Fee Fund (but only for Settling Defendants the Subdivision
                 timely named in a lawsuit). 24

                   Illustrative example for Distributor Settlement Agreement:
                        •   $220,000 [from para. 2.b] ÷ $1,800,000,000 [total amount owed
                            under contingency fee contracts nationwide] = 0.012222% 25
                        •   0.012222% *            $516,923,077.32           [Contingency           Fee     Fund]       =
                            $63,179.49


              b. Separate State Fee Pools Calculation. Determine each Litigating Subdivision’s
                 percentage share of all amounts due under contingency fee contracts statewide by
                 dividing the Contingency Fee Assumption calculated for each Subdivision in
                 paragraph 2.b by the sum of all Contingency Fee Assumptions in the same State.
                 Then multiply that percentage by the portion of the Contingency Fee Fund that
                 corresponds to that State’s Overall Allocation Percentage, shown in Exhibit F of
                 the relevant Settlement Agreement, to figure each Subdivision’s dollar share of the
                 Contingency Fee Fund (but only for Settling Defendants the Subdivision timely
                 named in a lawsuit).

                   Illustrative example for Distributor Settlement Agreement:
                        •   1% * $516,923,077.32 = $5,169,230.77 [amount                                     of     the
                            Contingency Fee Fund corresponding to State A]




 24
   Because a few Litigating Subdivisions named only one or two of the Distributors in a lawsuit before January 1,
 2021, each Subdivision’s share of the Contingency Fee Fund is slightly different for each distributor. Therefore,
 under the Distributor Settlement Agreement, the calculations described in this step need to be made separately for
 each Settling Defendant. It is shown in a single calculation here for ease of illustration only.
 25
   In this example, $1.8 billion is the amount theoretically owed under all contingency fee contracts for litigation
 against distributors as calculated in paragraph 2.b. This amount is illustrative only; the actual amount will not be
 known until all litigating subdivisions are identified and the terms of all of their contingency fee contracts are
 collected.



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                       •   Assume a total of $17,600,000 is owed under contingency fee
                           contracts for State A.
                       •   $220,000 [from para. 2.b] ÷ $17,600,000 = 1.25%
                       •   1.25% * $5,169,230.77 = $64,615.38


         The award of fees to Attorneys with Qualifying Representations of Participating Litigating
         Subdivisions will be the average of the final amounts calculated in paragraphs 3.a and 3.b
         above. 26

         Paragraph 3.a represents allocation based on a proportional share of a National Fee Pool,
         while paragraph 3.b represents allocation based on a proportional share of the Separate
         State Fee Pools. In other words, for the National Fee Pool described above in paragraph
         3.a, the contingency fee contract rate is compared to all other contingency fee contract rates
         in the nation. For the Separate State Fee Pools described above in paragraph 3.b, the
         contingency fee contract terms are compared to the other contingency fee contract terms in
         that same State. The National Fee Pool and the Separate State Fee Pools are given equal
         weighting. This is illustrated below.




         Using the first methodology, Attorneys for two Subdivisions in different States with the
         same amount calculated under paragraph 2.b would be assigned the same amount under
         paragraph 3.a. Using the second methodology, Attorneys for the same two Subdivisions
         would be assigned different amounts under paragraph 3.b because they are in different
         States. Specifically, the Subdivision in the State with a smaller proportion of Participating



 26
   The model also enforces a maximum fee award of 20% of the amount calculated in 2.b. This rule is designed to
 prevent windfalls by addressing over-allocation in a small number of states with relatively few Litigating
 Subdivisions. An estimated 97% of Qualifying Representations are not impacted this rule. The description in this
 document of the Mathematical Model is by necessity an abstraction; the precise contours of the calculations are
 defined in the model itself.



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       Litigating Subdivisions would be allocated more than the Subdivision in the State with a
       greater proportion of Participating Litigating Subdivisions.




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                                            EXHIBIT S

                       Agreement on the State Outside Counsel Fee Fund

          1.     Creation of a State Outside Counsel Fee Fund. The Settling Distributors and
 the Settling States agree to the creation of a state outside counsel fee fund to pay reasonable
 attorneys’ fees of Settling States which have retained outside counsel in connection with
 litigation against the Settling Distributors (such fund, the “State Outside Counsel Fee Fund”).

         2.      State Outside Counsel Fee Fund Administration. The State Outside Counsel
 Fee Fund shall be administered separately from the Common Benefit Fund, the Contingency Fee
 Fund, the State Cost Fund, and the MDL Expense Fund. A committee of Attorneys General
 shall oversee the State Outside Counsel Fee Fund (the “Fee Fund Committee”). The Fee Fund
 Committee shall initially consist of the following States: (a) Delaware; (b) Florida; (c) Georgia;
 (d) Indiana; (e) Michigan; (f) Ohio; and (g) Rhode Island. The Fee Fund Committee shall select
 a settlement fund administrator, who may or may not be different from the Settlement Fund
 Administrator (the “Fee Fund Administrator”) and who shall administer the State Outside
 Counsel Fee Fund according to the guidelines and directives of the Fee Fund Committee.

         3.      State Outside Counsel Fee Eligibility. To receive any amount from the State
 Outside Counsel Fee Fund, an outside counsel to a Settling State must have filed and maintained
 an action in the name of a Settling State or its Attorney General against a Settling Distributor in a
 state or federal court as of June 1, 2021. No Settling State shall receive funds from both the
 State Outside Counsel Fee Fund and the Additional Restitution Amount as set forth in Section
 IX.

         4.     State Outside Counsel Fee Fund Amount. The Settling Distributors shall pay
 funds into the State Outside Counsel Fee Fund according to the schedule set forth below, subject
 to any suspensions, offsets, reductions, or adjustments provided for in the Agreement or
 described below:

          Payment Year 1 Payment Date                                $136,044,379
          Payment Year 2 Payment Date                                $129,230,769
          Payment Year 3 Payment Date                                 $17,417,160

        5.      State Outside Counsel Fee Fund Availability and Calculation of Amount.
                a. The State Outside Counsel Fee Fund shall be available to compensate private
                   outside counsel for Settling State Attorneys General for approved fees arising
                   out of representation of the Settling State pursuant to the schedule developed
                   by the Fee Fund Committee and provided to the Settling Distributors.
                b. Fees shall be calculated by adding two components: (a) a fixed amount
                   consisting of fifty percent (50%) of the amount allocated to a Settling State
                   pursuant to Exhibit F multiplied by 4.5%; and (b) a proportional percentage of
                   the remaining fee due under that Settling State’s contract assuming that fifty


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                percent (50%) of the Settling State’s recovery is allocable to a Settling State
                (rather than allocable to the Settling State’s Participating Subdivisions) so that
                the fees of all Settling States (minus the fixed amount that would have been
                allocated to any Non-Settling States had they become Settling States) exhausts
                the State Outside Counsel Fee Fund. The proportional share percentage will
                be the same for each Settling State included in the State Outside Counsel Fee
                Fund. All amounts paid will be less any costs or fees of the Fee Fund
                Administrator.

       6.    Payment by the Fee Fund Administrator.
             a. If a Settling State’s outside counsel agrees that the amount calculated in
                Paragraph 5 above either satisfies in full or exceeds the amounts owed to all
                such Settling State’s outside counsel, then upon written notice waiving all
                entitlement to any additional fee, the Fee Fund Administrator shall pay that
                Settling State’s outside counsel the amount that satisfies the Settling State’s
                obligation in full and, in no event more than (i) such obligation or (ii) the
                amount pursuant to the calculation and any schedule created by the Fee Fund
                Committee.
             b. If a Settling State’s outside counsel does not agree that the amount calculated
                in Paragraph 5 above either satisfies in full or exceeds the amounts owed by
                the Settling State, then the Settling State’s share shall be placed in an interest-
                bearing escrow account (less reasonable expenses of the Fee Fund
                Administrator) and held unless and until the Settling State and its outside
                counsel agree in a signed writing to a resolution of the amount outstanding or
                there is a final judgment entered that is no longer appealable.
             c. Upon being provided a signed, written agreement or the final non-appealable
                judgment, the Fee Fund Administrator shall release monies from the State
                Outside Counsel Fee Fund in either the amount held by the Fee Fund
                Administrator, if the amount of the agreement or judgment is equal to or more
                than the amount held, or the amount indicated in the agreement or in the final
                judgment, if the amount in the agreement or judgment is less than the amount
                held.
             d. Nothing herein, including the amounts listed in paragraph 5 above, shall
                prevent a Settling State from arguing in any proceeding with its outside
                counsel that (i) its recovery was less than fifty percent (50%) of the recovery
                in the Settlement Agreement down to and including fifteen percent (15%) of
                the total recovery; (ii) any payment should be discounted by an appropriate
                discount rate commensurate to the risk of the Settlement Agreement and the
                timeline that the Settling State is receiving its payments; (iii) the settlement
                amount should be lower because the amount a Settling State receives was
                reduced because such Settling State’s outside counsel failed to obtain joinder
                from a Settling State’s Subdivision(s) that the outside counsel also




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                      represented; or (iv) any limitation placed by the Settling Distributors bars
                      payment of a higher fee to outside counsel.
                   e. In the event the amount due to the Settling State’s outside counsel from an
                      escrow account is less than the total amount of funds escrowed on the account
                      of the Settling State, the balance shall be paid to the Settling State. In no
                      event, other than a State becoming a Non-Settling State, shall funds revert to a
                      Settling Distributor.
                   f. Amounts owed by Settling Distributors to the State Outside Counsel Fee Fund
                      shall be reduced and/or credited to Settling Distributors by amounts allocated
                      on the above-mentioned schedule for outside counsel in Non-Settling States.

         7.     Reversion or Reduction of Amounts owed to Non-Settling States. Amounts
 owed by Settling Distributors to the State Outside Counsel Fee Fund shall be reduced
 proportionally across payments owed by the Settling Distributors by amounts allocated to the
 fixed amount on the below schedule for outside counsel in the event that a listed State becomes a
 Non-Settling State. In the event the Fee Fund Administrator receives part or all of the fixed
 amount due to a Non-Settling State from a Settling Distributor, the Fee Fund Administrator shall
 return the amount allocable to that Non-Settling State’s fixed amount to the Settling Distributor.

  State         Allocation        Maximum             Assumed            Contract    Contract         Fixed
                Percentage 27     Abatement           State Share        Rate        Amount           Amount 29
                                  Amount 28           (50% of
                                                      Maximum
                                                      Abatement
                                                      Amount)
  Alabama       1.6419290312      $304,643,737.25     $152,321,868.6     TIPAC       $17,914,852.
                %                                     2                              67               $6,854,484.09
  Alaska        0.2584550539      $47,953,786.09      $23,976,893.04     20%
                %                                                                    $4,795,378.6     $1,078,960.19
                                                                                     1
  Arkansas      0.9663486633      $179,296,463.29     $89,648,231.65     TIPAC
                %                                                                    $7,982,411.5     $4,034,170.42
                                                                                     8
  Delaware      0.4900019063      $90,915,020.78      $45,457,510.39     21% ,
                %                                                        18%         $9,546,077.1     $2,045,587.97
                                                                                     8
  Florida       7.0259134409      $1,303,588,941.7    $651,794,470.8     TIPAC
                %                 5                   8                              $36,089,723.     $29,330,751.1
                                                                                     54               9
  Georgia       2.7882080114      $517,324,496.17     $258,662,248.0     8%
                %                                     9                              $20,692,979.     $11,639,801.1
                                                                                     85               6



 27
    This is the State allocation provided in Exhibit F.
 28
    This is calculated by taking the State allocation times the Net Abatement Amount.
 29
    As provided in Paragraph 5.b, the Fixed Amount is calculated by taking 50% of the maximum abatement amount
 for a State times 4.5%. Together with a proportional amount to be calculated as provided in Paragraph 5.b, this will
 be the total fee paid each Settling State.


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  Hawaii       0.3418358185   $63,424,264.57    $31,712,132.28   17%
               %                                                           $5,391,062.4   $1,427,045.95
                                                                           9
  Idaho        0.5254331620   $97,488,940.82    $48,744,470.41   10%
               %                                                           $4,874,447.0   $2,193,501.17
                                                                           4
  Indiana      2.2168933059   $411,322,687.49   $205,661,343.7   TIPAC
               %                                5                          $13,783,066.   $9,254,760.47
                                                                           74
  Kentucky     2.0929730531   $388,330,506.82   $194,165,253.4   TIPAC
               %                                1                          $11,958,262.   $8,737,436.40
                                                                           67
  Michigan     3.4020234989   $631,211,905.76   $315,605,952.8   15%
               %                                8                          $47,340,892.   $14,202,267.8
                                                                           93             8
  Mississipp   0.8898883053   $165,109,998.00   $82,554,999.00   TIPAC
  i            %                                                           $8,127,749.9   $3,714,974.96
                                                                           5
  Montana      0.3421667920   $63,485,673.43    $31,742,836.72   20, 18,
               %                                                 and 15%   $6,061,425.5   $1,428,427.65
                                                                 by        1
                                                                 amount

  Nevada       1.2486754235   $231,679,409.03   $115,839,704.5   19%
               %                                2                          $22,009,543.   $5,212,786.70
                                                                           86
  New          0.6258752503   $116,124,979.63   $58,062,489.81   27%
  Hampshire    %                                                           $15,676,872.   $2,612,812.04
                                                                           25
  New          0.8557238713   $158,771,124.24   $79,385,562.12   24%
  Mexico       %                                                           $19,052,534.   $3,572,350.30
                                                                           91
  Ohio         4.3567051408   $808,343,668.31   $404,171,834.1   TIPAC
               %                                5                          $23,708,591.   $18,187,732.5
                                                                           71             4
  Oklahoma     1.5831626090   $293,740,207.23   $146,870,103.6   25%,
               %                                1                20%,      $34,374,020.   $6,609,154.66
                                                                 15%,      72
                                                                 10%

  Puerto       0.7263201134   $134,761,533.28   $67,380,766.64   25%
  Rico         %                                                           $16,845,191.   $3,032,134.50
                                                                           66
  Rhode        0.4895626814   $90,833,526.93    $45,416,763.47   17%
  Island       %                                                           $7,720,849.7   $2,043,754.36
                                                                           9
  South        1.5834654145   $293,796,389.80   $146,898,194.9   TIPAC
  Carolina     %                                0                          $21,470,837.   $6,610,418.77
                                                                           54
  South        0.2169945907   $40,261,206.07    $20,130,603.03   12%                      $905,877.14
  Dakota       %                                                           $2,415,672.3
                                                                           6




                                                  S-4
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  Utah        1.1889437113   $220,596,778.97   $110,298,389.4   TIPAC
              %                                9                Modified   $14,165,161.   $4,963,427.53
                                                                by K       55
  Vermont     0.2844241374   $52,772,093.39    $26,386,046.70   TIPAC
              %                                                            $4,888,604.6   $1,187,372.10
                                                                           7
  Washingto   2.3189040182   $430,249,769.02   $215,124,884.5   Statute
  n           %                                1                           $20,000,000.   $9,680,619.80
                                                                           00




                                                 S-5
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                                             EXHIBIT T

                       Agreement on the State Cost Fund Administration

          1.     Creation of a State Cost Fund. The Settling Distributors and the Settling States
 agree to the creation of a state cost fund to pay litigation costs and expenses associated with
 litigation and investigation related to the opioid litigation (such fund, the “State Cost Fund”).
 The State Cost Fund shall be administered separately from the Common Benefit Fund, the
 Contingency Fee Fund, the State Counsel Fee Fund, and the MDL Expense Fund.

         2.    State Cost Fund Amount and to Whom Owed. On the Payment Date of
 Payment Year 1, the Settling Distributors shall pay into the State Cost Fund $56,538,461.00 (the
 “State Cost Fund Amount”). No funds may be released from the State Cost Fund to Non-Settling
 States.

        3.      State Cost Fund Committee. A committee of Attorneys General or their
 designated representatives (such committee, the “State Cost Fund Committee”) shall oversee the
 State Cost Fund. The committee shall initially consist of the following States: (a) Delaware; (b)
 Florida; (c) Georgia; (d) New York; (e) North Carolina; (f) Ohio; (g) Tennessee; and (h) Texas.
 The Attorneys General may by majority vote add or change the composition of the State Cost
 Fund Committee, including replacing any above State, if that State is not a Settling State.

        4.      State Cost Fund Administrator. The State Cost Fund Committee shall select an
 administrator (the “State Cost Fund Administrator”). The State Cost Fund Administrator may or
 may not be different from the Settlement Fund Administrator. The State Cost Fund
 Administrator shall administer the State Cost Fund and direct payments to Settling States.

         5.      State Cost Fund Guidelines. Monies in the State Cost Fund shall be released
 without any delay to reimburse Settling States for documented costs incurred or paid in
 connection with litigation and investigation related to the opioid litigation. In allocating the
 State Cost Fund, no funds shall be allocated for costs incurred after July 21, 2021. The State
 Cost Fund Committee shall establish guidelines for the submission and approval of expenses
 eligible for reimbursement from the State Cost Fund. The State Cost Fund Administrator shall,
 in accordance with such guidelines, receive from Settling States records sufficient to demonstrate
 the incurrence and payment of each expense attributable to litigation or investigation related to
 the opioid litigation, including any outstanding National Association of Attorneys General grant.

         6.     State Cost Fund Payment Priorities and Residual. To the extent the aggregate
 eligible submissions of costs and expenses from Settling States exceed the State Cost Fund
 Amount, payments to Settling States shall be paid in the order described in this section until the
 State Cost Fund is exhausted. If the State Cost Fund is unable to fully pay costs at any of the
 following levels, then Settling States with costs at that level shall be paid on a proportional basis.
 All expenses with a lesser priority from the level where the State Cost Fund is exhausted will not
 be reimbursed from the State Cost Fund. Costs shall be paid in the following order of priority:


                                                  T-1
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 (a) the reasonable costs of the State Cost Fund Administrator, if any; (b) repayment of the
 National Association of Attorneys General grants connected to opioid litigation; (c) costs
 incurred or paid by outside counsel for a Settling State litigating against the Settling Distributors
 apart from any fee owed; (d) litigation-related costs attributable to the Settling Distributors
 incurred or paid by a Settling State litigating against the Settling Distributors; and (e) pre-suit
 investigation-related costs attributable to the Settling Distributors incurred or paid by either a
 Settling State outside counsel (not including any amount of fees or any costs which have already
 been reimbursed pursuant to clause (c), above) or a Settling State investigating the Settling
 Distributors. If the State Cost Fund has additional monies after payment of the State Cost Fund
 Administrator’s and all Settling States’ submitted costs, then the remaining funds will be
 provided to the National Association of Attorneys General to be placed in the Financial Services
 Fund for the purpose of funding grants for consumer protection- or healthcare-related
 enforcement or training activities. In determining what costs are attributable to the Settling
 Distributors, the State Fund Committee shall develop a guideline that ensures that all Settling
 States are treated equitably.




                                                  T-2
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                                                  EXHIBIT U

                                           ABC IRS Form 1098-F 30




 30
   To be updated to account for any Non-Settling States and the effectiveness of any separate agreements with a
 Settling State.


                                                        U-1
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                                                  EXHIBIT V

                                        Cardinal IRS Form 1098-F 31




 31
   To be updated to account for any Non-Settling States and the effectiveness of any separate agreements with a
 Settling State.


                                                        V-1
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                                                  EXHIBIT W

                                       McKesson IRS Form 1098-F 32




 32
   To be updated to account for any Non-Settling States and the effectiveness of any separate agreements with a
 Settling State.


                                                        W-1
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                                   EXHIBIT X

                                  Severity Factors

                          State                      Severity Factor
           Alabama                                    108.5243%
           Alaska                                     107.8614%
           American Samoa                             102.7639%
           Arizona                                    107.7129%
           Arkansas                                   103.2818%
           California                                  82.8688%
           Colorado                                    95.2263%
           Connecticut                                121.0971%
           Delaware                                   155.5946%
           District of Columbia                        88.3270%
           Florida                                    107.9604%
           Georgia                                     86.6675%
           Guam                                        96.8019%
           Hawaii                                      77.1051%
           Idaho                                       93.0570%
           Illinois                                    86.6318%
           Indiana                                    108.6768%
           Iowa                                        78.2056%
           Kansas                                      89.6374%
           Kentucky                                   150.0126%
           Louisiana                                  105.2878%
           Maine                                      132.7534%
           Maryland                                   115.2160%
           Massachusetts                              110.3001%
           Michigan                                   112.4239%
           Minnesota                                   75.9148%
           Mississippi                                 96.7243%
           Missouri                                   107.8496%
           Montana                                     99.7815%
           N. Mariana Islands                         100.2421%
           Nebraska                                    71.9045%
           Nevada                                     130.5519%
           New Hampshire                              144.4997%
           New Jersey                                 102.3701%
           New Mexico                                 128.9295%



                                        X-1
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           New York                                 91.4472%
           North Carolina                          102.2754%
           North Dakota                             76.0864%
           Ohio                                    123.0063%
           Oklahoma                                129.3047%
           Oregon                                  108.9094%
           Pennsylvania                            118.2821%
           Puerto Rico                              73.9803%
           Rhode Island                            143.8802%
           South Carolina                           99.6801%
           South Dakota                             76.4482%
           Tennessee                               129.9078%
           Texas                                    71.6286%
           Utah                                    119.5878%
           Vermont                                 140.2239%
           Virgin Islands                          100.4396%
           Virginia                                 88.1611%
           Washington                              100.5007%
           Wisconsin                                99.6616%
           Wyoming                                 100.9659%




                                       X-2
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



     IN RE: NATIONAL PRESCRIPTION
           OPIATE LITIGATION

             This document relates to:
                                                                           MDL No. 2804
             Case No. 1:21-op-45080
                                                                      Hon. Dan Aaron Polster



          [PROPOSED] ORDER GRANTING SETTLING DISTRIBUTORS’
      MOTION TO DISMISS CLAIMS FILED BY NON-PARTICIPATING INDIANA
                   SUBDIVISIONS AS BARRED BY STATUTE

         Upon consideration of Settling Distributors’ Motion To Dismiss Claims Filed By Non-

 Participating Indiana Subdivisions As Barred By Statute (“Settling Distributors’ Motion”), and

 any opposition thereto, and as there is no just reason for delay, it is hereby ORDERED that Settling

 Distributors’ Motion is GRANTED. It is further ORDERED that the claims asserted against

 Settling Distributors1 in the above-captioned lawsuit filed by Indiana political subdivisions School

 City of Mishawaka, South Bend Community School Corporation, Penn-Harris-Madison School

 Corporation, Fort Wayne Community Schools, and Smith-Green Community Schools are hereby

 DISMISSED WITH PREJUDICE.

                                                                               ______________________
                                                                               Hon. Dan A. Polster
                                                                               United States District Judge


 1
   The Settling Distributors are AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation Inc.,
 McKesson Corporation, McKesson Medical-Surgical, Inc., Cardinal Health, Inc., and Cardinal Health 110, LLC,
 as well as any other Released Entities, as that term is defined in the Settlement Agreement, that have been named
 as defendants in the Complaint. See Texarkana Independent School District et al v. Abbvie, Inc et al., MDL
 Case No. 1:21-op-45080 (May 24, 2021) (Dkt. No. 1); Settling Distributors’ Motion Ex. A; Settling
 Distributors’ Motion Ex. B at 8 & Ex. J thereto.
